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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

                                                                          Chapter 11
         In re:
                                                                          Case No. 17-12560 (KJC)
         WOODBRIDGE GROUP OF COMPANIES,
         LLC, et al.,1                                                    (Jointly Administered)

                                      Debtors.


             DISCLOSURE STATEMENT FOR THE FIRST AMENDED JOINT CHAPTER 11 PLAN OF
                     LIQUIDATION OF WOODBRIDGE GROUP OF COMPANIES, LLC
                                 AND ITS AFFILIATED DEBTORS



         Dated: Wilmington, Delaware
                August 16, 2018

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         1
                The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603. The
                mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
                California 91423. Due to the large number of debtors in these cases, a complete list of the Debtors, the last four
                digits of their federal tax identification numbers, and their addresses is attached to the Plan as Exhibit 1.

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                                          DISCLAIMER

         THIS DISCLOSURE STATEMENT PROVIDES INFORMATION REGARDING THE
         FIRST AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION OF WOODBRIDGE
         GROUP OF COMPANIES, LLC AND ITS AFFILIATED DEBTORS, WHICH
         BANKRUPTCY PLAN THE DEBTORS ARE SEEKING TO HAVE CONFIRMED BY
         THE BANKRUPTCY COURT. THE INFORMATION CONTAINED IN THIS
         DISCLOSURE STATEMENT IS INCLUDED FOR PURPOSES OF SOLICITING
         ACCEPTANCES TO, AND CONFIRMATION OF, THE PLAN AND MAY NOT BE
         RELIED ON FOR ANY OTHER PURPOSE. APPROVAL OF THIS DISCLOSURE
         STATEMENT    DOES    NOT    CONSTITUTE   A   DETERMINATION    OR
         RECOMMENDATION BY THE BANKRUPTCY COURT REGARDING THE
         FAIRNESS OR THE MERITS OF THE PLAN.

         THIS DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN
         PROVISIONS OF THE PLAN, CERTAIN STATUTORY PROVISIONS, AND CERTAIN
         DOCUMENTS RELATING TO THE PLAN. IN THE EVENT OF ANY CONFLICT,
         INCONSISTENCY, OR DISCREPANCY BETWEEN THE TERMS AND PROVISIONS
         IN THE PLAN AND THIS DISCLOSURE STATEMENT, THE PLAN SHALL GOVERN
         FOR ALL PURPOSES. ALL HOLDERS OF CLAIMS SHOULD READ THIS
         DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE
         VOTING ON THE PLAN.

         THE STATEMENTS CONTAINED HEREIN HAVE BEEN MADE AS OF THE DATE
         HEREOF UNLESS OTHERWISE SPECIFIED. HOLDERS OF CLAIMS AND EQUITY
         INTERESTS REVIEWING THIS DISCLOSURE STATEMENT SHOULD NOT INFER
         AT THE TIME OF SUCH REVIEW THAT THERE HAVE BEEN NO CHANGES IN
         THE FACTS SET FORTH HEREIN. ALTHOUGH THE DEBTORS HAVE MADE AN
         EFFORT TO DISCLOSE WHERE CHANGES IN PRESENT CIRCUMSTANCES
         COULD REASONABLY BE EXPECTED TO AFFECT MATERIALLY THE
         RECOVERIES UNDER THE PLAN, THIS DISCLOSURE STATEMENT IS
         QUALIFIED TO THE EXTENT CERTAIN EVENTS DO OR DO NOT OCCUR.

         THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
         SECTION 1125 OF THE BANKRUPTCY CODE AND NOT NECESSARILY IN
         ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR ANY OTHER
         NON-BANKRUPTCY LAW. THIS DISCLOSURE STATEMENT HAS NOT BEEN
         APPROVED OR DISAPPROVED BY THE UNITED STATES SECURITIES AND
         EXCHANGE COMMISSION (THE “SEC”) OR ANY FEDERAL, STATE, LOCAL, OR
         FOREIGN REGULATORY AGENCY, NOR HAS THE SEC OR ANY OTHER SUCH
         AGENCY PASSED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS
         CONTAINED IN THIS DISCLOSURE STATEMENT. ALL PERSONS OR ENTITIES
         SHOULD EVALUATE THIS DISCLOSURE STATEMENT AND THE PLAN IN LIGHT
         OF THE SPECIFIC PURPOSE FOR WHICH THE DOCUMENTS WERE PREPARED.




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         THE DEBTORS MAKE STATEMENTS IN THIS DISCLOSURE STATEMENT THAT
         MAY BE CONSIDERED FORWARD-LOOKING STATEMENTS UNDER THE
         FEDERAL SECURITIES LAWS. STATEMENTS CONCERNING THESE AND OTHER
         MATTERS ARE NOT GUARANTEES AND REPRESENT THE DEBTORS’
         ESTIMATES AND ASSUMPTIONS ONLY AS OF THE DATE SUCH STATEMENTS
         WERE MADE AND INVOLVE KNOWN AND UNKNOWN RISKS, UNCERTAINTIES,
         AND OTHER UNKNOWN FACTORS THAT COULD IMPACT THE DEBTORS’ PLAN
         OR DISTRIBUTIONS THEREUNDER. IN ADDITION TO STATEMENTS THAT
         EXPLICITLY DESCRIBE SUCH RISKS AND UNCERTAINTIES, READERS ARE
         URGED TO CONSIDER STATEMENTS LABELED WITH THE TERMS “BELIEVES,”
         “BELIEF,” “EXPECTS,” “INTENDS,” “ANTICIPATES,” “PLANS,” OR SIMILAR
         TERMS TO BE UNCERTAIN AND FORWARD-LOOKING. CREDITORS AND
         OTHER INTERESTED PARTIES SHOULD ALSO REVIEW THE SECTION OF THIS
         DISCLOSURE STATEMENT ENTITLED “RISK FACTORS” FOR A DISCUSSION OF
         CERTAIN FACTORS THAT MAY AFFECT THE PLAN AND DISTRIBUTIONS
         THEREUNDER.




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         EXHIBIT B                       Liquidation Analysis

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             THE EXHIBITS AND SCHEDULES ATTACHED TO THIS DISCLOSURE
                                   STATEMENT
        ARE INCORPORATED BY REFERENCE AS THOUGH FULLY SET FORTH HEREIN




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                                        GENERAL OVERVIEW AND SUMMARY

                  This disclosure statement (the “Disclosure Statement”) describes in detail the historical
         background that led to the bankruptcy cases of Woodbridge Group of Companies, LLC and its
         affiliated debtors and debtors in possession (collectively, “Woodbridge” or the “Debtors”),
         explains what has happened in the months since the Debtors commenced their bankruptcy cases,
         and sets forth the treatment of creditors in the Debtors’ proposed plan of liquidation (the “Plan”).
         This overview and summary highlights the main points discussed in the Disclosure Statement,
         and should be read in conjunction with the remainder of the Disclosure Statement. This general
         overview and summary is qualified by the express terms of the Plan.

                1. Historical Background of the Debtors

                 These bankruptcy cases arise out of a massive, multi-year fraudulent scheme perpetrated
         by Robert Shapiro between (at least) 2012 and 2017.2 As part of this fraud, Shapiro, through the
         Woodbridge entities, raised over one billion dollars from approximately 10,000 investors—as
         either Noteholders or Unitholders—and used approximately $368 million of new investor funds
         to pay existing investors—a typical characteristic of Ponzi schemes. Importantly, Shapiro, as
         described more fully below, is no longer involved in any capacity with the control of the Debtors
         or of these bankruptcy cases.

                 While he was in control of the prepetition Debtors, Shapiro deceived investors in order to
         obtain their money. He told investors that their money would be used to make high-interest loans
         to unrelated, third-party borrowers and gave Noteholders documents referencing a specific
         property for which their funds were allegedly being used. Shapiro also told Noteholders that their
         notes were backed by mortgages on those specific properties, which, if true, would typically
         mean that investors could recover their investments from the proceeds of a sale of that property.

                 In reality, these were lies on a massive scale. Investors’ money was nearly entirely not
         used to make high-interest loans to unrelated, third-party borrowers, and investors’ money was
         not used for the specific property that may have been identified in any particular investor’s
         documentation from the prepetition Debtors. Instead, Shapiro created disguised affiliates to
         which money was “loaned,” which entities had no ability to service debt. Shapiro further took
         nearly all of the investors’ money and commingled it into one central bank account. The funds
         used for property purchases from this central, pooled account generally cannot be traced to any
         particular Woodbridge “fund” entity or its investors. Moreover and unfortunately, payments
         from that central, pooled account were not used only for property purchases. Shapiro also used
         investor money to pay approximately $64.5 million in commissions to sales agents who sold
         these fraudulent “investments” and used investor money to pay at least $21.2 million for
         Shapiro’s personal benefit (including, for example, purchasing luxury items, travel, wine, and the

         2
                Pursuant to the Plan Term sheet, the Plan will acknowledge and admit that the Debtors operated as a Ponzi
                scheme since at least August 2012 , which scheme was discovered no later than December 2017 when the SEC
                unsealed its action against Robert Shapiro and others and alleged facts evidencing such Ponzi scheme. To the
                extent that the Bankruptcy Court does not confirm the Plan, the Debtors and each of the three
                “Committees” reserve all of their respective rights (and/or defenses) respecting the characterization and the
                ramifications of the massive fraud upon investors and other creditors.

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         like). Additionally and critically, in the absence of any meaningful cash inflows into the
         prepetition Debtors from sources other than investors, Shapiro and the prepetition Debtors,
         which he controlled, used approximately $368 million of new investor funds to pay “interest”
         and “principal” to existing investors.

                By late 2017, Shapiro was being investigated by the United States Securities and
         Exchange Commission (the “SEC”) and numerous state regulatory agencies. As a result, Shapiro
         found it difficult to raise new investor money. As Shapiro’s use of funds reflects, the prepetition
         Debtors were reliant on money from new investors to make the payments promised to existing
         investors. When new investments dried up, the prepetition Debtors could no longer make these
         payments to existing investors, and therefore Shapiro’s web of deceit quickly unraveled.

                2. Debtors’ Bankruptcy Cases

                Shapiro hired new outside managers for the prepetition Debtors on or about December 1,
         2017, who commenced the many of the Debtors’ bankruptcy cases on December 4, 2017. On
         December 14, 2017, the Office of the United States Trustee formed the Official Committee of
         Unsecured Creditors (the “Unsecured Creditors’ Committee”).

                On December 20, 2017, the SEC filed a complaint in Florida federal court against
         Shapiro and his affiliates, including the Debtors, detailing much of the massive fraud perpetrated
         by Shapiro prepetition. The SEC asked the Florida court to appoint a receiver who would
         displace the Debtors’ management in these bankruptcy cases, but the court declined to
         immediately act on this request in light of the Debtors’ pending bankruptcy cases.

                On December 28, 2017, the Unsecured Creditors’ Committee filed a motion seeking
         appointment of a chapter 11 trustee to replace the Debtors’ management team, arguing that the
         team was “hand-picked by Shapiro, and ha[d] done his bidding both before and after the filing of
         these cases.” The SEC later made a similar request, arguing that the new “independent”
         management team was “completely aligned [with Shapiro] in controlling this bankruptcy.”

                 Around this time, certain groups of Noteholders and a group of Unitholders sought
         appointment of official committees of Noteholders and Unitholders, respectively. One of the
         Noteholder groups actively opposed the trustee motions, expressing concern that such
         appointment, without official representation for Noteholders, could set in motion a series of
         events that could ultimately prove harmful to Noteholders’ interests in the cases.

                 On January 23, 2018, following several days of evidentiary hearings on the trustee
         motions, the Debtors, the Unsecured Creditors’ Committee, the SEC, as well as groups of
         Noteholders and Unitholders, reached a settlement of the trustee motions and the motions for
         appointment of official Noteholder and Unitholder committees. The settlement provided, among
         other things:

         I. A new board of managers—with no ties whatsoever to Shapiro—was formed to govern the
         Debtors (the “New Board”).

         II. The New Board was empowered to select a chief executive officer or chief restructuring
         officer—and shortly thereafter selected and employed individuals for both of those positions.
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         III. The New Board was empowered to select new counsel for the Debtors—and, upon
         consultation with the SEC, in mid-February did select new bankruptcy co-counsel.

         IV. Noteholders were permitted to form a single six-to-nine-member fiduciary Noteholder
         committee to advocate for the interests of Noteholders in the cases (the “Noteholder
         Committee”), with a professional fee budget, to be funded by the Debtors, through January 1,
         2019.

         V. Unitholders were permitted to form a single one-to-two-member fiduciary Unitholder
         committee to advocate for the interests of Unitholders in the cases (the “Unitholder Committee”),
         with a professional fee budget, to be funded by the Debtors, through January 1, 2019.

                Beginning in at least late January 2018, Shapiro had and still has no control over the
         Debtors whatsoever. Instead, the Debtors were, and are, managed by a new and independent
         board of managers and new management, none of whom had any prior involvement with
         Shapiro.

                The Debtors and their new management and advisors have worked diligently with all of
         the creditor representatives—the Unsecured Creditors’ Committee, the Noteholder Committee,
         and the Unitholder Committee—to ensure that investors can recover as much money as possible,
         and that the Debtors’ funds are not squandered by years of litigation between and among the
         Debtors’ creditor constituencies.

                 Ultimately, the Debtors and all of these creditor constituencies reached a settlement—
         which settlement is fully described in the Disclosure Statement and is embodied in the
         accompanying Plan. The settlement recognizes certain unfortunate realities: that Shapiro ran a
         fraudulent scheme (which the Plan will acknowledge and admit was operated as a Ponzi
         scheme), that he did not use investor money as he claimed he would, that he misrepresented the
         nature of the security provided to Noteholders, and that he did not take appropriate legal steps to
         protect the Noteholders’ interests with respect to any such security.

                3. Debtors’ Proposed Bankruptcy Plan

                 The Debtors deeply regret these realities, and they have worked diligently to maximize
         investor recoveries. To that end, the Plan provides for the creation of two entities: (i) a Wind-
         Down Entity, which will own many of the Debtors’ assets (including the Debtors’ real
         properties) and will sell those assets to generate cash, and (ii) a Liquidation Trust, which will
         own the Wind-Down Entity and receive cash generated by the Wind-Down Entity and will
         distribute that (and other) cash to creditors (including to investors). The Liquidation Trust will
         also own litigation claims against third parties and may generate cash through prosecution or
         settlement of those claims. However, the estimated recoveries to creditors set forth below and in
         the Disclosure Statement do not take into account potential proceeds of these litigation claims
         because they are unpredictable and highly contingent.

                Critically, the Debtors have ensured that creditors have indirect control over the decisions
         that will be made by the Liquidation Trust. The proposed Liquidation Trustee, Mr. Michael
         Goldberg, was the SEC’s designee to, and is a current member of, the Debtors’ New Board of
         Managers, and he was unanimously selected to be the Liquidation Trustee by the Unsecured
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         Creditors’ Committee, the Noteholder Committee, and the Unitholder Committee. In addition,
         the Liquidation Trust Supervisory Board will consist of five members—three selected by the
         Unsecured Creditors’ Committee, and one each selected by the Noteholder Committee and the
         Unitholder Committee.

                 Cash will be distributed by the Liquidation Trust to Noteholders, Unitholders, and other
         creditors both up-front and over time (as the Wind-Down Entity sells properties). Noteholders,
         Holders of General Unsecured Claims, and Unitholders initially will be paid at the same time by
         each receiving Class A Liquidation Trust Interests that entitle them to cash distributions. But, the
         settlement addresses the disputes regarding whether the Units actually are “claims,” or instead
         are “equity” (ownership interests) in the Debtors (in which case Unitholders could be entitled to
         be paid nothing), and whether the Notes are validly secured (either directly or indirectly) by the
         subject real properties. Rather than spend significant time and money litigating these very
         complicated issues, the parties negotiated and settled upon allowance of claims for Unitholders at
         a 27.5% discount as compared to Noteholders’ claims. Thus, Unitholders will initially receive
         72.5% of what Noteholders receive in terms of relative distributions against their respective net
         investments. This aspect of the settlement is accomplished by affording Noteholders Class A
         Liquidation Trust Interests for 100% of their Net Note Claims and affording Unitholders Class A
         Liquidation Trust Interests for only 72.5% of their Net Unit Claims. (Unitholders also get Class
         B Liquidation Trust Interests for the other 27.5% of their Net Unit Claims, so that if there is
         more money available after payment of the Net Note Claims, Allowed General Unsecured
         Claims, and Net Unit Claims represented by the Class A Liquidation Trust Interests, then
         Unitholders will receive cash distributions on their Class B Liquidation Trust Interests until the
         remaining Net Unit Claims are paid.)3

                  Further, the Plan provides for “substantive consolidation” of all Woodbridge Fund
         Debtors (i.e., the ones that raised money from investors) into one entity and all other Debtors
         (including those that own the subject real properties) into a second entity in order to effectuate
         the distributions explained above. Substantive consolidation generally refers to the pooling of
         assets and liabilities of several entities. In other words, if Entity A holds $100 of assets and owes
         $0 of liabilities, and Entity B holds $0 of assets and owes $100 of liabilities, and if those two
         entities are substantively consolidated, the resulting entity will hold $100 of assets and owe $100
         of liabilities.

                The Plan also incorporates a “netting” mechanism where distributions of Liquidation
         Trust Interests will be made based on the Net Note Claim or the Net Unit Claim. These net
         amounts are calculated based on the Outstanding Principal Amount of a Note Claim or a Unit
         Claim, minus the aggregate amount of all Prepetition Distributions received by the claimholder.
         As discussed further in the Disclosure Statement, the Plan provides for this “netting” because of
         the conclusion that the Debtors operated as a Ponzi scheme (as acknowledged in the Plan and if
         approved by the Bankruptcy Court), in which case any Prepetition Distributions to Noteholders
         or Unitholders (representing, for example, purported interest) could be avoided and recovered for

         3
          Noteholders and Unitholders also are afforded on their Ballots the opportunity to elect to become Contributing
         Claimants, and have such amounts increased by multiplying them by the Contributing Claimants Enhancement
         Multiplier (i.e., 105%), as more fully described in Section I.A.2 hereof.

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         the benefit of other investors under state and federal “fraudulent transfer” laws. Based on their
         books and records, the Debtors have prepared a “Schedule of Principal Amounts and Prepetition
         Distributions” (a copy of which is attached to the Disclosure Statement) that lists the Debtors’
         calculation of the Net Note Claims and the Net Unit Claims. The specific amounts applicable to
         you are set forth in your Ballot. If you agree with the net claim amounts set forth in your Ballot,
         then you do not need to take any action with respect to that item of the Ballot and will have
         agreed to (and have Allowed Claims based on) the amounts set forth in the Schedule of Principal
         Amounts and Prepetition Distribution. If you disagree with the net claim amounts set forth in the
         Schedule of Principal Amounts and Prepetition Distributions, then you have the option to check
         a box on your Ballot and dispute such amount. If you check this box on your Ballot, this may
         significantly delay the timing of Distributions (if any) to you. The Debtors reserve all rights
         to object to the validity, amount, or any other aspect of any Claim held by a Disputing
         Claimant who disputes the amounts set forth on their Ballot. In addition, the Debtors
         reserve any Liquidation Trust Actions that may exist regarding the particular Disputing
         Claimant, all of which the Liquidation Trust may determine to pursue against the
         particular Disputing Claimant as part of post-confirmation litigation relating to the correct
         Net Note Claim or Net Unit Claim amounts and related matters.

                The Debtors estimate the following recoveries for Noteholders and Unitholders (and
         general unsecured creditors) under the Plan:

                       Class 3          Standard Note Claims                         60%-70% of Net Amounts

                       Class 4          General Unsecured Claims                     60%-70%         of     Allowed
                                                                                     Amounts

                       Class 5          Unit Claims                                  40%-50% of Net Amounts

                       Class 6          Non-Debtor Loan Note Claims                  60%-70% of Net Amounts4


                                                            *        *       *

                 The Debtors deeply regret these circumstances, and understand the precarious financial
         position that many investors are in as a result of Shapiro’s fraudulent scheme and its sudden
         collapse last December. However, the Debtors believe that the settlement described above and
         reflected in the Plan, which is the result of extensive negotiations with significant investor input,
         represents the best outcome of these unfortunate circumstances, and importantly, provides the
         best prospect for investors to receive distributions as soon as possible.




         4
                Although a higher recovery is theoretically possible if the Bankruptcy Court ultimately finds that any of these
                Noteholders are secured by a properly perfected, unavoidable, and enforceable security interest, the Debtors do
                not believe such an outcome is likely. Instead, the Debtors believe that all Noteholders currently classified in
                Class 6 will ultimately be reclassified into Class 3, either on a consensual basis or after litigation.

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                                                     I.       INTRODUCTION

                 Woodbridge Group of Companies, LLC and its affiliated debtors and debtors in
         possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
         Cases”) hereby submit this disclosure statement (the “Disclosure Statement”) pursuant to
         sections 1125 and 1126(b) of title 11 of the United States Code (the “Bankruptcy Code”), in
         connection with the solicitation of votes on the First Amended Joint Chapter 11 Plan of
         Liquidation of Woodbridge Group of Companies, LLC and Its Affiliated Debtors, dated as of
         August 3, 2018 (as amended, modified, or supplemented from time to time pursuant to its terms,
         the “Plan”). A copy of the Plan is attached hereto as Exhibit A.5

                 The purpose of this Disclosure Statement is to enable Creditors whose Claims are
         Impaired under the Plan and who are entitled to vote on the Plan to make an informed decision
         when exercising their right to accept or reject the Plan. This Disclosure Statement sets forth
         certain information regarding the Debtors’ prepetition operating and financial history, their
         reasons for seeking protection under chapter 11 of the Bankruptcy Code, the course of these
         Chapter 11 Cases, and the anticipated orderly liquidation of the Estate Assets. This Disclosure
         Statement also describes certain terms and provisions of the Plan, certain effects of Confirmation
         of the Plan, certain risk factors associated with the Plan, and the manner in which Distributions
         will be made under the Plan. In addition, this Disclosure Statement discusses the confirmation
         process and the voting and election procedures that Creditors entitled to vote under the Plan must
         follow for their votes to be counted.

                    A.       Overview of the Plan

                             1.       General Structure of the Plan

                 A bankruptcy plan is a vehicle for satisfying the rights of holders of claims against and
         equity interests in a debtor. Consummation of a plan is the overriding purpose of a chapter 11
         case. Upon confirmation and effectiveness, a plan becomes binding on the debtor and all of its
         creditors and equity interest holders.

                 In these Chapter 11 Cases, the Plan contemplates a liquidation of each of the Debtors and
         is therefore referred to as a “plan of liquidation.” The Debtors’ assets largely consist of 189 real
         properties (as of the date of this Disclosure Statement), Cash, and the Liquidation Trust Actions
         under the Plan. The Liquidation Trust Actions include, but are not limited to, causes of action,
         claims, remedies, or rights that may be brought by or on behalf of the Debtors or the Estates
         under chapter 5 of the Bankruptcy Code and related statutes or common law, as well as any other
         claims, rights, or causes of action held by the Debtors’ Estates. The estimated recoveries to
         creditors set forth in this Disclosure Statement do not take into account potential proceeds of the
         Liquidation Trust Actions because they are unpredictable and highly contingent. Among other
         things, although the Debtors believe that strong litigation claims may exist, the ability to collect
         any judgment on those claims remains unknown at this time.
         5
                All capitalized terms used but not defined herein shall have the meanings provided to such terms in the Plan.
                The summary of the Plan provided herein is qualified in its entirety by reference to the Plan. In the case of any
                inconsistency between the summary herein and the Plan, the Plan shall govern.

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                 The Plan provides for the creation of a Liquidation Trust and a Wind-Down Entity, as
         well as the appointment of a Liquidation Trustee and a Wind-Down CEO, who will administer
         and liquidate all remaining property of the Debtors and their Estates, subject to the supervision
         and oversight of the Liquidation Trust Supervisory Board and the Wind-Down Board,
         respectively, all as described more fully in Section IV.D of this Disclosure Statement. The Plan
         also provides for Distributions to be made to certain Holders of Administrative Claims,
         Professional Fee Claims, Priority Tax Claims, DIP Claims, Other Secured Claims, Priority
         Claims, Note Claims (both Standard Note Claims and Non-Debtor Loan Note Claims), General
         Unsecured Claims, Unit Claims, and potentially Subordinated Claims, and for the funding of the
         Liquidation Trust and the Wind-Down Entity. The Plan also provides for two levels of
         substantive consolidation as of the Effective Date—(i) of all of the Fund Debtors into
         Woodbridge Mortgage Investment Fund 1, LLC (“Fund 1”), and (ii) of all of the Other Debtors
         into Woodbridge Group of Companies, LLC. Finally, the Plan provides for the cancellation of
         all Equity Interests in the Debtors, the dissolution and wind-up of the affairs of the Debtors, and
         the administration of any remaining assets of the Debtors’ Estates by the Liquidation Trustee or
         the Wind-Down CEO, as applicable.

              THE DEBTORS BELIEVE THAT THE PLAN IS FAIR AND EQUITABLE, WILL
         MAXIMIZE RECOVERIES TO CREDITORS, AND IS IN THE BEST INTERESTS OF
         THE DEBTORS AND THEIR CONSTITUENTS. FOR THESE REASONS, THE
         DEBTORS URGE HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE TO
         TIMELY RETURN THEIR BALLOTS AND TO VOTE TO ACCEPT THE PLAN.

              THE PLAN IS THE PRODUCT OF EXTENSIVE NEGOTIATION WITH, AND IS
         SUPPORTED BY, ALL THREE OF THE COMMITTEES APPOINTED IN THE
         CHAPTER 11 CASES, WHO WILL BE PROVIDING THEIR OWN STATEMENT
         SIMILARLY URGING HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE TO
         TIMELY RETURN THEIR BALLOTS AND TO VOTE TO ACCEPT THE PLAN.

                           2.      Material Terms of the Plan

                    The following is a general overview of certain material terms of the Plan:

         •          All Allowed Administrative Claims, Allowed Professional Fee Claims, Allowed Priority
                    Tax Claims, Allowed DIP Claims, Allowed Other Secured Claims, and Allowed Priority
                    Claims will be paid or otherwise satisfied in full as required by the Bankruptcy Code,
                    unless otherwise agreed to by the Holders of such Claims and the Liquidation Trustee or
                    the Wind-Down Entity, as applicable.

         •          Holders of Allowed Standard Note Claims will receive one (1) Class A Liquidation Trust
                    Interest for each $75.00 of Net Note Claims held by the applicable Noteholder with
                    respect to its Allowed Note Claims. (If such calculation otherwise would result in such
                    Holder receiving a fractional Class A Liquidation Trust Interest, the amount will be
                    rounded to the nearest hundredth of such Liquidation Trust Interest with five thousandths
                    thereof rounded up to the next hundredth). Distributions of Cash on account of the Class
                    A Liquidation Trust Interests will be made in accordance with the Liquidation Trust
                    Interests Waterfall, including an initial Distribution of Cash to Holders of Class A
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                    Liquidation Trust Interests targeted to be made by December 31, 2018 (after the Plan
                    Effective Date) from the Initial Distribution Fund, which is Cash in a range targeted at
                    $42.5 to $85.0 million in the aggregate.

         •          Holders of Allowed General Unsecured Claims will receive one (1) Class A Liquidation
                    Trust Interest for each $75.00 of Allowed General Unsecured Claims held by the
                    applicable Creditor with respect to its Allowed General Unsecured Claims. (If such
                    calculation otherwise would result in such Holder receiving a fractional Class A
                    Liquidation Trust Interest, the amount will be rounded to the nearest hundredth of such
                    Liquidation Trust Interest with five thousandths thereof rounded up to the next
                    hundredth). Distributions of Cash on account of the Class A Liquidation Trust Interests
                    will be made in accordance with the Liquidation Trust Interests Waterfall, including an
                    initial Distribution of Cash to Holders of Class A Liquidation Trust Interests targeted to
                    be made by December 31, 2018 (after the Plan Effective Date) from the Initial
                    Distribution Fund, which is Cash in a range targeted at $42.5 to $85.0 million in the
                    aggregate.

         •          Holders of Allowed Unit Claims will receive 72.5% of one (1) Class A Liquidation Trust
                    Interests and 27.5% of one (1) Class B Liquidation Trust Interest for each $75.00 of Net
                    Unit Claims held by the applicable Unitholder with respect to its Allowed Unit Claims.
                    (If such calculation otherwise would result in such Holder receiving a fractional
                    Liquidation Trust Interest any resulting fractional Liquidation Trust Interests will be
                    rounded to the nearest hundredth of such Liquidation Trust Interest with five thousandths
                    thereof rounded up to the next hundredth). Distributions of Cash on account of the Class
                    A Liquidation Trust Interests and Class B Liquidation Trust Interests will be made in
                    accordance with the Liquidation Trust Interests Waterfall, including an initial
                    Distribution of Cash to Holders of Class A Liquidation Trust Interests targeted to be
                    made by December 31, 2018 (after the Plan Effective Date) from the Initial Distribution
                    Fund, which is Cash in a range targeted at $42.5 to $85.0 million in the aggregate.

         •          Holders of Allowed Non-Debtor Loan Note Claims6 who prevail through litigation that
                    they hold a valid and perfected Secured Claim will receive Cash from the Liquidation
                    Trust in the amount of such Holder’s Allowed Claim to the extent such Allowed Claim is
                    a Secured Claim, with post-Confirmation interest thereon at the applicable contract rate,
                    and any Holder of such Allowed Claim shall release (and by the Confirmation Order shall
                    be deemed to release) all Liens against any Estate Assets. All other Holders of these
                    Claims will be reclassified into Class 3 and their Claims will be treated as if such Claims
                    had always been part of Class 3. In order to avoid the need for significant litigation
                    expense and delay, the Debtors encourage all recipients of a Class 6 Ballot to choose
                    to have their Claims reclassified in Class 3 pursuant to the procedures set forth in
                    the Disclosure Statement Order and Class 6 Ballot.

         •          Holders of Allowed Subordinated Claims will retain a residual right to receive Cash that
                    remains in the Liquidation Trust after the final administration of all Liquidation Trust

         6
                A Schedule of Non-Debtor Loan Note Claims is attached hereto as Schedule 2.

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                    Assets and the complete satisfaction of all senior payment rights within the Liquidation
                    Trust Interests Waterfall.

         •          As of the Effective Date, all Equity Interests in the Debtors shall be deemed void,
                    cancelled, and of no further force and effect. On and after the Effective Date, Holders of
                    Equity Interests shall not be entitled to, and shall not receive or retain any property or
                    interest in property under the Plan on account of such Equity Interests.

         •          In accordance with sections 3.4, 3.6, and 3.7 of the Plan, each Noteholder and Unitholder
                    may agree, by electing on its Ballot, to assign to the Liquidation Trust all Causes of
                    Action that any Noteholder or Unitholder has against any Person that is not a Released
                    Party and that are related in any way to the Debtors. The relative share of Liquidation
                    Trust recoveries for any such electing Noteholder (to the extent its Claims are ultimately
                    treated as part of Class 3) or Unitholder will be enhanced by having the amount that
                    otherwise would be its Net Note Claim or Net Unit Claim increased by multiplying it by
                    the Contributing Claimants Enhancement Multiplier (i.e., 105%). Noteholders and
                    Unitholders also may choose to make such election because aggregating all Contributed
                    Claims and similar Liquidation Trust Actions may enable the pursuit and settlement of
                    such litigation claims in a more efficient and effective manner.

         •          In accordance with Section 5.8 of the Plan, subject to the rights of Allowed Other
                    Secured Claims and the reservations set forth in such Section 5.8, the Fund Debtors will
                    be substantively consolidated into Woodbridge Mortgage Investment Fund 1, LLC and
                    the Other Debtors will be substantively consolidated into Woodbridge Group of
                    Companies, LLC.

         •          Any Intercompany Claims that could be asserted by one Debtor against another Debtor
                    will be extinguished immediately before the Effective Date with no separate recovery on
                    account of any such Claims and any Intercompany Liens that could be asserted by one
                    Debtor regarding any Estate Assets owned by another Debtor will be deemed released
                    and discharged on the Effective Date; provided, however, that solely with respect to any
                    Secured Claim of a non-debtor as to which the associated Lien would be junior to any
                    Intercompany Lien, so as to retain the relative priority and seniority of such
                    Intercompany Claim and associated Intercompany Lien, the otherwise released
                    Intercompany Claim and associated Intercompany Lien will be preserved for the benefit
                    of, and may be asserted by (a) the Liquidation Trust as to any Collateral that is Cash and
                    (b) otherwise, the Wind-Down Entity.

         •          The Liquidation Trust will be created to (a) most effectively and efficiently pursue the
                    Liquidation Trust Actions (including the Contributed Claims) for the collective benefit of
                    all the Liquidation Trust Beneficiaries, (b) to own the Wind-Down Entity and receive the
                    net proceeds of real estate sales, and (c) to pay Distributions, in accordance with the Plan,
                    to Noteholders, Holders of General Unsecured Claims, and Unitholders in respect of their
                    Liquidation Trust Interests.




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                 Pursuant to the Plan, Claims in Class 3, Class 4, Class 5, and Class 6 are Impaired by,
         and entitled to receive a Distribution under, the Plan, and only the Holders of Claims in those
         Classes that are Allowed Claims or have been deemed allowed for voting purposes are entitled to
         vote to accept or reject the Plan. Only Holders of Claims in Class 3, Class 4, Class 5, or Class 6
         as of the dates specific in the Disclosure Statement Order (the “Voting Record Date”) may vote
         to accept or reject the Plan. For Holders of Claims in Classes 1, 2, 4, and 7, August 21, 2018
         shall be the Voting Record Date. For Holders of Claims in Classes 3, 5, and 6, December 4,
         2017 shall be the Voting Record Date.

                Pursuant to the Plan, Claims in Class 1 and Class 2 are Unimpaired by the Plan, and such
         Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

                 The Debtors have determined not to solicit the votes of Holders of any Subordinated
         Claims in Class 7, and such Holders shall be deemed to have rejected the Plan and, therefore,
         such Holders are not entitled to vote on the Plan. Pursuant to the Plan, Equity Interests in Class 8
         will not receive or retain any property under the Plan on account of such Equity Interests, and are
         therefore deemed to reject the Plan and are not entitled to vote on the Plan.

                           2.      Solicitation Materials

                The Debtors, with the approval of the Bankruptcy Court, have engaged Garden City
         Group, LLC (the “Voting Agent”) to serve as the voting agent to process and tabulate Ballots
         and to generally oversee the voting process. The following materials constitute the solicitation
         package (the “Solicitation Package”):

         •          This Disclosure Statement, including the Plan and all other Exhibits and Schedules
                    thereto;

         •          The Bankruptcy Court order approving this Disclosure Statement (the “Disclosure
                    Statement Order”) (excluding exhibits);

         •          The notice of, among other things, (i) the date, time, and place of the hearing to consider
                    Confirmation of the Plan and related matters and (ii) the deadline for filing objections to
                    Confirmation of the Plan (the “Confirmation Hearing Notice”);

         •          One or more Ballots, to be used in voting to accept or to reject the Plan and, in the case of
                    holders of Notes and Units, to elect to contribute claims to the Liquidation Trust, and
                    applicable instructions with respect thereto (the “Voting Instructions”);

         •          A pre-addressed, postage pre-paid return envelope;

         •          The Schedule of Principal Amounts and Prepetition Distributions (only for Creditors in
                    Class 3, Class 5, or, potentially, Class 6), which is attached hereto as Schedule 3, which
                    sets forth the Principal Amounts and Prepetition Distributions that, absent timely
                    objection properly made as described in the Ballot, will drive the specific Distributions
                    that Noteholders or Unitholders will receive pursuant to the Class 3 and Class 5 treatment
                    provisions of the Plan; and

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         •          Such other materials as the Bankruptcy Court may direct or approve.

                The Debtors, through the Voting Agent, will distribute the Solicitation Package in
         accordance with the Disclosure Statement Order. The Solicitation Package is also available
         without charge at the Debtors’ restructuring website at http://cases.gardencitygroup.com/wgc/.

                 On or before the date that is seven (7) days prior to the Voting Deadline (defined below),
         the Debtors will File a Plan Supplement. As the Plan Supplement is updated or otherwise
         modified, it will be made available without charge at the Debtors’ restructuring website at
         http://cases.gardencitygroup.com/wgc/.

                If you are the Holder of a Claim and believe that you are entitled to vote on the Plan, but
         you did not receive a Ballot or your Ballot is damaged or illegible, or if you have any questions
         concerning voting procedures, you should contact the Voting Agent by writing to:

                    Woodbridge Group of Companies, LLC
                    c/o Garden City Group
                    P.O. Box 10545
                    Dublin, Ohio 43017-0208
                    Toll Free: 1-888-735-7613
                    Email: WGCInfo@choosegcg.com

                If your Claim is subject to a pending claim objection and you wish to vote on the Plan,
         you must File a motion pursuant to Bankruptcy Rule 3018 with the Bankruptcy Court for the
         temporary allowance of your Claim for voting purposes and your Claim or portion thereof, as
         applicable, must be temporarily allowed by the Bankruptcy Court for voting purposes by the
         Voting Deadline or you will not be entitled to vote to accept or reject the Plan.

              THE DEBTORS AND THE LIQUIDATION TRUST, AS APPLICABLE,
         RESERVE THE RIGHT, THROUGH THE CLAIM OBJECTION PROCESS, TO
         OBJECT TO OR SEEK TO DISALLOW OR SUBORDINATE ANY CLAIM FOR
         DISTRIBUTION PURPOSES, EXCEPT AS MAY BE EXPRESSLY PROVIDED
         OTHERWISE IN THE PLAN OR CONFIRMATION ORDER.

                           3.     Voting Instructions and Procedures

                 As set forth in the Disclosure Statement Order, all votes to accept or reject the Plan must
         be cast by using the Ballots enclosed with the Solicitation Packages or otherwise provided by the
         Debtors or the Voting Agent. No votes other than ones using such Ballots will be counted, except
         to the extent the Bankruptcy Court orders otherwise. The Bankruptcy Court has fixed the Voting
         Record Date for the determination of the Holders of Claims who are entitled to (a) receive a copy
         of this Disclosure Statement and all of the related materials and (b) vote to accept or reject the
         Plan.

                 After carefully reviewing the Plan, this Disclosure Statement, and the detailed
         instructions accompanying your Ballot, you are asked to indicate your acceptance or rejection of
         the Plan by voting in favor of or against the Plan on the accompanying Ballot.

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                The deadline to vote on the Plan is October 8, 2018 at 4:00 p.m. (prevailing Eastern
         Time) (the “Voting Deadline”). In order for your vote to be counted, your Ballot must be
         properly completed in accordance with the Voting Instructions on the Ballot, and actually
         received no later than the Voting Deadline at the following address:

                           By Regular Mail:

                    Woodbridge Group of Companies, LLC
                    c/o Garden City Group
                    P.O. Box 10545
                           Dublin, Ohio 43017-0208
                           Overnight Courier, or Hand Delivery, to:

                    Woodbridge Group of Companies, LLC
                    c/o Garden City Group
                    5151 Blazer Parkway, Suite A
                    Dublin, Ohio 43017

                 Only the Holders of Allowed Claims or Claims that are deemed allowed for purposes of
         voting on the Plan in Class 3, Class 4, Class 5, or Class 6 as of the Voting Record Date are
         entitled to vote to accept or reject the Plan, and they may do so by completing the appropriate
         Ballots and returning those Ballots in the envelope provided to the Voting Agent so as to be
         actually received by the Voting Agent by the Voting Deadline. Each Holder of a Claim must
         vote its entire Claim either to accept or to reject the Plan and may not split such vote. The Ballots
         will clearly indicate the appropriate return address. It is important to follow the specific Voting
         Instructions provided on each Ballot.

                 Unless otherwise provided in the Voting Instructions accompanying the Ballots, the
         following Ballots will not be counted in determining whether the Plan has been accepted or
         rejected:

         •          Any Ballot that fails to clearly indicate an acceptance or rejection, or that indicates both
                    an acceptance and a rejection, of the Plan;

         •          Any Ballot received after the Voting Deadline, except if the Debtors have granted an
                    extension of the Voting Deadline with respect to such Ballot in writing, or by order of the
                    Bankruptcy Court;

         •          Any Ballot containing a vote that the Bankruptcy Court determines was not solicited or
                    procured in good faith or in accordance with the applicable provisions of the Bankruptcy
                    Code;

         •          Any Ballot that is illegible or contains insufficient information to permit the identification
                    of the Claim Holder;

         •          Any Ballot cast by a Person that does not hold a Claim in the voting Class; and

         •          Any Ballot that is not signed or does not contain an original signature.
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                 The Ballots also permit each Holder of a Class 3 Claim, Class 5 Claim, or a Class 6
         Claim to elect to assign its Contributed Claims to the Liquidation Trust. By electing such option
         on its Ballot, the applicable Noteholder or Unitholder agrees that, subject to the occurrence of the
         Effective Date and the formation of the Liquidation Trust, it will be deemed to have, among
         other things, assigned its Contributed Claims to the Liquidation Trust. Pursuant to the Plan,
         “Contributed Claims” are all Causes of Action of any Noteholder or Unitholder that is a
         Contributing Claimant (a) against any Person that is not a Released Party and (b) related in any
         way to the Debtors, their predecessors, their respective affiliates, or any Excluded Parties. For
         the avoidance of doubt, “Contributed Claims” do not include the Note Claims or Unit Claims
         being asserted against any Debtor that are held, respectively, by Noteholders and Unitholders.
         The relative share of Liquidation Trust recoveries for any such electing Class 3 Noteholder or
         Class 5 Unitholder (or Holder of a Class 6 Non-Debtor Note Claim that has its Claim reclassified
         into Class 3 under the Plan) will be enhanced by having the amount that otherwise would be its
         Net Note Claim or Net Unit Claim increased by multiplying it by the Contributing Claimants
         Enhancement Multiplier (i.e., 105%). Noteholders and Unitholders also may choose to make
         such election because aggregating all Contributed Claims and similar Liquidation Trust Actions
         may enable the pursuit and settlement of such litigation claims in a more efficient and effective
         manner.

                 Any party who has previously submitted to the Voting Agent prior to the Voting
         Deadline a properly completed Ballot may revoke such Ballot and change its vote or elections by
         submitting to the Voting Agent prior to the Voting Deadline a subsequent properly completed
         Ballot for acceptance or rejection of the Plan. In the case where multiple Ballots are received
         from the same Holder with respect to the same Claim prior to the Voting Deadline, the last
         timely received, properly executed Ballot will be deemed to reflect that voter’s intent and will
         supersede and revoke any prior Ballot. Any party who has delivered a properly completed Ballot
         for the acceptance or rejection of the Plan that wishes to withdraw such acceptance or rejection
         rather than changing its vote may withdraw such acceptance or rejection by delivering a written
         notice of withdrawal to the Voting Agent at any time prior to the Voting Deadline. To be valid, a
         notice of withdrawal must (i) contain the description of the Claims to which it relates and the
         aggregate principal amount represented by such Claims, (ii) be signed by the withdrawing party
         in the same manner as the Ballot being withdrawn, (iii) contain a certification that the
         withdrawing party owns the Claims and possesses the right to withdraw the vote sought to be
         withdrawn, and (iv) be actually received by the Voting Agent prior to the Voting Deadline.

              ALL BALLOTS ARE ACCOMPANIED BY VOTING INSTRUCTIONS. IT IS
         IMPORTANT THAT THE HOLDER OF A CLAIM ENTITLED TO VOTE FOLLOW
         THE SPECIFIC INSTRUCTIONS PROVIDED WITH EACH BALLOT.

                 If you have any questions about (a) the procedure for voting your Claim or making
         elections on your Ballot, (b) the Solicitation Package that you have received, or (c) the amount of
         your Claim, or if you wish to obtain, at your own expense (unless otherwise specifically required
         by Bankruptcy Rule 3017(d)), an additional copy of the Plan, this Disclosure Statement, or any
         appendices, schedules, or exhibits to such documents, please contact the Voting Agent at the
         address specified above. Copies of the Plan, Disclosure Statement, and other documents Filed in
         these Chapter 11 Cases may be obtained free of charge at the Debtors’ restructuring website at
         http://cases.gardencitygroup.com/wgc/. Documents Filed in these Chapter 11 Cases may also be
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         examined between the hours of 8:00 a.m. and 4:00 p.m., prevailing Eastern Time, Monday
         through Friday, at the Office of the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd
         Floor, Wilmington, Delaware 19801.

                The Voting Agent will process and tabulate Ballots for the Classes entitled to vote to
         accept or reject the Plan and will File a voting report (the “Voting Report”) on or before October
         19, 2018. The Voting Report will, among other things, describe every Ballot that does not
         conform to the Voting Instructions or that contains any form of irregularity, including, but not
         limited to, those Ballots that are late, illegible (in whole or in material part), unidentifiable,
         lacking signatures, lacking necessary information, or damaged.

              THE DEBTORS URGE HOLDERS OF CLAIMS WHO ARE ENTITLED TO
         VOTE TO TIMELY RETURN THEIR BALLOTS AND TO VOTE TO ACCEPT THE
         PLAN BY THE VOTING DEADLINE.

                             4.      Confirmation Hearing and Deadline for Objections to Confirmation

                 Objections to Confirmation of the Plan must be Filed and served on the Debtors and
         certain other entities, all in accordance with the Confirmation Hearing Notice, so that such
         objections are actually received by no later than October 8, 2018 at 4:00 p.m. (prevailing
         Eastern Time). Unless objections to Confirmation of the Plan are timely served and Filed in
         compliance with the Disclosure Statement Order, they may not be considered by the Bankruptcy
         Court. For further information, refer to Section VI of this Disclosure Statement, “Confirmation
         of the Plan.”

                    II.      BACKGROUND REGARDING THE FRAUDULENT ENTERPRISE

                    A.       The Determination that Shapiro Operated the Prepetition Debtors as a Ponzi
                             Scheme

                 The Debtors are part of a group of affiliated entities (collectively, the “Woodbridge
         Entities”) formed by, and formerly controlled by, Robert Shapiro (“Shapiro”). The Debtors
         believe that Shapiro used the prepetition Debtors to perpetrate a massive Ponzi scheme.11
         Specifically, the Debtors believe12 that:

         11
                The description of the Ponzi scheme set forth in this section is drawn almost exclusively from the factual
                background set forth in the SEC’s Motion by the U.S. Securities and Exchange Commission for Order Directing
                the Appointment of a Chapter 11 Trustee [Docket No. 157] (the “SEC Trustee Motion”) and the SEC’s
                Memorandum of Law in Support of Ex Parte Emergency Motion for Asset Freeze and Other Relief, filed in the
                Florida District Court in the lawsuit Securities and Exchange Commission v. Robert Shapiro, et al., Case No.
                17-24624 (S.D. Fl. 2017), which were prepared and filed based on the SEC’s extensive factual investigation and
                forensic analysis of the Debtors.
         12
                Pursuant to the Plan Term sheet, the Plan will acknowledge and admit that the Debtors operated as a Ponzi
                scheme since at least August 2012 , which scheme was discovered no later than December 2017 when the SEC
                unsealed its action against Robert Shapiro and others and alleged facts evidencing such Ponzi scheme. To the
                extent that the Bankruptcy Court does not confirm the Plan, the Debtors and each of the three
                “Committees” reserve all of their respective rights (and/or defenses) respecting the characterization and the
                ramifications of the massive fraud upon investors and other creditors.

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                    (i) beginning no later than July 2012 through December 1, 2017, Shapiro used his web of
                         more than 275 limited liability companies, including the prepetition Debtors, to
                         conduct a massive Ponzi scheme raising more than $1.22 billion from over 10,000
                         unsuspecting investors nationwide,

                    (ii) because Shapiro had no other significant sources of cash inflows to pay interest and
                         principal to existing investors, he used $368 million of new investor funds to pay
                         false “returns” to existing investors, and

                    (iii) Shapiro also used investor money to pay approximately $64.5 million in
                         commissions to sales agents that sold these fraudulent “investments” to Noteholders
                         and Unitholders, and used approximately $21.2 million of investor money for
                         Shapiro’s personal benefit and the benefit of his related entities or family members.
                         For example, Shapiro charged at least approximately $9 million dollars on credit
                         cards which were paid for nearly entirely by one or more prepetition Debtor. In fact,
                         about 99% of the payments made toward those credit cards were derived from the
                         prepetition Debtors. Shapiro charged personal items, including extravagant travel
                         expenses, luxury brand items, and furnishings. For example, Shapiro used investor
                         funds on at least the following: (i) $200,000 at Four Seasons Hotels and Ritz Carlton
                         Hotels, (ii) $34,000 on limousine services, (iii) $1.6 million on home furnishings,
                         (iv) $1.4 million on luxury retail purchases like Louis Vuitton and Chanel,
                         (v) $600,000 on political contributions, (vi) $400,000 on jewelry purchases, and
                         (vii) $308,000 on wine. In addition to the credit card charges, Shapiro spent
                         additional investor funds as follows: (i) $3.1 million for chartering private planes,
                         (ii) $1.2 million in alimony to his ex-wife, (iii) $340,000 in luxury automobiles, and
                         (iv) $130,000 on country club fees. The prepetition Debtors and Shapiro also paid
                         nearly $1 million to a rare coin and precious metal firm, purportedly for client gifts.

                 Shapiro’s scheme involved outright deception of Noteholders and Unitholders. Shapiro
         raised money from Noteholders and Unitholders under the false premise that such funds would
         be used to make real estate-related loans to unrelated third-party borrowers at favorable loan-to-
         value ratios, with such unrelated third-party borrowers being required to make regular monthly
         interest payments to the prepetition Debtors—which monthly interest payments were the
         supposed source of monthly returns to the prepetition Debtors’ investors. In reality, however,
         Shapiro overwhelmingly did not use investors’ funds to make loans to unrelated third-party
         borrowers. Instead, Shapiro created disguised affiliates—the PropCos and MezzCos—to whom
         money was “loaned” (i.e., evidenced by documents, but without any ability to trace particular
         funds to a particular PropCo or MezzCo). Having no cash or source of cash (other than the
         projected proceeds of sale of properties of the PropCos), the PropCos and MezzCos had no
         ability to service their debts’ contractual periodic interest obligations, and only uncertain means
         to redeem principal or pay interest in arrears.

                 Because the prepetition Debtors loaned money overwhelmingly to affiliates with no
         ability to service debt, the prepetition Debtors generated nearly no cash flows from any
         operations. From July 11, 2012 through September 30, 2017, the prepetition Debtors generated
         only approximately $13.7 million in interest payments from unaffiliated third-party borrowers.
         As early as the third quarter of 2012 (the first quarter in which there were funds received from
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         investors), WGC did not generate sufficient income for operating expenses, investor interest
         payments, and investor redemptions. Until the first quarter of 2013, WGC utilized a cash
         balance carried over from the activities of Woodbridge Structured Funding, LLC (“WSF”) and
         funds received from other Shapiro-related entities to fund the cash flow deficits.13 Beginning in
         the second quarter of 2013, WGC had continuing deficits in each quarter and the only source of
         funds available to fund the deficits was new investor funds. This deficit grew to more than
         $250 million as of September 2017. As of April 28, 2017, out of $736 million in loans
         outstanding, $718 million (98%) were due from prepetition Debtor-affiliated entities. These
         “borrowers” were not making interest payments and the prepetition Fund Debtors simply
         recorded interest income for book purposes only.

                 Importantly, as noted above, Shapiro is no longer in control of the Debtors and no longer
         has any involvement whatsoever with the Debtors. The Plan described by this Disclosure
         Statement has been formulated by the Debtors’ new management and advisors, all of whom are
         completely independent of Shapiro, and has been developed in close consultation with numerous
         creditor and investor constituencies, as described below.

                    B.       Debtors’ Organizational Structure

               The Woodbridge Entities are all directly or indirectly owned by RS Protection Trust
         (“RS Trust”), an irrevocable trust settled under Nevada law, of which Shapiro is the trustee.
         Members of Shapiro’s family are the sole beneficiaries of RS Trust. An organization chart of the
         Woodbridge Entities is attached as Exhibit A to the Declaration of Lawrence R. Perkins in
         Support of the Debtors’ Chapter 11 Petitions and Requests for First Day Relief [Docket No. 12].

                    The Debtors organizational structure broadly consisted of three “silos.”

                         •   First, Woodbridge Group of Companies, LLC (“WGC”) was the principal
                             operating company of the enterprise and held the primary distributing bank
                             account for the Woodbridge Entities. WGC managed contractual relationships
                             with the architects, contractors, and construction companies engaged in the
                             development of the Woodbridge Entities’ real properties.

                         •   Second, WMF Management, LLC (“WMF”) managed the Debtors’ retail
                             fundraising operation. WMF directly owned seven fund entities (collectively, the
                             “Fund Debtors”14). As described in more detail below, the Fund Debtors,
                             prepetition, fraudulently raised money from thousands of retail investors by
                             selling Notes and Units.

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                WSF was in the business of purchasing structured settlements, annuity, and lottery payments, and it raised
                money from investors to buy the annuity streams at a discount. The investor would then purportedly receive the
                payment stream.
         14
                The Fund Debtors are the following Debtors: (i) Woodbridge Mortgage Investment Fund 1, LLC (“Fund 1”);
                (ii) Woodbridge Mortgage Investment Fund 2, LLC (“Fund 2”); (iii) Woodbridge Mortgage Investment Fund 3,
                LLC (“Fund 3”); (iv) Woodbridge Mortgage Investment Fund 3A, LLC (“Fund 3A”); (v) Woodbridge
                Mortgage Investment Fund 4, LLC (“Fund 4”); (vi) Woodbridge Commercial Bridge Loan Fund 1, LLC
                (“Bridge Loan Fund 1”); and (vii) Woodbridge Commercial Bridge Loan Fund 2, LLC (“Bridge Loan Fund 2”).

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                         •   Third, the Woodbridge Entities include a network of over 200 special purpose
                             vehicle entities that hold real properties (the “PropCos”), 152 of which are
                             Debtors, nearly all of which hold an individual real property asset. Most of the
                             PropCos are, in turn, wholly owned by related special purpose vehicle entities (the
                             “MezzCos”), the sole assets of which are the equity of the PropCos; a total of
                             138 MezzCos are Debtors.

                Shapiro was formerly, but is no longer, the president of WGC. Shapiro previously
         maintained sole operational control over WGC and its affiliated entities—most, but not all, of
         which are Debtors. Historically, there was no board of directors or any other executives with
         decision-making authority, and Shapiro maintained absolute control over the entities’ day-to-day
         operations. WGC was the principal operating company of Shapiro’s businesses and employed
         over 140 people in offices in six states. Shapiro identified the properties underlying the entities’
         investments, approved every real estate purchase, selected the amount and type of investments
         sold, determined sales agents’ commissions, and calculated the company’s potential profits.
         Shapiro had sole signature authority over all of the Debtors’ bank accounts.

                    C.       Shapiro’s Fundraising Scheme

                 The prepetition Debtors sold investors two primary products, a five-year private
         placement security (i.e., Units) and a twelve to eighteen month promissory note security called
         First Position Commercial Mortgages or “FPCMs” (i.e., Notes),15 which, the prepetition Debtors
         claimed, were based on the purported revenues the prepetition Debtors purportedly would
         receive from issuing short-term loans to unrelated third-party property owners. As explained
         herein, none of this was remotely true—the prepetition Debtors did not make these short-term
         loans to third-party property owners, and instead created disguised affiliates to whom money was
         “loaned,” which had no ability to service debt.

                             1.       Units

                 During the period from August 2012 through December 1, 2017, prepetition Debtor
         WMF offered Units (the “Unit Offerings”) through the prepetition Fund Debtors, which were
         purported mortgage investment funds and bridge loan funds, pursuant to purported exemptions
         under Rules 506(b) and (c) of Regulation D of the Securities Act, collectively seeking to raise at
         least $435 million from investors. WMF admits it ultimately raised at least $226 million from
         nearly 1,583 Unitholders.

                 The prepetition Debtors purportedly limited each of the Unit Offerings to accredited
         investors with a $50,000 minimum subscription and provided for a five-year term with a 6% to
         10% aggregate annual return paid monthly and a 2% “accrued preferred dividend.” At the end of
         the five-year term, Unitholders would also be entitled to a distribution based on the prepetition
         Debtors’ profits. In the offering memoranda for each of the Unit Offerings, the prepetition

         15
                The prepetition Debtors also sold “acquisition and development” (or “A&D”) and “mezzanine” promissory note
                securities, which were similar in structure to FPCMs but with different maturities, interest, and collateral. For
                purposes of the Plan and this Disclosure Statement, all of these promissory note securities are referred to as
                “Notes.”

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         Debtors represented to investors that their funds would be used for real estate acquisitions and
         investments. The Unit Offerings, in effect, were purported to be investments into pooled notes.
         For example, the offering memoranda stated, “[t]he Company plans to use the net proceeds from
         this offering to invest in first mortgages.” The prepetition Debtors and Shapiro used Unitholders’
         funds to purchase at least 193 residential and commercial properties located primarily in Los
         Angeles, California, and Aspen, Colorado.

                             2.       Notes

                 During the period from August 2012 through December 1, 2017, the prepetition Debtors
         issued Notes to pools of private investors who each contributed at least $25,000.16 Many of these
         pools contained 40 or more investors. As described in more detail below, the prepetition Debtors
         had a double-barreled placement strategy, including a sizeable direct sales force, and a national
         network of purportedly independent sales agents; the direct salespeople and members of the
         agent network received rates of compensation for the placement of Notes far in excess of the
         compensation typically offered for placing (legitimate) low-risk fixed income securities. The
         prepetition Debtors and sales agents told investors that the prepetition Debtors were making
         short-term loans, between $1 million and $100 million, to bona-fide third-party commercial
         property borrowers at high rates of interest, approximately 11%-15%, secured by a first-position
         mortgage on the property. The prepetition Debtors and sales agents promised Noteholders 5% to
         8% annual interest paid monthly with a return of their principal at the end of their note’s term
         and assigned each investor a pro rata portion of the applicable prepetition Fund Debtor’s putative
         first-position lien interest in the underlying property. The prepetition Debtors (and intentionally
         or not, the sales agents) misled investors by stating that the prepetition Debtors would receive the
         spread between what the underlying borrowers paid the prepetition Debtors and what the
         prepetition Debtors were paying the investors. The prepetition Debtors falsely represented on
         their website and in sales materials (delivered onward, in the case of sales agent placements) that
         they provided loan-to-value ratios of approximately 60-70%, ensuring that the “properties that
         secure the mortgages are worth considerably more than the loans themselves at closing.” The
         prepetition Debtors also falsely assured investors that, at the end of the one-year term, the
         underlying borrower was obligated to repay the applicable prepetition Fund Debtor the principal
         amount of the loan and, if it defaulted, the prepetition Fund Debtor could (and would) foreclose
         on the property to recover the amount owed.

                 Each of the Notes was evidenced by an individual promissory note issued pursuant to a
         loan agreement (individually, a “Noteholder Loan Agreement”). Pursuant to the terms of each
         Noteholder Loan Agreement, each Noteholder lent a fixed amount to an individual prepetition
         Fund Debtor for the stated purpose of partially funding a single one of three types of secured
         loans from such prepetition Fund Debtor to an unrelated third-party borrower. According to the
         documents created by or at the direction of Shapiro, with respect to each real property (which
         were actually owned not by unrelated third-party borrowers, but by disguised affiliates—the
         PropCos), up to three purportedly secured loans were created: (i) a loan from a prepetition Fund
         Debtor to a PropCo purportedly secured by a first lien mortgage on such property (referred to as

         16
                In some cases it appears certain “brokers” of Notes created special purpose vehicles to permit private investors
                of less than $25,000 to aggregate their investments to attain minimum purchase levels.

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         “senior” loans or “FPCMs”), (ii) a loan from the same prepetition Fund Debtor to the same
         PropCo purportedly secured by a second lien mortgage on such property (referred to as
         “development” or “acquisition and development” loans), and (iii) a mezzanine loan from the
         same prepetition Fund Debtor to the MezzCo that owns the sole membership interest in such
         PropCo, purportedly secured by a pledge of that MezzCo’s ownership interest in the PropCo.

                  Under each Noteholder Loan Agreement, the applicable prepetition Fund Debtor effected
         a putative assignment in favor of the applicable Noteholders of the prepetition Fund Debtor’s
         right, title, and interest in and to (i) the indebtedness held by the prepetition Fund Debtor issued
         by a particular MezzCo or PropCo, (ii) the promissory note evidencing such indebtedness,
         (iii) the mortgage or deed of trust securing such indebtedness (in the case of PropCo loans) or the
         pledge and security agreement securing the mezzanine loan (in the case of a MezzCo loan), and
         (iv) related title insurance policies in connection with such loan (collectively, the “Purported
         Noteholder Collateral”). Further, in connection with each Note, the applicable prepetition Fund
         Debtor entered into two related putative assignment documents: first, an assignment of
         promissory note, pursuant to which the prepetition Fund Debtor assigned to the Noteholder
         (without negotiating or delivering physical possession of the underlying documents) the
         prepetition Fund Debtor’s right, title, interest, claims, or rights in (i) the promissory note
         reflecting its loan to the applicable PropCo or MezzCo, and (ii) the related mortgage or deed of
         trust held by the applicable PropCo, or the related pledge and security agreement held by the
         applicable MezzCo, together with related rights, documents, accounts, and proceeds thereto; and
         second, a collateral assignment, pursuant to which the prepetition Fund Debtor assigned to the
         Noteholder its right, title, and interest in and to the same underlying documents, proceeds
         therefrom, rights thereunder, and documents related thereto. The effect of these documents, the
         prepetition Debtors asserted at that time, was to ensure that Noteholders were secured by the
         property purportedly backing their loan.

                 However, the Debtors believe that the transactions described in the Notes and the related
         loan documents are vastly different than the transactions that actually occurred. The documents
         generated by or at the direction of Shapiro are based on the fiction that the prepetition Fund
         Debtors actually loaned specific funds to unrelated third parties at favorable loan-to-value ratios
         and that those third parties would pay interest and principal to the prepetition Fund Debtors (or
         else the prepetition Fund Debtors would foreclose on the properties). In reality, almost no money
         at all flowed directly from the prepetition Fund Debtors to unrelated third parties. Rather,
         Shapiro created disguised affiliates (the PropCos and MezzCos) to which money was loaned
         with no ability to service debt. The PropCos and MezzCos purchased real properties, but had no
         source of cash to make monthly interest payments—thus leaving the prepetition Debtors without
         any significant source of revenue to pay investors’ periodic interest, and relying upon proceeds
         of property sales (inherently uncertain as to both time and amount) to pay principal or arrears of
         interest. Shapiro also directed the prepetition Debtors to use the funds raised from the investors
         for a variety of other purposes—including, but not limited to, overhead, commissions to brokers,
         personal expenses, and repayment of old investors using funds invested by new investors.

                 The prepetition Debtors did have one segment, known as “Riverdale,” which originated
         loans to unrelated third parties. Riverdale described itself as offering private money commercial
         financing to borrowers in need of alternative financing for real property purchases and
         refinances. Riverdale’s model was to lend up to 65% of appraised value, and typically priced
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         loans at 4%-6% origination fees plus interest of 12% per annum for a 12-month term with such
         loans secured by the underlying real property. The loans were funded by a prepetition Fund
         Debtor and then sometimes sold to third parties shortly after origination. For loans retained by
         the prepetition Debtors that were non-performing, the lending prepetition Debtor (a prepetition
         Fund Debtor) generally assigned the right to foreclose on the particular property to a different
         prepetition Debtor, and any foreclosures were thus brought in the name of the assignee
         prepetition Debtor (rather than the lending prepetition Fund Debtor). Currently, the portfolio of
         loans originated by Riverdale consist of the following four categories: (i) performing loans,
         consisting of one (1) loan with a balance of $373,989 as of July 31, 2018; (ii) non-performing
         (defaulted) loans, consisting of one (1) loan with a balance of $236,223 as of July 31, 2018;
         (iii) loans that are in default where the Debtors have commenced foreclosure proceedings on the
         subject property, consisting of 17 loans with a balance of $17,993,655 as of July 31, 2018; and
         (iv) loans where the Debtors have completed foreclosing on the subject property, which
         properties are now owned by Debtors, consisting of 18 properties with an estimated value
         ranging between $6,805,000 and $11,267,500. Unless the Holders of such Claims elect otherwise
         during the balloting process, Claims of Noteholders arising from the “Riverdale” segment are
         initially classified under the Plan in Class 6 (Non-Debtor Loan Note Claims) to the extent set
         forth in the Schedule of Non-Debtor Loan Note Claims (attached hereto as Schedule 2).

                    D.     Investor Funds Were Commingled and Cannot Be Traced to Particular
                           Properties

                  The funds that were invested by Noteholders and Unitholders were almost immediately
         commingled with funds of the various other prepetition Debtors. Even though the underlying
         loan documents reference a loan by a specific prepetition Fund Debtor to the applicable PropCo,
         the funds for property purchases typically originated from a commingled account and generally
         cannot be traced to any particular prepetition Debtor. In almost every single case, WGC—rather
         than any prepetition Fund Debtor or PropCo—was the only source of funds used to purchase or
         develop a property. Moreover, in many instances the price to purchase or develop a property had
         little or no relationship to the amount of money that was nominally received by the particular
         PropCo or to the amount of money that same PropCo promised to repay. For example, with
         respect to the prepetition Debtors’ property known as the “Owlwood Property,” one of the
         prepetition Debtors purchased such property in September 2016 for $90 million. Prepetition
         Fund Debtors made three loans nominally in respect of the Owlwood Property, in the aggregate
         amount of $112 million—well above the purchase price of the property. In other words, had this
         been a (structurally) legitimate financing of the Owlwood Property, it would have been almost
         125% financed, which is contrary to the favorable loan-to-value ratios touted by Shapiro. In
         addition, there is evidence that, on certain occasions, Shapiro issued Notes in respect of
         properties that the prepetition Debtors never actually acquired, including properties at
         778 Sarbonne Road in Los Angeles and 53 Huron Street in Brooklyn. Nevertheless, the PropCos
         and MezzCos purported to grant liens and security interests to the prepetition Fund Debtors to
         secure “loans” that the prepetition Fund Debtors did not actually make. Another example
         concerns the property at 800 Stradella Road in Los Angeles, where Shapiro issued about
         $24.7 million in “first-lien” Notes for the stated purpose of funding a $26 million prepetition
         Fund Debtor-to-PropCo loan that was never made (the PropCo instead took a $26 million loan
         from the third-party seller of the property at the time of acquisition).

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                    E.      The Prepetition Debtors’ Fraudulent Marketing and Sales Practices

               Investors often received a one-page description of the key terms of the Notes, a list of
         FAQs, and perfunctory examples of the supposed collateral properties, including a graphic that
         summarized the Notes as follows:




                The core premise of this pitch—that there would be “property owner[s] mak[ing]
         payments to Woodbridge”—was false. Virtually all the loans were made to WGC affiliates (i.e.,
         the PropCos and MezzCos), who earned no revenue and made no (and were unable to make any)
         payments.

                The Noteholders played no role in selecting or analyzing the underlying properties and,
         unless requested, were not provided the prepetition Debtors’ purported due diligence regarding
         the property. Shapiro instructed WGC’s Managing Director of Investments (“Head of Sales”) to
         fund certain Noteholders’ securities prior to any underlying property actually being purchased.17
         Many of the Noteholders were retired and approximately 2,600 investors used their Individual
         Retirement Accounts (“IRAs”) to fund their investments. And to work around the exclusion of
         assets such as Notes by many custodians of conventional IRAs, the prepetition Debtors

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                When questioned by the SEC staff during the course of its investigation, the Head of Sales refused to answer
                any questions, asserting his rights under the Fifth Amendment to the Constitution.

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         developed and executed a strategy for investors to create and fund IRAs with more liberal
         custodians, or to create “self-directed” IRAs which would in turn fund limited liability
         companies that could buy Notes without any custodial oversight. Recognizing this, the Head of
         Sales told Shapiro that “most people are placing their life savings and retirement funds into these
         investments.”

                WGC maintained an internal team of approximately 30 sales agents, led by the Head of
         Sales, responsible for soliciting Unitholders. Shapiro provided frequent, often daily,
         requirements to the Head of Sales of the number (“we need to raise 45 million in the next
         39 days”) and type (“I need $5 million in [Unitholders] in the next 2 weeks”) of investments that
         needed to be sold. To ensure compliance with these demands, Shapiro would either threaten his
         employees with termination or promise bonuses. Shapiro called for daily sales updates from the
         Head of Sales, who in turn requested additional amounts and types of securities to sell from
         Shapiro.

                 The prepetition Debtors also relied on a nationwide network of hundreds of purportedly
         “independent” external sales agents to solicit prospective Noteholders. These sales agents were
         typically very-small-firm or solo-practitioner wealth managers or investment consultants, some
         with state or SEC registration as investment advisers, some without any registration. It does not
         appear that any firm of broker-dealers or any larger wealth management firm was involved in
         placing Notes, though there appear to be instances where individuals associated with such firms
         may have done so.

                 Rather than facilitating these external sales agents’ independent scrutiny of the
         investment opportunity and development of materials regarding the investment opportunity
         suitable to their specific needs, the prepetition Debtors required the sales agents to provide
         prospective Noteholders only the information and sales materials that the prepetition Debtors
         provided them for dissemination to Noteholders. As such, the external sales agents solicited the
         general public through marketing materials created, and in many cases paid for, by the
         prepetition Debtors, which were disseminated via television commercials, radio ads and talk
         shows, newspaper ads, social media, newsletters, internet websites, YouTube videos, and in-
         person gatherings.

                 The prepetition Debtors did not require or evaluate whether the Noteholders were
         “sophisticated,” “accredited,” or otherwise had any particular financial acumen. Indeed,
         instructions from a company providing the prepetition Debtors with leads on potential investors
         remarked that leads that are followed up within 20 minutes of generation are “where your sales
         team will find the majority of low hanging, easiest to harvest fruit.”

                 In numerous marketing materials sent to Noteholders, the prepetition Debtors described
         this investment as “low risk,” “simpler,” “safe,” and “conservative” and stated that investor
         returns were generated by underlying borrowers’ interest payments. The prepetition Debtors also
         posted these documents online and instructed external sales agents to direct their clients to the
         company’s website to view them. As an example of a sales pitch, in August 2017, a WGC
         salesperson pitched a husband and wife over the telephone for more than 45 minutes to invest
         and stated:

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                    It’s a very good vehicle. One of the—the greatest things about it is that we’re
                    lending and not purchasing the properties and that we’re lending at low loan to
                    value ratios so there’s enough equity in those properties to protect us against a
                    market downturn or protect us from a property owner defaulting, so that if we do
                    have to foreclose, there’s enough equity there for us to be able to profit.

         (emphasis added). The salesperson was attempting to convince this husband and wife to invest
         $500,000.

                 The prepetition Debtors did not disclose or inform investors that several of their in-house
         sales agents had been previously censured or barred by the SEC, FINRA, or state securities
         regulators, and that they put external sales agents on their network without regard for any
         disciplinary history or current state or federal registration. None of the prepetition Debtors’ in-
         house sales force had a current SEC or FINRA registration in effect.

                  The prepetition Debtors compensated their external sales agents at a 9% wholesale rate,
         and the agents in turn offered the Notes to their investor clients at 5% to 8% annual interest—the
         sales agent received a commission equivalent to the difference. The prepetition Debtors paid
         external sales agents at least $64.5 million in commissions through this arrangement for
         soliciting funding for these sham investments. This compensation vastly exceeded the
         commissions payable for placement of the same face amount of legitimate low-risk fixed-income
         securities. External sales agents may also have collected “wrap” or other asset-based fees in
         addition to the compensation paid by the prepetition Debtors.

                 The solicitation of Unit purchases as a victim’s first Woodbridge investment generally
         followed the lines of the solicitation of a Note investment described above, including false
         disclosures, absence of suitability determinations, and excessive sales compensation. In
         addition, the prepetition Debtors maintained a very active program for investors to convert, or
         “roll,” their investments from Notes to Units, which benefited Shapiro’s fraudulent scheme
         because Units had a much longer term and thus extended the time frame for soliciting new
         investments from victims to handle the notional maturity of an investment.

                 Shapiro demanded that the Head of Sales and his internal sales team continuously seek to
         move Noteholders into one of the Unit Offerings. The prepetition Debtors’ internal sales team
         solicited each Noteholder approximately 90 days after they invested to “move your loan from the
         First Position Mortgage . . . even if your term hasn’t expired yet—to our higher-return Mortgage
         Investment Fund.” The prepetition Debtors threatened to terminate their relationship with
         external sales agents who would not permit them to contact the sales agents’ clients about
         moving from the Notes to the Units. Aggressive solicitation was encouraged, as for example, on
         March 4, 2016, the Head of Sales celebrated with his sales team that “even without being able to
         fund due to lack of inventory we funded over 37 million in [Notes] and 6 million in [Units]!!!!!!!
         By far our biggest month to date!!!!!” and congratulated his sales team, stating “WE ARE
         WINNERS!!!!” The prepetition Debtors successfully convinced 90% of the Noteholders to re-
         enroll when terms became due, thus avoiding having to pay large returns of principal.

                The prepetition Debtors persisted in their issuance of fraudulent securities despite
         extensive pre-bankruptcy regulatory action. Despite being barred from soliciting and selling
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         Notes in numerous states (a result of the investigations described in Section II.F below), the
         prepetition Debtors continued to do so at an alarming rate. After cease and desist orders were
         entered in Massachusetts, Pennsylvania, Texas, and Arizona, the prepetition Debtors nonetheless
         raised approximately $3.2 million, $2.6 million, $2.3 million, and $900,000, respectively, from
         investors in those states. WGC’s internal sales agents misrepresented the dispositions of these
         regulatory actions to external sales agents, claiming the prepetition Debtors were “exonerated of
         any wrongdoing or fraudulent activity.” Moreover, on a sales-pitch call in July 2017 (during the
         course of the SEC’s ongoing investigation), a WGC salesperson falsely told a financial planner,
         “The SEC looked into us. We passed with flying colors,” touting that the product the prepetition
         Debtors were offering had a “zero default rate in anything we’ve had to offer.”

                 Shapiro hired a public relations firm to manipulate internet search engine results so that
         investors who looked up the prepetition Debtors would not see the state regulatory orders filed
         against the companies. Also, at Shapiro’s specific instructions, WGC made a series of negligible
         charitable donations with the sole purpose of generating a stream of positive press releases to
         push these regulatory actions off the front page of internet search results relating to the
         prepetition Debtors.

                 Indeed, prior to their bankruptcy filings, the prepetition Debtors created two new private
         placement offerings, “Fund 5” and “Bridge Loan Fund 3,” and the website promised “New
         Product Coming Soon!” The prepetition Debtors were attempting to transition investors into a
         new product called a Co-Lending Opportunity (“CLO”). The CLO mirrors the Notes in every
         material respect save one—the CLO’s term is for 9 months. In email communications, Shapiro
         and the Head of Sales contended that this small change ensured that the CLO was not a security
         and that the prepetition Debtors could circumvent the states’ regulatory agencies. Instead of
         disclosing this product to state regulators and ensuring that the terms of the new offering allayed
         their legitimate concerns, Shapiro and the Head of Sales decided to “switch first then settle
         quietly [with Colorado and California].”

                 Despite the prepetition Debtors representing that the claimed interest payments in the
         Notes emanated from bona-fide third party borrowers, almost all of the purported “borrowers”
         were PropCos and MezzCos—prepetition Debtors ultimately owned and controlled by the RS
         Trust. In practice, Shapiro directed the prepetition Debtors to use the funds raised from the Unit
         Offerings to purchase residential real estate, create a self-owned PropCo to hold title to each
         property, and then issue Notes to investors based on the value of the underlying property. The
         prepetition Debtors further falsely reassured investors, telling them not to worry about the risk of
         a (non-existent) third-party borrower failing to make its loan payments because the prepetition
         Debtors would continue to pay the investor their interest payments. For example, in a Frequently
         Asked Question brochure for the Notes, WGC stated the following:

                    Q: If the borrower does not make their payments to Woodbridge will I be informed?

                    A: This question is actually irrelevant, because Woodbridge would continue to make
                    monthly payments to you . . . and may or may not inform you of the underlying non-
                    payment. As long as Woodbridge continues to make regular payments to you, there
                    would be no reason to be concerned.

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                Assertions such as these by the prepetition Debtors led investors to believe their
         investments were safe no matter how the “borrower” performed. To support the
         misrepresentations, the prepetition Debtors and Shapiro provided Noteholders with the
         promissory notes between the underlying borrowers and the prepetition Fund Debtors. However,
         the prepetition Debtors did not disclose that the “borrowers” were in virtually all cases affiliated
         PropCos that earned no revenue—and did not even have bank accounts—and had no ability to
         make the interest or other payments the prepetition Fund Debtors needed to receive so they
         could, in turn, make payments to the Noteholders. Hence, in reality, the claimed interest
         “payments to Woodbridge” demonstrated in the prepetition Debtors’ “three circles” brochure,
         referenced above, did not exist.

                Shapiro and RS Trust made every effort to hide the fact that most of the third-party
         borrowers and owners of the underlying properties were actually Shapiro and his family. None of
         the publicly available documentation indicated that RS Trust was the ultimate owner of the
         PropCos and MezzCos purportedly doing the borrowing. Indeed, as early as 2014, a high-ranking
         WGC employee under Shapiro’s direction specifically instructed WGC’s Registered Agent to
         not include any member/manager information on the Certificates of Formation for certain
         LLCs.18 And when an investor asked Shapiro point blank for the name of the borrower his
         investment was being lent to, Shapiro responded that the prepetition Debtors do not provide
         borrowers’ names because it is “not the way to do business” and “we don’t want people pestering
         them.”

                 In April 2017, when one potential financial planner being pitched by a WGC salesperson
         pointed out his suspicion of this incestuous structure on a recorded sales pitch call, a WGC
         “quality assurance personnel” member alerted the Head of Sales stating that, “[External Sales
         Agent] seems to know an awful lot about our business model . . . . He also knows Bob [Shapiro]
         owns Sturmer Pippin,[19] stating Woodbridge is loaning money to ourselves.”

                  Similarly, Unitholders were told that their returns were generated by these “loans” as well
         as the prepetition Debtors’ property development. First, as with Noteholders, the prepetition
         Debtors did not disclose to Unitholders that the purported interest payments required by the
         promissory notes underlying the Notes were non-existent. Second, the prepetition Debtors failed
         to tell Unitholders that the profits from the development of properties were wholly inadequate to
         generate the promised returns. Indeed, there was no material source of cash inflows in the
         prepetition Debtors’ entire enterprise to pay interest and maturing Units and Notes.



         18
                Given that the corporate filings were predominantly in Delaware, with extremely limited public information, the
                SEC was forced to subpoena over two-hundred individual LLCs controlled by Shapiro, and then was forced to
                file a subpoena enforcement action in district court to obtain these documents after the LLCs did not respond to
                those subpoenas. The SEC received these formation documents pursuant to stipulated Court Order. See SEC v.
                235 Limited Liability Companies, 17-mc-23986 (S.D. Fla.). In addition, the SEC was forced to file a separate
                subpoena enforcement action to obtain, among other items, the company emails of Shapiro and Woodbridge’s
                Controller. See SEC v. Woodbridge Group of Companies, LLC, 17- mc-22665 (S.D. Fla.).
         19
                Sturmer Pippin, LLC is the PropCo which owns the Owlwood Property in Beverly Hills, California. The
                prepetition Debtors touted Owlwood in Note investor promotions. Owlwood is further discussed above.

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                    F.     Prepetition Investigations and Litigation

                 In the years leading up to the Initial Petition Date, the prepetition Debtors faced a variety
         of inquiries from state and federal regulators. In particular, in or around September of 2016, the
         SEC began investigating certain of the prepetition Debtors (and certain non-debtor affiliates) in
         connection with possible securities law violations, including the alleged offer and sale of
         unregistered securities, the sale of securities by unregistered brokers, and the commission of
         fraud in connection with the offer, purchase, and sale of securities. As of the Initial Petition Date,
         certain discovery-related disputes regarding administrative subpoenas issued by the SEC were
         proceeding before the District Court for the Southern District of Florida, but the SEC had not yet
         asserted any claims against any of the prepetition Debtors or their affiliates. Subsequent to the
         Initial Petition Date, the SEC commenced the SEC Action (as defined below) against, among
         other defendants, Shapiro, RS Trust, and the Debtors. The SEC Action is discussed further in
         Section III.Q below.

                 In addition to the SEC investigation, certain of the prepetition Debtors received
         information requests from state securities regulators in approximately 25 states. As of the Initial
         Petition Date, regulators in eight states had filed civil or administrative actions against one or
         more of the prepetition Debtors and certain of their sales agents, alleging they have engaged in
         the unregistered offering of securities in their respective jurisdictions and have unlawfully acted
         as unregistered investment advisors or broker-dealers. Five states—Massachusetts, Texas,
         Arizona, Pennsylvania, and Michigan—entered permanent cease and desist orders against one or
         more of the prepetition Debtors related to their alleged unregistered sale of securities. Several of
         these inquiries were resolved prior to the Initial Petition Date through settlements, which
         included the entry of consent orders. As discussed in more detail in Section III.M.1 below,
         certain of the Debtors entered into a consent order with California during the Chapter 11 Cases,
         and the Debtors also obtained Bankruptcy Court approval of an expedited process for seeking
         approval of consent orders going forward, resulting in entry into certain additional consent
         orders.

                 One or more Debtors are also defendants in several prepetition lawsuits not involving
         securities regulation, including, but not limited to, an employment discrimination lawsuit titled
         Kaila Alana Loyola v. Woodbridge Structured Funding LLC, Robert Shapiro, Lianna Balayan,
         Diana Balayan, Does 1-25, pending in Los Angeles Superior Court, which lawsuit is currently in
         the discovery phase.

                    G.     Events Leading to the Bankruptcy Filing and Shapiro’s Prepetition
                           Installation of New Management

                 In late 2017, Shapiro’s fraudulent scheme unraveled. As federal and state investigations
         intensified and unfavorable press reports began to emerge, the prepetition Debtors found it
         increasingly difficult to raise new capital from investors. As noted above, in classic Ponzi
         scheme fashion, the prepetition Debtors were reliant on funds from new investors to make the
         payments promised to existing Unitholders and Noteholders. When new investment dried up, the
         inability to make required Notes and Units servicing payments became inevitable; indeed, the
         prepetition Debtors were unable to make the December 1, 2017 interest and principal payments
         due on the Notes.
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                 With the securities investigations ramping up and a bankruptcy filing imminent, Shapiro
         installed a new team to commence the Chapter 11 Cases and manage the Debtors during their
         pendency. To accomplish this, on December 1, 2017, Shapiro, acting as trustee of RS Trust,
         directly or indirectly owned each of the prepetition Debtors, removed himself (and his affiliates)
         as manager of all the Initial Debtors and appointed Beilinson Advisory Group, LLC (“BAG”).
         Shapiro was also removed as an officer of each of the prepetition Debtors for which he
         previously served in such capacity.

                 To effectuate the prepetition transfer of management authority, Shapiro created a new
         entity, WGC Independent Manager, LLC (“WGCIM”), of which RS Trust was made the sole
         member. RS Trust appointed BAG as the sole manager of WGCIM. BAG is a financial
         restructuring and hospitality advisory group that specializes in assisting distressed companies.
         The terms of BAG’s appointment as manager of WGCIM were set forth in an engagement letter
         dated as of December 1, 2017. See Docket No. 12, Exh. F. The engagement letter provides,
         among other things, that WGC would pay BAG no less than $40,000 per month for an initial 12-
         month term regardless of whether WGC uses the services of BAG during the entire period. See
         id.

                 Shapiro, acting in his capacity as trustee of RS Trust, then exercised RS Trust’s
         ownership rights over certain of the prepetition Debtors to execute a written consent (the
         “Management Consent”) removing himself and his affiliates as manager of certain of such
         Debtors and appointing WGCIM as replacement manager. Following the execution of the
         Management Consent, a second consent was executed removing Shapiro from his capacity as an
         officer of each entity controlled by WGCIM. Also on December 1, 2017, BAG, following its
         appointment as manager of WGCIM, engaged SierraConstellation Partners LLC (“Sierra”) to
         provide the services of Lawrence Perkins, the founder and Chief Executive Officer of Sierra, as
         Chief Restructuring Officer for WGCIM (the “Initial CRO”).

                Although WGCIM was established to be an “independent” manager of the Debtors,
         WGCIM’s organizational documents provided that Shapiro, through RS Trust, had the ability to
         remove BAG (or any subsequent manager of WGCIM) with or without cause, subject to certain
         notice periods. See Docket No. 12, Exh. F. After the Initial Petition Date, the SEC expressed
         concern about Shapiro’s control over WGCIM, and the Debtors modified the provision to allow
         Shapiro to remove the manager of WGCIM only for cause. See Docket No. 84.

                On the same day they were appointed, BAG and the Initial CRO, on behalf of the Debtors
         entered into the following agreements with Shapiro or entities controlled by him (copies of
         which are available at Docket No. 12):

                    •     Transition Services Agreement: Pursuant to a Transition Services Agreement (the
                          “Transition Services Agreement”), WGC agreed to pay WFS Holding Co., LLC
                          (“WFS Holding”), an entity then controlled by Shapiro, $175,000 for consulting
                          services. The Transition Services Agreement purports to provide for, among other
                          things, certain consulting services to be provided by Shapiro, “as an agent of
                          Consultant.” As described below, following the appointment of the New Board,
                          the Bankruptcy Court entered an order authorizing the Debtors to reject the
                          Transition Services Agreement. The Debtors, under prior management, paid
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                           $175,000 to WFS Holding prepetition under the Transition Services Agreement.
                           No other amounts were paid.

                    •      Forbearance Agreement: The Debtors entered into a Forbearance Agreement,
                           pursuant to which, among other things, Shapiro was permitted to continue to
                           occupy certain of the Debtors’ real properties during the Chapter 11 Cases.

                    •      Contribution Agreement: Shapiro, through RS Trust, and WGC entered into a
                           Membership Interest Contribution Agreement, pursuant to which, among other
                           things, Shapiro purportedly ceded legal authority over certain Woodbridge
                           Entities while obtaining the right to recover certain proceeds from each sale of
                           certain assets “as an advance on distributions.” The Debtors believe this
                           agreement is not enforceable.

                    •      Residential Lease Agreements: Shapiro’s wife, as tenant, and certain Debtors, as
                           landlord, entered into four Residential Lease Agreements on December 1, 2017 in
                           respect of several real properties in California and Colorado. The Debtors and
                           Ms. Shapiro have executed a stipulation terminating such leases, which has been
                           approved by the Bankruptcy Court. See Docket No. 1690.

                 On the next business day, December 4, 2017, the 279 Initial Debtors (as defined below)
         filed their voluntary chapter 11 bankruptcy petitions.

                    H.     The Debtors’ Capital Structure

                           1.     Assets

                 The Debtors’ principal assets consist of a portfolio of 189 real properties, ranging in
         estimated value from approximately $50,000 to over $100,000,000 per property. These
         properties are in various stages of development or renovation. The Debtors’ assets also include
         Cash on hand of approximately $24.7 million (as of July 31, 2018). The Debtors also own a
         portfolio of third party loans and real estate owned (or “REO”) properties in various
         jurisdictions, with an estimated book value of approximately $10 million to $20 million.

                 In addition, the Debtors believe they possess Causes of Action against, among others,
         Shapiro, Shapiro’s affiliates, and others related to, among other things, their prepetition conduct
         or receipt of funds from the Debtors prior to the Petition Date. Under the Plan, all such Causes of
         Action (and other Causes of Action, including any Contributed Claims), as well as Avoidance
         Actions, will be preserved and vest in the Liquidation Trust as Liquidation Trust Actions.
         Attached hereto as Exhibit D is a non-exclusive analysis of the Liquidation Trust Actions that
         are being preserved under the Plan.

                    Aside from the foregoing, the Debtors are unaware of any other material assets.




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                        2.      Liabilities

                                (a)     Secured Debt

                As discussed in greater detail in Section III(b) below, certain Debtors borrowed a debtor-
         in-possession loan from Hankey Capital, LLC, secured by first-position priming liens in real
         property owned by certain of the Debtors. As of July 31, 2018, the balance owed on this loan
         was approximately $49 million.

                 The Internal Revenue Service (the “IRS”) has imposed a lien on the Debtors’ real
         property located at 4030 Longridge Avenue, Sherman Oaks, California, purportedly to secure an
         approximately $6 million tax liability owed to the IRS by Robert Shapiro. Although the liability
         is owed by Mr. Shapiro (not the Debtors) and the property is owned by the Debtors (and not Mr.
         Shapiro), the IRS has alleged that the Debtors are liable for Mr. Shapiro’s tax debt on an alter
         ego basis and/or a nominee theory. The Debtors are investigating the legal bases for the IRS’s
         position, and reserve all rights in connection therewith.

                 As discussed above, in connection with the fraudulent scheme, certain of the PropCos
         and MezzCos granted purported liens and security interests to the Fund Debtors to secure the
         repayment of funds purportedly loaned by the Fund Debtors to such PropCos and MezzCos for
         the purchase of particular properties (which liens and security interests were putatively assigned
         to Noteholders as part of the Purported Noteholder Collateral). In reality, due to the commingling
         discussed above, the Debtors believe they have no ability to trace the funds for property
         purchases to any particular Fund Debtor. Accordingly, as an integral component of the global
         settlement embodied in the Plan, any Intercompany Claims that could be asserted by one Debtor
         against another Debtor will be extinguished immediately before the Effective Date with no
         separate recovery on account of any such Claims and any Intercompany Liens that could be
         asserted by one Debtor regarding any Estate Assets owned by another Debtor will be deemed
         released and discharged on the Effective Date.

                 Certain Noteholders assert or have asserted that they hold valid, perfected security
         interests in (i) certain of the Debtors’ real properties, or (ii) the Purported Noteholder Collateral.
         As an initial matter, the Debtors believe the extinguishment of Intercompany Claims and
         Intercompany Liens between the Fund Debtors, on the one hand, and PropCos and MezzCos, on
         the other hand, renders this argument moot, as any assertion by Noteholders to security interests
         is premised on the existence and enforceability of the Intercompany Liens.

                However, even were such Intercompany Liens not extinguished, the Debtors believe that
         a Noteholder’s particular funds cannot be traced to the purchase of a particular Fund Debtor’s
         indebtedness and that none of the Noteholders’ security interests in the Purported Noteholder
         Collateral are properly perfected under applicable state law, which the Debtors believe is Article
         9 of the Delaware Commercial Code. Specifically, (i) the Debtors have confirmed that no
         Noteholder is in physical possession of any Purported Noteholder Collateral, see DEL. CODE
         ANN. tit. 6, § 9-313(a), and (ii) based on the Debtors’ investigation, no UCC-1 financing
         statement was filed in Delaware on behalf of any Noteholder with respect to any of the Purported
         Noteholder Collateral, see id. § 9-312(a). Pursuant to the settlement embodied in the Summary
         Plan Term Sheet, dated as of March 22, 2018 [Docket No. 828] (the “Plan Term Sheet”) and in
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         the Plan, both the Noteholder Committee and the Unsecured Creditors’ Committee agreed to
         support the terms of the Plan, pursuant to which the Standard Note Claims will receive treatment
         reflecting a compromise of the foregoing issues.

                    The Debtors are unaware of any other material secured indebtedness.20

                                      (b)       Unsecured Debt

                As of the Petition Date, the Debtors were collectively indebted to (i) approximately
         9,331 Noteholders, with a cumulative total Outstanding Principal Amount of Notes of
         approximately $750 million and (ii) approximately 1,583 Unitholders, with a cumulative total
         Outstanding Principal Amount of Units of $226 million.21

                 The Debtors generally estimate that Allowed General Unsecured Claims against the
         Debtors should total between approximately $5 million and approximately $30 million. This
         estimate, however, does not account for the fact that certain Creditors have asserted amounts in
         their proofs of claim that exceed the amounts that the Debtors believe should be Allowed. Thus,
         the total amount of Allowed General Unsecured Claims may greatly exceed or fall short of the
         estimates set forth herein.

                Creditors and interested parties should review the Debtors’ Schedules (defined below)
         Filed with the Bankruptcy Court for more complete information concerning the nature and
         amount of the Debtors’ liabilities as of the Petition Date.

                                      (c)       Equity Interests

                 The Debtors’ organization structure is described in Section II.A above. As noted, all of
         the Debtors are directly or indirectly owned by RS Trust. Under the Plan, as of the Effective
         Date, all Equity Interests shall be deemed void, cancelled, and of no further force and effect. On
         and after the Effective Date, Holders of Equity Interests shall not be entitled to, and shall not
         receive or retain any property or interest in property under the Plan on account of such Equity
         Interests.

                                                III.     THE CHAPTER 11 CASES

                 On December 4, 2017 (the “Initial Petition Date”), 279 of the Debtors (the “Initial
         Debtors”) commenced voluntary cases under chapter 11 of the Bankruptcy Code in the United
         States Bankruptcy Court for the District of Delaware. Subsequently, a total of 27 additional
         Debtors (the “Additional Debtors”) filed voluntary chapter 11 petitions on the following dates:
         (i) February 9, 2018 (14 Additional Debtors); (ii) March 9, 2018 (two Additional Debtors);

         20
                As discussed in section III.K below, the Debtors previously owed secured indebtedness to three third-party
                lenders in connection with three of their properties—805 Nimes Place, 25085 Ashley Ridge Road, and
                800 Stradella Road. As discussed below, that indebtedness has been fully repaid during these Cases.
         21
                In the event the Plan is not confirmed, all parties’ rights are reserved, including, without limitation, (i) as to
                Noteholders, the proper characterization of any asserted security interests, and (ii) as to Unitholders, the proper
                characterization of the Units.

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         (iii) March 23, 2018 (seven Additional Debtors); and (iv) March 27, 2018 (four Additional
         Debtors). The Chapter 11 Cases are being jointly administered under the case caption In re
         Woodbridge Group of Companies, LLC, et al., Case No. 17-12560 (KJC) (Bankr. D. Del.). An
         immediate effect of commencement of the Chapter 11 Cases was the imposition of the automatic
         stay under Bankruptcy Code section 362(a), which, with limited exceptions, enjoins the
         commencement or continuation of all collection efforts by Creditors, the enforcement of liens
         against property of the Debtors, and the continuation of litigation against the Debtors during the
         pendency of the Chapter 11 Cases. The automatic stay will remain in effect, unless modified by
         the Bankruptcy Court, until the Effective Date.

                    A.     First Day Orders and Initial Employment Applications

                 On or about the Initial Petition Date, the Debtors Filed certain “first day” motions and
         applications with the Bankruptcy Court seeking certain immediate relief to aid in the efficient
         administration of these Chapter 11 Cases and to facilitate the Debtors’ transition to debtor-in-
         possession status. The Bankruptcy Court held a hearing on these first-day motions on December
         5, 2017, with a subsequent hearing scheduled for January 10, 2018, with respect to certain of the
         “first day” motions. In connection with these hearings, the Bankruptcy Court entered a series of
         customary “first day” and “second day” orders. See Docket Nos. 46, 47, 48, 49, 50, 51, 53, 54,
         259, 261, 275, 295, 296 & 723.

                 Shortly after the Initial Petition Date, the Debtors filed applications to employ Gibson,
         Dunn & Crutcher (“Gibson Dunn”) and Young Conaway Stargatt & Taylor, LLP (“Young
         Conaway”) as bankruptcy co-counsel. See Docket Nos. 119 & 122. The Debtors also filed an
         application to employ Homer Bonner Jacobs PA as special litigation counsel in connection with
         the SEC Action (as defined below). The Bankruptcy Court entered orders for each of the
         applications. See Docket Nos. 358, 359 & 361. As discussed below, following the appointment
         of the New Board (as defined below), the Debtors retained Klee, Tuchin, Bogdanoff & Stern
         LLP (“KTBS”) to replace Gibson Dunn as bankruptcy co-counsel, although Gibson Dunn agreed
         to continue to provide services to the Debtors for a transition period of approximately sixty (60)
         days with respect to discrete pressing matters on which Gibson Dunn had already expended
         substantial efforts and about which Gibson Dunn had significant institutional knowledge. That
         transition period has since ended, and Gibson Dunn is no longer providing any services to the
         Debtors.

                    B.     DIP Financing Motion

                 On the Initial Petition Date, the Debtors Filed a motion (the “DIP Motion”) seeking
         interim and final orders authorizing the Debtors to, among other things, (i) borrow up to
         $100 million (with $25 million to be available on an interim basis) (the “DIP Loan”) in
         postpetition financing from Hankey Capital, LLC (the “DIP Lender”); (ii) grant priming liens
         and security interests to the DIP Lender to secure the applicable Debtors’ obligations under the
         DIP Loan; (iii) subject to the terms and conditions set forth in the DIP Motion, use the DIP
         Lender’s cash collateral; and (iv) provide adequate protection to the holders of alleged
         prepetition liens. See Docket No. 22.



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                 On December 6, 2017, the Bankruptcy Court entered its first interim order on the DIP
         Motion, authorizing the Debtors to, among other things, borrow up to $6 million for the period
         from the Initial Petition Date through the date of the further interim hearing set for December 21,
         2017. See Docket No. 59. On December 21, 2017, the Bankruptcy Court entered its second
         interim order on the DIP Motion, which, among other things, increased the interim borrowing
         limit to $25 million for the period from the Initial Petition Date through the date of the further
         hearing set for January 10, 2018, which hearing was subsequently adjourned to January 18, 2018.
         See Docket Nos. 130 & 246. On January 23, 2018, the Bankruptcy Court entered its third interim
         order on the DIP Motion, which, among other things, increased the interim borrowing limit to
         $44 million for the period from the Initial Petition Date through the date of the further hearing
         set for February 13, 2018. See Docket No. 363. On February 13, 2018, the Bankruptcy Court
         entered its fourth interim order on the DIP Motion, which, among other things, increased the
         interim borrowing limit to $56 million for the period from the Initial Petition Date through the
         date of the final hearing set for March 7, 2018 (the “Final DIP Hearing”). See Docket No. 572.

                In advance of the Final DIP Hearing and following months of extensive negotiations with
         the Unsecured Creditors’ Committee, the Noteholder Committee, the Unitholder Committee, the
         SEC, and the United States Trustee, the Debtors Filed a form of proposed final order that
         resolved the concerns of all major constituencies with respect to the DIP Motion. Following the
         Final DIP Hearing, the Bankruptcy Court entered an order overruling the objections to the DIP
         Motion filed by various noteholders and granting the DIP Motion on a final basis. See Docket
         No. 724 (the “Final DIP Order”).

                 The Final DIP Order entered by the Bankruptcy Court contains various important
         features, including:22

                    •       Authorization for the Debtors to borrow up to $100 million from the DIP Lender;

                    •       Approval of the DIP Loan Documents between the Debtors and the DIP Lender;

                    •       The grant of a priming security interest and lien on the Collateral, which includes
                            28 parcels of real estate owned by 27 obligors set forth in the DIP Loan
                            Agreement;

                    •       Authorization for the Debtors to use the DIP Lender’s Cash Collateral (as defined
                            in the Final DIP Order), subject to the conditions set forth in the Final DIP Order;

                    •       The grant of “conditional” adequate protection to the Noteholders believed to
                            assert liens or interests in the DIP Lender’s Collateral, including, among other
                            forms of adequate protection: (i) conditional adequate protection liens on
                            12 Adequate Protection Properties not included within the DIP Lender’s
                            Collateral; and (ii) the establishment of an adequate protection reserve to be
                            funded with a specified percentage of the net proceeds from the sale, if any, of
                            any property that constitutes an Adequate Protection Property;
         22
                Capitalized terms used but not otherwise defined in this summary of the Final DIP Order shall have the
                meanings ascribed to them in the Final DIP Order.

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                    •      Carve-outs providing for the payment of certain expenses incurred during the
                           Chapter 11 Cases, including amounts that may be payable to professionals
                           retained by the Debtors and the Committees;

                    •      Certain Events of Default provisions setting forth the DIP Lender’s rights upon
                           the occurrence thereof; and

                    •      Standard waivers of certain provisions of the Bankruptcy Code, including under
                           Bankruptcy Code sections 506(c) and 552, as well as adequate protection liens
                           granted to the DIP Lender on certain Estate Assets.

                On May 14, 2018, the Debtors and the DIP Lender entered into that certain Amendment
         Number One to Senior Secured Debtor in Possession Loan and Security Agreement (the “First
         DIP Amendment”), by which the Debtors and the DIP Lender agreed to amend the DIP Loan
         Agreement to (i) permit the Debtors to re-pay and re-borrow from the DIP Loan and (ii) clarify
         provisions regarding mechanics’ liens. Notice of the amendment was filed with the Bankruptcy
         Court on May 21, 2018, and an order approving the First DIP Amendment was entered by the
         Bankruptcy Court on May 31, 2018. See Docket No. 1892.

                    C.     Appointment of the Unsecured Creditors’ Committee

                 On December 14, 2017, the U.S. Trustee appointed the Unsecured Creditors’ Committee
         in these Chapter 11 Cases. See Docket No. 79. The initial members of the Unsecured Creditors’
         Committee were G3 Group LA, Inc., Ronald E. Myrick Sr., and John J. O’Neill. Unfortunately,
         Mr. Myrick passed away on March 27, 2018. On April 3, 2018, Mr. Myrick’s widow, Lynn
         Myrick, was appointed as Mr. Myrick’s replacement on the Unsecured Creditors’ Committee.
         See Docket No. 883. Counsel to the Unsecured Creditors’ Committee is Pachulski Stang Ziehl &
         Jones LLP, and the financial advisor to the Unsecured Creditors’ Committee is FTI Consulting,
         Inc. In addition, the Unsecured Creditors’ Committee retained Berger Singerman LLP to serve as
         special counsel for any and all matters related to the SEC Action (as defined below). See Docket
         No. 322.

                    D.     United States Trustee

                Timothy J. Fox, Esq. is the trial attorney for the Office of the United States Trustee in
         connection with these Chapter 11 Cases. The Debtors and the Committees have worked
         cooperatively to address concerns and comments from the U.S. Trustee’s office during these
         Chapter 11 Cases.

                    E.     Meeting of Creditors

                The initial meeting of creditors under Bankruptcy Code section 341(a) was held on
         January 11, 2018, at the J. Caleb Boggs Federal Building, 844 King St., Room 2112,
         Wilmington, Delaware 19801. At the initial meeting of creditors, the U.S. Trustee and creditors
         asked questions of a representative of the Debtors. At the conclusion of the initial meeting, the
         U.S. Trustee announced that a further meeting of creditors under Bankruptcy Code section
         341(a) shall be held after the Filing of the Debtors’ Schedules (as defined and described below).
         A continued meeting of creditors took place on May 10, 2018 at 9:00 a.m.
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                    F.       Schedules, Statements of Financial Affairs, Claims Bar Dates, and Filed
                             Claims

                On December 14, 2017, the Debtors Filed the Debtors’ Motion for an Order Extending
         the Time Within Which the Debtors Must File Their Schedules of Assets and Liabilities and
         Statement of Financial Affairs [Docket No. 80] (the “Initial Extension Motion”). On January 9,
         2018, the Bankruptcy Court entered an order granting the Initial Extension Motion and setting a
         deadline of February 15, 2018 for the Debtors to File their Schedules of Assets and Liabilities
         and Statements of Financial Affairs (collectively, the “Schedules”). See Docket No. 260. In light
         of, among other things, the appointment of the New Board (as defined below), on February 14,
         2018, the Debtors Filed a motion for a further extension of the deadline to File their Schedules
         and their first periodic report required under Bankruptcy Rule 2015.3 (together with the
         Schedules, the “Financial Reports”). See Docket No. 582 (the “Second Extension Motion”). On
         March 5, 2018, the Bankruptcy Court entered an order granting the Second Extension Motion
         and, among other things, extending the deadline for the Debtors to File their Financial Reports to
         April 16, 2018. See Docket No. 700.

                 On April 15 and 16, 2018, the Debtors Filed their Schedules. A Creditor whose Claim is
         set forth in the Schedules and not identified as contingent, unliquidated, or disputed may, but
         need not, file a proof of claim to be entitled to participate in the Chapter 11 Cases or to receive a
         Distribution under the Plan.23

                 The Bankruptcy Court established (i) June 19, 2018 at 5:00 p.m. (prevailing Eastern
         Time) as the deadline (or “bar date”) for Creditors (other than governmental units) to File proofs
         of claim against the Debtors (including Claims arising under section 503(b)(9) of the Bankruptcy
         Code); and (ii) as to each Debtor, 5:00 p.m. (prevailing Eastern Time) on the date that is
         180 days after such Debtor’s Petition Date as the deadline for any governmental unit (as such
         term is defined in Bankruptcy Code section 101(27)) to File proofs of claim against the Debtors.
         See Docket No. 911.

                 As of July 9, 2018, approximately 9,611 proofs of claim appear on the official claims
         register, although some of those claims have been withdrawn or superseded by other claims. The
         Debtors have not completed claim reconciliation work and do not anticipate doing so before the
         Effective Date of the Plan.

                    G.       Sierra Employment Motion

                On December 19, 2017, the Debtors Filed the Debtors’ Motion for Entry of an Order
         Pursuant to Section 363 of the Bankruptcy Code Authorizing (I) the Engagement Letter Between
         the Debtors and SierraConstellation Partners LLC and (II) Debtors’ Employment of Lawrence
         R. Perkins as Chief Restructuring Officer Nunc Pro Tunc to the Petition Date [Docket No. 102]
         (the “Sierra Employment Motion”), pursuant to which the Debtors sought, among other things,


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                A Creditor claiming to hold a prepetition Claim who neither files a proof of claim nor has its Claim set forth in
                the Schedules as being other than contingent, unliquidated or disputed, and whose Claim is not expressly
                Allowed under the Plan or in the Confirmation Order, has no right to payment or Distribution under the Plan.

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         approval of the engagement letter with Sierra and authority to employ Mr. Perkins as the Initial
         CRO.

                 On January 23, 2018, the Bankruptcy Court held a hearing to consider, among other
         things, the Sierra Employment Motion. The Bankruptcy Court stated that it was prepared to enter
         an order approving the Sierra Employment Motion, but on modified terms, as set forth on the
         record at the hearing. On that same date, the Bankruptcy Court entered its order granting the
         Sierra Employment Motion. See Docket No. 367.

                As discussed in more detail in Section III.H below, pursuant to the Joint Resolution the
         New Board selected a new CEO and CRO to replace Sierra and the Initial CRO, and Sierra
         subsequently transitioned out of its role in the Chapter 11 Cases.

                    H.     Motions for Appointment of Trustee and Official Committees and
                           Consensual Resolution Thereof

                 On December 28, 2017, the Unsecured Creditors’ Committee Filed the Emergency
         Motion of Official Committee of Unsecured Creditors for Entry of an Order Directing the
         Appointment of a Chapter 11 Trustee Pursuant to 11 U.S.C. § 1104 [Docket No. 150] (the
         “Committee Trustee Motion”), through which it sought the appointment of a chapter 11 trustee
         pursuant to Bankruptcy Code section 1104. The Unsecured Creditors’ Committee asserted in the
         Committee Trustee Motion that “cause” existed for the appointment of a trustee because, among
         other reasons, the Initial CRO and BAG were “hand-picked by Shapiro, and have done his
         bidding both before and after the filing of these cases.” The Unsecured Creditors’ Committee
         asserted that “any appearance of independence is illusory” and “these so-called ‘independent’
         parties have not shown that they are acting in the best interest of creditors.” The Unsecured
         Creditors’ Committee further argued that appointment of a chapter 11 trustee was “critically
         urgent” because the SEC was, at that time, seeking appointment of a receiver over the Debtors in
         the SEC Action; the Unsecured Creditors’ Committee asserted that, in contrast to a receiver,
         appointment of a chapter 11 trustee would better enable the Debtors to fully realize the value of
         their real estate assets.

                 On January 2, 2018, the SEC Filed the SEC Trustee Motion (together with the Committee
         Trustee Motion, the “Trustee Motions”). Similar to the Unsecured Creditors’ Committee, the
         SEC argued in the SEC Trustee Motion that the Initial CRO and new “independent” management
         team were “completely aligned [with Shapiro] in controlling this bankruptcy.” The SEC argued
         that “[a]s the architect of this billion-dollar fraud, Robert Shapiro should not have any voice – let
         alone be the sole voice – of who serves as fiduciary” and that “he should be barred, per se, from
         selecting the team to run these debtors-in-possession.”

                Separate from the Trustee Motions, on December 18, 2017, the Ad Hoc Committee of
         Holders of Promissory Notes of Woodbridge Mortgage Investment Fund Entities and Affiliates
         (the “Ad Hoc Noteholder Committee”) Filed a motion seeking appointment of an official
         committee of holders of Notes pursuant to Bankruptcy Code section 1102(a)(2). See Docket No.
         85 (the “Noteholder Committee Appointment Motion”). Additionally, on January 8, 2018, the
         Ad Hoc Committee of Unitholders (the “Ad Hoc Unitholder Committee”) Filed a motion seeking
         appointment of an official committee of holders of Units pursuant to Bankruptcy Code section
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         1102(a)(2). See Docket No. 250 (the “Unitholder Committee Appointment Motion” and, together
         with the Noteholder Committee Appointment Motion, the “Committee Appointment Motions”).

                 On January 8, 2018, the Debtors and the Ad Hoc Noteholder Committee objected to both
         of the Trustee Motions. See Docket Nos. 240 & 245. On January 10, 2018 and January 18, 2018,
         the Bankruptcy Court held an evidentiary hearing on the Trustee Motions.

                On or about January 23, 2018, prior to any ruling by the Bankruptcy Court on the Trustee
         Motions, and following extensive negotiations, the Debtors, the Unsecured Creditors’
         Committee, the SEC, the Ad Hoc Noteholder Committee, and the Ad Hoc Unitholder Committee
         entered into a term sheet that resolved, among other things, the Trustee Motions and the
         Committee Appointment Motions. See Docket No. 357-1 (the “Joint Resolution”). On January
         23, 2018, the Bankruptcy Court entered an order approving the Joint Resolution. See Docket No.
         357 (the “Joint Resolution Order”). The Joint Resolution and the Joint Resolution Order include,
         among other provisions, the following key provisions:

                    •     The Debtors’ board of managers was reconstituted as a three-person board (the
                          “New Board”), consisting of Richard Nevins, M. Freddie Reiss, and Michael
                          Goldberg, biographies of whom are attached hereto as Exhibit C.

                    •     Shapiro shall not have any removal rights with respect to New Board members,
                          unless otherwise ordered by the Bankruptcy Court.

                    •     The New Board was empowered to select as soon as practicable a CEO or CRO,
                          subject to the consent of the Unsecured Creditors’ Committee and the SEC.

                    •     The New Board was given a seven-day period within which to notify the SEC of
                          its intent to select new counsel for the Debtors or to continue to retain Gibson
                          Dunn and Young Conaway, subject to the SEC’s consent, which was not to be
                          unreasonably withheld.

                    •     The parties agreed that employees of Sierra were to transition out of their roles in
                          Debtor matters unless the New Board and newly appointed CEO/CRO concluded
                          that some or all of the Sierra personnel should continue working on such matters,
                          subject to the Unsecured Creditors’ Committee’s and the SEC’s reasonable
                          consent as to any continuing role of Sierra personnel.

                    •     Subject to the SEC staff’s ability to obtain authorization from the SEC
                          Commissioner (which has since been obtained), the SEC agreed to dismiss the
                          pending request for a receiver (in the SEC Action) over any entity under the
                          control of the New Board, as discussed in more detail in Section III.Q below.

                    •     Again subject to the SEC Commissioner’s authorization, the Debtors and the SEC
                          agreed to request entry of certain orders in the SEC Action, as discussed in more
                          detail in Section III.Q below.

                    •     In settlement of the Unitholder Committee Appointment Motion, the holders of
                          Units were permitted to form a single 1-2 member Unitholder committee (i.e., the
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                          Unitholder Committee), with an all-in professional budget not to exceed
                          $1.5 million (since increased to $2.1 million) through January 1, 2019. The
                          Unitholder Committee was tasked with, not to duplicate the efforts of the
                          Unsecured Creditors Committee or the Noteholder Committee, among other
                          things, litigating or negotiating (a) whether the Unitholders should be treated as
                          creditors or equity security holders in the Chapter 11 Cases; and (b) whether
                          substantive consolidation is in the best interests of the Unitholders.

                    •     In settlement of the Noteholder Committee Appointment Motion, the holders of
                          Notes were permitted to form a single 6-9 member Noteholder committee (i.e.,
                          the Noteholder Committee), with an all-in professional budget not to exceed
                          $2.25 million through January 1, 2019. The Noteholder Committee was tasked
                          with, not to duplicate the efforts of the Unsecured Creditors’ Committee or the
                          Unitholder Committee, among other things, litigating or negotiating any aspects
                          of Noteholder treatment in the Chapter 11 Cases, focused primarily on (i) whether
                          Noteholders are secured, and, if so, whether substantive consolidation of the
                          Debtors’ estates is in the best interests of the Noteholders; and (ii) traditional
                          secured creditor protections such as adequate protection for the Noteholders upon
                          sales of properties and the use of sale proceeds.

                    •     The Noteholder Committee and the Unitholder Committee shall, among other
                          things, (i) be considered fiduciaries of their respective constituencies, (ii) have the
                          rights to participate in the formulation of a chapter 11 plan, (iii) retain
                          professionals pursuant to Bankruptcy Court order and such professionals shall file
                          fee applications with the Bankruptcy Court, and (iv) be granted regular access to
                          the Debtors’ advisors in a manner consistent with that typically granted to official
                          statutory committees.

                On February 2, 2018, the Noteholder Committee filed its Notice of Formation of Ad Hoc
         Noteholder Group Pursuant to January 23, 2018, Order [D.I. 357] [Docket No. 470]. The
         current members of the Noteholder Committee are Dr. Michael Weiner, Jane & Harry Breyer,
         Richard Carli, Jay Beynon, Kathleen Washko, Ali Heidari Saeid, Marc Fruchter, David
         Ellingson, and Richard Doss. [See Docket No. 1707]. The Bankruptcy Court granted the
         Noteholder Committee’s applications to retain Drinker Biddle & Reath LLP as its counsel and
         Conway MacKenzie, Inc. and Dundon Advisers LLC as its financial advisors. See Docket Nos.
         914, 915 & 1699.

                 The Unitholder Committee is comprised of two members: Dr. Raymond C. Blackburn
         and Dr. Chris C. Pinney. The Bankruptcy Court granted the Unitholder Committee’s application
         to retain Venable LLP as its counsel. See Docket No. 719.

                 As authorized by the Joint Resolution, the New Board selected Frederick Chin to serve as
         the Chief Executive Officer of WGC Independent Manager LLC, manager of the Debtors. On
         February 7, 2018, the Debtors Filed a motion to employ Mr. Chin pursuant to Bankruptcy Code
         sections 105(a) and 363(b). See Docket No. 514 (the “CEO Employment Motion”). As set forth
         in greater detail in the CEO Employment Motion, Mr. Chin has extensive consulting and
         restructuring experience and has led, operated, and advised underperforming and high-growth
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         real estate companies. Mr. Chin’s employment letter provides for, among other things, a base
         salary of $110,000 per month, less applicable tax withholdings. On March 8, 2018, the
         Bankruptcy Court entered an order granting the CEO Employment Motion.

                 Under the direction of the New Board, on February 7, 2018, the Debtors Filed a motion
         to retain and employ Development Specialists, Inc. (“DSI”) as the Debtors’ restructuring advisor
         and to designate Bradley D. Sharp as their Chief Restructuring Officer (“CRO”). See Docket No.
         512 (the “DSI Employment Motion”). As set forth in greater detail in the DSI Employment
         Motion, DSI is a well-established provider of management consulting and financial advisory
         services, including turnaround consulting and financial restructuring, and Mr. Sharp has over
         20 years of experience in providing crisis management and consulting services. DSI shall be
         compensated on an hourly basis, subject to the terms and conditions of the engagement letter
         between DSI and the Debtors and the Bankruptcy Court’s order authorizing the Debtors to
         employ DSI. See Docket No. 573.

                 Additionally, the Debtors, under the direction of the New Board, elected to retain new
         bankruptcy counsel to represent them in the Chapter 11 Cases with Young Conaway Stargatt &
         Taylor LLP. The Debtors retained KTBS, a boutique Los-Angeles-based firm focusing on
         corporate finance, mergers and acquisitions, and corporate and municipal restructurings. Greater
         detail regarding KTBS’s qualifications and the terms of its retention are set forth in the Debtors’
         application to employ KTBS [Docket No. 657], which was granted by the Bankruptcy Court on
         March 16, 2018 [Docket No. 767]. Gibson Dunn continued to represent the Debtors as
         bankruptcy counsel during the period in which KTBS transitioned into this role. Gibson Dunn’s
         transition role has since ended and Gibson Dunn is no longer rendering services to the Debtors.

                After the appointment of the New Board, the Debtors also filed applications to retain
         Province, Inc. as operational and financial advisors [Docket No. 692], Berkeley Research Group,
         LLC as tax advisors [Docket No. 717], and Glaser Weil Fink Howard Avchen & Shapiro LLP as
         special real estate and land use counsel [Docket No. 1604]. Each of those applications was
         granted by the Bankruptcy Court. See Docket Nos. 835, 836 & 1738.

                    I.     Tintarella Motion for Relief From Stay

                  On February 8, 2018, Tintarella LLC (“Tintarella”) filed a motion for stay relief [Docket
         No. 529], alleging that its interests in property located at 800 Stradella Road, Los Angeles,
         California 90077 (the “Stradella Property”) were not adequately protected such that cause existed
         to lift the automatic stay. After negotiations, the Debtors and Tintarella reached an agreement,
         whereby Tintarella agreed to allow the Debtors to commence certain work on the Stradella
         Property so that the Debtors may work toward preservation of certain entitlements, and the
         Debtors agreed to make certain payments to Tintarella as adequate protection, including a one-
         time “cure payment” of $901,866.68, and monthly interest payments, beginning April 1, 2018, of
         $260,000 per month. See Docket No. 720. The Debtors subsequently satisfied all amounts
         owing to Tintarella pursuant to the Bankruptcy Court’s order authorizing the Debtors to pay
         third-party secured debt (see section III.K below). Accordingly, on May 31, 2018, Tintarella
         withdrew its motion for relief from stay as moot. See Docket No. 1890.



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                    J.     Sales of Real Property

                 During the Chapter 11 Cases, the Debtors have sought to maximize the value of their
         Estates by methodically and opportunistically selling several parcels of real property owned by
         the Estates, in each case subject to Bankruptcy Court approval. As of the date hereof, the Debtors
         have filed the following motions to sell real property pursuant to Bankruptcy Code section 363:

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 8692 Franklin
                           Avenue, Los Angeles, California Property Owned by the Debtors in Fee Simple
                           Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
                           (II) Approving the Related Purchase Agreement; and (III) Granting Related Relief
                           [Docket No. 458]. The Bankruptcy Court granted this motion on February 13,
                           2018. See Docket No. 574;

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 11541 Blucher
                           Avenue, Granada Hills, California Property Owned by the Debtors Free and
                           Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                           Related Purchase Agreement; and (III) Granting Related Relief [Docket No. 713].
                           The Bankruptcy Court granted this motion on March 28, 2018. See Docket No.
                           844.

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 180 Saddleback
                           Lane, Snowmass Village, Colorado Property Owned by the Debtors Free and
                           Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                           Related Purchase Agreement; and (III) Granting Related Relief [Docket No. 760].
                           The Bankruptcy Court granted this motion on April 3, 2018. See Docket No. 893.

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 24025 Hidden
                           Ridge Road, Calabasas, California Property Owned by the Debtors Free and
                           Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                           Related Purchase Agreement; and (III) Granting Related Relief [Docket No. 762].
                           The Bankruptcy Court granted this motion on April 3, 2018. See Docket No. 894.

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 810 Sarbonne
                           Road, Los Angeles, California Property Owned by the Debtors Free and Clear of
                           Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                           Purchase Agreement; and (III) Granting Related Relief [Docket No. 929]. The
                           Bankruptcy Court granted this motion on May 1, 2018. See Docket No. 1700.

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 2362 Apollo
                           Drive, Los Angeles, California Property Owned by the Debtors Free and Clear of
                           Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                           Purchase Agreement; and (III) Granting Related Relief [Docket No. 931]. The
                           Bankruptcy Court granted this motion on April 27, 2018. See Docket No. 1669.

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 432 Crystal
                           Canyon Drive, Carbondale, Colorado Property Owned by the Debtors Free and
                           Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
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                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No. 933].
                          The Bankruptcy Court granted this motion on April 27, 2018. See Docket No.
                          1670.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 883 Perry
                          Ridge Road, Carbondale, Colorado Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No. 935].
                          The Bankruptcy Court granted this motion on April 27, 2018. See Docket No.
                          1671.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 158A Seeburg
                          Circle, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 937]. The
                          Bankruptcy Court granted this motion on April 27, 2018. See Docket No. 1672.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 171 Sopris
                          Mesa Drive, Carbondale, Colorado Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No. 939].
                          The Bankruptcy Court granted this motion on April 27, 2018. See Docket No.
                          1673.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 238 Sundance
                          Trail, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 941]. The
                          Bankruptcy Court granted this motion on April 27, 2018. See Docket No. 1674.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 1061 Two
                          Creeks Drive, Snowmass Village, Colorado Property Owned by the Debtors Free
                          and Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving
                          the Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          943]. The Bankruptcy Court granted this motion on May 1, 2018. See Docket No.
                          1701.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 25085 Ashley
                          Ridge Road, Hidden Hills, California Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          1262]. The Bankruptcy Court granted this motion on May 2, 2018. See Docket
                          No. 1708.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 215 N. 12th
                          Street, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related

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                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 1770]. The
                          Bankruptcy Court granted this motion on June 1, 2018. See Docket No. 1906.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 995 &
                          981 Cowen Drive, Carbondale, Colorado Property Owned by the Debtors Free
                          and Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving
                          the Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          1772]. The Bankruptcy Court granted this motion on June 4, 2018. See Docket
                          No. 1911.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of Lot C-1 and
                          446 Diamond A Ranch Road, Carbondale, Colorado Property Owned by the
                          Debtors Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
                          (II) Approving the Related Purchase Agreement; and (III) Granting Related Relief
                          [Docket No. 1774]. The Bankruptcy Court granted this motion on June 4, 2018.
                          See Docket No. 1912.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 809 Grand
                          Avenue, Glenwood Springs, Colorado Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          1776]. The Bankruptcy Court granted this motion on June 4, 2018. See Docket
                          No. 1913.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 747 Davis
                          Road, Stockbridge, Georgia Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 1778]. The
                          Bankruptcy Court granted this motion on June 4, 2018. See Docket No. 1914.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 403 and
                          417 Crystal Canyon Drive, Carbondale, Colorado Property Owned by the
                          Debtors Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
                          (II) Approving the Related Purchase Agreement; and (III) Granting Related Relief
                          [Docket No. 1780]. The Bankruptcy Court granted this motion on June 4, 2018.
                          See Docket No. 1915.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 302 Wildflower
                          Road, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 1785]. The
                          Bankruptcy Court granted this motion on June 4, 2018. See Docket No. 1916.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of
                          14115 Moorpark Street #212, Sherman Oaks, California Property Owned by the
                          Debtors Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
                          (II) Approving the Related Purchase Agreement; and (III) Granting Related Relief

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                          [Docket No. 1788]. The Bankruptcy Court granted this motion on June 4, 2018.
                          See Docket No. 1917.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 780 E. Valley
                          Road, Unit C-126, Basalt, Colorado Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          1790]. The Bankruptcy Court granted this motion on June 4, 2018. See Docket
                          No. 1918.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 342 and
                          368 River Bend Way, Glenwood Springs, Colorado Property Owned by the
                          Debtors Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
                          (II) Approving the Related Purchase Agreement; and (III) Granting Related Relief
                          [Docket No. 1792]. The Bankruptcy Court granted this motion on June 4, 2018.
                          See Docket No. 1919.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 63 Sweetgrass
                          Drive, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 1794]. The
                          Bankruptcy Court granted this motion on June 4, 2018. See Docket No. 1920.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 26 Saddlehorn
                          Court, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 1996]. The
                          Bankruptcy Court granted this motion on July 6, 2018. See Docket No. 2111.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 180 A Seeburg
                          Circle, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 1998]. The
                          Bankruptcy Court granted this motion on July 6, 2018. See Docket No. 2112.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of
                          108 W. Diamond A Ranch Road, Carbondale, Colorado Property Owned by the
                          Debtors Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
                          (II) Approving the Related Purchase Agreement; and (III) Granting Related Relief
                          [Docket No. 2001]. The Bankruptcy Court granted this motion on July 6, 2018.
                          See Docket No. 2113.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of
                          15655 Woodvale Road, Encino, California Property Owned by the Debtors Free
                          and Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving
                          the Related Purchase Agreement; and (III) Granting Related Relief [Docket No.


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                          2008]. The Bankruptcy Court granted this motion on July 6, 2018. See Docket
                          No. 2114.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 800 Stradella
                          Road, Los Angeles, California Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 2010]. The
                          Bankruptcy Court granted this motion on July 6, 2018. See Docket No. 2115.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 14112 Roscoe
                          Blvd., Panorama City, California Property Owned by the Debtors Free and Clear
                          of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 2012]. The
                          Bankruptcy Court granted this motion on July 6, 2018. See Docket No. 2116.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 201 Main
                          Street, Carbondale, Colorado Property (Units 101, 102, 202, 203, 204,
                          303)Owned by the Debtors Free and Clear of Liens, Claims, Encumbrances, and
                          Other Interests; (II) Approving the Related Purchase Agreement; and
                          (III) Granting Related Relief [Docket No. 2071]. The Bankruptcy Court granted
                          this motion on July 19, 2018. See Docket No. 2201.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 90 Primrose
                          Road, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 2196]. The
                          Bankruptcy Court granted this motion on July 24, 2018. See Docket No. 2225.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 328 Crystal
                          Canyon Drive, Carbondale, Colorado Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          2135]. The Bankruptcy Court granted this motion on July 26, 2018. See Docket
                          No. 2242.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 831 Grand
                          Avenue, Glenwood Springs, Colorado Property Owned by the Debtors Free and
                          Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                          Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                          2169]. The Bankruptcy Court granted this motion on August 2, 2018. See Docket
                          No. 2274.

                    •     Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 32 Fenwick
                          Court, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                          Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                          Purchase Agreement; and (III) Granting Related Relief [Docket No. 2189]. The
                          Bankruptcy Court granted this motion on August 6, 2018. See Docket No. 2294.

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                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 350 Market
                           Street, #301-312, Basalt, Colorado Property Owned by the Debtors Free and
                           Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the
                           Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                           2192]. The Bankruptcy Court granted this motion on August 6, 2018. See Docket
                           No. 2295.

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 59 Rivers Bend,
                           Carbondale, Colorado Property Owned by the Debtors Free and Clear of Liens,
                           Claims, Encumbrances, and Other Interests; (II) Approving the Related Purchase
                           Agreement; and (III) Granting Related Relief [Docket No. 2256].

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 67 Aspen Glo
                           Lane, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                           Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                           Purchase Agreement; and (III) Granting Related Relief [Docket No. 2258].

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 345 Branding
                           Lane, Snowmass, Colorado Property Owned by the Debtors Free and Clear of
                           Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                           Purchase Agreement; and (III) Granting Related Relief [Docket No. 2260].

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 360 Rivers
                           Bend, Carbondale, Colorado Property Owned by the Debtors Free and Clear of
                           Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related
                           Purchase Agreement; and (III) Granting Related Relief [Docket No. 2262].

                    •      Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of Lot 26, Spur
                           Ridge Road, Snowmass Village, Colorado Property Owned by the Debtors Free
                           and Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Approving
                           the Related Purchase Agreement; and (III) Granting Related Relief [Docket No.
                           2264].

                The Debtors intend to continue marketing certain of the real properties owned by the
         Estates and may sell additional properties prior to the Effective Date, subject to Bankruptcy
         Court approval.

                    K.     Motion for Authority to Pay Third-Party Secured Debt

                 On April 10, 2018, the Debtors Filed the Debtors’ Motion for Entry of an Order
         (I) Authorizing Payment of Third-Party Secured Debt and (II) Granting Related Relief [Docket
         No. 924] (the “Third-Party Secured Debt Motion”), pursuant to which the Debtors sought entry
         of an order authorizing, but not directing, them to pay in full the secured indebtedness (the
         “Third-Party Secured Debt”) owed to three third-party lenders in connection with three of their
         properties. Specifically, three of the PropCos—Bishop White Investments, LLC, Craven
         Investments, LLC, and Grand Midway Investments, LLC—were obligated on third-party notes
         issued by those PropCos to 805 Nimes Place, LLC (a $20 million note secured by real property
         at 805 Nimes Place—the “Nimes Place Note”), Ashley Land, LLC (a $4 million note secured by
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         real property at 25085 Ashley Ridge Road—the “Ashley Ridge Note”), and Tintarella, LLC (a
         $26 million note secured by real property at 800 Stradella Road—the “Stradella Road Note”),
         respectively. The Debtors believe that payment of the Third-Party Secured Debt was an exercise
         of sound business judgment in light of, among other things, the potential savings to the Estates in
         interest payments (including possible default interest), legal fees, late fees, or other charges
         potentially accruing postpetition in connection with such obligations. The Third-Party Secured
         Debt Motion was approved by the Bankruptcy Court on April 27, 2018. See Docket No. 1668.
         The Debtors subsequently paid in full the Stradella Road Note and the Ashley Ridge Note, and,
         after Court approval of a stipulation with the lender in respect of 805 Nimes Place (see Motion at
         Docket No. 1751 and Order at Docket No 1903), paid in full the Nimes Place Note.

                    L.     Rejection and Assumption of Executory Contracts and Unexpired Leases

                           1.     Rejection of Transition Services Agreement

                 On February 28, 2018, the Debtors Filed a motion to reject the Transition Services
         Agreement between WGC and WFS Holding, an entity then controlled by Shapiro. See Docket
         No. 673. Following the appointment of the New Board, the Debtors determined that Shapiro’s
         consulting services were not necessary, beneficial, or appropriate, and that there was no
         justification for paying him any consulting fees, much less the $175,000 per month called for
         under the Transition Services Agreement. On March 19, 2018, the Bankruptcy Court entered an
         order granting the motion to reject the TSA. See Docket No. 778.

                           2.     Rejection of Other Executory Contracts and Unexpired Leases

                During the Chapter 11 Cases, the Debtors have rejected certain executory contracts and
         unexpired leases pursuant to Bankruptcy Code section 365:

                    •      On January 31, 2018, the Debtors Filed a motion to reject the lease relating to
                           their former headquarters at 14225 Ventura Boulevard, Suite 100, Sherman Oaks,
                           California. See Docket No. 448. On February 20, 2018, the Bankruptcy Court
                           entered an order granting the motion. See Docket No. 621.

                    •      On February 28, 2018, the Debtors Filed their first omnibus motion to reject
                           certain executory contracts and unexpired leases that the Debtors determined, in
                           their sound business judgment, did not provide value to the Estates. See Docket
                           No. 674. On March 27, 2018, the Bankruptcy Court entered an order granting the
                           motion. See Docket No. 834 (the “First Omnibus Rejection Order”). A schedule
                           of the contracts and leases that were rejected pursuant to the First Omnibus
                           Rejection Order is annexed as Schedule 1 to the First Omnibus Rejection Order.

                    •      On March 7, 2018, the Debtors Filed a motion, pursuant to Bankruptcy Code
                           section 365(d)(4), to extend the deadline to assume or reject unexpired leases of
                           nonresidential property under which any of the Debtors is a lessee by 90 days,
                           through and including July 2, 2018. See Docket No. 712. On March 27, 2018, the
                           Bankruptcy Court entered an order granting the motion and extending such
                           deadline through and including July 2, 2018. See Docket No. 831.

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                    •      On March 28, 2018, the Debtors Filed their second omnibus motion to reject
                           certain executory contracts and unexpired leases that the Debtors determined, in
                           their sound business judgment, did not provide value to the Estates. See Docket
                           No. 853. On April 23, 2018, the Bankruptcy Court entered an order granting the
                           motion. See Docket No. 1608 (the “Second Omnibus Rejection Order”). A
                           schedule of the contracts and leases that were rejected pursuant to the Second
                           Omnibus Rejection Order is annexed as Schedule 1 to the Second Omnibus
                           Rejection Order.

                    •      On April 27, 2018, the Debtors Filed their third omnibus motion to reject certain
                           executory contracts and unexpired leases that the Debtors determined, in their
                           sound business judgment, did not provide value to the Estates. See Docket No.
                           1681. On May 15, 2018, the Bankruptcy Court entered an order granting the
                           motion. See Docket No. 1784 (the “Third Omnibus Rejection Order”). A schedule
                           of the contracts and leases that were rejected pursuant to the Third Omnibus
                           Rejection Order is annexed as Schedule 1 to the Third Omnibus Rejection Order.

                    •      On June 15, 2018, the Debtors Filed their fourth omnibus motion to reject certain
                           executory contracts and unexpired leases that the Debtors determined, in their
                           sound business judgment, did not provide value to the Estates. See Docket No.
                           1986. On July 6, 2018, the Bankruptcy Court entered an order granting the
                           motion. See Docket No. 2110 (the “Fourth Omnibus Rejection Order”). A
                           schedule of the contracts and leases that were rejected pursuant to the Third
                           Omnibus Rejection Order is annexed as Schedule 1 to the Fourth Omnibus
                           Rejection Order.

                    •      On July 31, 2018, the Debtors Filed their fifth omnibus motion to reject certain
                           executory contracts and unexpired leases that the Debtors determined, in their
                           sound business judgment, did not provide value to the Estates. See Docket No.
                           2272.

                    M.     Consent Orders

                           1.     Motion for Approval of California Consent Order

                 On February 21, 2018, the Debtors Filed the Debtors’ Motion for Entry of an Order,
         Pursuant to Section 363(b) of the Bankruptcy Code and Bankruptcy Rule 9019, Authorizing and
         Approving the Debtors’ Entry into a Consent Order with California with Respect to the Offer or
         Sale of Securities [Docket No. 639] (the “California Consent Order Motion”). Pursuant to the
         California Consent Order Motion, the Debtors sought Bankruptcy Court authorization for certain
         of the Debtors (the “Woodbridge Respondents,” as more specifically defined in the California
         Consent Order Motion) to enter into a proposed consent order (the “California Consent Order”)
         with the Department of Business Oversight of the State of California (“California”). Shapiro and
         one of his non-debtor affiliates are also parties to the California Consent Order. The California
         Consent Order provides, among other things, that the Woodbridge Respondents (and the other
         respondents) are ordered to, among other things, desist and refrain from offering or selling
         securities in California unless and until qualification has been made under applicable law. The
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         California Consent Order also contains numerous recitals setting forth California’s allegations
         regarding alleged violations of California corporate and securities law, which allegations were
         neither admitted nor denied by the Woodbridge Respondents in the California Consent Order. On
         March 8, 2018, the Bankruptcy Court entered an order granting the California Consent Order
         Motion. See Docket No. 721.

                           2.    Motion for Expedited Procedures Regarding Consent Orders

                 On March 15, 2018, the Debtors Filed the Debtors’ Motion for Entry of an Order Setting
         Expedited Procedures for the Approval of Certain Consent Orders [Docket No. 753] (the
         “Consent Order Procedures Motion”), pursuant to which the Debtors sought entry of an order
         setting expedited procedures for the approval of consent orders with certain state regulatory
         agencies so long as the consent orders meet certain parameters, thereby avoiding the need for the
         Debtors to seek to shorten notice with respect to each individual motion for approval of a future
         consent order. Among other parameters, any consent order subject to the Consent Order
         Procedures Motion shall not provide for the payment by the Debtors of monetary penalties,
         disgorgement, or restitution. As a general matter, the consent orders that are anticipated to be
         agreed to via the expedited procedures will prohibit the Debtors from unlawfully offering or
         selling securities—something that the Debtors have no intention of doing anyway.

                 On April 3, 2018, the Bankruptcy Court entered an order granting the Consent Order
         Procedures Motion [Docket No. 888] (the “Consent Order Procedures Order”). The Consent
         Order Procedures Order provides that after the Debtors, the Committees, and the applicable
         agency have agreed to a consent order, the Debtors shall file such consent order and serve it on
         certain notice parties. If no objection is received within five days of such filing, the Debtors are
         authorized to submit an order to the Bankruptcy Court under certification of counsel approving
         the Debtors’ entry into the applicable consent order.

                 As of the date hereof, the Debtors have entered into consent orders with regulatory
         agencies for the States of Colorado, Idaho, Oregon, and Michigan pursuant to the procedures set
         forth in the Consent Order Procedures Order. See Docket Nos. 1782, 1783, 1851 & 2253.

                    N.     Extension of Exclusivity Periods

                 On March 15, 2018, the Debtors Filed the Debtors’ Motion for Entry of an Order,
         Pursuant to Section 1121(d) of the Bankruptcy Code, Extending the Exclusive Periods for the
         Filing of a Chapter 11 Plan and Solicitation of Acceptances Thereof [Docket No. 754] (the
         “Exclusivity Motion”). In light of, among other things, the change in the Debtors’ management
         pursuant to the Joint Resolution, the Debtors requested 90-day extensions of the Debtors’
         exclusive periods to (i) file a proposed chapter 11 plan (the “Plan Period”), and (ii) solicit
         acceptances of the plan without competing plan filings (the “Solicitation Period”). On April 3,
         2018, the Bankruptcy Court entered an order granting the Exclusivity Motion and extending
         (i) the Plan Period for each Debtor to July 2, 2018, and (ii) the Solicitation Period for each
         Debtor to September 4, 2018. See Docket No. 889.

                On May 18, 2018, the Dissident Plaintiffs (as defined below) filed a motion seeking to
         terminate the Debtors’ exclusive periods (the “Exclusivity Termination Motion”) and filed an

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         accompanying motion to shorten notice with respect to the Exclusivity Termination Motion in
         order to set the Exclusivity Termination Motion for hearing on June 5, 2018. See Docket Nos.
         1833 & 1834. The Bankruptcy Court denied the motion to shorten notice, instead setting the
         Exclusivity Termination Motion for hearing on July 10, 2018. See Docket No. 1849.

                 On June 29, 2018, the Debtors filed the Debtors’ Motion for Entry of an Order, Pursuant
         to Section 1121(d) of the Bankruptcy Code, Extending the Exclusive Periods for the Filing of a
         Chapter 11 Plan and Solicitation of Acceptances Thereof [Docket No. 2065] (the “Second
         Exclusivity Motion”), seeking to further extend the Plan Period and the Solicitation Period, each
         by approximately 120 days. On July 17, 2018, the Bankruptcy Court entered an order granting
         the Second Exclusivity Motion and extending (i) the Plan Period for each Debtor to October 30,
         2018, and (ii) the Solicitation Period for each Debtor to January 2, 2019. See Docket No. 2180.

                    O.     Additional Employment Orders

                 On and after the Initial Petition Date, the Debtors Filed various motions and applications
         to retain professionals and to streamline the administration of the Chapter 11 Cases. The
         Bankruptcy Court entered the following orders granting the foregoing motions and applications:

                    •      Order Authorizing the Retention and Employment of Garden City Group, LLC as
                           Administrative Advisor for the Debtors and Debtors in Possession Pursuant to
                           11 U.S.C. §§ 327(a) and 330, Nunc Pro Tunc to the Petition Date [Docket No.
                           274];

                    •      Order Authorizing the Employment and Payment of Professionals Used in the
                           Ordinary Course of Business [Docket No. 296];

                    •      Order Pursuant to 11 U.S.C. §§ 105 and 363 Authorizing the Debtors to Retain
                           Expert Consultant Nunc Pro Tunc as of December 18, 2017 [Docket No. 360];

                    •      Order Authorizing the Employment and Retention of Homer Bonner Jacobs PA as
                           Special Litigation Counsel to the Debtors and Debtors in Possession Nunc Pro
                           Tunc to Petition Date [Docket No. 361];

                    •      Order, Pursuant to Section 327(a) of the Bankruptcy Code, Authorizing the
                           Employment and Retention of Province, Inc. as Operational and Financial
                           Advisors to the Debtors Nunc Pro Tunc to February 1, 2018 [Docket No. 835];

                    •      Order Authorizing the Retention and Employment of Berkeley Research Group,
                           LLC as Tax Advisors to the Debtors and Debtors in Possession, Nunc Pro Tunc to
                           February 15, 2018 [Docket No. 836];

                    •      Order Authorizing the Debtors to Retain and Employ Glaser Weil Fink Howard
                           Avchen & Shapiro LLP as Special Real Estate and Land Use Counsel Nunc Pro
                           Tunc to March 22, 2018 [Docket No. 1738];

                In addition, the Committees Filed applications to retain professionals and the Bankruptcy
         Court entered the following orders granting such applications:
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                    •      Order Authorizing and Approving the Retention of Pachulski Stang Ziehl & Jones
                           LLP as Counsel to the Official Committee of Unsecured Creditors Nunc Pro Tunc
                           to December 14, 2017 [Docket No. 320];

                    •      Order Authorizing Retention of FTI Consulting, Inc. as Financial Advisor for the
                           Official Committee of Unsecured Creditors [Docket No. 321];

                    •      Order Pursuant to Sections 328(a) and 1103 of the Bankruptcy Code, Rule 2014
                           of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 Authorizing
                           the Employment and Retention of Berger Singerman LLP as Special Counsel for
                           the Official Committee of Unsecured Creditors, Nunc Pro Tunc to December 26,
                           2017 [Docket No. 322];

                    •      Order Authorizing and Approving the Retention of Venable LLP as Counsel to the
                           Fiduciary Committee of Unitholders Nunc Pro Tunc to January 23, 2018 [Docket
                           No. 719];

                    •      Order Authorizing the Employment and Retention of Conway Mackenzie, Inc. as
                           Financial Advisor for the Ad Hoc Noteholder Group [Docket No. 914];

                    •      Order Authorizing the Employment and Retention of Drinker Biddle & Reath LLP
                           as Counsel for the Ad Hoc Noteholder Group [Docket No. 915];

                    •      Order Authorizing the Employment and Retention of Dundon Advisers LLC as
                           Financial Advisor for the Ad Hoc Noteholder Group [Docket No. 1699];

                    P.     Claims Trading

                 On April 3, 2018, Contrarian Funds, LLC (“Contrarian”) filed a Motion for Authority to
         Acquire Promissory Notes Against the Debtors [Docket No. 890] (the “Trading Motion”). By
         the Trading Motion, Contrarian sought authority to acquire all rights, title, and interest in the
         Notes against the Debtors without further order of the Bankruptcy Court and without obtaining
         prior consent from the Debtors. Approximately two weeks, later, on April 16, 2018, the Debtors
         filed their Objection to Proof of Claim No. 1216 Asserted by Putative Transferee Contrarian
         Funds, LLC, etc. [Docket No. 1563] (the “Contrarian Objection”), pursuant to which the Debtors
         sought entry of an order disallowing and expunging a proof of claim filed by Contrarian, which
         claim was based on Notes that Contrarian had purportedly acquired from Noteholders Elissa and
         Joseph Berlinger, on account of anti-assignment language in the underlying Notes. The
         Contrarian Objection was heard on June 5, 2018, and, on June 20, 2018, the Bankruptcy Court
         entered an order sustaining the Contrarian Objection [Docket No. 2016] and issued an opinion
         and order finding that, among other things, the anti-assignment language in the Notes is legally
         valid [Docket Nos. 2014 & 2016]. Contrarian filed a notice of appeal on July 3, 2018 [Docket
         No. 2078].




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                    Q.        SEC Action

                 On December 20, 2017, the SEC filed a complaint (the “SEC Complaint”) against,
         among other parties, Shapiro, WGC, WMF, Woodbridge Structured Funding, LLC (“WSF”), the
         Fund Debtors, and hundreds of PropCo and MezzCo Debtors. The case is pending in the U.S.
         District Court for the Southern District of Florida (the “District Court”) as Case No. 1:17-cv-
         24624-MGC (the “SEC Action”).

                 The SEC alleges that Shapiro and his affiliates, including the Debtor defendants,
         committed numerous securities law violations. The SEC Complaint contains 10 counts. Count I
         alleges sales of unregistered securities in violation of Section 5 of the Securities Act of 1933, 15
         U.S.C. §§ 77a et seq. (the “Securities Act”), against Shapiro, WGC, WMF, WSF, and the Fund
         Debtors. Counts III and VI allege that Shapiro, WGC, WMF, WSF, and the Fund Debtors made
         material misstatements or omissions in connection with the sale of securities in violation of
         Section 17(a)(2) of the Securities Act and Section 10(b) of the Securities Exchange Act of 1934,
         15 U.S.C. §§ 78a et seq. (the “Exchange Act”). Counts II, IV, V, and VII are against all
         defendants, alleging participation in a “scheme” to defraud investors in violation of Sections
         17(a)(1) and (a)(2) of the Securities Act and Section 10(b) of the Exchange Act. Count VIII
         seeks to hold Shapiro and RS Trust liable under Section 20(a) of the Exchange Act as “control
         persons” for the alleged Exchange Act fraud violations of the various entities under their control.
         Count IX asserts broker-dealer registration violations against WGC and WSF under Section
         15(a)(1) of the Exchange Act, and Count X asserts that Shapiro “aided and abetted” WGC’s and
         WSF’s broker-dealer registration violations.

                    The SEC Complaint prays for the following relief:

                    (i)       A permanent injunction enjoining all defendants from further violations of the
                              securities laws they are alleged to have violated;

                    (ii)      An asset freeze of the assets of Shapiro, RS Trust, and other non-debtor entities
                              until further order of the District Court;

                    (iii)     Appointment of a receiver over the corporate defendants (including the Debtors);

                    (iv)      Issuance of an order enjoining and restraining Shapiro and RS Trust from
                              destroying, concealing, or otherwise rendering illegible any of the books, records,
                              documents, correspondence, accounts, statements, files and other property of or
                              pertaining to any defendant that refer or relate to the acts or courses of conduct
                              alleged in the SEC Complaint;

                    (v)       Issuance of an order directing Shapiro and RS Trust to provide an accounting of
                              all assets and liabilities, including all monies and real properties directly or
                              indirectly received from investors and all uses of investor funds;

                    (vi)      Disgorgement by all defendants of “all ill-gotten gains or proceeds received from
                              investors as a result of the acts and/or courses of conduct complained of herein,
                              with prejudgment interest;” and

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                    (vii)   Civil money penalties pursuant to Section 20(d) of Securities Act and 21(d) of
                            Exchange Act against all defendants.

                 Concurrently with the filing of the SEC Complaint, the SEC filed an emergency ex parte
         motion (the “Asset Freeze Motion”) to freeze temporarily and, after a hearing, for the duration of
         the SEC Action, the assets of Shapiro, RS Trust, and the (then) non-debtor corporate defendants.
         The Asset Freeze Motion also sought an order requiring Shapiro and RS Trust to provide a sworn
         accounting and prohibiting them from destroying records. The day the Asset Freeze Motion was
         filed, the District Court entered an order (the “Asset Freeze Order”) setting a “show cause”
         hearing for December 29, 2017, and temporarily freezing the assets of Shapiro, RS Trust, and the
         (then) non-debtor corporate defendants. The Asset Freeze Order was subsequently extended by
         the District Court. As of the date hereof, the Asset Freeze Order remains in effect, although none
         of the Debtors are subject to the Asset Freeze Order.

                 On the same date it filed the SEC Complaint and the Asset Freeze Motion, the SEC filed
         a motion to appoint a receiver over all defendants in the SEC Action except Shapiro (the
         “Receivership Motion”). The SEC argued that the appointment of a receiver over the debtor
         entities was not barred by the automatic stay because the SEC was enforcing its police and
         regulatory powers, as permitted under Bankruptcy Code section 362(b)(4). On December 28,
         2017, the Debtors initiated an adversary proceeding in the Bankruptcy Court, Adv. Proc. No. 17-
         51891-KJC (the “Receivership Adversary”), seeking, among other things, a declaratory
         judgment that the SEC Action and the Receivership Motion should be and are subject to the
         automatic stay, as well as a preliminary injunction barring the continued prosecution of the SEC
         Action. As part of the Joint Resolution, the SEC withdrew the Receivership Motion without
         prejudice and the Debtors voluntarily dismissed the Receivership Adversary. The SEC has
         indicated that it will re-file the Receivership Motion as against RS Trust and certain non-debtor
         entities, but not against the Debtors.

               Pursuant to the Joint Resolution, on February 16, 2018, the Debtor defendants filed an
         unopposed motion to extend the deadline to file their answer or motion to dismiss the SEC
         Complaint to April 23, 2018. The Bankruptcy Court granted the unopposed extension motion.

                  On April 16, 2018, the Debtor defendants entered into that certain Consent of Debtor
         Defendants (the “SEC Consent”) with the SEC and consented to the entry of that certain
         Judgment as to Debtor Defendants (the “SEC Judgment”). Pursuant to the SEC Consent and
         SEC Judgment, without admitting or denying the allegations of the SEC Complaint, the Debtor
         defendants agree to the entry of the SEC Judgment, which provides that, among other things:
         (i) the Debtor defendants will be permanently enjoined from violations of certain sections of the
         Securities Act and the Exchange Act; (ii) upon motion of the SEC, the District Court will
         determine whether it is appropriate to order disgorgement and/or a civil penalty against the
         Debtor defendants and, if so, the amount of any such disgorgement and/or civil penalty; and
         (iii) in connection with any hearing regarding disgorgement and/or a civil penalty, inter alia, the
         Debtor defendants will be precluded from arguing that they did not violate the federal securities
         laws as alleged in the SEC Complaint and the Debtor defendants may not challenge the validity
         of the SEC Consent or SEC Judgment. The SEC Consent and SEC Judgment also provide that
         the Debtor defendants agree that the District Court will retain jurisdiction over the matter for the
         purpose of enforcing the terms of the SEC Judgment, and that the Bankruptcy Court will
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         continue to maintain jurisdiction over all such matters to which the Bankruptcy Court has
         jurisdiction over in the Chapter 11 Cases. On May 1, 2018, the Bankruptcy Court approved the
         Debtors’ entry into the SEC Consent and SEC Judgment. See Docket No. 1702. Accordingly,
         on May 21, 2018, the District Court entered the SEC Judgment against the Debtor defendants in
         the SEC Action.

                 The Debtors have reached an agreement in principle with the SEC staff to resolve the
         disgorgement and civil penalty claims asserted by the SEC against the Debtors in the SEC
         Action. The agreement remains subject to Commission and Bankruptcy Court approvals, but the
         Debtors and SEC staff will submit the agreement for consideration in an effort to obtain those
         approvals prior to the Confirmation Hearing. If the agreement is approved, the SEC will dismiss
         its civil penalty claims against the Debtors. In addition, the Debtors will consent to a final
         judgment in the SEC Action, which sets disgorgement in the amount of $892,173,765, but the
         disgorgement will be deemed satisfied by the Liquidation Trust formed pursuant to the Debtors’
         Plan becoming obligated to make distributions of substantially all of the net proceeds (taking into
         account the costs of administration of the Liquidation Trust and the Wind-Down Entity) from the
         disposition of the Estates’ assets (distributions of net proceeds to general unsecured creditors
         shall be permitted) to investors pursuant to a confirmed Chapter 11 plan, provided that the SEC
         did not file a timely objection to the plan. The Debtors and SEC staff have been working to
         resolve any issues that the staff may have with the Plan, and the Debtors do not anticipate the
         SEC filing any objection to the Plan. To provide sufficient time for the proposed agreement to
         be approved, the Debtors, Unsecured Creditors’ Committee, Noteholder Committee, and
         Unitholder Committee have agreed to extend the SEC Bar Date to October 26, 2018. If the
         agreement is approved and the conditions to disgorgement satisfaction occur, then the SEC will
         not file any proofs of claim against the Debtors or their Estates. Further, the agreement would
         moot any issues concerning treatment of the SEC’s claims in the Chapter 11 Cases. In light of
         the agreement in principle, the SEC will not be voting on the Plan.

                At a status conference in the SEC Action on May 16, 2018, the SEC announced that it
         had reached terms of settlement with the non-debtor defendants (but did not, at that time,
         disclose those terms). Accordingly, on May 21, 2018, the District Court entered an order
         administratively closing the SEC Action, and instructing the parties to file settlement
         documentation on or before August 17, 2018.

                    R.     Postpetition Litigation

                The Debtors and other parties in interest have commenced four adversary proceedings
         related to the Chapter 11 Cases and the Unsecured Creditors’ Committee has sought to
         commence a fifth, each of which are described below.

                           1.     Receivership Adversary

               As noted in Section III.Q above, the Debtors initiated the Receivership Adversary to,
         among other things, enjoin the SEC from prosecuting the SEC Action and the Receivership
         Motion. Pursuant to the Joint Resolution, the Debtors voluntarily dismissed the Receivership
         Adversary on February 2, 2018.


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                           2.      Dissident Noteholder Declaratory Relief Adversary

                 On March 27, 2018, a group of so-called “Dissident” Noteholders (the “Dissident
         Plaintiffs”) filed an adversary proceeding in the Bankruptcy Court, Adv. Proc. No. 18-50371-
         KJC (the “Dissident Declaratory Relief Adversary”), seeking a declaratory judgment that they
         hold valid, perfected, first-priority liens against the real property located at 141 South Carolwood
         Drive, Holmby Hills, California (the “Owlwood Property”), or against the proceeds of any sale
         of the Owlwood Property via a security interest in a note secured by the Owlwood Property, or,
         alternatively, that the Dissident Plaintiffs hold a constructive trust over or equitable lien against
         the Owlwood Property or the proceeds of any sale of the Owlwood Property or the note secured
         by the Owlwood Property. On June 18, 2018, the Debtors filed a motion to dismiss the Dissident
         Declaratory Relief Adversary. On July 17, 2018, the Dissident Plaintiffs, in response to the
         Debtors’ motion to dismiss, requested and were granted permission to file a First Amended
         Complaint (the “Complaint”). On August 14, 2018, the Debtors again moved to dismiss the
         Complaint.

                 The Debtors believe that the positions taken by the Dissident Plaintiffs are meritless and
         will all be resolved in favor of the Debtors either via the pending motion to dismiss or via
         confirmation of the Plan or, if necessary, on summary judgment or after an evidentiary hearing.

                 More specifically, as detailed more fully in the Debtors’ motion to dismiss, the counts
         asserted in the Dissident Plaintiffs’ Complaint fail for the following reasons:

                •   Count I of the Complaint seeks a declaration that the Dissident Plaintiffs have a security
                    interest in the Owlwood Property, i.e., in real property. As a matter of black letter
                    California law, “recordation of the mortgage . . . is one of the necessary and
                    indispensable requisites to” a security interest. Hopper v. Keys, 92 P. 1017, 1020 (Cal.
                    1907). There is no mortgage—or deed of trust—recorded in favor of any of the Dissident
                    Plaintiffs. Fund 3A, a Debtor, does have a recorded deed of trust against the Owlwood
                    Property (executed by the Owlwood Property’s owner, Sturmer Pippin Investments, LLC,
                    also a Debtor), but at no time did Fund 3A purport to transfer ownership of that deed of
                    trust or any note purportedly secured by the deed of trust to any Dissident Plaintiff except
                    as security (which is defective for reasons set forth in the next paragraph). Any transfer
                    of ownership of a note would have to comply with Article 3 of the Delaware UCC, which
                    in pertinent part (see Del. Code Ann. tit. 6, § 3-102) requires that to be effective, such a
                    transfer would have to involve both the endorsement and delivery of the note to a
                    Dissident Plaintiff. That is not even alleged to have occurred and it did not. Therefore,
                    even if the Dissident Plaintiffs had a colorable claim to having a security interest in the
                    Owlwood Property (and they do not), it would be an unperfected security interest. As a
                    deemed bona fide purchaser of the Owlwood Property by reason of Bankruptcy Code
                    section 544(a)(3), Debtor Sturmer Pippin Investments, LLC, holds the Owlwood Property
                    free and clear of any unperfected security interest of the Dissident Plaintiffs.24


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             Under section 544(a), “a trustee obtains a status as well as an avoiding power as a hypothetical judicial lien
         creditor, unsatisfied execution creditor, or bona fide purchaser as of the commencement of a bankruptcy case.” In re
         Alexander, No. 11-74515-SCS, 2014 WL 3511499, at *9 (Bankr. E.D. Va. July 16, 2014) (emphasis in original;
                                                                                                     (FOOTNOTE CONTINUED)
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                •   Count II of the Complaint is a variant of Count I, asserting not an interest in the
                    Owlwood Property but rather in the proceeds of any sale of the Owlwood Property, with
                    the Dissident Plaintiffs having a security interest in Fund 3A’s note secured by a deed of
                    trust on the Owlwood Property. A basic conceptual and threshold problem is that this
                    Count relies on the incorrect notion that the note and deed of trust held by Fund 3A on
                    the Owlwood Property is valid. They are not valid, and the Plan, if approved, will
                    definitively so declare, as discussed below. But even if the note and deeds of trust held
                    by Fund 3A were valid, the Dissident Plaintiffs would, at most, have an unperfected—
                    and hence invalid in bankruptcy—security interest in those instruments because the
                    Dissident Plaintiffs did not perfect their security interests as required under Delaware law
                    by either possession or filing a financing statement. Del. Code Ann. tit. 6, § 9-312(a)
                    & 9-313(a). Delaware law applies because Fund 3A is a Delaware LLC. Del. Code Ann.
                    tit. 6, §§ 9-301(1), 9-307(e) & 9-102(a)(71); see also Cal. Comm. Code §§ 9301(1),
                    9307(e) & 9102(a)(71) (same). Additionally, agreements between the Dissident Plaintiffs
                    and Fund 3A clearly specify that Delaware law applies. The Dissident Plaintiffs argue
                    that a very idiosyncratic provision of California law, Cal. Business & Professions Code
                    § 10233.2, provides an exception to the perfection requirements of the Delaware UCC,
                    but that section is inapplicable for multiple reasons. First, that section only provides an
                    exception to California law not Delaware law, and only Delaware governs. That section
                    of the California statute is also inapplicable on its own terms because the special
                    conditions required under Business & Professions Code section 10233.2 are not present.
                    As the Dissident Plaintiffs have, at most, an unperfected security interest in the Fund 3A
                    note and deed of trust, their interest is junior to the deemed perfected lien creditor rights
                    held by Fund 3A pursuant to Bankruptcy Code section 544(a)(1) & (2). See also note 24,
                    supra.

                •   Count III of the Complaint abandons formality entirely and seeks to assert a constructive
                    trust or equitable lien in the Owlwood Property or in its proceeds or in Fund 3A’s secured
                    note. This Count is invalid under both state law and bankruptcy law. It fails under state
                    law because under both California and Delaware law (and American law generally), the
                    party asserting such a claim “bears the burden of tracing the alleged trust property
                    specifically and directly back to the act that created the trust.” True Traditions, LC v.
                    Wu, 552 B.R. 826, 840 (N.D. Cal. 2015); see also, e.g., Pell v. E.I. DuPont de Nemours
                    & Co. Inc., 539 F.3d 292, 309 (3d Cir. 2008) (same tracing requirement for both
                    constructive trust and equitable lien under ERISA in case filed in Delaware); Rollins v.
                    Neilson (In re Cedar Funding, Inc.), 408 B.R. 299, 313 (Bankr. N.D. Cal. 2009) (same
                    tracing requirement—equitable lien, California law); B.A.S.S. Grp., LLC v. Coastal
                    Supply Co., 2009 WL 1743730, at *7 (Del. Ch. June 19, 2009) (same tracing
                    requirement—constructive trust, Delaware law); Pike v. Commodore Motel Corp., 1986
                    WL 13007, at *5 (Del. Ch. Nov. 14, 1986) (same); Fowler v. Fowler, 39 Cal. Rptr. 101,

         citation and internal quotation marks omitted), aff’d, 524 B.R. 82 (E.D. Va. 2014); In re Don Williams Constr. Co.,
         143 B.R. 865, 868-69 (Bankr. E.D. Tenn. 1992). To the extent that anyone asserts that perfection must be
         challenged by way of an adversary proceeding, the case law is clear that non-perfection may be raised in a contested
         matter. See, e.g., S. Bank & Tr. Co. v. Alexander (In re Alexander), 524 B.R. 82, 93 (E.D. Va. 2014); In re Loewen
         Grp. Int’l, Inc., 292 B.R. 522, 528 (Bankr. D. Del. 2003); In re Ballard, 100 B.R. 526, 527 (Bankr. D. Nev. 1989).

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                    105 (Ct. App. 1964) (same tracing requirement—California law, constructive trust);
                    Holder v. Williams, 334 P.2d 291, 292 (Cal. Ct. App. 1959) (same tracing requirement—
                    equitable lien, California law); Walsh v. Majors, 49 P.2d 598, 606 (Cal. 1935) (same
                    tracing requirement—constructive trust and equitable lien, California law); Restatement
                    of the Law 3d, Restitution and Unjust Enrichment, § 55 cmt. g (3rd 2011) (same tracing
                    requirement constructive trust); id. § 58 cmt. e (same tracing requirement for both
                    constructive trust and equitable lien). Notably, although granted leave to amend—
                    following review of the June 18 motion to dismiss which clearly set forth the tracing
                    requirement—the Dissident Plaintiffs have never alleged that tracing is possible. There is
                    good reason for this: tracing is not possible. But even if the Dissident Plaintiffs could
                    sustain either a constructive trust or an equitable lien under state law, the remedy would
                    fail as a matter of bankruptcy law because “under the unique rules of bankruptcy, a
                    debtor’s estate is deemed to include fraudulently obtained property, so long as the
                    property was not impressed with a constructive trust prior to the commencement of the
                    bankruptcy proceeding.” Singh v. Att’y Gen. of the United States, 677 F.3d 503, 516 n.16
                    (3d Cir. 2012). The reason for this holding is significant: “The inclusion of fraudulently
                    obtained property in the debtor’s estate is not for the debtor’s benefit. . . . It is designed,
                    instead, to ensure equal treatment of creditors, each of whom has suffered disappointed
                    expectations at the hands of the debtor.” Id. Additionally, as a bona fide purchaser of the
                    Owlwood Property or a perfected lien creditor of the note and deed of trust held by Fund
                    3A, see note 24 supra, Sturmer Pippin Investments, LLC (as to the real property) and
                    Fund 3A (as to the note and deed of trust) would take the real or personal property
                    (including any sale proceeds arising therefrom) free and clear of any unrecorded
                    constructive trust or equitable lien interest. In re Tleel, 876 F.2d 769, 771-72 (9th Cir.
                    1989) (California real property); Mullins v. Burtch (In re Paul J. Paradise & Assocs.),
                    249 B.R. 360, 372 (D. Del. 2000) (Delaware real property); Wallace v. Bonner (In re
                    Bonner), 2014 WL 890477, at *6 (B.A.P. 9th Cir. Mar. 6, 2014) (California personal
                    property); In re Charlton, 389 B.R. 97, 104 (Bankr. N.D. Cal. 2008) (same); see also Del.
                    Code Ann. tit. 6, § 9-317(a)(2) (unperfected security interest is subordinate to the rights
                    of a judicial lien creditor).

                •   Count IV asserts claims under California’s Elder Abuse Law. The claim is meritless, but
                    even if valid, it would not result in an interest in real or personal property of any Debtor,
                    merely in an unsecured subordinated claim. First, the Elder Abuse claim was asserted in
                    an untimely and procedurally improper manner as “the only appropriate way to assert a
                    claim against a debtor’s estate is through the timely filing of a properly executed proof of
                    claim and not through an adversary proceeding.” In re Ephedra Prods. Liab. Litig., 329
                    B.R. 1 (S.D.N.Y. 2005); accord Dade County Sch. Dist. v. Johns-Manville Corp. (In re
                    Johns-Manville Corp.), 53 B.R. 346, 352-53 (Bankr. S.D.N.Y. 1985); 10 Collier on
                    Bankruptcy ¶ 7001.02 (Richard Levin & Henry J. Sommer, eds., 16th ed. 2018) (“an
                    adversary proceeding may not be used as a substitute for a proof of claim”). Second,
                    were it asserted as a proof of claim, it would be time-barred as being asserted after the
                    Bankruptcy Court-imposed bar date. Neither may it be asserted as an amendment to an
                    existing proof of claim because a “claimant may not, however, through the guise of an
                    amendment, circumvent the bar date by asserting a new claim.” In re Asia Glob.
                    Crossing, Ltd., 324 B.R. 503, 507 (Bankr. S.D.N.Y. 2005) (collecting authorities).
                    Finally, to the extent such a claim would otherwise be allowed, it would be subject to
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                    automatic subordination under Bankruptcy Code section 510(b) as it would be for
                    “damages arising from the purchase or sale of . . . a security.” In sum, the Elder Abuse
                    claims are not tenable and should not be allowed, and thus have no implications on plan
                    confirmation.

                 Based on the foregoing points, the Debtors believe that the Bankruptcy Court should
         dismiss the Complaint in its entirety, regardless whether the counts therein assert a direct
         security interest in real property or an indirect interest in real property via Intercompany Claims
         (notes) and Intercompany Liens (deeds of trust) between the Fund Debtors, on the one hand, and
         PropCos and MezzCos, on the other hand.

                 In addition to the defects in the Complaint, any theory of the Dissident Plaintiffs that
         relies on obtaining or asserting a security interest on the Intercompany Claims and Intercompany
         Liens between the Fund Debtors, on the one hand, and PropCos and MezzCos, on the other hand,
         will be rendered moot by the extinguishment of those Intercompany Claims and Intercompany
         Liens as part of the Plan. Assuming the Plan is confirmed by the Bankruptcy Court, it is simply
         irrelevant whether any Noteholder has a perfected, enforceable security interest on the
         intercompany rights (because a security interest on a non-existent item is the same as a non-
         existent security interest on the same non-existent item).

                If the Bankruptcy Court determines that the Dissident Plaintiffs have legitimate,
         enforceable property rights directly in specific real property, the Plan may need to be modified,
         revised or withdrawn. The Debtors anticipate that this issue will be resolved at or before the
         Confirmation Hearing and that the Bankruptcy Court will determine that the Dissident Plaintiffs
         have no such property rights. Please see Section VI.G. below for a discussion of alternatives to
         confirmation and consummation of the Plan.

                           3.     Comerica Declaratory Relief Adversary

                 On April 4, 2018, Comerica Bank (“Comerica”) filed an adversary proceeding in the
         Bankruptcy Court, Adv. Proc. No. 18-50382-KJC (the “Comerica Adversary”) against five
         parties who are currently plaintiffs in pending class action lawsuits (the “Class Action
         Plaintiffs”) against Comerica related to the Debtors’ Ponzi scheme. Comerica seeks, among other
         things, a declaratory judgment that the claims brought by the Class Action Plaintiffs are
         derivative claims that belong to the Debtors. Comerica filed a motion for a preliminary
         injunction to enjoin the class actions from moving forward. See Adv. Docket No. 3. After a
         hearing on May 15, 2018, the Bankruptcy Court entered an order that, among other things,
         enjoined and stayed the continued prosecution of the class actions. See Adv. Docket No. 21.

                           4.     Committee Lien Avoidance Adversary

                On April 9, 2018, the Unsecured Creditors’ Committee Filed the Motion of Official
         Committee of Unsecured Creditors Pursuant to 11 U.S.C. §§ 105(a), 1103(c), and 1109(b) for
         Entry of an Order Granting Leave, Standing, and Authority to Prosecute Certain Causes of
         Action on Behalf of Certain Debtors and Their Estates [Docket No. 920] (the “Committee
         Standing Motion”), pursuant to which it sought entry of an order granting the Unsecured
         Creditors’ Committee leave and standing to initiate an adversary proceeding (the “Lien

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         Avoidance Adversary”) seeking to avoid the liens and security interests purportedly granted to
         the Fund Debtors by the MezzCo and PropCo Debtors. The potential bases for avoidance of such
         liens and security interests are described in more detail in Section IV.B.1 below. The Unsecured
         Creditors’ Committee asserted that it was the proper party to bring such causes of action because
         they involve intercompany liens and obligations among the Debtors, and thus the Unsecured
         Creditors’ Committee’s pursuit of such causes of action would avoid any actual or potential
         conflict of interest. On April 24, 2018, the Dissident Plaintiffs filed an opposition to the
         Committee Standing Motion. See Docket No. 1625.

                           5.    Comerica WFS Adversary

                On April 26, 2018, Comerica filed an adversary proceeding in the Bankruptcy Court,
         Adv. Proc. No. 18-50414-KJC (the “WFS Adversary”) against WFS Holding, seeking
         declaratory and injunctive relief relating to a California Superior Court action filed by WFS
         Holding against Comerica styled WFS Holding Co., LLC v., Comerica Bank, et al., Civ. Case
         No. BC699929, filed on March 28, 2018 (the “WFS Superior Court Action”). Both the WFS
         Adversary and the WFS Superior Court Action stem from a bank account opened by WFS
         Holding at Comerica on November 20, 2017, in which account both WFS Holding and the
         Debtors have claimed an interest. Accordingly, by the WFS Adversary, Comerica has sought
         declaratory relief to determine the parties’ respective rights and responsibilities relative to the
         disputed account, injunctive relief to enjoin the WFS Superior Court Action, and interpleader to
         determine the rightful owner of the funds in the disputed account. On May 23, 2018, based on a
         dismissal by WFS Holding of the WFS Superior Court Action, Comerica dismissed the WFS
         Adversary. See Adv. Docket No. 9.

                    S.     Plan Term Sheet

                Following the appointment of the New Board, the preferred path of the New Board, the
         Debtors, and their professionals was to build consensus with key constituencies and reach an
         agreement that would provide for a prompt and orderly path out of bankruptcy for the Debtors
         and would conserve the Estates’ resources for the benefit of all Creditors.

                 To that end, KTBS hosted several all-day negotiating sessions at its offices in Los
         Angeles. First, on March 8, 2018, KTBS hosted a full-day meeting attended by counsel for the
         Debtors, the Unsecured Creditors’ Committee, the Noteholder Committee, the Unitholder
         Committee, and the SEC. Then, during the week of March 19, 2018, KTBS hosted three all-day
         meetings attended by the parties and their professionals. At these meetings, the parties engaged
         in extensive debate and discussion regarding, among other things, key legal issues in the Chapter
         11 Cases, including, among other things, (i) whether the Notes are secured by valid, perfected
         security interests, (ii) the relative rights and treatment of holders of Notes and Units, and
         (iii) whether substantive consolidation of the Estates is warranted under the circumstances.
         Certain of the parties also circulated detailed “position papers” regarding such topics.

                The negotiations were ultimately fruitful, as they culminated with the signing of a
         Summary Plan Term Sheet, dated as of March 22, 2018 [Docket No. 828] (the “Plan Term
         Sheet”). The Plan Term Sheet memorialized a broad agreement in principle by and among the
         Debtors, the Unsecured Creditors’ Committee, the Noteholder Committee, and the Unitholder
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         Committee regarding the fundamental terms of a chapter 11 plan, while providing a basis for
         further discussion regarding the specific details of the plan and related transaction, which details
         remained subject to further review, comment, and final approval by the parties.

                Following execution of the Plan Term Sheet, the parties continued to extensively
         negotiate the open details of the potential plan. After many weeks of further discussion and
         negotiations with the Committees, the Debtors finalized and filed the Plan, which substantially
         incorporates and expands upon the Plan Term Sheet.

                    T.      Noteholder Liquidity Facility

                 On July 12, 2018, the Unsecured Creditors’ Committee and the Noteholder Committee
         filed that certain Joint Motion of the Official Committee of Unsecured Creditors and the Ad Hoc
         Noteholder Group Pursuant to 11 U.S.C. §§ 105(a) and 363(b) for Entry of an Order Approving
         (A) Procedures Relating to Proposed Noteholder Liquidity Facility and (B) Related Exclusivity
         Provisions [Docket No. 2162] (the “Liquidity Facility Motion”), by which the movants sought
         entry of an order approving, among other things, procedures relating to a proposed up to
         $215 million noteholder liquidity facility (the “Noteholder Liquidity Facility”) that would be
         made available to Noteholders from AXAR Capital (the “Liquidity Lender”) for the purpose of
         providing loans equal to 30% of each Noteholder’s allowed net claim against the Debtors,
         pursuant to the terms, conditions, and exclusions in the term sheet for such Noteholder Liquidity
         Facility (which term sheet is attached to the Liquidity Facility Motion) and the definitive loan
         documents sent to Noteholders. The Bankruptcy Court approved the Liquidity Facility Motion
         on August 8, 2018. Docket No. 2307.

                 Participation by any Noteholder in the Noteholder Liquidity Facility is purely optional.
         The Debtors have not endorsed the Noteholder Liquidity Facility, and have not made any
         recommendations either for or against any Noteholder’s participation in the Noteholder Liquidity
         Facility. The Noteholder Liquidity Facility is entirely separate from the Debtors’ Plan
         process. Any Noteholder’s decision to participate in, or not participate in, the Noteholder
         Liquidity Facility will have no effect on such Noteholder’s treatment under the Plan, except that
         for any Noteholder who borrows under the Noteholder Liquidity Facility, any distributions from
         the Debtors to such borrowing Noteholder will instead be paid directly to the Liquidity Lender
         pursuant to joint pay instructions until all outstanding amounts due from such borrowing
         Noteholder to the Liquidity Lender are paid in full.

                    IV.     SUMMARY OF THE FIRST AMENDED JOINT CHAPTER 11 PLAN

                 This section provides a summary of the structure and means for implementation of the
         Plan and the classification and treatment of Claims and Equity Interests under the Plan and is
         qualified in its entirety by reference to the Plan (as well as the exhibits thereto and definitions
         therein).

                 The statements contained in this Disclosure Statement do not purport to be precise or
         complete statements of all the terms and provisions of the Plan or documents referred to therein,
         and reference is made to the Plan and to such documents for the full and complete statement of
         such terms and provisions.

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                 The Plan itself and the documents referred to therein control the actual treatment of
         Claims against and Equity Interests in the Debtors under the Plan and will, upon the occurrence
         of the Effective Date, be binding on all Holders of Claims against and Equity Interests in the
         Debtors, the Debtors’ Estates, all parties receiving property under the Plan, and other parties in
         interest. In the event of any conflict, inconsistency, or discrepancy between this Disclosure
         Statement and the Plan, the Confirmation Order, the Plan Supplement, or any other operative
         document, the terms of the Plan, Confirmation Order, Plan Supplement, or such other operative
         document, as applicable, shall govern and control; provided that, in any event, the terms of
         (1) the Confirmation Order and then (2) the Plan, inclusive of any Plan Supplement, in that
         order, shall govern and control over all other related documents.

                    A.     Purpose and Effect of the Plan

                 Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
         reorganization. Under chapter 11, a debtor is authorized to reorganize its business for the benefit
         of its constituents. Chapter 11 also specifically allows a debtor to formulate and consummate a
         plan of liquidation. See 11 U.S.C. § 1129(a)(11). A plan of liquidation sets forth the means for
         satisfying claims against and equity interests in a debtor. Confirmation of a plan of liquidation by
         a bankruptcy court makes that plan binding on the debtor and any creditor of or interest holder in
         the debtor, whether or not such creditor or interest holder (i) is impaired under or has accepted
         the plan or (ii) receives or retains any property under the plan.

                 The Plan provides for the distribution of the proceeds of the liquidation of all Estate
         Assets to various Creditors as contemplated under the Plan and for the wind-up the Debtors’
         corporate affairs. More specifically, the Plan provides for the creation and funding of a
         Liquidation Trust and a Wind-Down Entity (which will be wholly owned by the Liquidation
         Trust) to administer and liquidate all remaining property of the Debtors, including (i) any real
         properties owned by the Debtors immediately prior to the Effective Date and (ii) the Liquidation
         Trust Actions.

                 Under the Plan, Claims against, and Equity Interests in, the Debtors are divided into
         Classes according to their relative seniority and other criteria. If the Plan is confirmed by the
         Bankruptcy Court and consummated, the Claims and Equity Interests of the various Classes will
         be treated in accordance with the provisions in the Plan for each such Class and the Liquidation
         Trust or Wind-Down Entity, as applicable, will make Distributions as provided in the Plan. A
         general description of the Classes of Claims and Equity Interests created under the Plan, the
         treatment of those Classes under the Plan, and the property to be distributed under the Plan are
         described below.

                    B.     Comprehensive Compromise and Settlement Under the Plan

                  Pursuant to Bankruptcy Code sections 1123(a)(5), 1123(b)(3), and 1123(b)(6), as well as
         Bankruptcy Rule 9019, and in consideration for the Distributions and other benefits provided
         under the Plan, the provisions of the Plan will constitute a good faith compromise and settlement
         of all claims and controversies relating to the rights that a Holder of a Claim or an Equity Interest
         may have against any Debtor with respect to any Claim, Equity Interest, or any Distribution on
         account thereof, as well as of all potential Intercompany Claims, Liens, and Causes of Action
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         against any Debtor. The entry of the Confirmation Order will constitute the Bankruptcy Court’s
         approval, as of the Effective Date, of the compromise or settlement of all such claims or
         controversies and the Bankruptcy Court’s finding that all such compromises or settlements are
         (i) in the best interest of the Debtors, the Estates, and their respective property and stakeholders;
         and (ii) fair, equitable, and reasonable.

                 The Debtors believe that the comprehensive compromise and settlement to be effected by
         the Plan is appropriate for several reasons and intend to request that the Bankruptcy Court
         approve that comprehensive compromise and settlement contemporaneously with the
         Confirmation Hearing. In particular, this comprehensive compromise and settlement is a critical
         component of the Plan and is designed to provide a resolution of myriad disputed intercompany
         and intercreditor Claims, Liens, and Causes of Action that otherwise could take years of
         protracted litigation to resolve, which would delay and undoubtedly reduce the Distributions that
         ultimately would be available for all Creditors.

                Among those many disputed issues that will be resolved through the Plan are the
         following complex matters, any one of which could be the subject of years of expensive,
         complicated, and uncertain litigation.

                             1.       Nature of the Claims Asserted by the Noteholders

                 A significant dispute exists regarding whether the Noteholders hold, directly or
         indirectly, any valid and enforceable lien or other security interest on any Estate Assets, not
         subject to avoidance. This dispute involves complex legal issues; however, in brief, the issue
         involves the assertion by certain Noteholders that they hold valid and enforceable security
         interests, not subject to avoidance, in either or both of (i) the particular parcel of real property
         identified on their loan documentation provided to them by the Debtors, or (ii) the allegedly
         secured promissory notes from the applicable MezzCo or PropCo to the applicable FundCo. The
         Debtors believe there are legal problems with this assertion, as described in more detail in this
         section. First, as a technical matter, the Debtors believe the steps legally necessary to “perfect”
         any such security interest in favor of a Noteholder have not been taken such that any such
         security interest would be avoidable.25 And second, as a more fundamental matter, the
         unfortunate reality that Shapiro did not use investor funds as he promised (i.e., that he
         commingled all funds, rather than using a particular Noteholder’s money for the particular
         property or loan to an alleged third-party borrower that was referenced on such Noteholder’s
         documents) creates legal hurdles for the Noteholders’ claim to secured status.

                 In contrast to Shapiro’s representations, the Debtors believe that as a legal matter, the
         Noteholders do not have valid, enforceable security interests in the Purported Noteholder
         Collateral that could withstand utilization of the “strong arm” avoidance powers, described
         below. In particular, as noted above, the Debtors believe the steps necessary to perfect any such
         security interests under Article 9 of the Delaware Commercial Code were not taken on behalf of
         the Noteholders. Specifically, (i) the Debtors have confirmed that no Noteholder is in physical

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                A “perfected” security interest or lien is one that is enforceable, against other creditors as well as subsequent
                owners of the collateral, by virtue of satisfaction of the requirements of applicable state law.

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         possession of any Purported Noteholder Collateral, see DEL. CODE ANN. tit. 6, § 9-313(a), and
         (ii) based on the Debtors’ investigation, no UCC-1 financing statement was filed in Delaware on
         behalf of any Noteholder with respect to any of the Purported Noteholder Collateral, see id. § 9-
         312(a). The Debtors believe these facts would ultimately allow for a determination that any
         asserted security interests in the Purported Noteholder Collateral or on any other Estate Assets
         are subject to avoidance under Bankruptcy Code section 544(a), which provides that an estate
         representative may utilize “strong arm” powers to avoid any transfer of property of the debtor or
         any obligation incurred by the debtor that is voidable by certain creditors under applicable
         nonbankruptcy law. Among other things, these “strong arm” powers permit avoidance of
         asserted security interests that were not properly perfected in accordance with applicable
         nonbankruptcy law. Although the Debtors believe they would prevail in any such avoidance
         litigation, so utilizing the “strong arm” powers could necessitate commencement of a separate
         adversary proceeding against each Noteholder who asserts a security interest, which could be
         detrimental to all victims of Woodbridge’s fraudulent scheme by causing the additional
         hardships, costs and delays attendant to litigation.

                 Apart from the technical question whether any Noteholder has an enforceable security
         interest is the more fundamental question whether any of the asserted intercompany loans and
         related liens and security interests purportedly granted to the Fund Debtors by the MezzCo and
         PropCo Debtors are enforceable in the Chapter 11 Cases. This fundamental question is raised by
         the Unsecured Creditors’ Committee’s proposed Lien Avoidance Adversary and it implicates a
         variety of complex sub-issues that the Bankruptcy Court (and additional courts on appeal) would
         need to resolve, including:

                    •   Are the promissory notes issued to the Fund Debtors enforceable obligations as a
                        matter of applicable state law despite the facts that, in many cases, no loan
                        proceeds whatsoever were provided directly from the Fund Debtors to the
                        applicable MezzCo and PropCo Debtors and the amount of the obligations were
                        not correlated with the actual funds received? If these obligations are
                        unenforceable against the MezzCo and PropCo Debtors under applicable law for
                        any reason other than because such claims are contingent or unmatured, then the
                        Intercompany Claims held by the Fund Debtors would be subject to disallowance
                        under Bankruptcy Code section 502(b)(1). The absence of allowed claims of the
                        Fund Debtors would in turn mean that the associated Liens asserted by the Fund
                        Debtors would be voided by Bankruptcy Code section 506(d).

                    •   Are either the purported obligations of the applicable MezzCo and PropCo
                        Debtors to the Fund Debtors or the associated Liens avoidable as “constructive”
                        fraudulent transfers under Bankruptcy Code section 548(a)(1)(B) or as
                        constructively voidable transactions under applicable nonbankruptcy law and
                        Bankruptcy Code section 544(b)? Generally, an obligation and security interest
                        may be avoided in bankruptcy if the debtor received less than a reasonably
                        equivalent value in exchange for such obligation or transfer and was in one of
                        several forms of financial distress at the relevant time. To the extent a particular
                        MezzCo or PropCo Debtor did not receive reasonably equivalent value in
                        exchange for liens and obligations that it created in favor of a Fund Debtor while

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                        it was insolvent, those liens and obligations could be avoided in the Chapter 11
                        Cases.

                    •   Are either the purported obligations of the applicable MezzCo and PropCo
                        Debtors to the Fund Debtors or the associated Liens avoidable as “actual”
                        fraudulent transfers under Bankruptcy Code section 548(a)(1)(A) or as actually
                        voidable transactions under applicable nonbankruptcy law and Bankruptcy Code
                        section 544(b)? Generally, an obligation and security interest may be avoided in
                        bankruptcy if the debtor made such transfer or incurred such obligation with
                        actual intent to hinder, delay, or defraud any entity to which the debtor was or
                        became, on or after the date that such transfer was made or such obligation was
                        incurred, indebted. Although courts often look to certain “badges of fraud” when
                        determining whether a given transfer or obligation was associated with the
                        required debtor intent, the case law also recognizes a “Ponzi scheme
                        presumption” that imputes such intent when a transfer or obligation was part of
                        the perpetuation of a Ponzi scheme. See, e.g., Ritchie Capital Mgmt., LLC v.
                        Stoebner, 779 F.3d 857, 861-62 (8th Cir. 2015); Bear, Stearns Sec. Corp. v.
                        Gredd (In re Manhattan Inv. Fund Ltd.), 397 B.R. 1, 9-11 (S.D.N.Y. 2007); In re
                        DBSI, Inc., 477 B.R. 504, 510 (Bankr. D. Del. 2012). As such, to the extent that
                        the transactions between the MezzCo and PropCo Debtors and the Fund Debtors
                        furthered a Ponzi scheme, those transactions could potentially be avoided as
                        actual fraudulent transfers or voidable transactions.

                    •   Are there other forms of interests between any given MezzCo and PropCo Debtor
                        and any given Fund Debtor? For example, even though a particular Fund Debtor
                        may contend that it is the only Person with an interest in a particular MezzCo or
                        PropCo, other Fund Debtors could potentially assert equitable liens or other rights
                        and remedies against that same MezzCo or PropCo on the theory that some
                        portion of the other Fund Debtors’ funds were part of the commingled pool that
                        facilitated purchase of the underlying real property. If such interests were
                        recognized in favor of other Fund Debtors, then there could be further disputes
                        about the extent to which those interests are senior to or on parity with the
                        interests of the Fund Debtor that had a more formalized relationship with the
                        same MezzCo or PropCo.

         These are all highly complex issues that could require the devotion of substantial professional
         and judicial resources to resolve with finality. The key point that bears emphasis is that any
         vulnerability in the Intercompany Claims or Intercompany Liens asserted by the Fund Debtors
         against the applicable MezzCos or the PropCos ultimately moots the secondary disputes about
         whether the associated Noteholders have perfected security interests; if the Purported Noteholder
         Collateral is invalid, void, or otherwise unenforceable, then it ultimately is irrelevant whether
         any Noteholder has a security interest regarding such an invalid, void, or unenforceable item.

                The Plan’s comprehensive compromise and settlement resolves this issue by providing
         that any Intercompany Claims that could be asserted by one Debtor against another Debtor will
         be extinguished immediately before the Effective Date with no separate recovery on account of
         any such Claims and any Intercompany Liens that could be asserted by one Debtor regarding any
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         Estate Assets owned by another Debtor will be deemed released and discharged on the Effective
         Date. As a result of this elimination of such Intercompany Claims and Intercompany Liens, there
         is no further need to litigate about whether any given Noteholder has a perfected security interest
         or not, nor about whether any given Noteholder has any specialized interest in any particular
         property (a very limited exception to this statement exits for the Noteholders with Non-Debtor
         Loan Note Claims, which will retain the ability to litigate whether they have enforceable security
         interests regarding the applicable non-debtor loans, although the Debtors do not believe any of
         these parties will ultimately prevail in such litigation).

                 By resolving the intercompany rights between the Fund Debtors and the Other Debtors in
         a fashion that recognizes that the Fund Debtors ultimately should have some economic interest in
         the Other Debtors (whether through unsecured Claims for reimbursement asserted against WGC
         or directly through asserted Claims against the PropCos and MezzCos), the Plan avoids the
         substantial costs and uncertainty of litigation while providing what are anticipated to be
         substantial recoveries for all the economic stakeholders of the Fund Debtors (i.e., the
         Noteholders and the Unitholders).

                 Solely with respect to any Secured Claim of a non-debtor as to which the associated Lien
         would be junior to any Intercompany Lien that could be asserted by one Debtor regarding any
         Estate Assets owned by another Debtor, so as to retain the relative priority and seniority of such
         Intercompany Claim and associated Intercompany Lien, the otherwise released Intercompany
         Claim and associated Intercompany Lien will be preserved for the benefit of, and may be
         asserted by (a) the Liquidation Trust as to any Collateral that is Cash and (b) otherwise, the
         Wind-Down Entity. The Debtors are presently aware of only one non-debtor Lien (asserted by
         the IRS against the Debtors’ property at 4030 Longridge Avenue, Sherman Oaks, California) as
         to which this issue is likely to be relevant.

                        2.     Nature of the Claims Asserted by the Unitholders

                 Another significant dispute exists regarding whether the Unitholders hold “claims” or
         “equity securities” in the Chapter 11 Cases and the extent to which, if any, any “claims” of the
         Unitholders are subject to subordination under Bankruptcy Code section 510(b).

                  Under the Bankruptcy Code, there is a fundamental distinction between a “debt,” which
         is the liability of a debtor on a “claim” (i.e., a right to payment or right to an equitable remedy
         for breach of performance if such breach gives rise to a right to payment), on the one hand, and
         an “equity” interest or “equity security,” on the other hand. See 11 U.S.C. §§ 101(5), (12) &
         (17); 1129(b)(2)(B) & (C). It is not always easy to determine whether a particular instrument
         creates debt or equity, and the case law has developed a complex, multi-factor test to guide the
         analysis. See, e.g., Cohen v. KB Mezzanine Fund II, LP (In re Submicron Sys. Corp.), 432 F.3d
         448, 454-59 (3d Cir. 2006); Walnut Creek Mining Co. v. Cascade Inv., LLC (In re Optim Energy,
         LLC), 527 B.R. 169, 174-75 (D. Del. 2015); United States v. State St. Bank & Trust Co., 520
         B.R. 29, 72-79 (Bankr. D. Del. 2014); Autobacs Strauss, Inc. v. Autobacs Seven Co. (In re
         Autobacs Strauss, Inc.), 473 B.R. 525, 572-23 (Bankr. D. Del. 2012).

               Here, the Unitholders would maintain that they hold “claims” against, or “debt” of, the
         Fund Debtors based on a combination of reasons, including (i) an interpretation of the applicable
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         governing documents whereby Units constitute convertible debt, which for the first five years
         gives rise to an unsecured claim and, if not repaid in full in five years, converts into equity;
         (ii) Unitholders received monthly interest checks, not dividends, and received from the Debtors
         1099-INT tax forms characterizing these payments as interest income for each annual period
         prepetition; (iii) the Units were recorded on the Debtors’ books and records as a liability and
         treated as a liability in the Debtors’ tax returns; and (iv) other relevant indicia of intent support
         characterization of the Units as debt rather than as equity. Moreover, the Unitholders could point
         to other cases involving Ponzi schemes where all investors have been treated as similarly-
         situated victims, albeit in contexts other than distributions under a chapter 11 plan. See, e.g.,
         Perkins v. Haines, 661 F.3d 623, 628-29 (11th Cir. 2011); Donell v. Kowell, 533 F.3d 762, 771
         (9th Cir. 2007); SEC v. Infinity Grp., 226 Fed. App’x 217, 219 (3d Cir. 2007); SEC v. Credit
         Bancorp, Ltd., 290 F.3d 80, 88-89 (2d Cir. 2002); SIPC v. Bernard L. Madoff Inv. Secs., 496
         B.R. 744, 761 (Bankr. S.D.N.Y. 2013). Other parties in interest would strenuously dispute these
         contentions and maintain that the Units are in fact only equity interests in the Fund Debtors. The
         outcome of these disputes is highly uncertain.

                  Moreover, even if the Unitholders do hold “claims” against the Fund Debtors, parties in
         interest could assert that such claims are subject to statutory subordination under Bankruptcy
         Code section 510(b). Section 510(b) provides that, “[f]or the purpose of distribution under this
         title, a claim arising from rescission of a purchase or sale of a security of the debtor . . . shall be
         subordinated to all claims or interests that are senior to or equal the claim or interest represented
         by such security.” 11 U.S.C. § 510(b). Thus, if Unitholders have claims for fraud or similar
         remedies against the Fund Debtors relating to their purchase of Units, those claims could
         potentially be subject to subordination. Unitholders, however, would argue that section 510(b) is
         inapplicable to them because their claims would be based on principles of “restitution” in a Ponzi
         scheme scenario, rather than claims for “rescission” or “damages.” See generally, e.g., In re
         Tribune Co., 464 B.R. 126, 197 (Bankr. D. Del. 2011). The Unitholders could further contend
         that public policy dictates that Ponzi investments be treated as restitution claims from the
         beginning, bestowing creditor status on the investor at the outset and entitling the investor to
         recover the money illegally transferred to the Ponzi operator and nothing more, which removes
         all such claims from the policy purpose undergirding section 510(b). There is no case law
         resolving similar issues in this particular context, which again raises the prospect for significant
         and lengthy litigation, all with a highly uncertain result.

                 The Plan resolves the disputes about the nature of the Unitholders’ claims by affording
         Unitholders 72.5% of the Class A Liquidation Trust Interests that Noteholders receive for their
         respective net investments (for Net Unit Claims versus Net Note Claims). Put another way, a
         27.5% discount is applied to Unitholders’ Net Unit Claims in calculating their receipt of Class A
         Liquidation Trust Interests relative to the calculation of what Noteholders get for their Net Note
         Claims. This reduced recovery for Unitholders effectuates a compromise of all the possible
         disputes that could be raised about the nature and priority of the Unitholders’ rights (and certain
         of the Noteholders’ rights) in the Chapter 11 Cases. Nevertheless, Unitholders also receive for
         their Net Unit Claims the Class B Liquidation Trust Interests, which are to be paid next in
         priority in the Liquidation Trust Interests Waterfall after Class A Liquidation Trust Interests until
         the full 27.5% discounted portion of Unitholders’ Net Unit Claims are paid in full. Thus, the
         compromise preserves the prospect for Unitholders to eventually recapture the settlement
         discount if sufficient funds are generated through the overall liquidation of the Debtors’ Assets.
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                        3.      Substantive Consolidation Issues

                 Substantive consolidation is a construct of federal common law, emanating from equity,
         which treats separate legal entities as if they were merged into a single survivor left with all the
         cumulative assets and liabilities, save for inter-entity liabilities, which are erased. See, e.g., In re
         Owens Corning, 419 F.3d 195, 205 (3d Cir. 2005). In the Third Circuit, bankrupt entities can be
         substantively consolidated either on a consensual basis under a chapter 11 plan, or on a non-
         consensual basis if (i) prepetition they disregarded entity separateness so significantly their
         creditors relied on the breakdown of entity borders and treated them as one legal entity or
         (ii) postpetition their assets and liabilities are so scrambled that separating them is prohibitive
         and harms all creditors. See id. at 210.

                 In these Chapter 11 Cases, a compelling argument could be made for complete
         substantive consolidation of all the Debtors. Although creditors generally may not have treated
         all of the Debtors as one legal entity, there is very substantial scrambling and commingling of
         assets and liabilities among the Debtors. Without limitation, the Debtors believe it is impossible
         to trace the flow of funds between any given Fund Debtor and any given PropCo or MezzCo
         since all of the proceeds received were commingled and distributed by WGC without regard to
         corporate formalities, which results in what would likely be just the hopeless entanglement that
         warrants substantive consolidation of all the Debtors. Moreover, the Chapter 11 Cases are unique
         and present an issue that was not present in Owens Corning—the perpetration of a fraudulent
         scheme by a common corporate enterprise, one that in the process did not keep accurate records
         of the thousands of intercompany transactions that have occurred, making an unscrambling of the
         enterprise’s accounts impossible—but that has justified substantive consolidation in other cases.
         See, e.g., In re Bonham, 229 F.3d 750, 764-65 (9th Cir. 2000) (consolidating entities in Ponzi
         scheme case); In re DBSI, Inc., Case No. 08-12687, ECF No. 5924 (Bankr. D. Del. Jan. 19,
         2010) (same); In re Bernard L. Madoff Investment Securities LLC, No. 08-01789, ECF No. 252
         (Bankr. S.D.N.Y. June 10, 2009) (same). Put differently, the particular facts and circumstances
         of these Chapter 11 Cases present unique arguments about whether and to what extent
         substantive consolidation is warranted.

                  The Plan resolves these issues by effectuating a two-tier substantive consolidation. First,
         all of the Other Debtors will be substantively consolidated into WGC, which was essentially the
         hub of operations for all of the PropCos, MezzCos, and Other Debtors that were not Fund
         Debtors. This consolidation is warranted because of the substantial commingling of affairs and
         assets of the Other Debtors, but also is anticipated to be overwhelmingly if not entirely
         consensual insofar as all of the Persons that have direct creditor relationships with any of the
         Other Debtors—which includes the Fund Debtors, but not the Noteholders and Unitholders that
         are only investors in the Fund Debtors—will consent to the consolidation of the Other Debtors.
         Second, the Fund Debtors will be substantively consolidated into Fund 1, which recognizes that
         formalities among and between the Fund Debtors, including regarding the funding of particular
         PropCos and MezzCos, were not strictly observed and that the Noteholders and Unitholders have
         common interests among themselves as defrauded investors. Moreover, the Fund Debtors
         generally have a commonality of interest in respect of their rights against the Other Debtors, and
         WGC in particular, insofar as funds from the Fund Debtors generally provided funding into the
         Other Debtors. This proposed substantive consolidation is the result of careful analysis and key
         stakeholder negotiation regarding ownership, operational entanglements, and creditor
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         expectations based on creditor’ prepetition dealings with two primary debtor groups (i.e., the
         Fund Debtors and the Other Debtors), which makes it an appropriate element of a comprehensive
         plan settlement. See, e.g., In re Abeinsa Holding, Inc., 562 B.R. 265, 279-81 (Bankr. D. Del.
         2016).

                        4.     Ponzi Scheme Issues

                Additional disputes and possible litigation could arise regarding whether the Debtors
         were operating a Ponzi scheme, when that scheme began, and the implications of such conduct.

                  The Debtors believe the facts demonstrate that (i) beginning no later than July 2012
         through December 1, 2017, Robert H. Shapiro used his web of more than 275 limited liability
         companies, including the Debtors, to conduct a massive Ponzi scheme raising more than $1.22
         billion from over 8,400 unsuspecting investors nationwide; (ii) the Ponzi scheme involved the
         payment of purported returns to existing investors from funds contributed by new investors; and
         (iii) the Ponzi scheme was discovered in December 2017. As an integral component of the
         settlements embodied in the Plan, the Debtors will seek corresponding findings in the
         Confirmation Order.

                 Following a judicial determination that the Debtors were operating a Ponzi scheme, any
         payments of “interest” or other consideration that was transferred from any Person to a
         Noteholder or a Unitholder on account of its Notes or Units, as applicable, during the period
         before the Petition Date, including in respect of holders of Notes that were converted to Units or
         vice versa, but typically excluding payments representing the return of or repayment of principal
         owed on a Note or a Unit, could potentially be avoided and recovered as an “actual” fraudulent
         transfer. See, e.g., Perkins v. Haines, 661 F.3d 623, 627 (11th Cir. 2011); Donell v. Kowell, 533
         F.3d 762, 770-72 (9th Cir. 2008); AFI Holding, Inc. v. Mackenzie, 525 F.3d 700, 708-09 (9th Cir.
         2008); Geltzer v. Barish (In re Geltzer), 502 B.R. 760, 770 (Bankr. S.D.N.Y. 2013); Fisher v.
         Sellis (In re Lake States Commodities, Inc.), 253 B.R. 866, 871-72 (Bankr. N.D. Ill. 2000).
         Because avoidance litigation would be a further hardship on the victims of Woodbridge’s
         fraudulent scheme, and to eliminate the significant litigation expense and inefficiency associated
         with seeking recovery from Noteholders and Unitholders of prepetition distributions on account
         of interest or the like (that would ultimately only reduce the aggregate amount available for
         distribution on account of allowable claims), the Plan incorporates a netting mechanism that will
         account for any Prepetition Distribution received by a Noteholder or Unitholder when calculating
         the Net Note Claim and Net Unit Claim amounts that will in turn drive the specific Distributions
         that such Noteholder or Unitholder will receive under the Plan. The Schedule of Principal
         Amounts and Prepetition Distributions, attached hereto as Schedule 3, sets forth the specific
         amounts that the Debtors intend to use for these purposes, subject to the possibility that a given
         Noteholder or Unitholder may choose to dispute those amounts and thereby become a Disputing
         Claimant under the Plan.




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                             5.       Plan Releases

                 The Plan proposes to provide general releases from the Debtors, the Estates, and other
         Releasing Parties26 in favor of the Released Parties (which include the Debtors, the New Board,
         the Committees, and certain specified Related Parties). The Debtors are unaware of any viable
         Causes of Action against the Released Parties. Moreover, the Debtors believe that the Released
         Parties have provided many valuable contributions to the progress of the Chapter 11 Cases,
         including stewarding the Debtors through the bankruptcy process, negotiating and implementing
         settlements with various parties, pursuing Confirmation of the Plan, and otherwise preserving
         Estate Assets for the benefit of all stakeholders. In light of these different contributions, the
         Debtors believe the releases and exculpations as part of the overall compromise and settlement
         embodied by the Plan are fair, equitable, reasonable, and well within the boundaries permitted by
         law. For the avoidance of doubt, the Excluded Parties—a non-exclusive list of which is included
         as Schedule 1—are not receiving releases under the Plan.

                                                            *        *        *

                 In sum, the Plan is a vehicle for the near-term resolution of the myriad complex legal
         issues and disputes that have arisen in the Chapter 11 Cases. The proposed Plan resolves several
         major issues that would otherwise have to be judicially determined through lengthy, expensive,
         and inherently uncertain litigation. There are colorable arguments on both sides of each of the
         foregoing issues, and the outcome of any litigation regarding such issues is necessarily uncertain.
         Moreover, if such issues were litigated, it could be years before Holders of Notes, Units, and
         General Unsecured Claims received distributions, if any, from the Estates. In contrast, the Plan
         provides a mechanism for significant Distributions to be made to these Creditors in a timely and
         orderly fashion.

                Furthermore, the Debtors are strongly of the view that all elements of the comprehensive
         compromise and settlement to be effected under the Plan are superior to the disorderly and
         uncertain alternatives. The terms of the global resolution under the Plan were heavily negotiated
         by the Debtors and the three Committees, each of which acted at arm’s length and had the benefit
         of sophisticated external advisers.

                 Under these circumstances, the Debtors believe that the Plan’s holistic treatment of the
         Note Claims, General Unsecured Claims, and Unit Claims, its substantive consolidation of the
         Debtors into a Remaining Debtor, and the various releases provided under the Plan represent a
         fair and reasonable result that satisfies the standards for approval under Bankruptcy Rule 9019,
         which approval the Debtors intend to seek contemporaneously with Plan confirmation. After all,
         “[t]he federal courts have a well-established policy of encouraging settlement to promote judicial
         economy and limit the waste of judicial resources.” Russian Standard Vodka (USA), Inc. v.
         Allied Domecq Spirits & Wine USA, Inc., 523 F. Supp. 2d 376, 384 (S.D.N.Y. 2007); see also,

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                The Releasing Parties other than the Debtors and their Estates include “any Person exercising or seeking to
                exercise any rights of the Estates (but solely in that capacity), including each of the Committees (but not their
                individual members), the Wind-Down CEO, the Liquidation Trustee, the Remaining Debtors Manager, and any
                other successor to the Debtors or any other estate representative that is or could be appointed or selected
                pursuant to Bankruptcy Code section 1123(b)(3) or otherwise.”

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         e.g., U.S. Bancorp Mortg. Co. v. Bonner Mall P’ship, 513 U.S. 18, 27-28 (1994) (discussing the
         general utility of settlement vis-à-vis judicial economy). The force of this established federal
         policy is particularly acute in the bankruptcy context, where compromises and settlements are “a
         normal part of the process of reorganization.” Protective Comm. for Indep. Stockholders of TMT
         Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968). Indeed, in order to “minimize
         litigation and expedite the administration of the bankruptcy estate ‘compromises are favored in
         bankruptcy.’” Meyers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996) (quoting
         9 Collier on Bankruptcy ¶ 9019.03[1] (15th ed. rev. 1993)); see also In re Penn. Cent. Transp.
         Co., 596 F.2d 1102 (3d Cir. 1979); In re World Health Alternatives, Inc., 344 B.R. 291, 296
         (Bankr. D. Del. 2006); In re Culmtech, Ltd., 118 B.R. 237, 238 (Bankr. M.D. Pa. 1990). This is
         particularly true when a settlement helps to timely resolve a bankruptcy case, which is a matter
         of significant public importance.27

                  The decision to approve a proposed settlement is committed to the discretion of the
         bankruptcy court, “which must determine if the compromise is fair, reasonable, and in the
         interest of the estate.” In re Louise’s, Inc., 211 B.R. 798, 801 (D. Del. 1997). In exercising that
         discretion, the Third Circuit has stated that courts should consider “(1) the probability of success
         in litigation; (2) the likely difficulties in collection; (3) the complexity of the litigation involved
         and the expense, inconvenience and delay necessarily attending it; and (4) the paramount interest
         of the creditors.” In re Martin, 91 F.3d at 393; see also Will v. Nw. Univ. (In re Nutraquest, Inc.),
         434 F.3d 639, 644 (3d Cir. 2006); In re Marvel Entm’t Grp., Inc., 222 B.R. 243 (D. Del. 1998).
         The proponent of a settlement is not required to demonstrate “that the settlement is the best
         possible compromise. Rather, the court must conclude that the settlement is ‘within the
         reasonable range of litigation possibilities.’” In re World Health, 344 B.R. at 296 (internal
         citations and quotation marks omitted); see also, e.g., Nellis v. Shugrue, 165 B.R. 115, 123
         (S.D.N.Y. 1994) (Sotomayor, J.) (“[I]n assessing the fairness of the settlement, a judge does not
         have to be convinced that the settlement is the best possible compromise or that the parties have
         maximized their recovery”); In re Coram Healthcare Corp., 315 B.R. 321, 330 (Bankr. D. Del.
         2004) (“[T]he court does not have to be convinced that the settlement is the best possible
         compromise.”).

                Here, the Debtors are firmly of the view that consideration of the Martin factors
         demonstrates that the terms of the comprehensive compromise and settlement to be effected by
         the Plan are fair and reasonable, and that its approval is in the best interests of the Estates and all
         stakeholders. The Debtors will provide further evidence and argument supporting approval of
         27
                See, e.g., Bullard v. Blue Hills Bank, 135 S. Ct. 1686, 1694 (2015) (“[E]xpedition is always an important
                consideration in bankruptcy.”); Katchen v. Landy, 382 U.S. 323, 328-29 (1966) (describing longstanding
                recognition “that a chief purpose of the bankruptcy laws is ‘to secure a prompt and effectual administration and
                settlement of the estate of all bankrupts within a limited period’” (quoting Ex parte Christy, 44 U.S. (3 How.)
                292, 312 (1845))); Wiswall v. Campbell, 93 U.S. (3 Otto) 347, 350-51 (1876) (emphasizing how “[p]rompt
                action is everywhere required by law,” and that this principle requires quick resolutions of claims against a
                bankruptcy estate, as “[w]ithout it there can be no dividend”); Bailey v. Glover, 88 U.S. (21 Wall.) 342, 346-47
                (1875) (discussing how “[i]t is obviously one of the purposes of the Bankrupt law, that there should be a speedy
                disposition of the bankrupt’s assets,” which is a goal “only second in importance to securing equality of
                distribution”); Century Glove, Inc. v. First Am. Bank, 860 F.2d 94, 98 (3d Cir. 1988) (highlighting how “issues
                central to the progress of the bankruptcy petition, those likely to affect the distribution of the debtor’s assets, or
                the relationship among the creditors, should be resolved quickly” (citation and quotation marks omitted)).

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         this comprehensive compromise and settlement, including the elements detailed above, at the
         Confirmation Hearing.

                    C.     Substantive Consolidation and Its Relationship to the Plan Treatment of
                           Claims

                 Although the Plan contemplates a two-tier substantive consolidation of all the Debtors
         into Remaining Debtors, the ultimate Distributions that will be made pursuant to the Plan will be
         paid by the Liquidation Trust. The Wind-Down Entity has been structured to generally be a
         successor to the Other Debtors by acting as the estate representative and administrator for all the
         Wind-Down Assets, which largely consist of the real property and Cash owned by WGC, the
         PropCos, and the additional Other Debtors. All residual value in the Wind-Down Entity is to be
         remitted to the Liquidation Trust, including through the quarterly remittance of Cash to the
         Liquidation Trust. In turn, the Liquidation Trust will ultimately distribute to the Holders of
         Liquidation Trust Interests (i.e., former Noteholders, former Unitholders, and Holders of General
         Unsecured Claims) the remitted value from the Wind-Down Entity, along with the proceeds of
         the Liquidation Trust Actions and certain Cash on hand at the Liquidation Trust, net of payments
         to Holders of certain administrative, secured or priority claims. This structure gives effect to the
         substantive consolidation contemplated by the Plan but also continues to reflect the economic
         reality as among the Other Debtors, the Fund Debtors, and the Noteholders and Unitholders.

                 Consistent with the substantive consolidation contemplated by the Plan and in order to
         reduce administrative costs, on the Effective Date, each of the Debtors other than the Remaining
         Debtors will be dissolved automatically without the need for any corporate action or approval,
         without the need for any corporate filings, and without the need for any other or further actions
         to be taken on behalf of such dissolving Debtor or any other Person or any payments to be made
         in connection therewith, and the Chapter 11 Cases for all Debtors other than the Remaining
         Debtors will be deemed closed and no further fees in respect of such closed cases will thereafter
         accrue or be payable to any Person. Notwithstanding such substantive consolidation, however,
         fees payable pursuant to 28 U.S.C. § 1930 shall be due and payable by each individual Debtor
         through the Effective Date.

                 The substantive consolidation effected pursuant to the Plan shall not affect, without
         limitation, (i) the Debtors’, the Wind-Down Entity’s, or the Liquidation Trust’s defenses to any
         Claim or Cause of Action, including the ability to assert any counterclaim; (ii) the Debtors’, the
         Wind-Down Entity’s, or the Liquidation Trust’s setoff or recoupment rights; (iii) requirements
         for any third party to establish mutuality prior to substantive consolidation in order to assert a
         right of setoff against the Debtors, the Wind-Down Entity, or the Liquidation Trust; or
         (iv) distributions to the Debtors, the Estates, the Wind-Down Entity, or the Liquidation Trust out
         of any insurance policies or proceeds of such policies.

                 The Disclosure Statement and the Plan shall be deemed to be a motion requesting that the
         Bankruptcy Court approve the substantive consolidation contemplated by the Plan. Unless an
         objection to the proposed substantive consolidation is made in writing by any Creditor
         purportedly affected by such substantive consolidation on or before the deadline to object to
         confirmation of the Plan, or such other date as may be fixed by the Bankruptcy Court, the
         substantive consolidation contemplated by the Plan may be approved by the Bankruptcy Court at
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         the Confirmation Hearing. In the event any such objections are timely filed, a hearing with
         respect thereto shall be scheduled by the Bankruptcy Court, which hearing may, but need not, be
         the Confirmation Hearing.

                 If the Bankruptcy Court determines that substantive consolidation of any given Debtors
         in the manner requested is not appropriate, then the Debtors may request that the Bankruptcy
         Court otherwise confirm the Plan and approve the treatment of and Distributions to the different
         Classes under the Plan on an adjusted basis (including on a Debtor-by-Debtor basis), in the
         Debtors’ reasonable discretion, after consultation with each of the Committees. Furthermore, the
         Debtors reserve their rights (i) to seek confirmation of the Plan without implementing
         substantive consolidation of any given Debtor, and, in the Debtors’ reasonable discretion after
         consultation with each of the Committees, to request that the Bankruptcy Court approve the
         treatment of and Distributions to any given Class under the Plan on an adjusted, Debtor-by-
         Debtor basis; and (ii) after consultation with each of the Committees, to seek to substantively
         consolidate all Debtors into Woodbridge Group of Companies, LLC if all Impaired Classes
         entitled to vote on the Plan vote to accept the Plan.

                    D.     The Liquidation Trust, the Wind-Down Entity, and the Liquidation Analysis

                  The Plan contemplates the creation of a Liquidation Trust, which will be the sole equity
         holder of the Wind-Down Entity. All Wind-Down Assets will vest in the Wind-Down Entity,
         which will be administered by the Wind-Down CEO, subject to the supervision and oversight of
         the Wind-Down Board and the Liquidation Trustee. The Wind-Down Board will initially consist
         of Richard Nevins, M. Freddie Reiss, and the Wind-Down CEO (which will be Frederick Chin or
         his successor). The Wind-Down CEO will proceed to liquidate the Wind-Down Assets, which
         consist primarily of the real property owned by the Debtors, in an orderly fashion. On a quarterly
         basis, the Wind-Down Entity will remit Cash to the Liquidation Trust. The Liquidation Trust will
         pursue, as appropriate, the Liquidation Trust Actions, consistent with the terms of the Plan and
         the Liquidation Trust Agreement. In addition to receiving remittances received from the Wind-
         Down Entity, the Liquidation Trust also will be funded with certain other Cash for Creditors, the
         Liquidation Trust Seed Funding, and any Cash it may generate by prosecuting the Liquidation
         Trust Actions. The Liquidation Trust will make Distributions of Cash to Creditors, including an
         initial Distribution of Available Cash to the Liquidation Trust Beneficiaries (that is, Noteholders,
         Holders of General Unsecured Claims and Unitholders in respect of their Liquidation Trust
         Interests) pursuant to the Liquidation Trust Interest Waterfall, with such initial Distribution
         targeted to occur before December 31, 2018. Thereafter, the Liquidation Trust also may make, in
         its discretion, periodic Distributions of additional Available Cash to the Liquidation Trust
         Beneficiaries at any time following the Effective Date.

                           1.    Business Plan for the Wind-Down Entity

                 Following the Effective Date, the Wind-Down Entity will own and administer the Wind-
         Down Assets in accordance with the Plan and the Wind-Down Governance Agreement. The
         realization of proceeds from the Wind-Down Assets will be for the ultimate benefit of the
         Liquidation Trust (and thus the Liquidation Trust Beneficiaries) given the Liquidation Trust’s
         100% ownership interest in the Wind-Down Entity and the requirement that the Wind-Down
         Entity remit Cash on a quarterly basis to the Liquidation Trust.
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                 Mr. Frederick Chin, who serves as the Chief Executive Officer of WGC Independent
         Manager LLC, manager of the Debtors, and is the proposed Wind-Down CEO, has developed a
         business plan regarding the Wind-Down Assets (the “Wind-Down Business Plan”), which Wind-
         Down Business Plan Mr. Chin anticipates continuing to effectuate after the Effective Date. A
         summary of the Wind-Down Business Plan is attached hereto as Exhibit E. It is possible that the
         Wind-Down Business Plan may be revised, modified, or substantially changed based on the facts
         and circumstances that exist after the Effective Date. Nevertheless, the Wind-Down Entity must
         advise the Liquidation Trust regarding any change in course of the Wind-Down Business Plan,
         and if there is an unresolvable dispute between the Wind-Down Entity and the Liquidation Trust
         regarding any change of course, no action will be taken regarding such material matter absent an
         order of the Bankruptcy Court.

                           2.     Liquidation Analysis and Summary Thereof

                The liquidation process will be administered by the Liquidation Trust and the Wind-
         Down Entity. The net proceeds of this liquidation process have been estimated in the liquidation
         analysis attached hereto as Exhibit B (the “Liquidation Analysis”). As set forth in the current
         Liquidation Analysis:

                    •      The Debtors estimate an ultimate range of aggregate recoveries from sales of real
                           property and other Wind-Down Assets in the range of $521 million to
                           $583 million, net of operating and other expenses through the end of the
                           Liquidation Analysis projection period.

                    •      The Debtors have not ascribed any value to recoveries that may be realized by the
                           Liquidation Trust in respect of any Liquidation Trust Actions, but the Liquidation
                           Trust Actions may generate significant value.

                    •      Based on the preceding, the Debtors anticipate that the Available Cash for
                           ultimate payment of the Allowed Class 3 Claims, Allowed Class 4 Claims, and
                           Allowed Class 5 Claims (after paying the anticipated unpaid Allowed
                           Administrative Claims, Wind-Down Expenses, and Liquidation Trust Expenses)
                           will total approximately $518 million to $579 million.

                 It is important to emphasize that the Liquidation Analysis relies on various assumptions
         and is subject to material modifications from time to time. If the Liquidation Analysis is revised
         by the Debtors prior to the Confirmation Hearing, any such revision will be included in the Plan
         Supplement.

                    E.     Estimated Recoveries for Holders of Note Claims, Unit Claims, and General
                           Unsecured Claims

                The Debtors, based on consultation with the Committees, estimate that (i) Holders of
         Allowed Note Claims and Allowed General Unsecured Claims in these Chapter 11 Cases should
         recover approximately 60-70% of the total amount of their Net Note Claims or General



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         Unsecured Claims;28 and (ii) Holders of Allowed Unit Claims should recover approximately 40-
         50% of the total amount of their Net Unit Claims.

                 The Debtors have calculated the foregoing ranges of projected recoveries taking into
         account three variables: (i) the total estimated amount of Note Claims, General Unsecured
         Claims, and Unit Claims, in accordance with Filed Claims and the Debtors’ Schedules; (ii) for
         Notes and Units, the Debtors’ records as reflected in the Schedule of Principal Amounts and
         Prepetition Distributions; and (iii) the total estimated amount of value expected to be available
         for Distributions to Liquidation Trust Beneficiaries in accordance with the Plan and the
         Liquidation Analysis.

                 It is important to emphasize that many factors will bear on the amount of Cash available
         for Distributions to Liquidation Trust Beneficiaries. The Cash available for Distributions consists
         or will consist primarily of (i) the Cash in the Estates on the Effective Date, less (x) the amounts
         necessary to fund the Professional Fee Reserve and (y) the Liquidation Trust Seed Funding;
         (ii) Cash realized after the Effective Date from the sale, collection, or other disposition of the
         Wind-Down Assets; and (iii) Cash realized by the Liquidation Trustee from the prosecution of
         the Liquidation Trust Actions. However, this Cash has been or will be reduced by, among other
         things, (i) the Distributions to be made under the Plan with respect to Allowed Administrative
         Claims, Allowed Professional Fee Claims, Allowed Priority Tax Claims, Allowed DIP Claims,
         Allowed Other Secured Claims, and Allowed Priority Claims, as well as any Non-Debtor Loan
         Note Claims that are ultimately Allowed as Secured Claims; (ii) certain statutory and other fees
         payable in connection with the Chapter 11 Cases; and (iii) the Liquidation Trust Expenses and
         Wind-Down Expenses. Only after these amounts have been paid or reserved will there be any
         Available Cash available for periodic Distributions to be made to the Liquidation Trust
         Beneficiaries.

                Solely for illustrative purposes and using purely hypothetical numbers, the following is a
         demonstration of how the terms of the Plan would affect five purely hypothetical stakeholders
         holding Claims in Classes 3, 4, and 5. Solely for purposes of the following examples, the
         Debtors make the following assumptions:29

         Available Cash (for Claims in Classes 3, 4, and 5):                                          $550,000,000

         Outstanding Principal Amount of all Note Claims:                                             $750,000,000

         Total Prepetition Distributions received by Noteholders:                                     $50,000,000

         Total Net Note Claims:                                                                       $700,000,000

         Portion of Net Note Claims Paid with Class A Liquidation Trust Interests:                    $700,000,000

         28
                This estimate assumes that Holders hold their Claims through the Effective Date and do not sell any of their
                Class A Liquidating Trust Interests.
         29
                The figures used in these examples are purely hypothetical and were chosen solely for simplicity and
                comparison sake and are not intended to be reflective of every possible scenario.

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         Outstanding Principal Amount of all Unit Claims:                                   $200,000,000

         Total Prepetition Distributions received by Unitholders:                           $ 25,000,000

         Total Net Unit Claims:                                                             $175,000,000

         Portion of Net Unit Claim Paid:

                    (a) with receipt of Class A Liquidation Trust Interests:                $ 126,875,000

                    (b) with receipt of Class B Liquidation Trust Interests:                $ 48,125,000

         Total General Unsecured Claims                                                     $10,000,000

         Portion of General Unsecured Claims Paid with Class A Liquidation Trust            $10,000,000
                Interests:

         Denominators for Distributions:

                    (a) with respect to Class A Liquidation Trust Interests:                $836,875,000

                    (b) with respect to Class B Liquidation Trust Interests:                $ 48,125,000


                For purposes of this illustrative example, the hypothetical investors and their recoveries
         under the Plan are as follows:

         “Noteholder A” is       According to the Plan’s formula for distribution of        The resulting
         the Holder of a         Class A Liquidation Trust Interests and the                Distribution is
         Note Claim in the       Liquidation Trust Interests Waterfall, Noteholder A        $131,441,
         Outstanding             would be entitled to its pro rata share of the Available   representing a
         Principal Amount        Cash, calculated by multiplying Available Cash of          recovery of 65.7%
         of $200,000.            $550,000,000 by approximately 0.024%. The 0.024%           of both the
         Noteholder A did        percentage is determined by dividing the $200,000          Noteholder’s
         not receive any         Net Note Claim of Noteholder A by the Class A              Outstanding
         Prepetition             Liquidation Trust Interests denominator of                 Principal Amount
         Distributions.          $836,875,000.                                              and the
                                                                                            Noteholder’s Net
                                                                                            Note Claim.




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         “Noteholder B” is      According to the Plan’s formula for distribution of        The resulting
         the Holder of a        Class A Liquidation Trust Interests and the                Distribution is
         Note Claim in the      Liquidation Trust Interests Waterfall, Noteholder B        $98,581,
         Outstanding            would be entitled to its pro rata share of the Available   representing a
         Principal Amount       Cash, calculated by multiplying Available Cash of          recovery of 49.3%
         of $200,000.           $550,000,000 by approximately 0.018%. The 0.018%           of the
         Noteholder B           percentage is determined by dividing the $150,000          Noteholder’s
         received               Net Note Claim of Noteholder B by the Class A              Outstanding
         Prepetition            Liquidation Trust Interests denominator of                 Principal Amount
         Distributions in the   $836,875,000.                                              and 65.7% of the
         amount of                                                                         Noteholder’s Net
         $50,000.                                                                          Note Claim.

         “Unitholder C” is      According to the Plan’s formula for distribution of        The resulting
         the Holder of a        Class A Liquidation Trust Interests and the                Distribution is
         Unit Claim in the      Liquidation Trust Interests Waterfall, Unitholder C        $95,295,
         Outstanding            would be entitled to its pro rata share of the Available   representing a
         Principal Amount       Cash, calculated by multiplying Available Cash of          recovery of 47.6%
         of $200,000.           $550,000,000 by approximately 0.017%. The 0.17%            of both the
         Unitholder C did       amount is determined by dividing $145,000 (which is        Unitholder’s
         not receive any        the $200,000 Net Unit Claim of Unitholder C                Outstanding
         Prepetition            multiplied by the 72.5% settlement discount factor         Principal Amount
         Distributions.         that determines its Class A Liquidation Trust Interests)   and the
                                by the Class A Liquidation Trust Interests                 Unitholder’s Net
                                denominator of $836,875,000. (Nothing is to be             Unit Claim.
                                distributed to Unitholder C with respect to the Class B
                                Liquidation Trust Interests of Unitholder C because
                                Available Cash of $550,000,000 was less than
                                $836,875,000, which is the full amount (without
                                interest) of Net Note Claims, General Unsecured
                                Claims, and Net Unit Claims.)




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         “Unitholder D” is      According to the Plan’s formula for distribution of        The resulting
         the Holder of a        Class A Liquidation Trust Interests and the                Distribution is
         Unit Claim in the      Liquidation Trust Interests Waterfall, Unitholder D        $71,471
         Outstanding            would be entitled to its pro rata share of the Available   representing a
         Principal Amount       Cash, calculated by multiplying Available Cash of          recovery of 35.7%
         of $200,000.           $550,000,000 by approximately 0.013%. The 0.13%            of the
         Unitholder D           amount is determined by dividing $108,750 (which is        Unitholder’s
         received               the $150,000 Net Unit Claim of Unitholder D                Outstanding
         Prepetition            multiplied by the 72.5% settlement discount factor         Principal Amount
         Distributions in the   that determines its Class A Liquidation Trust Interests)   and 47.6% of the
         amount of              by the Class A Liquidation Trust Interests                 Unitholder’s Net
         $50,000.               denominator of $836,875,000. (Nothing is to be             Unit Claim.
                                distributed to Unitholder D with respect to the Class B
                                Liquidation Trust Interests of Unitholder D because
                                Available Cash of $550,000,000 was less than
                                $836,875,000, which is the full amount (without
                                interest) of Net Note Claims, General Unsecured
                                Claims, and Net Unit Claims.)

         “General               According to the Plan’s formula for distribution of        The resulting
         Unsecured              Class A Liquidation Trust Interests and the                Distribution is
         Creditor E” is the     Liquidation Trust Interests Waterfall, General             $32,860,
         Holder of a            Unsecured Creditor E would be entitled to its pro rata     representing a
         General Unsecured      share of the Available Cash, calculated by multiplying     recovery of 65.7%
         Claim in the           Available Cash of $550,000,000 by approximately            of the Creditors’
         Allowed amount of      0.006%. The 0.006% percentage is determined by             General
         $50,000.               dividing the $50,000 General Unsecured Claim of            Unsecured Claim.
                                General Unsecured Creditor E by the Class A
                                Liquidation Trust Interests denominator of
                                $836,875,000.




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                    F.     Treatment of Claims and Equity Interests

                           1.      Unclassified Claims

                                   (a)     Administrative Claims

                 Except as otherwise provided for in the Plan, and subject to the requirements of the Plan,
         on or as soon as reasonably practicable after the later of (i) the Effective Date and (ii) thirty (30)
         calendar days following the date on which an Administrative Claim becomes an Allowed
         Administrative Claim, the Holder of such Allowed Administrative Claim shall receive, in full
         satisfaction, settlement, and release of and in exchange for such Allowed Administrative Claim,
         (a) Cash equal to the unpaid portion of such Allowed Administrative Claim or (b) such other less
         favorable treatment as to which such Holder and the Liquidation Trust shall have agreed upon in
         writing.

                                   (b)     Professional Fee Claims

                    Professional Fee Claims shall be paid as set forth in Section 11.2 of the Plan.

                                   (c)     Priority Tax Claims

                 In full satisfaction, settlement, and release of and in exchange for such Claims, Allowed
         Priority Tax Claims shall be paid, at the Liquidation Trust’s option, as follows: (a) Cash equal to
         the unpaid portion of such Allowed Priority Tax Claim on the later of the Effective Date and
         thirty (30) calendar days following the date on which such Priority Tax Claim becomes an
         Allowed Priority Tax Claim; (b) in regular installment payments in Cash over a period not
         exceeding five (5) years after the Petition Date, plus interest on the unpaid portion thereof at the
         rate determined under applicable nonbankruptcy law as of the calendar month in which the
         Effective Date occurs (provided that such election shall be without prejudice to the right to
         prepay any such Allowed Priority Tax Claim in full or in part without penalty); or (c) such other
         treatment as to which the Holder of an Allowed Priority Tax Claim and the Liquidation Trust
         shall have agreed upon in writing.



                                   (d)     DIP Claims

                Subject to the DIP Orders, on the Effective Date, the DIP Claims shall be deemed to be
         Allowed in the full amount due and owing under the DIP Facility as of the Effective Date, if any.
         On the Effective Date, any outstanding DIP Claims shall be indefeasibly paid in full in Cash and
         the Debtors’ rights and obligations under the DIP Facility shall be cancelled.

                           2.      Class 1: Other Secured Claims

                    Class 1 consists of all Other Secured Claims. Class 1 is Unimpaired under the Plan.


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                  The legal, equitable, and contractual rights of Holders of Allowed Class 1 Claims are
         unaltered by the Plan, and, notwithstanding substantive consolidation of the Debtors and vesting
         of the Wind-Down Assets in the Wind-Down Entity, the Liens of the Holders of Allowed Class 1
         Claims will continue to attach to their respective Collateral, provided that all such Claims shall
         remain subject to any and all defenses, counterclaims, and setoff or recoupment rights with
         respect thereto. Unless the Wind-Down Entity and the Holder of an Allowed Class 1 Claim agree
         to other treatment, on or as soon as is reasonably practicable after the Effective Date, each
         Holder of an Allowed Class 1 Claim shall receive, at the Wind-Down Entity’s option: (i) Cash
         from the Wind-Down Entity in the Allowed amount of such Holder’s Allowed Class 1 Claim; or
         (ii) the return by the Wind-Down Entity of the Collateral securing such Allowed Class 1 Claim,
         without representation or warranty by any Person (and without recourse against any Person
         regarding such Other Secured Claim); or (iii) (A) the cure of any default, other than a default of
         the kind specified in Bankruptcy Code section 365(b)(2), that Bankruptcy Code section 1124(2)
         requires to be cured, with respect to such Holder’s Allowed Class 1 Claim, without recognition
         of any default rate of interest or similar penalty or charge, and upon such cure, no default shall
         exist; (B) the reinstatement of the maturity of such Allowed Class 1 Claim as the maturity
         existed before any default, without recognition of any default rate of interest or similar penalty or
         charge; and (C) retention of its unaltered legal, equitable, and contractual rights with respect to
         such Allowed Class 1 Claim, including through the retention of any associated Lien on the
         Collateral securing such Allowed Class 1 Claim.

                 The Bankruptcy Court shall retain jurisdiction and power to determine the amount
         necessary to satisfy any Allowed Class 1 Claim for which treatment is elected under clause (i) or
         clause (iii) of the immediately foregoing paragraph. With respect to any Allowed Class 1 Claim
         for which treatment is elected under clause (i), any Holder of such Allowed Class 1 Claim shall
         release (and by the Confirmation Order shall be deemed to release) all Liens against any Estate
         Assets. Notwithstanding anything else in the Plan, the Holders of Allowed Class 1 Claims will
         have no right to receive any Distribution from, or otherwise share in, any of the Liquidation
         Trust Assets.

                           3.      Class 2: Priority Claims

                    Class 2 consists of all Priority Claims. Class 2 is Unimpaired under the Plan.

                 On, or as soon as reasonably practicable after, the later of (i) the Effective Date and (ii)
         the date on which a Priority Claim becomes payable pursuant to and as specified by an order of
         the Bankruptcy Court, the Holder of such Allowed Priority Claim shall receive, in full
         satisfaction, settlement, and release of and in exchange for such Allowed Priority Claim, either
         (a) Cash from the Liquidation Trust equal to the unpaid portion of such Allowed Priority Claim
         or (b) such other less favorable treatment from the Liquidation Trust to which such Holder and
         the Liquidation Trust shall have agreed upon in writing.




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                           4.     Class 3: Standard Note Claims

                Class 3 consists of all Standard Note Claims, as well as those Non-Debtor Loan Note
         Claims that are reclassified in Class 3 pursuant to Section 3.7 of the Plan. Class 3 is Impaired
         under the Plan.

                 In full satisfaction, settlement, and release of and in exchange for such Claims, the
         Holders of Allowed Class 3 Claims will receive on or as soon as reasonably practicable after the
         Effective Date, one (1) Class A Liquidation Trust Interest for each $75.00 of Net Note Claims
         held by the applicable Noteholder with respect to its Allowed Note Claims (any resulting
         fractional Class A Liquidation Trust Interests will be rounded to the nearest hundredth of such
         Liquidation Trust Interest with five thousandths thereof rounded up to the next hundredth). As
         set forth more fully in Section 5.4.10 of the Plan, subsequent Distributions of Cash on account of
         the Class A Liquidation Trust Interests will be made by the Liquidation Trust in accordance with
         the Liquidation Trust Interests Waterfall.

                The treatment of the Standard Note Claims under the Plan is not intended to and will not
         reduce, impair, satisfy, limit, or otherwise affect any rights that any Noteholder may have against
         any Person that is not a Released Party (including those rights that may be included in the
         Contributed Claims and contributed to the Liquidation Trust by making the Ballot election
         described below).

                 Each Holder of a Standard Note Claim may agree, by electing on its Ballot, to contribute
         its Contributed Claims to the Liquidation Trust. By electing such option on its Ballot, the
         Noteholder agrees that, subject to the occurrence of the Effective Date and the formation of the
         Liquidation Trust, it will be deemed, without further action, (i) to have contributed its
         Contributed Claims to the Liquidation Trust and (ii) to have agreed to execute any documents
         reasonably requested to memorialize such contribution. The relative share of Liquidation Trust
         recoveries for any so electing Noteholder in respect of its Class 3 Claim will be enhanced by
         having the amount that otherwise would be its Net Note Claim increased by the Contributing
         Claimants Enhancement Multiplier. Noteholders also may choose to make such election because
         aggregating all Contributed Claims and similar Liquidation Trust Actions may enable the pursuit
         and settlement of such litigation claims in a more efficient and effective manner.

                           5.     Class 4: General Unsecured Claims

                    Class 4 consists of all General Unsecured Claims. Class 4 is Impaired under the Plan.

                 In full satisfaction, settlement, and release of and in exchange for such Claims, the
         Holders of Allowed Class 4 Claims will receive on or as soon as reasonably practicable after the
         Effective Date, one (1) Class A Liquidation Trust Interest for each $75.00 of Allowed General
         Unsecured Claims held by the applicable Creditor (any resulting fractional Class A Liquidation
         Trust Interests will be rounded to the nearest hundredth of such Liquidation Trust Interest with
         five thousandths thereof rounded up to the next hundredth). As set forth more fully in Section
         5.4.10 of the Plan, subsequent Distributions of Cash on account of the Class A Liquidation Trust
         Interests will be made by the Liquidation Trust in accordance with the Liquidation Trust Interests
         Waterfall.

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                           6.      Class 5: Unit Claims

                    Class 5 consists of all Unit Claims. Class 5 is Impaired under the Plan.

                 In full satisfaction, settlement, and release of and in exchange for such Claims, the
         Holders of Allowed Unit Claims will receive on or as soon as reasonably practicable after the
         Effective Date, 0.725 Class A Liquidation Trust Interests and 0.275 Class B Liquidation Trust
         Interests for each $75.00 of Net Unit Claims held by the applicable Unitholder with respect to its
         Allowed Unit Claims (any resulting fractional Class A Liquidation Trust Interests or Class B
         Liquidation Trust Interests will be rounded to the nearest hundredth of such Liquidation Trust
         Interest with five thousandths thereof rounded up to the next hundredth). As set forth more fully
         in Section 5.4.10 of the Plan, subsequent Distributions of Cash on account of the Class A
         Liquidation Trust Interests and the Class B Liquidation Trust Interests will be made by the
         Liquidation Trust in accordance with the Liquidation Trust Interests Waterfall.

                        The treatment of the Unit Claims under the Plan is not intended to and will not
         reduce, impair, satisfy, limit, or otherwise affect any rights that any Unitholder may have against
         any Person that is not a Released Party (including those rights that may be included in the
         Contributed Claims and contributed to the Liquidation Trust by making the Ballot election
         described below).

                 Each Holder of a Unit Claim may agree, by electing on its Ballot, to contribute its
         Contributed Claims to the Liquidation Trust. By electing such option on its Ballot, the
         Unitholder agrees that, subject to the occurrence of the Effective Date and the formation of the
         Liquidation Trust, it will be deemed, without further action, (i) to have contributed its
         Contributed Claims to the Liquidation Trust and (ii) to have agreed to execute any documents
         reasonably requested to memorialize such contribution. The relative share of Liquidation Trust
         recoveries for any so electing Unitholder will be enhanced by having the amount that otherwise
         would be its Net Unit Claim increased by the Contributing Claimants Enhancement Multiplier.
         Unitholders also may choose to make such election because aggregating all Contributed Claims
         and similar Liquidation Trust Actions may enable the pursuit and settlement of such litigation
         claims in a more efficient and effective manner.

                           7.      Class 6: Non-Debtor Loan Note Claims

                    Class 6 consists of all Non-Debtor Loan Note Claims. Class 6 is Impaired under the Plan.




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                         The Debtors dispute that any Non-Debtor Loan Note Claim is actually secured by
         a perfected Lien, and no Class 6 Claim will be Allowed in any respect under the Plan. Instead,
         the Liquidation Trust may litigate against any Disputing Claimant holding a Non-Debtor Loan
         Note Claim (i) any disputes about the secured or unsecured status, amount, and priority of such
         Non-Debtor Loan Note Claim; (ii) any Liquidation Trust Actions that may exist against such
         Noteholder; and (iii) any other matters pertaining to such Noteholder’s rights vis-à-vis the
         Debtors or the Estates. In order to settle and avoid such potential litigation, each Class 6 Ballot
         will provide an opportunity for the applicable Noteholder to affirmatively consent to
         reclassification of its Claim as a Class 3 Claim, whereupon (a) such Claim will be treated as if
         such Claim had always been part of Class 3 and based on the applicable amounts in the Schedule
         of Principal Amounts and Prepetition Distributions, to which amounts the applicable Noteholder
         will have agreed and be bound; and (b) the applicable Noteholder will have agreed to release
         (and by the Confirmation Order shall be deemed to release) all asserted Liens against any Estate
         Assets.

                         If the Bankruptcy Court determines in a Final Order that any given Holder of a
         Class 6 Claim holds a valid Secured Claim, then in full satisfaction, settlement, and release of
         and in exchange for such Claim, such Holder will receive on or as soon as is reasonably
         practicable after the date of such determination Cash from the Liquidation Trust in the amount of
         such Holder’s Allowed Class 6 Claim to the extent such Allowed Claim is a Secured Claim, with
         post-Confirmation interest thereon at the applicable contract rate, and any Holder of such
         Allowed Class 6 Claim shall release (and by the Confirmation Order shall be deemed to release)
         all Liens against any Estate Assets.

                         If the Bankruptcy Court determines in a Final Order that any given Holder of a
         Class 6 Claim does not hold a valid Secured Claim, then in full satisfaction, settlement, and
         release of and in exchange for such Claim, such Claim shall automatically be reclassified as a
         Class 3 Claim and such Claim will be treated as if such Claim had always been part of Class 3
         and based on the Outstanding Principal Amounts and Prepetition Distributions that are
         determined by the Bankruptcy Court regarding such Noteholder, including, if applicable, after
         taking into account any Liquidation Trust Actions that the Liquidation Trust may pursue against
         the particular Disputing Claimant (as to which all rights of the Liquidation Trust are reserved).

                         If the Liquidation Trust and any given Holder of a Class 6 Claim reach an
         agreement regarding the treatment of such Holder’s Claim that eliminates the need for the
         Bankruptcy Court to make the determination contemplated by the preceding two paragraphs,
         then in full satisfaction, settlement, and release of and in exchange for such Claim, such Claim
         shall receive the treatment that is agreed between the Liquidation Trust and such Holder.

                        The treatment of the Non-Debtor Loan Note Claims under the Plan is not intended
         to and will not reduce, impair, satisfy, limit, or otherwise affect any rights that any Noteholder
         may have against any Person that is not a Released Party (including those rights that may be
         included in the Contributed Claims and contributed to the Liquidation Trust by making the Ballot
         election described below).




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                         Each Holder of a Non-Debtor Loan Note Claim may agree, by electing on its
         Ballot, to contribute its Contributed Claims to the Liquidation Trust. By electing such option on
         its Ballot, the Noteholder agrees that, subject to the occurrence of the Effective Date and the
         formation of the Liquidation Trust, it will be deemed, without further action, (i) to have
         contributed its Contributed Claims to the Liquidation Trust and (ii) to have agreed to execute any
         documents reasonably requested to memorialize such contribution. The relative share of
         Liquidation Trust recoveries for any so electing Noteholder, to the extent that its Claim is
         classified and treated as a Class 3 Claim, will be enhanced by having the amount that otherwise
         would be its Net Note Claim increased by the Contributing Claimants Enhancement Multiplier.
         Noteholders also may choose to make such election because aggregating all Contributed Claims
         and similar Liquidation Trust Actions may enable the pursuit and settlement of such litigation
         claims in a more efficient and effective manner.

                           8.      Class 7: Subordinated Claims

                    Class 7 consists of all Subordinated Claims. Class 7 is Impaired under the Plan.

                 The Holders of Allowed Subordinated Claims will retain a residual right to receive Cash
         that remains in the Liquidation Trust after the final administration of all Liquidation Trust Assets
         and the complete satisfaction of all senior payment rights within the Liquidation Trust Interests
         Waterfall. The Debtors have determined not to solicit the votes of the Holders of any Class 7
         Claims, and such Holders shall be deemed to have rejected the Plan and, therefore, such Holders
         are not entitled to vote on the Plan.

                           9.      Class 8: Equity Interests

                    Class 8 consists of all Equity Interests. Class 8 is Impaired under the Plan.

                 As of the Effective Date, all Equity Interests shall be deemed void, cancelled, and of no
         further force and effect. On and after the Effective Date, Holders of Equity Interests shall not be
         entitled to, and shall not receive or retain any property or interest in property under the Plan on
         account of such Equity Interests. Class 8 is deemed to have rejected the Plan and, therefore,
         Holders of Equity Interests are not entitled to vote on the Plan.

                           10.     Special Provisions Regarding Insured Claims

                 (a)    Any Allowed General Unsecured Claim with respect to an Insured Claim shall be
         limited to the Uninsured Portion of such Claim, provided such Claims have been timely Filed by
         the applicable Claims Bar Date.

                 (b)    If there is insurance purchased by or otherwise applicable to the Debtors, any
         Person with rights against or under the applicable insurance policy, including the Wind-Down
         Entity, the Liquidation Trust, and Holders of Insured Claims, may pursue such rights.




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                 (c)     Nothing in Section 3.10 of the Plan shall constitute a waiver of any Causes of
         Action the Debtors, the Estates, the Wind-Down Entity, or the Liquidation Trust may hold
         against any Person, including the Debtors’ insurance carriers; and nothing in Section 3.10 of the
         Plan is intended to, shall, or shall be deemed to preclude any Holder of an Insured Claim from
         seeking or obtaining a distribution or other recovery from any insurer of the Debtors in addition
         to (but not in duplication of) any Distribution such Holder may receive under the Plan; provided,
         however, that the Debtors, the Wind-Down Entity, and the Liquidation Trust do not waive, and
         expressly reserve their rights to assert that any insurance coverage is property of the Estates to
         which they are entitled.

                 (d)    The Plan shall not expand the scope of, or alter in any other way, the rights and
         obligations of the Debtors’ insurers under their policies, and the Debtors’ insurers shall retain
         any and all defenses to coverage that such insurers may have, including the right to contest or
         litigate with any Person the existence, primacy, or scope of available coverage under any
         allegedly applicable policy. The Plan shall not operate as a waiver of any other Claims the
         Debtors’ insurers have asserted or may assert in any proof of claim or of any objections or
         defenses to any such Claims.

                        11.     Comprehensive Settlement of Claims and Controversies

                                (a)     Generally

                  Pursuant to Bankruptcy Code sections 1123(a)(5), 1123(b)(3), and 1123(b)(6), as well as
         Bankruptcy Rule 9019, and in consideration for the Distributions and other benefits provided
         under the Plan, the provisions of the Plan will constitute a good faith compromise and settlement
         of all claims and controversies relating to the rights that a Holder of a Claim or an Equity Interest
         may have against any Debtor with respect to any Claim, Equity Interest, or any Distribution on
         account thereof, as well as of all potential Intercompany Claims, Intercompany Liens, and
         Causes of Action against any Debtor, including the Unsecured Creditors’ Committee Action. The
         entry of the Confirmation Order will constitute the Bankruptcy Court’s approval, as of the
         Effective Date, of the compromise or settlement of all such claims or controversies and the
         Bankruptcy Court’s finding that all such compromises or settlements are (i) in the best interest of
         the Debtors, the Estates, and their respective property and stakeholders; and (ii) fair, equitable,
         and reasonable. This comprehensive compromise and settlement is a critical component of the
         Plan and is designed to provide a resolution of myriad disputed intercompany and intercreditor
         Claims, Liens, and Causes of Action that otherwise could take years to resolve, which would
         delay and undoubtedly reduce the Distributions that ultimately would be available for all
         Creditors.

                                (b)     Implementing Settlement Elements

               Pursuant to the comprehensive compromise and settlement negotiated by the Debtors and
         the Committees, the Plan effectuates, among other things, the following:




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                (a)    On the Effective Date, unless held by Excluded Parties or Disputing Claimants (in
         which case such Claims are Disputed Claims), all Class 3 Standard Note Claims and all Class 5
         Unit Claims are deemed Allowed under the Plan as set forth in the Schedule of Principal
         Amounts and Prepetition Distributions;

                 (b)     To the extent, and only to the extent, a Claim is Allowed by subparagraph
         (a) above, the following Liquidation Trust Actions are waived and released as to the applicable
         Noteholder or Unitholder (that is not a Disputing Claimant): (i) Liquidation Trust Actions to
         avoid or recover a Prepetition Distribution with respect to the subject Allowed Claim and
         (ii) Liquidation Trust Actions to avoid or recover a Debtor’s prepetition payment of
         consideration representing the return or repayment of the principal of any Note or any Unit
         (which consideration is applied as such prior to determining the Outstanding Principal Amount
         for the Notes or Units relevant to the applicable Allowed Claim);

                (c)   In accordance with Section 5.8 of the Plan, subject to the rights of Allowed Other
         Secured Claims, the Fund Debtors will be substantively consolidated into Woodbridge Mortgage
         Investment Fund 1, LLC and the Other Debtors will be substantively consolidated into
         Woodbridge Group of Companies, LLC;

                (d)     The Holders of Allowed Claims in Class 3 (Standard Note Claims), Class 4
         (General Unsecured Claims), Class 5 (Unit Claims), and Class 6 (Non-Debtor Loan Note
         Claims) will receive the treatment provided for such Holders under the Plan;

                (e)     The Liquidation Trust will be created to most effectively and efficiently pursue
         the Liquidation Trust Actions for the collective benefit of all the Liquidation Trust Beneficiaries
         (as well as to own the membership interests of the Wind-Down Entity, establish and hold the
         Distribution Reserves, and receive and distribute to Noteholders, Holders of General Unsecured
         Claims, and Unitholders holding Liquidation Trust Interests the net proceeds of the liquidation of
         Wind-Down Assets by the Wind-Down Entity remaining after payment of Wind-Down
         Expenses, Liquidation Trust Expenses, and certain other Claims, all in accordance with the
         Plan);

                  (f)    Findings will be sought in the Confirmation Order that (i) beginning no later than
         July 2012 through December 1, 2017, Robert H. Shapiro used his web of more than 275 limited
         liability companies, including the Debtors, to conduct a massive Ponzi scheme raising more than
         $1.22 billion from over 8,400 unsuspecting investors nationwide; (ii) the Ponzi scheme involved
         the payment of purported returns to existing investors from funds contributed by new investors;
         and (iii) the Ponzi scheme was discovered in December 2017; and




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                 (g)    Any Intercompany Claims that could be asserted by one Debtor against another
         Debtor will be extinguished immediately before the Effective Date with no separate recovery on
         account of any such Claims and any Intercompany Liens that could be asserted by one Debtor
         regarding any Estate Assets owned by another Debtor will be deemed released and discharged on
         the Effective Date; provided, however, that solely with respect to any Secured Claim of a non-
         debtor as to which the associated Lien would be junior to any Intercompany Lien, the otherwise
         released Intercompany Claim and associated Intercompany Lien will be preserved for the benefit
         of, and may be asserted by, the Liquidation Trust as to any Collateral that is Cash and, otherwise,
         the Wind-Down Entity so as to retain the relative priority and seniority of such Intercompany
         Claim and associated Intercompany Lien.

                    G.     Acceptance or Rejection of Plan

                           1.    Impaired Class of Claims Entitled to Vote

                 Only the votes of Holders of Allowed Claims in Class 3, Class 4, Class 5, and Class 6
         shall be solicited with respect to the Plan.

                           2.    Acceptance by an Impaired Class

                 In accordance with Bankruptcy Code section 1126(c), and except as provided in
         Bankruptcy Code section 1126(e), the Holders of Claims in any Class entitled to vote on the Plan
         shall have accepted the Plan if the Plan is accepted by the Holders of at least two-thirds (Ҁ) in
         dollar amount and more than one-half (½) in number of the Allowed Claims in such Class that
         have timely and properly voted to accept or reject the Plan.

                           3.    Presumed Acceptances by Unimpaired Classes

                Class 1 and Class 2 are Unimpaired under the Plan. Under Bankruptcy Code section
         1126(f), the Holders of Claims in such Unimpaired Classes are conclusively presumed to have
         accepted the Plan, and, therefore, the votes of such Holders shall not be solicited.

                           4.    Impaired Classes Deemed to Reject Plan

                 The Debtors have determined not to solicit the votes of Holders of any Claims in Class 7,
         and such Holders shall be deemed to have rejected the Plan and, therefore, such Holders are not
         entitled to vote on the Plan. Holders of Equity Interests in Class 8 are not entitled to receive or
         retain any property or interests in property under the Plan. Under Bankruptcy Code section
         1126(g), such Holders are deemed to have rejected the Plan, and, therefore, the votes of such
         Holders shall not be solicited.

                           5.    Modifications of Votes

                 Following the Voting Deadline, no Creditors entitled to vote on the Plan will be able to
         change their votes cast on the Plan or any attendant elections or preferences without the written
         consent of the Debtors, which consent may be given or withheld in the Debtors’ reasonable
         discretion after consultation with each of the Committees.

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                           6.    Confirmation Pursuant to Bankruptcy Code Section 1129(b)

                Because at least one Impaired Class is deemed to have rejected the Plan, the Debtors will
         and hereby request confirmation of the Plan under Bankruptcy Code section 1129(b). The
         Debtors reserve the right to alter, amend, modify, revoke, or withdraw the Plan, the Plan
         Supplement, or any schedule or exhibit, including to amend or modify it to satisfy the
         requirements of Bankruptcy Code section 1129(b), if necessary.

                           7.    Elimination of Vacant Classes

                Any Class of Claims or Equity Interests that does not contain, as of the date of the
         commencement of the Confirmation Hearing, a Holder of an Allowed Claim, or a Holder of a
         Claim temporarily allowed under Bankruptcy Rule 3018, shall be deemed deleted from the Plan
         for purposes of determining acceptance of the Plan by such Class under Bankruptcy Code section
         1129(a)(8).

                           8.    Severability of Joint Plan

                 The Plan represents a joint plan comprised of individual plans for each of the Debtors. As
         further discussed in Section 11.6 of the Plan, the Debtors may alter, amend, or modify the Plan at
         or before the Confirmation Hearing, including to remove one or more Debtors from the Plan, in
         the Debtors’ reasonable discretion after consultation with each of the Committees.

                    H.     Implementation of the Plan

                           1.    Implementation of the Plan

                 The Plan will be implemented by various acts and transactions as set forth in the Plan,
         including, among other things, the establishment of the Wind-Down Entity and the Liquidation
         Trust, the appointment of the Wind-Down CEO, the Liquidation Trustee, and the Remaining
         Debtors Manager, and the making of Distributions by the Liquidation Trust and, as applicable,
         the Wind-Down Entity in accordance with the Plan.

                           2.    Streamlining of the Debtors’ Corporate Affairs

                                 (a)    Debtors’ Existing Directors, Officers, and Managers

                 On the Effective Date, each of the Debtors’ existing directors, officers, and managers
         shall be terminated automatically without the need for any Corporate Action and without the
         need for any corporate or limited liability company filings, and shall have no ongoing rights
         against or obligations to the Debtors or the Estates, including under any applicable prepetition
         agreements (all of which will be deemed terminated). On the Effective Date, the Wind-Down
         CEO shall succeed to all such powers as would have been applicable to the Debtors’ officers and
         managers in respect of all Wind-Down Assets and the Liquidation Trustee shall succeed to all
         such powers as would have been applicable to the Debtors’ officers and managers in respect of
         all Liquidation Trust Assets; provided, however, that the Wind-Down CEO and the Liquidation
         Trustee may continue to consult with or employ the Debtors’ former directors, officers,

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         employees, and managers to the extent required to comply with applicable law or contractual
         provisions regarding the Debtors.

                                (b)    The Remaining Debtors Pending the Closing of the Cases

                 Each Remaining Debtor shall continue in existence after the Effective Date as a post-
         Effective-Date entity for the purposes of ensuring, among other things, that Creditors will obtain
         the benefits of any allegedly transfer-restricted assets. Without the need for any Corporate Action
         and without the need for any corporate or limited liability company filings, (a) all Equity
         Interests of the Remaining Debtors issued and outstanding immediately before the Effective Date
         shall be automatically cancelled and extinguished on the Effective Date and (b) as of the
         Effective Date, new membership interests of each Remaining Debtor, representing all of the
         issued and outstanding membership interests of each such Remaining Debtor, shall be issued to
         the Liquidation Trust, which new membership interests so issued shall be deemed to have been
         offered and sold to the Liquidation Trust in reliance on the exemption from registration under the
         Securities Act afforded by section 4(a)(2) thereof. On and after the Effective Date, each
         Remaining Debtor will be a wholly-owned subsidiary of the Liquidation Trust, and the
         Liquidation Trust may expend with respect to such Remaining Debtor such amounts as the
         Liquidation Trust determines is appropriate, in its discretion. The sole manager of each
         Remaining Debtor shall be the Remaining Debtors Manager. The Remaining Debtors Manager’s
         rights and powers with respect to operations, employment, compensation, indemnity, and
         exculpation as to each Remaining Debtor shall, to the greatest extent possible, be the same as its
         rights and powers as Liquidation Trustee in connection with the Liquidation Trust, and the
         Remaining Debtors Manager may take such steps as appropriate to maintain the good standing of
         the applicable Remaining Debtor. Until a Remaining Debtor is dissolved, all cash or property
         received by the Remaining Debtor, gross or net of any expenses of the Remaining Debtor
         incurred after the Effective Date, shall be transferred to the Liquidation Trust. Each Remaining
         Debtor (a) shall have the Liquidation Trust as its sole member and the Liquidation Trust shall be
         deemed to be admitted as a member of each Remaining Debtor on the Effective Date, (b) shall be
         treated as a disregarded entity for income tax purposes, (c) shall have a purpose consistent with
         the purpose of the Liquidation Trust as set forth in Section 5.4.4 of the Plan, and (d) shall be
         subject to the same limitations imposed on the Liquidation Trustee under the terms of the Plan
         and the Liquidation Trust Agreement.

                                (c)    Dissolution of the Debtors

                 On the Effective Date, each of the Debtors other than the Remaining Debtors will be
         dissolved automatically without the need for any Corporate Action, without the need for any
         corporate or limited liability company filings, and without the need for any other or further
         actions to be taken by or on behalf of such dissolving Debtor or any other Person or any
         payments to be made in connection therewith; provided, however, that the Liquidation Trust may
         in its discretion file any certificates of cancellation as may be appropriate in connection with
         dissolution of any Debtors other than the Remaining Debtors. On and as of the earlier of the
         Closing Date and the date on which the Remaining Debtors Manager Files with the Bankruptcy
         Court a notice of dissolution as to a Remaining Debtor, such Remaining Debtor will be dissolved
         automatically without the need for any Corporate Action, without the need for any corporate or
         limited liability company filings, and without the need for any other or further actions to be taken
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         by or on behalf of such dissolving Remaining Debtor or any other Person or any payments to be
         made in connection therewith; provided, however, that the Liquidation Trust may in its
         discretion file any certificates of cancellation as may be appropriate in connection with
         dissolution of any Remaining Debtors.

                                (d)    Corporate Documents and Corporate Authority

                 On the Effective Date, the certificates of incorporation, bylaws, operating agreements,
         and articles of organization, as applicable, of all the Debtors shall be deemed amended to the
         extent necessary to carry out the provisions of the Plan. The entry of the Confirmation Order
         shall constitute authorization for the Debtors, the Wind-Down CEO, the Liquidation Trustee, and
         the Remaining Debtors Manager, as applicable, to take or cause to be taken all actions
         (including, if applicable, Corporate Actions) necessary or appropriate to implement all
         provisions of, and to consummate, the Plan prior to, on, and after the Effective Date and all such
         actions taken or caused to be taken shall be deemed to have been authorized and approved by the
         Bankruptcy Court without further approval, act, or action under any applicable law, order, rule,
         or regulation.

                        3.      The Wind-Down Entity

                                (a)    Appointments

                (a)     On and after the Effective Date, the initial Wind-Down CEO shall become and
         serve as Wind-Down CEO. The compensation terms for the Wind-Down CEO will be set forth in
         a separate document to be Filed as part of the Plan Supplement.

                  (b)    On and after the Effective Date, the initial Wind-Down Board shall become and
         serve as Wind-Down Board. The compensation of the non-CEO members of the Wind-Down
         Board will be $20,000 per month for each calendar month of service during the first year after
         the Effective Date and $15,000 per month for each calendar month of service commencing after
         the first anniversary of the Effective Date.

                                (b)    Creation and Governance of the Wind-Down Entity

                 On the Effective Date, the Wind-Down Entity and the Liquidation Trustee shall execute
         the Wind-Down Governance Agreement and shall take any other steps necessary to establish the
         Wind-Down Entity in accordance with the Plan. The Wind-Down Entity shall be governed by
         the Wind-Down Governance Agreement and administered by the Wind-Down CEO and the
         Wind-Down Board. The powers, rights, duties, and responsibilities of the Wind-Down CEO and
         the Wind-Down Board shall be specified in the Wind-Down Governance Agreement. The Wind-
         Down Entity shall hold, administer, and distribute the Wind-Down Assets in accordance with the
         provisions of the Plan and the Wind-Down Governance Agreement. The Wind-Down Entity
         (a) shall have the Liquidation Trust as its sole member and the Liquidation Trust shall be deemed
         to be admitted as a member of the Wind-Down Entity on the Effective Date, (b) shall be treated
         as a disregarded entity for income tax purposes, (c) shall have a purpose consistent with the
         purpose of the Liquidation Trust as set forth in Section 5.4.4 of the Plan, and (d) shall be subject
         to the same limitations imposed on the Liquidation Trustee under the terms of the Plan and the
         Liquidation Trust Agreement.
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                                   (c)     Vesting of Wind-Down Assets

                 On the Effective Date, the Wind-Down Entity will be automatically vested with all of the
         Debtors’ and the Estates’ respective rights, title, and interest in and to all Wind-Down Assets,
         including any Debtor’s or any Estate’s associated rights, including any such rights to exercise
         and enforce rights and remedies of Holders of Non-Debtor Loan Note Claims regarding any
         loans or related interests as to which the lender was a Debtor and the underlying borrower
         actually is or actually was a Person that is not a Debtor as more fully set forth in Section 5.3.4(g)
         of the Plan. Except as specifically provided in the Plan or the Confirmation Order, the Wind-
         Down Assets shall automatically vest in the Wind-Down Entity free and clear of all Claims,
         Liens, or interests, and such vesting shall be exempt from any stamp, real estate transfer, other
         transfer, mortgage reporting, sales, use, or other similar tax. The Wind-Down Entity shall be the
         exclusive representative of the Estates appointed pursuant to Bankruptcy Code section
         1123(b)(3)(B) regarding all Wind-Down Assets.

                                   (d)     Authority

                Subject to the supervision of the Wind-Down Board and the provisions of the Wind-
         Down Governance Agreement, the Wind-Down CEO shall have the authority and right on behalf
         of each of the Debtors and their respective Estates, without the need for Bankruptcy Court
         approval (unless otherwise indicated), to carry out and implement all applicable provisions of the
         Plan for the ultimate benefit of the Liquidation Trust, including to:

               (a)  retain, compensate, and employ professionals and other Persons to represent the
         Wind-Down Entity with respect to and in connection with its rights and responsibilities;

                    (b)     establish, maintain, and administer accounts of the Debtors as appropriate;

                  (c)    maintain, develop, improve, administer, operate, conserve, supervise, collect,
         settle, and protect the Wind-Down Assets (subject to the limitations described in the Plan or in
         the Wind-Down Governance Agreement);

                 (d)    sell, liquidate, transfer, assign, distribute, abandon, or otherwise dispose of the
         Wind-Down Assets or any part thereof or any interest therein, including through the formation
         on or after the Effective Date of any new or additional legal entities to be owned by the Wind-
         Down Entity to own and hold particular Wind-Down Assets separate and apart from any other
         Wind-Down Assets, upon such terms as the Wind-Down CEO determines to be necessary,
         appropriate, or desirable (subject to the limitations described in the Plan or in the Wind-Down
         Governance Agreement), including the consummation of any sale transaction for any Wind-
         Down Assets as to which an approval order was entered by the Bankruptcy Court before the
         Effective Date;

                 (e)     invest Cash of the Debtors and the Estates, including any Cash realized from the
         liquidation of the Wind-Down Assets, which investments, for the avoidance of doubt, will not be
         required to comply with Bankruptcy Code section 345(b);

                 (f)     negotiate, incur, and pay the Wind-Down Expenses, including in connection with
         the resolution and satisfaction of any Wind-Down Claim Expenses;
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                 (g)     exercise and enforce all rights and remedies regarding any loans or related
         interests as to which the lender was a Debtor and the underlying borrower actually is or actually
         was a Person that is not a Debtor, including any such rights or remedies that any Debtor or any
         Estate was entitled to exercise or enforce prior to the Effective Date on behalf of a Holder of a
         Non-Debtor Loan Note Claim, and including rights of collection, foreclosure, and all other rights
         and remedies arising under any promissory note, mortgage, deed of trust, or other document with
         such underlying borrower or under applicable law;

               (h)  comply with the Plan, exercise the Wind-Down CEO’s rights, and perform the
         Wind-Down CEO’s obligations; and

                (i)     exercise such other powers as deemed by the Wind-Down CEO to be necessary
         and proper to implement the provisions of the Plan.

                 To the extent necessary to give full effect to its administrative rights and duties under the
         Plan, the Wind-Down CEO shall be deemed to be vested with all rights, powers, privileges, and
         authorities of (i) an appropriate corporate or limited liability company officer or manager of each
         of the Debtors under any applicable nonbankruptcy law and (ii) a “trustee” of each of the
         Debtors under Bankruptcy Code sections 704 and 1106.

                                (e)     Relationship With the Liquidation Trust

                 (a)     On the Effective Date, all of the membership interests in the Wind-Down Entity
         will be issued to the Liquidation Trust. The Liquidation Trust will at all times be the sole and
         exclusive owner of the Wind-Down Entity, and the Wind-Down Entity will not issue any equity
         interests to any other Person.

                 (b)    Commencing on the first Business Day that is no longer than thirty (30) calendar
         days after the quarter-end of the first full calendar quarter following the Effective Date and
         continuing on the first Business Day that is no longer than thirty (30) calendar days after each
         calendar quarter-end thereafter, the Wind-Down Entity will remit to the Liquidation Trust as of
         such quarter-end any Cash in excess of its budgeted reserve for ongoing operations, other
         anticipated Wind-Down Expenses, and its other Plan obligations (subject to more specific
         provisions as may be set forth in the Wind-Down Governance Agreement).

                 (c)    The Wind-Down Entity shall advise the Liquidation Trust regarding the status of
         the affairs of the Wind-Down Entity on at least a monthly basis and shall reasonably make
         available to the Liquidation Trust such information as is necessary for any reporting by the
         Liquidation Trust.

                 (d)     The Wind-Down Entity shall advise the Liquidation Trust regarding any material
         actions by the Wind-Down Board, including the sale of any property prior to entering into a
         contract of sale or the change in course of the business plan agreed to as part of the Plan. If there
         is any disagreement between the Wind-Down Entity and the Liquidation Trust as to a material
         matter, in the first instance the Wind-Down Entity and the Liquidation Trust shall seek to resolve
         their dispute regarding such material matter. In the event the Wind-Down Entity and the
         Liquidation Trust cannot resolve the dispute, then no action will be taken regarding such material
         matter absent an order of the Bankruptcy Court.
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                 (e)     The Liquidation Trust will have all additional rights regarding the Wind-Down
         Entity as are set forth in the Wind-Down Governance Agreement, including that the Wind-Down
         Entity shall not be entitled to encumber, invest, or gift any of its assets or make asset acquisitions
         except as and to the extent permitted by the Wind-Down Governance Agreement.

                                (f)     Removal or Resignation of the Wind-Down CEO

                 The Wind-Down CEO may be removed for cause by the Wind-Down Board. The Wind-
         Down CEO may resign by giving not less than thirty (30) calendar days’ prior notice thereof in a
         notice Filed in the Chapter 11 Cases.

                                (g)     Successor Wind-Down CEO

                At any time that Frederick Chin is no longer the Wind-Down CEO, the Wind-Down
         Board will select a replacement Wind-Down CEO, subject to the approval of such replacement
         by the Liquidation Trust.

                                (h)     Removal or Resignation of Wind-Down Board Members

                A member of the Wind-Down Board may be removed for cause by the Liquidation Trust.
         A member of the Wind-Down Board may resign by giving not less than thirty (30) calendar
         days’ prior notice thereof to the other members of the Wind-Down Board.

                                (i)     Successor Wind-Down Board Members

                 At any time that there is a vacancy on the Wind-Down Board, the Liquidation Trust will
         select a replacement Wind-Down Board member.

                                (j)     Termination of the Wind-Down CEO and Dissolution of the
                                        Wind-Down Entity

                Following the sale or other disposition of all the Wind-Down Assets, the Wind-Down
         CEO’s role as Wind-Down CEO shall be terminated, the Wind-Down Entity shall be dissolved,
         and the Wind-Down Board shall authorize and direct that the Wind-Down CEO file a certificate
         of cancellation to terminate the existence of the Wind-Down Entity.

                                (k)     Indemnification

                The Wind-Down Entity and the Liquidation Trust shall indemnify the Wind-Down
         Indemnified Parties for, and shall defend and hold them harmless against, any loss, liability,
         damage, judgment, fine, penalty, claim, demand, settlement, cost, or expense (including the
         reasonable fees and expenses of their respective professionals) incurred without gross negligence
         or willful misconduct on the part of the Wind-Down Indemnified Parties (which gross
         negligence or willful misconduct, if any, must be determined by a final, non-appealable order of
         a court of competent jurisdiction) for any action taken, suffered, or omitted to be taken by the
         Wind-Down Indemnified Parties in connection with the acceptance, administration, exercise, and
         performance of their duties under the Plan or the Wind-Down Governance Agreement, as
         applicable. An act or omission taken with the approval of the Bankruptcy Court, and not
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         inconsistent therewith, will be conclusively deemed not to constitute gross negligence or willful
         misconduct. In addition, the Wind-Down Entity and the Liquidation Trust shall, to the fullest
         extent permitted by law, indemnify, defend, and hold harmless the Wind-Down Indemnified
         Parties, from and against and with respect to any and all liabilities, losses, damages, claims,
         costs, and expenses, including attorneys’ fees arising out of or due to their actions or omissions,
         or consequences of such actions or omissions, with respect to the Wind-Down Entity or the
         implementation or administration of the Plan if the Wind-Down Indemnified Party acted in good
         faith and in a manner reasonably believed to be in, or not opposed to, the best interest of the
         Wind-Down Entity. To the extent the Liquidation Trust indemnifies, defends, and holds harmless
         any Wind-Down Indemnified Parties as provided above, the legal fees and related costs incurred
         by counsel to the Liquidation Trust in monitoring or participating in the defense of such claims
         giving rise to the right of indemnification shall be paid as Liquidation Trust Expenses. The costs
         and expenses incurred in enforcing the right of indemnification in Section 5.3.11 of the Plan
         shall be paid by the Wind-Down Entity or Liquidation Trust, as applicable.

                                (l)     Insurance

                 The Wind-Down Entity shall be authorized, but not required, to obtain any insurance
         coverages deemed to be reasonably necessary, as a Wind-Down Expense and after taking into
         account any insurance that may have separately been obtained by the Liquidation Trust, for itself
         and its respective agents, including coverage with respect to the liabilities, duties, and obligations
         of the Wind-Down Board and the Wind-Down CEO, which insurance coverage may, at the sole
         discretion of the Wind-Down Board, be extended for a reasonable period after the termination of
         the Wind-Down Governance Agreement.

                                (m)     Control Provision

                 To the extent there is any inconsistency between the Plan as it relates to the Wind-Down
         Entity and the Wind-Down Governance Agreement, the Plan shall control.

                        4.      Liquidation Trust

                                (a)     Appointments

                 (a)     On and after the Effective Date, the initial Liquidation Trustee shall become and
         serve as Liquidation Trustee. The Liquidation Trustee will receive (i) base compensation at an
         hourly rate of $550 per hour for 2018, with 10% rate raises commencing at the beginning of
         calendar years 2019 and 2020; (ii) incentive compensation as determined by the Liquidation
         Trust Supervisory Board; and (iii) reimbursement of reasonable expenses, as may be more
         specifically set forth in the Liquidation Trust Agreement.

                 (b)    On and after the Effective Date, the initial Liquidation Trust Supervisory Board
         shall begin to serve without further action. As may be more specifically set forth in the
         Liquidation Trust Agreement, the compensation payable to each member of the Liquidation
         Trust Supervisory Board for each calendar month of service shall be $10,000 monthly for the
         first twelve months from and after the Effective Date (counting the month of the Effective Date
         as the first calendar month even if it is a partial calendar month), $7,500 monthly for the
         thirteenth through twenty-fourth calendar months after the Effective Date, $5,000 monthly for
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         the twenty-fifth through thirty-sixth calendar months after the Effective Date, and $2,500
         monthly for each calendar month thereafter until termination of the Liquidation Trust in
         accordance with the Plan (prorated as appropriate if a member commences his or her service
         other than on the first day of a month or terminates his or her service other than on the last day of
         a month), plus, in all instances, reimbursement of reasonable expenses.

                                (b)     Creation and Governance of the Liquidation Trust

                 On the Effective Date, the Liquidation Trustee shall execute the Liquidation Trust
         Agreement and shall take any other steps necessary to establish the Liquidation Trust in
         accordance with the Plan and the beneficial interests therein. For federal income tax purposes,
         the transfer of the assets to the Liquidation Trust will be treated as a sale or other disposition of
         assets (except for the assets transferred to the Disputed Ownership Fund as provided in Section
         7.10 of the Plan) to the Liquidation Trust Beneficiaries in exchange for their claims in the
         Chapter 11 Cases. Any income or loss from the transfer of assets to the Liquidation Trust shall
         flow through to the ultimate taxpaying member of each Debtor who will be responsible to pay
         the tax liability, if any. For federal income tax purposes, the Liquidation Trust Beneficiaries shall
         be treated as the grantors of the Liquidation Trust and deemed to be the owners of the assets of
         the Liquidation Trust. The transfer of the Liquidation Trust Assets to the Liquidation Trust shall
         be deemed a transfer to the Liquidation Trust Beneficiaries by the Debtors, followed by a
         deemed transfer by such Liquidation Trust Beneficiaries to the Liquidation Trust. The Debtors,
         the Liquidation Trust Beneficiaries, and the Liquidation Trust will consistently report the
         valuation of the assets transferred to the Liquidation Trust. Such consistent valuations and
         revised reporting will be used for all federal income tax purposes. Income deductions, gain, or
         loss from the Liquidation Trust shall be reported to the beneficiaries of the Liquidation Trust in
         conjunction with the filing of the Liquidation Trust’s income tax returns. Each Liquidation Trust
         Beneficiary shall report income, deductions, gain, or loss on such Liquidation Trust
         Beneficiary’s income tax returns. The Liquidation Trust shall be governed by the Liquidation
         Trust Agreement and administered by the Liquidation Trustee. The powers, rights, and
         responsibilities of the Liquidation Trustee shall be specified in the Liquidation Trust Agreement.
         After an objection to a Disputed Claim is resolved or a Contingent Claim or Unliquidated Claim
         has been determined in whole or in part by a Final Order or by agreement, the Liquidation Trust
         Interests and/or Cash held in the Disputed Ownership Fund shall be transferred as described in
         Section 7.11 of the Plan.

                                (c)     Vesting of Liquidation Trust Assets

                 On the Effective Date, the Liquidation Trust will be automatically vested with all of the
         Debtors’ and the Estates’ respective rights, title, and interest in and to all Liquidation Trust
         Assets. Except as specifically provided in the Plan or the Confirmation Order, the Liquidation
         Trust Assets shall automatically vest in the Liquidation Trust free and clear of all Claims, Liens,
         or interests subject only to the Liquidation Trust Interests and the Liquidation Trust Expenses, as
         provided for in the Liquidation Trust Agreement, and such vesting shall be exempt from any
         stamp, real estate transfer, other transfer, mortgage reporting, sales, use, or other similar tax. The
         Liquidation Trustee shall be the exclusive trustee of the Liquidation Trust Assets for purposes of
         31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of the Estates
         appointed pursuant to Bankruptcy Code section 1123(b)(3) regarding all Liquidation Trust
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         Assets. The Liquidation Trust shall hold and distribute the Liquidation Trust Assets in
         accordance with the provisions of the Plan and the Liquidation Trust Agreement.

                                    (d)    Purpose of the Liquidation Trust

                The Liquidation Trust shall be established for the purpose of pursuing or liquidating the
         Liquidation Trust Assets and making Distributions to the Liquidation Trust Beneficiaries in
         accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
         engage in the conduct of a trade or business.

                                    (e)    Authority

                Subject to the supervision of the Liquidation Trust Supervisory Board, the Liquidation
         Trustee shall have the authority and right on behalf of the Debtors and the Estates and without
         the need for Bankruptcy Court approval (in each case, unless otherwise provided in the Plan) to
         carry out and implement all applicable provisions of the Plan, including to:

                 (a)   review, reconcile, compromise, settle, or object to Claims and resolve such
         objections as set forth in the Plan, free of any restrictions of the Bankruptcy Code or the
         Bankruptcy Rules;

                (b)    calculate and make Distributions and calculate and establish reserves under and in
         accordance with the Plan;

                (c)    retain, compensate, and employ professionals and other Persons to represent the
         Liquidation Trustee with respect to and in connection with its rights and responsibilities;

                (d)    establish, maintain, and administer documents and accounts of the Debtors as
         appropriate, which shall be segregated to the extent appropriate in accordance with the Plan;

                (e)      maintain, conserve, collect, settle, and protect the Liquidation Trust Assets
         (subject to the limitations described in the Plan);

                 (f)   sell, liquidate, transfer, assign, distribute, abandon, or otherwise dispose of the
         Liquidation Trust Assets or any part thereof or interest therein upon such terms as the
         Liquidation Trustee determines to be necessary, appropriate, or desirable; provided, however,
         that the Liquidation Trustee shall not sell, transfer, or otherwise dispose of the Liquidation
         Trust’s membership interests in the Wind-Down Entity without further approval of the
         Bankruptcy Court;

                    (g)      negotiate, incur, and pay the Liquidation Trust Expenses;

                (h)    prepare and file any and all informational returns, reports, statements, returns, and
         other documents or disclosures relating to the Debtors that are required under the Plan, by any
         governmental unit, or by applicable law;

               (i)      compile and maintain the official claims register, including for purposes of
         making initial and subsequent Distributions under the Plan;
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               (j)   take such actions as are necessary or appropriate to wind-down and dissolve the
         Remaining Debtors;

                (k)    comply with the Plan, exercise the Liquidation Trustee’s rights, and perform the
         Liquidation Trustee’s obligations; and

                (l)     exercise such other powers as deemed by the Liquidation Trustee to be necessary
         and proper to implement the Plan.

                 To the extent necessary to give full effect to its administrative rights and duties under the
         Plan, the Liquidation Trustee shall be deemed to be vested with all rights, powers, privileges, and
         authorities of (i) an appropriate corporate or limited liability company officer or manager of each
         of the Debtors under any applicable nonbankruptcy law and (ii) a “trustee” of each of the
         Debtors under Bankruptcy Code sections 704 and 1106. The Liquidation Trust Supervisory
         Board will have all rights and powers of a corporate board appointed under Delaware law.

                                (f)     Limitation of Liability

                 The Liquidation Trustee shall enjoy all of the rights, powers, immunities, and privileges
         applicable to a Bankruptcy Code chapter 7 trustee with respect to limitations of liability. The
         Liquidation Trustee may, in connection with the performance of its functions, in its sole and
         absolute discretion, consult with its attorneys, accountants, advisors, and agents, and shall not be
         liable for any act taken, or omitted to be taken, or suggested to be done in accordance with
         advice or opinions rendered by such Persons, regardless of whether such advice or opinions were
         in writing. Notwithstanding such authority, the Liquidation Trustee shall be under no obligation
         to consult with any such attorneys, accountants, advisors, or agents, and its determination not to
         do so shall not result in the imposition of liability on the Liquidation Trustee unless such
         determination is based on willful misconduct, gross negligence, or fraud. Persons dealing with
         the Liquidation Trustee shall look only to the Liquidation Trust Assets to satisfy any liability
         incurred by the Liquidation Trustee to such Person in carrying out the terms of the Plan or the
         Liquidation Trust Agreement, and the Liquidation Trustee shall have no personal obligation to
         satisfy such liability.

                                (g)     Indemnification

                The Wind-Down Entity and the Liquidation Trust shall indemnify the Liquidation Trust
         Indemnified Parties for, and shall defend and hold them harmless against, any loss, liability,
         damage, judgment, fine, penalty, claim, demand, settlement, cost, or expense (including the
         reasonable fees and expenses of their respective professionals) incurred without gross negligence
         or willful misconduct on the part of the Liquidation Trust Indemnified Parties (which gross
         negligence or willful misconduct, if any, must be determined by a final, non-appealable order of
         a court of competent jurisdiction) for any action taken, suffered, or omitted to be taken by the
         Liquidation Trust Indemnified Parties in connection with the acceptance, administration,
         exercise, and performance of their duties under the Plan or the Liquidation Trust Agreement, as
         applicable. An act or omission taken with the approval of the Bankruptcy Court, and not
         inconsistent therewith, will be conclusively deemed not to constitute gross negligence or willful
         misconduct. In addition, the Wind-Down Entity and the Liquidation Trust shall, to the fullest

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         extent permitted by law, indemnify, defend, and hold harmless the Liquidation Trust Indemnified
         Parties, from and against and with respect to any and all liabilities, losses, damages, claims,
         costs, and expenses, including attorneys’ fees arising out of or due to their actions or omissions,
         or consequences of such actions or omissions, with respect to the Liquidation Trust, the
         Remaining Debtors, or the implementation or administration of the Plan if the Liquidation Trust
         Indemnified Party acted in good faith and in a manner reasonably believed to be in, or not
         opposed to, the best interest of the Liquidation Trust or the Remaining Debtors. To the extent the
         Wind-Down Entity or the Liquidation Trust indemnifies, defends, and holds harmless any
         Liquidation Trust Indemnified Parties as provided above, the legal fees and related costs incurred
         by counsel to the Liquidation Trustee or the Remaining Debtors Manager in monitoring or
         participating in the defense of such claims giving rise to the right of indemnification shall be paid
         as Liquidation Trust Expenses. The costs and expenses incurred in enforcing the right of
         indemnification in Section 5.4.7 of the Plan shall be paid by the Wind-Down Entity or the
         Liquidation Trust, as applicable.

                                (h)     Insurance

                 The Liquidation Trustee shall be authorized, but not required, to obtain any insurance
         coverages deemed to be reasonably necessary, at the Liquidation Trust’s sole expense, for itself,
         the Remaining Debtors Manager, and their respective agents, including coverage with respect to
         the liabilities, duties, and obligations of the Liquidation Trustee and the Remaining Debtors
         Manager, which insurance coverage may, at the sole discretion of the Liquidation Trustee, be
         extended for a reasonable period after the termination of the Liquidation Trust.

                                (i)     Tax Reporting

                 (a)    The Liquidation Trust shall timely file tax returns for the Liquidation Trust
         treating the Liquidation Trust as a grantor trust pursuant to Treasury Regulation section 1.671-
         4(a).

                (b)    The Liquidation Trust shall be responsible for timely payment of all taxes (if any)
         imposed on and payable by the Liquidation Trust, the Remaining Debtors, or any Liquidation
         Trust Assets.

                (c)     The Liquidation Trust shall distribute such tax-related notices, beneficiary
         statements, and information returns, as applicable, to the applicable Holders of Allowed Claims
         as are required by applicable law or that the Liquidation Trustee determines are otherwise
         necessary or desirable.

                (d)   The Liquidation Trust is authorized to file a request for expedited determination
         under Bankruptcy Code section 505(b) for any tax returns filed with respect to the Debtors.

                                (j)     Distributions to Liquidation Trust Beneficiaries

                 (a)     The Liquidation Trust will make an initial Distribution of Available Cash from
         the Initial Distribution Fund to the Liquidation Trust Beneficiaries pursuant to the Liquidation
         Trust Interests Waterfall, with such initial Distribution targeted to occur before December 31,
         2018.
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                 (b)    The Liquidation Trust, in the Liquidation Trustee’s discretion, may make periodic
         Distributions of additional Cash to the Liquidation Trust Beneficiaries at any time following the
         Effective Date, provided that such Distributions are otherwise permitted under, and not
         inconsistent with, the Liquidation Trust Interests Waterfall, the other terms of the Plan, the
         Liquidation Trust Agreement, and applicable law.

                 (c)    No later than (i) the first Business Day that is at least 180 calendar days after the
         Effective Date and (ii) the last Business Day of each subsequent 180-calendar-day period after
         the Effective Date until the Closing Date, the Liquidation Trustee shall calculate the
         Distributions that could potentially be made to the Liquidation Trust Beneficiaries based on the
         amount of then-available Available Cash and, based on such calculation, promptly thereafter
         may make Distributions, if any, of the amount so determined.

                                (k)     Cash Investments

                 The Liquidation Trustee may invest Cash of the Liquidation Trust, including any
         earnings thereon or proceeds therefrom, any Cash realized from the liquidation of the
         Liquidation Trust Assets, or any Cash that is remitted to the Liquidation Trust from the Wind-
         Down Entity, which investments, for the avoidance of doubt, will not be required to comply with
         Bankruptcy Code section 345(b); provided, however, that such investments must be investments
         that are permitted to be made by a “liquidating trust” within the meaning of Treasury Regulation
         section 301.7701-4(d), as reflected therein, or under applicable guidelines, rulings, or other
         controlling authorities.

                                (l)     Registration and Transfer of the Liquidation Trust Interests

                 (a)     The record holders of the Liquidation Trust Interests shall be recorded and set
         forth in a registry maintained by, or at the direction of, the Liquidation Trustee expressly for such
         purpose. Such obligation may be satisfied by the Liquidation Trust’s retention of an institutional
         transfer agent for the maintenance of such registry, and notwithstanding anything to the contrary
         contained in this paragraph, the Liquidation Trust may, in connection with any Exchange Act
         Registration with respect to the Class A Liquidation Trust Interests, in its discretion cause the
         Class A Liquidation Trust Interests to be issued in book entry form.

                 (b)     Upon their issuance as of the Effective Date, and thereafter until the effectiveness
         of an Exchange Act Registration of the Class A Liquidation Trust Interests, the Class A
         Liquidation Trust Interests will be subject to restrictions on transfer under the Liquidation Trust
         Agreement, which restrictions shall prohibit the Class A Liquidation Trust Interests from being
         certificated or transferable except by operation of law or by will or the laws of descent and
         distribution, in each case following written notice to the Liquidation Trust. Upon the
         effectiveness of an Exchange Act Registration of the Class A Liquidation Trust Interests, such
         transfer restrictions under the Liquidation Trust Agreement shall terminate and the Class A
         Liquidation Trust Interests may be transferable by the Holders thereof to the extent otherwise
         permissible under applicable law. The Liquidation Trust shall use its commercially reasonable
         best efforts to cause an Exchange Act Registration of the Class A Liquidation Trust Interests to
         become effective, and for the Class A Liquidation Trust Interests to be quoted with an OTC
         ticker symbol, as soon as reasonably practicable after the Effective Date, but in no event shall the
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         Liquidation Trust file an Exchange Act registration statement any later than may be required
         under section 12(g) of the Exchange Act or the rules and regulations promulgated thereunder.

                  (c)    Upon their issuance as of the Effective Date, and thereafter until (i) the
         effectiveness of an Exchange Act Registration of the Class B Liquidation Trust Interests or
         (ii) the good faith determination by the Liquidation Trustee, in its discretion, that termination of
         the transfer restrictions under the Liquidation Trust Agreement would not require the Class B
         Liquidation Trust Interests to be registered under section 12(g) of the Exchange Act, the Class B
         Liquidation Trust Interests will be subject to restrictions on transfer under the Liquidation Trust
         Agreement, which restrictions shall prohibit the Class B Liquidation Trust Interests from being
         certificated or transferable except by operation of law or by will or the laws of descent and
         distribution, in each case following written notice to the Liquidation Trust. Upon (i) the
         effectiveness of an Exchange Act Registration of the Class B Liquidation Trust Interests or
         (ii) the good faith determination by the Liquidation Trustee, in its discretion, that termination of
         the transfer restrictions under the Liquidation Trust Agreement would not require the Class B
         Liquidation Trust Interests to be registered under section 12(g) of the Exchange Act, such
         transfer restrictions under the Liquidation Trust Agreement shall terminate and the Class B
         Liquidation Trust Interests may be transferable by the Holders thereof to the extent otherwise
         permissible under applicable law; provided, however, that the Liquidation Trust shall not be
         under any obligation (and does not currently intend) to make any effort to cause the Class B
         Liquidation Trust Interests to be registered under the Exchange Act or otherwise to facilitate the
         trading of, or the development of any trading market for, the Class B Liquidation Trust Interests.

                                (m)    Exemption

                 To the extent the Liquidation Trust Interests are deemed to be “securities,” the issuance
         of such interests under the Plan are exempt, pursuant to Bankruptcy Code section 1145, from
         registration under the Securities Act and any applicable state and local laws requiring registration
         of securities.

                                (n)    Contribution of Contributed Claims

                 On the Effective Date, all Contributed Claims will be irrevocably contributed to the
         Liquidation Trust and shall thereafter be Liquidation Trust Actions for all purposes. No Person
         may rely on the absence of a specific reference in the Plan, the Confirmation Order, the
         Liquidation Trust Agreement, or the Disclosure Statement to any Contributed Claims against
         such Person as any indication that the Liquidation Trust will not pursue any and all available
         Contributed Claims against such Person. The objection to the Allowance of any Claims will not
         in any way limit the ability or the right of the Liquidation Trust to assert, commence, or
         prosecute any Contributed Claims. Nothing contained in the Plan, the Confirmation Order, the
         Liquidation Trust Agreement, or the Disclosure Statement will be deemed to be a waiver,
         release, or relinquishment of any Contributed Claims that the Contributing Claimants had
         immediately prior to the Effective Date. The Liquidation Trust shall have, retain, reserve, and be
         entitled to assert all Contributed Claims fully as if the Contributed Claims had not been
         contributed to the Liquidation Trust in accordance with the Plan and the Liquidation Trust
         Agreement. For the avoidance of doubt, (a) the Contributed Claims shall not include the rights of
         any of the Contributing Claimants to receive the Distributions, if any, to which they are entitled
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         under the Plan; (b) the Contributed Claims shall not include any Causes of Action against any of
         the Released Parties; and (c) in the exercise of its reasonable discretion and in accordance with
         the Liquidation Trust Agreement, the Liquidation Trust shall not be obligated to pursue all or any
         given Contributed Claims.

                                (o)     Pursuit and Resolution of Liquidation Trust Actions

                  The Liquidation Trust, as a successor in interest to the Debtors, the Estates, and the
         Contributing Claimants, may, and will have the exclusive right, power, and interest on behalf of
         itself, the Debtors, the Estates, and the Contributing Claimants to institute, commence, file,
         pursue, prosecute, enforce, abandon, settle, compromise, release, waive, dismiss, or withdraw
         any and all Liquidation Trust Actions without any further order of the Bankruptcy Court, except
         as otherwise provided in the Liquidation Trust Agreement. From and after the Effective Date, the
         Liquidation Trust, in accordance with Bankruptcy Code section 1123(b)(3), shall serve as a
         representative of the Estates with respect to any and all Liquidation Trust Actions that were
         Estate Assets and shall retain and possess the right to institute, commence, file, pursue,
         prosecute, enforce, abandon, settle, compromise, release, waive, dismiss, or withdraw, as
         appropriate, any and all Liquidation Trust Actions in any court or other tribunal.

                                (p)     Termination of the Liquidation Trust

                 The Liquidation Trustee and the Liquidation Trust shall be discharged or terminated, as
         the case may be, at such time as: (a) the Liquidation Trustee determines that the pursuit of
         additional Liquidation Trust Actions is not likely to yield sufficient additional proceeds to justify
         further pursuit of such Liquidation Trust Actions and (b) all Distributions required to be made by
         the Liquidation Trust to the Holders of Allowed Claims and to the Liquidation Trust
         Beneficiaries under the Plan and the Liquidation Trust Agreement have been made, but in no
         event shall the Liquidation Trust be terminated later than five (5) years from the Effective Date
         unless the Bankruptcy Court, upon motion made within the six-month period before such fifth
         anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon
         motion made at least six (6) months before the end of the preceding extension), determines that a
         fixed period extension (not to exceed three (3) years, together with any prior extensions, unless a
         favorable letter ruling from the Internal Revenue Service that any further extension would not
         adversely affect the status of the Liquidation Trust as a liquidating trust for federal income tax
         purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the
         Liquidation Trust Assets. Upon termination of the Liquidation Trust, any remaining Liquidation
         Trust Assets that exceed the amounts required to be paid under the Plan may be transferred by
         the Liquidation Trustee to the American Bankruptcy Institute Endowment Fund.

                                (q)     Control Provision

                To the extent there is any inconsistency between the Plan as it relates to the Liquidation
         Trust and the Liquidation Trust Agreement, the Plan shall control.

                        5.      Preservation of Privileges and Defenses

               The actions taken by the Debtors, the Wind-Down Entity, the Liquidation Trust, the
         Remaining Debtors, or any of their respective Related Parties in connection with the Plan shall
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         not be (or be deemed to be) a waiver of any privilege or defense of the Debtors, the Wind-Down
         Entity, the Liquidation Trust, or the Remaining Debtors, as applicable, including any attorney-
         client privilege or work-product doctrine. Notwithstanding any Debtors providing any privileged
         information related to any Liquidation Trust Actions to the Liquidation Trustee, the Liquidation
         Trust, the Wind-Down CEO, the Wind-Down Entity, the Remaining Debtors Manager, the
         Remaining Debtors, or any Person associated with any of the foregoing, such privileged
         information shall be without waiver in recognition of the joint, common, or successor interest in
         prosecuting the Liquidation Trust Actions and shall remain privileged. The Wind-Down Entity
         and the Liquidation Trust each shall retain the right to waive its own privileges. Only the
         Liquidation Trustee shall have the right to waive the attorney-client privilege, work-product
         doctrine, or other protections as to the Debtors, the Remaining Debtors, and the Liquidation
         Trust.

                        6.      Preservation of Rights of Action

                                (a)    Maintenance of Avoidance Actions and Causes of Action

                 Except as otherwise provided in the Plan or the Confirmation Order, from and after the
         Effective Date, the Liquidation Trust will retain all rights to institute, commence, file, pursue,
         prosecute, enforce, abandon, settle, compromise, release, waive, dismiss, or withdraw, as
         appropriate, any and all of the Debtors’ or Estates’ Causes of Action and Causes of Action that
         are Contributed Claims (whether existing as of the Petition Date or thereafter arising), and all
         Avoidance Actions, all as Liquidation Trust Actions, in each case in any court or other tribunal,
         including in an adversary proceeding Filed in the Chapter 11 Cases. The Liquidation Trust, as a
         successor in interest to the Debtors, the Estates, and the Contributing Claimants, may, and will
         have the exclusive right, power, and interest on behalf of itself, the Debtors, the Estates, and the
         Contributing Claimants to, enforce, sue on, settle, compromise, transfer, or assign (or decline to
         do any of the foregoing) any or all of the Liquidation Trust Actions without notice to or approval
         from the Bankruptcy Court. In accordance with the Plan, and pursuant to Bankruptcy Code
         section 363 and Bankruptcy Rule 9019, without any further notice to or action, order, or approval
         of the Bankruptcy Court, from and after the Effective Date, the Liquidation Trust may
         compromise and settle Liquidation Trust Actions.

                                (b)    Preservation of All Liquidation Trust Actions Not Expressly
                                       Settled or Released

                 The failure to specifically identify in the Disclosure Statement or the Plan any potential
         or existing Avoidance Actions or Causes of Action as a Liquidation Trust Action is not intended
         to and shall not limit the rights of the Liquidation Trust to pursue any such Avoidance Actions or
         Causes of Action. Unless a Liquidation Trust Action is expressly waived, relinquished, released,
         compromised, or settled in the Plan or any Final Order (including the Confirmation Order), the
         Debtors expressly reserve such Liquidation Trust Action for later resolution by the Liquidation
         Trust (including any Avoidance Actions or Causes of Action not specifically identified or of
         which the Debtors may presently be unaware or that may arise or exist by reason of additional
         facts or circumstances unknown to the Debtors at this time or facts or circumstances that may
         change or be different from those the Debtors now believe to exist). As such, no preclusion
         doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
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         preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches will apply to any such
         Avoidance Actions or Causes of Action upon or after Confirmation of the Plan based on the
         Disclosure Statement, the Plan, or the Confirmation Order, except when such Avoidance Actions
         or Causes of Action have been expressly released. In addition, the right to pursue or adopt any
         claims alleged in any lawsuit in which any Debtor, the Liquidation Trust, or the Wind-Down
         Entity is a plaintiff, defendant, or an interested party is fully reserved as against any Person that
         is not a Released Party, including the plaintiffs or co-defendants in such lawsuits

                        7.      Cancellation of Instruments

                 Except to the extent necessary to give effect to the treatment of any Holder of an Allowed
         Class 1 Claim pursuant to Section 3.2 of the Plan and except with respect to any executory
         contracts and unexpired leases that are assumed and assigned to the Wind-Down Entity under the
         Plan or otherwise assumed and assigned pursuant to a Final Order, any agreement, bond,
         certificate, contract, indenture, lease, note, security, warrant, or other instrument or document
         evidencing or creating any indebtedness or obligation of the Debtors shall be deemed cancelled
         on the Effective Date, and all Liens, mortgages, pledges, grants, trusts, and other interests
         relating thereto shall be automatically cancelled, and all obligations of the Debtors thereunder or
         in any way related thereto shall be discharged.

                        8.      Substantive Consolidation

                (a)     Entry of the Confirmation Order shall constitute the approval, pursuant to
         Bankruptcy Code sections 105(a), 541, 1123, and 1129, of the substantive consolidation of the
         Debtors in the manner set forth in Section 3.11.2(c) of the Plan. Notwithstanding such
         substantive consolidation, however, fees payable pursuant to 28 U.S.C. § 1930 shall be due and
         payable by each individual Debtor through the Effective Date.

                  (b)    The substantive consolidation effected pursuant to the Plan shall not affect,
         without limitation, (i) the Debtors’, the Wind-Down Entity’s, or the Liquidation Trust’s defenses
         to any Claim or Cause of Action, including the ability to assert any counterclaim; (ii) the
         Debtors’, the Wind-Down Entity’s, or the Liquidation Trust’s setoff or recoupment rights;
         (iii) requirements for any third party to establish mutuality prior to substantive consolidation in
         order to assert a right of setoff against the Debtors, the Wind-Down Entity, or the Liquidation
         Trust; or (iv) distributions to the Debtors, the Estates, the Wind-Down Entity, or the Liquidation
         Trust out of any insurance policies or proceeds of such policies.

                 (c)    The Disclosure Statement and the Plan shall be deemed to be a motion requesting
         that the Bankruptcy Court approve the substantive consolidation contemplated by the Plan.
         Unless an objection to the proposed substantive consolidation is made in writing by any Creditor
         purportedly affected by such substantive consolidation on or before the deadline to object to
         confirmation of the Plan, or such other date as may be fixed by the Bankruptcy Court, the
         substantive consolidation contemplated by the Plan may be approved by the Bankruptcy Court at
         the Confirmation Hearing. In the event any such objections are timely filed, a hearing with
         respect thereto shall be scheduled by the Bankruptcy Court, which hearing may, but need not, be
         the Confirmation Hearing.


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                  (d)    If the Bankruptcy Court determines that substantive consolidation of any given
         Debtors is not appropriate, then the Debtors may request that the Bankruptcy Court otherwise
         confirm the Plan and approve the treatment of and Distributions to the different Classes under
         the Plan on an adjusted, Debtor-by-Debtor basis. Furthermore, the Debtors reserve their rights
         (i) to seek confirmation of the Plan without implementing substantive consolidation of any given
         Debtor, and, in the Debtors’ reasonable discretion after consultation with each of the
         Committees, to request that the Bankruptcy Court approve the treatment of and Distributions to
         any given Class under the Plan on an adjusted, Debtor-by-Debtor basis; and (ii) after
         consultation with each of the Committees, to seek to substantively consolidate all Debtors into
         Woodbridge Group of Companies, LLC if all Impaired Classes entitled to vote on the Plan vote
         to accept the Plan.

                    I.      Executory Contracts and Unexpired Leases

                            1.    Assumption of Certain Executory Contracts and Unexpired Leases

                                  (a)   Assumption of Agreements

                 On the Effective Date, the Debtors shall assume all executory contracts and unexpired
         leases that are listed on the Schedule of Assumed Agreements and shall assign such contracts
         and leases to the Wind-Down Entity.

                 The Debtors reserve the right to amend the Schedule of Assumed Agreements at any time
         prior to the Effective Date, in the Debtors’ reasonable discretion after consultation with each of
         the Committees, (i) to delete any executory contract or unexpired lease and provide for its
         rejection under the Plan or otherwise, or (ii) to add any executory contract or unexpired lease and
         provide for its assumption and assignment under the Plan. The Debtors will provide notice of any
         amendment to the Schedule of Assumed Agreements to the party or parties to those agreements
         affected by the amendment.

                 Unless otherwise specified on the Schedule of Assumed Agreements, each executory
         contract and unexpired lease listed or to be listed therein shall include any and all modifications,
         amendments, supplements, restatements, or other agreements made directly or indirectly by any
         agreement, instrument, or other document that in any manner affects such executory contract or
         unexpired lease, without regard to whether such agreement, instrument, or other document is also
         listed on the Schedule of Assumed Agreements.

                 The Confirmation Order will constitute a Bankruptcy Court order approving the
         assumption and assignment, on the Effective Date, of all executory contracts and unexpired
         leases identified on the Schedule of Assumed Agreements.

                                  (b)   Cure Payments

                Any amount that must be paid under Bankruptcy Code section 365(b)(1) to cure a default
         under and compensate the non-debtor party to an executory contract or unexpired lease to be
         assumed under the Plan is identified as the “Cure Payment” on the Schedule of Assumed
         Agreements. Unless the parties mutually agree to a different date, such payment shall be made in
         Cash within ten (10) Business Days following the later of: (i) the Effective Date and (ii) entry of
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         a Final Order resolving any disputes regarding (A) the amount of any Cure Payment, (B) the
         ability of the Wind-Down Entity to provide “adequate assurance of future performance” within
         the meaning of Bankruptcy Code section 365 with respect to a contract or lease to be assumed, to
         the extent required, or (C) any other matter pertaining to assumption and assignment.

                Pending the Bankruptcy Court’s ruling on any such dispute, the executory contract or
         unexpired lease at issue shall be deemed assumed by the Debtors and assigned to the Wind-
         Down Entity, unless otherwise agreed by the parties or ordered by the Bankruptcy Court.

                                (c)     Objections to Assumption/Cure Payment Amounts

                 Any Person that is a party to an executory contract or unexpired lease that will be
         assumed and assigned under the Plan and that objects to such assumption or assignment
         (including the proposed Cure Payment) must File with the Bankruptcy Court and serve on parties
         entitled to notice a written statement and, if applicable, a supporting declaration stating the basis
         for its objection. This statement and, if applicable, declaration must be Filed and served on or
         before the deadline established by the Disclosure Statement Order. Any Person that fails to
         timely File and serve such a statement and, if applicable, a declaration shall be deemed to waive
         any and all objections to the proposed assumption and assignment (including the proposed Cure
         Payment) of its contract or lease.

                 In the absence of a timely objection by a Person that is a party to an executory contract or
         unexpired lease, the Confirmation Order shall constitute a conclusive determination regarding
         the amount of any cure and compensation due under the applicable executory contract or
         unexpired lease, as well as a conclusive finding that the Wind-Down Entity has demonstrated
         adequate assurance of future performance with respect to such executory contract or unexpired
         lease, to the extent required.

                                (d)     Resolution of Claims Relating to Assumed Contracts and
                                        Leases

                 Payment of the Cure Payment established under the Plan, by the Confirmation Order, or
         by any other order of the Bankruptcy Court, with respect to an assumed and assigned executory
         contract or unexpired lease, shall be deemed to satisfy, in full, any prepetition or postpetition
         arrearage or other Claim (including any Claim asserted in a Filed proof of claim or listed on the
         Schedules) with respect to such contract or lease (irrespective of whether the Cure Payment is
         less than the amount set forth in such proof of claim or the Schedules). Upon the tendering of the
         Cure Payment, any such Filed or Scheduled Claim shall be disallowed with prejudice, without
         further order of the Bankruptcy Court or action by any Person.

                        2.      Rejection of Executory Contracts and Unexpired Leases

                                (a)     Rejected Agreements

                 On the Effective Date all executory contracts and unexpired leases of the Debtors shall be
         rejected except for (i) executory contracts and unexpired leases that have been previously
         assumed or rejected by the Debtors, (ii) executory contracts and unexpired leases that are set
         forth in the Schedule of Assumed Agreements, and (iii) any agreement, obligation, security
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         interest, transaction, or similar undertaking that the Debtors believe is not executory or a lease,
         but that is later determined by the Bankruptcy Court to be an executory contract or unexpired
         lease that is subject to assumption or rejection under Bankruptcy Code section 365. For the
         avoidance of doubt, executory contracts and unexpired leases that have been previously assumed
         or assumed and assigned pursuant to an order of the Bankruptcy Court shall not be affected by
         the Plan. The Confirmation Order will constitute a Bankruptcy Court order approving the
         rejection, on the Effective Date, of the executory contracts and unexpired leases to be rejected
         under the Plan.

                                     (b)     Rejection Claims Bar Date

                 Any Rejection Claim or other Claim for damages arising from the rejection under the
         Plan of an executory contract or unexpired lease must be Filed and served no later than the
         Rejection Claims Bar Date. Any such Rejection Claims that are not timely Filed and served will
         be forever disallowed, barred, and unenforceable, and Persons holding such Claims will not
         receive and be barred from receiving any Distributions on account of such untimely Claims. If
         one or more Rejection Claims are timely Filed pursuant to the Plan, the Liquidation Trust may
         object to any Rejection Claim on or prior to the Claim Objection Deadline. For the avoidance of
         doubt, the Rejection Claims Bar Date established by the Plan does not alter any rejection claims
         bar date established by a prior order of the Bankruptcy Court with respect to any executory
         contract or unexpired leases that was previously rejected in these Chapter 11 Cases.

                    J.        Conditions Precedent to the Effective Date

                              1.     Conditions to the Effective Date

                The occurrence of the Effective Date shall not occur and the Plan shall not be
         consummated unless and until each of the following conditions has been satisfied or duly waived
         pursuant to Section 9.2 of the Plan:

                    (i)       the Bankruptcy Court shall have entered the Confirmation Order;

                    (ii)      the Confirmation Order shall not be subject to any stay;

                 (iii)   all governmental and material third-party approvals and consents necessary in
         connection with the transactions contemplated by the Plan, if any, shall have been obtained and
         be in full force and effect;

                (iv)    all actions and all agreements, instruments, or other documents necessary to
         implement the terms and provisions of the Plan are effected or executed and delivered, as
         applicable; and

                    (v)       the Professional Fee Reserve is funded pursuant to Section 11.2 of the Plan.




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                            2.    Waiver of Conditions to the Effective Date

                The conditions to the Effective Date set forth in clauses (iii) and (iv) above may be
         waived in writing by the Debtors, in the Debtors’ reasonable discretion after consultation with
         each of the Committees, at any time without further order.

                            3.    Effect of Non-Occurrence of Conditions to the Effective Date

                If each of the conditions to the Effective Date is not satisfied or duly waived in
         accordance with Sections 9.1 and 9.2 of the Plan, upon notification Filed by the Debtors with the
         Bankruptcy Court, (i) the Confirmation Order shall be vacated; (ii) no Distributions shall be
         made; (iii) the Debtors, the Estates, and all Creditors shall be restored to the status quo as of the
         day immediately preceding the Confirmation Hearing as though the Confirmation Order was not
         entered; and (iv) all of the Debtors’ and the Estates’ obligations with respect to Claims shall
         remain unchanged and nothing contained in the Plan shall constitute a waiver or release of any
         Causes of Action by or against the Debtors, the Estates, or any other Person or prejudice in any
         manner the rights, claims, or defenses of the Debtors, the Estates, or any other Person.

                            4.    Notice of the Effective Date

                 Promptly after the occurrence of the Effective Date, the Liquidation Trust or its agents
         shall mail or cause to be mailed to all Creditors a notice that informs such Creditors of (i) entry
         of the Confirmation Order and the resulting confirmation of the Plan; (ii) the occurrence of the
         Effective Date; (iii) the assumption, assignment, and rejection of executory contracts and
         unexpired leases pursuant to the Plan, as well as the deadline for the filing of resulting Rejection
         Claims; (iv) the deadline established under the Plan for the filing of Administrative Claims; and
         (v) such other matters as the Liquidation Trustee finds appropriate.

                    K.      Certain Miscellaneous Provisions

                            1.    Administrative Claims

               Subject to the last sentence of this paragraph, all requests for payment of an
         Administrative Claim must be Filed with the Bankruptcy Court no later than the
         Administrative Claims Bar Date. In the event of an objection to Allowance of an
         Administrative Claim, the Bankruptcy Court shall determine the Allowed amount of such
         Administrative Claim. THE FAILURE TO FILE A MOTION REQUESTING
         ALLOWANCE OF AN ADMINISTRATIVE CLAIM ON OR BEFORE THE
         ADMINISTRATIVE CLAIMS BAR DATE, OR THE FAILURE TO SERVE SUCH
         MOTION TIMELY AND PROPERLY, SHALL RESULT IN THE ADMINISTRATIVE
         CLAIM BEING FOREVER BARRED AND DISALLOWED WITHOUT FURTHER
         ORDER OF THE BANKRUPTCY COURT. IF FOR ANY REASON ANY SUCH
         ADMINISTRATIVE CLAIM IS INCAPABLE OF BEING FOREVER BARRED AND
         DISALLOWED, THEN THE HOLDER OF SUCH CLAIM SHALL IN NO EVENT
         HAVE RECOURSE TO ANY PROPERTY TO BE DISTRIBUTED PURSUANT TO THE
         PLAN. Postpetition statutory tax claims shall not be subject to any Administrative Claims
         Bar Date.

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                        2.     Professional Fee Claims

                 All final requests for payment of Professional Fee Claims pursuant to Bankruptcy Code
         sections 327, 328, 330, 331, 363, 503(b), or 1103 must be made by application Filed with the
         Bankruptcy Court and served on counsel to the Liquidation Trust and counsel to the U.S. Trustee
         no later than forty-five (45) calendar days after the Effective Date, unless otherwise ordered by
         the Bankruptcy Court. Objections to such applications must be Filed and served on counsel to the
         Liquidation Trust, counsel to the U.S. Trustee, and the requesting Professional on or before the
         date that is twenty-one (21) calendar days after the date on which the applicable application was
         served (or such longer period as may be allowed by order of the Bankruptcy Court or by
         agreement with the requesting Professional). All Professional Fee Claims shall be paid by the
         Liquidation Trust to the extent approved by order of the Bankruptcy Court within five (5)
         Business Days after entry of such order. On the Effective Date, the Liquidation Trust shall
         establish the Professional Fee Reserve. The Professional Fee Reserve shall vest in the
         Liquidation Trust and shall be maintained by the Liquidation Trust in accordance with the Plan.
         The Liquidation Trust shall fully fund the Professional Fee Reserve on the Effective Date in an
         amount that is agreed upon by the Debtors and each of the Committees prior to the Confirmation
         Hearing and that approximates the total projected amount of unpaid Professional Fee Claims on
         the Effective Date. If the Debtors and the Committees are unable to agree on an amount by
         which the Professional Fee Reserve is to be funded, then any of those parties may submit the
         issue to the Bankruptcy Court, which, following notice and a hearing, shall fix the amount of the
         required funding. All Professional Fee Claims that have not previously been paid, otherwise
         satisfied, or withdrawn shall be paid from the Professional Fee Reserve. Any excess funds in the
         Professional Fee Reserve shall be released to the Liquidation Trust to be used for other purposes
         consistent with the Plan. For the avoidance of doubt, the Professional Fee Reserve is an estimate
         and shall not be construed as a cap on the Liquidation Trust’s obligation to pay in full Allowed
         Professional Fee Claims.

                        3.     Payment of Statutory Fees

                 All fees payable pursuant to 28 U.S.C. § 1930, as determined by the Bankruptcy Court at
         the Confirmation Hearing, shall be paid by the Debtors on or before the Effective Date. All such
         fees that arise after the Effective Date shall be paid by the Liquidation Trust. Notwithstanding
         the foregoing: (i) for the Remaining Debtors, quarterly fees for the quarter in which the Effective
         Date occurs will be calculated on the basis of all Estate Assets being distributed to the
         Liquidation Trust and the Wind-Down Entity on the Effective Date in the Chapter 11 Cases of
         the Remaining Debtors; (ii) for all other Debtors, quarterly fees for the quarter in which the
         Effective Date occurs will be calculated on the basis of disbursements (if any) made by such
         Debtors prior to the Effective Date; and (iii) quarterly fees for each quarter after the quarter in
         which the Effective Date occurs will be $325.00 for any Remaining Debtors through the entry of
         the Final Decree for any of the Remaining Debtors or the dismissal or conversion of the Chapter
         11 Cases regarding the Remaining Debtors. Notwithstanding anything to the contrary in the Plan,
         the U.S. Trustee shall not be required to file any proofs of claim with respect to quarterly fees
         payable pursuant to 28 U.S.C. § 1930.



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                        4.      Post-Effective Date Reporting

                 (a)    Beginning the first quarter-end following the Effective Date and continuing on
         each quarter-end thereafter until the Closing Date, within thirty (30) calendar days after the end
         of such period, the Liquidation Trust shall File quarterly reports with the Bankruptcy Court. Each
         quarterly report shall contain a cash flow statement which shall show Distributions by Class
         during the prior quarter, an unaudited balance sheet, the terms of any settlement of an individual
         Claim in an amount greater than $100,000, the terms of any litigation settlement where the Cause
         of Action or the Liquidation Trust Action was greater than $100,000 or the settlement is for more
         than $100,000, the terms of any sale of Estate Assets where the proceeds of such sale are
         $100,000 or greater, and such other information as the Liquidation Trust determines is material.

                (b)     Until the effectiveness of an Exchange Act Registration for the Class A
         Liquidation Trust Interests, the Liquidation Trust shall, as soon as practicable after the end of
         each calendar year and upon termination of the Liquidation Trust, provide or make available a
         written report and account to the Holders of Liquidation Trust Interests, which report and
         account sets forth (i) the assets and liabilities of the Liquidation Trust at the end of such calendar
         year or upon termination and the receipts and disbursements of the Liquidation Trust for such
         calendar year or period, and (ii) changes in the Liquidation Trust Assets and actions taken by the
         Liquidation Trustee in the performance of its duties under the Plan or the Liquidation Trust
         Agreement that the Liquidation Trustee determines in its discretion may be relevant to Holders
         of Liquidation Trust Interests, such as material changes or actions that, in the opinion of the
         Liquidation Trustee, may have a material effect on the Liquidation Trust Assets that were not
         previously reported. The Liquidation Trust may provide or make available to Holders of
         Liquidation Trust Interests similar reports for such interim periods during the calendar year as
         the Liquidation Trustee deems advisable. So long as no Exchange Act Registration for the Class
         A Liquidation Trust Interests shall have become effective, such reports may be provided or made
         available to the Holders of Liquidation Trust Interests, in the discretion of the Liquidation
         Trustee, by any reasonable means, including U.S. mail, electronic transmission, display on
         IntraLinks or a similar virtual data room to which Holders shall have access, or publication to a
         publicly-available website or by press release distributed via a generally recognized business
         news service.

                 (c)     Following the effectiveness of an Exchange Act Registration for the Class A
         Liquidation Trust Interests, the Liquidation Trust shall provide or make available to the Holders
         of Liquidation Trust Interests, either by publication to a publicly-available website or by press
         release distributed via a generally recognized business news service, copies of all current reports
         on Form 8-K, quarterly reports on Form 10-Q, and annual reports on Form 10-K that may be
         required to be filed by the Liquidation Trust with the SEC under the Exchange Act, which copies
         are to be so provided or made available promptly after such filing.

                        5.      Dissolution of the Committees

                 Each of the Committees shall be automatically dissolved on the Effective Date and, on
         the Effective Date, each member of the Committees (including each Related Party thereof) and
         each Professional retained by any of the Committees shall be released and discharged from all
         rights, duties, responsibilities, and obligations arising from, or related to, the Debtors, their
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         membership on any of the Committees, the Plan, or the Chapter 11 Cases, except with respect to
         (a) any matters concerning any Professional Fee Claims held or asserted by any Professional
         retained by any of the Committees; and (b) the right of former Noteholder Committee and
         Unitholder Committee members to select a successor Noteholder Committee or Unitholder
         Committee designee, respectively, on the Liquidation Trust Supervisory Board.

                        6.      Modifications and Amendments

                 (a)      In the Debtors’ reasonable discretion after consultation with each of the
         Committees, the Debtors may alter, amend, or modify the Plan under Bankruptcy Code section
         1127(a) at any time at or prior to the conclusion of the Confirmation Hearing. All alterations,
         amendments, or modifications to the Plan must comply with Bankruptcy Code section 1127. The
         Debtors shall provide parties in interest with notice of such amendments or modifications as may
         be required by the Bankruptcy Rules or order of the Bankruptcy Court. A Creditor that has
         accepted the Plan shall be deemed to have accepted the Plan, as altered, amended, modified, or
         clarified, if the proposed alteration, amendment, modification, or clarification does not materially
         and adversely change the treatment of the Claim of such Creditor.

                 (b)    After entry of the Confirmation Order and prior to substantial consummation (as
         defined in Bankruptcy Code section 1101(2)) of the Plan, the Debtors or the Liquidation Trust,
         as applicable, may, under Bankruptcy Code section 1127(b), institute proceedings in the
         Bankruptcy Court to remedy any defect or omission or to reconcile any inconsistencies in the
         Plan, the Disclosure Statement approved with respect to the Plan, or the Confirmation Order, and
         such matters as may be necessary to carry out the purpose and effect of the Plan so long as such
         proceedings do not adversely affect the treatment of Holders of Claims under the Plan. Such
         proceedings must comply with Bankruptcy Code section 1127. To the extent required, prior
         notice of such proceedings shall be served in accordance with the Bankruptcy Rules or an order
         of the Bankruptcy Court. A Creditor that has accepted the Plan shall be deemed to have accepted
         the Plan, as altered, amended, modified, or clarified, if the proposed alteration, amendment,
         modification, or clarification does not materially and adversely change the treatment of the
         Claim of such Creditor.

                        7.      Severability of Plan Provisions

                 If, at or before the Confirmation Hearing, the Bankruptcy Court holds that any Plan term
         or provision is invalid, void, or unenforceable, the Bankruptcy Court may alter or interpret that
         term or provision so that it is valid and enforceable to the maximum extent possible consistent
         with the original purpose of that term or provision. That term or provision will then be applicable
         as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the
         Plan’s remaining terms and provisions will remain in full force and effect and will in no way be
         affected, impaired, or invalidated. The Confirmation Order will constitute a judicial
         determination providing that each Plan term and provision, as it may have been altered or
         interpreted in accordance with Section 11.7 of the Plan, is valid and enforceable under its terms.




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                        8.     Compromises and Settlements

                From and after the Effective Date, the Liquidation Trust may compromise and settle
         disputes about any Claims or about any Liquidation Trust Actions, without any further approval
         by the Bankruptcy Court. Until the Effective Date, the Debtors expressly reserve the right to
         compromise and settle (subject to the approval of the Bankruptcy Court) Claims against them or
         any Avoidance Actions and Causes of Action belonging to the Estates.

                        9.     Binding Effect of Plan

                 Upon the Effective Date, Bankruptcy Code section 1141 shall become applicable with
         respect to the Plan and the Plan shall be binding on all Persons to the fullest extent permitted by
         Bankruptcy Code section 1141(a). Confirmation of the Plan binds each Holder of a Claim or
         Equity Interest to all the terms and conditions of the Plan, whether or not such Holder’s Claim or
         Equity Interest is Allowed, whether or not such Holder holds a Claim or Equity Interest that is in
         a Class that is Impaired under the Plan, and whether or not such Holder has accepted the Plan.

                        10.    Non-Discharge of the Debtors; Injunction

                In accordance with Bankruptcy Code section 1141(d)(3)(A), the Plan does not
         discharge the Debtors. Bankruptcy Code section 1141(c) nevertheless provides, among
         other things, that the property dealt with by the Plan is free and clear of all Claims and
         Equity Interests against the Debtors. As such, no Person holding a Claim or an Equity
         Interest may receive any payment from, or seek recourse against, any assets that are to be
         distributed under the Plan other than assets required to be distributed to that Person
         under the Plan. As of the Effective Date, all Persons are precluded and barred from
         asserting against any property to be distributed under the Plan any Claims, rights, Causes
         of Action, liabilities, Equity Interests, or other action or remedy based on any act, omission,
         transaction, or other activity that occurred before the Effective Date except as expressly
         provided in the Plan or the Confirmation Order.

                        11.    Releases and Related Matters

                  (a)  On the Effective Date, for good and valuable consideration, the adequacy of
         which is hereby confirmed, each of the Releasing Parties shall be deemed to have forever
         released, waived, and discharged each of the Released Parties from any and all claims,
         obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, and
         liabilities whatsoever, whether known or unknown, whether foreseen or unforeseen,
         whether liquidated or unliquidated, whether fixed or contingent, whether matured or
         unmatured, existing or hereafter arising, at law, in equity, or otherwise, that are based in
         whole or in part on any act, omission, transaction, event, or other occurrence taking place
         on or prior to the Effective Date in any way relating to the Debtors, the conduct of the
         Debtors’ business, the Chapter 11 Cases, or the Plan, except for acts or omissions that are
         determined in a Final Order to have constituted actual fraud or willful misconduct;
         provided, however, that nothing in Section 11.11 of the Plan shall release or otherwise
         affect any Person’s rights under the Plan or the Confirmation Order.


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                (b)     Entry of the Confirmation Order shall constitute (i) the Bankruptcy Court’s
         approval, pursuant to Bankruptcy Rule 9019, of the releases set forth in Section 11.11 of
         the Plan; and (ii) the Bankruptcy Court’s findings that such releases are (1) in exchange for
         good and valuable consideration provided by the Released Parties (including performance
         of the terms of the Plan), and a good-faith settlement and compromise of the released
         claims, (2) in the best interests of the Debtors, the Estates, and any Holders of Claims that
         are Releasing Parties, (3) fair, equitable, and reasonable, (4) given and made after due
         notice and opportunity for hearing, and (5) a bar to any of the Releasing Parties asserting
         any released claim against any of the Released Parties.

                 (c)    Notwithstanding any provision in the Plan to the contrary or an abstention
         from voting on the Plan, no provision of the Plan, or any order confirming the Plan,
         (i) releases any non-debtor Person from any Cause of Action of the SEC; or (ii) enjoins,
         limits, impairs, or delays the SEC from commencing or continuing any Causes of Action,
         proceedings, or investigations against any non-debtor Person in any forum.

                       12.     Exculpation and Limitation of Liability

                On the Effective Date, for good and valuable consideration, the adequacy of which is
         hereby confirmed, to the maximum extent permitted by law, none of the Exculpated
         Parties shall have or incur any liability to any Person, including to any Holder of a Claim
         or an Equity Interest, for any prepetition or postpetition act or omission in connection
         with, relating to, or arising out of the Debtors, the Chapter 11 Cases, the formulation,
         negotiation, preparation, dissemination, solicitation of acceptances, implementation,
         confirmation, or consummation of the Plan, the Disclosure Statement, or any contract,
         instrument, release, or other agreement or document created, executed, or contemplated in
         connection with the Plan, or the administration of the Plan or the property to be
         distributed under the Plan; provided, however, that nothing in Section 11.12 of the Plan
         shall release or otherwise affect any Person’s rights under the Plan or the Confirmation
         Order; and provided, further, that the exculpation provisions of Section 11.12 of the Plan
         shall not apply to acts or omissions constituting actual fraud or willful misconduct by such
         Exculpated Party as determined by a Final Order. For purposes of the foregoing, it is
         expressly understood that any act or omission effected with the approval of the Bankruptcy
         Court conclusively will be deemed not to constitute actual fraud or willful misconduct
         unless the approval of the Bankruptcy Court was obtained by fraud or misrepresentation,
         and in all respects, the Exculpated Parties shall be entitled to rely on the written advice of
         counsel with respect to their duties and responsibilities under, or in connection with, the
         Chapter 11 Cases, the Plan, and administration thereof. The Confirmation Order shall
         serve as a permanent injunction against any Person seeking to enforce any Causes of
         Action against the Exculpated Parties that are encompassed by the exculpation provided by
         Section 11.12 of the Plan.

                       13.     Term of Injunctions or Stays

                 Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
         stays in the Chapter 11 Cases under Bankruptcy Code sections 105 or 362 or otherwise, and
         extant as of the Confirmation Hearing (excluding any injunctions or stays contained in or arising
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         from the Plan or the Confirmation Order), shall remain in full force and effect through and
         inclusive of the Effective Date.



                        14.    Revocation, Withdrawal, or Non-Consummation

                 The Debtors reserve the right to revoke or withdraw the Plan at any time prior to the
         Confirmation Hearing and to File subsequent plans. If the Debtors revoke or withdraw the Plan
         prior to the Confirmation Hearing, or if the Effective Date does not occur, then (a) the Plan shall
         be null and void in all respects; and (b) nothing contained in the Plan, and no acts taken in
         preparation for consummation of the Plan, shall (i) constitute or be deemed to constitute a waiver
         or release of any Claims against, or any Equity Interests in, any Debtor, or any Causes of Action
         by or against any Debtor or any other Person, (ii) prejudice in any manner the rights of any
         Debtor or any other Person in any further proceedings involving a Debtor, or (iii) constitute an
         admission of any sort by any Debtor or any other Person.

                        15.    Exemption From Transfer Taxes

                 Pursuant to Bankruptcy Code section 1146, the vesting of the Liquidation Trust Assets in
         the Liquidation Trust, the vesting of the Wind-Down Assets in the Wind-Down Entity, the
         issuance, transfer, or exchange of notes or equity securities under the Plan, the creation of any
         mortgage, deed of trust, lien, pledge, or other security interest, or the making or assignment of
         any lease or sublease, or making or delivery of any deed or other instrument of transfer under, in
         furtherance of, or in connection with the Plan, shall not be subject to any stamp, real estate
         transfer, mortgage recording, or other similar tax.

                        16.    Good Faith

                 Confirmation of the Plan shall constitute a conclusive determination that: (a) the Plan,
         and all the transactions and settlements contemplated thereby, have been proposed in good faith
         and in compliance with all applicable provisions of the Bankruptcy Code and the Bankruptcy
         Rules; and (b) the solicitation of acceptances or rejections of the Plan has been in good faith and
         in compliance with all applicable provisions of the Bankruptcy Code, and the Bankruptcy Rules,
         and, in each case, that the Debtors and all Related Parties have acted in good faith in connection
         therewith.

                        17.    Conflicts

                 In the event and to the extent that any provision of the Plan is inconsistent with the
         provisions of the Disclosure Statement, any other order entered in the Chapter 11 Cases, or any
         other agreement to be executed by any Person pursuant to the Plan, the provisions of the Plan
         shall control and take precedence; provided, however, that the Confirmation Order shall control
         and take precedence in the event of any inconsistency between the Confirmation Order, any
         provision of the Plan, and any of the foregoing documents.



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                                               V.     RISK FACTORS

                 Prior to voting on the Plan, each Holder of a Claim entitled to vote should consider
         carefully the risk factors described below, as well as all other information contained in this
         Disclosure Statement, including the exhibits hereto. These risk factors should not be regarded as
         the only risks involved in connection with the Plan and its implementation.

                    A.      Parties May Object to the Plan’s Classification of Claims and Equity
                            Interests

                 Bankruptcy Code section 1122 provides that a plan may place a claim or an interest in a
         particular class only if such claim or interest is substantially similar to the other claims or
         interests in such class. The Debtors believe that the classification of the Claims and Equity
         Interests under the Plan complies with this requirement. Nevertheless, there can be no assurance
         that the Bankruptcy Court will reach the same conclusion.

                    B.      The Debtors May Not Be Able to Obtain Confirmation of the Plan

                 With regard to any proposed plan, the Debtors may not receive the requisite acceptances
         to confirm a plan. In the event that votes with respect to Claims in the Classes entitled to vote are
         received in number and amount sufficient to enable the Bankruptcy Court to confirm the Plan,
         the Debtors intend to seek Confirmation of the Plan by the Bankruptcy Court. If the requisite
         acceptances are not received, the Debtors may not be able to obtain Confirmation of the Plan.
         Even if the requisite acceptances of a proposed plan are received, the Bankruptcy Court still
         might not confirm the Plan as proposed if the Bankruptcy Court finds that any of the statutory
         requirements for confirmation under Bankruptcy Code section 1129 have not been met.

                 If the Plan is not confirmed by the Bankruptcy Court, there can be no assurance that any
         alternative plan would be on terms as favorable to any Holders of Claims as the terms of the
         Plan. In addition, there can be no assurance that the Debtors will be able to successfully develop,
         prosecute, confirm, and consummate an alternative plan that is acceptable to the Bankruptcy
         Court and the Debtors’ creditors.

                    C.      The Conditions Precedent to the Effective Date of the Plan May Not Occur

                 As more fully set forth in the Plan, the Effective Date is subject to several conditions
         precedent. There can be no assurance that any or all of such conditions will be satisfied (or
         waived). If such conditions precedent are not met or waived, the Effective Date will not occur.
         Accordingly, even if the Plan is confirmed by the Bankruptcy Court, there can be no assurance
         that the Effective Date will occur.

                    D.      Claims Estimation and Allowance of Claims

                 There can be no assurance that the estimated Claim amounts set forth in this Disclosure
         Statement are correct, and the actual amount of Allowed Claims may differ significantly from
         the estimates. The estimated amounts are subject to certain risks, uncertainties, and assumptions.
         Should one or more of these risks or uncertainties materialize, or should underlying assumptions
         prove incorrect, the actual amount of Allowed Claims may vary from those estimated herein.
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                 Distributions to Holders of Allowed Class 3, Class 4, and Class 5 Claims will be affected
         by the pool of Allowed Claims in each respective Class. Upon completion of further analysis of
         Filed Claims, which will likely lead to Claims objection litigation and related matters, the total
         amount of Claims that ultimately become Allowed Claims in each of the foregoing Classes may
         differ from the Debtors’ estimates, which are reflected in this Disclosure Statement, and such
         difference could be material. As a result, the amount of Distributions that may be received by a
         particular Holder of an Allowed Claim may be either adversely or favorably affected by the
         aggregate amount of Class 3, Class 4, or Class 5 Claims ultimately Allowed.

                    E.      Potential Pursuit of Liquidation Trust Actions Against Creditors and Others

                In accordance with Bankruptcy Code section 1123(b), after the Effective Date, the
         Liquidation Trustee shall have and retain and may enforce any Liquidation Trust Actions.
         Accordingly, a Holder of a Claim may be subject to one or more such Liquidation Trust Actions
         being asserted against it.

                 The failure to specifically identify in the Disclosure Statement or the Plan any potential
         or existing Avoidance Actions or Causes of Action as a Liquidation Trust Action is not intended
         to and shall not limit the rights of the Liquidation Trust to pursue any such Avoidance Actions or
         Causes of Action. The Debtors expressly reserve all Avoidance Actions and Causes of Action,
         other than those Avoidance Actions and Causes of Action that are expressly waived,
         relinquished, released, compromised, or settled in the Plan, pursuant to the Confirmation Order,
         or pursuant to any other order of the Bankruptcy Court, as Liquidation Trust Actions for later
         adjudication, and no preclusion doctrine (including the doctrines of res judicata, collateral
         estoppel, judicial estoppel, equitable estoppel, issue preclusion, claim preclusion, and laches)
         shall apply to such Avoidance Actions or Causes of Action as Liquidation Trust Actions on or
         after the Effective Date.

                 Moreover, no Person may rely on the absence of a specific reference in the Plan, the
         Confirmation Order, the Liquidation Trust Agreement, or the Disclosure Statement to any
         Contributed Claims against such Person as any indication that the Liquidation Trust will not
         pursue any and all available Contributed Claims against such Person. The objection to the
         Allowance of any Claims will not in any way limit the ability or the right of the Liquidation
         Trust to assert, commence, or prosecute any Contributed Claims. Nothing contained in the Plan,
         the Confirmation Order, the Liquidation Trust Agreement, or the Disclosure Statement will be
         deemed to be a waiver, release, or relinquishment of any Contributed Claims which the
         Contributing Claimants had immediately prior to the Effective Date. The Liquidation Trust shall
         have, retain, reserve, and be entitled to assert all Contributed Claims fully as if the Contributed
         Claims had not been contributed to the Liquidation Trust in accordance with the Plan and the
         Liquidation Trust Agreement.

                Without limiting the generality of the preceding two paragraphs and associated
         reservations, the Debtors note that all parties in interest should review Exhibit D, which is a
         non-exclusive analysis of the Liquidation Trust Actions that are being preserved under the Plan.




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                    F.      Risks Regarding Real Estate

                 The Plan relies, in large part, on the Wind-Down Entity generating proceeds from real
         estate sales to produce Cash for remittance to the Liquidation Trust for distribution to creditors.
         In the event that sales are delayed, costs incurred with respect to real property prior to sale
         exceed estimates, or markets decline due to economic conditions or other constraints, payments
         may be correspondingly delayed.

                 The Wind-Down Entity’s ability to monetize the Wind-Down Assets is subject to certain
         risks associated with the real estate industry in general, including: local, national, and
         international economic conditions; the supply and demand for properties, particularly high-end
         properties of the sort owned by the Debtors; the financial conditions for tenants, buyers, and
         sellers of properties; changes in interest rates; changes in environmental laws or regulations,
         planning laws and other governmental roles and fiscal and monetary policies; changes in real
         property tax rates and related tax deductions; negative developments in the economy that depress
         travel and retail activity; uninsured casualties; force majeure acts, terrorist events, under-insured
         or uninsurable losses; and other factors that are beyond the reasonable control of the Wind-Down
         Entity. In addition, real estate assets are subject to long-term cyclical trends that can give rise to
         significant volatility in values. Real estate investing and development may be subject to a higher
         degree of market risk because of concentration in a specific industry, sector, or geographic
         sector; here, most of the Wind-Down Assets are located in the greater Los Angeles area. Real
         estate investments may be subject to other general and specific risks, including declines in the
         value of real estate generally, risks related to general and economic conditions, changes in the
         value of the comparable properties, and defaults by real estate borrowers within the particular
         market or the broader economy.

                 Also, a variety of work is projected to be undertaken with respect to the real estate to be
         sold, the cost of which is not susceptible to precise determination. Unexpected conditions at the
         properties, weather, labor issues and a variety of other variables may affect the actual cost of the
         projected work being undertaken and thus affect, potentially adversely, the net proceeds of the
         sales of the real estate.

                    G.      Securities Law Considerations

                There are several material securities law considerations, risks, and uncertainties
         associated with consummation of the Plan. Holders of Claims, Holders of Equity Interests, and
         other interested parties should read carefully the discussion set forth in Article VII for a
         discussion of certain U.S. federal income tax consequences of the transactions contemplated
         under the Plan.

                 Holders of Claims or Equity Interests should consult their own advisors regarding any
         securities law consequences of the treatment of their Claims or Equity Interests under the Plan.

                  Under the terms of the Liquidation Trust Agreement, the Liquidation Trust Interests
         initially will be uncertificated and subject to the Transfer Restrictions as set forth in the
         Liquidation Trust Agreement. Under the Transfer Restrictions, the Liquidation Trust Interests
         cannot be assigned or transferred by any holder thereof other than by will or intestate succession

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         upon the death of such holder or otherwise by operation of law. Accordingly, unless and until
         the Transfer Restrictions lapse or are terminated, Holders of Allowed Class 3 Claims, Allowed
         Class 4 Claims, or Allowed Class 5 Claims will be subject to substantial restrictions on their
         ability to sell or otherwise dispose of their Liquidation Trust Interests and should be prepared to
         retain their Liquidation Trust Interests.

                 The Transfer Restrictions applicable to Class A Liquidation Trust Interests are not
         expected to lapse or be terminated until such time as such Class A Liquidation Trust Interests are
         effectively registered under the Exchange Act. Although the Liquidation Trust is required to use
         its commercially reasonable best efforts to register, and under the Exchange Act may become
         required to register, the Class A Liquidation Trust Interests, no assurance can be given that the
         Liquidation Trust will be able to satisfy all applicable requirements for such Exchange Act
         registration. The Transfer Restrictions applicable to the Class B Liquidation Trust Interests are
         not expected to lapse or be terminated.

                 The Liquidation Trust may, by reason of the amount of its total assets and the number of
         the holders of record of its Liquidation Trust Interests as of the last day of its first fiscal year,
         become subject to the registration requirements of the Exchange Act. It is likely that the
         Liquidation Trust will need to seek relief from or modification of certain technical requirements
         of the Exchange Act (such as the filing of pre-Effective Date financial information of the
         Debtors), which the Liquidation Trust intends to do in connecion with such registration. While
         the Debtors have been advised that such relief and modifications have been granted by the SEC
         in the past with respect to other liquidation trusts formed in connection with chapter 11
         bankruptcies, such relief and modification have not yet been obtained with respect to the
         Liquidation Trust and no assurance can be given that such relief or modification will become
         available. If the Liquidation Trust becomes required to register and fails to do so in accordance
         with the requirements of the Exchange Act, it may become subject to civil fines, injunctive relief
         or other disciplinary action on the part of the SEC.

                 In the event that the Liquidation Trust successfully registers the Class A Liquidation
         Trust Interests or other class of equity securities under Section 12(g) of the Exchange Act, the
         Liquidation Trust is expected to become a reporting issuer under such act. Accordingly, at such
         time the Liquidation Trust will be required to prepare and timely file, as and when required,
         quarterly reports on Form 10-Q, annual reports on Form 10-K, and current report on Form 8-K.
         Additionally, at such time the Liquidation Trust is expected to become subject to all other
         requirements applicable to an issuer with a class of equity securities registered under Section
         12(g). Although such registration of the Class A Liquidation Trust Interests and the following
         termination or modification of the Transfer Restrictions may increase the liquidity of such
         Liquidation Trust Interests, such registration and the Liquidation Trust’s compliance with such
         regulations will impose substantial costs on the Liquidation Trust, and thereby may reduce
         Distributions made in respect of Beneficial Interests to the holders thereof.

                    H.      Tax Considerations

                There are several material income tax considerations, risks, and uncertainties associated
         with consummation of the Plan. Holders of Claims, Holders of Equity Interests, and other

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         interested parties should read carefully the discussion set forth in Article VIII for a discussion of
         certain U.S. federal income tax consequences of the transactions contemplated under the Plan.

                                      VI.    CONFIRMATION OF THE PLAN

                    A.      The Confirmation Hearing

                 Bankruptcy Code section 1128(a) requires the Bankruptcy Court, after notice, to hold a
         hearing regarding Confirmation of the Plan. Bankruptcy Code section 1128(b) provides that any
         party in interest may object to Confirmation of the Plan.

                 The Bankruptcy Court has scheduled the Confirmation Hearing to commence on
         October 24, 2018, at 10:00 a.m. (prevailing Eastern Time), before the Honorable Kevin J.
         Carey, United States Bankruptcy Judge, in the United States Bankruptcy Court for the District of
         Delaware, 824 North Market Street, 5th Floor, Wilmington, Delaware 19801. The Confirmation
         Hearing Notice, which sets forth the time and date of the Confirmation Hearing, has been
         included along with this Disclosure Statement. The Confirmation Hearing may be adjourned
         from time to time without further notice except for an announcement of the adjourned date made
         at the Confirmation Hearing or any adjournment thereof.

                Objections to Confirmation of the Plan must be Filed and served so that they are actually
         received by no later than October 8, 2018, at 4:00 p.m. (prevailing Eastern Time). Unless
         objections to Confirmation of the Plan are timely served and Filed in compliance with the
         Disclosure Statement Order, they may not be considered by the Bankruptcy Court.

                    B.      Requirements for Confirmation of the Plan

                   Among the requirements for the Confirmation of the Plan is that the Plan (i) is accepted
         by all Impaired Classes of Claims, or, if rejected by an Impaired Class of Claims, that the Plan
         “does not discriminate unfairly” and is “fair and equitable” as to such Impaired Class of Claims;
         (ii) is feasible; and (iii) is in the “best interests” of Holders of Claims.

                 At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
         satisfies the requirements of Bankruptcy Code section 1129. The Debtors believe that: (i) the
         Plan satisfies or will satisfy all of the necessary statutory requirements of chapter 11 of the
         Bankruptcy Code; (ii) the Debtors have complied or will have complied with all of the necessary
         requirements of chapter 11 of the Bankruptcy Code; and (iii) the Plan has been proposed in good
         faith. More specifically, the Debtors believe that the Plan satisfies or will satisfy the following
         applicable Confirmation requirements of Bankruptcy Code section 1129:

         •          The Plan complies with the applicable provisions of the Bankruptcy Code.

         •          The Debtors have complied with the applicable provisions of the Bankruptcy Code.

         •          The Plan has been proposed in good faith and not by any means forbidden by law.

         •          Any payment made or promised under the Plan for services or for costs and expenses in,
                    or in connection with, the Chapter 11 Cases, or in connection with the Plan and incident
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                    to the Chapter 11 Cases, has been disclosed to the Bankruptcy Court, and any such
                    payment: (1) made before the Confirmation of the Plan is reasonable; or (2) is subject to
                    the approval of the Bankruptcy Court as reasonable, if it is to be fixed after Confirmation
                    of the Plan.

         •          Either each Holder of a Claim in an Impaired Class of Claims has accepted the Plan, or
                    each such Holder will receive or retain under the Plan on account of such Claim property
                    of a value, as of the Effective Date of the Plan, that is not less than the amount that such
                    Holder would receive or retain if the Debtors were liquidated on the Effective Date of the
                    Plan under chapter 7 of the Bankruptcy Code.

         •          The Classes of Claims that are entitled to vote on the Plan will have accepted the Plan, or
                    at least one Class of Impaired Claims will have accepted the Plan, determined without
                    including any acceptance of the Plan by any insider holding a Claim in that Class, and the
                    plan does not “discriminate unfairly” and is “fair and equitable” with respect to each
                    Class of Claims that is impaired under, and has not accepted, the Plan.

         •          Except to the extent a different treatment is agreed to, the Plan provides that all Allowed
                    Administrative Claims and Allowed Priority Claims will be paid in full on the Effective
                    Date, or as soon thereafter as is reasonably practicable.

         •          All accrued and unpaid fees of the type described in 28 U.S.C. § 1930, including the fees
                    of the U.S. Trustee, will be paid through the Effective Date.

                    C.      Best Interests of Creditors

                 Often called the “best interests of creditors” test, Bankruptcy Code section 1129(a)(7)
         requires that a bankruptcy court find, as a condition to confirmation of a chapter 11 plan, that the
         plan provides, with respect to each impaired class, that each holder of a claim or an interest in
         such class either (i) has accepted the plan or (ii) will receive or retain under the plan property of
         a value that is not less than the amount that such holder would receive or retain if the debtor
         liquidated under chapter 7 on the effective date of the plan.

                The Plan is a plan of liquidation. The costs of liquidation under chapter 7 of the
         Bankruptcy Code would include the fees payable to a chapter 7 trustee, and the fees that would
         be payable to additional attorneys and other professionals that such a trustee may engage.

                Conversion to chapter 7 of the Bankruptcy Code would mean the establishment of a new
         claims bar date, which could result in new General Unsecured Claims, Note Claims, or Unit
         Claims being asserted against the Estates, thereby diluting the recoveries of other Holders of
         Allowed Claims.

                Significantly, the benefits of the Plan Term Sheet, the terms of which are substantially
         incorporated into the Plan, are available only under the Plan. The Plan embodies a
         comprehensive, extensively negotiated settlement and compromise of myriad novel and complex
         legal and factual issues, including, among other things, (i) whether the Notes are unsecured
         claims or are secured by valid, perfected security interests in property of the Estates, (ii) whether
         the Units are debt or equity interests, (iii) whether any of the Debtors have valid or enforceable
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         Intercompany Claims or Intercompany Liens against Estate Assets owned by other Debtors, and
         (iv) whether substantive consolidation of the Debtors’ Estates is warranted under the
         circumstances. In the event of conversion, the chapter 7 trustee, Noteholders, Unitholders, and
         Holders of General Unsecured Claims would have to confront the pursuit of extensive litigation
         to resolve these and other issues, or would need to try to negotiate an alternative settlement, all
         without the benefit of committee representation for Creditors. This process would be extremely
         time-consuming and costly, and would reduce and delay any recoveries available for Creditors of
         the Estates.

                 In addition, a chapter 7 trustee likely would act quickly to sell or otherwise monetize the
         Wind-Down Assets, including because (i) a chapter 7 trustee probably would not have adequate
         staffing or funding to dispose of the Debtors’ real property over an extended period of time, and
         (ii) a chapter 7 trustee would need to seek authorization to operate the Debtors’ remaining
         business, which is relief that should be granted only “for a limited period” in any event, see
         11 U.S.C. § 721. In light of, among other things, the limited universe of potential buyers for
         luxury residential properties, such a forced sale by a chapter 7 trustee would likely ultimately
         result in significantly lower recoveries from the sale of the Wind-Down Assets, as set forth in the
         Liquidation Analysis.

                 On balance, the Debtors believe that a chapter 7 trustee would be less likely to maximize
         the value available from all the Estate Assets and would be unable to obtain the benefits of the
         compromises and settlements available under the Plan. Therefore, the Debtors believe that
         confirmation of the Plan will provide each Holder of a General Unsecured Claim, Note Claim, or
         Unit Claim with an equal or greater recovery than such Holder would receive pursuant to the
         liquidation of the Debtors under chapter 7 of the Bankruptcy Code.

                    D.      Feasibility

                 Bankruptcy Code section 1129(a)(11) requires that confirmation of the plan is not likely
         to be followed by the liquidation, or the need for further financial reorganization of the Debtors,
         or any successor to the Debtors (unless such liquidation or reorganization is proposed in the
         plan). This requirement is satisfied as the Plan specifically proposes a liquidation and the
         Debtors believe the Debtors’ Cash and any additional proceeds from the Wind-Down Assets and
         the Liquidation Trust Assets will be sufficient to allow the Wind-Down Entity and the
         Liquidation Trustee, as applicable, to make all payments required to be made under the Plan.
         Accordingly, the Debtors believe that the Plan is feasible.

                    E.      Acceptance by Impaired Classes

                 The Bankruptcy Code requires, as a condition to confirmation, that, except as described
         in the following section, each class of claims or interests that is impaired under a plan accept the
         plan. A class that is not “impaired” under a plan is deemed to have accepted the plan and,
         therefore, solicitation of acceptances with respect to such class is not required.

                 A class is “impaired” unless a plan: (a) leaves unaltered the legal, equitable, and
         contractual rights to which the claim or the interest entitles the holder of such claim or interest;
         or (b) cures any default, reinstates the original terms of such obligation, compensates the holder

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         for certain damages or losses, as applicable, and does not otherwise alter the legal, equitable, or
         contractual rights to which such claim or interest entitles the holder of such claim or interest.

                Bankruptcy Code section 1126(c) defines acceptance of a plan by a class of impaired
         claims as acceptance by holders of at least two-thirds in dollar amount and more than one-half in
         number of allowed claims in that class, counting only those claims held by creditors that actually
         voted to accept or reject the plan. Thus, a Class of Impaired Claims will have voted to accept the
         Plan only if two-thirds in amount and a majority in number actually voting cast their Ballots in
         favor of acceptance.

                    F.      Confirmation Without Acceptance by All Impaired Classes

                 Bankruptcy Code section 1129(b) allows a bankruptcy court to confirm a plan even if all
         impaired classes have not accepted that plan, provided that the plan has been accepted by at least
         one impaired class of claims, determined without including the acceptance of the plan by any
         insider. Notwithstanding an impaired class’s rejection or deemed rejection of the plan, such plan
         will be confirmed, at the plan proponent’s request, in a procedure commonly known as
         “cramdown,” so long as the plan does not “discriminate unfairly” and is “fair and equitable” with
         respect to each class of claims or interests that is impaired under, and has not accepted, the plan.

                 To the extent that any Impaired Class rejects the Plan or is deemed to have rejected the
         Plan, the Debtors will request Confirmation of the Plan under Bankruptcy Code section 1129(b).
         The Debtors reserve the right to alter, amend, modify, revoke, or withdraw the Plan, the Plan
         Supplement, or any schedule or exhibit, including to amend or modify it to satisfy the
         requirements of Bankruptcy Code section 1129(b), if necessary.

                            1.    No Unfair Discrimination

                 The “unfair discrimination” test applies to classes of claims or interests that reject or are
         deemed to have rejected a plan and that are of equal priority with another class of claims or
         interests that is receiving different treatment under such plan. The test does not require that the
         treatment of such classes of claims or interests be the same or equivalent, but that such treatment
         be “fair” under the circumstances. In general, bankruptcy courts consider whether a plan
         discriminates unfairly in its treatment of classes of claims of equal rank (e.g., classes of the same
         legal character). Bankruptcy courts will take into account various factors in determining whether
         a plan discriminates unfairly, and, accordingly, a plan could treat two classes of unsecured
         creditors differently without unfairly discriminating against either class. The Debtors submit that
         if the Debtors are required to “cramdown” the Plan pursuant to Bankruptcy Code section
         1129(b), the Plan is structured such that it does not “discriminate unfairly” against any rejecting
         Class.

                            2.    Fair and Equitable Test

                 The “fair and equitable” test applies to classes that reject or are deemed to have rejected a
         plan and are of different priority and status vis-à-vis another class (e.g., secured versus unsecured
         claims, or unsecured claims versus equity interests), and includes the general requirement that no
         class of claims receive more than 100% of the amount of the allowed claims in such class,
         including interest. As to the rejecting class, the test sets different standards depending on the type
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         of claims or interests in such rejecting class. The Debtors submit that if the Debtors are required
         to “cramdown” the Plan pursuant to Bankruptcy Code section 1129(b), the Plan is structured
         such that the applicable “fair and equitable” standards are met.

                    G.      Alternatives to Confirmation and Consummation of the Plan

                 The Debtors believe that the Plan affords Holders of Claims the potential for a materially
         better realization on the Estate Assets than a chapter 7 liquidation, and, therefore, is in the best
         interests of all such Holders. If, however, the requisite acceptances of the voting Classes of
         Claims are not received, or no Plan is confirmed and consummated, the theoretical alternatives
         include: (a) formulation of an alternative chapter 11 plan or plans, or (b) liquidation of the
         Debtors under chapter 7 of the Bankruptcy Code.

                If the requisite acceptances are not received or if the Plan is not confirmed, the Debtors or
         another party in interest could attempt to formulate and propose a different plan or plans. The
         Debtors believe that the Plan enables Creditors to realize the greatest possible value under the
         circumstances, and, as compared to any alternative plan, has the greatest chance to be confirmed
         and consummated.

                 The Chapter 11 Cases may also be converted to cases under chapter 7 of the Bankruptcy
         Code, pursuant to which a statutory trustee would be elected or appointed to complete the
         liquidation of the Estate Assets for distribution to Creditors in accordance with the priorities
         established by the Bankruptcy Code. As described above, the Debtors believe that the Plan will
         provide each Holder of an Allowed Note Claim, Allowed Unit Claim, or Allowed General
         Unsecured Claim with an equal or greater recovery than it would receive pursuant to liquidation
         of the Debtors under chapter 7 of the Bankruptcy Code.

                    VII.     CERTAIN SECURITIES LAW CONSEQUENCES OF THE PLAN

                    A.      General

                            1.    Status as Securities

                 The Plan provides for the establishment of the Liquidating Trust and for the issuance of
         beneficial interests therein issued in respect of Allowed Class 3 Note Claims and Allowed Class
         5 Unit Claims. In general, beneficial interests in trusts may sometimes be subject to regulation
         under applicable non-bankruptcy law, including federal and state securities laws. As discussed
         below, the Debtors believe that the beneficial interests in the Liquidation Trust (the “Beneficial
         Interests”) will either (a) not constitute “securities” or (b) will be issued in compliance with such
         federal and state securities laws.

                            2.    Transfer Restrictions on Beneficial Interests

                Under the terms of the Liquidation Trust Agreement, the Beneficial Interests initially will
         be uncertificated and subject to transfer restrictions set forth in the Liquidation Trust Agreement
         (the “Transfer Restrictions”). Under the Transfer Restrictions, the Beneficial Interests cannot be
         assigned or transferred by any holder thereof other than by will or intestate succession upon the
         death of such holder or otherwise by operation of law.
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                 The Transfer Restrictions will be effective upon issuance of the Beneficial Interests on
         the Effective Date of the Plan and will remain in effect during the initial and any renewal term of
         the Liquidation Trust unless sooner terminated or modified by the Liquidation Trustee in
         accordance with the Liquidation Trust Agreement. Under the Liquidation Trust Agreement, the
         Liquidation Trustee will use its commercially reasonable best efforts to file with the SEC, as
         soon as reasonably practicable following the Effective Date of the Plan, but in no event later than
         may be required under section 12(g) of the Exchange Act or the rules and regulations
         promulgated thereunder, a registration statement on Form 10 for the purpose of registering the
         Beneficial Interests under Section 12(g) of the Securities Exchange Act of 1934, as amended (the
         “Exchange Act”) and to cause the Beneficial Interests to be accepted for trading on the Over-the-
         Counter Bulletin Board (OTCBB) or other organized trading market in the United States. Upon
         the effectiveness of the Form 10 and the acceptance of the Beneficial Interests for trading on
         such a market, the Liquidation Trustee shall amend the Liquidation Trust Agreement to terminate
         or modify the Transfer Restrictions as necessary to permit trading of the Beneficial Interests and
         shall promptly give notice of such amendment to the holders of record of the Beneficial Interests
         as of the effective date thereof, which notice will include a copy of the amendment and a
         summary description of the termination or modification of the Transfer Restrictions effected
         thereby and the terms, conditions, and effective date of such termination or modification. Under
         the Liquidation Trust Agreement, the Liquidation Trustee will give any such notice of
         termination or modification of the Transfer Restrictions reasonably promptly after the
         effectiveness of the Form 10 and the acceptance of the Beneficial Interests for trading on the
         Over-the-Counter Bulletin Board (OTCBB).

                    B.      Exemption From Offer and Sale of Securities Act and Blue Sky Laws

                            1.    Issuance of Beneficial Interests under Plan

                 Unless an exemption is available, the offer and sale of a security generally is subject to
         registration with the SEC under Section 5 of the Securities Act of 1933, as amended (the
         “Securities Act”). The Debtors have been informally advised by the SEC that the Beneficial
         Interests, regardless of whether they are certificated and/or non-transferable, may be considered
         “securities” within the definition of Section 2(11) of the Securities Act at the time of their
         issuance.

                In the event that the Beneficial Interests are deemed to constitute securities, section
         1145(a)(1) of the Bankruptcy Code exempts the offer and sale of securities under a plan of
         reorganization from registration under the Securities Act and state securities laws and regulations
         (“Blue Sky Laws”) if three principal requirements are satisfied:

                1.      the securities are offered and sold under a plan of reorganization and are securities
         of the debtor, of an affiliate of the debtor participating in a joint plan with the debtor, or of a
         successor to the debtor under the plan;

                2.      the recipients of the securities hold a pre-petition or administrative claim against
         the debtor or an interest in the debtor; and



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                 3.       the securities are issued entirely in exchange for recipient’s claim against or
         interest in the debtor, or principally in such exchange and partly for cash or property.

                 If and to the extent that the Beneficial Interests may constitute securities, the Debtors
         believe that the Beneficial Interests, which are being issued in respect of Allowed Class 3 Note
         Claims and Allowed Class 5 Unit Claims, will qualify as securities “of the debtor . . . or of a
         successor to the debtor” pursuant to section 1145(a)(1). In addition, the Beneficial Interests will
         be issued entirely in exchange for such Claims and Interests. Thus, the Debtors believe that the
         issuance of the Beneficial Interests pursuant to the Plan will satisfy the applicable requirements
         of section 1145(a)(1) of the Bankruptcy Code, and that such issuance should be exempt from
         registration under the Securities Act and any applicable Blue Sky Law.

                 The Debtors believe that its reliance upon the foregoing exemption in respect of the
         issuance of the Beneficial Interests is consistent with positions taken by the SEC with respect to
         similar transactions and arrangements by other debtors in possession. However, the Debtors
         have not sought any “no-action” letter by the SEC with respect to any such matters, and therefore
         no assurance can be given regarding the availability of any exemptions from registration with
         respect to any securities, if any, issued pursuant to the Plan.

                            2.    Resale of Beneficial Interests After Plan Effective Date

                 As discussed above, during the continuation of the Transfer Restrictions, the Beneficial
         Interests cannot be assigned or transferred by any holder thereof other than by will or intestate
         succession upon the death of such holder or otherwise by operation of law. Under the
         Liquidation Trust Agreement, the Liquidation Trustee will terminate or modify the Transfer
         Restrictions as necessary following the effectiveness of the registration of the Beneficial Interests
         under Section 12(g) of the Exchange Act and the acceptance of the Beneficial Interests for
         quotation on the Over-the-Counter Bulletin Board (OTCBB) or other organized over-the-counter
         trading market in the United States. If the Transfer Restrictions are so terminated or modified,
         the Beneficial Interests may become transferable to the extent otherwise permissible under
         applicable law. However, no assurance can be given that the Liquidation Trustee will be
         successful in causing the registration of the Beneficial Interests or their acceptance for trading on
         any such organized trading market. None of the Debtors, the Liquidation Trust, or Wind-Down
         Entity will be obliged to, and it is expected that none of them will, seek the listing of any
         Beneficial Interest on any national stock exchange such as the NYSE, NASDAQ Stock Market,
         or NASDAQ National Market.

                    C.      Exchange Act and other securities law compliance

                            1.    Exchange Act Compliance

                Section 12(g) of the Exchange Act, and the Exchange Act rules and regulations
         promulgated thereunder, requires a company to register a class of equity securities pursuant to
         the Exchange Act unless, on the last day of such company’s most recent fiscal year, (i) the
         company had total assets not exceeding $10.0 million and (ii) the class of equity securities was
         held of record by fewer than 2,000 persons and fewer than 500 of those persons were not
         “accredited investors” as defined under the securities laws. Such registration must be effected by

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         the filing of a registration statement within 120 days after the last day of the company’s most
         recent fiscal year in which both such conditions (i) and (ii) are satisfied.The Debtors have been
         informally advised by the SEC that the Class A Liquidation Trust Interests, regardless of whether
         they are certificated and/or non-transferable, constitute equity securities subject to the
         registration requirement of Section 12(g) of the Exchange Act provided that the total assets of
         the Liquidation Trust and the number of its holders of record exceed the specified limits.
         Accordingly, based on the Liquidation Trust’s anticipated total assets and number of holders of
         record of Class A Liquidation Trust Interests as of the last day of its first (partial) fiscal year, the
         Debtors currently expect that the Liquidation Trust, will be required to register the Class A
         Liquidation Trust Interests under the Exchange Act within 120 days thereafter. It is anticipated
         that there will be fewer than 2,000 holders of record of Class B Liquidation Trust Interests and,
         as such, the Liquidation Trust currently does not intend to make any effort to cause the Class B
         Liquidation Trust Interests to be registered under the Exchange Act. To the extent that the total
         assets of the Liquidation Trust and the number of the holders of record of Class B Liquidation
         Trust Interests as of the last day of the Liquidation Trust’s fiscal year exceeds the specified limits
         under the Exchange Act, the Liquidation Trust shall take any and all steps as may be necessary to
         comply with the Exchange Act and the rules and regulations promulgated thereunder.

                 As discussed above, during the continuation of the Transfer Restrictions, the Beneficial
         Interests cannot be assigned or transferred by any holder thereof other than by will or intestate
         succession upon the death of such holder or otherwise by operation of law. Under the
         Liquidation Trust Agreement, the Liquidation Trustee will terminate or modify the Transfer
         Restrictions as necessary following the effectiveness of the registration of the Beneficial Interests
         under Section 12(g) of the Exchange Act and the acceptance of the Beneficial Interests for
         trading on the Over-the-Counter Bulletin Board (OTCBB) or other organized trading market in
         the United States. If the Transfer Restrictions are so terminated or modified, the Beneficial
         Interests may become transferable under the Liquidation Trust Agreement to the extent otherwise
         permissible under applicable law. In such case, the Beneficial Interests may be permitted to be
         represented by certificates and/or may become transferable. However, no assurance can be given
         regarding these matters.

                 If the Beneficial Interests are successfully registered as one or more classes of equity
         securities under Section 12(g) of the Exchange Act, the Liquidation Trust will become subject to
         regulation under the Exchange Act. Such regulation will include periodic reporting such as the
         filing of annual reports on Form 10-K and quarterly reports on Form 10-Q, current reporting of
         certain material events on Form 8-K, proxy statements, and disclosures regarding various other
         events affecting the Liquidation Trust, such as mergers, acquisitions, tender offers, and changes
         in beneficial ownership. Although such registration of the Beneficial Interests and the following
         termination or modification of the Transfer Restrictions may benefit Noteholders and
         Unitholders by increasing the liquidity of their Liquidation Trust Interests, such registration and
         the Liquidiation Trust’s compliance with such regulations will impose substantial costs on the
         Liquidation Trust, and thereby may reduce Distributions made in respect of Beneficial Interests
         to the holders thereof.




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             VIII. CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF
                                            THE PLAN

              THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
         COMPLEX. ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS SHOULD
         CONSULT WITH THEIR OWN TAX ADVISORS AS TO THE PARTICULAR TAX
         CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY THE
         PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL,
         OR FOREIGN TAX LAWS AND OF ANY CHANGE IN APPLICABLE TAX LAWS.

                 This discussion is provided for informational purposes only, and is based on provisions of
         the Internal Revenue Code of 1986, as amended (the “IRC”), Treasury Regulations promulgated
         thereunder, judicial authorities, and current administrative rulings and practice, all as in effect on
         the date hereof. Due to the complexity of certain aspects of the Plan, the lack of applicable legal
         precedent, the possibility of changes in the law, the differences in the nature of the Claims
         (including Claims within the same Class) and Equity Interests, the holder’s status and method of
         accounting (including holders within the same Class) and the potential for disputes as to legal
         and factual matters with the IRS, the tax consequences described herein are subject to significant
         uncertainties. No legal opinions have been requested from counsel with respect to any of the tax
         aspects of the Plan and no rulings have been or will be requested from the IRS with respect to the
         any of the issues discussed below. Further, legislative, judicial or administrative changes may
         occur, perhaps with retroactive effect, which could affect the accuracy of the statements and
         conclusions set forth below as well as the tax consequences to the holders of Claims and Equity
         Interests. Any such changes or interpretations may be retroactive and could significantly, and
         adversely, affect the United States federal income tax consequences of the Plan.

                 The following summary does not address the U.S. federal income tax consequences to the
         Holders of Claims not entitled to vote to accept or reject the Plan. In addition, to the extent that
         the following discussion relates to the consequences to Holders of Claims entitled to vote to
         accept or reject the Plan, it is limited to Holders that are United States persons within the
         meaning of the IRC. For purposes of the following discussion, a “United States person” is any of
         the following:

         •          An individual who is a citizen or resident of the United States;

         •          A corporation created or organized under the laws of the United States or any state or
                    political subdivision thereof;

         •          An estate, the income of which is subject to federal income taxation regardless of its
                    source; or

         •          A trust that (a) is subject to the primary supervision of a United States court and which
                    has one or more United States fiduciaries who have the authority to control all substantial
                    decisions of the trust, or (b) has a valid election in effect under applicable Treasury
                    Regulations to be treated as a United States person.

                This discussion does not address all aspects of U.S. federal income taxation that may be
         relevant to a particular Holder in light of its particular facts and circumstances, or to certain types
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         of Holders subject to special treatment under the IRC. Examples of Holders subject to special
         treatment under the IRC are governmental entities and entities exercising governmental
         authority, foreign companies, persons who are not citizens or residents of the United States,
         banks and certain other financial institutions, broker-dealers, insurance companies, tax-exempt
         organizations, real estate investment trusts, small business investment companies, regulated
         investment companies, persons that have a functional currency other than the U.S. dollar, and
         persons holding Claims that are a hedge against, or that are hedged against, currency risk or that
         are part of a straddle, constructive sale, or conversion transaction. This discussion does not
         address the tax consequences to holders of Claims who did not acquire such Claims at the issue
         price on original issue. No aspect of foreign, state, local or estate and gift taxation is addressed.

                  The tax treatment of Holders of Claims and the character, amount, and timing of income,
         gain, or loss recognized as a consequence of the Plan and the Distributions provided for by the
         Plan may vary, depending upon the following factors, among others: (i) whether the Claim or
         portion thereof constitutes a Claim for principal or interest; (ii) the type of consideration, if any,
         received by the Holder in exchange for the Claim, and whether the Holder receives Distributions
         under the Plan in more than one taxable year; (iii) whether the Holder is a citizen or resident of
         the United States for tax purposes, is otherwise subject to U.S. federal income tax on a net basis,
         or falls into any special class of taxpayers, such as those that are excluded from this discussion as
         noted above; (iv) the manner in which the Holder acquired the Claim; (v) the length of time that
         the Claim has been held; (vi) whether the Claim was acquired at a discount; (vii) whether the
         Holder has taken a bad debt deduction or a worthless securities deduction with respect to the
         Claim or any portion thereof in the current or prior taxable years; (viii) whether the Holder has
         previously included in gross income accrued but unpaid interest with respect to the Claim;
         (ix) the method of tax accounting of the Holder; (x) whether the Claim is an installment
         obligation for U.S. federal income tax purposes; and (xi) whether the “market discount” rules
         apply to the Holder. Therefore, each Holder should consult such Holder’s own tax advisor for tax
         advice with respect to that Holder’s particular situation and circumstances, and the particular tax
         consequences to such Holder of the transactions contemplated by the Plan.

                 A significant amount of time may elapse between the date of the Disclosure Statement
         and the receipt of a final Distribution under the Plan. Events occurring after the date of the
         Disclosure Statement, such as new or additional tax legislation, court decisions, or administrative
         changes, could affect the U.S. federal income tax consequences of the Plan and the transactions
         contemplated thereunder. No representations are being made regarding the particular tax
         consequences of the confirmation or implementation of the Plan as to any Holder of a Claim.
         This discussion is not binding upon the IRS or other taxing authorities. No assurance can be
         given that the IRS or another authority would not assert, or that a court would not sustain, a
         different position from any discussed herein.

                 The following discussion generally assumes that the Plan will be treated as a plan of
         liquidation of the Debtors for U.S. federal income tax purposes, and that all Distributions to
         Holders of Claims will be taxed accordingly.

             THE FOLLOWING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
         CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN, AND IS
         NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX
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         PROFESSIONAL. THE FOLLOWING DISCUSSION IS FOR INFORMATIONAL
         PURPOSES ONLY AND IS NOT TAX ADVICE. THE TAX CONSEQUENCES ARE IN
         MANY CASES UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S
         PARTICULAR CIRCUMSTANCES. ACCORDINGLY, EACH HOLDER IS STRONGLY
         URGED TO CONSULT SUCH HOLDER’S INDEPENDENT TAX ADVISOR
         REGARDING THE FEDERAL, STATE, LOCAL, AND FOREIGN INCOME TAX
         CONSEQUENCES OF THE PLAN.

                    A.      Certain U.S. Federal Income Tax Consequences of the Liquidation Trust

                 Under the terms of the Plan, the Liquidation Trust Assets will be transferred to the
         Liquidation Trust in a taxable disposition. Any income or gain from the transfer of assets to the
         Liquidation Trust shall flow through to the ultimate taxpaying owner or member of the
         transferring Debtor who will be responsible to pay any resulting tax liability. The tax
         consequences of the Plan, however, are subject to many uncertainties due to the complexity of
         the Plan and the lack of interpretative authority regarding certain changes in the tax law.
         Uncertainties with regard to federal income tax consequences of the Plan also arise due to the
         inherent nature of estimates of value that will impact the determination of the amount of income
         or gain from the transfer of assets to the Liquidation Trust. As of the Effective Date, the
         Liquidation Trust shall be established for the benefit of all Liquidation Trust Beneficiaries. The
         Liquidation Trustee will make a good faith valuation of the Liquidation Trust Assets. All parties
         (including, without limitation, the Liquidation Trustee and the Liquidation Trust Beneficiaries)
         must consistently use such valuation for all federal income tax purposes. Allocations of taxable
         income of the Liquidation Trust (other than taxable income allocable to a Distribution Reserve)
         among Liquidation Trust Beneficiaries shall be determined by reference to the manner in which
         an amount of cash equal to such taxable income would be distributed (were such cash permitted
         to be distributed at such time) if, immediately prior to such deemed distribution, the Liquidation
         Trust had distributed all of its assets (valued at their tax book value, and other than assets
         allocable to a Distribution Reserve) to the holders of the beneficial interests in the Liquidation
         Trust, adjusted for prior taxable income and loss and taking into account all prior and concurrent
         distributions from the Liquidation Trust. Similarly, taxable loss of the Liquidation Trust shall be
         allocated by reference to the manner in which an economic loss would be borne immediately
         after a distribution in liquidation of the remaining Liquidation Trust Assets. The tax book value
         of the Liquidation Trust Assets for this purpose shall be equal to the fair market value of the
         Liquidation Trust Assets on the Effective Date, adjusted in accordance with tax accounting
         principles prescribed by the IRC, applicable Treasury Regulations, and other applicable
         administrative and judicial authorities and pronouncements. Subject to definitive guidance from
         the IRS or a court of competent jurisdiction to the contrary (including the receipt by the
         Liquidation Trustee of an IRS private letter ruling if the Liquidation Trustee so requests one, or
         the receipt of an adverse determination by the IRS upon audit if not contested by the Liquidation
         Trustee), the Liquidation Trustee will (a) elect to treat any Liquidation Trust Assets allocable to a
         Distribution Reserve (a reserve for amounts and Liquidation Trust Interests retained on account
         of, Contingent Claims, Disputed Claims or Unliquidated Claims) as a “disputed ownership fund”
         governed by Treasury Regulation Section 1.468B-9, and (b) to the extent permitted by applicable
         law, report consistently with the foregoing for state and local income tax purposes. Accordingly,
         the Distribution Reserves will be subject to tax annually on a separate entity basis on any net
         income earned with respect to the Liquidation Trust Assets in such reserves, and all distributions
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         from such reserves will be treated as received by holders in respect of their Claims as if
         distributed by the Debtors. All parties (including, without limitation, the Liquidation Trustee and
         the holders of beneficial interests in the Liquidation Trust) will be required to report for tax
         purposes consistently with the foregoing.

                 The Liquidation Trust is intended to qualify as a liquidation trust for federal income tax
         purposes. In general, a Liquidation Trust is not a separate taxable entity but rather is treated for
         federal income tax purposes as a “grantor” trust (i.e., a pass-through entity). The IRS, in
         Revenue Procedure 94-45, 1994-28 I.R.B. 124, set forth the general criteria for obtaining an IRS
         ruling as to the grantor trust status of a liquidation trust under a chapter 11 plan. The Liquidation
         Trust has been structured with the intention of complying with such general criteria. Pursuant to
         the Plan, and in conformity with Revenue Procedure 94-45, all parties (including the Liquidation
         Trustee and the holders of beneficial interests in the Liquidation Trust) are required to treat for
         federal income tax purposes, the Liquidation Trust as a grantor trust of which the holders of
         Liquidation Trust Interests are the owners and grantors. Although the following discussion
         assumes that the Liquidation Trust would be so treated for federal income tax purposes, no ruling
         has been requested from the IRS concerning the tax status of the Liquidation Trust as a grantor
         trust. Accordingly, there can be no assurance that the IRS would not take a contrary position to
         the classification of the Liquidation Trust as a grantor trust. lf the IRS were to challenge
         successfully such classification, the federal income tax consequences to the Liquidation Trust
         and the holders of Liquidation Trust Interests could vary from those discussed herein, and, thus,
         there could be less Available Cash than projected, resulting in lower recoveries for holders of
         Liquidation Trust Interests (Noteholders, Holders of General Unsecured Claims, and
         Unitholders).

                 The Liquidation Trust will create a single member Delaware limited liability company
         (the Wind-Down Entity) to facilitate administration of the assets to be liquidated. The Wind-
         Down Entity (a) shall have the Liquidation Trust as its sole member, (b) shall be treated as a
         disregarded entity for income tax purposes, (c) shall have a purpose consistent with the purpose
         of the Liquidation Trust as set forth in Section 5.4.4 of the Plan, and (d) shall be subject to the
         same limitations imposed on the Liquidation Trustee under the terms of the Plan and the
         Liquidation Trust Agreement. Consequently, the existence of, and the activities conducted by,
         the Wind-Down Entity should not alter the federal income tax treatment of the Liquidation Trust
         or the Liquidation Trust Beneficiaries.

                    B.      Consequences to Holders of Claims Generally

                In general, each holder of an Allowed Claim will recognize gain or loss in an amount
         equal to the difference between (i) the “amount realized” by such holder in satisfaction of its
         Claim, and (ii) such holder’s adjusted tax basis in such Claim (which, for certain Liquidation
         Trust Beneficiaries, could be impacted by the Debtors’ filing of amended IRS Forms 1099 for
         the Liquidation Trust Beneficiaries with respect to the 2017 calendar year in accordance with a
         determination that the Debtors were operating a Ponzi scheme and any amounts paid by the
         Debtors to such Liquidation Trust Beneficiaries in 2017 were not in fact taxable income). The
         “amount realized” by a holder will equal the sum of cash and the aggregate fair market value of
         the property received by such holder pursuant to the Plan (such as a holder’s undivided
         beneficial interest in the assets transferred to the Liquidation Trust). Where gain or loss is
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         recognized by a holder in respect of its Allowed Claim, the character of such gain or loss (i.e.,
         long-term or short-term capital, or ordinary income) will be determined by a number of factors
         including the tax status of the holder, whether the Claim constituted a capital asset in the hands
         of the holder and how long it had been held, whether the Claim was originally issued at a
         discount or acquired at a market discount and whether and to what extent the holder had
         previously claimed a bad debt deduction or theft loss in respect of the Claim.

                Generally, a Holder of an Allowed Claim will realize gain or loss on the exchange under
         the Plan of its Allowed Claim for Cash or other property, in an amount equal to the difference
         between (i) the sum of the amount of any Cash and the fair market value on the date of the
         exchange of any other property received by the Holder, and (ii) the adjusted tax basis of the
         Allowed Claim exchanged therefor (other than basis attributable to accrued but unpaid interest
         previously included in the Holder’s taxable income). It is possible that any loss, or a portion of
         any gain, realized by a Holder of a Claim may have to be deferred until all of the Distributions to
         such Holder are received.

                 When gain or loss is recognized by a Holder, such gain or loss may be long-term capital
         gain or loss if the Claim disposed of is a capital asset in the hands of the Holder and has been
         held for more than one year. Each Holder of an Allowed Claim should consult its own tax
         advisor to determine whether gain or loss recognized by such Holder will be long-term capital
         gain or loss and the specific tax effect thereof on such Holder.

                  A Holder of an Allowed Claim who receives, in respect of the Holder’s Allowed Claim,
         an amount that is less than that Holder’s tax basis in such Allowed Claim may be entitled to a
         bad debt deduction under IRC section 166(a). The rules governing the character, timing, and
         amount of a bad debt deduction place considerable emphasis on the facts and circumstances of
         the holder, the obligor, and the instrument with respect to which a deduction is claimed. Holders
         of Allowed Claims, therefore, are urged to consult their own tax advisors with respect to the
         ability to take a bad debt deduction. A Holder that has previously recognized a loss or deduction
         in respect of that Holder’s Allowed Claim may be required to include in gross income (as
         ordinary income) any amounts received under the Plan to the extent such amounts exceed the
         Holder’s adjusted basis in such Allowed Claim.

                 Holders of Allowed Claims who were not previously required to include any accrued but
         unpaid interest with respect to an Allowed Claim may be treated as receiving taxable interest
         income to the extent any consideration they receive under the Plan is allocable to such interest. A
         Holder previously required to include in gross income any accrued but unpaid interest with
         respect to an Allowed Claim may be entitled to recognize a deductible loss to the extent such
         interest is not satisfied under the Plan.

                 A Holder of an Allowed Claim constituting an installment obligation for tax purposes
         may be required to currently recognize any gain remaining with respect to such obligation if,
         pursuant to the Plan, the obligation is considered to be satisfied at other than at face value or
         distributed, transmitted, sold or otherwise disposed of within the meaning of IRC section 453B.

               Holders of Disallowed Claims will not receive any Distribution as part of the Plan.
         Accordingly, because such a Holder may receive an amount that is less than that Holder’s tax
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         basis in such Claim, such Holder may be entitled to a bad debt deduction under IRC section
         166(a). The rules governing the character, timing, and amount of a bad debt deduction place
         considerable emphasis on the facts and circumstances of the holder, the obligor, and the
         instrument with respect to which a bad debt deduction is claimed. Holders of Disallowed Claims,
         therefore, are urged to consult their own tax advisors with respect to the ability to take a bad debt
         deduction.

                    C.      Consequences to Liquidation Trust Beneficiaries

                 After the Effective Date, any amount that a Liquidation Trust Beneficiary (as a Holder of
         a Liquidation Trust Interest) receives as a distribution from the Liquidation Trust in respect of its
         beneficial interest in the Liquidation Trust should not be included, for federal income tax
         purposes, in the Holder’s amount realized in respect of its Allowed Claim but should be
         separately treated as a distribution received in respect of such Holder’s beneficial interest in the
         Liquidation Trust. In general, a Holder’s aggregate tax basis in its undivided beneficial interest
         in the assets transferred to the Liquidation Trust will equal the fair market value of such
         undivided beneficial interest as of the Effective Date and the Holder’s holding period in such
         assets will begin the day following the Effective Date. Distributions to any Holder of an
         Allowed Claim will be allocated first to the original principal portion of such Claim as
         determined for federal tax purposes, and then, to the extent the consideration exceeds such
         amount, to the remainder of such Claim. However, there is no assurance that the IRS will
         respect such allocation for federal income tax purposes.

                  For all federal income tax purposes, all parties (including the Liquidation Trustee and the
         holders of beneficial interests in the Liquidation Trust) shall treat the transfer of the Liquidation
         Trust Assets to the Liquidation Trust, in accordance with the terms of the Plan, as a transfer of
         those assets directly to the Holders of Allowed Claims (and, with respect to the Contingent
         Claims, Disputed Claims and Unliquidated Claims, to the Distribution Reserve) followed by the
         transfer of such assets by such Holders to the Liquidation Trust. Consistent therewith, all parties
         shall treat the Liquidation Trust as a grantor trust of which such Holders are to be the owners and
         grantors. Thus, such Holders (and any subsequent Holders of interests in the Liquidation Trust)
         shall be treated as the direct owners of an undivided beneficial interest in the assets of the
         Liquidation Trust. Accordingly, each Holder of a beneficial interest in the Liquidation Trust will
         be required to report on its federal income tax return(s) the Holder’s allocable share of all
         income, gain, loss, deduction or credit recognized or incurred by the Liquidation Trust. The
         Liquidation Trust’s taxable income will be allocated to the Holders of beneficial interests in the
         Liquidation Trust in accordance with each such Holder’s pro rata share of the beneficial interests
         in the Liquidation Trust Assets. The character of items of income, deduction and credit to any
         Holder and the ability of such Holder to benefit from any deductions or losses may depend on
         the particular situation of such Holder. The federal income tax reporting obligation of a Holder
         of a beneficial interest in the Liquidation Trust is not dependent upon the Liquidation Trust
         distributing any cash or other proceeds. Therefore, a Holder of a beneficial interest in the
         Liquidation Trust may incur a federal income tax liability regardless of the fact that the
         Liquidation Trust has not made, or will not make, any concurrent or subsequent distributions to
         the Holder. If a Holder incurs a federal tax liability but does not receive distributions
         commensurate with the taxable income allocated to it in respect of its beneficial interests in the
         Liquidation Trust, the Holder may be allowed a subsequent or offsetting loss.
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                 The Liquidation Trustee will file with the IRS returns for the Liquidation Trust as a
         grantor trust pursuant to Treasury Regulations section 1.671-4(a). The Liquidation Trustee will
         also send to each Holder of a beneficial interest in the Liquidation Trust a separate statement
         setting forth the Holder’s share of items of income, gain, loss, deduction or credit and will
         instruct the Holder to report such items on its federal income tax return. Events subsequent to
         the date of this Disclosure Statement, such as the enactment of additional tax legislation, could
         also change the federal income tax consequences of the Plan and the transactions contemplated
         thereunder.

                 A Liquidation Trust Beneficiary who is a victim of a Ponzi scheme might be entitled to
         claim a loss dependent on its individual circumstances. Such losses that arise out of property
         used in a trade or business or a transaction entered into for profit are deductible in the year in
         which the loss is sustained and in an amount not to exceed the adjusted tax basis of the property
         involved. A theft loss generally cannot be deducted in a tax year to the extent that there are
         reasonable prospects of a recovery of some or all of the loss. In that event, the deduction is
         postponed until it can be ascertained with reasonable certainty the likelihood and amount of any
         reimbursement that will be received. The loss generally must be deducted in the first year a
         reasonable prospect of recovery no longer exists, and cannot be claimed in any subsequent year.
         The reasonable prospect of reimbursement rule applies only to that part of the loss for which
         reimbursement is available. However, in 2009, the IRS issued Rev. Proc. 2009-20, 2009-14
         I.R.B. 735, to provide an optional safe harbor treatment for taxpayers that experienced losses in
         certain investment arrangements discovered to be fraudulent and in which a lead figure has been
         charged with a crime. Under these safe harbor provisions, a qualified investor may deduct 95%
         of qualified investment in the discovery year if the qualified investor does not pursue any
         potential third-party recovery. A 75% deduction is available in the discovery year if a qualified
         investor is pursuing or intends to pursue any potential third-party recovery. The details for
         qualification for the safe harbor deduction are set forth in Rev. Proc. 2009-20.

                In 2011, the IRS issued Rev. Proc. 2011-58, 2011-58 I.R.B. 849, which modified the
         provisions of Rev. Proc. 2009-20. Under Rev. Proc. 2011-58, the safe harbor provisions of Rev.
         Proc. 2009-20 may be utilized if a lead figure, or an associated entity involved in the specified
         fraudulent arrangement, was the subject of one or more civil complaints or similar documents
         that a state or federal governmental entity filed with a court or in an administrative agency
         enforcement proceeding, and:

                 (a) The civil complaint or similar documents together allege facts that comprise
         substantially all of the elements of a specified fraudulent arrangement conducted by the lead
         figure;

                (b) The death of the lead figure precludes a charge by indictment, information, or
         criminal complaint against that lead figure; and

                (c) A receiver or trustee was appointed with respect to the arrangement or assets of the
         arrangement were frozen.

                A strict reading of Rev. Proc. 2011-58 would require that, unless the lead figure’s death
         precludes the filing of a criminal indictment or criminal complaint, there must be an indictment
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         or criminal complaint filed against the lead figure in order for safe harbor rules of Rev. Proc.
         2009-20 to be available to victims of a Ponzi scheme. To date, no lead figure has been charged
         with a crime or is deceased, so the necessary prerequisites for the safe harbor for a deduction in
         2017 do not appear to have been satisfied. The Revenue Procedures simply provide a safe
         harbor, however, and there might be individual circumstances outside the safe harbor that
         warrant a Liquidation Trust Beneficiary taking a position that the theft loss occurred with respect
         to the 2017 taxable year. Liquidation Trust Beneficiaries should consult with their own tax
         advisors to determine if a theft loss deduction is permissible, as well as the timing, amount, and
         applicable limitations for any such theft loss deduction.

                    D.      Withholding on Distributions, and Information Reporting

                  All Distributions to Holders of Allowed Claims under the Plan and any Distributions to
         the holders of beneficial interests in the Liquidation Trust are subject to any applicable tax
         withholding, including employment tax withholding. See Plan Section 7.14. Under U.S. federal
         income tax law, interest, dividends, and other reportable payments may, under certain
         circumstances, be subject to “backup withholding” at the then applicable withholding rate
         (currently 30%). Backup withholding generally applies if the payment recipient (i) fails to
         furnish the recipient’s social security number or other taxpayer identification number;
         (ii) furnishes an incorrect taxpayer identification number; (iii) fails to properly report interest or
         dividends; or (iv) under certain circumstances, fails to provide a certified statement, signed under
         penalty of perjury, that the taxpayer’s identification number provided is the recipient’s correct
         taxpayer identification number and that such recipient is not subject to backup withholding.
         Backup withholding is not an additional tax but merely an advance payment, which may be
         refunded to the extent it results in an overpayment of tax. Certain Persons are exempt from
         backup withholding, including, in certain circumstances, corporations and financial institutions.

                In addition, a Holder of an Allowed Claim that is a not a U.S. entity may be subject to
         additional withholding, depending on, among other things, the particular type of income and
         whether the type of income is subject to a lower treaty rate. As to certain Claims, it is possible
         that withholding may be required with respect to distributions by the Debtor making such
         Distribution or by the Liquidation Trust, as applicable, even if no withholding would have been
         required if payment was made prior to the Chapter 11 Cases. A non-U.S. Holder may also be
         subject to other adverse consequences in connection with the implementation of the Plan. As
         discussed above, the foregoing discussion of the U.S. federal income tax consequences of the
         Plan does not generally address the consequences to non-U.S. Holders. Non-U.S. Holders are
         urged to consult their own tax advisors regarding potential withholding on Distributions under
         the Plan.

                 In addition, Treasury Regulations generally require disclosure by a taxpayer on its U.S.
         federal income tax return of certain types of transactions in which the taxpayer participated,
         including, among other types of transactions, certain transactions that result in the taxpayer’s
         claiming a loss in excess of specified thresholds. Holders are urged to consult their own tax
         advisors regarding these Treasury Regulations and whether the transactions contemplated by the
         Plan would be subject to these Treasury Regulations and require disclosure on the Holder’s tax
         returns.

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                                         IX.     RECOMMENDATION

                 The Debtors believe that confirmation and implementation of the Plan are the best
         alternative under the circumstances and urge all Impaired Creditors entitled to vote on the Plan to
         vote in favor of and support confirmation of the Plan.


         Dated: August 16, 2018                      Respectfully submitted,


                                                     WOODBRIDGE GROUP OF COMPANIES, LLC, ET AL.


                                                     By:      /s/ Bradley D. Sharp
                                                              Name: Bradley D. Sharp
                                                              Title: Chief Restructuring Officer
                                                                      WGC Independent Manager, LLC




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                                              EXHIBIT A


                           First Amended Joint Chapter 11 Plan of Liquidation


                                 See Docket No. 2283 (previously served)




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                                             EXHIBIT B


                                         Liquidation Analysis




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 DQG HVWLPDWHV ZKLFK DOWKRXJK FRQVLGHUHG UHDVRQDEOH E\ WKH 'HEWRUV PD\ QRW EH UHDOL]HG DQG DUH LQKHUHQWO\ VXEMHFW WR VLJQLILFDQW HFRQRPLF ILQDQFLDO OHJDO DQG RWKHU
 XQFHUWDLQWLHV DQG FRQWLQJHQFLHV IXWXUH HYHQWV WKDW DUH XQNQRZQ DW WKLV WLPH DQG DFWLRQV RI RWKHU SDUWLHV WKDW DUH XQNQRZQ DQG EH\RQG WKH FRQWURO RI WKH 'HEWRUV
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 DQG HVWLPDWHV ZKLFK DOWKRXJK FRQVLGHUHG UHDVRQDEOH E\ WKH 'HEWRUV PD\ QRW EH UHDOL]HG DQG DUH LQKHUHQWO\ VXEMHFW WR VLJQLILFDQW HFRQRPLF ILQDQFLDO OHJDO DQG RWKHU
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  5HFRYHULHV IRU &ODVVHV              >@                                                                                      




 1HW RI 3UHSHWLWLRQ 'LVWULEXWLRQV 1RWH KRZHYHU WKDW WUHDWPHQW WR UHGXFH WKHVH &ODLPV E\ 3UHSHWLWLRQ 'LVWULEXWLRQV PD\ QRW RFFXU LQ D FKDSWHU 
                           Case 17-12560-KJC                       Doc 2353              Filed 08/16/18                 Page 145 of 503


                                                           :RRGEULGJH *URXS RI &RPSDQLHV //& HW DO
                                                                3URMHFWHG /LTXLGDWLRQ $QDO\VLV



 1RWHV WR 3URMHFWHG /LTXLGDWLRQ $QDO\VLV

 $V IXUWKHU GLVFXVVHG LQ WKH 'LVFORVXUH 6WDWHPHQW ZKLOH JHQHUDOO\ SUHVHQWHG ZLWK QXPHULFDO VSHFLILFLW\ WKLV /LTXLGDWLRQ $QDO\VLV LV EDVHG RQ D YDULHW\ RI DVVXPSWLRQV
 DQG HVWLPDWHV ZKLFK DOWKRXJK FRQVLGHUHG UHDVRQDEOH E\ WKH 'HEWRUV PD\ QRW EH UHDOL]HG DQG DUH LQKHUHQWO\ VXEMHFW WR VLJQLILFDQW HFRQRPLF ILQDQFLDO OHJDO DQG RWKHU
 XQFHUWDLQWLHV DQG FRQWLQJHQFLHV IXWXUH HYHQWV WKDW DUH XQNQRZQ DW WKLV WLPH DQG DFWLRQV RI RWKHU SDUWLHV WKDW DUH XQNQRZQ DQG EH\RQG WKH FRQWURO RI WKH 'HEWRUV
 8QFHUWDLQWLHV DQG FRQWLQJHQFLHV LQFOXGH ZLWKRXW OLPLWDWLRQ XQFHUWDLQWLHV LQ YDOXDWLRQV RI $VVHWV FKDQJHV LQ YDOXHV RI $VVHWV VXFFHVV LQ PDUNHWLQJ DQG VDOH RI (VWDWH
 $VVHWV DQG VHWWOHPHQWV RU DGMXGLFDWLRQV RI /LTXLGDWLRQ 7UXVW $FWLRQV DQG &ODLPV REMHFWLRQV XQGHU WKH 3ODQ RU LQ D FKDSWHU  FDVH WKDW PD\ EH PDWHULDOO\ EHWWHU RU
 ZRUVH WKDQ SURMHFWHG ,Q DGGLWLRQ QHZ LQIRUPDWLRQ PD\ DOVR EH GLVFRYHUHG FRQFHUQLQJ (VWDWH $VVHWV DQG DOORZDEOH &ODLPV :KLOH DQ DWWHPSW KDV EHHQ PDGH WR
 SURYLGH HVWLPDWHV RI UHFRYHULHV WR &UHGLWRUV EDVHG RQ FXUUHQW LQIRUPDWLRQ WKH XOWLPDWH UHFRYHU\ WR *HQHUDO 8QVHFXUHG &UHGLWRUV 1RWHKROGHUV DQG 8QLWKROGHUV PD\
 EH VLJQLILFDQWO\ GLIIHUHQW WKDQ SURMHFWHG DQG WKLV /LTXLGDWLRQ $QDO\VLV VKRXOG QRW EH UHOLHG RQ DV D JXDUDQWHH RU RWKHU DVVXUDQFH RI WKH DFWXDO UHVXOWV WKDW ZLOO RFFXU
 7KH HVWLPDWHG $OORZHG &ODLP DPRXQWV LQ HDFK &ODVV VHW IRUWK LQ WKH /LTXLGDWLRQ $QDO\VLV DUH RQO\ WKH 'HEWRUV¶ FXUUHQW HVWLPDWHV RI $OORZHG &ODLPV DW WKH FRQFOXVLRQ
 RI WKH &ODLP REMHFWLRQ SURFHVV DUH VXEMHFW WR FKDQJH DIWHU IXUWKHU UHYLHZ DQG DQDO\VLV DQG DGMXGLFDWLRQ RU RWKHU UHVROXWLRQ RI WKH &ODLPV DQG VKRXOG QRW EH UHOLHG RQ
 DV UHSUHVHQWLQJ DJUHHPHQW RI WKH 'HEWRUV RU DQ\ RWKHU SDUW\ WR WKH DPRXQWV VHW IRUWK




                                                                                                                                             8QLWKROGHU +LJK &DVH >@
                                                                                              3ODQ 5HFRYHULHV                                  &KDSWHU  5HFRYHULHV
                                                     (VWLPDWHG        (VWLPDWHG                                            (VWLPDWHG
                                                     3ULQFLSDO         $OORZHG                              5HFRYHU\        $OORZHG                             5HFRYHU\
                                         1RWH          &ODLP         &ODLP 1HW            $PRXQW                       &ODLP 1HW           $PRXQW             


&DVK                                        >@                                                                                    
:LQG'RZQ $VVHWV 1HW                       >@                                                                                      
/LTXLGDWLRQ 7UXVW $VVHWV 1HW               >@                                                                                                            

  7RWDO $VVHWV                                                                                                                       


/LTXLGDWLRQ 7UXVW &RVWV                                                                                                                          
&KDSWHU  $GPLQLVWUDWLYH &ODLPV            >@                                                                                                                   
&KDSWHU  3URIHVVLRQDO )HH &ODLPV          >@                                                                     
&KDSWHU  3URIHVVLRQDO )HH &ODLPV                                                                                                   
',3 &ODLPV                                  >@                                                                                                                   

  1HW $VVHWV $YDLODEOH IRU &UHGLWRUV                                                                                                 


3ULRULW\ 7D[ &ODLPV                         >@                                                                               
&ODVV  2WKHU 6HFXUHG &ODLPV               >@                                                                       
&ODVV  3ULRULW\ &ODLPV                    >@                                                                                       

  1HW $VVHWV $YDLODEOH IRU &ODVVHV                                                                                              


&ODVV  6WDQGDUG 1RWH &ODLPV            >@                                                            
&ODVV  *HQHUDO 8QVHFXUHG &ODLPV        >@                                                                           
&ODVV  8QLW &ODLPV                     >@                                                              
&ODVV  1RQ'HEWRU /RDQ 1RWH &ODLPV     >@                                                                                                                     

  5HFRYHULHV IRU &ODVVHV              >@                                                                                      




 1HW RI 3UHSHWLWLRQ 'LVWULEXWLRQV 1RWH KRZHYHU WKDW WUHDWPHQW WR UHGXFH WKHVH &ODLPV E\ 3UHSHWLWLRQ 'LVWULEXWLRQV PD\ QRW RFFXU LQ D FKDSWHU 
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                     :RRGEULGJH *URXS RI &RPSDQLHV //& HW DO
                          3URMHFWHG /LTXLGDWLRQ $QDO\VLV
                                 $GGLWLRQDO 1RWHV


1RWHV

  >@    &DVK                3URMHFWHG FDVK RI WKH 'HEWRUV DV RI 1RYHPEHU  

  >@    :LQG'RZQ $VVHWV   7KLV UHSUHVHQWV HVWLPDWHV IRU WKH QHW UHFRYHUDEOH YDOXH RI WKH
         1HW                 'HEWRUV¶ LQWHUHVWV LQ WKH :LQG'RZQ $VVHWV WKDW DUH
                             GHVFULEHG LQ WKH 'LVFORVXUH 6WDWHPHQW QHW RI OLHQV GHEW RU
                             RWKHU REOLJDWLRQV XSNHHS GHYHORSPHQW DQG OLTXLGDWLRQ
                             FRVWV DQG FRVWV XQGHU WKH 3ODQ RU LQ FKDSWHU  RWKHU WKDQ IHHV
                             DQG H[SHQVHV UHODWLQJ WR SURVHFXWLQJ /LTXLGDWLRQ 7UXVW
                             $FWLRQV $V GHVFULEHG LQ WKH 'LVFORVXUH 6WDWHPHQW WKHVH
                             DVVHWV LQFOXGH GLUHFW DQG LQGLUHFW LQWHUHVWV LQ UHDO SURSHUW\ RU
                             RWKHU DVVHWV

                             1XPHURXV DVVXPSWLRQV ZHUH PDGH WR DUULYH DW WKH QHW HTXLW\
                             YDOXH RI WKH UHDO HVWDWH DQG RWKHU DVVHWV UHODWLQJ WR JURVV
                             YDOXHV H[SHQVHV DQG FRVWV RI OLTXLGDWLRQ LQFOXGLQJ LWHPV
                             VXFK DV UHPDLQLQJ SD\PHQWV GXH XQGHU SURPLVVRU\ QRWHV
                             RSHUDWLQJ H[SHQVHV DQGRU FRVWV RI VDOH ,QIRUPDWLRQ
                             VXSSRUWLQJ WKH DVVXPSWLRQV RI YDOXH XWLOL]HG PD\ LQFOXGH
                             UHFHQW RIIHUV WR SXUFKDVH SDUWLFXODU DVVHWV DSSUDLVDOV
                             FRPSDUDEOH VDOHV WUDQVDFWLRQV DQG RWKHU VRXUFHV &HUWDLQ
                             DGMXVWPHQWV WR YDOXH PD\ DOVR EH LQFRUSRUDWHG LQ DQ DWWHPSW
                             WR DUULYH DW D UHDVRQDEOH HVWLPDWH RI YDOXH WR DFFRXQW IRU
                             XQFHUWDLQW\ UHODWHG WR XOWLPDWHO\ DFKLHYLQJ HVWLPDWHG QHW
                             HTXLW\ YDOXHV GXH WR ODFN RI OLTXLGLW\ LQFRPSOHWH
                             LQIRUPDWLRQ SRWHQWLDO GLVSXWHV RU RWKHU FRQVLGHUDWLRQV
                             +RZHYHU DFWXDO QHW UHFRYHULHV PD\ EH PDWHULDOO\ KLJKHU RU
                             ORZHU WKDQ SURMHFWHG

                             $V QRWHG DERYH WKH DPRXQWV UHDOL]HG IRU OLTXLGDWLRQ RI
                             :LQG'RZQ $VVHWV XQGHU WKH 3ODQ DQG LQ D FKDSWHU  FDVH
                             DUH DOVR QHW RI HVWLPDWHG SRVW(IIHFWLYH 'DWH PDQDJHPHQW
                             H[SHQVHV DQG OHJDO IHHV RWKHU WKDQ IHHV UHODWLQJ WR
                             /LTXLGDWLRQ 7UXVW $FWLRQV $V GLVFXVVHG IXUWKHU LQ WKH
                             'LVFORVXUH 6WDWHPHQW LW LV DVVXPHG WKDW LQ D FKDSWHU 
                             OLTXLGDWLRQ D WUXVWHH ZLOO EH DSSRLQWHG RU VHOHFWHG DQG D QHZ
                             VHW RI SURIHVVLRQDOV ZLOO QHHG WR EH HPSOR\HG HYHQ LI FHUWDLQ
                             PDWWHUV DUH KDQGOHG E\ H[LVWLQJ SURIHVVLRQDOV DQG WKLV ZLOO
                             UHVXOW LQ PDWHULDO LQFUHPHQWDO SURIHVVLRQDO IHHV DV D UHVXOW RI
                              WKH DPRXQW RI WLPH DQG IHHV WKDW ZLOO EH UHTXLUHG WR
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                             EHFRPH IDPLOLDU ZLWK WKH FRPSOH[ ILQDQFLDO DIIDLUV RI WKH
                             'HEWRUV DV ZHOO DV WKH UHPDLQLQJ UHDO SURSHUW\ //& LQWHUHVWV
                             DQG RWKHU DVVHWV DQG DQDO\VLV DQG UHVROXWLRQ RI FODLPV DQG
                              WKH QHHG WR DGGUHVV LVVXHV WKDW DUH UHVROYHG XQGHU WKH 3ODQ
                             DQG RWKHUZLVH PD\ EH WKH VXEMHFW RI OLWLJDWLRQ

                             ,Q DGGLWLRQ WR ORZHU SURMHFWHG IHHV DQG FRVWV XQGHU WKH 3ODQ
                             WKDQ LQ FKDSWHU  WKH /LTXLGDWLRQ $QDO\VLV DVVXPHV D JUHDWHU
                             UHFRYHU\ IURP OLTXLGDWLRQ RI :LQG'RZQ $VVHWV XQGHU WKH
                             3ODQ WKDQ LQ FKDSWHU  EDVHG RQ WKH DELOLW\ RI PDQDJHPHQW WR
                             H[HFXWH WKH EXVLQHVV SODQ LQFOXGLQJ FRQWLQXHG GHYHORSPHQW
                             RI UHDO SURSHUW\ ZKLFK ZLOO JHQHUDWH EHWWHU UHVXOWV WKDQ XQGHU
                             D OLTXLGDWLRQ ZLWK D FKDSWHU  WUXVWHH

>@   /LTXLGDWLRQ 7UXVW      3URMHFWLQJ OLWLJDWLRQ UHFRYHULHV DQG FRVWV ZLWK DFFXUDF\ LV
      $VVHWV 1HW            SDUWLFXODUO\ GLIILFXOW GXH WR WKH XQFHUWDLQWLHV DULVLQJ IURP
                             RQJRLQJ GLVFRYHU\ LQ SHQGLQJ OLWLJDWLRQ GLVSXWHG OHJDO
                             LVVXHV OLPLWHG GDWD UHJDUGLQJ FROOHFWDELOLW\ DQG WKH
                             SRVVLELOLW\ WKDW FHUWDLQ OLWLJDWLRQ PD\ EH UHVROYHG WKURXJK
                             WUDQVIHUV RI SURSHUW\ LQ NLQG ZKLFK SURSHUW\ LWVHOI PD\ EH
                             GLIILFXOW WR DFFXUDWHO\ YDOXH

                             7KLV DPRXQW LV VHSDUDWH IURP WKH FRVWV RI RSHUDWLQJ WKH
                             /LTXLGDWLRQ 7UXVW ZKLFK DUH UHIOHFWHG LQ /LTXLGDWLRQ 7UXVW
                             &RVWV

>@   &KDSWHU             7KLV UHSUHVHQWV HVWLPDWHG XQSDLG $GPLQLVWUDWLYH &ODLPV
      $GPLQLVWUDWLYH &ODLPV ZKLFK &ODLPV JHQHUDOO\ DUH EHLQJ SDLG LQ WKH RUGLQDU\ FRXUVH

>@   &KDSWHU              7KLV UHSUHVHQWV HVWLPDWHG XQSDLG IHHV DQG H[SHQVHV RI
      3URIHVVLRQDO )HH       SURIHVVLRQDOV DQG PD\ EH VXEVWDQWLDOO\ KLJKHU LI WKHUH LV D
      &ODLPV                 FRQWHVWHG FRQILUPDWLRQ KHDULQJ RU RWKHU VLJQLILFDQW GLVSXWHV
                             SULRU WR WKH RFFXUUHQFH RI WKH 3ODQ¶V (IIHFWLYH 'DWH

                             3URMHFWHG &KDSWHU  3URIHVVLRQDO )HH &ODLPV DUH H[SHFWHG
                             WR EH ORZHU LQ FKDSWHU  WKDQ XQGHU WKH 3ODQ GXH ODUJHO\ WR
                             WKH UHGXFWLRQ LQ IHHV DWWULEXWHG WR 3ODQ FRQILUPDWLRQ HIIRUWV

>@   ',3 &ODLPV             7KLV UHSUHVHQWV HVWLPDWHG XQSDLG ',3 &ODLPV

>@   3ULRULW\ 7D[ &ODLPV    8QVHFXUHG 3ULRULW\ 7D[ &ODLPV LQFOXGH HVWLPDWHV RI $OORZHG
                             &ODLPV RI WKH &LW\ RI 'D\WRQD %HDFK &LW\ RI /RV $QJHOHV
                             2IILFH RI )LQDQFH &RQQHFWLFXW 'HSDUWPHQW RI 5HYHQXH
                             6HUYLFHV 'HODZDUH 'LYLVLRQ RI &RUSRUDWLRQV )UDQFKLVH 7D[
                             %RDUG DQG 1HZ <RUN &LW\ 'HSDUWPHQW RI )LQDQFH DV VHW IRUWK
                             DQG VXEMHFW WR WKH TXDOLILFDWLRQV LQ WKH 'LVFORVXUH 6WDWHPHQW
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>@    &ODVV  2WKHU         2WKHU 6HFXUHG &ODLPV UHSUHVHQW HVWLPDWHV RI DPRXQWV GXH IRU
       6HFXUHG &ODLPV         SD\PHQW RI $OORZHG 2WKHU 6HFXUHG &ODLPV

>@    &ODVV  3ULRULW\      3ULRULW\ &ODLPV LQFOXGH HVWLPDWHV RI $OORZHG 3ULRULW\
       &ODLPV                 &ODLPV

>@   &ODVV  6WDQGDUG      7KLV UHSUHVHQWV HVWLPDWHV RI WKH 1RWH &ODLPV ERWK JURVV
       1RWH &ODLPV            &ODLPV DQG QHW RI 3UHSHWLWLRQ 'LVWULEXWLRQV 6XFK DPRXQWV
                              LQFOXGH UHFODVVLILHG &ODVV  &ODLPV 5HFRYHULHV WR &ODVV 
                              DUH EDVHG RQ WKH 'LVWULEXWLRQ RI &DVK IURP WKH ,QLWLDO
                              'LVWULEXWLRQ )XQG DQG VXEVHTXHQW 'LVWULEXWLRQV RI &DVK RQ
                              DFFRXQW RI WKH &ODVV $ /LTXLGDWLRQ 7UXVW ,QWHUHVWV LQ
                              DFFRUGDQFH ZLWK WKH /LTXLGDWLRQ 7UXVW ,QWHUHVWV :DWHUIDOO

                              :KLOH HVWLPDWHV RI $OORZHG 1RWH &ODLPV DUH SUHVHQWHG RQ D
                              QHW EDVLV LQ ERWK VFHQDULRV VXFK QHW EDVLV WUHDWPHQW PD\ QRW
                              DFWXDOO\ RFFXU LQ D FKDSWHU  FDVH

>@   &ODVV  *HQHUDO       7KLV UHSUHVHQWV WKH KLJK HQG HVWLPDWH RI $OORZHG *HQHUDO
       8QVHFXUHG &ODLPV       8QVHFXUHG &ODLPV $GGLWLRQDO FODLPV DUH UHIOHFWHG LQ D
                              FKDSWHU  VFHQDULR WR DFFRXQW IRU FRQWUDFW UHMHFWLRQ GDPDJHV
                              WKDW PD\ QRW H[LVW XQGHU WKH 3ODQ EHFDXVH WKH VXEMHFW
                              FRQWUDFWV ZLOO OLNHO\ EH DVVXPHG DQG DVVLJQHG WR WKH :LQG
                              'RZQ (QWLW\ ,W LV DVVXPHG IRU SXUSRVHV RI WKH &KDSWHU 
                              5HFRYHULHV ± %DVH &DVH VFHQDULR WKDW WKH KROGHUV RI *HQHUDO
                              8QVHFXUHG &ODLPV ZRXOG UHFHLYH WKH VDPH UHFRYHU\ DV
                              KROGHUV RI 1RWH &ODLPV XQGHU WKH 3ODQ

>@   &ODVV  8QLW &ODLPV   7KLV UHSUHVHQWV HVWLPDWHV RI WKH 8QLW &ODLPV ERWK JURVV
                              &ODLPV DQG QHW RI 3UHSHWLWLRQ 'LVWULEXWLRQV 5HFRYHULHV WR
                              &ODVV  DUH EDVHG RQ WKH 'LVWULEXWLRQ RI &DVK IURP WKH ,QLWLDO
                              'LVWULEXWLRQ )XQG DQG VXEVHTXHQW 'LVWULEXWLRQV RI &DVK RQ
                              DFFRXQW RI WKH &ODVV $ /LTXLGDWLRQ 7UXVW ,QWHUHVWV LQ
                              DFFRUGDQFH ZLWK WKH /LTXLGDWLRQ 7UXVW ,QWHUHVWV :DWHUIDOO
                              EDVHG RQ WKH DVVXPHG DJJUHJDWH YDOXH DYDLODEOH IRU
                              GLVWULEXWLRQ QR &DVK ZLOO EH 'LVWULEXWHG RQ DFFRXQW RI WKH
                              &ODVV % /LTXLGDWLRQ 7UXVW ,QWHUHVWV

                              :KLOH HVWLPDWHV RI $OORZHG 8QLW &ODLPV DUH SUHVHQWHG RQ D
                              QHW EDVLV LQ ERWK VFHQDULRV VXFK QHW EDVLV WUHDWPHQW PD\ QRW
                              DFWXDOO\ RFFXU LQ D FKDSWHU  FDVH

>@   &ODVV  1RQ'HEWRU    ,W LV DVVXPHG IRU SXUSRVHV RI WKLV DQDO\VLV WKDW QR 1RQ
       /RDQ 1RWH &ODLPV       'HEWRU /RDQ 1RWH &ODLPV ZLOO EH $OORZHG DV 6HFXUHG
                              &ODLPV DQG WKXV DOO &ODVV  &ODLPV ZLOO LQVWHDG EH
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                                  UHFODVVLILHG LQ &ODVV  DQG UHFHLYH WKH UHFRYHULHV VHW IRUWK IRU
                                  &ODVV 

  >@   5HFRYHULHV IRU           7KLV UHSUHVHQWV WKH KLJK HQG HVWLPDWH RI H[SHFWHG UHFRYHULHV
         &ODVVHV               IRU &ODVVHV 

  >@   1RWHKROGHU +LJK &DVH     7KLV VFHQDULR PDNHV WKH PRVW IDYRUDEOH SRVVLEOH DVVXPSWLRQV
                                  UHJDUGLQJ WKH SRVLWLRQ RI WKH 1RWHKROGHUV LQFOXGLQJ WKDW WKH
                                  1RWH &ODLPV FRXOG EH DOORZDEOH DV 6HFXUHG &ODLPV WKDW WKH
                                  8QLWV ZRXOG QRW EH WUHDWHG DV &ODLPV DQG WKDW WKHUH ZRXOG EH
                                  QR DVVHWV IRU :RRGEULGJH *URXS RI &RPSDQLHV WR GLVWULEXWH
                                  ,Q WKLV VFHQDULR QR 'LVWULEXWLRQV DUH SURYLGHG RQ DFFRXQW RI
                                  *HQHUDO 8QVHFXUHG &ODLPV RU 8QLW &ODLPV VXFK WKDW 
                                  RI WKH QHW DVVHWV DYDLODEOH IRU &UHGLWRUV RWKHU WKDQ 2WKHU
                                  6HFXUHG &ODLPV DQG 3ULRULW\ &ODLPV DUH SDLG WR WKH
                                  1RWHKROGHUV 7KLV UHVXOW ± ZKLFK LV VWLOO OHVV IDYRUDEOH IRU
                                  1RWHKROGHUV WKDQ WKH SURMHFWHG UHFRYHULHV XQGHU WKH 3ODQ ±
                                  ZRXOG RFFXU RQO\ DIWHU YHU\ VXEVWDQWLDO OLWLJDWLRQ ZLWK
                                  DWWHQGDQW FRVWV DQG GHOD\ 7KH DGGLWLRQDO OLWLJDWLRQ H[SHQVHV
                                  FRXOG EH ERUQH LQ ODUJH SDUW E\ LQGLYLGXDO 1RWHKROGHUV DQG
                                  RWKHU SDUWLHV LQ LQWHUHVW DQG WKXV DUH QRW UHIOHFWHG LQ WKH
                                  DQDO\VLV

  >@   8QLWKROGHU +LJK &DVH     7KLV VFHQDULR PDNHV WKH PRVW IDYRUDEOH SRVVLEOH DVVXPSWLRQV
                                  UHJDUGLQJ WKH SRVLWLRQ RI WKH 8QLWKROGHUV LQFOXGLQJ WKDW WKH
                                  8QLW &ODLPV DUH DOORZDEOH DV DFWXDO ³&ODLPV´ UDWKHU WKDQ DV
                                  (TXLW\ ,QWHUHVWV DQG DUH XOWLPDWHO\ DEOH WR SDUWLFLSDWH UDWDEO\
                                  ZLWK WKH 1RWH &ODLPV ,Q WKLV VFHQDULR DOO 'LVWULEXWLRQV DUH
                                  PDGH UDWDEO\ DPRQJ WKH KROGHUV RI *HQHUDO 8QVHFXUHG
                                  &ODLPV 1RWH &ODLPV DQG 8QLW &ODLPV 7KLV UHVXOW ± ZKLFK
                                  LV VWLOO OHVV IDYRUDEOH IRU 8QLWKROGHUV WKDQ WKH SURMHFWHG
                                  UHFRYHULHV XQGHU WKH 3ODQ ± ZRXOG RFFXU RQO\ DIWHU YHU\
                                  VXEVWDQWLDO OLWLJDWLRQ ZLWK DWWHQGDQW FRVWV DQG GHOD\ 7KH
                                  DGGLWLRQDO OLWLJDWLRQ H[SHQVHV FRXOG EH ERUQH LQ ODUJH SDUW E\
                                  LQGLYLGXDO 8QLWKROGHUV DQG RWKHU SDUWLHV LQ LQWHUHVW DQG WKXV
                                  DUH QRW UHIOHFWHG LQ WKH DQDO\VLV


*OREDO 1RWH 7KLV DQDO\VLV DVVXPHV WKDW YDOXH ZRXOG EH GLVWULEXWHG LQ D FKDSWHU  VFHQDULR DIWHU
FRQVROLGDWLQJ WKH 'HEWRUV LQ D IDVKLRQ VLPLODU WR WKH FRQVROLGDWLRQ FRQWHPSODWHG E\ WKH 3ODQ
LQFOXGLQJ EHFDXVH PDQ\ RI WKH IDFWRUV WKDW VXSSRUW WKH FRQVROLGDWLRQ SURSRVHG E\ WKH 3ODQ ZRXOG
EH HTXDOO\ DSSOLFDEOH LQ D FKDSWHU  FDVH DQG EHFDXVH VXFK D FRQVROLGDWHG DQDO\VLV DOORZV IRU DQ
DSSOHVWRDSSOHV FRPSDULVRQ EHWZHHQ WKH 3ODQ DQG D FKDSWHU  VFHQDULR :KLOH WKH 'HEWRUV
EHOLHYH WKLV DVVXPSWLRQ LV DSSURSULDWH XQGHU WKH FLUFXPVWDQFHV RWKHU RXWFRPHV PD\ UHVXOW LQ D
FKDSWHU  VFHQDULR DQG DQ\ RXWFRPH ZRXOG OLNHO\ RFFXU RQO\ DIWHU VXEVWDQWLDO OLWLJDWLRQ FRVWV
KDYH EHHQ LQFXUUHG
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                                            EXHIBIT C


                                 New Board of Managers Biographies




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                                         EXHIBIT &

                                    Michael I. Goldberg, Esq.




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                                  MICHAEL I. GOLDBERG


Michael Goldberg is the co-chair of Akerman LLP's Fraud & Recovery Practice Group, a
comprehensive fraud management team focusing on Ponzi schemes and EB-5 fraud. He is also a
partner in the Bankruptcy Practice Group and previously served as its chair. Mr. Goldberg has
managed some of the largest Ponzi scheme liquidation recoveries in U.S. history. More recently
he has developed a reputation for his work unraveling EB-5 fraud schemes. Mr. Goldberg has
served as court-appointed receiver in many cases over the past two decades, helping victims
maximize potential returns by identifying, securing, and monetizing potential assets as quickly
and efficiently as possible. Mr. Goldberg regularly lectures on Ponzi schemes, EB-5 fraud and
receiverships and has written numerous articles on these topics.


   •   Mr. Goldberg obtained a J.D. from Boston University School of Law in 1990, magna
       cum laude, a M.B.A. from New York University in 1987 and a B.A. in history from
       Boston University in 1985.
   •   Mr. Goldberg is admitted to both the Florida and New York State bars and numerous
       federal courts.

Mr. Goldberg has received numerous honors and distinctions, including:

   •   The Best Lawyers in America 2015-2016, Named as “Lawyer of the Year” for Litigation-
       Bankruptcy and Bankruptcy and Creditor Debtor Rights/Insolvency and Reorganization
       Law in Fort Lauderdale in 2018 and Lawyer of the Year” for Bankruptcy and Creditor
       Debtor Rights / Insolvency and Reorganization Law in Miami in 2013.
   •   Chambers USA 2006-2017, Ranked in Band 1 in Florida for Bankruptcy/Restructuring
   •   Super Lawyers Magazine 2010, Listed in Florida as a “Top 100 Lawyer”
   •   BTI 2007, Listed as a Client Service “All-Star"

Mr. Goldberg is regularly recommended to serve as receiver to district courts by the SEC in
connection with SEC receivership cases and has served as a receiver for the SEC in
approximately 20 cases in the past 20 years. The following cases are currently active:

1. SEC v. Jay Construction Management, Inc. et al., Case No. 16-cv-213-01-GAYLES
(U.S.D.C. S.D. Fla);
2. SEC v. Worldwide Entertainment, Inc., Case No. 06-20975-HUCK (U.S.D.C. S.D. Fla);
3. SEC v. U.S. EB-5 Investments, LLC, Case No. 15-62323-LENARD (U.S.D.C. S.D. Fla).

Mr. Goldberg has never had any business, social or other relationship with Robert Shapiro and
has never had any investment in any entity associated with him or the Woodbridge Group.
Akerman, LLP has never had a business relationship with Mr. Shapiro.
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                                       EXHIBIT &2

                                       Richard Nevins




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                                       EXHIBIT &3

                                      M. Freddie Reiss




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                                               EXHIBIT D


                     Non-Exclusive Description of Preserved Liquidation Trust Actions




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                         EXHIBIT D TO DISCLOSURE STATEMENT
                (Non-Exclusive Description of Preserved Liquidation Trust Actions)1

a. Pending Litigation

           i.   Nature of Claims. Any and all Causes of Action that have been asserted or that may
                be asserted via amendment or otherwise in pending litigation, arbitration, and other
                proceedings with the Debtors, including, without limitation, adversary proceedings
                filed in connection with the Chapter 11 Cases and the litigations, arbitrations, and
                other proceedings referred to in the Debtors’ Schedules and/or the Debtors’
                Statements of Financial Affairs (“SOFAs”).2

       ii.      Potential Defendants. The parties that have been named or may properly be named
                via amendment or otherwise as defendants in any pending litigation, arbitration, and
                other proceedings with the Debtors.

b. Parties to Tolling Agreements

           i.   Nature of Claims. Any and all Causes of Action that may be asserted against any
                Persons that are parties to a tolling agreement with a Debtor, including, without
                limitation, any and all such Persons identified in any of the Schedules or SOFAs.

       ii.      Potential Defendants. The parties to tolling agreements with a Debtor as well as their
                alter egos, if any.

c. Contract and Lease Claims

           i.   Nature of Claims. Any and all Causes of Action based on contracts or leases,
                including, without limitation, loan agreements, between or among one or more of the
                Debtors and any contract or lease counterparty. Such Causes of Action may include
                breach of contract, breach of the covenant of good faith and fair dealing, breach of
                warranty, fraud, reformation, rescission, and restitution.

       ii.      Potential Defendants. Contract and lease counterparties and their alter egos, if any,
                including, without limitation, any and all such Persons identified in any of the
                Schedules or SOFAs.



1
     Capitalized terms used but not otherwise defined herein have the meanings set forth for those Defined Terms in
the Plan.
2
     For the avoidance of doubt, for purposes of this exhibit, the failure to identify any Person, document, or other
item in the Schedules or SOFAs does not and shall not constitute a release, renunciation, abandonment, or
disclaimer of any claim or defense against any Person. For the further avoidance of doubt, nothing in this exhibit is
intended to impair, amend, supersede, or modify in any way the releases and exculpations expressly provided by
Sections 11.11 and 11.12 of the Plan or any other express release of claims that was in effect prior to the Effective
Date.


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d. Avoidance Actions

           i.   Nature of Claims. Any and all claims that constitute Avoidance Actions.

       ii.      Potential Defendants. Vendors, lenders, other creditors, borrowers, Noteholders,
                Unitholders, current and former holders of Notes who have received prepetition
                distributions (including return of capital) by the Debtors in an amount that exceeds
                such holders’ investment in the Debtors (including in respect of “net winner”
                litigation), current and former holders of Units who have received prepetition
                distributions (including return of capital) by the Debtors in an amount that exceeds
                such holders’ investment in the Debtors (including in respect of “net winner”
                litigation), current and former holders of Notes and Units who have received
                prepetition distributions (including return of capital) by the Debtors in any amount
                and whose claims (including without limitation claims arising by reason of section
                502(h) of the Bankruptcy Code), if any, based upon their current or former holdings
                of Notes and Units are not entitled to a pari passu distribution with other holders of
                Notes or Unit including without limitation by reason of subordination pursuant to
                section 510 of the Bankruptcy Code, investors, banks, equityholders, insiders,
                directors, officers, partners, principals, members, managers, non-debtor affiliates,
                employees, independent contractors, brokers, in-house and external sales agents,
                other agents, professionals, and counterparties, including, without limitation, any and
                all other Persons identified in any of the Schedules or SOFAs and all Excluded
                Parties and Disputing Claimants, as well as their alter egos, if any.

e. Breach of Fiduciary Duty Claims

           i.   Nature of Claims. Any and all Causes of Action for breach of duty by one acting in a
                fiduciary of similar capacity, whether based on intentional, willful, reckless or
                negligent conduct, including, without limitation, by act or omission.

       ii.      Potential Defendants. Any Person who now is or has ever been an insider, director,
                officer, partner, principal, member, manager, non-debtor affiliate, employee,
                independent contractor, broker, in-house or external sales agent, other agent,
                professional, or other fiduciary of, for or in any of the Debtors, including, without
                limitation, all Excluded Parties, as well as their alter egos, if any.

f. Claims for Negligent, Reckless and/or Intentional Misconduct, including, without limitation,
   malpractice

           i.   Nature of Claims. Any and all Causes of Action based on negligent, reckless or
                intentional misconduct, including, without limitation, by act or omission.

       ii.      Potential Defendants. Any Person who now is or has ever been an insider, director,
                officer, partner, principal, member, manager, non-debtor affiliate, employee,
                independent contractor, broker, in-house or external sales agent, other agent,
                professional, or other fiduciary or adviser of, for or in any of the Debtors, including,
                without limitation, all Excluded Parties, as well as their alter egos, if any.


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g. Claims Based on Strict Liability

           i.   Nature of Claims. Any and all Causes of Action based on strict liability, whether
                related to the provision or purchase of real or personal property, a service, of any
                tangible or intangible property.

       ii.      Potential Defendants. Any Person who now is or has ever sold, gifted, transferred or
                otherwise provided real or personal property, a service, or any tangible or intangible
                property to or for any of the Debtors, including, without limitation, all Excluded
                Parties, as well as their alter egos, if any.

h. Equitable Subordination and Disallowance

           i.   Nature of Claims. Any and all claims based on Bankruptcy Code §§ 502(j) and/or
                510 and/or applicable local, state or federal law relating to the subordination or
                disallowance of claims or interests.

       ii.      Potential Defendants. Any Person who has filed or who holds a Claim in any
                Debtor’s bankruptcy case, who has asserted or asserts a Claim, or who is listed in the
                Schedules as holding a Claim that is disputed, contingent, or unliquidated, and any
                person or entity who holds an Interest in any of the Debtors, including, without
                limitation, all Excluded Parties and Disputing Claimants, as well as their alter egos, if
                any.

i. Tax Refunds

           i.   Nature of Claims. Any and all claims that the Debtors might have for tax refunds.

       ii.      Potential Defendants. Any federal, state, local, or foreign taxing authority.

j. Specific Claims Against Insiders and Their Related Parties

           i.   Nature of Claims. Any and all claims relating to or arising out of or deriving from the
                following:

                (a)    the transfer of no less than $53 million to, or for the benefit of, Robert H.
                       Shapiro or Persons associated with him, including, without limitation,
                       amounts reimbursed by the Debtors for credit card charges or otherwise
                       transferred for:

                       •   hotels, including, without limitation, transfers made to Four Seasons
                           Hotels, The London, Ritz Carlton, Seagate Hotel and Spa, Mr. C’s Hotel,
                           Ventanas Al Paraiso, Hotel Le Bristol, and Snowmass Ski Area

                       •   travel expenses, including, without limitation, transfers made to United
                           Airlines, Virgin America, American Airlines, Delta Airlines, and Hertz
                           Rent-A-Car


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                •   limousine services, including, without limitation, transfers made to Rocky
                    Mountain Limo, and Lax Maria’s Limo

                •   home furnishings, including, without limitation, transfers made to Roaring
                    Fork Furniture, Flooring Liquidators & More, Angulo Custom Furnishing,
                    Lowes, Restoration Hardware, Moda Italia Home Furnishing, Mitchell Litt
                    Antiques, Christie’s NY Auction, Aspen Design Room, Nest Furnishings
                    & Con, Bed Bath & Beyond, and Custom Blind & Carpet

                •   luxury retail purchases, including, without limitation, transfers made to
                    XIV Karats Ltd., Bvlgari, Louis Vuitton, Vhemier, Chanel, Jimmy Choo,
                    Ermenegildo Zegna, Dolce & Gabbana, FarFetch, and Fendi

                •   meals and entertainment

                •   political contributions

                •   jewelry

                •   wine, including, without limitation, transfers made to Wine on the Way

                •   private plane charters

                •   alimony to Robert H. Shapiro’s ex-wife

                •   luxury automobiles, including, without limitation, transfers made to
                    O’Gara Coach Co. and Dirty Devil Customs Auto Body Shop

                •   country club fees

                •   rare coins and precious metals

                •   taxes and fees, including, without limitation transfer made to the United
                    States Treasury, other taxing authorities, and fees paid to various courts

                •   utilities/telecommunications, including, without limitation, charges to
                    utility companies and telecommunications companies, and including in
                    respect of internet, telephones, security systems, and others

                •   storage/moving/courier, including, without limitation, transfers made to
                    storage locations, moving companies and shipping companies, including
                    FedEx, UPS and USPS

                •   spas and salons

                •   other retail, including, without limitation, transfers made for technology
                    items (including at BestBuy and Apple), vitamins, liquor, cigars, flower,

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                     clothing (including at Amazon, Nordstrom, and Target), beauty items,
                     accessories, home décor, and office furniture and supplies

                 •   real estate-related charges, including, without limitation, charges for
                     locksmiths, home inspections, contractors, and real estate agents

                 •   professional fees, including, without limitation, fees paid to law firms and
                     accounting firms

                 •   medical expenses, including, without limitation, transfers to doctors,
                     hospitals, and veterinarians

                 •   insurances payments

                 •   groceries and pharmacies

                 •   business expenses

                 •   bank and service fees

           (b)   to the extent not described above, the transfers to, or for the benefit, of the
                 following Persons in no less than the following amounts:

                 •   Robert H. Shapiro -- $15,572,108

                 •   Moorpark Boca Funding, LLC -- $10,792,502

                 •   Scott Schwartz / Up & Coming Capital LLC -- $1,319,320

                 •   Jeri Shapiro -- $1,640,318

                 •   3X a Charm -- $1,286,425

                 •   Schwartz Media Buying Company, LLC -- $17,788,045

                 •   Joy Gravenhorst -- $155,000

                 •   Riverdale Funding, LLC -- $4,600,518

                 •   Carbondale Basalt Owners, LLC -- $781,000

                 •   Carbondale Glen Owners, LLC -- $156,000

                 •   Carbondale Glen Lot 18, LLC -- $100,000

           (c)   the commissions paid to Woodbridge Realty of Colorado, LLC d/b/a
                 Woodbridge Realty Unlimited and Woodbridge Luxury Homes of California,
                 Inc. d/b/a Mercer Vine, Inc. plus all additional amounts transferred thereto;

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             (d)    the Transition Services Agreement, by and between Woodbridge Group of
                    Companies, LLC and WFS Holding Co LLC, dated as of December 1, 2017;

             (e)    the Membership Interest Contribution Agreement, by and among RS
                    Protection Trust, Woodbridge Group of Companies, LLC, and Carbondale
                    Doocy, LLC, dated as of December 1, 2017;

             (f)    the Forbearance Agreement, by and among Jeri Shapiro, Emerald Lake
                    Investments, LLC, H19 Emerald Lake Holding Company, LLC, Woodbridge
                    Mortgage Investment Fund 3, LLC, Carbondale Glen River Mesa, LLC,
                    Woodbridge Mortgage Investment Fund 1, LLC, Woodbridge Mortgage
                    Investment Fund 3A, LLC, and WGC Independent Manager LLC, dated as of
                    December 1, 2017;

             (g)    the Subordination, Non-Disturbance, and Attornment Agreement, by and
                    among Emerald Lake Investments, LLC, Jeri Shapiro, Woodbridge Mortgage
                    Investment Fund 3, LLC, and WGC Independent Manager LLC, dated as of
                    December 1, 2017;

             (h)    the Subordination, Non-Disturbance, and Attornment Agreement, by and
                    among Carbondale Glen River Mesa, LLC, Jeri Shapiro, Woodbridge
                    Mortgage Investment Fund 1, LLC, Woodbridge Mortgage Investment Fund
                    3A, LLC, and WGC Independent Manager LLC, dated as of December 1,
                    2017; and

             (i)    any and all other contracts and leases with the Debtors.

       ii.   Potential Defendants. Robert H. Shapiro, RS Protection Trust, Jeri Shapiro,
             Carbondale Glen Lot 18, LLC, Carbondale Glen Owners, LLC, Carbondale Basalt
             Owners, LLC, Woodbridge Realty of Colorado, LLC d/b/a Woodbridge Realty
             Unlimited, Woodbridge Luxury Homes of California, Inc. d/b/a Mercer Vine, Inc.,
             Riverdale Funding, LLC, Schwartz Media Buying Company, LLC, WFS Holding
             Co., LLC, a/k/a WFS Holding Company, LLC, Scott Schwartz, Up & Coming Capital
             LLC, Moorpark Boca Funding, LLC, 3X a Charm, Joy Gravenhorst, each of the
             recipients of the transfers referenced in Section j.i.(a) hereof (whether or not
             specifically listed) and each of their respective equityholders, insiders, directors,
             officers, partners, principals, members, managers, trustees, trusts, affiliates, family
             members, estates, heirs, executors, administrators, transferees, successors, and
             assigns, including, without limitation, all Excluded Parties, as well as their alter egos,
             if any.

k. All Other Causes of Action, Avoidance Actions, and Contributed Claims Against Excluded
   Parties




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           i.   Nature of Claims. Any and all other Causes of Action, Avoidance Actions, and
                Contributed Claims that may exist as against any of the Excluded Parties, whatever
                the nature or theory, including, without limitation, (a) all Causes of Action based on,
                arising out of, or related to the marketing, sale, and issuance of any Notes or Units;
                (b) all Causes of Action for unlawful dividend, fraudulent conveyance, fraudulent
                transfer, voidable transaction, or other avoidance claims under state or federal law; (c)
                all Causes of Action based on, arising out of, or related to the misrepresentation of
                any of the Debtors’ financial information, business operations, or related internal
                controls; and (d) all Causes of Action based on, arising out of, or related to any failure
                to disclose, or actual or attempted cover up or obfuscation of, any of the conduct
                described in the Disclosure Statement, including, without limitation, in respect of any
                alleged fraud related thereto.

       ii.      Potential Defendants. Any of the Excluded Parties. This term is defined in the Plan
                as: Any prepetition insider of any of the Debtors, any non-debtor affiliates of the
                Debtors or insider of any such non-debtor affiliates, any prepetition employee of any
                of the Debtors involved in any way in the marketing or sale of Notes or Units, and
                any other Person (including any “broker,” salesperson, consultant, affiliated entity, or
                professional) involved in any way in the marketing or sale of Notes or Units. A non-
                exclusive schedule to the Disclosure Statement lists certain of the Excluded Parties,
                but any Person falling with the definition of Excluded Parties is a potential defendant,
                as well as their alter egos, if any.

l. All Other Causes of Action, Avoidance Actions, and Contributed Claims Against Disputing
   Claimants

           i.   Nature of Claims. Any and all other Causes of Action, Avoidance Actions, and
                Contributed Claims that may exist as against any of the Disputing Claimants,
                whatever the nature or theory, including, without limitation, all Causes of Action for
                unlawful dividend, fraudulent conveyance, fraudulent transfer, voidable transaction,
                or other avoidance claims under state or federal law.

       ii.      Potential Defendants. Any of the Disputing Claimants, as well as their alter egos, if
                any. This term is defined in the Plan as: Either (a) a Noteholder or Unitholder (other
                than an Excluded Party) that has disputed the amounts set forth for such Creditor in
                the Schedule of Principal Amounts and Prepetition Distributions pursuant to the
                procedures set forth in the Disclosure Statement Order and applicable Ballot; or (b) a
                Noteholder holding a Non-Debtor Loan Note Claim that has not elected to have such
                Claim reclassified in Class 3 pursuant to the procedures set forth in the Disclosure
                Statement Order and applicable Ballot. The specific Disputing Claimants cannot be
                identified at this time as individual Noteholders and Unitholders themselves control
                whether or not they become Disputing Claimants during the balloting process.




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                                              EXHIBIT E


                                        Wind-Down Business Plan




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         As of the Plan's Effective Date, the Wind-Down Entity will own real estate assets that include
         land suitable for the development of custom single-family homes, under construction homes
         that are expected to be completed over the next twenty-four (24) months, and new custom
         homes recently constructed and awaiting sale. The real estate assets are located predominately
         in the Los Angeles area of Southern California, with one house under renovation in New York
         City, two new custom homes under construction in the Snowmass area of Colorado, and several
         residential home sites in the Carbondale area of Colorado. The Wind-Down Entity also will have
         real estate interests in various U.S. cities, resulting from the Debtors' interests in “Riverdale,” a
         former real estate lender segment that presently owns mortgages and foreclosed real estate
         relating to loans that were extended to non-debtor borrowers.

         The business plan for the Wind-Down Entity is premised on the orderly disposition of its real
         estate assets through April 2021. Custom homes that are under construction as of the Plan's
         Effective Date will be completed and sold to third parties. Recently completed homes and
         certain land holdings suitable for residential development will also be sold to third parties.
         During the construction and disposition period, the Wind-Down Entity will incur construction
         costs, sales and marketing expenses, typical operating costs and will have working capital
         needs. The business plan contemplates that all assets will be sold by April 2021. Based on the
         various conditions and assumptions of the business plan, the estimated net recovery proceeds
         to the Liquidation Trust are expected to be approximately $521 to $583 million.

         As of the date of the filing of the Disclosure Statement, the Debtors have consummated
         33 property sales that have generated net sale proceeds of approximately $106.1 million. In
         addition, there are currently 16 properties in escrow that are projected to generate
         approximately $23.6 million in additional sale proceeds, presuming these sales close on their
         current terms. There are also 20 properties in Southern California that are presently listed for
         sale by various brokers in the aggregate amount of approximately $263 million. The Debtors
         expect that a majority of these properties will be sold during the pre-confirmation period, i.e.,
         prior to the end of 2018. Notwithstanding the foregoing, the ultimate closings of properties
         currently listed for sale are subject to market conditions and various external factors that are
         not within the Debtors’ control, thus actual results may differ materially from these projections.




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WOODBRIDGE
SUMMARY PROJECTED CASH FLOWS
for the period February 1, 2018 through June 30, 2021
($ in thousands, Undiscounted)




                                                                 TOTAL              TOTAL THROUGH              TOTAL POST
                                                                FUTURE               CONFIRMATION             CONFIRMATION
                                                               CASH FLOW               (NOV-2018)           (DEC-18 TO JUN-21)

        Final Exit Year                                            2021

        Wind-Down Entity
         Net Revenues                                             $843,117    (a)           $209,445                   $633,672
         Total Costs                                              (234,315)   (b)            (95,726)                  (138,590)
         DIP Financing, Net                                         (5,508)   (c)             (5,508)                         0
         Restructuring Costs                                       (53,071)                  (45,929)                    (7,142)
         Liquidation Trust Board, D&O & Other                       (4,410)                        0                     (4,410)
         Liquidation Trust Funding                                  (5,000)                   (5,000)                         0
         Cash/Working Capital                                       43,109    (d)             28,109                     15,000
         Other Plan Disbursements                                   (1,252)   (e)               (432)                      (820)
            Net CF Available for Distribution                      582,668    (f)             84,958                    497,710
              to the Liquidation Trust

        Liquidation Trust
          Use of Liquidation Trust Seed Funding Cash                  5,000 (g)                     0                      5,000
          Total Liquidation Trust Costs                              (8,605) (h)                    0                     (8,605)
             Net Liquidation Trust Costs                             (3,605)                        0                     (3,605)

          Net Recoveries                                          $579,063                   $84,958 (i)               $494,105




  (a) Net of selling costs, prior seller carry, warranty reserves and asset sales reserves.
  (b) Includes project costs, property taxes, insurance, HOA, overhead and other costs.
  (c) DIP loan interest and fees.
  (d) Operating cash, including sales reserves.
  (e) Includes Priority Tax Claims, Class 1: Other Secured Claims and Class 2: Priority Claims not otherwise reflected above.
  (f) Net cash flow available for distribution to the Liquidation Trust (net of the Liquidation Trust Seed Funding of $5 million);
      does not include revenues or expenses of the Liquidation Trust.
  (g) Liquidation Trust Seed Funding from the Wind-Down Entity.
  (h) Includes Trustee, Board and other professional fees for the Trust. Excludes litigation related costs and recoveries.
  (i) Projected amount available for the Liquidation Trust to distribute - high case scenario.




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WOODBRIDGE
SUMMARY POST CONFIRMATION CASH FLOWS
for the period February 1, 2018 through June 30, 2021
($ in thousands, Undiscounted)



                                                                                                              POST CONFIRMATION



                                                                 TOTAL POST                 Dec-18             CY                CY              CY
                                                                CONFIRMATION                 2018             2019              2020            2021

          Final Exit Year                                             2021

          Wind-Down Entity
           Net Revenues                                                $633,672    (a)         $11,382        $268,276           $222,725       $131,290
           Total Costs                                                 (138,590)   (b)         (12,269)        (92,510)           (29,684)        (4,126)
           Restructuring Costs                                           (7,142)                (3,613)         (3,529)                 0              0
           Liquidation Trust Board, D&O & Other                          (4,410)                     0          (2,030)            (1,360)        (1,020)
           Cash/Working Capital                                          15,000    (c)           4,500          (4,500)                 0         15,000
           Other Plan Disbursements                                        (820)                                  (820)
              Net CF Available for Distribution                         497,710    (d)                (0)      164,886            191,680        141,144
                to the Liquidation Trust

          Liquidation Trust
            Use of Liquidation Trust Seed Funding Cash                     5,000                 3,561            1,439                    0             0
            Total Liquidation Trust Costs                                 (8,605)               (3,561)          (2,895)              (2,149)            0
               Net Liquidation Trust Costs                                (3,605) (e)                0           (1,456)              (2,149)            0

          Net Cash Flow after Liquidation Trust Costs                  $494,105                      ($0)     $163,429           $189,531       $141,144



   (a) Net of selling costs, prior seller carry, warranty reserves and asset sales reserves.
   (b) Includes project costs, property taxes, insurance, HOA, overhead and other costs.
   (c )Beginning cash balance / working capital funding for Wind Down Entity.
   (d) Net cash flow available for distribution to the Liquidation Trust (net of the Liquidation Trust Seed Funding of $5 million);
       does not include revenues or expenses of the Liquidation Trust.
   (e) Includes Trustee, Board and other professional fees for the Trust. Excludes litigation related costs and recoveries.




                                                                                                                                                      8/3/2018
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                                           SCHEDULE 1


                                    Schedule of Excluded Parties




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Note: Excluded Parties are any prepetition insider of any of the Debtors, any non-debtor affiliates of the Debtors or insider of any such non-debtor affiliates, any
      prepetition employee of any of the Debtors involved in any way in the marketing or sale of Notes or Units, and any other Person (including any “broker,”
      salesperson, consultant, affiliated entity, or professional) involved in any way in the marketing or sale of Notes or Units, including those Persons identified
      on this Schedule.




Surname/Entity Name                    Full Name                                                                      Type
1336 LLC                               1336, LLC                                                                      AFFILIATE
14068 DAVANA                           14068 DAVANA HOLDING COMPANY, LLC                                              AFFILIATE
14068 DAVANA                           14068 DAVANA TERRACE, LLC                                                      AFFILIATE
14112 LLC                              14112, LLC                                                                     AFFILIATE
1504 CAPITAL                           1504 CAPITAL INC.                                                              BROKER
15672 CASTLEWOODS                      15672 CASTLEWOODS DRIVE, LLC                                                   AFFILIATE
15672 CASTLEWOODS                      15672 CASTLEWOODS OWNERS, LLC                                                  AFFILIATE
15672 CASTLEWOODS                      15714 CASTLEWOODS DRIVE, LLC                                                   AFFILIATE
15672 CASTLEWOODS                      15714 CASTLEWOODS OWNERS, LLC                                                  AFFILIATE
1579 INVESTMENTS                       1579 INVESTMENTS LLC                                                           INSIDER AFFILIATE
204 DERBY                              204 DERBY AVE, LLC                                                             AFFILIATE
3X A CHARM                             3X A CHARM LLC                                                                 INSIDER AFFILIATE
8 FIGURES                              8 FIGURES LLC                                                                  AFFILIATE
8020 CONSULTING                        8020 CONSULTING                                                                OTHER
A PLUS                                 A PLUS HOLDINGS, LLC                                                           AFFILIATE
A TEAM APPROACH                        A TEAM APPROACH LLC                                                            BROKER
ABACA                                  YOLANDA DINO ABACA                                                             BROKER
ABRAHAM                                MICHAEL ABRAHAM                                                                BROKER
ABRAHAM                                WILLIAM ABRAHAM                                                                BROKER
ABRAMOWITZ                             SIDNEY ABRAMOWITZ                                                              BROKER
ACACIA CIRCLE                          ACACIA CIRCLE, LLC                                                             AFFILIATE
ACEVEDO                                IVAN ACEVEDO - NOW DEVON MASON                                                 BROKER


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Surname/Entity Name       Full Name                                                   Type
ACEVEDO                   MICHAEL ACEVEDO                                             BROKER
ACME DIVERSIFIED          ACME DIVERSIFIED HOLDINGS, LLC                              AFFILIATE
ACME NOW                  ACME NOW, LLC                                               AFFILIATE
ACOSTA                    PRISCILLA ACOSTA                                            BROKER
ACTIS                     JAMES ACTIS                                                 BROKER
ACTIS                     JIM ACTIS                                                   BROKER
ADAMS EZ TAX              ADAMS EZ TAX LLC                                            BROKER
ADMINESTATE               ADMINESTATE CORPORATION-PETER RUTMAN                        BROKER
ADVANCED STRATEGIES       ADVANCED STRATEGIES, INC.                                   BROKER
ADVISOR INK               ADVISOR INK                                                 BROKER
AGENTS INSURANCE          AGENTS INSURANCE SALES & SERVICES INC.                      BROKER
AGUILAR                   ARMANDO AGUILAR                                             BROKER
AGUILAR                   ARMANDO C AGUILAR SR.                                       BROKER
AGUILAR                   ROMMEL E AGUILAR                                            BROKER
AHERN                     JEFF AHERN                                                  BROKER
AIO FINANCIAL             AIO FINANCIAL LLC                                           AFFILIATE
AKEBIA SQUARE             AKEBIA SQUARE FUNDING, LLC                                  AFFILIATE
ALDEN                     JAMES GRAY ALDEN                                            BROKER
ALL MARK INSURANCE        ALL MARK INSURANCE SERVICES INC.                            BROKER
ALLEN                     DANIEL L ALLEN                                              BROKER
ALPHA & OMEGA             ALPHA & OMEGA FINANCIAL PARTNERS INC                        BROKER
ALPHA WEALTH MGMT.        ALPHA WEALTH MANAGEMENT LLC                                 BROKER
ALPINE ROSE               ALPINE ROSE, LLC                                            AFFILIATE
ALSTON                    ROBERT ALSTON                                               SALES EMPLOYEE
ALTERNATIVE INVESTMENT    ALTERNATIVE INVESTMENT CONSULTANTS LLC                      BROKER
ALTERNATIVE PORTFOLIO     ALTERNATIVE PORTFOLIO SOLUTIONS LLC                         BROKER
ALTUS RETIREMENT          ALTUS RETIREMENT SERVICES LLC                               BROKER
AMARYLLIS CIRCLE          AMARYLLIS CIRCLE, LLC                                       AFFILIATE
AMBROSIA CIRCLE           AMBROSIA CIRCLE, LLC                                        AFFILIATE

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Surname/Entity Name      Full Name                                                   Type
AMERICA DIRECT           AMERICA DIRECT LLC                                          BROKER
AMERICAN ALTERNATIVE     AMERICAN ALTERNATIVE INVESTMENTS LLC                        BROKER
AMERICAN INS SERVICES    AMERICAN INS SERVICES GROUP LLC                             BROKER
AMERICAN NOTE            AMERICAN NOTE COMPANY, LLC                                  AFFILIATE
AMERICAN PROSPERITY      AMERICAN PROSPERITY                                         BROKER
AMERICAN RETIREMENT      AMERICAN RETIREMENT ADVISORS LLC                            BROKER
AMERICAN RETIREMENT      AMERICAS RETIREMENT INCOME SOLUTIONS                        BROKER
AMERITRUST ADVISOR       AMERITRUST ADVISOR                                          BROKER
AMNOCO HOLDINGS          AMNOCO HOLDINGS, LLC                                        AFFILIATE
ANCHOR FINANCIAL         ANCHOR FINANCIAL INC.                                       BROKER
ANDERSON                 DEREK ANDERSON                                              BROKER
ANDERSON                 GREG W ANDERSON                                             BROKER (INVESTOR)
ANDERSON                 MAINSTAR-FBO DEREK M ANDERSON T2177226                      BROKER (INVESTOR)
ANDERSON                 PAULETTE ANDERSON                                           BROKER
ANDREN FINANCIAL         ANDREN FINANCIAL INC.                                       BROKER
ANDREW                   DOUGLAS R. ANDREW                                           BROKER
ANDREWS                  C STEPHEN ANDREWS                                           BROKER
ANGELO                   STEVE ANGELO                                                BROKER
ANNUA GROUP              ANNUA GROUP LLC                                             BROKER
ANNUITY ALTERNATIVES     ANNUITY ALTERNATIVES OF AMERICA LLC                         BROKER
ANNUITY GROUP            THE ANNUITY GROUP LLC                                       BROKER
ARAGON                   PHILIP C ARAGON                                             BROKER
ARBUCKLE MGMT.           ARBUCKLE MANAGEMENT, LLC                                    BROKER
ARCHSTONE                ARCHSTONE INVESTMENTS, LLC                                  AFFILIATE
ARELLANO                 CHANO J ARELLANO                                            BROKER
ARIETTA                  DENNIS J ARIETTA                                            BROKER
ARTAUD                   EDNE ARTAUD                                                 BROKER
ARTISTIC BUSINESS        ARTISTIC BUSINESS SERVICES, INC.                            BROKER
ASH SQUARE               ASH SQUARE FUNDING, LLC                                     AFFILIATE

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Surname/Entity Name     Full Name                                                   Type
ASHBURTON WAY           ASHBURTON WAY INVESTMENTS, LLC                              AFFILIATE
ASK FINANCIAL           ASK FINANCIAL INC.                                          BROKER
ASPEN CREEK             ASPEN CREEK WEALTH STRATEGIES INC.                          BROKER
ASSET MANAGEMENT        ASSET MANAGEMENT CONSULTANTS INC.                           BROKER
ASSET MANAGEMENT        ASSET MGMT-CARLTON PHILLIPS                                 BROKER
ASSOCIATED ADVISORS     ASSOCIATED ADVISORS GROUP INC.                              BROKER
ASSOCIATED INSURANCE    ASSOCIATED INSURANCE GROUP                                  BROKER
ATALAYA CIRCLE          ATALAYA CIRCLE INVESTMENTS, LLC                             AFFILIATE
ATLANTIC FINANCIAL      ATLANTIC FINANCIAL SERVICES                                 BROKER
ATLANTIC HOME           ATLANTIC HOME CAPITAL CORP.                                 AFFILIATE
ATLANTIC INSURANCE      ATLANTIC INSURANCE AND FINANCIAL SERVICES, INC.             BROKER
ATLANTIS NATIONAL       ATLANTIS NATIONAL SERVICES, INC.                            AFFILIATE
AUGUSTINE INSURANCE     AUGUSTINE INSURANCE                                         BROKER
AUSTIN                  JIM L AUSTIN                                                BROKER
AUSTIN                  LINDA & JIM AUSTIN                                          BROKER (INVESTOR)
AUSTIN                  OVETA L AUSTIN                                              BROKER
AVALON EQUITY           AVALON EQUITY GROUP (DAVID WOLFSON)                         BROKER
AZIS                    JEFFREY A AZIS                                              BROKER
BABB FINANCIAL          BABB FINANCIAL GROUP                                        BROKER
BACHNER                 JOEL C BACHNER                                              BROKER
BAILEY                  SHAD BAILEY                                                 BROKER
BAKER                   DARIN BAKER                                                 SALES EMPLOYEE
BALANCED FINANCIAL      BALANCED FINANCIAL INC.                                     BROKER
BALANCED FINANCIAL      BALANCED FINANCIAL-PAULETTE ANDERSON                        BROKER
BALCOMB & GREEN         BALCOMB & GREEN PC                                          OTHER
BALDWIN                 MICHAEL L BALDWIN                                           BROKER
BALL                    PHILLIP "LARRY" BALL                                        BROKER
BALSON                  BALSON INVESTMENTS LLC                                      BROKER
BANOR                   BANOR ASSOCIATES LLC                                        BROKER

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Surname/Entity Name    Full Name                                                   Type
BARBER                 BRETT BARBER                                                BROKER
BARNES                 GLEN D BARNES                                               BROKER
BARR                   DAVID L BARR                                                BROKER
BARRETT                JOHN E BARRETT                                              BROKER
BARRIOS                ENRIQUE BARRIOS                                             BROKER
BARTHOLOMEW            BARTHOLOMEW & ASSOCIATES, INC.                              BROKER
BASIC FINANCIAL        BASIC FINANCIAL SERVICES INC.                               BROKER
BASSETTO               STEVEN A BASSETTO                                           BROKER
BASSWOOD               BASSWOOD FUNDING, LLC                                       AFFILIATE
BAUGHMAN               PROV. TR GP-FBO RICKY J BAUGHMAN IRA                        BROKER (INVESTOR)
BAUGHMAN               RICKY J BAUGHMAN                                            BROKER
BAUMLER                JESSICA BAUMLER                                             BROKER
BCK HOLDINGS           BCK HOLDINGS                                                BROKER
BCM BENEFITS           BCM BENEFITS INC.                                           BROKER
BCS TRUST              BCS TRUST                                                   BROKER
BEARBERRY SQUARE       BEARBERRY SQUARE FUNDING, LLC                               AFFILIATE
BEARINGSIDE            BEARINGSIDE INVESTMENTS, LLC                                AFFILIATE
BEAUCHAMPS             SALLY BEAUCHAMPS                                            SALES EMPLOYEE
BEDOYA                 DIEGO BEDOYA                                                BROKER
BEEMAN LOTTERY         BEEMAN LOTTERY RECEIVABLE 1, LLC                            AFFILIATE
BEEMAN STUDIO CITY     BEEMAN STUDIO CITY, LLC                                     AFFILIATE
BEILINSON              MARC BEILINSON                                              INSIDER
BELANGER               SHANE BELANGER                                              BROKER
BELLEVUE               HERNST BELLEVUE                                             SALES EMPLOYEE
BELLMIRE               BELLMIRE INVESTMENTS, LLC                                   AFFILIATE
BELMONT CONSULTING     BELMONT CONSULTING LLC-ANDREW LESNAK                        BROKER
BENGE                  LON E BENGE                                                 BROKER
BENNETT                SHEILA BENNETT                                              BROKER
BENTLEY                JIM BENTLEY                                                 BROKER

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Surname/Entity Name      Full Name                                                   Type
BENTLEY CAPITAL          BENTLEY CAPITAL GROUP, LLC                                  BROKER
BERG                     WILLIAM J BERG                                              BROKER
BERMAN                   ROCHELLE BERMAN                                             BROKER
BERMAN                   ROCHELLE BERMAN TR                                          BROKER (INVESTOR)
BERRY                    DOROTHY BERRY                                               BROKER
BERTSCH                  KIRK & JULIE BERTSCH                                        BROKER (INVESTOR)
BERTSCH                  KIRK BERTSCH                                                BROKER
BERTSCH VACATION         BERTSCH VACATION HOMES LLC                                  BROKER (INVESTOR)
BERTUCCI GROUP           THE BERTUCCI GROUP, LLC                                     BROKER
BETHEL                   DAN CHARLES BETHEL                                          BROKER
BETHEL                   RICHARD BETHEL                                              BROKER (INVESTOR)
BETTER RETURNS           BETTER RETURNS LLC                                          BROKER
BETTER TOMORROW          BETTER TOMORROW FINANCIAL GROUP                             BROKER
BEYER                    JARED BEYER                                                 SALES EMPLOYEE
BIRCHWOOD MANOR          BIRCHWOOD MANOR INVESTMENTS, LLC                            AFFILIATE
BIRD                     FLOYD W BIRD                                                BROKER (INVESTOR)
BIRNBAUM                 DAVID BIRNBAUM                                              BROKER
BISCARDI                 ROB BISCARDI                                                SALES EMPLOYEE
BISCARDI                 ROBERT BISCARDI, JR.                                        BROKER
BITTERSWEET SQUARE       BITTERSWEET SQUARE FUNDING, LLC                             AFFILIATE
BJORKLUND                DAVID A BJORKLUND                                           BROKER
BLACKBURN                CARMEN BLACKBURN                                            BROKER
BLACKMON                 DARYL E BLACKMON                                            BROKER
BLANCHARD                THOMAS BLANCHARD                                            BROKER
BLANCHARD                THOMAS E BLANCHARD                                          BROKER
BLANKINGSHIP KEITH       BLANKINGSHIP KEITH, P.C.                                    BROKER
BLUE CHIPS STRATEGIES    BLUE CHIPS STRATEGIES INC.                                  BROKER
BLYTHE                   BUFORD A BLYTHE                                             BROKER
BMAC FINANCIAL           BMAC FINANCIAL CORP.                                        BROKER

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Surname/Entity Name       Full Name                                                   Type
BOILING SPRING            BOILING SPRING INVESTMENTS, LLC                             AFFILIATE
BONE FINANCIAL            BONE FINANCIAL GROUP INC.                                   BROKER
BONIFACIO HILL            BONIFACIO HILL INVESTMENTS, LLC                             AFFILIATE
BOOKSH                    LARRY J BOOKSH JR.                                          BROKER
BOOKSH                    PROV. TR GP-FBO L JR FOR C BOOKSH IRA                       BROKER (INVESTOR)
BOTH HANDS                BOTH HANDS FINANCIAL GROUP LLC                              BROKER
BOUCHARD                  RONALD A BOUCHARD                                           BROKER
BOWERS                    HAROLD JAMES BOWERS JR.                                     BROKER
BOWSTRING                 BOWSTRING INVESTMENTS, LLC                                  AFFILIATE
BOXWOOD                   BOXWOOD FUNDING, LLC                                        AFFILIATE
BOYLAN                    JOHN BOYLAN                                                 BROKER
BOYLAN GROUP              THE BOYLAN GROUP                                            BROKER
BP FINANCIAL              BP FINANCIAL SERVICES LLC                                   BROKER
BRAD CARRICO FINANCIAL    BRAD CARRICO FINANCIAL                                      BROKER
BRADFORD SOLUTIONS        BRADFORD SOLUTIONS                                          BROKER
BRADSHAW                  RANCE BRADSHAW                                              BROKER
BRANCH                    TRAVIS BRANCH                                               BROKER
BRANDENBURG               WILLIAM BRANDENBURG                                         BROKER
BRAVERMAN                 BRUCE BRAVERMAN                                             BROKER
BRAY                      RICK BRAY                                                   BROKER
BRAYCO SALES              BRAYCO SALES INC-RICK BRAY                                  BROKER
BRECKENRIDGE              BRECKENRIDGE INVESTMENTS, LLC                               AFFILIATE
BRECKENRIDGE              BRECKENRIDGE, LLC                                           AFFILIATE
BREIMAN                   MARK BREIMAN                                                BROKER
BREWER                    DIANE BREWER                                                BROKER
BRIDGE INSURANCE          BRIDGE INSURANCE & FINANCIAL INC.                           BROKER
BROAD INSIGHTS            BROAD INSIGHTS 401K FBO J G WIGINTON III                    BROKER (INVESTOR)
BROAD INSIGHTS            BROAD INSIGHTS LLC                                          BROKER
BROAD INSIGHTS            BROAD INSIGHTS LLC CASH BALANCE PLAN                        BROKER (INVESTOR)

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Surname/Entity Name     Full Name                                                   Type
BROOKFIELD INSURANCE    BROOKFIELD INSURANCE PARTNERS                               BROKER
BROOKS                  RAYMOND E BROOKS                                            BROKER
BROWN                   EDMOND G BROWN                                              BROKER
BROWN                   JAY BROWN                                                   BROKER
BROWN                   JAY N BROWN                                                 BROKER
BROWN                   JOSEPH BROWN                                                SALES EMPLOYEE
BROWN                   LAMONT BROWN                                                BROKER
BROWN                   REGINALD BROWN                                              BROKER
BROWNING                ROBERT BROWNING                                             BROKER
BRUNDAGE                DEB BRUNDAGE                                                BROKER
BRUNETTI                NANCY F BRUNETTI                                            BROKER
BRUNETTI                NANCY F BRUNETTI RT                                         BROKER (INVESTOR)
BTG ADVISORS            BTG ADVISORS LLC                                            BROKER
BULL RUN FINANCIAL      BULL RUN FINANCIAL GROUP LLC                                BROKER
BURDETTE                DENVER BURDETTE                                             BROKER
BURKE                   GARY L BURKE                                                BROKER
BURKE                   PAULA BURKE                                                 BROKER
BURKE                   RANDY W BURKE                                               BROKER
BURKETT                 MOSES BURKETT                                               BROKER
BURMAN                  RICHARD A BURMAN                                            BROKER
BURNS                   JOHN J & LORI A BURNS                                       BROKER (INVESTOR)
BURNS                   JOHN J BURNS                                                BROKER
BURNS CAPITAL           BURNS CAPITAL INVESTMENT ADVISORS INC.                      BROKER
BUSINESS GROWTH         BUSINESS GROWTH LLC                                         BROKER
BUSINESS STORE          THE BUSINESS STORE OF INSURANCE                             BROKER
BUTLER                  GREGG BUTLER                                                SALES EMPLOYEE
BUTLER                  JOHN A BUTLER                                               BROKER
BUTLER                  KIM BUTLER                                                  BROKER
BUTLER                  KIM BUTLER-PARTNERS PROSPERITY                              BROKER

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Surname/Entity Name      Full Name                                                   Type
BUTLER                   TERRY BUTLER                                                BROKER
BUTTELL                  ANTHONY H BUTTELL                                           BROKER
C EVERETT ENTERPRISES    C EVERETT ENTERPRISES                                       BROKER
CAIN                     SYDNEY CAIN                                                 BROKER
CAISSON                  CAISSON INVESTMENTS, LLC                                    AFFILIATE
CALDER GROVE             CALDER GROVE INVESTMENTS, LLC                               AFFILIATE
CALENDONIA CIRCLE        CALENDONIA CIRCLE INVESTMENTS, LLC                          AFFILIATE
CALIFORNIA COMMERCIAL    CALIFORNIA COMMERCIAL LENDERS, LLC                          AFFILIATE
CAMELOT INTERNATIONAL    CAMELOT INTERNATIONAL GROUP LLC                             BROKER
CAMP                     MARK CAMP                                                   BROKER
CAMP                     MARK L CAMP                                                 BROKER
CAMPAGNA                 CHRISTIE CAMPAGNA                                           SALES EMPLOYEE
CAMPBELL                 JAMES CAMPBELL                                              BROKER
CAMPBELL FINANCIAL       CAMPBELL FINANCIAL CORP.                                    BROKER
CANTILEVER               CANTILEVER INVESTMENTS, LLC                                 AFFILIATE
CAPSTONE HOME & AUTO     CAPSTONE HOME AND AUTO LLC                                  BROKER
CAPUANO                  FRANK CAPUANO                                               BROKER
CARAMADRE                JOHN CARAMADRE                                              BROKER (INVESTOR)
CARBAUGH                 MICHAEL CARBAUGH                                            BROKER
CARBONDALE BASALT        CARBONDALE BASALT OWNERS, LLC                               AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN LOT 18, LLC                                 AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN LOT E-15, LLC                               AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN LOT E-38, LLC                               AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN LOT E-8, LLC                                AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN LOT GV-6, LLC                               AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN LOT IS - 11, LLC                            AFFILIATE
CARBONDALE GLEN          CARBONDALE GLEN OWNERS, LLC                                 AFFILIATE
CARBONDALE PRIMROSE      CARBONDALE PRIMROSE VENTURES, LLC                           AFFILIATE
CARBONE                  GEORGE R CARBONE                                            BROKER

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Surname/Entity Name          Full Name                                                   Type
CAROLINA SBA                 CAROLINA SBA LLC                                            BROKER
CAROTA                       RAYMOND CAROTA                                              BROKER
CARPENTER                    DENNIS CARPENTER, CFP                                       BROKER
CARR                         GEORGE RICHARD CARR                                         BROKER
CARR                         PROV. TR GP-FBO GEORGE CARR IRA                             BROKER (INVESTOR)
CARR FINANCIALS              CARR FINANCIALS SERVICES INC.                               BROKER
CARRICO                      BRAD CARRICO                                                BROKER
CARRIER                      LAURENT A CARRIER                                           BROKER (INVESTOR)
CARRIER                      MAINSTAR-FBO LAURENT CARRIER                                BROKER (INVESTOR)
CARTE BLANCHE                CARTE BLANCHE LTD LLC                                       BROKER
CARTER                       GREGORY CARTER                                              BROKER
CARTER                       ROBERT CARTER                                               BROKER
CASKEY                       RON CASKEY                                                  BROKER
CASPER FALLS                 CASPER FALLS INVESTMENTS, LLC                               AFFILIATE
CASTAGNA                     PAUL CASTAGNA                                               BROKER
CHANEY FINANCIAL             CHANEY FINANCIAL GROUP LLC                                  BROKER
CHARTER INSURANCE            CHARTER INSURANCE BROKERAGE                                 BROKER
CHELTEN                      R/L CHELTEN TTEE CHELTEN FT                                 BROKER (INVESTOR)
CHELTEN                      RICHARD E & LINDA J CHELTEN                                 BROKER (INVESTOR)
CHELTEN                      RICHARD E CHELTEN                                           BROKER
CHEN                         AGUS & DEVI CHEN                                            BROKER (INVESTOR)
CHEN                         AGUS CHEN                                                   BROKER
CHEN                         HUAN CHEN                                                   BROKER
CHESSMAN                     WADE CHESSMAN                                               BROKER
CHESSMAN WEALTH              CHESSMAN WEALTH STRATEGIES, INC.                            BROKER
CHESTER                      JEREMY CHESTER                                              BROKER
CHRIS DANTIN FINANCIAL       CHRIS DANTIN FINANCIAL SERVICES LLC                         BROKER
CHRISTIANS                   TAMARA CHRISTIANS                                           BROKER
CHRISTOPHER T WENDEL ENT.    CHRISTOPHER T WENDEL ENTERPRISES LLC                        BROKER

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Surname/Entity Name       Full Name                                                   Type
CHURCH-KOEGEL             BROOK CHURCH-KOEGEL                                         SALES EMPLOYEE
CLANCY                    DOUGLAS A CLANCY JR.                                        BROKER
CLANCY                    MAINSTAR-FBO DOUGLAS A CLANCY JR S2175394                   BROKER (INVESTOR)
CLEMATIS                  CLEMATIS FUNDING, LLC                                       AFFILIATE
CLEMENTINA PARK           CLEMENTINA PARK INVESTMENTS, LLC                            AFFILIATE
CLIFF PARK                CLIFF PARK INVESTMENTS, LLC                                 AFFILIATE
CLOCKWORK FINANCIAL       CLOCKWORK FINANCIAL LLC                                     BROKER
CLOUSE                    JODI L CLOUSE                                               BROKER
COHEN                     MARK A COHEN                                                BROKER
COLBY                     KIM K COLBY                                                 BROKER
COLDWELL BANKER           COLDWELL BANKER                                             BROKER
COLE                      STUART COLE                                                 BROKER
COLLIN PLUME              COLLIN PLUME INC.                                           BROKER
COMMADORE                 MORGAN COMMADORE                                            SALES EMPLOYEE
CONCEPCION                R EDNA C CONCEPCION                                         BROKER
CONCORDIS GROUP           CONCORDIS GROUP                                             BROKER
CONIGLIONE                JOSEPH CONIGLIONE                                           BROKER
CONNEAUT LAKE             CONNEAUT LAKE INVESTMENTS, LLC                              AFFILIATE
CONNELL                   LEN CONNELL                                                 BROKER
CONNELL                   LEONARD CONNELL                                             BROKER
CONSUMER ADVOCATE         CONSUMER ADVOCATE INC                                       BROKER
CONSUMER ADVOCATE         THE CONSUMER ADVOCATE INC.                                  BROKER
COPPER SANDS              COPPER SANDS INVESTMENTS, LLC                               AFFILIATE
CORNERSTONE RETIREMENT    CORNERSTONE RETIREMENT & INSURANCE SVC                      BROKER
CORRELL                   LONNIE H CORRELL                                            BROKER
COSSU                     ANTHONY S COSSU                                             BROKER
COSSU                     CLAUDE G COSSU                                              BROKER
COSSU                     PROV. TR GP-FBO ANTHONY S COSSU IRA                         BROKER (INVESTOR)
COSTA                     ANDREW G. COSTA                                             BROKER

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Surname/Entity Name        Full Name                                                   Type
COSTA FINANCIAL            COSTA FINANCIAL                                             BROKER
COSTA FINANCIAL            COSTA FINANCIAL INSURANCE SERVICES                          BROKER
COSTELLO                   VICKIE A COSTELLO                                           BROKER
COUNTYWIDE HEALTH          COUNTYWIDE HEALTH INSURANCE SERVICES                        BROKER
COUSINET                   JULIEN P COUSINET                                           BROKER
COX AGENCY                 THE COX AGENCY INC                                          BROKER
CRAIG AGENCY               THE CRAIG AGENCY LLC                                        BROKER
CRESTMARK                  CRESTMARK INVESTMENTS, LLC                                  AFFILIATE
CROSBY                     DAVID CROSBY                                                SALES EMPLOYEE
CROSIER                    JOHN REED CROSIER                                           BROKER
CROSIER FINANCIAL          CROSIER FINANCIAL INC.                                      BROKER
CROSSKEYS                  CROSSKEYS INVESTMENTS, LLC                                  AFFILIATE
CROWE                      MAINSTAR-FBO EDWARD K CROWE T2178394                        BROKER (INVESTOR)
CUNNINGHAM                 MILES HENRY CUNNINGHAM JR.                                  BROKER
CUSANO                     DAVID ANTHONY CUSANO                                        BROKER
D & G FINANCIAL            D & G FINANCIAL SERVICES (GENE HILL)                        BROKER
D & K PARTNERS             D & K PARTNERS                                              BROKER
D. H. BURDETTE & ASSOC.    D. H. BURDETTE & ASSOCIATES INC.                            BROKER
DAFFODIL SQUARE            DAFFODIL SQUARE FUNDING, LLC                                AFFILIATE
DAHLIA SQUARE              DAHLIA SQUARE FUNDING, LLC                                  AFFILIATE
DANDELION                  DANDELION FUNDING, LLC                                      AFFILIATE
DANTIN                     CHRIS A DANTIN SR.                                          BROKER (INVESTOR)
DARING TO DREAM            DARING TO DREAM INC DBA ADVISOR INK                         BROKER
DARING TO DREAM            DARING TO DREAM, INC.                                       BROKER
DAUGHERTY                  LYNN DAUGHERTY                                              BROKER
DAVANA OWNERS              DAVANA OWNERS, LLC                                          AFFILIATE
DAVANA SHERMAN OAKS        DAVANA SHERMAN OAKS OWNERS, LLC                             AFFILIATE
DAVEGLO INVESTMENT         DAVEGLO INVESTMENT GROUP INC.                               BROKER
DAVID M FOX DDS            DAVID M FOX DDS PC                                          BROKER

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Surname/Entity Name      Full Name                                                   Type
DAVID W SOUTHWELL CPA    DAVID W SOUTHWELL CPA PLLC                                  BROKER
DAVIDSON                 LARRY L DAVIDSON                                            BROKER
DAVIDSON                 PAT DAVIDSON                                                BROKER
DAVIES                   BARBARA DAVIES                                              BROKER
DAVIES                   PROV. TR GP-FBO BARBARA DAVIES IRA                          BROKER (INVESTOR)
DAVIN                    MICHAEL E DAVIN                                             BROKER
DAVIS                    ROBERT DAVIS                                                BROKER
DAVIS & COMPANY          DAVIS & COMPANY                                             BROKER
DAYSPRING ADVISORS       DAYSPRING ADVISORS GROUP                                    BROKER
DDI ADVISORY             DDI ADVISORY GROUP LLC                                      BROKER
DEANGELIS                JEFFREY DEANGELIS                                           SALES EMPLOYEE
DEATON                   WILLIAM DEATON                                              BROKER
DEKTER                   NEIL DEKTER                                                 BROKER
DELCO                    MICHAEL E DELCO                                             BROKER
DENNIS                   TERRY A DENNIS                                              BROKER
DENSMORE                 ALLAN DENSMORE                                              BROKER
DENSMORE                 ALLEN DENSMORE                                              BROKER
DENTON WEALTH            DENTON WEALTH STRATEGIES LLC                                BROKER
DESHURKO                 BILL DeSHURKO                                               BROKER
DESREE NASH INC.         DESREE NASH INCORPORATED                                    BROKER
DEVON MASON INC..        DEVON MASON INC.                                            BROKER
DEY                      BRYAN DEY                                                   BROKER
DG MARKETING             DG MARKETING INC.                                           BROKER
DH BURDETTE & ASSOC.     DH BURDETTE & ASSOCIATES INC.                               BROKER
DHI                      DHI LLC                                                     BROKER
DIAZ                     EDUARDO G DIAZ                                              BROKER
DIAZ RETIREMENT          DIAZ RETIREMENT CONSULTANTS                                 BROKER
DIEGO SPRINGS HLDGS.     DIEGO SPRINGS HOLDINGS INC.                                 INSIDER AFFILIATE/BROKER
DIEHL                    DAVID P DIEHL                                               BROKER

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Surname/Entity Name        Full Name                                                   Type
DIETRICH                   FRANK DIETRICH                                              BROKER
DIETRICH                   FRANK K & CHRISTINE DIETRICH                                BROKER (INVESTOR)
DIEZ                       RONALD DIEZ                                                 SALES EMPLOYEE
DIFIGLIO                   ROSEMARY DIFIGLIO                                           BROKER
DILLMAN                    ROBERT DILLMAN                                              BROKER
DIRECT INSURANCE           DIRECT INSURANCE GROUP                                      INSIDER AFFILIATE
DIRECT INSURANCE SOURCE    DIRECT INSURANCE SOURCE, LLC                                AFFILIATE
DIXMONT STATE              DIXMONT STATE INVESTMENTS, LLC                              AFFILIATE
DIZON ENTERPRISES          DIZON ENTERPRISES LLC                                       BROKER
DL INVESTMENT              DL INVESTMENT GROUP LLC                                     INSIDER AFFILIATE
DMB SOTO INSURANCE         DMB SOTO INSURANCE SERVICES (MANUEL SOTO)                   BROKER
DOHERTY                    THOMAS DOHERTY                                              BROKER
DOHERTY                    TOM DOHERTY                                                 BROKER
DONETS                     VLADIMIR DONETS                                             BROKER
DONSHIRE PLANNING          DONSHIRE PLANNING CORP-DON WOLFELD                          BROKER
DOYLE                      DRAYSON DOYLE                                               BROKER
DPO INSURANCE              DPO INSURANCE AGENCY, INC.                                  BROKER
DRAKE                      DENNIS C DRAKE                                              BROKER
DUBEAU                     JAMES E DUBEAU                                              BROKER
DUNBAR                     ELIZABETH A DUNBAR                                          BROKER
DUNNE                      GARY BURGESS DUNNE                                          BROKER
DURAND FINANCIAL           DURAND FINANCIAL INC.                                       BROKER
DURR                       DONALD G DURR                                               BROKER
DVDO DESIGN                DVDO DESIGN, LLC                                            AFFILIATE
DVDO HOLDING               DVDO HOLDING COMPANY, LLC                                   AFFILIATE
DVORCHAK FINANCIAL         DVORCHAK FINANCIAL CORP.                                    BROKER
DWYER                      THEODORE E DWYER                                            BROKER
EAGLE FINANCIAL            EAGLE FINANCIAL SOLUTIONS LLC                               BROKER
EASTERLY                   RICHARD EASTERLY                                            BROKER

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Surname/Entity Name        Full Name                                                   Type
EBC                        EBC, INC                                                    BROKER
EDU ADVISORS               EDU ADVISORS, LLC                                           BROKER
EDU WEALTH                 EDU WEALTH ADVISORS LLC                                     BROKER
EDWARD K CROWE & ASSOC.    EDWARD K CROWE & ASSOCIATES LLC                             BROKER
EGAN                       MICHAEL P EGAN                                              BROKER
EICHELBERGER               DONALD ANDREW EICHELBERGER                                  BROKER
EIFFERT                    JIM EIFFERT                                                 BROKER
ELFENBEIN                  BRUCE ELFENBEIN                                             BROKER
ELITE RESOURCE             ELITE RESOURCE TEAM                                         BROKER
ELLIOTT GROUP              THE ELLIOTT GROUP FINANCIAL SERVICES                        BROKER
ELLIS                      KEITH ELLIS                                                 BROKER
ELM CITY                   ELM CITY INVESTMENTS, LLC                                   AFFILIATE
ELSASSER                   SCOTT J ELSASSER                                            BROKER
ELY                        BRADFORD K & MARY ELY                                       BROKER
ERNST                      JOHN D ERNST                                                BROKER
ESCALANTE                  PRISCILLA M ESCALANTE                                       BROKER
ESCE                       PATRICK ESCE                                                BROKER
ESLAVA                     MELANIE ESLAVA                                              SALES EMPLOYEE
ESMAIL                     LAILA ESMAIL                                                BROKER
ESPIRITU                   RONALDO G ESPIRITU                                          BROKER
ESTATE PROTECTION          ESTATE PROTECTION PLANNING CORP OF NJ                       BROKER
EVANSEN                    KENNETH EVANSEN                                             BROKER
EVERGREEN WAY              EVERGREEN WAY INVESTMENTS, LLC                              AFFILIATE
EWELL                      RICHARD SHANE EWELL                                         BROKER
EXECUTIVE FINANCIAL        EXECUTIVE FINANCIAL SERVICES                                BROKER
FAGAN                      JOHN FAGAN                                                  BROKER
FAHEY                      PHILLIP FAHEY                                               BROKER
FAISAL                     MIR A FAISAL                                                BROKER
FAITHWAY FINANCIAL         FAITHWAY FINANCIAL SOLUTIONS LLC                            BROKER

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Surname/Entity Name    Full Name                                                   Type
FALCONPOINT            FALCONPOINT UNLIMITED, LLC                                  AFFILIATE
FAMILY WEALTH          FAMILY WEALTH MGMT & RETIREMENT PLANNING                    BROKER
FARMER                 TOM FARMER                                                  BROKER
FASO                   ANTHONY J FASO                                              BROKER
FEDER                  ANDREW FEDER                                                BROKER
FEDERICO               JARED FEDERICO                                              BROKER
FEK ENTERPRISES        FEK ENTERPRISES, INC.                                       BROKER
FELICIANO              YANITSHA M FELICIANO                                        BROKER
FERN SQUARE            FERN SQUARE FUNDING, LLC                                    AFFILIATE
FERNATT                FRED FERNATT                                                BROKER
FERWERDA               SANDRA FERWERDA                                             BROKER
FIC                    FIC LLC                                                     BROKER (INVESTOR)
FINANCIAL ASSURANCE    FINANCIAL ASSURANCE GROUP                                   BROKER
FIRM1130               FIRM1130, LLC                                               BROKER
FIRST COMMERCIAL       FIRST COMMERCIAL FUNDING                                    BROKER
FIRST FINANCIAL TAX    FIRST FINANCIAL TAX GROUP, INC.                             BROKER
FISHER                 TRAVIS A FISHER                                             BROKER
FLORIDA TAX            FLORIDA TAX ADVISORY SERVICES, INC.                         BROKER
FLORIDA WEST           FLORIDA WEST HOMEBUYERS LLC                                 BROKER
FMT INVESTMENT         FMT INVESTMENT ADV                                          BROKER
FOOTHILL CL            FOOTHILL CL NOMINEE, LLC                                    AFFILIATE
FORD                   JERROLD B FORD                                              BROKER
FORECAST FINANCIAL     FORECAST FINANCIAL GROUP LLC                                BROKER
FORREST FINANCIAL      FORREST FINANCIAL LLC                                       BROKER
FOWLER                 JAMES FOWLER JR.                                            BROKER
FOX                    DAVID M FOX                                                 BROKER
FOXRIDGE               FOXRIDGE INVESTMENTS, LLC                                   AFFILIATE
FRANKENBERG            GEORGE FRANKENBERG                                          BROKER
FRASER                 ALEX FRASER                                                 SALES EMPLOYEE

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Surname/Entity Name     Full Name                                                   Type
FREDETTE                LAUREN FREDETTE                                             BROKER
FREELAND                RICHARD A FREELAND                                          BROKER
FREELAND                RICHARD FREELAND                                            BROKER
FREIS                   JON FREIS                                                   OTHER
FRIEDMAN                BRAD FRIEDMAN                                               BROKER
FRISCH                  SCHRAGA J FRISCH                                            BROKER
FRITTS                  RICHARD FRITTS                                              BROKER
FRITTS                  SUNWEST TR RICHARD R FRITTS IRA                             BROKER (INVESTOR)
FRITZ                   RICHARD D. FRITZ                                            BROKER
FRONTIER ADVISORS       FRONTIER ADVISORS GROUP LLC                                 BROKER
FROUDE                  JONATHAN FROUDE                                             BROKER
FULTON UNDERWOOD        FULTON UNDERWOOD, LLC                                       AFFILIATE
FUTURE BY DESIGN        FUTURE BY DESIGN LLC                                        BROKER
FUTURE PLANNING         FUTURE PLANNING LLC                                         BROKER
GABLES FINANCIAL        GABLES FINANCIAL PARTNERS (LUIS MENDEZ)                     BROKER
GAGAZA                  PATRICIA Y GAGAZA                                           BROKER
GAGAZA                  ROY Y GAGAZA                                                BROKER
GAJAVADA                UMA GAJAVADA                                                SALES EMPLOYEE
GALYNSKY                LOUIS GALYNSKY                                              SALES EMPLOYEE
GANCZ                   CHAIM GANCZ                                                 BROKER
GANSLUCKNER             LAWRENCE R GANSLUCKNER                                      BROKER
GARDINA                 JOE GARDINA                                                 BROKER
GARDNER                 STEPHEN GARDNER                                             BROKER (INVESTOR)
GARMAN                  DAVID LEE GARMAN                                            BROKER
GATBONTON               PATRICK GATBONTON                                           SALES EMPLOYEE
GAULAN FINANCIAL        GAULAN FINANCIAL LLC                                        BROKER
GBH                     GBH CPAS, PC                                                OTHER
GEN WEALTH              GEN WEALTH                                                  BROKER
GENERAL & ASSOCIATES    THE GENERAL & ASSOCIATES LLC DBA TGA WLTH                   BROKER

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Surname/Entity Name       Full Name                                                   Type
GEORGE                    DANIEL R GEORGE                                             BROKER
GERBERA                   GERBERA LLC-STACEY MAXTED                                   BROKER
GERMES                    JOHN F GERMES                                               BROKER
GIBSON DUNN & CRUTCHER    GIBSON DUNN & CRUTCHER                                      OTHER
GILCHRIST                 JAMES H GILCHRIST                                           BROKER
GILCHRIST                 JOHN S GILCHRIST JR.                                        BROKER
GILCHRIST                 MATTHEW GILCHRIST                                           BROKER
GINES                     BARBARA A GINES                                             BROKER
GINSBERG                  LANE GINSBERG                                               BROKER
GLANZER                   ESTHER GLANZER                                              BROKER
GLENHAVEN HEIGHTS         GLENHAVEN HEIGHTS INVESTMENTS, LLC                          AFFILIATE
GLICK                     STEVEN M GLICK                                              SALES EMPLOYEE
GLIWA                     JEFFREY GLIWA                                               BROKER
GLOBAL ASSET              GLOBAL ASSET CONSULTANTS                                    BROKER
GLOBAL FINANCIAL          GLOBAL FINANCIAL NETWORX LLC                                BROKER
GLOBAL LIFE               GLOBAL LIFE INS-MICHAEL ABRAHAM                             BROKER
GLOBAL LIFE               GLOBAL LIFE INSURANCE SOLUTIONS LLC                         BROKER
GLOW JEAN                 GLOW JEAN LLC                                               BROKER
GOLD KING                 GOLD KING INTERNATIONAL INC.                                BROKER
GOLDEN GATE               GOLDEN GATE INVESTMENTS, LLC                                AFFILIATE
GOLDEN MESA               GOLDEN MESA VENTURES, LLC                                   AFFILIATE
GOLDEN PRIMROSE           GOLDEN PRIMROSE VENTURES, LLC                               AFFILIATE
GOLDFINE                  MARK GOLDFINE                                               BROKER
GOLDFINGER                MARK GOLDFINGER                                             BROKER
GOLDMAN                   DAVID GOLDMAN                                               SALES EMPLOYEE
GOLDMAN                   MAINSTAR-FBO SHELDON GOLDMAN                                BROKER (INVESTOR)
GOLDMAN                   SHELDON LEWIS GOLDMAN                                       BROKER
GOLDMAN                   THE SHELDON & JUDY GOLDMAN FT 07/14/94                      BROKER (INVESTOR)
GOLDMARK FINANCIAL        GOLDMARK FINANCIAL PLANNERS LLC                             BROKER

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Surname/Entity Name     Full Name                                                   Type
GOLTZ                   ANTONIA L OR LARRY V GOLTZ                                  BROKER (INVESTOR)
GOLTZ                   LARRY V GOLTZ                                               BROKER
GOLTZ                   PROV. TR GP-FBO LARRY GOLTZ IRA                             BROKER (INVESTOR)
GONZALEZ                OLIMPO GONZALEZ                                             BROKER
GOODSPEED               JOHN GOODSPEED                                              BROKER
GOODSPEED               PROV. TR GP-FBO JOHN GOODSPEED IRA                          BROKER (INVESTOR)
GORDON                  CHARLES GORDON                                              BROKER
GORDON                  JILL E GORDON                                               BROKER
GORDON                  SPENCER GORDON                                              BROKER
GRADDY                  MARION D GRADDY (DANNY)                                     BROKER
GRADY                   BRENDAN V GRADY                                             BROKER
GRAYWATER               GRAYWATER INVESTMENTS, LLC                                  AFFILIATE
GREAT SAND              GREAT SAND INVESTMENTS, LLC                                 AFFILIATE
GREATER MIRAMAR         GREATER MIRAMAR INSURANCE AGENCY INC.                       BROKER
GREEN LINE FINANCIAL    GREEN LINE FINANCIAL SERVICES LLC                           BROKER
GREEN PARTNERS          GREEN PARTNERS LLC                                          BROKER
GREEN PARTNERS          GREEN PARTNERS LLC DBA FMT INVESTMENT ADV                   BROKER
GREENBERG               RICHARD GREENBERG                                           BROKER
GREENE FINANCIAL        GREENE FINANCIAL & INSURANCE SERVICES LTD                   BROKER
GREENHILL               LORRAINE GREENHILL                                          BROKER
GREENHILL               RICHARD GREENHILL                                           BROKER
GREGOIRE                DEREK L GREGOIRE                                            BROKER
GREGORY FINANCIAL       GREGORY FINANCIAL SERVICES INC.                             BROKER
GRESDORF                KLAUS GRESDORF                                              BROKER
GRIFFITH                KIRK T GRIFFITH                                             BROKER
GRIFFITH                MAINSTAR-FBO KIRK GRIFFITH TW003085                         BROKER (INVESTOR)
GRIGORIEFF              BILL J GRIGORIEFF                                           BROKER
GRILLS                  DOUGLAS GRILLS                                              BROKER
GRINNELL                MICHAEL RICHARD GRINNELL                                    BROKER

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Surname/Entity Name      Full Name                                                   Type
GROUT                    JON GROUT                                                   BROKER
GRYPHON FINANCIAL        GRYPHON FINANCIAL SOLUTIONS                                 BROKER
GS METRO                 GS METRO INVESTMENTS                                        OTHER
GS METROPOLITAN          GS METROPOLITAN INVESTMENTS, LLC                            AFFILIATE
GUARDIAN INSURANCE       GUARDIAN INSURANCE & FINANCIAL SRVCS INC.                   BROKER
GUDE                     WILLIAM F GUDE                                              BROKER
GUERLAND                 DAVID A GUERLAND                                            BROKER
GUILLIAMS                CALEB GUILLIAMS                                             BROKER
GUNTER                   WILBURT F GUNTER                                            BROKER
H1 SILVERBARON           H1 SILVERBARON HOLDING COMPANY, LLC                         AFFILIATE
H2 ARLINGTON             H2 ARLINGTON HOLDING COMPANY, LLC                           AFFILIATE
H3 EVERGREEN WAY         H3 EVERGREEN WAY HOLDING COMPANY, LLC                       AFFILIATE
H34 PEARMAN              H34 PEARMAN HOLDING COMPANY, LLC                            AFFILIATE
H42 HILLVIEW             H42 HILLVIEW HOLDING COMPANY, LLC                           AFFILIATE
H45 HARMONY INN          H45 HARMONY INN HOLDING COMPANY, LLC                        AFFILIATE
H48 IRONDALE INN         H48 IRONDALE INN HOLDING COMPANY, LLC                       AFFILIATE
H57 CLIFF PARK           H57 CLIFF PARK HOLDING COMPANY, LLC                         AFFILIATE
H62 HOLMESBURG           H62 HOLMESBURG HOLDING COMPANY, LLC                         AFFILIATE
H63 DIXMONT STATE        H63 DIXMONT STATE HOLDING COMPANY, LLC                      AFFILIATE
H67 POWEL HOUSE          H67 POWEL HOUSE HOLDING COMPANY, LLC                        AFFILIATE
H69 CONNEAUT LAKE        H69 CONNEAUT LAKE HOLDING COMPANY, LLC                      AFFILIATE
H71 CALENDONIA CIRCLE    H71 CALENDONIA CIRCLE HOLDING COMPANY, LLC                  AFFILIATE
H72 CLEMENTINA PARK      H72 CLEMENTINA PARK HOLDING COMPANY, LLC                    AFFILIATE
H73 GLENHAVEN HEIGHTS    H73 GLENHAVEN HEIGHTS HOLDING COMPANY, LLC                  AFFILIATE
H75 PACIFIC HEIGHTS      H75 PACIFIC HEIGHTS HOLDING COMPANY, LLC                    AFFILIATE
H77 NEW MONTGOMERY       H77 NEW MONTGOMERY HOLDING COMPANY, LLC                     AFFILIATE
H78 INGLESIDE PATH       H78 INGLESIDE PATH HOLDING COMPANY, LLC                     AFFILIATE
H79 ATALAYA CIRCLE       H79 ATALAYA CIRCLE HOLDING COMPANY, LLC                     AFFILIATE
H80 JUNIPERO SERRA       H80 JUNIPERO SERRA HOLDING COMPANY, LLC                     AFFILIATE

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Surname/Entity Name    Full Name                                                   Type
H81 GOLDEN GATE        H81 GOLDEN GATE HOLDING COMPANY, LLC                        AFFILIATE
H82 VAN NESS           H82 VAN NESS HOLDING COMPANY, LLC                           AFFILIATE
H83 OCTAVIA            H83 OCTAVIA HOLDING COMPANY, LLC                            AFFILIATE
H83 SEACLIFF RUN       H83 SEACLIFF RUN HOLDING COMPANY, LLC                       AFFILIATE
H84 HOLLY PARK         H84 HOLLY PARK HOLDING COMPANY, LLC                         AFFILIATE
H85 BIRCHWOOD MANOR    H85 BIRCHWOOD MANOR HOLDING COMPANY, LLC                    AFFILIATE
H86 BONIFACIO HILL     H86 BONIFACIO HILL HOLDING COMPANY, LLC                     AFFILIATE
H87 COPPER SANDS       H87 COPPER SANDS HOLDING COMPANY, LLC                       AFFILIATE
H88 ASHBURTON WAY      H88 ASHBURTON WAY HOLDING COMPANY, LLC                      AFFILIATE
H89 VISTA VERDE        H89 VISTA VERDE HOLDING COMPANY, LLC                        AFFILIATE
H90 HARBOR POINT       H90 HARBOR POINT HOLDING COMPANY, LLC                       AFFILIATE
HAAS                   HARRY EARL HAAS                                             BROKER
HABBIT                 JASON HABBIT                                                BROKER
HAI                    MUHAMMAD A HAI                                              SALES EMPLOYEE
HALLORAN SAGE          HALLORAN SAGE                                               OTHER
HAMM                   WILLIAM E HAMM                                              BROKER
HAN                    RAYMOND HAN                                                 SALES EMPLOYEE
HANAH                  GORDON HANAH                                                BROKER
HANNAH                 GORDON HANNAH                                               BROKER
HANSBROUGH             RONALD HANSBROUGH                                           BROKER
HARBOR POINT           HARBOR POINT INVESTMENTS, LLC                               AFFILIATE
HARLEAUX               CECIL J HARLEAUX JR                                         BROKER
HARLEM 136TH STREET    HARLEM 136TH STREET MORTGAGE LLC                            AFFILIATE
HARMON                 JANICE HARMON                                               BROKER
HARRIS                 JOHN G HARRIS                                               BROKER
HARRIS FINANCIAL       HARRIS FINANCIAL MANAGEMENT                                 BROKER
HARRISON               ROY B HARRISON                                              BROKER
HARRISON               WILLIAM M & JUDITH HARRISON LT                              BROKER (INVESTOR)
HARRISON               WILLIAM MASON HARRISON JR.                                  BROKER

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Surname/Entity Name    Full Name                                                   Type
HART                   JOHN E HART                                                 BROKER
HART                   JOHN HART                                                   BROKER (INVESTOR)
HART                   MAINSTAR-FBO JOHN E HART                                    BROKER (INVESTOR)
HARVEY & COMPANIES     HARVEY & COMPANIES INC.                                     BROKER
HASKELL                ELIZABETH J HASKELL                                         BROKER
HAVENOR                FEI HAVENOR                                                 BROKER
HAWARY                 FADI EL HAWARY                                              SALES EMPLOYEE
HAWKINS                LEROY FRANKLIN HAWKINS                                      BROKER
HAYS                   HAYS INVESTMENTS, LLC                                       AFFILIATE
HD VEST                HD VEST INVESTMENT SERVICES, INC.                           BROKER
HEANEY                 JAMES S & MARIAN J HEANEY                                   BROKER
HEFEC                  KAMI HEFEC                                                  BROKER
HEFFRON                GREGORY A HEFFRON                                           BROKER
HEIDARI                BENJAMIN A. HEIDARI                                         BROKER
HELGESON               JAMES D HELGESON                                            BROKER
HELGESON               PROV. TR GP-FBO JAMES D HELGESON IRA                        BROKER (INVESTOR)
HELGESON               THE HELGESON FT                                             BROKER (INVESTOR)
HENSON                 ANTHONY HENSON                                              BROKER
HERITAGE CONSULTING    HERITAGE CONSULTING GR OH EMP 401K TR                       BROKER (INVESTOR)
HERITAGE CONSULTING    HERITAGE CONSULTING GROUP OF OHIO                           BROKER
HERITAGE INVEST        HERITAGE INVEST & RETIRE PLAN (CONCEPCION)                  BROKER
HERRING                BERNARD D HERRING                                           BROKER
HERRING CONSULTING     HERRING CONSULTING & FINANCIAL GROUP                        BROKER
HERVEY                 ROLAND HERVEY                                               BROKER
HESS                   JOSHUA D HESS                                               BROKER
HEYDARI                AMIR HEYDARI                                                BROKER (INVESTOR)
HIGHER GROUND          HIGHER GROUND FINANCIAL GROUP                               BROKER
HILL                   GENE HILL                                                   BROKER
HILL                   JOHN A HILL                                                 BROKER

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Surname/Entity Name      Full Name                                                   Type
HILLVIEW                 HILLVIEW INVESTMENTS, LLC                                   AFFILIATE
HIMES ASSET              HIMES ASSET PROTECTION LLC                                  BROKER (INVESTOR)
HINES ALTERNATIVES       HINES ALTERNATIVES, INC.                                    BROKER
HOFFMAN                  ALAN HOFFMAN                                                BROKER
HOFFMAN                  ALAN K HOFFMAN                                              BROKER
HOFMASTER                ROBERT E HOFMASTER                                          BROKER
HOLDEN HALL WEALTH       HOLDEN HALL WEALTH MANAGEMENT                               BROKER
HOLLY PARK               HOLLY PARK INVESTMENTS, LLC                                 AFFILIATE
HOLMESBURG               HOLMESBURG INVESTMENTS, LLC                                 AFFILIATE
HOLZER                   HENRY HOLZER                                                INSIDER
HOTCHKISS                JESSICA J HOTCHKISS                                         BROKER
HOUSE 123                HOUSE 123, LLC                                              AFFILIATE
HOWARD                   GREG HOWARD                                                 BROKER
HOWARD                   GREGORY JOHN HOWARD                                         BROKER
HRUBY                    ADAM K HRUBY                                                BROKER
HUGHES                   CATHERINE HUGHES                                            BROKER
HURT & ASSOCIATES        HURT & ASSOCIATES FINANCIAL SERVICES                        BROKER
HURWITZ                  SEYMOUR I. HURWITZ                                          OTHER
HUSKINSON                ROSS A HUSKINSON                                            BROKER
HYATT                    SUSANNA HYATT                                               BROKER
HYDRANGEA                HYDRANGEA FUNDING, LLC                                      AFFILIATE
iALT ENHANCED            iALT ENHANCED INCOME PORTFOLIO 1 LLC                        BROKER (INVESTOR)
iALT PORTFOLIO MGMT.     iALT PORTFOLIO MANAGEMENT LLC                               BROKER
ILD                      ILD HOLDING COMPANY, LLC                                    AFFILIATE
IN STEP INVESTMENTS      IN STEP INVESTMENTS-PRESTON N TITUS                         BROKER
INDEPENDENT CAPITAL      INDEPENDENT CAPITAL                                         BROKER
INGLESIDE PATH           INGLESIDE PATH INVESTMENTS, LLC                             AFFILIATE
INNELLA                  ROY INNELLA                                                 BROKER
INNOVATIVE RETIREMENT    INNOVATIVE RETIREMENT STRATEGIES INC.                       BROKER

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Surname/Entity Name       Full Name                                                   Type
INSURANCE INTELLIGENCE    INSURANCE INTELLIGENCE GROUP                                BROKER
INSURANCE RESOURCES       INSURANCE RESOURCES INC (GOWAN THAMER)                      BROKER
INSURANCE RESOURCES       INSURANCE RESOURCES INC, 401K PSP                           BROKER (INVESTOR)
INSUREPRO - KOSSIAN       INSUREPRO - KOSSIAN                                         BROKER
INTEGRATED FINANCIAL      INTEGRATED FINANCIAL SOLUTIONS INC.                         BROKER
INTEGRITY FINANCIAL       INTEGRITY FINANCIAL SERVICES INC.                           BROKER
INTEGRITY FUNDING         INTEGRITY FUNDING - JAMES ACTIS                             BROKER
INTEGRITY PLUS            INTEGRITY PLUS CONSULTING INC.                              BROKER
INTER VIVOS               INTER VIVOS PLLC                                            BROKER
IPA AGENCY                IPA AGENCY LLC                                              BROKER
IRONBRIDGE ASSET          IRONBRIDGE ASSET FUND 1 LLC                                 INSIDER/BROKER AFFILIATE
IRONBRIDGE ASSET          IRONBRIDGE ASSET FUND 2 LLC                                 INSIDER/BROKER AFFILIATE
IRONBRIDGE ASSET          IRONBRIDGE ASSET FUND LLC                                   INSIDER/BROKER AFFILIATE
IRONDALE INN              IRONDALE INN INVESTMENTS, LLC                               AFFILIATE
IRWIN                     DAVID GLENN IRWIN                                           BROKER
ISAAC                     JOSEPH W ISAAC                                              BROKER
ISAACS                    JOSEPH ISAACS                                               SALES EMPLOYEE
IVY CIRCLE                IVY CIRCLE, LLC                                             AFFILIATE
IVY LEAGUE COLLEGE        IVY LEAGUE COLLEGE PLANNING STRATEGIE INC.                  BROKER
J CORDONNIER LLC          J CORDONNIER LLC                                            BROKER
JACKSON                   MORGEN M JACKSON                                            BROKER (INVESTOR)
JAMES A KLOHN & ASSOC.    JAMES A KLOHN & ASSOC, PA.                                  BROKER
JAMES ALEXANDER INV.      JAMES ALEXANDER INVESTMENTS                                 BROKER
JAMISON                   SHERRI JAMISON                                              BROKER
JANDT                     GREG JANDT                                                  SALES EMPLOYEE
JANDT                     GREGORY JANDT                                               BROKER
JARAMILLO                 JOHN JARAMILLO                                              BROKER
JARAMILLO                 JOHN R JARAMILLO                                            BROKER
JARAMILLO                 MARTHA S JARAMILLO                                          BROKER

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Surname/Entity Name        Full Name                                                   Type
JAY WEINSTEIN INC.         JAY WEINSTEIN INC.                                          BROKER
JEANRENAUD                 HENRI & BARBARA JEANRENAUD                                  BROKER (INVESTOR)
JEANRENAUD                 HENRI JEANRENAUD                                            BROKER
JEFF FORD ENTERPRISES      JEFF FORD ENTERPRISES INC.                                  BROKER (INVESTOR)
JEFFREY A AZIS CPA         JEFFREY A AZIS CPA PA                                       BROKER
JG WENTWORTH               JG WENTWORTH ORIGINATIONS                                   BROKER
JM FINANCIAL               JM FINANCIAL SOLUTIONS LLC                                  BROKER
JMI ASSOCIATES             JMI ASSOCIATES LLC                                          BROKER
JOHN R BURNS TRUST         JOHN R BURNS TRUST                                          BROKER (INVESTOR)
JOHNSON                    BRETT JOHNSON                                               BROKER
JOHNSON                    CAMERON JOHNSON                                             BROKER
JOHNSON                    GREGORY NEAL JOHNSON                                        BROKER
JOHNSON                    MARLOWE ARNOLD JOHNSON                                      BROKER
JOHNSON                    PAUL FREDRICK JOHNSON                                       BROKER
JOHNSTON                   DAVID JOHNSTON                                              BROKER
JONES                      EDWIN D JONES II                                            BROKER
JONES                      JUDITH JONES                                                BROKER
JOOS                       RICHARD MAURICE JOOS                                        BROKER
JORDAN                     DON JORDAN                                                  BROKER
JORDAN                     W DONALD JORDAN                                             BROKER
JOSEPH RUBIN, INC.         JOSEPH RUBIN, INC.                                          BROKER
JP SNYDER INC              JP SNYDER INC                                               BROKER
JRH MARKETING INC.         JRH MARKETING INC                                           BROKER
JS EQUITY                  JS EQUITY, LLC                                              AFFILIATE
JUNIPERO SERRA             JUNIPERO SERRA INVESTMENTS, LLC                             AFFILIATE
KAGAN                      ANDREW ROSS KAGAN                                           BROKER
KAGARISE                   JERALD N KAGARISE                                           BROKER
KALAYJIAN OAKS & ASSOC.    KALAYJIAN OAKS & ASSOCIATES INC.                            BROKER
KALINOWSKI                 JAMES KALINOWSKI                                            BROKER

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Surname/Entity Name        Full Name                                                   Type
KAMVEST                    KAMVEST LLC                                                 BROKER
KANDRAVI                   MICHAEL KANDRAVI                                            BROKER
KAPLAN                     ALAN JAY KAPLAN                                             BROKER
KAPLAN                     RUSSELL KAPLAN (BTG)                                        BROKER
KAPOLEI INSURANCE          KAPOLEI INSURANCE & ANNUITY CENTER LLC                      BROKER
KAUFMAN                    RICH KAUFMAN                                                BROKER
KAUFMAN                    SEYMOUR KAUFMAN                                             BROKER (INVESTOR)
KAUFMAN                    SEYMOUR KAUFMAN RT                                          BROKER (INVESTOR)
KBR FINANCIAL              KBR FINANCIAL MANAGEMENT                                    BROKER
KCG ENTERPRISES            KCG ENTERPRISES LLC                                         BROKER
KEELAN                     JOHN H KEELAN                                               BROKER
KELEDJIAN                  DAVID KELEDJIAN                                             SALES EMPLOYEE
KELLEY                     PROV. TR GP-FBO RICHARD H KELLEY IRA                        BROKER (INVESTOR)
KELLEY                     RICHARD H KELLEY                                            BROKER
KELLEY GOODWIN & ASSOC.    KELLEY GOODWIN & ASSOC                                      BROKER
KELLY                      PROV. TR GP-FBO CHARLES KELLY                               BROKER
KENDALL                    MICHAEL L KENDALL                                           BROKER
KESEF GROUP                KESEF GROUP, LLC                                            BROKER
KHORASANIRAD               JESSICA KHORASANIRAD                                        BROKER
KIHNEL                     CHARLES T KIHNEL                                            BROKER (INVESTOR)
KILZER                     BARRY KILZER                                                BROKER
KIM                        CHRISTIAN KIM                                               BROKER
KIM                        JASON KIM                                                   SALES EMPLOYEE
KING                       JOHN CHRIS KING                                             BROKER
KING                       PETE "D" KING                                               SALES EMPLOYEE
KITARE                     LEIAH KITARE                                                BROKER (INVESTOR)
KITARE ENTERPRISES         KITARE ENTERPRISES                                          BROKER
KLAGER                     ALBERT DAVID KLAGER                                         BROKER
KLAGER                     MICHELLE KLAGER                                             BROKER

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Surname/Entity Name    Full Name                                                   Type
KLAGER                 PROV. TR GP-FBO ALBERT D KLAGER ROTH IRA                    BROKER (INVESTOR)
KLEOS LIMITED          KLEOS LIMITED-TOM FARMER                                    BROKER
KLIMA                  CYNTHIA KLIMA                                               BROKER
KLINE                  LISA R KLINE                                                BROKER
KNOWLES                DONOVAN KNOWLES                                             SALES EMPLOYEE
KNOWLES FINANCIAL      KNOWLES FINANCIAL SYSTEMS                                   BROKER
KNOWLES FOUNDATION     KNOWLES FOUNDATION INC.                                     BROKER (INVESTOR)
KNOWLES SYSTEMS        KNOWLES SYSTEMS INC.                                        BROKER
KNOX                   ROBERT J KNOX                                               BROKER
KNR CONSULTING         KNR CONSULTING GROUP                                        BROKER
KOCH                   GREGORY A KOCH                                              BROKER (INVESTOR)
KOCH                   MAINSTAR-FBO GREGORY KOCH SW003175                          BROKER (INVESTOR)
KOCH INSURANCE         KOCH INSURANCE BROKERS                                      BROKER
KOHL                   JACOB KOHL                                                  BROKER
KORETSKY               MICHAEL KORETSKY                                            BROKER
KORNACK                JOHN F KORNACK                                              BROKER
KORNBLUH               ALAN KORNBLUH                                               BROKER
KORNFELD               BARRY & FERNE KORNFELD                                      BROKER (INVESTOR)
KOVAK SECURITIES       KOVAK SECURITIES, INC.                                      BROKER
KRAMER                 FRED JACOBUS KRAMER                                         BROKER
KRONOS GLOBAL          KRONOS GLOBAL ADVISORS-FRED RANDHAHN                        BROKER
L1 LUXURY              L1 LUXURY HOLDINGS, LLC                                     AFFILIATE
LACEY                  LARRY LACEY                                                 BROKER
LAMONT                 JAMES LAMONT                                                BROKER
LANCE INSURANCE        LANCE INSURANCE & MARKETING SVCS LLC                        BROKER
LANDING FINANCIAL      LANDING FINANCIAL GROUP INC.                                BROKER
LANE FINANCIAL         LANE FINANCIAL STRATEGIES LLC                               BROKER
LANGENBERG             GENE LANGENBERG                                             BROKER
LANGENBERG             ROBERT L LANGENBERG                                         BROKER

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Surname/Entity Name         Full Name                                                   Type
LANNY K MARKS & ASSOC.      LANNY K MARKS & ASSOCIATES INC.                             BROKER
LAVENDER                    LAVENDER FUNDING, LLC                                       AFFILIATE
LAVIN                       FRANK LAVIN, CLU, CHFC, CFP                                 BROKER
LAW OFFCS - CHRIS. R. MILTON LAW OFFICES OF CHRISTOPHER R. MILTON                       BROKER
LAWLESS                     JAMES D LAWLESS                                             BROKER
LAWLESS FINANCIAL           LAWLESS FINANCIAL                                           BROKER
LAX MARIA'S LIMO            LAX MARIA'S LIMO                                            BROKER
LDM & ASSOCIATES            LDM & ASSOCIATES INC                                        BROKER
LEAVENWORTH INS.            LEAVENWORTH INS DBA INSUREPRO - KOSSIAN                     BROKER
LEDBETTER                   WILLIAM CHASE LEDBETTER III                                 BROKER
LEGACY ADVISORY             LEGACY ADVISORY GROUP INC                                   BROKER
LEGACY FINANCIAL            LEGACY FINANCIAL NETWORK & RETIREMENT SRV                   BROKER
LEGACY FINANCIAL            LEGACY FINANCIAL STATEGIES & SOLUTIONS                      BROKER
LEGACY INSURANCE            LEGACY INSURANCE & FINANCIAL SERVICES LLC                   BROKER
LEGACY SETTLEMENT           LEGACY SETTLEMENT SVC                                       BROKER
LEGACYSMITH                 LEGACYSMITH INC                                             BROKER
LEHMAN                      SHELDON LEHMAN                                              BROKER
LEHMAN CAPITAL              LEHMAN CAPITAL ADVISORS                                     BROKER
LESNAK                      ANDREW LESNAK                                               BROKER
LEUTZ                       THEODORE F. LEUTZ                                           BROKER
LEVERETT                    LEVERETT FUNDING, LLC                                       AFFILIATE
LEXTOR FINANCIAL            LEXTOR FINANCIAL                                            BROKER
LIBERTY SETTLEMENT          LIBERTY SETTLEMENT                                          BROKER
LIFE CO INSURANCE           LIFE CO INSURANCE SERVICES & RETIREMENT                     BROKER
LIFE MADE SIMPLE            LIFE MADE SIMPLE INC.                                       BROKER
LIFE PLAN ADVISORS          LIFE PLAN ADVISORS INC.                                     BROKER
LIFECARE FUNDING            LIFECARE FUNDING SOLUTIONS LLC                              BROKER
LIFESTYLE SHIELD            LIFESTYLE SHIELD LLC                                        BROKER
LIGHTHOUSE FINANCIAL        LIGHTHOUSE FINANCIAL ADVISORS, INC.                         BROKER

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Surname/Entity Name    Full Name                                                   Type
LIGHTHOUSE WEALTH      LIGHTHOUSE WEALTH MANAGEMENT                                BROKER
LILAC CIRCLE           LILAC CIRCLE, LLC                                           AFFILIATE
LINDERMAN              ROBERT LINDERMAN                                            BROKER
LINDERMAN              ROBERT MARK LINDERMAN                                       BROKER
LITTLE                 ERIC LITTLE                                                 BROKER
LITTRELL               BARRY LITTRELL                                              BROKER
LIU                    DERLIN LIU                                                  BROKER
LOCKWOOD               LOCKWOOD INVESTMENTS, LLC                                   AFFILIATE
LOMBARDY               PATRICK J LOMBARDY                                          BROKER (INVESTOR)
LONGWORTH              CHRISTOPHER LONGWORTH                                       BROKER
LOOX                   JOSEPH A LOOX                                               INSIDER/SALES EMPLOYEE
LOOX                   JOSEPH LOOX                                                 INSIDER/SALES EMPLOYEE
LOPEZ                  PETER ANDRADE LOPEZ                                         BROKER
LORANG                 JAMES LORANG                                                BROKER
LORENC                 MATTHEW LORENC                                              SALES EMPLOYEE
LOVELACE               JOSEPH LOVELACE                                             BROKER
LOVELAND FINANCIAL     LOVELAND FINANCIAL INC.                                     BROKER
LOWDEN                 DAWN M LOWDEN                                               BROKER
LS EXCHANGE            LS EXCHANGE                                                 BROKER
LTC PLANNING           LTC PLANNING INC.                                           BROKER
LUND                   BRIAN LUND                                                  BROKER
LUND-WERNER            DEBORAH A LUND-WERNER                                       BROKER
LUSTIG                 CLARINDA COLE LUSTIG                                        BROKER
LUSTIG                 HAROLD LUSTIG                                               BROKER
LUSTIG                 IRA SVCS TR CO-CFBO HAROLD LUSTIG IRA                       BROKER (INVESTOR)
LYNCH                  JOHN J LYNCH                                                BROKER
LYONS                  DAVID LYONS                                                 BROKER
LYONS                  PHILLIP C LYONS                                             BROKER
M1 ARCHSTONE           M1 ARCHSTONE HOLDING COMPANY, LLC                           AFFILIATE

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Surname/Entity Name     Full Name                                                   Type
M12 BEARINGSIDE         M12 BEARINGSIDE HOLDING COMPANY, LLC                        AFFILIATE
M18 TWIN PIER           M18 TWIN PIER HOLDING COMPANY, LLC                          AFFILIATE
M2 CAISSON              M2 CAISSON HOLDING COMPANY, LLC                             AFFILIATE
M20 BOWSTRING           M20 BOWSTRING HOLDING COMPANY, LLC                          AFFILIATE
M21 CRESTMARK           M21 CRESTMARK HOLDING COMPANY, LLC                          AFFILIATE
M23 SIGHTLINE           M23 SIGHTLINE HOLDING COMPANY, LLC                          AFFILIATE
M3 CANTILEVER           M3 CANTILEVER HOLDING COMPANY, LLC                          AFFILIATE
M30 CALDER GROVE        M30 CALDER GROVE HOLDING COMPANY, LLC                       AFFILIATE
M35 SADDLEMOUNT         M35 SADDLEMOUNT HOLDING COMPANY, LLC                        AFFILIATE
M4 SIDESPAR             M4 SIDESPAR HOLDING COMPANY, LLC                            AFFILIATE
M42 ORCHARD MESA        M42 ORCHARD MESA HOLDING COMPANY, LLC                       AFFILIATE
M47 BELLMIRE            M47 BELLMIRE HOLDING COMPANY, LLC                           AFFILIATE
M52 LOCKWOOD            M52 LOCKWOOD HOLDING COMPANY, LLC                           AFFILIATE
M55 GREAT SAND          M55 GREAT SAND HOLDING COMPANY, LLC                         AFFILIATE
M59 CASPER FALLS        M59 CASPER FALLS HOLDING COMPANY, LLC                       AFFILIATE
M6 TRESTLEWOOD          M6 TRESTLEWOOD HOLDING COMPANY, LLC                         AFFILIATE
M64 HAYS                M64 HAYS HOLDING COMPANY, LLC                               AFFILIATE
M65 PHILLIPSBURG        M65 PHILLIPSBURG HOLDING COMPANY, LLC                       AFFILIATE
M66 WONDERVIEW          M66 WONDERVIEW HOLDING COMPANY, LLC                         AFFILIATE
M69 FOXRIDGE            M69 FOXRIDGE HOLDING COMPANY, LLC                           AFFILIATE
M7 BRECKENRIDGE         M7 BRECKENRIDGE HOLDING COMPANY, LLC                        AFFILIATE
M78 GRAYWATER           M78 GRAYWATER HOLDING COMPANY, LLC                          AFFILIATE
M8 CROSSKEYS            M8 CROSSKEYS HOLDING COMPANY, LLC                           AFFILIATE
M81 BOILLING SPRING     M81 BOILLING SPRING HOLDING COMPANY, LLC                    AFFILIATE
M82 WINNISQUAM          M82 WINNISQUAM HOLDING COMPANY, LLC                         AFFILIATE
M84 PEMBROKE ACADEMY    M84 PEMBROKE ACADEMY HOLDING COMPANY, LLC                   AFFILIATE
M98 ELM CITY            M98 ELM CITY HOLDING COMPANY, LLC                           AFFILIATE
MACDONALD TAX           THE MacDONALD TAX & FINANCIAL GROUP INC.                    BROKER
MACKENZIE               DONALD ANTHONY MACKENZIE                                    BROKER

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Surname/Entity Name    Full Name                                                   Type
MACKENZIE              TONY MACKENZIE                                              BROKER
MAGALLANES             ARTURO MAGALLANES                                           BROKER
MAIEWSKI               MARK A MAIEWSKI                                             BROKER
MAIEWSKI               PROV. TR GP-FBO MARK A MAIEWSKI INH IRA                     BROKER (INVESTOR)
MAININI                STEVE P MAININI                                             BROKER
MALMSTEDT              ROSEMARY MALMSTEDT                                          BROKER
MANDELBAUM             HARRY MANDELBAUM                                            BROKER
MANDEVILLA CIRCLE      MANDEVILLA CIRCLE, LLC                                      AFFILIATE
MANHATTAN PROPERTY     MANHATTAN PROPERTY INVESTORS GROUP, LLC                     AFFILIATE
MARKE & MARKE          MARKE & MARKE LLC                                           BROKER
MARKS                  LANNY K. MARKS, CPA, CFP                                    BROKER
MARKS                  LANNY MARKS                                                 BROKER
MARNIE MCGRATH LLC     MARNIE MCGRATH LLC                                          BROKER
MARSHALL               MICHAEL & DENESE MARSHALL                                   BROKER (INVESTOR)
MARSHALL               MICHAEL J MARSHALL                                          BROKER
MARSHALL               PROV. TR GP-FBO MICHAEL J MARSHALL IRA                      BROKER (INVESTOR)
MARTINEZ               ANTHONY MARTINEZ                                            BROKER
MARX                   ALAN D MARX                                                 BROKER
MASON                  DEVON MASON                                                 SALES EMPLOYEE
MASON                  SEAN MASON                                                  BROKER
MASTERPIECE GROUP      MASTERPIECE GROUP LLC                                       BROKER
MASZTAK                THOMAS MASZTAK                                              SALES EMPLOYEE
MATHERNE               BRANDI MATHERNE                                             BROKER
MATHERNE               JUSTIN MATHERNE                                             BROKER
MATHESON               DANIEL JAMES MATHESON                                       BROKER
MATHIES FINANCIAL      MATHIES FINANCIAL PARTNERS                                  BROKER
MATTE BLACK INC.       MATTE BLACK INC.                                            INSIDER AFFILIATE/BROKER
MAUGHAN ENTERPRISES    MAUGHAN ENTERPRISES-DARIN G                                 BROKER
MAXFIELD               EDWARD A MAXFIELD                                           BROKER

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Surname/Entity Name       Full Name                                                   Type
MAXTED                    MAINSTAR-FBO STACEY R MAXTED T2176604                       BROKER (INVESTOR)
MAXTED                    STACEY MAXTED                                               BROKER
MAXWELL FINANCIAL         MAXWELL FINANCIAL GROUP INC.                                BROKER
MAYS                      SHANOID A MAYS                                              BROKER
MCAULIFFE                 JOHN MCAULIFFE                                              BROKER
MCCLURE                   DAVID ROBERT MCCLURE                                        BROKER
McENERNEY                 JOHN E McENERNEY                                            BROKER
MCGOVERN                  MAINSTAR-FBO ROY MCGOVERN SW003762                          BROKER (INVESTOR)
MCGOVERN                  ROY BURKE McGOVERN JR.                                      BROKER
MCGOVERN                  ROY MCGOVERN                                                BROKER (INVESTOR)
MCGRAW CUSTOM FINANCIAL   McGRAW CUSTOM FINANCIAL SOLUTIONS                           BROKER
MCGREAL                   TERRENCE MCGREAL                                            SALES EMPLOYEE
MCGRIFF ALLIANCE          THE MCGRIFF ALLIANCE                                        BROKER
MCINTYRE                  PAUL & COLLEEN McINTYRE                                     BROKER
MCKNIGHT                  ROBERT TERRY MCKNIGHT                                       BROKER
MCMAHAN                   DARREN MCMAHAN                                              BROKER
MCNAMARA                  JOHN J MCNAMARA                                             BROKER
MCTIER                    MAHARI McTIER                                               BROKER
MEAD                      OLGA M MEAD                                                 BROKER
MEDWED                    STEVEN MEDWED                                               BROKER
MELROSE INVESTMENT        MELROSE INVESTMENT CORP.                                    BROKER
MENDEZ                    LUIS MENDEZ                                                 BROKER
MENENDEZ                  ELIAS C MENENDEZ DBA MENENDEZ FINANCIAL                     BROKER
MENENDEZ FINANCIAL        MENENDEZ FINANCIAL                                          BROKER
MERCADO                   HERNAN ALEXIS MORAN MERCADO                                 SALES EMPLOYEE
MERCADO                   HERNAN MERCADO                                              BROKER
MERCER VINE               MERCER VINE INC.                                            INSIDER AFFILIATE
MERINO                    PAUL MERINO                                                 BROKER
MESA GLEN                 MESA GLEN ENTERPRISES, LLC                                  AFFILIATE

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Surname/Entity Name          Full Name                                                   Type
MESA GLEN                    MESA GLEN HOLDING COMPANY, LLC                              AFFILIATE
MESQUITE                     MESQUITE FUNDING, LLC                                       AFFILIATE
MICHAEL WEINER MD PA         MICHAEL WEINER MD PA PROFIT SHARING PLAN                    BROKER (INVESTOR)
MID-ATLANTIC BROKERS         MID-ATLANTIC BROKERS INC.                                   BROKER
MID-ATLANTIC BROKERS         MID-ATLANTIC BROKERS-DENNIS DRAKE                           BROKER
MIDLAND LOOP                 MIDLAND LOOP ENTERPRISES, LLC                               AFFILIATE
MIDLAND LOOP                 MIDLAND LOOP LOAN, LLC                                      AFFILIATE
MIDWEST PRAIRIE FINANCIAL    MIDWEST PRAIRIE FINANCIAL INC.                              BROKER
MIKULA                       WAYNE MIKULA                                                BROKER
MILLAN                       BENJAMIN MILLAN                                             BROKER
MILLER                       RICHARD ANTHONY MILLER                                      BROKER
MILTON                       CHRISTOPHER R. MILTON                                       BROKER
MINNICH                      STEVEN HUGH MINNICH                                         BROKER
MISCHKE                      JOSHUA P MISCHKE                                            BROKER
MITCHELL                     RUEL MITCHELL                                               BROKER
MMC FINANCIAL                MMC FINANCIAL SERVICES                                      BROKER
MONEY MANAGERS               MONEY MANAGERS INC.                                         BROKER
MONEYWORKS                   MONEYWORKS, LLC                                             BROKER
MONTGOMERY WEALTH            MONTGOMERY WEALTH MGMT LLC-CURTIS POUYER                    BROKER
MONTRIDGE INSURANCE          MONTRIDGE INSURANCE SERVICES                                BROKER
MOORE                        BRUCE MOORE                                                 BROKER
MOORE                        REGINALD R MOORE                                            BROKER
MOORE                        ROBERT DUAYNE MOORE                                         BROKER
MOORPARK BOCA                MOORPARK BOCA FUNDING, LLC                                  AFFILIATE
MOORPARK STOVER              MOORPARK STOVER HOLDING CO, LLC                             AFFILIATE
MORETZ WEALTH                MORETZ WEALTH MANAGEMENT LLC                                BROKER
MORGAN                       RUSSELL I MORGAN II                                         BROKER
MORRELL                      ELIZABETH MORRELL                                           BROKER
MORRISON FINANCIAL           MORRISON FINANCIAL SERVICES LLC                             BROKER

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Surname/Entity Name         Full Name                                                   Type
MOSLEY & ASSOCIATES         MOSLEY & ASSOCIATES                                         BROKER
MOSS                        RODNEY B MOSS                                               BROKER
MOUNTAINWOOD                MOUNTAINWOOD CUSTOM HOMES OF CO., LLC                       AFFILIATE
MP WEALTH                   MP WEALTH MANAGEMENT LLC                                    BROKER
MSB CONSULTING              MSB CONSULTING GROUP-MARK BREIMAN                           BROKER
MUELLER                     ALISON MUELLER                                              BROKER
MUELLER ASSET               MUELLER ASSET STRATEGIES-ALISON MUELLER                     BROKER
MUNOZ                       MARC MUNOZ                                                  BROKER
MURATORE                    JOHN S MURATORE                                             BROKER
MY LOAN REALTY              MY LOAN REALTY AND FINANCIAL                                BROKER
NAA INSURANCE               NAA INSURANCE AGENCY CORP.                                  BROKER
NACIREMA                    NACIREMA INC                                                BROKER
NASH.                       JAMES O NASH.                                               BROKER
NATIONAL CREDIT             NATIONAL CREDIT AND FINANCIAL SOLUTIONS                     BROKER
NATIONAL SUMMIT             NATIONAL SUMMIT GROUP                                       BROKER
NATIONS 1ST FINANCIAL       NATIONS 1ST FINANCIAL                                       BROKER
NATION'S FIRST FINANCIAL    NATION'S FIRST FINANCIAL                                    BROKER
NEASHAM                     GLENN A NEASHAM                                             BROKER
NEBEKER                     ERIK NEBEKER                                                BROKER
NEESER                      THOMAS M NEESER                                             BROKER (INVESTOR)
NEGRON                      MANUEL NEGRON-GEN WEALTH                                    BROKER
NEST EGG RETIREMENT         NEST EGG RETIREMENT SOLUTIONS                               BROKER
NETTLETON                   RICHARD NETTLETON                                           BROKER (INVESTOR)
NETTO                       PRISCILA NETTO                                              BROKER
NEW                         ALAN NEW                                                    BROKER
NEW MONTGOMERY              NEW MONTGOMERY INVESTMENTS, LLC                             AFFILIATE
NICHOLS                     DAVID NICHOLS                                               BROKER
NICHOLS COLLEGE FUNDING     NICHOLS COLLEGE FUNDING SOLUTIONS INC.                      BROKER
NILOSEK                     CHUCK NILOSEK                                               BROKER

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Surname/Entity Name       Full Name                                                   Type
NITTI                     GLENN A NITTI                                               BROKER
NONINI FINANCIAL          NONINI FINANCIAL SERVICES                                   BROKER
OAKS                      STEPHEN OAKS                                                BROKER
O'DELL                    DAVID L O'DELL                                              BROKER
O'DONELL                  DAVID O'DONELL                                              BROKER
OH                        YONG CHAN OH                                                BROKER
OLD SECURITY FINANCIAL    OLD SECURITY FINANCIAL GROUP                                BROKER
ONE RESOURCE              ONE RESOURCE GROUP                                          BROKER
O'NEILL                   GERARD J O'NEILL                                            BROKER
ONESOURCE FINANCIAL       ONESOURCE FINANCIAL ADVISORS INC.                           BROKER
ORCHARD MESA              ORCHARD MESA INVESTMENTS, LLC                               AFFILIATE
ORCUTT                    RICHARD DEAN ORCUTT                                         BROKER
ORCUTT                    WILLIAM ORCUTT                                              BROKER
ORFIN                     DANIEL P ORFIN                                              BROKER
ORTIZ                     GERALD LANCE ORTIZ                                          BROKER
OSTROVSKY                 ALEX OSTROVSKY                                              BROKER
OUELETTE                  DAVID OUELETTE                                              BROKER
OWENS                     ROGER L OWENS                                               BROKER
OWENS/LEPORE              ROGER OWENS & JENNIFER M LEPORE                             BROKER (INVESTOR)
OXFORD                    BARRY D OXFORD                                              BROKER
PACIFIC HEIGHTS           PACIFIC HEIGHTS INVESTMENTS, LLC                            AFFILIATE
PALMATIER RETIREMENT      PALMATIER RETIREMENT & CNA SERVICES                         BROKER
PANTALONE                 STEPHEN A PANTALONE                                         BROKER
PANTHREX ASSET            PANTHREX ASSET MANAGEMENT, LLC                              BROKER
PARAMOUNT FINANCIAL       PARAMOUNT FINANCIAL SERVICES INC.                           BROKER
PARCHAMI                  AZAR PARCHAMI                                               BROKER (INVESTOR)
PARDI                     CARMINE V PARDI                                             BROKER
PARKER                    ERROL R PARKER                                              BROKER
PARSONS                   ARIELLE PARSONS                                             BROKER

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Surname/Entity Name        Full Name                                                   Type
PARTNERS FOR PROSPERITY    PARTNERS FOR PROSPERITY LLC                                 BROKER
PARTNERS PROSPERITY        PARTNERS PROSPERITY                                         BROKER
PATEL                      DIPAK PATEL                                                 BROKER
PATEL                      VIPINBHAI PATEL                                             BROKER
PATTON                     LARIN GREGORY PATTON                                        BROKER
PAUL                       HENRY PAUL                                                  BROKER
PAULZAK                    GARY PAULZAK                                                BROKER
PAYNE                      ALBERT PAYNE                                                BROKER
PEACHTREE SETTLEMENT       PEACHTREE SETTLEMENT FUNDING                                BROKER
PEARMAIN                   PEARMAIN INVESTMENTS, LLC                                   AFFILIATE
PELLS                      HARRY G PELLS                                               BROKER
PELTZ                      CLAUDE PELTZ                                                BROKER (INVESTOR)
PEMBROKE ACADEMY           PEMBROKE ACADEMY INVESTMENTS, LLC                           AFFILIATE
PENDYKOSKI                 RICHARD PENDYKOSKI                                          BROKER
PENNER                     DONALD PENNER                                               BROKER
PENRY                      LAURA PENRY                                                 BROKER
PEPLOWSKI                  JOHN M & CAROLE L PEPLOWSKI                                 BROKER (INVESTOR)
PEPLOWSKI                  JOHN MICHAEL PEPLOWSKI                                      BROKER
PERKINS                    LARRY PERKINS                                               INSIDER
PERRY                      HERBERT W PERRY                                             BROKER
PERRY                      HERMAN GRANT PERRY                                          BROKER
PERRY                      PROV. TR GP-FBO HERBERT PERRY IRA                           BROKER (INVESTOR)
PETERSON                   DEVIN PETERSON                                              BROKER
PETRI                      WALID L PETRI                                               BROKER
PHI BETA KAPITAL           PHI BETA KAPITAL, CORP.                                     BROKER
PHILLIPS                   CARLTON SCOTT PHILLIPS                                      BROKER
PHILLIPS                   SCOTT PHILLIPS                                              BROKER
PHILLIPSBURG               PHILLIPSBURG INVESTMENTS, LLC                               AFFILIATE
PICHLIK                    JEFFRY SCOTT PICHLIK                                        BROKER

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Surname/Entity Name    Full Name                                                   Type
PICKETT                MICHAEL J PICKETT                                           BROKER
PICKETT STRUCTURES     PICKETT STRUCTURES                                          BROKER
PINA                   SHELLEY-ANN PINA                                            BROKER
PINEHURST CAPITAL      PINEHURST CAPITAL, INC.                                     BROKER
PITTSENBARGAR          BRETT PITTSENBARGAR                                         INSIDER/BROKER
PITTSENBARGAR          PROV. TR GP-FBO BRETT PITTSENBARGAR HSA                     BROKER (INVESTOR)
PITTSENBARGAR          PROV. TR GP-FBO BRETT PITTSENBARGAR SOLO K                  BROKER (INVESTOR)
PLAIN                  HAL PLAIN                                                   SALES EMPLOYEE
POLACIOS               MARIA POLACIOS-LAX MARIA'S LIMO DBA                         BROKER
POLK                   BRANDON POLK                                                BROKER
PONTREMOLI             RON & CAROL PONTREMOLI                                      BROKER (INVESTOR)
PONTREMOLI             RONALDO L PONTREMOLI                                        BROKER
POPPY CIRCLE           POPPY CIRCLE, LLC                                           AFFILIATE
PORTER                 LEE PORTER JR.                                              BROKER
POSITION BENEFITS      POSITION BENEFITS LLC                                       BROKER
POUYER                 CURTIS POUYER                                               BROKER
POWEL HOUSE            POWEL HOUSE INVESTMENTS, LLC                                AFFILIATE
POWELL                 FLOYD E POWELL                                              BROKER
POWELL                 WARD POWELL                                                 BROKER
POWER                  CURTIS POWER                                                BROKER
POWERS                 SCOTT POWERS                                                BROKER
PRACTICAL WEALTH       PRACTICAL WEALTH ADVISORS, LLC                              BROKER
PRATER                 MICHAEL DAVID PRATER                                        BROKER
PRECISE INVESTMENT     PRECISE INVESTMENT GROUP LLC                                INSIDER AFFILIATE/BROKER
PRESERVATION WEALTH    PRESERVATION WEALTH ADVISORS                                BROKER
PRESTIGE INSURANCE     PRESTIGE INSURANCE SERVICES                                 BROKER
PRESTIGE INSURANCE     PRESTIGE INSURANCE-LEN CONNELL                              BROKER
PRESTIGE WEALTH        PRESTIGE WEALTH MANAGEMENT                                  BROKER
PRO WEALTH             PRO WEALTH INC.                                             BROKER

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Surname/Entity Name       Full Name                                                   Type
PROFECTUS FINANCIAL       PROFECTUS FINANCIAL & INSURANCE SERVICES                    BROKER
PROGRESO                  PROGRESO, LLC                                               BROKER
PRUDENTIAL ANNUITIES      PRUDENTIAL ANNUITIES DISTRIBUTORS, INC.                     BROKER
PTS FINANCIAL             PTS FINANCIAL SERVICES LLC                                  BROKER
PURO                      ROSE M PURO                                                 BROKER
PUTNAM RETAIL             PUTNAM RETAIL MANAGEMENT LIMITED PARTNERSHIP                BROKER
QUE                       DARREL D QUE                                                BROKER
QUEEN B SERVICES          QUEEN B SERVICES                                            BROKER
RAHAMAN                   TIMOTHY RAHAMAN                                             BROKER
RAHIMI                    AMIR RAHIMI                                                 SALES EMPLOYEE
RAINES                    JERRY D RAINES                                              BROKER
RAMOS                     JOSEPH RAMOS                                                BROKER
RANDHAHN                  FRED & KAREN RANDHAHN                                       BROKER (INVESTOR)
RANDLE                    JESSE RANDLE                                                BROKER (INVESTOR)
RASAEI                    KRISTIAN RASAEI                                             BROKER
RE ASSET PARTNERS         RE ASSET PARTNERS LLC                                       INSIDER AFFILIATE
REEVES                    SYLVAN ROBIN & TINA D REEVES                                BROKER (INVESTOR)
REEVES                    SYLVAN ROBIN REEVES                                         BROKER
REID                      DARRON T REID                                               BROKER
REILLY                    KENNETH J REILLY                                            BROKER
REISINGER                 DAN REISINGER                                               BROKER
RELIANT FINANCIAL         RELIANT FINANCIAL GROUP INC.                                BROKER
RELIANT GROUP 360         RELIANT GROUP 360 CORP                                      BROKER
RELLORA                   FROILAN RELLORA                                             BROKER
RENNINGER                 SEAN P RENNINGER                                            SALES EMPLOYEE
RETIREMENT PLANNING       RETIREMENT PLANNING SOLUTIONS LLC                           BROKER
RETIREMENT PLANNING       RETIREMENT PLANNING-GORDON HANAH                            BROKER
RETIREMENT SERVICES       RETIREMENT SERVICES LLC-ALLEN DENSMORE                      BROKER
RETIREMENT SPECIALTIES    RETIREMENT SPECIALTIES, INC - ALLAN DENSM                   BROKER

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Surname/Entity Name       Full Name                                                   Type
REYNOSO                   RAYMOND R REYNOSO                                           BROKER
RH PRINCIPLED INV.        RH PRINCIPLED INVESTMENTS                                   BROKER
RHS CAPITAL               RHS CAPITAL, LLC                                            AFFILIATE
RIBLETT                   JACKIE L RIBLETT                                            BROKER
RICHARD C BROWN FINANCIAL RICHARD C BROWN FINANCIAL SERVICES                          BROKER
RICHARDS                  KEVIN RICHARDS                                              BROKER (INVESTOR)
RICHARDSON                LLOYD B RICHARDSON                                          BROKER
RICHMOND WEALTH           RICHMOND WEALTH MANAGEMENT LLC                              BROKER
RICKS                     BRUCE & JEANIE RICKS                                        BROKER (INVESTOR)
RICKS                     BRUCE RICKS                                                 BROKER
RICKS                     PROV. TR GP-FBO BRUCE RICKS IRA                             BROKER (INVESTOR)
RINKOVSKY                 PAULA RINKOVSKY                                             BROKER
RITCH                     WILLIAM B RITCH                                             BROKER
RITCH                     WILLIAM RITCH                                               BROKER
RIVERDALE FUNDING         RIVERDALE FUNDING LLC                                       AFFILIATE
ROBBINS                   DONNA ROBBINS                                               BROKER
ROBBINS                   LYNETTE ROBBINS                                             BROKER AFFILIATE
ROBBINS                   WILLIAM G & DONNA J ROBBINS                                 BROKER (INVESTOR)
ROBERTS                   AMANDA L ROBERTS                                            BROKER
ROBERTS                   RONALD ROBERTS                                              BROKER
ROBERTSON                 RANDY ROBERTSON                                             SALES EMPLOYEE
ROBINSON                  DONALD D ROBINSON                                           BROKER
ROBINSON                  MICHAEL ROBINSON                                            BROKER
ROBINSON GROUP            ROBINSON GROUP INC.                                         BROKER
ROCKWELL                  RICHARD DOW ROCKWELL                                        BROKER
ROGERS                    DANA ROGERS                                                 SALES EMPLOYEE
ROITFARB                  DAVID ROITFARB                                              SALES EMPLOYEE
ROLAND FINANCIAL          ROLAND FINANCIAL LLC                                        BROKER
ROLNICK                   MARVIN ROLNICK                                              BROKER

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Surname/Entity Name      Full Name                                                   Type
ROMINGER                 LARRY & DONNA ROMINGER CO-TTEES 07/27/06                    BROKER (INVESTOR)
ROMINGER                 LARRY ROMINGER                                              BROKER
RON SCHULZE FINANCIAL    RON SCHULZE FINANCIAL SERVICES, LLC                         BROKER
ROSCOE                   ROSCOE BLVD INVESTMENTS, LLC                                AFFILIATE
ROSCOE                   ROSCOE, LLC                                                 AFFILIATE
ROSEBROUGH               JAMES A ROSEBROUGH JR.                                      BROKER
ROSEMAN                  DANE ROSEMAN                                                INSIDER AFFILIATE/BROKER
ROSEMAN                  DAYNE ROSEMAN                                               INSIDER/SALES EMPLOYEE
ROSERIDGE CONSULTING     ROSERIDGE CONSULTING LLC                                    BROKER
ROYSTON                  ANNE L ROYSTON                                              BROKER
RUBIN                    JOSEPH RUBIN                                                BROKER
RUNYAN                   DAVID T RUNYAN                                              BROKER
RUOTOLO                  EDWARD B RUOTOLO                                            BROKER
RUTMAN                   PETER RUTMAN                                                BROKER
S C LIFE                 S C LIFE AND ANNUITY INC.                                   BROKER
S D G INSURANCE          S D G INSURANCE AGENCY FINANCIAL SERVICES                   BROKER
SAC ASPEN                SAC ASPEN ACQUISITION, LLC                                  AFFILIATE
SAC HOLDING              SAC HOLDING COMPANY OF ASPEN, LLC                           AFFILIATE
SAC MANAGEMENT           SAC MANAGEMENT, LLC                                         AFFILIATE
SACHS FINANCIAL          SACHS FINANCIAL LLC                                         BROKER
SADDLEMOUNT              SADDLEMOUNT INVESTMENTS, LLC                                AFFILIATE
SAFE MONEY               SAFE MONEY BROADCASTING LLC                                 BROKER
SAFE MONEY               SAFE MONEY INVESTING INC.                                   BROKER
SAFE MONEY               SAFE MONEY STRATEGIES INC.                                  BROKER
SAFETY OF PRINCIPLE      SAFETY OF PRINCIPLE, INC.                                   BROKER
SALLING                  JAMES R SALLING JR.                                         BROKER
SALLING                  JIM SALLING                                                 BROKER
SALTWATER HARBOR         SALTWATER HARBOR FINANCIAL LLC                              BROKER
SALVEMINI                JOSEPH D SALVEMINI                                          BROKER

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Surname/Entity Name        Full Name                                                   Type
SANDERS                    LEVITT SANDERS                                              BROKER
SANDOVAL                   YOLANDA A SANDOVAL                                          BROKER
SANTANA                    JEFFERY J SANTANA                                           BROKER
SANTANA                    JEFFREY SANTANA                                             SALES EMPLOYEE
SAOUD                      AARON W SAOUD                                               BROKER
SAOUD                      WILLIAM SAOUD                                               BROKER
SATCHER                    EBONY SATCHER                                               BROKER
SAUCEDO                    JUAN DE DIOS VACA SAUCEDO                                   BROKER
SAUNIG                     MATTHEW SAUNIG                                              BROKER
SAXTON                     ROBERT & JOANNE SAXTON                                      BROKER
SCHEER                     GARY R SCHEER                                               BROKER
SCHLOSSER                  FREDERICK D SCHLOSSER                                       BROKER
SCHMALZ                    MATTHEW D SCHMALZ                                           BROKER
SCHNEIDER                  MARTIN SCHNEIDER                                            BROKER (INVESTOR)
SCHOLL                     DAVID A SCHOLL                                              BROKER
SCHOLLENBARGER             STEVEN LANE SCHOLLENBARGER                                  BROKER
SCHULZE                    MAINSTAR-FBO ROBERT SCHULZE T2177596                        BROKER (INVESTOR)
SCHULZE                    ROBERT & MARIA SCHULZE                                      BROKER (INVESTOR)
SCHULZE                    ROBERT J SCHULZE                                            BROKER
SCHULZE                    RONALD U & VICTORIA A SCHULZE                               BROKER (INVESTOR)
SCHULZE HOMAN FINANCIAL    SCHULZE HOMAN FINANCIAL GROUP LLC                           BROKER
SCHWARTZ                   JEROME H SCHWARTZ                                           BROKER (INVESTOR)
SCHWARTZ                   JOSEPH SCHWARTZ                                             BROKER
SCHWARTZ                   MATTHEW SCHWARTZ                                            INSIDER/SALES EMPLOYEE
SCHWARTZ                   SCHWARTZ DIRECT MEDIA, LLC                                  AFFILIATE
SCHWARTZ                   SCHWARTZ MEDIA BUYING COMPANY LLC                           INSIDER AFFILIATE/BROKER (INVESTOR)
SCHWARTZ                   SCHWARTZ MEDIA HOLDING, LLC                                 AFFILIATE
SCHWARTZ                   SCOTT SCHWARTZ                                              INSIDER/SALES EMPLOYEE
SCOTT                      GEORGE SCOTT                                                BROKER

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Surname/Entity Name         Full Name                                                   Type
SCOTT                       JACK SCOTT                                                  BROKER
SCOTT                       RICK NEIL SCOTT                                             BROKER
SCOTT                       STEVEN LEONARD SCOTT                                        BROKER
SDG INSURANCE               SDG INSURANCE AGENCY FINANCIAL SERVICES                     BROKER
SEABURY                     MARTHA SEABURY                                              BROKER
SEACLIFF RUN                SEACLIFF RUN INVESTMENTS, LLC                               AFFILIATE
SEACOAST FINANCIAL          SEACOAST FINANCIAL GRP LLC                                  BROKER
SEARCHLIGHT FINANCIAL       SEARCHLIGHT FINANCIAL ADVISORS LLC                          BROKER
SECOND FLIGHT               SECOND FLIGHT CONSULTANCY LLC                               BROKER
SECURE FINANCIAL            SECURE FINANCIAL GROUP INC                                  BROKER
SECURED FUTURES             SECURED FUTURES FINANCIAL & INS SERV LTD                    BROKER
SECURITY FINANCIAL          SECURITY FINANCIAL LLC                                      BROKER
SECURITY FIRST FINANCIAL    SECURITY FIRST FINANCIAL LLC                                BROKER
SENIOR CIRCUIT              THE SENIOR CIRCUIT INC                                      BROKER
SESCO BENEFITS              SESCO BENEFITS SERVICE INC.                                 BROKER
SESNY                       THOMAS & MARTHA SESNY                                       BROKER (INVESTOR)
SESNY                       THOMAS A SESNY                                              BROKER
SESNY/SCHULTZ               THOMAS A SESNY & JAMES E SCHULTZ                            BROKER (INVESTOR)
SETH                        ROBERT T SETH                                               BROKER
SEXTON ADVISORY             SEXTON ADVISORY GROUP INC.                                  BROKER
SFERAS                      SAMUEL SFERAS                                               SALES EMPLOYEE
SFI                         SFI                                                         BROKER
SHAPIRO                     JERI SHAPIRO                                                INSIDER
SHAPIRO                     ROBERT SHAPIRO                                              INSIDER
SHARMA                      DAVEN S SHARMA                                              BROKER
SHELBURNE MGMT.             SHELBURNE MANAGEMENT CO LLC                                 BROKER
SHEMTOB                     LEONARD SHEMTOB                                             INSIDER/BROKER (INVESTOR)
SHENDEL                     STEVE SHENDEL                                               BROKER
SHERIDAN                    THERESA SHERIDAN                                            BROKER

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Surname/Entity Name     Full Name                                                   Type
SHERMAN OAKS            SHERMAN OAKS INTERIOR DESIGN GROUP, LLC                     AFFILIATE
SHIELD FINANCIAL        SHIELD FINANCIAL GROUP, INC.                                BROKER
SHOEMAKER               DALEN M SHOEMAKER                                           BROKER
SHP FINANCIAL           SHP FINANCIAL LLC                                           BROKER
SHUMMON                 SAMUEL A SHUMMON                                            BROKER
SIDESPAR                SIDESPAR INVESTMENTS, LLC                                   AFFILIATE
SIEGFRIED               KIRSTEN P SIEGFRIED                                         BROKER
SIERRA CONSTELLATION    SIERRA CONSTELLATION PARTNERS LLC                           OTHER
SIGHTLINE               SIGHTLINE INVESTMENTS, LLC                                  AFFILIATE
SILVERBARON             SILVERBARON INVESTMENTS, LLC                                AFFILIATE
SIMMONS                 ADRIENNE SIMMONS                                            BROKER
SINGER                  MICHAEL ANDREW SINGER                                       INSIDER/BROKER
SINGLETON               PROV. TR GP-FBO SHELDON SINGLETON IRA                       BROKER (INVESTOR)
SINGLETON               SHELDON SINGLETON                                           BROKER
SJ FINANCIAL            SJ FINANCIAL SERVICES LLC                                   BROKER
SMARGIASSI              ROBERT A SMARGIASSI                                         BROKER
SMITH                   ARNOLD SMITH                                                BROKER
SMITH                   NICOLE R SMITH                                              BROKER
SMITH                   PAUL SMITH                                                  BROKER
SMITH                   TRAVIS SMITH                                                BROKER
SMITHSON FINANCIAL      SMITHSON FINANCIAL GROUP                                    BROKER
SNOOK                   TARA K SNOOK                                                BROKER
SNYDER                  OWEN D & LILLIE M SNYDER                                    BROKER (INVESTOR)
SNYDER                  OWEN D SNYDER                                               BROKER
SOFFER                  JOSHUA SOFFER                                               BROKER
SOHN                    KIHO SOHN                                                   BROKER
SORGENSTEIN             EDWARD SORGENSTEIN                                          BROKER
SORIANO                 ARNEL V SORIANO                                             BROKER
SOTO                    MANUEL SOTO                                                 BROKER

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Surname/Entity Name       Full Name                                                   Type
SOULIER                   CHRISTOPHER M SOULIER                                       BROKER
SOULIER                   PROV. TR GP-FBO C M SOULIER ROTH IRA                        BROKER (INVESTOR)
SOUTHERN FINANCIAL        SOUTHERN FINANCIAL GROUP INC                                BROKER
SOUTHWELL                 DAVID W SOUTHWELL                                           BROKER
SOUTHWEST FINANCIAL       SOUTHWEST FINANCIAL SERVICES, INC.                          BROKER
SOUTHWESTERN MICHIGAN     SOUTHWESTERN MICHIGAN INSURANCE AGENCY PC                   BROKER
SPAR                      WILLIAM B SPAR                                              BROKER
SPAR                      WILLIAM E SPAR                                              BROKER
SSI                       SSI LLC                                                     BROKER
STAHL                     FREDERIC T STAHL                                            BROKER
STARLIGHT STARBRIGHT      STARLIGHT STARBRIGHT LLC                                    BROKER
STEAL YOUR FACE           STEAL YOUR FACE, LLP (BRAD FRIEDMAN)                        BROKER
STEINER                   RONALD E STEINER                                            BROKER
STEINER                   RONALD STEINER                                              BROKER
STEPHANOPOULOS            GEORGE R STEPHANOPOULOS                                     OTHER
STEVENS                   MORGAN STEVENS                                              BROKER
STILL WATERS FINANCIAL    STILL WATERS FINANCIAL SOLUTIONS INC.                       BROKER
STL PROFESSIONAL          STL PROFESSIONAL SERVICES INT'L LLC                         BROKER
STOHS                     TIMOTHY P STOHS                                             BROKER
STONE                     GENNETTE STONE                                              BROKER
STONELION                 STONELION, LLC                                              BROKER
STOVER REAL ESTATE        STOVER REAL ESTATE PARTNERS, LLC                            AFFILIATE
STRATEGIC CHOICES         STRATEGIC CHOICES FINANCIAL INC.                            BROKER
STRATEGIC FINANCIAL       STRATEGIC FINANCIAL PARTNERS                                BROKER
STRICKER                  JESSICA STRICKER                                            BROKER
STRICKLAND                IRA SVCS TR CO-CFBO KERRY K STRICKLAND                      BROKER (INVESTOR)
STRICKLAND                KERRY K STRICKLAND                                          BROKER (INVESTOR)
STRUCTURED STRATEGIES     STRUCTURED STRATEGIES, LLC                                  BROKER
STUDENT SERVICES          STUDENT SERVICES INC.                                       BROKER

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                                        Schedule 1 - Schedule of Excluded Parties

Surname/Entity Name        Full Name                                                   Type
SUAREZ                     JACQUELINE SUAREZ                                           BROKER
SUFFIELD                   SUFFIELD FUNDING, LLC                                       AFFILIATE
SUNSOLUTIONS INSURANCE     SUNSOLUTIONS INSURANCE AGENCY LLC                           BROKER
SURF CITY FINANCIAL        SURF CITY FINANCIAL GROUP                                   BROKER
SYCAMORE GROUP             SYCAMORE GROUP INC.                                         BROKER
SYNERGY FINANCIAL          SYNERGY FINANCIAL GROUP, INC.                               BROKER
SYNERGY INVESTMENT         SYNERGY INVESTMENT SERVICES LLC                             BROKER
TAFT                       MIKEL TAFT                                                  BROKER
TALBERT WEALTH             TALBERT WEALTH INC.                                         BROKER
TAMARA CHRISTIANS, INC.    TAMARA CHRISTIANS, INC.                                     BROKER
TAN                        SUHIANTO TAN                                                BROKER (INVESTOR)
TANG                       TINA TANG                                                   BROKER
TANGIBLE ASSETS            TANGIBLE ASSETS INVESTMENTS LLC                             BROKER
TANGUIS                    LESTER G TANGUIS                                            BROKER (INVESTOR)
TANGUIS                    PROV. TR GP-FBO LESTER G TANGUIS III IRA                    BROKER (INVESTOR)
TASHVIGHI                  ARASH TASHVIGHI                                             BROKER
TAVARES                    KIM TAVARES                                                 SALES EMPLOYEE
TAVARES                    KIMBERLY TAVARES                                            BROKER
TAX SAVINGS                TAX SAVINGS SPECIALISTS LLC                                 BROKER
TEACHOUT                   JOHN J TEACHOUT                                             BROKER
TEACHOUT & ASSOCIATES      TEACHOUT AND ASSOCIATES INC.                                BROKER
TEAM UP                    TEAM UP LLC                                                 BROKER
TEGRASURE                  TEGRASURE LLC                                               BROKER
TERM BROKERS               TERM BROKERS LLC                                            BROKER
TERM PROVIDER FINANCIAL    TERM PROVIDER FINANCIAL SERVICES LLC                        BROKER
TEXAS CO-LENDERS 01        TEXAS CO-LENDERS 01, LLC                                    AFFILIATE
TGA WLTH                   TGA WLTH                                                    BROKER
THAMER                     O GOWAN & JEANNE L THAMER                                   BROKER (INVESTOR)
THAMER                     PROV. TR GP-FBO ORVILLE G THAMER IRA                        BROKER (INVESTOR)

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Surname/Entity Name      Full Name                                                   Type
THOMAS                   JOSEPH G THOMAS                                             BROKER
THOMAS                   JOSEPH THOMAS                                               BROKER
THOMPSON                 WARREN R THOMPSON                                           BROKER
THOMSON                  MICHAEL EDWARD THOMSON                                      BROKER
THONG                    VLCHETR THONG                                               BROKER
THORNGREN                CHARLES J THORNGREN                                         BROKER
THREE FOURTEEN CO.       THE THREE FOURTEEN COMPANY                                  BROKER
TILLINGHAST              TILLINGHAST INVESTMENTS, LLC                                AFFILIATE
TIM SHAW FINANCIAL       TIM SHAW FINANCIAL CONSULTANTS LLC                          BROKER
TITUS                    PRESTON N TITUS                                             BROKER
TO THE MAX               TO THE MAX MARKETING INC.                                   BROKER
TOFTOY                   STEPHEN K TOFTOY                                            BROKER
TOSI                     ALEXANDER TOSI                                              BROKER (INVESTOR)
TRADEWIND SETTLEMENTS    TRADEWIND SETTLEMENTS LLC                                   BROKER
TRAGER, LLC              TRAGER LLC dba NATION'S FIRST FINANCIAL                     BROKER
TRAGER, LLC              TRAGER, LLC                                                 BROKER
TRAINA                   DAVID TRAINA                                                BROKER
TRANQUIL FINANCIAL       TRANQUIL FINANCIAL SERVICES -ERIK NEBEKER                   BROKER
TREISTMAN                EVA TREISTMAN                                               BROKER
TRESTLEWOOD              TRESTLEWOOD INVESTMENTS, LLC                                AFFILIATE
TROST                    JEROME CARL TROST                                           BROKER
TRUJILLO                 MICHAEL A TRUJILLO                                          BROKER
TULLOS                   JULIE R TULLOS                                              BROKER
TUNNELL                  BRADLEY S TUNNELL                                           BROKER
TURNER                   JOHN T TURNER                                               BROKER
TWEEDIA SQUARE           TWEEDIA SQUARE FUNDING, LLC                                 AFFILIATE
TWH ANNUITIES            TWH ANNUITIES & INSURANCE AGENCY INC.                       BROKER
TWIN PIER                TWIN PIER INVESTMENTS, LLC                                  AFFILIATE
TYDINGS                  BETTE TYDINGS                                               BROKER

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Surname/Entity Name    Full Name                                                   Type
U STREET               U STREET HOLDINGS, LLC                                      AFFILIATE
UNITED SENIORS         UNITED SENIORS MED CARE                                     BROKER
UNIVERSAL DEBT         UNIVERSAL DEBT SERVICES, INC.                               AFFILIATE
UP & COMING CAPITAL    UP & COMING CAPITAL LLC                                     INSIDER AFFILIATE/BROKER
UP & COMING CAPITAL    UP AND COMING CAPITAL LLC                                   BROKER
UPPAL                  KAREN UPPAL                                                 BROKER
VA PROPERTIES          VA PROPERTIES, LLC                                          AFFILIATE
VALENCIA               PAUL VALENCIA                                               BROKER
VALENCIA FINANCIAL     VALENCIA FINANCIAL SERVICES LLC                             BROKER
VALOR ENTERPRISES      VALOR ENTERPRISES INC.                                      BROKER
VAN HOUTEN             DANNY L VAN HOUTEN                                          BROKER
VAN HOUTEN             LUKE DANIEL VAN HOUTEN                                      BROKER
VAN NESS               VAN NESS INVESTMENTS, LLC                                   AFFILIATE
VANDEMARK              JOSHUA VANDEMARK                                            BROKER
VECTOR FINANCIAL       VECTOR FINANCIAL, LLC                                       BROKER
VERDEO FINANCIAL       VERDEO FINANCIAL                                            BROKER
VIATER                 PETER P VIATER                                              BROKER
VIERNES                ELVIRA VIERNES                                              BROKER
VISTA VERDE            VISTA VERDE INVESTMENTS, LLC                                AFFILIATE
WAIGHT                 JOHN F WAIGHT                                               BROKER
WALKER                 NICOLE WALKER                                               SALES EMPLOYEE
WALL 1234              WALL 1234, LLC                                              AFFILIATE
WALL 4321              WALL 4321, LLC                                              AFFILIATE
WALTERS                ALLAN A WALTERS                                             BROKER
WAMPLER                BRIAN D & DIANE J WAMPLER                                   BROKER
WARD                   ROBERT WARD                                                 BROKER
WARREN                 TONY WARREN                                                 BROKER
WATSON                 ANNA AND NELDON WATSON                                      BROKER
WATSON                 NELDON & ANNA WATSON RLT DTD 09/07/10                       BROKER (INVESTOR)

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Surname/Entity Name    Full Name                                                   Type
WATSON                 SHELBY L WATSON                                             BROKER
WATT                   CHARLES R WATT                                              BROKER
WBF ENTERPRISES        WBF ENTERPRISES INC.                                        BROKER
WEALTH ADVOCATE        THE WEALTH ADVOCATE INVESTMENT GROUP                        BROKER
WEALTH DESIGN          WEALTH DESIGN GROUP                                         BROKER
WEALTH INSURANCE       WEALTH INSURANCE NETWORK INC.                               BROKER
WEALTH MANAGEMENT      WEALTH MANAGEMENT RESOURCES, LLC                            BROKER
WEALTHSMART SOCIAL     WEALTHSMART SOCIAL INC.                                     BROKER
WEBER                  THOMAS S WEBER                                              BROKER
WEINER                 MICHAEL WEINER                                              BROKER
WEISBART               HARRY WEISBART                                              BROKER
WEISER                 BARBARA & JAY WEISER                                        BROKER (INVESTOR)
WEISER                 JAY R WEISER                                                BROKER
WEISS                  JACOB WEISS                                                 SALES EMPLOYEE
WEISS                  RICH WEISS                                                  BROKER
WELLER                 RONNIE WELLER                                               BROKER
WENDEL                 JEFFREY L & JODI M WENDEL                                   BROKER (INVESTOR)
WENDEL                 JEFFREY WENDEL                                              BROKER
WENDEL                 PROV. TR GP-FBO JEFFREY L WENDEL IRA                        BROKER (INVESTOR)
WERMUTH                JOHN WERMUTH                                                BROKER (INVESTOR)
WEST 134TH STEET       WEST 134TH STREET INVESTMENTS, LLC                          AFFILIATE
WEST 134TH STEET       WEST 134TH STREET, LLC                                      AFFILIATE
WESTROM                WILLIAM C WESTROM JR                                        BROKER
WFS HOLDING            WFS HOLDING CO LLC                                          AFFILIATE
WFS HOLDING            WFS HOLDING COMPANY, LLC                                    AFFILIATE
WGC INDEPENDENT        WGC INDEPENDENT MANAGER, LLC                                AFFILIATE
WHITE                  PAUL M WHITE                                                BROKER (INVESTOR)
WHYTE AND BROWNE       WHYTE AND BROWNE INC.                                       BROKER
WIENIEWITZ             HENRY "TRAE" WIENIEWITZ                                     BROKER

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Surname/Entity Name     Full Name                                                   Type
WIENIEWITZ FINANCIAL    WIENIEWITZ FINANCIAL LLC                                    BROKER
WIENIEWITZ WEALTH       WIENIEWITZ WEALTH MANAGEMENT, LLC                           BROKER
WIGGS                   RICK WIGGS                                                  BROKER
WIGGS                   RICKI DEAN WIGGS                                            BROKER
WILLIAM BLAIR           WILLIAM BLAIR & COMPANY                                     BROKER
WILLIAMS                ANDRE M WILLIAMS                                            BROKER
WILLIAMS                DENISE MICHELE WILLIAMS                                     BROKER
WILLIAMS                JAMES E WILLIAMS                                            BROKER
WILLIAMS                JOHN WILLIAMS                                               BROKER
WILLIS                  BARON T WILLIS                                              BROKER
WILSAVE INC.            WILSAVE INC                                                 BROKER
WINDHAM                 ANDREW WINDHAM                                              BROKER
WINNISQUAM              WINNISQUAM INVESTMENTS, LLC                                 AFFILIATE
WINTERCRESS             WINTERCRESS FUNDING, LLC                                    AFFILIATE
WIRKUS                  PROV. TR GP-FBO RICHARD T WIRKUS IRA                        BROKER (INVESTOR)
WIRKUS                  RICHARD WIRKUS                                              BROKER
WISE                    MARGARET WISE                                               BROKER
WISTERIA                WISTERIA FUNDING LLC                                        AFFILIATE
WITTMAN                 PETER WITTMAN                                               BROKER
WOLFELD                 DONALD & SHIRLEY WOLFELD                                    BROKER (INVESTOR)
WOLFF                   GERALD M WOLFF                                              BROKER
WOLFSON                 DAVID WOLFSON                                               BROKER
WONDERVIEW              WONDERVIEW INVESTMENTS, LLC                                 AFFILIATE
WOOD                    GEORGE H WOOD                                               BROKER
WOOD                    GREG WOOD                                                   BROKER
WOOD                    PROV. TR GP-FBO GREGORY J WOOD IRA                          BROKER (INVESTOR)
WOOD WEALTH             WOOD WEALTH SOLUTIONS LLC (GREG WOOD)                       BROKER
WOODBRIDGE              WOODBRIDGE BARIC PRE-SETTLEMENT INVESTMENTS, LLC            AFFILIATE
WOODBRIDGE              WOODBRIDGE COMMERCIAL BRIDGE LOAN FUND 3, LLC               AFFILIATE

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Surname/Entity Name    Full Name                                                   Type
WOODBRIDGE             WOODBRIDGE CONSTRUCTION LOAN FUND 1, LLC                    AFFILIATE
WOODBRIDGE             WOODBRIDGE CONSTRUCTION LOAN FUND 2, LLC                    AFFILIATE
WOODBRIDGE             WOODBRIDGE CROWDFUNDING 1, LLC                              AFFILIATE
WOODBRIDGE             WOODBRIDGE CUSTOM HOMES HOLDING, LLC                        AFFILIATE
WOODBRIDGE             WOODBRIDGE CUSTOM HOMES, LLC                                AFFILIATE
WOODBRIDGE             WOODBRIDGE FINANCIAL SERVICES, LLC                          AFFILIATE
WOODBRIDGE             WOODBRIDGE FUNDING GROUP, INC.                              AFFILIATE
WOODBRIDGE             WOODBRIDGE GUARANTEE HOLDING, LLC                           AFFILIATE
WOODBRIDGE             WOODBRIDGE GUARANTEE, LLC                                   AFFILIATE
WOODBRIDGE             WOODBRIDGE LENDING FUND 1, LLC                              AFFILIATE
WOODBRIDGE             WOODBRIDGE LUXURY HOMES, LLC                                AFFILIATE
WOODBRIDGE             WOODBRIDGE MANAGEMENT COMPANY, LLC                          AFFILIATE
WOODBRIDGE             WOODBRIDGE MEZZANINE FUND 2, LLC                            AFFILIATE
WOODBRIDGE             WOODBRIDGE MORTGAGE INVESTMENT FUND 5, LLC                  AFFILIATE
WOODBRIDGE             WOODBRIDGE PRE-SETTLEMENT FUNDING 1, LP                     AFFILIATE
WOODBRIDGE             WOODBRIDGE PRE-SETTLEMENT FUNDING 2, LLC                    AFFILIATE
WOODBRIDGE             WOODBRIDGE PRE-SETTLEMENT FUNDING, LLC                      AFFILIATE
WOODBRIDGE             WOODBRIDGE REALTY OF COLORADO, LLC                          AFFILIATE
WOODBRIDGE             WOODBRIDGE SERVICING COMPANY, LLC                           AFFILIATE
WOODBRIDGE             WOODBRIDGE STRUCTURED FINANCING                             AFFILIATE
WOODBRIDGE             WOODBRIDGE STRUCTURED FUNDING OF FLORIDA, LLC               AFFILIATE
WOODBRIDGE             WOODBRIDGE STRUCTURED SETTLEMENT INVESTMENTS, LLC           AFFILIATE
WOODBRIDGE             WOODBRIDGE WEALTH                                           AFFILIATE
WOODPORT NEWS          WOODPORT NEWS HOLDING COMPANY, LLC                          AFFILIATE
WOODS                  JOHN C WOODS                                                BROKER
WORCH FINANCIAL        WORCH FINANCIAL                                             BROKER
WRIGHT CAPITAL         WRIGHT CAPITAL GROUP                                        BROKER
WRIGHT FINANCIAL       WRIGHT FINANCIAL STRATEGIES INC.                            BROKER
WUKIE                  JAMES WUKIE                                                 BROKER

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Surname/Entity Name                    Full Name                                                                      Type
WYRICK                                 ASHLEY RENEE WYRICK                                                            BROKER
YAEGER                                 CHRISTOPHER YAEGER                                                             BROKER
YAMATE-MORGAN                          RICHARD I YAMATE-MORGAN                                                        BROKER
YEADON                                 DAVID B & MARILYNN J YEADON RT                                                 BROKER (INVESTOR)
YEADON                                 DAVID B YEADON                                                                 BROKER
YIN                                    LILY YIN                                                                       BROKER
YIN                                    PROV. TR GP-FBO QUN HONG YIN ROTH IRA                                          BROKER (INVESTOR)
YIN                                    QUN HONG YIN                                                                   BROKER (INVESTOR)
YIN                                    THE QUN HONG DOMISSY YIN LT                                                    BROKER (INVESTOR)
ZABIELSKI                              PATRICIA ZABIELSKI                                                             BROKER
ZAYTI                                  MARK ZAYTI                                                                     BROKER
ZENG                                   HUI ZENG                                                                       BROKER (INVESTOR)
ZENG                                   MARK ZENG                                                                      BROKER



Notes: Excluded Parties are still entitled to vote on the Plan unless the Debtors have filed an objection to the Excluded Parties’ Claim(s) by the Voting Deadline.
       Excluded Parties are not listed on Schedule 3 to the Disclosure Statement (Schedule of Principal Amounts and Prepetition Distributions) because the
       Debtors are not prepared to allow their Claims at this time.

        This Schedule is a working draft and subject to change by the Debtors prior to the Disclosure Statement Hearing based on the Debtors’ ongoing review of
        their books and records and the relevant facts. Without limitation, the Debtors reserve the right to remove certain parties on the basis that they are not
        Excluded Parties and to add certain parties that are not presently identified as Excluded Parties on this Schedule.




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                                           SCHEDULE 2


                               Schedule of Non-Debtor Loan Note Claims




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                                                                                  Total
                                                                               Outstanding       Prepetition          Other
                                                                                Principal        "Interest"        Prepetition
                                                                                Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                                    [1]               [2]               [3]          [1] minus [2] minus [3]
ASH                   ROBERTA K ASH RLT                                            25,000.00         1,804.17                0.00                23,195.83
BASSEN                SANDRA & IRA D BASSEN                                        50,000.00               0.00              0.00                50,000.00
BELLISTON             PROV. TR GP-FBO A BRENT BELLISTON IRA                        25,000.00           840.97                0.00                24,159.03
BREYER                HARRY BREYER RLT                                            200,000.00        13,363.92                0.00              186,636.08
BURTON                LINDA G BURTON                                               66,120.57        10,171.46                0.00                55,949.11
CATHCART              JAMES & CAROLYN CATHCART                                     30,000.00         1,985.00                0.00                28,015.00
CLAYTON CAPITAL       CLAYTON CAPITAL INVESTMENTS CORP                            511,500.00        15,345.00                0.00              496,155.00
COX                   JOANNE COX                                                   25,000.00         1,260.38                0.00                23,739.62
DOYLE                 JUDITH C DOYLE LT DTD 07/31/09                              100,000.00         1,137.51                0.00                98,862.49
EVERS                 CAITLIN A EVERS                                              25,000.00               0.00              0.00                25,000.00
FARMER                JOHNNY FARMER                                                50,000.00         2,062.53                0.00                47,937.47
FOROUZAN              BRIAN M FOROUZAN                                             25,000.00         1,175.00                0.00                23,825.00
GOLDBAUM              EDWARD & JENNIFER GOLDBAUM                                  200,000.00         2,666.67                0.00              197,333.33
GOODBURLET            MAINSTAR-FBO RICHARD GOODBURLET                              60,000.00         3,391.67                0.00                56,608.33
GORDON                ALAN & MARLENE GORDON                                        50,000.00         3,420.18                0.00                46,579.82
GRIFFIN               DONALD GRIFFIN                                               75,000.00         9,947.90                0.00                65,052.10
GUDE                  CHRISTOPHER P GUDE TR UAD 12/05/01                           30,000.00         1,223.75                0.00                28,776.25
HARRISON              GREGORY T & LINDA C HARRISON                                 30,000.00         1,660.00                0.00                28,340.00
HENRICH               ROBERT W HENRICH                                             77,000.00         1,155.00                0.00                75,845.00
HOLMES                JEFFREY & PATRICIA HOLMES                                    50,000.00         3,783.33                0.00                46,216.67
JARA GROUP II         JARA GROUP II LLC                                            50,000.00         6,375.00                0.00                43,625.00
KAUFMAN               DELBERT L KAUFMAN                                            30,000.00           125.00                0.00                29,875.00
LENNARTZ              PROV. TR GP-FBO DONALD W LENNARTZ IRA                        63,000.00        15,555.83                0.00                47,444.17
LIFAVI                DANIEL J LIFAVI RT                                           25,000.00         1,425.05                0.00                23,574.95
MANNABERG-GOLDMAN     MAINSTAR-FBO E MANNABERG-GOLDMAN T2175405                    25,000.00         2,291.67                0.00                22,708.33
MAR                   MAINSTAR-FBO MAY L MAR T2176303                              25,134.62         1,052.16                0.00                24,082.46
MARSHALL              MICHAEL MARSHALL                                             25,000.00           262.50                0.00                24,737.50
MASTROBERTE           ROBERT & BEVERLY MASTROBERTE                                 40,000.00         4,255.00                0.00                35,745.00
MCCAW                 SCOTT MCCAW                                                  25,000.00           343.75                0.00                24,656.25
MILLER                JOY MILLER                                                  100,000.00               0.00              0.00              100,000.00


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                                                                                                           Total
                                                                                                        Outstanding            Prepetition             Other
                                                                                                         Principal             "Interest"           Prepetition
                                                                                                         Amount                Payments            Distributions            Net Claims
Surname/Entity Name             Full Name                                                                    [1]                    [2]                  [3]           [1] minus [2] minus [3]
MONTOYA                         CONSUELO B OR JOHN MONTOYA                                                    75,000.00              4,614.58                  0.00                  70,385.42
MOSCOVITCH                      THE MOSCOVITCH FAMILY IRREV TR                                              100,000.00                    0.00                 0.00                100,000.00
MOSELEY                         WILLIAM MOSELEY                                                             100,000.00               3,590.25                  0.00                  96,409.75
NEWMARK                         EVELYN & CARL NEWMARK TR                                                    100,000.00               6,822.87                  0.00                  93,177.13
O'BRIEN                         MARIE F O'BRIEN                                                               50,000.00                573.61            1,000.00                    48,426.39
PACAK                           PACAK FT 11/22/03 VOJTECH & E PACAK TTEE                                      50,000.00              7,045.15                  0.00                  42,954.85
PHILLIPS                        PROV. TR GP-FBO KIM PHILLIPS IRA                                              92,000.00              4,740.56                  0.00                  87,259.44
POULIOT                         STEPHEN L POULIOT TR DTD 04/01/11                                           100,000.00               1,186.10                  0.00                  98,813.90
RENTERIA                        ADELA RENTERIA                                                                25,000.00                208.34                  0.00                  24,791.66
ROSEWOOD CAPITAL                ROSEWOOD CAPITAL INVESTMENTS INC                                            711,500.00              21,345.00                  0.00                690,155.00
SASSER                          SASSER TESTAMENTARY TR FOR KENDYL CATHERS                                     27,000.00              1,953.00                  0.00                  25,047.00
SCHEINER                        MORRIS & SYLVIA SCHEINER                                                    100,000.00               6,321.88                  0.00                  93,678.12
SCHULTZ                         PROV. TR GP-FBO STEVEN G SCHULTZ ROTH IRA                                     42,000.00              1,288.00                  0.00                  40,712.00
SHEMTOB                         DAHLIA SHEMTOB                                                                85,000.00             13,231.67                  0.00                  71,768.33
SKEEN                           RICH SKEEN                                                                    50,000.00                505.56                  0.00                  49,494.44
SPAIN                           TIMOTHY J SPAIN                                                             100,000.00                 952.77                  0.00                  99,047.23
STEBNER                         WAYNE & SANDRA K STEBNER                                                    100,000.00               1,147.22                  0.00                  98,852.78
STELZER-GRAV                    VICKIE J STELZER-GRAV                                                         25,000.00                347.56                  0.00                  24,652.44
TELLER                          BARRY & KRISTINE TELLER                                                       30,000.00                162.50                  0.00                  29,837.50
TOURNEY                         JOHN A TOURNEY                                                                35,000.00              2,216.67                  0.00                  32,783.33
WEST                            TIM & LAUREN WEST                                                           105,000.00              12,512.50                  0.00                  92,487.50
WOLFORD                         LELAND WOLFORD                                                              100,000.00               3,622.24                  0.00                  96,377.76

                                TOTALS                                                                   $4,315,255.19           $202,468.43            $1,000.00               $4,111,786.76


Note: This schedule is a working draft and subject to change by the Debtors prior to the Disclosure Statement Hearing based on the Debtors’ ongoing review of their books and records and
      the relevant facts. Without limitation, the Debtors reserve the right to revise the amounts scheduled for any individual Noteholder, to remove certain parties on the basis that they are
      in fact Excluded Parties, and to add certain parties that are presently identified as potential Excluded Parties to the schedule.




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                                              SCHEDULE 3


                        Schedule of Principal Amounts and Prepetition Distributions




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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
29 PALMS METHODIST    29 PALMS UNITED METHODIST                           CLASS 3           65,000.00        3,899.81               0.00                61,100.19
4Z                    4Z LLC                                              CLASS 3           50,000.00        2,941.67               0.00                47,058.33
800 SOUTH FILLMORE    800 SOUTH FILLMORE PARTNERSHIP                      CLASS 3           30,000.00          519.17               0.00                29,480.83
83 DELAFIELD          83 DELAFIELD ST LLC                                 CLASS 3         105,000.00        11,534.69               0.00                93,465.31
A & C FITNESS         A & C FITNESS CORP                                  CLASS 3           50,000.00         3,114.55              0.00                46,885.45
AASTRUP               VERNA L AASTRUP RT                                  CLASS 5          100,000.00       13,138.84               0.00                86,861.16
ABADI                 MAINSTAR-FBO PARHAM ABADI T2177573                  CLASS 3           59,000.00         1,448.77        1,000.00                  56,551.23
ABBOTT                THEODORE C & JOAN ANN ABBOTT                        CLASS 3           50,000.00         5,781.25              0.00                44,218.75
ABBOTT                TOM ABBOTT                                          CLASS 3           55,000.00         3,217.53              0.00                51,782.47
ABEL                  GARY S ABEL FLP                                     CLASS 5         250,000.00        46,944.37               0.00               203,055.63
ABELSON               HORIZON TR CO-FBO SHARON R ABELSON IRA              CLASS 3           53,000.00         1,894.73              0.00                51,105.27
ABERCROMBIE           PROV. TR GP-FBO SEAN P ABERCROMBIE IRA              CLASS 3           50,000.00         3,013.89              0.00                46,986.11
ABPLANALP             CARL & GLORIA ABPLANALP                             CLASS 3           50,000.00          756.93               0.00                49,243.07
ABRAMCZYK             ABRAHAM & JULIE ABRAMCZYK                           CLASS 3           61,000.00         2,613.30              0.00                58,386.70
ABSTON                NELL I ABSTON                                       CLASS 3         250,000.00        22,118.01               0.00               227,881.99
ACCARINO              MAINSTAR-FBO JOHN ACCARINO T2174553                 CLASS 3          181,000.00       23,826.61               0.00               157,173.39
ACCARINO              MAINSTAR-FBO ROBIN ACCARINO                         CLASS 3           85,500.00         8,407.50              0.00                77,092.50
ACCIARDO              WILLIAM C ACCIARDO                                  CLASS 3           25,000.00         2,616.67              0.00                22,383.33
ACKERMAN              GARY P ACKERMAN                                     CLASS 3           34,000.00         3,830.67              0.00                30,169.33
ACKERMAN              HORIZON TR CO-FBO VON ACKERMAN IRA                  CLASS 3           39,399.00         5,618.81              0.00                33,780.19
ACKERMAN              PROV. TR GP-FBO GARY P ACKERMAN IRA                 CLASS 3           42,500.00         4,473.13              0.00                38,026.87
ACKERMAN              YVONNE ACKERMAN                                     CLASS 3          110,378.00          718.48               0.00               109,659.52
ACOSTA                IRMA CURIEL ACOSTA                                  CLASS 3         126,000.00           245.00               0.00               125,755.00
ACUNA                 PROV. TR GP-FBO ALFRED ACUNA IRA                    CLASS 3           30,000.00          860.00               0.00                29,140.00
ADAM                  DONALDA P ADAM                                      CLASS 3           35,000.00        2,186.49               0.00                32,813.51
ADAMS                 CELIA ADAMS                                         CLASS 3           25,000.00          416.68               0.00                24,583.32
ADAMS                 CORNELIA C ADAMS                                    CLASS 3           60,000.00        5,104.09               0.00                54,895.91
ADAMS                 E PETE ADAMS                                        CLASS 3         100,000.00         9,600.00               0.00                90,400.00
ADAMS                 EDWIN L & EVELYN L ADAMS                            CLASS 3         263,000.00        55,307.98               0.00               207,692.02

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
ADAMS                 MAINSTAR-FBO REBECCA J ADAMS                       CLASS 5           28,000.00         4,386.65                0.00                23,613.35
ADAMS                 PROV. TR GP-FBO CAROLYN M ADAMS IRA                CLASS 3           48,000.00         3,585.00                0.00                44,415.00
ADAMS                 PROV. TR GP-FBO THOMAS M ADAMS ROTH IRA            CLASS 3           50,000.00        5,895.84                 0.00                44,104.16
ADAMS                 THE ADAMS FT                                       CLASS 3         250,000.00        16,679.90                 0.00               233,320.10
ADEN                  JOHN L ADEN                                        CLASS 3           25,000.00        2,612.50                 0.00                22,387.50
ADRAGNA               VINCENT J & ELAINE F ADRAGNA                       CLASS 3           30,000.00         1,182.64                0.00                28,817.36
AEMC                  THE AEMC TR                                        CLASS 3           38,000.00        6,065.27                 0.00                31,934.73
AGGARWAL              SANJIV AGGARWAL                                    CLASS 3         100,000.00               55.56              0.00                99,944.44
AGREN                 MARY E AGREN LT                                    CLASS 3         180,000.00         3,690.00                 0.00               176,310.00
AGUILAR               MAINSTAR-FBO ELEANOR AGUILAR                       CLASS 3          173,708.00       10,436.96                 0.00               163,271.04
AGUINALDO             JULIAN AGUINALDO                                   CLASS 3           25,000.00          572.93                 0.00                24,427.07
AGUIRE                JOSEPH A & ANN-MARIE AGUIRE                        CLASS 3         185,000.00        24,602.05                 0.00               160,397.95
AGUIRE                PROV. TR GP-FBO ANN-MARIE AGUIRE ROTH IRA          CLASS 3           40,000.00         4,496.77                0.00                35,503.23
AGUIRE                PROV. TR GP-FBO JOSEPH A AGUIRE ROTH IRA           CLASS 3           33,500.00        3,028.13                 0.00                30,471.87
AICHELE               PROV. TR GP-FBO STEVEN L AICHELE IRA               CLASS 3         167,500.00        17,643.33                 0.00               149,856.67
AICHER                JOYCE LYNN AICHER                                  CLASS 3           25,000.00        1,336.08                 0.00                23,663.92
AIDEN PROPERTIES      AIDEN PROPERTIES LLC                               CLASS 3         100,000.00         5,958.33                 0.00                94,041.67
AIELLO                MAINSTAR-FBO MICHAEL S AIELLO T2178261             CLASS 3           49,000.00          503.61                 0.00                48,496.39
AIELLO                MICHAEL S AIELLO                                   CLASS 3           50,000.00        2,406.28                 0.00                47,593.72
AINSWORTH             PROV. TR GP-FBO DIANNA AINSWORTH IRA               CLASS 3           40,000.00         2,061.11                0.00                37,938.89
AIRBORNE              ROYAL LAO AIRBORNE                                 CLASS 3           25,000.00          475.00                 0.00                24,525.00
AIU                   ADRIAN & DREANA AIU                                CLASS 3         150,000.00         2,241.67                 0.00               147,758.33
AJ EVERS              AJ EVERS & SONS                                    CLASS 3           50,000.00               0.00              0.00                50,000.00
AKARD                 PROV. TR GP-FBO GAIL D AKARD IRA                   CLASS 3         425,000.00        12,365.16                 0.00               412,634.84
AKELLA                VENKATA KRISHNA AKELLA                             CLASS 3           25,000.00          945.83                 0.00                24,054.17
AKERS                 LIONEL & COYE AKERS                                CLASS 3         160,000.00         2,755.57                 0.00               157,244.43
AKERS                 PROV. TR GP-FBO CINDY L AKERS IRA                  CLASS 3           30,000.00        2,697.92                 0.00                27,302.08
AKERS                 PROV. TR GP-FBO CYNTHIA L AKERS IRA                CLASS 5         587,500.00       211,719.72                 0.00               375,780.28
AKIN                  WILLIAM AKIN                                       CLASS 5         100,000.00        13,415.77                 0.00                86,584.23

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                                                                                        Total
                                                                                     Outstanding       Prepetition          Other
                                                                                      Principal        "Interest"        Prepetition
                                                                                      Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type           [1]               [2]               [3]          [1] minus [2] minus [3]
ALARIO                NANCY ALARIO                                      CLASS 3         100,000.00          5,177.80               0.00                94,822.20
ALBAN                 ANDRES ALBAN RT                                   CLASS 3          200,000.00       23,599.81                0.00               176,400.19
ALBAN                 RONNIE ALBAN RT                                   CLASS 3         100,000.00        12,310.49                0.00                87,689.51
ALBAN                 RONNIE ALBAN RT                                   CLASS 5         100,000.00        12,310.49                0.00                87,689.51
ALBANESE              FRANCIS L ALBANESE                                CLASS 3           30,000.00         2,340.00               0.00                27,660.00
ALBANESE              IRA SVCS TR CO-CFBO FRANCIS L ALBANESE            CLASS 3           31,586.72         3,316.60               0.00                28,270.12
ALBANESE              PROV. TR GP-FBO RACHELLE ALBANESE ROTH IRA        CLASS 3           25,000.00         2,000.00               0.00                23,000.00
ALBERTSON             CLIFFORD R ALBERTSON RLT                          CLASS 3           50,000.00         1,067.72               0.00                48,932.28
ALDER                 JACQUELINE ALDER                                  CLASS 3           50,000.00         1,848.64               0.00                48,151.36
ALDER                 ROSEMARY ALDER                                    CLASS 3         100,000.00        25,921.77                0.00                74,078.23
ALDERFER              BRIAN ALDERFER                                    CLASS 3          100,000.00         3,050.00               0.00                96,950.00
ALDERFER              MAINSTAR-FBO BRIAN ALDERFER T2177541              CLASS 3           99,000.00         3,003.00               0.00                95,997.00
ALEM                  MAINSTAR-FBO ATAOLLAH ALEM T2178058               CLASS 3           31,884.00          305.12                0.00                31,578.88
ALEXANDER             DARRALYN ALEXANDER                                CLASS 3           50,000.00         8,886.21               0.00                41,113.79
ALEXANDER             IRA SVCS TR CO-CFBO DAMON L ALEXANDER IRA         CLASS 3           75,000.00         2,589.58               0.00                72,410.42
ALEXANDER             NICHOLAS E & KAY A ALEXANDER                      CLASS 3           75,000.00       19,405.17                0.00                55,594.83
ALEXANDER             PROV. TR GP-FBO DONNALOU ALEXANDER IRA            CLASS 3           52,750.00         3,465.38               0.00                49,284.62
ALEXANDER             PROV. TR GP-FBO MICHAEL ALEXANDER IRA             CLASS 3          217,723.83       27,070.06                0.00               190,653.77
ALEXANDER             PROV. TR GP-FBO NICHOLAS ALEXANDER IRA            CLASS 3           82,000.00       20,579.63                0.00                61,420.37
ALEXANDER             PROV. TR GP-FBO RICKIE J ALEXANDER IRA            CLASS 3           63,500.00         4,171.60               0.00                59,328.40
ALEXANDER             RICKIE J & DONNALOU ALEXANDER                     CLASS 3           60,000.00         5,833.33               0.00                54,166.67
ALEXANDER             THE ALEXANDER TR                                  CLASS 3           80,143.00         3,595.59               0.00                76,547.41
ALEXANDER             THE ALEXANDER TR                                  CLASS 5          400,000.00       17,945.86                0.00               382,054.14
ALFARO                PEDRO M & LUCILA ALFARO                           CLASS 3           25,000.00          451.40                0.00                24,548.60
ALFARO                PROV. TR GP-FBO AMBER D ALFARO INH IRA            CLASS 3           26,675.00          786.54                0.00                25,888.46
ALFORD                FREDA C ALFORD                                    CLASS 3         100,000.00          8,509.67               0.00                91,490.33
ALI                   MYAH ALI                                          CLASS 3           75,000.00              0.00              0.00                75,000.00
ALIREZ                SUNWEST TR ROBERT ALIREZ IRA                      CLASS 3           95,809.57       12,745.37                0.00                83,064.20
ALLEN                 DAROLD N & MARGARET S ALLEN                       CLASS 3          100,000.00         8,333.33               0.00                91,666.67

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
ALLEN                 EDINA ALLEN                                        CLASS 3         224,999.00         8,401.34               0.00               216,597.66
ALLEN                 ENOLA H & CLYDE ALLEN                              CLASS 3           48,000.00         4,553.33              0.00                43,446.67
ALLEN                 KENNETH D ALLEN RT                                 CLASS 3           50,000.00          466.67               0.00                49,533.33
ALLEN                 MAINSTAR-FBO OWEN B ALLEN T2175899                 CLASS 3         125,000.00          6,475.69              0.00               118,524.31
ALLEN                 MARJORIE C ALLEN                                   CLASS 3         100,000.00        11,000.02               0.00                88,999.98
ALLRED                KEVIN & MECHEL ALLRED                              CLASS 3         200,000.00          3,000.00              0.00               197,000.00
ALME                  JOHN M & JEAN E ALME                               CLASS 3         130,000.00        14,133.57               0.00               115,866.43
ALME                  JOHN M ALME                                        CLASS 3           50,000.00         5,505.00              0.00                44,495.00
ALMEIDA               MAINSTAR-FBO PERRY E ALMEIDA                       CLASS 3           27,600.00         1,498.83              0.00                26,101.17
ALMEIDA               VICKI ALMEIDA                                      CLASS 3           46,000.00          575.00               0.00                45,425.00
ALONSO                MILAGROS ALONSO                                    CLASS 3           66,000.00         2,276.08              0.00                63,723.92
ALONSO                MYRIAM T ALONSO                                    CLASS 3           25,000.00          404.17               0.00                24,595.83
ALSTRIN               FRANK & SUZANN M ALSTRIN                           CLASS 3           50,000.00         4,622.10              0.00                45,377.90
ALTENBERGER           JERRI L ALTENBERGER                                CLASS 3           25,000.00          111.11               0.00                24,888.89
ALTERNATIVE HEALTHY ALTERNATIVE HEALTHY RESOURCES LLC                    CLASS 3          150,000.00         4,925.00              0.00               145,075.00
ALTMAN                NORMAN L ALTMAN RLTA                               CLASS 3           40,000.00         4,291.62              0.00                35,708.38
ALTMAN                SHIRLEY ALTMAN RTA                                 CLASS 3           25,000.00        3,621.06               0.00                21,378.94
ALTOM                 TODD ALTOM                                         CLASS 5         100,000.00        19,361.03               0.00                80,638.97
ALVARADO              MARGARITA ALVARADO                                 CLASS 3           25,000.00         1,304.53              0.00                23,695.47
ALVAREZ               MAINSTAR-FBO ROSEANN ALVAREZ T2176898              CLASS 3           40,000.00         1,320.00              0.00                38,680.00
ALVAREZ               THE TONY ALVAREZ LT DTD 05/02/05                   CLASS 3          100,000.00         1,642.37              0.00                98,357.63
AMARO                 PROV. TR GP-FBO WILLIAM M AMARO IRA                CLASS 5          100,000.00       14,222.15               0.00                85,777.85
AMARO                 WILLIAM M & PATRICIA A AMARO                       CLASS 3           50,000.00         4,175.00              0.00                45,825.00
AMARO                 WILLIAM M & PATRICIA A AMARO RT                    CLASS 5           50,000.00         4,388.92              0.00                45,611.08
AMAYA                 MAINSTAR-FBO INES AMAYA T2176489                   CLASS 3           80,900.00         3,759.60              0.00                77,140.40
AMBERGER              JOHN M & DOROTHY A AMBERGER                        CLASS 3          100,000.00         7,097.11              0.00                92,902.89
AMBERGER              MAINSTAR-FBO CHARLOTTE AMBERGER T2174500           CLASS 3           25,000.00         1,827.26              0.00                23,172.74
AMBROSE               DENNIS L AMBROSE                                   CLASS 3           50,000.00          691.67               0.00                49,308.33
AMBROSE               STEPHEN R AMBROSE                                  CLASS 3          425,000.00       83,510.01               0.00               341,489.99

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name    Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
AMDAHL                 MAINSTAR-FBO LANI AMDAHL TW00349                   CLASS 3          141,500.00         5,901.73               0.00               135,598.27
AMERICAN HEALTHCARE AMERICAN HEALTHCARE SOLUTIONS INC                     CLASS 3          100,000.00          133.34                0.00                99,866.66
AMERICAN INT'L PROP.   AMERICAN INTERNATIONAL PROPERTIES INC              CLASS 3          400,000.00       48,504.30                0.00               351,495.70
AMERICAN LEGION        AMERICAN LEGION POST 397                           CLASS 3           31,750.00         4,222.84               0.00                27,527.16
AMERONGEN              PROV. TR GP-FBO K R VAN AMERONGEN IRA              CLASS 3           50,000.00         4,781.25               0.00                45,218.75
AMERONGEN              PROV. TR GP-FBO KENNETH VAN AMERONGEN IRA          CLASS 3          132,000.00         4,424.97               0.00               127,575.03
AMES                   VERNON A AMES                                      CLASS 3         100,000.00        12,757.29                0.00                87,242.71
AMICO/SHIELDS          PHILIP V AMICO & FRANCES J SHIELDS RLT             CLASS 3         100,000.00          1,684.02               0.00                98,315.98
AMUNDSON               KAREN AMUNDSON                                     CLASS 3           25,000.00         1,203.09               0.00                23,796.91
ANASTASIO              DAVID F & XUEYING LI ANASTASIO                     CLASS 3          150,000.00         4,780.59               0.00               145,219.41
ANASTASIO              DAVID F ANASTASIO                                  CLASS 3         100,000.00         7,216.67                0.00                92,783.33
ANAYA                  GOLDSTAR TR CO-FBO ROBERTO ANAYA JR IRA            CLASS 5          200,000.00       31,833.40                0.00               168,166.60
ANAYA                  MAINSTAR-FBO BRENDA ANAYA T2175655                 CLASS 3           55,000.00         5,035.07               0.00                49,964.93
ANAYA                  MAINSTAR-FBO ROBERTO ANAYA JR                      CLASS 3          130,000.00       27,798.84                0.00               102,201.16
ANCIL                  SHELAGH S ANCIL                                    CLASS 3         108,000.00           756.00                0.00               107,244.00
ANDERS MANAGEMENT      ANDERS MANAGEMENT LLC                              CLASS 3          100,000.00       10,565.32                0.00                89,434.68
ANDERSEN-JENSEN        CARL DAVID EDWARD ANDERSEN-JENSEN                  CLASS 3           50,000.00       10,387.45                0.00                39,612.55
ANDERSON               ANDERSON FRLT 09/25/07                             CLASS 3           25,000.00         2,945.83               0.00                22,054.17
ANDERSON               ANGELA M ANDERSON                                  CLASS 3          150,000.00         4,975.00               0.00               145,025.00
ANDERSON               C JOAN & MARK B ANDERSON                           CLASS 3          350,000.00         4,151.38               0.00               345,848.62
ANDERSON               CHARLES E & SHIRLEY J ANDERSON                     CLASS 3          800,000.00      151,638.85                0.00               648,361.15
ANDERSON               CHARLES E ANDERSON TR DTD 02/01/99                 CLASS 3          200,000.00       29,100.06                0.00               170,899.94
ANDERSON               DARYL K ANDERSON                                   CLASS 3           25,000.00         1,941.03               0.00                23,058.97
ANDERSON               DAVID & SANTA ANDERSON                             CLASS 3          100,000.00         3,996.93               0.00                96,003.07
ANDERSON               DONNA L ANDERSON                                   CLASS 3           50,000.00         5,699.25               0.00                44,300.75
ANDERSON               EDWARD & DEBRA ANDERSON                            CLASS 3          100,000.00              0.00              0.00               100,000.00
ANDERSON               HORIZON TR CO-FBO CHARLES ANDERSON IRA             CLASS 3          300,000.00       42,783.33                0.00               257,216.67
ANDERSON               HORIZON TR CO-FBO SHIRLEY J ANDERSON IRA           CLASS 3           80,000.00       11,446.73                0.00                68,553.27
ANDERSON               INGEBORG ANDERSON                                  CLASS 3          125,000.00       12,734.86                0.00               112,265.14

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
ANDERSON              IRA SVCS TR CO-CFBO ELISE ANDERSON IRA             CLASS 3           54,000.00       10,570.45                0.00                43,429.55
ANDERSON              JOHN E & LORRAINE A ANDERSON FT 08/11/05           CLASS 3           75,000.00         6,084.36               0.00                68,915.64
ANDERSON              LORI ANDERSON                                      CLASS 3           25,000.00         1,191.63               0.00                23,808.37
ANDERSON              MAINSTAR-FBO GALE ANDERSON TW004105                CLASS 3           63,480.25         1,110.90               0.00                62,369.35
ANDERSON              MAINSTAR-FBO H ROBERT ANDERSON T2178296            CLASS 3           25,000.00          145.60                0.00                24,854.40
ANDERSON              MAINSTAR-FBO JESSIE ANDERSON T2177495              CLASS 3           50,000.00          821.15                0.00                49,178.85
ANDERSON              MAINSTAR-FBO LELAND ANDERSON TW004113              CLASS 3           90,000.00         1,295.00               0.00                88,705.00
ANDERSON              MERVYN O & JEAN A ANDERSON                         CLASS 3           50,000.00         1,083.33               0.00                48,916.67
ANDERSON              PROV. TR GP-FBO DANIEL ANDERSON ROTH IRA           CLASS 3           65,000.00         3,872.92               0.00                61,127.08
ANDERSON              PROV. TR GP-FBO JOHN D ANDERSON IRA                CLASS 5          150,000.00       44,900.00                0.00               105,100.00
ANDERSON              PROV. TR GP-FBO KATHRYN ANDERSON ROTH IRA          CLASS 3           85,000.00         5,064.58               0.00                79,935.42
ANDERSON              PROV. TR GP-FBO MOLLIE V ANDERSON IRA              CLASS 3          100,150.00       14,021.91                0.00                86,128.09
ANDERSON              SIDNEY L & MARY ANN ANDERSON                       CLASS 3          200,000.00       34,083.27                0.00               165,916.73
ANDERSON              THE BRIELLE ANDERSON RT UTD 11/15/15               CLASS 3           25,000.00              0.00              0.00                25,000.00
ANDERSON/PODOLL       CONSTANCE ANDERSON & CATHERINE PODOLL              CLASS 3           75,000.00              0.00              0.00                75,000.00
ANDERTON              NORD ANDERTON                                      CLASS 3           90,000.00         1,885.00               0.00                88,115.00
ANDONIAN              LAUREL E ANDONIAN TR                               CLASS 3          100,000.00         7,531.91               0.00                92,468.09
ANDRALI               SHIVA SREENATH ANDRALI                             CLASS 3          100,000.00         5,681.22               0.00                94,318.78
ANDREW                AARON R ANDREW                                     CLASS 3           75,000.00       11,719.30                0.00                63,280.70
ANDREWS               LEROY & LAUREL ANDREWS                             CLASS 3           50,000.00         3,480.59               0.00                46,519.41
ANDREWS               MARTIN F & JUDY A ANDREWS                          CLASS 3          100,000.00       10,480.50                0.00                89,519.50
ANDREWS               PROV. TR GP-FBO BRUCE H ANDREWS IRA                CLASS 3         164,000.00        32,763.55                0.00               131,236.45
ANDREWS               PROV. TR GP-FBO ROY ANDREWS IRA                    CLASS 5           65,000.00       21,901.88                0.00                43,098.12
ANDRUSS               MAINSTAR-FBO ROBERT ANDRUSS                        CLASS 3          106,500.00       10,117.50                0.00                96,382.50
ANGEL                 GEORGE ANGEL                                       CLASS 3           50,000.00        7,402.78                0.00                42,597.22
ANGEL                 GEORGE W & DONNA J ANGEL                           CLASS 3           50,000.00         8,588.35               0.00                41,411.65
ANGEL                 GEORGE W & DONNA J ANGEL                           CLASS 5         200,000.00        34,353.42                0.00               165,646.58
ANICETE               MAINSTAR-FBO REBECCA ANICETE TW003953              CLASS 3         100,000.00          3,363.89               0.00                96,636.11
ANKENBAUER            MAINSTAR-FBO AUTUMN ANKENBAUER TW004077            CLASS 3           27,000.00          337.50                0.00                26,662.50

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                                         Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
ANKENBRUCK            PROV. TR GP-FBO DAVID T ANKENBRUCK IRA              CLASS 3           50,000.00         8,958.33               0.00                41,041.67
ANSON                 MAINSTAR-FBO PHIL ANSON                             CLASS 3         109,447.06          6,214.16               0.00               103,232.90
ANSON                 PHIL ANSON                                          CLASS 3         105,000.00         6,574.17                0.00                98,425.83
ANSTEY-SCHMOLLER      AUDREY L ANSTEY-SCHMOLLER                           CLASS 3           25,000.00              0.00              0.00                25,000.00
ANTELOPE WOMENS CTR PROV. TR GP-FBO ANTELOPE WOMENS CTR IRA               CLASS 3           50,000.00         4,612.50               0.00                45,387.50
ANTELOPE WOMENS CTR PROV. TR GP-FBO ANTELOPE WOMENS CTR IRA               CLASS 5           50,000.00         4,612.50               0.00                45,387.50
ANTHONY               ANDREW J ANTHONY                                    CLASS 3          100,000.00         5,434.76               0.00                94,565.24
ANTHONY               MAINSTAR-FBO DENISE ANTHONY T2177156                CLASS 3           26,500.00          585.21                0.00                25,914.79
ANTHONY               NAVIN ANTHONY                                       CLASS 3          100,000.00         8,123.65               0.00                91,876.35
ANTINK                PROV. TR GP-FBO SUZANNAH ANTINK IRA                 CLASS 3          199,750.00       16,716.47                0.00               183,033.53
ANTIOCH 16            ANTIOCH 16 LLC                                      CLASS 3         100,000.00           952.77                0.00                99,047.23
ANTIPOVA/TOKAR        LYUDMILA ANTIPOVA & ZINOVIY TOKAR                   CLASS 3           25,000.00          654.17                0.00                24,345.83
ANTONIO               EDWARD ANTONIO                                      CLASS 3          744,000.00      125,587.11                0.00               618,412.89
ANTONIO               EDWARD ANTONIO                                      CLASS 5          120,000.00       20,255.99                0.00                99,744.01
ANTONIO               IRA SVCS TR CO-CFBO ANDREW M ANTONIO IRA            CLASS 3          650,000.00      100,777.77                0.00               549,222.23
ANTONIO               IRA SVCS TR CO-CFBO LITA N ANTONIO IRA              CLASS 3           93,000.00         6,386.00               0.00                86,614.00
ANTONSON              JAMES W & MARLANE J ANTONSON                        CLASS 3          105,000.00       17,456.25                0.00                87,543.75
ANTONSON              LINDA L ANTONSON                                    CLASS 3          600,000.00       53,800.00                0.00               546,200.00
ANTONY                ALUKAL K & JOLLY ANTONY                             CLASS 3          100,000.00         4,716.66               0.00                95,283.34
APANOVICH             CONNIE & DAVID APANOVICH                            CLASS 5          100,000.00       24,027.68                0.00                75,972.32
APANOVICH             CONNIE APANOVICH                                    CLASS 5          100,000.00       30,704.11                0.00                69,295.89
APPEL                 KATHY J & WAYNE B APPEL                             CLASS 3           50,000.00          476.39                0.00                49,523.61
APPEL                 THE APPEL FT DTD 01/25/96                           CLASS 3           50,000.00         5,244.44               0.00                44,755.56
APPLEGATE             THE MARILYN L APPLEGATE SPECIAL NEEDS TR            CLASS 5          200,000.00       79,903.50                0.00               120,096.50
APPLETON              PROV. TR GP-FBO JOHN M APPLETON IRA                 CLASS 3          372,000.00      102,279.36                0.00               269,720.64
ARANDA                PROV. TR GP-FBO PETER J ARANDA IRA                  CLASS 3           25,000.00          520.14                0.00                24,479.86
ARANDA                PROV. TR GP-FBO SANDRA M ARANDA IRA                 CLASS 3           50,000.00         1,040.28               0.00                48,959.72
ARASTU                SAFDAR H ARASTU                                     CLASS 3           50,000.00         2,486.07               0.00                47,513.93
ARBOGAST              MARION S ARBOGAST                                   CLASS 3           25,000.00         1,138.16               0.00                23,861.84

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
ARCHIMEDE             JOHN D ARCHIMEDE                                   CLASS 3           25,000.00          533.33               0.00                24,466.67
ARCHULETA             PROV. TR GP-FBO PERRY ARCHULETA IRA                CLASS 3         130,500.00        24,011.54               0.00               106,488.46
ARCHULETA             PROV. TR GP-FBO PERRY ARCHULETA IRA                CLASS 5         200,000.00        36,799.29               0.00               163,200.71
ARELLANO              FEDERICO & MARIA ARELLANO                          CLASS 3           50,000.00          270.83               0.00                49,729.17
ARENA                 HILDA ARENA                                        CLASS 3           50,000.00        6,958.34               0.00                43,041.66
ARENS                 FRINEE ARENS                                       CLASS 3           70,000.00          106.94               0.00                69,893.06
ARGUELLES             THE ARGUELLES FT DTD 02/16/01                      CLASS 3           60,000.00         3,750.00              0.00                56,250.00
ARLETH                PROV. TR GP-FBO CECILE ARLETH IRA                  CLASS 5          285,000.00       66,190.27               0.00               218,809.73
ARLETH                THE ARLETH FT-CURTIS B ARLETH                      CLASS 5         100,000.00        34,319.33               0.00                65,680.67
ARLINE                KIMBERLY & ALFRED ARLINE                           CLASS 3          200,000.00         5,833.35              0.00               194,166.65
ARLINE                MAINSTAR-FBO ALFRED D ARLINE T2177324              CLASS 3         207,941.01          5,296.72              0.00               202,644.29
ARMATA                PROV. TR GP-FBO THOMAS A ARMATA IRA                CLASS 3          255,799.00       36,976.60               0.00               218,822.40
ARMATA                THOMAS A & MARY L ARMATA                           CLASS 3           30,000.00         3,360.00              0.00                26,640.00
ARMENTROUT            JOHN ARMENTROUT                                    CLASS 3          150,000.00       13,747.20               0.00               136,252.80
ARMSTRONG             BOYD A JR & BRENDA B ARMSTRONG                     CLASS 3           75,000.00       14,711.07               0.00                60,288.93
ARMSTRONG             DALE & DEBORAH ARMSTRONG                           CLASS 3          275,000.00       12,860.04               0.00               262,139.96
ARMSTRONG             MAINSTAR-FBO DAVID S ARMSTRONG T2174642            CLASS 3          210,000.00       21,653.33               0.00               188,346.67
ARMSTRONG             PATTI C & RICHARD B ARMSTRONG                      CLASS 3          100,000.00          650.00               0.00                99,350.00
ARN                   CHARLES JR & ANN GAIL ARN FT                       CLASS 3           25,000.00          935.74               0.00                24,064.26
ARNDT                 GARY ARNDT                                         CLASS 3         100,000.00         7,977.28               0.00                92,022.72
ARNDT                 GARY ARNDT                                         CLASS 5         200,000.00        15,954.56               0.00               184,045.44
ARNDT                 SAM ARNDT TR DTD 07/19/90                          CLASS 3         150,000.00        13,189.58               0.00               136,810.42
ARNDT/RUTZ            GARY ARNDT & KENNETH D RUTZ                        CLASS 5          100,000.00         9,527.74              0.00                90,472.26
ARNESEN               STEIN ARNESEN                                      CLASS 3         300,000.00          7,250.00              0.00               292,750.00
ARNETT                IRA SVCS TR CO-CFBO GERALD M ARNETT IRA            CLASS 3           32,000.00          976.00               0.00                31,024.00
ARNI                  RICK & KAREN ARNI                                  CLASS 5          100,000.00         9,905.50              0.00                90,094.50
ARNOLD                EQUITY TRUST-FBO BERTA ARNOLD IRA                  CLASS 5          125,000.00       75,133.60               0.00                49,866.40
ARNOLD                JOEL T ARNOLD                                      CLASS 3           25,000.00       22,960.37               0.00                 2,039.63
ARNOLD                MAINSTAR-FBO JUDY ARNOLD T2178361                  CLASS 3           63,000.00          334.54               0.00                62,665.46

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
ARNOLD                MICHAEL H & RITA A ARNOLD                           CLASS 3           75,000.00         7,302.08               0.00                67,697.92
ARNOLD                WILLIAM D ARNOLD FT                                 CLASS 5         200,000.00        57,819.12                0.00               142,180.88
AROCHA                JOE AROCHA                                          CLASS 5           50,000.00         9,218.85               0.00                40,781.15
ARQUILLA              MAINSTAR-FBO ANTONIO ARQUILLA TW004103              CLASS 3           44,293.00          492.15                0.00                43,800.85
ARRINGTON             LYDIA C ARRINGTON                                   CLASS 3           50,000.00         1,048.59               0.00                48,951.41
ARTALONA              LOUIS & MAUREEN ARTALONA                            CLASS 3          100,000.00          722.23                0.00                99,277.77
ARTAUD                GUETSLINE J ARTAUD                                  CLASS 3           25,000.00              0.00              0.00                25,000.00
ARUTA-NELSON          THE ARUTA-NELSON FT DTD 03/28/89                    CLASS 3           25,000.00              0.00              0.00                25,000.00
ASAMOTO               WAYNE N & HYUN S ASAMOTO                            CLASS 3          120,000.00       16,193.22                0.00               103,806.78
ASATO                 IRA SVCS TR CO-CFBO GARY ASATO IRA                  CLASS 3          100,000.00         1,652.79               0.00                98,347.21
ASEFA                 WEBESHETE ASEFA                                     CLASS 3           50,000.00          583.34                0.00                49,416.66
ASH                   LARRY E & REBECCA R ASH                             CLASS 5          100,000.00       23,333.24                0.00                76,666.76
ASH                   LARRY E ASH                                         CLASS 5           50,000.00       10,000.08                0.00                39,999.92
ASH                   LIBERTY TR CO-FBO LARRY ASH IRA                     CLASS 5          150,000.00       46,014.31                0.00               103,985.69
ASH                   REBECCA R ASH                                       CLASS 5           50,000.00       20,791.86                0.00                29,208.14
ASH                   ROBERTA K ASH RLT                                  CLASS 3*           25,000.00         1,804.17               0.00                23,195.83
ASHE                  PROV. TR GP-FBO VERNICE ASHE IRA                    CLASS 3           25,000.00         1,286.46               0.00                23,713.54
ASHMORE               BARBARA ANN ASHMORE                                 CLASS 3           70,000.00         5,514.45               0.00                64,485.55
ASHMORE               PROV. TR GP-FBO PAUL E ASHMORE IRA                  CLASS 3          200,000.00       22,566.67                0.00               177,433.33
ASHWORTH              DAVID E ASHWORTH RLT                                CLASS 3          400,000.00         5,425.00               0.00               394,575.00
ASHWORTH              MAINSTAR-FBO DAVID E ASHWORTH T2177727              CLASS 3           75,000.00        1,375.00                0.00                73,625.00
ASHWORTH              MAINSTAR-FBO SETSUKO K ASHWORTH T2177994            CLASS 3         280,000.00         2,955.55                0.00               277,044.45
ASHWORTH/CARNAHAN DAN R ASHWORTH & CYNTHIA CARNAHAN                       CLASS 3           75,000.00         3,750.04               0.00                71,249.96
ASIMOS                CHRISULA & GEORGE W ASIMOS                          CLASS 3         100,000.00        11,916.58                0.00                88,083.42
ASIMOS                CHRISULA ASIMOS                                     CLASS 3           30,000.00        2,175.00                0.00                27,825.00
ASKEY                 ROBERT J ASKEY                                      CLASS 5           50,000.00         7,129.20               0.00                42,870.80
ASLETT                DONALD A ASLETT                                     CLASS 3         222,092.04        21,452.78                0.00               200,639.26
ASTILL                MAINSTAR-FBO DANNY J ASTILL T2176901                CLASS 3           64,000.00         2,289.78               0.00                61,710.22
ASTILL                RILEY ASTILL                                        CLASS 3         156,000.00         6,560.67                0.00               149,439.33

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
ASTON                 MAINSTAR-FBO BRIAN ASTON T2176472                 CLASS 3            60,000.00         2,058.33              0.00                57,941.67
ASTON                 MAINSTAR-FBO LEESA ASTON T2176424                 CLASS 3          300,000.00          9,591.67              0.00               290,408.33
ASTRERO               MAINSTAR-FBO OSCAR ASTRERO                        CLASS 3          100,000.00          5,416.68              0.00                94,583.32
ATHERTON              IRA SVCS TR CO-CFBO CAROL M ATHERTON IRA          CLASS 3           151,000.00         6,165.81              0.00               144,834.19
ATKINS                ATKINS FAMILY IRREV TR                            CLASS 3          190,000.00        12,158.30               0.00               177,841.70
ATKINSON              PROV. TR GP-FBO PETER ATKINSON IRA                CLASS 3            80,061.79         1,199.81              0.00                78,861.98
ATTEBERY              CYNTHIA ATTEBERY                                  CLASS 3            40,000.00          600.83               0.00                39,399.17
AUBLE                 RONALD L AUBLE                                    CLASS 3            50,000.00          476.39               0.00                49,523.61
AUCOIN                PETER & ELIZABETH AUCOIN                          CLASS 3            50,000.00         1,433.33              0.00                48,566.67
AUDI                  FRANCESCA & PASQUA AUDI                           CLASS 3           150,000.00         1,050.00              0.00               148,950.00
AUGASON               JEFFREY P & MICHELLE C AUGASON                    CLASS 3            50,000.00         8,481.15              0.00                41,518.85
AUGASON               JEFFREY P AUGASON                                 CLASS 3          100,000.00        17,013.84               0.00                82,986.16
AUGER                 JOHN H AUGER                                      CLASS 3          100,000.00        19,475.57               0.00                80,524.43
AUGER                 JOHN H AUGER                                      CLASS 5          400,000.00        77,902.27               0.00               322,097.73
AUGUSTAD              ROSALIE L AUGUSTAD                                CLASS 3            25,000.00         1,153.44              0.00                23,846.56
AUSK                  JAMES P & JO ARLENE AUSK JTWROS                   CLASS 5          150,000.00        56,236.04               0.00                93,763.96
AUSK                  PROV. TR GP-FBO JO ARLENE AUSK IRA                CLASS 3           147,000.00       18,914.05               0.00               128,085.95
AUSK                  PROV. TR GP-FBO JOARLENE AUSK IRA                 CLASS 5            72,000.00       15,320.00               0.00                56,680.00
AUSTIN                LORI AUSTIN                                       CLASS 5            50,000.00        1,030.56               0.00                48,969.44
AUSTIN                PROV. TR GP-FBO STEPHEN F AUSTIN IRA              CLASS 3            60,000.00       13,251.00               0.00                46,749.00
AVERITTE              LELA AVERITTE                                     CLASS 3            50,000.00         5,366.73              0.00                44,633.27
AVERY                 CARYN AVERY                                       CLASS 3           250,000.00       24,500.00               0.00               225,500.00
AVRAMIDES             PROV. TR GP-FBO GEORGE AVRAMIDES IRA              CLASS 3            67,728.00         9,734.46              0.00                57,993.54
AVRAMIDES             PROV. TR GP-FBO LOIS AVRAMIDES IRA                CLASS 3            47,500.00         6,827.15              0.00                40,672.85
AYERS                 ALEXANDRA AYERS                                   CLASS 3            34,351.00         2,228.06              0.00                32,122.94
AYERS                 CYNTHIA AYERS                                     CLASS 5          111,000.00          4,822.33              0.00               106,177.67
AYERS                 MAINSTAR-FBO CYNTHIA AYERS R2177224               CLASS 5            25,000.00         1,047.23              0.00                23,952.77
AYERS                 MAINSTAR-FBO CYNTHIA AYERS T2177223               CLASS 5           125,000.00         4,958.33              0.00               120,041.67
AYERS                 MAINSTAR-FBO PAULA AYERS RW003317                 CLASS 3            39,546.19         2,732.62              0.00                36,813.57

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
AYOTTE                MICHAEL OR JOY AYOTTE JWROS                        CLASS 5           140,000.00       60,340.06                0.00                79,659.94
AYRES                 CURTIS HAVEN & SHARON LEIGH AYRES                  CLASS 3           160,000.00         4,433.36               0.00               155,566.64
AZAR                  NABIL & RANA AZAR                                  CLASS 3          150,000.00          9,656.25               0.00               140,343.75
B MAYFIELD            B MAYFIELD HOLDINGS LLC                            CLASS 5           212,764.00       48,193.24                0.00               164,570.76
BAAR                  MAINSTAR-FBO MARY K BAAR T2176411                  CLASS 3            80,000.00         3,080.00               0.00                76,920.00
BAAR                  MARY K BAAR                                        CLASS 3          160,000.00         8,389.34                0.00               151,610.66
BABCOCK               TR FSBO AUDREY J BABCOCK                           CLASS 3            27,500.00         2,250.81               0.00                25,249.19
BACA                  HILARIO & BRAULIA BACA                             CLASS 3            30,000.00              0.00              0.00                30,000.00
BACHELLER             THE BACHELLER FT DTD 08/27/90 KB TTEE              CLASS 3            50,000.00         3,750.00               0.00                46,250.00
BACHOCHIN             ROBERT BACHOCHIN                                   CLASS 3            30,000.00         3,124.59               0.00                26,875.41
BACKUS                IRA SVCS TR CO-CFBO LINDA BACKUS IRA               CLASS 3           315,000.00       34,426.52                0.00               280,573.48
BACKUS                IRA SVCS TR CO-CFBO TIMOTHY D BACKUS IRA           CLASS 3           439,500.00       75,705.60                0.00               363,794.40
BACKUS                IRA SVCS TR CO-CFBO TIMOTHY D BACKUS IRA           CLASS 5           200,000.00       34,450.78                0.00               165,549.22
BAD RIV BAND          BAD RIV BAND LK SUP CHIPPEWA INDIANS               CLASS 3         2,500,000.00      346,875.00                0.00             2,153,125.00
BADER                 THE BADER TR DTD 02/01/17                          CLASS 3           200,000.00         1,216.67               0.00               198,783.33
BAER                  HARVEY D & GERALDINE BAER                          CLASS 3           100,000.00         9,650.00               0.00                90,350.00
BAGLIONE-MANLEY       ANGELA BAGLIONE-MANLEY                             CLASS 3            25,000.00          558.33                0.00                24,441.67
BAHIA                 MICHAEL & JASMINE BAHIA                            CLASS 5            50,000.00       25,206.22                0.00                24,793.78
BAIDA                 PROV. TR GP-FBO DORIENNE BAIDA IRA                 CLASS 3            33,750.00         1,377.19               0.00                32,372.81
BAILEY                ALLYN BAILEY                                       CLASS 3          100,000.00           402.78                0.00                99,597.22
BAILEY                CATHY A BAILEY                                     CLASS 3           247,000.00       31,951.04                0.00               215,048.96
BAILEY                CHARLES J & JAN A BAILEY                           CLASS 3           100,000.00       17,033.33                0.00                82,966.67
BAILEY                JAMES & PAULINE BAILEY                             CLASS 3            50,000.00         5,828.60               0.00                44,171.40
BAILEY                JIMMY E BAILEY                                     CLASS 3            50,000.00          791.66                0.00                49,208.34
BAILEY                PROV. TR GP-FBO CHARLES J BAILEY IRA               CLASS 3           230,000.00       32,323.34                0.00               197,676.66
BAILEY                PROV. TR GP-FBO JAN A BAILEY IRA                   CLASS 3            42,332.00         5,546.08               0.00                36,785.92
BAILEY                PROV. TR GP-FBO KIMBERLY A BAILEY IRA              CLASS 5            79,194.00       17,268.69                0.00                61,925.31
BAILEY                PROV. TR GP-FBO REX BAILEY ROTH IRA                CLASS 3            59,000.00         8,287.24               0.00                50,712.76
BAILEY                PROV. TR GP-FBO REX BAILEY ROTH IRA                CLASS 5            20,806.00         2,922.44               0.00                17,883.56

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
BAILEY                SUNWEST TR WILLIAM B BAILEY IRA                    CLASS 3          102,356.69        13,414.40                 0.00                88,942.29
BAIN                  ANGUS BAIN                                         CLASS 3          100,000.00          5,958.37                0.00                94,041.63
BAIRD                 MARGIE POPLAWSKI BAIRD                             CLASS 3          100,000.00         2,138.90                 0.00                97,861.10
BAKAY                 DAVID BAKAY                                        CLASS 3            40,000.00          444.45                 0.00                39,555.55
BAKER                 ALAN E & DESIREE D BAKER                           CLASS 3          200,000.00          8,366.71                0.00               191,633.29
BAKER                 BAKER FT DTD 09/26/01                              CLASS 3            75,000.00        5,497.92                 0.00                69,502.08
BAKER                 LAWRENCE BAKER                                     CLASS 5          100,000.00        22,272.00                 0.00                77,728.00
BAKER                 MAINSTAR-FBO DEBORAH L BAKER T2176485              CLASS 3          100,000.00          4,763.89                0.00                95,236.11
BAKER                 MARK BAKER                                         CLASS 3          100,000.00        13,067.26                 0.00                86,932.74
BAKER                 MILTON BAKER FT                                    CLASS 3            50,000.00         1,034.71                0.00                48,965.29
BAKER                 PATRICIA BAKER                                     CLASS 3            25,000.00              72.22              0.00                24,927.78
BAKER                 PROV. TR GP-FBO BARRY BAKER IRA                    CLASS 3            24,900.00         3,523.35                0.00                21,376.65
BAKER                 PROV. TR GP-FBO MARK BAKER INH IRA                 CLASS 3           279,500.00       36,462.03                 0.00               243,037.97
BAKER                 PROV. TR GP-FBO MISSY BAKER ROTH IRA               CLASS 3            25,000.00         1,557.29                0.00                23,442.71
BAKER                 PROV. TR GP-FBO ROBERT D BAKER IRA                 CLASS 5           300,000.00         3,902.78                0.00               296,097.22
BAKER                 RICHARD ALLEN BAKER EST                            CLASS 5          250,119.42        29,264.47                 0.00               220,854.95
BAKER                 SANDRA C BAKER                                     CLASS 3            25,000.00         1,214.55                0.00                23,785.45
BAKERSKY              MAINSTAR-FBO PETER BAKERSKY T2176996               CLASS 3           200,000.00         4,722.23                0.00               195,277.77
BAKKER                PROV. TR GP-FBO MANUELLA A BAKKER IRA              CLASS 3           345,715.70       28,300.67                 0.00               317,415.03
BALBO                 PETER MICHAEL BALBO RLT                            CLASS 3          200,000.00        28,252.62                 0.00               171,747.38
BALCAZAR              KIM BALCAZAR                                       CLASS 3            50,000.00          258.33                 0.00                49,741.67
BALDASSARO            PETER A BALDASSARO                                 CLASS 3          100,000.00          1,500.00                0.00                98,500.00
BALDUCCI              MARIA & NICOLA BALDUCCI                            CLASS 3           150,000.00       13,804.19                 0.00               136,195.81
BALDUCCI              MARIA & NICOLA BALDUCCI                            CLASS 5           100,000.00         9,202.79                0.00                90,797.21
BALDUCCI              PEGGY A BALDUCCI                                   CLASS 3            30,000.00         1,014.04                0.00                28,985.96
BALDWIN               LISA BALDWIN                                       CLASS 3            25,000.00       18,315.42                 0.00                 6,684.58
BALES                 MICHAEL BALES                                      CLASS 3          100,000.00         5,059.72                 0.00                94,940.28
BALES                 PROV. TR GP-FBO WILLIAM K BALES IRA                CLASS 3          415,000.00        17,845.00                 0.00               397,155.00
BALIKE                MAHESH BALIKE                                      CLASS 3            25,000.00          150.69                 0.00                24,849.31

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type           [1]               [2]               [3]          [1] minus [2] minus [3]
BALLARD               CARISSE B BALLARD                                 CLASS 3          100,000.00          3,558.53               0.00                96,441.47
BALLARD               MAINSTAR-FBO ROBERT BALLARD                       CLASS 3            25,000.00         1,313.89               0.00                23,686.11
BALLWEG               ALLAN M BALLWEG                                   CLASS 3            50,000.00         1,875.00               0.00                48,125.00
BALMENTI              BEN & ELVIRA BALMENTI IT                          CLASS 3           200,000.00       12,583.28                0.00               187,416.72
BALMUTH               PROV. TR GP-FBO PEARL BALMUTH IRA                 CLASS 3            76,500.00         6,553.64               0.00                69,946.36
BALSAMO               CONNIE BALSAMO                                    CLASS 3            50,000.00         5,326.38               0.00                44,673.62
BALZER                CAREY BALZER                                      CLASS 5          240,000.00        21,600.00                0.00               218,400.00
BANCROFT              PROV. TR GP-FBO EILEEN R BANCROFT IRA             CLASS 3            51,854.00         8,504.06               0.00                43,349.94
BANDES                CHESTER BANDES RT                                 CLASS 3            50,000.00         3,384.93               0.00                46,615.07
BANE                  PAUL BANE                                         CLASS 3            25,000.00         1,025.67               0.00                23,974.33
BANKS                 PROV. TR GP-FBO JANICE BANKS ICA                  CLASS 3            40,000.00              0.00              0.00                40,000.00
BANTA                 MAINSTAR-FBO GWEN BANTA SW003315                  CLASS 3           108,500.00         5,027.34               0.00               103,472.66
BANUELOS              MAINSTAR-FBO MARTHA BANUELOS TW003993             CLASS 3            50,579.91         1,327.72               0.00                49,252.19
BANZHOFF              NANCY D & CHARLES K BANZHOFF                      CLASS 3            50,000.00         1,662.52               0.00                48,337.48
BAO/HE                HUIHONG BAO & SAI HE                              CLASS 3            50,000.00              0.00              0.00                50,000.00
BARANGAN              PACITA BARANGAN                                   CLASS 3            50,000.00          679.87                0.00                49,320.13
BARBER                CAROL BARBER                                      CLASS 5            50,000.00         9,527.88               0.00                40,472.12
BARBER                THE BETH BARBER LT DTD 12/01/97                   CLASS 3           130,000.00       13,552.48                0.00               116,447.52
BARBIERI              PROV. TR GP-FBO JOSEPH BARBIERI III IRA           CLASS 5           119,000.00       41,476.72                0.00                77,523.28
BARBOSA               LIONEL A & JUNE A BARBOSA                         CLASS 5           100,000.00       15,666.61                0.00                84,333.39
BARCELONA             THE BARCELONA FT                                  CLASS 3           100,000.00         4,482.43               0.00                95,517.57
BARCHIE               THOMAS E & JOYCE E BARCHIE                        CLASS 3            25,000.00         2,260.37               0.00                22,739.63
BARCLAY               IAIN BARCLAY                                      CLASS 3            25,000.00              0.00              0.00                25,000.00
BARDEN                JAMES A & CAROLYN L BARDEN                        CLASS 3           100,000.00         5,033.33               0.00                94,966.67
BARGER                SANDRA L BARGER                                   CLASS 3           100,000.00         9,044.49               0.00                90,955.51
BARISCIANO            MAINSTAR-FBO MARIO BARISCIANO 1002783319          CLASS 3           220,000.00       12,133.61                0.00               207,866.39
BARKLEY               DWIGHT BARKLEY                                    CLASS 3            80,000.00         8,149.99               0.00                71,850.01
BARKLEY               JEFFREY & COLLEEN BARKLEY                         CLASS 3            50,000.00         1,141.67               0.00                48,858.33
BARNABY               CAROLE E BARNABY                                  CLASS 3            68,400.00         5,004.60               0.00                63,395.40

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                                         Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BARNABY               IRA SVCS TR CO-CFBO CAROL E BARNABY IRA           CLASS 3            34,000.00        2,431.00                0.00                31,569.00
BARNATTAN             ELAINE BARNATTAN                                  CLASS 3            50,000.00         3,116.71               0.00                46,883.29
BARNES                IRA SVCS TR CO-CFBO CHARLES L BARNES              CLASS 3            90,000.00         1,102.50               0.00                88,897.50
BARNES                KARYTA L BARNES                                   CLASS 3           115,000.00         7,390.75               0.00               107,609.25
BARNES                LAVINIA P BARNES                                  CLASS 3          220,000.00        21,200.00                0.00               198,800.00
BARNES                MARLENE W & WILLIAM J BARNES                      CLASS 3            50,000.00         1,991.67               0.00                48,008.33
BARNES                MARY BARNES                                       CLASS 3          120,000.00               0.00              0.00               120,000.00
BARNES                MICHAEL E BARNES                                  CLASS 3          100,000.00          8,076.31               0.00                91,923.69
BARNES                PATRICIA BARNES                                   CLASS 3            85,000.00         2,698.84               0.00                82,301.16
BARNES                PROV. TR GP-FBO SANDRA G BARNES IRA               CLASS 3            24,500.00         2,237.67               0.00                22,262.33
BARNES                SHIRLEY M BARNES                                  CLASS 5          146,000.00          8,618.09               0.00               137,381.91
BARNES                TYRUS M & WENDY B BARNES                          CLASS 3            60,000.00         1,633.33               0.00                58,366.67
BARNETT               MAINSTAR-FBO CHARLES R BARNETT                    CLASS 3           108,000.00         4,191.00               0.00               103,809.00
BARNETT               MAINSTAR-FBO RACHEL BARNETT R2177983              CLASS 3            25,000.00          229.17                0.00                24,770.83
BARNEY                PROV. TR GP-FBO DEAN BARNEY IRA                   CLASS 3            42,500.00          708.33                0.00                41,791.67
BARNICH               BRUCE & SHARI BARNICH                             CLASS 3            50,000.00          958.32                0.00                49,041.68
BARNUM                MARIA D BARNUM                                    CLASS 3            46,000.00        5,765.39                0.00                40,234.61
BAROCH                PROV. TR GP-FBO DOROTHY F BAROCH IRA              CLASS 3            25,000.00         2,270.83               0.00                22,729.17
BARON                 JAMES E BARON                                     CLASS 3          100,000.00         1,209.73                0.00                98,790.27
BARR                  JOHN E BARR                                       CLASS 3          100,000.00        17,116.68                0.00                82,883.32
BARR                  MAINSTAR-FBO ALICE R BARR T2177319                CLASS 3          380,000.00        10,386.67                0.00               369,613.33
BARR                  PROV. TR GP-FBO JOHN E BARR ROTH IRA              CLASS 3           175,400.00       25,970.67                0.00               149,429.33
BARRACK               NASIM BARRACK                                     CLASS 3            50,000.00        4,744.40                0.00                45,255.60
BARRAS                PROV. TR GP-FBO LISA BARRAS IRA                   CLASS 3            20,000.00         1,835.00               0.00                18,165.00
BARRAUGH              MAINSTAR-FBO WILLIAM BARRAUGH                     CLASS 3           179,000.00       27,086.81                0.00               151,913.19
BARRAUGH              MAINSTAR-FBO WILLIAM BARRAUGH                     CLASS 5           100,000.00       15,132.29                0.00                84,867.71
BARRETT               KYLER BARRETT                                     CLASS 3            35,000.00          735.01                0.00                34,264.99
BARRETT               NANCY J BARRETT                                   CLASS 3          100,000.00          1,850.00               0.00                98,150.00
BARRIAGE              LE ROY W & BETTY B BARRIAGE                       CLASS 3            25,000.00         2,487.55               0.00                22,512.45

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BARRICKMAN            NORMAN & LILIANE BARRICKMAN RT 10/15/07            CLASS 3           161,000.00       36,124.99                0.00               124,875.01
BARRON                BARRON HOLDINGS LLC                                CLASS 5           200,000.00       52,440.33                0.00               147,559.67
BARROWS               DENNIS BARROWS                                     CLASS 3           200,000.00         8,918.09               0.00               191,081.91
BARRY                 FT OF AINA FAE BARRY                               CLASS 3            75,000.00         2,145.83               0.00                72,854.17
BARRY                 JAMES L BARRY JR                                   CLASS 3            30,000.00         2,520.00               0.00                27,480.00
BARRY                 PROV. TR GP-FBO ANDREA L BARRY IRA                 CLASS 3            30,000.00         1,400.00               0.00                28,600.00
BARRY                 THE RAY & KAREN BARRY FT 06/14/02                  CLASS 3            50,000.00       11,591.63                0.00                38,408.37
BARSNESS              DONALD A BARSNESS                                  CLASS 3           150,000.00       10,643.07          1,000.00                 138,356.93
BARSNESS              JAMES A BARSNESS                                   CLASS 3            50,000.00         2,554.83               0.00                47,445.17
BARTEL                CRAIG A BARTEL TR DTD 07/26/83                     CLASS 3            25,000.00         1,224.97               0.00                23,775.03
BARTELL               ROBERT BARTELL                                     CLASS 3           100,000.00         7,888.90               0.00                92,111.10
BARTELS               LUCILLE BARTELS                                    CLASS 3            25,000.00          600.71                0.00                24,399.29
BARTO                 JOHN M & SUSAN M BARTO                             CLASS 3            50,000.00         6,837.57               0.00                43,162.43
BARTON                DEBRA A BARTON                                     CLASS 3            50,000.00         7,680.64               0.00                42,319.36
BASA                  MANUEL & CRISTETA BASA                             CLASS 3            25,000.00         1,503.52               0.00                23,496.48
BASCI                 PROV. TR GP-FBO JOHN BASCI SOLO K                  CLASS 3            50,000.00         1,284.72               0.00                48,715.28
BASHKOFF              BERNARD & ELEANOR N BASHKOFF RT                    CLASS 3           200,000.00       13,654.13                0.00               186,345.87
BASSEN                SANDRA & IRA D BASSEN                              CLASS 3          100,000.00          1,283.33               0.00                98,716.67
BASSEN                SANDRA & IRA D BASSEN                              CLASS 3*           50,000.00              0.00              0.00                50,000.00
BASTIAN               LEONARD BASTIAN                                    CLASS 3            60,000.00        4,755.52                0.00                55,244.48
BATE                  MICHAEL K & MARY C BATE                            CLASS 3            25,000.00          683.33                0.00                24,316.67
BATEMAN               TODD H BATEMAN                                     CLASS 3            25,000.00          263.90                0.00                24,736.10
BATES                 MARLENE BATES                                      CLASS 3          120,000.00         8,017.11                0.00               111,982.89
BATES                 PROV. TR GP-FBO TONYCE BATES ROTH IRA              CLASS 3            29,350.00          194.04                0.00                29,155.96
BATHORY               PROV. TR GP-FBO GEORGE L BATHORY IRA               CLASS 3           201,300.00       26,342.34                0.00               174,957.66
BATTAGLIA             MAINSTAR-FBO CARMEN BATTAGLIA T2175302             CLASS 3          199,664.60        15,742.65                0.00               183,921.95
BATTERMAN             KURT BATTERMAN                                     CLASS 3          100,000.00           661.12                0.00                99,338.88
BATTS                 LUCIA J BATTS                                      CLASS 3            50,000.00        4,854.09                0.00                45,145.91
BATUK                 GREGORY BATUK                                      CLASS 3            60,000.00         5,500.00               0.00                54,500.00

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BATUK                 MAINSTAR-FBO GREGORY BATUK T2174546                CLASS 3           190,000.00       21,596.67               0.00               168,403.33
BAUCK                 KRISTINA BAUCK                                     CLASS 3            25,000.00         1,054.84              0.00                23,945.16
BAUER                 KENNETH W & LINDA S BAUER                          CLASS 3           200,000.00         8,791.67              0.00               191,208.33
BAUER                 M LOUISE BAUER                                     CLASS 3          100,000.00        16,469.35               0.00                83,530.65
BAUER                 VALERIE BAUER                                      CLASS 3            25,000.00         1,000.67              0.00                23,999.33
BAUER-HANSEN          DORIS A BAUER-HANSEN                               CLASS 3            60,000.00       17,943.33               0.00                42,056.67
BAUERLE               MICHAEL I & JILL M BAUERLE                         CLASS 3           200,000.00       30,333.33               0.00               169,666.67
BAUERLE               PROV. TR GP-FBO MICHAEL I BAUERLE IRA              CLASS 5           199,750.00       44,222.43               0.00               155,527.57
BAUERLE               WILLIAM & MARCIA D BAUERLE                         CLASS 5           100,000.00       11,494.48               0.00                88,505.52
BAUMBACH              DOROTHY J BAUMBACH IT                              CLASS 3            50,000.00         4,416.60              0.00                45,583.40
BAUMGARN              ARLO & JEAN BAUMGARN                               CLASS 3            25,000.00          465.29               0.00                24,534.71
BAXTER                CRAIG & LAURA LEE BAXTER                           CLASS 3           180,000.00         2,135.00              0.00               177,865.00
BAXTER                LARRY D BAXTER                                     CLASS 3           300,000.00         7,916.67              0.00               292,083.33
BAXTER                LAURA LEE & CRAIG BAXTER                           CLASS 3            50,000.00         2,157.62              0.00                47,842.38
BAXTER                PROV. TR GP-FBO CRAIG BAXTER IRA                   CLASS 3            50,000.00       11,012.96               0.00                38,987.04
BAXTER                PROV. TR GP-FBO CRAIG BAXTER IRA                   CLASS 5           100,000.00       22,025.93               0.00                77,974.07
BAXTER                RACHEL L BAXTER                                    CLASS 3           300,000.00         7,458.33              0.00               292,541.67
BAY/BELLSTEDT         RIA BAY & OLAF BELLSTEDT                           CLASS 3           100,000.00       12,647.08         1,000.00                  86,352.92
BAYLESS               MARGARET A BAYLESS                                 CLASS 3           150,000.00         4,725.00              0.00               145,275.00
BAZZELL-MAY           PROV. TR GP-FBO ERICA BAZZELL-MAY INH IRA          CLASS 3            30,000.00         1,242.50              0.00                28,757.50
BEACH                 MARK S BEACH                                       CLASS 3          100,000.00        17,121.56               0.00                82,878.44
BEACH                 MICHELE BEACH                                      CLASS 5          250,000.00        73,568.39               0.00               176,431.61
BEADLE                HERBERT R & JOELLEN BEADLE CO-TR 03/29/11          CLASS 3           200,000.00       34,072.63               0.00               165,927.37
BEADLE                HERBERT R & JOELLEN BEADLE CO-TR 03/29/11          CLASS 5           100,000.00       17,036.32               0.00                82,963.68
BEAL                  JOSEPH & RUTH A BEAL                               CLASS 3            50,000.00         6,005.52              0.00                43,994.48
BEALL                 BYRON BRUCE BEALL                                  CLASS 3          350,000.00        16,050.00               0.00               333,950.00
BEARD                 IRA SVCS TR CO-CFBO SANDRA L BEARD IRA             CLASS 3            48,000.00         1,857.33              0.00                46,142.67
BEASLEY               DAN J & RUTH A BEASLEY                             CLASS 3          100,000.00          5,433.33              0.00                94,566.67
BEASLEY               MAINSTAR-FBO STEVEN E BEASLEY T2177320             CLASS 3          104,423.83          1,724.67              0.00               102,699.16

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
BEATTY                CAROLYN BEATTY                                     CLASS 3            30,000.00              91.67              0.00                29,908.33
BEATTY                MAINSTAR-FBO KATHLEEN M BEATTY                     CLASS 3            40,411.00         2,327.56                0.00                38,083.44
BEATTY/REYNOLDS       SUSAN L BEATTY & CELIA L REYNOLDS                  CLASS 3            50,000.00         1,770.32                0.00                48,229.68
BEATY                 WALES B & JOAN W BEATY                             CLASS 3          300,000.00          6,719.44                0.00               293,280.56
BEAU VISAGE           BEAU VISAGE INC                                    CLASS 3            60,000.00       11,671.62                 0.00                48,328.38
BEAULIEU              LYNDA BEAULIEU                                     CLASS 3            32,000.00         1,728.00                0.00                30,272.00
BEAULIEU              PROV. TR GP-FBO DAVID R BEAULIEU IRA               CLASS 3            36,876.00         2,028.18                0.00                34,847.82
BEAULIEU              PROV. TR GP-FBO LYNDA BEAULIEU IRA                 CLASS 3            33,568.00         1,695.18                0.00                31,872.82
BEAVER                JOHN BEAVER                                        CLASS 3           147,000.00       15,999.01                 0.00               131,000.99
BEAVER                MAINSTAR-FBO ROBERT W BEAVER T2177615              CLASS 3            25,000.00          573.61                 0.00                24,426.39
BEAVER                PROV. TR GP-FBO JOHN BEAVER IRA                    CLASS 3           107,045.00       10,032.50                 0.00                97,012.50
BECK                  GUSTAVE J BECK                                     CLASS 3            30,000.00         3,406.67                0.00                26,593.33
BECK                  GUSTAVE J BECK                                     CLASS 5           100,000.00       11,355.56                 0.00                88,644.44
BECK                  ROGER E BECK                                       CLASS 3          100,000.00          2,166.67                0.00                97,833.33
BECK                  STEVEN E & SHARON E BECK                           CLASS 3           200,000.00         2,780.55                0.00               197,219.45
BECK                  TIMOTHY P & KAREN BECK                             CLASS 3           425,000.00         8,761.12                0.00               416,238.88
BECKER                JOHN C BECKER                                      CLASS 5            50,000.00       10,145.85                 0.00                39,854.15
BECKER                WILMA BECKER TR DTD 09/13/07                       CLASS 3            25,000.00         2,740.00                0.00                22,260.00
BECKETT               ARCHIE R & DANI N BECKETT                          CLASS 5         3,600,000.00     1,041,508.51                0.00             2,558,491.49
BECKHEYER             1995 CRAIG & CHERYL BECKHEYER RTAR 2006            CLASS 5            50,000.00       18,000.15                 0.00                31,999.85
BECKMANN              DUANE BECKMANN LT DTD 12/12/07                     CLASS 5           650,000.00      175,021.29                 0.00               474,978.71
BECKS                 LORI G BECKS                                       CLASS 3            30,000.00          500.00                 0.00                29,500.00
BECVAR                SUNWEST TR JOANN MARIE BECVAR IRA                  CLASS 3            25,000.00          729.15                 0.00                24,270.85
BEEBE                 THOMAS H & CYNTHIA M BEEBE                         CLASS 3           100,000.00         4,802.75                0.00                95,197.25
BEEDER                CAROLYN ANN BEEDER                                 CLASS 3           100,000.00         1,138.90                0.00                98,861.10
BEEHLER               REBECCA BEEHLER                                    CLASS 3           140,000.00               0.00              0.00               140,000.00
BEER                  DAVID & LYNN BEER                                  CLASS 3            40,000.00               0.00              0.00                40,000.00
BEERBAUM              JUDY & JAMES BEERBAUM                              CLASS 3            50,000.00         1,825.00                0.00                48,175.00
BEERS                 BETTY L BEERS IRREV TR                             CLASS 3            75,000.00          656.25                 0.00                74,343.75

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BEERS                 RANDY & MAYRA BEERS                               CLASS 3            50,000.00          437.49                0.00                49,562.51
BEESON                IRA SVCS TR CO-CFBO SANDRA BEESON                 CLASS 3            80,000.00         1,577.76               0.00                78,422.24
BEGGS                 MARK S BEGGS                                      CLASS 3          240,000.00        10,890.00                0.00               229,110.00
BEGLEY                MARY BEGLEY                                       CLASS 3          170,000.00        17,314.23                0.00               152,685.77
BEKIROV               HUSEYIN BEKIROV                                   CLASS 3          200,000.00        18,080.50                0.00               181,919.50
BEL AIR               THE BEL AIR CRUT                                  CLASS 3            50,000.00        3,394.52                0.00                46,605.48
BELANGER              JOHN & DENECE BELANGER                            CLASS 3           350,000.00       26,996.98                0.00               323,003.02
BELANGER              JOHN & DENECE BELANGER                            CLASS 5           250,000.00       19,283.56                0.00               230,716.44
BELDT                 PROV. TR GP-FBO RICHARD E BELDT IRA               CLASS 3           212,545.00       32,583.21                0.00               179,961.79
BELDT                 RICHARD E BELDT                                   CLASS 3            65,000.00        7,411.77                0.00                57,588.23
BELIN                 FURMAN L & BETTY A BELIN                          CLASS 3            50,000.00        6,081.28                0.00                43,918.72
BELIN                 PROV. TR GP-FBO BETTY A BELIN IRA                 CLASS 3          280,000.00         7,606.67                0.00               272,393.33
BELIVEAU              TOM BELIVEAU                                      CLASS 5          120,000.00        65,433.20                0.00                54,566.80
BELL                  BRIAN BELL                                        CLASS 3            75,000.00        2,260.42                0.00                72,739.58
BELL                  MAINSTAR-FBO BRIAN BELL R2177645                  CLASS 3            46,725.00         1,008.48               0.00                45,716.52
BELL                  MAINSTAR-FBO BRIAN BELL T2177611                  CLASS 3          101,950.00         2,577.07                0.00                99,372.93
BELL                  MAINSTAR-FBO CAROL DIANE BELL T2178271            CLASS 3            25,700.00          259.74                0.00                25,440.26
BELL                  MARY JANE BELL                                    CLASS 3            25,000.00              0.00              0.00                25,000.00
BELL                  MARY W BELL                                       CLASS 3            54,403.52        7,673.92                0.00                46,729.60
BELL                  SUNWEST TR EARL WOODROW BELL JR IRA               CLASS 3          200,000.00         7,616.67                0.00               192,383.33
BELLACE               ANDREW BELLACE                                    CLASS 3          200,000.00        25,766.70                0.00               174,233.30
BELLISTON             DIANE BELLISTON                                   CLASS 3            30,000.00        2,292.50                0.00                27,707.50
BELLISTON             PROV. TR GP-FBO A BRENT BELLISTON IRA             CLASS 3            75,000.00       10,449.13                0.00                64,550.87
BELLISTON             PROV. TR GP-FBO A BRENT BELLISTON IRA             CLASS 3*           25,000.00          840.97                0.00                24,159.03
BELMORE               DAVID & CAROLYN BELMORE LT                        CLASS 5           100,000.00       26,083.83                0.00                73,916.17
BELTRAN               RONALD W BELTRAN                                  CLASS 3          130,000.00               0.00              0.00               130,000.00
BELTRANO              LANI BELTRANO                                     CLASS 3            25,000.00        1,288.91                0.00                23,711.09
BEMIS                 PROV. TR GP-FBO FRANCIS W BEMIS IRA               CLASS 5            50,000.00         9,083.33               0.00                40,916.67
BENDA                 MYRNA & ALEXANDER BENDA                           CLASS 3           100,000.00         7,350.00               0.00                92,650.00

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type           [1]               [2]              [3]          [1] minus [2] minus [3]
BENDER                JOSEPH DEAN BENDER                                 CLASS 3            80,000.00         3,002.24              0.00                76,997.76
BENDER                PROV. TR GP-FBO JANE BENDER IRA                    CLASS 3            26,000.00         2,360.94              0.00                23,639.06
BENDER                PROV. TR GP-FBO MILTON J BENDER ROTH IRA           CLASS 3            36,250.00         4,740.18              0.00                31,509.82
BENE                  PROV. TR GP-FBO STEVE MILLER DEF BENE IRA          CLASS 3            74,500.00         3,093.83              0.00                71,406.17
BENE                  PROV. TR GP-FBO V MORRISSEY BENE INH IRA           CLASS 3           141,713.00       12,392.51               0.00               129,320.49
BENEDICT              GALEN A & FERN E BENEDICT                          CLASS 3           160,000.00         1,617.77              0.00               158,382.23
BENES                 PROV. TR GP-FBO LLOYD BENES IRA                    CLASS 3           522,000.00       84,745.20               0.00               437,254.80
BENES                 PROV. TR GP-FBO LLOYD BENES IRA                    CLASS 5           200,000.00       32,469.42               0.00               167,530.58
BENESSERE             MARIE BENESSERE                                    CLASS 3          250,000.00        29,166.60               0.00               220,833.40
BENJAMIN              PROV. TR GP-FBO CURTIS L BENJAMIN IRA              CLASS 3          467,215.00        23,017.33               0.00               444,197.67
BENNET                MAINSTAR-FBO MINA BENNET T2175007                  CLASS 3          115,000.00        12,994.98               0.00               102,005.02
BENNETT               IRA SVCS TR CO-CFBO PATRICIA A BENNETT             CLASS 3            40,000.00          233.33               0.00                39,766.67
BENNETT               JEAN L BENNETT                                     CLASS 5            70,000.00       22,799.92               0.00                47,200.08
BENNETT               KEMP BENNETT                                       CLASS 3            50,000.00          534.72               0.00                49,465.28
BENNETT               LINDA F BENNETT                                    CLASS 3            50,000.00          513.88               0.00                49,486.12
BENNETT               PROV. TR GP-FBO KEITH BENNETT IRA                  CLASS 3           100,000.00         2,416.67              0.00                97,583.33
BENNETT               PROV. TR GP-FBO RUSSELL R BENNETT IRA              CLASS 5           200,000.00       52,666.67               0.00               147,333.33
BENSMAN               HORIZON TR CO-FBO NANCY L BENSMAN IRA              CLASS 3            50,500.00         2,588.17              0.00                47,911.83
BENSMAN               JEROME J & M J BENSMAN IRREV TR 10/08/13           CLASS 3            50,000.00          340.28               0.00                49,659.72
BENSMAN               WILLIAM A & NANCY L BENSMAN                        CLASS 3           100,000.00       18,324.99               0.00                81,675.01
BENSON                BRUCE H BENSON                                     CLASS 3          100,000.00         9,450.00               0.00                90,550.00
BENSON                PATRICIA A BENSON                                  CLASS 3            85,000.00          956.25               0.00                84,043.75
BENSON                PROV. TR GP-FBO PATRICIA A BENSON IRA              CLASS 3            55,700.00         3,578.73              0.00                52,121.27
BENTLEY               BENTLEY FAMILY HOLDINGS LLC                        CLASS 3          200,000.00          2,916.65              0.00               197,083.35
BENTLEY               CHARLES BENTLEY                                    CLASS 3          100,000.00        24,594.35               0.00                75,405.65
BENTLEY               MAINSTAR-FBO DENELLE C BENTLEY BT178433            CLASS 3          355,000.00           246.53               0.00               354,753.47
BENTLEY               MAINSTAR-FBO DENELLE C BENTLEY BT178434            CLASS 3          592,000.00           493.33               0.00               591,506.67
BENTON                JOYCE BENTON                                       CLASS 3            25,000.00          890.50               0.00                24,109.50
BENVENUTTI            PROV. TR GP-FBO KEITH BENVENUTTI IRA               CLASS 5           358,000.00       70,524.44               0.00               287,475.56

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BERCUME               PROV. TR GP-FBO RAYMOND BERCUME IRA               CLASS 3           103,000.00       11,902.27               0.00                91,097.73
BERDOLL               PROV. TR GP-FBO LARRY BERDOLL IRA                 CLASS 3            80,000.00       20,624.96               0.00                59,375.04
BERDOLL               PROV. TR GP-FBO LAWRENCE BERDOLL IRA              CLASS 5           100,000.00       23,194.44               0.00                76,805.56
BERENBAUM             LUIZA & JACK BERENBAUM                            CLASS 3            50,000.00         5,288.23              0.00                44,711.77
BERG                  CHRISTOPHER J BERG                                CLASS 3            30,000.00         9,168.82              0.00                20,831.18
BERG                  THE BERG FAMILY 2012 LT DTD 06/21/12              CLASS 3          220,575.00         7,822.43               0.00               212,752.57
BERGADO               ROWENA A BERGADO RLT                              CLASS 3            50,000.00          216.67               0.00                49,783.33
BERGE                 JEANETTE L BERGE                                  CLASS 3            59,000.00         2,319.41              0.00                56,680.59
BERGER                MAINSTAR-FBO LESTER K BERGER T2176908             CLASS 3            20,000.00          494.44               0.00                19,505.56
BERGLUND              CAROL A BERGLUND LT DTD 03/31/16                  CLASS 3           100,000.00         1,888.90              0.00                98,111.10
BERGLUND              KEITH W BERGLUND LT DTD 03/31/16                  CLASS 3           100,000.00         1,888.90              0.00                98,111.10
BERGQUIST             PHILIP J BERGQUIST                                CLASS 3            50,000.00         4,991.60              0.00                45,008.40
BERK                  WILLIAM BERK                                      CLASS 3          110,000.00         4,905.67               0.00               105,094.33
BERKEN                PROV. TR GP-FBO THOMAS BERKEN IRA                 CLASS 5           300,000.00       42,833.33               0.00               257,166.67
BERLINGER             ELISSA K & JOSEPH W BERLINGER                     CLASS 3            75,000.00         5,217.59              0.00                69,782.41
BERMAN                ARNOLD R & HELEN G BERMAN                         CLASS 3            25,000.00         2,291.60              0.00                22,708.40
BERMAN                PROV. TR GP-FBO ARNOLD L BERMAN IRA               CLASS 3           794,274.04      141,683.42               0.00               652,590.62
BERMAN                PROV. TR GP-FBO ARNOLD L BERMAN IRA               CLASS 5           265,154.08       47,298.46               0.00               217,855.62
BERMAN                THE RITA J BERMAN TR                              CLASS 3            55,000.00         4,352.60              0.00                50,647.40
BERMON                RTA RHODA BERMON DTD 12/12/95                     CLASS 3           200,000.00       27,981.70               0.00               172,018.30
BERNARD               MARYANN BERNARD                                   CLASS 3            75,000.00         5,578.15              0.00                69,421.85
BERNARDY              LOUIS & SHIRLEY BERNARDY                          CLASS 3            50,000.00          291.67               0.00                49,708.33
BERNSTEIN             HELENE BERNSTEIN                                  CLASS 3            55,000.00         8,821.50              0.00                46,178.50
BERNSTEIN             LAURA BERNSTEIN                                   CLASS 3            25,000.00         1,277.46              0.00                23,722.54
BERRETT               GOLDEN BERRETT                                    CLASS 3           100,000.00         4,116.69              0.00                95,883.31
BERRY                 ARTHUR L BERRY                                    CLASS 3            25,000.00         1,154.17              0.00                23,845.83
BERRY                 DENNIS PAUL & SUSAN M BERRY                       CLASS 3            40,000.00         1,472.75              0.00                38,527.25
BERRY                 JOHN BERRY                                        CLASS 3            55,000.00         4,663.95              0.00                50,336.05
BERRY                 PROV. TR GP-FBO TERESA D BERRY IRA                CLASS 5           200,000.00       36,444.44               0.00               163,555.56

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BERRY                 THE BERRY LT                                      CLASS 5          310,000.00        93,240.36                0.00               216,759.64
BERRY                 TMICO-FBO HENRY S BERRY TRAD IRA                  CLASS 5           195,000.00       43,658.41                0.00               151,341.59
BERRY/COINER          ARTHUR L BERRY & CYNTHIA G COINER                 CLASS 3            50,000.00         1,383.33               0.00                48,616.67
BERRYHILL             DR PATRICK BERRYHILL TR 03/01/66                  CLASS 3            25,000.00          617.35                0.00                24,382.65
BERTRAND              MAINSTAR-FBO NORMA J BERTRAND T2177515            CLASS 3            47,000.00          522.22                0.00                46,477.78
BERTSCH               JULIE BERTSCH                                     CLASS 3            25,000.00          638.91                0.00                24,361.09
BERUBE                IRA SVCS TR CO-CFBO TERRY BERUBE IRA              CLASS 3            75,830.00         4,448.69               0.00                71,381.31
BERWICK               IRA SVCS TR CO-CFBO JOHN M BERWICK IRA            CLASS 3            29,000.00          981.17                0.00                28,018.83
BERWICK               JOHN M & KATHY J BERWICK                          CLASS 3            25,000.00         1,210.41               0.00                23,789.59
BESCHEN               MARY K BESCHEN TR DTD 09/24/07                    CLASS 3            50,000.00          612.51                0.00                49,387.49
BESELER               DAVID DEAN & MELINDA CAY BESELER                  CLASS 3           100,000.00         1,458.34               0.00                98,541.66
BEST                  MARY Z BEST                                       CLASS 3            25,000.00      103,688.06                0.00                     0.00 **
BEST                  PROV. TR GP-FBO LOYAL A BEST IRA                  CLASS 3            29,923.75          145.46                0.00                29,778.29
BETH TORAH            BETH TORAH SYNAGOGUE                              CLASS 3            25,000.00         1,300.00               0.00                23,700.00
BETHEL CEMETERY       BETHEL CEMETERY                                   CLASS 3          125,000.00        10,312.50                0.00               114,687.50
BETTERLEY             JEAN ANN BETTERLEY                                CLASS 3          100,000.00        17,344.92                0.00                82,655.08
BETTINGER             DAVID R & MARILYN BETTINGER                       CLASS 3           700,000.00       62,943.75                0.00               637,056.25
BETTINGER             DAVID R BETTINGER                                 CLASS 3            50,000.00       20,408.33                0.00                29,591.67
BEVER                 ALISON BEVER                                      CLASS 3          300,000.00         7,250.04                0.00               292,749.96
BEYKE                 KENNETH J BEYKE                                   CLASS 3            25,000.00        1,800.00                0.00                23,200.00
BEYNON                JAY BEYNON FT DTD 10/23/98                        CLASS 3          500,000.00               0.00              0.00               500,000.00
BEZDJIAN              RAFFIE S & ANDRALYNN O BEZDJIAN                   CLASS 3            50,000.00         4,102.82               0.00                45,897.18
BEZZINA               CHARLES & MARY ANNE BEZZINA                       CLASS 3            50,000.00         1,633.33               0.00                48,366.67
BEZZINA               CHRISTOPHER M BEZZINA                             CLASS 3            60,000.00        8,766.71                0.00                51,233.29
BICHT                 CHARLES L BICHT JR                                CLASS 3            15,000.00          458.33                0.00                14,541.67
BICHT                 JENNIFER L BICHT                                  CLASS 3            15,000.00              0.00              0.00                15,000.00
BICKEL                WAYNE J & PHYLLIS A BICKEL                        CLASS 3            25,000.00         1,695.83               0.00                23,304.17
BICKLEY               PROV. TR GP-FBO GEORGE W BICKLEY IRA              CLASS 3           100,000.00       13,083.33                0.00                86,916.67
BIERER                MAINSTAR-FBO DONALD L BIERER T2177363             CLASS 3          110,000.00          3,379.44               0.00               106,620.56

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition          Other
                                                                                      Principal        "Interest"        Prepetition
                                                                                      Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BIERER                THOMAS E & MARGARET N BIERER                     CLASS 3            50,000.00         5,566.67               0.00                44,433.33
BIEVER                PROV. TR GP-FBO CANDI BIEVER IRA                 CLASS 3          152,000.00        16,126.38                0.00               135,873.62
BIGELOW               BRUCE A BIGELOW                                  CLASS 3            80,000.00          891.67                0.00                79,108.33
BIGELOW               IRA SVCS TR CO-CFBO BRUCE A BIGELOW IRA          CLASS 3            78,000.00        2,660.73                0.00                75,339.27
BIHN                  PROV. TR GP-FBO GERALD J BIHN IRA                CLASS 3            70,000.00         7,340.28               0.00                62,659.72
BILBO                 DIANE BILBO                                      CLASS 3            30,000.00        1,197.08                0.00                28,802.92
BILHEIMER             MAINSTAR-FBO CYNTHIA B BILHEIMER R2175765        CLASS 3            23,000.00        1,472.00                0.00                21,528.00
BILLS                 PROV. TR GP-FBO RANDY BILLS IRA                  CLASS 3            68,000.00       10,592.89                0.00                57,407.11
BILLS                 SUSAN BILLS                                      CLASS 3            25,000.00        2,516.72                0.00                22,483.28
BILTZ                 MAINSTAR-FBO JOHN L BILTZ T2178437               CLASS 3          100,000.00           347.22                0.00                99,652.78
BINGAMAN              ARIEL BINGAMAN                                   CLASS 3            33,000.00         6,621.04               0.00                26,378.96
BINGAMAN              KATHLEEN D BINGAMAN                              CLASS 3            28,000.00              0.00              0.00                28,000.00
BINGHAM               DANIEL A BINGHAM                                 CLASS 3          200,000.00               0.00              0.00               200,000.00
BINKERD               IRA SVCS TR CO-CFBO DAN BINKERD IRA              CLASS 3            47,000.00         4,085.80               0.00                42,914.20
BINKERD               PROV. TR GP-FBO CATHY S BINKERD IRA              CLASS 5           165,000.00       16,461.00                0.00               148,539.00
BINKERD               PROV. TR GP-FBO MICHAEL A BINKERD IRA            CLASS 3           609,100.00       58,960.11                0.00               550,139.89
BINKERD               PROV. TR GP-FBO MICHAEL A BINKERD IRA            CLASS 5           200,000.00       19,359.75                0.00               180,640.25
BINKLEY               PATRICIA BINKLEY                                 CLASS 3            75,000.00         2,150.00               0.00                72,850.00
BINNS                 PROV. TR GP-FBO BRUCE BINNS IRA                  CLASS 3           100,000.00       16,800.00                0.00                83,200.00
BIRCHFIELD            MAINSTAR-FBO JACK BIRCHFIELD T2176912            CLASS 3          100,000.00         4,355.56                0.00                95,644.44
BIRCHFIELD            MAINSTAR-FBO JACK BIRCHFIELD T2176912            CLASS 5          300,000.00        13,066.67                0.00               286,933.33
BIREBENT              PIERRE & NATHALIE PERRIER BIREBENT               CLASS 3           397,000.00       38,950.48                0.00               358,049.52
BIRGENHEIR            MICHAEL R & LINDA G BIRGENHEIR                   CLASS 5           129,000.00       33,196.64                0.00                95,803.36
BIRKHOLZ              GAY LYN BIRKHOLZ                                 CLASS 3          100,000.00          1,208.33               0.00                98,791.67
BIRKMEYER             JOHN BIRKMEYER                                   CLASS 3            42,000.00         1,073.33               0.00                40,926.67
BIRNBRICH             ANTOINETTE BIRNBRICH                             CLASS 3            25,000.00          479.17                0.00                24,520.83
BIRNBRICH             THE ANTOINETTE BIRNBRICH RT DTD 08/29/16         CLASS 3            28,000.00         1,473.93               0.00                26,526.07
BIRRENKOTT            RANDY BIRRENKOTT                                 CLASS 3           112,000.00         3,397.32               0.00               108,602.68
BIRRENKOTT            RICK BIRRENKOTT                                  CLASS 3          150,000.00          4,462.48               0.00               145,537.52

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BIRRENKOTT            RICK BIRRENKOTT                                   CLASS 5           100,000.00         2,974.99               0.00                97,025.01
BISHOP                HORIZON TR CO-FBO RICHARD P BISHOP IRA            CLASS 3            25,000.00         3,359.88               0.00                21,640.12
BISHOP                HORIZON TR CO-FBO RICHARD P BISHOP IRA            CLASS 5           200,000.00       26,879.04                0.00               173,120.96
BISHOP                PROV. TR GP-FBO WADE BISHOP IRA                   CLASS 5           293,000.00       85,843.34                0.00               207,156.66
BITZ                  CHRISTIAN HARTMUT RICHARD BITZ                    CLASS 3           100,000.00              0.00              0.00               100,000.00
BIXBY                 JILL R BIXBY                                      CLASS 3          100,000.00         2,000.01                0.00                97,999.99
BIXBY                 MAINSTAR-FBO JILL R BIXBY T2175744                CLASS 3            60,000.00        3,733.33                0.00                56,266.67
BLACK                 BLACK FRT DTD 05/05/04                            CLASS 3          370,000.00        59,828.16                0.00               310,171.84
BLACK                 BRENDA BLACK                                      CLASS 3          130,000.00        15,763.76                0.00               114,236.24
BLACK                 IRA SVCS TR CO-CFBO DONALD W BLACK IRA            CLASS 3           100,000.00         9,673.72               0.00                90,326.28
BLACK                 RODNEY BLACK                                      CLASS 3         1,142,000.00      205,935.17          6,125.91                 929,938.92
BLACK                 RODNEY BLACK                                      CLASS 5          500,000.00        90,164.26          2,682.10                 407,153.64
BLACK                 SUSAN BLACK                                       CLASS 5            50,000.00       15,416.79                0.00                34,583.21
BLACKBURN             LARRY W BLACKBURN                                 CLASS 3            55,000.00         2,520.80               0.00                52,479.20
BLACKBURN             MAINSTAR-FBO RAYMOND C BLACKBURN                  CLASS 5         1,200,000.00      185,000.00                0.00             1,015,000.00
BLACKBURN             RAYMOND C & CYDNEI K BLACKBURN                    CLASS 5         3,100,000.00      589,083.25                0.00             2,510,916.75
BLACKFORD             RICHARD D & SHERI L BLACKFORD                     CLASS 5           300,000.00       33,050.05                0.00               266,949.95
BLACKMAN              PROV. TR GP-FBO KATHERINE P BLACKMAN IRA          CLASS 3            74,500.00         7,116.82               0.00                67,383.18
BLACKMORE             MAINSTAR-FBO DAVID BLACKMORE T2176496             CLASS 3            99,950.00         4,747.63               0.00                95,202.37
BLACKWELL             NANCY BLACKWELL                                   CLASS 3            50,000.00         1,258.33               0.00                48,741.67
BLACKWELL             PROV. TR GP-FBO JAMES C BLACKWELL IRA             CLASS 3           151,000.00         2,517.02               0.00               148,482.98
BLACKWELL             TMICO-FBO RICKY BLACKWELL TR IRA                  CLASS 5           100,000.00       39,611.46                0.00                60,388.54
BLAINE                MAINSTAR-FBO MELISSA BLAINE T2174689              CLASS 3          225,000.00        21,402.00                0.00               203,598.00
BLAIR                 LAURA BLAIR                                       CLASS 3            61,150.00        4,188.78                0.00                56,961.22
BLAIR                 MAINSTAR-FBO LAURA BLAIR                          CLASS 3            50,000.00         3,391.67               0.00                46,608.33
BLAIWES               ROBIN BLAIWES                                     CLASS 3          100,000.00        15,389.34                0.00                84,610.66
BLAKE                 MAINSTAR-FBO SUSAN B BLAKE TW004168               CLASS 3            46,500.00          245.42                0.00                46,254.58
BLAKEMAN              BLAKEMAN PLUMBING & HEATING                       CLASS 3            75,000.00       11,252.07                0.00                63,747.93
BLAKEMAN              DAVID R BLAKEMAN DBA BLAKEMAN PROP                CLASS 3            50,000.00         7,501.37               0.00                42,498.63

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                                        Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition         Other
                                                                                      Principal        "Interest"       Prepetition
                                                                                      Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BLAKEMAN              DAVID R BLAKEMAN DBA S.E.S                       CLASS 3            40,000.00         6,001.13              0.00                33,998.87
BLAKEMAN              DAVID RAYMOND BLAKEMAN                           CLASS 3            27,674.50         4,050.50              0.00                23,624.00
BLAKEMAN              RANDY BLAKEMAN                                   CLASS 3            50,000.00         7,327.71        1,000.00                  41,672.29
BLAKLEY               MAINSTAR-FBO MACLOVIA BLAKLEY                    CLASS 3          149,000.00        16,838.27               0.00               132,161.73
BLAKLEY               MAINSTAR-FBO MACLOVIA BLAKLEY                    CLASS 5          210,000.00        23,731.80               0.00               186,268.20
BLAKNEY               KAREN BLAKNEY                                    CLASS 3            25,000.00          602.76               0.00                24,397.24
BLANCHARD             STEVEN BLANCHARD                                 CLASS 3            50,000.00         6,927.07              0.00                43,072.93
BLANCHARD             STEVEN BLANCHARD                                 CLASS 5            50,000.00         6,927.07              0.00                43,072.93
BLANCO                DALE BLANCO                                      CLASS 3          150,000.00        21,003.56               0.00               128,996.44
BLAND                 PROV. TR GP-FBO PATRICIA BLAND IRA               CLASS 3            71,000.00         3,476.04              0.00                67,523.96
BLASI                 IRA SVCS TR CO-CFBO JERRY BLASI IRA              CLASS 3            75,000.00         8,179.17              0.00                66,820.83
BLAVIN                MARLENA BLAVIN                                   CLASS 3            40,000.00         5,730.00              0.00                34,270.00
BLAZEK                PROV. TR GP-FBO WILLIAM J BLAZEK IRA             CLASS 3            25,000.00         5,925.00              0.00                19,075.00
BLEHM                 DR KENNETH BLEHM                                 CLASS 3          705,000.00       155,051.32               0.00               549,948.68
BLEHM                 DR KENNETH BLEHM                                 CLASS 5          150,000.00        32,989.64               0.00               117,010.36
BLEHM                 GERALD A BLEHM                                   CLASS 3            75,000.00         1,267.36              0.00                73,732.64
BLEILER               STEVEN & MARY BLEILER                            CLASS 3            40,000.00         5,361.07              0.00                34,638.93
BLENCH                SHERMAN BLENCH TR                                CLASS 3            30,000.00         2,020.00              0.00                27,980.00
BLEND                 MICHAEL J & LESLY C BLEND                        CLASS 3            50,000.00         1,066.67              0.00                48,933.33
BLESSMAN              SANDRA E BLESSMAN                                CLASS 3            30,000.00         1,262.08              0.00                28,737.92
BLEVINS               JAMES DAVID & MELANIE ANN BLEVINS                CLASS 3            50,000.00         5,265.00              0.00                44,735.00
BLEVINS               ORVILLE L & TARSHA JAN BLEVINS                   CLASS 5            72,808.52         1,516.85              0.00                71,291.67
BLEVINS               WILLIAM F BLEVINS                                CLASS 3          200,000.00        22,136.04               0.00               177,863.96
BLICKENDORF           HEATHER G BLICKENDORF                            CLASS 3           240,000.00       46,781.02               0.00               193,218.98
BLICKENDORF           PROV. TR GP-FBO CARL W BLICKENDORF IRA           CLASS 3           106,000.00       21,791.25               0.00                84,208.75
BLICKENDORF           PROV. TR GP-FBO HEATHER BLICKENDORF IRA          CLASS 3            74,000.00       15,552.33               0.00                58,447.67
BLIGHT                CHARLES C & SAYURI BLIGHT                        CLASS 3           158,000.00         8,492.46              0.00               149,507.54
BLIGHT                MAINSTAR-FBO SAYURI BLIGHT T2175982              CLASS 3           105,000.00         5,089.58              0.00                99,910.42
BLINDBURY             BLINDBURY FT DTD 04/11/91                        CLASS 3            50,000.00          505.56               0.00                49,494.44

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BLOCK                 CARLA & NORMAN BLOCK                               CLASS 3           150,000.00       32,394.89                0.00               117,605.11
BLOCK                 CARLA & NORMAN BLOCK                               CLASS 5            50,000.00       10,798.30                0.00                39,201.70
BLOOM                 JEFFREY I BLOOM RT                                 CLASS 3            35,000.00         3,854.84               0.00                31,145.16
BLOOM                 LINDA & STEVEN BLOOM                               CLASS 3           100,000.00         5,981.28               0.00                94,018.72
BLOOM                 MAINSTAR-FBO MARY BLOOM T2177459                   CLASS 3            62,810.08         1,789.06               0.00                61,021.02
BLOOM                 MARY BLOOM                                         CLASS 3            50,000.00          740.27                0.00                49,259.73
BLUE                  STEPHEN M & MARIE B BLUE FT                        CLASS 3           100,000.00         2,643.03               0.00                97,356.97
BLY                   MARGARET A BLY                                     CLASS 3          200,000.00          2,261.12               0.00               197,738.88
BLYTHE                SUSAN S BLYTHE                                     CLASS 3          100,000.00          4,216.67               0.00                95,783.33
BOATWRIGHT            CONSTANCE E BOATWRIGHT                             CLASS 3           200,000.00       11,300.00                0.00               188,700.00
BOATWRIGHT            PROV. TR GP-FBO CONSTANCE BOATWRIGHT IRA           CLASS 3            27,780.00         1,673.75               0.00                26,106.25
BOATZ                 PROV. TR GP-FBO ALAN BOATZ IRA                     CLASS 3            52,810.00         7,094.14               0.00                45,715.86
BOBENCHIK             ROSLYN BOBENCHIK                                   CLASS 3           600,000.00       25,097.20                0.00               574,902.80
BOCHENSKY             CHRISTINE M BOCHENSKY                              CLASS 3            50,000.00              0.00              0.00                50,000.00
BOCHNAK               IRA SVCS TR CO-CFBO BRUCE E BOCHNAK IRA            CLASS 3           310,000.00       29,449.32                0.00               280,550.68
BOCKENSTETTE          MARK J & MARY KAY BOCKENSTETTE                     CLASS 3            40,000.00        6,600.00                0.00                33,400.00
BOCTOR                FRANZ BOCTOR                                       CLASS 3            25,000.00         1,489.63               0.00                23,510.37
BODELIN               PROV. TR GP-FBO JACQUELINE M BODELIN IRA           CLASS 3           108,440.00         2,060.36               0.00               106,379.64
BODELIN               ROBERT E & JACQUELINE M BODELIN                    CLASS 3            50,000.00          958.33                0.00                49,041.67
BODIN                 MAINSTAR-FBO NICHOLAS BODIN                        CLASS 5            85,000.00       14,993.03                0.00                70,006.97
BODIN                 NICHOLAS BODIN                                     CLASS 5          100,000.00        33,722.12                0.00                66,277.88
BODIN                 PROV. TR GP-FBO NICHOLAS BODIN IRA                 CLASS 5            70,000.00       20,303.98                0.00                49,696.02
BODINE                ROBERT W & BRADLEY W BODINE                        CLASS 3           250,000.00         7,335.05               0.00               242,664.95
BODMER                LELAND H BODMER                                    CLASS 3            25,000.00         1,319.48               0.00                23,680.52
BOEDDEKER             JOHN JAY BOEDDEKER                                 CLASS 3            37,000.00         6,390.20               0.00                30,609.80
BOEDDEKER             KELLY M BOEDDEKER                                  CLASS 3            25,000.00         1,375.82               0.00                23,624.18
BOEDDEKER             KRISTINA J BOEDDEKER                               CLASS 5           100,000.00       11,432.88                0.00                88,567.12
BOEDDEKER             PROV. TR GP-FBO JOHN J BOEDDEKER IRA               CLASS 3           131,000.00       16,659.11                0.00               114,340.89
BOEDEKER              THE KENNETH & ROSANNE BOEDEKER RLT                 CLASS 3            50,000.00        6,800.00                0.00                43,200.00

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BOEHM                 RUSSELL W & TERRY BLAKE BOEHM                      CLASS 3           350,000.00       45,422.17               0.00               304,577.83
BOEHM                 RUSSELL W BOEHM                                    CLASS 3            50,000.00       10,033.36         1,000.00                  38,966.64
BOELTER               DOUGLAS L & SHEILA A BOELTER                       CLASS 5           500,000.00       97,222.30               0.00               402,777.70
BOGAN                 PROV. TR GP-FBO GINGER BOGAN IRA                   CLASS 3            59,500.00         7,589.56              0.00                51,910.44
BOGARD                LINDA L BOGARD                                     CLASS 3            50,000.00         6,650.06              0.00                43,349.94
BOGGS                 PROV. TR GP-FBO JERRY LEE BOGGS IRA                CLASS 3           174,000.00       12,416.83               0.00               161,583.17
BOGGS                 PROV. TR GP-FBO MICHELLE BOGGS IRA                 CLASS 3            64,300.00       22,391.13               0.00                41,908.87
BOGGS                 PROV. TR GP-FBO MICHELLE BOGGS IRA                 CLASS 5           160,000.00       55,716.65               0.00               104,283.35
BOGHOSIAN             THE BEATRICE A BOGHOSIAN RLT                       CLASS 3           225,000.00       60,427.05               0.00               164,572.95
BOHLANDER             ROBERT F BOHLANDER                                 CLASS 3            25,000.00          631.96               0.00                24,368.04
BOICE                 THE GEORGE D & LORRAINE BOICE JOINT LT             CLASS 5           100,000.00       15,638.83               0.00                84,361.17
BOLDUC                ANN M BOLDUC                                       CLASS 3            60,000.00         2,182.50              0.00                57,817.50
BOLGEN                MARK D BOLGEN                                      CLASS 3           200,000.00         2,722.23              0.00               197,277.77
BOLLENBERG            VIVIEN BOLLENBERG                                  CLASS 3           150,000.00         9,916.63              0.00               140,083.37
BOLON                 MAINSTAR-FBO FRANK BOLON T2175281                  CLASS 3           220,265.27       15,701.91               0.00               204,563.36
BOLTZ                 JULIANNE BOLTZ                                     CLASS 3            25,000.00          444.46               0.00                24,555.54
BOLTZ                 RONALD O & JOHN M BOLTZ                            CLASS 3            40,000.00          938.91               0.00                39,061.09
BOLYARD               IRA SVCS TR CO-CFBO GREGORY BOLYARD IRA            CLASS 3           119,415.00         5,181.30              0.00               114,233.70
BOLYARD               IRA SVCS TR CO-CFBO LOIS BOLYARD IRA               CLASS 3            49,000.00         1,395.09              0.00                47,604.91
BOMSTA                ZACK D BOMSTA                                      CLASS 3          250,000.00         4,000.00               0.00               246,000.00
BONAS                 PROV. TR GP-FBO KEVIN BONAS IRA                    CLASS 3            67,000.00         1,795.97              0.00                65,204.03
BONCARO               PHILIP J BONCARO SR                                CLASS 3            25,000.00          821.51               0.00                24,178.49
BONETSKY              PROV. TR GP-FBO HENYA BONETSKY IRA                 CLASS 3            60,000.00          575.00               0.00                59,425.00
BONNELL               CATHERINE F BONNELL IRREV TR                       CLASS 3           200,000.00         8,866.67              0.00               191,133.33
BONO                  CHERIE L BONO RT 12/02/05                          CLASS 3            50,000.00         7,466.67              0.00                42,533.33
BONO                  PROV. TR GP-FBO CHERIE BONO IRA                    CLASS 3           150,000.00       18,345.00               0.00               131,655.00
BOOKS                 CHRISTOPHER M & ANN M BOOKS                        CLASS 3           300,000.00         4,061.10              0.00               295,938.90
BOOR                  CAROLE BOOR                                        CLASS 3            25,000.00         1,203.09              0.00                23,796.91
BOOR                  GARY & BARB BOOR                                   CLASS 3            25,000.00          191.67               0.00                24,808.33

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BOOR                  MARK A BOOR                                        CLASS 3          235,000.00         9,479.15               0.00               225,520.85
BOOTH                 ELIZABETH BOOTH                                    CLASS 3            25,000.00          364.58               0.00                24,635.42
BOOTH                 PAUL E BOOTH                                       CLASS 3            40,000.00          994.46               0.00                39,005.54
BOOTH                 THE BOOTH TR                                       CLASS 3          100,000.00          2,500.02              0.00                97,499.98
BOOTHE                CLAY BOOTHE                                        CLASS 3            27,000.00          351.00               0.00                26,649.00
BORCHELT              BENJAMIN M & NICOLE R BORCHELT                     CLASS 3           150,000.00       28,129.71               0.00               121,870.29
BORCHERT              SHERRY BORCHERT                                    CLASS 3            50,000.00          213.89               0.00                49,786.11
BORGES-PRATER         PROV. TR GP-FBO MARY BORGES-PRATER IRA             CLASS 3          159,000.00        40,178.97               0.00               118,821.03
BORIS/BURBA           JAN BORIS & NANCY L BURBA                          CLASS 3            95,000.00         5,108.21              0.00                89,891.79
BORNE                 THERESA A & RONALD L BORNE                         CLASS 3            50,000.00       33,415.23               0.00                16,584.77
BOROS                 MAINSTAR-FBO STEPHEN R BOROS TW003191              CLASS 3            25,000.00         3,281.00              0.00                21,719.00
BOROS                 MAINSTAR-FBO STEPHEN R BOROS TW003191              CLASS 5           115,000.00       15,092.59               0.00                99,907.41
BOROUJERDI            HASSAN BOROUJERDI MD INC DBP TR                    CLASS 3           250,000.00         2,812.51              0.00               247,187.49
BORREGGINE            PROV. TR GP-FBO LOUIS V BORREGGINE IRA             CLASS 3           236,970.00       40,251.94               0.00               196,718.06
BORYS                 DANIEL F & JOANN T BORYS                           CLASS 3           300,000.00      110,350.75               0.00               189,649.25
BORYS                 DANIEL F & JOANN T BORYS                           CLASS 5           100,000.00       36,783.58               0.00                63,216.42
BOSICK                PROV. TR GP-FBO MICHAEL C BOSICK IRA               CLASS 3           339,683.60       57,352.93               0.00               282,330.67
BOSLEY                MAINSTAR-FBO BARRY BOSLEY T2177591                 CLASS 3            25,000.00          378.47               0.00                24,621.53
BOSMA                 HORIZON TR CO-FBO JANE BOSMA IRA                   CLASS 3            49,800.00         2,552.25              0.00                47,247.75
BOSMA                 JANE M BOSMA                                       CLASS 3          100,000.00        16,545.42               0.00                83,454.58
BOSO                  MAINSTAR-FBO EDWIN BOSO                            CLASS 3           253,169.48       16,719.73               0.00               236,449.75
BOSO                  MAINSTAR-FBO PEGGY BOSO TW003892                   CLASS 3          250,000.00        11,093.75               0.00               238,906.25
BOST                  IRA SVCS TR CO-CFBO CLYDE R BOST                   CLASS 3            30,000.00         1,590.00        1,000.00                  27,410.00
BOST                  IRA SVCS TR CO-CFBO SELENA K BOST IRA              CLASS 3            35,500.00         2,402.17              0.00                33,097.83
BOST                  PROV. TR GP-FBO TIMOTHY J BOST IRA                 CLASS 3           133,000.00       16,780.17               0.00               116,219.83
BOST                  TIMOTHY J BOST                                     CLASS 5            50,000.00       11,235.60               0.00                38,764.40
BOSTIC                WALTER E & MEREDITH M BOSTIC                       CLASS 3           200,000.00       17,785.66               0.00               182,214.34
BOSTIC                WALTER E & MEREDITH M BOSTIC                       CLASS 5           100,000.00         8,892.83              0.00                91,107.17
BOSTWICK              GEORGE I & MARILYN L BOSTWICK                      CLASS 3            45,529.00         7,274.60              0.00                38,254.40

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BOSTWICK              PROV. TR GP-FBO GEORGE I BOSTWICK IRA             CLASS 3            40,000.00         7,542.56              0.00                32,457.44
BOTCHIS/HAWTHORNE     ELIZABETH BOTCHIS & JENNIFER HAWTHORNE            CLASS 3           100,000.00         3,214.98              0.00                96,785.02
BOTCHIS/HAWTHORNE     ELIZABETH BOTCHIS & JENNIFER HAWTHORNE            CLASS 5            60,000.00         1,928.99              0.00                58,071.01
BOTELLO               CATHERINE BOTELLO                                 CLASS 3          300,000.00           208.33               0.00               299,791.67
BOTTARO               DONALD A & FLORENCE H BOTTARO                     CLASS 3           275,000.00       13,059.02               0.00               261,940.98
BOTTASS               MAINSTAR-FBO CHERYL J BOTTASS BT175635            CLASS 3           230,611.54       11,393.26               0.00               219,218.28
BOTTENFIELD           IRA SVCS TR CO-CFBO JOY BOTTENFIELD               CLASS 3           199,000.00         1,299.03              0.00               197,700.97
BOTWINICK             FRANCINE & ROBERT BOTWINICK                       CLASS 3           125,000.00         5,156.25              0.00               119,843.75
BOTWINICK             PROV. TR GP-FBO RANDY C BOTWINICK SEP IRA         CLASS 3          500,363.84        45,043.76               0.00               455,320.08
BOTWINICK             RANDY C BOTWINICK                                 CLASS 3           473,000.00       27,056.30               0.00               445,943.70
BOUCHER               ROBERT & SIMONE BOUCHER                           CLASS 3            25,000.00         1,573.27              0.00                23,426.73
BOUDREAUX             SUSAN BOUDREAUX                                   CLASS 3            50,000.00         1,025.00              0.00                48,975.00
BOUGHTON              BRUCE BOUGHTON                                    CLASS 3           175,000.00         2,625.00              0.00               172,375.00
BOURGEOIS             IRA SVCS TR CO-CFBO KIMBERLY F BOURGEOIS          CLASS 3            32,000.00         5,084.37              0.00                26,915.63
BOURGEOIS             THE EWELL P & BETTY L BOURGEOIS RT                CLASS 3           100,000.00       10,913.16               0.00                89,086.84
BOUSUM                GAIL SUSAN BOUSUM                                 CLASS 3            50,000.00          211.81               0.00                49,788.19
BOWEN                 KRISTIN BOWEN                                     CLASS 3          110,000.00          1,775.28              0.00               108,224.72
BOWEN                 RICHARD BOWEN                                     CLASS 3            50,000.00         1,205.57              0.00                48,794.43
BOWEN                 WILLIAM BOWEN                                     CLASS 3            60,000.00        1,500.00               0.00                58,500.00
BOWER                 JOHN R & SANDRA K BOWER                           CLASS 3           150,000.00       22,749.97               0.00               127,250.03
BOWERS                BOWERS FT                                         CLASS 3            53,000.00       10,513.10               0.00                42,486.90
BOWERS                DANIEL W & DARYL L BOWERS                         CLASS 3            94,500.00       35,910.32               0.00                58,589.68
BOWERS                DAVID & MAE BOWERS                                CLASS 3            25,000.00          659.74               0.00                24,340.26
BOWERS                HERSHEY & FREDA BOWERS                            CLASS 3         1,400,000.00       39,599.27               0.00             1,360,400.73
BOWERS                LEE A BOWERS                                      CLASS 3            65,000.00         1,119.43              0.00                63,880.57
BOWERS                ROBERT L BOWERS                                   CLASS 3           100,000.00         6,791.67              0.00                93,208.33
BOWERS                ROY & EDITH BOWERS                                CLASS 3            55,000.00         1,173.33              0.00                53,826.67
BOWLES                SCOT D & ANDREA L BOWLES                          CLASS 5           100,000.00       13,194.39               0.00                86,805.61
BOWMAN                IRA SVCS TR CO-CFBO JAMES P BOWMAN                CLASS 3           154,500.00         2,781.00              0.00               151,719.00

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]                [3]          [1] minus [2] minus [3]
BOWMAN                LUKE M BOWMAN                                       CLASS 3          225,000.00        26,040.19                 0.00               198,959.81
BOXSTEIN              GERALD BOXSTEIN                                     CLASS 3            25,000.00         2,215.80                0.00                22,784.20
BOXSTEIN              THE GERALD BOXSTEIN TR 1991                         CLASS 3            25,000.00         1,208.33                0.00                23,791.67
BOYCE                 RICHARD A BOYCE                                     CLASS 3            25,000.00          733.33                 0.00                24,266.67
BOYD                  JOSEPH P BOYD                                       CLASS 3          100,000.00         6,650.00                 0.00                93,350.00
BOYD                  RANDELL L BOYD                                      CLASS 5          100,000.00        24,055.46                 0.00                75,944.54
BOYDSTUN              JAMES BOYDSTUN                                      CLASS 3            40,000.00         2,880.00                0.00                37,120.00
BOYETT                DORIS BOYETT                                        CLASS 3            71,921.51         1,108.78                0.00                70,812.73
BOYLE                 PROV. TR GP-FBO JOAN E BOYLE IRA                    CLASS 3           125,000.00       17,010.39                 0.00               107,989.61
BOYLE                 PROV. TR GP-FBO STEPHEN M BOYLE IRA                 CLASS 3            71,000.00         8,974.16                0.00                62,025.84
BOYLE                 STEPHEN & JOAN BOYLE                                CLASS 3            70,000.00         9,936.17                0.00                60,063.83
BRACKMAN              JAMES R & KATHLEEN A BRACKMAN                       CLASS 5            50,000.00         3,644.48                0.00                46,355.52
BRACKMAN              JAMES R BRACKMAN                                    CLASS 3          100,000.00           952.77                 0.00                99,047.23
BRACKMAN              VERNON BRACKMAN                                     CLASS 3            30,000.00              30.00              0.00                29,970.00
BRADFORD              ELIZABETH L BRADFORD                                CLASS 3           150,000.00         7,843.75                0.00               142,156.25
BRADFORD              JAMES & RUTHANNE BRADFORD                           CLASS 3            25,000.00              45.14              0.00                24,954.86
BRADFORD              VERA & BRYAN BRADFORD                               CLASS 3           100,000.00       10,268.11                 0.00                89,731.89
BRADLEY               PROV. TR GP-FBO STEPHEN J BRADLEY IRA               CLASS 3           488,000.00       86,519.70                 0.00               401,480.30
BRADLEY               SALLY SUE BRADLEY                                   CLASS 3            25,000.00          302.09                 0.00                24,697.91
BRADLEY               STANLEY J BRADLEY                                   CLASS 3            25,000.00         2,897.80                0.00                22,102.20
BRAGADO               MARIPAZ BRAGADO                                     CLASS 3            50,000.00          833.33                 0.00                49,166.67
BRAGADO               MILAGROS BRAGADO                                    CLASS 3           150,000.00         2,250.00                0.00               147,750.00
BRAGG                 YOLANDA BRAGG                                       CLASS 3            50,000.00         1,144.43                0.00                48,855.57
BRAKER                ROBERT CHARLES BRAKER                               CLASS 3            40,000.00         2,152.25                0.00                37,847.75
BRANCKE               JOHN S BRANCKE RT                                   CLASS 3          390,000.00        41,941.19                 0.00               348,058.81
BRAND                 LEO J BRAND II                                      CLASS 3            25,000.00        1,345.83                 0.00                23,654.17
BRAND                 PAUL A BRAND                                        CLASS 3            25,000.00              83.33              0.00                24,916.67
BRANDEBERY            MARY LOU & DAVID KENT BRANDEBERY                    CLASS 3           200,000.00       24,783.33                 0.00               175,216.67
BRANDT                MAINSTAR-FBO CHERYL BRANDT                          CLASS 3            51,800.00         5,503.75                0.00                46,296.25

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                                         Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BRANNAN               PROV. TR GP-FBO JAMES RUSSELL BRANNAN IRA         CLASS 3            50,000.00         6,323.56               0.00                43,676.44
BRANTLEY              PROV. TR GP-FBO SUSAN E BRANTLEY IRA              CLASS 3            49,000.00         7,015.17               0.00                41,984.83
BRANTNER              THE BRANTNER FT 02/07/01                          CLASS 3            65,000.00         7,056.08               0.00                57,943.92
BRAUN                 GILBERT E BRAUN                                   CLASS 3           180,000.00         8,097.50               0.00               171,902.50
BRAUN                 JOHN M BRAUN JR                                   CLASS 3           100,000.00       10,883.67                0.00                89,116.33
BRAUN                 TMICO-FBO ARLIN D BRAUN TRAD IRA #0015649         CLASS 5           400,000.00       90,889.04                0.00               309,110.96
BRAUN                 TMICO-FBO SARA L BRAUN IRA                        CLASS 5           100,000.00       20,072.36                0.00                79,927.64
BRAY                  CHARLES E & LESLIE C BRAY                         CLASS 3            50,000.00              0.00              0.00                50,000.00
BRAZEE                ROBERT P BRAZEE                                   CLASS 3            75,000.00         7,312.50               0.00                67,687.50
BREMER                RICHARD R & CATHARINE E BREMER                    CLASS 3            50,000.00         9,007.46               0.00                40,992.54
BREMNER               BRUCE B & TREVA A BREMNER                         CLASS 3           200,000.00         4,688.90               0.00               195,311.10
BREMSON               LEE BREMSON                                       CLASS 3          100,000.00          6,234.03               0.00                93,765.97
BREMSON               NATALIE L & DAVID B BREMSON                       CLASS 3            50,000.00         3,248.74               0.00                46,751.26
BREMSON               PROV. TR GP-FBO DAVID BREMSON IRA                 CLASS 3           241,552.21       15,858.57                0.00               225,693.64
BRENDSAL              PROV. TR GP-FBO SUSAN BRENDSAL IRA                CLASS 5           123,000.00       45,343.89                0.00                77,656.11
BRENNAN               LOIS BRENNAN                                      CLASS 3            45,000.00         6,173.83               0.00                38,826.17
BRENNAN               LOIS BRENNAN                                      CLASS 5            50,000.00         6,859.82               0.00                43,140.18
BRENNAN               THE PHUONGANH NGUYEN BRENNAN RLT                  CLASS 3           200,000.00       10,700.00                0.00               189,300.00
BRENNER               MAINSTAR-FBO LANNY L BRENNER T2177753             CLASS 3           427,353.81       10,137.78                0.00               417,216.03
BRENSDAL              PROV. TR GP-FBO LAWRENCE E BRENSDAL IRA           CLASS 5            69,600.00       21,691.96                0.00                47,908.04
BRENTON               PROV. TR GP-FBO JAMES & SHEILA BRENTON ICA        CLASS 3            30,000.00         4,775.00               0.00                25,225.00
BREWER                BARBARA K BREWER                                  CLASS 3            50,000.00         8,361.20               0.00                41,638.80
BREWER                GAYLE M & JOSEPH F BREWER                         CLASS 3            40,000.00         2,294.41               0.00                37,705.59
BREWER                PROV. TR GP-FBO BARBARA BREWER INH IRA            CLASS 3            50,600.00         4,024.00               0.00                46,576.00
BREYER                HARRY BREYER RLT                                  CLASS 3         2,400,000.00      153,102.78          3,000.00               2,243,897.22
BREYER                HARRY BREYER RLT                                  CLASS 3*          200,000.00       13,363.92                0.00               186,636.08
BREYER                JANE & HARRY BREYER                               CLASS 3            50,000.00         2,946.55               0.00                47,053.45
BREYER                KERMIT R BREYER                                   CLASS 3           100,000.00       16,682.33                0.00                83,317.67
BREYER                MARY KAY BREYER                                   CLASS 3            25,000.00         2,300.00               0.00                22,700.00

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                                         Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type          [1]               [2]              [3]          [1] minus [2] minus [3]
BRIDGES               BARRY B BRIDGES                                   CLASS 3            35,000.00         3,800.36              0.00                31,199.64
BRIDGES               PROV. TR GP-FBO PAULA L BRIDGES IRA               CLASS 3           207,000.00       29,091.12               0.00               177,908.88
BRIEL                 PROV. TR GP-FBO JEFFREY M BRIEL IRA               CLASS 5          200,000.00        31,927.70               0.00               168,072.30
BRIGHT                PROV. TR GP-FBO WILLIAM BRIGHT IRA                CLASS 3            59,896.41       10,909.73               0.00                48,986.68
BRIM                  RONALD E & KATHERINE H BRIM                       CLASS 3            80,000.00         5,853.33              0.00                74,146.67
BRINATI               WILLIAM J BRINATI TR DTD 01/21/10                 CLASS 3            50,000.00         7,916.67              0.00                42,083.33
BRINDLE               BRINDLE FRLT                                      CLASS 3            50,000.00          612.51               0.00                49,387.49
BRINGLE               KENNETH W BRINGLE                                 CLASS 3            50,000.00         2,991.67              0.00                47,008.33
BRINK                 JANET P BRINK RT 01/19/94-JANET BRINK TR          CLASS 5            50,000.00       14,916.78               0.00                35,083.22
BRINK                 MAINSTAR-FBO JANET P BRINK T1127700               CLASS 3            27,561.16         5,627.03              0.00                21,934.13
BRINK                 MAINSTAR-FBO ROGER W BRINK T1127800               CLASS 3          114,854.47        23,261.90               0.00                91,592.57
BRINK                 ROGER W & JANET P BRINK                           CLASS 3          200,000.00        41,502.83               0.00               158,497.17
BRINK                 ROGER W & JANET P BRINK                           CLASS 5          100,000.00        20,751.41               0.00                79,248.59
BRINK                 ROGER W BRINK RT 01/19/94-ROGER BRINK TR          CLASS 5            50,000.00       14,916.78               0.00                35,083.22
BRINKERHOFF           CHRIS BRINKERHOFF                                 CLASS 3           210,000.00       11,200.00               0.00               198,800.00
BRINTNALL             CHRISTINE M & TIMOTHY PETER BRINTNALL             CLASS 3            25,000.00         2,722.96              0.00                22,277.04
BRINTNALL             HORIZON TR CO-FBO CHRISTINE M BRINTNALL           CLASS 3            53,100.00          918.93               0.00                52,181.07
BRITTON               KENT BRITTON                                      CLASS 3            80,000.00       10,466.62               0.00                69,533.38
BRITTON               PROV. TR GP-FBO KENT R BRITTON IRA                CLASS 3           125,000.00       33,241.80               0.00                91,758.20
BRITTON               PROV. TR GP-FBO KENT R BRITTON IRA                CLASS 5          500,000.00       132,967.19               0.00               367,032.81
BROAD                 GOLDSTAR TR CO-FBO MAAME B BROAD IRA              CLASS 5          100,000.00        13,847.22               0.00                86,152.78
BROADWAY              HOLLY A BROADWAY                                  CLASS 3           100,000.00       12,166.66               0.00                87,833.34
BROADWELL             MAINSTAR-FBO WALTER B BROADWELL T2178323          CLASS 3          160,000.00           866.67               0.00               159,133.33
BROADWELL             MARY JANE BROADWELL TR UAD 07/15/11               CLASS 3            50,000.00         3,722.17              0.00                46,277.83
BROADWELL             WALTER & MARY JANE BROADWELL                      CLASS 3            25,000.00         1,861.17              0.00                23,138.83
BROCK/JORDAN          GLADYS BROCK & PAMELA JORDAN                      CLASS 3            30,000.00          518.76               0.00                29,481.24
BROCKMAN              PROV. TR GP-FBO LINDA J BROCKMAN IRA              CLASS 3            80,000.00         8,511.11              0.00                71,488.89
BROCKSON              APRIL BROCKSON                                    CLASS 3          200,000.00          4,066.67              0.00               195,933.33
BRODAHL               DIANE IRENE BRODAHL                               CLASS 3           100,000.00         3,604.11              0.00                96,395.89

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                                                                                        Total
                                                                                     Outstanding       Prepetition         Other
                                                                                      Principal        "Interest"       Prepetition
                                                                                      Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BRODIE                PAULA BRODIE RT-EVAN BRODIE TTEE                 CLASS 5           500,000.00      158,222.41               0.00               341,777.59
BRODIE                PROV. TR GP-FBO EVAN BRODIE IRA                  CLASS 5           725,000.00      238,319.34               0.00               486,680.66
BRODIE                THE EVAN BRODIE RT                               CLASS 5           975,000.00      245,458.03               0.00               729,541.97
BRODNAN               CAROL A BRODNAN                                  CLASS 5            50,000.00         7,083.39              0.00                42,916.61
BRODNAN               CAROL ANN BRODNAN                                CLASS 5           267,451.88       47,780.53               0.00               219,671.35
BROERS                JULIANA & JOHN W BROERS                          CLASS 3            25,000.00         1,594.41              0.00                23,405.59
BROOKS                DEE DEE BROOKS                                   CLASS 3            60,000.00         4,183.33              0.00                55,816.67
BROOKS                INEZ BROOKS                                      CLASS 3          300,000.00        55,416.67               0.00               244,583.33
BROOKS                MAINSTAR-FBO DEE DEE BROOKS R2178298             CLASS 3            50,000.00          748.61               0.00                49,251.39
BROOKS                MARY M BROOKS FT                                 CLASS 3           100,000.00          233.33               0.00                99,766.67
BROOKS                MICHAEL BROOKS                                   CLASS 3           200,000.00       37,000.72               0.00               162,999.28
BROOKS                ROSS BROOKS                                      CLASS 3            37,500.00          331.25               0.00                37,168.75
BROSKI                CAROLINE BROSKI                                  CLASS 3            80,000.00         4,863.75              0.00                75,136.25
BROTMAN               SUSAN J BROTMAN DECL OF TR 06/10/05              CLASS 3            50,000.00         6,620.53              0.00                43,379.47
BROUSSARD             BRENDA KAY BROUSSARD                             CLASS 3           150,000.00       17,975.00               0.00               132,025.00
BROUSSEAU             GERI BROUSSEAU                                   CLASS 3            50,000.00         3,391.67              0.00                46,608.33
BROUSSEAU             SUNWEST TR CHARLES BROUSSEAU IRA                 CLASS 3           447,000.00       57,541.32               0.00               389,458.68
BROUSSEAU             SUNWEST TR CHARLES BROUSSEAU IRA                 CLASS 5           150,000.00       19,309.17               0.00               130,690.83
BROUWER               GERARD J & ROSE LEE BROUWER RLT 09/30/98         CLASS 3            30,000.00         1,700.00              0.00                28,300.00
BROWER                ELAINE BROWER LT DTD 10/01/03                    CLASS 3          280,000.00        43,144.80               0.00               236,855.20
BROWER                PROV. TR GP-FBO ROY BROWER IRA                   CLASS 5          158,650.00        27,668.06               0.00               130,981.94
BROWER                PROV. TR GP-FBO ROY BROWER SEP IRA               CLASS 5           109,171.24       21,954.77               0.00                87,216.47
BROWER                PROV. TR GP-FBO THERESA BROWER IRA               CLASS 3            92,830.78       13,670.59               0.00                79,160.19
BROWN                 ALAN K BROWN                                     CLASS 3            50,000.00         7,725.00              0.00                42,275.00
BROWN                 ALBERT J BROWN                                   CLASS 3            50,000.00          602.78               0.00                49,397.22
BROWN                 BETTY JO BROWN                                   CLASS 3          100,000.00           913.89               0.00                99,086.11
BROWN                 CHARLOTTE A BROWN                                CLASS 3            25,000.00         1,354.21              0.00                23,645.79
BROWN                 CRAIG & SANDRA BROWN                             CLASS 5           100,000.00       32,117.85               0.00                67,882.15
BROWN                 DR ANDREA & DARRELL BROWN                        CLASS 5           200,000.00       27,500.05               0.00               172,499.95

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                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
BROWN                 ELAINE BROWN                                      CLASS 3          200,000.00        21,709.67                 0.00               178,290.33
BROWN                 HARLEY CLYDE & ELOISE DEROUEN BROWN               CLASS 3            25,000.00              48.61              0.00                24,951.39
BROWN                 HELEN LOUISE BROWN                                CLASS 3            30,000.00         1,295.00                0.00                28,705.00
BROWN                 HORIZON TR CO-FBO MELINDA S BROWN IRA             CLASS 3            58,202.00         5,024.77          1,000.00                  52,177.23
BROWN                 IRA SVCS TR CO-CFBO LLOYD G BROWN                 CLASS 3            69,000.00          617.17                 0.00                68,382.83
BROWN                 JAMES F BROWN                                     CLASS 3          100,000.00        15,483.33                 0.00                84,516.67
BROWN                 JEFFREY J & MELINDA S BROWN                       CLASS 3            50,000.00         5,102.04                0.00                44,897.96
BROWN                 JESSE BROWN                                       CLASS 3            50,000.00         3,743.10                0.00                46,256.90
BROWN                 JESSICA BROWN                                     CLASS 3            25,000.00         2,328.42                0.00                22,671.58
BROWN                 JOE D & LAVADA C BROWN                            CLASS 3            50,000.00         4,592.93                0.00                45,407.07
BROWN                 JOHN J BROWN                                      CLASS 3            50,000.00         1,058.33                0.00                48,941.67
BROWN                 JOSHUA BROWN                                      CLASS 3            25,000.00          524.99                 0.00                24,475.01
BROWN                 MAINSTAR-FBO ALISA M BROWN T2178345               CLASS 3           308,000.00         1,989.17                0.00               306,010.83
BROWN                 MAINSTAR-FBO CHARLOTTE A BROWN T2176088           CLASS 3            32,733.81         1,618.51                0.00                31,115.30
BROWN                 MAINSTAR-FBO TERRY BROWN TW003697                 CLASS 3           148,400.55         6,585.27                0.00               141,815.28
BROWN                 MICHAEL J BROWN                                   CLASS 3            25,000.00         5,204.23                0.00                19,795.77
BROWN                 NORMAN BROWN                                      CLASS 3            50,000.00         1,266.66                0.00                48,733.34
BROWN                 PHYLLIS R & JACK L BROWN                          CLASS 3           100,000.00       19,208.01                 0.00                80,791.99
BROWN                 PROV. TR GP-FBO MICHAEL J BROWN IRA               CLASS 3            50,000.00         8,958.75                0.00                41,041.25
BROWN                 R KEITH BROWN                                     CLASS 3          150,000.00        22,675.00                 0.00               127,325.00
BROWN                 RICHARD BROWN                                     CLASS 3           100,000.00         2,663.91                0.00                97,336.09
BROWN                 ROSE BROWN                                        CLASS 3            50,000.00          527.77                 0.00                49,472.23
BROWN                 THOMAS R & JANE E BROWN                           CLASS 3            59,000.00         7,447.36                0.00                51,552.64
BROWN/DOMINGUEZ       CONNIE M BROWN & RONALD DOMINGUEZ JR              CLASS 3            25,000.00         1,534.77                0.00                23,465.23
BROWNELL              MAINSTAR-FBO MERRY BROWNELL T2177630              CLASS 3            49,975.00          820.78                 0.00                49,154.22
BROWNING              MICHAEL BROWNING                                  CLASS 3          200,000.00        12,458.30                 0.00               187,541.70
BROWNSHER             KENNETH J BROWNSHER                               CLASS 3           100,000.00         9,112.50                0.00                90,887.50
BRUCATO               GRACE BRUCATO                                     CLASS 3           100,000.00       18,758.21                 0.00                81,241.79
BRUCE                 IRA SVCS TR CO-CFBO HOWARD W BRUCE IRA            CLASS 5           400,000.00       35,888.86                 0.00               364,111.14

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
BRUCE                 JONATHAN D BRUCE                                  CLASS 3            25,000.00         2,413.27               0.00                22,586.73
BRUCKERT              SANDRA M BRUCKERT                                 CLASS 3           200,000.00              0.00              0.00               200,000.00
BRUEGGEN              GREG BRUEGGEN                                     CLASS 3            50,000.00          464.41                0.00                49,535.59
BRUGGINK              PROV. TR GP-FBO GAYLE A R BRUGGINK IRA            CLASS 3           100,000.00         2,555.56               0.00                97,444.44
BRUGGINK              PROV. TR GP-FBO GAYLE R BRUGGINK ROTH IRA         CLASS 3            40,000.00         1,000.00               0.00                39,000.00
BRUGOS                MICHAEL J & SHARON KAY BRUGOS                     CLASS 3           100,000.00       16,492.41                0.00                83,507.59
BRUNER                PROV. TR GP-FBO GLENN A BRUNER IRA                CLASS 3           200,000.00       29,525.00                0.00               170,475.00
BRUNK                 THE BRUNK FLT DTD 07/22/92                        CLASS 3            20,000.00         3,606.67               0.00                16,393.33
BRUNNER               PROV. TR GP-FBO LANCE BRUNNER IRA                 CLASS 3            25,000.00         4,206.25               0.00                20,793.75
BRUNO                 TONY BRUNO                                        CLASS 5          100,000.00        31,333.25                0.00                68,666.75
BRUNS                 DANIEL R & JANE A BRUNS                           CLASS 5           100,000.00       13,060.44                0.00                86,939.56
BRUNS                 TRINA M BRUNS                                     CLASS 3            35,000.00         1,196.88               0.00                33,803.12
BRUNS                 WILLIAM L BRUNS                                   CLASS 3          100,000.00        25,603.46                0.00                74,396.54
BRUNSON               PROV. TR GP-FBO MICHAEL L BRUNSON SEP IRA         CLASS 3            35,000.00         1,174.45               0.00                33,825.55
BRUNSON               PROV. TR GP-FBO WENDY BRUNSON IRA                 CLASS 3            30,000.00         2,080.00               0.00                27,920.00
BRUNSWICK             DEAN BRUNSWICK                                    CLASS 3            25,000.00         2,812.50               0.00                22,187.50
BRUNSWICK             MAINSTAR-FBO BARBARA BRUNSWICK T2178183           CLASS 3           211,809.01         1,029.63               0.00               210,779.38
BRUSSEAU              WILLIAM BRUSSEAU & JOAN METCALFE-BRUSSEAU         CLASS 3            50,000.00          576.38                0.00                49,423.62
BRYAN                 PAUL E & CONNIE E BRYAN                           CLASS 3            33,700.00          575.72                0.00                33,124.28
BRYAN                 SHIRLEY A BRYAN                                   CLASS 5            50,000.00        9,708.35                0.00                40,291.65
BRYAN                 WENDELL E & NANCY J BRYAN                         CLASS 3            50,000.00         8,291.67               0.00                41,708.33
BRYAN                 WENDELL E BRYAN                                   CLASS 3            25,000.00         3,355.25               0.00                21,644.75
BRYNIARSKI            IRA SVCS TR CO-CFBO MAREK BRYNIARSKI              CLASS 3            54,450.00         5,653.75               0.00                48,796.25
BRZOSKA               MAINSTAR-FBO RICHARD W BRZOSKA T2175263           CLASS 3           115,000.00         9,777.50               0.00               105,222.50
BRZOWSKY              MAINSTAR-FBO GINA BRZOWSKY TW003950               CLASS 3          100,000.00          2,716.67               0.00                97,283.33
BTJ                   THE BTJ TR DTD 10/13/15                           CLASS 5          250,000.00        48,263.81                0.00               201,736.19
BUBP                  BRIAN F BUBP                                      CLASS 3            65,000.00       14,616.64                0.00                50,383.36
BUCCI                 PROV. TR GP-FBO DEBI BUCCI IRA                    CLASS 3            74,000.00         3,471.61               0.00                70,528.39
BUCCI                 PROV. TR GP-FBO JOSEPH J BUCCI IRA                CLASS 3            49,077.00         2,367.97               0.00                46,709.03

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                                       Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
                                        Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition           Other
                                                                                      Principal        "Interest"         Prepetition
                                                                                      Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]                [3]          [1] minus [2] minus [3]
BUCHANAN              DOROTHY L & GEORGE M BUCHANAN RLT                CLASS 3            25,000.00         1,641.67                0.00                23,358.33
BUCHANAN              KELLY BUCHANAN                                   CLASS 3           284,000.00       21,431.84                 0.00               262,568.16
BUCHANAN              LEE W & CONNIE R BUCHANAN                        CLASS 5           200,000.00       22,277.82                 0.00               177,722.18
BUCK                  JAY BUCK                                         CLASS 3          120,000.00        14,420.00                 0.00               105,580.00
BUCK                  KELLY BUCK                                       CLASS 3          100,000.00           325.00                 0.00                99,675.00
BUCK                  MAINSTAR-FBO SAMUEL BUCK                         CLASS 3            24,000.00         2,290.00                0.00                21,710.00
BUCKNER               LEROY BUCKNER                                    CLASS 3            50,000.00         8,860.03                0.00                41,139.97
BUDZ                  ROBERT S & MARION T BUDZ                         CLASS 3            90,000.00       11,480.00                 0.00                78,520.00
BUELL                 IRA SVCS TR CO-CFBO MURPHY M BUELL IRA           CLASS 3          345,916.71        19,853.28                 0.00               326,063.43
BUELNA                MARIE M BUELNA                                   CLASS 3            60,000.00         6,216.67                0.00                53,783.33
BUFALO                DOUG BUFALO                                      CLASS 3            30,000.00              70.00              0.00                29,930.00
BUFFORD               BETTY & BERNARD BUFFORD                          CLASS 3            30,000.00          829.17                 0.00                29,170.83
BUFORD                PROV. TR GP-FBO SARAH BUFORD IRA                 CLASS 5            98,500.00       40,220.67                 0.00                58,279.33
BUFORD                PROV. TR GP-FBO WILLIAM BUFORD IRA               CLASS 5           245,000.00      100,041.83                 0.00               144,958.17
BUFORD                WILLIAM H & SARAH N BUFORD                       CLASS 5           200,000.00       86,347.38                 0.00               113,652.62
BUKOWSKI              KAREN BUKOWSKI                                   CLASS 3          130,000.00         3,322.24                 0.00               126,677.76
BULLOCK               WAYNE L BULLOCK                                  CLASS 3            25,000.00              79.17              0.00                24,920.83
BUNCK                 THE BUNCK FLT DTD 10/06/09                       CLASS 3            50,000.00         1,358.33                0.00                48,641.67
BUNDRANT              MAINSTAR-FBO TERRY BUNDRANT                      CLASS 3            46,000.00         3,986.66                0.00                42,013.34
BUNDRANT              TERRY BUNDRANT                                   CLASS 3            58,000.00        3,620.56                 0.00                54,379.44
BUNDY                 KEVIN & LORI BUNDY                               CLASS 3          100,000.00                0.00              0.00               100,000.00
BUONO                 THE BUONO TR DTD 11/11/89                        CLASS 3          100,000.00         3,444.44                 0.00                96,555.56
BURCHAM               RICHARD & SHERLYN M BURCHAM                      CLASS 3            25,000.00         1,561.52                0.00                23,438.48
BURCKHOLTER           JOYCE BURCKHOLTER                                CLASS 3           100,000.00         1,126.39                0.00                98,873.61
BUREAU                MARILYN BUREAU                                   CLASS 3            50,000.00        5,983.33                 0.00                44,016.67
BURGARDT              BURGARDT FAMILY IRREV TR                         CLASS 3            60,000.00         1,241.67                0.00                58,758.33
BURGE                 WARREN BURGE                                     CLASS 3          100,000.00         8,866.67                 0.00                91,133.33
BURGESON              WILLIAM BURGESON                                 CLASS 3          100,000.00         1,500.01                 0.00                98,499.99
BURGESS               PROV. TR GP-FBO DAVID BURGESS IRA                CLASS 3            37,440.00         3,650.40                0.00                33,789.60

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
BURGHARDT             GORDON M BURGHARDT                                CLASS 3            25,000.00         1,260.38              0.00                23,739.62
BURKE                 KAREN BURKE                                       CLASS 3            84,000.00       17,068.37               0.00                66,931.63
BURKETT               MAINSTAR-FBO DOUGLAS R BURKETT T2177406           CLASS 3            48,500.00          994.25               0.00                47,505.75
BURKETT               ROBERT N BURKETT                                  CLASS 3           200,000.00         3,972.21              0.00               196,027.79
BURKHOLDER            CHARLES L & PATRICIA J BURKHOLDER                 CLASS 5           100,000.00         1,861.10              0.00                98,138.90
BURLAGE               REBECCA V BURLAGE                                 CLASS 3            47,150.00       44,678.54               0.00                 2,471.46
BURNETT               BURNETT FAMILY IRREV TR                           CLASS 3            88,000.00          220.00               0.00                87,780.00
BURNEY                PROV. TR GP-FBO HELEN BURNEY IRA                  CLASS 3          325,000.00         8,709.72               0.00               316,290.28
BURNINGHAM            MAINSTAR-FBO KELLY BURNINGHAM T2177103            CLASS 3            60,000.00        1,726.67               0.00                58,273.33
BURNS                 DANIEL T & AICIA R BURNS                          CLASS 5           500,000.00       80,972.29               0.00               419,027.71
BURNS                 MAINSTAR-FBO CINDY L BURNS T2176508               CLASS 3            80,700.00         5,267.92              0.00                75,432.08
BURNS                 MARY K BURNS                                      CLASS 5           500,000.00       97,638.97               0.00               402,361.03
BURNS                 RALPH E BURNS                                     CLASS 3            50,000.00         1,073.23              0.00                48,926.77
BURROWS               KIM & TAMMY BURROWS FT                            CLASS 3           250,000.00         1,500.00              0.00               248,500.00
BURT                  DIANE T BURT                                      CLASS 3           140,000.00         3,033.32              0.00               136,966.68
BURT                  MAINSTAR-FBO DAVID EUGENE BURT T2176584           CLASS 3           471,000.00         9,655.50              0.00               461,344.50
BURT                  SHARON BURT                                       CLASS 3           150,000.00         6,472.92              0.00               143,527.08
BURT                  STEVEN BURT                                       CLASS 3            75,000.00         4,506.25              0.00                70,493.75
BURTON                LINDA G BURTON                                    CLASS 3           100,000.00       13,663.22               0.00                86,336.78
BURTON                LINDA G BURTON                                    CLASS 3*           66,120.57       10,171.46               0.00                55,949.11
BURTON                LINDA G BURTON                                    CLASS 5            50,000.00         6,831.61              0.00                43,168.39
BURTON                PROV. TR GP-FBO CAMERON BURTON INH IRA            CLASS 3            28,320.00         1,526.13              0.00                26,793.87
BURYLO                IRA SVCS TR CO-CFBO DIANE BURYLO IRA              CLASS 3            33,000.00         3,124.92              0.00                29,875.08
BUSCHE/BANKS          MATTHEW T BUSCHE & TAMRA BANKS                    CLASS 3            53,000.00       20,029.16               0.00                32,970.84
BUSCHER               MAINSTAR-FBO GABRIELE D BUSCHER T2178274          CLASS 3           100,000.00          952.77               0.00                99,047.23
BUSH                  BUSH FT DTD 06/13/07                              CLASS 3            50,000.00         2,935.34              0.00                47,064.66
BUSHNELL              ELSWORTH L & SUSAN M BUSHNELL                     CLASS 3            31,700.00         3,618.87              0.00                28,081.13
BUSSE                 HELMUT W & RENATA BUSSE                           CLASS 3           100,000.00          650.00               0.00                99,350.00
BUTCHER               BILL & SUMIKO BUTCHER                             CLASS 3            67,000.00         4,857.50              0.00                62,142.50

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type           [1]               [2]              [3]          [1] minus [2] minus [3]
BUTERA                CHARLES & BETH BUTERA                             CLASS 3           100,000.00         5,163.85              0.00                94,836.15
BUTLER                KATHLEEN BUTLER                                   CLASS 3            25,000.00         1,868.11              0.00                23,131.89
BUTLER                PROV. TR GP-FBO ASTA BUTLER ROTH IRA              CLASS 3            33,000.00        1,599.57               0.00                31,400.43
BUTNER/MCMAHON        RYAN BUTNER & MARY MCMAHON                        CLASS 3          410,000.00        56,727.88               0.00               353,272.12
BYARS                 TESSA LYN & ZACHARY JOSEPH BYARS                  CLASS 3            75,000.00         1,784.71              0.00                73,215.29
BYE                   WILLIAM H BYE                                     CLASS 3            50,000.00        2,624.96               0.00                47,375.04
BYRNES                PATRICIA M BYRNES                                 CLASS 3            75,000.00       14,100.00               0.00                60,900.00
BYRNES                RANDY C BYRNES                                    CLASS 3            50,000.00       13,760.55               0.00                36,239.45
BYRUM                 JUDITH ANN BYRUM                                  CLASS 3          210,000.00        35,877.97               0.00               174,122.03
C&H GROUP             THE C&H GROUP                                     CLASS 3            25,000.00         2,283.33              0.00                22,716.67
CABATANA              MAINSTAR-FBO MATERNA B CABATANA T2178508          CLASS 3            82,000.00          284.72               0.00                81,715.28
CABLE                 PROV. TR GP-FBO THOMAS M CABLE IND C A            CLASS 5           263,432.00       65,250.36               0.00               198,181.64
CABLE                 PROV. TR GP-FBO WILLIAM A CABLE ICA               CLASS 3            84,987.00       12,704.56               0.00                72,282.44
CABLE                 PROV. TR GP-FBO WILLIAM A CABLE ICA               CLASS 5           205,000.00       30,645.10               0.00               174,354.90
CABRAL                PATRICIA S CABRAL                                 CLASS 3            50,000.00          979.15               0.00                49,020.85
CABRAL                PROV. TR GP-FBO DAVID CABRAL IRA                  CLASS 3            27,115.00         1,938.72              0.00                25,176.28
CADA                  BRIAN CADA                                        CLASS 3            25,000.00          567.53               0.00                24,432.47
CADA                  BRIAN CADA                                        CLASS 5          120,000.00         2,724.14               0.00               117,275.86
CADDICK               HELEN G & CHARLES K CADDICK                       CLASS 3           200,000.00         5,094.42              0.00               194,905.58
CADMUS                ANDREA CADMUS                                     CLASS 3            25,000.00         1,055.58              0.00                23,944.42
CADY                  HORIZON TR CO-FBO DONALD R CADY IRA               CLASS 3            49,643.04         5,415.26              0.00                44,227.78
CAFARELLA             CAROLE & HERBERT CAFARELLA                        CLASS 3           100,000.00       12,228.58               0.00                87,771.42
CAHILL                LILLY & JOSEPH CAHILL                             CLASS 3            50,000.00          447.23               0.00                49,552.77
CAIN                  ROXANNE T CAIN                                    CLASS 3          473,259.02        47,490.24               0.00               425,768.78
CAINE                 MARK E CAINE                                      CLASS 3          100,000.00        10,343.75               0.00                89,656.25
CALAMARI              MAINSTAR-FBO PAUL CALAMARI                        CLASS 3            61,351.00        3,758.59               0.00                57,592.41
CALAME                JERALD D CALAME                                   CLASS 5            50,000.00       13,993.10               0.00                36,006.90
CALAMIA               FRANK C CALAMIA                                   CLASS 3            25,000.00          403.13               0.00                24,596.87
CALAMIA               THE PHILLIP & LINDA CALAMIA TR 01/13/16           CLASS 3            25,000.00          403.13               0.00                24,596.87

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CALDARELLA            SANDRA J CALDARELLA                               CLASS 3           200,000.00         7,187.55               0.00               192,812.45
CALDWELL              RICHARD A CALDWELL                                CLASS 3           167,000.00          528.83                0.00               166,471.17
CALHOUN               NICKY L CALHOUN                                   CLASS 3            50,000.00         1,625.00               0.00                48,375.00
CALHOUN               PROV. TR GP-FBO CAREY L CALHOUN IRA               CLASS 3            27,000.00         2,451.75               0.00                24,548.25
CALIMER               VINSON D & JULIE L CALIMER                        CLASS 3            50,000.00        2,070.86                0.00                47,929.14
CALLAGHAN             CALLAGHAN PUMP & CONTROLS INC                     CLASS 3            50,000.00         5,072.92               0.00                44,927.08
CALLAHAN              CALLAHAN IRREV DYNASTY TR UTD 08/18/99            CLASS 3            75,000.00         3,250.00               0.00                71,750.00
CALLAHAN              HELEN CALLAHAN                                    CLASS 3          100,000.00          3,854.15               0.00                96,145.85
CAM TECH              CAM TECH (US) INC PPT                             CLASS 3            83,284.64              0.00              0.00                83,284.64
CAMC                  CAMC LLC                                          CLASS 3            50,000.00       12,912.50                0.00                37,087.50
CAMERON               LEONARD & SANDRA CAMERON                          CLASS 3           559,013.00         5,776.48               0.00               553,236.52
CAMERON               MICHAEL J CAMERON                                 CLASS 3            25,000.00          858.33                0.00                24,141.67
CAMIGI                LAURENCE E CAMIGI                                 CLASS 3           100,000.00       14,145.81                0.00                85,854.19
CAMIGI                LAURENCE E CAMIGI                                 CLASS 5           300,000.00       42,437.44                0.00               257,562.56
CAMP                  GLENN S CAMP                                      CLASS 3            50,000.00         9,057.25               0.00                40,942.75
CAMP                  PATRICIA L & KENNETH MICHAEL CAMP                 CLASS 3            80,000.00         9,224.51               0.00                70,775.49
CAMP                  PROV. TR GP-FBO SUSAN W CAMP IRA                  CLASS 3            70,000.00         2,773.75               0.00                67,226.25
CAMP                  RANDALL M CAMP                                    CLASS 3            50,000.00         7,786.11               0.00                42,213.89
CAMP                  RUTH CAMP PERSONAL CARE TR                        CLASS 3           157,000.00       24,249.67                0.00               132,750.33
CAMPBELL              CAMPBELL FAMILY IRREV TR                          CLASS 3            65,000.00         7,535.37               0.00                57,464.63
CAMPBELL              CAMPBELL FT DTD 10/30/02                          CLASS 3            50,000.00         2,663.16               0.00                47,336.84
CAMPBELL              CAROLYN J CAMPBELL                                CLASS 3            60,000.00       20,823.56                0.00                39,176.44
CAMPBELL              CLAYTON CAMPBELL                                  CLASS 3            25,000.00         1,555.60               0.00                23,444.40
CAMPBELL              DWIGHT W & SANDRA M CAMPBELL                      CLASS 3            60,000.00         3,089.17               0.00                56,910.83
CAMPBELL              MAINSTAR-FBO LAWRENCE CAMPBELL T2175801           CLASS 3          100,000.00          6,966.67               0.00                93,033.33
CAMPBELL              MAINSTAR-FBO MICHAEL J CAMPBELL                   CLASS 3           270,000.00       17,710.00                0.00               252,290.00
CAMPBELL              MAINSTAR-FBO SARAH CAMPBELL T2177144              CLASS 3            25,000.00          750.57                0.00                24,249.43
CAMPBELL              NORINE E CAMPBELL                                 CLASS 3            31,707.00         1,009.37               0.00                30,697.63
CAMPBELL              PROV. TR GP-FBO BRIAN E CAMPBELL IRA              CLASS 5           100,000.00       15,833.33                0.00                84,166.67

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type           [1]               [2]              [3]          [1] minus [2] minus [3]
CAMPBELL              PROV. TR GP-FBO MARK G CAMPBELL IRA               CLASS 3            46,450.00         2,895.38              0.00                43,554.62
CAMPBELL              PROV. TR GP-FBO R BRET & J CAMPBELL ICA           CLASS 3           100,000.00       11,862.23               0.00                88,137.77
CAMPBELL              PROV. TR GP-FBO R BRET & J CAMPBELL ICA           CLASS 5            99,500.00       11,802.91               0.00                87,697.09
CAMPBELL              THE JOHN L CAMPBELL INTERVIVOS DECL OF TR         CLASS 3           200,000.00       10,240.71               0.00               189,759.29
CAMPBELL              THE JOHN L CAMPBELL INTERVIVOS DECL OF TR         CLASS 5           100,000.00         5,120.35              0.00                94,879.65
CAMPEA                DANIEL CAMPEA                                     CLASS 3           234,935.86       17,032.86               0.00               217,903.00
CAMPITIELLO           ANTHONY & CAMILLE CAMPITIELLO                     CLASS 3           125,000.00       19,688.12               0.00               105,311.88
CAMPOLO               RICHARD & NANCY R CAMPOLO LT 03/04/04             CLASS 3           125,000.00       16,284.43               0.00               108,715.57
CANDEL                DAVE & VICKIE CANDEL                              CLASS 3            50,000.00         2,290.29              0.00                47,709.71
CANFIELD              DALLAS CANFIELD                                   CLASS 3          175,000.00          5,547.77              0.00               169,452.23
CANNADA               ANGELA CANNADA                                    CLASS 3            25,000.00          516.67               0.00                24,483.33
CANNON                EVELYN I CANNON                                   CLASS 3            25,000.00          836.05               0.00                24,163.95
CANNON                EVELYN I CANNON                                   CLASS 5          184,847.53         6,181.69               0.00               178,665.84
CANTER                SUNWEST TR BILLIE S CANTER IRA                    CLASS 3          570,500.00        26,090.24               0.00               544,409.76
CANTERO               MAINSTAR-FBO RICHARD CANTERO                      CLASS 5           100,000.00         9,974.96              0.00                90,025.04
CANTIN                MICHAEL & ANNETTE CANTIN                          CLASS 3            80,000.00          301.49               0.00                79,698.51
CANTLIN               MAINSTAR-FBO JOHN CANTLIN T2177763                CLASS 3          118,000.00         2,183.00               0.00               115,817.00
CANYON CREEK          CANYON CREEK 401K PLAN                            CLASS 5           100,000.00       11,999.95               0.00                88,000.05
CAP INVESTMENTS       CAP INVESTMENTS INC                               CLASS 3            50,000.00         1,425.00              0.00                48,575.00
CAPITAO               YULIA CAPITAO                                     CLASS 3            60,000.00          408.33               0.00                59,591.67
CAPRA                 ROBERT E CAPRA                                    CLASS 3            50,000.00        5,733.28               0.00                44,266.72
CAPRA                 SUZANNE B & MICHAEL E CAPRA                       CLASS 3            50,000.00         3,733.33              0.00                46,266.67
CAPSHAW               INA LEA CAPSHAW RLT SANDRA PERKO TTEE             CLASS 3           265,000.00       16,172.40               0.00               248,827.60
CARAMADRE             ANNE O & PAULA ROSE CARAMADRE                     CLASS 3            25,000.00          788.22               0.00                24,211.78
CARAMADRE             ANNE O & VINCENT A CARAMADRE                      CLASS 3            26,000.00          346.66               0.00                25,653.34
CARAVELLA             PETER J & JUDITH L CARAVELLA                      CLASS 3          200,000.00          4,938.90              0.00               195,061.10
CARB                  ALLAN N & THERESA CARB                            CLASS 3           100,000.00         4,355.53              0.00                95,644.47
CARBONE               VINCENT M & SHERRY L CARBONE                      CLASS 3           100,000.00         2,966.67              0.00                97,033.33
CARDOSI               PROV. TR GP-FBO THOMAS CARDOSI IRA                CLASS 5           200,000.00       86,831.07               0.00               113,168.93

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CARIAGA               DAISY CARUNUNGA CARIAGA                            CLASS 3            25,000.00          576.41                0.00                24,423.59
CARLI                 MICHAEL CARLI & CHRISTINA BROLIN-CARLI             CLASS 3           100,000.00       12,588.89                0.00                87,411.11
CARLI                 PROV. TR GP-FBO LOIS M CARLI ROTH IRA              CLASS 3            70,000.00         7,233.68               0.00                62,766.32
CARLI                 PROV. TR GP-FBO RICHARD J CARLI IRA                CLASS 3           430,000.00       16,154.16                0.00               413,845.84
CARLI                 RICHARD J & LOIS M CARLI                           CLASS 3           575,000.00       57,277.98                0.00               517,722.02
CARLON                KATHLEEN CARLON FT                                 CLASS 3           100,000.00         1,805.57               0.00                98,194.43
CARLON                MAINSTAR-FBO EUGENE CARLON T2176805                CLASS 3            49,500.00         1,476.75               0.00                48,023.25
CARLSON               EMMA W CARLSON TR DTD 09/24/90                     CLASS 3            50,000.00         5,138.15               0.00                44,861.85
CARLSON               THE GERALD L CARLSON LT                            CLASS 3            25,000.00          489.60                0.00                24,510.40
CARLSON               THE JACQUELINE M CARLSON 2006 TR                   CLASS 3            25,000.00         1,641.67               0.00                23,358.33
CARLSON               VERNE W & AMANDA CARLSON                           CLASS 3           200,000.00       27,885.41                0.00               172,114.59
CARLTON               CARLTON YEAR 2016 LFT                              CLASS 3          300,000.00               0.00              0.00               300,000.00
CARLTON               VIRGIL LEE CARLTON                                 CLASS 3            60,000.00         1,325.00               0.00                58,675.00
CARLUCCI/MULLIGAN     ROSE V CARLUCCI & KATHLEEN MULLIGAN                CLASS 3           100,000.00         5,066.67               0.00                94,933.33
CARMOSINO             VINCENT J JR & LINDA A CARMOSINO                   CLASS 3           100,000.00         5,027.82               0.00                94,972.18
CARNEGIE              HORIZON TR CO-FBO MARY L CARNEGIE IRA              CLASS 3          180,000.00        11,203.34                0.00               168,796.66
CARNEY                KATHRYN M CARNEY                                   CLASS 3            23,380.66         1,409.34               0.00                21,971.32
CARNEY                MAINSTAR-FBO DANIEL CARNEY                         CLASS 3           108,000.00         7,035.00               0.00               100,965.00
CARPENTER             IRA SVCS TR CO-CFBO JOHN H CARPENTER IRA           CLASS 3            29,000.00          896.60                0.00                28,103.40
CARPENTER             TMICO-FBO JUDY B CARPENTER IRA                     CLASS 5          100,000.00        29,477.93                0.00                70,522.07
CARR                  MAINSTAR-FBO PENI CARR                             CLASS 3          300,000.00        30,752.08                0.00               269,247.92
CARR                  THOMAS L CARR RT                                   CLASS 3            25,000.00          277.78                0.00                24,722.22
CARRANO               VINCENT CARRANO RLT 11/27/13                       CLASS 3            30,000.00         6,395.00               0.00                23,605.00
CARRIE                BETTE J CARRIE                                     CLASS 3          100,000.00           133.33                0.00                99,866.67
CARRIER               PROV. TR GP-FBO MICHAEL A CARRIER IRA              CLASS 3            99,555.00       11,797.27                0.00                87,757.73
CARRIGAN              YONG C CARRIGAN                                    CLASS 3           100,000.00       10,111.62                0.00                89,888.38
CARRIS                BARBARA S CARRIS                                   CLASS 3            50,000.00         2,100.00               0.00                47,900.00
CARRIS                CRAIG K CARRIS                                     CLASS 3          200,000.00        19,883.33                0.00               180,116.67
CARRISH               JEFFREY J CARRISH                                  CLASS 3          100,000.00        10,945.84          1,000.00                  88,054.16

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type           [1]               [2]                [3]          [1] minus [2] minus [3]
CARROLL               CARROLL FT DTD 06/07/96                           CLASS 3          250,000.00          1,416.67                0.00               248,583.33
CARROLL               GREGORY D CARROLL                                 CLASS 5            50,000.00       12,459.85                 0.00                37,540.15
CARROLL               J/B CARROLL IN TR FOR G D & R J CARROLL           CLASS 5            50,000.00         4,500.03                0.00                45,499.97
CARROLL               JEAN & BOBBY CARROLL                              CLASS 3            60,000.00         7,990.00                0.00                52,010.00
CARROLL               PROV. TR GP-FBO JEAN CARROLL IRA                  CLASS 3            99,000.00       13,417.25                 0.00                85,582.75
CARROUGHER            CLINTON J CARROUGHER                              CLASS 3            25,000.00          427.77                 0.00                24,572.23
CARSON                GREGORY A & VIVIAN E CARSON                       CLASS 3            60,000.00         1,970.00                0.00                58,030.00
CARSON                JOHN & SHIRLEY CARSON LT                          CLASS 5           100,000.00       13,222.17                 0.00                86,777.83
CARSON                SUNWEST TR SHIRLEY CARSON IRA                     CLASS 3           230,000.00       17,081.67                 0.00               212,918.33
CARSWELL              BEATRICE CARSWELL                                 CLASS 3            30,000.00              29.17              0.00                29,970.83
CARTER                MAINSTAR-FBO DAVID C CARTER                       CLASS 3            53,741.03         2,430.29                0.00                51,310.74
CARTER                MORINE CARTER                                     CLASS 3            50,000.00          801.39                 0.00                49,198.61
CARTER                PROV. TR GP-FBO SUSAN CARTER IRA                  CLASS 3            99,270.00         2,079.16                0.00                97,190.84
CARTER                STEVE & SHERRY CARTER                             CLASS 3            75,000.00              67.71              0.00                74,932.29
CARUSO                ANTHONY F CARUSO SR                               CLASS 3            25,000.00         3,520.94                0.00                21,479.06
CARUTHERS             BAMBI SIMONE CARUTHERS                            CLASS 3            29,700.00         1,583.64                0.00                28,116.36
CARUTHERS             MAINSTAR-FBO BAMBI S CARUTHERS R2176328           CLASS 3            48,000.00        1,694.00                 0.00                46,306.00
CARVAJAL              PROV. TR GP-FBO ADRIAN CARVAJAL IRA               CLASS 3            41,192.00         3,149.42                0.00                38,042.58
CARVER                AUDREY CARVER IRREV TR                            CLASS 3            75,000.00         1,656.25                0.00                73,343.75
CASALE                MARY J CASALE                                     CLASS 3          186,864.87        29,947.56                 0.00               156,917.31
CASE                  JAMES R CASE                                      CLASS 3          215,000.00        36,534.32                 0.00               178,465.68
CASE                  NANCY M CASE TR DTD 04/11/17                      CLASS 3            80,000.00         9,198.01                0.00                70,801.99
CASE/HOFFMAN          NANCY M CASE & JEFFREY J HOFFMAN                  CLASS 3           320,000.00       34,376.14                 0.00               285,623.86
CASEY                 MICHAEL H CASEY                                   CLASS 3            50,000.00       11,425.00                 0.00                38,575.00
CASEY                 PROV. TR GP-FBO MICHAEL CASEY IRA                 CLASS 3            37,000.00         3,604.42                0.00                33,395.58
CASH                  IRA SVCS TR CO-CFBO RAE A CASH ROTH IRA           CLASS 3            25,000.00          849.31                 0.00                24,150.69
CASH                  ROBERT D CASH                                     CLASS 3          200,000.00        11,555.53                 0.00               188,444.47
CASHING               PROV. TR GP-FBO RELIABLE CHK CASHING IRA          CLASS 5           250,000.00         9,597.23                0.00               240,402.77
CASHMAN               STEPHEN CASHMAN                                   CLASS 3            25,000.00          587.50                 0.00                24,412.50

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                                        Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CASHMAN               THE MARY JUNE MILLS CASHMAN RT DTD 1997           CLASS 3            50,000.00          491.67                0.00                49,508.33
CASIFORA              ALBERTO & CARLOS CASIFORA                         CLASS 3            50,000.00         1,820.81               0.00                48,179.19
CASLER                PROV. TR GP-FBO REBA L CASLER IRA                 CLASS 3           152,000.00         3,065.34               0.00               148,934.66
CASORIA               ANTHONY C CASORIA                                 CLASS 3            50,000.00         2,979.13               0.00                47,020.87
CASSIDY               PROV. TR GP-FBO ROBERT CASSIDY IRA                CLASS 3            99,500.00         5,348.13               0.00                94,151.87
CASSIDY               ROBERT T CASSIDY                                  CLASS 3          350,000.00        22,779.61                0.00               327,220.39
CASSINA               MARINO T & MERRILY C CASSINA                      CLASS 3          110,000.00          3,726.27               0.00               106,273.73
CASTANEDA             JANET & CARLOS CASTANEDA                          CLASS 3           200,000.00       29,941.93                0.00               170,058.07
CASTANEDA             JANET & CARLOS CASTANEDA                          CLASS 5           200,000.00       29,941.93                0.00               170,058.07
CASTANEDA             JANET CASTANEDA                                   CLASS 3           100,000.00       13,088.46          1,000.00                  85,911.54
CASTANEDA             PROV. TR GP-FBO CARLOS A CASTANEDA IRA            CLASS 5           159,086.00       12,589.62                0.00               146,496.38
CASTANEDA             PROV. TR GP-FBO JANET L CASTANEDA IRA             CLASS 5           100,000.00       12,055.56                0.00                87,944.44
CASTELLANI            THE CASTELLANI FLT                                CLASS 3          100,000.00          3,055.58               0.00                96,944.42
CASTELLANOS           FRANCISCO A & MARTHA D CASTELLANOS                CLASS 3           100,000.00         2,015.29               0.00                97,984.71
CASTIGLIONE           PAUL J CASTIGLIONE                                CLASS 3          200,000.00        38,933.45                0.00               161,066.55
CASTIGLIONE           PAUL J CASTIGLIONE JR                             CLASS 3            50,000.00         3,020.83               0.00                46,979.17
CASTIGLIONE           PROV. TR GP-FBO KAREN A CASTIGLIONE IRA           CLASS 3            65,000.00       11,147.50          1,000.00                  52,852.50
CASTIGLIONE           PROV. TR GP-FBO PAUL J CASTIGLIONE IRA            CLASS 3            84,000.00       11,547.67                0.00                72,452.33
CASTRO                IRA SVCS TR CO-CFBO HELEN A CASTRO IRA            CLASS 3           344,000.00       29,428.92                0.00               314,571.08
CASTRO                THE HELEN CASTRO FLT 08/06/14                     CLASS 3          150,000.00        14,375.00                0.00               135,625.00
CATHCART              JAMES & CAROLYN CATHCART                          CLASS 3*           30,000.00         1,985.00               0.00                28,015.00
CATO                  STEPHEN & JACKLYN CATO                            CLASS 5          110,000.00        54,974.41                0.00                55,025.59
CAUDILL               MAINSTAR-FBO WANDA G CAUDILL T2177398             CLASS 3           182,570.50         5,442.84               0.00               177,127.66
CAUSTRITA             CAUSTRITA TR DTD 10/06/11                         CLASS 3          100,000.00           894.44                0.00                99,105.56
CAVASOS               MAINSTAR-FBO RAYNALDO CAVASOS                     CLASS 3           144,500.00         8,589.72               0.00               135,910.28
CAVE                  PROV. TR GP-FBO DONALD L CAVE JR IRA              CLASS 3            88,600.00         2,347.90               0.00                86,252.10
CAWLEY                RAYMOND J CAWLEY LT UAD 05/13/09                  CLASS 3           100,000.00              0.00              0.00               100,000.00
CAWLEY                THE JUDITH A CAWLEY LT DTD 05/13/09               CLASS 3           200,000.00         3,608.33               0.00               196,391.67
CECIL                 RICHARD CECIL                                     CLASS 3            25,000.00          122.22                0.00                24,877.78

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
CECKA                 BRUCE W CECKA                                     CLASS 3            46,000.00         1,137.24              0.00                44,862.76
CECKA                 MAINSTAR-FBO MARY M CECKA T2178300                CLASS 3            50,000.00          187.50               0.00                49,812.50
CELIZ                 MARIA NECINA CELIZ                                CLASS 3            25,000.00         1,050.02              0.00                23,949.98
CENDEJAS              THE CENDEJAS LT UTD 10/31/95                      CLASS 3            66,000.00         3,477.00              0.00                62,523.00
CENSOPLANO            MAINSTAR-FBO JOSEPH M CENSOPLANO T2175654         CLASS 3            26,274.86         1,339.29              0.00                24,935.57
CENTORE               MAINSTAR-FBO MARJORIE CENTORE                     CLASS 3            52,000.00         5,460.04              0.00                46,539.96
CENTRONE              PROV. TR GP-FBO ROBERT CENTRONE IRA               CLASS 3            29,000.00         8,779.02              0.00                20,220.98
CENTRONE              PROV. TR GP-FBO ROBERT CENTRONE IRA               CLASS 5           194,452.47       58,865.60               0.00               135,586.87
CENTRONE              PROV. TR GP-FBO THERESA CENTRONE IRA              CLASS 3           107,000.00       15,719.94               0.00                91,280.06
CENTRONE              ROBERT J & THERESA CENTRONE                       CLASS 3           105,000.00       30,884.58               0.00                74,115.42
CEPULKOWSKI           FRANK O CEPULKOWSKI                               CLASS 3           125,000.00       11,615.94               0.00               113,384.06
CERNA                 THOMAS J & SANDRA M CERNA                         CLASS 3            25,000.00          618.07               0.00                24,381.93
CETOLA                DARLENE CETOLA PA                                 CLASS 3            50,000.00          808.33               0.00                49,191.67
CF INVESTMENTS        CF INVESTMENTS                                    CLASS 5          200,000.00         6,288.90               0.00               193,711.10
CHABAD CENTER         CHABAD CENTER OF NORTH WESTERN NJ                 CLASS 5           100,000.00       15,474.93               0.00                84,525.07
CHACON                ADELA MARIE CHACON                                CLASS 3            55,000.00         4,858.33              0.00                50,141.67
CHADWELL              MAINSTAR-FBO KAREN L CHADWELL                     CLASS 3           100,151.78         4,728.00              0.00                95,423.78
CHADWICK              BARBARA CHADWICK                                  CLASS 3            50,000.00        1,374.98               0.00                48,625.02
CHAFFIN               PROV. TR GP-FBO CYNTHIA CHAFFIN IRA               CLASS 3           130,000.00       18,369.01               0.00               111,630.99
CHALLENDER            DEBORAH CHALLENDER                                CLASS 3          200,000.00          3,819.46              0.00               196,180.54
CHALLENDER            PROV. TR GP-FBO DEBORAH L CHALLENDER IRA          CLASS 3           184,000.00         8,320.89              0.00               175,679.11
CHAMBERS              CAROL & ARVIN CHAMBERS                            CLASS 3            25,000.00          291.67               0.00                24,708.33
CHAMPLEY              IRA SVCS TR CO-CFBO THOMAS CHAMPLEY IRA           CLASS 3           100,000.00       42,964.94               0.00                57,035.06
CHANDLER              MADOLYN J CHANDLER                                CLASS 3            31,391.79          828.40               0.00                30,563.39
CHANDLER              MAINSTAR-FBO ALLEN K CHANDLER T2176448            CLASS 3           100,000.00         2,069.44              0.00                97,930.56
CHANDLER              MAINSTAR-FBO JANALIE CHANDLER T2178449            CLASS 3           158,300.00          246.24               0.00               158,053.76
CHANDLEY              CHARLES A CHANDLEY                                CLASS 3           100,000.00         1,850.00              0.00                98,150.00
CHANEY                MAINSTAR-FBO SANDRA K CHANEY T2177895             CLASS 3           145,000.00         1,651.39              0.00               143,348.61
CHANG                 CHAN-NAN & CHIU-CHIANG CHANG                      CLASS 3            50,000.00         2,520.87              0.00                47,479.13

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                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
CHANG                 DAVID CHANG                                       CLASS 3          100,000.00          2,194.46                0.00                97,805.54
CHANG                 MAINSTAR-FBO DIANA CHANG                          CLASS 3            79,000.00         3,729.46                0.00                75,270.54
CHANG                 SHENYAH & CHING-PI CHANG                          CLASS 3            50,000.00         1,948.58                0.00                48,051.42
CHANG                 SHENYAH CHANG                                     CLASS 3            50,000.00         2,694.40                0.00                47,305.60
CHANG/CHEN            TAM CHANG & MEI-SHE CHEN                          CLASS 3           100,000.00         6,058.35                0.00                93,941.65
CHAPLIN               PROV. TR GP-FBO THEODORE S CHAPLIN IRA            CLASS 3            30,000.00         3,835.08                0.00                26,164.92
CHARBONEAU            SUSAN CHARBONEAU                                  CLASS 3            85,000.00         5,575.18                0.00                79,424.82
CHARBONEAU            SUSAN CHARBONEAU                                  CLASS 5            50,000.00         3,279.51                0.00                46,720.49
CHARTER OAK           THE CHARTER OAK WOMAN'S CLUB                      CLASS 3            25,000.00              69.44              0.00                24,930.56
CHASE                 SUNWEST TR LAUREL C CHASE IRA                     CLASS 3           281,103.99       35,169.11                 0.00               245,934.88
CHASE FINANCIAL       CHASE FINANCIAL LLC                               CLASS 3           100,000.00         3,538.91                0.00                96,461.09
CHATHAM               HOOD III & LAURA R CHATHAM                        CLASS 5           200,000.00       51,888.99                 0.00               148,111.01
CHATHAM               IRA SVCS TR CO-CFBO ROBERT H CHATHAM III          CLASS 3            47,000.00       10,948.19                 0.00                36,051.81
CHATHAM               IRA SVCS TR CO-CFBO ROBERT H CHATHAM III          CLASS 5           200,000.00       46,588.03                 0.00               153,411.97
CHATHAM               PROV. TR GP-FBO JOHN CHATHAM IRA                  CLASS 3           100,000.00         2,177.78                0.00                97,822.22
CHATNANI              HARESH CHATNANI                                   CLASS 3            60,000.00         3,512.24                0.00                56,487.76
CHAVEZ                SUNWEST TR JUDY CHAVEZ IRA                        CLASS 3            95,000.00         6,396.67                0.00                88,603.33
CHAYKIN               MAINSTAR-FBO RICHARD J CHAYKIN                    CLASS 3           268,000.00       13,225.05                 0.00               254,774.95
CHAYKOVSKY            NATALYA CHAYKOVSKY                                CLASS 3            50,000.00         4,812.50                0.00                45,187.50
CHEATHAM              NORMA E CHEATHAM                                  CLASS 3            25,000.00         1,725.75                0.00                23,274.25
CHEATHAM              PROV. TR GP-FBO CAROL CHEATHAM IRA                CLASS 5            83,000.00       13,833.33                 0.00                69,166.67
CHEATHAM              PROV. TR GP-FBO PATRICIA CHEATHAM IRA             CLASS 5            63,000.00       10,500.00                 0.00                52,500.00
CHEN                  HUIXIAN CHEN                                      CLASS 3          100,000.00        11,183.33                 0.00                88,816.67
CHEN                  TED B CHEN                                        CLASS 3            40,000.00        2,738.94                 0.00                37,261.06
CHEN                  YEN HSU CHEN                                      CLASS 3          350,000.00        42,458.50                 0.00               307,541.50
CHENOWETH             THE CHENOWETH LT DTD 04/17/14                     CLASS 3           101,192.00         6,257.04                0.00                94,934.96
CHERELSTEIN           GLORIA A CHERELSTEIN                              CLASS 3            25,000.00         1,483.33                0.00                23,516.67
CHERNOFF              MELVIN CHERNOFF RLT                               CLASS 3            50,000.00         4,799.96                0.00                45,200.04
CHERRY                MYRA C CHERRY                                     CLASS 3            75,000.00         8,625.00                0.00                66,375.00

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CHEW                  THE DEREK & LINDA CHEW FT DTD 07/13/11             CLASS 3            25,000.00         2,639.52               0.00                22,360.48
CHI                   BOYAN CHI                                          CLASS 3            25,000.00         1,190.95               0.00                23,809.05
CHIN                  JENNY CHIN                                         CLASS 3            50,000.00        2,513.23                0.00                47,486.77
CHIN                  MAINSTAR-FBO VUI-TING CHIN                         CLASS 3            25,000.00         1,029.17               0.00                23,970.83
CHIRAS                KATHLEEN CHIRAS                                    CLASS 3          327,495.00        29,248.75                0.00               298,246.25
CHIRCO                GEROME CHIRCO                                      CLASS 3            25,000.00         1,020.16               0.00                23,979.84
CHIRIKOS              TONY G & ANN M CHIRIKOS                            CLASS 3            50,000.00         8,944.40               0.00                41,055.60
CHIVERS               DARRIS CHIVERS                                     CLASS 5            55,000.00         1,627.08               0.00                53,372.92
CHIVERS               MAINSTAR-FBO DARRIS CHIVERS TW004012               CLASS 5            99,400.00         2,623.05               0.00                96,776.95
CHOATE-PIERCE         LANA CHOATE-PIERCE                                 CLASS 5           165,000.00       38,275.33                0.00               126,724.67
CHOI                  INJOON C CHOI                                      CLASS 3            50,000.00         3,266.67               0.00                46,733.33
CHONO                 MAINSTAR-FBO DIANE F CHONO T2177431                CLASS 3            41,500.00          885.33                0.00                40,614.67
CHOPP                 MAINSTAR-FBO SHARON CHOPP                          CLASS 3            47,000.00         4,149.07               0.00                42,850.93
CHOQUETTE             CYNTHIA A CHOQUETTE                                CLASS 3            90,000.00       19,344.51                0.00                70,655.49
CHOQUETTE             PROV. TR GP-FBO CYNTHIA A CHOQUETTE IRA            CLASS 3           130,000.00       18,200.41                0.00               111,799.59
CHOQUETTE             PROV. TR GP-FBO KENNETH J CHOQUETTE IRA            CLASS 3            58,000.00          992.44                0.00                57,007.56
CHOU                  HORIZON TR CO-FBO HWAI-NAN CHOU IRA                CLASS 3            50,000.00         3,083.33               0.00                46,916.67
CHOW                  ROSY CHOW                                          CLASS 3            25,000.00         1,538.24               0.00                23,461.76
CHOW                  THERESA CHOW                                       CLASS 3            25,000.00         1,538.24               0.00                23,461.76
CHRISTENSEN           CHRISTENSEN LIVESTOCK CO LLP                       CLASS 3         1,000,000.00       73,888.97                0.00               926,111.03
CHRISTENSEN           MAINSTAR-FBO LON CHRISTENSEN T2176470              CLASS 3            83,350.00         4,080.68               0.00                79,269.32
CHRISTENSEN           MIKE P & COLLEEN H CHRISTENSEN                     CLASS 3          218,000.00          6,358.31               0.00               211,641.69
CHRISTIAN             ERIC D CHRISTIAN                                   CLASS 3            25,000.00         4,204.17               0.00                20,795.83
CHRISTIAN             GABRIEL CHRISTIAN                                  CLASS 3            25,000.00          406.26                0.00                24,593.74
CHRISTIAN             PROV. TR GP-FBO LUISE CHRISTIAN IRA                CLASS 3            27,842.06         3,016.22               0.00                24,825.84
CHRISTIANSEN          GARY W CHRISTIANSEN                                CLASS 3           100,000.00       18,099.95                0.00                81,900.05
CHU                   MAINSTAR-FBO RACHEL LEEANN CHU R2178251            CLASS 3            25,000.00              0.00              0.00                25,000.00
CHU                   RACHEL LEEANN CHU                                  CLASS 3            50,000.00         1,205.57               0.00                48,794.43
CHU                   RONALD & MARSHA CHU                                CLASS 3            25,000.00          180.56                0.00                24,819.44

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CHUANG                KEN & ADA CHUANG                                   CLASS 3           150,000.00         7,500.00               0.00               142,500.00
CHUANG                SUSAN & THOMAS CHUANG                              CLASS 3           100,000.00         4,958.33               0.00                95,041.67
CHUBKA                MICHAEL CHUBKA                                     CLASS 3            25,000.00          406.86                0.00                24,593.14
CHUN                  PROV. TR GP-FBO CYNTHIA M CHUN IRA                 CLASS 3           186,200.00       16,569.73                0.00               169,630.27
CHUN                  PROV. TR GP-FBO DOUGLAS G CHUN IRA                 CLASS 3          531,200.00        50,684.85                0.00               480,515.15
CHUNG                 THE CHUNG LT DTD 09/28/04                          CLASS 3          147,000.00          8,575.00               0.00               138,425.00
CHURCH                GEORGE & PATRICIA CHURCH RT RSTD 07/08/16          CLASS 3           100,000.00       28,216.71                0.00                71,783.29
CHWALOWSKI            FRANK & PENNIE CHWALOWSKI                          CLASS 3            50,000.00         1,676.97               0.00                48,323.03
CICERO                MATTHEW CICERO                                     CLASS 3            50,000.00         3,685.36         1,000.00                  45,314.64
CICERO                SANDRA CICERO                                      CLASS 3            50,000.00         2,447.92               0.00                47,552.08
CIPRIANO              BRIAN CIPRIANO                                     CLASS 3            45,000.00              0.00              0.00                45,000.00
CIRRITO               CAROLYN CIRRITO                                    CLASS 3            50,000.00         8,518.04               0.00                41,481.96
CLAARVILLE            CLAARVILLE INC                                     CLASS 3            50,000.00         3,655.56               0.00                46,344.44
CLABAUGH              HUGH CLABAUGH                                      CLASS 3            40,000.00          994.46                0.00                39,005.54
CLANTON               AMERICAN EST&TR FBO SOPHIE CLANTON                 CLASS 5           100,000.00       56,999.79                0.00                43,000.21
CLANTON               PROV. TR GP-FBO CAROL E CLANTON IRA                CLASS 3            32,000.00         4,936.00               0.00                27,064.00
CLAPP                 GLORIA J CLAPP                                     CLASS 3            50,000.00        1,312.48                0.00                48,687.52
CLAPP                 JEFFREY & KAREN CLAPP                              CLASS 3            60,000.00         3,790.00               0.00                56,210.00
CLAPPER               FRANCIS & DOROTHY CLAPPER                          CLASS 5          103,000.00        34,676.52                0.00                68,323.48
CLAPPER               PROV. TR GP-FBO FRANCIS K CLAPPER IRA              CLASS 5          114,000.00        29,355.00                0.00                84,645.00
CLARK                 CARL & DELLA CLARK                                 CLASS 3          125,000.00        14,000.06                0.00               110,999.94
CLARK                 DAVID & BRENDA CLARK                               CLASS 3          100,000.00           100.00                0.00                99,900.00
CLARK                 DONNA CLARK                                        CLASS 3            50,000.00        3,441.67                0.00                46,558.33
CLARK                 EQUITY TRUST-FBO KATHLEEN PAGE CLARK IRA           CLASS 5           100,000.00       49,158.81                0.00                50,841.19
CLARK                 HORACE J & CAROLE CLARK RT DTD 10/27/93            CLASS 3            80,000.00         3,756.67               0.00                76,243.33
CLARK                 JERRY B CLARK SR                                   CLASS 3          100,000.00        27,833.33                0.00                72,166.67
CLARK                 MADELINE CLARK                                     CLASS 3          100,000.00         1,680.57                0.00                98,319.43
CLARK                 MAINSTAR-FBO CYNTHIA CLARK T2176329                CLASS 3          100,000.00         5,389.89                0.00                94,610.11
CLARK                 MAINSTAR-FBO DONNA CLARK T2175756                  CLASS 3            21,000.00        1,085.00                0.00                19,915.00

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]              [3]          [1] minus [2] minus [3]
CLARK                 MAINSTAR-FBO JOHN J CLARK T2176400                  CLASS 3            50,000.00         1,883.33              0.00                48,116.67
CLARK                 PROV. TR GP-FBO DOUGLAS CLARK IRA                   CLASS 3           308,000.00       28,233.33               0.00               279,766.67
CLARK                 PROV. TR GP-FBO KATHLEEN PAGE CLARK IRA             CLASS 5           100,000.00       31,387.09               0.00                68,612.91
CLARK                 PROV. TR GP-FBO LESLIE CLARK IRA                    CLASS 3            49,760.00         3,599.31              0.00                46,160.69
CLARK                 RALPH E CLARK JR                                    CLASS 3            50,000.00          466.67               0.00                49,533.33
CLARK                 RONALD D & MARY LOU CLARK                           CLASS 3           200,000.00       21,341.65               0.00               178,658.35
CLARK                 THOMAS A CLARK                                      CLASS 5            54,763.90       14,722.81               0.00                40,041.09
CLARKE                PROV. TR GP-FBO SHARON CLARKE IRA                   CLASS 3           223,000.00         4,429.03              0.00               218,570.97
CLAUSEN               CLAUSEN FT DTD 03/14/96                             CLASS 3          100,000.00          6,733.33              0.00                93,266.67
CLAVERIA              IRENE CLAVERIA FLP                                  CLASS 3            50,000.00         6,154.24              0.00                43,845.76
CLAVERIA              RICHARD CLAVERIA MD APC PENSION PL & TR             CLASS 3            50,000.00       12,045.98               0.00                37,954.02
CLAYTON               CLAYTON FT                                          CLASS 3            25,000.00         2,320.29              0.00                22,679.71
CLAYTON               PROV. TR GP-FBO JIMMY M CLAYTON IRA                 CLASS 3            60,000.00         6,250.00              0.00                53,750.00
CLAYTON               TERRY L & CATHY M CLAYTON                           CLASS 3           100,000.00       12,733.33               0.00                87,266.67
CLAYTON CAPITAL       CLAYTON CAPITAL INVESTMENTS CORP                    CLASS 3         2,626,777.81       55,456.31               0.00             2,571,321.50
CLAYTON CAPITAL       CLAYTON CAPITAL INVESTMENTS CORP                    CLASS 3*          511,500.00       15,345.00               0.00               496,155.00
CLEAVES               CLEAVES FT 1992                                     CLASS 3            75,000.00          443.33               0.00                74,556.67
CLEMENS               MAINSTAR-FBO RONALD L CLEMENS T2177915              CLASS 3          100,000.00         2,100.00               0.00                97,900.00
CLEMENS               RONALD L & HEIDI M CLEMENS                          CLASS 3            50,000.00         1,876.41              0.00                48,123.59
CLEMENT/CAMPBELL      JUDY J CLEMENT & TERRI CAMPBELL                     CLASS 3            50,000.00         1,826.40              0.00                48,173.60
CLEMENTS              SUE CLEMENTS                                        CLASS 5          100,000.00        35,138.76               0.00                64,861.24
CLENNAN               WARREN R CLENNAN                                    CLASS 3            25,000.00          150.00               0.00                24,850.00
CLIFTON               KAREN S CLIFTON                                     CLASS 3            50,000.00          183.33               0.00                49,816.67
CLIFTON               MAINSTAR-FBO JESSICA CLIFTON T2177751               CLASS 3          116,500.00          1,747.50              0.00               114,752.50
CLIFTON               MICHAEL C & LINDA J CLIFTON                         CLASS 3            45,000.00         2,487.50              0.00                42,512.50
CLINE                 FLOYD CLINE                                         CLASS 3          100,000.00        22,449.16               0.00                77,550.84
CLINE/DUBOIS          SARAH CLINE & BRUCE DUBOIS                          CLASS 3           160,000.00         4,441.67              0.00               155,558.33
CLINTON               LYNDA T CLINTON                                     CLASS 3          150,000.00        31,845.83               0.00               118,154.17
CLOONAN               RUTH CLOONAN                                        CLASS 3            50,000.00         7,463.12              0.00                42,536.88

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                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
CLOSE                 DAVID M CLOSE                                     CLASS 3            50,000.00         1,986.14                0.00                48,013.86
CLOUSE                ROGER & NANCY CLOUSE                              CLASS 3           100,000.00         3,674.98                0.00                96,325.02
CLOWER                JANE A & BLAINE JR CLOWER                         CLASS 3            50,000.00         3,509.69                0.00                46,490.31
CLUNE                 LINUS J & SANDRA A CLUNE                          CLASS 3            55,000.00         6,371.16                0.00                48,628.84
CLUNE                 RANDOLPH A CLUNE                                  CLASS 3            80,000.00       18,622.55            347.83                   61,029.62
CLUNE                 RANDOLPH A CLUNE                                  CLASS 5           150,000.00       34,917.28            652.17                  114,430.55
COALE                 MAINSTAR-FBO LLOYD H COALE JR T2177231            CLASS 3            54,900.00         1,392.33                0.00                53,507.67
COATE                 CHARLES L COATE                                   CLASS 3          150,000.00        31,811.04                 0.00               118,188.96
COBANE                IRA SVCS TR CO-CFBO PEGGY J COBANE IRA            CLASS 3           100,000.00         5,516.67                0.00                94,483.33
COBIAN                MARCO ANTONIO COBIAN                              CLASS 3            30,000.00              75.00              0.00                29,925.00
COBLAR                HORIZON TR CO-FBO ROBERT COBLAR IRA               CLASS 5           160,000.00       26,577.71                 0.00               133,422.29
COBLAR                HORIZON TR CO-FBO ROBERT COBLAR ROTH IRA          CLASS 3            60,000.00         1,411.67                0.00                58,588.33
COBLAR                KATHLEEN & ROBERT COBLAR                          CLASS 3           100,000.00         4,366.67                0.00                95,633.33
COCKROFT              ROGER COCKROFT                                    CLASS 3            50,000.00          523.85                 0.00                49,476.15
CODY                  KATHLEEN S CODY                                   CLASS 5            41,000.00         3,086.42                0.00                37,913.58
CODY                  MAINSTAR-FBO KATHLEEN S CODY T2176549             CLASS 5           211,274.00       16,080.30                 0.00               195,193.70
COE                   FREDERICK V COE                                   CLASS 3            75,000.00       23,163.43                 0.00                51,836.57
COFFEY                JAMES M COFFEY                                    CLASS 3          150,000.00          6,854.17                0.00               143,145.83
COFFEY/COURNOYER      JAMES M COFFEY & WENDY COURNOYER                  CLASS 3           300,000.00       40,950.00                 0.00               259,050.00
COFFEY/GODINEZ        VICTOR COFFEY III & EVANGELINE GODINEZ            CLASS 5           600,000.00      127,016.73                 0.00               472,983.27
COFFMAN               CLYDE & JANINE COFFMAN                            CLASS 3            30,000.00         1,865.00                0.00                28,135.00
COFFMAN               DAVID LEE COFFMAN                                 CLASS 5           100,000.00       12,944.39                 0.00                87,055.61
COGSWELL              LYNN B COGSWELL                                   CLASS 5           700,000.00      271,208.27                 0.00               428,791.73
COGSWELL              PROV. TR GP-FBO SAMUEL B COGSWELL IRA             CLASS 3            54,700.00         5,732.11                0.00                48,967.89
COHAN                 HENRY F COHAN LT                                  CLASS 3           250,000.00       19,262.84                 0.00               230,737.16
COHEN                 ALMA COHEN                                        CLASS 3            50,000.00          775.00                 0.00                49,225.00
COHEN                 GEORGE & RUTH COHEN RT UAD OCT 2003               CLASS 3            55,000.00         1,950.32                0.00                53,049.68
COHEN                 PAUL & SHELDON S COHEN                            CLASS 3            50,000.00         1,471.51                0.00                48,528.49
COHEN                 PAUL COHEN                                        CLASS 3            75,000.00         2,586.79                0.00                72,413.21

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
COHEN                 PROV. TR GP-FBO MARTIN V COHEN IRA                 CLASS 3           100,000.00       29,097.16                 0.00                70,902.84
COHEN                 PROV. TR GP-FBO MARTIN V COHEN IRA                 CLASS 5           300,000.00       87,291.49                 0.00               212,708.51
COHEN                 THE MURIEL COHEN FT                                CLASS 3            41,000.00          615.00                 0.00                40,385.00
COHN                  HARRY S COHN RLT                                   CLASS 3          100,000.00               18.06              0.00                99,981.94
COKER                 TMICO-FBO TEDDY S COKER TRAD IRA                   CLASS 5            58,937.50       13,064.59                 0.00                45,872.91
COLANGELO             LILIO COLANGELO                                    CLASS 3            85,000.00         3,050.83                0.00                81,949.17
COLANTUONO            ELIZABETH A COLANTUONO RLT                         CLASS 3            50,000.00         4,617.48                0.00                45,382.52
COLBERT               LOUISE F COLBERT                                   CLASS 3            28,000.00         2,643.60                0.00                25,356.40
COLE                  ELSA HURLBUT COLE TR                               CLASS 3           100,000.00       24,188.89                 0.00                75,811.11
COLE                  IRA SVCS TR CO-CFBO LORI A COLE IRA                CLASS 3            33,500.00          735.12                 0.00                32,764.88
COLE                  JANE COLE TTEE THE JANE COLE RTA 07/31/15          CLASS 3            25,000.00         3,679.17                0.00                21,320.83
COLE                  WALTER G COLE JR                                   CLASS 3            25,000.00              33.33              0.00                24,966.67
COLEMAN               DELORES COLEMAN                                    CLASS 3            50,000.00         2,161.84                0.00                47,838.16
COLEMAN               GENEVIEVE COLEMAN                                  CLASS 3           300,000.00         2,847.17                0.00               297,152.83
COLEMAN               PROV. TR GP-FBO JERRY WAYNE COLEMAN IRA            CLASS 3            28,500.00        7,076.48                 0.00                21,423.52
COLEMAN               PROV. TR GP-FBO MATTHEW COLEMAN IRA                CLASS 3            98,000.00         4,344.67                0.00                93,655.33
COLEMAN               PROV. TR GP-FBO NAFEES COLEMAN IRA                 CLASS 3            73,000.00         4,035.28                0.00                68,964.72
COLEN                 ROBERT E COLEN RT DTD 03/13/97                     CLASS 3            25,000.00               0.00              0.00                25,000.00
COLINA                THE SAMUEL & AMY COLINA LT                         CLASS 3            50,000.00          236.11                 0.00                49,763.89
COLLA                 ANTONIO L COLLA                                    CLASS 3          200,000.00        11,552.75                 0.00               188,447.25
COLLIANDER            MAINSTAR-FBO RAVONA COLLIANDER TW00004081          CLASS 3            47,302.68          947.37                 0.00                46,355.31
COLLIER               JANIS COLLIER                                      CLASS 3          100,000.00         2,099.99                 0.00                97,900.01
COLLINGS              GLENNA W COLLINGS                                  CLASS 3            35,000.00          169.17                 0.00                34,830.83
COLLINS               CONSTANCE A COLLINS                                CLASS 3            50,000.00          525.00                 0.00                49,475.00
COLLINS               JERRY W COLLINS                                    CLASS 3            44,707.00         1,069.24                0.00                43,637.76
COLLINS               MAINSTAR-FBO TENITA COLLINS T2177383               CLASS 3            58,000.00          394.73                 0.00                57,605.27
COLLINS               MARY ANN COLLINS                                   CLASS 3            50,000.00          505.56                 0.00                49,494.44
COLLINS               MICHAEL W & ALICIA L COLLINS                       CLASS 5          900,000.00       179,127.77                 0.00               720,872.23
COLORADO PIONEER      COLORADO PIONEER TR DTD 06/23/17                   CLASS 3            50,000.00          982.79                 0.00                49,017.21

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
COLSON                BETTY J COLSON IRREV TR                           CLASS 3            60,000.00         3,750.00               0.00                56,250.00
COLSON                IRA SVCS TR CO-CFBO NEAL A COLSON IRA             CLASS 3            47,000.00         1,802.35               0.00                45,197.65
COLSON                MAINSTAR-FBO CAROL A COLSON T2178159              CLASS 3          101,000.00           656.50                0.00               100,343.50
COLTRIN BROTHERS      COLTRIN BROTHERS LLC                              CLASS 3          200,000.00         1,666.67                0.00               198,333.33
COLUMBUS MEDICAL      COLUMBUS MEDICAL EQUIPMENT INC                    CLASS 3           500,000.00         9,027.76               0.00               490,972.24
COMBINE DIST          COMBINE DIST/JJAZ PSP JAY MILLER TTE              CLASS 5            50,000.00       22,194.63                0.00                27,805.37
COMBS                 BILLY E & LYNN B COMBS                            CLASS 3           109,000.00         3,482.64               0.00               105,517.36
COMBS                 GREGORY MICHAEL COMBS                             CLASS 3            75,000.00         1,188.47               0.00                73,811.53
COMER                 THOMAS L COMER                                    CLASS 3          100,000.00         1,050.00                0.00                98,950.00
COMER                 VICKY S COMER                                     CLASS 3            70,000.00          106.94                0.00                69,893.06
COMINOS               HARRY COMINOS                                     CLASS 3            25,000.00         1,638.16               0.00                23,361.84
COMMINS               KARLA SCHMIDT COMMINS TR                          CLASS 3          200,000.00          3,333.32               0.00               196,666.68
CONAWAY               DIANE CONAWAY                                     CLASS 3            30,000.00          670.00                0.00                29,330.00
CONCASCIA             PROV. TR GP-FBO MICHAEL CONCASCIA IRA             CLASS 3            53,300.00          614.43                0.00                52,685.57
CONE                  MAINSTAR-FBO PATRICIA CONE T2177417               CLASS 3            50,000.00         1,686.41               0.00                48,313.59
CONG MYAD LYAD        CONG MYAD LYAD INC                                CLASS 3            50,000.00         2,744.41               0.00                47,255.59
CONG. BYRUCH MOUSHE CONGREGATION BYRUCH MOUSHE INC                      CLASS 5          150,000.00        16,041.67                0.00               133,958.33
CONG. IMERI ZVI       CONGREGATION IMERI ZVI                            CLASS 5           100,000.00       12,555.51                0.00                87,444.49
CONG. KEREN V'YOEL    CONGREGATION KEREN V'YOEL MOISHE                  CLASS 5           400,000.00              0.00              0.00               400,000.00
CONK                  WALTER R & ELIZABETH J CONK                       CLASS 3            50,000.00         1,701.36               0.00                48,298.64
CONKLIN               PROV. TR GP-FBO DONNA CONKLIN IRA                 CLASS 3            90,000.00       14,070.00                0.00                75,930.00
CONLEY                JAMES MICHAEL & ELIZABETH ANN CONLEY              CLASS 3           200,000.00       27,997.16                0.00               172,002.84
CONMY                 KAREN CONMY                                       CLASS 3            75,000.00         4,637.50               0.00                70,362.50
CONMY                 PROV. TR GP-FBO KAREN CONMY IRA                   CLASS 3            52,700.00         3,043.43               0.00                49,656.57
CONNELLY              JAMES C & PATRICIA A CONNELLY                     CLASS 3            29,000.00         1,769.77               0.00                27,230.23
CONNER                BRENDA C CONNER                                   CLASS 5           400,000.00       57,083.28                0.00               342,916.72
CONNER                CONNER LT DTD 04/16/07                            CLASS 3          250,000.00        26,340.93                0.00               223,659.07
CONNER                CONNER LT DTD 04/16/07                            CLASS 5          550,000.00        57,950.05                0.00               492,049.95
CONNER                MARTHA CONNER                                     CLASS 3            97,428.90         2,138.00               0.00                95,290.90

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CONNOLLY              KRIS L & SHARON R CONNOLLY                        CLASS 3            50,000.00         2,680.52               0.00                47,319.48
CONNOLLY              PROV. TR GP-FBO DENNIS J CONNOLLY IRA             CLASS 3           100,000.00       11,122.23                0.00                88,877.77
CONNOR                PROV. TR GP-FBO SHARON H CONNOR IRA               CLASS 3           127,000.00       19,338.50                0.00               107,661.50
CONNORS               CHARLES C & TRACY V CONNORS                       CLASS 3           371,000.00       27,254.24                0.00               343,745.76
CONNORS               PROV. TR GP-FBO CHARLES C CONNORS IRA             CLASS 3           320,000.00       22,642.33                0.00               297,357.67
CONNORS               PROV. TR GP-FBO TRACY V CONNORS IRA               CLASS 3            60,000.00         5,426.67               0.00                54,573.33
CONSTANTINI           THE ANTHONY G CONSTANTINI RT DTD 5/24/13          CLASS 3            50,000.00              0.00              0.00                50,000.00
CONSTAS               NICK CONSTAS                                      CLASS 5           300,000.00       68,986.07                0.00               231,013.93
CONTI                 SHIRLEY E CONTI                                   CLASS 3            40,000.00         7,165.52               0.00                32,834.48
CONTRACT BUYING SERV CONTRACT BUYING SERVICES INC                       CLASS 3            43,640.00       12,873.78                0.00                30,766.22
CONTRERAS             MALENA CONTRERAS                                  CLASS 3            50,000.00         9,612.50               0.00                40,387.50
CONWAY                EDWARD CONWAY                                     CLASS 3            60,000.00         2,699.59               0.00                57,300.41
CONWAY                EDWARD CONWAY RT                                  CLASS 3           100,000.00         3,566.67               0.00                96,433.33
CONWAY                JEAN & EDWARD CONWAY RT                           CLASS 3            60,000.00         2,560.00               0.00                57,440.00
COODY                 JEANETTE COODY                                    CLASS 3            27,000.00          285.00                0.00                26,715.00
COOK                  ALMA M COOK                                       CLASS 3          100,000.00          4,098.63               0.00                95,901.37
COOK                  CURTIS R & DEBORAH E COOK                         CLASS 5           200,000.00       74,111.32                0.00               125,888.68
COOK                  CURTIS R COOK                                     CLASS 3           300,000.00       49,631.18          1,360.55                 249,008.27
COOK                  CURTIS R COOK                                     CLASS 5           700,000.00      115,806.09          3,174.61                 581,019.30
COOK                  DAVE E COOK                                       CLASS 3            75,000.00         4,782.60               0.00                70,217.40
COOK                  JAMES M COOK                                      CLASS 3          125,000.00          4,985.78               0.00               120,014.22
COOK                  MAINSTAR-FBO JAMES R COOK                         CLASS 3            25,000.00         2,692.71               0.00                22,307.29
COOK                  PROV. TR GP-FBO CURTIS R COOK IRA                 CLASS 3           150,000.00         7,500.00               0.00               142,500.00
COOK                  PROV. TR GP-FBO DEBORAH E COOK IRA                CLASS 3            85,000.00         4,214.58               0.00                80,785.42
COOK                  WILLIAM M COOK                                    CLASS 3            25,000.00              0.00              0.00                25,000.00
COOKE-ZDEB            NANCY J COOKE-ZDEB                                CLASS 3           100,000.00         1,666.67               0.00                98,333.33
COON                  MAINSTAR-FBO LOIS COON T2178322                   CLASS 3            50,000.00          340.28                0.00                49,659.72
COON                  MAINSTAR-FBO PAUL W COON T2177158                 CLASS 3            56,600.00         1,749.88               0.00                54,850.12
COON                  MAINSTAR-FBO SARAH L COON                         CLASS 3            28,000.00        2,512.62                0.00                25,487.38

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
COON                  SARAH L COON                                       CLASS 3          100,000.00          9,163.24              0.00                90,836.76
COOPER                BLAIR B COOPER                                     CLASS 3            70,000.00       14,035.01               0.00                55,964.99
COOPER                COOPER LT 07/27/00                                 CLASS 3            50,000.00         6,258.33              0.00                43,741.67
COOPER                DARYL L & CYNTHIA E COOPER                         CLASS 3            50,000.00         5,166.66              0.00                44,833.34
COOPER                DONALD M COOPER                                    CLASS 5            50,000.00         7,513.94              0.00                42,486.06
COOPER                FRANK & KAROLYN COOPER                             CLASS 3           150,000.00         2,775.00              0.00               147,225.00
COOPER                KAREN L COOPER                                     CLASS 3           140,000.00       13,346.62               0.00               126,653.38
COOPER                MAINSTAR-FBO DONALD M COOPER T2175043              CLASS 5         1,966,608.00      196,608.45               0.00             1,769,999.55
COOPER                PROV. TR GP-FBO DARYL COOPER IRA                   CLASS 3            50,000.00         5,441.67              0.00                44,558.33
COOPER                WILMA COOPER                                       CLASS 3            36,000.00         2,203.50        1,000.00                  32,796.50
COOPRIDER             CHARLES E COOPRIDER                                CLASS 3           250,000.00       36,473.58               0.00               213,526.42
COPELAND              COPELAND FAMILY IRREV TR                           CLASS 3           150,000.00         2,812.50              0.00               147,187.50
COPELAND              MINDY R COPELAND                                   CLASS 3            60,000.00         7,412.50              0.00                52,587.50
COPELAND              PROV. TR GP-FBO MINDY R COPELAND IRA               CLASS 3           111,000.00       21,178.48               0.00                89,821.52
COPELAND              VIRGINIA COPELAND                                  CLASS 3            25,000.00         1,037.99              0.00                23,962.01
CORBETT               JOE CORBETT                                        CLASS 5            50,000.00         9,347.23              0.00                40,652.77
CORBETT               JOSEPH MICHAEL CORBETT RLT DTD 03/29/04            CLASS 5           200,000.00       12,944.47               0.00               187,055.53
CORBETT               RAY & EDITH CORBETT                                CLASS 3            25,000.00          600.00               0.00                24,400.00
CORBETT               ROWENA CORBETT                                     CLASS 5            50,000.00       10,027.86               0.00                39,972.14
CORDER                PROV. TR GP-FBO MALINDA CORDER IRA                 CLASS 3            27,771.00         3,657.05              0.00                24,113.95
CORDONNIER            MAINSTAR-FBO JEREMY CORDONNIER T2177482            CLASS 3            41,807.33         1,275.12              0.00                40,532.21
CORDONNIER            MAINSTAR-FBO SHERRY CORDONNIER                     CLASS 3            75,852.07         4,635.40              0.00                71,216.67
CORDONNIER            SHERRY CORDONNIER                                  CLASS 3            25,000.00         1,973.57              0.00                23,026.43
CORKHILL              PROV. TR GP-FBO ANDREA M CORKHILL ICA              CLASS 3            25,000.00          739.58               0.00                24,260.42
CORNELIUS             DARLENE CORNELIUS                                  CLASS 3           100,000.00         2,690.29              0.00                97,309.71
CORNELIUS             DONALD CORNELIUS                                   CLASS 3           100,000.00       10,526.45               0.00                89,473.55
CORNELY               CINTRA CORNELY                                     CLASS 3            30,000.00         3,385.00              0.00                26,615.00
CORNERSTONE GROWTH CORNERSTONE GROWTH                                    CLASS 3            50,000.00         3,004.20              0.00                46,995.80
CORNETT               IRA SVCS TR CO-CFBO NATALIE M CORNETT IRA          CLASS 3           147,000.00         8,706.49              0.00               138,293.51

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CORPMAN-ELANE         LINDA CORPMAN-ELANE                                CLASS 3            35,000.00         1,696.49               0.00                33,303.51
CORRAO                DEBORAH C CORRAO                                   CLASS 3           175,000.00         8,395.52               0.00               166,604.48
CORREA                MIGUEL G CORREA                                    CLASS 3          100,000.00        17,655.40                0.00                82,344.60
CORREA                OLGA CORREA                                        CLASS 3            50,000.00              0.00              0.00                50,000.00
CORREA                PROV. TR GP-FBO MIGUEL G CORREA IRA                CLASS 3           389,500.00       41,986.79                0.00               347,513.21
CORRELL               JAMES W & JOY A CORRELL FT                         CLASS 3           350,000.00       50,877.64                0.00               299,122.36
CORRELL               SONDRA B CORRELL                                   CLASS 3           100,000.00         2,916.69               0.00                97,083.31
CORRIGAN              PROV. TR GP-FBO VICKI M CORRIGAN IRA               CLASS 3           135,000.00       26,250.00                0.00               108,750.00
CORSI                 JANIS & JESSE CORSI                                CLASS 3            35,000.00         2,652.53               0.00                32,347.47
CORTES                FLORIS & MICHAEL J CORTES                          CLASS 3            25,000.00         2,093.98               0.00                22,906.02
CORTEZ                MAINSTAR-FBO MANUEL C CORTEZ T2177097              CLASS 3            21,200.00          561.80                0.00                20,638.20
CORVI                 PROV. TR GP-FBO MARION CORVI IRA                   CLASS 3           100,000.00         2,255.56               0.00                97,744.44
CORVO                 CATERINA CORVO                                     CLASS 3            30,000.00         2,325.00         1,000.00                  26,675.00
COSH                  DOROTHY J COSH                                     CLASS 3            30,000.00         3,474.17               0.00                26,525.83
COSNER                BRENDA COSNER                                      CLASS 3            50,000.00         4,666.72               0.00                45,333.28
COSS                  STEPHEN T COSS                                     CLASS 3            25,000.00          427.77                0.00                24,572.23
COSSU                 JESSIE JOANN COSSU                                 CLASS 3          100,000.00         4,629.13                0.00                95,370.87
COSTA                 CHARLES D & PAMELA L COSTA                         CLASS 5            50,000.00       24,883.32                0.00                25,116.68
COSTA                 PROV. TR GP-FBO WENDY COSTA SEP IRA                CLASS 5            52,000.00       13,000.00                0.00                39,000.00
COSTA                 THE COSTA LT UA 02/01/80                           CLASS 3          200,000.00           133.33                0.00               199,866.67
COSTANZA              LOUIS J & JOYCE A COSTANZA                         CLASS 3            40,000.00         4,711.20               0.00                35,288.80
COTECCHIA             ALAN COTECCHIA                                     CLASS 5           200,000.00       73,623.80                0.00               126,376.20
COTTEN                CLAY M COTTEN                                      CLASS 3            50,000.00         1,408.33               0.00                48,591.67
COTTER                JAMES R & DONNA K COTTER                           CLASS 3            50,000.00         6,650.04               0.00                43,349.96
COUGHLIN              RICHARD C COUGHLIN                                 CLASS 3           150,000.00         2,875.00               0.00               147,125.00
COUGLE                IRA SVCS TR CO-CFBO TRACI COUGLE IRA               CLASS 3            25,000.00         2,337.48               0.00                22,662.52
COURTNEY              CHRIS & DONNA COURTNEY                             CLASS 3            76,000.00         1,678.35               0.00                74,321.65
COURTNEY              FRANKIE J & ROY L COURTNEY                         CLASS 3           100,000.00          366.67                0.00                99,633.33
COURTNEY              ROBERT L COURTNEY                                  CLASS 3           200,000.00         4,433.34               0.00               195,566.66

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
COURTNEY              SUNWEST TR ROY COURTNEY IRA                        CLASS 3            50,000.00          239.82                0.00                49,760.18
COVELESKIE            COVELESKIE FT                                      CLASS 3            50,000.00         4,200.00               0.00                45,800.00
COVELESKIE            MAINSTAR-FBO BARBARA COVELESKIE T2175580           CLASS 3            33,000.00        1,511.30                0.00                31,488.70
COVELESKIE            MAINSTAR-FBO ROGER W COVELESKIE T2175579           CLASS 3            29,000.00          580.23                0.00                28,419.77
COVELO                MAINSTAR-FBO DOMENICK V COVELO T2177232            CLASS 3          100,000.00         2,383.33                0.00                97,616.67
COVENTRY              MAINSTAR-FBO VIRGINIA M COVENTRY                   CLASS 3            28,186.47         1,522.07               0.00                26,664.40
COVER                 GLENNA COVER                                       CLASS 3          130,000.00          6,420.53               0.00               123,579.47
COVER                 JOSEPH P COVER                                     CLASS 3            25,000.00         1,354.21               0.00                23,645.79
COVINGTON             IRA SVCS TR CO-CFBO TERRY L COVINGTON IRA          CLASS 3           138,000.00         3,660.83               0.00               134,339.17
COWLEY                SUNWEST TR NEIL T COWLEY IRA                       CLASS 3          329,000.00        19,527.98                0.00               309,472.02
COWSER                SUNWEST TR DANIEL J COWSER IRA                     CLASS 3            80,000.00              0.00              0.00                80,000.00
COX                   DAVID M & MARGARET K COX                           CLASS 3            50,000.00          991.68                0.00                49,008.32
COX                   JAMES G COX                                        CLASS 5            50,000.00        3,604.76                0.00                46,395.24
COX                   JOANNE COX                                         CLASS 3*           25,000.00        1,260.38                0.00                23,739.62
COX                   JOYCE M COX                                        CLASS 3            25,000.00        2,208.33                0.00                22,791.67
COX                   MAINSTAR-FBO KENNETH J COX                         CLASS 3            69,300.00         7,114.80               0.00                62,185.20
COX                   MAINSTAR-FBO MARGARET K COX                        CLASS 3            85,715.67         4,583.40               0.00                81,132.27
COX                   MAINSTAR-FBO THOMAS I COX TW003360                 CLASS 3            25,000.00        2,175.00                0.00                22,825.00
COX                   PROV. TR GP-FBO MIKEL A COX IRA                    CLASS 5          349,243.00        52,201.54                0.00               297,041.46
COX                   PROV. TR GP-FBO WILLIAM A COX IRA                  CLASS 3          218,800.00         5,980.54                0.00               212,819.46
COX                   RONALD L COX TR 03/10/80                           CLASS 3            75,000.00        3,953.47                0.00                71,046.53
COYLE                 GINNY L COYLE                                      CLASS 3            25,000.00          855.84                0.00                24,144.16
COYNE                 RUSSELL J COYNE                                    CLASS 3          250,000.00               0.00              0.00               250,000.00
COZZIE                MAINSTAR-FBO JAMES W COZZIE T2175237               CLASS 3          100,000.00         7,625.02                0.00                92,374.98
CRACCHIOLO            SAMUEL & DEBORAH CRACCHIOLO                        CLASS 3           100,000.00         1,616.67               0.00                98,383.33
CRADY                 RAYMOND J & JUDY L CRADY                           CLASS 3            50,000.00         3,354.11               0.00                46,645.89
CRAFF/BORDA           MELBA CRAFF & JORGE BORDA                          CLASS 3            70,000.00          183.75                0.00                69,816.25
CRAIG                 MARTHA ELLEN CRAIG                                 CLASS 3            43,000.00         8,946.27               0.00                34,053.73
CRAIG                 NICOLE SPINA CRAIG                                 CLASS 3            70,000.00         4,148.45               0.00                65,851.55

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                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
CRAIG                 PROV. TR GP-FBO MARTHA E CRAIG ROTH IRA           CLASS 3            81,000.00       13,786.40                 0.00                67,213.60
CRAIG/KESTEN          BARBARA CRAIG & GREG KESTEN                       CLASS 3            25,000.00         2,470.87                0.00                22,529.13
CRAIGHEAD             ANGELA & EUGENE CRAIGHEAD                         CLASS 3           100,000.00         7,563.85                0.00                92,436.15
CRAIGIE               PROV. TR GP-FBO DONALD F CRAIGIE IRA              CLASS 5           100,000.00       28,988.89                 0.00                71,011.11
CRAMER                DAVID D CRAMER                                    CLASS 3            50,000.00         1,263.90                0.00                48,736.10
CRAWFORD              ALYSSA M CRAWFORD TR                              CLASS 3            25,000.00         1,904.91                0.00                23,095.09
CRAWFORD              NICOLE E CRAWFORD TR                              CLASS 3            25,000.00         1,961.51                0.00                23,038.49
CRAWFORD              WILLIAM DEAN & LINDA SUE CRAWFORD                 CLASS 3           200,000.00       16,666.56                 0.00               183,333.44
CRAYTON               CURLEE A CRAYTON                                  CLASS 3           200,000.00       25,083.23                 0.00               174,916.77
CREAMER               JOHN M & DOROTHY L CREAMER                        CLASS 3           250,000.00       14,805.51                 0.00               235,194.49
CREATIONS IN LUCITE   CREATIONS IN LUCITE INC                           CLASS 5            50,000.00         2,030.57                0.00                47,969.43
CREEVY                SCOTT K & SALLY J CREEVY                          CLASS 3            57,000.00          294.50                 0.00                56,705.50
CREEVY                SCOTT K CREEVY                                    CLASS 3           100,000.00       12,700.00                 0.00                87,300.00
CREISSEN              THOMAS J CREISSEN                                 CLASS 3          150,000.00        14,601.42                 0.00               135,398.58
CRESPIN               MARIE CRESPIN                                     CLASS 3            25,000.00         1,489.62                0.00                23,510.38
CRETELLA              CAROLINA CRETELLA                                 CLASS 3           200,000.00         8,097.29                0.00               191,902.71
CRETIN                MAINSTAR-FBO TIMOTHY CRETIN                       CLASS 3            91,000.00         8,814.33                0.00                82,185.67
CREWS                 ROYCE D CREWS                                     CLASS 3            30,000.00          533.33                 0.00                29,466.67
CRIPE                 ADELE CAREY CRIPE TR                              CLASS 3            50,000.00          423.60                 0.00                49,576.40
CROAL                 PROV. TR GP-FBO EDWARD C CROAL, JR IRA            CLASS 5            57,000.00       13,711.67                 0.00                43,288.33
CROMER                MAINSTAR-FBO BYRON CROMER TW004021                CLASS 3            75,000.00         1,779.17                0.00                73,220.83
CRONIN                PROV. TR GP-FBO DANA LYNN CRONIN IRA              CLASS 3            25,000.00          375.00                 0.00                24,625.00
CROSBY                GABRIELLA B CROSBY                                CLASS 3            50,000.00              41.67              0.00                49,958.33
CROSBY                LORIN & GABRIELLA B CROSBY                        CLASS 3            85,000.00         2,224.17                0.00                82,775.83
CROSS                 CLARENCE W CROSS JR                               CLASS 3           125,000.00         1,458.33                0.00               123,541.67
CROSSAN               RICHARD W CROSSAN TR                              CLASS 3            50,000.00               0.00              0.00                50,000.00
CROUCH                MARK C CROUCH                                     CLASS 3            15,000.00          272.50                 0.00                14,727.50
CROWDER               PROV. TR GP-FBO JAMES CROWDER IRA                 CLASS 3            48,989.06         5,603.80                0.00                43,385.26
CROWE                 MAINSTAR-FBO JAMES CROWE T2177044                 CLASS 5           400,000.00       16,288.89                 0.00               383,711.11

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CROWE                 RICHARD & BEVERLY CROWE                           CLASS 3            65,000.00         2,426.67               0.00                62,573.33
CROWELL               MARGUERITE CROWELL                                CLASS 3            25,000.00              0.00              0.00                25,000.00
CROWLEY               JACQUELINE M CROWLEY FT                           CLASS 3          150,000.00          4,468.41               0.00               145,531.59
CROWN 12 SERVICES     CROWN 12 SERVICES INC                             CLASS 3          100,000.00           736.11                0.00                99,263.89
CROWSON               TIFFANY CROWSON                                   CLASS 3           136,000.00       18,305.25                0.00               117,694.75
CRUICKSHANK           GORDON S CRUICKSHANK                              CLASS 3            25,000.00         2,566.61               0.00                22,433.39
CRUICKSHANK           PROV. TR GP-FBO GORDON S CRUICKSHANK IRA          CLASS 3            46,000.00         2,990.00               0.00                43,010.00
CRUM                  MAINSTAR-FBO MELVIN L CRUM                        CLASS 3          102,010.00          6,562.64               0.00                95,447.36
CRUMP                 RANDELL & EDETTE CRUMP                            CLASS 3            50,000.00         2,574.34               0.00                47,425.66
CRUTCHER              DEBORAH D CRUTCHER                                CLASS 3           140,000.00         7,991.62               0.00               132,008.38
CRUZ                  ELIZABETH CRUZ                                    CLASS 3            50,000.00          602.78                0.00                49,397.22
CRUZ                  PROV. TR GP-FBO JOSE CRUZ IRA                     CLASS 3          100,000.00          1,209.73               0.00                98,790.27
CRUZ                  PROV. TR GP-FBO JOSE CRUZ IRA                     CLASS 5           100,000.00         1,209.73               0.00                98,790.27
CRUZ                  PROV. TR GP-FBO MAYRA CRUZ IRA                    CLASS 3           100,000.00         1,302.78               0.00                98,697.22
CSANADI               STEVEN CSANADI                                    CLASS 3           100,000.00       12,154.16                0.00                87,845.84
CUCHETTI              WENDELL R CUCHETTI                                CLASS 3            90,000.00       13,343.37                0.00                76,656.63
CUDDY                 PROV. TR GP-FBO MUFFET FOY CUDDY IRA              CLASS 3            50,000.00          855.56                0.00                49,144.44
CULLIGAN              PROV. TR GP-FBO JO A CULLIGAN IRA                 CLASS 3            25,000.00          568.57                0.00                24,431.43
CULOTTA               ROSEMARY CULOTTA                                  CLASS 3            55,000.00          935.00                0.00                54,065.00
CULVER                GENE M & KYLE L CULVER                            CLASS 3            70,000.00         9,138.36               0.00                60,861.64
CUMMER                INGRID CUMMER                                     CLASS 3          170,000.00        19,583.28                0.00               150,416.72
CUMMINGS              JANE W CUMMINGS EXEMPT TR U/A 09/07/94            CLASS 3            75,000.00         1,191.67               0.00                73,808.33
CUMMINGS              JANE W CUMMINGS LT DTD 04/13/00                   CLASS 3            50,000.00          794.44                0.00                49,205.56
CUMMINGS              LESTER H CUMMINGS JR                              CLASS 3            75,000.00         9,472.34               0.00                65,527.66
CUMMINGS              MAINSTAR-FBO MARLENE CUMMINGS                     CLASS 3            54,490.00         7,680.81               0.00                46,809.19
CUMMINGS              MAINSTAR-FBO TERESSA CUMMINGS T2176326            CLASS 3            92,286.34         3,276.16               0.00                89,010.18
CUMMINGS              MELISSA M & LESTER CUMMINGS III                   CLASS 3           100,000.00       18,166.67                0.00                81,833.33
CUNARD                ROBERT D CUNARD                                   CLASS 3            50,000.00         6,742.57               0.00                43,257.43
CUNARD                ROBERT D CUNARD                                   CLASS 5           100,000.00       13,485.15                0.00                86,514.85

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
CUNNINGHAM            CUNNINGHAM LT                                      CLASS 3           300,000.00         7,233.33               0.00               292,766.67
CUNNINGHAM            MAINSTAR-FBO TERENCE CUNNINGHAM T2177457           CLASS 3           250,000.00         7,243.06               0.00               242,756.94
CUNNINGHAM            THE GARY & ELOISE CUNNINGHAM LT                    CLASS 3           175,000.00       15,609.15                0.00               159,390.85
CURLER                PROV. TR GP-FBO THOMAS A CURLER IRA                CLASS 3            50,000.00          979.17                0.00                49,020.83
CURRENCE              MAINSTAR-FBO DOROTHY R CURRENCE T2176223           CLASS 3           300,000.00       24,556.13                0.00               275,443.87
CURRIE                PAMELA CURRIE                                      CLASS 3            50,000.00         2,040.97               0.00                47,959.03
CURRIE                PROV. TR GP-FBO MARGUERITE A CURRIE IRA            CLASS 3           100,000.00         5,608.37               0.00                94,391.63
CURRY                 MAXINE CURRY                                       CLASS 3            25,000.00         8,919.99               0.00                16,080.01
CURTIS                CAROL A CURTIS                                     CLASS 3           200,000.00         2,100.00         1,000.00                 196,900.00
CURTIS                CURTIS FT DTD 07/01/03                             CLASS 3          400,000.00        36,586.00                0.00               363,414.00
CURTIS                HORIZON TR CO-FBO ALFRED CURTIS ROTH IRA           CLASS 5          440,000.00        48,013.87                0.00               391,986.13
CURTIS                STEVE D CURTIS                                     CLASS 3          100,000.00               0.00              0.00               100,000.00
CUSHMAN               PATRICIA CUSHMAN                                   CLASS 3            55,000.00          927.44                0.00                54,072.56
CUSTER                MAINSTAR-FBO ROGER CUSTER                          CLASS 3            52,000.00         4,590.43               0.00                47,409.57
CUSTRED               CUSTRED FT                                         CLASS 3          100,000.00           763.89                0.00                99,236.11
CUTHBERTSON           CAROL CUTHBERTSON                                  CLASS 3            25,000.00          375.50                0.00                24,624.50
CUTSAIL               MARY CUTSAIL                                       CLASS 3            25,000.00          781.27                0.00                24,218.73
CYGAN                 THOMAS F & PATRICIA M CYGAN                        CLASS 3            70,000.00       11,073.31                0.00                58,926.69
CYR                   ALBERT G CYR TR                                    CLASS 3          100,000.00          5,424.97               0.00                94,575.03
CYR                   PAUL CYR                                           CLASS 3          100,000.00         3,425.00                0.00                96,575.00
DADEY                 KATHLEEN A DADEY                                   CLASS 3            25,000.00         1,392.40               0.00                23,607.60
DAGATE                PROV. TR GP-FBO DAVID DAGATE ROTH IRA              CLASS 3            95,400.00         1,094.45               0.00                94,305.55
DAGUE                 PROV. TR GP-FBO MICHAEL M DAGUE IRA                CLASS 3           152,550.00       12,026.03                0.00               140,523.97
DAHLEN                CRAIG M DAHLEN                                     CLASS 3            25,000.00          279.17                0.00                24,720.83
DAHLKAMP              THOMAS R DAHLKAMP                                  CLASS 3            25,000.00              0.00              0.00                25,000.00
DAHMS                 PROV. TR GP-FBO WILLIAM R DAHMS IRA                CLASS 5           250,000.00       46,388.89                0.00               203,611.11
DAILEY                NANCY L DAILEY                                     CLASS 3            93,213.00         4,054.81               0.00                89,158.19
DAILEY                PROV. TR GP-FBO DONALD LEONARD DAILEY IRA          CLASS 3            73,500.00       23,373.49                0.00                50,126.51
DALEY                 PROV. TR GP-FBO BEVERLY DALEY IRA                  CLASS 3           103,171.00       11,065.58                0.00                92,105.42

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
DALEY                 TMICO-FBO RONALD E DALEY TRAD IRA                 CLASS 5            75,000.00       23,354.13                 0.00                51,645.87
DALTON                IRA SVCS TR CO-CFBO BRADLEY DALTON IRA            CLASS 3            59,750.00         6,106.19                0.00                53,643.81
DAMMANN               MAINSTAR-FBO ALEEN DAMMANN                        CLASS 5            44,000.00         7,076.69                0.00                36,923.31
DAMMANN               PROV. TR GP-FBO WALTER DAMMANN IRA                CLASS 5          115,000.00        26,865.27                 0.00                88,134.73
DAMON                 PROV. TR GP-FBO DAVID W DAMON IRA                 CLASS 3           100,000.00         3,495.14                0.00                96,504.86
DANEK                 EDUARD & IVETA DANEK                              CLASS 3           150,000.00       13,591.67                 0.00               136,408.33
DANIEL                FREDERICK A DANIEL                                CLASS 3            25,000.00          854.19                 0.00                24,145.81
DANIELS               MAINSTAR-FBO MARTHA L DANIELS T2178446            CLASS 3            29,700.00          128.70                 0.00                29,571.30
DANIELS               PROV. TR GP-FBO BRADLEY D DANIELS IRA             CLASS 5           100,000.00       36,611.11                 0.00                63,388.89
DANISH                IRA SVCS TR CO-CFBO DONNA L DANISH IRA            CLASS 3           138,000.00         7,958.29                0.00               130,041.71
DANNER                AMERICAN EST&TR FBO EVELYN J DANNER               CLASS 5           100,000.00       44,444.29                 0.00                55,555.71
DANON                 LAURA DANON                                       CLASS 3            30,000.00          370.00                 0.00                29,630.00
DANON                 LAURA DANON 2009 RT                               CLASS 3            40,000.00         3,073.00                0.00                36,927.00
DANTIN                IRA SVCS TR CO-CFBO DEBORAH M DANTIN SEP          CLASS 3           177,000.00         1,548.75                0.00               175,451.25
DANTIN                JOHN KEITH DANTIN                                 CLASS 3          100,000.00          2,080.55                0.00                97,919.45
DARBY                 CAROL A DARBY                                     CLASS 3            50,000.00         3,308.35                0.00                46,691.65
DARDARIS              MAINSTAR-FBO LINDA DARDARIS                       CLASS 3           125,000.00       15,795.17                 0.00               109,204.83
DARDARIS              MAINSTAR-FBO LINDA DARDARIS                       CLASS 5           125,000.00       15,795.17                 0.00               109,204.83
DAUGHERTY             GLENIAL LEE DAUGHERTY LT DTD 11/30/06             CLASS 3            50,000.00         3,308.33                0.00                46,691.67
DAUGHERTY             IRA SVCS TR CO-CFBO ROY DAUGHERTY                 CLASS 3            25,000.00              19.44              0.00                24,980.56
DAUGHERTY             PROV. TR GP-FBO JAMES&SUSAN DAUGHERTY ICA         CLASS 5            50,000.00       15,791.82                 0.00                34,208.18
DAUS                  IRA SVCS TR CO-CFBO CHARLES P DAUS IRA            CLASS 3            30,000.00         1,229.58                0.00                28,770.42
DAVALATH              MEGHA & SHYLAJA DAVALATH                          CLASS 3            60,000.00         3,282.50                0.00                56,717.50
DAVENPORT             JOYCE E DAVENPORT                                 CLASS 3            30,000.00         2,158.33                0.00                27,841.67
DAVENPORT             MAINSTAR-FBO ROY D DAVENPORT                      CLASS 3            73,000.00         2,821.66                0.00                70,178.34
DAVEY                 DANA R DAVEY                                      CLASS 3            50,000.00         2,313.91                0.00                47,686.09
DAVEY                 HORIZON TR CO-FBO NANCY A DAVEY IRA               CLASS 3           150,406.00       10,323.72                 0.00               140,082.28
DAVEY                 HOWARD D DAVEY                                    CLASS 3          100,000.00          3,338.57                0.00                96,661.43
DAVEY                 MAYBELLE S DAVEY                                  CLASS 3            33,000.00         5,231.42                0.00                27,768.58

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
DAVEY                 PROV. TR GP-FBO MAYBELLE S DAVEY IRA               CLASS 3           116,596.58       18,373.68               0.00                98,222.90
DAVEZAC               THE DAVEZAC FT                                     CLASS 3          100,000.00          2,152.79              0.00                97,847.21
DAVIDOW               PEARL DAVIDOW                                      CLASS 3            50,000.00       16,720.29               0.00                33,279.71
DAVIDOWITZ            SETH LOREN DAVIDOWITZ                              CLASS 3           400,000.00       14,133.35               0.00               385,866.65
DAVIDOWSKI            SANDRA L DAVIDOWSKI                                CLASS 3            50,000.00         2,051.41              0.00                47,948.59
DAVIDSON              LAWRENCE B DAVIDSON                                CLASS 3            60,000.00         7,627.51              0.00                52,372.49
DAVIES                PROV. TR GP-FBO BRIAN DAVIES IRA                   CLASS 3            26,000.00        1,785.33               0.00                24,214.67
DAVIS                 DAVID DAVIS                                        CLASS 3          250,000.00          1,565.28              0.00               248,434.72
DAVIS                 DORIS DEANNA DAVIS RLT DTD 07/19/07                CLASS 3           100,000.00         2,383.33              0.00                97,616.67
DAVIS                 IRA SVCS TR CO-CFBO VONDA MARIE DAVIS              CLASS 3           200,000.00         3,600.00              0.00               196,400.00
DAVIS                 JUNE DAVIS                                         CLASS 3            25,000.00        1,243.09               0.00                23,756.91
DAVIS                 MAINSTAR-FBO ROBERT KEITH DAVIS T2175960           CLASS 3          106,310.70          6,205.12              0.00               100,105.58
DAVIS                 MARION I DAVIS                                     CLASS 3          100,000.00          4,405.58              0.00                95,594.42
DAVIS                 MARY L DAVIS                                       CLASS 3            30,000.00          591.25               0.00                29,408.75
DAVIS                 PHILIP W & CYNTHIA M DAVIS                         CLASS 3           100,000.00         9,058.38              0.00                90,941.62
DAVIS                 PIERRE L DAVIS                                     CLASS 3            25,000.00          329.17               0.00                24,670.83
DAVIS                 PROV. TR GP-FBO CHRISTINE K DAVIS ICA              CLASS 3            95,000.00         7,084.10              0.00                87,915.90
DAVIS                 PROV. TR GP-FBO CHRISTINE K DAVIS IRA              CLASS 3            81,000.00         5,469.75              0.00                75,530.25
DAVIS                 RALEIGH BRITTE & SYLVIA V DAVIS                    CLASS 5            80,000.00       15,888.97               0.00                64,111.03
DAVIS                 RICHARD MORGAN & CAROL ALBRIGHT DAVIS              CLASS 3            50,000.00         1,104.15              0.00                48,895.85
DAVIS                 STEVEN J & KATHLEEN N DAVIS TR                     CLASS 5           200,000.00       33,066.72               0.00               166,933.28
DAWSON                DAVID W DAWSON                                     CLASS 3           150,000.00       13,641.76         1,000.00                 135,358.24
DAWSON                ELIZABETH & ROBERT DAWSON                          CLASS 3           100,000.00         8,604.24              0.00                91,395.76
DAWSON                KERRY DAWSON                                       CLASS 3            60,000.00         4,308.33              0.00                55,691.67
DAY                   FRED J & ANN A DAY                                 CLASS 3            25,000.00          952.76               0.00                24,047.24
DDM LAND              DDM LAND LLC                                       CLASS 3            50,000.00         2,716.67              0.00                47,283.33
DE                    JHARNA DE                                          CLASS 3          113,000.00         2,419.68               0.00               110,580.32
DE JONG               DE JONG FRLT 05/27/03                              CLASS 3          200,000.00        29,166.56               0.00               170,833.44
DE LEON               ALFRED ALEXANDER & MAYRA PENA DE LEON              CLASS 3            40,000.00         6,227.50              0.00                33,772.50

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
DE LOS SANTOS         CHERLYN DE LOS SANTOS                             CLASS 3            30,000.00         1,579.17              0.00                28,420.83
DE MESA               THE ANGELICA ABACA DE MESA TR                     CLASS 3           100,000.00         5,041.63              0.00                94,958.37
DE MESA               THE MARTIN LANTIN DE MESA FT                      CLASS 3           100,000.00         5,041.63        1,000.00                  93,958.37
DE MESA               THE MICHAEL A DE MESA TR                          CLASS 3          100,000.00          5,041.63              0.00                94,958.37
DE SILVA              EDMUND & COLOMBA DE SILVA                         CLASS 5            75,000.00         1,595.83              0.00                73,404.17
DE VRIES              THE SISSY DE VRIES TR DTD 06/07/06                CLASS 3            50,000.00          791.66               0.00                49,208.34
DEADWOOD PROPERTY     DEADWOOD PROPERTY LLC                             CLASS 3          196,141.56         9,153.27               0.00               186,988.29
DEAK                  ELIZABETH & STEVEN DEAK                           CLASS 3            80,000.00         4,766.63              0.00                75,233.37
DEAN                  MAINSTAR-FBO CYNTHIA A DEAN T2176378              CLASS 3            27,000.00          922.50               0.00                26,077.50
DEAN                  MAINSTAR-FBO FRANK M S DEAN                       CLASS 3            56,248.00         2,887.40              0.00                53,360.60
DEANGIO               MAINSTAR-FBO GARY M DEANGIO T2178299              CLASS 3            33,000.00          142.08               0.00                32,857.92
DEARMOND              DEARMOND RLT DTD 06/19/04                         CLASS 3            50,000.00         1,459.39              0.00                48,540.61
DEARMOND              PROV. TR GP-FBO SUSAN DEARMOND IRA                CLASS 3           124,270.00         6,810.55              0.00               117,459.45
DEARS                 NORA GOMEZ-DEARS & ROLAND D DEARS                 CLASS 3            25,000.00          301.38               0.00                24,698.62
DECAMP                RONALD DECAMP                                     CLASS 3            65,000.00        4,416.66               0.00                60,583.34
DECKER                PROV. TR GP-FBO SHARON M DECKER IRA               CLASS 5           234,000.00       39,553.28               0.00               194,446.72
DECOCK                UNA KAY DECOCK                                    CLASS 3            25,000.00         1,958.37              0.00                23,041.63
DEEP SOUTH HOME       DEEP SOUTH HOME MEDICAL EQUIPMENT                 CLASS 3           100,000.00         6,031.24              0.00                93,968.76
DEERE                 JOHN DEERE                                        CLASS 5          100,000.00          9,227.72              0.00                90,772.28
DEFORD                MAINSTAR-FBO KATHLEEN A DEFORD T2177416           CLASS 3            68,500.00         1,217.78              0.00                67,282.22
DEFRANCESCO           JOSEPH & MARIA DEFRANCESCO                        CLASS 3            75,000.00          654.17               0.00                74,345.83
DEGRACA               HORIZON TR CO-FBO DAVID J DEGRACA IRA             CLASS 3            64,100.00         6,694.84              0.00                57,405.16
DEGRANDPRE            HORIZON TR CO-FBO BYRNE DEGRANDPRE IRA            CLASS 3            70,800.00         9,779.25              0.00                61,020.75
DEHAAN                KRISTYN JO DEHAAN                                 CLASS 3            75,000.00         7,050.00              0.00                67,950.00
DEHAVEN/FORMAN        RICHARD DEHAVEN & CAROL ANN FORMAN                CLASS 3           100,000.00         1,500.00              0.00                98,500.00
DEHNEL                PROV. TR GP-FBO KRIS DEHNEL IRA                   CLASS 5            62,300.00       15,488.47               0.00                46,811.53
DEHNERT               PROV. TR GP-FBO STEPHEN DEHNERT IRA               CLASS 3            59,500.00         1,229.67              0.00                58,270.33
DEITCH                PROV. TR GP-FBO GERALD DEITCH IRA                 CLASS 3            98,500.00       16,567.15               0.00                81,932.85
DEITSCH               ROBIN W DEITSCH                                   CLASS 3          160,000.00        23,075.38               0.00               136,924.62

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
DEJARLAIS             MAINSTAR-FBO JAMES DEJARLAIS T2174907             CLASS 3          100,000.00        12,083.32                0.00                87,916.68
DEJARNETT             PROV. TR GP-FBO FRANCES DEJARNETT IRA             CLASS 5          200,000.00        43,880.60                0.00               156,119.40
DEKTER                MAINSTAR-FBO SUSAN DEKTER BT176824                CLASS 3            50,000.00         1,576.39               0.00                48,423.61
DEL GIORNO            MARIAN J & PETER S DEL GIORNO                     CLASS 3           100,000.00         7,810.45               0.00                92,189.55
DELAGRAVE             BETTY & DONALD DELAGRAVE                          CLASS 3           100,000.00       11,211.00                0.00                88,789.00
DELAIR                JAMES W & JUDITH S DELAIR                         CLASS 3            50,000.00         1,025.00               0.00                48,975.00
DELAP                 ANN W DELAP                                       CLASS 3          297,000.00        36,388.78                0.00               260,611.22
DELAROSA              IRA SVCS TR CO-CFBO ROBERT L DELAROSA             CLASS 3            50,000.00          573.61                0.00                49,426.39
DELAVEGA              ALFONSO & ISIDORA DELAVEGA                        CLASS 3            25,000.00          404.17                0.00                24,595.83
DELAWARE ASSOC.       DELAWARE ASSOCIATION OF REALTORS INC              CLASS 3            50,000.00         1,208.33               0.00                48,791.67
DELEO                 PROV. TR GP-FBO MICHAEL E DELEO IRA               CLASS 3            95,000.00         8,708.33               0.00                86,291.67
DeLEON                DANIEL DeLEON JR                                  CLASS 5          150,000.00        61,875.54                0.00                88,124.46
DELLINGER             THOMAS E DELLINGER                                CLASS 3            25,000.00          496.54                0.00                24,503.46
DELL'OREFICE          VINCENT & MARY JO DELL'OREFICE                    CLASS 5            50,000.00       18,666.84                0.00                31,333.16
DELMENDO              ALBERTO G DELMENDO                                CLASS 3            40,000.00         3,522.19               0.00                36,477.81
DELORENZO             FRANK J DELORENZO JR                              CLASS 3            50,000.00              0.00              0.00                50,000.00
DELORENZO             MAINSTAR-FBO FRANK DELORENZO JR R2178536          CLASS 3            50,000.00              0.00              0.00                50,000.00
DELTERGO              ANTHONY M DELTERGO                                CLASS 3            25,000.00         2,312.50               0.00                22,687.50
DELUCA/VALE           PHYLLIS ANNE DELUCA & KAMI ROSE VALE              CLASS 3           170,000.00         3,211.10               0.00               166,788.90
DEMANGE               EDWARD J & SUSAN M DEMANGE                        CLASS 3            75,000.00         3,861.46               0.00                71,138.54
DEMAREST              KENNETH C DEMAREST                                CLASS 3            25,000.00         6,216.67               0.00                18,783.33
DEMARIA               AGNES DEMARIA                                     CLASS 3            50,000.00         4,658.76         1,000.00                  44,341.24
DEMARS                STEPHANIE DEMARS                                  CLASS 3            25,000.00         1,037.50               0.00                23,962.50
DEMEL                 DOLORES DEMEL                                     CLASS 3            25,000.00        1,149.62                0.00                23,850.38
DEMEL                 RANDY G DEMEL                                     CLASS 3            50,000.00         2,701.75               0.00                47,298.25
DEMING                SHEVAN DEMING                                     CLASS 3            65,000.00        4,571.67                0.00                60,428.33
DEMKO                 STEPHEN J DEMKO                                   CLASS 3            50,804.36        1,291.25                0.00                49,513.11
DEMPSEY               GEORGE S DEMPSEY                                  CLASS 3          200,000.00          4,180.54               0.00               195,819.46
DENFELD               DIANE DENFELD                                     CLASS 3            25,000.00        3,684.72                0.00                21,315.28

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]                [3]          [1] minus [2] minus [3]
DENFELD               DIANE DENFELD                                       CLASS 5          100,000.00        14,738.87                 0.00                85,261.13
DENIRO                PROV. TR GP-FBO DOROTHY A DENIRO IRA                CLASS 3            50,000.00         1,250.00                0.00                48,750.00
DENIS                 SHIRLEY R DENIS                                     CLASS 3            80,000.00        5,866.67                 0.00                74,133.33
DENISON               JULIA H DENISON                                     CLASS 3            50,000.00        1,432.31                 0.00                48,567.69
DENISON               STANLEY & JOAN DENISON DEC OF TR 02/28/02           CLASS 3          100,000.00           944.45                 0.00                99,055.55
DENKOVICH             IRA SVCS TR CO-CFBO LINDA DENKOVICH IRA             CLASS 3           171,000.00         6,457.51                0.00               164,542.49
DENKOVICH             PETER P JR & LINDA DENKOVICH                        CLASS 3          100,000.00         6,916.67                 0.00                93,083.33
DENTZ                 ARLENE F & MARVIN DENTZ                             CLASS 3            25,000.00         2,720.89                0.00                22,279.11
DEPROSPERIS           MAINSTAR-FBO PETER M DEPROSPERIS TW003861           CLASS 3          100,000.00         3,986.11                 0.00                96,013.89
DERAKHSHANDEH         SHERI DERAKHSHANDEH                                 CLASS 3           100,000.00              72.22              0.00                99,927.78
D'ERAMO               ANTONINO & MARISA D'ERAMO                           CLASS 5           550,000.00      185,738.55                 0.00               364,261.45
DERAS                 MAINSTAR-FBO JORGE M DERAS TW003879                 CLASS 3            60,000.00         2,814.29                0.00                57,185.71
DERENZIS              CATHERINE M DERENZIS                                CLASS 3            25,000.00          854.19                 0.00                24,145.81
DERESSE               PROV. TR GP-FBO ABEBECH DERESSE IRA                 CLASS 3            38,120.00          979.47                 0.00                37,140.53
DEROSA                PROV. TR GP-FBO LINDA A DEROSA IRA                  CLASS 3           116,850.00         1,168.51                0.00               115,681.49
DERRICK               BENNIE A DERRICK                                    CLASS 3            25,000.00         1,225.73                0.00                23,774.27
DERRICK               DAVID L DERRICK                                     CLASS 3          480,000.00          8,540.27                0.00               471,459.73
DESAI                 ANGELINE C N & SURESHCHANDRA N DESAI                CLASS 3           100,000.00         4,300.00                0.00                95,700.00
DESALVO               GAIL E & JOHN J DESALVO                             CLASS 3          100,000.00          4,125.00                0.00                95,875.00
DESANTIS              BKD SOLO 401K TR FBO KARI A DESANTIS                CLASS 3           100,000.00         3,719.46                0.00                96,280.54
DESANTIS              BKD SOLO 401K TR FBO ROBERT L DESANTIS              CLASS 3           100,000.00         3,719.46                0.00                96,280.54
DESELLEMS             MAINSTAR-FBO RANDY DESELLEMS                        CLASS 3           112,000.00       10,048.92                 0.00               101,951.08
DESIDERIO             MARIE DESIDERIO                                     CLASS 3            15,000.00          257.63                 0.00                14,742.37
DESIDERIO             PROV. TR GP-FBO MARIE DESIDERIO IRA                 CLASS 3          200,000.00         5,266.67                 0.00               194,733.33
DESOUZA               PROV. TR GP-FBO BEVERLY ANN DESOUZA IRA             CLASS 3           127,100.00       19,589.67                 0.00               107,510.33
DETTLOFF              KAREN & NORMAN DETTLOFF                             CLASS 3            25,000.00         2,404.17                0.00                22,595.83
DEUTSCH               HORIZON TR CO-FBO MARTHA J DEUTSCH IRA              CLASS 3            75,826.00         2,779.21                0.00                73,046.79
DEUTSCH               IRA SVCS TR CO-CFBO ROGER DEUTSCH IRA               CLASS 5            85,000.00       14,315.25                 0.00                70,684.75
DEWALD                BRUCE DEWALD                                        CLASS 3            40,000.00        5,719.21                 0.00                34,280.79

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
DEWALD                PROV. TR GP-FBO BRUCE DEWALD ROTH IRA              CLASS 3            19,000.00         1,464.84               0.00                17,535.16
DEWALD                PROV. TR GP-FBO MARIELA DEWALD ROTH IRA            CLASS 3            19,500.00         1,478.75               0.00                18,021.25
DEWEY                 ROBERT & GRETCHEN H DEWEY                          CLASS 5            50,000.00          999.99                0.00                49,000.01
DEWITT                DONALD J & JANE A DEWITT                           CLASS 3            40,000.00         2,603.29               0.00                37,396.71
DEWITT                ELMER DEWITT                                       CLASS 5            50,000.00        1,583.34                0.00                48,416.66
DEWITT                PROV. TR GP-FBO DONALD J DEWITT IRA                CLASS 3            80,000.00         4,766.67               0.00                75,233.33
DEXTER                MAINSTAR-FBO LETICIA DEXTER T2175191               CLASS 3            50,000.00         4,375.00               0.00                45,625.00
DEZELICH              NICHOLAS & VIRGINIA DEZELICH                       CLASS 3          100,000.00          1,850.00               0.00                98,150.00
DI GANGI              EDEL DI GANGI                                      CLASS 3          100,000.00               0.00              0.00               100,000.00
DIAL                  DONNA D DIAL                                       CLASS 3            50,000.00       11,883.28                0.00                38,116.72
DIAL                  PROV. TR GP-FBO DONNA D DIAL IRA                   CLASS 3            70,000.00       11,215.56                0.00                58,784.44
DIAMOND               SANDRA A & MARVIN DIAMOND                          CLASS 3           100,000.00         2,139.57               0.00                97,860.43
DIAZ                  BARRY DIAZ                                         CLASS 5          120,000.00        14,027.78                0.00               105,972.22
DIAZ                  ISRAEL & NILDA DIAZ                                CLASS 3            25,000.00              0.00              0.00                25,000.00
DIAZ                  MAINSTAR-FBO SERGIO R DIAZ T2175098                CLASS 3            91,500.00        3,353.08                0.00                88,146.92
DIAZ                  SERGIO R & ALINA M DIAZ                            CLASS 3            50,000.00          691.67                0.00                49,308.33
DIAZ                  SERGIO R DIAZ                                      CLASS 3            81,000.00        1,856.25                0.00                79,143.75
DIAZ                  SINDO DIAZ                                         CLASS 3          250,000.00        51,330.66                0.00               198,669.34
DICAMILLO             JUDITH A DICAMILLO                                 CLASS 3            75,000.00         1,089.32               0.00                73,910.68
DICKSON               HARVEY DICKSON                                     CLASS 3            25,000.00          309.03                0.00                24,690.97
DIDIER                CERT OF TR ROBERT & SHIRLEY DIDIER JT IT           CLASS 3            68,600.00       11,384.69                0.00                57,215.31
DIDIER                ROBERT J & SHIRLEY DIDIER JRLT 10/30/13            CLASS 3            25,000.00         6,705.03               0.00                18,294.97
DIEHL                 PROV. TR GP-FBO CAROLYN DIEHL IRA                  CLASS 3          175,000.00        17,718.75                0.00               157,281.25
DIETZ                 RUTH U & PETER R DIETZ                             CLASS 3            30,000.00        1,484.17                0.00                28,515.83
DIFIGLIO              ANTHONY & ANITA DIFIGLIO                           CLASS 3          300,000.00        36,788.84                0.00               263,211.16
DIFIGLIO              JOSEPH L DIFIGLIO SR                               CLASS 3          200,000.00        28,121.87                0.00               171,878.13
DIFIGLIO              JOSEPH L DIFIGLIO SR                               CLASS 5          200,000.00        28,121.87                0.00               171,878.13
DIGGS                 DIANE M DIGGS                                      CLASS 3            80,000.00              0.00              0.00                80,000.00
DIGIROLAMO            MAINSTAR-FBO S DIGIROLAMO TW003728                 CLASS 3            31,160.00         1,973.47               0.00                29,186.53

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
DILDA-ROSS            THE DILDA-ROSS RT                                 CLASS 3            25,000.00          312.51                0.00                24,687.49
DILETTERA             DAVID & AURA DILETTERA                            CLASS 3            50,000.00              0.00              0.00                50,000.00
DILLEY                JAN DILLEY                                        CLASS 3            30,000.00        1,433.33                0.00                28,566.67
DILLMAN               DOLORES H DILLMAN                                 CLASS 3            60,000.00        3,931.15                0.00                56,068.85
DIMACALI              REYNALDO DIMACALI                                 CLASS 3            50,000.00         6,470.15               0.00                43,529.85
DIMAIO                JOHN DIMAIO                                       CLASS 3          165,000.00        30,359.12                0.00               134,640.88
DIMAIO                PROV. TR GP-FBO JOAN DIMAIO IRA                   CLASS 3            60,000.00       10,900.00                0.00                49,100.00
DIMARCO               ISABELLA DIMARCO                                  CLASS 3          100,000.00         9,761.06                0.00                90,238.94
DIMITRIOV             PROV. TR GP-FBO SANDRA M DIMITRIOV IRA            CLASS 3            50,000.00         1,250.00               0.00                48,750.00
DIPAOLA               KATHLEEN DIPAOLA                                  CLASS 3            48,000.00        3,592.00                0.00                44,408.00
DIPOLITO              VITA DIPOLITO IRREV TR                            CLASS 3            50,000.00          902.76                0.00                49,097.24
DIRKS                 DELMER C & ISABEL DIRKS                           CLASS 5          150,000.00        28,083.33                0.00               121,916.67
DIRKSEN               MARJORIE DIRKSEN                                  CLASS 3            30,000.00              0.00              0.00                30,000.00
DIRLAM                JASPER N DIRLAM RT                                CLASS 3            25,000.00        1,454.13                0.00                23,545.87
DIRUSSO               ELISEO & KATHLEEN DIRUSSO                         CLASS 3          100,000.00          1,216.67               0.00                98,783.33
DISCHLER              BRIAN T & MARY J DISCHLER                         CLASS 3          400,000.00        21,159.70                0.00               378,840.30
DISMUKE               RON K DISMUKE                                     CLASS 3            35,000.00          186.67                0.00                34,813.33
DISSELER              PROV. TR GP-FBO KATHRYN DISSELER IRA              CLASS 3            64,777.00         1,946.01               0.00                62,830.99
DITSWORTH             GLENN A DITSWORTH                                 CLASS 3          103,000.00         4,646.42                0.00                98,353.58
DIVAN                 MAINSTAR-FBO ROY A DIVAN T2176943                 CLASS 3          400,000.00        17,750.00                0.00               382,250.00
DIXIE DOWNS RESORT    DIXIE DOWNS RESORT INC                            CLASS 3            30,000.00        2,704.17                0.00                27,295.83
DIXON                 PROV. TR GP-FBO ROBERT DIXON IRA                  CLASS 3            90,000.00         3,600.00               0.00                86,400.00
DJIJI                 CHARLOTTE DJIJI                                   CLASS 3          100,000.00         7,853.13                0.00                92,146.87
DLASK                 IRA SVCS TR CO-CFBO DENNIS DLASK IRA              CLASS 3           189,800.00       13,271.07                0.00               176,528.93
DLASK                 IRA SVCS TR CO-CFBO MARIA DLASK IRA               CLASS 3          124,700.00          8,168.65               0.00               116,531.35
DLMC                  DLMC INC                                          CLASS 3            69,500.00        5,822.75                0.00                63,677.25
DOBBINS               PROV. TR GP-FBO TIM M DOBBINS IRA                 CLASS 3            40,000.00         2,444.44               0.00                37,555.56
DOCHERTY              IRA SVCS TR CO-CFBO MERRY DOCHERTY IRA            CLASS 3           171,500.00       17,061.54                0.00               154,438.46
DOCKEN                RODNEY DOCKEN                                     CLASS 3            35,000.00          471.52                0.00                34,528.48

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                                        Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
                                         Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
DODGE                 IRA SVCS TR CO-CFBO CLAUDIA DODGE IRA             CLASS 3            88,000.00         5,634.49              0.00                82,365.51
DOEKSEN               WILBUR A & LOIS R DOEKSEN                         CLASS 3           100,000.00       17,483.33               0.00                82,516.67
DOERMANN              PROV. TR GP-FBO JEFF DOERMANN IRA                 CLASS 3            76,400.00         7,249.51              0.00                69,150.49
DOERR                 ROGER C DOERR RT DTD 05/31/12                     CLASS 5          100,000.00        88,148.75               0.00                11,851.25
DOGGETT               PROV. TR GP-FBO WILLIAM D DOGGETT JR IRA          CLASS 5            91,000.00       23,533.61               0.00                67,466.39
DOHRMANN              PROV. TR GP-FBO ANN DOHRMANN IRA                  CLASS 3           254,000.00       10,794.72               0.00               243,205.28
DOI                   PROV. TR GP-FBO DAVID T DOI IRA                   CLASS 5           104,576.44       29,244.58               0.00                75,331.86
DOLAN                 MAINSTAR-FBO STEPHEN DOLAN T2174547               CLASS 3          176,000.00          8,945.32              0.00               167,054.68
DOLAN                 MAINSTAR-FBO STEPHEN DOLAN T2174547               CLASS 5          115,000.00          5,844.95              0.00               109,155.05
DOLAN                 STEPHEN DOLAN & DEBORAH MAGARO-DOLAN              CLASS 5           135,000.00       17,115.27               0.00               117,884.73
DOLECEK               RICHARD DEAN DOLECEK                              CLASS 3           400,000.00       63,271.00               0.00               336,729.00
DOMES                 INEZ DOMES                                        CLASS 3          100,000.00         3,206.16               0.00                96,793.84
DOMINGUEZ             PROV. TR GP-FBO LINDA A DOMINGUEZ ICA             CLASS 3           200,000.00          500.00               0.00               199,500.00
DOMINO                PROV. TR GP-FBO SAMUEL DOMINO JR ROTH IRA         CLASS 3            52,770.00       11,171.82               0.00                41,598.18
DOMINO                PROV. TR GP-FBO SAMUEL DOMINO JR ROTH IRA         CLASS 5           215,000.00       45,517.16               0.00               169,482.84
DOMINO                SAMUEL J DOMINO JR                                CLASS 3          100,000.00        16,520.08         6,606.01                  76,873.91
DONAHOE               LINDA LOUISE DONAHOE                              CLASS 3           125,000.00         7,795.83              0.00               117,204.17
DONALDSON             MAYME J DONALDSON                                 CLASS 3           150,000.00       23,275.00               0.00               126,725.00
DONALDSON             PROV. TR GP-FBO GLADENE H DONALDSON IRA           CLASS 3            69,500.00         4,459.58              0.00                65,040.42
DONATELLI             DARLENE D DONATELLI                               CLASS 3            75,000.00          711.79               0.00                74,288.21
DONATELLI             GERALD & KATHLEEN DONATELLI                       CLASS 3            40,000.00          813.33               0.00                39,186.67
DONDIEGO              LORI DONDIEGO                                     CLASS 3            25,000.00          270.83               0.00                24,729.17
DONE                  PROV. TR GP-FBO CLYDE DONE IRA                    CLASS 3           610,000.00       18,943.89               0.00               591,056.11
DONIS                 CLAIRE DONIS                                      CLASS 3            25,000.00        5,366.03               0.00                19,633.97
DONNELLY              PATTI DONNELLY                                    CLASS 3            50,000.00         4,333.37              0.00                45,666.63
DOOHAN/CROUSE         MICHAEL J DOOHAN & JULIE D CROUSE                 CLASS 3           200,000.00       45,658.32               0.00               154,341.68
DOOLEY                THOMAS M & LISA M DOOLEY                          CLASS 3            75,000.00         3,900.00              0.00                71,100.00
DOOLITTLE             IRA SVCS TR CO-CFBO MICHAEL DOOLITTLE IRA         CLASS 3           155,800.00       16,152.91               0.00               139,647.09
DOOLITTLE             IRA SVCS TR CO-CFBO MICHAEL DOOLITTLE IRA         CLASS 5           248,000.00       25,711.94               0.00               222,288.06

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
DORFMAN               PROV. TR GP-FBO HOWARD DORFMAN IRA                CLASS 5           105,837.74       10,514.29                0.00                95,323.45
DORKO                 ROSEMARY DORKO                                    CLASS 3            25,000.00         3,524.42               0.00                21,475.58
DORLAND               SHIRLEY DORLAND                                   CLASS 3            85,000.00         1,877.10               0.00                83,122.90
DORMAGEN              JACKIE DORMAGEN                                   CLASS 5          200,000.00        42,333.42                0.00               157,666.58
DORMAGEN              PROV. TR GP-FBO JOSEPH S DORMAGEN IRA             CLASS 5           300,000.00       54,416.67                0.00               245,583.33
DORSCH                STEVE & GRACE LEE DORSCH                          CLASS 5           100,000.00       26,388.79                0.00                73,611.21
DORSETT               CAROLYN DORSETT                                   CLASS 3            50,000.00         1,079.18               0.00                48,920.82
DORY                  PROV. TR GP-FBO TIMOTHY DORY IRA                  CLASS 3            88,000.00          674.67                0.00                87,325.33
DOSECK                PROV. TR GP-FBO THOMAS R DOSECK IRA               CLASS 3            40,000.00         9,753.36               0.00                30,246.64
DOSECK                THOMAS R & KAREN M DOSECK                         CLASS 5           100,000.00       16,108.63                0.00                83,891.37
DOSS                  RICHARD DOSS                                      CLASS 3            60,000.00         7,000.00               0.00                53,000.00
DOST                  DOST FT                                           CLASS 3          190,000.00        18,498.69                0.00               171,501.31
DOUGAN                KATHRYN JACKSON DOUGAN                            CLASS 3            30,000.00         1,581.67               0.00                28,418.33
DOUGLAS               MARY DOUGLAS                                      CLASS 3            49,946.58         1,348.56               0.00                48,598.02
DOUGLAS               CLAY & LAURA DOUGLAS                              CLASS 3            25,000.00         1,466.67               0.00                23,533.33
DOW                   CHARLES L & KAREN S DOW                           CLASS 3            60,000.00         3,473.33               0.00                56,526.67
DOWDELL               MAINSTAR-FBO DAVID DOWDELL TW004052               CLASS 3            60,000.00          258.33                0.00                59,741.67
DOWDEN                JOHN R & NANCY L DOWDEN JRTA DTD 11/15/95         CLASS 3            88,000.00         4,371.40               0.00                83,628.60
DOWDY                 TIMOTHY W DOWDY                                   CLASS 5          100,000.00        18,505.44                0.00                81,494.56
DOWNEY                HORIZON TR CO-FBO KEVIN J DOWNEY IRA              CLASS 3            53,824.24         5,176.07               0.00                48,648.17
DOWNING               MARY DOWNING                                      CLASS 3            20,000.00         1,026.67               0.00                18,973.33
DOX                   PROV. TR GP-FBO HECTOR A DOX IRA                  CLASS 3            25,000.00         5,309.40               0.00                19,690.60
DOX                   PROV. TR GP-FBO HECTOR A DOX IRA                  CLASS 5           384,000.00       81,552.41                0.00               302,447.59
DOYAL                 IRA SVCS TR CO-CFBO SHELLIA L DOYAL IRA           CLASS 3            30,000.00         2,730.00               0.00                27,270.00
DOYLE                 JUDITH C DOYLE LT DTD 07/31/09                    CLASS 3*          100,000.00         1,137.51               0.00                98,862.49
DOYLE                 MICHELLE R DOYLE                                  CLASS 3            50,000.00              0.00              0.00                50,000.00
DOYLE                 PROV. TR GP-FBO JAMES J DOYLE IRA                 CLASS 3            50,000.00         9,033.28               0.00                40,966.72
DOYLEFAM              DOYLEFAM LLC                                      CLASS 3            50,000.00         3,791.71               0.00                46,208.29
DRAGO                 MAINSTAR-FBO JOSEPH DRAGO                         CLASS 3            50,000.00         5,505.53               0.00                44,494.47

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
DRAKER                PROV. TR GP-FBO DEBBIE L DRAKER IRA                CLASS 3            35,000.00         3,191.81               0.00                31,808.19
DRAPER                LEWIS A & ERNA J DRAPER                            CLASS 3            50,000.00         3,361.46               0.00                46,638.54
DRAPER & MCGINLEY     DRAPER & MCGINLEY PA RETIREMENT PLAN               CLASS 3            25,000.00         1,107.61               0.00                23,892.39
DRENGUBA              DONALD J & DAWN DRENGUBA                           CLASS 3            25,000.00          829.17                0.00                24,170.83
DRESWICK/STERRETT     EDWARD DRESWICK & BETH STERRETT                    CLASS 3           100,000.00         6,097.22               0.00                93,902.78
DRESWICK/STERRETT     EDWARD DRESWICK & BETH STERRETT                    CLASS 5           100,000.00         6,097.22               0.00                93,902.78
DRINKER               RICHARD JR & FRANCES DRINKER                       CLASS 3            25,000.00         2,428.79               0.00                22,571.21
DRISCOL               MAINSTAR-FBO STEVE DRISCOL                         CLASS 3           125,000.00       13,972.21                0.00               111,027.79
DRISCOLL              GEORGE MICHAEL & MARYELLEN R DRISCOLL              CLASS 5           200,000.00       50,355.69                0.00               149,644.31
DROEMER               DANIEL R & MILDRED K DROEMER                       CLASS 5            50,000.00       48,675.18                0.00                 1,324.82
DROUIN                RICHARD DROUIN                                     CLASS 3            80,000.00       13,210.01                0.00                66,789.99
DRUMM                 MICHAEL P DRUMM                                    CLASS 3          100,000.00          1,486.12               0.00                98,513.88
DRUMMOND              MAINSTAR-FBO NANCY J DRUMMOND T2174859             CLASS 3          103,200.00         9,388.10                0.00                93,811.90
DRURY                 DRURY IRREV TR DTD 06/25/09                        CLASS 3           150,000.00         3,095.86               0.00               146,904.14
DRUTZ                 ALLAN DRUTZ                                        CLASS 3            25,000.00          445.83                0.00                24,554.17
DRYDEN                GREGORY G DRYDEN                                   CLASS 3            40,000.00         5,776.67               0.00                34,223.33
DUAN                  XUEMEI DUAN                                        CLASS 3            25,000.00          364.58                0.00                24,635.42
DUBE                  KAREN & MARCEL R DUBE JR                           CLASS 3            50,000.00          166.67                0.00                49,833.33
DUBIN                 BARRIE & LARRY DUBIN                               CLASS 3            25,000.00          308.33                0.00                24,691.67
DUBOIS                BRUCE & CINDY & AMANDA M DUBOIS                    CLASS 3            80,000.00         4,428.34               0.00                75,571.66
DUBOIS                PROV. TR GP-FBO WALLACE DUBOIS IRA                 CLASS 5            50,000.00       17,500.14                0.00                32,499.86
DUDA                  ALLAN & RENEE DUDA                                 CLASS 3            60,000.00       11,636.73                0.00                48,363.27
DUDDLESTON            DEBRA S DUDDLESTON                                 CLASS 3            50,000.00              0.00              0.00                50,000.00
DUEMIG                JOSEPH G & THERESA M DUEMIG                        CLASS 3            50,000.00         2,433.33               0.00                47,566.67
DUENNEBEIL            ROXANNE & PETER DUENNEBEIL LT                      CLASS 3           146,000.00       12,030.52                0.00               133,969.48
DUENNEBEIL            ROXANNE & PETER DUENNEBEIL LT                      CLASS 5           100,000.00         8,240.08               0.00                91,759.92
DUENNEBEIL            ROXANNE SMITH DUENNEBEIL                           CLASS 3           200,000.00       31,723.43                0.00               168,276.57
DUES                  RICHARD L & SHARON A DUES TR                       CLASS 3            25,000.00         8,146.89               0.00                16,853.11
DUFF                  PATRICIA DUFF                                      CLASS 3            25,000.00          687.50                0.00                24,312.50

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition          Other
                                                                                      Principal        "Interest"        Prepetition
                                                                                      Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]               [3]          [1] minus [2] minus [3]
DUGAS                 IRA SVCS TR CO-CFBO LOIS DUGAS IRA               CLASS 3            28,750.00         2,760.00               0.00                25,990.00
DUGGER                CHRISTINE DUGGER                                 CLASS 3            30,000.00         3,255.00               0.00                26,745.00
DUGGER                ILEEN M DUGGER IRREV TR                          CLASS 3            50,000.00         1,686.81               0.00                48,313.19
DUHAMEL               IRA SVCS TR CO-CFBO MARILYN DUHAMEL ROTH         CLASS 3            63,000.00         3,696.88               0.00                59,303.12
DUHON                 LARRY DUHON                                      CLASS 3            50,000.00         1,066.67               0.00                48,933.33
DUISENBERG            KENNETH & JULIE DUISENBERG                       CLASS 3           150,000.00              0.00              0.00               150,000.00
DUKART                PROV. TR GP-FBO TERRY DUKART IRA                 CLASS 5            67,200.00       20,477.33                0.00                46,722.67
DUKE                  BILLY DUKE                                       CLASS 3          100,000.00               0.00              0.00               100,000.00
DUKE                  MAINSTAR-FBO SALLY DIANE DUKE T2175706           CLASS 3            55,000.00         3,202.23               0.00                51,797.77
DULDULAO              MAINSTAR-FBO GUILLERMO DULDULAO TW003373         CLASS 3            50,000.00         3,498.59               0.00                46,501.41
DULLARY               ERIKA M DULLARY                                  CLASS 3            25,000.00          597.24                0.00                24,402.76
DUMLER                MARTIN P DUMLER                                  CLASS 3          125,000.00        20,462.72                0.00               104,537.28
DUNAWAY               GARY F DUNAWAY                                   CLASS 5           100,000.00       44,610.97                0.00                55,389.03
DUNAWAY               NANCY A DUNAWAY                                  CLASS 5           100,000.00       34,347.51                0.00                65,652.49
DUNAWAY               TMICO-FBO GARY F DUNAWAY IRA                     CLASS 5           126,137.00       30,390.34                0.00                95,746.66
DUNAWAY               TMICO-FBO NANCY DUNAWAY IRA                      CLASS 5           123,627.00       24,465.18                0.00                99,161.82
DUNBAR                PROV. TR GP-FBO RANDY L DUNBAR IRA               CLASS 5            80,000.00       14,814.44                0.00                65,185.56
DUNCAN                LARRY A DUNCAN                                   CLASS 3            50,000.00         1,408.33               0.00                48,591.67
DUNCAN                NEW DIRECTION-FBO DAN DUNCAN IRA                 CLASS 3           150,000.00       19,425.82                0.00               130,574.18
DUNCAN HOLDINGS       DUNCAN HOLDINGS LLC                              CLASS 3           100,000.00          213.89                0.00                99,786.11
DUNLAP                CHARLES A & ROSE DUNLAP                          CLASS 3            50,000.00         4,861.77               0.00                45,138.23
DUNN                  CHERYL LEA DUNN RT DTD 11/18/14                  CLASS 3            40,000.00         5,963.33               0.00                34,036.67
DUNN                  MAINSTAR-FBO GERARD C DUNN                       CLASS 3           250,000.00       30,083.63                0.00               219,916.37
DUNN                  WILLIAM W & LAVONNE A DUNN                       CLASS 3           120,000.00         7,650.83               0.00               112,349.17
DUNNE                 ALISON DUNNE                                     CLASS 3           100,000.00       19,933.43                0.00                80,066.57
DUNNE                 THE JOHN J & BETTY L DUNNE FT                    CLASS 3           300,000.00         9,333.33               0.00               290,666.67
DUNNING               PROV. TR GP-FBO STEVEN L DUNNING IRA             CLASS 3           163,000.00       19,148.45                0.00               143,851.55
DUPONT                MAINSTAR-FBO KAY M DUPONT                        CLASS 3            50,000.00         2,680.56               0.00                47,319.44
DUPPER                HAROLD T DUPPER LT                               CLASS 3            50,000.00         6,983.66               0.00                43,016.34

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition         Other
                                                                                      Principal        "Interest"       Prepetition
                                                                                      Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]              [3]          [1] minus [2] minus [3]
DUPPER                HAROLD T DUPPER LT                               CLASS 5            50,000.00         6,983.66              0.00                43,016.34
DURYEA                DWIGHT J & KATHLEEN C DURYEA                     CLASS 5           200,000.00         4,055.56              0.00               195,944.44
DURYEA                KATHLEEN C & DWIGHT J DURYEA                     CLASS 3           475,000.00       50,156.89               0.00               424,843.11
DUSENBURY             JOSEPH F & ELAINE S DUSENBURY RLT                CLASS 3            25,000.00         1,498.65              0.00                23,501.35
DUSSERRE              MAINSTAR-FBO JOANNE DUSSERRE T2148666            CLASS 3            50,000.00          456.95               0.00                49,543.05
DUVALL                MAINSTAR-FBO LINDA DUVALL                        CLASS 5            83,350.00         7,339.43              0.00                76,010.57
DYCKMAN               MICHAEL & GILDA DYCKMAN LT                       CLASS 3            25,000.00         2,216.62              0.00                22,783.38
DYKMAN                FEN DYKMAN                                       CLASS 5          150,000.00        46,466.71               0.00               103,533.29
DYSLIN                LARRY G & ELAINE C DYSLIN                        CLASS 3            50,000.00          602.78               0.00                49,397.22
DYSLIN                MARK R & MAGDALENA L DYSLIN                      CLASS 3            50,000.00          602.78               0.00                49,397.22
DZIALO                MAINSTAR-FBO KATHRYN DZIALO                      CLASS 3            93,000.00         6,848.42              0.00                86,151.58
DZIALO                PROV. TR GP-FBO RICHARD DZIALO IRA               CLASS 3            50,000.00          244.45               0.00                49,755.55
DZUBAY                JOHN R DZUBAY SNT                                CLASS 3          100,000.00        10,398.66               0.00                89,601.34
DZUBAY                MARK P & JILL R DZUBAY                           CLASS 3          233,630.00        18,600.19         2,000.00                 213,029.81
EACOCK                PROV. TR GP-FBO DEBORAH EACOCK ROTH IRA          CLASS 3          109,500.00         2,755.75               0.00               106,744.25
EARLE                 SUNWEST TR THOMAS EARLE IRA                      CLASS 3          154,000.00        42,161.06               0.00               111,838.94
EARLE                 SUNWEST TR YVONNE EARLE IRA                      CLASS 3            32,000.00       34,344.94               0.00                      0.00 **
EARTHMAN              EVERETT E & CATHERINE I EARTHMAN                 CLASS 3           100,000.00       20,699.98               0.00                79,300.02
EASTERHAUS            RALPH & BEVERLY EASTERHAUS                       CLASS 3            35,000.00         5,274.32              0.00                29,725.68
EASTRIDGE             EASTRIDGE FAMILY IRREV TR                        CLASS 3          118,000.00           901.39               0.00               117,098.61
EAT INSURANCE         EAT INSURANCE LLC                                CLASS 3          250,000.00        15,125.00               0.00               234,875.00
EATHERTON             PROV. TR GP-FBO DEBORAH P EATHERTON IRA          CLASS 3            63,000.00       11,798.32               0.00                51,201.68
EBACH                 THERESA D EBACH                                  CLASS 3            35,000.00        3,727.50               0.00                31,272.50
EBERLE                MARLENE & PETER EBERLE                           CLASS 3            75,000.00         4,150.00              0.00                70,850.00
EDABURN               RICHARD ORVAL EDABURN                            CLASS 3           120,000.00         8,816.67              0.00               111,183.33
EDDAN RESTR. SALES    THE EDDAN RESTRUCTURED SALES TR                  CLASS 3         1,000,000.00         4,166.67              0.00               995,833.33
EDDY                  BYRON T II & TWILA J EDDY                        CLASS 3          100,000.00        13,590.93               0.00                86,409.07
EDDY                  PROV. TR GP-FBO CELESTE & GERALD EDDY ICA        CLASS 3            98,000.00       11,057.67               0.00                86,942.33
EDDY                  WAYNE EDDY                                       CLASS 3          100,000.00         3,188.87               0.00                96,811.13

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
EDGE                  THELMA M EDGE FT                                   CLASS 3            25,000.00          687.48               0.00                24,312.52
EDMOND                ROBIN ANN EDMOND                                   CLASS 3            25,000.00          267.36               0.00                24,732.64
EDWARDS               DENISE B EDWARDS                                   CLASS 3            43,000.00          551.83               0.00                42,448.17
EDWARDS               GINA & DAVID J EDWARDS                             CLASS 3            50,000.00         1,408.33              0.00                48,591.67
EDWARDS               HORIZON TR CO-FBO DAVID EDWARDS ROTH IRA           CLASS 5            98,000.00        8,302.81               0.00                89,697.19
EDWARDS               JEAN S EDWARDS TR DTD 01/08/09                     CLASS 3            50,000.00         4,514.65              0.00                45,485.35
EDWARDS               PROV. TR GP-FBO HARRY P EDWARDS IRA                CLASS 5          170,000.00        52,652.89               0.00               117,347.11
EGBERT                LINDA A EGBERT 2009 RT 04/16/09                    CLASS 3            50,000.00         9,006.77              0.00                40,993.23
EHRHART               ROBERT C & SUSAN K EHRHART                         CLASS 3            35,000.00         2,792.91              0.00                32,207.09
EICHELBERGER          DARLENE ELLEN EICHELBERGER                         CLASS 3           100,000.00         6,277.83              0.00                93,722.17
EICHHORN              KARIN EICHHORN                                     CLASS 3            30,000.00          570.00               0.00                29,430.00
EICHMAN               J LAVERNE & ALMA A EICHMAN                         CLASS 3          100,000.00          2,741.65              0.00                97,258.35
EICHOLTZ              JEAN M EICHOLTZ                                    CLASS 3          120,000.00          1,100.00              0.00               118,900.00
EICKHOLTZ             RICHARD A & PATRICIA A EICKHOLTZ                   CLASS 5           200,000.00       16,972.16               0.00               183,027.84
EIFFERT               VICKIE EIFFERT                                     CLASS 3            25,000.00        1,361.14               0.00                23,638.86
ELCESS                PROV. TR GP-FBO CHERYL ELCESS IRA                  CLASS 3            76,000.00         5,689.44              0.00                70,310.56
ELCESS                PROV. TR GP-FBO JOSEPH A ELCESS IRA                CLASS 3            40,000.00         3,150.00              0.00                36,850.00
ELCHONESS             NANCY ELCHONESS                                    CLASS 3           130,000.00         4,233.29              0.00               125,766.71
ELDRIDGE              IRA SVCS TR CO-CFBO SCOTT ELDRIDGE IRA             CLASS 3            22,500.00         2,375.00              0.00                20,125.00
ELEY                  BRUCE W ELEY RT DTD 04/14/16                       CLASS 3          460,000.00        37,347.03               0.00               422,652.97
ELIA                  WILLIAM ELIA                                       CLASS 3          100,000.00        13,184.67               0.00                86,815.33
ELLER                 MAINSTAR-FBO PAUL N ELLER T2177404                 CLASS 3            45,000.00        1,356.25               0.00                43,643.75
ELLINGSON             THE ELLINGSON RT DTD 06/13/03                      CLASS 3          100,000.00         4,083.33               0.00                95,916.67
ELLIOTT               ALBERT & MARIAN ELLIOTT LT 05/29/03                CLASS 3          200,000.00        26,298.67               0.00               173,701.33
ELLIS                 CARMAN R & JILL E ELLIS                            CLASS 3            25,000.00        2,968.75               0.00                22,031.25
ELLIS                 PROV. TR GP-FBO KEITH W ELLIS IRA                  CLASS 5            63,500.00       21,360.84               0.00                42,139.16
ELLIS                 PROV. TR GP-FBO THOMAS W ELLIS IRA                 CLASS 3            65,765.00         8,139.80              0.00                57,625.20
ELSBECKER             THOMAS C & AMY J ELSBECKER                         CLASS 5           200,000.00       39,000.08               0.00               160,999.92
ELSON                 MARGARET RAE ELSON IRREV TR                        CLASS 3            75,000.00         1,708.33              0.00                73,291.67

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
ELVAS                 ANTHONY & DOLORES A ELVAS                          CLASS 3           135,000.00       17,033.62               0.00               117,966.38
ELVAS                 PROV. TR GP-FBO ANTHONY ELVAS IRA                  CLASS 3            59,714.00         5,808.84              0.00                53,905.16
EMAHISER              JAMES B EMAHISER RT 05/13/15                       CLASS 3          100,000.00        14,372.22               0.00                85,627.78
EMAHISER              NANCY L EMAHISER RT 05/13/15                       CLASS 3           100,000.00       14,279.78               0.00                85,720.22
EMFINGER              PROV. TR GP-FBO GENEE EMFINGER IRA                 CLASS 5            72,000.00       13,060.00               0.00                58,940.00
EMMONS                IRA SVCS TR CO-CFBO DENISE EMMONS IRA              CLASS 3            86,000.00         2,892.96              0.00                83,107.04
ENDERSON RANCH        ENDERSON RANCH LLC                                 CLASS 5           250,000.00       37,323.56               0.00               212,676.44
ENDRIZZI              PROV. TR GP-FBO ERNEST E ENDRIZZI IRA              CLASS 3            89,500.00       18,168.56               0.00                71,331.44
ENFINGER              WILLIE D ENFINGER                                  CLASS 3            50,000.00         2,858.33              0.00                47,141.67
ENGBRECHT             NANTANAPORN ENGBRECHT                              CLASS 3            30,000.00          491.67               0.00                29,508.33
ENGEL                 DIANE ENGEL                                        CLASS 3          100,000.00        12,366.67               0.00                87,633.33
ENGELBERT             MAINSTAR-FBO DAVID ENGELBERT T2175594              CLASS 3           105,000.00         8,033.33              0.00                96,966.67
ENGH                  MYRNA A ENGH                                       CLASS 3          250,000.00        22,420.08               0.00               227,579.92
ENGLAND               ADAM ENGLAND                                       CLASS 3            25,000.00         1,200.67              0.00                23,799.33
ENGLE                 KEITH J & MARIE L ENGLE JTROS                      CLASS 5          200,000.00        77,166.40               0.00               122,833.60
ENGLEMAN              HORIZON TR CO-FBO STEVEN D ENGLEMAN ROTH           CLASS 3           100,000.00         3,849.98              0.00                96,150.02
ENGLEMAN              STEVEN DALE & SHERRY LYNN ENGLEMAN                 CLASS 3            50,000.00         6,166.61              0.00                43,833.39
ENGLUND               CHARLES E ENGLUND                                  CLASS 3            50,000.00         6,530.52        1,000.00                  42,469.48
ENGROFF               IVY ENGROFF                                        CLASS 3            27,562.50        3,101.13               0.00                24,461.37
ENOMOTO               MAINSTAR-FBO REIKO J ENOMOTO T2176575              CLASS 3            43,000.00          972.28               0.00                42,027.72
ENRICI                KAREN ENRICI                                       CLASS 3            82,000.00         3,562.64              0.00                78,437.36
ENRIQUEZ              MAINSTAR-FBO PATRICK ENRIQUEZ T2177470             CLASS 3          485,000.00          9,942.50              0.00               475,057.50
ENRIQUEZ              VINCENT, MERCEDES & PATRICK ENRIQUEZ               CLASS 3           660,000.00       13,301.66               0.00               646,698.34
ENSLOW                RICHARD & CAROL ENSLOW                             CLASS 3           100,000.00         7,016.67              0.00                92,983.33
ENTINE                JEFFREY ENTINE                                     CLASS 5          250,000.00        25,138.85               0.00               224,861.15
ENTINE                OLIVER ANDREW ENTINE 1984 TR                       CLASS 3         1,550,000.00      310,563.08         1,792.25               1,237,644.67
ENTINE                OLIVER ANDREW ENTINE 1984 TR                       CLASS 5         1,550,000.00      310,563.08         1,792.25               1,237,644.67
ENTINE                PROV. TR GP-FBO GERALD ENTINE IRA                  CLASS 5           239,000.00       51,429.66               0.00               187,570.34
ENTINE                THE GERALD ENTINE 1988 FT                          CLASS 5         1,418,524.70      632,246.89        10,588.24                 775,689.57

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
ENTINE                VICTORIA ENTINE 1984 TR                           CLASS 3          900,000.00       239,693.31         4,399.16                 655,907.53
ENTINE                VICTORIA ENTINE 1984 TR                           CLASS 5          200,000.00        53,265.18          977.59                  145,757.23
EQUITY SOLUTIONS      EQUITY SOLUTIONS GROUP INC                        CLASS 3            75,000.00          958.32               0.00                74,041.68
EREBIA                MARTHA EREBIA                                     CLASS 3            35,000.00          822.50               0.00                34,177.50
ERGEMLIDZE            PROV. TR GP-FBO TATYANA ERGEMLIDZE IRA            CLASS 3            26,000.00         1,111.50              0.00                24,888.50
ERICKSON              LANA LAVERNE ERICKSON                             CLASS 3            50,000.00          900.00               0.00                49,100.00
ERICKSON              PROV. TR GP-FBO JOHN LEROY ERICKSON IRA           CLASS 3          299,750.00        36,806.14               0.00               262,943.86
ERICKSON              PROV. TR GP-FBO MICHAEL J ERICKSON IRA            CLASS 5            50,000.00       11,263.89               0.00                38,736.11
ERICKSON              THE LT OF D E & JOAN ERICKSON                     CLASS 3          200,000.00        20,233.33               0.00               179,766.67
ERLEY                 CAROL ERLEY                                       CLASS 3          285,000.00          1,578.96              0.00               283,421.04
ERNST                 SHERYL ERNST                                      CLASS 3            50,000.00         4,194.38              0.00                45,805.62
ERTEL                 PROV. TR GP-FBO LORI J ERTEL IRA                  CLASS 3            50,000.00         9,284.72        2,267.57                  38,447.71
ERWIN                 JAMES E ERWIN                                     CLASS 3            75,000.00       19,964.57               0.00                55,035.43
ERWIN                 JAMES E ERWIN                                     CLASS 5            75,000.00       19,964.57               0.00                55,035.43
ERWIN                 WILLIAM & MARIAN JO ERWIN                         CLASS 3            50,000.00         1,333.31              0.00                48,666.69
ESCALANTE             ARMANDO J ESCALANTE                               CLASS 3           250,000.00          180.56               0.00               249,819.44
ESLAVA                IRA SVCS TR CO-CFBO MILDRED D ESLAVA              CLASS 3            40,000.00         2,881.66        2,000.00                  35,118.34
ESLINGER              PROV. TR GP-FBO STEPHEN R ESLINGER IRA            CLASS 3            32,300.00          436.05               0.00                31,863.95
ESPIRITU              MAINSTAR-FBO APRIL J V ESPIRITU R2178118          CLASS 3            30,000.00          540.00               0.00                29,460.00
ESPIRITU              MAINSTAR-FBO MARIA T V ESPIRITU R2178342          CLASS 3            25,000.00         2,019.41              0.00                22,980.59
ESPOSITO              JOSEPH P ESPOSITO                                 CLASS 3            25,000.00          659.74               0.00                24,340.26
ESTEPHAN              MAINSTAR-FBO ELIE ESTEPHAN                        CLASS 3            66,700.00         3,909.86              0.00                62,790.14
ESTES                 YOSHIKO Y ESTES                                   CLASS 3            73,000.00        2,286.30               0.00                70,713.70
ETMAN                 PROV. TR GP-FBO LYNN R ETMAN IRA                  CLASS 3            61,180.00         4,088.86              0.00                57,091.14
ETMAN                 THE ETMAN FT DTD 04/21/98                         CLASS 3          240,000.00        32,576.27               0.00               207,423.73
EULBERG               RICHARD & PAULA EULBERG                           CLASS 3            25,000.00          513.90               0.00                24,486.10
EVANS                 CLINTON & JUDY EVANS                              CLASS 3          100,000.00        22,166.70               0.00                77,833.30
EVANS                 DOUGLAS E SR & DONNA EVANS                        CLASS 3            75,000.00         3,083.97              0.00                71,916.03
EVANS                 ESTHER & EUGENE EVANS                             CLASS 3           300,000.00         7,704.87              0.00               292,295.13

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
EVANS                 HUNTER M EVANS                                    CLASS 3          100,000.00        19,790.39                0.00                80,209.61
EVANS                 PROV. TR GP-FBO JOHN C EVANS IRA                  CLASS 3            42,000.00         5,069.17               0.00                36,930.83
EVANS                 SANDRA EVANS                                      CLASS 3            25,000.00         1,237.47               0.00                23,762.53
EVANS                 TMICO-FBO KIRBY L EVANS, TRAD IRA                 CLASS 5           100,204.00       25,329.24                0.00                74,874.76
EVENER                ALBERT K EVENER                                   CLASS 3            22,000.00          165.00                0.00                21,835.00
EVERS                 CAITLIN A EVERS                                   CLASS 3*           25,000.00              0.00              0.00                25,000.00
EVERS                 DANIEL J & MARLEEN M EVERS                        CLASS 3            80,000.00       10,066.67                0.00                69,933.33
EVERS                 DAVID G & BARBARA A EVERS                         CLASS 3           250,000.00       34,660.32                0.00               215,339.68
EVERS                 MARJORIE D EVERS                                  CLASS 3          109,000.00          6,040.39               0.00               102,959.61
EVERS                 ROLAND JAY & MARJORIE D EVERS                     CLASS 3           178,000.00       11,055.81                0.00               166,944.19
EVERS DAIRY           EVERS DAIRY                                       CLASS 3         1,200,000.00      185,346.62                0.00             1,014,653.38
EVERTS                LINDA & RON EVERTS                                CLASS 3            75,000.00       10,472.30                0.00                64,527.70
EVERTS                LOGAN EVERTS                                      CLASS 3            25,000.00              0.00              0.00                25,000.00
EWING                 THE EWING FT                                      CLASS 3          100,000.00         1,333.33                0.00                98,666.67
EXCEL                 THE EXCEL RT 05/01/06 E M GARVIN GRANTOR          CLASS 3           100,000.00         1,194.42               0.00                98,805.58
EXELBY                PROV. TR GP-FBO ALLEN J EXELBY IRA                CLASS 3            45,000.00         8,050.00               0.00                36,950.00
EXLER                 PHYLLIS EXLER                                     CLASS 3            80,000.00         7,765.00               0.00                72,235.00
EXLER                 PROV. TR GP-FBO PHYLLIS E EXLER IRA               CLASS 3            86,830.00         4,938.46               0.00                81,891.54
FABBRO                LEWIS FABBRO JR                                   CLASS 3            30,000.00          204.17                0.00                29,795.83
FACKELDY              JOHN FACKELDY                                     CLASS 3            50,000.00        3,215.23                0.00                46,784.77
FACKENTHALL           WILLIAM & LOREEN FACKENTHALL                      CLASS 3            50,000.00         1,416.65               0.00                48,583.35
FACQUE                JOHN FACQUE                                       CLASS 3            25,000.00         1,246.56               0.00                23,753.44
FAFALAK               PROV. TR GP-FBO LAWRENCE FAFALAK IRA              CLASS 3            60,000.00        6,060.00                0.00                53,940.00
FAGAN                 JOHN HAROLD III & JOHN HAROLD IV FAGAN            CLASS 3            25,000.00         2,753.54               0.00                22,246.46
FAGAN                 R JAMES & C ANITA FAGAN TR 12/01/14               CLASS 3           180,000.00       20,031.19                0.00               159,968.81
FAIRBANKS             MAINSTAR-FBO PAULINE FAIRBANKS T2177091           CLASS 3            95,712.44         2,259.88               0.00                93,452.56
FAIRBOURNE            JOSEPH P & RACHEL B FAIRBOURNE                    CLASS 3            50,000.00          233.33                0.00                49,766.67
FAIRCHILD             PATRICIA L FAIRCHILD                              CLASS 3            51,000.00          629.00                0.00                50,371.00
FAIRCHILD             PAULA A FAIRCHILD                                 CLASS 3           200,000.00       40,872.06                0.00               159,127.94

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]              [3]          [1] minus [2] minus [3]
FAITH                 DEAN FAITH                                          CLASS 5          100,000.00        25,249.90               0.00                74,750.10
FAIVRE                LOUISE C FAIVRE                                     CLASS 3          100,000.00         2,833.35               0.00                97,166.65
FAJARDO               JOSE & ROSARIO FAJARDO                              CLASS 3            85,000.00         6,835.66              0.00                78,164.34
FALCON                MAINSTAR-FBO NANCY FALCON T2177405                  CLASS 3           100,000.00         2,366.67              0.00                97,633.33
FALKENBERG            KEN FALKENBERG RT UA DTD 01/17/92                   CLASS 3           100,000.00       12,283.32               0.00                87,716.68
FALKENSTEIN           CARLA FALKENSTEIN                                   CLASS 3            65,000.00        7,488.04               0.00                57,511.96
FALLER                CHAD FALLER                                         CLASS 3            25,000.00         1,691.67              0.00                23,308.33
FALLON                PROV. TR GP-FBO JANICE FALLON IRA                   CLASS 3            80,000.00       14,800.00               0.00                65,200.00
FAMER                 STEPHEN & HEIDI FAMER                               CLASS 3            25,000.00          369.44               0.00                24,630.56
FANCHIER/ALBRIGHT     HALLIE FANCHIER & KAREN ALBRIGHT                    CLASS 3            27,500.00          568.33               0.00                26,931.67
FANNIN                ELEANOR L FANNIN                                    CLASS 3            70,000.00         1,243.04              0.00                68,756.96
FANTON                JOHN F FANTON                                       CLASS 3            50,000.00         3,502.76              0.00                46,497.24
FARASH                IRENE FARASH                                        CLASS 3          100,000.00         6,102.81               0.00                93,897.19
FARLEY                JAMES & CHARLOTTE FARLEY                            CLASS 3           250,000.00         5,638.88              0.00               244,361.12
FARLOW                PROV. TR GP-FBO CAROL A FARLOW ROTH IRA             CLASS 5            52,500.00         9,479.17              0.00                43,020.83
FARLOW                PROV. TR GP-FBO CAROL ANN FARLOW IRA                CLASS 5           174,548.12       45,338.92               0.00               129,209.20
FARMER                JOHNNY FARMER                                       CLASS 3            25,000.00          239.59               0.00                24,760.41
FARMER                JOHNNY FARMER                                       CLASS 3*           50,000.00         2,062.53              0.00                47,937.47
FARMER                MAINSTAR-FBO TONY C FARMER T2177365                 CLASS 3            69,630.00        1,528.00               0.00                68,102.00
FARNSWORTH            MAINSTAR-FBO ANDREA FARNSWORTH T2177595             CLASS 3            67,325.15          899.54               0.00                66,425.61
FARRALL               LYNDA FARRALL                                       CLASS 3            25,000.00          326.40               0.00                24,673.60
FARRELL               CASEY M & RHONDA R FARRELL                          CLASS 3            75,000.00         1,765.56              0.00                73,234.44
FARRELL               LARRY & LINDA L FARRELL                             CLASS 3            25,000.00         1,695.83              0.00                23,304.17
FARRELL               MAINSTAR-FBO JEANETTE FARRELL                       CLASS 5            41,000.00         5,546.40              0.00                35,453.60
FARRELL               MICHAEL J FARRELL                                   CLASS 5          200,000.00        42,499.83               0.00               157,500.17
FARRELL               PROV. TR GP-FBO LINDA L FARRELL IRA                 CLASS 3            49,240.00         2,661.70              0.00                46,578.30
FARRELL               PROV. TR GP-FBO MICHAEL FARRELL IRA                 CLASS 5           100,000.00       37,277.68               0.00                62,722.32
FARRELL               THOMAS & JEANETTE FARRELL TA                        CLASS 5           172,000.00       48,261.36               0.00               123,738.64
FARRELLY              VERONICA & JOSEPH FARRELLY                          CLASS 3            39,378.00         5,999.74              0.00                33,378.26

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
FARRIOR               HELEN H FARRIOR                                   CLASS 3            25,000.00          420.15               0.00                24,579.85
FARROW                AMY L FARROW                                      CLASS 3            50,000.00         2,138.91              0.00                47,861.09
FARWICK               PROV. TR GP-FBO SCOTT FARWICK ROTH IRA            CLASS 3            80,500.00       15,692.58               0.00                64,807.42
FASCHING              PETER M & SUE E FASCHING                          CLASS 3            75,000.00         5,991.18              0.00                69,008.82
FASCHING              PETER M & SUE E FASCHING                          CLASS 5          200,000.00        15,976.48               0.00               184,023.52
FATE                  MARY FATE                                         CLASS 3          100,000.00           680.55               0.00                99,319.45
FATTAL                ODETTE FATTAL                                     CLASS 3            25,000.00          496.54               0.00                24,503.46
FAUCHEUX              PROV. TR GP-FBO BEVERLY FAUCHEUX INH IRA          CLASS 3            90,000.00       10,558.67               0.00                79,441.33
FAUDEL                KURT FAUDEL                                       CLASS 3          175,000.00        16,677.71               0.00               158,322.29
FAUGHN                DENNIS L & DEBORAH K FAUGHN                       CLASS 3            50,000.00         3,055.51              0.00                46,944.49
FAULKNER              PROV. TR GP-FBO PRISCILLA FAULKNER IRA            CLASS 5           210,000.00       66,554.69               0.00               143,445.31
FAULTERSACK           MAINSTAR-FBO DAVID FAULTERSACK                    CLASS 3            59,538.68         2,492.35              0.00                57,046.33
FAUSETT               ALICE FAUSETT                                     CLASS 3            50,000.00         2,031.97              0.00                47,968.03
FAUSETT               THE ALICE M FAUSETT LT DTD 05/25/06               CLASS 3          215,000.00          3,693.08              0.00               211,306.92
FAVATA                BETTINA FAVATA                                    CLASS 3            70,000.00       15,427.86               0.00                54,572.14
FAVATA                BETTINA FAVATA                                    CLASS 5            50,000.00       11,019.90               0.00                38,980.10
FAVATA                PROV. TR GP-FBO BETTINA FAVATA IRA                CLASS 5            88,000.00       25,630.00               0.00                62,370.00
FAVATA                ROCCO FAVATA                                      CLASS 3          120,000.00        31,181.41               0.00                88,818.59
FAVATA                ROCCO FAVATA                                      CLASS 5          345,000.00        89,646.56               0.00               255,353.44
FAWCETT               MAINSTAR-FBO STEVE L FAWCETT                      CLASS 3            60,000.00        5,973.33               0.00                54,026.67
FAZEKAS               BELA K & MARIA FAZEKAS                            CLASS 3            75,000.00        7,878.54               0.00                67,121.46
FAZEKAS               BELA K & MARIA FAZEKAS TR 03/31/97                CLASS 3          125,000.00        10,526.41               0.00               114,473.59
FEADOR                EMIL C & ARTHUR P FEADOR                          CLASS 3          250,000.00        40,945.90               0.00               209,054.10
FEADOR                EMIL C FEADOR                                     CLASS 3          250,000.00        43,461.91               0.00               206,538.09
FEDDERS               GERALD D FEDDERS                                  CLASS 3            25,000.00          716.67               0.00                24,283.33
FEDERER               MARCIA T FEDERER                                  CLASS 3            75,000.00        4,895.83               0.00                70,104.17
FEDYNA                PAUL M & ELLEN FEDYNA                             CLASS 3          100,000.00         7,055.53               0.00                92,944.47
FEILNER               ROSE FEILNER                                      CLASS 3          125,000.00        18,037.42               0.00               106,962.58
FEISEE                PROV. TR GP-FBO SEDDIGHEH FEISEE IRA              CLASS 3          125,909.00           758.95               0.00               125,150.05

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
FEIST                 ADAM M & MARY A FEIST                             CLASS 3           200,000.00       41,162.87               0.00               158,837.13
FEIST                 ADAM M & MARY A FEIST                             CLASS 5           100,000.00       20,581.43               0.00                79,418.57
FEIST                 THE FEIST LT                                      CLASS 3          100,000.00        11,580.55               0.00                88,419.45
FEISTHAMEL            ANTHONY J FEISTHAMEL                              CLASS 3            30,000.00         7,515.00              0.00                22,485.00
FEISTHAMEL            PROV. TR GP-FBO ANTHONY FEISTHAMEL IRA            CLASS 3            28,000.00         1,351.77              0.00                26,648.23
FEISTHAMEL            PROV. TR GP-FBO ANTHONY FEISTHAMEL JR IRA         CLASS 5           132,000.00       44,110.01               0.00                87,889.99
FELCHER               DENNIS S FELCHER RT DTD 10/27/88                  CLASS 3          200,000.00        52,871.56               0.00               147,128.44
FELDMAN               LORI & LLOYD FELDMAN                              CLASS 3            65,000.00         8,626.03              0.00                56,373.97
FELDMAN               MARTIN FELDMAN                                    CLASS 3            50,000.00        3,548.60               0.00                46,451.40
FELGER                ROXY J FELGER                                     CLASS 3          100,000.00        18,066.67               0.00                81,933.33
FELLER                RICHARD L FELLER                                  CLASS 3         1,000,000.00       81,341.75               0.00               918,658.25
FELTON                CAROL FELTON                                      CLASS 3            50,000.00        2,572.89               0.00                47,427.11
FELTON                MICHAEL D FELTON                                  CLASS 3            75,000.00         6,852.05              0.00                68,147.95
FELTZ                 PROV. TR GP-FBO RITA I FELTZ IRA                  CLASS 3            82,000.00         4,806.11              0.00                77,193.89
FENDER                PROV. TR GP-FBO DANIEL FENDER IRA                 CLASS 3          119,481.60        21,148.25               0.00                98,333.35
FENDER                PROV. TR GP-FBO SHARON L FENDER IRA               CLASS 3           120,000.00       19,680.00               0.00               100,320.00
FENG                  GINGER FENG                                       CLASS 3            25,000.00        1,419.41               0.00                23,580.59
FENG                  MAINSTAR-FBO GINGER FENG T2176422                 CLASS 3            25,000.00        1,400.00               0.00                23,600.00
FERBER                PROV. TR GP-FBO SUSAN FERBER IRA                  CLASS 3            30,443.00         2,983.41              0.00                27,459.59
FERCH                 MAINSTAR-FBO DAVID LYNN FERCH                     CLASS 3            77,280.03         3,837.17              0.00                73,442.86
FERGUSON              FERGUSON LT DTD 11/14/96                          CLASS 3            25,000.00        1,025.00               0.00                23,975.00
FERGUSON              MAUREEN L FERGUSON                                CLASS 3            30,000.00        1,545.00               0.00                28,455.00
FERNANDES             DEIRDRE P & BENJAMIN F FERNANDES                  CLASS 3           223,000.00         3,868.07              0.00               219,131.93
FERNANDES             DOMINGOS FERNANDES                                CLASS 3            41,027.72         2,098.66              0.00                38,929.06
FERNANDES             JUDITH FERNANDES                                  CLASS 5            90,971.72         8,737.44              0.00                82,234.28
FERNANDES             MAINSTAR-FBO DOMINGOS FERNANDES                   CLASS 3           301,405.73       14,873.54               0.00               286,532.19
FERNANDES             MAINSTAR-FBO JOY S FERNANDES T2177889             CLASS 3          224,000.00          3,826.67              0.00               220,173.33
FERNANDES             MAINSTAR-FBO JUDITH FERNANDES                     CLASS 3            40,087.86         1,978.22              0.00                38,109.64
FERNANDEZ             LUIS FERNANDEZ                                    CLASS 3          200,000.00          1,133.33              0.00               198,866.67

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
FERNANDEZ             STEPHANIE FERNANDEZ                                CLASS 3           150,000.00         1,779.18               0.00               148,220.82
FERNANDO              SUSITH R FERNANDO                                  CLASS 3            25,000.00          809.66                0.00                24,190.34
FERRARA               IRA SVCS TR CO-CFBO DENISE M FERRARA IRA           CLASS 3            80,000.00         7,271.22               0.00                72,728.78
FERRARI               LOUIS & JANIS FERRARI                              CLASS 3          450,000.00          7,421.88               0.00               442,578.12
FERRARO               ANTHONY R FERRARO LT                               CLASS 3           230,000.00         9,055.84               0.00               220,944.16
FERRARO               ESTHER C FERRARO                                   CLASS 3            40,000.00          846.67                0.00                39,153.33
FERRIELL              PROV. TR GP-FBO KATHY O FERRIELL IRA               CLASS 3            39,000.00         3,010.58               0.00                35,989.42
FERRIELL              PROV. TR GP-FBO MICHAEL S FERRIELL IRA             CLASS 3           309,000.00       42,756.04                0.00               266,243.96
FERRIS                ELIZABETH M FERRIS                                 CLASS 3            99,023.18         4,951.20               0.00                94,071.98
FERRIS                MICHAEL FERRIS                                     CLASS 3            50,000.00         2,000.00               0.00                48,000.00
FERTITTA              MATTHEW FERTITTA                                   CLASS 3            26,189.77          400.11                0.00                25,789.66
FERTITTA              SALVATORE FERTITTA                                 CLASS 3            62,208.97          768.96                0.00                61,440.01
FETTER                JACK L FETTER                                      CLASS 3            50,000.00        6,575.04                0.00                43,424.96
FETTER                MAINSTAR-FBO ROBERT E FETTER T2177228              CLASS 3          498,000.00        16,724.50                0.00               481,275.50
FETTING               DENNIS E & PEGGY L FETTING JLT 10/08/09            CLASS 3            50,000.00         1,811.80               0.00                48,188.20
FHR                   FHR INC                                            CLASS 3          700,000.00               0.00              0.00               700,000.00
FICILI                ANTHONY & LYNDA FICILI                             CLASS 3            50,000.00         7,888.84               0.00                42,111.16
FIELD                 AW FIELD LT DTD 07/10/09                           CLASS 3          100,000.00         2,294.43                0.00                97,705.57
FIELD                 FIELD TR B DTD 03/16/09                            CLASS 3          100,000.00         2,294.43                0.00                97,705.57
FIELD                 PROV. TR GP-FBO DIANE M FIELD IRA                  CLASS 3          140,400.00        15,382.17                0.00               125,017.83
FIELD                 RICHARD M & KIMBERLY G FIELD                       CLASS 3          300,000.00        57,787.31                0.00               242,212.69
FIELD                 RICHARD M & KIMBERLY G FIELD                       CLASS 5          100,000.00        19,262.44                0.00                80,737.56
FIER                  ROBERT H FIER                                      CLASS 3          200,000.00        29,611.09                0.00               170,388.91
FIER                  ROBERT H FIER                                      CLASS 5          100,000.00        14,805.54                0.00                85,194.46
FIERLE                PROV. TR GP-FBO KAYE FIERLE IRA                    CLASS 3            60,000.00          315.00                0.00                59,685.00
FIERLE                THE ROBERT G & KAYE L FIERLE RLT                   CLASS 3            50,000.00          982.79                0.00                49,017.21
FILGER                GLENN E FILGER                                     CLASS 3          100,000.00          7,016.67               0.00                92,983.33
FILKINS               KATHLEEN CORY FILKINS                              CLASS 3           110,000.00       19,570.76                0.00                90,429.24
FILLIATER             JOSHUA A & ERIN FILLIATER                          CLASS 3           200,000.00          466.67                0.00               199,533.33

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                                                                                             Total
                                                                                          Outstanding       Prepetition          Other
                                                                                           Principal        "Interest"        Prepetition
                                                                                           Amount           Payments         Distributions          Net Claims
Surname/Entity Name     Full Name                                             Type            [1]               [2]               [3]          [1] minus [2] minus [3]
FILLINGER               MAINSTAR-FBO RICHARD FILLINGER                      CLASS 3           186,000.00       17,747.50                0.00               168,252.50
FILLINGER               RICHARD J & SUE C FILLINGER                         CLASS 3            25,000.00         2,680.58               0.00                22,319.42
FILLINGER               MAINSTAR-FBO SUE FILLINGER                          CLASS 3            71,000.00         7,391.90               0.00                63,608.10
FINAL FRONTIER          FINAL FRONTIER VENTURES LLC                         CLASS 3           800,000.00      105,830.38                0.00               694,169.62
FINAL FRONTIER          FINAL FRONTIER VENTURES LLC                         CLASS 5           500,000.00       66,143.98                0.00               433,856.02
FINDLEY                 RICHARD FINDLEY                                     CLASS 3            80,000.00         2,463.96               0.00                77,536.04
FINE                    GLORIA & FREDERICK FINE                             CLASS 3            25,000.00         4,254.89               0.00                20,745.11
FINEBERG                THE BERNARD & SYLVIA FINEBERG LT                    CLASS 3            60,000.00         4,399.95               0.00                55,600.05
FINEBERG-MILLER         PROV. TR GP-FBO SHEILA FINEBERG-MILLER IRA          CLASS 3            70,000.00         2,333.33               0.00                67,666.67
FINKELDEY               MEGAN ROSE FINKELDEY RT 02/05/14                    CLASS 3            60,000.00       10,326.30                0.00                49,673.70
FINKENBINE              SANDRA S FINKENBINE SUPP TR                         CLASS 3            50,000.00         3,493.00               0.00                46,507.00
FINLEY                  IRA SVCS TR CO-CFBO COLLEEN K FINLEY IRA            CLASS 3            90,000.00         7,320.00               0.00                82,680.00
FINNELL/BROWN           HERBERT FINNELL & GEORGEANNE BROWN                  CLASS 3            25,000.00          617.35                0.00                24,382.65
FINNEY                  DARRELL M FINNEY                                    CLASS 3          100,000.00        21,250.05                0.00                78,749.95
FINNEY                  PROV. TR GP-FBO DARRELL M FINNEY IRA                CLASS 3           269,184.15       36,575.67                0.00               232,608.48
FINNEY                  RUTH ANN FINNEY                                     CLASS 3            50,000.00         4,482.21               0.00                45,517.79
FINNEY                  RUTH ANN FINNEY                                     CLASS 5          200,000.00        17,928.85                0.00               182,071.15
FIORE                   JAMES FIORE                                         CLASS 3            25,000.00              0.00              0.00                25,000.00
FIRESTACK               MAINSTAR-FBO VICKI FIRESTACK T2177464               CLASS 3            25,716.00          566.47                0.00                25,149.53
FIRMISS                 JOHN T FIRMISS                                      CLASS 3          100,000.00        16,552.14                0.00                83,447.86
FIRST CAPITAL PACIFIC   FIRST CAPITAL PACIFIC                               CLASS 3          300,000.00        14,327.08                0.00               285,672.92
FISCHER                 ARTHUR J & REGINA M FISCHER                         CLASS 3           105,000.00       19,770.26                0.00                85,229.74
FISCHER                 IRENE FISCHER                                       CLASS 3          165,000.00        18,684.31                0.00               146,315.69
FISCHER                 PROV. TR GP-FBO REGINA FISCHER IRA                  CLASS 3           267,001.00       51,573.48                0.00               215,427.52
FISCHER                 PROV. TR GP-FBO REGINA FISCHER IRA                  CLASS 5           200,000.00       38,631.68                0.00               161,368.32
FISCHER                 RITA FISCHER TR                                     CLASS 3            25,000.00        4,170.74                0.00                20,829.26
FISHEL                  IRA SVCS TR CO-CFBO MICHAEL D FISHEL IRA            CLASS 3          100,000.00          5,766.67               0.00                94,233.33
FISHER                  CHANA FISHER                                        CLASS 5          100,000.00        25,319.64                0.00                74,680.36
FISHER                  MAINSTAR-FBO MARK FISHER                            CLASS 3          149,801.00          7,406.83               0.00               142,394.17

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
FISHER                MAINSTAR-FBO ROBERT M FISHER T2176537              CLASS 3            50,000.00         2,070.84                0.00                47,929.16
FISHER                PAMELA D & JOHN E FISHER                           CLASS 3            25,000.00         1,781.25                0.00                23,218.75
FISHER                ROGER L & LOIS P FISHER                            CLASS 3          100,000.00           300.00                 0.00                99,700.00
FISHER                SUNWEST TR RALPH D FISHER IRA                      CLASS 3           100,000.00         1,600.00                0.00                98,400.00
FISHER                MAINSTAR-FBO JOHN FISHER                           CLASS 3            25,000.00         1,291.67                0.00                23,708.33
FISHMAN               JESSICA H & DOUGLAS S FISHMAN                      CLASS 3            80,000.00         6,810.00                0.00                73,190.00
FITCH                 JEFFERY FITCH                                      CLASS 3            60,000.00        1,608.33                 0.00                58,391.67
FITCH                 MARK R FITCH                                       CLASS 3          200,000.00          8,788.91                0.00               191,211.09
FITE                  PROV. TR GP-FBO GARY LEE FITE IRA                  CLASS 3           900,000.00       35,350.00                 0.00               864,650.00
FITE                  THE GARY LEE FITE RT DTD 10/13/09                  CLASS 3         2,000,000.00      104,416.61                 0.00             1,895,583.39
FITZGERALD            CHARLES FITZGERALD                                 CLASS 3            50,000.00         2,076.44                0.00                47,923.56
FITZPATRICK           PAULA A FITZPATRICK                                CLASS 3            25,000.00         2,343.82                0.00                22,656.18
FITZPATRICK           PROV. TR GP-FBO KAREN FITZPATRICK IRA              CLASS 3            29,294.00         2,515.22                0.00                26,778.78
FLAIL                 MAINSTAR-FBO LUCILLE E FLAIL                       CLASS 3            30,000.00        2,291.67                 0.00                27,708.33
FLAIL                 MAINSTAR-FBO ROBERT J FLAIL                        CLASS 3            25,000.00         2,587.50                0.00                22,412.50
FLANAGAN              PROV. TR GP-FBO K K FLANAGAN INH IRA               CLASS 3            32,666.66          762.24                 0.00                31,904.42
FLANINGAN             PROV. TR GP-FBO JACK W FLANINGAN IRA               CLASS 3            53,000.00       11,223.75                 0.00                41,776.25
FLANINGAN             PROV. TR GP-FBO REBECCA D FLANINGAN IRA            CLASS 5            68,000.00         9,765.55                0.00                58,234.45
FLATTEN               IRA SVCS TR CO-CFBO BARBARA FLATTEN IRA            CLASS 3           199,617.00       19,113.43                 0.00               180,503.57
FLATTEN               IRA SVCS TR CO-CFBO BARBARA FLATTEN ROTH           CLASS 3            21,672.87         2,075.09                0.00                19,597.78
FLAX                  THE FLAX FRT DTD 07/27/95                          CLASS 3          525,000.00         7,722.25                 0.00               517,277.75
FLECK                 JOHN R & SHELBY FLECK                              CLASS 3            25,000.00              63.19              0.00                24,936.81
FLEGAL                RONALD W FLEGAL                                    CLASS 3            25,000.00          423.62                 0.00                24,576.38
FLEISCHER             BETH R & LYNN FLEISCHER                            CLASS 3            50,000.00         2,371.85                0.00                47,628.15
FLEISCHER             PROV. TR GP-FBO SHULAMITH FLEISCHER IRA            CLASS 3            40,263.85         4,782.45                0.00                35,481.40
FLEISCHER             SHULAMITH & GABRIELLE FLEISCHER                    CLASS 3            25,000.00         3,056.24                0.00                21,943.76
FLEMING               DONALD W & HEIDI K FLEMING                         CLASS 3            25,000.00          604.17                 0.00                24,395.83
FLEMING               HOWARD C & NORMA L FLEMING                         CLASS 3            25,000.00               0.00              0.00                25,000.00
FLEMING               PROV. TR GP-FBO HOWARD C FLEMING IRA               CLASS 3           488,500.00       55,388.66                 0.00               433,111.34

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
FLEMING               PROV. TR GP-FBO JOSEPH H FLEMING INH IRA           CLASS 3          228,623.00        18,296.20               0.00               210,326.80
FLEMING               PROV. TR GP-FBO NORMA L FLEMING IRA                CLASS 3          236,000.00        22,616.67               0.00               213,383.33
FLETCHER              DANNY C & DEBRA M FLETCHER                         CLASS 3            55,000.00         3,454.27              0.00                51,545.73
FLETCHER              HAROLD & HAZEL FLETCHER                            CLASS 3           100,000.00         2,002.77              0.00                97,997.23
FLETCHER              JOHN FLETCHER                                      CLASS 3            62,250.00         7,366.27              0.00                54,883.73
FLETCHER              KENT A & PATRICIA S FLETCHER                       CLASS 3          100,000.00          2,722.25              0.00                97,277.75
FLETCHER              PROV. TR GP-FBO JAMES L FLETCHER IRA               CLASS 3           175,000.00       20,990.77               0.00               154,009.23
FLIGER-BAILEY         SUNWEST TR KATHLEEN L FLIGER-BAILEY IRA            CLASS 3            70,100.00       10,243.56               0.00                59,856.44
FLIKKIE               MAINSTAR-FBO JOHN FLIKKIE                          CLASS 3          200,000.00        12,633.33               0.00               187,366.67
FLINT                 PROV. TR GP-FBO NANCY J FLINT IRA                  CLASS 5          150,000.00        18,958.33               0.00               131,041.67
FLITTON               MAINSTAR-FBO KENNETH FLITTON T2177557              CLASS 3            64,608.89         1,213.21              0.00                63,395.68
FLORENCE              GERTRUDE LYNN FLORENCE                             CLASS 3            50,000.00         3,544.41              0.00                46,455.59
FLORENCE              IRA SVCS TR CO-CFBO DONALD FLORENCE ROTH           CLASS 3            31,000.00         5,104.62              0.00                25,895.38
FLORES                LAURA E & DANIEL FLORES                            CLASS 3            25,000.00         1,364.63              0.00                23,635.37
FLORES                SYLVIA M FLORES                                    CLASS 3          100,000.00          3,604.58              0.00                96,395.42
FLORES                THE FLORES FT                                      CLASS 3            75,000.00         1,968.75              0.00                73,031.25
FLORES                VICTOR M FLORES                                    CLASS 3            28,000.00          369.45               0.00                27,630.55
FLOURNOY              RICKY TODD FLOURNOY                                CLASS 5            50,000.00         2,527.80              0.00                47,472.20
FLOWERS               MAINSTAR-FBO STEVEN L FLOWERS                      CLASS 3          246,500.00        26,868.50               0.00               219,631.50
FLOWERS               STEVEN L & VIRGINIA A FLOWERS                      CLASS 3          250,000.00        21,551.42               0.00               228,448.58
FLOYD                 PROV. TR GP-FBO ROBERT E FLOYD IRA                 CLASS 3           100,137.95         6,008.28              0.00                94,129.67
FLOYD                 PROV. TR GP-FBO STEPHEN D FLOYD IRA                CLASS 5            75,000.00       11,162.50               0.00                63,837.50
FLYING V              PROV. TR GP-FBO THE FLYING V TR ICA                CLASS 3            30,000.00         1,597.50              0.00                28,402.50
FLYNN                 MAINSTAR-FBO SHARRON FLYNN                         CLASS 3           100,000.00         6,388.90              0.00                93,611.10
FLYNN                 SHARLA K & ROY D FLYNN                             CLASS 3            25,000.00         2,291.67              0.00                22,708.33
FODOR                 MAINSTAR-FBO JAMES FODOR T2176917                  CLASS 3         1,099,000.00       36,284.38               0.00             1,062,715.62
FODOR                 MAINSTAR-FBO JAMES FODOR T2176917                  CLASS 5         1,000,000.00       33,015.81               0.00               966,984.19
FOLEY                 MARGARET A FOLEY                                   CLASS 3            25,000.00         7,951.66              0.00                17,048.34
FOLEY                 MELVA CHERYL FOLEY                                 CLASS 3            43,000.00         2,191.85              0.00                40,808.15

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
FOLEY                 MICHAEL R FOLEY                                    CLASS 3            50,000.00         8,208.33               0.00                41,791.67
FOLLETT               KEVIN & KAREN FOLLETT                              CLASS 3          150,000.00        23,570.72                0.00               126,429.28
FOLSE                 RAY C & JANIE N FOLSE                              CLASS 3          175,000.00        46,075.00                0.00               128,925.00
FOLTZ                 HOWARD & PATRICIA FOLTZ                            CLASS 3            25,000.00          900.02                0.00                24,099.98
FONG                  LEIGHTON & EILEEN FONG                             CLASS 3            25,000.00          399.40                0.00                24,600.60
FONTANA               PROV. TR GP-FBO MICHELE D FONTANA IRA              CLASS 3           100,000.00         5,443.99               0.00                94,556.01
FONTANA               PROV. TR GP-FBO MICHELE FONTANA IRA                CLASS 3            50,000.00       14,967.33                0.00                35,032.67
FONTANESE             CAROL FONTANESE                                    CLASS 3           100,000.00         9,850.00               0.00                90,150.00
FONTANEZ              IRA SVCS TR CO-CFBO LOUIS A FONTANEZ ROTH          CLASS 3            73,000.00         2,056.18               0.00                70,943.82
FONTANEZ              LOUIS A & KATHERINE A FONTANEZ                     CLASS 3            90,000.00         3,025.07               0.00                86,974.93
FOOTE                 IRA SVCS TR CO-CFBO AMY ANN FOOTE IRA              CLASS 3            34,500.00         2,001.00               0.00                32,499.00
FORBES                LINDA R FORBES                                     CLASS 3            25,000.00          463.04                0.00                24,536.96
FORBING               MARIA E FORBING                                    CLASS 3            30,000.00         4,030.00               0.00                25,970.00
FORBING               PROV. TR GP-FBO PERCY FORBING IRA                  CLASS 3            79,004.00         8,173.62               0.00                70,830.38
FORD                  ANN HARDIN FORD RT                                 CLASS 3           650,000.00       14,083.33                0.00               635,916.67
FORD                  BARRY & SHARI FORD                                 CLASS 3           120,000.00         8,175.00               0.00               111,825.00
FORD                  CHALLIS & CARLENE FORD                             CLASS 3           100,000.00              0.00              0.00               100,000.00
FORD                  CHALLIS D FORD                                     CLASS 3            70,000.00         3,048.91               0.00                66,951.09
FORD                  DALE M & PAULA K FORD                              CLASS 3           150,000.00         4,511.16               0.00               145,488.84
FORD                  DOUGLAS K FORD                                     CLASS 3          140,000.00        18,973.95                0.00               121,026.05
FORD                  FORD TR                                            CLASS 3            25,000.00              0.00              0.00                25,000.00
FORD                  IRENE FORD                                         CLASS 3            75,000.00          312.50                0.00                74,687.50
FORD                  KATHLEEN FORD                                      CLASS 3            50,000.00         4,708.33               0.00                45,291.67
FORD                  MAINSTAR-FBO MARK C FORD                           CLASS 3            87,490.00         8,204.62               0.00                79,285.38
FORD                  RANDALL LEON FORD IT                               CLASS 3           500,000.00       78,833.33                0.00               421,166.67
FORD                  THE BRUCE & KATHLEEN FORD TR                       CLASS 3            25,000.00          691.67                0.00                24,308.33
FORD                  WAYNE FORD                                         CLASS 3            50,000.00         4,682.71               0.00                45,317.29
FOREST                SUE A & WAYNE M FOREST                             CLASS 3            50,000.00         2,808.33               0.00                47,191.67
FOREST HOME           FOREST HOME HOLDINGS LLC                           CLASS 3           200,000.00       20,423.67                0.00               179,576.33

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
FORGIONE              MAINSTAR-FBO LORETTA M FORGIONE T2177815           CLASS 3            50,000.00          576.39               0.00                49,423.61
FORINGTON             MARY LEA FORINGTON                                 CLASS 3          200,000.00          1,330.55              0.00               198,669.45
FORMICHELLA           BARBARA C FORMICHELLA                              CLASS 3            25,000.00          883.35               0.00                24,116.65
FORNEFELD             MAINSTAR-FBO JOSEPH E FORNEFELD                    CLASS 3           200,000.00       25,233.31               0.00               174,766.69
FORNEFELD             MAINSTAR-FBO JOSEPH E FORNEFELD                    CLASS 5           100,000.00       12,616.65               0.00                87,383.35
FOROUZAN              BRIAN M FOROUZAN                                   CLASS 3            50,000.00       20,720.87               0.00                29,279.13
FOROUZAN              BRIAN M FOROUZAN                                   CLASS 3*           25,000.00         1,175.00              0.00                23,825.00
FORREST               GARY A & JANICE K FORREST                          CLASS 3            50,000.00         3,616.71              0.00                46,383.29
FORTENBERRY           REBECCA A FORTENBERRY                              CLASS 3            25,000.00         1,084.69              0.00                23,915.31
FORTKAMP              PROV. TR GP-FBO JOHN H FORTKAMP IRA                CLASS 3            25,000.00       28,050.03               0.00                      0.00 **
FORTUNATO             ALICE COLE FORTUNATO                               CLASS 3            25,000.00         4,107.64              0.00                20,892.36
FORTUNE               LEONARD FORTUNE                                    CLASS 3           300,000.00       40,432.21               0.00               259,567.79
FORTUNE               LEONARD FORTUNE                                    CLASS 5           300,000.00       40,432.21               0.00               259,567.79
FOSTER                BETTY FOSTER                                       CLASS 3          250,000.00        33,066.67               0.00               216,933.33
FOSTER                VICI R FOSTER                                      CLASS 3            25,000.00         1,236.15              0.00                23,763.85
FOSTER                WAYNE R & EUGENIA W FOSTER                         CLASS 3            50,000.00          791.66               0.00                49,208.34
FOUNTAIN              JAMES EDWARD FOUNTAIN                              CLASS 3           100,000.00       13,127.77               0.00                86,872.23
FOUTS                 SONYA A FOUTS                                      CLASS 3          100,000.00          1,111.12              0.00                98,888.88
FOWLER                MAINSTAR-FBO JEANNIE FOWLER T2176015               CLASS 3          330,000.00        21,005.83               0.00               308,994.17
FOWLER                ROYCE L & DORA A FOWLER                            CLASS 5            50,000.00       22,027.98               0.00                27,972.02
FOWLES                MAINSTAR-FBO DEBORAH C FOWLES                      CLASS 3            26,200.00         3,693.09              0.00                22,506.91
FOX                   IRA SVCS TR CO-CFBO WILLIAM J FOX IRA              CLASS 3            25,000.00         1,566.67              0.00                23,433.33
FOX                   PROV. TR GP-FBO CHRIS FOX IRA                      CLASS 3           225,000.00       30,729.17               0.00               194,270.83
FOX                   PROV. TR GP-FBO JOSEPH A FOX IRA                   CLASS 3           440,200.00       10,124.60               0.00               430,075.40
FOX                   PROV. TR GP-FBO PAULA I FOX IRA                    CLASS 3           389,000.00         8,372.00              0.00               380,628.00
FOX                   ROBERT A FOX                                       CLASS 5           350,000.00      105,388.99               0.00               244,611.01
FOX/COOPER            ROBERT A FOX & DARBY H COOPER                      CLASS 5           100,000.00       24,944.64               0.00                75,055.36
FRADELLA              CELESTINA & RAYMOND FRADELLA                       CLASS 3            95,000.00         5,778.10              0.00                89,221.90
FRALEIGH              ALBERT S & JEAN L FRALEIGH 2011 DEC OF TR          CLASS 3           100,000.00         5,026.36              0.00                94,973.64

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
FRAME                 RICHARD & AMY FRAME                                CLASS 3          200,000.00        22,166.54                 0.00               177,833.46
FRAME                 RICHARD & CAROL FRAME                              CLASS 3            75,000.00         2,975.62                0.00                72,024.38
FRAME                 RUSSELL FRAME                                      CLASS 3          105,000.00         2,041.67                 0.00               102,958.33
FRANCIS               MURPHY FRANCIS LT                                  CLASS 3            25,000.00              68.17              0.00                24,931.83
FRANCIS               PEGGY JO FRANCIS                                   CLASS 3            50,000.00         9,164.31                0.00                40,835.69
FRANCK                DENNIS FRANCK                                      CLASS 3           100,000.00       18,088.98                 0.00                81,911.02
FRANCK                PROV. TR GP-FBO DENNIS FRANCK IRA                  CLASS 3           107,679.00       16,845.78                 0.00                90,833.22
FRANCOMANO            PASQUALE & LAVANA J FRANCOMANO                     CLASS 3            60,000.00       10,152.83                 0.00                49,847.17
FRANDINA              MAINSTAR-FBO CHRISTINE FRANDINA                    CLASS 3            61,000.00         3,766.75                0.00                57,233.25
FRANKEL               HARRY & DORIS FRANKEL TR                           CLASS 3            50,000.00         7,679.16                0.00                42,320.84
FRANKLIN              BASIL V FRANKLIN JR                                CLASS 3            25,000.00          204.17                 0.00                24,795.83
FRANKLIN              MAINSTAR-FBO BASIL V FRANKLIN JR T2178382          CLASS 3           205,000.00         1,537.50                0.00               203,462.50
FRANKLIN              PROV. TR GP-FBO VELMA FRANKLIN IRA                 CLASS 3            62,559.42         9,200.42                0.00                53,359.00
FRANKS                CLAYSON & AGNES FRANKS                             CLASS 3            50,000.00       12,136.53                 0.00                37,863.47
FRANKS                JACQUELINE FRANKS                                  CLASS 3           200,000.00       17,541.67                 0.00               182,458.33
FRANTZ                STEVEN FRANTZ                                      CLASS 3            25,000.00         3,583.33                0.00                21,416.67
FRANZ/WOHRLE          LOLA JEAN FRANZ & RONALD D WOHRLE                  CLASS 3           100,000.00         1,683.33                0.00                98,316.67
FRANZER               RUTH M FRANZER                                     CLASS 3            25,000.00         3,482.75                0.00                21,517.25
FRANZESE              ANTHONY FRANZESE                                   CLASS 5           200,000.00       30,944.50                 0.00               169,055.50
FRASURE               PROV. TR GP-FBO RON FRASURE IRA                    CLASS 3            25,000.00         2,765.97                0.00                22,234.03
FRAWLEY               MILDRED M FRAWLEY TR 03/10/11                      CLASS 3          200,000.00        25,500.00                 0.00               174,500.00
FRAY                  JENNIFER FRAY                                      CLASS 3            50,000.00         1,425.00                0.00                48,575.00
FRAZER                PROV. TR GP-FBO THOMAS H FRAZER IRA                CLASS 3            27,077.00         1,071.24                0.00                26,005.76
FRAZER                THOMAS H FRAZER RT DTD 08/20/09                    CLASS 3           120,000.00         7,020.00                0.00               112,980.00
FRAZIER               JOHN M FRAZIER                                     CLASS 3            53,000.00         7,105.01                0.00                45,894.99
FRAZIER               PROV. TR GP-FBO PENNY L FRAZIER IRA                CLASS 3            44,000.00         5,236.00                0.00                38,764.00
FRECHETTE             DANIEL E FRECHETTE                                 CLASS 3            25,000.00         1,532.36                0.00                23,467.64
FREDERICK             PROV. TR GP-FBO JOHN FREDERICK IRA                 CLASS 3           135,000.00       31,177.50                 0.00               103,822.50
FREDERICK             SUNWEST TR BRIAN A FREDERICK IRA                   CLASS 3           185,000.00       23,243.34                 0.00               161,756.66

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition         Other
                                                                                      Principal        "Interest"       Prepetition
                                                                                      Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type           [1]               [2]              [3]          [1] minus [2] minus [3]
FREDERIKSEN           PERRY & JILLEENE FREDERIKSEN                     CLASS 3            60,000.00         3,107.50              0.00                56,892.50
FREDETTE              JOSEPH & BARBARA FREDETTE                        CLASS 3            25,000.00         1,298.65              0.00                23,701.35
FREDRICK              PATRICIA FREDRICK                                CLASS 3            25,000.00         1,691.67              0.00                23,308.33
FREDRICK              TODD A & MARY C FREDRICK                         CLASS 3            50,000.00         2,933.33              0.00                47,066.67
FREDRICKS             JUDY L FREDRICKS                                 CLASS 3            50,000.00         5,264.54              0.00                44,735.46
FREDRICKSON           KENNETH G FREDRICKSON                            CLASS 5           106,298.50       18,959.88               0.00                87,338.62
FREDRICKSON           PROV. TR GP-FBO KENNETH G FREDRICKSON IRA        CLASS 5          193,801.50        34,579.90               0.00               159,221.60
FREEBURG              GARY L & DENISE J FREEBURG                       CLASS 3            62,600.00       11,001.89               0.00                51,598.11
FREED                 PAULA FREED                                      CLASS 3            55,000.00        4,775.83               0.00                50,224.17
FREEDLAND             MARIA FREEDLAND                                  CLASS 3            50,000.00          208.33               0.00                49,791.67
FREEDMAN              ANTHONY FREEDMAN                                 CLASS 3           100,000.00         6,733.33              0.00                93,266.67
FREEDMAN              SONIA FREEDMAN                                   CLASS 3            25,000.00          677.10               0.00                24,322.90
FREEMAN               HARRIS & MARION FREEMAN                          CLASS 3          100,000.00          2,166.67              0.00                97,833.33
FREIDEL               PROV. TR GP-FBO ELIZABETH FREIDEL IRA            CLASS 3            84,600.00          747.30               0.00                83,852.70
FREIDEL               PROV. TR GP-FBO JOHN W FREIDEL IRA               CLASS 3           105,900.00         5,974.17              0.00                99,925.83
FRENCH                DONALD R FRENCH                                  CLASS 3            50,000.00         1,420.84              0.00                48,579.16
FRENCH                MAINSTAR-FBO MARGARET D FRENCH T2175709          CLASS 3            69,463.00         4,966.62              0.00                64,496.38
FRERICHS              LORALEI F FRERICHS                               CLASS 3            70,628.50         4,139.68              0.00                66,488.82
FRERICHS              MAINSTAR-FBO LORALEI F FRERICHS                  CLASS 3            40,070.43         2,487.70              0.00                37,582.73
FRERICHS              PROV. TR GP-FBO RUSS FRERICHS ROTH IRA           CLASS 3           100,000.00       23,100.04               0.00                76,899.96
FRERICHS              PROV. TR GP-FBO RUSS FRERICHS ROTH IRA           CLASS 5            50,000.00       11,550.02               0.00                38,449.98
FRERICHS              PROV. TR GP-FBO SALLY FRERICHS ROTH IRA          CLASS 5            50,000.00       15,430.57               0.00                34,569.43
FRESHWATER            RICHARD ELLIS FRESHWATER                         CLASS 3            50,000.00          223.61               0.00                49,776.39
FREY                  JOSEPH R & SHIRLEY I FREY                        CLASS 3            50,000.00         6,295.54              0.00                43,704.46
FREY                  JOSEPH R & SHIRLEY I FREY                        CLASS 5          100,000.00        12,591.08               0.00                87,408.92
FREY                  LARRY E & CINDY P FREY                           CLASS 3            40,000.00         1,845.52              0.00                38,154.48
FREY                  LEONARD L & KATHRYN S FREY                       CLASS 3           100,000.00         2,833.33              0.00                97,166.67
FREY                  PROV. TR GP-FBO RICHARD M FREY IRA               CLASS 5           200,000.00       60,611.12               0.00               139,388.88
FREY                  RICHARD M & ROXANE J FREY                        CLASS 3           175,000.00       20,191.37               0.00               154,808.63

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
FREYTAG               DONALD E FREYTAG                                   CLASS 3            30,000.00          533.33                 0.00                29,466.67
FRIE                  PROV. TR GP-FBO RAYMOND J FRIE IRA                 CLASS 3            60,000.00         7,600.00                0.00                52,400.00
FRIE                  PROV. TR GP-FBO SUSAN H FRIE IRA                   CLASS 3           129,000.00       15,554.95                 0.00               113,445.05
FRIED                 DORIS A FRIED                                      CLASS 5          104,000.00        41,426.85                 0.00                62,573.15
FRIED                 IRA SVCS TR CO-CFBO CHAIM FRIED IRA                CLASS 5           100,000.00       22,875.21                 0.00                77,124.79
FRIEDBERG             BORIS FRIEDBERG                                    CLASS 5           300,000.00      114,848.53                 0.00               185,151.47
FRIEDBERG             BORIS FRIEDBERG 2004 RT                            CLASS 5          300,000.00        37,027.64                 0.00               262,972.36
FRIEDMAN              CAROL & MARTIN FRIEDMAN                            CLASS 3          150,000.00        13,774.96                 0.00               136,225.04
FRIEDMAN              PROV. TR GP-FBO JOYCE E FRIEDMAN IRA               CLASS 3            85,000.00       19,165.10                 0.00                65,834.90
FRIEDMAN              PROV. TR GP-FBO JOYCE E FRIEDMAN IRA               CLASS 5           100,000.00       22,547.18                 0.00                77,452.82
FRIEHAUF              DUANE FRIEHAUF                                     CLASS 3            50,000.00         6,882.70                0.00                43,117.30
FRIEND                JOYCE E FRIEND                                     CLASS 3            27,500.00              30.56              0.00                27,469.44
FRIEND                LYNNE FRIEND                                       CLASS 3         1,750,000.00      241,488.92                 0.00             1,508,511.08
FRIENDS TRAVIS FISHER FRIENDS OF TRAVIS FISHER HOUSE                     CLASS 3         1,000,000.00         5,125.26                0.00               994,874.74
FRIGEN                IRA SVCS TR CO-CFBO DAVID A FRIGEN                 CLASS 3            35,000.00          231.39                 0.00                34,768.61
FRINK                 DELORES FRINK                                      CLASS 5            50,000.00         9,743.17                0.00                40,256.83
FRISHMAN              AUSTIN M FRISHMAN RLT                              CLASS 3            75,000.00         4,962.53                0.00                70,037.47
FRITZLER              PROV. TR GP-FBO GARY FRITZLER ROTH IRA             CLASS 3            27,491.00         4,540.60                0.00                22,950.40
FRITZSCHE             HORIZON TR CO-FBO THOMAS A FRITZSCHE IRA           CLASS 3            25,000.00         2,036.40                0.00                22,963.60
FRIZZA                WANDA FRIZZA                                       CLASS 3            85,000.00         3,987.70                0.00                81,012.30
FROHWEIN              DANIEL FROHWEIN                                    CLASS 3            50,000.00         7,265.66                0.00                42,734.34
FROHWEIN              DANIEL FROHWEIN RT                                 CLASS 3            25,000.00          140.63                 0.00                24,859.37
FROHWEIN              PROV. TR GP-FBO JOHN FROHWEIN IRA                  CLASS 3           286,656.66       45,328.98                 0.00               241,327.68
FROHWEIN              THE BEVERLY FROHWEIN RT                            CLASS 3          240,000.00        27,190.00                 0.00               212,810.00
FROHWEIN              THE JOHN FROHWEIN RT                               CLASS 3           450,000.00       61,880.12                 0.00               388,119.88
FROMME                HARVEY DENNIS & DIANNE FROMME                      CLASS 3            50,000.00         2,437.54                0.00                47,562.46
FRONTERA              PROV. TR GP-FBO CHARLES FRONTERA IRA               CLASS 3          137,856.00        11,510.98                 0.00               126,345.02
FROST                 MAINSTAR-FBO RYAN FROST T2178355                   CLASS 3            50,000.00               0.00              0.00                50,000.00
FRUCHTER              IRA SVCS TR CO-CFBO MARC A FRUCHTER IRA            CLASS 3           150,000.00         5,958.31                0.00               144,041.69

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]                [3]          [1] minus [2] minus [3]
FRUEHAN               MAINSTAR-FBO ANNETTE FRUEHAN                      CLASS 3           159,791.66         8,588.80                0.00               151,202.86
FRUITHANDLER          THE EILEEN GREENBERG FRUITHANDLER LT              CLASS 3            50,000.00         9,672.92                0.00                40,327.08
FRY                   PROV. TR GP-FBO LANA L FRY IRA                    CLASS 3            49,500.00       16,559.50                 0.00                32,940.50
FU                    TSUN-SEN & MITZI FU                               CLASS 3          200,000.00        15,919.53                 0.00               184,080.47
FUCCI                 THE FUCCI FT DTD 12/19/88                         CLASS 3            50,000.00        2,673.57                 0.00                47,326.43
FUCHS                 THE JOHN J & JANE A FUCHS RLT                     CLASS 3           150,000.00       12,221.02                 0.00               137,778.98
FUENTES               ELLEN FUENTES RLT                                 CLASS 3          100,000.00         2,266.67                 0.00                97,733.33
FUESTING              MICHAEL L & KATHY S FUESTING                      CLASS 3           100,000.00       11,216.67                 0.00                88,783.33
FULLENKAMP            ROMAN N & MARLENE E FULLENKAMP                    CLASS 3          100,000.00        36,266.82                 0.00                63,733.18
FULLENKAMP            STEVEN M & MELINDA D FULLENKAMP                   CLASS 3            50,000.00         8,006.40                0.00                41,993.60
FULTON                HORIZON TR CO-FBO BRET R FULTON IRA               CLASS 5           400,000.00       47,444.39                 0.00               352,555.61
FUQUA                 LISA E FUQUA                                      CLASS 3          300,000.00          6,291.66                0.00               293,708.34
FURFARI               JAMES C & AMY S FURFARI                           CLASS 5           100,000.00       17,083.29                 0.00                82,916.71
FURMAN                KATHLEEN D FURMAN IRREV SPEC NEEDS TR             CLASS 3           400,000.00      107,913.91                 0.00               292,086.09
FURNESS               VIRGINIA R FURNESS                                CLASS 5          150,000.00        34,883.33                 0.00               115,116.67
FURST                 BRONIA FURST                                      CLASS 3            25,000.00          963.86                 0.00                24,036.14
G & A CAPITAL         G & A CAPITAL HOLDINGS LLC                        CLASS 3            55,000.00         2,530.00                0.00                52,470.00
GABA                  DEMETRIO B GABA                                   CLASS 3            25,000.00         1,239.62                0.00                23,760.38
GABAYLO               DOREEN Y GABAYLO                                  CLASS 3            50,000.00              27.78              0.00                49,972.22
GABBITAS              DON S & CHERYL GABBITAS                           CLASS 3          100,000.00          2,184.74                0.00                97,815.26
GABERLAVAGE/SOTERIOUSTANLEY GABERLAVAGE & DOROTHY SOTERIOU              CLASS 3           200,000.00       12,636.17                 0.00               187,363.83
GABLE                 PROV. TR GP-FBO JAMES L GABLE IRA                 CLASS 3           100,000.00         7,611.11                0.00                92,388.89
GABLEHOUSE            DARREL G & JANET L GABLEHOUSE                     CLASS 3           100,000.00       24,602.76                 0.00                75,397.24
GAFFNEY               PROV. TR GP-FBO ROBERT F GAFFNEY IRA              CLASS 5          250,000.00        80,319.17                 0.00               169,680.83
GAINEY                MAINSTAR-FBO BONITA GAINEY T2174706               CLASS 3            94,000.00         8,903.86                0.00                85,096.14
GAIONI                JOHN M GAIONI                                     CLASS 3            50,000.00       12,951.33                 0.00                37,048.67
GALAN                 SUNWEST TR FRANCISCO A GALAN IRA                  CLASS 3            50,000.00       14,027.31                 0.00                35,972.69
GALAN                 SUNWEST TR FRANCISCO A GALAN IRA                  CLASS 5           265,000.00       74,344.76                 0.00               190,655.24
GALANIS               PETER & MARY ELLEN GALANIS                        CLASS 5          100,000.00        26,136.57                 0.00                73,863.43

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GALANTI               LESLIE GALANTI                                     CLASS 3          271,000.00        18,179.61                0.00               252,820.39
GALANTI               MAINSTAR-FBO LESLIE GALANTI T2176944               CLASS 3           115,000.00         2,906.94               0.00               112,093.06
GALBREATH             GALBREATH FT DTD 10/18/02                          CLASS 3            25,000.00              4.17              0.00                24,995.83
GALE                  MAINSTAR-FBO GEORGE T GALE JR T2176556             CLASS 3            88,945.00         2,211.27               0.00                86,733.73
GALE                  MAINSTAR-FBO MICHELE L GALE T2177548               CLASS 3            33,414.00          736.04                0.00                32,677.96
GALLAGHER             CHRISTINA B GALLAGHER                              CLASS 3            80,000.00         8,916.67               0.00                71,083.33
GALLAGHER             IRA SVCS TR CO-CFBO C GALLAGHER ROTH IRA           CLASS 3            53,000.00         1,431.00               0.00                51,569.00
GALLAGHER             IRA SVCS TR CO-CFBO CHRISTINA B GALLAGHER          CLASS 3            59,800.00         6,209.23               0.00                53,590.77
GALLAGHER             PROV. TR GP-FBO VIRGINIA M GALLAGHER IRA           CLASS 5            85,000.00       28,906.77                0.00                56,093.23
GALLAMORE             PROV. TR GP-FBO RICHARD P GALLAMORE IRA            CLASS 3           100,000.00         7,033.33               0.00                92,966.67
GALLMOYER             MAINSTAR-FBO GARY GALLMOYER TW003347               CLASS 3           226,000.00       26,551.92                0.00               199,448.08
GALLMOYER             MAINSTAR-FBO GARY GALLMOYER TW003347               CLASS 5           177,000.00       20,795.08                0.00               156,204.92
GALLMOYER             MAINSTAR-FBO GWEN GALLMOYER TW003361               CLASS 3            35,000.00         2,258.92               0.00                32,741.08
GALLMOYER             MAINSTAR-FBO GWEN GALLMOYER TW003361               CLASS 5            33,000.00         2,129.83               0.00                30,870.17
GALVEZ                MAINSTAR-FBO THRIFINIA GALVEZ                      CLASS 3            27,060.02         1,597.29               0.00                25,462.73
GAMA                  PROV. TR GP-FBO GLEN A GAMA IRA                    CLASS 3           128,329.00         5,627.34               0.00               122,701.66
GAMBOA                ESTELA G GAMBOA                                    CLASS 3            50,000.00          588.20                0.00                49,411.80
GAMBOCORTO            MAINSTAR-FBO FRANK GAMBOCORTO                      CLASS 5            50,000.00        7,902.04                0.00                42,097.96
GANGADHARAN           GEETHA GANGADHARAN                                 CLASS 3            40,000.00          105.56                0.00                39,894.44
GANS                  LANNING R GANS FT DTD 11/14/13                     CLASS 5           200,000.00         9,077.79               0.00               190,922.21
GANSTER               GLENNA & JOHN GANSTER JTWROS                       CLASS 5           200,000.00       58,889.01                0.00               141,110.99
GANSTER               GLENNA S GANSTER                                   CLASS 3           100,000.00       23,903.71                0.00                76,096.29
GANSTER               GLENNA S GANSTER                                   CLASS 5           500,000.00      119,518.56                0.00               380,481.44
GANSTER               JOHN M GANSTER                                     CLASS 3           150,000.00       36,844.34                0.00               113,155.66
GARBER                EUGENE GARBER                                      CLASS 3          100,000.00          7,252.74               0.00                92,747.26
GARBER                JAN S GARBER                                       CLASS 3            25,000.00         3,690.98               0.00                21,309.02
GARCIA                FELIPE & CRUZ R GARCIA                             CLASS 3           200,000.00       10,888.85                0.00               189,111.15
GARCIA                MAINSTAR-FBO SELINA R GARCIA T2176765              CLASS 3            43,550.00         1,463.76               0.00                42,086.24
GARCIA                PROV. TR GP-FBO LEAH R GARCIA IRA                  CLASS 3            55,000.00         4,850.69               0.00                50,149.31

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GARCIA                RACHELE GARCIA                                     CLASS 3            30,000.00          535.00                0.00                29,465.00
GARCIA                RONALD GARCIA & M HERNANDORENA-GARCIA              CLASS 3           150,000.00         9,036.81               0.00               140,963.19
GARDEN CITY MASONIC   GARDEN CITY MASONIC F&AM #587                      CLASS 3            50,000.00         8,683.49               0.00                41,316.51
GARDNER               PROV. TR GP-FBO RICHARD D GARDNER IRA              CLASS 3            25,000.00          750.00                0.00                24,250.00
GARDNER               PROV. TR GP-FBO RICHARD GARDNER ROTH IRA           CLASS 3            25,000.00          978.28                0.00                24,021.72
GARGALA               CARLA GARGALA                                      CLASS 3            35,000.00         3,317.60               0.00                31,682.40
GARGALA               IRA SVCS TR CO-CFBO JOHN E GARGALA IRA             CLASS 3            25,000.00         1,754.17               0.00                23,245.83
GARLINGHOUSE          KENT A & DONNA J GARLINGHOUSE                      CLASS 3            40,000.00         3,626.71               0.00                36,373.29
GARLINGHOUSE          PROV. TR GP-FBO DONNA J GARLINGHOUSE R I           CLASS 3            21,000.00         3,565.33               0.00                17,434.67
GARLINGHOUSE          PROV. TR GP-FBO KENT A GARLINGHOUSE R I            CLASS 3            28,500.00         4,838.67               0.00                23,661.33
GARNER                LYNN THOMAS GARNER JR                              CLASS 3            50,000.00       11,990.27                0.00                38,009.73
GAROUTTE              MAINSTAR-FBO JEFFREY S GAROUTTE                    CLASS 3           100,000.00       21,408.39                0.00                78,591.61
GARREPY               STEPHANIE GARREPY                                  CLASS 3           100,000.00       13,850.00                0.00                86,150.00
GARRETT               PROV. TR GP-FBO RANDAL K GARRETT IRA               CLASS 3           246,750.00       31,090.51                0.00               215,659.49
GARRETT               R & M GARRETT FLP                                  CLASS 3            75,000.00         2,493.75               0.00                72,506.25
GARRETT               RANDAL K & BRENDA R GARRETT                        CLASS 3            25,000.00         2,863.13               0.00                22,136.87
GARROULD              GARROULD FT                                        CLASS 3            57,324.02         3,980.83               0.00                53,343.19
GARROULD              PROV. TR GP-FBO GEORGE GARROULD IRA                CLASS 3            38,500.00         1,130.94               0.00                37,369.06
GARTNER               PAMELA J GARTNER                                   CLASS 3            40,000.00         1,094.46               0.00                38,905.54
GARZA                 EVA GARZA                                          CLASS 3            25,000.00              0.00              0.00                25,000.00
GARZIA                PROV. TR GP-FBO JOHN GARZIA IRA                    CLASS 3            78,750.00         2,690.99               0.00                76,059.01
GASSER                LINDA D GASSER                                     CLASS 5            60,000.00       23,566.68                0.00                36,433.32
GATES                 ELVIN W & PAULETTE A GATES                         CLASS 3            50,000.00         1,001.40               0.00                48,998.60
GATLIN                MARCIA A GATLIN                                    CLASS 3            30,000.00         1,845.83               0.00                28,154.17
GATTIS                PROV. TR GP-FBO TROY GATTIS IRA                    CLASS 3           225,000.00       23,846.08                0.00               201,153.92
GATTON                HORIZON TR CO-FBO SCOTT A GATTON TRAD IRA          CLASS 3            25,496.00          114.73                0.00                25,381.27
GAUTHIER              WANDA G GAUTHIER                                   CLASS 3            50,000.00         3,150.00               0.00                46,850.00
GAUTIER/CORIOLAN      ERNST GAUTIER & MARIE ANDREE CORIOLAN              CLASS 3            25,000.00         1,408.37               0.00                23,591.63
GAWLIK                PROV. TR GP-FBO RICHARD M GAWLIK IRA               CLASS 3           164,550.00       22,683.39                0.00               141,866.61

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
GAWLIK                RICHARD M & BETTY GAWLIK                           CLASS 3            88,000.00         5,676.00                0.00                82,324.00
GAYLER                TOMMYE E GAYLER                                    CLASS 3           255,000.00       43,137.02                 0.00               211,862.98
GEARY                 WENDELL L GEARY                                    CLASS 3            25,000.00        1,548.97                 0.00                23,451.03
GEDDES                MAINSTAR-FBO JOHN GEDDES                           CLASS 5            75,000.00         8,408.31                0.00                66,591.69
GEHM                  LOWELL & PATRICIA GEHM                             CLASS 3            25,000.00              25.00              0.00                24,975.00
GEIER                 DONALD I GEIER                                     CLASS 3            50,000.00         1,033.33                0.00                48,966.67
GEIGER                VERA GEIGER                                        CLASS 3            75,000.00        3,916.67                 0.00                71,083.33
GEILENKIRCHEN         PROV. TR GP-FBO DEAN GEILENKIRCHEN IRA             CLASS 3            25,570.00         5,888.63                0.00                19,681.37
GEILENKIRCHEN         PROV. TR GP-FBO DEAN GEILENKIRCHEN IRA             CLASS 5           459,500.00      105,820.27                 0.00               353,679.73
GEISE                 EVELYN GEISE                                       CLASS 3          200,000.00         4,615.28                 0.00               195,384.72
GEISE                 LARRY & PATRICIA GEISE                             CLASS 3            50,000.00          398.61                 0.00                49,601.39
GEISSLER              RACHELLE GEISSLER                                  CLASS 3           133,385.40         3,757.04                0.00               129,628.36
GELDZAHLER            SEYMOUR GELDZAHLER                                 CLASS 3           125,000.00       12,378.52                 0.00               112,621.48
GELLER                ELIZABETH M GELLER TR                              CLASS 3           750,000.00       35,234.38                 0.00               714,765.62
GELLER                SIDNEY H GELLER TR                                 CLASS 3           700,000.00       32,885.42                 0.00               667,114.58
GENERAL AIR/HEATING   GENERAL AIR CONDITIONING & HEATING DBPP            CLASS 3           100,000.00          819.45                 0.00                99,180.55
GENNARO               MARIAN E GENNARO RT                                CLASS 3           250,000.00         9,021.22                0.00               240,978.78
GENT                  BARBARA J GENT                                     CLASS 3            50,000.00          341.67                 0.00                49,658.33
GEORGE                B DIANE GEORGE                                     CLASS 3           135,000.00         2,025.00                0.00               132,975.00
GEORGE                MAINSTAR-FBO KATHERINE GEORGE T2176905             CLASS 3            99,000.00         3,902.42                0.00                95,097.58
GEORGE                MAINSTAR-FBO KATHERINE GEORGE T2176905             CLASS 5           300,000.00       11,825.50                 0.00               288,174.50
GEORGE                MAINSTAR-FBO SHERRIE GEORGE T2177878               CLASS 3            29,000.00          310.14                 0.00                28,689.86
GEORGE                TINA A GEORGE                                      CLASS 3            40,000.00         2,213.36                0.00                37,786.64
GERARDI               JOSIANE & FRANK GERARDI                            CLASS 3           340,000.00       33,203.65                 0.00               306,796.35
GERBER                WILLIAM GERBER                                     CLASS 3            45,000.00               0.00              0.00                45,000.00
GEREN                 JANELLE GEREN                                      CLASS 3            66,575.65         3,206.76                0.00                63,368.89
GERHARD               DAVID GERHARD                                      CLASS 3            50,000.00         6,000.00                0.00                44,000.00
GERHARD               DAVID OR JEAN GERHARD                              CLASS 3            50,000.00         7,575.00                0.00                42,425.00
GERHARD               MAINSTAR-FBO DAVID GERHARD T2175188                CLASS 3            37,500.00         2,900.67                0.00                34,599.33

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
GERHARD               MAINSTAR-FBO DAVID S GERHARD                       CLASS 3            49,600.00         6,324.00                0.00                43,276.00
GERHARD               MAINSTAR-FBO JEAN GERHARD T2176583                 CLASS 3            32,700.00         1,584.13                0.00                31,115.87
GERHARDT              PROV. TR GP-FBO ANNETTE L GERHARDT IRA             CLASS 5            50,000.00         8,486.11                0.00                41,513.89
GERLACH               GERLACH FAMILY IRREV TR                            CLASS 3           240,000.00         4,566.67                0.00               235,433.33
GERMAN CHRISTIAN      GERMAN CHRISTIAN CHURCH OF SAN FRANCISCO           CLASS 3            50,000.00       10,208.25                 0.00                39,791.75
GERRARD               PROV. TR GP-FBO JACK A GERRARD IRA                 CLASS 3           115,800.00         6,118.10                0.00               109,681.90
GERRITSON             JEFFREY GERRITSON                                  CLASS 3          100,000.00          7,910.03                0.00                92,089.97
GERSDORF              KLAUS & CECELIA GERSDORF                           CLASS 3           200,000.00       24,626.67                 0.00               175,373.33
GERSDORF              PROV. TR GP-FBO KLAUS GERSDORF IRA                 CLASS 3           146,250.00         6,354.74                0.00               139,895.26
GERSTENFELD           MARK & ANITA GERSTENFELD                           CLASS 3            25,000.00              50.00              0.00                24,950.00
GERTMAN               PROV. TR GP-FBO MICHAEL GERTMAN IRA                CLASS 3           175,000.00       12,055.56                 0.00               162,944.44
GESINK                PROV. TR GP-FBO JOEL A GESINK IRA                  CLASS 3            50,000.00         9,666.60                0.00                40,333.40
GETTINGER             PROV. TR GP-FBO JODY A GETTINGER IRA               CLASS 3            70,750.00         8,827.67                0.00                61,922.33
GG FAMILY             GG FAMILY TR                                       CLASS 3          150,000.00        20,837.50                 0.00               129,162.50
GHANTA                RAVI GHANTA                                        CLASS 3            50,000.00         3,651.42                0.00                46,348.58
GHILE                 MULUGETA M GHILE                                   CLASS 3            75,000.00         7,935.74                0.00                67,064.26
GHYSELINCK            JOHN D GHYSELINCK                                  CLASS 3            50,000.00         1,108.34                0.00                48,891.66
GIACOLETTI            GIACOLETTI FT DTD 02/01/85                         CLASS 3          100,000.00          4,025.69                0.00                95,974.31
GIALKETSIS            KAYLEE GIALKETSIS                                  CLASS 3            50,000.00         5,722.17                0.00                44,277.83
GIAMMARCO             PAUL & MARGARET GIAMMARCO                          CLASS 3            25,000.00          733.33                 0.00                24,266.67
GIBSON                HERBERT R & KAY M GIBSON                           CLASS 3          100,000.00          3,107.60                0.00                96,892.40
GIBSON                PROV. TR GP-FBO BRADLEY S GIBSON IRA               CLASS 3          139,000.00        14,567.97                 0.00               124,432.03
GIBSON                PROV. TR GP-FBO GREGORY A GIBSON IRA               CLASS 3            50,000.00         8,414.50                0.00                41,585.50
GIBSON                PROV. TR GP-FBO TODD GIBSON IRA                    CLASS 3            55,000.00        4,587.92                 0.00                50,412.08
GIBSON                RLT OF EMMETT & S L GIBSON DTD 01/15/08            CLASS 3          100,000.00         1,350.00                 0.00                98,650.00
GIDDENS               MAINSTAR-FBO STEVE GIDDENS                         CLASS 3            60,229.28         2,861.73                0.00                57,367.55
GIDDENS               STEVE GIDDENS                                      CLASS 3            35,000.00        1,577.46                 0.00                33,422.54
GIENGER               GERALD D & ANN C GIENGER                           CLASS 3          200,000.00        38,399.96                 0.00               161,600.04
GIFT                  JEFFREY A GIFT                                     CLASS 3            25,000.00          855.54                 0.00                24,144.46

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GILAM                 VIRGILIA B GILAM                                   CLASS 3            40,000.00          705.57                0.00                39,294.43
GILBERT               BARRY A & KATHI D GILBERT                          CLASS 3            50,000.00         1,018.21               0.00                48,981.79
GILBERT               NORMAN & DONNA GILBERT                             CLASS 3           125,000.00       23,491.73                0.00               101,508.27
GILBERT               PAUL GILBERT                                       CLASS 3          100,000.00               0.00              0.00               100,000.00
GILBERT               PROV. TR GP-FBO DONNA M GILBERT IRA                CLASS 3           150,000.00         7,718.75               0.00               142,281.25
GILBERT               PROV. TR GP-FBO LEE GILBERT ROTH IRA               CLASS 3            49,100.00         1,669.40               0.00                47,430.60
GILBO                 IRA SVCS TR CO-CFBO WALTER H GILBO                 CLASS 5          119,000.00          4,660.85               0.00               114,339.15
GILBREATH             BERNICE GILBREATH                                  CLASS 3            50,000.00         3,666.63               0.00                46,333.37
GILL                  MAINSTAR-FBO UPKAR GILL T2177337                   CLASS 3            98,363.51        2,117.55                0.00                96,245.96
GILLEN                CANDICE L GILLEN                                   CLASS 3            50,000.00          479.16                0.00                49,520.84
GILLEN                CORT D GILLEN                                      CLASS 3            25,000.00        3,330.60                0.00                21,669.40
GILLEN                MAINSTAR-FBO SUSAN L GILLEN T2177528               CLASS 3          100,000.00         1,722.23                0.00                98,277.77
GILLESPIE             IRA SVCS TR CO-CFBO MICHAEL A GILLESPIE            CLASS 3            95,000.00         4,132.50               0.00                90,867.50
GILMAN                BRUCE GILMAN                                       CLASS 3          485,000.00           377.22                0.00               484,622.78
GILMORE               BOBBIE T GILMORE                                   CLASS 3            45,000.00          331.25                0.00                44,668.75
GINGRICH              MAINSTAR-FBO GARRETT GINGRICH                      CLASS 3            90,000.00         5,268.75               0.00                84,731.25
GINSBURG              IRENE GINSBURG                                     CLASS 3            75,000.00         7,004.21               0.00                67,995.79
GIOVACHINO            JOAN & LOUIS GIOVACHINO RT DTD 12/30/07            CLASS 3            50,000.00          768.04                0.00                49,231.96
GIRVAN                MAINSTAR-FBO PATRICIA-ANN GIRVAN T2175885          CLASS 3           115,700.00         6,784.72               0.00               108,915.28
GIUNTA                G JOSEPH GIUNTA                                    CLASS 3            25,000.00        2,652.86                0.00                22,347.14
GLADFELTER            DAVID & ANNE GLADFELTER                            CLASS 3            25,000.00          341.67                0.00                24,658.33
GLASER/FEELEY         DEATTRA S GLASER & ABBYE HOPE FEELEY               CLASS 3            80,000.00              0.00              0.00                80,000.00
GLASS                 HARRY J II & SHIRLEE N GLASS                       CLASS 3           100,000.00       15,980.61                0.00                84,019.39
GLASS                 LEON GLASS                                         CLASS 5          100,000.00          9,819.44               0.00                90,180.56
GLASS                 ROBERT V GLASS JR                                  CLASS 3            25,000.00          468.76                0.00                24,531.24
GLASSMIRE             PROV. TR GP-FBO LEWIS L GLASSMIRE JR IRA           CLASS 3            40,000.00         5,251.11               0.00                34,748.89
GLATT                 THE GLATT FT DTD 06/17/98                          CLASS 3            50,000.00          466.67                0.00                49,533.33
GLAZE                 IRA SVCS TR CO-CFBO JUDITH A GLAZE                 CLASS 3            46,500.00          984.25                0.00                45,515.75
GLEINN                RICHARD J & PHYLLIS A GLEINN                       CLASS 3            60,000.00         4,873.33               0.00                55,126.67

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GLIEBE                MAINSTAR-FBO SUSAN D GLIEBE                       CLASS 3          101,500.00          7,057.17               0.00                94,442.83
GLOBAL PARTNERS       GLOBAL PARTNERS USA INC                           CLASS 3           300,000.00         2,654.17               0.00               297,345.83
GLUPKER               MAINSTAR-FBO SANDRA GLUPKER T2176644              CLASS 3           229,000.00         6,718.88               0.00               222,281.12
GOBELI                NELLIE A GOBELI                                   CLASS 3            25,000.00         1,413.24               0.00                23,586.76
GOBER                 SHARON L GOBER                                    CLASS 3            50,000.00         2,683.33               0.00                47,316.67
GOCKE                 VINCENT J GOCKE LT DTD 12/11/91                   CLASS 3            60,000.00       10,116.66                0.00                49,883.34
GODDARD               CAROL W GODDARD                                   CLASS 3            27,900.00         1,329.13               0.00                26,570.87
GODFREY               HORIZON TR CO-FBO ROBERT J GODFREY IRA            CLASS 3           170,000.00       20,961.15                0.00               149,038.85
GODFREY               PROV. TR GP-FBO GODFREY FT ICA                    CLASS 3            60,000.00         3,595.00               0.00                56,405.00
GODSEY                STEVE M GODSEY                                    CLASS 3            50,000.00              7.29              0.00                49,992.71
GODWIN                ANN G GODWIN                                      CLASS 3            75,000.00         4,572.92               0.00                70,427.08
GOEDECKE              MAINSTAR-FBO PHILLIP GOEDECKE                     CLASS 3           325,000.00       39,759.69                0.00               285,240.31
GOELLNER              CRAIG R & JANELLE M GOELLNER                      CLASS 3            75,000.00         8,887.50         1,000.00                  65,112.50
GOERS                 PROV. TR GP-FBO SHARON G GOERS IRA                CLASS 3           262,000.00         9,567.50               0.00               252,432.50
GOETTER               TONY P & WENDY K GOETTER                          CLASS 3           250,000.00       40,791.97                0.00               209,208.03
GOETZ                 EILEEN GOETZ RLT UDT 04/04/12                     CLASS 3            50,000.00          409.72                0.00                49,590.28
GOFF                  NANCY GOFF                                        CLASS 3            50,000.00         2,991.67               0.00                47,008.33
GOLDBAUM              EDWARD & JENNIFER GOLDBAUM                        CLASS 3*          200,000.00         2,666.67               0.00               197,333.33
GOLDBERG              IVAN GOLDBERG                                     CLASS 3            75,000.00         2,073.58               0.00                72,926.42
GOLDBERG              LESLIE GOLDBERG                                   CLASS 3          435,921.59        44,935.67          1,000.00                 389,985.92
GOLDBERG              MARC & SUSAN GOLDBERG JRTA DTD 03/15/05           CLASS 3           100,000.00         2,644.43               0.00                97,355.57
GOLDBERG              PROV. TR GP-FBO LESLIE GOLDBERG IRA               CLASS 5           125,504.53       16,350.45                0.00               109,154.08
GOLDBERG              RICHARD S GOLDBERG RLT                            CLASS 3            85,000.00         3,625.00               0.00                81,375.00
GOLDEN                IRA SVCS TR CO-CFBO SAMUEL E GOLDEN IRA           CLASS 3           109,000.00         2,770.44               0.00               106,229.56
GOLDEN                MAINSTAR-FBO DIANE GOLDEN T2176712                CLASS 3            60,000.00         2,117.50               0.00                57,882.50
GOLDEN                PROV. TR GP-FBO MARILYN W GOLDEN IRA              CLASS 3            34,650.00         2,656.50               0.00                31,993.50
GOLDEN                PROV. TR GP-FBO MICHAEL J GOLDEN IRA              CLASS 3            37,150.00         2,848.17               0.00                34,301.83
GOLDER-POTTKOTTER     GOLDER-POTTKOTTER POST 6515                       CLASS 3           165,000.00       22,855.37                0.00               142,144.63
GOLDFINGER            STEVEN H GOLDFINGER                               CLASS 3           100,000.00       20,583.35          1,000.00                  78,416.65

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GOLDING               CHRISTIAN D & DINAH B GOLDING                     CLASS 3           200,000.00         9,935.54               0.00               190,064.46
GOLDMAN               DORIS GOLDMAN                                     CLASS 3            50,000.00         4,433.29               0.00                45,566.71
GOLDMAN               MAINSTAR-FBO BONNIE S GOLDMAN                     CLASS 3            57,460.43         5,206.57               0.00                52,253.86
GOLDMAN               PHYLLIS F GOLDMAN                                 CLASS 3            30,000.00        3,138.33                0.00                26,861.67
GOLDSBERRY            DEWEY M & BARBARA A GOLDSBERRY                    CLASS 5           160,000.00       36,311.02                0.00               123,688.98
GOLDSTEIN             ADELE & DAVID GOLDSTEIN                           CLASS 3            25,000.00       18,372.57                0.00                 6,627.43
GOLDSTEIN             ARLENE & IRA GOLDSTEIN                            CLASS 3            50,000.00         3,659.72               0.00                46,340.28
GOLDSTEIN             THE DAVID & ADELE GOLDSTEIN IPT DTD 03/16/17      CLASS 3            50,000.00              0.00              0.00                50,000.00
GOLDSTEIN             THE DAVID & ADELE GOLDSTEIN IRREV TR              CLASS 3            25,000.00          270.84                0.00                24,729.16
GOMES                 DAVID & NAIDA GOMES LT                            CLASS 3           100,000.00              0.00              0.00               100,000.00
GOMEZ                 MAINSTAR-FBO SHEILA GOMEZ T2178170                CLASS 3            40,000.00          366.66                0.00                39,633.34
GOMEZ                 MARCO GOMEZ                                       CLASS 3            25,000.00        1,295.83                0.00                23,704.17
GOMEZ                 RICARDO & BERTHA GOMEZ                            CLASS 3            50,000.00         3,841.67               0.00                46,158.33
GONCZ                 ROBERT & ANN GONCZ                                CLASS 3           104,000.00         2,740.08               0.00               101,259.92
GONNAM                RUSSELL W GONNAM                                  CLASS 3            50,000.00         3,033.37               0.00                46,966.63
GONNAM                MAINSTAR-FBO GAIL G GONNAM                        CLASS 3           106,500.00         4,711.15               0.00               101,788.85
GONZALES              CELERINA B GONZALES                               CLASS 3            50,000.00         6,436.22               0.00                43,563.78
GONZALES              MAINSTAR-FBO JERRY GONZALES T2176596              CLASS 3          150,000.00          7,583.33               0.00               142,416.67
GONZALES              MAINSTAR-FBO MARK GONZALES TW003792               CLASS 3            25,000.00          545.14                0.00                24,454.86
GONZALES              ROQUE & ELVIRA GONZALES                           CLASS 3          260,000.00          3,033.33               0.00               256,966.67
GONZALEZ              ENGLISH GONZALEZ                                  CLASS 3          135,000.00          3,803.33               0.00               131,196.67
GONZALEZ              ROSALIA C GONZALEZ                                CLASS 3            25,000.00          973.93                0.00                24,026.07
GONZALEZ              SALLY GONZALEZ                                    CLASS 5          150,000.00        13,658.46                0.00               136,341.54
GONZALEZ              TERESITA & FELIX GONZALEZ                         CLASS 3            91,000.00         1,961.57               0.00                89,038.43
GONZALEZ/DEBERNARDISROBERT GONZALEZ & ADELAYNE M DEBERNARDIS            CLASS 3            50,000.00          506.94                0.00                49,493.06
GONZALEZ/GOMBOSURENJUAN GONZALEZ & TUNGALAG GOMBOSUREN                  CLASS 3           100,000.00          527.78                0.00                99,472.22
GOODBURLET            MAINSTAR-FBO RICHARD GOODBURLET                   CLASS 3*           60,000.00         3,391.67               0.00                56,608.33
GOODBURLET            MAINSTAR-FBO RICHARD R GOODBURLET                 CLASS 3           135,000.00         7,725.00               0.00               127,275.00
GOODBURLET            RICHARD J GOODBURLET                              CLASS 3            77,000.00         4,513.01               0.00                72,486.99

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                        Total
                                                                                     Outstanding       Prepetition          Other
                                                                                      Principal        "Interest"        Prepetition
                                                                                      Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GOODMAN               PROV. TR GP-FBO TODD W GOODMAN IRA               CLASS 3            35,000.00         2,109.72               0.00                32,890.28
GOODMAN               THE GOODMAN FT DTD 09/17/91                      CLASS 3            25,000.00          358.80                0.00                24,641.20
GOODMAN/HURTUBISE     RICHARD T GOODMAN & JOHN S HURTUBISE             CLASS 3           300,000.00       11,137.55                0.00               288,862.45
GOODWIN               PROV. TR GP-FBO BRUCE R GOODWIN IRA              CLASS 3            44,500.00         1,479.63               0.00                43,020.37
GOODWIN               PROV. TR GP-FBO JULIE GOODWIN IRA                CLASS 3           331,002.71       39,004.21                0.00               291,998.50
GOODWYN               EVERETTE & MARLENE GOODWYN LT 07/11/03           CLASS 3            25,000.00          148.96                0.00                24,851.04
GOODY                 KUMIKO GOODY                                     CLASS 3          137,450.00          7,544.47               0.00               129,905.53
GOODYKE               RONALD & SHARON GOODYKE                          CLASS 3            50,000.00         1,550.00               0.00                48,450.00
GORDON                ALAN & MARLENE GORDON                            CLASS 3           150,000.00       10,920.28                0.00               139,079.72
GORDON                ALAN & MARLENE GORDON                            CLASS 3*           50,000.00         3,420.18               0.00                46,579.82
GORDON                ELIZABETH GORDON FT                              CLASS 3            50,000.00         2,943.02               0.00                47,056.98
GORDON                ESTELLE GORDON                                   CLASS 3            50,000.00         6,822.92               0.00                43,177.08
GORDON                PROV. TR GP-FBO MARIGENE GORDON IRA              CLASS 3           100,250.00         2,506.25               0.00                97,743.75
GORMAN                JOSEPH P & RITA L GORMAN                         CLASS 3            30,000.00          710.00                0.00                29,290.00
GORNICK               CAROLYN D GORNICK                                CLASS 3            40,000.00         2,940.00               0.00                37,060.00
GOSDEN                HIROYUKI GOSDEN                                  CLASS 3            25,000.00          891.27                0.00                24,108.73
GOTHBERG              GOTHBERG FLT DTD 12/12/08                        CLASS 3            50,000.00          583.34                0.00                49,416.66
GOTOWKA               PETER B & BARBARA A GOTOWKA                      CLASS 3            50,000.00         3,153.38               0.00                46,846.62
GOTTLEIB              MARY GOTTLEIB TR                                 CLASS 3            60,000.00       10,013.46                0.00                49,986.54
GOUDE                 DONNA GOUDE                                      CLASS 3          212,535.00        17,247.63                0.00               195,287.37
GOUGH                 MARGARET A GOUGH                                 CLASS 3            75,000.00         3,795.18               0.00                71,204.82
GOUGH                 PROV. TR GP-FBO MARGARET A GOUGH IRA             CLASS 3           305,200.00       23,442.83                0.00               281,757.17
GOULET                JOHN & JANE GOULET                               CLASS 3          100,000.00        11,777.60                0.00                88,222.40
GOURDIER              LESLIE J & IRENE J GOURDIER                      CLASS 3            75,000.00       10,208.33                0.00                64,791.67
GOWDY                 LLOYD GOWDY                                      CLASS 3           366,000.00       19,120.64                0.00               346,879.36
GOWER                 CAROLINE GOWER                                   CLASS 3            58,000.00         3,834.41               0.00                54,165.59
GOYENECHEA            RAYMOND GOYENECHEA                               CLASS 3            60,000.00              0.00              0.00                60,000.00
GRABINSKI             PROV. TR GP-FBO JEANNIE M GRABINSKI IRA          CLASS 3            50,000.00          384.38                0.00                49,615.62
GRABISCH              ALAN GRABISCH RT                                 CLASS 3           300,000.00       66,149.42                0.00               233,850.58

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
GRABISCH              ALAN GRABISCH RT                                   CLASS 5           500,000.00      110,249.04               0.00               389,750.96
GRABISCH              GRABISCH FAMILY PARTNERSHIP                        CLASS 3           100,000.00         1,847.21              0.00                98,152.79
GRADY                 LESLIE N & JEANETTE M GRADY                        CLASS 3          100,000.00          4,916.70              0.00                95,083.30
GRAFF                 JASON GRAFF                                        CLASS 3            25,000.00         2,615.22              0.00                22,384.78
GRAHAM                DOUGLAS F GRAHAM                                   CLASS 5           200,000.00       39,583.18               0.00               160,416.82
GRAHAM                MARK E GRAHAM                                      CLASS 3           100,000.00         5,741.70              0.00                94,258.30
GRAHAM                PROV. TR GP-FBO DIANE M GRAHAM IRA                 CLASS 3            60,000.00         5,653.34              0.00                54,346.66
GRAHAM                RON GRAHAM                                         CLASS 3            25,000.00          504.90               0.00                24,495.10
GRAINGER              RICHARD T GRAINGER                                 CLASS 3            26,000.00          766.66               0.00                25,233.34
GRAMLING              STEVEN GUESS GRAMLING                              CLASS 3            25,000.00         1,241.35              0.00                23,758.65
GRAMS                 ADV. IRA SVC-FBO ROBERT D GRAMS IRA                CLASS 3            60,000.00         4,508.33              0.00                55,491.67
GRAMS                 LESIA GRAMS                                        CLASS 5          394,300.00       118,427.12               0.00               275,872.88
GRANDES               MARTHA GRANDES                                     CLASS 3            50,000.00          854.15               0.00                49,145.85
GRANT                 LESCA L GRANT                                      CLASS 3          100,000.00        15,983.33               0.00                84,016.67
GRASMUGG              FRANK J GRASMUGG                                   CLASS 3           200,000.00       20,668.11               0.00               179,331.89
GRASS                 WILLIAM GRASS                                      CLASS 5          200,000.00        56,575.83               0.00               143,424.17
GRASSO/KLIER          CATHERINE GRASSO & ROBERT KLIER                    CLASS 3            30,000.00         1,845.83              0.00                28,154.17
GRATOPP               WILLIAM GRATOPP                                    CLASS 5            50,000.00       11,722.32               0.00                38,277.68
GRAU                  RUDOLF & YVONNE GRAU                               CLASS 3            50,000.00          687.51               0.00                49,312.49
GRAVENS               BETTY L GRAVENS TA DTD 04/15/96                    CLASS 3          100,000.00          6,482.13              0.00                93,517.87
GRAVENS               ROBERT E GRAVENS TA DTD 04/15/96                   CLASS 3           100,000.00         6,482.13              0.00                93,517.87
GRAVES                MAINSTAR-FBO WILLIAM GRAVES T2177274               CLASS 3            83,231.39         2,191.76              0.00                81,039.63
GRAY                  LINDA L GRAY                                       CLASS 5          178,950.58        61,468.74               0.00               117,481.84
GRAY                  PROV. TR GP-FBO DAVID GRAY IRA                     CLASS 3            25,000.00          758.34               0.00                24,241.66
GRAYBILL              MAINSTAR-FBO CLAUDE W GRAYBILL T2177682            CLASS 3            25,000.00          361.11               0.00                24,638.89
GRAYSON               MAINSTAR-FBO ROGER GRAYSON TW003809                CLASS 3            93,000.00         3,211.08              0.00                89,788.92
GREEN                 ANSON A GREEN                                      CLASS 3            25,000.00        2,320.83               0.00                22,679.17
GREEN                 ANSON GREEN JR                                     CLASS 3            25,000.00          951.42               0.00                24,048.58
GREEN                 EDWIN MILBURN GREEN                                CLASS 3            50,000.00        2,618.02               0.00                47,381.98

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
GREEN                 MAINSTAR-FBO LOUISE M GREEN                        CLASS 3          264,000.00        17,952.00               0.00               246,048.00
GREEN                 MARLENE GREEN                                      CLASS 3            50,000.00          888.88               0.00                49,111.12
GREEN                 MAXINE L & DON A GREEN                             CLASS 3            50,000.00         1,191.67              0.00                48,808.33
GREEN                 PROV. TR GP-FBO ANN J GREEN INH IRA                CLASS 3            32,666.67          762.22               0.00                31,904.45
GREEN                 PROV. TR GP-FBO GEORGE E GREEN IRA                 CLASS 3           271,500.00         6,071.04              0.00               265,428.96
GREENBERG             HAROLD E & AUDREY C GREENBERG                      CLASS 3            25,000.00          375.00               0.00                24,625.00
GREENBERG             PROV. TR GP-FBO HARRIS GREENBERG IRA               CLASS 3            35,000.00         1,921.11              0.00                33,078.89
GREENE                JULIE L GREENE                                     CLASS 3          100,000.00          7,561.12              0.00                92,438.88
GREENE                MAINSTAR-FBO MICHAEL R GREENE                      CLASS 5           307,000.00       35,816.66               0.00               271,183.34
GREENE                ROBERT G GREENE                                    CLASS 3            25,000.00         2,325.00              0.00                22,675.00
GREENFIELD            PHILIP GREENFIELD RLT                              CLASS 3            50,000.00          659.73               0.00                49,340.27
GREENHUT              DAVID G GREENHUT                                   CLASS 3           100,000.00         4,965.24              0.00                95,034.76
GREENLEAF             J & B GREENLEAF TTEES OF THE GREENLEAF FT          CLASS 3            50,000.00         1,888.87              0.00                48,111.13
GREENLEAF             MAINSTAR-FBO JON GREENLEAF T2176438                CLASS 3            50,000.00         2,733.34              0.00                47,266.66
GREENSPAN             DEANNA GREENSPAN                                   CLASS 3            80,000.00         1,106.67              0.00                78,893.33
GREENWOOD             FLORENCE GREENWOOD                                 CLASS 3            40,000.00         3,397.50              0.00                36,602.50
GREENWOOD             MAINSTAR-FBO GARY GREENWOOD TW003637               CLASS 5            90,000.00        6,457.50               0.00                83,542.50
GREENWOOD             W KENNETH GREENWOOD FT                             CLASS 3           400,000.00       43,602.12               0.00               356,397.88
GREENWOOD             W KENNETH GREENWOOD FT                             CLASS 5           200,000.00       21,801.06               0.00               178,198.94
GREGOR                PROV. TR GP-FBO KATHRYN T GREGOR IRA               CLASS 3            29,000.00         9,803.61              0.00                19,196.39
GREGORY               MELVIN W GREGORY                                   CLASS 5           200,000.00       23,777.82               0.00               176,222.18
GREGORY               PROV. TR GP-FBO TERRENCE GREGORY IRA               CLASS 3           388,000.00       18,591.66               0.00               369,408.34
GREMILLION            SHARON B GREMILLION                                CLASS 3            50,000.00         6,465.21              0.00                43,534.79
GRESS                 CAROL S GRESS                                      CLASS 5          100,000.00        31,166.55               0.00                68,833.45
GRESS                 MARCUS F & CAROL S GRESS                           CLASS 5           103,800.00       25,431.00               0.00                78,369.00
GRIECO                JULIUS GRIECO MD LT DTD 09/10/88                   CLASS 3          250,000.00          3,458.33              0.00               246,541.67
GRIFFIN               DONALD GRIFFIN                                     CLASS 3          100,000.00        16,383.96               0.00                83,616.04
GRIFFIN               DONALD GRIFFIN                                     CLASS 3*           75,000.00         9,947.90              0.00                65,052.10
GRIFFIN               FRANK P GRIFFIN JR                                 CLASS 3          100,000.00          7,583.33              0.00                92,416.67

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GRIFFIN               JOHN R & GWENDOLYN S GRIFFIN                       CLASS 3            75,000.00              0.00              0.00                75,000.00
GRIFFIN               MAINSTAR-FBO RAY A GRIFFIN                         CLASS 3          100,000.00          7,875.00               0.00                92,125.00
GRIFFIN               MAINSTAR-FBO WARREN A GRIFFIN T2175317             CLASS 3            25,430.28        1,744.80                0.00                23,685.48
GRIFFIN               RAY A & MARY E GRIFFIN LT DTD 04/08/04             CLASS 3          100,000.00         8,672.18                0.00                91,327.82
GRIFFIS               PROV. TR GP-FBO CAROLYN P GRIFFIS IRA              CLASS 3            38,100.00         2,489.20               0.00                35,610.80
GRIFFITH              EVAN B GRIFFITH SR LT                              CLASS 5            90,000.00       20,500.00                0.00                69,500.00
GRIFFITH              EVAN GRIFFITH                                      CLASS 5          100,000.00        12,083.29                0.00                87,916.71
GRIFFITH              PROV. TR GP-FBO CAROLA N GRIFFITH IRA              CLASS 3           301,000.00       17,140.17                0.00               283,859.83
GRIFFITH              PROV. TR GP-FBO WILLIAM H GRIFFITH IRA             CLASS 3           100,000.00       37,343.88                0.00                62,656.12
GRIFFITH              WILLIAM H & BETTY J GRIFFITH                       CLASS 3          100,000.00        20,173.57                0.00                79,826.43
GRIFFITH              WILLIAM H & BETTY J GRIFFITH                       CLASS 5          100,000.00        20,173.57                0.00                79,826.43
GRIFFITHS             MAINSTAR-FBO CARAMAY GRIFFITHS                     CLASS 3            30,000.00          979.17                0.00                29,020.83
GRIGGS                MARTY F GRIGGS                                     CLASS 3          100,000.00          5,700.00               0.00                94,300.00
GRIGGS                SUSAN L GRIGGS                                     CLASS 3            60,000.00       16,907.02                0.00                43,092.98
GRIGGS                THE ANDREA GRIGGS LT OF 2000                       CLASS 3            60,000.00         4,641.43               0.00                55,358.57
GRIGORIEFF            PROV. TR GP-FBO DIANA S GRIGORIEFF IRA             CLASS 3            28,661.04         3,214.01               0.00                25,447.03
GRIGSBY               EDNA M GRIGSBY                                     CLASS 5          100,000.00        30,833.21                0.00                69,166.79
GRIGSBY               KAREN P GRIGSBY                                    CLASS 3           200,000.00       27,698.61                0.00               172,301.39
GRIGSBY               KAREN P GRIGSBY                                    CLASS 5           200,000.00       27,698.61                0.00               172,301.39
GRINDSTAFF            PROV. TR GP-FBO MARCUS & LYNDA GRINDSTAFF IRA CLASS 5                 50,000.00       13,194.45                0.00                36,805.55
GRINNELL              ROBERT GRINNELL TTEE/GRINNELL TR 04/13/03          CLASS 3            50,000.00         1,679.15               0.00                48,320.85
GRINWIS               MICHAEL & PAULA GRINWIS                            CLASS 3          150,000.00          5,833.33               0.00               144,166.67
GRITTERS              CHARITO CESARINA ARQUILLANO GRITTERS               CLASS 3           100,000.00         9,333.28               0.00                90,666.72
GRITTON/FERRIN        REBECCA E GRITTON & DEBORAH M FERRIN               CLASS 3            25,000.00          704.88                0.00                24,295.12
GRONAU                E G GRONAU                                         CLASS 3            50,000.00         1,715.25               0.00                48,284.75
GRONEMEYER            PROV. TR GP-FBO RICHARD GRONEMEYER IRA             CLASS 3            25,000.00          229.17                0.00                24,770.83
GRONEMEYER            RICHARD A & JANET R GRONEMEYER JTA                 CLASS 3            63,000.00         4,725.00               0.00                58,275.00
GRONKE                MAINSTAR-FBO JACK A GRONKE SR T2175508             CLASS 3           100,000.00         7,058.35               0.00                92,941.65
GROODY                WILLIAM M GROODY                                   CLASS 3           105,000.00       19,108.74                0.00                85,891.26

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
GROSCHOPF             JOHN L GROSCHOPF IRREV TR                          CLASS 3            80,000.00         4,044.40                0.00                75,955.60
GROSEK                DAVID B GROSEK                                     CLASS 3          100,000.00          2,116.67                0.00                97,883.33
GROSJEAN              NADINE ANN GROSJEAN                                CLASS 3          100,000.00          2,000.00                0.00                98,000.00
GROSS                 DANIEL G & LINDA A GROSS                           CLASS 3           100,000.00         4,694.47                0.00                95,305.53
GROSS                 NADINE GROSS                                       CLASS 3            25,000.00          985.23                 0.00                24,014.77
GROSS                 PAUL S GROSS                                       CLASS 3          125,000.00        15,383.33                 0.00               109,616.67
GROSS                 PROV. TR GP-FBO LAUREN G GROSS ROTH IRA            CLASS 3            53,226.00         2,575.14                0.00                50,650.86
GROSS                 PROV. TR GP-FBO ROBERT GROSS JR ROTH IRA           CLASS 3            48,425.00        6,736.52                 0.00                41,688.48
GROSS                 PROV. TR GP-FBO ROBERT GROSS JR ROTH IRA           CLASS 5            97,000.00       13,493.90                 0.00                83,506.10
GROSS                 PROV. TR GP-FBO ROBERT L GROSS JR IRA              CLASS 3            75,107.00         3,071.05                0.00                72,035.95
GROSS                 PROV. TR GP-FBO ROBERT L GROSS JR ROTH IRA         CLASS 3            39,453.00               0.00              0.00                39,453.00
GROSS                 ROBERT L GROSS                                     CLASS 3            70,000.00         8,646.63                0.00                61,353.37
GROSS                 ROBERT L JR & LAUREN G GROSS                       CLASS 3            55,000.00         8,247.55                0.00                46,752.45
GROSS                 VINCENT J & ALFREDA M GROSS                        CLASS 3            36,200.00              36.20              0.00                36,163.80
GROSSE/HAUGHEY        DENNIS M GROSSE & JODIE A HAUGHEY                  CLASS 3            30,000.00         1,155.00                0.00                28,845.00
GROVES                PROV. TR GP-FBO ALFRED GROVES IRA                  CLASS 3            71,000.00         7,384.01                0.00                63,615.99
GROVES                PROV. TR GP-FBO RHONDA N GROVES IRA                CLASS 3            49,500.00         4,109.94                0.00                45,390.06
GROVES                PROV. TR GP-FBO SCOTT A GROVES IRA                 CLASS 3           139,400.00       16,879.11                 0.00               122,520.89
GROVES                PROV. TR GP-FBO SCOTT A GROVES IRA                 CLASS 5           200,000.00       24,216.80                 0.00               175,783.20
GROVES                SCOTT A & RHONDA N GROVES                          CLASS 5           100,000.00       16,177.73                 0.00                83,822.27
GRUBE                 ALLEN D & JEAN M GRUBE                             CLASS 3          175,000.00        26,663.18                 0.00               148,336.82
GRUBER                PROV. TR GP-FBO JOSEPH J GRUBER IRA                CLASS 3            33,361.00        7,354.61           1,595.42                  24,410.97
GRUBER                PROV. TR GP-FBO JOSEPH J GRUBER IRA                CLASS 5          200,000.00        44,091.06           9,564.58                 146,344.36
GRUBER                THE JOE GRUBER TR DTD 08/16/10                     CLASS 3           300,000.00       60,544.03                 0.00               239,455.97
GRUBER                THE JOE GRUBER TR DTD 08/16/10                     CLASS 5           550,000.00      110,997.38                 0.00               439,002.62
GU/LIAO               ANREN GU & JIALUN LIAO                             CLASS 3            25,000.00         2,215.21                0.00                22,784.79
GUALTIERI/CHING       ROBERT A GUALTIERI & WEN CHING                     CLASS 3            25,000.00         1,516.67                0.00                23,483.33
GUARDIAN ANGEL MGT    GUARDIAN ANGEL MANAGEMENT LLC                      CLASS 5           200,000.00       31,038.79                 0.00               168,961.21
GUBLER                MICHAEL GUBLER                                     CLASS 3          200,000.00        14,618.78                 0.00               185,381.22

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
GUDAITIS              KENNETH & WANIE GUDAITIS                           CLASS 3            54,000.00          882.00                0.00                53,118.00
GUDAITIS              MAINSTAR-FBO KENNETH GUDAITIS TW004133             CLASS 3            20,311.40          272.51                0.00                20,038.89
GUDAITIS              MAINSTAR-FBO WANIE GUDAITIS TW004132               CLASS 3            25,176.29          406.32                0.00                24,769.97
GUDE                  CHRISTOPHER P GUDE TR UAD 12/05/01                 CLASS 3*           30,000.00         1,223.75               0.00                28,776.25
GUELDEN               BRUCE N GUELDEN                                    CLASS 3            50,000.00         6,573.65               0.00                43,426.35
GUERTIN               LAURIE GUERTIN                                     CLASS 3            50,000.00         3,312.50               0.00                46,687.50
GUIBERSON             FRANCIS L & SUSAN K GUIBERSON                      CLASS 3           160,000.00       23,056.82                0.00               136,943.18
GUIDONE               ANTHONY V GUIDONE                                  CLASS 3          115,000.00         6,676.43                0.00               108,323.57
GUIDRY                PROV. TR GP-FBO DONALD R GUIDRY IRA                CLASS 3            25,343.00          573.92                0.00                24,769.08
GUIDRY                PROV. TR GP-FBO KAREN T GUIDRY IRA                 CLASS 3            25,343.00          573.92                0.00                24,769.08
GUILFOYLE             PROV. TR GP-FBO MATTHEW GUILFOYLE IRA              CLASS 3            48,113.61         2,646.25               0.00                45,467.36
GUILLEN               SONIA GUILLEN                                      CLASS 3            50,000.00        1,083.33                0.00                48,916.67
GUILLORY              BRENDA GUILLORY                                    CLASS 5           300,000.00       98,749.48                0.00               201,250.52
GUINANE               PROV. TR GP-FBO MICHAEL P GUINANE IRA              CLASS 3           161,900.00       35,099.34                0.00               126,800.66
GUINLE                IRA SVCS TR CO-CFBO MICHAEL GUINLE IRA             CLASS 5           100,000.00       41,520.77                0.00                58,479.23
GUINN                 STACY C & CHRISTIANE E GUINN                       CLASS 3           100,000.00       10,815.33                0.00                89,184.67
GULDEN                THE GULDEN TR DTD 12/18/90                         CLASS 3          100,000.00          2,306.93               0.00                97,693.07
GULLATT               HERMAN P GULLATT                                   CLASS 5          400,000.00        87,457.32                0.00               312,542.68
GULLATT               THE JOYCE EVELYN GULLATT TR                        CLASS 5           100,000.00       15,500.12                0.00                84,499.88
GULLIFER              MARK & TAMMY GULLIFER                              CLASS 3          200,000.00         6,273.94          1,000.00                 192,726.06
GUNNOE                MAINSTAR-FBO BETTY K GUNNOE T2174717               CLASS 3           102,742.10       25,965.04                0.00                76,777.06
GURRIES               THE LAURA ALBERTA GURRIES LT                       CLASS 3            30,000.00         2,085.00               0.00                27,915.00
GURSKY                HOWARD I & BEVERLY GURSKY                          CLASS 3            50,000.00              0.00              0.00                50,000.00
GUSTAFSON             AMANDA GUSTAFSON                                   CLASS 3            50,000.00         3,587.42               0.00                46,412.58
GUTHRIE               PROV. TR GP-FBO LAWRENCE GUTHRIE ICA               CLASS 3           455,000.00       31,394.80                0.00               423,605.20
GUTIERREZ             ERMELINDA GUTIERREZ                                CLASS 3            25,000.00          281.26                0.00                24,718.74
GUTIERREZ             PROV. TR GP-FBO DAVID O GUTIERREZ IRA              CLASS 3           149,750.00       15,737.71                0.00               134,012.29
GUTIERREZ             THE GUTIERREZ FT                                   CLASS 3            50,000.00          145.83                0.00                49,854.17
GWALTNEY              JACK D GWALTNEY                                    CLASS 3            25,000.00         1,694.50               0.00                23,305.50

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
GWALTNEY              JACK D GWALTNEY LT                                 CLASS 3          101,000.00          3,439.40                0.00                97,560.60
GYURE                 JENNIE & JOSEPH GYURE                              CLASS 3          100,000.00          8,413.16                0.00                91,586.84
H&N MANAGEMENT        H&N MANAGEMENT GROUP INC                           CLASS 3            50,000.00         2,220.81                0.00                47,779.19
HAAK                  IRA SVCS TR CO-CFBO KAREN S HAAK IRA               CLASS 3           260,000.00       18,720.00                 0.00               241,280.00
HAAK                  IRA SVCS TR CO-CFBO ROBERT G HAAK IRA              CLASS 3            34,000.00         2,448.00                0.00                31,552.00
HAAS                  JUDITH & BRUCE HAAS                                CLASS 3            90,000.00         7,797.47                0.00                82,202.53
HAAS                  MAINSTAR-FBO SANDRA K HAAS T2173467                CLASS 3            99,000.00              55.00              0.00                98,945.00
HABERSTROH            ERIC E & VIRGINIA M HABERSTROH                     CLASS 3           400,000.00       31,458.32                 0.00               368,541.68
HABERSTROH            MAINSTAR-FBO V B HABERSTROH T2177845               CLASS 3            75,000.00         1,618.75                0.00                73,381.25
HACHMANN              SHIRLEY A & STAN J HACHMANN                        CLASS 3            25,000.00         3,461.79          1,000.00                  20,538.21
HACK                  JANE A HACK RT DTD 05/30/07                        CLASS 5          130,000.00          9,800.06                0.00               120,199.94
HACKER                HORIZON TR CO-FBO BARRY M HACKER IRA               CLASS 3            25,000.00         1,550.00                0.00                23,450.00
HACKMAN               EDNA R HACKMAN                                     CLASS 3           120,000.00         5,848.33                0.00               114,151.67
HACKMAN               JOHN D HACKMAN                                     CLASS 3            50,000.00         2,436.84                0.00                47,563.16
HADDOCK/BRADY         BETSY S HADDOCK & KIMBERLY L BRADY                 CLASS 3            80,000.00         1,746.67                0.00                78,253.33
HADLEY                DONALD R II & BERNITA L HADLEY                     CLASS 3           100,000.00       17,700.00                 0.00                82,300.00
HADLEY                RONALD EUGENE HADLEY                               CLASS 3           200,000.00       22,915.96                 0.00               177,084.04
HAEN                  JAMES A HAEN                                       CLASS 3            50,000.00          944.43                 0.00                49,055.57
HAENDEL               THE HAENDEL TR DTD 06/14/02                        CLASS 3           100,000.00         8,391.67                0.00                91,608.33
HAEUSER               KARLA A HAEUSER                                    CLASS 3          100,000.00          4,405.58                0.00                95,594.42
HAGER                 FRANS C L & MARILYN K HAGER                        CLASS 3            90,000.00         9,555.00                0.00                80,445.00
HAGGERTY              DAWN HAGGERTY                                      CLASS 3            26,000.00         1,805.50                0.00                24,194.50
HAGGERTY              MARY & THOMAS HAGGERTY                             CLASS 3            75,000.00       17,956.97                 0.00                57,043.03
HAGGERTY              MARY & THOMAS HAGGERTY                             CLASS 5           100,000.00       23,942.63                 0.00                76,057.37
HAGGERTY              PROV. TR GP-FBO THOMAS HAGGERTY IRA                CLASS 3            29,712.20         6,011.22                0.00                23,700.98
HAGGERTY              PROV. TR GP-FBO THOMAS HAGGERTY IRA                CLASS 5           118,250.00       23,923.71                 0.00                94,326.29
HAIGAZIAN             MAINSTAR-FBO LOIS A HAIGAZIAN TW003934             CLASS 3            50,000.00        1,802.08                 0.00                48,197.92
HAIMOVITCH            THE LARRY HAIMOVITCH TR                            CLASS 3           200,000.00       13,441.04                 0.00               186,558.96
HAINES                EILEEN M HAINES                                    CLASS 3            50,000.00         4,696.05                0.00                45,303.95

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HAJAS                 BARBARA & ROBERT J HAJAS                           CLASS 3           138,000.00         5,505.15              0.00               132,494.85
HALE                  NATALIE HALE                                       CLASS 3            25,000.00         1,605.59              0.00                23,394.41
HALES                 MICHAEL & CYNTHIA HALES                            CLASS 3            72,000.00         1,068.00              0.00                70,932.00
HALEY                 PROV. TR GP-FBO JANICE F HALEY IRA                 CLASS 5           212,000.00       49,172.22               0.00               162,827.78
HALIM                 USAMA SABRY AWAD HALIM                             CLASS 5         1,200,000.00       46,665.53               0.00             1,153,334.47
HALL                  HAROLD & LENDIA G HALL                             CLASS 3            30,000.00         1,388.33              0.00                28,611.67
HALL                  PAMELA JEAN HALL                                   CLASS 3            75,000.00         5,629.17              0.00                69,370.83
HALL                  PAMELA S HALL                                      CLASS 3          100,000.00        15,345.07               0.00                84,654.93
HALL                  PROV. TR GP-FBO ROBERT M HALL IRA                  CLASS 5           250,000.00       67,361.18               0.00               182,638.82
HALL                  RONA S HALL RT U/A 02/18/15                        CLASS 5          250,000.00        79,127.18               0.00               170,872.82
HALLE                 MAINSTAR-FBO RAYMOND O HALLE T2178654              CLASS 3           106,000.00          103.06               0.00               105,896.94
HALLECK               DONNA J HALLECK IRREV TR DTD 09/24/09              CLASS 3            25,000.00         1,129.17              0.00                23,870.83
HALLERAN              MARGARET HALLERAN                                  CLASS 3            25,000.00         3,312.21              0.00                21,687.79
HALLERAN              MARGARET HALLERAN                                  CLASS 5            50,000.00         6,624.43              0.00                43,375.57
HALLIDAY              ANN HALLIDAY                                       CLASS 3            60,000.00         4,445.00              0.00                55,555.00
HALPERN/WHITE         RICHARD A HALPERN & CHRISTINA A WHITE              CLASS 5            50,000.00       10,708.42               0.00                39,291.58
HAMER                 ROBYN GORDON HAMER                                 CLASS 3            50,000.00         2,924.97              0.00                47,075.03
HAMI                  PROV. TR GP-FBO AMJAD A HAMI IRA                   CLASS 3            59,441.00         3,903.30              0.00                55,537.70
HAMILTON              CATHERINE N HAMILTON RT                            CLASS 3            24,000.00         1,445.17              0.00                22,554.83
HAMILTON              JOSEPH E HAMILTON JR                               CLASS 3          100,000.00           833.34               0.00                99,166.66
HAMILTON              MAINSTAR-FBO CORIE D HAMILTON T2177572             CLASS 3            68,900.00         1,460.30              0.00                67,439.70
HAMILTON              SUNWEST TR SHERRY HAMILTON IRA                     CLASS 3          175,000.00        47,155.93               0.00               127,844.07
HAMILTON              SUNWEST TR SHERRY HAMILTON IRA                     CLASS 5          226,500.00        61,033.25               0.00               165,466.75
HAMM                  JAMES HAMM                                         CLASS 3          275,000.00        16,835.31               0.00               258,164.69
HAMMETT               KAREN MARIE HAMMETT                                CLASS 3            40,000.00          460.00               0.00                39,540.00
HAMRICK               HAMRICK LT DTD 08/23/05                            CLASS 3          121,500.00         6,885.00               0.00               114,615.00
HAMSTAD               MARVIN HAMSTAD TR DTD 06/20/02                     CLASS 3            40,000.00         7,575.00              0.00                32,425.00
HANA                  HENRY DANIEL HANA                                  CLASS 3            50,000.00         1,090.26              0.00                48,909.74
HANAK                 PROV. TR GP-FBO GARY HANAK IRA                     CLASS 3            36,700.00         6,673.28              0.00                30,026.72

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
HANCE                 JAMES & BRENDA HANCE                              CLASS 3           200,000.00          800.00                0.00               199,200.00
HANCOCK               KAREN KANG HANCOCK                                CLASS 3            85,000.00       11,095.68                0.00                73,904.32
HANCOCK               KAREN KANG HANCOCK                                CLASS 5           100,000.00       13,053.75                0.00                86,946.25
HANCOCK               KENNETH R HANCOCK IRREV TR U/A/D 01/24/95         CLASS 3            80,000.00         6,332.73               0.00                73,667.27
HANCOCK               RICHARD HANCOCK                                   CLASS 3            30,000.00         1,618.75               0.00                28,381.25
HANCOCK               RICHARD K HANCOCK IRREV TR U/A/D 01/24/95         CLASS 3            80,000.00         5,431.07               0.00                74,568.93
HANDEL                SUNWEST TR MARK HANDEL IRA                        CLASS 3           134,000.00       34,795.23                0.00                99,204.77
HANDOWSKI             ROBERT HANDOWSKI                                  CLASS 3           124,000.00         4,601.27               0.00               119,398.73
HANLON                THE HANLON RFT DTD 05/06/14                       CLASS 3            80,000.00       10,091.61                0.00                69,908.39
HANLY                 SAMUEL J HANLY                                    CLASS 3            50,000.00         3,666.61               0.00                46,333.39
HANNA                 DAVID L & GYL E HANNA                             CLASS 3           300,000.00      104,801.53           654.55                  194,543.92
HANNA                 DAVID L & GYL E HANNA                             CLASS 5           250,000.00       87,334.60           545.45                  162,119.95
HANNA                 DAVID L & GYL E HANNA RLT                         CLASS 3           100,000.00       10,088.94                0.00                89,911.06
HANNA                 DENNIS & PHYLLIS HANNA                            CLASS 3            25,000.00              0.00              0.00                25,000.00
HANNA                 ELLIE HANNA                                       CLASS 3            25,000.00         1,304.54               0.00                23,695.46
HANNABASS             PROV. TR GP-FBO GARY L HANNABASS IRA              CLASS 3            50,330.00         3,278.44               0.00                47,051.56
HANNABASS             PROV. TR GP-FBO WANDA S HANNABASS IRA             CLASS 3            42,270.00         2,753.42               0.00                39,516.58
HANSELKA              REINHARD HANSELKA                                 CLASS 3           300,000.00       47,524.90                0.00               252,475.10
HANSEN                DON LEON & LISA HANSEN                            CLASS 3            50,000.00         2,508.36               0.00                47,491.64
HANSEN                ERIC & REBECCA HANSEN                             CLASS 3            50,000.00         3,093.72         1,000.00                  45,906.28
HANSEN                PROV. TR GP-FBO RANDY HANSEN IRA                  CLASS 3            48,768.32         1,007.88               0.00                47,760.44
HANSEN                THE FRED & ANN HANSEN FT                          CLASS 3            25,000.00          357.65                0.00                24,642.35
HANSEN                VICTORIA L HANSEN                                 CLASS 3            25,000.00          475.71                0.00                24,524.29
HANSON                ELIZABETH J HANSON                                CLASS 3            80,000.00         1,372.22               0.00                78,627.78
HANSON                MARK A HANSON DDS PA PSP                          CLASS 3           100,000.00         6,041.71               0.00                93,958.29
HANSON/LEWIS          TIMOTHY E HANSON & MAERENE LEWIS                  CLASS 3            50,000.00         6,243.65          285.71                   43,470.64
HANSON/LEWIS          TIMOTHY E HANSON & MAERENE LEWIS                  CLASS 5           125,000.00       15,609.13           714.29                  108,676.58
HANWELL               FRED & LORRAINE HANWELL                           CLASS 3            35,000.00       12,147.96                0.00                22,852.04
HARASHEH              TERES HARASHEH                                    CLASS 3          100,000.00          2,216.66               0.00                97,783.34

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HARBERT               PROV. TR GP-FBO DAVID L HARBERT IRA                CLASS 5            50,000.00       13,097.23               0.00                36,902.77
HARBUCK               CONRAD & JODY HARBUCK                              CLASS 3            90,000.00         2,961.25              0.00                87,038.75
HARDEE                PROV. TR GP-FBO WILLIAM HARDEE IRA                 CLASS 3           230,000.00       19,387.50               0.00               210,612.50
HARDER                GARY L HARDER                                      CLASS 3          150,000.00        24,174.25               0.00               125,825.75
HARDESTY              GERALD W & SUSAN R HARDESTY                        CLASS 3            25,000.00         8,261.95              0.00                16,738.05
HARDESTY              GERALD W & SUSAN R HARDESTY                        CLASS 5           100,000.00       33,047.78               0.00                66,952.22
HARDIN                DAVID K & JILL R HARDIN                            CLASS 3            75,000.00         8,587.50              0.00                66,412.50
HARDING               JOEL D & CANDICE M HARDING                         CLASS 3           100,000.00       24,366.90               0.00                75,633.10
HARDISON              CHARLES DAVID JR & LIXIA ZHENG HARDISON            CLASS 3            50,000.00          527.77               0.00                49,472.23
HARDISON              JOYCE A HARDISON                                   CLASS 3            25,000.00         2,060.94              0.00                22,939.06
HARDISON              LIXIA ZHENG HARDISON                               CLASS 3            50,000.00          416.66               0.00                49,583.34
HARDISON              PATRICIA ANN HARDISON                              CLASS 3            50,000.00          262.50               0.00                49,737.50
HARDT                 THE JON & MARGARET A HARDT LT                      CLASS 5           400,000.00       16,594.47               0.00               383,405.53
HARDY                 GARY L & JOANN C HARDY                             CLASS 3            50,000.00         7,633.33              0.00                42,366.67
HARDY                 PHILLIP H HARDY                                    CLASS 3          310,000.00        38,057.89               0.00               271,942.11
HARER                 JOSEPH H HARER FT                                  CLASS 3          100,000.00         4,541.70               0.00                95,458.30
HARKINS               PROV. TR GP-FBO LAURA HARKINS IRA                  CLASS 3            79,000.00         4,707.08              0.00                74,292.92
HARLAN                STEPHEN D HARLAN                                   CLASS 3          100,000.00         3,358.35               0.00                96,641.65
HARLESS               MAINSTAR-FBO JUNE L HARLESS T2176003               CLASS 3            80,000.00        7,682.23               0.00                72,317.77
HARMEL                CHERYL RUTH HARMEL                                 CLASS 3            75,000.00       10,516.32               0.00                64,483.68
HARMON                CLARENCE HARMON                                    CLASS 3            55,295.60        5,317.63               0.00                49,977.97
HARMON                HARMON FRLT                                        CLASS 3            25,000.00         1,816.67              0.00                23,183.33
HARMON                HARMON FRT                                         CLASS 3            25,000.00        3,504.23               0.00                21,495.77
HARMON                HARMON FT                                          CLASS 3            50,000.00        2,490.31               0.00                47,509.69
HARMON                IRA SVCS TR CO-CFBO CLARENCE E HARMON IRA          CLASS 3           110,000.00         9,863.33              0.00               100,136.67
HAROLD                HORIZON TR CO-FBO MARLENE A HAROLD IRA             CLASS 3            97,169.00         9,932.78              0.00                87,236.22
HARPE                 G ALAN HARPE                                       CLASS 3            50,000.00          312.50               0.00                49,687.50
HARPER                MAINSTAR-FBO WAYNE A HARPER T2175619               CLASS 3          113,600.00          8,588.18              0.00               105,011.82
HARPER                SCOTT E & ROBIN P HARPER                           CLASS 5            75,000.00       15,166.67               0.00                59,833.33

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HARPER                STEVEN G HARPER                                     CLASS 5          100,000.00          3,166.66              0.00                96,833.34
HARPER                WILMA F HARPER                                      CLASS 3            30,000.00        3,020.00               0.00                26,980.00
HARRIS                CARL J & ALICE A HARRIS                             CLASS 3          138,000.00          4,734.17              0.00               133,265.83
HARRIS                HIA SOLO 401K TR FBO CHAD HARRIS                    CLASS 3            31,225.00         2,919.57              0.00                28,305.43
HARRIS                LILA J HARRIS                                       CLASS 3            25,000.00        1,256.56               0.00                23,743.44
HARRIS                MAINSTAR-FBO CHARLES S HARRIS T2176165              CLASS 3           399,000.00       23,674.00               0.00               375,326.00
HARRIS                MAINSTAR-FBO SANDRA HARRIS TW003998                 CLASS 3            50,000.00          996.52               0.00                49,003.48
HARRIS                PATRICIA D HARRIS                                   CLASS 3            50,000.00         5,044.39              0.00                44,955.61
HARRIS                PROV. TR GP-FBO GLYN HARRIS IRA                     CLASS 3            99,000.00         2,078.50              0.00                96,921.50
HARRIS                PROV. TR GP-FBO HELEN A HARRIS IRA                  CLASS 3           100,000.00       28,222.32               0.00                71,777.68
HARRIS                PROV. TR GP-FBO KIMBERLY M HARRIS IRA               CLASS 3           118,000.00       29,260.00               0.00                88,740.00
HARRIS-BROOKS         MAINSTAR-FBO DONNA HARRIS-BROOKS TW003195           CLASS 3            23,000.00         1,452.83              0.00                21,547.17
HARRISON              GREGORY T & LINDA C HARRISON                        CLASS 3            30,000.00          985.00               0.00                29,015.00
HARRISON              GREGORY T & LINDA C HARRISON                       CLASS 3*            30,000.00         1,660.00              0.00                28,340.00
HARRISON              MAINSTAR-FBO JEFFREY H HARRISON T2177415            CLASS 3            86,200.00         1,968.23              0.00                84,231.77
HARRISON              ROSEMARY HARRISON                                   CLASS 3            25,000.00          336.82               0.00                24,663.18
HARRISON              THE JEFFREY H HARRISON TR                           CLASS 3           100,000.00         4,459.75              0.00                95,540.25
HARRY                 HERBERT S & KAREN HARRY                             CLASS 3           200,000.00         3,466.67              0.00               196,533.33
HARRY                 STEVEN S & ANN L HARRY                              CLASS 3           100,000.00       31,683.93               0.00                68,316.07
HARRY                 STEVEN S HARRY                                      CLASS 3            50,000.00       12,810.97               0.00                37,189.03
HARSH                 THE HARSH TR DTD 08/16/06                           CLASS 3          100,000.00          3,397.19              0.00                96,602.81
HART                  ALFRED J & AIDA X HART R&A RLT 06/18/13             CLASS 3           225,000.00       33,876.85               0.00               191,123.15
HART                  ALFRED J & AIDA X HART R&A RLT 06/18/13             CLASS 5           150,000.00       22,584.57               0.00               127,415.43
HART                  CHRISTINA L & KEVIN P HART                          CLASS 3           370,000.00       51,336.21               0.00               318,663.79
HART                  JANET R HART RT                                     CLASS 3          128,960.43          1,139.15              0.00               127,821.28
HART                  PROV. TR GP-FBO JEANNE L HART IRA                   CLASS 3           226,000.00       73,864.68               0.00               152,135.32
HARTE                 STEVE T HARTE                                       CLASS 3            35,000.00          262.50               0.00                34,737.50
HARTE                 THE HARTE IRREV TR                                  CLASS 3            30,000.00          483.73               0.00                29,516.27
HARTER                MARK E HARTER                                       CLASS 3          125,000.00        30,123.35          448.06                   94,428.59

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
HARTLEY               MAINSTAR-FBO SUE HARTLEY                           CLASS 3            25,000.00         1,170.83                0.00                23,829.17
HARTMAN               ANNETTE M HARTMAN                                  CLASS 3            50,000.00         4,026.36                0.00                45,973.64
HARTMAN               MATTHEW & CAITLIN HARTMAN                          CLASS 3            25,000.00              62.50              0.00                24,937.50
HARTNER               JOHN G HARTNER                                     CLASS 3            89,000.00       12,778.98                 0.00                76,221.02
HART'S METHODIST      HART'S UNITED METHODIST CHURCH                     CLASS 3           100,000.00         2,516.67                0.00                97,483.33
HARUGUCHI             JAMES HARUGUCHI                                    CLASS 3           100,000.00         9,663.86                0.00                90,336.14
HARUGUCHI             MAINSTAR-FBO JAMES HARUGUCHI T2174680              CLASS 3           100,000.00       11,583.31                 0.00                88,416.69
HARUGUCHI             MAINSTAR-FBO SHARYL HARUGUCHI T2175434             CLASS 3           238,000.00       17,177.49                 0.00               220,822.51
HARVEY                BETTY LOU HARVEY                                   CLASS 3           100,000.00         1,772.20                0.00                98,227.80
HARVEY                BETTY LOU HARVEY TR DTD 04/10/96                   CLASS 3           260,000.00       64,051.42                 0.00               195,948.58
HARVEY                HORIZON TR CO-FBO DEBRA HARVEY IRA                 CLASS 5           300,000.00       38,500.00                 0.00               261,500.00
HARVEY                IRA SVCS TR CO-CFBO LINDA HARVEY                   CLASS 3            60,000.00         1,150.00                0.00                58,850.00
HARVEY                JON C & DEBRA A HARVEY                             CLASS 5           550,000.00       41,333.34                 0.00               508,666.66
HARVEY                PROV. TR GP-FBO BETTY LOU HARVEY ROTH IRA          CLASS 3           116,834.37       27,949.26                 0.00                88,885.11
HARWAT                PROV. TR GP-FBO SHARON L HARWAT IRA                CLASS 3           143,000.00          139.03                 0.00               142,860.97
HASH-STRUTHERS        BONNIE J HASH-STRUTHERS                            CLASS 3          190,000.00        31,733.18                 0.00               158,266.82
HASKETT               MAINSTAR-FBO JAMES T HASKETT                       CLASS 3            75,000.00         7,228.10                0.00                67,771.90
HASKINS               JODI HASKINS                                       CLASS 3          200,000.00        10,083.29                 0.00               189,916.71
HASLAM                PATRICK & SUSAN HASLAM                             CLASS 3          100,000.00          3,171.58                0.00                96,828.42
HASSELGREN            HERBERT HASSELGREN                                 CLASS 3          160,000.00        15,380.78                 0.00               144,619.22
HASSELQUIST           LOLA I HASSELQUIST                                 CLASS 3            25,000.00          704.88                 0.00                24,295.12
HASTING               D KEVIN & MARTHA E HASTING JRT                     CLASS 3            50,000.00        9,743.36                 0.00                40,256.64
HASTINGS              DANIEL J & SUSAN L HASTINGS                        CLASS 3            50,000.00         2,955.59                0.00                47,044.41
HATCH                 BRUCE WILLIAM & ERLINDA P HATCH                    CLASS 3            40,000.00          600.00                 0.00                39,400.00
HATTIG                ROBERT & PATSY HATTIG                              CLASS 3            25,000.00              90.28              0.00                24,909.72
HAU                   BETTY HAU                                          CLASS 3            25,000.00          513.90                 0.00                24,486.10
HAUG                  CONRAD & ELLEN HAUG                                CLASS 3            50,000.00          515.28                 0.00                49,484.72
HAUGEN                DONALD E HAUGEN                                    CLASS 3            63,914.99         1,113.17                0.00                62,801.82
HAUGHT/LAROCCO        DORIS G HAUGHT & BRENDA C LAROCCO                  CLASS 3            75,000.00         3,895.83                0.00                71,104.17

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
HAUPT                 PROV. TR GP-FBO ANNE K HAUPT ROTH IRA              CLASS 3            44,830.00         3,869.70                0.00                40,960.30
HAUPT                 PROV. TR GP-FBO RONALD G HAUPT ROTH IRA            CLASS 3            45,800.00         3,787.63                0.00                42,012.37
HAUPT                 RONALD G & ANNE K HAUPT                            CLASS 3           150,000.00       13,586.02                 0.00               136,413.98
HAUSER                THOMAS C & ELLEN R HAUSER                          CLASS 3           525,000.00       54,157.78                 0.00               470,842.22
HAUSMAN               MAINSTAR-FBO ELSIE W HAUSMAN                       CLASS 3           100,000.00         4,598.61                0.00                95,401.39
HAWKINS               JIMMY L & LINDA K HAWKINS                          CLASS 3           125,000.00       29,003.40                 0.00                95,996.60
HAWKINS               JOSEPH H & JOAN S HAWKINS                          CLASS 3          200,000.00          1,966.67                0.00               198,033.33
HAWLEY                PROV. TR GP-FBO STEVEN R HAWLEY IRA                CLASS 3            25,000.00              24.31              0.00                24,975.69
HAWTHORNE/BOTCHIS     JENNIFER HAWTHORNE & ELIZABETH BOTCHIS             CLASS 3            50,000.00         2,347.26                0.00                47,652.74
HAWTHORNE/BOTCHIS     JENNIFER HAWTHORNE & ELIZABETH BOTCHIS             CLASS 5            60,000.00         2,816.72                0.00                57,183.28
HAYDEN                MAINSTAR-FBO MARY HAYDEN T2176190                  CLASS 3            73,901.00         2,669.17                0.00                71,231.83
HAYDEN                MAINSTAR-FBO RICHARD HAYDEN                        CLASS 3            25,000.00         1,300.00                0.00                23,700.00
HAYES                 DAVID M HAYES                                      CLASS 3            50,000.00         4,125.01                0.00                45,874.99
HAYES                 PROV. TR GP-FBO KEVIN J HAYES IRA                  CLASS 3            93,500.00       10,653.95                 0.00                82,846.05
HAYNES                HAYNES FT                                          CLASS 5          850,000.00        74,847.19                 0.00               775,152.81
HAYNES                PROV. TR GP-FBO STEVEN D HAYNES IRA                CLASS 3           100,000.00       21,487.49                 0.00                78,512.51
HAYNES                PROV. TR GP-FBO STEVEN D HAYNES IRA                CLASS 5           100,000.00       21,487.49                 0.00                78,512.51
HAYNES                SANDRA B HAYNES RLT                                CLASS 3           470,000.00       87,855.03                 0.00               382,144.97
HAYNES                SANDRA B HAYNES RLT                                CLASS 5           636,153.40      118,913.36                 0.00               517,240.04
HAYS                  JUDITH HAYS                                        CLASS 3          150,000.00         2,216.67                 0.00               147,783.33
HAZARD                CYNTHIA HAZARD                                     CLASS 3            51,000.00          325.83                 0.00                50,674.17
HAZELRIGG             BRIAN HAZELRIGG                                    CLASS 3            80,000.00        4,180.04                 0.00                75,819.96
HAZELTON/FREED        DONALD G HAZELTON & CONNIE A FREED                 CLASS 3            75,000.00         6,820.48                0.00                68,179.52
HAZEN                 HAZEN FAMILY IRREV TR                              CLASS 3          300,000.00          4,250.00                0.00               295,750.00
HAZZARD               LLOYD CECIL HAZZARD                                CLASS 3            35,390.31               0.00              0.00                35,390.31
HEAD                  PROV. TR GP-FBO GINA MARIE HEAD IRA                CLASS 5            77,000.00       18,501.39                 0.00                58,498.61
HEAD                  PROV. TR GP-FBO TONY D HEAD TRAD IRA               CLASS 3            50,000.00       15,326.36                 0.00                34,673.64
HEALTH CORE           HEALTH CORE TR AMENDED 10/30/03                    CLASS 3            25,000.00         3,471.96                0.00                21,528.04
HEALTH CORE           HEALTH CORE TR AMENDED 10/30/03                    CLASS 5           300,000.00       41,663.47                 0.00               258,336.53

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
HEARN                 SHERMAN HEARN                                      CLASS 3            25,000.00              0.00              0.00                25,000.00
HEBERT                RONALD R E HEBERT                                  CLASS 3           100,000.00       10,583.33                0.00                89,416.67
HECHT                 KEVIN W HECHT                                      CLASS 3            50,000.00       12,794.35                0.00                37,205.65
HECHTMAN              MAINSTAR-FBO BURL HECHTMAN T176616                 CLASS 3           200,000.00       10,111.11                0.00               189,888.89
HECHTMAN              MAINSTAR-FBO MAX HECHTMAN T2176617                 CLASS 3            25,000.00         1,103.47               0.00                23,896.53
HECK                  RICKY L & SHAWNA R HECK                            CLASS 3           650,000.00       20,242.38                0.00               629,757.62
HECKER                SHEILA O HECKER                                    CLASS 3            50,000.00         4,121.65               0.00                45,878.35
HECKLER               ALVIN & BEVERLY HECKLER                            CLASS 3            50,000.00         2,069.45               0.00                47,930.55
HECKMAN               PROV. TR GP-FBO HAROLD E HECKMAN IRA               CLASS 5           500,000.00       76,305.60                0.00               423,694.40
HEDRICKS              NANCY C HEDRICKS                                   CLASS 3            50,000.00         1,732.33               0.00                48,267.67
HEENEY                CYNTHIA M HEENEY RT DTD 10/16/15                   CLASS 3           150,000.00         7,204.17               0.00               142,795.83
HEFFELFINGER          PHILLIP HEFFELFINGER                               CLASS 3            50,000.00         3,225.00               0.00                46,775.00
HEGER                 PROV. TR GP-FBO THOMAS J HEGER IRA                 CLASS 3            99,500.00         6,603.27               0.00                92,896.73
HEGER                 WILLIAM & ANNA HEGER                               CLASS 3           200,000.00         2,454.16               0.00               197,545.84
HEIER                 PROV. TR GP-FBO KELLIE L HEIER IRA                 CLASS 3            99,750.00       14,197.75                0.00                85,552.25
HEIMBUCK              MICHAEL D & MARY KAY HEIMBUCK                      CLASS 3           300,000.00       65,480.47                0.00               234,519.53
HEIMBUCK              MICHAEL D & MARY KAY HEIMBUCK                      CLASS 5           125,000.00       27,283.53                0.00                97,716.47
HEIMERL               HEIMERL FAMILY IRREV TR                            CLASS 3          150,000.00          7,729.17               0.00               142,270.83
HEIN                  EDWIN L HEIN                                       CLASS 3            25,000.00        2,813.97                0.00                22,186.03
HEINSOHN              KATHY HEINSOHN                                     CLASS 3            50,000.00        1,291.65                0.00                48,708.35
HEINSOHN              SUSAN J HEINSOHN IRREV TR                          CLASS 3          160,000.00         8,733.38                0.00               151,266.62
HEINZ                 DOLORES F HEINZ EST                                CLASS 3          200,000.00         1,833.34                0.00               198,166.66
HEIPP                 MANFRED HEIPP                                      CLASS 3            50,000.00        1,133.33                0.00                48,866.67
HEISTERKAMP           GREG & JANE HEISTERKAMP                            CLASS 3            25,000.00         1,661.41         1,000.00                  22,338.59
HEISTERKAMP           MAX G & ASHLEY J HEISTERKAMP                       CLASS 3            25,000.00         1,359.69               0.00                23,640.31
HEITKAMP              DOUGLAS R & JANET C HEITKAMP                       CLASS 3            35,000.00         6,309.65         1,000.00                  27,690.35
HEITKAMP              JOSEPH A & ESTHER A HEITKAMP                       CLASS 3            50,000.00         2,700.00               0.00                47,300.00
HEJTMANEK             BERNICE L HEJTMANEK                                CLASS 3          100,000.00               0.00              0.00               100,000.00
HELGESON              DAN & BETTY HELGESON TR DTD 09/26/06               CLASS 3            97,100.00       23,127.20                0.00                73,972.80

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HELGESON              PROV. TR GP-FBO STAN HELGESON IRA                 CLASS 5            65,380.00         5,433.79              0.00                59,946.21
HELLER                RICHARD B HELLER                                  CLASS 3          100,000.00          5,000.04              0.00                94,999.96
HELLER                WILLIAM HELLER                                    CLASS 3            30,000.00          410.00               0.00                29,590.00
HELLMANN              FREDERICK L HELLMANN                              CLASS 3            40,000.00         2,972.28              0.00                37,027.72
HELLMANN              JOAN HELLMANN                                     CLASS 3            40,000.00         2,170.20              0.00                37,829.80
HELLSTROM             JUSTIN HELLSTROM                                  CLASS 3            30,000.00         8,381.67              0.00                21,618.33
HELLUMS               DON HELLUMS                                       CLASS 3            50,000.00         4,816.19              0.00                45,183.81
HELLUMS               DON HELLUMS                                       CLASS 5           100,000.00         9,632.37              0.00                90,367.63
HELLUMS               MAINSTAR-FBO DON HELLUMS T2175254                 CLASS 5           616,824.75       74,722.94               0.00               542,101.81
HELMAN/ADLER/LEDERERJUNE HELMAN & A ADLER & B LEDERER                   CLASS 3          150,000.00          1,854.17              0.00               148,145.83
HELMUTH               PAUL HELMUTH                                      CLASS 3            25,000.00          975.72               0.00                24,024.28
HELSON                ROBERT R HELSON                                   CLASS 3            75,000.00        5,791.67               0.00                69,208.33
HELTON                TIMOTHY J & MEREDITH T HELTON                     CLASS 3          400,000.00        29,111.12               0.00               370,888.88
HELVEY                CONNIE J HELVEY                                   CLASS 3            50,000.00       10,166.75               0.00                39,833.25
HELVEY                DENNIS D HELVEY                                   CLASS 3          125,000.00        25,416.50               0.00                99,583.50
HELVEY                PROV. TR GP-FBO DENNIS D HELVEY IRA               CLASS 5           153,000.00       47,395.04               0.00               105,604.96
HEMANN                THOMAS R & MARY K HEMANN                          CLASS 3            50,000.00         8,316.67              0.00                41,683.33
HEMMELGARN            DAVID J & ANITA M HEMMELGARN                      CLASS 3           200,000.00       19,313.81               0.00               180,686.19
HENDERSHOT            WARREN M & DOROTHY L HENDERSHOT                   CLASS 3           115,000.00         7,954.17              0.00               107,045.83
HENDERSON             ALEXANDER P HENDERSON                             CLASS 3           100,000.00         9,061.06              0.00                90,938.94
HENDERSON             MICHAEL J & YURIKO K HENDERSON                    CLASS 3           100,000.00         5,275.00              0.00                94,725.00
HENDERSON             NICHOLE HENDERSON                                 CLASS 3            30,251.20          221.85               0.00                30,029.35
HENDERSON             PROV. TR GP-FBO ALEXANDER HENDERSON IRA           CLASS 3           186,575.00       16,325.31               0.00               170,249.69
HENDERSON             PROV. TR GP-FBO GENEVIEVE C HENDERSON IRA         CLASS 3           100,000.00         5,039.59              0.00                94,960.41
HENDERSON             PROV. TR GP-FBO GENEVIEVE C HENDERSON IRA         CLASS 5           100,000.00         5,039.59              0.00                94,960.41
HENDERSON             YURIKO K & MICHAEL J HENDERSON                    CLASS 3            50,000.00         2,141.66              0.00                47,858.34
HENDRIX               SUNWEST TR DONALD HENDRIX IRA                     CLASS 3           200,000.00       37,233.33               0.00               162,766.67
HENKEL                BENJAMIN G & SHELLEY A HENKEL                     CLASS 3           125,000.00         6,640.63              0.00               118,359.37
HENNESSEE             DAVID ALDEN HENNESSEE                             CLASS 3          100,000.00         7,833.29               0.00                92,166.71

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
HENNESSEE             DAVID HENNESSEE                                    CLASS 3            25,000.00         1,203.09                0.00                23,796.91
HENNESSEE             ETHELRINE P HENNESSEE                              CLASS 3            30,000.00          820.83                 0.00                29,179.17
HENNIG                PROV. TR GP-FBO BRIGITTE HENNIG IRA                CLASS 3            52,938.00         9,997.91                0.00                42,940.09
HENNIG                PROV. TR GP-FBO HORST D HENNIG IRA                 CLASS 3            52,937.00         9,967.70                0.00                42,969.30
HENNIGH               JACK HENNIGH & SUSAN WHITMORE-HENNIGH              CLASS 3          100,000.00           638.89                 0.00                99,361.11
HENRICH               ROBERT W HENRICH                                  CLASS 3*            77,000.00         1,155.00                0.00                75,845.00
HENRY                 DIANE D HENRY                                      CLASS 5          250,000.00        76,597.10                 0.00               173,402.90
HENRY                 IRA SVCS TR CO-CFBO DUANE G HENRY IRA              CLASS 3           200,000.00         5,005.55                0.00               194,994.45
HENRY                 MARIE D HENRY                                      CLASS 5            89,000.00       20,544.23                 0.00                68,455.77
HENRY                 ROBERT & LAURETTA HENRY RLT DTD 10/19/04           CLASS 3            50,000.00              41.67              0.00                49,958.33
HENRY                 WILLIAM D HENRY                                    CLASS 3          750,000.00       130,981.85                 0.00               619,018.15
HENRY                 WILLIAM D HENRY                                    CLASS 5          400,000.00        69,856.99                 0.00               330,143.01
HENSCHEL              JAMES & LEONORE HENSCHEL                           CLASS 3           100,000.00         3,163.91                0.00                96,836.09
HENSLEIGH             JAMES HENSLEIGH                                    CLASS 3            60,000.00       12,670.00                 0.00                47,330.00
HENSON                IRA SVCS TR CO-CFBO PATSY I HENSON                 CLASS 3            75,000.00         1,225.00                0.00                73,775.00
HERBERS               JAMES L HERBERS                                    CLASS 3            25,000.00          253.48                 0.00                24,746.52
HERCZOG               HERCZOG FT                                         CLASS 3          950,000.00        50,072.95                 0.00               899,927.05
HERCZOG               RICHARD HERCZOG                                    CLASS 3            50,000.00         2,635.45                0.00                47,364.55
HERCZOG               THE RICHARD & MICHELLE HERCZOG FT                  CLASS 3            50,000.00          534.72                 0.00                49,465.28
HERDOCIA              PROV. TR GP-FBO JULIO HERDOCIA IRA                 CLASS 3          104,400.00        10,601.67                 0.00                93,798.33
HERENDEEN             IRA SVCS TR CO-CFBO PHYLLIS L HERENDEEN            CLASS 3            55,900.00          503.10                 0.00                55,396.90
HERKLOTZ              CAROL HERKLOTZ                                     CLASS 3            40,000.00         1,517.22                0.00                38,482.78
HERLONG               IRA SVCS TR CO-CFBO MARIANNE HERLONG IRA           CLASS 3            50,000.00         3,281.25                0.00                46,718.75
HERLONG               MARIANNE HERLONG                                   CLASS 3            60,000.00         4,125.00                0.00                55,875.00
HERMAN                PROV. TR GP-FBO TODD HERMAN SEP IRA                CLASS 3            89,000.00         8,149.48                0.00                80,850.52
HERMANSEN             DAVID HERMANSEN                                    CLASS 3          400,000.00        18,272.25           3,000.00                 378,727.75
HERMANSEN             PROV. TR GP-FBO DAVID HERMANSEN IRA                CLASS 3           159,764.00       14,815.58                 0.00               144,948.42
HERMANSEN             PROV. TR GP-FBO DAVID HERMANSEN IRA                CLASS 5           100,000.00         9,273.42                0.00                90,726.58
HERMITTE              JOEL P HERMITTE                                    CLASS 3            90,000.00        9,798.75                 0.00                80,201.25

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
HERN                  CYNTHIA HERN                                       CLASS 3            50,000.00        1,097.21                0.00                48,902.79
HERRERA               DAVID HERRERA                                      CLASS 5          100,000.00        21,999.91                0.00                78,000.09
HERRICK               ALAN HERRICK                                       CLASS 3            50,000.00         4,591.67               0.00                45,408.33
HERRINGTON            PAUL R & KAY HERRINGTON FT                         CLASS 3            75,000.00         4,260.42               0.00                70,739.58
HERRMANN              WILLIAM N & JILL A HERRMANN                        CLASS 3          125,000.00        20,995.78                0.00               104,004.22
HERTVIK               JOHN HERTVIK JR                                    CLASS 3          215,000.00          6,073.05               0.00               208,926.95
HESPEN                JEAN M & ROBERT K HESPEN                           CLASS 5           500,000.00       84,827.36         10,588.24                 404,584.40
HESS                  BILL C HESS                                        CLASS 3            60,000.00        2,483.34                0.00                57,516.66
HESS                  CAROL A HESS                                       CLASS 3            30,000.00         8,773.55         2,267.57                  18,958.88
HESS                  IRA SVCS TR CO-CFBO LYNDALL R HESS IRA             CLASS 3            26,000.00          538.04                0.00                25,461.96
HESS/RAPPA            VERNON R HESS & DEBBI RAPPA                        CLASS 3            30,000.00          350.00                0.00                29,650.00
HETTINGER             ROBERT & MARTHA HETTINGER                          CLASS 3            25,000.00              0.00              0.00                25,000.00
HEWETT                SCOTT HEWETT                                       CLASS 3            75,000.00          781.25                0.00                74,218.75
HEWLETT               DIXON W HEWLETT TR U/A/D 04/09/15                  CLASS 3            25,000.00         3,119.85               0.00                21,880.15
HEYDARI               SANAZ HEYDARI                                      CLASS 3            25,000.00         2,641.67               0.00                22,358.33
HEYDEN                TIMOTHY L VANDER HEYDEN                            CLASS 3            40,000.00          422.23                0.00                39,577.77
HICKEY                EDWARD S JR & VALERIE A HICKEY                     CLASS 5         1,500,000.00      281,114.56                0.00             1,218,885.44
HICKS                 B MATTHEW & LISA L HICKS                           CLASS 5          400,000.00       159,010.89                0.00               240,989.11
HICKS                 MICHAEL HICKS                                      CLASS 3            75,000.00        6,988.06                0.00                68,011.94
HICKS                 MICHAEL HICKS                                      CLASS 5          100,000.00         9,317.41                0.00                90,682.59
HICKS                 PATRICIA A HICKS                                   CLASS 3            30,000.00          862.50                0.00                29,137.50
HICOCK                KATHERINE HICOCK                                   CLASS 3            30,000.00         2,852.50               0.00                27,147.50
HIDDEN TREASURE       HIDDEN TREASURE CHRISTIAN SCHOOL                   CLASS 3           300,000.00         9,950.00               0.00               290,050.00
HIGGENBOTHAM          HENRY H HIGGENBOTHAM                               CLASS 3           250,000.00         7,375.00               0.00               242,625.00
HIGGS                 PROV. TR GP-FBO RONALD HIGGS IRA                   CLASS 5           100,000.00       14,472.23                0.00                85,527.77
HIGGS                 PROV. TR GP-FBO WINNIE HIGGS IRA                   CLASS 5           100,000.00       14,000.00                0.00                86,000.00
HIGH                  KEITH M HIGH                                       CLASS 3            25,000.00        1,616.67                0.00                23,383.33
HIGH                  PROV. TR GP-FBO MARCELLA J HIGH IRA                CLASS 3            25,000.00         5,187.55               0.00                19,812.45
HIGINBOTHAM           LARRY HIGINBOTHAM                                  CLASS 3            80,000.00         6,760.00               0.00                73,240.00

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
HIGINBOTHAM           LARRY L & VAN STEVEN HIGINBOTHAM                    CLASS 3           250,000.00       37,750.63                 0.00               212,249.37
HILARIO               ETHEL M HILARIO                                     CLASS 3            25,000.00          618.07                 0.00                24,381.93
HILBERT               STEVEN F & MARY B HILBERT                           CLASS 5          200,000.00        39,055.63                 0.00               160,944.37
HILDERLEY             MARK HILDERLEY                                      CLASS 3            75,000.00          419.79                 0.00                74,580.21
HILL                  BARBARA M HILL                                      CLASS 3            25,000.00         6,024.95           281.69                   18,693.36
HILL                  DENNIS HILL                                         CLASS 3            60,000.00        9,593.37                 0.00                50,406.63
HILL                  DONALD R HILL                                       CLASS 3            25,000.00         1,294.76                0.00                23,705.24
HILL                  IDA M HILL                                          CLASS 3          140,000.00               27.22              0.00               139,972.78
HILL                  JAY & LUEDDA HILL                                   CLASS 3            30,000.00          120.00                 0.00                29,880.00
HILL                  JIMMY E HILL                                        CLASS 3            25,000.00               0.00              0.00                25,000.00
HILL                  KYLE D & GINA R HILL                                CLASS 3          100,000.00         7,176.43                 0.00                92,823.57
HILL                  KYLE HILL                                           CLASS 3            50,000.00        4,544.49                 0.00                45,455.51
HILL                  LAWRENCE R HILL TR DTD 09/30/94                     CLASS 3          150,000.00         8,531.25                 0.00               141,468.75
HILL                  MARVIN HILL                                         CLASS 3          100,000.00        24,935.64                 0.00                75,064.36
HILL                  OLEN E & CHARLENE HILL                              CLASS 3          180,000.00        22,390.00                 0.00               157,610.00
HILL                  PROV. TR GP-FBO DENNIS HILL IRA                     CLASS 3            62,000.00       14,265.24                 0.00                47,734.76
HILL                  PROV. TR GP-FBO MARVIN HILL IRA                     CLASS 5          104,500.00        39,082.93                 0.00                65,417.07
HILL                  PROV. TR GP-FBO SHELLEY HILL IRA                    CLASS 3            75,000.00         5,241.67                0.00                69,758.33
HILL                  RJK HILL FT                                         CLASS 3            50,000.00        3,666.63                 0.00                46,333.37
HILLBERG              JANICE & DONALD HILLBERG                            CLASS 3          100,000.00           350.00                 0.00                99,650.00
HILLER                DAVID & MARGARET HILLER                             CLASS 3            30,000.00         3,161.67                0.00                26,838.33
HINES                 BOBBY & CHRISTINE HINES LT 10/16/06                 CLASS 5            50,000.00       15,033.37           2,267.57                  32,699.06
HINES                 BOBBY & CHRISTINE HINES TBT ENTIRETIES              CLASS 5           300,000.00      107,541.80                 0.00               192,458.20
HINES                 HINES RET SOLO 401K FBO BOBBY D HINES JR            CLASS 5           100,000.00       22,878.39           2,267.57                  74,854.04
HINES                 HINES RET SOLO 401K FBO CHRISTINE HINES             CLASS 5           110,000.00       24,009.56           2,267.57                  83,722.87
HINES                 KELLI L HINES                                       CLASS 3            25,000.00        7,459.67           2,752.50                  14,787.83
HINKLEY               THE PATRICIA D HINKLEY LT                           CLASS 5           600,000.00      104,110.88                 0.00               495,889.12
HINRICHS              DAVID HINRICHS & DEBORAH PRICE-HINRICHS             CLASS 3            40,000.00         3,433.29                0.00                36,566.71
HINSCH                HERBERT & TONI A HINSCH                             CLASS 3            25,000.00         1,283.33                0.00                23,716.67

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HINSON                ALICE P HINSON                                      CLASS 3            60,000.00        2,190.83               0.00                57,809.17
HINTON                MAINSTAR-FBO HEATHER HINTON BT177098                CLASS 3            99,100.00         1,899.42              0.00                97,200.58
HIPSKIND              NICHOLAS & SANDRA HIPSKIND                          CLASS 3            50,000.00         2,322.26              0.00                47,677.74
HIRNIKEL              DANIEL HIRNIKEL                                     CLASS 3            50,000.00          604.17               0.00                49,395.83
HIROTA                IRA SVCS TR CO-CFBO JOHANNA HIROTA IRA              CLASS 3            25,000.00         1,341.64              0.00                23,658.36
HIROTA                JOHANNA HIROTA                                      CLASS 3            50,000.00         1,059.73              0.00                48,940.27
HISKO                 STANLEY & KERRY ANN HISKO                           CLASS 5           250,000.00       34,201.58               0.00               215,798.42
HITCHENS              PROV. TR GP-FBO LINDA G HITCHENS IRA                CLASS 3            95,000.00       11,847.80               0.00                83,152.20
HITCHENS              PROV. TR GP-FBO LINDA G HITCHENS IRA                CLASS 5           100,000.00       12,471.37               0.00                87,528.63
HOADLEY               PROV. TR GP-FBO MARY HOADLEY IRA                    CLASS 3            50,000.00         3,354.16              0.00                46,645.84
HOAG                  PROV. TR GP-FBO DONNA D HOAG IRA                    CLASS 3           103,275.00         5,761.88              0.00                97,513.12
HOCHBERG              IRENE HOCHBERG                                      CLASS 3            50,000.00         2,638.85              0.00                47,361.15
HOCHBERG              MAINSTAR-FBO SUSAN HOCHBERG T2178305                CLASS 3            99,400.00          541.18               0.00                98,858.82
HOCHHAUSER            BARBARA & ABRAHAM HOCHHAUSER                        CLASS 3           175,000.00       20,233.80               0.00               154,766.20
HOCHHEIMER            RONALD M & PATRICIA A HOCHHEIMER                    CLASS 3            25,000.00         2,762.50              0.00                22,237.50
HOCK                  SARAH HOCK                                          CLASS 3            90,000.00         1,522.50              0.00                88,477.50
HOCKMAN               MAINSTAR-FBO BETTY HOCKMAN R2177312                 CLASS 3            27,000.00         1,120.50              0.00                25,879.50
HOCKMAN               MAINSTAR-FBO BETTY HOCKMAN T2177311                 CLASS 3            72,000.00         2,988.00              0.00                69,012.00
HOCKMAN               MAINSTAR-FBO MICHAEL HOCKMAN R2177255               CLASS 3            30,000.00         1,245.00              0.00                28,755.00
HOCKMAN               MAINSTAR-FBO MICHAEL HOCKMAN T2177256               CLASS 3            53,500.00         2,220.25              0.00                51,279.75
HODDINOTT             WILLIAM S II & BONNIE L HODDINOTT                   CLASS 3            25,000.00       14,200.44               0.00                10,799.56
HODGE                 JOHN E & LYNN W HODGE                               CLASS 3           349,330.00       23,293.76               0.00               326,036.24
HODNE                 MAINSTAR-FBO RUTH HODNE T2177455                    CLASS 3            42,000.00          574.00               0.00                41,426.00
HODNE                 THOMAS T & RUTH HODNE                               CLASS 3            60,000.00         1,410.00              0.00                58,590.00
HOEGEMEYER            THE HOEGEMEYER FT                                   CLASS 3            25,000.00         1,750.00              0.00                23,250.00
HOEM                  MIDLAND NL-FBO EDWARD HOEM                          CLASS 5            50,000.00       21,954.55               0.00                28,045.45
HOERNER               MAINSTAR-FBO JEFFREY D HOERNER T2175149             CLASS 3            52,500.00         3,834.17              0.00                48,665.83
HOFF                  GLEN & KATHRYN HOFF                                 CLASS 3            50,000.00         8,978.50              0.00                41,021.50
HOFF                  PROV. TR GP-FBO KATHRYN I HOFF IRA                  CLASS 5           303,678.59       93,380.57               0.00               210,298.02

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HOFFMAN               HOFFMAN FT                                         CLASS 3          250,000.00         1,375.00               0.00               248,625.00
HOFFMAN               JOHN & REBECCA HOFFMAN                             CLASS 3            50,000.00         2,051.41              0.00                47,948.59
HOFFMAN               JUNE M HOFFMAN                                     CLASS 3            40,000.00          861.13               0.00                39,138.87
HOFFMAN               PAUL D & MARY F HOFFMAN                            CLASS 3          100,000.00          5,288.91              0.00                94,711.09
HOFFMAN               RICHARD S & DENISE C HOFFMAN                       CLASS 3            40,000.00          420.00               0.00                39,580.00
HOFFMAN               ROBERT HOFFMAN                                     CLASS 3            40,000.00          377.78               0.00                39,622.22
HOFFMAN               THEODORE & PATRICIA HOFFMAN                        CLASS 3           195,000.00       13,786.59               0.00               181,213.41
HOFMANN               IRA SVCS TR CO-CFBO CAROL HOFMANN                  CLASS 3           177,500.00         1,479.16              0.00               176,020.84
HOFTIEZER/BUNKERS     ELAINE HOFTIEZER & JENNIFER BUNKERS                CLASS 3            25,000.00         1,312.54              0.00                23,687.46
HOGANSON              VICKY F HOGANSON                                   CLASS 3            50,000.00         5,092.33              0.00                44,907.67
HOGG                  MIRIAM L HOGG                                      CLASS 3          100,000.00         2,083.35               0.00                97,916.65
HOKANSON              RUSSELL KENT & DORIS LEONE HOKANSON                CLASS 3           125,000.00         7,266.67              0.00               117,733.33
HOKANSON              THE RUSSELL & DORIS HOKANSON LT                    CLASS 3           100,000.00         3,783.33              0.00                96,216.67
HOKE                  THE JOHN NEVIN HOKE RT U/A/D 01/19/16              CLASS 3            40,000.00         1,733.36              0.00                38,266.64
HOLBERT               CURTIS E & ELIZABETH A HOLBERT                     CLASS 3           200,000.00         3,750.01              0.00               196,249.99
HOLBROOK              FRED J & BESSIE B HOLBROOK                         CLASS 3           490,000.00       10,200.00               0.00               479,800.00
HOLBROOK              PROV. TR GP-FBO KENNETH L HOLBROOK IRA             CLASS 3           180,000.00       22,727.77               0.00               157,272.23
HOLDEN                MAINSTAR-FBO KIMBERLY F HOLDEN T2178162            CLASS 3            86,839.00          796.03               0.00                86,042.97
HOLDEN                WILLIAM L HOLDEN JR                                CLASS 3          240,000.00        29,367.05         1,000.00                 209,632.95
HOLDENER              FRED R & HELEN I HOLDENER                          CLASS 3          200,000.00          8,027.84              0.00               191,972.16
HOLEWINSKI            KATHLEEN A HOLEWINSKI                              CLASS 3            25,000.00          458.35               0.00                24,541.65
HOLLAND               BETTY B HOLLAND LT UTD 02/20/98                    CLASS 3          175,000.00        21,227.11               0.00               153,772.89
HOLLAND               MARIA T HOLLAND                                    CLASS 3          575,000.00        67,200.31               0.00               507,799.69
HOLLAND               PROV. TR GP-FBO MARIA T HOLLAND IRA                CLASS 3            58,880.00         6,602.88              0.00                52,277.12
HOLLAND               SAMUEL GENE HOLLAND                                CLASS 5           300,000.00       20,095.84         2,000.00                 277,904.16
HOLLER                MAINSTAR-FBO PETER D HOLLER R2178065               CLASS 3            50,000.00          911.11               0.00                49,088.89
HOLLER                MAINSTAR-FBO PETER D HOLLER T2176546               CLASS 3            25,159.00         1,425.67              0.00                23,733.33
HOLLEY                HORACE P HOLLEY JR                                 CLASS 3            90,000.00         3,204.22              0.00                86,795.78
HOLLIDAY              KAREN & NOEL HOLLIDAY                              CLASS 3            30,000.00          745.00               0.00                29,255.00

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]              [3]          [1] minus [2] minus [3]
HOLLINGSWORTH         MAINSTAR-FBO C HOLLINGSWORTH T2176325             CLASS 3          373,000.00        11,759.86               0.00               361,240.14
HOLLOWAY              MABEL HOLLOWAY                                    CLASS 3          100,000.00          1,069.45              0.00                98,930.55
HOLLOWAY              RONALD W & MARY C HOLLOWAY                        CLASS 3           100,000.00         5,041.71              0.00                94,958.29
HOLLOWELL             PAUL M HOLLOWELL                                  CLASS 3          100,000.00          5,337.53              0.00                94,662.47
HOLLY                 PROV. TR GP-FBO JIMMY HOLLY IRA                   CLASS 3           180,000.00       31,794.38               0.00               148,205.62
HOLMAN                MARK & KATHY HOLMAN                               CLASS 3            50,000.00          604.16               0.00                49,395.84
HOLMES                DAVID & PEGGY HOLMES                              CLASS 3           100,000.00          388.89               0.00                99,611.11
HOLMES                DELORES J HOLMES                                  CLASS 3            70,000.00         3,486.36              0.00                66,513.64
HOLMES                JEFFREY & PATRICIA HOLMES                         CLASS 3          250,000.00        15,036.87               0.00               234,963.13
HOLMES                JEFFREY & PATRICIA HOLMES                        CLASS 3*            50,000.00         3,783.33              0.00                46,216.67
HOLMES                NANCY H & STEPHEN F HOLMES                        CLASS 3            99,650.00       16,331.32               0.00                83,318.68
HOLSTEAD              THE HOLSTEAD TR DTD 02/16/16                      CLASS 3            60,000.00         9,386.62         990.00                   49,623.38
HOLZAPFEL             PROV. TR GP-FBO REX HOLZAPFEL IRA                 CLASS 3            26,400.00         2,268.93              0.00                24,131.07
HOLZAPFEL             PROV. TR GP-FBO VICTORIA HOLZAPFEL IRA            CLASS 3            53,000.00         4,555.06              0.00                48,444.94
HOLZMANN              THEODORE W & DIANE K HOLZMANN                     CLASS 3            25,000.00          665.96               0.00                24,334.04
HOLZWARTH             COLLIN K HOLZWARTH                                CLASS 3            50,000.00         7,275.01              0.00                42,724.99
HOMAN                 DANIEL L & BRENDA L HOMAN RLT                     CLASS 3           166,500.00       23,871.56               0.00               142,628.44
HOMAN                 DANIEL L & BRENDA L HOMAN RLT                     CLASS 5            50,000.00         7,168.64              0.00                42,831.36
HOMAN                 GREGORY MARK & JANE MARIE HOMAN                   CLASS 3            50,000.00         1,432.31              0.00                48,567.69
HOMAN                 PROV. TR GP-FBO MICHELE R HOMAN IRA               CLASS 5          100,000.00        35,361.00               0.00                64,639.00
HOMAN                 RICK J & CATHLEEN J HOMAN                         CLASS 3           210,000.00       36,605.03               0.00               173,394.97
HOMAN                 RICK J & CATHLEEN J HOMAN                         CLASS 5           216,500.00       37,738.04               0.00               178,761.96
HOMAN                 THE RYAN & JANELLE HOMAN RT DTD 03/22/16          CLASS 3            25,000.00          460.41               0.00                24,539.59
HOMOLA                PAUL J & MARIA D HOMOLA                           CLASS 3            50,000.00        6,358.33               0.00                43,641.67
HONIG                 PAUL HONIG                                        CLASS 3            35,000.00          488.54               0.00                34,511.46
HONIG                 PAUL HONIG RLT 04/19/99/PAUL HONIG                CLASS 3          265,000.00        45,873.61               0.00               219,126.39
HONIG                 PAUL HONIG RLT 04/19/99/PAUL HONIG                CLASS 5           100,000.00       17,310.80               0.00                82,689.20
HONIG                 PROV. TR GP-FBO CARLA HONIG IRA                   CLASS 3           382,669.02       30,088.33               0.00               352,580.69
HONIG                 PROV. TR GP-FBO CARLA HONIG IRA                   CLASS 5           150,000.00       11,794.13               0.00               138,205.87

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
HONIG                 PROV. TR GP-FBO PAUL HONIG IRA                     CLASS 3            57,281.91         7,799.30              0.00                49,482.61
HONIG                 PROV. TR GP-FBO PAUL HONIG IRA                     CLASS 5           100,000.00       13,615.64               0.00                86,384.36
HONMA/ORTIZ           MAILE K HONMA & SHARON LYNN ORTIZ                  CLASS 3            26,000.00         1,154.81              0.00                24,845.19
HOOD                  KEN R & KENDRA J HOOD                              CLASS 3            50,000.00         3,158.33              0.00                46,841.67
HOOD                  MAINSTAR-FBO TERRY C HOOD                          CLASS 3            42,016.31         2,696.05              0.00                39,320.26
HOOD                  MICHAEL HOUSTON HOOD                               CLASS 5            80,000.00       32,186.23               0.00                47,813.77
HOOI                  KOK KING & EFINA HOOI                              CLASS 3            50,000.00         1,100.00              0.00                48,900.00
HOOKS                 THE HOOKS FLT, ROY & ROSE HOOKS                    CLASS 5           300,000.00      107,708.21               0.00               192,291.79
HOOPER                GARY CLIFTON HOOPER                                CLASS 3           110,000.00         5,092.12              0.00               104,907.88
HOPE                  ROSE-ELLEN HOPE                                    CLASS 3            75,000.00       14,383.96               0.00                60,616.04
HOPKINS               THE STEPHEN D HOPKINS TR                           CLASS 5            50,000.00       17,402.94               0.00                32,597.06
HOPSON                KENNETH M & NANCY K HOPSON RLT 04/28/11            CLASS 3            25,000.00         1,470.83              0.00                23,529.17
HORN                  JAMES R HORN                                       CLASS 3            50,000.00         5,285.37              0.00                44,714.63
HORN                  MAINSTAR-FBO ELIZABETH J HORN                      CLASS 3            78,218.25         4,623.57              0.00                73,594.68
HORNADAY              ALAN L & MARY L HORNADAY                           CLASS 3           100,000.00         5,283.33              0.00                94,716.67
HORNBAKER             MARY E HORNBAKER                                   CLASS 3           150,000.00         4,987.50              0.00               145,012.50
HORNER                CRAIG W & MARIANNE HORNER                          CLASS 3            50,000.00         2,121.50              0.00                47,878.50
HORNER                CRAIG W HORNER DDS PC PSP                          CLASS 3            50,000.00         2,121.50              0.00                47,878.50
HORNER                MARIANNE DRUVA HORNER TR                           CLASS 3            50,000.00         1,433.33              0.00                48,566.67
HORNFECK              IRA SVCS TR CO-CFBO TERESA C HORNFECK IRA          CLASS 3           160,000.00       18,515.89               0.00               141,484.11
HORNFECK              TERESA C HORNFECK                                  CLASS 3           510,000.00       97,250.88               0.00               412,749.12
HORNING               ALLEN & MARY HORNING                               CLASS 3           135,000.00       30,819.26         1,255.79                 102,924.95
HORNING               ALLEN & MARY HORNING                               CLASS 5            60,000.00       13,697.45          558.13                   45,744.42
HORNING               PROV. TR GP-FBO ALLEN HORNING IRA                  CLASS 5            80,000.00       10,533.33               0.00                69,466.67
HORNING               PROV. TR GP-FBO MARY E HORNING IRA                 CLASS 5            95,699.00         6,512.85              0.00                89,186.15
HORNUNG               BRIAN J & JULIE A HORNUNG                          CLASS 3            25,000.00         1,538.92              0.00                23,461.08
HORNUNG               EDWARD J & ARLENE F HORNUNG JRT                    CLASS 3            25,000.00         1,295.18              0.00                23,704.82
HORST                 HELEN & CHESTER HORST                              CLASS 3            30,000.00          683.33               0.00                29,316.67
HORST                 RALPH HORST                                        CLASS 3          100,000.00          4,459.75              0.00                95,540.25

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
HORTON                WILLIAM H HORTON                                   CLASS 3            25,000.00          943.04               0.00                24,056.96
HORVATH               IRA SVCS TR CO-CFBO MARGO HORVATH                  CLASS 3           120,000.00         2,712.50              0.00               117,287.50
HORWOOD               DOUG & MARION HORWOOD                              CLASS 3           125,000.00       13,901.32               0.00               111,098.68
HOSKING               DONNA J HOSKING                                    CLASS 3            70,000.00          816.67               0.00                69,183.33
HOTTOVY               PROV. TR GP-FBO TODD HOTTOVY IRA                   CLASS 3            25,000.00         2,812.50              0.00                22,187.50
HOUCHIN               RICHARD & MARY HOUCHIN                             CLASS 3           100,000.00         6,116.67              0.00                93,883.33
HOUDEK                ROBERT HOUDEK                                      CLASS 3            35,000.00         1,272.66              0.00                33,727.34
HOUDEN                TIMOTHY S HOUDEN LT UAD 05/02/02                   CLASS 3          100,000.00          7,758.29              0.00                92,241.71
HOULIHAN              PROV. TR GP-FBO ROBERT K HOULIHAN IRA              CLASS 3           100,000.00       13,702.81               0.00                86,297.19
HOUSER                PROV. TR GP-FBO DAVID HOUSER IRA                   CLASS 3            50,000.00          379.17               0.00                49,620.83
HOUSTON               DOUGLAS H & LISA D HOUSTON                         CLASS 5           100,000.00       28,464.09               0.00                71,535.91
HOVE                  MICHAEL H & BRENDA K HOVE                          CLASS 3           100,000.00         9,305.72              0.00                90,694.28
HOVEN                 PROV. TR GP-FBO DAN HOVEN IRA                      CLASS 3            72,190.00         3,831.95              0.00                68,358.05
HOWARD                BARBARA HOWARD                                     CLASS 5          100,000.00        36,374.86               0.00                63,625.14
HOWARD                NINA HOWARD                                        CLASS 3            25,000.00          586.82               0.00                24,413.18
HOWARD                PROV. TR GP-FBO LINDA JANE HOWARD IRA              CLASS 3            54,535.00         1,092.21              0.00                53,442.79
HOWARD                WILLIAM MOSS HOWARD                                CLASS 3            85,000.00        4,295.00               0.00                80,705.00
HOWDEN                IRA SVCS TR CO-CFBO KATHLEEN P HOWDEN              CLASS 3            48,600.00         7,464.50              0.00                41,135.50
HOWDEN                IRA SVCS TR CO-CFBO KENNETH R HOWDEN IRA           CLASS 3            60,200.00         9,598.17              0.00                50,601.83
HOWDEN                IRA SVCS TR CO-CFBO RODNEY K HOWDEN                CLASS 3           302,500.00       27,078.03               0.00               275,421.97
HOWE                  ROBERT W HOWE A/E RT AMND 02/07/02                 CLASS 3          115,000.00        26,807.69               0.00                88,192.31
HOWELL                JOE C HOWELL                                       CLASS 5          136,808.98        10,679.32               0.00               126,129.66
HOWELL                PROV. TR GP-FBO ERIC & JULIE HOWELL ICA            CLASS 5            50,000.00       16,541.82               0.00                33,458.18
HOWELL                PROV. TR GP-FBO JAMES HOWELL IRA                   CLASS 3            29,310.00         1,841.65              0.00                27,468.35
HOWELL                PROV. TR GP-FBO JANIS A HOWELL IRA                 CLASS 3          100,000.00          7,784.44              0.00                92,215.56
HOYER                 IRA SVCS TR CO-CFBO KIRSTEN HOYER IRA              CLASS 5           100,000.00       17,777.71               0.00                82,222.29
HOYER                 KIRSTEN HOYER                                      CLASS 5          100,000.00        13,138.84               0.00                86,861.16
HOYING                DAVID HOYING                                       CLASS 3            50,000.00        1,263.90               0.00                48,736.10
HRIN                  BETTY J HRIN                                       CLASS 3            50,000.00        5,834.48               0.00                44,165.52

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
HRIN                  BETTY J HRIN                                       CLASS 5          100,000.00        11,668.97                0.00                88,331.03
HRONEK                DOUGLAS HRONEK                                     CLASS 3           200,000.00       31,882.03                0.00               168,117.97
HRONEK                THE HRONEK FT                                      CLASS 3          299,700.00        49,987.65                0.00               249,712.35
HRUBY                 JAMES HRUBY                                        CLASS 3            50,000.00        3,150.00                0.00                46,850.00
HRUBY                 MAINSTAR-FBO JAMES HRUBY                           CLASS 3          144,000.00          8,034.00               0.00               135,966.00
HSU                   HSU FT DTD 10/17/98                                CLASS 3            50,000.00        5,493.12                0.00                44,506.88
HU                    YUNGANG HU                                         CLASS 3          200,000.00          6,439.70               0.00               193,560.30
HUA                   WAYNE HUA                                          CLASS 3            25,000.00         1,812.50         1,000.00                  22,187.50
HUANG                 ERIC HUANG                                         CLASS 3            25,000.00          829.17                0.00                24,170.83
HUANG                 HUNG-CHANG W HUANG                                 CLASS 3            25,000.00         1,306.21               0.00                23,693.79
HUBBARD               BILLY D HUBBARD                                    CLASS 5           100,000.00       40,916.51                0.00                59,083.49
HUBBARD               HARRY HUBBARD                                      CLASS 3            50,000.00         4,440.29               0.00                45,559.71
HUBBARD               MAINSTAR-FBO JON P HUBBARD T2178168                CLASS 3            89,500.00          713.51                0.00                88,786.49
HUBCHIK               GORDON HUBCHIK                                     CLASS 3            50,000.00         5,201.35               0.00                44,798.65
HUBER                 BEATRIZ G & DIANA HUBER                            CLASS 5           100,000.00         2,027.77               0.00                97,972.23
HUBER                 BEATRIZ G HUBER TR                                 CLASS 3            60,000.00         1,380.00               0.00                58,620.00
HUBER                 DIANA L HUBER LT U/A DTD 04/12/04                  CLASS 3            33,174.00              0.00              0.00                33,174.00
HUBER                 LINDA & ROBERT HUBER JR                            CLASS 3            25,000.00         1,380.21               0.00                23,619.79
HUBER                 MAUREEN HUBER                                      CLASS 3            50,000.00          152.78                0.00                49,847.22
HUBER/KURUPAS         BEATRIZ HUBER & DEBORAH KURUPAS                    CLASS 3            50,000.00          350.00                0.00                49,650.00
HUDDLESTON            IRA SVCS TR CO-CFBO RICHARD B HUDDLESTON           CLASS 3           101,000.00         4,850.78               0.00                96,149.22
HUDSON                EDWARD HUDSON                                      CLASS 3           100,000.00         3,448.59               0.00                96,551.41
HUDSON                NANCY HUDSON TTEE LU HUDSON FT 02/27/91            CLASS 3           125,000.00         8,999.97               0.00               116,000.03
HUDSON                PROV. TR GP-FBO MARK HUDSON IRA                    CLASS 3            92,500.00         4,443.71               0.00                88,056.29
HUELSMAN              GERALD L & BETTY HUELSMAN                          CLASS 3            25,000.00          489.60                0.00                24,510.40
HUEY                  GLENN C HUEY                                       CLASS 3          110,000.00          7,250.87               0.00               102,749.13
HUEY                  PROV. TR GP-FBO MONIKA L HUEY IRA                  CLASS 3            62,500.00         5,302.08               0.00                57,197.92
HUFF                  SUSAN HUFF                                         CLASS 3            40,000.00          994.46                0.00                39,005.54
HUFF                  THE ERIN & JONATHAN HUFF RT DTD 08/19/16           CLASS 3            50,000.00         2,130.59               0.00                47,869.41

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
HUFFMAN               CINDY & RANDALL HUFFMAN                            CLASS 3            25,000.00         1,453.51               0.00                23,546.49
HUFFMAN               RANDALL E & KELLY J HUFFMAN                        CLASS 3           200,000.00       23,624.87                0.00               176,375.13
HUGGINS               HARVEY A HUGGINS                                   CLASS 3            25,000.00          166.67                0.00                24,833.33
HUGHES                JANTZEN & BETTY JEAN HUGHES                        CLASS 3          100,000.00          3,166.67               0.00                96,833.33
HUGHES                LINDA M HUGHES RT DTD 01/15/04                     CLASS 3          120,000.00          2,400.00               0.00               117,600.00
HUGHES                SONIA M & JAMES J HUGHES                           CLASS 3          100,000.00          7,305.56               0.00                92,694.44
HUIZING               LORETTA & THOMAS HUIZING                           CLASS 3            50,000.00         9,143.02               0.00                40,856.98
HULL                  DEBORAH & GARY HULL                                CLASS 3            40,000.00          111.11                0.00                39,888.89
HULL                  JOSEPH C HULL                                      CLASS 5          950,000.00       233,411.03                0.00               716,588.97
HULL                  NORMAN F HULL JR                                   CLASS 3            50,000.00         2,643.09               0.00                47,356.91
HULL                  WESLEY F HULL                                      CLASS 3            50,000.00       18,018.93                0.00                31,981.07
HULL                  WESLEY F HULL                                      CLASS 5          500,000.00       180,189.28                0.00               319,810.72
HULLINGER             PROV. TR GP-FBO BENNY HULLINGER IRA                CLASS 3           236,000.00       23,728.75                0.00               212,271.25
HULTMAN               CAROL MAE HULTMAN                                  CLASS 3            50,000.00              0.00              0.00                50,000.00
HULTMAN               MARY HULTMAN                                       CLASS 3            25,000.00              0.00              0.00                25,000.00
HUMBER                DEBORAH HUMBER                                     CLASS 3            25,000.00         1,287.50               0.00                23,712.50
HUMBERT               GREGORY HUMBERT                                    CLASS 3           100,000.00         3,055.58               0.00                96,944.42
HUMBERT               MAINSTAR-FBO DANA HUMBERT TW004165                 CLASS 3           107,600.00          669.51                0.00               106,930.49
HUMBERT               MAX & SHELIA HUMBERT                               CLASS 3         1,519,500.00      281,419.04                0.00             1,238,080.96
HUMPHRIES             MERVIN G & MARY HUMPHRIES                          CLASS 3            75,000.00         4,075.69         1,000.00                  69,924.31
HUNG                  MAINSTAR-FBO RONNIE HUNG T2176224                  CLASS 3           525,000.00       37,759.86                0.00               487,240.14
HUNG                  MAINSTAR-FBO SUSANNA HUNG T2177355                 CLASS 3            72,000.00         2,226.00               0.00                69,774.00
HUNKINS               CHARLENE & RICHARD HUNKINS                         CLASS 3           100,000.00         5,555.60               0.00                94,444.40
HUNT                  KEVIN HUNT                                         CLASS 3          500,000.00        88,734.00                0.00               411,266.00
HUNT                  MAINSTAR-FBO SHERYL A HUNT T2177259                CLASS 3            69,200.00         2,906.35               0.00                66,293.65
HUNT                  PROV. TR GP-FBO RUSSELL H HUNT IRA                 CLASS 3           104,000.00         5,588.86               0.00                98,411.14
HUNT                  SUSAN HUNT                                         CLASS 3            40,000.00         1,333.36               0.00                38,666.64
HUNT                  TERRENCE D & MARY L HUNT                           CLASS 3            40,000.00         6,766.67               0.00                33,233.33
HUNTEMAN              LOUIS & GERALDINE HUNTEMAN                         CLASS 3            30,000.00          350.00                0.00                29,650.00

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
HUNTER                GARY HUNTER                                       CLASS 3          100,000.00          2,638.91               0.00                97,361.09
HUNTER                KENNETH HUNTER                                    CLASS 3            45,000.00         1,478.13               0.00                43,521.87
HUNTER                MAINSTAR-FBO KELLI HUNTER                         CLASS 3           500,000.00       39,111.11                0.00               460,888.89
HUNTER                ROBERT A HUNTER                                   CLASS 5            50,000.00         9,966.67               0.00                40,033.33
HURLBURT              ALLEN F & ANN M HURLBURT                          CLASS 3            25,000.00         3,360.91               0.00                21,639.09
HURLBURT              ALLEN F & ANN M HURLBURT                          CLASS 5           100,000.00       13,443.66                0.00                86,556.34
HURLEY                PROV. TR GP-FBO ROBERT HURLEY INH IRA             CLASS 3            60,000.00         4,137.50               0.00                55,862.50
HURTADO               RICARDO HURTADO                                   CLASS 5            80,000.00       14,942.28                0.00                65,057.72
HUSEMAN               MARTHA C HUSEMAN                                  CLASS 3            50,000.00         2,784.68               0.00                47,215.32
HUSH                  MONA HUSH                                         CLASS 3            70,000.00        6,222.29                0.00                63,777.71
HUSSMANN              MAINSTAR-FBO ANNETTE HUSSMANN                     CLASS 3            79,000.00       10,862.50          1,000.00                  67,137.50
HUSTED                PROV. TR GP-FBO MICHAEL P HUSTED IRA              CLASS 3            50,000.00       15,509.21                0.00                34,490.79
HUTCHINSON            MAINSTAR-FBO NINA HUTCHINSON TW003852             CLASS 3            72,000.00         2,184.00               0.00                69,816.00
HUTCHINSON            NINA & EDWARD HUTCHINSON                          CLASS 3            25,000.00         1,534.77               0.00                23,465.23
HUTTO                 BOB D & RUTH S HUTTO                              CLASS 3            50,000.00         3,636.03               0.00                46,363.97
HUTTO                 GREGORY HUTTO                                     CLASS 3            25,000.00         1,813.15               0.00                23,186.85
HUTTON                IRA SVCS TR CO-CFBO HAROLD D HUTTON IRA           CLASS 3            25,000.00         1,421.91               0.00                23,578.09
HUWE                  MICHAEL HUWE                                      CLASS 3            50,000.00         6,619.55               0.00                43,380.45
HWANG                 THE 1987 HWANG LT DTD 03/12/87                    CLASS 3            25,000.00          414.33                0.00                24,585.67
HYDE                  CONSTANCE HYDE                                    CLASS 3            25,000.00              0.00              0.00                25,000.00
HYDE                  NANCY HYDE                                        CLASS 3            55,000.00         2,572.04               0.00                52,427.96
HYKES                 AMOS & FRANCES HYKES                              CLASS 3           125,000.00         3,887.51               0.00               121,112.49
HYLAND                RICHARD HYLAND JR                                 CLASS 3            80,000.00          898.33                0.00                79,101.67
HYMAS                 DOUGLAS & PATRICIA HYMAS                          CLASS 3            85,000.00          276.25                0.00                84,723.75
HYMEL                 PROV. TR GP-FBO BRETT C HYMEL IRA                 CLASS 5            59,000.00       13,783.06                0.00                45,216.94
HYSICK                JIM M & SHEILA O HYSICK                           CLASS 3            50,000.00         6,591.74               0.00                43,408.26
IACOVINO              MICHAEL A & ELIZABETH E IACOVINO                  CLASS 3           250,000.00         6,145.85               0.00               243,854.15
IANNELLA              FRANK D IANNELLA RT 10/19/04                      CLASS 3            50,000.00         6,386.15               0.00                43,613.85
IC AVIATION           IC AVIATION                                       CLASS 3            50,000.00         3,858.33               0.00                46,141.67

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
ICE NINE              ICE NINE INC                                       CLASS 3            54,000.00          157.50                 0.00                53,842.50
IDDINS                BRENDA IDDINS                                      CLASS 3            50,000.00        2,991.67                 0.00                47,008.33
ILIFFE                AMY ILIFFE                                         CLASS 3            65,000.00        3,596.67                 0.00                61,403.33
INENDINO              MAINSTAR-FBO ANTHONY D INENDINO T2175470           CLASS 3            69,000.00         6,406.14                0.00                62,593.86
INENDINO              MAINSTAR-FBO ANTHONY D INENDINO T2175470           CLASS 5           100,000.00         9,284.25                0.00                90,715.75
INGEBRIGTSEN          BARBARA LEE INGEBRIGTSEN                           CLASS 3           100,000.00       11,999.99                 0.00                88,000.01
INJEYAN               MAINSTAR-FBO HAGOP INJEYAN T2178622                CLASS 3          100,000.00           111.11                 0.00                99,888.89
INMAN                 RICHARD H INMAN                                    CLASS 3          150,000.00         9,100.00                 0.00               140,900.00
INOUYE                ROBERT M INOUYE                                    CLASS 3            25,000.00          402.79                 0.00                24,597.21
INSURANCE EDUC.       INSURANCE EDUCATIONAL FOUNDATION                   CLASS 5           500,000.00       54,076.20                 0.00               445,923.80
INZER                 PROV. TR GP-FBO ROBERT W INZER IRA                 CLASS 5           518,950.00       55,805.17                 0.00               463,144.83
IOOF SUMMUNDUWOT      IOOF SUMMUNDUWOT LODGE 3                           CLASS 3            25,000.00          354.18                 0.00                24,645.82
IPOLITO               DOUGLAS IPOLITO                                    CLASS 3            50,000.00         7,500.00                0.00                42,500.00
IPOLITO               PROV. TR GP-FBO DOUGLAS P IPOLITO IRA              CLASS 5           142,000.00       50,173.14                 0.00                91,826.86
IRION                 MAINSTAR-FBO PENNY J IRION T2178364                CLASS 3            64,000.00              71.11              0.00                63,928.89
IRISH                 TODD S IRISH                                       CLASS 3            80,000.00        2,457.79                 0.00                77,542.21
IRWIN                 MAINSTAR-FBO JAMES A IRWIN RW003414                CLASS 3            52,000.00         6,188.00                0.00                45,812.00
IRWIN                 MAINSTAR-FBO JAMES IRWIN                           CLASS 3          150,000.00        16,087.50                 0.00               133,912.50
IRWIN                 R THOMAS & CHRISTINE IRWIN RT                      CLASS 3            50,000.00         3,472.17                0.00                46,527.83
IRWIN                 SUSAN ROWAN IRWIN                                  CLASS 3            31,955.00         5,148.27                0.00                26,806.73
ISA                   PROV. TR GP-FBO DAVID ISA IRA                      CLASS 3           100,000.00         4,895.83                0.00                95,104.17
ISAACS                ROBERT & EVA M ISAACS                              CLASS 3            30,000.00          458.33                 0.00                29,541.67
ISGRO                 GIUSEPPE & ROSA ISGRO                              CLASS 3            25,000.00          558.33                 0.00                24,441.67
ISHAM                 PETER M & AMI ISHAM                                CLASS 5          200,000.00          1,222.22                0.00               198,777.78
ISHAM                 PROV. TR GP-FBO AMI ISHAM IRA                      CLASS 5            80,400.00         2,769.33                0.00                77,630.67
ISHAM                 PROV. TR GP-FBO PETER M ISHAM IRA                  CLASS 5            26,000.00          895.56                 0.00                25,104.44
ISRAEL                TERRI ISRAEL                                       CLASS 3            50,000.00         3,990.23                0.00                46,009.77
ISRAEL                VIVIANNE ISRAEL                                    CLASS 3           270,000.00       41,881.98                 0.00               228,118.02
ISSER                 IRWIN ISSER                                        CLASS 3          275,000.00        32,906.35                 0.00               242,093.65

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
ISZLER                MORRIS E & DONNA F ISZLER                           CLASS 3           200,000.00       29,942.89                 0.00               170,057.11
ITZOE                 TED ITZOE                                           CLASS 3            25,000.00        1,612.50                 0.00                23,387.50
IVEY                  PROV. TR GP-FBO CHRISTY IVEY IRA                    CLASS 3            60,000.00         1,280.00                0.00                58,720.00
IWASAKI               RONALD SEIJI & SHERRY KATHRYN IWASAKI               CLASS 3            25,000.00         1,408.37                0.00                23,591.63
JABLONSKI             PROV. TR GP-FBO WILLIAM JABLONSKI IRA               CLASS 3            40,631.00         4,286.58                0.00                36,344.42
JACKAMORE             ELAINE JACKAMORE                                    CLASS 3            25,000.00              18.06              0.00                24,981.94
JACKSON               ERIC JACKSON                                        CLASS 3          100,000.00          5,414.63                0.00                94,585.37
JACKSON               MAINSTAR-FBO BARBARA C JACKSON T2174408             CLASS 3            37,500.00        3,718.75                 0.00                33,781.25
JACKSON               MAINSTAR-FBO THERESA R JACKSON                      CLASS 3          108,000.00         4,950.00                 0.00               103,050.00
JACKSON               MICHAEL C JACKSON                                   CLASS 3            35,700.00         1,372.47                0.00                34,327.53
JACKSON               PROV. TR GP-FBO LISA M JACKSON ROTH IRA             CLASS 3            67,000.00        6,872.21                 0.00                60,127.79
JACKSON               PROV. TR GP-FBO MICHAEL C JACKSON IRA               CLASS 3          214,300.00         8,775.13                 0.00               205,524.87
JACKSON               PROV. TR GP-FBO MITCHELL A JACKSON IRA              CLASS 3            60,000.00         9,089.02                0.00                50,910.98
JACKSON               PROV. TR GP-FBO MITCHELL JACKSON ROTH IRA           CLASS 3            76,000.00        7,431.95                 0.00                68,568.05
JACKSON               THE JACKSON FT DTD 02/26/03                         CLASS 3          100,000.00           916.67                 0.00                99,083.33
JACOB                 JOANNE C JACOB                                      CLASS 3            50,000.00          833.33                 0.00                49,166.67
JACOB                 MAINSTAR-FBO VIRGINIA JACOB T2174527                CLASS 3           142,000.00       14,282.84                 0.00               127,717.16
JACOBS                JERALD H JACOBS                                     CLASS 3          300,000.00        34,789.10                 0.00               265,210.90
JACOBS                PROV. TR GP-FBO PAZ JACOBS IRA                      CLASS 5            74,250.00       11,735.63                 0.00                62,514.37
JACOBS                PROV. TR GP-FBO ROBERT JACOBS IRA                   CLASS 5            90,000.00       14,625.00                 0.00                75,375.00
JACOBSEN              DINA & RANDALL JACOBSEN                             CLASS 3            25,000.00          322.93                 0.00                24,677.07
JACOBSON              DAN GREGORY & DEANNA LOUISE JACOBSON                CLASS 3           100,000.00         3,783.33                0.00                96,216.67
JACOBSON              EDWIN L & MARLYS J JACOBSON                         CLASS 3            75,000.00         3,262.50                0.00                71,737.50
JACOBSON              LARRY & MARILYN JACOBSON                            CLASS 3            60,000.00         2,090.00                0.00                57,910.00
JACOBSON              THE NAOMI JACOBSON RT DTD 11/18/15                  CLASS 5           645,000.00      179,120.00                 0.00               465,880.00
JACOBUS               PROV. TR GP-FBO SALLY A JACOBUS IRA                 CLASS 3          232,873.00         9,213.05                 0.00               223,659.95
JACOBY                JACK JACOBY                                         CLASS 3          150,000.00          8,908.34                0.00               141,091.66
JAFFE                 ELIZABETH A & MICHAEL L JAFFE                       CLASS 3           100,000.00         8,974.86                0.00                91,025.14
JAGANNATHAN           JAYANTI JAGANNATHAN                                 CLASS 3            25,000.00         1,936.80                0.00                23,063.20

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
JAH REAL ESTATE       JAH REAL ESTATE LLC                                CLASS 3          100,000.00          3,958.33                0.00                96,041.67
JAHNA                 PENELOPE JAHNA                                     CLASS 3            25,000.00          520.85                 0.00                24,479.15
JAIME                 MAINSTAR-FBO DAN JAIME S2177979                    CLASS 3            25,000.00          304.17                 0.00                24,695.83
JAJA CAPITAL          JAJA CAPITAL LLC                                   CLASS 3            75,000.00        4,837.50                 0.00                70,162.50
JAKOBS                ANGELA & WAYNE JAKOBS                              CLASS 3            25,000.00         1,489.62                0.00                23,510.38
JAKOBS                PROV. TR GP-FBO WAYNE JAKOBS IRA                   CLASS 3            50,000.00          252.78                 0.00                49,747.22
JAN                   LAWRENCE & CAROLYN JAN                             CLASS 3            25,000.00              86.81              0.00                24,913.19
JANDT                 BETTY OR GREG JANDT                                CLASS 3            50,000.00       10,201.45                 0.00                39,798.55
JANIESCH              ADV. IRA SVC-FBO DARLENE JANIESCH IRA              CLASS 3            39,000.00          715.00                 0.00                38,285.00
JANIESCH              PROV. TR GP-FBO JAMES JANIESCH IRA                 CLASS 3          205,000.00        36,878.30                 0.00               168,121.70
JANIESCH              PROV. TR GP-FBO JAMES JANIESCH IRA                 CLASS 5          100,000.00        17,989.41                 0.00                82,010.59
JANOW                 JAN JANOW                                          CLASS 3            98,000.00       12,789.47                 0.00                85,210.53
JANSEN                MAINSTAR-FBO JAMES G JANSEN T2177860               CLASS 3            75,000.00         1,052.08                0.00                73,947.92
JANSSEN               PROV. TR GP-FBO EDWARD JANSSEN IRA                 CLASS 3            35,000.00          449.16                 0.00                34,550.84
JARA GROUP II         JARA GROUP II LLC                                  CLASS 3         1,902,877.00      435,062.21           6,338.48               1,461,476.31
JARA GROUP II         JARA GROUP II LLC                                 CLASS 3*            50,000.00         6,375.00                0.00                43,625.00
JARA GROUP II         JARA GROUP II LLC                                  CLASS 5           100,000.00       22,863.39            333.10                   76,803.51
JARAMILLO             LUIS A JARAMILLO                                   CLASS 3          200,000.00        24,738.88                 0.00               175,261.12
JARAMILLO             VICTOR S JARAMILLO                                 CLASS 3          100,000.00        12,604.17                 0.00                87,395.83
JARDINE/SHIPLEY       REED F JARDINE & SHAROLYN SHIPLEY                  CLASS 3            64,311.00         2,293.79                0.00                62,017.21
JARUS                 JANICE JARUS                                       CLASS 3            50,000.00          583.33                 0.00                49,416.67
JASKO                 PROV. TR GP-FBO JOHN T JASKO IRA                   CLASS 3          107,500.00        11,411.79                 0.00                96,088.21
JAVELOV               PROV. TR GP-FBO MARGO JAVELOV IRA                  CLASS 3          100,000.00          6,961.11                0.00                93,038.89
JBJ FARM              JBJ FARM LLC                                       CLASS 3            75,000.00       14,990.75                 0.00                60,009.25
JDH FINANCIAL         JDH FINANCIAL SERVICES INC                         CLASS 3            60,000.00       15,966.67                 0.00                44,033.33
JEFF THE GEEK         JEFF THE GEEK LLC                                  CLASS 3          100,000.00          3,500.00                0.00                96,500.00
JEFFERSON             MAINSTAR-FBO CASSANDRA JEFFERSON                   CLASS 3            25,000.00         1,241.32                0.00                23,758.68
JEFFREY               RONALD JEFFREY                                     CLASS 3          120,000.00          8,203.33                0.00               111,796.67
JEHLEN                PROV. TR GP-FBO DAVID JEHLEN IRA                   CLASS 3            47,000.00         3,231.25                0.00                43,768.75

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
JEHLEN                PROV. TR GP-FBO FRANCES JEHLEN IRA                  CLASS 3            51,500.00         3,540.63              0.00                47,959.37
JELKE                 RICHARD & ELISABETH JELKE                           CLASS 3          200,000.00         9,688.87               0.00               190,311.13
JENISCH               JUDY M & GERALD L JENISCH                           CLASS 3            25,000.00          541.67               0.00                24,458.33
JENKINS               BUDDY JENKINS                                       CLASS 3          100,000.00         8,616.67               0.00                91,383.33
JENKINS               MAINSTAR-FBO BETTY J JENKINS T2175662               CLASS 3          100,000.00         7,534.01               0.00                92,465.99
JENKINS               MAINSTAR-FBO RICHARD J JENKINS T2175305             CLASS 3          100,000.00          9,044.44              0.00                90,955.56
JENKINS               MARK D JENKINS                                      CLASS 3            50,000.00        9,399.94               0.00                40,600.06
JENKS                 DANIEL A JENKS & LEONIE G ALLAN-JENKS               CLASS 3          150,000.00          8,020.83              0.00               141,979.17
JENKS                 PROV. TR GP-FBO JACK JENKS IRA                      CLASS 3            37,000.00         5,714.56              0.00                31,285.44
JENKS-LATOUR          DEBRA JENKS-LATOUR                                  CLASS 3            30,000.00         4,327.50              0.00                25,672.50
JENNINGS              HORIZON TR CO-FBO PATRICIA M JENNINGS IRA           CLASS 3            50,000.00         5,255.51              0.00                44,744.49
JERVE                 IRA SVCS TR CO-CFBO BRUCE D JERVE IRA               CLASS 5            50,000.00         7,191.02        2,000.00                  40,808.98
JERVE                 JEROME B & DONNA M JERVE JLT                        CLASS 3           110,000.00         8,144.41              0.00               101,855.59
JERVE                 THE BRUCE D & MARLYS JERVE TR                       CLASS 5            50,000.00         7,833.38              0.00                42,166.62
JERZAK                PHILLIP C JERZAK                                    CLASS 3          200,000.00        14,065.24               0.00               185,934.76
JESSMATT              JESSMATT LLC                                        CLASS 3          100,000.00        13,228.54               0.00                86,771.46
JESSMATT              JESSMATT LLC                                        CLASS 5          250,000.00        33,071.36               0.00               216,928.64
JESUALE               DAVID L JESUALE FT                                  CLASS 3           305,000.00         1,985.34              0.00               303,014.66
JEVREMOV              THE JEVREMOV FT DTD 11/06/99                        CLASS 3            25,000.00         1,491.66              0.00                23,508.34
JGW                   JGW TR                                              CLASS 5            50,000.00        5,305.60               0.00                44,694.40
JILEK                 DANIEL G JILEK                                      CLASS 5          200,000.00        19,319.52               0.00               180,680.48
JILEK                 GEORGE D JILEK                                      CLASS 5            75,000.00         6,774.33              0.00                68,225.67
JINGUJI               MAINSTAR-FBO MEGHAN H JINGUJI R2177711              CLASS 3            18,300.00          189.10               0.00                18,110.90
JINGUJI               MAINSTAR-FBO TAD K JINGUJI R2177712                 CLASS 3            40,500.00          607.50               0.00                39,892.50
JJCC                  PROV. TR GP-FBO JJCC INC RET PLN 160501071          CLASS 3          195,000.00        26,108.33               0.00               168,891.67
JOACHIM               IRIS M JOACHIM TR                                   CLASS 3            30,000.00         2,200.00              0.00                27,800.00
JODHPURKAR            JEETENDRA & MADHAVI JODHPURKAR                      CLASS 3            25,000.00         4,762.58              0.00                20,237.42
JOE                   HORIZON TR CO-FBO ARNOLD D JOE TRAD IRA             CLASS 3            49,400.00          576.34               0.00                48,823.66
JOHANNSEN             ROGER & EDNA MAE JOHANNSEN RT                       CLASS 3            25,000.00         2,131.19              0.00                22,868.81

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
JOHANSEN              PROV. TR GP-FBO ERIC E JOHANSEN IRA                CLASS 3           301,000.00         8,369.47              0.00               292,630.53
JOHNNY LONGBOATS      JOHNNY LONGBOATS INC                               CLASS 3           100,000.00         8,490.28              0.00                91,509.72
JOHNSON               ARLENE & MICHAEL JOHNSON                           CLASS 3           150,000.00       22,331.58               0.00               127,668.42
JOHNSON               EILEEN G JOHNSON                                   CLASS 3            50,000.00         4,262.56              0.00                45,737.44
JOHNSON               GEORGE M JOHNSON                                   CLASS 3          125,000.00          1,536.46              0.00               123,463.54
JOHNSON               ISAAC JOHNSON JR                                   CLASS 5          100,000.00        33,805.46               0.00                66,194.54
JOHNSON               JAMES E JOHNSON LT                                 CLASS 3           135,000.00       12,216.16               0.00               122,783.84
JOHNSON               JAMES JOHNSON                                      CLASS 3         1,000,000.00       94,570.36               0.00               905,429.64
JOHNSON               JULIE JOHNSON                                      CLASS 3            50,000.00         7,725.00              0.00                42,275.00
JOHNSON               KEITH JOHNSON                                      CLASS 3            60,000.00          210.00               0.00                59,790.00
JOHNSON               KENNETH H & MARY L JOHNSON                         CLASS 3           112,000.00         9,778.18              0.00               102,221.82
JOHNSON               KENT N JOHNSON                                     CLASS 3          150,000.00        20,038.51               0.00               129,961.49
JOHNSON               KENT N JOHNSON                                     CLASS 5          100,000.00        13,359.01               0.00                86,640.99
JOHNSON               MAINSTAR-FBO BARBARA A JOHNSON                     CLASS 3           104,000.00         5,952.55              0.00                98,047.45
JOHNSON               MAINSTAR-FBO JANET JOHNSON RW003506                CLASS 3            52,211.57         3,492.82              0.00                48,718.75
JOHNSON               MAINSTAR-FBO KENNETH H JOHNSON                     CLASS 3            25,966.15         1,974.15              0.00                23,992.00
JOHNSON               MAINSTAR-FBO LINDA JOHNSON TW003399                CLASS 3           150,000.00       13,604.16               0.00               136,395.84
JOHNSON               MAINSTAR-FBO MARY L JOHNSON                        CLASS 3            24,003.21         1,824.92              0.00                22,178.29
JOHNSON               MAINSTAR-FBO RICHARD JOHNSON RW003507              CLASS 3            79,713.56         5,319.96              0.00                74,393.60
JOHNSON               MARILYN JOHNSON                                    CLASS 3          220,000.00        20,631.16               0.00               199,368.84
JOHNSON               MITCHELL W & VICTORIA M JOHNSON                    CLASS 3           100,000.00         4,225.71              0.00                95,774.29
JOHNSON               PROV. TR GP-FBO ALVIN F JOHNSON IRA                CLASS 3           150,000.00       32,112.84               0.00               117,887.16
JOHNSON               PROV. TR GP-FBO GILBERT R JOHNSON IRA              CLASS 3            97,004.94         9,282.83              0.00                87,722.11
JOHNSON               PROV. TR GP-FBO MITCHELL JOHNSON ROTH IRA          CLASS 3            38,956.00         1,778.99              0.00                37,177.01
JOHNSON               PROV. TR GP-FBO PATRICIA JOHNSON IRA               CLASS 3            25,000.00          663.19               0.00                24,336.81
JOHNSON               PROV. TR GP-FBO ROGER D JOHNSON IRA                CLASS 3           500,000.00       38,680.56               0.00               461,319.44
JOHNSON               RICHARD E JOHNSON SR                               CLASS 3          150,000.00        13,700.00               0.00               136,300.00
JOHNSON               SUE B JOHNSON                                      CLASS 5          200,000.00        67,055.32               0.00               132,944.68
JOHNSON               SUNWEST TR WANDA D JOHNSON INH IRA                 CLASS 3           112,000.00       16,912.00               0.00                95,088.00

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
JOHNSON               TRAVIS JOHNSON                                      CLASS 5          100,000.00          8,094.41                0.00                91,905.59
JOHNSON               WALLACE D & BARBARA A JOHNSON                       CLASS 3           100,000.00         9,525.00                0.00                90,475.00
JOHNSTON              DEBRA & DEAN JOHNSTON                               CLASS 3            25,000.00         1,498.65                0.00                23,501.35
JOHNSTON              HEATHER JOHNSTON                                    CLASS 3          125,000.00          1,509.69                0.00               123,490.31
JOHNSTON              THE VICTOR D JOHNSTON SPENDTHRIFT TR                CLASS 3            97,000.00               0.00              0.00                97,000.00
JOHNSTON              VICTOR D JOHNSTON LIFE INSURANCE TR                 CLASS 3           116,000.00               0.00              0.00               116,000.00
JOLLEY                MAINSTAR-FBO MICHAEL T JOLLEY T2177094              CLASS 3            66,450.00         2,185.47                0.00                64,264.53
JOLLEY                MAINSTAR-FBO SUSAN JOLLEY                           CLASS 3            62,650.00         8,912.00                0.00                53,738.00
JONES                 BRAD JONES                                          CLASS 3            40,000.00          811.12           9,000.00                  30,188.88
JONES                 ETHEL M JONES                                       CLASS 3            50,000.00        1,034.71                 0.00                48,965.29
JONES                 FLOYD JONES                                         CLASS 3          250,000.00        26,236.07                 0.00               223,763.93
JONES                 JAMES A JONES                                       CLASS 5          100,000.00        13,527.72                 0.00                86,472.28
JONES                 MAINSTAR-FBO COLLEEN JONES TW004096                 CLASS 3          203,000.00         3,157.78                 0.00               199,842.22
JONES                 MAINSTAR-FBO GLEN JONES T2175822                    CLASS 3            31,504.00        1,798.36                 0.00                29,705.64
JONES                 MAINSTAR-FBO LUCRICIA PAT JONES T2175821            CLASS 3            35,300.77        2,015.09                 0.00                33,285.68
JONES                 MAINSTAR-FBO MICHAIL R JONES TW003723               CLASS 3            40,000.00         2,195.55                0.00                37,804.45
JONES                 MAINSTAR-FBO ROBERT JONES TW004097                  CLASS 3          147,000.00          4,402.22                0.00               142,597.78
JONES                 MAINSTAR-FBO WILLIE A JONES T2178204                CLASS 3            26,000.00              70.78              0.00                25,929.22
JONES                 MAINSTAR-FBO WILLIE L JONES JR T2178239             CLASS 3            95,000.00          950.00                 0.00                94,050.00
JONES                 PAUL JONES                                          CLASS 3            25,000.00          559.04                 0.00                24,440.96
JONES                 PAULENIA A JONES                                    CLASS 3          115,000.00         5,686.15                 0.00               109,313.85
JONES                 PROV. TR GP-FBO DWAUNE B JONES IRA                  CLASS 3           100,000.00         3,822.22                0.00                96,177.78
JONES                 PROV. TR GP-FBO GERRY B JONES IRA                   CLASS 5            60,000.00       15,133.33                 0.00                44,866.67
JONES                 ROBERT B JONES                                      CLASS 3          100,000.00          1,527.79                0.00                98,472.21
JONES                 ROY DONALD & MARTHA L JONES                         CLASS 3           100,000.00         2,864.57                0.00                97,135.43
JONES                 RUBY HALL JONES                                     CLASS 5            50,000.00       18,958.50                 0.00                31,041.50
JONES                 SAUNDRA SUE JONES                                   CLASS 3            60,000.00       15,612.47                 0.00                44,387.53
JONES                 STEVEN S JONES                                      CLASS 3          100,000.00        15,516.67                 0.00                84,483.33
JONES                 SUNWEST TR JEFFREY M JONES IRA                      CLASS 3            60,000.00         5,946.49                0.00                54,053.51

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
JONES                 T J JONES                                           CLASS 5            50,000.00       22,152.96                0.00                27,847.04
JONES                 TERESA JONES                                        CLASS 3          100,000.00         3,847.16                0.00                96,152.84
JONES                 THE JONES TR UDT DTD 06/02/90                       CLASS 5            75,000.00       14,581.25                0.00                60,418.75
JONES                 THOMAS A & MARY K JONES                             CLASS 3            80,000.00         7,406.73               0.00                72,593.27
JORDAN                CONSTANCE F JORDAN RT UAD 10/16/17                  CLASS 3            30,000.00         3,710.00               0.00                26,290.00
JORDAN                CURTIS JORDAN                                       CLASS 3            60,000.00         4,660.00               0.00                55,340.00
JORDAN                GERALD W & LYNNE M JORDAN                           CLASS 3            25,000.00         2,358.33               0.00                22,641.67
JORDAN                MAINSTAR-FBO JAMES JORDAN                           CLASS 3            30,000.00         1,830.00               0.00                28,170.00
JORDAN                MAINSTAR-FBO PATRICIA JORDAN T2178156               CLASS 3            28,500.00          297.78                0.00                28,202.22
JORDAN                PROV. TR GP-FBO CONSTANCE JORDAN IRA                CLASS 3           168,214.00       15,521.39                0.00               152,692.61
JORDAN                PROV. TR GP-FBO FREDDIE N JORDAN IRA                CLASS 3            73,609.00       12,551.85                0.00                61,057.15
JORGENSON             BRUCE JORGENSON                                     CLASS 5          400,000.00        39,583.40                0.00               360,416.60
JORGENSON             VICKIE JORGENSON                                    CLASS 3            90,000.00       15,148.61                0.00                74,851.39
JOSE                  DAVID JOSE                                          CLASS 3            90,000.00         5,596.25               0.00                84,403.75
JOSE                  MAINSTAR-FBO DAVID JOSE                             CLASS 3           106,360.30         6,288.55               0.00               100,071.75
JOSEPH                HOWARD & BONNIE JOSEPH                              CLASS 3           100,000.00              0.00              0.00               100,000.00
JOSHUA                JOSHUA A JOSHUA                                     CLASS 3           225,000.00       12,635.36                0.00               212,364.64
JOSHUA                LINDA H JOSHUA                                      CLASS 3           100,000.00         8,438.84               0.00                91,561.16
JOSHUA                MAINSTAR-FBO MELANIE S JOSHUA T2176847              CLASS 3           213,415.06         7,314.11               0.00               206,100.95
JOSHUA                MELANIE SULHA JOSHUA                                CLASS 3          200,000.00        14,155.60                0.00               185,844.40
JOURDAIN              MAINSTAR-FBO DWIGHT JOURDAIN SR T2175249            CLASS 3           154,000.00       11,669.76                0.00               142,330.24
JOY                   RONALD E JOY                                        CLASS 5          200,000.00        48,027.59                0.00               151,972.41
JOYCE                 ELAINE JOYCE                                        CLASS 3            75,000.00         8,214.62               0.00                66,785.38
JOYCE                 ELAINE JOYCE                                        CLASS 5            50,000.00         5,476.42               0.00                44,523.58
JOYNER                PROV. TR GP-FBO CRAIG JOYNER IRA                    CLASS 3            80,000.00         1,613.33               0.00                78,386.67
JUANILLO-DAHL         PROV. TR GP-FBO ERLINDA JUANILLO-DAHL IRA           CLASS 3           100,000.00         1,916.67               0.00                98,083.33
JUE                   WILLIAM & ELIZABETH JUE                             CLASS 3          100,000.00         3,353.79                0.00                96,646.21
JULIAN                DIANA C JULIAN                                      CLASS 3            50,000.00        3,225.00                0.00                46,775.00
JUNG                  ERNA M JUNG SURVIVORS TR DTD 07/26/96               CLASS 3           150,000.00         1,137.50               0.00               148,862.50

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
JUNK                  MARY LEE JUNK                                      CLASS 3            60,000.00        2,875.00                0.00                57,125.00
JURICEK               MICHAEL J & CHARLENE J JURICEK                     CLASS 3            70,000.00         1,205.56               0.00                68,794.44
JURNEY                PAULINE JURNEY                                     CLASS 3            50,000.00        4,583.40                0.00                45,416.60
JUTTE                 PROV. TR GP-FBO JAMES L JUTTE IRA                  CLASS 3            25,000.00        1,695.83                0.00                23,304.17
JUTTE                 PROV. TR GP-FBO RONALD J JUTTE IRA                 CLASS 3           255,000.00       48,916.79                0.00               206,083.21
KADILE                HERMENEGILDO M MD & ASUNCION M KADILE              CLASS 3            60,000.00         9,944.00               0.00                50,056.00
KAFFENBERGER          THE KAFFENBERGER FLT DTD 08/19/16                  CLASS 5           250,000.00       48,138.81                0.00               201,861.19
KAGGERUD              SUNWEST TR WILLIAM KAGGERUD IRA                    CLASS 3            66,000.00       16,016.00                0.00                49,984.00
KAGGERUD              WILLIAM KAGGERUD                                   CLASS 3            70,000.00       13,850.06                0.00                56,149.94
KAHLE                 PROV. TR GP-FBO ALLISON KAHLE IRA                  CLASS 3            33,209.00         2,147.52               0.00                31,061.48
KAHN                  ETHEL KAHN                                         CLASS 3          100,000.00        12,199.91                0.00                87,800.09
KAINAYA               RITA KAINAYA                                       CLASS 3            50,000.00          894.11                0.00                49,105.89
KAISER                BRAD L & MARIA L KAISER                            CLASS 3          350,000.00        49,204.25                0.00               300,795.75
KAISER                DAVID & JANEEN KAISER                              CLASS 3            50,000.00        3,772.26                0.00                46,227.74
KAISER                PROV. TR GP-FBO DAVID L KAISER ROTH IRA            CLASS 3            69,900.00         9,883.13               0.00                60,016.87
KAISER                PROV. TR GP-FBO JANEEN KAISER IRA                  CLASS 5            50,000.00         5,097.22               0.00                44,902.78
KALAFARSKI/PARSONS    LOIS A KALAFARSKI & LINDA B PARSONS                CLASS 3            25,000.00              0.00              0.00                25,000.00
KALECHSTEIN           LISA KALECHSTEIN                                   CLASS 3            20,000.00          361.68                0.00                19,638.32
KAMIN                 KAMIN FT UTD 04/10/98                              CLASS 3            80,000.00        5,566.66                0.00                74,433.34
KAMMES                ROBERT E KAMMES                                    CLASS 3            25,000.00        1,651.04                0.00                23,348.96
KAMPMAN               ROGER KAMPMAN                                      CLASS 3          130,000.00         8,927.00                0.00               121,073.00
KANE                  MAINSTAR-FBO MICHAEL KANE                          CLASS 3           403,000.00       25,619.16                0.00               377,380.84
KANOWSKI              PROV. TR GP-FBO PATRICIA M KANOWSKI IRA            CLASS 3          100,000.00        13,363.31                0.00                86,636.69
KAPADIA               MANJULA KAPADIA                                    CLASS 3          150,000.00         3,609.38                0.00               146,390.62
KAPLAN                ADELE KAPLAN                                       CLASS 3            50,000.00         4,083.33               0.00                45,916.67
KAPLAN                EDWARD S KAPLAN R/A RTA DTD 11/19/15               CLASS 3            50,000.00         2,250.00               0.00                47,750.00
KAPLAN                EDWARD S KAPLAN RTA DTD 08/02/04                   CLASS 3            50,000.00         9,511.04               0.00                40,488.96
KAPLAN                RICHARD D KAPLAN                                   CLASS 3          425,000.00        11,856.25                0.00               413,143.75
KAPLAN                ROBERT KAPLAN                                      CLASS 3          200,000.00        10,222.23                0.00               189,777.77

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
KAPLAN                SUSAN R KAPLAN                                    CLASS 3         1,000,000.00       19,886.79               0.00               980,113.21
KAPLAN                TATYANA KAPLAN                                    CLASS 3            25,000.00         1,180.18              0.00                23,819.82
KAPLANIS              PROV. TR GP-FBO PAUL T KAPLANIS IRA               CLASS 5            75,000.00       22,154.17               0.00                52,845.83
KARAS                 MARY L KARAS LT                                   CLASS 3            50,000.00         3,377.74              0.00                46,622.26
KARLOW                MARTIN P KARLOW                                   CLASS 3          100,000.00        27,340.59               0.00                72,659.41
KARLOW                MARTIN P KARLOW                                   CLASS 5          400,000.00       109,362.34               0.00               290,637.66
KARLOW                PROV. TR GP-FBO MARTIN P KARLOW IRA               CLASS 3           286,076.00       40,936.56               0.00               245,139.44
KARNEGIE              VIVIAN B & BENJAMIN G KARNEGIE                    CLASS 3           100,000.00          416.67               0.00                99,583.33
KARNEGIE/SCHNEIDER    BENJAMIN G KARNEGIE & VIVIAN B SCHNEIDER          CLASS 3           100,000.00         5,316.67              0.00                94,683.33
KARPINSKI             MICHAL KARPINSKI                                  CLASS 3           130,000.00       18,982.67               0.00               111,017.33
KARPOV                ALEXANDRE KARPOV                                  CLASS 5            50,000.00       15,027.90               0.00                34,972.10
KASHYAP               KASHYAP LT DTD 05/16/08                           CLASS 3            50,000.00         2,726.36              0.00                47,273.64
KASTNING              FREDERICK KASTNING                                CLASS 3            50,000.00         9,833.39              0.00                40,166.61
KAT AUTOMOTIVE        KAT AUTOMOTIVE LEASING CORP                       CLASS 3            55,000.00         2,443.88              0.00                52,556.12
KATUSHA               KATHY KATUSHA                                     CLASS 3           105,000.00         8,642.26              0.00                96,357.74
KATZ                  JUDITH KATZ                                       CLASS 3            25,000.00         1,662.50              0.00                23,337.50
KATZ                  MARSHA KATZ                                       CLASS 3            50,000.00         6,819.03              0.00                43,180.97
KATZ                  MARSHA KATZ                                       CLASS 5           200,000.00       27,276.12               0.00               172,723.88
KATZ                  MARVIN A & JOAN L KATZ RLT                        CLASS 3            25,000.00         2,029.17              0.00                22,970.83
KATZ                  STEPHEN KATZ #30-99446601411                      CLASS 5          275,000.00        36,041.72               0.00               238,958.28
KATZ                  STEVE KATZ                                        CLASS 3          100,000.00          2,202.79              0.00                97,797.21
KATZ                  YORAM KATZ                                        CLASS 3            85,000.00          212.50               0.00                84,787.50
KAUFMAN               DAVID KAUFMAN                                     CLASS 5           100,000.00         4,556.94        1,000.00                  94,443.06
KAUFMAN               DELBERT L KAUFMAN                                 CLASS 3            90,000.00       20,387.70               0.00                69,612.30
KAUFMAN               DELBERT L KAUFMAN                                CLASS 3*            30,000.00          125.00               0.00                29,875.00
KAUFMAN               JONATHAN KAUFMAN                                  CLASS 3           195,000.00       26,595.86               0.00               168,404.14
KAUFMAN               SARAH KAUFMAN RLT                                 CLASS 3           100,000.00       14,999.94               0.00                85,000.06
KAUFMAN               SARAH KAUFMAN RT                                  CLASS 5         1,250,000.00      466,588.53               0.00               783,411.47
KAUFMAN               THE KAUFMAN FT DTD 02/10/12                       CLASS 3           150,000.00         9,958.34              0.00               140,041.66

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
KAUP                  GERALD M & LORRAINE M KAUP                         CLASS 3            60,000.00       17,709.97                 0.00                42,290.03
KAYF                  KAYF FT DTD 10/12/11                               CLASS 3            50,000.00         3,361.06                0.00                46,638.94
KAZEL                 IRA SVCS TR CO-CFBO DAVID KAZEL                    CLASS 5           150,000.00         3,333.33                0.00               146,666.67
KAZEMINY              ASSAD JOHN KAZEMINY                                CLASS 3            50,000.00          433.33                 0.00                49,566.67
KEAN                  MAINSTAR-FBO DAVID K KEAN TW003961                 CLASS 5            50,000.00         2,141.66                0.00                47,858.34
KEARNEY               MAINSTAR-FBO JAMES KEARNEY T2178109                CLASS 3          122,221.57          1,408.94                0.00               120,812.63
KEEFER                BART & COLLEEN KEEFER FT                           CLASS 3            60,000.00         6,398.75                0.00                53,601.25
KEEFER                IRA SVCS TR CO-CFBO BART B KEEFER IRA              CLASS 3           175,000.00       11,200.00                 0.00               163,800.00
KEEFER                MARIE KEEFER                                       CLASS 3            25,000.00          440.99                 0.00                24,559.01
KEEHNAST              KIRK & CAROL KEEHNAST                              CLASS 3            40,000.00       10,015.63                 0.00                29,984.37
KEELAN                IRA SVCS TR CO-CFBO ANN KEELAN IRA                 CLASS 3           291,000.00       10,444.39                 0.00               280,555.61
KEENE                 LOUISE D KEENE TTEE F/T WJ & LK KEENE TR           CLASS 3           242,000.00       16,007.42                 0.00               225,992.58
KEENE                 LOUISE D KEENE TTEE OF THE B T/U KEENE TR          CLASS 3           137,000.00       10,046.63                 0.00               126,953.37
KEEPFER               ERNEST KEEPFER                                     CLASS 3            50,000.00         3,146.55                0.00                46,853.45
KEIGHER               TALI KEIGHER                                       CLASS 3            25,000.00          425.00                 0.00                24,575.00
KEITH                 JOHN KEITH                                         CLASS 3            50,000.00         7,014.54                0.00                42,985.46
KEITH                 MYONG C KEITH                                      CLASS 3            30,000.00         3,116.25                0.00                26,883.75
KEITH                 PROV. TR GP-FBO JOHN C KEITH IRA                   CLASS 3           575,000.00      111,108.42                 0.00               463,891.58
KEITH G               KEITH G LLC                                        CLASS 3          100,000.00           755.56                 0.00                99,244.44
KELEPECZ              DOLLY KELEPECZ                                     CLASS 3            75,000.00         1,429.17                0.00                73,570.83
KELLAM                JOAN E KELLAM                                      CLASS 3          200,000.00          7,472.28                0.00               192,527.72
KELLER                BRAD A & CYNTHIA F KELLER                          CLASS 3            25,000.00              97.22              0.00                24,902.78
KELLER                DOUGLAS D KELLER 08/23/84 TR                       CLASS 3           120,000.00         1,435.00                0.00               118,565.00
KELLER                KATHLEEN KELLER                                    CLASS 3            25,000.00         2,234.31                0.00                22,765.69
KELLER                KAY M KELLER                                       CLASS 3            30,000.00          233.33                 0.00                29,766.67
KELLER                MAINSTAR-FBO BRAD A KELLER T2178484                CLASS 3           267,481.28          208.04                 0.00               267,273.24
KELLER                MARIANNE KELLER                                    CLASS 3           300,000.00       19,825.00                 0.00               280,175.00
KELLER                PROV. TR GP-FBO ROBERT D KELLER IRA                CLASS 3           124,750.00       20,472.86                 0.00               104,277.14
KELLER                RONALD E & CAROLYN J KELLER                        CLASS 3            25,000.00         9,521.47           200.00                   15,278.53

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
KELLER                RONALD E & CAROLYN J KELLER                        CLASS 5           100,000.00       38,085.90          800.00                   61,114.10
KELLER                S&R KELLER FT                                      CLASS 3          140,000.00          3,986.09              0.00               136,013.91
KELLERSBERGER         KENT & BEVERLY KELLERSBERGER                       CLASS 3            25,000.00          375.01               0.00                24,624.99
KELLERSBERGER         KENT KELLERSBERGER                                 CLASS 3            25,000.00          802.11               0.00                24,197.89
KELLERSBERGER         MAINSTAR-FBO KENT KELLERSBERGER T2177589           CLASS 3            73,024.01         1,054.79              0.00                71,969.22
KELLEY                DAVID KELLEY TR DTD 07/16/13                       CLASS 3          210,000.00        30,754.38               0.00               179,245.62
KELLEY                ELIZABETH KELLEY                                   CLASS 3            35,000.00        5,363.75               0.00                29,636.25
KELLEY                MAINSTAR-FBO JACQUELYN KELLEY T2176953             CLASS 3          128,826.00          3,714.48              0.00               125,111.52
KELLEY                MICHAEL KELLEY                                     CLASS 3            25,000.00         3,831.25        1,000.00                  20,168.75
KELLEY                MICHELE KELLEY                                     CLASS 3            30,000.00        4,140.00               0.00                25,860.00
KELLEY-WINDERS        ANNA FAYE KELLEY-WINDERS                           CLASS 3            40,000.00         7,937.77              0.00                32,062.23
KELLEY-WINDERS        PROV. TR GP-FBO ANNA F KELLEY-WINDERS IRA          CLASS 5           149,000.00       38,781.39               0.00               110,218.61
KELLY                 GERALD & ELIZABETH KELLY                           CLASS 3          250,000.00        14,950.00               0.00               235,050.00
KELLY                 GROVER O & WILMA J KELLY LT                        CLASS 3          100,000.00        14,136.82               0.00                85,863.18
KELLY                 JOHN K & SHEILA A KELLY                            CLASS 5            60,000.00       27,146.85               0.00                32,853.15
KELLY                 LIONEL KELLY                                       CLASS 3            80,000.00        5,739.98               0.00                74,260.02
KELLY                 LORRAINE & WAYNE KELLY                             CLASS 3            25,000.00          118.06               0.00                24,881.94
KELLY                 PROV. TR GP-FBO JAMES A KELLY IRA                  CLASS 3            25,000.00         1,967.02              0.00                23,032.98
KELLY                 PROV. TR GP-FBO JOHN K KELLY IRA                   CLASS 3          249,500.00        51,376.33               0.00               198,123.67
KELLY                 PROV. TR GP-FBO SHARON P KELLY IRA                 CLASS 3           125,000.00       13,252.89               0.00               111,747.11
KELLY                 PROV. TR GP-FBO SHEILA S KELLY IRA                 CLASS 3           201,286.52       19,021.57               0.00               182,264.95
KELLY                 ROSEMARY KELLY                                     CLASS 3          250,000.00          3,308.33              0.00               246,691.67
KELSEY                JACQUE W & DONNA M KELSEY                          CLASS 3           150,000.00         6,378.46              0.00               143,621.54
KEMP                  CAROLE C KEMP                                      CLASS 3          125,000.00          6,093.71              0.00               118,906.29
KEMP                  PROV. TR GP-FBO DAVID A KEMP IRA                   CLASS 3           256,255.00         5,922.87              0.00               250,332.13
KEMPE                 DELAINE KEMPE RT DTD 01/04/12                      CLASS 3          150,000.00        18,777.70               0.00               131,222.30
KENADY                ALISON J KENADY                                    CLASS 3          100,000.00        11,361.01          422.54                   88,216.45
KENADY                JASON KENADY                                       CLASS 5          100,000.00        15,811.70          422.54                   83,765.76
KENDALL               INGE KENDALL                                       CLASS 3          500,000.00           347.22               0.00               499,652.78

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
KENDALL               ROBERT J KENDALL                                  CLASS 3           500,000.00       30,601.98                0.00               469,398.02
KENNA                 KAREN KENNA                                       CLASS 3          260,000.00        36,360.00                0.00               223,640.00
KENNAIR               ANNA KENNAIR                                      CLASS 3          100,000.00        22,450.00                0.00                77,550.00
KENNAIR               BARBARA KENNAIR                                   CLASS 3            75,000.00       11,612.50                0.00                63,387.50
KENNEDY               HORIZON TR CO-FBO PAUL C KENNEDY IRA              CLASS 3            78,283.54         9,011.30               0.00                69,272.24
KENNEDY               JACK I JR & MARNA G KENNEDY                       CLASS 3            50,000.00         2,735.38               0.00                47,264.62
KENNEDY               JOHN KENNEDY                                      CLASS 3            50,000.00          534.72                0.00                49,465.28
KENNEDY               MAINSTAR-FBO BRIAN KENNEDY                        CLASS 3            79,736.36         4,914.86         2,000.00                  72,821.50
KENNEDY               PROV. TR GP-FBO JOAN E KENNEDY IRA                CLASS 3            55,000.00       12,411.10                0.00                42,588.90
KENNEY-PICKARD        PROV. TR GP-FBO C KENNEY-PICKARD IRA              CLASS 3            72,000.00          250.00                0.00                71,750.00
KENT                  PHILIP & KAY KENT                                 CLASS 3            38,034.59         4,718.57               0.00                33,316.02
KENT                  PROV. TR GP-FBO PHILIP KENT IRA                   CLASS 3            58,342.88         9,703.52               0.00                48,639.36
KEOGH                 ADELE F KEOGH FT                                  CLASS 3            25,000.00         2,327.54               0.00                22,672.46
KEOGH                 JOHN & ADELE KEOGH FT DTD 09/22/88                CLASS 3            25,000.00         1,218.37               0.00                23,781.63
KEOWN                 WILMA KEOWN                                       CLASS 3          192,854.78               0.00              0.00               192,854.78
KEPLER                PROV. TR GP-FBO LEAH F KEPLER IRA                 CLASS 3            41,980.00         4,820.70               0.00                37,159.30
KEREN YESOMIM         KEREN YESOMIM INC                                 CLASS 3            50,000.00         3,000.00               0.00                47,000.00
KERNIER/NEBUS         HELENA KERNIER & LINDA NEBUS                      CLASS 5           150,000.00       68,082.05                0.00                81,917.95
KERSTING              HORIZON TR CO-FBO MARK KERSTING IRA               CLASS 3            54,900.00         8,474.94               0.00                46,425.06
KERSTING              HORIZON TR CO-FBO MARK KERSTING IRA               CLASS 5           360,000.00       55,573.41                0.00               304,426.59
KERSTING              THE DIANNE KERSTING LT 02/03/00                   CLASS 5            50,000.00         9,125.07               0.00                40,874.93
KERSTING              THE MARK KERSTING LT 02/03/00                     CLASS 5            50,000.00         9,125.07               0.00                40,874.93
KESLING               PROV. TR GP-FBO JACKWAYS D KESLING INH IRA        CLASS 3         1,134,500.00      259,714.23                0.00               874,785.77
KESSEL                KURT KESSEL                                       CLASS 3            25,000.00         7,294.66               0.00                17,705.34
KESSLER               LORETTA & SYDNEY KESSLER                          CLASS 3            75,000.00          862.50                0.00                74,137.50
KESSLER               MAINSTAR-FBO STEPHEN J KESSLER                    CLASS 3            50,000.00         2,268.75               0.00                47,731.25
KESTER                THE JAMES & RHONDA KESTER LT DTD 12/15/03         CLASS 3           100,000.00       10,418.70                0.00                89,581.30
KESZLER               KESZLER FT                                        CLASS 3          100,000.00          4,550.00               0.00                95,450.00
KETCHAM               THE KETCHAM LT DTD 04/16/13                       CLASS 3            70,000.00         4,095.00               0.00                65,905.00

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
KETCHESON             ROGER & LINDA KETCHESON                             CLASS 3           100,000.00         3,400.00               0.00                96,600.00
KEYSER                ARLENE J KEYSER                                     CLASS 3          225,000.00        16,362.50                0.00               208,637.50
KEYSER                SHIRLEY M KEYSER                                    CLASS 3            25,000.00              0.00              0.00                25,000.00
KHAN                  MARIAMA R KHAN LT                                   CLASS 3            51,000.00         1,810.50               0.00                49,189.50
KICHERER              PROV. TR GP-FBO NANCY E KICHERER IRA                CLASS 3           606,900.00         9,353.50               0.00               597,546.50
KIHNEL                DANIEL P KIHNEL                                     CLASS 3            50,000.00       10,895.91                0.00                39,104.09
KILE                  JACK L & ROSE ANN KILE                              CLASS 3           225,000.00         2,850.00               0.00               222,150.00
KILLENS               THOMAS W KILLENS                                    CLASS 3            25,000.00          135.42                0.00                24,864.58
KIM                   PROV. TR GP-FBO DANNY KIM IRA                       CLASS 3           250,000.00         4,208.33               0.00               245,791.67
KIMBER                KATHRYN BEATRICE KIMBER                             CLASS 3            30,000.00         1,300.00               0.00                28,700.00
KINARD                PROV. TR GP-FBO JOHN KINARD IRA                     CLASS 5           174,000.00       42,982.22                0.00               131,017.78
KING                  BRUCE E & LINDA K KING                              CLASS 3           250,000.00         5,291.67               0.00               244,708.33
KING                  CAROL R KING                                        CLASS 3            47,000.00        1,024.84                0.00                45,975.16
KING                  DONNIE R & PAMELA P KING                            CLASS 3            25,000.00          625.00                0.00                24,375.00
KING                  EDWARD M & LUCY L KING                              CLASS 3            60,000.00         4,390.00               0.00                55,610.00
KING                  JOEL H & BARBARA KING                               CLASS 3            25,000.00          375.00                0.00                24,625.00
KING                  KENNETH KING                                        CLASS 3            50,000.00         6,861.00               0.00                43,139.00
KING                  LINDA KING                                          CLASS 3            25,000.00        1,153.44                0.00                23,846.56
KING                  MAINSTAR-FBO JOEL H KING T2178455                   CLASS 3          275,000.00           740.28                0.00               274,259.72
KING                  MAINSTAR-FBO JOHN KING                              CLASS 3            36,000.00         1,782.00               0.00                34,218.00
KING                  MAVIS L J KING                                      CLASS 3            25,000.00        1,264.20                0.00                23,735.80
KING                  PROV. TR GP-FBO LARRY A KING IRA                    CLASS 3            44,000.00         5,706.30               0.00                38,293.70
KING                  PROV. TR GP-FBO LINDA KING IRA                      CLASS 3            31,325.39         2,210.15               0.00                29,115.24
KING                  PROV. TR GP-FBO MARY C KING IRA                     CLASS 3            43,500.00         7,086.87               0.00                36,413.13
KING                  WILLIAM B KING                                      CLASS 3          240,000.00        24,857.49                0.00               215,142.51
KING/DORFMAN          LINDA KING & HOWARD DORFMAN                         CLASS 3           130,000.00         5,574.72               0.00               124,425.28
KINGREN               ANGELA KINGREN                                      CLASS 3            50,000.00         4,763.94               0.00                45,236.06
KINKEAD               JOSEPH C & VETA M KINKEAD                           CLASS 3            26,000.00          534.63                0.00                25,465.37
KINLEY                JUDY KINLEY                                         CLASS 3            25,000.00              0.00              0.00                25,000.00

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
KINZER                KEVIN KINZER                                        CLASS 3            33,500.00          384.32               0.00                33,115.68
KIPNIS                RONALD M KIPNIS                                     CLASS 3            50,000.00         5,289.52              0.00                44,710.48
KIRCHMAN              ROBERT J & PAMELA N KIRCHMAN                        CLASS 3            75,000.00         2,069.96              0.00                72,930.04
KIRK                  CARL E KIRK                                         CLASS 3          100,000.00         7,333.39               0.00                92,666.61
KIRK                  RICHARD D KIRK RLT                                  CLASS 3            50,000.00         3,202.05              0.00                46,797.95
KIRK                  SHARON WOLK KIRK RLT                                CLASS 3            75,000.00         4,551.34              0.00                70,448.66
KIRKBRIDE             DAN R & LYNN T KIRKBRIDE                            CLASS 3           375,000.00       70,184.20         8,808.01                 296,007.79
KIRKBRIDE             JON H KIRKBRIDE                                     CLASS 3          200,000.00        33,290.15               0.00               166,709.85
KIRKENDALL            JAMES G & LINDA L KIRKENDALL                        CLASS 3           100,000.00         7,351.20              0.00                92,648.80
KIRKENDALL            JOSEPH & ROSEMARY KIRKENDALL                        CLASS 3            25,000.00         1,274.35              0.00                23,725.65
KIRKLAND              IRA SVCS TR CO-CFBO WILLIAM KIRKLAND IRA            CLASS 5           250,000.00       45,391.36               0.00               204,608.64
KIRKLAND              WILLIAM J KIRKLAND                                  CLASS 5          100,000.00        15,401.55               0.00                84,598.45
KIRKPATRICK           KEITH KIRKPATRICK                                   CLASS 3            25,000.00         3,677.57              0.00                21,322.43
KIRN                  DOUGLAS J KIRN                                      CLASS 3          100,000.00        14,583.33               0.00                85,416.67
KIRRIE                CHRISTOPHER N KIRRIE                                CLASS 3          400,000.00          6,833.37              0.00               393,166.63
KIRSCH                MAINSTAR-FBO NORMAN R KIRSCH T2178537               CLASS 3            50,000.00          162.74               0.00                49,837.26
KIRSCHENMANN          SUSAN A KIRSCHENMANN                                CLASS 3            60,000.00       11,333.30               0.00                48,666.70
KIRSTEN               GORDON E KIRSTEN                                    CLASS 3            78,000.00        3,562.00               0.00                74,438.00
KIRSTEN               MAINSTAR-FBO GORDON E KIRSTEN                       CLASS 3            65,000.00         2,665.00              0.00                62,335.00
KIRSTEN               SHIRLEY & GORDON KIRSTEN                            CLASS 3          200,000.00        10,600.00               0.00               189,400.00
KIRSTEN               SHIRLEY KIRSTEN                                     CLASS 3          240,000.00        10,320.00               0.00               229,680.00
KISER                 LORENA M KISER                                      CLASS 3            25,000.00        2,096.82               0.00                22,903.18
KISH                  ELIZABETH KISH                                      CLASS 3          180,000.00        55,490.00               0.00               124,510.00
KISKO                 FRANK KISKO                                         CLASS 3            25,000.00        8,043.78               0.00                16,956.22
KISS                  STEPHEN & JUNE M KISS                               CLASS 3            40,000.00        4,277.72               0.00                35,722.28
KISSIL                VICTOR KISSIL                                       CLASS 3            36,000.00        2,310.00               0.00                33,690.00
KISTENBERG            PROV. TR GP-FBO IRA KISTENBERG IRA                  CLASS 3           184,500.00       10,486.13               0.00               174,013.87
KITOWSKI              MAINSTAR-FBO DAVID KITOWSKI TW003880                CLASS 3            58,574.00         1,386.25              0.00                57,187.75
KIVETT                JOYLEE KIVETT                                       CLASS 3            55,000.00        2,434.80               0.00                52,565.20

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
KIZEL                 MARIE KIZEL                                         CLASS 3            75,000.00          312.51                 0.00                74,687.49
KLABACHA              MAINSTAR-FBO LINDA KLABACHA TW003784                CLASS 3           118,000.00         5,113.33                0.00               112,886.67
KLACKO                MYRA OLGA & WILLIAM G KLACKO                        CLASS 3            50,000.00         2,032.13                0.00                47,967.87
KLAFFKE               MARIANNE & JOHANNES KLAFFKE                         CLASS 3            25,000.00               0.00              0.00                25,000.00
KLAUSNER              CAROL KLAUSNER RLT/C KLAUSNER                       CLASS 3            25,000.00         3,090.32                0.00                21,909.68
KLEIN                 IRA SVCS TR CO-CFBO ABRAHAM KLEIN                   CLASS 3            25,000.00          462.50                 0.00                24,537.50
KLEIN                 IRA SVCS TR CO-CFBO PESSY KLEIN                     CLASS 3            25,000.00          462.50                 0.00                24,537.50
KLEIN                 SHELDON KLEIN                                       CLASS 3            25,000.00         3,758.33                0.00                21,241.67
KLEINPETER            IRA SVCS TR CO-CFBO LIONEL KLEINPETER IRA           CLASS 3            43,000.00         4,085.00                0.00                38,915.00
KLEPFER               PROV. TR GP-FBO STEPHEN D KLEPFER IRA               CLASS 5           500,000.00       41,805.56                 0.00               458,194.44
KLIEBERT              ROY J & MARIE P KLIEBERT                            CLASS 3            50,000.00         8,074.98           608.11                   41,316.91
KLINE                 JOYCE A KLINE                                       CLASS 3            70,000.00        1,470.16                 0.00                68,529.84
KLINEMAN              MICHAEL S KLINEMAN                                  CLASS 3            50,000.00          476.39                 0.00                49,523.61
KLIPHUIS              FRITZ L KLIPHUIS                                    CLASS 3          100,000.00         9,972.92                 0.00                90,027.08
KLIPHUIS              FRITZ L KLIPHUIS                                    CLASS 5          100,000.00         9,972.92                 0.00                90,027.08
KLIPHUIS              MAINSTAR-FBO FRITZ L KLIPHUIS T2177142              CLASS 3           125,000.00         5,754.63                0.00               119,245.37
KLJUNICH              KATHY KLJUNICH                                      CLASS 3            40,000.00          550.00                 0.00                39,450.00
KLOPFENSTEIN          PROV. TR GP-FBO C A KLOPFENSTEIN IRA                CLASS 3            99,000.00       16,257.26                 0.00                82,742.74
KLOPFENSTEIN          PROV. TR GP-FBO TODD L KLOPFENSTEIN IRA             CLASS 3           131,500.00       24,505.08                 0.00               106,994.92
KLOPFENSTEIN          TODD L KLOPFENSTEIN                                 CLASS 5          100,000.00        32,683.28                 0.00                67,316.72
KLOSTERMAN            SUNWEST TR CRAIG L KLOSTERMAN IRA                   CLASS 3           165,000.00          880.00                 0.00               164,120.00
KLOTZ                 ELAINE G KLOTZ                                      CLASS 3            70,000.00         5,307.90                0.00                64,692.10
KLUG                  JAMES L & RITA M KLUG TR                            CLASS 3            45,000.00          225.00                 0.00                44,775.00
KLUG                  LEON J & LOIS L KLUG                                CLASS 3            25,000.00              58.33              0.00                24,941.67
KLUSEK                JOSEPH M KLUSEK                                     CLASS 3            80,000.00               0.00              0.00                80,000.00
KNAPP                 GEORGE & FERN KNAPP                                 CLASS 3            25,000.00          100.00                 0.00                24,900.00
KNAPP                 ROSALYN R KNAPP                                     CLASS 3            50,000.00          513.88                 0.00                49,486.12
KNEE                  HENRY C KNEE                                        CLASS 3            30,000.00         2,316.67                0.00                27,683.33
KNELL                 MARLYS C KNELL                                      CLASS 3            50,000.00         3,606.98                0.00                46,393.02

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
KNIGHT                EMILY L KNIGHT                                      CLASS 3          100,000.00        16,350.05          1,000.00                  82,649.95
KNIGHT                MAINSTAR-FBO PATRICIA KNIGHT                        CLASS 5          194,000.00        18,079.65                0.00               175,920.35
KNIGHT                PROV. TR GP-FBO WILLIAM S KNIGHT IRA                CLASS 3           107,620.00       12,320.33                0.00                95,299.67
KNITTER               GAIL I KNITTER LT DTD 11/10/11                      CLASS 3            75,000.00         2,715.79               0.00                72,284.21
KNOCHE                MAINSTAR-FBO DAVID KNOCHE T2177049                  CLASS 3            42,000.00         1,148.00               0.00                40,852.00
KNOCHE                MAINSTAR-FBO RUTH KNOCHE T2177050                   CLASS 3            60,000.00         1,630.00               0.00                58,370.00
KNOPKE                JANE M KNOPKE                                       CLASS 3            25,000.00        2,722.28                0.00                22,277.72
KNOWLES               MAINSTAR-FBO RONALD A KNOWLES TW004033              CLASS 3            30,000.00          586.67                0.00                29,413.33
KNOWLES               SALLY KNOWLES                                       CLASS 3           100,000.00         9,347.91               0.00                90,652.09
KNOWLSON              THE KNOWLSON FT                                     CLASS 3            75,000.00         5,825.00               0.00                69,175.00
KNUDSEN               KAREN KNUDSEN                                       CLASS 3            70,000.00          981.95                0.00                69,018.05
KNUPP                 WILLIAM KNUPP                                       CLASS 3          150,000.00        21,972.14                0.00               128,027.86
KNUTH                 PROV. TR GP-FBO DAVID N KNUTH IRA                   CLASS 3            50,000.00       16,500.00                0.00                33,500.00
KNUTH                 PROV. TR GP-FBO MARILYN J KNUTH IRA                 CLASS 3            59,000.00       19,568.33                0.00                39,431.67
KNUTH                 RALPH E KNUTH                                       CLASS 3          110,000.00        32,092.50                0.00                77,907.50
KNUTSON               PAUL W KNUTSON                                      CLASS 3            50,000.00         4,209.77               0.00                45,790.23
KNUTSON               SUNWEST TR AMY KNUTSON IRA                          CLASS 3            29,500.00         3,495.75               0.00                26,004.25
KOBANE                PROV. TR GP-FBO KENNETH KOBANE IRA                  CLASS 3           200,000.00         1,361.11               0.00               198,638.89
KOBETITSCH            LORI KOBETITSCH                                     CLASS 3            43,000.00          960.33                0.00                42,039.67
KOBETITSCH            PROV. TR GP-FBO LORI A KOBETITSCH IRA               CLASS 3            22,824.56          498.34                0.00                22,326.22
KOBETITSCH            ROBERT A & BARBARA A KOBETITSCH                     CLASS 3            75,000.00       16,489.48                0.00                58,510.52
KOBIN                 JENNY REPASS KOBIN                                  CLASS 3            25,000.00          524.99                0.00                24,475.01
KOBIN                 PROV. TR GP-FBO JENNY REPASS KOBIN IRA              CLASS 3            30,000.00          402.50                0.00                29,597.50
KOBOBEL               PROV. TR GP-FBO RODNEY KOBOBEL IRA                  CLASS 5            62,775.00       11,439.00                0.00                51,336.00
KOCH                  JOHN D KOCH                                         CLASS 3            50,000.00              0.00              0.00                50,000.00
KOCH                  MAINSTAR-FBO SUSAN KOCH                             CLASS 3            54,500.00         5,413.67               0.00                49,086.33
KOCHANSKI             PROV. TR GP-FBO DONALD KOCHANSKI ROTH IRA           CLASS 3            50,000.00         9,805.56               0.00                40,194.44
KOEHN                 LARRY & SARAH KOEHN                                 CLASS 5            75,000.00       14,315.78                0.00                60,684.22
KOEHN                 MAINSTAR-FBO SARAH KOEHN                            CLASS 5           125,000.00       19,791.69                0.00               105,208.31

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
KOELLER               PROV. TR GP-FBO ROBIN KOELLER IRA                  CLASS 5           160,000.00         6,195.56               0.00               153,804.44
KOENCK                HORIZON TR CO-FBO LOWELL D KOENCK IRA              CLASS 3            76,000.00         4,350.94               0.00                71,649.06
KOEPP/BROWNING        AARON KOEPP & LAURA BROWNING                       CLASS 3            50,000.00          884.04                0.00                49,115.96
KOERBER               JOAN KOERBER                                       CLASS 3            25,000.00          256.95                0.00                24,743.05
KOESTERER             HORIZON TR CO-FBO JOHN L KOESTERER IRA             CLASS 3            25,000.00          165.27                0.00                24,834.73
KOHL                  GAIL KOHL                                          CLASS 3            25,000.00          658.33                0.00                24,341.67
KOHLER                RICHARD G KOHLER RLT                               CLASS 3           150,000.00         2,875.00               0.00               147,125.00
KOLNIERZ              ABRAHAM KOLNIERZ 1999 TR                           CLASS 3            25,000.00          586.82                0.00                24,413.18
KOMPROOD              RONALD M KOMPROOD                                  CLASS 3            25,000.00          100.69                0.00                24,899.31
KONCZEY               ALEXANDER C & MARGARET M KONCZEY                   CLASS 5            70,000.00       13,638.92                0.00                56,361.08
KONCZEY               ALEXANDER C KONCZEY                                CLASS 5            50,000.00         4,708.37               0.00                45,291.63
KONCZEY               PROV. TR GP-FBO CAROLINE KONCZEY IRA               CLASS 5            50,000.00         6,402.78               0.00                43,597.22
KONOV                 MAINSTAR-FBO RAMONA KONOV T2178521                 CLASS 3            50,000.00              0.00              0.00                50,000.00
KONRAD                DOUGLAS E & KATHLENE M KONRAD                      CLASS 5           500,000.00       63,611.08                0.00               436,388.92
KONSTANTINIDIS        ELEFTERIOS P & SANDRA H KONSTANTINIDIS             CLASS 3            50,000.00         1,430.54               0.00                48,569.46
KOONS                 KEVIN D & JULIE A KOONS                            CLASS 5           100,000.00         5,151.41               0.00                94,848.59
KOONS                 NATHAN & TRISTAN KOONS                             CLASS 3           100,000.00          816.67                0.00                99,183.33
KOPP                  LT OF WILLIAM S KOPP U/A DTD 05/12/05              CLASS 3            80,000.00         7,970.02               0.00                72,029.98
KORBITZ               MAINSTAR-FBO HOLLY M KORBITZ                       CLASS 5            80,000.00         9,000.00               0.00                71,000.00
KORBITZ               MAINSTAR-FBO THOMAS A KORBITZ                      CLASS 5            89,500.00       10,068.75                0.00                79,431.25
KORD                  IRA SVCS TR CO-CFBO ERNESTINE KORD IRA             CLASS 3            24,000.00         1,440.00               0.00                22,560.00
KORETSKY              ROSEANNE KORETSKY                                  CLASS 3           102,178.08       15,869.97                0.00                86,308.11
KORNBLUM              DANIEL B KORNBLUM FT                               CLASS 3           100,000.00         8,276.01               0.00                91,723.99
KORNBLUM              DANIEL B KORNBLUM FT                               CLASS 5           650,000.00       53,794.04                0.00               596,205.96
KORNBLUM              ERIC D KORNBLUM                                    CLASS 5           100,000.00       10,116.63                0.00                89,883.37
KORNBLUM              SETH N KORNBLUM                                    CLASS 5           100,000.00         9,177.69               0.00                90,822.31
KORNFELD              MARILYN KORNFELD DECLAR OF TR 09/09/13             CLASS 3           100,000.00       17,612.51          2,936.01                  79,451.48
KORNFELD              MARILYN KORNFELD DECLAR OF TR 09/09/13             CLASS 5            50,000.00         8,806.26         1,468.00                  39,725.74
KORNRUMPF             RICHARD L KORNRUMPF                                CLASS 3            40,000.00         2,246.67               0.00                37,753.33

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
KORNUTH               CARLA D KORNUTH                                    CLASS 3            25,000.00          347.23               0.00                24,652.77
KORTAN                HORIZON TR CO-FBO SHELLIE W-KORTAN IRA             CLASS 3            50,000.00          805.11               0.00                49,194.89
KORTAN                KENNETH KORTAN & S WALKINGSHAW-KORTAN              CLASS 3            50,000.00         3,972.92              0.00                46,027.08
KOS                   DENNIS A KOS                                       CLASS 3          107,458.98        20,594.44               0.00                86,864.54
KOS                   DOLLY A KOS                                        CLASS 3          150,000.00        10,449.38               0.00               139,550.62
KOS                   PROV. TR GP-FBO DENNIS A KOS IRA                   CLASS 3            69,396.02       13,835.43               0.00                55,560.59
KOSARICK              FRANK E KOSARICK                                   CLASS 5          125,000.00        17,948.67               0.00               107,051.33
KOSS                  PROV. TR GP-FBO LISA L KOSS IRA                    CLASS 3          158,000.00        33,683.29        12,047.99                 112,268.72
KOSS                  PROV. TR GP-FBO LISA L KOSS IRA                    CLASS 5          125,000.00        26,648.18         9,531.64                  88,820.18
KOTLER                THEODORE C KOTLER                                  CLASS 3            30,000.00         1,072.82              0.00                28,927.18
KOVACS                IRA SVCS TR CO-CFBO BARBARA KOVACS IRA             CLASS 3            47,500.00         2,812.78              0.00                44,687.22
KOVACS                IRA SVCS TR CO-CFBO DENNIS KOVACS IRA              CLASS 3            37,500.00         1,438.06              0.00                36,061.94
KOVAL                 TODD C & AMY L KOVAL                               CLASS 3            50,000.00         4,488.58              0.00                45,511.42
KOWALCZYK             MAINSTAR-FBO MARIAN D KOWALCZYK TW003346           CLASS 3          100,000.00         8,850.00               0.00                91,150.00
KOZAK                 BEN S KOZAK                                        CLASS 3          145,000.00         4,560.07               0.00               140,439.93
KOZAK                 GEORGE H & LOIS M KOZAK                            CLASS 3          105,000.00          1,769.38              0.00               103,230.62
KOZAK                 JAMES D & LYNNE S KOZAK                            CLASS 3          100,000.00          2,950.00              0.00                97,050.00
KOZAK                 STEVEN G & SHARON A KOZAK                          CLASS 3           127,000.00         3,189.08              0.00               123,810.92
KOZEMCHAK             PATRICIA ANN KOZEMCHAK 2013 TR                     CLASS 5           500,200.00       46,916.48               0.00               453,283.52
KOZIN                 THE EUGENE M KOZIN RT                              CLASS 3            25,000.00        1,775.00               0.00                23,225.00
KOZLOWSKI             ELIZABETH A KOZLOWSKI RLT                          CLASS 3            50,000.00         2,488.87              0.00                47,511.13
KOZLOWSKI             ELIZABETH KOZLOWSKI                                CLASS 3            50,000.00         8,109.75              0.00                41,890.25
KOZLOWSKI             MAINSTAR-FBO ELIZABETH KOZLOWSKI                   CLASS 3            23,500.00         2,391.13              0.00                21,108.87
KRABILL               ELIZABETH KRABILL                                  CLASS 3            33,000.00       25,722.01               0.00                 7,277.99
KRABILL               IRA SVCS TR CO-CFBO ROBERT KRABILL IRA             CLASS 3           190,629.87       18,432.38          107.44                  172,090.05
KRAEMER               GREGG A KRAEMER                                    CLASS 3          350,000.00        27,995.81               0.00               322,004.19
KRAFT                 JUDITH A & RAYMOND A KRAFT                         CLASS 3          100,000.00        13,522.57               0.00                86,477.43
KRAFT                 JUDITH A & RAYMOND A KRAFT                         CLASS 5          100,000.00        13,522.57               0.00                86,477.43
KRAHN                 PATRICIA & DONALD KRAHN                            CLASS 3          125,000.00        14,089.39               0.00               110,910.61

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                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
KRALJIC               JOHN & SHARI KRALJIC                                 CLASS 3          100,000.00        13,389.00                0.00                86,611.00
KRALL                 PROV. TR GP-FBO KENNETH R KRALL ROTH IRA             CLASS 3            50,000.00         4,137.50               0.00                45,862.50
KRALL                 PROV. TR GP-FBO SHARON R KRALL ROTH IRA              CLASS 3            50,000.00         3,963.43               0.00                46,036.57
KRAMER                DARLENE KRAMER                                       CLASS 3          100,000.00               0.00              0.00               100,000.00
KRAMER                SANFORD & BEVERLY KRAMER                             CLASS 3           200,000.00       28,832.43                0.00               171,167.57
KRANTZ                MAINSTAR-FBO MARK KRANTZ                             CLASS 5          282,616.00        26,141.97                0.00               256,474.03
KRANTZ                MARK KRANTZ                                          CLASS 5          435,000.00        42,607.89          1,000.00                 391,392.11
KRAUS                 ROBERT & ZEDENA KRAUS                                CLASS 3           100,000.00       10,377.71                0.00                89,622.29
KRAUS                 SHANNON L & LORI KRAUS                               CLASS 3           100,000.00          111.11                0.00                99,888.89
KRAUSE                LAWRENCE A & SHARON J KRAUSE                         CLASS 3            30,000.00          275.00                0.00                29,725.00
KRAUSS                ALLISON KRAUSS                                       CLASS 3            50,000.00        1,545.85                0.00                48,454.15
KRAVITSKY             JOYCE D KRAVITSKY                                    CLASS 3            30,000.00        1,267.50                0.00                28,732.50
KRAWIEC               MARIA KRAWIEC                                        CLASS 3          385,000.00        34,392.48          1,629.50                 348,978.02
KREMER                CHARLES E KREMER                                     CLASS 5          170,000.00        27,861.17                0.00               142,138.83
KRESS                 SHIRLEY J KRESS                                      CLASS 3            36,000.00              0.00              0.00                36,000.00
KRICK                 EDWARD & CAROL KRICK                                 CLASS 3            25,000.00          586.82                0.00                24,413.18
KRISCHBAUM            RICHARD D & BETTY L KRISCHBAUM                       CLASS 3           100,000.00       12,583.33          1,000.00                  86,416.67
KRISCHBAUM            ROBERT C KRISCHBAUM                                  CLASS 3            25,000.00          966.67                0.00                24,033.33
KROL                  MAINSTAR-FBO STEVEN KROL                             CLASS 3          525,000.00        36,881.25                0.00               488,118.75
KROL                  PROV. TR GP-FBO STEVEN KROL IRA                      CLASS 3          200,000.00        40,067.36                0.00               159,932.64
KROL                  RICHARD KROL                                         CLASS 3            25,000.00          155.55                0.00                24,844.45
KROPP                 BARBARA KROPP                                        CLASS 3            40,000.00        1,094.46                0.00                38,905.54
KRUEGER               FREDRICK W KRUEGER TR U/T/D 11/23/99                 CLASS 3          100,000.00         4,676.42                0.00                95,323.58
KRUEGER               KRAIG KRUEGER                                        CLASS 3            25,000.00       11,061.48                0.00                13,938.52
KRUEGER               PROV. TR GP-FBO FREDRICK KRUEGER ROTH IRA            CLASS 5            79,271.32         4,205.79               0.00                75,065.53
KRUMWEIDE             GARY & PAT KRUMWEIDE                                 CLASS 3            50,000.00          743.05                0.00                49,256.95
KRUNING               SUSANA KRUNING                                       CLASS 3          135,000.00         3,457.50                0.00               131,542.50
KRUPKA                JAMES & TIANYI KRUPKA                                CLASS 5          312,583.33       103,397.85                0.00               209,185.48
KRUPKA                PROV. TR GP-FBO JAMES KRUPKA IRA                     CLASS 5          907,500.00       302,187.50                0.00               605,312.50

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
KRUPKA                PROV. TR GP-FBO TIANYI KRUPKA IRA                   CLASS 5           100,833.33       33,714.98               0.00                67,118.35
KRUSE                 MAINSTAR-FBO NEIL R KRUSE                           CLASS 3          188,587.00        12,258.16               0.00               176,328.84
KRZEMIEN              DAVID L KRZEMIEN                                    CLASS 3            30,000.00          816.67               0.00                29,183.33
KUBOTA                JOAN C KUBOTA                                       CLASS 3            50,000.00         1,275.00              0.00                48,725.00
KUBSH                 THOMAS M KUBSH                                      CLASS 3          100,000.00           216.67               0.00                99,783.33
KUEHN                 DUWAYNE J & BARBARA A KUEHN                         CLASS 3           450,000.00       17,045.86               0.00               432,954.14
KUEHN                 KEVIN J KUEHN                                       CLASS 3          100,000.00          4,218.07              0.00                95,781.93
KUEHNERT              STEVEN G KUEHNERT                                   CLASS 5           110,000.00       25,119.73               0.00                84,880.27
KUGELMAN              MORTON & FRANCYNE KUGELMAN                          CLASS 3           160,000.00       19,443.37               0.00               140,556.63
KUGELMAN              PROV. TR GP-FBO MORTON KUGELMAN IRA                 CLASS 3           259,500.00         1,311.92              0.00               258,188.08
KULASIK               JERRY E KULASIK                                     CLASS 3            60,061.44         5,325.47              0.00                54,735.97
KULIGOWSKI            MAINSTAR-FBO STEPHEN KULIGOWSKI T2178368            CLASS 3           114,600.00          318.33               0.00               114,281.67
KULKARNI              PROV. TR GP-FBO UPENDRA & S KULKARNI ICA            CLASS 3           200,000.00       17,611.11               0.00               182,388.89
KULP                  WILLIS K KULP                                       CLASS 3            50,000.00          152.78               0.00                49,847.22
KUMERFIELD            CRAIG E KUMERFIELD                                  CLASS 3            25,000.00         1,115.25              0.00                23,884.75
KUNDERT               CORRIE KUNDERT                                      CLASS 3           200,000.00       13,608.31               0.00               186,391.69
KUNDERT               MAINSTAR-FBO CORRIE KUNDERT                         CLASS 3           300,000.00       20,355.55               0.00               279,644.45
KUNKEL                DEBORAH KUNKEL                                      CLASS 3            25,000.00         1,500.00              0.00                23,500.00
KUNTZ                 RUTH ANN KUNTZ                                      CLASS 3            25,000.00          836.83               0.00                24,163.17
KUO                   JIMMY E & RACHEL JUICHEN KUO RT                     CLASS 3            50,000.00         2,112.48              0.00                47,887.52
KUPCZYK               PROV. TR GP-FBO LAWRENCE KUPCZYK IRA                CLASS 3            63,253.08         5,411.65              0.00                57,841.43
KURASZ                RONALD J KURASZ                                     CLASS 3            30,000.00         3,801.00              0.00                26,199.00
KURIEN                PROV. TR GP-FBO MIRA A KURIEN ROTH IRA              CLASS 3            50,000.00       11,069.44               0.00                38,930.56
KURTZEBORN/WATSON     ADELAIDE KURTZEBORN & H WATSON-AUBUCHON             CLASS 3           100,000.00         1,000.00              0.00                99,000.00
KUSH                  MAINSTAR-FBO MIKE KUSH                              CLASS 5            50,000.00         8,333.36              0.00                41,666.64
KUYS                  ANTHONY & VICKI KUYS                                CLASS 3           200,000.00         8,283.36              0.00               191,716.64
KWAN                  DANIEL KWAN                                         CLASS 3           110,000.00         8,888.33              0.00               101,111.67
KWAN                  KIMBERLY KWAN                                       CLASS 3            60,000.00        4,725.00               0.00                55,275.00
KWAN                  KRISTIN KWAN                                        CLASS 3          110,000.00         8,900.83               0.00               101,099.17

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
KWAN                  THE KWAN FT DTD 02/24/89                            CLASS 5          800,000.00        57,683.31               0.00               742,316.69
KYLE                  LESTER J JR & TERRI L KYLE                          CLASS 3            20,000.00          338.88               0.00                19,661.12
KYOVSKY               ROLAND J & RITA M KYOVSKY                           CLASS 3           170,000.00       16,653.30               0.00               153,346.70
KYPSON                GEORGE & IVA KYPSON                                 CLASS 3          175,000.00          6,729.16              0.00               168,270.84
KYZER                 ARLIE & BARBARA KYZER                               CLASS 3            75,000.00         8,232.30              0.00                66,767.70
L&L FORTNER           L&L FORTNER FT                                      CLASS 3           150,000.00       12,354.12               0.00               137,645.88
L2D2                  L2D2 LLC                                            CLASS 3          175,000.00        27,603.31         3,425.34                 143,971.35
L2D2                  L2D2 LLC                                            CLASS 5          275,000.00        43,376.63         5,382.67                 226,240.70
LA BARGE              THE LA BARGE RLT 04/30/86                           CLASS 3           164,287.00          711.91               0.00               163,575.09
LA ROCHE              LINDA LA ROCHE LT DTD 07/05/06                      CLASS 3            35,000.00          915.83               0.00                34,084.17
LA ROCHELLE           LISE LA ROCHELLE                                    CLASS 3           100,000.00       12,751.07               0.00                87,248.93
LACERRA               PROV. TR GP-FBO THOMAS LACERRA IRA                  CLASS 3           100,000.00         5,002.78              0.00                94,997.22
LACHANCE              JASON & ELIZABETH LACHANCE                          CLASS 3            50,000.00         4,075.00              0.00                45,925.00
LACLAIR               MONICA & LAWRENCE LACLAIR                           CLASS 3           800,000.00       13,550.00               0.00               786,450.00
LADBURY               BRADLEY J & WANDA K LADBURY                         CLASS 3           130,000.00       12,386.57               0.00               117,613.43
LADE                  DOREEN L LADE                                       CLASS 3          100,000.00          9,116.63        1,000.00                  89,883.37
LADWIG                LADWIG FT                                           CLASS 3          100,000.00         7,262.50               0.00                92,737.50
LAFFITE               CARLOS LAFFITE                                      CLASS 5          100,000.00          7,244.38              0.00                92,755.62
LAGRANGE              THE MYRON R & CAROL L LAGRANGE RLT                  CLASS 3           150,000.00         6,550.00              0.00               143,450.00
LAGUD                 BARBARA LAGUD                                       CLASS 3            25,000.00          333.34               0.00                24,666.66
LAHOOTI               PROV. TR GP-FBO ETTIE LAHOOTI IRA                   CLASS 3           100,000.00         7,200.00              0.00                92,800.00
LAHR                  JOHN M & MARY THERESE LAHR                          CLASS 3            50,000.00         5,343.67              0.00                44,656.33
LAICHE                ARLENE F LAICHE                                     CLASS 3            25,000.00         7,416.67              0.00                17,583.33
LAICHE                KOLBY T LAICHE                                      CLASS 3            25,000.00         7,391.67              0.00                17,608.33
LAKAMP                MAINSTAR-FBO DONNA S LAKAMP                         CLASS 3            35,000.00         1,705.77              0.00                33,294.23
LAKE                  GREGORY LAKE                                        CLASS 3            65,000.00         2,325.58              0.00                62,674.42
LAKER                 BRENT R & JANELLE R LAKER                           CLASS 3           115,000.00       14,267.53               0.00               100,732.47
LAKER                 CAMPBELL & IRIS LAKER                               CLASS 5          100,000.00        37,888.77               0.00                62,111.23
LAKSHMINARAYANAN      V LAKSHMINARAYANAN & V AIYER BHARDWAJ               CLASS 3           100,000.00         6,375.00              0.00                93,625.00

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LAM                   ANDREW LAM                                        CLASS 3            25,000.00          114.59                0.00                24,885.41
LAM                   MAINSTAR-FBO FLORENCE LAM T2176673                CLASS 3          100,000.00          4,958.34               0.00                95,041.66
LAM                   MAINSTAR-FBO LEO LAM R2176713                     CLASS 3          100,000.00         4,355.55                0.00                95,644.45
LAMBERT               MICHAEL LAMBERT                                   CLASS 3            50,000.00         1,388.90               0.00                48,611.10
LAMBERT/DARWENT       CAROL A LAMBERT & ANDREA F DARWENT                CLASS 3           100,000.00         2,760.40               0.00                97,239.60
LAMBERTZ              MAINSTAR-FBO TOM L LAMBERTZ T2176351              CLASS 3          194,713.00          6,679.73               0.00               188,033.27
LAMCHEK               JOAQUIN & ROSALINA TSEN LAMCHEK RLT               CLASS 3            50,000.00          218.75                0.00                49,781.25
LAMCHEK               MAINSTAR-FBO ROSALINA T LAMCHEK T2177286          CLASS 3            88,252.48         1,642.47               0.00                86,610.01
LAMKIE                THE RENEE J LAMKIE 1997 TR                        CLASS 3          100,000.00           555.56                0.00                99,444.44
LAMONICA              FILOMENA LAMONICA                                 CLASS 3            40,329.36         5,237.24               0.00                35,092.12
LAMONTAGNE            GRACE LAMONTAGNE                                  CLASS 3           300,000.00       32,914.37                0.00               267,085.63
LAMONTAGNE            GRACE LAMONTAGNE                                  CLASS 5           100,000.00       10,971.46                0.00                89,028.54
LAMONTE               PETER W LAMONTE                                   CLASS 3            50,000.00         2,093.09               0.00                47,906.91
LAMPHIER              JACK & BARBARA LAMPHIER                           CLASS 3           100,000.00         5,291.62               0.00                94,708.38
LANCASTER             PAMELA J LANCASTER                                CLASS 3          301,000.00        39,662.43           705.88                  260,631.69
LANDMAN               LLOYD & NANCY LANDMAN                             CLASS 5            50,000.00         9,059.82               0.00                40,940.18
LANDMESSER            STEPHANIE LANDMESSER                              CLASS 3            50,000.00        7,194.41                0.00                42,805.59
LANDMESSER            STEPHANIE LANDMESSER                              CLASS 5          100,000.00        14,388.81                0.00                85,611.19
LANDRY                IRA SVCS TR CO-CFBO BLAIR LANDRY                  CLASS 3            26,500.00         1,284.21               0.00                25,215.79
LANDRY                PATRICIA A LANDRY                                 CLASS 3            50,000.00        2,708.33                0.00                47,291.67
LANDSMAN              ROSALIND C LANDSMAN                               CLASS 3            25,000.00         7,812.45               0.00                17,187.55
LANDSMAN/GLICK        ROSALIND C LANDSMAN & JOYCE H GLICK               CLASS 3            25,000.00         1,527.04               0.00                23,472.96
LANDUSKY              PAULA K LANDUSKY                                  CLASS 3          100,000.00               0.00              0.00               100,000.00
LANDWEHR              DAVID P & BRENDA K LANDWEHR                       CLASS 3           170,000.00       11,863.29                0.00               158,136.71
LANDWEHR              MAINSTAR-FBO BRENDA LANDWEHR R2176543             CLASS 3            50,000.00         3,916.67               0.00                46,083.33
LANDWEHR              MAINSTAR-FBO DAVID P LANDWEHR R2176542            CLASS 3            55,000.00         3,483.33               0.00                51,516.67
LANE                  JOHNNY L & CLAUDIA F LANE                         CLASS 3            25,000.00          516.67                0.00                24,483.33
LANE                  PROV. TR GP-FBO KATHY LANE IRA                    CLASS 3            90,810.00         7,597.55               0.00                83,212.45
LANE                  PROV. TR GP-FBO ROBERT LANE IRA                   CLASS 3            28,400.00        2,357.52                0.00                26,042.48

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LANE                  WILLIAM J & LINDA M CHISHOLM LANE                   CLASS 3            75,000.00         8,026.08               0.00                66,973.92
LANG                  EDNA LANG                                           CLASS 3            50,000.00        3,322.19                0.00                46,677.81
LANGDON               MAINSTAR-FBO NANCY LANGDON T2175830                 CLASS 3            37,200.00         2,583.33               0.00                34,616.67
LANGDON               MAINSTAR-FBO ROBERT LANGDON T2175921                CLASS 3           116,800.00         8,111.11               0.00               108,688.89
LANGE                 KELLY J LANGE                                       CLASS 3          400,000.00        65,431.77                0.00               334,568.23
LANGE                 KENNETH W & SANDRA S LANGE                          CLASS 3            50,000.00              0.00              0.00                50,000.00
LANGE                 PROV. TR GP-FBO RICHARD H LANGE IRA                 CLASS 5           100,000.00       20,500.00                0.00                79,500.00
LANGENFELD            MARYANN LANGENFELD                                  CLASS 3            25,000.00          381.95                0.00                24,618.05
LANGLAIS              ERNEST R & ESTELLA JUNE LANGLAIS                    CLASS 3            49,750.00         6,873.82               0.00                42,876.18
LANGLEY               ALICE LANGLEY                                       CLASS 5          140,000.00        15,419.36                0.00               124,580.64
LANGSTON              IRA SVCS TR CO-CFBO KENT LANGSTON                   CLASS 3            29,000.00          753.99                0.00                28,246.01
LANIVICH              JULIE LANIVICH                                      CLASS 3            25,000.00          246.53                0.00                24,753.47
LANNUM                LUCILLE M & KEITH R LANNUM                          CLASS 3          148,000.00               0.00              0.00               148,000.00
LANSER                JERRY & RUBY LANSER                                 CLASS 3            30,000.00        3,187.06                0.00                26,812.94
LANSING               PROV. TR GP-FBO LISA C LANSING IRA                  CLASS 3            25,000.00        1,040.27                0.00                23,959.73
LANZ                  JEFFERSON LANZ                                      CLASS 3            25,000.00        4,098.56                0.00                20,901.44
LAPENSON              MAINSTAR-FBO RONNIE LAPENSON T2175865               CLASS 3          107,888.48          7,385.03               0.00               100,503.45
LAPLANTE              NELLIE LAPLANTE                                     CLASS 3          100,000.00         1,305.57                0.00                98,694.43
LAPPAS                ANDREA LAPPAS                                       CLASS 3            45,000.00          822.50                0.00                44,177.50
LAPPAS                VIRGINIA LAPPAS                                     CLASS 3            30,000.00          548.33                0.00                29,451.67
LARKINS               LAWRENCE A & JULIE LARKINS                          CLASS 3            75,000.00       13,716.58                0.00                61,283.42
LARMER                ANDREW LARMER                                       CLASS 3            60,000.00         3,100.00               0.00                56,900.00
LAROCHELLE            RICHARD LAROCHELLE                                  CLASS 3            50,000.00         2,293.03               0.00                47,706.97
LARSEN                DORA P LARSEN                                       CLASS 3            60,000.00        2,600.00                0.00                57,400.00
LARSEN                JAMES C LARSEN                                      CLASS 3            60,000.00        3,770.00          1,000.00                  55,230.00
LARSEN                SHIRLEY LARSEN                                      CLASS 3          550,000.00        42,202.08                0.00               507,797.92
LARSON                NANCY & DOUGLAS LARSON                              CLASS 3          200,000.00        24,364.56                0.00               175,635.44
LARSON                PROV. TR GP-FBO KAREN LARSON IRA                    CLASS 3            53,960.00         3,904.61               0.00                50,055.39
LARSON                THE LARSON FT DTD 05/21/10                          CLASS 3            50,000.00        2,589.62                0.00                47,410.38

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LARWYN                THE LARWYN TR DTD 02/16/95                          CLASS 3          200,000.00          8,233.33               0.00               191,766.67
LASHER                MAINSTAR-FBO BEVERLY LASHER T2178350                CLASS 3            76,500.00          428.19                0.00                76,071.81
LASHINE               CAROL N LASHINE                                     CLASS 3            70,000.00       13,113.45                0.00                56,886.55
LATHAM                RICHARD & FRANCIS LATHAM                            CLASS 3            25,000.00              0.00              0.00                25,000.00
LATINI                ROBERT LATINI                                       CLASS 3            30,000.00          704.17                0.00                29,295.83
LATKA                 JUDY LATKA                                          CLASS 3            50,000.00          856.50                0.00                49,143.50
LAURETANO             NICHOLAS LAURETANO                                  CLASS 3            75,000.00         3,953.13               0.00                71,046.87
LAUT                  WAYNE & MARY LAUT                                   CLASS 3           150,000.00         3,150.00               0.00               146,850.00
LAUTEN                MAINSTAR-FBO RUSSELL JAMES LAUTEN                   CLASS 3           200,000.00       10,450.00                0.00               189,550.00
LAUTEN                RUSSELL JAMES LAUTEN                                CLASS 3            80,000.00        4,055.52                0.00                75,944.48
LAUTER                JOHN & PHYLLIS LAUTER                               CLASS 5            50,000.00         7,472.28               0.00                42,527.72
LAVIN                 MAINSTAR-FBO LAUREL A LAVIN                         CLASS 3           250,000.00       21,815.82          1,000.00                 227,184.18
LAWLESS               THE LAWLESS TR                                      CLASS 3          100,000.00        20,077.88                0.00                79,922.12
LAWRENCE              BRANDON LAWRENCE                                    CLASS 3            35,000.00          367.50                0.00                34,632.50
LAWRENCE              PROV. TR GP-FBO GARY H LAWRENCE IRA                 CLASS 3            32,650.00          865.23                0.00                31,784.77
LAWRENCE              PROV. TR GP-FBO PAMELA F LAWRENCE IRA               CLASS 3            33,054.00          482.04                0.00                32,571.96
LAWRENCE              PROV. TR GP-FBO PAUL LAWRENCE IRA                   CLASS 3            48,000.00          961.33                0.00                47,038.67
LAWRENCE              ROXANNE V LAWRENCE RT DTD 06/16/08                  CLASS 3            50,000.00          986.10                0.00                49,013.90
LAWTON                MAINSTAR-FBO JOHN LAWTON R2176452                   CLASS 3            50,000.00         1,924.66               0.00                48,075.34
LAXTON                MAINSTAR-FBO NEAL LAXTON                            CLASS 3            45,850.50         5,578.44               0.00                40,272.06
LAY                   SALLY A LAY                                         CLASS 3            50,000.00        3,104.18                0.00                46,895.82
LAYTON                ROBERT LAYTON                                       CLASS 3            50,000.00         2,433.33               0.00                47,566.67
LAZAR                 GARY LAZAR                                          CLASS 3          216,000.00        11,952.00                0.00               204,048.00
LAZINSKI              HENRY R LAZINSKI RLT                                CLASS 3            30,000.00         1,995.00               0.00                28,005.00
LE                    PHAT TUAN LE                                        CLASS 5          100,000.00        19,891.56                0.00                80,108.44
LE PLATT              MAINSTAR-FBO RICHARD LE PLATT                       CLASS 3           235,000.00       17,860.00                0.00               217,140.00
LEAKE                 SANDRA A LEAKE TR DTD 06/08/93                      CLASS 3            25,000.00         1,489.62               0.00                23,510.38
LEASURE               KEVIN & CHRISTINE LEASURE                           CLASS 3            48,000.00         2,222.00               0.00                45,778.00
LEBLANC               ERNEST G LEBLANC                                    CLASS 3            25,000.00         5,531.25               0.00                19,468.75

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                              Type           [1]               [2]              [3]          [1] minus [2] minus [3]
LEBLANC               FREDERICK WARREN LEBLANC                            CLASS 5           230,000.00       21,565.32               0.00               208,434.68
LEBLANC               MAINSTAR-FBO ANNA N LEBLANC                         CLASS 3            31,581.00         3,125.63              0.00                28,455.37
LEBLANC               MAINSTAR-FBO FREDERICK LEBLANC T2174435             CLASS 3            30,000.00         5,162.72              0.00                24,837.28
LEBLANC               MAINSTAR-FBO FREDERICK LEBLANC T2174435             CLASS 5           266,000.00       45,776.09               0.00               220,223.91
LEBLANC               MAINSTAR-FBO JASON A LEBLANC                        CLASS 3            31,446.82         1,938.35              0.00                29,508.47
LEBLANC-RYAN          PROV. TR GP-FBO ROBERTA LEBLANC-RYAN IRA            CLASS 3           137,971.57       20,811.22               0.00               117,160.35
LEBOEUF               MAINSTAR-FBO DAVIN LEBOEUF T2178310                 CLASS 3          200,000.00           155.56               0.00               199,844.44
LECHMAN               CAROL LYNN LECHMAN LT DTD 08/12/91                  CLASS 3           900,000.00       35,784.68               0.00               864,215.32
LECHNER               JENNIFER L & THOMAS P LECHNER                       CLASS 3            50,000.00         4,183.34              0.00                45,816.66
LECKLER               COURTNEY & MARILYN LECKLER                          CLASS 3            80,000.00         7,142.08              0.00                72,857.92
L'ECLUSE              STEVEN D & LYNN L'ECLUSE TR 04/16/96                CLASS 3            50,000.00         3,658.33              0.00                46,341.67
LECONTE               MICHAEL & JANICE LECONTE                            CLASS 3           100,000.00         3,188.87              0.00                96,811.13
LEDBETTER             DALE LEDBETTER TR                                   CLASS 3            25,000.00         1,625.00              0.00                23,375.00
LEE                   ANITA T LEE                                         CLASS 3            25,000.00          232.65               0.00                24,767.35
LEE                   BETTY & PAUL LEE                                    CLASS 3          125,000.00          6,627.04              0.00               118,372.96
LEE                   CAROL C LEE                                         CLASS 3          100,000.00        14,014.00               0.00                85,986.00
LEE                   CAROL L LEE                                         CLASS 3            60,000.00       18,899.86               0.00                41,100.14
LEE                   JONG LEE                                            CLASS 3          200,000.00         9,666.31               0.00               190,333.69
LEE                   MAINSTAR-FBO DAVID CHARLES LEE TW003939             CLASS 3            41,000.00         1,609.25              0.00                39,390.75
LEE                   MAINSTAR-FBO JEAN LEE R2178053                      CLASS 3            90,000.00         1,277.50              0.00                88,722.50
LEE                   PROV. TR GP-FBO CAROL C LEE IRA                     CLASS 3           137,450.00         2,291.52              0.00               135,158.48
LEE                   REAGAN W LEE                                        CLASS 3          200,000.00        11,631.87               0.00               188,368.13
LEE                   RICHARD Y LEE MD                                    CLASS 5          250,000.00          8,097.21              0.00               241,902.79
LEE                   ROBERT E & BETTY J LEE                              CLASS 3            63,000.00       13,184.50               0.00                49,815.50
LEE                   ROSALINE T LEE                                      CLASS 3          100,000.00          6,255.02        1,200.00                  92,544.98
LEE                   ROSALINE T LEE                                      CLASS 5           150,000.00         9,382.53        1,800.00                 138,817.47
LEE                   WILLIAM & PATRICIA LEE TA 2009-1 08/06/09           CLASS 3            25,000.00         1,236.15              0.00                23,763.85
LEE-CARR              SHEILA LEE-CARR                                     CLASS 3            40,000.00         2,104.22              0.00                37,895.78
LEENAN                LEENAN LLC                                          CLASS 3            45,000.00         4,922.50              0.00                40,077.50

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
LEFKOWITZ             MICHAEL D LEFKOWITZ LT                             CLASS 3          100,000.00          8,399.95              0.00                91,600.05
LEGACY 1              LEGACY 1 LLC                                       CLASS 3          360,000.00        33,412.58               0.00               326,587.42
LEHMAN                GERALD R & BEVERLY S LEHMAN                        CLASS 3          340,000.00        10,974.43               0.00               329,025.57
LEHMAN                THOMAS E LEHMAN                                    CLASS 5          200,000.00        45,291.75               0.00               154,708.25
LEHMAN                WILLIAM F LEHMAN                                   CLASS 5            50,000.00       16,250.13               0.00                33,749.87
LEHMANN               MONIQUE LEHMANN                                    CLASS 3          150,000.00          2,888.85              0.00               147,111.15
LEIBELSPERGER         DORENE K LEIBELSPERGER                             CLASS 3            68,600.00       14,751.67               0.00                53,848.33
LEIBELSPERGER         MAINSTAR-FBO DORENE LEIBELSPERGER                  CLASS 3            36,400.00         7,479.17              0.00                28,920.83
LEIBELSPERGER         MAINSTAR-FBO JOHN LEIBELSPERGER T2178266           CLASS 3            50,000.00          375.00               0.00                49,625.00
LEISURE               MAINSTAR-FBO EVERETT LEISURE T2176968              CLASS 3            57,000.00         2,139.08              0.00                54,860.92
LEITH                 MAINSTAR-FBO CAROLE L LEITH R2178031               CLASS 3            40,005.01          455.61               0.00                39,549.40
LEMKE                 VERNON A & RITA M LEMKE                            CLASS 3            75,000.00         2,399.30              0.00                72,600.70
LEMOINE               RONALD LEMOINE                                     CLASS 3            25,000.00         5,750.00              0.00                19,250.00
LEMOINE               RONALD R & ALINE D LEMOINE                         CLASS 3            25,000.00         8,212.50         235.29                   16,552.21
LEMOINE/DEROCHE       ALINE LEMOINE & ROY J DEROCHE III                  CLASS 3            25,000.00         4,312.50              0.00                20,687.50
LEMONS                W R LEMONS IRREV #2 LAURA A COPELAND               CLASS 3            50,000.00          841.67               0.00                49,158.33
LEMONS                W R LEMONS IRREV SUBTR #3 FBO L J ROGERS           CLASS 3            50,000.00          850.00               0.00                49,150.00
LEMPEREUR             KAREN M LEMPEREUR                                  CLASS 5          175,000.00        34,738.93               0.00               140,261.07
LEMPEREUR             PROV. TR GP-FBO KAREN M LEMPEREUR IRA              CLASS 5           469,084.00       85,826.27               0.00               383,257.73
LEMPEREUR/GEORGE      KAREN M LEMPEREUR & STEPHEN W GEORGE               CLASS 3           200,000.00       51,168.33               0.00               148,831.67
LEMPEREUR/GEORGE      KAREN M LEMPEREUR & STEPHEN W GEORGE               CLASS 5           185,000.00       47,330.71               0.00               137,669.29
LEMUS                 MAINSTAR-FBO MOISES T LEMUS T2178008               CLASS 3          100,000.00           487.96               0.00                99,512.04
LENIHAN               MICHAEL J LENIHAN                                  CLASS 3            25,000.00         2,058.33              0.00                22,941.67
LENNARTZ              DONALD W & LINDA L LENNARTZ                        CLASS 3            95,000.00       16,816.00               0.00                78,184.00
LENNARTZ              PROV. TR GP-FBO DANIEL R LENNARTZ IRA              CLASS 5           115,500.00       43,537.06               0.00                71,962.94
LENNARTZ              PROV. TR GP-FBO DONALD W LENNARTZ IRA             CLASS 3*            63,000.00       15,555.83               0.00                47,444.17
LENNARTZ              PROV. TR GP-FBO LINDA L LENNARTZ IRA               CLASS 3            79,500.00       18,544.72               0.00                60,955.28
LENNARTZ              PROV. TR GP-FBO THERESA L LENNARTZ IRA             CLASS 5            86,000.00       32,417.38               0.00                53,582.62
LENSKY                WILLIAM & PAULA LENSKY                             CLASS 3            40,000.00          393.33               0.00                39,606.67

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LENT                  PROV. TR GP-FBO DAVID & NANCY LENT ICA             CLASS 3           150,000.00       18,177.08                0.00               131,822.92
LENT                  PROV. TR GP-FBO DAVID & NANCY LENT ICA             CLASS 5            50,000.00         6,059.03               0.00                43,940.97
LENTNER               ADAM LENTNER                                       CLASS 3          200,000.00          3,291.69               0.00               196,708.31
LENTZ                 HORST K & MARIA F LENTZ                            CLASS 3            50,000.00         3,508.34               0.00                46,491.66
LEON                  PROV. TR GP-FBO DANIEL DE LEON JR IRA              CLASS 5            63,500.00         9,313.33               0.00                54,186.67
LEONARD               CARL LEONARD                                       CLASS 3            25,001.00          260.43                0.00                24,740.57
LEONARD               PROV. TR GP-FBO EDWIN C LEONARD JR IRA             CLASS 3           125,000.00       23,151.80          8,808.01                  93,040.19
LEONG                 MAE & KIN LEONG                                    CLASS 3          130,000.00         8,576.34                0.00               121,423.66
LEONG                 PROV. TR GP-FBO JEFFREY R LEONG IRA                CLASS 3            44,000.00         1,093.89               0.00                42,906.11
LEPAGE                NORMAN J & CHERYL L LEPAGE                         CLASS 3           200,000.00         4,200.01               0.00               195,799.99
LEPPERT               CYNTHIA M LEPPERT                                  CLASS 3            72,000.00         3,439.28               0.00                68,560.72
LERMAN                MARILYN & SAUL LERMAN                              CLASS 3            80,000.00         9,885.01         1,000.00                  69,114.99
LERNER                PROV. TR GP-FBO NAUM LERNER IRA                    CLASS 3           126,500.00       16,445.89                0.00               110,054.11
LESSICK               HELEN M LESSICK                                    CLASS 3            25,000.00          253.48                0.00                24,746.52
LESTER                KENNETH LESTER                                     CLASS 3            25,000.00              0.00              0.00                25,000.00
LETHIECQ              JEAN & CORONA LETHIECQ TR/JEAN LETHIECQ            CLASS 3           300,000.00       29,440.27                0.00               270,559.73
LETNER                IRIS LETNER                                        CLASS 3            60,000.00         1,052.08               0.00                58,947.92
LETTS                 LOEL K & BARBARA JO LETTS                          CLASS 5           100,000.00       16,791.77                0.00                83,208.23
LEUNG/WONG            BARRY LEUNG & LILY WONG                            CLASS 3            25,000.00          395.84                0.00                24,604.16
LEVIN                 HARRIET & LANNY LEVIN TR                           CLASS 3            50,000.00         6,474.71               0.00                43,525.29
LEVIN                 HARRIET & LANNY LEVIN TR                           CLASS 5           100,000.00       12,949.42                0.00                87,050.58
LEVINE                MIRIAM LEVINE RLT DTD 06/03/98                     CLASS 3            35,000.00         3,970.37               0.00                31,029.63
LEVY                  FRANK H LEVY                                       CLASS 5          370,000.00        16,462.80                0.00               353,537.20
LEVY                  FRANK M LEVY                                       CLASS 3            75,000.00         2,941.67               0.00                72,058.33
LEVY                  MAINSTAR-FBO PATRICIA LEVY                         CLASS 3            90,000.00         4,702.50               0.00                85,297.50
LEVY                  THE LEVY FT-RENE & PILAR LEVY TTES                 CLASS 5          400,000.00       116,333.22                0.00               283,666.78
LEW                   MAINSTAR-FBO JAMES LEW TW003770                    CLASS 3            50,000.00        2,531.08                0.00                47,468.92
LEW                   SANDRA LEW                                         CLASS 3          100,000.00         1,402.79                0.00                98,597.21
LEWAKOWSKI            PROV. TR GP-FBO KIM LEWAKOWSKI IRA                 CLASS 3            42,500.00       15,440.49                0.00                27,059.51

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LEWINTER              HELEN & DANIEL LEWINTER                             CLASS 3          240,000.00          7,919.50               0.00               232,080.50
LEWIS                 LISA S LEWIS                                        CLASS 3          200,000.00         1,866.67                0.00               198,133.33
LEWIS                 PROV. TR GP-FBO GERALD A LEWIS IRA                  CLASS 3           222,400.00       27,641.63                0.00               194,758.37
LEWIS                 PROV. TR GP-FBO GERALD A LEWIS IRA                  CLASS 5            50,000.00         6,214.39               0.00                43,785.61
LEWIS                 SHARI LEWIS                                         CLASS 3            50,000.00        3,687.44                0.00                46,312.56
LEWIS/DORSEY          JAMES M LEWIS & ELIZABETH A DORSEY                  CLASS 3          200,000.00          4,933.33               0.00               195,066.67
L'HEUREUX             JEANNE JO L'HEUREUX                                 CLASS 3            50,000.00         2,475.03               0.00                47,524.97
L'HEUREUX             JEANNE JO L'HEUREUX RT                              CLASS 3            50,000.00         1,926.36               0.00                48,073.64
LI                    PING PING LI                                        CLASS 3            50,000.00        5,791.67                0.00                44,208.33
LI                    PROV. TR GP-FBO BRUCE LI IRA                        CLASS 3            74,000.00          402.89                0.00                73,597.11
LI                    SILING LI                                           CLASS 3            25,000.00        1,949.26                0.00                23,050.74
LIAO                  MAINSTAR-FBO YUEHMING LIAO T2177667                 CLASS 3            53,000.00          999.64                0.00                52,000.36
LIAUTAUD              GEORGES LIAUTAUD                                    CLASS 3            50,000.00         1,300.00               0.00                48,700.00
LICHTLE               MARY & WILLIAM LICHTLE                              CLASS 3            50,000.00              0.00              0.00                50,000.00
LICKING               STEVEN B & MEGAN LICKING                            CLASS 3            50,000.00         1,963.91               0.00                48,036.09
LICKING               THE LICKING IRREV LIFE INSURANCE TR                 CLASS 3           200,000.00         9,916.69               0.00               190,083.31
LIEBERT               THE KIM & BETTY LIEBERT LT DTD 02/04/15             CLASS 3            63,600.00         1,462.80               0.00                62,137.20
LIEBZEIT              GARY L & FLORINE E LIEBZEIT                         CLASS 3            25,000.00         1,256.56               0.00                23,743.44
LIEOU                 MONICA & ROBERT LIEOU                               CLASS 3            50,000.00         5,822.17               0.00                44,177.83
LIESE                 KEITH D LIESE                                       CLASS 3            50,000.00        3,615.25                0.00                46,384.75
LIFAVI                DANIEL J LIFAVI RT                                  CLASS 3            75,000.00         8,157.34               0.00                66,842.66
LIFAVI                DANIEL J LIFAVI RT                                 CLASS 3*            25,000.00         1,425.05               0.00                23,574.95
LIFAVI                JOHN LIFAVI                                         CLASS 3            50,000.00       10,416.41                0.00                39,583.59
LIGUORI               MARK LIGUORI                                        CLASS 3            25,000.00         5,055.46               0.00                19,944.54
LIKENS                MAINSTAR-FBO DEBBIE K LIKENS TW003786               CLASS 3            25,000.00          966.21                0.00                24,033.79
LILLARD               JAMES H & CAROL J LILLARD                           CLASS 5           100,000.00       32,749.89                0.00                67,250.11
LILLARD               JANICE D LILLARD                                    CLASS 3            77,000.00         8,404.97               0.00                68,595.03
LILLIE/MAULIN         RANDEL RALPH LILLIE & JANET GAIL MAULIN             CLASS 3            80,000.00         4,475.00               0.00                75,525.00
LILLY                 LYNDA K LILLY                                       CLASS 3          340,000.00        58,933.04                0.00               281,066.96

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                                                                                             Total
                                                                                          Outstanding       Prepetition           Other
                                                                                           Principal        "Interest"         Prepetition
                                                                                           Amount           Payments          Distributions          Net Claims
Surname/Entity Name    Full Name                                             Type             [1]               [2]                [3]          [1] minus [2] minus [3]
LIM                    MAINSTAR-FBO NATHANIEL LIM T2175381                  CLASS 3            50,000.00         2,076.39                0.00                47,923.61
LIMA                   FT OF JOSEPH & CAROL A LIMA                          CLASS 3            55,000.00         3,208.94                0.00                51,791.06
LIMATO                 JAMESPAUL LIMATO                                     CLASS 3          185,000.00         2,440.96                 0.00               182,559.04
LIME                   PROV. TR GP-FBO DANNY A LIME IRA                     CLASS 3            83,750.00         4,494.58                0.00                79,255.42
LIMP                   JAMES R & SHIRLEY L LIMP                             CLASS 3          100,000.00         2,583.33                 0.00                97,416.67
LINCOLN                WALTER B LINCOLN                                     CLASS 3            25,000.00         1,317.67                0.00                23,682.33
LIND                   DANIEL K & LISA M LIND                               CLASS 3          200,000.00        29,066.67                 0.00               170,933.33
LIND                   MAINSTAR-FBO WILLIAM LIND T2178236                   CLASS 3            22,704.19              52.98              0.00                22,651.21
LIND                   WILLIAM LIND                                         CLASS 3            25,000.00          304.17                 0.00                24,695.83
LINDE                  MARILYN & JONAS LINDE                                CLASS 3           185,000.00       35,814.51                 0.00               149,185.49
LINDEMANN              PROV. TR GP-FBO TIMOTHY LINDEMANN IRA                CLASS 3            90,000.00         5,448.03                0.00                84,551.97
LINDEMANN              PROV. TR GP-FBO TIMOTHY LINDEMANN IRA                CLASS 5           100,000.00         6,053.36                0.00                93,946.64
LINDENWALD             ROGER J LINDENWALD                                   CLASS 3           150,000.00       26,677.73                 0.00               123,322.27
LINDER                 IRA SVCS TR CO-CFBO NORMAN LINDER                    CLASS 3            50,000.00         4,116.67                0.00                45,883.33
LINDGREN               DUANE & ARLYS LINDGREN                               CLASS 3           200,000.00         6,958.33                0.00               193,041.67
LINDSAY                JAMES & GERALDINE LINDSAY                            CLASS 3            50,000.00          861.10                 0.00                49,138.90
LINDSELL               PROV. TR GP-FBO CHARLES LINDSELL IRA                 CLASS 3            98,467.00         8,613.45                0.00                89,853.55
LINDSEY                JUNE D LINDSEY                                       CLASS 3         1,000,000.00       77,500.00                 0.00               922,500.00
LINDSEY                WILLIAM E LINDSEY                                    CLASS 3         1,000,000.00      140,000.00                 0.00               860,000.00
LINDY & CINDY HLDGS.   LINDY & CINDY HOLDINGS LLC                           CLASS 3           150,000.00         6,875.00                0.00               143,125.00
LINEBACK               FRANCIS M & PHYLLIS A LINEBACK                       CLASS 3            50,000.00         1,539.58                0.00                48,460.42
LINES                  BOBBY & RACHEL LINES                                 CLASS 3           100,000.00         9,514.32                0.00                90,485.68
LINGBLOOM              PROV. TR GP-FBO JACK D LINGBLOOM IRA                 CLASS 3            70,000.00         7,383.06                0.00                62,616.94
LINK                   CHRISTOPHER J LINK                                   CLASS 3            50,000.00       12,205.00                 0.00                37,795.00
LINK                   EDWARD J & SHARON E LINK                             CLASS 3            25,000.00         5,224.81          1,000.00                  18,775.19
LINK                   MARILYN LINK                                         CLASS 3            50,000.00          456.95                 0.00                49,543.05
LINK                   NICHOLAS J LINK                                      CLASS 3            50,000.00       12,205.00                 0.00                37,795.00
LINK                   PROV. TR GP-FBO DELLA M LINK IRA                     CLASS 3           131,000.00       29,566.78           1,000.00                 100,433.22
LINTHIA MGMT           LINTHIA MGMT DEFINED BENEFIT PLAN                    CLASS 3            75,000.00         5,489.58                0.00                69,510.42

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LINVILLE              KIMBERLEY LINVILLE                                  CLASS 3          130,000.00        14,760.06                0.00               115,239.94
LIPE                  CAROL J LIPE                                        CLASS 3          110,089.34           568.80                0.00               109,520.54
LIPE                  CURTIS R LIPE                                       CLASS 3            25,000.00          180.56                0.00                24,819.44
LIPPMAN               CAROLYN LIPPMAN                                     CLASS 3          120,000.00         2,520.83                0.00               117,479.17
LIPPMAN               DAVID MYRON LIPPMAN RLT                             CLASS 3           100,000.00              0.00              0.00               100,000.00
LIPSITZ               IRA SVCS TR CO-CFBO MICHAEL LIPSITZ ROTH            CLASS 3            22,000.00          440.60                0.00                21,559.40
LIPSITZ               IRA SVCS TR CO-CFBO MICHAEL S LIPSITZ               CLASS 3           220,000.00         4,436.67               0.00               215,563.33
LIPSITZ               MICHAEL S LIPSITZ LT                                CLASS 3          130,000.00         3,683.33                0.00               126,316.67
LIPSITZ               ROBERT LIPSITZ                                      CLASS 3            50,000.00         1,208.33               0.00                48,791.67
LISS                  CAROLYN K & RAYMOND L LISS                          CLASS 3            50,000.00         3,308.33               0.00                46,691.67
LITT                  BRIAN LITT                                          CLASS 3            50,000.00         9,682.00               0.00                40,318.00
LITTLEFIELD           DAVID LITTLEFIELD                                   CLASS 5            60,000.00         9,027.46               0.00                50,972.54
LITTLEFIELD           PROV. TR GP-FBO DAVID A LITTLEFIELD ROTH IRA        CLASS 3            34,464.00         4,820.63               0.00                29,643.37
LITTLEFIELD           PROV. TR GP-FBO DAVID A LITTLEFIELD ROTH IRA        CLASS 5           136,763.00       19,129.63                0.00               117,633.37
LITZENBERGER          SHANE & KATHRYN LITZENBERGER                        CLASS 3            50,000.00          641.67                0.00                49,358.33
LIU                   YUAN LIU                                            CLASS 3            25,000.00        1,493.10                0.00                23,506.90
LIVINGSTON            CHRISTINE LIVINGSTON                                CLASS 3            25,000.00          541.67                0.00                24,458.33
LIVINGSTON            MAINSTAR-FBO C LIVINGSTON TW003973                  CLASS 3            71,870.00         1,329.60               0.00                70,540.40
LIVINGSTON ALUMNI     LIVINGSTON ALUMNI ASSOCIATION                       CLASS 3           407,800.00       70,969.05           600.00                  336,230.95
LLEWELLYN             JEFFREY B LLEWELLYN                                 CLASS 3            50,000.00         2,879.83               0.00                47,120.17
LLOYD                 ALYSON LLOYD                                        CLASS 3            25,000.00         2,723.30               0.00                22,276.70
LLOYD                 CHRISTINE C LLOYD                                   CLASS 3           150,000.00         2,833.33               0.00               147,166.67
LOCHTEFELD            JAMES A LOCHTEFELD                                  CLASS 3         2,000,000.00      480,593.41                0.00             1,519,406.59
LOCHTEFELD            JAMES A LOCHTEFELD                                  CLASS 5          500,000.00       120,148.35                0.00               379,851.65
LOCICERO              CAROL & JOHN LOCICERO                               CLASS 3            45,000.00         4,909.55               0.00                40,090.45
LOE                   HARVEY H & KAREN K LOE                              CLASS 3           100,000.00       16,416.67                0.00                83,583.33
LOEWENSTEIN/RUSSELL SHARONA LOEWENSTEIN & EDWARD RUSSELL                  CLASS 3            25,000.00              0.00              0.00                25,000.00
LOFTUS                JOHN C & NANCY K LOFTUS                             CLASS 5           100,000.00         6,527.75               0.00                93,472.25
LOGAN                 JEFFREY R LOGAN                                     CLASS 3            25,000.00         1,284.76               0.00                23,715.24

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
LOGERO                BARBARA LOGERO                                      CLASS 3           500,000.00       26,825.00                 0.00               473,175.00
LOGERO                LARRY LOGERO                                        CLASS 3           200,000.00       12,880.65           1,000.00                 186,119.35
LOGERO                MAINSTAR-FBO BARBARA LOGERO T2177439                CLASS 3            31,000.00         1,721.55                0.00                29,278.45
LOGERO                PROV. TR GP-FBO BARBARA LOGERO IRA                  CLASS 5           137,000.00       11,454.73                 0.00               125,545.27
LOGERO                PROV. TR GP-FBO LARRY E LOGERO IRA                  CLASS 3           130,000.00         9,894.44                0.00               120,105.56
LOGERO                PROV. TR GP-FBO LARRY LOGERO IRA                    CLASS 5         2,250,000.00      189,375.00                 0.00             2,060,625.00
LOHSE                 MAINSTAR-FBO ROBERT LOHSE                           CLASS 3            35,000.00         1,705.77                0.00                33,294.23
LO-HSUEH              MARGARET LO-HSUEH                                   CLASS 3            70,000.00         1,711.13                0.00                68,288.87
LOMBARDO              ELIZABETH LOMBARDO RT                               CLASS 3           160,000.00               0.00              0.00               160,000.00
LOMBARDO              LYNN LOMBARDO                                       CLASS 3           140,000.00       17,325.63                 0.00               122,674.37
LONG                  BESSIE D LONG                                       CLASS 3            25,000.00         1,520.83                0.00                23,479.17
LONG                  BETTY K LONG                                        CLASS 3          100,000.00          5,179.13                0.00                94,820.87
LONG                  EUGENE A & LINDA L LONG                             CLASS 3           150,000.00         3,604.17                0.00               146,395.83
LONG                  GAIL M LONG SPEC NEEDS TR                           CLASS 3            60,000.00         4,040.00                0.00                55,960.00
LONG                  JACQUELINE R LONG                                   CLASS 5            50,000.00         7,038.82                0.00                42,961.18
LONG                  JERRY C LONG                                        CLASS 3            25,000.00         1,520.83                0.00                23,479.17
LONG                  JERRY LONG                                          CLASS 3            40,000.00       15,937.66                 0.00                24,062.34
LONG                  NORMAN G LONG                                       CLASS 3           100,000.00       12,593.73                 0.00                87,406.27
LONGACRE              MAINSTAR-FBO DIANE LONGACRE SW003166                CLASS 3            34,700.00         3,686.91                0.00                31,013.09
LONGO                 PROV. TR GP-FBO ANDREW S LONGO IRA                  CLASS 3            56,000.00       12,620.37                 0.00                43,379.63
LONGO                 PROV. TR GP-FBO TERESA A LONGO IRA                  CLASS 3            70,585.00       15,258.13                 0.00                55,326.87
LONGS PEAK VFW        LONGS PEAK VFW POST 2601                            CLASS 3           600,000.00       16,050.00                 0.00               583,950.00
LONSWAY               JOSEPH O LONSWAY                                    CLASS 3            40,000.00         2,691.07                0.00                37,308.93
LONSWAY               LONSWAY FT                                          CLASS 3           270,000.00       21,790.34                 0.00               248,209.66
LONTO                 BENJAMIN LONTO                                      CLASS 3            25,000.00              25.00              0.00                24,975.00
LOO                   RAYMOND & ROSE LOO                                  CLASS 3            50,000.00         2,360.45                0.00                47,639.55
LOONEY                RONALD D LOONEY                                     CLASS 3           125,000.00       11,960.02                 0.00               113,039.98
LOPES                 PROV. TR GP-FBO LISA LOPES IRA                      CLASS 3           100,833.48         4,666.35                0.00                96,167.13
LOPEZ                 MAINSTAR-FBO CARMELO S-LOPEZ T2178052               CLASS 3           300,000.00         4,750.00                0.00               295,250.00

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
LOPEZ                 MAINSTAR-FBO JESSICA J S-LOPEZ T2177840            CLASS 3          325,000.00         5,145.83                0.00               319,854.17
LOPEZ                 PFL SOLO 401K TR FBO PABLO F LOPEZ                 CLASS 3            25,000.00          437.49                0.00                24,562.51
LOPEZ                 THE JUANITA S LOPEZ TR DTD 09/11/12                CLASS 3            25,000.00        1,256.56                0.00                23,743.44
LOPINTO               IRA SVCS TR CO-CFBO FRANK LOPINTO IRA              CLASS 3           200,000.00         5,300.00               0.00               194,700.00
LORE                  CHRISTINE D LORE TR DTD 11/04/98                   CLASS 3            70,000.00       11,441.13                0.00                58,558.87
LORIA/MAULEON         SAMSON LORIA & ERLINDA BLANCO MAULEON              CLASS 3            50,000.00              0.00              0.00                50,000.00
LORIDON               JOHANN LORIDON                                     CLASS 3          100,000.00          1,805.57               0.00                98,194.43
LORSHBOUGH            DAVID LORSHBOUGH                                   CLASS 3           100,000.00       14,716.67                0.00                85,283.33
LOSSNER               GEORGE LOSSNER                                     CLASS 3            25,000.00          572.93                0.00                24,427.07
LOUCK                 KENNETH L LOUCK                                    CLASS 3          150,000.00          9,326.35               0.00               140,673.65
LOUGHLIN              FRANCIS LOUGHLIN                                   CLASS 3            25,000.00          768.04                0.00                24,231.96
LOUIS                 FRED LOUIS                                         CLASS 3          175,000.00          1,118.06               0.00               173,881.94
LOUIS                 MAINSTAR-FBO FRED LOUIS TW0004020                  CLASS 3          100,000.00          1,250.00               0.00                98,750.00
LOVE                  PROV. TR GP-FBO AIMEE L LOVE IRA                   CLASS 5           141,320.50       38,627.72                0.00               102,692.78
LOVELAND              MAINSTAR-FBO DARREN LOVELAND T2177746              CLASS 3           161,300.00         1,097.74               0.00               160,202.26
LOVELESS              KATHLEEN WOOD LOVELESS                             CLASS 3           500,000.00       68,230.49                0.00               431,769.51
LOVELESS              PROV. TR GP-FBO KATHY WOOD LOVELESS IRA            CLASS 3            30,000.00         3,073.33               0.00                26,926.67
LOVETRO               KATIE LOVETRO                                      CLASS 3            25,000.00         7,275.00               0.00                17,725.00
LOVINGS               JAMES W LOVINGS                                    CLASS 3            50,000.00       11,095.78                0.00                38,904.22
LOWE                  DAVID F LOWE                                       CLASS 3            75,000.00        9,472.30                0.00                65,527.70
LOWE                  ROBERT F LOWE                                      CLASS 3          220,000.00          9,151.12               0.00               210,848.88
LOWRY                 JOSEPH A LOWRY                                     CLASS 3            50,000.00          683.33                0.00                49,316.67
LOZNEANU              DOREL & ELIZABETH V LOZNEANU                       CLASS 3            46,000.00         2,094.25               0.00                43,905.75
LOZYNSKY              JOHN LOZYNSKY                                      CLASS 3          100,000.00          1,186.10               0.00                98,813.90
LT MUHLENKAMP ENT.    LT MUHLENKAMP ENTERPRISES INC                      CLASS 3           150,000.00       15,845.04                0.00               134,154.96
LUBIN                 HOWARD E LUBIN                                     CLASS 3            25,000.00         6,081.98               0.00                18,918.02
LUCAS                 EARL LUCAS                                         CLASS 3            25,000.00         4,122.13               0.00                20,877.87
LUCAS                 PROV. TR GP-FBO THOMAS J LUCAS IRA                 CLASS 5           221,378.00       44,829.05                0.00               176,548.95
LUCAS                 THOMAS J & BARBARA A LUCAS                         CLASS 3           400,000.00       61,808.85                0.00               338,191.15

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
LUCCA                 EILEEN P LUCCA                                      CLASS 3            27,250.00         2,861.21                0.00                24,388.79
LUCE                  MAINSTAR-FBO CATHERINE LUCE T2178459                CLASS 3            54,200.00          139.27                 0.00                54,060.73
LUCERO                IRA SVCS TR CO-CFBO PHILLIP B LUCERO IRA            CLASS 3            25,000.00          855.53                 0.00                24,144.47
LUEHMANN              JAMES R LUEHMANN                                    CLASS 3            50,000.00        7,689.78                 0.00                42,310.22
LUEHMANN              JAMES R LUEHMANN                                    CLASS 5          201,557.62        30,998.65                 0.00               170,558.97
LUENGO                OSCAR DANIEL LUENGO                                 CLASS 3            50,000.00          750.00                 0.00                49,250.00
LUFT                  JILL LUFT LT                                        CLASS 3          100,000.00        18,151.97                 0.00                81,848.03
LUKASIK               PROV. TR GP-FBO LINDA LUKASIK IRA                   CLASS 3            85,709.61         5,696.12                0.00                80,013.49
LUKE                  ERIC LUKE                                           CLASS 3            50,000.00         2,148.59                0.00                47,851.41
LUKE                  TREVOR ERIC LUKE                                    CLASS 3            50,000.00          870.84                 0.00                49,129.16
LUMBARDY              STAN & DELILA LUMBARDY                              CLASS 3            50,000.00              58.33              0.00                49,941.67
LUNA                  JUAN T & GLORIA A LUNA                              CLASS 5            50,000.00         9,987.59                0.00                40,012.41
LUND                  MAINSTAR-FBO KENNETH LUND                           CLASS 3           100,000.00         4,201.39                0.00                95,798.61
LUNDEEN               LUNDEEN FT DTD 12/09/98                             CLASS 3            50,000.00         5,113.84                0.00                44,886.16
LUNSFORD              PROV. TR GP-FBO J LEIGH LUNSFORD INH IRA            CLASS 3           100,000.00       10,830.56                 0.00                89,169.44
LUNSFORD              WILLIAM D & JUDITH D LUNSFORD                       CLASS 3            45,000.00       21,945.77                 0.00                23,054.23
LUPI                  FRANK J LUPI                                        CLASS 3            25,000.00         1,245.11                0.00                23,754.89
LUPI                  MAINSTAR-FBO KATHLEEN A LUPI                        CLASS 3           131,000.00       11,877.33                 0.00               119,122.67
LURGIO                JOSEPH LURGIO                                       CLASS 3            25,000.00         1,241.29                0.00                23,758.71
LUSK                  SUSAN M & SCOTT W LUSK                              CLASS 3            40,000.00          459.06                 0.00                39,540.94
LUTER                 CLARA F LUTER                                       CLASS 3            43,300.00        2,002.69                 0.00                41,297.31
LUTTRELL              MAINSTAR-FBO ROBERT LUTTRELL                        CLASS 3            49,014.11         2,029.32                0.00                46,984.79
LUTZ                  LAWRENCE & JUDITH LUTZ                              CLASS 3            50,000.00         1,383.33                0.00                48,616.67
LY                    IRA SVCS TR CO-CFBO CHUC LY IRA                     CLASS 3            80,000.00         6,493.33                0.00                73,506.67
LYDON                 WILLIAM F LYDON                                     CLASS 3            25,000.00          975.00                 0.00                24,025.00
LYLE                  MAINSTAR-FBO JANET LYLE T2174650                    CLASS 3          266,500.00        29,346.27                 0.00               237,153.73
LYLE                  PROV. TR GP-FBO KATHRYN LYLE IRA                    CLASS 5            50,000.00       16,444.59                 0.00                33,555.41
LYLE                  RAYBOURNE E LYLE RLT                                CLASS 3            25,000.00          875.03                 0.00                24,124.97
LYNCH                 ALBERT M & FREDA B LYNCH                            CLASS 3           100,000.00       10,887.57                 0.00                89,112.43

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                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
LYNCH                 FREDA B & ALBERT M LYNCH SR                       CLASS 5           100,000.00         2,444.44               0.00                97,555.56
LYNCH                 MARIANNE E LYNCH                                  CLASS 3            25,000.00         2,885.48               0.00                22,114.52
LYNUM                 ELTON LYNUM                                       CLASS 3            50,000.00          641.67                0.00                49,358.33
LYON                  LEE LYON                                          CLASS 3            31,000.00          355.64                0.00                30,644.36
LYONS                 ANNELIESE LYONS                                   CLASS 3            30,000.00         3,497.26               0.00                26,502.74
LYONS                 JOHN AND/OR ANNELIESE LYONS                       CLASS 5          110,000.00        25,850.09                0.00                84,149.91
LYONS                 KENNETH & THERESA LYONS                           CLASS 3          100,000.00        11,800.00                0.00                88,200.00
LYONS                 PROV. TR GP-FBO KENNETH LYONS IRA                 CLASS 3            64,498.00         7,447.26               0.00                57,050.74
LYONS                 PROV. TR GP-FBO THERESA LYONS IRA                 CLASS 3            42,241.00         4,887.64               0.00                37,353.36
LYONS                 ROBERT E LYONS                                    CLASS 3            46,000.00         2,035.90               0.00                43,964.10
LYTLE                 PROV. TR GP-FBO LINDA L LYTLE IRA                 CLASS 5           200,000.00       83,861.16                0.00               116,138.84
MA                    GUANG M MA                                        CLASS 3            50,000.00        2,638.85                0.00                47,361.15
MA                    MAINSTAR-FBO GUANG M MA TW003508                  CLASS 3            73,921.25         3,798.74               0.00                70,122.51
MACALISTER            MAINSTAR-FBO GORDON MACALISTER T2178203           CLASS 3            60,000.00          645.83                0.00                59,354.17
MACDONALD             CYNTHIA MACDONALD                                 CLASS 3            25,000.00          225.00                0.00                24,775.00
MACDONALD             ROBERT J MACDONALD                                CLASS 3            25,000.00         1,701.44               0.00                23,298.56
MACE                  IRA SVCS TR CO-CFBO JAMES M MACE IRA              CLASS 3          145,500.00        10,170.83                0.00               135,329.17
MACE                  JUNE MACE                                         CLASS 3            60,000.00              0.00              0.00                60,000.00
MACEAU                MAINSTAR-FBO GREGORY A MACEAU T2174866            CLASS 3          162,300.00        15,235.25                0.00               147,064.75
MACEY                 PROV. TR GP-FBO CHERYL A MACEY IRA                CLASS 3          203,000.00         3,039.44                0.00               199,960.56
MACGUFFIN             MICHAEL H & LISA A MACGUFFIN                      CLASS 3            50,000.00        1,604.16                0.00                48,395.84
MACHADO               BARBEE MACHADO                                    CLASS 5           100,000.00       16,388.85                0.00                83,611.15
MACIAS                HORIZON TR CO-FBO JUAN E MACIAS                   CLASS 3            49,500.00        2,654.48                0.00                46,845.52
MACINNES              PROV. TR GP-FBO ANITA R MACINNES IRA              CLASS 3            79,235.00        2,284.61                0.00                76,950.39
MACKSON               MAINSTAR-FBO MURRAY MACKSON T2174257              CLASS 3          100,000.00        11,452.41                0.00                88,547.59
MACPHERSON            GARY S MACPHERSON                                 CLASS 3            60,000.00          610.00                0.00                59,390.00
MADDEN                CLAIRE C MADDEN                                   CLASS 5          200,000.00        55,833.44                0.00               144,166.56
MADDEN                THERESA MADDEN                                    CLASS 3            35,000.00         8,189.86               0.00                26,810.14
MADDOCKS              KATHERYN A MADDOCKS                               CLASS 3            25,000.00         2,946.49               0.00                22,053.51

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
MADDOCKS              PROV. TR GP-FBO RALPH C MADDOCKS IRA               CLASS 3            27,000.00          922.62                 0.00                26,077.38
MADDOCKS              RALPH C & KATHERYN A MADDOCKS                      CLASS 3           100,000.00       11,922.67                 0.00                88,077.33
MADDOCKS              RALPH MADDOCKS                                     CLASS 3            60,000.00         4,723.39                0.00                55,276.61
MADSEN                PROV. TR GP-FBO STERLING MADSEN ICA                CLASS 5           513,436.09       61,489.02                 0.00               451,947.07
MADSEN-BUTTERS        PROV. TR GP-FBO DORI MADSEN-BUTTERS IRA            CLASS 5          100,000.00        22,722.22                 0.00                77,277.78
MAENNER               JILL MAENNER                                       CLASS 3          100,000.00        16,097.29                 0.00                83,902.71
MAGAGNA               JONE ELLE MAGAGNA                                  CLASS 3            50,000.00         2,490.31                0.00                47,509.69
MAGARO                ANTOINETTE MAGARO                                  CLASS 3            25,000.00         1,462.50                0.00                23,537.50
MAGARO                PROV. TR GP-FBO ANTOINETTE MAGARO IRA              CLASS 5           250,000.00       22,638.89                 0.00               227,361.11
MAGEE,                PROV. TR GP-FBO ROBERT C MAGEE, JR IRA             CLASS 3            76,000.00       14,703.89                 0.00                61,296.11
MAGIDOV CPA           MAGIDOV CPA FIRM AN ACCOUNTANCY CORP               CLASS 3            25,000.00         1,157.26                0.00                23,842.74
MAGLUTA               ALFREDO & MARIA MAGLUTA                            CLASS 3            50,000.00          138.89                 0.00                49,861.11
MAGNOTTI              MAINSTAR-FBO TERI L MAGNOTTI T2177864              CLASS 3           272,000.00         3,588.89                0.00               268,411.11
MAGRUM                DONNA MAGRUM                                       CLASS 3           140,000.00       11,955.56                 0.00               128,044.44
MAGUIRE               ALFRED PAUL MAGUIRE                                CLASS 3            25,000.00          445.83                 0.00                24,554.17
MAHABIR               LYNETTE P & PAUL K MAHABIR                         CLASS 5           200,000.00       10,744.80                 0.00               189,255.20
MAHANA                PROV. TR GP-FBO JANET MAHANA IRA                   CLASS 3            59,500.00         4,363.33                0.00                55,136.67
MAHLER                BRENDA S MAHLER                                    CLASS 3           130,000.00       15,660.71                 0.00               114,339.29
MAICKI                ALAN & RUTH MAICKI                                 CLASS 3            40,000.00          922.24                 0.00                39,077.76
MAICKI                ALAN D MAICKI                                      CLASS 3            50,000.00        3,999.94                 0.00                46,000.06
MAICKI                MAINSTAR-FBO ALAN MAICKI BT177141                  CLASS 3            32,728.12          718.20                 0.00                32,009.92
MAICKI                MAINSTAR-FBO ALAN MAICKI T2178556                  CLASS 3          221,000.00                0.00              0.00               221,000.00
MAIERHAFER            LEON F & CAROL S MAIERHAFER                        CLASS 3            50,000.00              48.61              0.00                49,951.39
MAINE TSP HS DIST.    MAINE TSP HS DISTRICT EDU FOUNDATION               CLASS 3           100,000.00       12,908.33           1,000.00                  86,091.67
MAJESKE               PROV. TR GP-FBO RONALD F MAJESKE IRA               CLASS 5           240,000.00       22,171.35                 0.00               217,828.65
MAKELA                TIM & SHERRI MAKELA                                CLASS 3          400,000.00        32,500.00                 0.00               367,500.00
MAKSIMOV              ZHANA MAKSIMOV                                     CLASS 3            50,000.00         1,756.92                0.00                48,243.08
MALCOLM               YVONNE & MICHAEL MALCOLM                           CLASS 3            50,000.00          302.08                 0.00                49,697.92
MALIANNI              ALFRED S & GAIL E MALIANNI RLT 03/27/14            CLASS 5         1,500,000.00      728,633.55                 0.00               771,366.45

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                                         Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
MALIG                 MALIG FT                                           CLASS 3          125,000.00         6,043.42                 0.00               118,956.58
MALINOWSKI            PROV. TR GP-FBO RICH/ELIZ. MALINOWSKI ICA          CLASS 5            50,000.00       25,968.20                 0.00                24,031.80
MALINOWSKI            PROV. TR GP-FBO RICHARD MALINOWSKI IRA             CLASS 5            50,000.00       17,236.26                 0.00                32,763.74
MALLAH                MARLENE & MAURICE MALLAH RLT                       CLASS 3         1,000,000.00      104,870.28                 0.00               895,129.72
MALLICK               SATYA MALLICK                                      CLASS 3            50,000.00          888.88                 0.00                49,111.12
MALLOY                EDWARD F MALLOY                                    CLASS 3            25,000.00              93.75              0.00                24,906.25
MALONEY               JAMES J & CHERI MALONEY                            CLASS 3            25,000.00         1,816.67                0.00                23,183.33
MALONEY               PROV. TR GP-FBO JOE L MALONEY IRA                  CLASS 3            63,219.00         7,965.60                0.00                55,253.40
MALOOF                ROSE R MALOOF RLT DTD 09/23/99                     CLASS 3          150,000.00         6,201.34                 0.00               143,798.66
MALTBY                MAINSTAR-FBO CHARLES MALTBY                        CLASS 3            25,000.00         1,900.69                0.00                23,099.31
MALTESE               PATRICK L MALTESE                                  CLASS 3          100,000.00        20,394.26                 0.00                79,605.74
MALTZ                 JUDITH M & ROBERT B MALTZ                          CLASS 3          180,000.00        11,656.63                 0.00               168,343.37
MAMO                  THE MAMO FT DTD 11/18/02                           CLASS 3            30,000.00          950.00                 0.00                29,050.00
MANDEVILLE            EARL MANDEVILLE                                    CLASS 3           140,000.00         7,641.67                0.00               132,358.33
MANDEVILLE            MARK L & JENNIFER L MANDEVILLE                     CLASS 3           100,000.00       14,746.63                 0.00                85,253.37
MANDUJANO             VITALINA RUIZ MANDUJANO                            CLASS 3            30,000.00          250.00                 0.00                29,750.00
MANER                 BUFORD ALONZO & GAIL T MANER                       CLASS 3           100,000.00       11,788.94                 0.00                88,211.06
MANGIA                ANTHONY J MANGIA                                   CLASS 3           100,000.00         1,069.44                0.00                98,930.56
MANLEY                DAVID S & JO ANN M MANLEY                          CLASS 3            25,000.00          618.07                 0.00                24,381.93
MANNABERG-GOLDMAN MAINSTAR-FBO E MANNABERG-GOLDMAN T2175405             CLASS 3*            25,000.00        2,291.67                 0.00                22,708.33
MANNING               D LEE & ELLEN MANNING                              CLASS 3            25,000.00         1,489.62                0.00                23,510.38
MANNING               MAINSTAR-FBO DANNY C MANNING TW004202              CLASS 3           392,653.35          818.03                 0.00               391,835.32
MANNING               PROV. TR GP-FBO SYLVIA D MANNING IRA               CLASS 3            99,000.00       14,102.00                 0.00                84,898.00
MANNING               WILBER J JR & PHILLIS MANNING                      CLASS 3            25,000.00          931.57                 0.00                24,068.43
MANNING/PRYOR         PHILLIS MANNING & VERNA PRYOR                      CLASS 3           100,000.00         7,684.15                0.00                92,315.85
MANNINO               JAMES & ELAINE MANNINO                             CLASS 3            50,000.00         1,618.05                0.00                48,381.95
MANNION               MAINSTAR-FBO MICHAEL MANNION T2177366              CLASS 3           100,000.00         3,777.77                0.00                96,222.23
MANNION               MICHAEL MANNION                                    CLASS 3            50,000.00          366.66                 0.00                49,633.34
MANUEL                LEIA A MANUEL                                      CLASS 3            60,000.00         1,525.83                0.00                58,474.17

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MANUEL                MANUEL FRLT DTD 02/07/03                            CLASS 3          200,000.00          9,697.21              0.00               190,302.79
MANZO                 RON MANZO                                           CLASS 3          100,000.00         1,833.33               0.00                98,166.67
MAR                   MAINSTAR-FBO MAY L MAR T2176303                    CLASS 3*            25,134.62        1,052.16               0.00                24,082.46
MARA                  MAINSTAR-FBO THERON E MARA TW003751                 CLASS 3            85,000.00         3,603.05              0.00                81,396.95
MARANO                ANTHONY MARANO                                      CLASS 3            50,000.00         2,799.99              0.00                47,200.01
MARANUK               FLORENCE MARANUK                                    CLASS 3           246,897.03       56,620.76               0.00               190,276.27
MARCHANTE             MARIE & JULIE M MARCHANTE                           CLASS 3            50,000.00         8,374.30              0.00                41,625.70
MARCHANTE             THE MARIE MARCHANTE FT 08/21/00                     CLASS 3           210,000.00         4,879.19              0.00               205,120.81
MARCOTTE              MICHAEL F MARCOTTE                                  CLASS 5          100,000.00        19,555.71               0.00                80,444.29
MARCOUX               IRA SVCS TR CO-CFBO JOHN L MARCOUX                  CLASS 3            32,500.00          645.50               0.00                31,854.50
MARCOUX               JOHN L MARCOUX                                      CLASS 3           100,000.00         4,062.50              0.00                95,937.50
MARCOZZI              RENEE MARCOZZI                                      CLASS 3            25,000.00          239.59               0.00                24,760.41
MARCUS                IRA SVCS TR CO-CFBO SHELDON M MARCUS IRA            CLASS 3            50,000.00         1,534.70              0.00                48,465.30
MARCUS                SHELDON M MARCUS                                    CLASS 3            25,000.00          777.80               0.00                24,222.20
MARES                 MARIA E & LUIS A MARES                              CLASS 3            50,000.00          806.95               0.00                49,193.05
MARGITTAI             FRANK MARGITTAI                                     CLASS 3           100,000.00         2,291.68              0.00                97,708.32
MARGITTAI             MAINSTAR-FBO KATHRYN I MARGITTAI T175941            CLASS 3           300,000.00       11,479.16               0.00               288,520.84
MARIE                 LEAH MARIE                                          CLASS 3            50,000.00        4,903.33               0.00                45,096.67
MARINE                MARINE 694373 LRT DTD 08/07/12                      CLASS 3            85,000.00         2,470.19              0.00                82,529.81
MARION                JOYCE H MARION RLT                                  CLASS 3            60,000.00         5,455.11              0.00                54,544.89
MARKER                PROV. TR GP-FBO CONRAD MARKER IRA                   CLASS 3           133,500.00         6,408.00              0.00               127,092.00
MARKERT               PROV. TR GP-FBO MICHAEL MARKERT IRA                 CLASS 3          217,216.00        25,993.89               0.00               191,222.11
MARKET VENTURES       MARKET VENTURES LLLP                                CLASS 3           147,150.00       13,157.51               0.00               133,992.49
MARKGRAF              FLORENCE G MARKGRAF RLT                             CLASS 3           930,000.00       64,494.63               0.00               865,505.37
MARKGRAF              TERRENCE D MARKGRAF                                 CLASS 3           195,000.00       13,234.08               0.00               181,765.92
MARKOWITZ             PROV. TR GP-FBO MURRAY MARKOWITZ IRA                CLASS 3           120,000.00       21,340.00               0.00                98,660.00
MARKOWITZ             THE MURRAY & LINDA MARKOWITZ RT                     CLASS 3           120,000.00       18,685.00               0.00               101,315.00
MARKS                 NICOLE S MARKS                                      CLASS 3            25,000.00         1,647.88              0.00                23,352.12
MARKS                 PROV. TR GP-FBO RICHARD B MARKS IRA                 CLASS 3            89,821.92       21,156.72               0.00                68,665.20

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MARKUM                MAINSTAR-FBO PATRICIA JAN MARKUM BT176486          CLASS 3            58,230.00         2,148.44               0.00                56,081.56
MARNELL               MAINSTAR-FBO PAUL MARNELL                          CLASS 3          100,440.00          6,905.25               0.00                93,534.75
MARQUAND              KERMIT W & NANCY R MARQUAND                        CLASS 3           101,000.00       21,492.84          1,000.00                  78,507.16
MARQUAND              PROV. TR GP-FBO NANCY R MARQUAND ROTH IRA          CLASS 3            25,000.00         4,286.47               0.00                20,713.53
MARS                  JAMES MARS & ADRIENNE DRITZ-MARS                   CLASS 3            60,000.00         3,141.67               0.00                56,858.33
MARS                  PATRICIA MARS                                      CLASS 3            40,000.00        3,095.51                0.00                36,904.49
MARSH                 JOHN ROBERT & LINDA MARSH                          CLASS 3            25,000.00          909.00                0.00                24,091.00
MARSH                 RONNIE E MARSH                                     CLASS 3            80,000.00              0.00              0.00                80,000.00
MARSHALL              ALVIN E MARSHALL                                   CLASS 3            50,000.00          150.00                0.00                49,850.00
MARSHALL              CHRISTIAN T MARSHALL                               CLASS 3            50,000.00          583.34                0.00                49,416.66
MARSHALL              HAROLD C & PAMELA M MARSHALL                       CLASS 5            75,000.00       24,500.04                0.00                50,499.96
MARSHALL              HORIZON TR CO-FBO SARA L MARSHALL IRA              CLASS 3           200,000.00       19,866.63                0.00               180,133.37
MARSHALL              MAINSTAR-FBO JOHN MARSHALL T2175753                CLASS 3           116,833.68         7,341.06               0.00               109,492.62
MARSHALL              MARILYN MARSHALL                                   CLASS 3           100,000.00         5,150.00               0.00                94,850.00
MARSHALL              MICHAEL MARSHALL                                  CLASS 3*            25,000.00          262.50                0.00                24,737.50
MARSHALL              PROV. TR GP-FBO BEVERLY A MARSHALL IRA             CLASS 3            30,350.00         2,440.65               0.00                27,909.35
MARSHALL              PROV. TR GP-FBO DENESE MARSHALL IRA                CLASS 3            40,000.00         9,573.22               0.00                30,426.78
MARSHALL              PROV. TR GP-FBO DENESE MARSHALL IRA                CLASS 5           116,000.00       27,762.34                0.00                88,237.66
MARSHALL              SARA L MARSHALL                                    CLASS 3           550,000.00       40,083.34          1,000.00                 508,916.66
MARSHALL              STEPHEN MARSHALL                                   CLASS 3            50,000.00         2,383.37               0.00                47,616.63
MARSHALL              THE MARSHALL FRLT 03/26/15                         CLASS 3           250,000.00       52,422.01                0.00               197,577.99
MARSHALL              THE MARSHALL FT UAD 05/26/14 CAM & CCM TT          CLASS 3            25,000.00         2,757.02               0.00                22,242.98
MARSHALL              TMICO-FBO JOHN E MARSHALL IRA                      CLASS 5           150,000.00       51,416.74                0.00                98,583.26
MARSHALLS' RIVERBANK MARSHALLS' RIVERBANK FARMS LTD                      CLASS 3            30,000.00         3,433.33               0.00                26,566.67
MARSTON               CHRISTOPHER & DANA LEE MARSTON                     CLASS 3           134,000.00         2,144.00               0.00               131,856.00
MARSTON               MAINSTAR-FBO BEATRICE MARSTON R2177236             CLASS 3             8,600.00          169.13                0.00                 8,430.87
MARSTON               MAINSTAR-FBO LORRI BETH MARSTON T2177555           CLASS 3            92,500.00         1,233.33               0.00                91,266.67
MARSTON               MAINSTAR-FBO RICHARD MARSTON R2177237              CLASS 3             8,800.00          173.07                0.00                 8,626.93
MARSTON               MAINSTAR-FBO RICHARD MARSTON T2176717              CLASS 3            75,300.00         2,209.28               0.00                73,090.72

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MARTIN                ANSEL EARL & BARBARA MARTIN                         CLASS 3            50,000.00          541.68               0.00                49,458.32
MARTIN                BRIAN & ANITA MARTIN FT                             CLASS 3          250,000.00        32,927.08               0.00               217,072.92
MARTIN                CAROL E MARTIN                                      CLASS 3            50,000.00         2,114.60              0.00                47,885.40
MARTIN                DONALD G & MARY ANN MARTIN                          CLASS 3           100,000.00         1,402.79              0.00                98,597.21
MARTIN                ETHEL L MARTIN                                      CLASS 3            55,000.00        1,739.36               0.00                53,260.64
MARTIN                FRANCES & STEPHEN MARTIN                            CLASS 3            30,000.00         1,684.58              0.00                28,315.42
MARTIN                GRACE D MARTIN                                      CLASS 3            60,000.00          898.33               0.00                59,101.67
MARTIN                GRAHAM MARTIN                                       CLASS 3           600,000.00       27,902.86         2,000.00                 570,097.14
MARTIN                IRA SVCS TR CO-CFBO LINDA L MARTIN IRA              CLASS 3            27,500.00          710.40               0.00                26,789.60
MARTIN                IRA SVCS TR CO-CFBO RENEE MARTIN IRA                CLASS 3            29,500.00         2,109.25              0.00                27,390.75
MARTIN                JAMES THOMAS & TERRI DENISE MARTIN                  CLASS 3          150,000.00        12,843.10               0.00               137,156.90
MARTIN                JERRY L & L JEAN MARTIN                             CLASS 3          100,000.00        13,100.00               0.00                86,900.00
MARTIN                KEDRON MARTIN                                       CLASS 3            50,000.00        1,054.17               0.00                48,945.83
MARTIN                KEDRON MARTIN                                       CLASS 5          200,000.00          4,216.70              0.00               195,783.30
MARTIN                KENT MARTIN                                         CLASS 3          100,000.00         3,208.38               0.00                96,791.62
MARTIN                LINDA K MARTIN                                      CLASS 5            50,000.00         4,994.58              0.00                45,005.42
MARTIN                MAINSTAR-FBO M L MARTIN T2177836                    CLASS 3            25,000.00          350.69               0.00                24,649.31
MARTIN                MAINSTAR-FBO ROSE MARTIN T2174928                   CLASS 3           160,000.00       19,425.73               0.00               140,574.27
MARTIN                MAINSTAR-FBO ROSE MARTIN T2174928                   CLASS 5           500,000.00       60,705.39               0.00               439,294.61
MARTIN                MARTIN FT DTD 01/21/11                              CLASS 3            50,000.00         2,500.00              0.00                47,500.00
MARTIN                PROV. TR GP-FBO ANNE MARIE MARTIN IRA               CLASS 5            90,000.00       29,180.00               0.00                60,820.00
MARTIN                PROV. TR GP-FBO FRANCES MARTIN IRA                  CLASS 3            58,453.01         2,575.18              0.00                55,877.83
MARTIN                PROV. TR GP-FBO RANDALL S MARTIN ROTH IRA           CLASS 3            78,000.00         7,400.22              0.00                70,599.78
MARTIN                PROV. TR GP-FBO RAYMOND C MARTIN IRA                CLASS 3            84,656.00         5,523.81              0.00                79,132.19
MARTIN                RICHARD & GRETA MARTIN LT 11/01/99                  CLASS 3            81,464.13          205.92               0.00                81,258.21
MARTIN                SCOTT E MARTIN                                      CLASS 3            70,000.00          245.00               0.00                69,755.00
MARTIN                THOMAS PATRICK MARTIN                               CLASS 3            50,000.00         7,377.76              0.00                42,622.24
MARTIN                VIRGINIA MARTIN                                     CLASS 3            50,000.00         3,879.21              0.00                46,120.79
MARTIN                W R MARTIN TTEE PRINCETON FINANCIAL 401K            CLASS 5           200,000.00         1,888.88              0.00               198,111.12

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MARTIN                ROSE MARTIN                                       CLASS 3            30,000.00        4,332.50                0.00                25,667.50
MARTINEAU             IRINA & NICOLE M MARTINEAU                        CLASS 3            50,000.00         1,875.00         2,000.00                  46,125.00
MARTINEZ              ERNEST A JR & STEPHANIE MARTINEZ JTWROS           CLASS 5           120,000.00       31,233.33                0.00                88,766.67
MARTINEZ              GARY STEVEN MARTINEZ                              CLASS 3            30,000.00         1,359.58               0.00                28,640.42
MARTINEZ              GOLDSTAR TR CO-FBO PAUL H MARTINEZ IRA            CLASS 5           123,324.75       10,345.61                0.00               112,979.14
MARTINEZ              MAINSTAR-FBO VIDAL MARTINEZ T2175136              CLASS 3          153,875.00        16,057.09                0.00               137,817.91
MARTINEZ              PAUL H & MARY ANN MARTINEZ JTWROS                 CLASS 5           120,000.00       31,233.33                0.00                88,766.67
MARTINEZ/BEUTLER      CYNTHIA S MARTINEZ & ROBERT JAY BEUTLER           CLASS 3            67,000.00         5,966.51               0.00                61,033.49
MARTINOVICH           ANTHONY M & ANNA MARIE MARTINOVICH                CLASS 3            50,000.00         2,293.03               0.00                47,706.97
MARTUZZO              JAMES M MARTUZZO                                  CLASS 3            25,000.00          166.67                0.00                24,833.33
MARX                  CATHERINE A MARX                                  CLASS 3            25,000.00          663.21                0.00                24,336.79
MASBANJI              MASBANJI TR                                       CLASS 3            99,000.00       12,694.00                0.00                86,306.00
MASLANICH             PROV. TR GP-FBO DAVID W MASLANICH IRA             CLASS 3           168,000.00       27,736.89                0.00               140,263.11
MASON                 GEORGE D & BARBARA A MASON                        CLASS 3            50,000.00       10,612.56                0.00                39,387.44
MASON                 GEORGE E & ELLEN H MASON                          CLASS 3            40,000.00          272.22                0.00                39,727.78
MASON                 MAINSTAR-FBO THOMAS MASON T2176814                CLASS 3            86,543.71         2,675.64               0.00                83,868.07
MASON                 MARILYN L MASON                                   CLASS 3          400,000.00        10,815.25                0.00               389,184.75
MASON                 MICHAEL J MASON RT DTD 11/25/14                   CLASS 3            25,000.00         3,583.33               0.00                21,416.67
MASON                 MICHAEL MASON                                     CLASS 5          250,000.00        61,000.17                0.00               188,999.83
MASON                 PROV. TR GP-FBO MARILYN L MASON IRA               CLASS 3            50,500.00         5,244.98               0.00                45,255.02
MASONIC MEMORIAL      MASONIC MEMORIAL TEMPLE INC                       CLASS 3            50,000.00        1,325.00                0.00                48,675.00
MASSARO               PAUL & SUSAN MASSARO                              CLASS 3            30,000.00         2,892.32               0.00                27,107.68
MASSELLA              PROV. TR GP-FBO ELIZABETH W MASSELLA IRA          CLASS 3            61,000.00         7,096.08               0.00                53,903.92
MASSELLA              PROV. TR GP-FBO JOHN D MASSELLA IRA               CLASS 3           115,000.00       25,514.95                0.00                89,485.05
MASSELLA              PROV. TR GP-FBO THOMAS MASSELLA SEP IRA           CLASS 3            56,000.00         5,959.11               0.00                50,040.89
MASSEY                PROV. TR GP-FBO CHARLIE MASSEY IRA                CLASS 3            35,200.00              0.00              0.00                35,200.00
MASSON                JAMES & GERALDINE MASSON                          CLASS 3            30,000.00        3,986.67                0.00                26,013.33
MASSON                PROV. TR GP-FBO JAMES H MASSON IRA                CLASS 3            53,349.00       10,794.16                0.00                42,554.84
MASTON                ROY E III & CYNTHIA L MASTON                      CLASS 5            50,000.00         7,604.98               0.00                42,395.02

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MASTROBERTE           ROBERT & BEVERLY MASTROBERTE                        CLASS 3*            40,000.00         4,255.00               0.00                35,745.00
MATA CBL INV.         MATA CBL INVESTMENTS LLC                             CLASS 3            35,000.00          461.80                0.00                34,538.20
MATAALII              GLORIA MATAALII                                      CLASS 3            22,238.87          860.54                0.00                21,378.33
MATALLII              MAINSTAR-FBO GLORIA MATALLII T2176906                CLASS 3            56,000.00              0.00              0.00                56,000.00
MATARRESE             THE TR OF ANTONY F MATARRESE                         CLASS 3           200,000.00         4,999.98               0.00               195,000.02
MATER                 MAINSTAR-FBO CHRISTINE MATER T2175955                CLASS 3          144,565.74         7,991.28                0.00               136,574.46
MATHE                 GAYLE & CHRISTOPHER MATHE                            CLASS 3            25,000.00          741.67                0.00                24,258.33
MATHEN                LALITHA & SANTOSH MATHEN                             CLASS 3            50,000.00        9,981.27                0.00                40,018.73
MATHEWS               JULIA MATHEWS                                        CLASS 3            70,000.00        1,438.90                0.00                68,561.10
MATHIS                MAINSTAR-FBO MICHAEL S MATHIS T2177065               CLASS 3          100,000.00         2,633.33                0.00                97,366.67
MATHIS                MAINSTAR-FBO ROXANE MATHIS T2176307                  CLASS 3            56,000.00         1,814.92               0.00                54,185.08
MATLOCK               FAYE D MATLOCK                                       CLASS 3            50,000.00              0.00              0.00                50,000.00
MATOESIAN             DAVID H & JANET M MATOESIAN                          CLASS 3            50,000.00        8,283.33                0.00                41,716.67
MATTE                 ADRIANNE S MATTE TR                                  CLASS 3          200,000.00          3,805.54               0.00               196,194.46
MATTHEW               JAMES W MATTHEW                                      CLASS 3          100,000.00           725.00          4,000.00                  95,275.00
MATTHEWS              JOHN K MATTHEWS                                      CLASS 5           100,000.00       13,416.61                0.00                86,583.39
MATTHEWS              PAUL E MATTHEWS DESCENDANTS TR                       CLASS 3            80,000.00          770.01                0.00                79,229.99
MATTHEWS              SUNWEST TR DORIS B MATTHEWS IRA                      CLASS 3          100,000.00        16,016.67                0.00                83,983.33
MATTHIES              JILL L MATTHIES                                      CLASS 3          100,000.00        14,920.34                0.00                85,079.66
MATTHIES              TODD MATTHIES                                        CLASS 3          150,000.00        34,080.64                0.00               115,919.36
MATTIS                DENNIS W & DIANE L MATTIS                            CLASS 3            50,000.00        1,083.33                0.00                48,916.67
MATTOX                JODI MATTOX                                          CLASS 3            25,000.00        1,545.83                0.00                23,454.17
MATTOX                ROBERT F & BARBARA A MATTOX                          CLASS 3          310,000.00        17,791.67                0.00               292,208.33
MATZ                  JOHN B MATZ RLT 08/05/16                             CLASS 3            80,000.00       14,445.04                0.00                65,554.96
MAUST                 PROV. TR GP-FBO EVAN D MAUST IRA                     CLASS 3            50,000.00       12,675.00                0.00                37,325.00
MAVITY                RITA J MAVITY                                        CLASS 3            75,000.00        2,028.11                0.00                72,971.89
MAVRIDES              PROV. TR GP-FBO ROBIN R MAVRIDES IRA                 CLASS 3           150,000.00         4,475.00               0.00               145,525.00
MAXFIELD              WILLIAM R & NANCY L MAXFIELD                         CLASS 3           100,000.00       24,354.01                0.00                75,645.99
MAXFIELD              WILLIAM R & NANCY L MAXFIELD                         CLASS 5           100,000.00       24,354.01                0.00                75,645.99

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MAXIM INSURANCE       PROV. TR GP-FBO MAXIM INSURANCE GROUP ICA          CLASS 5         1,735,000.00      117,830.48               0.00             1,617,169.52
MAY                   JOHN E MAY                                         CLASS 3          100,000.00        14,200.00               0.00                85,800.00
MAY                   KARA H MAY                                         CLASS 3          300,000.00        17,000.01               0.00               282,999.99
MAY                   MAY FRLT DTD 07/08/05                              CLASS 3            50,000.00        6,415.74               0.00                43,584.26
MAY                   PROV. TR GP-FBO GARY E MAY IRA                     CLASS 3           121,250.00       17,349.94               0.00               103,900.06
MAY                   PROV. TR GP-FBO JAMIE C MAY IRA                    CLASS 3            30,000.00        2,560.83               0.00                27,439.17
MAY                   RICHARD F MAY                                      CLASS 3          125,000.00         5,926.04               0.00               119,073.96
MAYE                  PROV. TR GP-FBO RITA H MAYE IRA                    CLASS 3            24,535.00         1,091.81              0.00                23,443.19
MAYEDA                ALAN MAYEDA                                        CLASS 3          150,000.00          7,508.33              0.00               142,491.67
MAYEDA                DAVID MASAO MAYEDA                                 CLASS 3           600,000.00         8,700.00              0.00               591,300.00
MAYER                 EMILY MAYER                                        CLASS 3            50,000.00          722.21               0.00                49,277.79
MAYER                 PROV. TR GP-FBO JILL MAYER IRA                     CLASS 3            50,000.00         3,558.33              0.00                46,441.67
MAYFIELD              BRIAN MAYFIELD                                     CLASS 3            25,000.00        1,447.92               0.00                23,552.08
MAYFIELD              BRUCE & SUSAN MAYFIELD                             CLASS 3            55,000.00         7,385.95              0.00                47,614.05
MAYFIELD              BURTON M & MARILYN M MAYFIELD                      CLASS 3           165,000.00       14,399.01               0.00               150,600.99
MAYFIELD              BURTON W MAYFIELD                                  CLASS 3            50,000.00       10,077.68         1,000.00                  38,922.32
MAYNER                GREGORY N & KATHLEEN M MAYNER                      CLASS 3           100,000.00         6,041.67              0.00                93,958.33
MAYO                  JAMES E & AUDREY MAYO                              CLASS 3            25,000.00         1,688.92              0.00                23,311.08
MAYRAND               RODGER MAYRAND                                     CLASS 3            65,000.00         6,315.00              0.00                58,685.00
MAZMANIAN             GEORGE G MAZMANIAN                                 CLASS 3            25,000.00         2,699.71              0.00                22,300.29
MAZMANIAN             ROSE DESESA MAZMANIAN                              CLASS 3            25,000.00         2,699.71              0.00                22,300.29
MAZZOCCO              ANTHONY R MAZZOCCO                                 CLASS 3           100,000.00       16,140.34               0.00                83,859.66
MAZZOLENI             EDWARD P & CLARICE MAZZOLENI TR                    CLASS 3            50,000.00         1,720.85              0.00                48,279.15
MCAFFEE               CHRISTY MCAFFEE                                    CLASS 3            30,000.00         1,585.83              0.00                28,414.17
MCALLISTER            DIXIE L & JAMES E MCALLISTER                       CLASS 3          600,000.00        24,861.10               0.00               575,138.90
MCALLISTER            MARY MCALLISTER                                    CLASS 3            25,000.00          329.87               0.00                24,670.13
MCANDREWS             THOMAS P MCANDREWS                                 CLASS 3            25,000.00        1,983.33               0.00                23,016.67
MCARTHUR              DANIEL & DOROTHY MCARTHUR                          CLASS 3            50,000.00         2,627.81              0.00                47,372.19
MCARTHUR              MAINSTAR-FBO LINDA S MCARTHUR                      CLASS 3            50,724.23         4,053.70              0.00                46,670.53

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MCAVOY                KRISTINE MCAVOY                                   CLASS 3            40,000.00          217.78               0.00                39,782.22
MCBRIDE               ROBIN A MCBRIDE                                   CLASS 3            90,000.00         5,962.50              0.00                84,037.50
MCCALL                MICHAEL & BOBBY SUE MCCALL                        CLASS 3           302,000.00       33,663.62               0.00               268,336.38
MCCALL                MICHAEL MCCALL                                    CLASS 3            50,000.00          982.79               0.00                49,017.21
MCCALLUM              PROV. TR GP-FBO WILLIAM MCCALLUM IRA              CLASS 5           230,000.00       39,531.71               0.00               190,468.29
MCCALLUM              WILLIAM & DEBRA ANN MCCALLUM                      CLASS 5           180,000.00       17,596.67               0.00               162,403.33
MCCANN                IRA SVCS TR CO-CFBO JOSEPH MCCANN IRA             CLASS 3            48,468.00        1,821.63               0.00                46,646.37
MCCANN                LORRAINE J MCCANN                                 CLASS 3           500,000.00       29,871.53         1,000.00                 469,128.47
MCCANN                MARY MCCANN                                       CLASS 3            40,000.00          250.00               0.00                39,750.00
MCCANN                PROV. TR GP-FBO LORRAINE J MCCANN IRA             CLASS 3          242,606.94        39,834.72               0.00               202,772.22
MCCAREY               JAMES MCCAREY                                     CLASS 3          100,000.00          8,847.17              0.00                91,152.83
MCCARROLL             CHRISTOPHER SHANE MCCARROLL                       CLASS 3            50,000.00         3,045.85              0.00                46,954.15
MCCARTHY              ALAN J MCCARTHY                                   CLASS 3            50,000.00         1,040.29              0.00                48,959.71
MCCARTHY              JAMES J MCCARTHY                                  CLASS 5            50,000.00         7,625.06              0.00                42,374.94
MCCARTHY              PROV. TR GP-FBO JAMES J MCCARTHY IRA              CLASS 5           200,111.12       39,459.99               0.00               160,651.13
MCCARTNEY             PROV. TR GP-FBO MICHAEL MCCARTNEY IRA             CLASS 5            56,000.00       16,162.23               0.00                39,837.77
MCCARTY               RICHARD & DOROTHY J MCCARTY                       CLASS 3            25,000.00         2,830.28              0.00                22,169.72
MCCAULEY              DANIEL & GLENDA CHERYL MCCAULEY                   CLASS 5           100,000.00         2,079.81              0.00                97,920.19
MCCAULEY              JOHN MCCAULEY                                     CLASS 5            50,000.00       12,083.43               0.00                37,916.57
MCCAULEY              MAINSTAR-FBO DANIEL MCCAULEY                      CLASS 5           500,000.00       66,083.30               0.00               433,916.70
MCCAW                 MAINSTAR-FBO SCOTT MCCAW T2178363                 CLASS 3            75,000.00          468.75               0.00                74,531.25
MCCAW                 SCOTT MCCAW                                       CLASS 3            25,000.00          343.75               0.00                24,656.25
MCCAW                 SCOTT MCCAW                                      CLASS 3*            25,000.00          343.75               0.00                24,656.25
MCCAW                 YING MCCAW                                        CLASS 3            25,000.00          468.75               0.00                24,531.25
MCCLAIN               PROV. TR GP-FBO MARY L MCCLAIN IRA                CLASS 3           100,000.00       22,667.52               0.00                77,332.48
MCCLAIN               PROV. TR GP-FBO MARY L MCCLAIN IRA                CLASS 5            55,000.00       12,467.13               0.00                42,532.87
McCLEAF               VIRGINIA McCLEAF RT                               CLASS 5          100,000.00        34,014.17               0.00                65,985.83
MCCLELLAN             GLENN II & CONSTANCE MCCLELLAN                    CLASS 3           110,000.00       16,040.03               0.00                93,959.97
MCCLELLAN             PROV. TR GP-FBO CONSTANCE MCCLELLAN IRA           CLASS 3           355,150.00       15,201.09               0.00               339,948.91

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MCCLELLAN             PROV. TR GP-FBO CONSTANCE MCCLELLAN ROTH IRA CLASS 3                  30,050.00       42,393.61               0.00                      0.00 **
MCCLINTIC             DOUGLAS A MCCLINTIC                                CLASS 3            50,000.00          534.73               0.00                49,465.27
MCCLOSKEY             BRYAN MCCLOSKEY                                    CLASS 3            25,000.00         1,175.00              0.00                23,825.00
MCCLURG               MAINSTAR-FBO JEFFREY MCCLURG TW003631              CLASS 3            90,000.00         3,286.25              0.00                86,713.75
MCCLUSKEY             THE MCCLUSKEY FT                                   CLASS 3            50,000.00         4,033.33              0.00                45,966.67
MCCOMAS               DAVID M MCCOMAS                                    CLASS 3           150,000.00       13,854.17               0.00               136,145.83
MCCOMAS               PROV. TR GP-FBO DAVID M MCCOMAS IRA                CLASS 3          100,000.00        12,430.55               0.00                87,569.45
MCCOMAS               PROV. TR GP-FBO DAVID M MCCOMAS IRA                CLASS 5          100,000.00        12,430.55               0.00                87,569.45
MCCOMSEY              DONALD MCCOMSEY                                    CLASS 3            30,000.00          283.33               0.00                29,716.67
MCCONNELL             JAMES M MCCONNELL                                  CLASS 3           250,000.00       36,958.43               0.00               213,041.57
MCCONNELL             MCCONNELL CRT 08/94 UA 08/26/94 351934803          CLASS 3           300,000.00       39,500.00               0.00               260,500.00
MCCORMICK             JOHN J MCCORMICK                                   CLASS 3            60,000.00        7,309.20               0.00                52,690.80
MCCORMICK             RAYFORD E MCCORMICK                                CLASS 3            75,000.00         1,552.08              0.00                73,447.92
MCCOY                 CARLENE MCCOY                                      CLASS 3            55,000.00          825.01               0.00                54,174.99
MCCOY                 SUSAN RUPERT MCCOY                                 CLASS 3            28,000.00          497.79               0.00                27,502.21
MCCRACKEN             JENNIFER B MCCRACKEN                               CLASS 3           130,000.00         7,198.22              0.00               122,801.78
MCCREADY              MAINSTAR-FBO KIM MCCREADY T2178044                 CLASS 3            49,500.00          300.78               0.00                49,199.22
MCCREERY/LAMOND       GEORGIA MCCREERY & ANDREW LAMOND                   CLASS 3          300,000.00        15,125.00               0.00               284,875.00
McCULLY               TMICO-FBO JAMES M McCULLY TRAD IRA                 CLASS 5            50,000.00       15,764.04               0.00                34,235.96
MCCUTCHEON            PATRICIA E MCCUTCHEON                              CLASS 3            50,000.00         4,816.47              0.00                45,183.53
MCDERMAND             CHARLES & MARY ANN MCDERMAND                       CLASS 3           300,000.00       10,725.00               0.00               289,275.00
MCDERMOTT             PROV. TR GP-FBO MARK J MCDERMOTT IRA               CLASS 3            24,250.00         3,549.91              0.00                20,700.09
MCDOLE                JAMES K & MALLIE V MCDOLE                          CLASS 3            26,000.00          268.67               0.00                25,731.33
MCDONALD              ALLAN MCDONALD                                     CLASS 3            50,000.00         1,374.98              0.00                48,625.02
MCDONALD              JAMES A MCDONALD                                   CLASS 3           225,000.00       14,720.20               0.00               210,279.80
MCDONALD              LARRY R MCDONALD                                   CLASS 5           200,000.00       27,111.16               0.00               172,888.84
MCDONALD              MAINSTAR-FBO BOBBY C MCDONALD T2177755             CLASS 3           119,903.54          151.54               0.00               119,752.00
MCDONALD              STANLEY C & HOMEIRA M MCDONALD                     CLASS 5           800,000.00      168,472.08               0.00               631,527.92
MCDONALD              SUNWEST TR JAMES A MCDONALD ROTH IRA               CLASS 3           550,000.00       93,440.31               0.00               456,559.69

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MCDONALD              THE JAMES A MCDONALD RLT RST 08/01/10              CLASS 3           150,000.00       28,670.83               0.00               121,329.17
MCDONALD              VERONICA MCDONALD                                  CLASS 3            75,000.00         6,679.16              0.00                68,320.84
MCDONOUGH             MAINSTAR-FBO EILEEN MCDONOUGH TW003096             CLASS 3            25,000.00         3,313.14              0.00                21,686.86
MCELHANEY             MICHAEL MCELHANEY                                  CLASS 5            51,000.00       12,891.67               0.00                38,108.33
MCELHANEY             PROV. TR GP-FBO MICHAEL MCELHANEY IRA              CLASS 5           188,000.00       47,994.62               0.00               140,005.38
MCELROY               ROBERT & DOROTHY D MCELROY                         CLASS 3           310,000.00       21,338.81               0.00               288,661.19
MCELROY               ROBERT ANTHONY & JACQUELINE P MCELROY              CLASS 3            25,000.00         2,258.33              0.00                22,741.67
MCELWEE               DORIS R MCELWEE LT                                 CLASS 3            25,000.00          715.30               0.00                24,284.70
MCFARLAND             PROV. TR GP-FBO CLAUDIA M MCFARLAND IRA            CLASS 3            46,000.00         7,687.11              0.00                38,312.89
MCFARLAND             PROV. TR GP-FBO DAVID G MCFARLAND IRA              CLASS 3           100,000.00         5,041.67              0.00                94,958.33
MCFOY                 CRAIG A MCFOY                                      CLASS 3          700,000.00        90,766.68               0.00               609,233.32
MCFOY                 CRAIG A MCFOY                                      CLASS 5          300,000.00        38,900.00               0.00               261,100.00
MCFOY                 PROV. TR GP-FBO CRAIG A MCFOY IRA                  CLASS 3           264,000.00       25,539.67               0.00               238,460.33
MCFOY                 PROV. TR GP-FBO TODD A MCFOY IRA                   CLASS 3           248,500.00       17,223.25               0.00               231,276.75
MCFOY                 TODD A MCFOY                                       CLASS 3           500,000.00      102,814.88               0.00               397,185.12
MCFOY                 TODD A MCFOY                                       CLASS 5           300,000.00       61,688.93               0.00               238,311.07
MCGAUGH               PAUL H & KRISTI C MCGAUGH                          CLASS 3           100,000.00       11,311.16               0.00                88,688.84
MCGILL                PATRICIA MCGILL                                    CLASS 5          150,000.00        32,750.00               0.00               117,250.00
MCGINLEY              DAVID L & ALICE L MCGINLEY                         CLASS 3            50,000.00       10,024.99               0.00                39,975.01
MCGOVERN              JACQUELINE MCGOVERN                                CLASS 3           218,000.00         7,596.07              0.00               210,403.93
MCGOWAN               CAROLYN & JAMES MCGOWAN                            CLASS 3            60,000.00          813.75               0.00                59,186.25
MCGOWAN               MAINSTAR-FBO PAMELA MCGOWAN TW003093               CLASS 3          198,000.00        21,708.52               0.00               176,291.48
MCGOWAN               MAINSTAR-FBO ROBERT MCGOWAN TW003091               CLASS 3           238,500.00       28,374.47               0.00               210,125.53
MCGOWAN               ROBERT MCGOWAN                                     CLASS 3            50,000.00         6,450.00              0.00                43,550.00
MCGRANN               JAMES P MCGRANN                                    CLASS 3          130,000.00        21,117.36               0.00               108,882.64
MCGRORY               SHAWN MCGRORY                                      CLASS 3            65,000.00         7,262.54              0.00                57,737.46
MCINNES               RONALD A & NANCY H MCINNES                         CLASS 3            25,000.00         4,729.16              0.00                20,270.84
MCINTIRE              DALE A MCINTIRE TR UAD 01/20/11                    CLASS 3           100,000.00         4,441.69              0.00                95,558.31
MCINTYRE              DONALD & ROCHELLE MCINTYRE FT 07/18/01             CLASS 3           400,000.00       55,555.65               0.00               344,444.35

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MCINTYRE              DONALD & ROCHELLE MCINTYRE FT 07/18/01            CLASS 5           200,000.00       27,777.82               0.00               172,222.18
MCINTYRE              IRA SVCS TR CO-CFBO TIMOTHY J MCINTYRE            CLASS 3            50,000.00          473.61               0.00                49,526.39
MCINTYRE              IRA SVCS TR CO-CFBO TIMOTHY MCINTYRE IRA          CLASS 5          200,000.00        35,611.18               0.00               164,388.82
MCINTYRE              THE JOHN F & GOLDA M MCINTYRE LT                  CLASS 3           300,000.00       56,983.33               0.00               243,016.67
MCKAY                 GEORGE & JEANNETTE McKAY                          CLASS 5           200,000.00       81,920.38               0.00               118,079.62
MCKAY                 PROV. TR GP-FBO MARK MCKAY IRA                    CLASS 3           404,785.00       21,188.70               0.00               383,596.30
MCKEE                 IRA SVCS TR CO-CFBO AGNES B MCKEE                 CLASS 3           105,000.00         2,530.67              0.00               102,469.33
MCKEE                 PROV. TR GP-FBO EVELYN M MCKEE IRA                CLASS 3            80,097.00         3,557.64              0.00                76,539.36
MCKEEVER              PROV. TR GP-FBO MARTIN E MCKEEVER IRA             CLASS 3            77,000.00       10,688.17               0.00                66,311.83
MCKELVEY              KATHERINE MCKELVEY                                CLASS 3            77,000.00        3,362.33               0.00                73,637.67
MCKENZIE              BRUCE J MCKENZIE                                  CLASS 3            50,000.00       24,683.67               0.00                25,316.33
MCKENZIE              DARWIN K & LINDA S MCKENZIE LT                    CLASS 3            25,000.00          358.80               0.00                24,641.20
MCKENZIE              IRA SVCS TR CO-CFBO DONALD L MCKENZIE IRA         CLASS 3            50,000.00         3,145.83              0.00                46,854.17
MCKENZIE              MAINSTAR-FBO GORDON R MCKENZIE                    CLASS 3           400,000.00       20,166.67               0.00               379,833.33
MCKIBBEN              PROV. TR GP-FBO RICHARD E MCKIBBEN IRA            CLASS 3          113,585.00        12,390.32               0.00               101,194.68
MCKIBBEN              PROV. TR GP-FBO RICHARD E MCKIBBEN IRA            CLASS 5          118,000.00        12,871.93               0.00               105,128.07
MCKIBBEN/BINGAMAN     JORETTA MCKIBBEN & DODIE BINGAMAN                 CLASS 3           330,000.00          770.00               0.00               329,230.00
MCKINNEY              LARRY H MCKINNEY                                  CLASS 3            30,000.00          416.67               0.00                29,583.33
MCKINNEY              MAINSTAR-FBO BILL M MCKINNEY T2176827             CLASS 3          270,000.00        17,730.00               0.00               252,270.00
MCKINNEY              PROV. TR GP-FBO ROBERT MCKINNEY IRA               CLASS 3            78,163.00       10,574.64               0.00                67,588.36
MCKINZIE              GARY L MCKINZIE RT 07/24/02                       CLASS 3          150,000.00        18,966.67               0.00               131,033.33
MCKITRICK/SHURRUMB. PAULINE MCKITRICK & LAUREN D SHURRUMBAUGH           CLASS 3           100,000.00         4,568.08              0.00                95,431.92
MCLAUGHLIN            MAINSTAR-FBO JESSICA MCLAUGHLIN BT176868          CLASS 3            64,000.00         1,575.37              0.00                62,424.63
MCLAUGHLIN            THEDA P MCLAUGHLIN                                CLASS 3            45,000.00         1,562.49              0.00                43,437.51
MCLELLAN              MAINSTAR-FBO SHERRAY D MCLELLAN                   CLASS 3            56,000.00         3,297.76              0.00                52,702.24
MCLEMORE              THOMAS W MCLEMORE JR                              CLASS 3          225,000.00        13,576.02               0.00               211,423.98
MCLINDEN              MAINSTAR-FBO DANIEL J MCLINDEN T2176106           CLASS 3          170,737.85          9,421.77              0.00               161,316.08
MCLINDEN              MAINSTAR-FBO DANIEL J MCLINDEN T2176106           CLASS 5          200,000.00        11,036.53               0.00               188,963.47
MCLINDEN              MAINSTAR-FBO JEAN L MCLINDEN T2176544             CLASS 3            43,726.70        1,050.66               0.00                42,676.04

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MCMAHAN               ADA SUE MCMAHAN                                    CLASS 3            25,000.00         3,383.21              0.00                21,616.79
MCMAHON               PATRICK MCMAHON                                    CLASS 3            50,000.00          383.33               0.00                49,616.67
MCMAHON               PROV. TR GP-FBO STEPHEN J MCMAHON IRA              CLASS 3           446,690.00       60,551.08               0.00               386,138.92
MCMAHON               WILLIAM R & SANDY SUTER MCMAHON                    CLASS 3           100,000.00       15,833.33               0.00                84,166.67
MCMEEKIN              MARGARET K MCMEEKIN                                CLASS 3            25,000.00         1,458.38              0.00                23,541.62
MCMILLAN              PROV. TR GP-FBO WILLIAM J MCMILLAN IRA             CLASS 3            25,000.00         6,187.50              0.00                18,812.50
MCMILLAN              PROV. TR GP-FBO WM & J MCMILLAN RT IRA             CLASS 3            30,000.00         4,733.33              0.00                25,266.67
MCMILLIAN             GAYLE H MCMILLIAN                                  CLASS 3            30,000.00         1,946.67              0.00                28,053.33
MCMULLIN              MAINSTAR-FBO GERALD B MCMULLIN TW003649            CLASS 3          200,000.00          5,486.81              0.00               194,513.19
MCMULLIN              MAINSTAR-FBO KELLY MCMULLIN TW003929               CLASS 3          100,000.00         3,169.45               0.00                96,830.55
MCNEELY               ROBERT & SHEILA MCNEELY                            CLASS 3          100,000.00          8,708.33              0.00                91,291.67
MCNINCH               WILLIAM MCNINCH                                    CLASS 3            25,000.00        4,562.50               0.00                20,437.50
MCPADDEN              MAINSTAR-FBO DANIEL MCPADDEN JR T2177855           CLASS 3           167,892.29         3,591.03              0.00               164,301.26
MCPHERSON             EDWARD MCPHERSON                                   CLASS 3            50,000.00         2,789.55              0.00                47,210.45
MCPHERSON             JENNIFER MCPHERSON                                 CLASS 3            95,000.00       11,343.12               0.00                83,656.88
MCQUILLAN             CAROLE MCQUILLAN                                   CLASS 3            60,000.00         1,885.92              0.00                58,114.08
MCQUISTON             TINA MCQUISTON                                     CLASS 5          100,000.00        21,166.58               0.00                78,833.42
MCSHANE               PAUL MCSHANE                                       CLASS 3            50,000.00          694.43               0.00                49,305.57
MCVEY                 KRISTA MCVEY                                       CLASS 3            70,000.00        3,247.46               0.00                66,752.54
McWILLIAMS            TMICO-FBO DAVID C McWILLIAMS TR IRA                CLASS 5           100,000.00       48,751.27               0.00                51,248.73
MEAD                  MARIBETH MEAD                                      CLASS 3            40,000.00         1,933.37              0.00                38,066.63
MEADOWS               PROV. TR GP-FBO WADE MEADOWS JR IRA                CLASS 3          100,500.00         7,269.50               0.00                93,230.50
MEADOWS-ROBERTS       MAINSTAR-FBO G MEADOWS-ROBERTS T2177009            CLASS 3            55,645.00         1,429.77              0.00                54,215.23
MEBANE                DORIS C MEBANE                                     CLASS 3          150,000.00          1,031.25              0.00               148,968.75
MEDEIROS              JOHN MEDEIROS TR DTD 05/05/16                      CLASS 3           300,000.00       83,033.80               0.00               216,966.20
MEDIA PARTNERS        MEDIA PARTNERS WORLDWIDE LLC                       CLASS 3            50,000.00         3,211.08              0.00                46,788.92
MEDINA                MAINSTAR-FBO CATHERINE MEDINA T2177884             CLASS 3          170,000.00           859.44               0.00               169,140.56
MEDINA                ROSA M MEDINA                                      CLASS 3          125,000.00         6,532.67               0.00               118,467.33
MEEHAN                BARBARA B & KEVIN B MEEHAN                         CLASS 3            60,000.00         5,930.46              0.00                54,069.54

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MEEHAN                KEVIN B & BARBARA B MEEHAN                         CLASS 5            50,000.00         4,333.37               0.00                45,666.63
MEHRHOFF              PROV. TR GP-FBO WILLIAM R MEHRHOFF IRA             CLASS 3            76,000.00         9,250.89               0.00                66,749.11
MEHTA                 NAVIN & NEELAM K MEHTA                             CLASS 3           100,000.00         7,301.39               0.00                92,698.61
MEIER                 NORM MEIER                                         CLASS 3          400,000.00        11,567.62                0.00               388,432.38
MEIER                 NORM MEIER                                         CLASS 5          200,000.00         5,783.81                0.00               194,216.19
MEINARDUS             PROV. TR GP-FBO PAUL R MEINARDUS IRA               CLASS 5            50,000.00         7,055.56               0.00                42,944.44
MEKUS                 REBECA MEKUS                                       CLASS 3            50,000.00         4,682.30               0.00                45,317.70
MEKUS                 THE MEKUS 2007 RT                                  CLASS 5          150,000.00        21,533.35                0.00               128,466.65
MELBY                 SHELLY MELBY                                       CLASS 3          100,000.00         1,902.79                0.00                98,097.21
MELCHERT              THE MELCHERT FT DTD 03/18/05                       CLASS 3            50,000.00         3,439.26               0.00                46,560.74
MELDRUM               MAINSTAR-FBO MICHAEL J MELDRUM T2178095            CLASS 3            54,500.00          561.66                0.00                53,938.34
MELLECKER             GEORGE & LYNNE MELLECKER                           CLASS 3            75,000.00         4,635.42               0.00                70,364.58
MELLOR                CHARLES E MELLOR                                   CLASS 3            60,000.00         4,508.33               0.00                55,491.67
MELOGRANO             ALLISON & ANTHONY C MELOGRANO                      CLASS 3            50,000.00         1,400.01               0.00                48,599.99
MELOGRANO             ANTHONY C & GAIL L MELOGRANO                       CLASS 3            50,000.00         1,438.85               0.00                48,561.15
MELOSKY/TUCKER        JANICE F MELOSKY & THOMAS H TUCKER                 CLASS 3           300,000.00         4,850.00               0.00               295,150.00
MELOY                 DONNA MELOY                                        CLASS 3          192,000.00        28,208.53                0.00               163,791.47
MELOY                 PROV. TR GP-FBO DONNA MELOY ROTH IRA               CLASS 3           123,000.00       15,053.00                0.00               107,947.00
MELTON                LIBERTY TR CO-FBO LAURA D MELTON IRA               CLASS 5           100,000.00       40,249.86                0.00                59,750.14
MENDONCA              THE 1993 RICHARD & GLORIA MENDONCA RT              CLASS 3            90,000.00         1,387.50               0.00                88,612.50
MENDONCA              THE MENDONCA IRREV TR                              CLASS 3           110,000.00          275.00                0.00               109,725.00
MENDOZA               MAINSTAR-FBO ANGELO MENDOZA JR                     CLASS 3            58,542.02         3,369.42               0.00                55,172.60
MENG                  CHING-YU MENG                                      CLASS 3            50,000.00        2,467.39                0.00                47,532.61
MENOLD                BENJAMIN MENOLD CUST FOR MORGAN R MENOLD           CLASS 3            40,000.00              0.00              0.00                40,000.00
MENTZER               IRA SVCS TR CO-CFBO JOYCE MENTZER IRA              CLASS 3           144,077.04         6,933.70               0.00               137,143.34
MERCERUIO             JANICE MERCERUIO                                   CLASS 3            78,000.00          357.50                0.00                77,642.50
MERCIER               RONALD H MERCIER                                   CLASS 3            30,000.00         9,034.50               0.00                20,965.50
MERINO                THE CRIS B & CHUCHI E MERINO RLT                   CLASS 3            50,000.00          279.86                0.00                49,720.14
MERKER                PROV. TR GP-FBO JOHN P MERKER IRA                  CLASS 3           450,245.00       86,869.90                0.00               363,375.10

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                                       Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
                                        Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MERRICK               LARITA KAY MERRICK                                CLASS 3           705,000.00       76,903.69                0.00               628,096.31
MERRICK               LARITA KAY MERRICK                                CLASS 5            80,000.00         8,726.66               0.00                71,273.34
MERRILL               CINDY M & ROBERT D MERRILL                        CLASS 3            25,000.00       13,492.31                0.00                11,507.69
MERRILL               MAINSTAR-FBO DOROTHY MERRILL T2174478             CLASS 3            50,000.00         2,700.30               0.00                47,299.70
MERRION               RICHARD F MERRION LT                              CLASS 3            25,000.00         1,237.50               0.00                23,762.50
MERRITT               HORIZON TR CO-FBO JAMES MERRITT III ROTH          CLASS 5            34,967.21         2,389.40               0.00                32,577.81
MERRITT               JAMES KING III & KATHY K MERRITT                  CLASS 5            60,000.00         5,031.60               0.00                54,968.40
MERRITT               LAWRENCE & JO ANN MERRITT                         CLASS 5           200,000.00       14,444.47                0.00               185,555.53
MERSON                BEVERLY J MERSON                                  CLASS 3          107,000.00        20,390.04                0.00                86,609.96
MERTZ                 PROV. TR GP-FBO SUSAN M MERTZ IRA                 CLASS 3           166,000.00       27,924.57                0.00               138,075.43
MESCHER               HAROLD J & PATRICIA V MESCHER                     CLASS 3            50,000.00       10,877.67          1,764.71                  37,357.62
MESCHER               STEPHEN L & MARY E MESCHER                        CLASS 5           100,000.00       23,273.89                0.00                76,726.11
MESSENGER             PROV. TR GP-FBO KATHERINE MESSENGER IRA           CLASS 3           317,700.00       15,576.13                0.00               302,123.87
MESSIMER              ALVA WENDELL MESSIMER                             CLASS 3            25,000.00          225.34                0.00                24,774.66
MESSIMER              MAINSTAR-FBO JOAN MESSIMER R2176129               CLASS 3            61,280.00         1,389.01               0.00                59,890.99
METTER                THE SALLI METTER LT 2016                          CLASS 3            25,000.00          333.68                0.00                24,666.32
METZGER               DIANA F METZGER                                   CLASS 3            25,000.00         2,318.34               0.00                22,681.66
MEYER                 DENNIS R & PATRICIA A MEYER                       CLASS 3            50,000.00          777.77                0.00                49,222.23
MEYER                 EDWARD G MEYER                                    CLASS 3            36,000.00        4,904.46                0.00                31,095.54
MEYER                 MICHAEL R MEYER                                   CLASS 3            25,000.00        5,187.55                0.00                19,812.45
MEYERS                DON & PENNY MEYERS                                CLASS 3            70,000.00       13,025.73                0.00                56,974.27
MEYERS                MELISSA J MEYERS                                  CLASS 3            25,000.00         1,303.83               0.00                23,696.17
MEYERS                MEYERS FT                                         CLASS 3            40,000.00              6.67              0.00                39,993.33
MEYERS                SUSAN D MEYERS                                    CLASS 3            85,000.00         2,611.37               0.00                82,388.63
MEYERSON              PAULA MEYERSON                                    CLASS 3            50,000.00          500.00                0.00                49,500.00
MEYKA                 PROV. TR GP-FBO BRIANNA L MEYKA IRA               CLASS 3            34,000.00          799.00                0.00                33,201.00
MICELE                W MICHAEL & KAREN MICELE                          CLASS 3            25,000.00          711.76                0.00                24,288.24
MICHAEL               MARGARET F MICHAEL                                CLASS 3            30,000.00          480.00                0.00                29,520.00
MICHAELS              GREG & DEBBIE MICHAELS                            CLASS 3           100,000.00         1,986.12               0.00                98,013.88

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                                        Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MICHAELS              PROV. TR GP-FBO JANET MICHAELS IRA                 CLASS 3            99,800.00         9,153.88               0.00                90,646.12
MICHAELS              REBECCA MICHAELS                                   CLASS 3            50,000.00         1,076.37               0.00                48,923.63
MICHAELS              WILLIAM D & DEBORAH L MICHAELS                     CLASS 3            25,000.00         1,583.33               0.00                23,416.67
MICHALAK              BONNIE J MICHALAK                                  CLASS 3            30,000.00         2,316.67               0.00                27,683.33
MICHALSKI             JOHANNES MICHALSKI                                 CLASS 3           160,000.00         2,577.79               0.00               157,422.21
MICHEL                HILDA & RAYMOND MICHEL                             CLASS 3           600,000.00       65,258.28                0.00               534,741.72
MICHEL                HILDA MICHEL                                       CLASS 3          100,000.00         6,770.83                0.00                93,229.17
MICHEL                ROBERT MICHEL IT                                   CLASS 3          150,000.00        15,659.77                0.00               134,340.23
MICHELS               DIANE & LARRY MICHELS                              CLASS 5          100,000.00        28,209.25                0.00                71,790.75
MICHELSEN             GERARD MICHELSEN                                   CLASS 3            50,000.00        6,772.98                0.00                43,227.02
MICHELSON             PROV. TR GP-FBO GARY MICHELSON IRA                 CLASS 5           250,000.00       50,625.00                0.00               199,375.00
MICHNA                RICHARD & MELISSA MICHNA                           CLASS 3            50,000.00              0.00              0.00                50,000.00
MICHNA                RICHARD MICHNA                                     CLASS 3            50,000.00       11,365.38                0.00                38,634.62
MICHOLLE              JOHN MICHOLLE                                      CLASS 3            35,000.00         6,783.36               0.00                28,216.64
MICKELS               MAINSTAR-FBO SHAYNE MICKELS T2178362               CLASS 3            32,000.00          149.33                0.00                31,850.67
MICKSCH               MAINSTAR-FBO ALLAN MICKSCH                         CLASS 5           195,000.00       31,362.50                0.00               163,637.50
MIDASH                IRA SVCS TR CO-CFBO SANDRA MIDASH IRA              CLASS 3           208,000.00       28,669.58                0.00               179,330.42
MIDASH                JOHN & SANDRA MIDASH                               CLASS 5           200,000.00       44,222.06                0.00               155,777.94
MIDDENDORF            CHARLES J & JANET L MIDDENDORF                     CLASS 3            25,000.00          527.07                0.00                24,472.93
MIDDENDORF            PROV. TR GP-FBO MIDDENDORF BLDRS-CMM IRA           CLASS 3            30,000.00         1,820.00               0.00                28,180.00
MIDDENDORF            PROV. TR GP-FBO MIDDENDORF BLDRS-MAA IRA           CLASS 3            50,000.00         3,033.33               0.00                46,966.67
MIDDENDORF            PROV. TR GP-FBO MITCHELL MIDDENDORF IRA            CLASS 3            93,000.00       13,682.54                0.00                79,317.46
MIDDLETON             PAMELA R MIDDLETON                                 CLASS 3            65,000.00         1,220.81               0.00                63,779.19
MIDDLETON             ROBERT L MIDDLETON JR                              CLASS 3            25,000.00         1,422.19               0.00                23,577.81
MIDDLETON             WILLIAM T & CONNEE B MIDDLETON                     CLASS 3           100,000.00         5,013.89               0.00                94,986.11
MIELKE                DEBORAH A MIELKE                                   CLASS 3            75,000.00         1,309.35               0.00                73,690.65
MIGLIORE              JAY MIGLIORE                                       CLASS 3          100,000.00           270.83                0.00                99,729.17
MIGNOSA               RICHARD & MARCELLA MIGNOSA                         CLASS 5            50,000.00         4,822.39               0.00                45,177.61
MIHALAK               MIHALAK FT                                         CLASS 3          100,000.00        11,583.42                0.00                88,416.58

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
MIHALCZO              STEPHANIE C MIHALCZO                                CLASS 3            40,000.00         7,865.39                0.00                32,134.61
MIKHAIL               MIKHAIL TR DTD 11/05/91                             CLASS 3            50,000.00         1,184.04                0.00                48,815.96
MIKKELSEN             NORMA J & JAMES N MIKKELSEN                         CLASS 3            25,000.00        5,204.23                 0.00                19,795.77
MILANO                JOSEPH MILANO LEGACY TR                             CLASS 3           150,000.00       25,850.39                 0.00               124,149.61
MILANO                PROV. TR GP-FBO ANTHONY J MILANO IRA                CLASS 3           107,256.00       13,703.46                 0.00                93,552.54
MILBRAND              JANET MILBRAND                                      CLASS 3          150,000.00          3,825.00                0.00               146,175.00
RAN                   ROBERT MILBRAND                                     CLASS 3            50,000.00         1,287.50                0.00                48,712.50
MILES                 IRA SVCS TR CO-CFBO LISA J MILES                    CLASS 3            68,000.00         3,953.58                0.00                64,046.42
MILES                 LEE MILES                                           CLASS 3            25,000.00               0.00              0.00                25,000.00
MILES                 WILLIAM MILES                                       CLASS 3          400,000.00        21,823.27                 0.00               378,176.73
MILLER                BRUCE A & MAUREEN MILLER                            CLASS 3           140,000.00         8,781.98                0.00               131,218.02
MILLER                CHARLES A & MARIE E MILLER                          CLASS 3            25,000.00          267.36                 0.00                24,732.64
MILLER                CHARLES H & JANELL J MILLER LT 03/12/12             CLASS 3           100,000.00         8,482.27          1,000.00                  90,517.73
MILLER                DAVID & JOHNEE MILLER FT DTD 07/15/02               CLASS 3           150,000.00         1,251.39                0.00               148,748.61
MILLER                DUANE D MILLER                                      CLASS 5          100,000.00        33,666.56                 0.00                66,333.44
MILLER                GEORGE L & ESTHER J MILLER                          CLASS 3            90,000.00       16,155.44                 0.00                73,844.56
MILLER                GERALD D & ELIZABETH M MILLER                       CLASS 3            25,000.00         2,662.08                0.00                22,337.92
MILLER                GLENN C & FELICITY K MILLER                         CLASS 5          350,000.00        48,180.40                 0.00               301,819.60
MILLER                IRA SVCS TR CO-CFBO JOELLEN MILLER IRA              CLASS 3            50,000.00         3,965.21                0.00                46,034.79
MILLER                IRA SVCS TR CO-CFBO LARRY L MILLER IRA              CLASS 3            85,000.00         2,727.07                0.00                82,272.93
MILLER                IRA SVCS TR CO-CFBO WILLIAM J MILLER IRA            CLASS 3            54,000.00         1,530.00                0.00                52,470.00
MILLER                JANE A MILLER                                       CLASS 3            25,000.00         1,061.78                0.00                23,938.22
MILLER                JAY & ALYSE MILLER LT DTD 06/04/14                  CLASS 3           100,000.00       35,511.27                 0.00                64,488.73
MILLER                JEFFREY A & BRENDA G MILLER                         CLASS 3            50,000.00          573.61                 0.00                49,426.39
MILLER                JENNIFER MILLER                                     CLASS 3            40,000.00         2,850.00                0.00                37,150.00
MILLER                JOE & BRENDA MILLER                                 CLASS 3            25,000.00              45.14              0.00                24,954.86
MILLER                JOY MILLER                                         CLASS 3*          100,000.00                0.00              0.00               100,000.00
MILLER                LOUIS S MILLER                                      CLASS 3            50,000.00       20,984.37                 0.00                29,015.63
MILLER                MAINSTAR-FBO DAVID R MILLER T2178374                CLASS 3           200,000.00          469.45                 0.00               199,530.55

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MILLER                MARLENA K MILLER                                   CLASS 3          100,000.00         7,194.40               0.00                92,805.60
MILLER                MARY L MILLER                                      CLASS 3          106,000.00         6,312.86               0.00                99,687.14
MILLER                PAUL & LUCY MILLER FAMILY IRREV TR                 CLASS 3           360,000.00         7,400.00              0.00               352,600.00
MILLER                PROV. TR GP-FBO CAROLYN S MILLER IRA               CLASS 3           123,000.00       21,315.67               0.00               101,684.33
MILLER                PROV. TR GP-FBO DARRELL L MILLER IRA               CLASS 5            50,000.00       13,097.23               0.00                36,902.77
MILLER                PROV. TR GP-FBO JOAN MILLER IRA                    CLASS 3           128,058.00         7,196.15              0.00               120,861.85
MILLER                PROV. TR GP-FBO KATHY A MILLER IRA                 CLASS 3            31,700.00         2,288.75        1,000.00                  28,411.25
MILLER                PROV. TR GP-FBO MARLENA MILLER ROTH IRA            CLASS 3           131,000.00         9,144.53              0.00               121,855.47
MILLER                PROV. TR GP-FBO STEPHEN W MILLER IRA               CLASS 5           156,000.00       40,252.50               0.00               115,747.50
MILLER                PROV. TR GP-FBO STEVEN E MILLER IRA                CLASS 5           300,000.00         2,836.12              0.00               297,163.88
MILLER                R T MILLER                                         CLASS 3          100,000.00        14,983.33               0.00                85,016.67
MILLER                ROBERT D MILLER                                    CLASS 3            35,000.00         1,039.11              0.00                33,960.89
MILLER                RONALD & LAURA MILLER                              CLASS 3           100,000.00         1,965.63              0.00                98,034.37
MILLER                SALLY MILLER                                       CLASS 3          150,000.00         1,200.00               0.00               148,800.00
MILLER                STEPHANIE MILLER                                   CLASS 3          250,000.00        16,510.42               0.00               233,489.58
MILLER                STEPHEN MILLER                                     CLASS 3            65,000.00         2,148.59              0.00                62,851.41
MILLER                TED J & JANET L MILLER                             CLASS 3            25,000.00         1,596.48              0.00                23,403.52
MILLET                MAMIE W MILLET                                     CLASS 3            65,000.00         4,853.33              0.00                60,146.67
MILLIGAN              ALVIN/MARGARET MILLIGAN RLT DTD 02/27/97           CLASS 3           100,000.00         3,111.13              0.00                96,888.87
MILLS                 IRA SVCS TR CO-CFBO GEORGE MILLS IRA               CLASS 3            38,700.00         1,128.75              0.00                37,571.25
MILLS                 IRA SVCS TR CO-CFBO SHARI D MILLS IRA              CLASS 3            58,750.00         2,017.08              0.00                56,732.92
MILLS                 JEFFREY C & MERI LU MILLS                          CLASS 3          260,000.00        43,514.12               0.00               216,485.88
MILLS                 MAINSTAR-FBO PAMELA JOY MILLS T2175634             CLASS 3            54,400.00         3,408.35              0.00                50,991.65
MILLSAP               KENNETH & JACQUELYN MILLSAP                        CLASS 3           400,000.00       46,783.33               0.00               353,216.67
MILLSAPPS             KAREN MILLSAPPS                                    CLASS 3            25,000.00          304.17               0.00                24,695.83
MILLWARD              MAINSTAR-FBO KELLY A MILLWARD RW003655             CLASS 3            34,961.46         1,538.31              0.00                33,423.15
MILLWARD              MAINSTAR-FBO MICHAEL J MILLWARD RW003656           CLASS 3            32,343.00          971.64               0.00                31,371.36
MILLWARD              MICHAEL J & KELLY A MILLWARD                       CLASS 3            25,660.00         1,317.19              0.00                24,342.81
MILLYARD              MAINSTAR-FBO BRIAN MILLYARD                        CLASS 5           775,650.00      130,352.29               0.00               645,297.71

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
MILTON                ANDREW & ERIKA MILTON                              CLASS 3            30,000.00         2,216.67               0.00                27,783.33
MINCEY                ARMOND S MINCEY                                    CLASS 3            25,000.00          277.78                0.00                24,722.22
MINETTI               LORRAINE J MINETTI RT DTD 06/02/97                 CLASS 3          100,000.00        17,344.92                0.00                82,655.08
MINETTI               RICHARD H MINETTI RT DTD 06/02/97                  CLASS 3          141,000.00        26,786.08                0.00               114,213.92
MINKUS                KATHLEEN M MINKUS                                  CLASS 3          350,000.00          6,368.04               0.00               343,631.96
MINNICK               MAINSTAR-FBO RONEE MINNICK T2175855                CLASS 3          383,200.00        13,722.33                0.00               369,477.67
MINOR                 MAINSTAR-FBO LORI MINOR TW004183                   CLASS 3          300,000.00               0.00              0.00               300,000.00
MINSKI                CHESTER J & IRENE C MINSKI                         CLASS 3          250,000.00        15,833.33                0.00               234,166.67
MIRANDA               MICHAEL & MARY L MIRANDA                           CLASS 3           200,000.00       26,404.18                0.00               173,595.82
MIRANDA               MICHAEL & MARY L MIRANDA                           CLASS 5           200,000.00       26,404.18                0.00               173,595.82
MISHKIND              THE HOWARD D MISHKIND RT U/A/D 07/19/11            CLASS 3            75,000.00         5,437.50               0.00                69,562.50
MISHKIND              THE JANE R MISHKIND RT U/A/D 07/19/11              CLASS 3          175,000.00        14,504.21                0.00               160,495.79
MISNER                DOUGLAS A & LOIS A MISNER                          CLASS 3            40,000.00         2,641.67               0.00                37,358.33
MISPAGEL              MISPAGEL FT                                        CLASS 3            25,000.00          679.17                0.00                24,320.83
MISPAGEL              WENDY A MISPAGEL                                   CLASS 3            50,000.00        1,191.67                0.00                48,808.33
MITCHELL              BRYAN MITCHELL                                     CLASS 3          185,000.00        12,794.51                0.00               172,205.49
MITCHELL              DELIA JUANITA MITCHELL                             CLASS 5          200,000.00        14,583.28                0.00               185,416.72
MITCHELL              EVERETT MITCHELL TR                                CLASS 5          150,000.00        75,013.90                0.00                74,986.10
MITCHELL              IRA SVCS TR CO-CFBO SCOTT E MITCHELL               CLASS 5           140,000.00         5,483.34               0.00               134,516.66
MITCHELL              LORETTA M MITCHELL                                 CLASS 3          127,000.00         6,422.16                0.00               120,577.84
MITCHELL              PROV. TR GP-FBO DEBORAH J MITCHELL IRA             CLASS 3            78,880.00         4,059.57               0.00                74,820.43
MITCHELL              PROV. TR GP-FBO THOMAS G MITCHELL IRA              CLASS 3            89,000.00         4,228.14               0.00                84,771.86
MITCHELL              PROV. TR GP-FBO WALTER E MITCHELL IRA              CLASS 3          312,500.00          4,947.92               0.00               307,552.08
MITCHELL              STEPHEN R MITCHELL                                 CLASS 5          200,000.00        58,889.01                0.00               141,110.99
MITCHELL              VIOLA MITCHELL TR                                  CLASS 5          150,000.00        75,013.90                0.00                74,986.10
MIZUUCHI              MAINSTAR-FBO GARY M MIZUUCHI T2174550              CLASS 3          310,000.00        28,888.64                0.00               281,111.36
MJOLSNESS/BECK        GARY L MJOLSNESS & LINDA L BECK                    CLASS 3            30,000.00         5,384.17               0.00                24,615.83
MLG FARMS             MLG FARMS INC                                      CLASS 3          200,000.00         7,705.24                0.00               192,294.76
MLGW                  MLGW LLC                                           CLASS 3          200,000.00        29,882.60                0.00               170,117.40

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
MOBLEY                PROV. TR GP-FBO DAVID W MOBLEY IRA                  CLASS 3           100,000.00       14,608.33               0.00                85,391.67
MODICA                GUY A MODICA SR                                     CLASS 3            50,000.00         4,000.00              0.00                46,000.00
MOE                   PROV. TR GP-FBO WILLIAM MOE IRA                     CLASS 3            55,000.00       15,588.63               0.00                39,411.37
MOE                   PROV. TR GP-FBO WILLIAM MOE IRA                     CLASS 5          100,000.00        28,342.95               0.00                71,657.05
MOELLER               JOHN J MOELLER                                      CLASS 3          100,000.00          1,333.33              0.00                98,666.67
MOELLER               PATRICIA MOELLER                                    CLASS 3          161,700.00           966.67               0.00               160,733.33
MOELLER               PROV. TR GP-FBO MICHAEL E MOELLER IRA               CLASS 3           100,000.00       14,594.44               0.00                85,405.56
MOELLER               PROV. TR GP-FBO MICHAEL E MOELLER IRA               CLASS 5          100,000.00        14,594.44               0.00                85,405.56
MOFFATT               TERRY D MOFFATT                                     CLASS 3            25,000.00        1,112.50               0.00                23,887.50
MOFFITT               IRA SVCS TR CO-CFBO KELLY MOFFITT                   CLASS 3           273,800.00         4,643.20              0.00               269,156.80
MOHAMED               AZIZA MOHAMED                                       CLASS 5            50,000.00       57,959.12               0.00                      0.00 **
MOHAMMED              SHAHEED MOHAMMED LT                                 CLASS 3           275,000.00         3,439.58              0.00               271,560.42
MOHER                 RICHARD MOHER                                       CLASS 3            50,000.00         3,749.94              0.00                46,250.06
MOHR                  DALE & SHEREE MOHR                                  CLASS 3            30,000.00          780.00               0.00                29,220.00
MOHR                  PROV. TR GP-FBO DUSTAN MOHR IRA                     CLASS 3            93,000.00       12,042.85               0.00                80,957.15
MOHS/HEMME            KAMELA MOHS & SHANNON L HEMME                       CLASS 3            50,000.00          840.26               0.00                49,159.74
MOJTABAI              MAINSTAR-FBO NADER MOJTABAI T2176167                CLASS 3           399,988.00       16,799.50               0.00               383,188.50
MOJTABAI              SHAHEEN MOJTABAI                                    CLASS 3           100,000.00         3,866.67              0.00                96,133.33
MOLACEK               PROV. TR GP-FBO MICHAEL MOLACEK IRA                 CLASS 3           526,900.00       52,153.07               0.00               474,746.93
MOLINARI              THERESA MOLINARI                                    CLASS 3            55,000.00         1,090.82              0.00                53,909.18
MOLITERNO             VIRGINIA M MOLITERNO RLT                            CLASS 3            50,000.00        2,352.81               0.00                47,647.19
MONACO                SUSAN L MONACO                                      CLASS 3            50,000.00         5,429.17              0.00                44,570.83
MONAGHAN HOLDINGS     MONAGHAN HOLDINGS LLC                               CLASS 3           400,000.00       22,757.12               0.00               377,242.88
MONAGHAN HOLDINGS     MONAGHAN HOLDINGS LLC                               CLASS 5           650,000.00       36,980.32               0.00               613,019.68
MONAHAN               MONAHAN LT                                          CLASS 5           200,000.00       33,005.56               0.00               166,994.44
MONAHAN               PROV. TR GP-FBO ANNE MONAHAN ROTH IRA               CLASS 5            50,000.00       13,522.55               0.00                36,477.45
MONAHAN               PROV. TR GP-FBO JOHN MONAHAN ROTH IRA               CLASS 5            50,000.00       13,734.76               0.00                36,265.24
MONARCA               JOSEPH S & DENISE B MONARCA                         CLASS 3            25,000.00          871.20               0.00                24,128.80
MONDIK                CLEO E MONDIK                                       CLASS 3            25,000.00         5,275.02              0.00                19,724.98

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MONEY                 JOSEPH HAWLEY MONEY                               CLASS 3          100,000.00           633.33                0.00                99,366.67
MONGE                 MONGE FT DTD 02/25/10                             CLASS 3          175,000.00        18,292.06                0.00               156,707.94
MONN                  REBECCA MONN                                      CLASS 3            30,000.00              0.00              0.00                30,000.00
MONROE                JOHN & SUSAN MONROE                               CLASS 3           150,000.00         2,004.17               0.00               147,995.83
MONROE                TERRI MONROE                                      CLASS 3            50,000.00         1,175.00               0.00                48,825.00
MONSON                ROBERT & JANICE MONSON                            CLASS 3           125,000.00         7,770.83               0.00               117,229.17
MONTAGUE              KENNETH A & VICTORIA J MONTAGUE                   CLASS 5           100,000.00       21,091.63                0.00                78,908.37
MONTERO               MAINSTAR-FBO MYRTA MONTERO                        CLASS 3            35,750.00         5,375.80               0.00                30,374.20
MONTES                MAINSTAR-FBO JOHN F MONTES T2176897               CLASS 3           180,000.00         5,940.00               0.00               174,060.00
MONTESANO             PROV. TR GP-FBO RONALD A MONTESANO IRA            CLASS 3            95,200.00         9,881.66               0.00                85,318.34
MONTOYA               CONSUELO B OR JOHN MONTOYA                       CLASS 3*            75,000.00         4,614.58               0.00                70,385.42
MONTREUIL             HAMILTON A MONTREUIL JR                           CLASS 3            25,000.00         5,631.23               0.00                19,368.77
MOODY                 ERNEST MOODY                                      CLASS 3            60,000.00          840.00                0.00                59,160.00
MOON                  PROV. TR GP-FBO BARBARA A MOON IRA                CLASS 3            31,315.00         3,775.20               0.00                27,539.80
MOON                  PROV. TR GP-FBO ROBERT F MOON IRA                 CLASS 3           160,000.00       19,537.78                0.00               140,462.22
MOON                  THE MOON RT                                       CLASS 3           225,000.00       27,220.63                0.00               197,779.37
MOON                  THE MOON RT                                       CLASS 5           250,000.00       30,245.14                0.00               219,754.86
MOORE                 ANN & BRUCE MOORE SR                              CLASS 3           100,000.00         4,797.27               0.00                95,202.73
MOORE                 BARBARA D MOORE                                   CLASS 3           119,000.00       17,954.62                0.00               101,045.38
MOORE                 BOBBIE MOORE                                      CLASS 3            50,000.00              0.00              0.00                50,000.00
MOORE                 BRIAN & MICHELLE MOORE                            CLASS 3            65,000.00         4,553.08               0.00                60,446.92
MOORE                 BRUCE MOORE                                       CLASS 5           125,000.00         6,597.24               0.00               118,402.76
MOORE                 DELTIS D & JUDITH KAY MOORE                       CLASS 3           150,000.00       12,154.20                0.00               137,845.80
MOORE                 JOSEPH H & EDITH M MOORE                          CLASS 3            25,000.00         1,194.48               0.00                23,805.52
MOORE                 MAINSTAR-FBO MICHAEL B MOORE T2177149             CLASS 3            51,500.00         1,423.05               0.00                50,076.95
MOORE                 MILLARD MOORE SR                                  CLASS 3           125,000.00       12,420.23                0.00               112,579.77
MOORE                 PROV. TR GP-FBO DEREK R MOORE IRA                 CLASS 3            25,000.00         2,863.04               0.00                22,136.96
MOORE                 PROV. TR GP-FBO DEREK R MOORE IRA                 CLASS 5           160,000.00       18,323.43                0.00               141,676.57
MOORE                 PROV. TR GP-FBO DOROTHY A MOORE IRA               CLASS 5            55,000.00         8,402.78               0.00                46,597.22

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type            [1]               [2]               [3]          [1] minus [2] minus [3]
MOORE                 PROV. TR GP-FBO JUDI MOORE IRA                    CLASS 3           200,000.00       33,165.99                0.00               166,834.01
MOORE                 PROV. TR GP-FBO JUDI MOORE IRA                    CLASS 5           200,000.00       33,165.99                0.00               166,834.01
MOORE                 PROV. TR GP-FBO RONALD E MOORE IRA                CLASS 3            39,500.00       13,976.61                0.00                25,523.39
MOORE                 PROV. TR GP-FBO RONALD E MOORE IRA                CLASS 5            50,000.00       17,691.91                0.00                32,308.09
MOORE                 PROV. TR GP-FBO WILLIAM J MOORE IRA               CLASS 3           499,500.00       55,231.57                0.00               444,268.43
MOORE                 RONALD H MOORE                                    CLASS 3           100,000.00              0.00              0.00               100,000.00
MOORE                 THOMAS A & PATRICIA W MOORE                       CLASS 3          110,000.00        19,229.02                0.00                90,770.98
MOORES                MERRY MOORES                                      CLASS 5          100,000.00        30,871.01                0.00                69,128.99
MOORES                MICHAEL W MOORES                                  CLASS 5          400,000.00       106,673.69                0.00               293,326.31
MOORES                TMICO-FBO MERRY MOORES IRA                        CLASS 5            67,995.36         9,939.34               0.00                58,056.02
MOORES                TMICO-FBO MICHAEL MOORES IRA                      CLASS 5            63,485.37       11,268.55                0.00                52,216.82
MOOS                  GARY L MOOS                                       CLASS 3            50,000.00         7,863.34               0.00                42,136.66
MOOSBRUGGER           CONNIE MOOSBRUGGER                                CLASS 3           100,000.00       11,083.42                0.00                88,916.58
MORALES               MAINSTAR-FBO MICHAEL R MORALES                    CLASS 3           100,000.00         5,454.17               0.00                94,545.83
MORAN                 MAINSTAR-FBO MARILYN J MORAN                      CLASS 3            30,000.00         1,825.00               0.00                28,175.00
MORAN                 MARY MORAN                                        CLASS 5          200,000.00        63,111.35                0.00               136,888.65
MORANO                MONICA MORANO IRREV TR                            CLASS 3            80,000.00         4,622.22               0.00                75,377.78
MOREHOUSE             BERNADETTE MOREHOUSE                              CLASS 3            80,000.00         1,626.67               0.00                78,373.33
MORENO                JOSE MORENO RT                                    CLASS 3          100,000.00          4,965.24               0.00                95,034.76
MORGAN                ALICE M MORGAN                                    CLASS 3          170,000.00        23,978.83                0.00               146,021.17
MORGAN                BARBARA M MORGAN                                  CLASS 3            30,000.00         4,015.93               0.00                25,984.07
MORGAN                DAVID MORGAN                                      CLASS 3            50,000.00         4,150.00               0.00                45,850.00
MORGAN                LARRY MORGAN                                      CLASS 3            25,000.00          262.50                0.00                24,737.50
MORGAN                MAINSTAR-FBO MICHAEL C MORGAN                     CLASS 3           115,000.00         7,666.67               0.00               107,333.33
MORGAN                MORGAN FT 08/17/95 HAROLD LEE MORGAN              CLASS 3           100,000.00         4,450.00               0.00                95,550.00
MORGAN                THE DON MORGAN TR UTD 03/25/17                    CLASS 3            25,000.00          454.87                0.00                24,545.13
MORGAN                ALAN M MORGAN                                     CLASS 3           350,000.00       11,982.68                0.00               338,017.32
MORICE                IRA SVCS TR CO-CFBO ANTHONY P MORICE IRA          CLASS 3            34,000.00         1,671.67               0.00                32,328.33
MORICE                IRA SVCS TR CO-CFBO TRUDY E MORICE IRA            CLASS 3            34,500.00         1,696.25               0.00                32,803.75

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MORONGO BASIN         MORONGO BASIN HUMANE SOCIETY                        CLASS 3           150,000.00       14,055.63                0.00               135,944.37
MOROSAN-PENZA         LAUNA MOROSAN-PENZA TR                              CLASS 3           165,292.00         1,489.93               0.00               163,802.07
MOROZOV               MIKHAIL MOROZOV TR                                  CLASS 3           400,000.00       10,613.90                0.00               389,386.10
MORRILL               THE MORRILL FT                                      CLASS 3            25,000.00       20,166.57                0.00                 4,833.43
MORRIS                CHRISTEL MORRIS LT                                  CLASS 3          100,000.00        21,606.95                0.00                78,393.05
MORRIS                DAVID E & SUSAN L MORRIS                            CLASS 3            50,000.00       11,541.67                0.00                38,458.33
MORRIS                IRA SVCS TR CO-CFBO JAMES D MORRIS IRA              CLASS 3            40,000.00         4,180.00               0.00                35,820.00
MORRIS                MARGARET F MORRIS                                   CLASS 3            25,000.00          333.34                0.00                24,666.66
MORRIS                ROSS K MORRIS                                       CLASS 3            50,000.00        3,375.00                0.00                46,625.00
MORRIS                GEORGE & ELIZABETH MORRIS                           CLASS 3            70,000.00         1,584.74               0.00                68,415.26
MORRISSEY             MAINSTAR-FBO WILLIAM MORRISSEY T2177992             CLASS 3            40,000.00          715.27                0.00                39,284.73
MORRISSEY             MICHAEL J & VICKIE M MORRISSEY                      CLASS 3           475,000.00       48,047.49                0.00               426,952.51
MORRISSEY             PROV. TR GP-FBO MICHAEL J MORRISSEY IRA             CLASS 3           300,000.00       28,758.33                0.00               271,241.67
MORROW                LOUIS & MURIEL MORROW FT                            CLASS 3            30,000.00          607.50                0.00                29,392.50
MORSCH                JEFFREY & MARY MORSCH LT 08/26/10                   CLASS 3          285,525.75        38,166.09                0.00               247,359.66
MORTENSEN             GAYLYNN L MORTENSEN                                 CLASS 3            80,864.00         1,381.41               0.00                79,482.59
MORTENSEN             MAINSTAR-FBO GAYLYNN L MORTENSEN T2177490           CLASS 3          111,017.40          1,603.59               0.00               109,413.81
MORTON                EDWIN MORTON                                        CLASS 3          100,000.00        15,930.98                0.00                84,069.02
MOSCOVITCH            THE MOSCOVITCH FAMILY IRREV TR                      CLASS 3          250,000.00         6,961.08                0.00               243,038.92
MOSCOVITCH            THE MOSCOVITCH FAMILY IRREV TR                     CLASS 3*          100,000.00               0.00              0.00               100,000.00
MOSELEY               WILLIAM MOSELEY                                    CLASS 3*          100,000.00         3,590.25                0.00                96,409.75
MOSHEIM               MARK J MOSHEIM                                      CLASS 3          100,000.00         5,283.33                0.00                94,716.67
MOSHER                PROV. TR GP-FBO ROBERT R MOSHER IRA                 CLASS 3            34,000.00         8,284.31               0.00                25,715.69
MOSHER                PROV. TR GP-FBO ROBERT R MOSHER IRA                 CLASS 5          160,000.00        38,985.01                0.00               121,014.99
MOSHER                PROV. TR GP-FBO SUE M MOSHER IRA                    CLASS 3          195,000.00        43,921.01                0.00               151,078.99
MOSHER                PROV. TR GP-FBO SUE M MOSHER IRA                    CLASS 5          259,000.00        58,336.10                0.00               200,663.90
MOSHER                SUSAN M MOSHER                                      CLASS 3            89,300.00       10,304.58                0.00                78,995.42
MOSIER                LINDA & TOM MOSIER                                  CLASS 3            66,000.00         3,707.82               0.00                62,292.18
MOSLEY                MAINSTAR-FBO RUSSELL MOSLEY T2177192                CLASS 3            37,315.95        1,400.39                0.00                35,915.56

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition          Other
                                                                                       Principal        "Interest"        Prepetition
                                                                                       Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MOSSONI               MARK L & JODELL J MOSSONI                         CLASS 3            75,000.00        5,687.45                0.00                69,312.55
MOTES                 KEVIN R & LORI A MOTES                            CLASS 3          175,000.00        34,588.13                0.00               140,411.87
MOTTA                 PROV. TR GP-FBO LORI MOTTA IRA                    CLASS 3            86,500.00         4,162.81               0.00                82,337.19
MOTUS                 PROV. TR GP-FBO GREGORY MOTUS IRA                 CLASS 3          102,000.00        18,109.92                0.00                83,890.08
MOULDER               MAINSTAR-FBO JOANNE MOULDER T2174578              CLASS 3            32,000.00         3,191.98               0.00                28,808.02
MOUW                  DARLENE MOUW                                      CLASS 3            25,000.00         2,958.43               0.00                22,041.57
MOWBRAY               THOMAS B MOWBRAY                                  CLASS 3            30,000.00         1,121.46               0.00                28,878.54
MOWEN                 BEVERLY J MOWEN                                   CLASS 3            25,000.00          659.74                0.00                24,340.26
MOWEN                 DONALD T MOWEN JR                                 CLASS 3            25,000.00          659.74                0.00                24,340.26
MOWER                 PROV. TR GP-FBO JUDITH D MOWER IRA                CLASS 3            88,000.00         4,972.00               0.00                83,028.00
MOWERY                DEBORAH K MOWERY RT 09/17/04                      CLASS 3          100,000.00        16,246.46                0.00                83,753.54
MOWERY                RICHARD & SANDRA MOWERY                           CLASS 3           325,000.00       16,464.57                0.00               308,535.43
MOYER                 MAINSTAR-FBO DESIREE MOYER                        CLASS 3            69,000.00         5,711.67               0.00                63,288.33
MOYERS                MAINSTAR-FBO CAROL MOYERS                         CLASS 3           100,000.00         4,965.27               0.00                95,034.73
MPO INVESTMENT        MPO INVESTMENT TR                                 CLASS 5          100,000.00        29,244.36                0.00                70,755.64
MRAZ                  DENNIS E MRAZ RT                                  CLASS 3          250,000.00        39,563.81                0.00               210,436.19
MROZ                  MAINSTAR-FBO SHARON L MROZ T2177399               CLASS 3            52,430.13          902.97                0.00                51,527.16
MSDROTHIRACD          MSDROTHIRACD LLC                                  CLASS 3            50,000.00         1,599.27               0.00                48,400.73
MSDROTHIRAJI          MSDROTHIRAJI LLC                                  CLASS 3            25,000.00              0.00              0.00                25,000.00
MSDROTHIRAL           MSDROTHIRAL LLC                                   CLASS 3            25,000.00        1,599.27                0.00                23,400.73
MSDROTHIRARE          MSDROTHIRARE LLC                                  CLASS 3            33,000.00              0.00              0.00                33,000.00
MT CARMEL BAPTIST     MT CARMEL BAPTIST CHURCH                          CLASS 3            33,396.04         2,744.04               0.00                30,652.00
MUCKOM                JOSEPH MUCKOM                                     CLASS 3            50,000.00        5,124.45                0.00                44,875.55
MUCKOM                MUCKOM TR DTD 08/08/16                            CLASS 3            50,000.00          525.00                0.00                49,475.00
MUDREZOW              JENNIFER MUDREZOW                                 CLASS 3            25,000.00         1,331.63               0.00                23,668.37
MUEHL                 ROBERT H & ADAM R MUEHL                           CLASS 3           100,000.00         4,155.53               0.00                95,844.47
MUELLER               PATRICIA A MUELLER                                CLASS 5          100,000.00        30,666.55                0.00                69,333.45
MUENTER               PROV. TR GP-FBO CRAIG MUENTER IRA                 CLASS 3            75,000.00         2,830.21               0.00                72,169.79
MUFFYS                MUFFYS FRT                                        CLASS 3            50,000.00        1,183.33                0.00                48,816.67

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
MUKHERJEE             AVIJIT & JASSY R MUKHERJEE                         CLASS 3           100,000.00         5,225.66               0.00                94,774.34
MULBERRY              PAMELA A MULBERRY                                  CLASS 3          100,000.00          1,583.34               0.00                98,416.66
MULLEN                ADV. IRA SVC-FBO DEBORAH D MULLEN IRA              CLASS 3           150,000.00         5,133.33               0.00               144,866.67
MULLEN                ROSEMARY T MULLEN                                  CLASS 3          250,000.00          3,090.27               0.00               246,909.73
MULLIN                SANDRA MULLIN                                      CLASS 3            50,000.00          904.18                0.00                49,095.82
MULLIN                THE MELANIE ANN MULLIN TR                          CLASS 3            25,000.00         1,600.00               0.00                23,400.00
MULLIN                TIMOTHY P MULLIN                                   CLASS 3            80,000.00        1,446.68                0.00                78,553.32
MULLINS               LAURI K MULLINS                                    CLASS 5            50,000.00       10,986.20                0.00                39,013.80
MULLINS               LIBERTY TR CO-FBO LAURI MULLINS IRA                CLASS 5            38,000.00         6,586.73               0.00                31,413.27
MUMMERT               CLAIRE M MUMMERT                                   CLASS 3            50,000.00        3,166.67                0.00                46,833.33
MUMMERT               GERALD E MUMMERT                                   CLASS 3            50,000.00        3,166.67                0.00                46,833.33
MUNK                  ELIZABETH K F MUNK                                 CLASS 3          200,000.00        12,199.97                0.00               187,800.03
MUNOZ                 GERSON MUNOZ                                       CLASS 3            60,000.00          966.67                0.00                59,033.33
MUNOZ                 PROV. TR GP-FBO ALBERT R MUNOZ IRA                 CLASS 5           125,000.00       36,145.84                0.00                88,854.16
MUNTON                PAMELA MUNTON                                      CLASS 3            70,000.00        5,238.33                0.00                64,761.67
MURAD                 ALBERT & ARLINE MURAD                              CLASS 3            25,000.00         1,083.36               0.00                23,916.64
MURDOCK               PROV. TR GP-FBO ROBERT L MURDOCK IRA               CLASS 3           130,000.00         2,065.56               0.00               127,934.44
MURDOCK               ROBERT MURDOCK                                     CLASS 3          100,000.00          1,741.66               0.00                98,258.34
MURILLO               JAKE MURILLO                                       CLASS 3            25,000.00              0.00              0.00                25,000.00
MURPHY                FRANCIS PATRICK & PATRICIA J MURPHY                CLASS 3          200,000.00        11,883.33                0.00               188,116.67
MURPHY                JAMES G & ROMA M MURPHY                            CLASS 3            50,000.00        3,140.31                0.00                46,859.69
MURPHY                JOHN T & JOAN F MURPHY LT                          CLASS 3            50,000.00         9,816.85               0.00                40,183.15
MURPHY                MAINSTAR-FBO DENNIS MICHAEL MURPHY                 CLASS 3          339,000.00        16,469.75                0.00               322,530.25
MURPHY                MAINSTAR-FBO KATHI MURPHY                          CLASS 3          100,000.00          4,644.44               0.00                95,355.56
MURPHY                MICHAEL T MURPHY                                   CLASS 3          200,000.00        12,933.33                0.00               187,066.67
MURPHY                SUNWEST TR JAMES E MURPHY IRA                      CLASS 3          550,000.00        62,364.01                0.00               487,635.99
MURRAY                BRUCE A & SHERRY K MURRAY                          CLASS 3            50,000.00         2,475.00               0.00                47,525.00
MURRAY                IVAN J MURRAY                                      CLASS 3            65,000.00         3,162.77               0.00                61,837.23
MURRAY                MAINSTAR-FBO CHRISTOPHER MURRAY                    CLASS 3            34,000.00         3,720.12               0.00                30,279.88

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]              [3]          [1] minus [2] minus [3]
MURRAY                MAINSTAR-FBO WANZA MURRAY T2178227                 CLASS 3            26,852.45          143.21               0.00                26,709.24
MURRAY                MARIA MURRAY                                       CLASS 3            95,000.00         9,803.39              0.00                85,196.61
MURRAY                MARIA R MURRAY SECOND IT C MURRAY TTEE             CLASS 3           380,000.00       39,786.03               0.00               340,213.97
MURRAY                PAUL P & NOLA T MURRAY                             CLASS 3          100,000.00          1,065.28              0.00                98,934.72
MURRAY                PROV. TR GP-FBO NOEL C MURRAY ROTH IRA             CLASS 5            53,683.00       11,005.02               0.00                42,677.98
MURRAY                PROV. TR GP-FBO REGINALD C MURRAY IRA              CLASS 3           389,000.00       14,868.45               0.00               374,131.55
MURRAY                REGINALD C & NANCY A MURRAY                        CLASS 3           100,000.00         4,133.35              0.00                95,866.65
MUSUMECI              JOSEPH & ELIZABETH MUSUMECI                        CLASS 3            50,000.00         3,194.39              0.00                46,805.61
MUTHU                 PROV. TR GP-FBO PRIYA MUTHU IRA                    CLASS 3            25,000.00         3,485.42              0.00                21,514.58
MYERS                 CHARLES & PATRICIA MYERS                           CLASS 3            90,000.00         2,802.50              0.00                87,197.50
MYERS                 GARY L & SHIRLEY A MYERS                           CLASS 3          150,000.00           150.00               0.00               149,850.00
MYERS                 IRA SVCS TR CO-CFBO DEBRA G MYERS IRA              CLASS 3           325,000.00         8,576.41              0.00               316,423.59
MYERS                 IRA SVCS TR CO-CFBO DOUGLAS W MYERS IRA            CLASS 3           440,000.00       17,025.58               0.00               422,974.42
MYERS                 KAREN LEE MYERS                                    CLASS 3            50,000.00         6,104.07              0.00                43,895.93
MYERS                 MAINSTAR-FBO ALVIE E MYERS JR T2176649             CLASS 3          102,784.44          1,670.25              0.00               101,114.19
MYERS                 NANCY L MYERS                                      CLASS 3           100,000.00       13,633.32               0.00                86,366.68
MYERS                 NELDA F MYERS                                      CLASS 3          100,000.00         5,331.91               0.00                94,668.09
MYERS                 PROV. TR GP-FBO CHERYL MYERS IRA                   CLASS 5            70,000.00         9,631.25              0.00                60,368.75
MYERS                 PROV. TR GP-FBO DR CARL O MYERS IRA                CLASS 3            93,000.00       13,706.16               0.00                79,293.84
MYERS                 R LARRY & BONNIE L MYERS                           CLASS 3            30,000.00          450.00               0.00                29,550.00
MYRICK                MIDLAND-FBO RONALD MYRICK IRA #7445926             CLASS 3           100,000.00       14,102.75               0.00                85,897.25
MYRICK                THE ANDREW D MYRICK RT 2017 A MYRICK TTEE          CLASS 3           250,000.00         3,305.57              0.00               246,694.43
MYRICK                THE RONALD E MYRICK SR RLT DTD 02/12/07            CLASS 3           800,000.00      108,174.99               0.00               691,825.01
NACHSIN               SYLVIA NACHSIN TR 12/24/97                         CLASS 3           350,000.00       16,362.48               0.00               333,637.52
NADEY                 MARGARET NADEY                                     CLASS 3            50,000.00         3,208.38              0.00                46,791.62
NADZAN                MAINSTAR-FBO ELEANOR M NADZAN T2176206             CLASS 3           131,500.00         6,248.07              0.00               125,251.93
NAGA                  KRANTHI KUMARI NAGA                                CLASS 3            50,000.00         1,764.61              0.00                48,235.39
NAGEL                 PROV. TR GP-FBO TERRY NAGEL SEP IRA                CLASS 3            44,800.00         7,728.46              0.00                37,071.54
NAGY                  CATHERINE L NAGY                                   CLASS 3            50,000.00         3,472.17              0.00                46,527.83

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
NAI                   ALFRED NAI                                         CLASS 3          110,000.00           970.00               0.00               109,030.00
NAIMAN                PROV. TR GP-FBO BERNARD A NAIMAN IRA               CLASS 3           300,000.00       83,997.23               0.00               216,002.77
NAJAFI                SUNWEST TR ALI NAJAFI ROTH IRA                     CLASS 3            57,143.00         4,499.99              0.00                52,643.01
NAKATSUKA             PROV. TR GP-FBO JORDAN NAKATSUKA IRA               CLASS 3           367,000.00       15,258.03               0.00               351,741.97
NANAVATY              HEMANT & MAMTA NANAVATY                            CLASS 3           100,000.00         8,125.38              0.00                91,874.62
NANTISTA              FRANK L & BARBARA A NANTISTA                       CLASS 3            50,000.00         2,490.31              0.00                47,509.69
NAPPI                 FRANK & MARY NAPPI                                 CLASS 3          200,000.00           350.00               0.00               199,650.00
NARKATES              PETER NARKATES                                     CLASS 3            75,000.00         7,437.50        1,000.00                  66,562.50
NASH                  THE NASH FT DTD 09/15/14                           CLASS 3            50,000.00          986.10               0.00                49,013.90
NASHAWATY             JOHN NASHAWATY                                     CLASS 3            50,000.00         2,536.15              0.00                47,463.85
NATALE                JAMES K & GEORGIA A NATALE                         CLASS 3           170,000.00       16,137.14               0.00               153,862.86
NATE                  GAYLEN & PAMALA NATE                               CLASS 3            25,000.00         1,099.97              0.00                23,900.03
NATIVIDAD             ED NATIVIDAD                                       CLASS 5          100,000.00        19,361.03               0.00                80,638.97
NATIVIDAD             QUEST IRA FBO EDGARDO NATIVIDAD IR1398411          CLASS 5            99,530.00       33,370.35               0.00                66,159.65
NATTRESS              MARIANN NATTRESS                                   CLASS 3            25,000.00         9,002.83              0.00                15,997.17
NATTRESS              MARY NATTRESS                                      CLASS 3          100,000.00        17,277.89               0.00                82,722.11
NAUGHTON              PROV. TR GP-FBO GEORGE NAUGHTON IRA                CLASS 3           223,500.00       23,884.95               0.00               199,615.05
NAY                   LINDA NAY                                          CLASS 3            25,000.00          538.21               0.00                24,461.79
NEAL                  IRA SVCS TR CO-CFBO SUZANNE NEAL IRA               CLASS 3           123,000.00       10,728.34               0.00               112,271.66
NEAL                  LISA K NEAL                                        CLASS 3            50,000.00        1,633.33               0.00                48,366.67
NEAL                  MAINSTAR-FBO ANN M NEAL R2176839                   CLASS 3          100,000.00          2,736.11              0.00                97,263.89
NEAL                  MAINSTAR-FBO STEVEN A NEAL R2176834                CLASS 3          100,000.00          2,736.11              0.00                97,263.89
NEAL                  SUNWEST TR SCOTT NEAL IRA                          CLASS 3            50,000.00         4,826.31              0.00                45,173.69
NEDBALEK              ROBERT L & ELIZABETH D NEDBALEK                    CLASS 5            50,000.00         2,500.02              0.00                47,499.98
NEDBALEK              ROBERT L NEDBALEK                                  CLASS 3            40,000.00         8,178.68              0.00                31,821.32
NEEDHAM               AARON NEEDHAM                                      CLASS 3           250,000.00         4,025.00              0.00               245,975.00
NEEDHAM               MAINSTAR-FBO PAUL B NEEDHAM T2178354               CLASS 3            50,000.00          236.11               0.00                49,763.89
NEELAKANTIAH          BANGALORE P NEELAKANTIAH                           CLASS 3            50,000.00         6,708.41              0.00                43,291.59
NEGRONI               ANA NEGRONI                                        CLASS 3           106,847.42         9,816.66              0.00                97,030.76

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
NEJMAN                GARY R NEJMAN                                      CLASS 3            25,000.00          385.43                 0.00                24,614.57
NELSON                CHAD & STACIA NELSON                               CLASS 3            50,000.00         4,319.48                0.00                45,680.52
NELSON                CHAD NELSON - IN TR FOR BRADEN NELSON              CLASS 3            25,000.00         3,062.50                0.00                21,937.50
NELSON                JEFFREY L NELSON                                   CLASS 3            50,000.00        2,673.57                 0.00                47,326.43
NELSON                KARL NELSON                                        CLASS 3          150,000.00        17,550.07                 0.00               132,449.93
NELSON                MAINSTAR-FBO GREGORY D NELSON                      CLASS 3          100,000.00          5,911.11                0.00                94,088.89
NELSON                MAINSTAR-FBO MARY ELLEN NELSON R2177888            CLASS 3            31,750.00          506.24                 0.00                31,243.76
NELSON                MAINSTAR-FBO TERRY NELSON T2178336                 CLASS 3          500,000.00               97.22              0.00               499,902.78
NELSON                MAURICE E & THELMA L NELSON                        CLASS 3          100,000.00         2,934.01                 0.00                97,065.99
NELSON                NELSON FLP                                         CLASS 5         2,375,000.00      455,643.48                 0.00             1,919,356.52
NELSON                PROV. TR GP-FBO HARRIET NELSON IRA                 CLASS 5            75,000.00       24,229.09                 0.00                50,770.91
NELSON                PROV. TR GP-FBO THOMAS NELSON IRA                  CLASS 5            75,000.00       24,229.09                 0.00                50,770.91
NELSON                RODGER NELSON                                      CLASS 3            50,000.00          902.76                 0.00                49,097.24
NELSON                VALENTINE R & MARC NELSON                          CLASS 3           200,000.00         7,333.32                0.00               192,666.68
NEMECEK               LOIS J & BARBARA J NEMECEK                         CLASS 3            50,000.00         4,033.36                0.00                45,966.64
NEMERGUT              JOHN & MARY ANNE NEMERGUT                          CLASS 3            25,000.00          650.00                 0.00                24,350.00
NEPTUNES NET          NEPTUNES NET SEAFOOD INC PENSION PLAN TR           CLASS 3           189,000.00         2,152.50                0.00               186,847.50
NERIL                 MICHAEL NERIL                                      CLASS 3          300,000.00        43,605.19                 0.00               256,394.81
NERO                  WILLIAM NERO                                       CLASS 3            50,000.00        3,200.00                 0.00                46,800.00
NESAW                 FLORENCE & DOUGLAS H NESAW                         CLASS 3           100,000.00         5,908.34          2,000.00                  92,091.66
NESENOFF              BERNARD & ELAINE NESENOFF                          CLASS 3            50,000.00         9,198.05                0.00                40,801.95
NESTO                 WILLIAM NESTO                                      CLASS 3          384,021.85        10,807.74                 0.00               373,214.11
NETTO                 CARLOS NETTO                                       CLASS 3            25,000.00          500.01                 0.00                24,499.99
NEUBAUER              RONALD NEUBAUER                                    CLASS 3            25,000.00         2,368.75                0.00                22,631.25
NEUMANN               DIETER NEUMANN                                     CLASS 3            75,000.00       10,122.91                 0.00                64,877.09
NEUMANN               NEUMANN RT                                         CLASS 3           100,000.00       13,884.81                 0.00                86,115.19
NEUMANN               PETER L & DOROTHY NEUMANN                          CLASS 3            25,000.00         2,916.67                0.00                22,083.33
NEUROTH               EUGENE L NEUROTH                                   CLASS 3            42,000.00         4,341.46           125.00                   37,533.54
NEUROTH               EUGENE L NEUROTH                                   CLASS 5          294,000.00        30,390.20            875.00                  262,734.80

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
NEUROTH               IRA SVCS TR CO-CFBO BRAD E NEUROTH IRA              CLASS 3           200,000.00       14,703.17                 0.00               185,296.83
NEUROTH               IRA SVCS TR CO-CFBO BRAD E NEUROTH IRA              CLASS 5           500,000.00       36,757.94                 0.00               463,242.06
NEVADOMSKI            JAMES NEVADOMSKI                                    CLASS 5           100,000.00       24,611.01                 0.00                75,388.99
NEW CASTLE REALTORS THE NEW CASTLE CNTY BOARD OF REALTORS                 CLASS 3           200,000.00       12,632.65           2,000.00                 185,367.35
NEW HOPE COMMUNITY NEW HOPE COMMUNITY CHURCH                              CLASS 3            75,000.00         6,944.68                0.00                68,055.32
NEWELL                ELISABETH NEWELL                                    CLASS 3          110,000.00          4,455.00                0.00               105,545.00
NEWELL                TERRY & JO ANN NEWELL                               CLASS 3           335,000.00               0.00              0.00               335,000.00
NEWLON                MAINSTAR-FBO JOHN NEWLON                            CLASS 3            39,000.00         3,049.58                0.00                35,950.42
NEWMAN                PROV. TR GP-FBO DONNA L NEWMAN IRA                  CLASS 3            60,000.00         8,728.33                0.00                51,271.67
NEWMARK               EVELYN & CARL NEWMARK TR                           CLASS 3*           100,000.00         6,822.87                0.00                93,177.13
NEWTON                PROV. TR GP-FBO CHARLES A NEWTON IRA                CLASS 3            50,000.00         8,441.67                0.00                41,558.33
NEWTON                PROV. TR GP-FBO DEBRA C NEWTON IRA                  CLASS 3            25,000.00         4,220.83                0.00                20,779.17
NGO                   YEN NGO                                             CLASS 3            50,000.00        2,933.99                 0.00                47,066.01
NGUYEN                MAINSTAR-FBO KEN VAN NGUYEN R2177502                CLASS 3            21,032.53          560.28                 0.00                20,472.25
NGUYEN                PROV. TR GP-FBO KEITH NGUYEN IRA                    CLASS 3           210,000.00       35,650.06                 0.00               174,349.94
NIBLEY                VALYRIE R NIBLEY FT                                 CLASS 3            25,000.00          281.26                 0.00                24,718.74
NICHOLAS              VIRGINIA A NICHOLAS LT                              CLASS 3            50,000.00          694.43                 0.00                49,305.57
NICHOLS               GALEN & SHIRLEY NICHOLS                             CLASS 3          340,000.00          5,751.66                0.00               334,248.34
NICHOLS               GEORGE E & NANNIE E NICHOLS                         CLASS 3            25,000.00              24.31              0.00                24,975.69
NICHOLS               JAMES A NICHOLS                                     CLASS 3          100,000.00                0.00              0.00               100,000.00
NICHOLS               JOHN H & ZERALDA A NICHOLS                          CLASS 3          250,000.00        11,998.11                 0.00               238,001.89
NICHOLS               MAINSTAR-FBO JODI NICHOLS                           CLASS 3            44,500.00        2,922.17                 0.00                41,577.83
NICHOLS               MONICA NICHOLS                                      CLASS 3          397,400.00        27,232.47                 0.00               370,167.53
NICHOLS/BAILEY        KARL NICHOLS & BETTY ANN BAILEY                     CLASS 3           100,000.00       15,233.33                 0.00                84,766.67
NICKOLS               MAINSTAR-FBO DEE A NICKOLS T2176339                 CLASS 3            90,300.00        2,382.92                 0.00                87,917.08
NICOLAY               THE HARRIET S NICOLAY SEPARATE PROP TR              CLASS 3          146,700.00          4,006.33                0.00               142,693.67
NICOLE                JOYCE & PHIL NICOLE                                 CLASS 3            25,000.00               0.00              0.00                25,000.00
NIEDBALSKI            BENJAMIN J & AARON NIEDBALSKI                       CLASS 3          100,000.00         2,133.33                 0.00                97,866.67
NIELSEN               GLORIA NIELSEN                                      CLASS 3            25,000.00          406.26                 0.00                24,593.74

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]              [3]          [1] minus [2] minus [3]
NIELSEN               JUSTIN NIELSEN                                      CLASS 3            25,000.00        1,020.81               0.00                23,979.19
NIELSEN               LAURIE J NIELSEN                                    CLASS 5          400,000.00       109,350.03               0.00               290,649.97
NIELSEN               VELMA NIELSEN                                       CLASS 3            50,000.00          944.43               0.00                49,055.57
NIELSON               MAINSTAR-FBO DANIEL NIELSON                         CLASS 3            27,582.92         3,070.92              0.00                24,512.00
NIELSON               THE NIELSON FT                                      CLASS 5            50,000.00        8,333.40               0.00                41,666.60
NIETFELD              CLETUS NIETFELD                                     CLASS 3          215,000.00          2,203.75              0.00               212,796.25
NIETFELD              JOSEPH & MERDELLA NIETFELD RLT 07/19/94             CLASS 3            50,000.00          388.89               0.00                49,611.11
NIEVA                 DIANA G NIEVA RLT                                   CLASS 3            25,000.00         2,316.67              0.00                22,683.33
NIEVES                MARTA H NIEVES                                      CLASS 3          100,000.00         7,200.00               0.00                92,800.00
NIEVES                MARTA H NIEVES                                      CLASS 5          100,000.00         7,200.00               0.00                92,800.00
NILSEN                JEANNE H NILSEN                                     CLASS 3          125,000.00        32,404.21               0.00                92,595.79
NIMMOW                EDMUND & VIRGINIA NIMMOW                            CLASS 3            40,000.00         3,788.82        9,000.00                  27,211.18
NISHIZU               CLARENCE & HELEN NISHIZU TR DTD 06/01/74            CLASS 3            50,000.00         2,663.16              0.00                47,336.84
NISHIZU-SHIKATA       THE JEAN NISHIZU-SHIKATA TR DTD 05/18/05            CLASS 3           100,000.00         3,275.67              0.00                96,724.33
NITSCH                NORBERT C & WANDA B NITSCH                          CLASS 3           100,000.00         2,516.67              0.00                97,483.33
NITTMANN              MARY NITTMANN                                       CLASS 3            25,000.00        2,191.58               0.00                22,808.42
NOBLE                 CHARLES W & SUSAN M NOBLE                           CLASS 3            25,000.00         2,062.47              0.00                22,937.53
NOBLES                PROV. TR GP-FBO DONALD P NOBLES IRA                 CLASS 3            88,400.00       12,818.00               0.00                75,582.00
NOEL                  RUBEN W JR & RITA A NOEL                            CLASS 3          100,000.00          1,700.00              0.00                98,300.00
NOFFSINGER/ROCHA      GARY JOSEPH NOFFSINGER & TAMERA ROCHA               CLASS 3           100,000.00          233.33               0.00                99,766.67
NOGA                  MICHAEL NOGA                                        CLASS 3          100,000.00         5,909.75               0.00                94,090.25
NOGA                  MICHAEL NOGA                                        CLASS 5          100,000.00         5,909.75               0.00                94,090.25
NOLAN                 LOGAN & SARRAH NOLAN                                CLASS 3            40,000.00         1,138.91              0.00                38,861.09
NOLL                  MAINSTAR-FBO MARITA J NOLL R2175833                 CLASS 3            61,015.00         4,000.59              0.00                57,014.41
NONNENMACHER          JOHN J & JENNIFER NONNENMACHER                      CLASS 3            50,000.00         1,600.74              0.00                48,399.26
NORDMAN               LINDA V & TIMOTHY NORDMAN                           CLASS 3           100,000.00         3,316.67              0.00                96,683.33
NORDMAN               PROV. TR GP-FBO LINDA V NORDMAN IRA                 CLASS 3           139,000.00         4,587.00              0.00               134,413.00
NORDSTROM             MARY LOUISE NORDSTROM RLT UTD 05/09/03              CLASS 3            45,000.00         5,947.50              0.00                39,052.50
NORKEEN               PROV. TR GP-FBO ALICE S NORKEEN IRA                 CLASS 3           287,039.00       43,559.18               0.00               243,479.82

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
NORKEEN               PROV. TR GP-FBO ALICE S NORKEEN IRA                CLASS 5           154,200.00       23,400.40                0.00               130,799.60
NORMAN                MAINSTAR-FBO DAVID C NORMAN                        CLASS 3            84,000.00         9,520.00               0.00                74,480.00
NORMAN E. TAPLIN      NORMAN E TAPLIN & ASSOC PA DEF BEN PLAN            CLASS 3            25,000.00         2,929.17               0.00                22,070.83
NORMANDIN             PROV. TR GP-FBO SHARON C NORMANDIN IRA             CLASS 3           187,500.00       29,418.44                0.00               158,081.56
NORRIS                ALBERT DAVID NORRIS                                CLASS 3           100,000.00         7,088.91               0.00                92,911.09
NORRIS                MAINSTAR-FBO RICHARD W NORRIS T2175920             CLASS 3           145,900.00       10,091.42                0.00               135,808.58
NORRIS                MAINSTAR-FBO SUZANNE N NORRIS                      CLASS 3            40,100.00         2,472.83               0.00                37,627.17
NORRIS                RICHARD W & SUZANNE N NORRIS                       CLASS 3           254,000.00       18,235.06                0.00               235,764.94
NORTHROP              NORTHROP FAMILY IRREV TR                           CLASS 3           200,000.00         3,083.32               0.00               196,916.68
NORTON                JOHN & TORRIE NORTON                               CLASS 3           100,000.00         1,205.56               0.00                98,794.44
NORTON                JOHN & TORRIE NORTON                               CLASS 5           100,000.00         1,205.56               0.00                98,794.44
NORTON                PROV. TR GP-FBO RENEE NORTON IRA                   CLASS 3            60,000.00         3,660.83               0.00                56,339.17
NOVAK                 CONSTANCE ROSE NOVAK                               CLASS 3            25,000.00         1,833.80               0.00                23,166.20
NOVAK                 MICHAEL G NOVAK                                    CLASS 3            65,000.00         2,268.13               0.00                62,731.87
NOVAK                 PROV. TR GP-FBO BOBBIE MARLENE NOVAK IRA           CLASS 5           275,000.00       87,821.54                0.00               187,178.46
NOWACKI               JOHANNES A NOWACKI                                 CLASS 3           100,000.00         3,917.33               0.00                96,082.67
NOWAK                 HORIZON TR CO-FBO KENNETH J NOWAK IRA              CLASS 3          235,000.00          8,459.17               0.00               226,540.83
NUFFER                PROV. TR GP-FBO GEORGE NUFFER IRA                  CLASS 3           177,000.00       24,141.08                0.00               152,858.92
NUFFER                PROV. TR GP-FBO VIRGINIA A NUFFER IRA              CLASS 3            73,000.00       10,006.72                0.00                62,993.28
NUGENT                WILLIAM R & KAREN NUGENT                           CLASS 3          300,000.00        29,583.33                0.00               270,416.67
NUHN                  JEFFREY L & WENDIE F PARSONS NUHN                  CLASS 3            25,000.00              0.00              0.00                25,000.00
NUNEZ                 DANIEL NUNEZ                                       CLASS 3            26,388.00          236.03                0.00                26,151.97
NUNEZ                 ROGER A & STEPHANIE A NUNEZ                        CLASS 3            25,000.00         1,141.67               0.00                23,858.33
NUNEZ                 THE NUNEZ TR DTD 06/15/96                          CLASS 3            30,000.00          550.00                0.00                29,450.00
NUNLEY                JERRY ANN NUNLEY                                   CLASS 3            30,000.00         4,660.00               0.00                25,340.00
NUSE                  JUDITH NUSE                                        CLASS 3            25,000.00          336.82                0.00                24,663.18
NUSZER                PHYLLIS J NUSZER                                   CLASS 3            50,000.00         4,621.59               0.00                45,378.41
NUYTS                 MICHAEL NUYTS                                      CLASS 3          175,000.00        31,485.33                0.00               143,514.67
NUYTS                 THE MICHAEL NUYTS RT                               CLASS 5           100,000.00       26,777.67                0.00                73,222.33

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                                                                                            Total
                                                                                         Outstanding       Prepetition         Other
                                                                                          Principal        "Interest"       Prepetition
                                                                                          Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]              [3]          [1] minus [2] minus [3]
NYE                   MAINSTAR-FBO BEN NYE TW004050                        CLASS 3            34,185.96          684.66               0.00                33,501.30
OASIS LODGE           OASIS LODGE NO 41 F&AM                               CLASS 3            30,000.00         2,361.67              0.00                27,638.33
OBENHAUS              DENISE KARLA OBENHAUS                                CLASS 3           170,000.00         1,308.33              0.00               168,691.67
OBERAITIS             RICHARD OBERAITIS                                    CLASS 3            65,000.00         9,480.12              0.00                55,519.88
OBERG                 KAREN W, BRUCE & DAVID W OBERG                       CLASS 3            25,000.00         1,485.10              0.00                23,514.90
OBERG                 MAINSTAR-FBO WAYNE OBERG T2176471                    CLASS 3           145,000.00         7,401.04              0.00               137,598.96
O'BRIEN               DAVID H & EUGENA M O'BRIEN                           CLASS 3           200,000.00       33,540.35               0.00               166,459.65
O'BRIEN               GREGORY JAMES O'BRIEN                                CLASS 3            30,000.00         3,090.00              0.00                26,910.00
O'BRIEN               MARIE F O'BRIEN                                     CLASS 3*            50,000.00          573.61         1,000.00                  48,426.39
O'BRIEN               PATRICK W & DENISE L O'BRIEN                         CLASS 3          450,000.00        64,933.33               0.00               385,066.67
O'BRIEN               PROV. TR GP-FBO JAMES O'BRIEN IRA                    CLASS 3            63,113.96         5,986.69              0.00                57,127.27
O'BRIEN               SANDRA & JAMES J O'BRIEN                             CLASS 3          100,000.00          7,829.12              0.00                92,170.88
O'BRIEN               THE MARIE ELIZABETH O'BRIEN TR                       CLASS 3           550,000.00       66,383.27         1,000.00                 482,616.73
OCHS                  ALBERT OCHS                                          CLASS 3            80,000.00         6,400.00              0.00                73,600.00
O'CONNELL             ROSEMARY O'CONNELL                                   CLASS 3            25,000.00         3,621.64              0.00                21,378.36
O'CONNOR-CERAVOLO     MAINSTAR-FBO ELIZ O'CONNOR-CERAVOLO                  CLASS 3            30,000.00         2,655.00              0.00                27,345.00
ODEGARD               DUANE D ODEGARD TR DTD 03/21/02                      CLASS 5           950,000.00      286,183.25               0.00               663,816.75
ODEGARD               LOREN M ODEGARD                                      CLASS 5            50,000.00       18,180.72               0.00                31,819.28
ODEGARD               MARY K ODEGARD TR                                    CLASS 5           250,000.00       95,999.86               0.00               154,000.14
ODEGARD               MICHAEL D ODEGARD                                    CLASS 5            50,000.00       17,972.37               0.00                32,027.63
ODEGARD               PROV. TR GP-FBO MICHAEL D ODEGARD IRA                CLASS 5            53,000.00       17,328.24               0.00                35,671.76
ODOM                  ODOM TR DTD 10/27/15                                 CLASS 3            38,000.00         2,264.12              0.00                35,735.88
O'DONNELL             O'DONNELL R/A TR                                     CLASS 5           100,000.00         9,645.77              0.00                90,354.23
OGAR                  PROV. TR GP-FBO DENNISE OGAR IRA                     CLASS 3           148,500.00         7,270.31              0.00               141,229.69
OGBURN                SHIRLEY DAVIS OGBURN                                 CLASS 5            50,000.00       18,861.27               0.00                31,138.73
OGBURN                WAYNE B OGBURN                                       CLASS 5           100,000.00       32,611.38               0.00                67,388.62
OGDEN                 MAINSTAR-FBO JOLENE OGDEN TW004198                   CLASS 3            54,788.13          152.19               0.00                54,635.94
OGDEN                 MAINSTAR-FBO MARSHALL D OGDEN TW004199               CLASS 3           588,780.92         1,635.50              0.00               587,145.42
OGDEN                 MARSHALL D OGDEN                                     CLASS 3            70,936.00          933.91               0.00                70,002.09

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
OHLER                 PROV. TR GP-FBO MILDRED E OHLER IRA                CLASS 3            53,177.00         3,459.52              0.00                49,717.48
OHLSSON               JOHN & ALICIA OHLSSON                              CLASS 3            75,000.00         1,830.52              0.00                73,169.48
OIEN                  MAINSTAR-FBO ANDREA L OIEN RW004163                CLASS 3            55,000.00          426.90               0.00                54,573.10
OIEN                  MAINSTAR-FBO ANDREA L OIEN RW004163                CLASS 5            50,000.00          388.10               0.00                49,611.90
OLDENBURGH            ROGER OLDENBURGH                                   CLASS 3            50,000.00         3,569.39              0.00                46,430.61
OLDHAM                ALICE OLDHAM                                       CLASS 3            25,000.00          762.86               0.00                24,237.14
OLESEN                GARLAND E OLESEN                                   CLASS 3            25,000.00          451.40               0.00                24,548.60
OLESZEK               GERALD OLESZEK                                     CLASS 3          450,000.00        11,916.63               0.00               438,083.37
OLGUIN                JAMES OLGUIN                                       CLASS 3            30,000.00          745.83               0.00                29,254.17
OLIN                  IRENE OLIN TR DTD 02/25/98                         CLASS 3          135,000.00        11,474.12               0.00               123,525.88
OLIN                  PROV. TR GP-FBO IRENE OLIN IRA                     CLASS 3          196,131.00        17,085.18               0.00               179,045.82
OLIN                  RODERICK S & JUDITH A OLIN                         CLASS 3            25,000.00          991.67               0.00                24,008.33
OLITO                 PROV. TR GP-FBO GARY B OLITO IRA                   CLASS 3          251,000.00        31,113.56               0.00               219,886.44
OLIVARES              ROBERT T & JEAN A OLIVARES TR                      CLASS 3            50,000.00         2,616.25              0.00                47,383.75
OLIVER                THE OLIVER FT DTD 07/13/06                         CLASS 3          100,000.00          1,147.22              0.00                98,852.78
OLIVERA               PROV. TR GP-FBO RAULIN OLIVERA IRA                 CLASS 3            50,000.00       11,775.00               0.00                38,225.00
OLIVEROS              CARLOS A OLIVEROS                                  CLASS 3            60,000.00         1,125.00              0.00                58,875.00
OLKER                 OLKER FT DONALD & THERESE TTEES 06/11/86           CLASS 3            50,000.00         3,083.33              0.00                46,916.67
OLLIGES               WILLIAM E OLLIGES RT UA 01/04/02                   CLASS 3          100,000.00          5,974.99              0.00                94,025.01
OLSEN                 DONALD M & LINDA K OLSEN                           CLASS 3          100,000.00          1,739.36              0.00                98,260.64
OLSEN                 ODDBJORG OLSEN                                     CLASS 3            54,618.82         3,541.14              0.00                51,077.68
OLSEN                 ROBERT H & LUCENA J OLSEN                          CLASS 3           200,000.00         8,934.31              0.00               191,065.69
OLSON                 AUDREY OLSON                                       CLASS 3            50,000.00         7,875.00              0.00                42,125.00
OLSON                 KAREN R & WILFORD O OLSON                          CLASS 3            50,000.00         2,716.67              0.00                47,283.33
OLSON                 LENORE & WILLIAM OLSON                             CLASS 3           500,000.00       82,487.44         1,000.00                 416,512.56
OLSON                 LISA OLSON                                         CLASS 3          160,000.00         1,533.34               0.00               158,466.66
O'MALLEY              MARGARET O'MALLEY                                  CLASS 3            40,000.00         3,480.00              0.00                36,520.00
OMAN                  PROV. TR GP-FBO MICHAEL OMAN IRA                   CLASS 3            79,000.00         9,401.00              0.00                69,599.00
O'MELIA               CULLEY O'MELIA TR                                  CLASS 3            33,538.06        1,830.59               0.00                31,707.47

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
OMG HOLDING           OMG HOLDING LLC                                     CLASS 3            50,000.00         1,787.50               0.00                48,212.50
O'NEAL-POOLE          DEBORAH O'NEAL-POOLE                                CLASS 3            25,000.00              0.00              0.00                25,000.00
O'NEILL               JOHN J & JOAN E O'NEILL                             CLASS 3          690,000.00        31,005.23                0.00               658,994.77
ONESKO                MICHAEL & PATRICIA A ONESKO                         CLASS 3            76,000.00         9,061.71               0.00                66,938.29
ONESKO                PROV. TR GP-FBO DOUG E ONESKO IRA                   CLASS 3         1,351,076.21      200,217.16          1,000.00               1,149,859.05
ONESKO                PROV. TR GP-FBO KIM M ONESKO IRA                    CLASS 3           895,000.00      108,995.40                0.00               786,004.60
ONESKO                PROV. TR GP-FBO MICHAEL ONESKO IRA                  CLASS 3            52,400.00         3,314.30               0.00                49,085.70
ONESKO                PROV. TR GP-FBO PATRICIA A ONESKO IRA               CLASS 3           151,000.00         9,550.75               0.00               141,449.25
ONLEY                 TIMOTHY ONLEY                                       CLASS 3            30,000.00          503.77                0.00                29,496.23
ONNINK                PATRICIA ONNINK                                     CLASS 3          150,000.00          7,131.94               0.00               142,868.06
ONNINK                PAUL A ONNINK LT DTD 09/26/07                       CLASS 3           200,000.00         6,019.46          666.67                  193,313.87
ONNINK                PAUL A ONNINK LT DTD 09/26/07                       CLASS 5          100,000.00          3,009.73          333.33                   96,656.94
OPDENAKER             DAVID OPDENAKER                                     CLASS 3            50,000.00          659.71                0.00                49,340.29
OPIELA                PROV. TR GP-FBO JOAN D OPIELA IRA                   CLASS 3           223,300.00       19,166.58                0.00               204,133.42
ORCHARD               BRUCE B ORCHARD                                     CLASS 3            42,000.00         2,059.17               0.00                39,940.83
O'REILLY              LEO J & NORMA A O'REILLY                            CLASS 3            25,000.00          430.57                0.00                24,569.43
ORLINO                ELMO & RECHILDA ORLINO                              CLASS 3            25,000.00          371.86                0.00                24,628.14
ORMSBY                KEITH & BARBARA ORMSBY                              CLASS 3           100,000.00          758.33                0.00                99,241.67
O'ROURKE              LINDA O'ROURKE                                      CLASS 3           125,000.00       12,159.65                0.00               112,840.35
ORRICK                ELIZABETH ORRICK                                    CLASS 3          105,000.00          9,852.50               0.00                95,147.50
ORTA                  MAINSTAR-FBO ENRIQUE ORTA T2177911                  CLASS 3            72,302.13         1,122.71               0.00                71,179.42
ORTENZO               ALFRED J ORTENZO RT                                 CLASS 3           500,000.00       37,673.38                0.00               462,326.62
ORTIZ                 ISRAEL & ALBERTA ORTIZ                              CLASS 5           100,000.00       15,930.48                0.00                84,069.52
ORTIZ                 MAINSTAR-FBO FRAIDELIAS ORTIZ T2177326              CLASS 3           103,500.00         4,393.63               0.00                99,106.37
OSAKI                 JASON I OSAKI                                       CLASS 3            25,000.00          575.00                0.00                24,425.00
OSBORNE               CRAIG OSBORNE                                       CLASS 3            30,000.00          128.33                0.00                29,871.67
OSBORNE               EDWARD W OSBORNE                                    CLASS 3           100,000.00         3,309.68               0.00                96,690.32
OSHIDAR               JAMIE OSHIDAR                                       CLASS 3          374,964.00        49,927.64                0.00               325,036.36
OSIKA                 JAMES E OSIKA                                       CLASS 3            35,000.00          880.83                0.00                34,119.17

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
OSMUS                 DORIS OSMUS TR 1                                   CLASS 3            80,000.00       10,366.69                 0.00                69,633.31
OSMUS                 PHIL D OSMUS TR 1                                  CLASS 3            50,000.00       10,358.20                 0.00                39,641.80
OSMUS LAND            OSMUS LAND COMPANY LLC                             CLASS 3           100,000.00       14,683.33                 0.00                85,316.67
OSTENDORFF/COOPER     ROBERT OSTENDORFF JR & SHIRLEY L COOPER            CLASS 3           100,000.00         1,361.12                0.00                98,638.88
OSTERBAUER            ALAN OSTERBAUER                                    CLASS 3           350,000.00         2,041.67                0.00               347,958.33
OSTERBAUER            RALPH F OSTERBAUER RT                              CLASS 3            85,000.00       27,826.47                 0.00                57,173.53
OSTERHOLT             JEROME C & PATRICIA M OSTERHOLT                    CLASS 3            40,000.00         3,406.65                0.00                36,593.35
OSTERHOLT             MARIE T OSTERHOLT                                  CLASS 3            25,000.00         3,503.18                0.00                21,496.82
OSTOYA                PROV. TR GP-FBO SOPHIA M OSTOYA IRA                CLASS 3            24,500.00         1,708.19                0.00                22,791.81
O'SULLIVAN            PROV. TR GP-FBO TIMOTHY O'SULLIVAN ROTH            CLASS 3            57,000.00         8,547.00                0.00                48,453.00
OTA                   MAINSTAR-FBO MAY OTA                               CLASS 3            27,900.00         1,376.79                0.00                26,523.21
OTOLSKI               SUSAN OTOLSKI                                      CLASS 3            98,484.86         1,983.36                0.00                96,501.50
O'TOOLE               JEAN O'TOOLE                                       CLASS 3          100,000.00        15,167.75                 0.00                84,832.25
O'TOOLE               JEAN O'TOOLE                                       CLASS 5            60,000.00         9,100.65                0.00                50,899.35
OTT                   IRA SVCS TR CO-CFBO ROBERT P OTT IRA               CLASS 3            39,000.00         1,508.00                0.00                37,492.00
OTT                   PROV. TR GP-FBO BARRY C OTT IRA                    CLASS 5           200,000.00       32,333.33                 0.00               167,666.67
OTTAVIANO             OTTAVIANO LT DTD 05/16/13                          CLASS 3           150,000.00       12,625.00                 0.00               137,375.00
OTTERNESS             PROV. TR GP-FBO CARL A OTTERNESS IRA               CLASS 3           236,000.00       22,498.66                 0.00               213,501.34
OUELLETTE             DAVID P & CERICE M OUELLETTE                       CLASS 3           125,000.00         3,568.05                0.00               121,431.95
OURN                  SARIM OURN                                         CLASS 3            25,000.00              83.33              0.00                24,916.67
OWDEH                 ORLAGH & MUHEEB OWDEH                              CLASS 3            50,000.00         1,541.67                0.00                48,458.33
OWEN                  ROGER OWEN                                         CLASS 3          100,000.00          2,480.56                0.00                97,519.44
OWEN                  WILLIAM BRYAN OWEN                                 CLASS 3            25,000.00          322.93                 0.00                24,677.07
OWEN/TIBBETS          PHYLLIS OWEN & DANIEL C TIBBETS                    CLASS 3            40,000.00          683.35                 0.00                39,316.65
OXLEY                 MAINSTAR-FBO BRUCE OXLEY                           CLASS 3            79,000.00         5,178.89                0.00                73,821.11
OYLER                 MEL OYLER                                          CLASS 3            25,000.00          962.50                 0.00                24,037.50
OZERSKY               MAINSTAR-FBO ALLAN OZERSKY T2175217                CLASS 3           305,000.00       10,774.77                 0.00               294,225.23
OZERSKY               MYRA OZERSKY                                       CLASS 3            70,000.00         5,076.47                0.00                64,923.53
OZINGA                JOAN & ROGER L OZINGA                              CLASS 3            25,000.00         3,227.44                0.00                21,772.56

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
OZINGA                JOAN & ROGER L OZINGA                               CLASS 5          100,000.00        12,909.77               0.00                87,090.23
PACAK                 PACAK FT 11/22/03 VOJTECH & E PACAK TTEE            CLASS 3            52,000.00       14,574.63               0.00                37,425.37
PACAK                 PACAK FT 11/22/03 VOJTECH & E PACAK TTEE           CLASS 3*            50,000.00        7,045.15               0.00                42,954.85
PACAK                 PACAK FT 11/22/03 VOJTECH & E PACAK TTEE            CLASS 5            50,000.00       14,014.07               0.00                35,985.93
PACHECO               MAINSTAR-FBO EDWARD PACHECO RW003751                CLASS 3            41,000.00        1,081.94               0.00                39,918.06
PACHECO               MARY N & EDWARD PACHECO                             CLASS 3            32,000.00         1,525.37              0.00                30,474.63
PACKER                SALLY & MARVIN PACKER LT APRIL 2007                 CLASS 3            50,000.00         8,047.85              0.00                41,952.15
PACLEBAR              PROV. TR GP-FBO JOSEPH J PACLEBAR IRA               CLASS 5          300,000.00        63,055.56               0.00               236,944.44
PACLEBAR              PROV. TR GP-FBO SUSANNE M PACLEBAR IRA              CLASS 5           300,000.00       63,055.56               0.00               236,944.44
PACOLT                MARGARET A PACOLT                                   CLASS 3            25,000.00         1,250.04              0.00                23,749.96
PADALECKI             JOYCE F PADALECKI                                   CLASS 5           150,000.00       16,250.00               0.00               133,750.00
PADDOCK               KEN PADDOCK FT DATE 2001                            CLASS 3            35,000.00          707.79               0.00                34,292.21
PADILLA               MAINSTAR-FBO GEORGE PADILLA T2175160                CLASS 3          250,000.00        19,270.85               0.00               230,729.15
PAGE-PRUDENTE         MAINSTAR-FBO J PAGE-PRUDENTE T2177937               CLASS 3            41,000.00          512.50               0.00                40,487.50
PAGOR                 MAINSTAR-FBO RAYMOND J PAGOR T2176142               CLASS 3            80,000.00         4,586.67              0.00                75,413.33
PAJEVSKI              MAINSTAR-FBO MARTHA M PAJEVSKI                      CLASS 3            94,000.00        4,446.72               0.00                89,553.28
PAK                   BYONG & SONY PAK                                    CLASS 3            50,000.00         6,652.04              0.00                43,347.96
PAK                   MAINSTAR-FBO BYONG PAK SW003367                     CLASS 3           160,000.00       10,713.31               0.00               149,286.69
PALMER                BERTHA J PALMER                                     CLASS 3            75,000.00         9,591.60              0.00                65,408.40
PALMER                CHARLES J PALMER                                    CLASS 3            46,000.00        9,828.90               0.00                36,171.10
PALMER                PROV. TR GP-FBO CHARLES J PALMER IRA                CLASS 3            11,000.00         2,715.04              0.00                 8,284.96
PALMER                QUINTON PALMER                                      CLASS 3            50,000.00        1,888.87               0.00                48,111.13
PALMINTERI            JOSEPH PALMINTERI                                   CLASS 3            25,000.00        2,668.69               0.00                22,331.31
PALSHA                MAINSTAR-FBO AGNARDA D PALSHA T2176022              CLASS 3            72,917.28         3,483.82              0.00                69,433.46
PALSHA                MAINSTAR-FBO JOHN PALSHA T2176902                   CLASS 3            66,459.45         2,012.24              0.00                64,447.21
PALTZER               JAMES A & HELEN L PALTZER                           CLASS 3          400,000.00        11,208.33               0.00               388,791.67
PANCARO               PROV. TR GP-FBO DEBRA L PANCARO IRA                 CLASS 3           212,446.00       23,283.49         1,000.00                 188,162.51
PANCIS                JEFFREY PANCIS                                      CLASS 3          345,000.00          5,970.42              0.00               339,029.58
PANKONIEN             KENNETH N PANKONIEN                                 CLASS 3            50,000.00         8,800.00              0.00                41,200.00

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
PANORAMA VILLAGE      PANORAMA VILLAGE OF HEMET INC                       CLASS 3           200,000.00         9,066.65               0.00               190,933.35
PAPINI                EARL R PAPINI                                       CLASS 3            95,000.00        5,121.40                0.00                89,878.60
PAQUIN                ROBERT M PAQUIN                                     CLASS 3            25,000.00          225.34                0.00                24,774.66
PARADAY               ROGER K & ANITA M PARADAY                           CLASS 3            50,000.00         1,091.67               0.00                48,908.33
PARENT                DORIS R PARENT                                      CLASS 3            92,044.35         8,161.34               0.00                83,883.01
PARENT                IRA SVCS TR CO-CFBO CHARMAINE PARENT                CLASS 3            29,000.00         2,692.17               0.00                26,307.83
PARETS                EUGENE & ELEANOR PARETS LT DTD 12/12/91             CLASS 3            25,000.00          931.92                0.00                24,068.08
PARGAS                PROV. TR GP-FBO MARYANN PARGAS ICA                  CLASS 3           223,000.00       30,228.89                0.00               192,771.11
PARKER                BRUCE & GLORIA PARKER                               CLASS 3           125,000.00         6,708.33               0.00               118,291.67
PARKER                DOUG & EMMA PARKER                                  CLASS 3            21,200.00         2,696.47               0.00                18,503.53
PARKER                ELLEN PARKER                                        CLASS 3          215,000.00        20,574.23                0.00               194,425.77
PARKER                JAY GORDON & MARJORIE A PARKER                      CLASS 3           300,000.00       24,256.96                0.00               275,743.04
PARKER                JERRY L & MARY M PARKER                             CLASS 5           150,000.00       25,819.45                0.00               124,180.55
PARKER                MAINSTAR-FBO JACKIE D PARKER                        CLASS 3           200,000.00         9,266.67               0.00               190,733.33
PARKER                PARKER FT DTD 04/11/08                              CLASS 3          140,000.00        16,002.69                0.00               123,997.31
PARKER                PHYLLIS A PARKER                                    CLASS 3            25,000.00         1,287.50               0.00                23,712.50
PARKER                PROV. TR GP-FBO DOUGLAS PARKER IRA                  CLASS 5           162,000.00       38,700.00                0.00               123,300.00
PARKER                PROV. TR GP-FBO ROBYN R PARKER IRA                  CLASS 3            87,000.00        3,277.00                0.00                83,723.00
PARKINS               PROV. TR GP-FBO DOUGLAS W PARKINS IRA               CLASS 3            74,750.00         1,523.19               0.00                73,226.81
PARKS                 ANDREW J & MICHELLE E PARKS                         CLASS 3          225,000.00               0.00              0.00               225,000.00
PARKS                 PROV. TR GP-FBO GREGORY T PARKS IRA                 CLASS 3            54,000.00         3,591.00               0.00                50,409.00
PARKS                 WILLIAM & LINDA PARKS                               CLASS 3            50,000.00         9,659.52               0.00                40,340.48
PARMANTIER            LINDA S PARMANTIER                                  CLASS 3          100,000.00          6,611.16               0.00                93,388.84
PARR                  ERWIN S & KAREN P PARR                              CLASS 3            60,000.00         4,400.00               0.00                55,600.00
PARRINO               MAINSTAR-FBO SUSAN PARRINO T2177717                 CLASS 3            49,500.00        1,058.75                0.00                48,441.25
PARRIS                THE PARRIS TR                                       CLASS 3          105,000.00         2,070.83                0.00               102,929.17
PARROTT               PROV. TR GP-FBO DONALD PARROTT JR IRA               CLASS 3           155,000.00       21,318.74          1,000.00                 132,681.26
PARROTT               STANLEY & SOPHIA PARROTT                            CLASS 3            75,000.00         3,805.19               0.00                71,194.81
PARSLEY               BONNIE M PARSLEY                                    CLASS 3            50,000.00        1,764.61                0.00                48,235.39

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
PARSONS               MAINSTAR-FBO JOHN PARSONS                          CLASS 3           100,000.00         5,344.44              0.00                94,655.56
PARSONS               RICHARD & MARCIA PARSONS JLT DTD 03/18/98          CLASS 3            25,000.00         1,584.69              0.00                23,415.31
PARTIN                PROV. TR GP-FBO ERIC J PARTIN IRA                  CLASS 3            25,000.00         3,663.19              0.00                21,336.81
PARULAN               CARLOS G PARULAN                                   CLASS 3            50,000.00         4,763.93              0.00                45,236.07
PARVIN                STEVEN PARVIN                                      CLASS 3            30,000.00          580.00               0.00                29,420.00
PASSIGLIA             CHRISTINE PASSIGLIA                                CLASS 3          250,000.00          2,055.54              0.00               247,944.46
PASSUT                IRA SVCS TR CO-CFBO BARBARA A PASSUT IRA           CLASS 3           100,000.00       16,391.69               0.00                83,608.31
PASSUT                ROBERT C PASSUT                                    CLASS 3            40,000.00         5,427.88              0.00                34,572.12
PASTER                KIMBERLY & BRADLEY PASTER                          CLASS 5           300,000.00       33,666.67               0.00               266,333.33
PASWATER              JAMES P PASWATER                                   CLASS 3          100,000.00        10,138.85               0.00                89,861.15
PATE                  CLAUDINE L PATE                                    CLASS 3          450,000.00        67,444.48        13,212.02                 369,343.50
PATE                  DEAN R PATE                                        CLASS 3          275,000.00          7,104.17              0.00               267,895.83
PATE                  LOLITA M PATE                                      CLASS 3            15,000.00          815.00               0.00                14,185.00
PATE                  MAINSTAR-FBO LOLITA M PATE T2176233                CLASS 3            42,000.00         3,227.14              0.00                38,772.86
PATE                  MAINSTAR-FBO LOLITA M PATE T2176233                CLASS 5          100,000.00          7,683.67              0.00                92,316.33
PATEL                 C R PATEL                                          CLASS 3            25,000.00        1,465.32               0.00                23,534.68
PATEL                 CHINTAN & RUPAL PATEL                              CLASS 3            25,000.00          506.96               0.00                24,493.04
PATEL                 INDRA & BHARATI PATEL                              CLASS 3           400,000.00       59,898.29               0.00               340,101.71
PATEL                 INDRA PATEL                                        CLASS 3            50,000.00        4,080.51               0.00                45,919.49
PATEL                 JAYANTI M & SHOBHANA J PATEL                       CLASS 5          100,000.00        29,858.23               0.00                70,141.77
PATEL                 MAHENDRA & NIRMALA PATEL                           CLASS 3           125,000.00         9,315.26              0.00               115,684.74
PATEL                 MAHENDRA & NIRMALA PATEL                           CLASS 5           125,000.00         9,315.26              0.00               115,684.74
PATEL                 MAINSTAR-FBO C R PATEL T2177656                    CLASS 3          100,000.00         1,947.92               0.00                98,052.08
PATEL                 MAINSTAR-FBO VIKRAM PATEL TW003472                 CLASS 3            86,000.00        6,612.68               0.00                79,387.32
PATEL                 MAINSTAR-FBO VIKRAM PATEL TW003472                 CLASS 5          650,000.00        49,979.58               0.00               600,020.42
PATEL                 PROV. TR GP-FBO BHARATI PATEL IRA                  CLASS 3            93,000.00       15,658.86               0.00                77,341.14
PATEL                 PROV. TR GP-FBO INDRA PATEL IRA                    CLASS 3            40,000.00         6,453.33              0.00                33,546.67
PATEL                 SHIVAM PATEL                                       CLASS 3          336,000.00        34,553.34               0.00               301,446.66
PATEL                 SUDHAKER & JYOTIKA PATEL                           CLASS 3          150,000.00          2,799.94              0.00               147,200.06

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
PATEL                 VIKRAM PATEL                                       CLASS 3          300,000.00        38,359.04                0.00               261,640.96
PATEL                 VIKRAM PATEL                                       CLASS 5          900,000.00       115,077.11                0.00               784,922.89
PATON                 RICHARD & LINDA PATON                              CLASS 3            30,000.00         3,400.00               0.00                26,600.00
PATRIZIO              ANDREW J PATRIZIO SR                               CLASS 3            33,000.00         1,960.29               0.00                31,039.71
PATRY                 MAINSTAR-FBO ELENA PATRY T2178292                  CLASS 3          107,000.00           856.00                0.00               106,144.00
PATRY                 MAINSTAR-FBO WILLIAM PATRY T2178291                CLASS 3            60,000.00          520.00                0.00                59,480.00
PATRY                 WILLIAM & ELENA PATRY JRT DTD 08/19/09             CLASS 3          230,000.00          2,261.67               0.00               227,738.33
PATTEN                DENNIS C & KATHRYN M PATTEN                        CLASS 3           250,000.00       35,360.58                0.00               214,639.42
PATTERSON             ILENE G PATTERSON                                  CLASS 3            25,000.00         1,640.21               0.00                23,359.79
PATTERSON             LARRY & JANICE PATTERSON LT                        CLASS 3            25,000.00         2,099.95               0.00                22,900.05
PATTON                CLIFFORD & BETTY PATTON                            CLASS 3            25,000.00         1,936.12               0.00                23,063.88
PATTON                THOMAS D & LINDA E PATTON                          CLASS 3            70,000.00         2,338.68               0.00                67,661.32
PAUL                  PAUL, JOHN F RLT                                   CLASS 3            35,000.00        4,263.54                0.00                30,736.46
PAUL                  PROV. TR GP-FBO MICHAEL K PAUL IRA                 CLASS 5           400,000.00       77,611.11                0.00               322,388.89
PAUL                  ROLF H G & ANITA M PAUL                            CLASS 3            50,000.00          283.33                0.00                49,716.67
PAVLICK               MAINSTAR-FBO CAROL PAVLICK T2176621                CLASS 3          100,000.00          1,650.00               0.00                98,350.00
PAVLOVSKY             VLADIMIR P & JANA PAVLOVSKY                        CLASS 3            50,000.00       15,761.58                0.00                34,238.42
PAYLO                 MAINSTAR-FBO FRANCES PAYLO                         CLASS 3            88,250.00         4,044.79               0.00                84,205.21
PAYMER                GAIL P PAYMER RT DTD 02/23/01                      CLASS 3            85,000.00       10,781.28                0.00                74,218.72
PAYNE                 BARBARA O PAYNE                                    CLASS 3            95,000.00         7,175.63               0.00                87,824.37
PAYNE                 JOAN M PAYNE                                       CLASS 3            20,000.00              0.00              0.00                20,000.00
PAYNE                 THE KAREN JOY PAYNE LT DTD 12/28/06                CLASS 3            50,000.00          909.71                0.00                49,090.29
PAYTON                MAINSTAR-FBO MICHAEL C PAYTON TW003177             CLASS 3          109,538.00          9,506.99               0.00               100,031.01
PAZOUREK              MAINSTAR-FBO ANITA G PAZOUREK                      CLASS 3            60,000.00         2,566.67               0.00                57,433.33
PEACE                 JAMES PEACE                                        CLASS 3            90,000.00        5,111.18                0.00                84,888.82
PEACE                 JAMES PEACE                                        CLASS 5          100,000.00         5,679.08                0.00                94,320.92
PEACH                 MAINSTAR-FBO ELAINE R PEACH BT175837               CLASS 3           199,880.00       12,020.59                0.00               187,859.41
PEACHEY               PROV. TR GP-FBO NORMAN R PEACHEY IRA               CLASS 5           100,000.00         6,911.11               0.00                93,088.89
PEARCE                PROV. TR GP-FBO SHARON L PEARCE IRA                CLASS 3            30,000.00          503.75                0.00                29,496.25

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                                                                                            Total
                                                                                         Outstanding       Prepetition           Other
                                                                                          Principal        "Interest"         Prepetition
                                                                                          Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]                [3]          [1] minus [2] minus [3]
PEARSALL              CRAIG K PEARSALL                                     CLASS 3          225,000.00        20,281.25                 0.00               204,718.75
PEARSALL              PROV. TR GP-FBO CRAIG K PEARSALL IRA                 CLASS 3           220,000.00       21,236.11                 0.00               198,763.89
PEARSON               LINDA M PEARSON                                      CLASS 3          170,000.00        46,355.81                 0.00               123,644.19
PEARSON               PROV. TR GP-FBO SANDRA M PEARSON IRA                 CLASS 3            45,000.00              90.00              0.00                44,910.00
PEASE                 WILLIAM JR & JOYCE L PEASE                           CLASS 3            25,000.00         4,805.53                0.00                20,194.47
PEAVEY                MAINSTAR-FBO ABIGAIL PEAVEY T2177150                 CLASS 3            38,000.00         1,095.67                0.00                36,904.33
PEAVEY                MAINSTAR-FBO WILLIAM PEAVEY T2177057                 CLASS 3            70,000.00         2,578.33                0.00                67,421.67
PECK                  GLORIA PECK                                          CLASS 3            60,000.00        4,270.00                 0.00                55,730.00
PECK-ZIRPOLO          SUSAN PECK-ZIRPOLO                                   CLASS 3          730,000.00       124,875.00                 0.00               605,125.00
PECO                  VAL & TAMARA PECO                                    CLASS 3          150,000.00          4,456.27                0.00               145,543.73
PECO                  VAL PECO                                             CLASS 3            25,000.00        1,963.59                 0.00                23,036.41
PEDLER                JAMES S PEDLER                                       CLASS 3            25,000.00          114.59                 0.00                24,885.41
PEDRIN                SUZANNE A PEDRIN                                     CLASS 3           100,000.00         7,425.31          2,000.00                  90,574.69
PEICHEL               GILBERT & CHARLENE PEICHEL                           CLASS 3            25,000.00          916.64                 0.00                24,083.36
PEICHEL               MAINSTAR-FBO GILBERT PEICHEL T2176648                CLASS 3           116,000.00         3,786.11                0.00               112,213.89
PEIFER                MAINSTAR-FBO DAVID M PEIFER SR                       CLASS 3            61,700.00         4,490.39                0.00                57,209.61
PEIGLER               IRENE A PEIGLER                                      CLASS 3            60,000.00         6,565.58                0.00                53,434.42
PELL                  MAINSTAR-FBO PENELOPE PELL TW004124                  CLASS 3           300,000.00         3,033.33                0.00               296,966.67
PELTON                SHARON S PELTON                                      CLASS 3           166,476.68       27,212.97                 0.00               139,263.71
PELTON                TERRANCE LEE PELTON                                  CLASS 3          100,000.00          3,618.07                0.00                96,381.93
PELTZ-PETOW           LILIAN PELTZ-PETOW                                   CLASS 3            25,000.00         2,066.71                0.00                22,933.29
PELTZ-PETOW           PROV. TR GP-FBO LILIAN PELTZ-PETOW IRA               CLASS 3            25,215.00          710.78                 0.00                24,504.22
PELZ                  KEVIN J PELZ                                         CLASS 3            43,000.00       38,197.71                 0.00                 4,802.29
PELZ                  PROV. TR GP-FBO STEVEN C PELZ IRA                    CLASS 3           120,000.00       18,783.33                 0.00               101,216.67
PELZ                  STEVEN PELZ                                          CLASS 3          275,000.00        56,502.02                 0.00               218,497.98
PELZMAN               EDNA M PELZMAN                                       CLASS 3           100,000.00       19,883.41           3,523.49                  76,593.10
PEMBERTON             PATRICIA PEMBERTON                                   CLASS 3            50,000.00         3,933.33                0.00                46,066.67
PENCA                 WILLIAM & NANCY PENCA                                CLASS 3            25,000.00         1,361.35                0.00                23,638.65
PENDAGAST             PROV. TR GP-FBO DONALD PENDAGAST IRA                 CLASS 3           146,015.00       37,022.71                 0.00               108,992.29

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
PENDAGAST             PROV. TR GP-FBO DONALD PENDAGAST IRA                CLASS 5           100,000.00       25,355.42                0.00                74,644.58
PENICK                DAVID L & MARGARET H PENICK                         CLASS 3           100,000.00       23,237.93                0.00                76,762.07
PENNINGTON            BOBBY PENNINGTON                                    CLASS 3            50,000.00         9,233.24               0.00                40,766.76
PEPER                 DARRELL E & SUSAN E PEPER                           CLASS 3          200,000.00        24,366.67                0.00               175,633.33
PEPPER                PROV. TR GP-FBO JOAN PEPPER IRA                     CLASS 3            25,500.00         1,455.63               0.00                24,044.37
PEPPERS               LEILA S & JEFFREY A PEPPERS                         CLASS 3            25,000.00          737.80                0.00                24,262.20
PERAGINE              SALVATORE PERAGINE                                  CLASS 3            50,000.00          104.17                0.00                49,895.83
PERAGO                PROV. TR GP-FBO LARRY G PERAGO IRA                  CLASS 3            83,000.00         9,550.14               0.00                73,449.86
PEREA                 PEREA LT DTD 10/11/94                               CLASS 3          100,000.00          6,786.07               0.00                93,213.93
PEREIRA               ROBIN & NINA U PEREIRA                              CLASS 3          200,000.00          5,722.22               0.00               194,277.78
PERELLA               ANNE L PERELLA                                      CLASS 3          166,590.00        37,046.04                0.00               129,543.96
PERELLA               PROV. TR GP-FBO ANNE L PERELLA INH IRA              CLASS 5            89,000.00       20,123.89                0.00                68,876.11
PERELLA               PROV. TR GP-FBO ANNE L PERELLA IRA                  CLASS 5            50,000.00         4,902.78               0.00                45,097.22
PERERA                PROV. TR GP-FBO SWARNA PERERA IRA                   CLASS 3           600,000.00              0.00              0.00               600,000.00
PEREZ                 IRA SVCS TR CO-CFBO CHRISTINE PEREZ ROTH            CLASS 3            25,000.00         1,385.42               0.00                23,614.58
PEREZ                 IRA SVCS TR CO-CFBO WILLIAM J PEREZ IRA             CLASS 3            50,000.00         2,770.83               0.00                47,229.17
PEREZ-LIZANO          SUDY PEREZ-LIZANO                                   CLASS 3            40,000.00         1,634.89               0.00                38,365.11
PERFETTI              PROV. TR GP-FBO THOMAS J PERFETTI IRA               CLASS 5            50,000.00       19,716.24                0.00                30,283.76
PERFETTO              JOSEPH PERFETTO                                     CLASS 3           100,000.00         2,233.33               0.00                97,766.67
PERKINS               SUSAN B & EDWIN H PERKINS                           CLASS 3           100,000.00       13,416.67                0.00                86,583.33
PERKO                 COLLEEN M PERKO                                     CLASS 3           100,000.00         4,988.89               0.00                95,011.11
PERKO                 MARGARET L PERKO LT DTD 02/09/98                    CLASS 3           200,000.00       15,160.27                0.00               184,839.73
PERLIN                PHYLLIS F PERLIN RT                                 CLASS 3           120,000.00       22,783.93                0.00                97,216.07
PERLIN                PHYLLIS F PERLIN RT                                 CLASS 5           100,000.00       18,986.60                0.00                81,013.40
PERLIN                THE LEON H PERLIN RTA DTD 12/12/06                  CLASS 3           261,558.00       92,812.93                0.00               168,745.07
PERLIN                THE LEON H PERLIN RTA DTD 12/12/06                  CLASS 5            50,000.00       17,742.32                0.00                32,257.68
PERNICK               MAINSTAR-FBO WARREN JAY PERNICK                     CLASS 3            65,000.00         3,661.67               0.00                61,338.33
PERRAS                SARAH F PERRAS                                      CLASS 3            25,000.00         1,566.02               0.00                23,433.98
PERRETTA              ELEANOR PERRETTA                                    CLASS 3            75,000.00       10,023.66                0.00                64,976.34

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]              [3]          [1] minus [2] minus [3]
PERRONE               NICOLA PERRONE                                      CLASS 3            50,000.00         1,441.67              0.00                48,558.33
PERRY                 DOROTHY PERRY                                       CLASS 3          132,923.00          1,550.78              0.00               131,372.22
PERRY                 LEROY PERRY                                         CLASS 3          200,000.00         6,884.76               0.00               193,115.24
PERRY                 MAINSTAR-FBO LINDA D PERRY T2177544                 CLASS 3            25,500.00          461.13               0.00                25,038.87
PERRY                 MAINSTAR-FBO SAMUEL A PERRY SR T2177545             CLASS 3            25,500.00          461.13               0.00                25,038.87
PERRY                 PHILIP J & MARY C PERRY                             CLASS 3            50,000.00          188.43               0.00                49,811.57
PERRY                 RALPH R & ANN S PERRY                               CLASS 3          100,000.00          5,561.14              0.00                94,438.86
PERRY/WEAVER          VIVIAN PERRY TR & B P WEAVER TR 05/09/12            CLASS 3           100,000.00          272.22               0.00                99,727.78
PERSING               JENNIFER I PERSING                                  CLASS 3            50,000.00         5,305.47              0.00                44,694.53
PERSING               MAINSTAR-FBO JENNIFER PERSING                       CLASS 5            50,000.00         3,944.44              0.00                46,055.56
PERSSON               SVEN A PERSSON                                      CLASS 3            33,900.00          649.75               0.00                33,250.25
PESATO                ELIO PESATO                                         CLASS 3          240,000.00        39,895.76               0.00               200,104.24
PESATO                PROV. TR GP-FBO ELIO PESATO IRA                     CLASS 3           155,000.00       24,012.18               0.00               130,987.82
PETAJA                REGEE & LAUREN PETAJA                               CLASS 5           250,000.00       23,611.18               0.00               226,388.82
PETAJA                TOM PETAJA                                          CLASS 5            50,000.00         4,095.85              0.00                45,904.15
PETER                 PROV. TR GP-FBO BARBARA ST PETER IRA                CLASS 5            50,000.00       17,319.60               0.00                32,680.40
PETERS                BEVERLY BERNEDENE PETERS TR                         CLASS 3            50,000.00         3,254.15              0.00                46,745.85
PETERS                CLIVE & MAXINE PETERS                               CLASS 3            50,000.00         3,076.34              0.00                46,923.66
PETERS                JAMES K & JOY N PETERS                              CLASS 3           300,000.00       18,579.17               0.00               281,420.83
PETERS                JANET PETERS TR                                     CLASS 3            25,000.00         2,337.43              0.00                22,662.57
PETERS                MAINSTAR-FBO JAMES K PETERS T2175989                CLASS 3           232,939.55       12,844.02               0.00               220,095.53
PETERSEN              ARTHUR V & GERALDINE L PETERSEN                     CLASS 5           100,000.00       19,743.08               0.00                80,256.92
PETERSEN              BRADLEY W PETERSEN                                  CLASS 3           200,000.00         1,643.07              0.00               198,356.93
PETERSEN              MAINSTAR-FBO DEREK R PETERSEN                       CLASS 5            99,929.76         7,883.35              0.00                92,046.41
PETERSEN              PROV. TR GP-FBO MICHAEL PETERSEN IRA                CLASS 3           100,000.00       10,400.00               0.00                89,600.00
PETERSEN              TALLENE M PETERSEN                                  CLASS 3            70,000.00         2,138.91              0.00                67,861.09
PETERSEN              THE PETERSEN FT                                     CLASS 3           240,000.00       17,086.25               0.00               222,913.75
PETERSEN              THE PETERSEN FT                                     CLASS 5           100,000.00         7,119.27              0.00                92,880.73
PETERSON              A GERALD PETERSON                                   CLASS 3           300,000.00       43,104.08               0.00               256,895.92

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                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
PETERSON              GAIL F PETERSON                                      CLASS 3            50,000.00        3,720.52                0.00                46,279.48
PETERSON              KERRY C & SUSAN V PETERSON                           CLASS 3          100,000.00          1,233.33               0.00                98,766.67
PETERSON              LOWELL S PETERSON                                    CLASS 3          700,000.00        99,928.17                0.00               600,071.83
PETERSON              LOWELL S PETERSON                                    CLASS 5          200,000.00        28,550.90                0.00               171,449.10
PETERSON              PROV. TR GP-FBO DAVID A PETERSON IRA                 CLASS 3            50,000.00         4,675.00               0.00                45,325.00
PETERSON              PROV. TR GP-FBO RON PETERSON IRA                     CLASS 3            99,750.00       23,447.00                0.00                76,303.00
PETERSON              PROV. TR GP-FBO RON PETERSON IRA                     CLASS 5           200,000.00       47,011.53                0.00               152,988.47
PETERSON              THOMAS M PETERSON                                    CLASS 3            25,000.00          534.71                0.00                24,465.29
PETERSON              WAUNETA PETERSON                                     CLASS 3            25,000.00        1,229.83                0.00                23,770.17
PETERSON-CUNNINGHAM DEBORAH ANN PETERSON-CUNNINGHAM                        CLASS 3           100,000.00         2,800.70               0.00                97,199.30
PETRE                 LANITA & SAMUEL A PETRE                              CLASS 3            50,000.00              0.00              0.00                50,000.00
PETRE                 NELSON J & LORENDA J PETRE                           CLASS 3            50,000.00          388.89                0.00                49,611.11
PETRE                 SAMUEL A & LOIS E PETRE                              CLASS 3          300,000.00         1,166.66                0.00               298,833.34
PETRI                 RICHARD M PETRI RLT                                  CLASS 5          115,314.09        23,895.30                0.00                91,418.79
PETRI/FRINK           RICHARD PETRI & DELORES FRINK                        CLASS 5          150,000.00        22,861.30                0.00               127,138.70
PETRIE                LARRY E & CHARLOTTE M PETRIE                         CLASS 5            50,000.00       12,878.60                0.00                37,121.40
PETROZELLA            PROV. TR GP-FBO OLGA C PETROZELLA IRA                CLASS 3           504,000.00       56,023.50                0.00               447,976.50
PETSCH                RILEY T PETSCH                                       CLASS 3            25,000.00              0.00              0.00                25,000.00
PETTY                 KEITH A & ANNE S PETTY                               CLASS 3          171,428.58        14,433.33                0.00               156,995.25
PETTYJOHN             PROV. TR GP-FBO RANDAL PETTYJOHN IRA                 CLASS 3           200,000.00       13,933.33                0.00               186,066.67
PEVLER                LT OF BETTY JEAN PEVLER TR 12/23/16                  CLASS 5            50,000.00         3,708.36               0.00                46,291.64
PEZZOLA               JOHN L & KATHY J PEZZOLA                             CLASS 3            25,000.00         1,161.08               0.00                23,838.92
PFEIFFER              ARNOLD D PFEIFFER                                    CLASS 3            50,000.00        3,437.50                0.00                46,562.50
PFEIFFER              HELEN E PFEIFFER RLT                                 CLASS 3          150,000.00               0.00              0.00               150,000.00
PFEIFFER              PROV. TR GP-FBO MARK PFEIFFER IRA                    CLASS 3          100,000.00        11,897.96                0.00                88,102.04
PHAM                  PHAM FT DTD 05/09/02                                 CLASS 3            25,000.00        1,625.05                0.00                23,374.95
PHAM/NGUYEN           TRONG B PHAM & HOA K NGUYEN                          CLASS 3           100,000.00         1,722.24               0.00                98,277.76
PHILLIPS              CASIE PHILLIPS                                       CLASS 3            25,000.00          370.15                0.00                24,629.85
PHILLIPS              CHAD A & KIM PHILLIPS                                CLASS 3          200,000.00         7,902.80                0.00               192,097.20

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
PHILLIPS              MAINSTAR-FBO MELANEE PHILLIPS TW004101              CLASS 3            40,000.00          320.00               0.00                39,680.00
PHILLIPS              MARILYN PHILLIPS                                    CLASS 3            50,000.00        2,916.62               0.00                47,083.38
PHILLIPS              MARY L PHILLIPS                                     CLASS 3            84,328.58          955.72               0.00                83,372.86
PHILLIPS              PROV. TR GP-FBO CHAD A PHILLIPS IRA                 CLASS 3           109,000.00         5,843.61              0.00               103,156.39
PHILLIPS              PROV. TR GP-FBO KIM PHILLIPS IRA                   CLASS 3*            92,000.00         4,740.56              0.00                87,259.44
PHILLIPS/FORMAN       KIM PHILLIPS & DOROTHY MARIE FORMAN                 CLASS 3            75,000.00         1,427.08              0.00                73,572.92
PHILLIPS-TINGLE       BRENDA PHILLIPS-TINGLE                              CLASS 3           100,000.00       27,783.40               0.00                72,216.60
PIANFETTI             PAMELA K & RONALD O PIANFETTI                       CLASS 3            90,000.00         6,205.60              0.00                83,794.40
PIAZZA                PROV. TR GP-FBO DEBORAH A PIAZZA IRA                CLASS 5           100,000.00          833.33               0.00                99,166.67
PIBURN                PIBURN LT 06/17/11                                  CLASS 3          200,000.00        43,659.43               0.00               156,340.57
PICK                  JUDY C PICK                                         CLASS 3          100,000.00         3,544.42               0.00                96,455.58
PICKETT               PICKETT FT                                          CLASS 5          100,000.00        12,489.94               0.00                87,510.06
PIECHULE/NATTRESS     JOHN S PIECHULE & JUDITH A NATTRESS                 CLASS 3            25,000.00          429.17               0.00                24,570.83
PIEDE                 MAINSTAR-FBO MARY JANE PIEDE T2177265               CLASS 3           336,000.00       16,655.83               0.00               319,344.17
PIERCE                DAVID M PIERCE                                      CLASS 5           355,000.00      102,224.71               0.00               252,775.29
PIERCE                DEBORAH M PIERCE                                    CLASS 3            60,000.00         9,418.32              0.00                50,581.68
PIERCE                EARL PIERCE                                         CLASS 3            25,000.00         2,785.41              0.00                22,214.59
PIERCE                JANET PIERCE                                        CLASS 3           120,000.00       13,733.33               0.00               106,266.67
PIERCE                MAINSTAR-FBO DONALD E PIERCE T2178129               CLASS 3            85,900.00          114.53               0.00                85,785.47
PIERCE                PROV. TR GP-FBO JAMES J PIERCE IRA                  CLASS 5          100,000.00        21,833.34               0.00                78,166.66
PIERCE                THE DEBORAH M PIERCE LT DTD 04/18/15                CLASS 5           140,000.00       17,422.27               0.00               122,577.73
PIERRE                THE MARC & DENISE PIERRE FT                         CLASS 3           650,000.00         4,343.75              0.00               645,656.25
PIERSON               HENRY PIERSON                                       CLASS 3            25,000.00         2,029.17              0.00                22,970.83
PIETZ                 PROV. TR GP-FBO CAROL L PIETZ ROTH IRA              CLASS 3            86,200.00         5,366.00              0.00                80,834.00
PIETZ                 PROV. TR GP-FBO ROGER PIETZ ROTH IRA                CLASS 3            85,600.00         5,635.37              0.00                79,964.63
PIFER                 MARY PIFER                                          CLASS 3            25,000.00        1,430.60               0.00                23,569.40
PIIRA                 RAY PIIRA                                           CLASS 3          190,000.00        38,129.38               0.00               151,870.62
PILGRIM               KENNETH L & KELLEY A PILGRIM                        CLASS 3           350,000.00       32,132.78               0.00               317,867.22
PILKINGTON            SANDRA PILKINGTON                                   CLASS 3            50,000.00         4,530.60              0.00                45,469.40

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
PILUT                 VICTORIA A PILUT TR AGRMNT UTA 08/31/98              CLASS 3            50,000.00         6,866.67               0.00                43,133.33
PIMENTEL              MAINSTAR-FBO THELMA PIMENTEL T2177206                CLASS 3          126,374.00          2,738.10               0.00               123,635.90
PINCOUS               RON PINCOUS                                          CLASS 3          100,000.00        16,232.06                0.00                83,767.94
PINCOUS               RONALD PINCOUS RT                                    CLASS 3           150,000.00         4,519.42               0.00               145,480.58
PINEDA                PROV. TR GP-FBO MARIA PINEDA IRA                     CLASS 3            97,500.00         4,409.17               0.00                93,090.83
PINEDO                DIADDY M PINEDO                                      CLASS 3          100,000.00               0.00              0.00               100,000.00
PINNEY                CT PINNEY FLP                                        CLASS 5          100,000.00         5,425.12                0.00                94,574.88
PINTER                DEBORAH PINTER                                       CLASS 3            50,000.00         2,624.96               0.00                47,375.04
PIPPENGER             PROV. TR GP-FBO CHAD E PIPPENGER IRA                 CLASS 3            47,700.00         4,521.15               0.00                43,178.85
PIRAINO               PIRAINO FT                                           CLASS 3          100,000.00         7,450.00                0.00                92,550.00
PIRANIO               RICHARD L PIRANIO                                    CLASS 3            60,000.00              0.00              0.00                60,000.00
PIRTLE                IRA SVCS TR CO-CFBO CHERYL PIRTLE IRA                CLASS 3            42,000.00         1,155.00               0.00                40,845.00
PITCAIRN              PROV. TR GP-FBO JENNIFER L PITCAIRN IRA              CLASS 3            19,000.00         1,725.31               0.00                17,274.69
PITCHER               MAINSTAR-FBO LOUISE PITCHER T2177819                 CLASS 3            25,000.00          500.00                0.00                24,500.00
PITCHER               MAINSTAR-FBO MICHAEL PITCHER T2177820                CLASS 3            25,000.00          500.00                0.00                24,500.00
PITCHER               MICHAEL & LOUISE PITCHER                             CLASS 3            25,000.00         1,786.46               0.00                23,213.54
PITMAN                GREGORY D PITMAN                                     CLASS 3            70,000.00         5,327.84               0.00                64,672.16
PITMAN                MAINSTAR-FBO DONNA PITMAN T2174982                   CLASS 3           100,000.00       11,141.64                0.00                88,858.36
PITMAN                MAINSTAR-FBO GREGORY PITMAN T2174983                 CLASS 3          325,963.00        33,144.08                0.00               292,818.92
PITRIZZI              PAUL P PITRIZZI                                      CLASS 3            40,000.00        3,616.73                0.00                36,383.27
PITT                  PROV. TR GP-FBO DARIN PITT IRA                       CLASS 3          100,000.00          2,733.34               0.00                97,266.66
PITTERLE              PROV. TR GP-FBO JENNIFER PITTERLE SEP IRA            CLASS 3            30,000.00         2,346.67               0.00                27,653.33
PITTSENBARGAR         PROV. TR GP-FBO HILLARRY PITTSENBARGAR               CLASS 5            50,000.00         8,888.89               0.00                41,111.11
PITZNER               MARY ANN PITZNER RT 03/13/07                         CLASS 3          100,000.00        20,772.17                0.00                79,227.83
PITZNER               MARY ANN PITZNER RT 03/13/07                         CLASS 5          100,000.00        20,772.17                0.00                79,227.83
PIXLEY                GORDON & JOYCE PIXLEY                                CLASS 3            60,000.00         5,050.00               0.00                54,950.00
PIXLEY                PROV. TR GP-FBO GORDON PIXLEY IRA                    CLASS 3          110,000.00        16,429.17                0.00                93,570.83
PLAISTED              IRA SVCS TR CO-CFBO JOHN PLAISTED                    CLASS 3          100,000.00        10,561.67                0.00                89,438.33
PLAISTED              IRA SVCS TR CO-CFBO JOHN PLAISTED                    CLASS 5          150,000.00        15,842.50                0.00               134,157.50

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
PLANK                 ELLEN E PLANK                                       CLASS 3            30,000.00        5,629.17                 0.00                24,370.83
PLANK                 IRA SVCS TR CO-CFBO ELLEN E PLANK IRA               CLASS 5            72,000.00         5,320.00                0.00                66,680.00
PLANK                 IRA SVCS TR CO-CFBO JOHN H PLANK                    CLASS 5           150,000.00         2,583.33                0.00               147,416.67
PLANK                 JOHN H & ELLEN E PLANK                              CLASS 3            50,000.00       14,627.51                 0.00                35,372.49
PLANK                 JOHN H & ELLEN E PLANK                              CLASS 5           145,000.00       42,419.79                 0.00               102,580.21
PLANTE                ARTHUR PLANTE                                       CLASS 3            25,000.00         1,138.16                0.00                23,861.84
PLATT                 JAMES E PLATT                                       CLASS 3            25,000.00          975.00                 0.00                24,025.00
PLATT                 STEPHEN J PLATT                                     CLASS 3          200,000.00          2,500.00                0.00               197,500.00
PLATT/HEGARTY         NORMAN T PLATT & DOROTHEA HEGARTY                   CLASS 3            70,000.00              81.67              0.00                69,918.33
PLEIMAN               JAMES R PLEIMAN                                     CLASS 3          100,000.00        10,607.04                 0.00                89,392.96
PLEIMAN               JAMES R PLEIMAN                                     CLASS 5            50,000.00        5,303.52                 0.00                44,696.48
PLEIMAN               PROV. TR GP-FBO JAMES R PLEIMAN IRA                 CLASS 3           100,000.00         8,964.41                0.00                91,035.59
PLEIMAN               PROV. TR GP-FBO JAMES R PLEIMAN IRA                 CLASS 5            50,000.00         4,482.20                0.00                45,517.80
PLETKA                JOANN E PLETKA                                      CLASS 3          200,000.00        14,693.09                 0.00               185,306.91
PLETKA                PROV. TR GP-FBO JOANN PLETKA IRA                    CLASS 3            46,204.00         1,804.82                0.00                44,399.18
PLOFSKY               HERBERT PLOFSKY                                     CLASS 3            35,000.00         2,400.00                0.00                32,600.00
PLOTICA               PROV. TR GP-FBO LAURA J PLOTICA IRA                 CLASS 5            50,000.00       13,166.67                 0.00                36,833.33
PLOTNICK              MAINSTAR-FBO HARVEY PLOTNICK T2178457               CLASS 3           105,650.00              58.69              0.00               105,591.31
PLUIM                 DENNIS D PLUIM                                      CLASS 3          300,000.00        68,283.49                 0.00               231,716.51
PLUSKA                TR UNDER THE WILL OF EUGENIA PLUSKA                 CLASS 5            75,000.00         9,375.00                0.00                65,625.00
PLZAK                 RICK L & JEANETTE K PLZAK                           CLASS 3          100,000.00          2,766.67                0.00                97,233.33
POCHE                 MAY M POCHE BY JUDY P BABIN ATTY IN FACT            CLASS 3            50,000.00         8,158.75                0.00                41,841.25
POCHE                 MAY M POCHE BY JUDY P BABIN ATTY IN FACT            CLASS 5            50,000.00         8,158.75                0.00                41,841.25
PODKOWINSKI           MAINSTAR-FBO DAVID PODKOWINSKI T2174530             CLASS 3           294,000.00       28,138.34                 0.00               265,861.66
POE                   GARY & SALLY POE                                    CLASS 3            96,000.00         1,826.67                0.00                94,173.33
POEHLER               JOSEPH G POEHLER                                    CLASS 5         1,200,000.00       69,222.32                 0.00             1,130,777.68
POEHLER               LAURIE POEHLER                                      CLASS 3           100,000.00         6,727.74                0.00                93,272.26
POFFEL                CHRISTOPHER J POFFEL                                CLASS 3           250,000.00       13,386.11                 0.00               236,613.89
POFFENBERGER          LAMOILLE E POFFENBERGER                             CLASS 3            40,000.00               0.00              0.00                40,000.00

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
POGUE                 IRA SVCS TR CO-CFBO BETTY J POGUE                  CLASS 3           110,500.00         1,353.62               0.00               109,146.38
POHL                  LUCIE L POHL                                       CLASS 3          105,000.00         8,660.63                0.00                96,339.37
POHLMAN               FRED W & LUCIA D POHLMAN                           CLASS 3            75,000.00       14,778.29                0.00                60,221.71
POKORNY               BELINDA & DONALD J POKORNY                         CLASS 3           300,000.00       32,435.99                0.00               267,564.01
POKORNY               LAURA POKORNY                                      CLASS 3            50,000.00         1,922.89               0.00                48,077.11
POLAND                PROV. TR GP-FBO DIANA L POLAND IRA                 CLASS 3           260,000.00       38,289.17                0.00               221,710.83
POLCE                 LAURA POLCE                                        CLASS 3            40,000.00         2,205.60               0.00                37,794.40
POLCYN                BARBARA J POLCYN                                   CLASS 3           125,000.00         7,031.21               0.00               117,968.79
POLEY                 PROV. TR GP-FBO JUDITH A POLEY IRA                 CLASS 3            70,000.00         2,128.19               0.00                67,871.81
POLING                ROY & EMMA POLING                                  CLASS 3            75,000.00         2,363.87               0.00                72,636.13
POLITI                HEIDI POLITI                                       CLASS 3          850,000.00        99,416.42                0.00               750,583.58
POLITI                HEIDI POLITI                                       CLASS 5          100,000.00        11,696.05                0.00                88,303.95
POLITI                LEONARD P POLITI                                   CLASS 3           300,000.00       33,394.44                0.00               266,605.56
POLK                  JOYCE A POLK                                       CLASS 3          100,000.00           433.33                0.00                99,566.67
POLLARD               PATRICIA HARFIELD POLLARD                          CLASS 3           155,000.00         4,460.58               0.00               150,539.42
POLLICITO             PROV. TR GP-FBO PATRICIA A POLLICITO IRA           CLASS 3           115,000.00       19,417.30                0.00                95,582.70
POLLICITO             PROV. TR GP-FBO SALVATORE J POLLICITO IRA          CLASS 3           115,000.00       19,669.66                0.00                95,330.34
POLSTER               JEFFREY G & CHERYL A POLSTER                       CLASS 3            50,000.00         1,244.46               0.00                48,755.54
POMA                  MARIA POMA                                         CLASS 3            50,000.00          965.09                0.00                49,034.91
POMPEI                MAINSTAR-FBO GERALD D POMPEI T2178094              CLASS 3            59,000.00          998.08                0.00                58,001.92
POMROY                LEONA M POMROY                                     CLASS 3            50,000.00          925.00                0.00                49,075.00
PONTIUS               PROV. TR GP-FBO KEVIN L PONTIUS IRA                CLASS 3            25,021.00          823.96                0.00                24,197.04
POOLE                 RONALD E POOLE                                     CLASS 3           175,000.00       19,218.73                0.00               155,781.27
POON/NIE              ROBERT POON & YAN JUAN NIE                         CLASS 5            50,000.00         9,652.85               0.00                40,347.15
POPE                  CYNTHIA POPE                                       CLASS 3          100,000.00          1,555.55               0.00                98,444.45
POPOLIZIO             LAURENCE POPOLIZIO                                 CLASS 3           105,000.00       10,974.23                0.00                94,025.77
POPOLIZIO/GROSS       LAURENCE POPOLIZIO & LAUREN G GROSS                CLASS 3            30,000.00              0.00              0.00                30,000.00
POPP                  HEINZ POPP                                         CLASS 3          100,000.00        13,062.07                0.00                86,937.93
PORTALE               MAINSTAR-FBO NICHOLAS PORTALE T2175803             CLASS 3           181,440.65         8,151.46               0.00               173,289.19

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
PORTALE               MAINSTAR-FBO PATTI PORTALE T2177463                CLASS 3            44,000.00          880.00                 0.00                43,120.00
PORTALE               NICHOLAS PORTALE                                   CLASS 3          100,000.00          2,983.33                0.00                97,016.67
PORTEOUS              JUDITH PORTEOUS                                    CLASS 3            53,850.48              98.73              0.00                53,751.75
PORTEOUS              THE PORTEOUS 1999 TR UA 04/09/99                   CLASS 3            59,822.29          179.47                 0.00                59,642.82
PORTER                HORIZON TR CO-FBO MARK D PORTER IRA                CLASS 3            50,000.00         5,926.85                0.00                44,073.15
PORTER                IRA SVCS TR CO-CFBO MICHAEL PORTER                 CLASS 3            42,500.00               0.00              0.00                42,500.00
PORTER                IRA SVCS TR CO-CFBO ROSE PORTER                    CLASS 3            39,250.00               0.00              0.00                39,250.00
PORTER                JOHN F & LUCILLE T PORTER                          CLASS 3           100,000.00         1,513.90                0.00                98,486.10
PORTER                RAYMOND WADE PORTER RLT                            CLASS 3          300,000.00         8,843.10                 0.00               291,156.90
PORTER                ROBERT JR & SUSAN PORTER                           CLASS 3           100,000.00       21,583.25                 0.00                78,416.75
PORTER                THE PORTER FT                                      CLASS 3            50,000.00          783.34                 0.00                49,216.66
PORTER                TOMMY & JUDY PORTER                                CLASS 3            25,000.00         4,670.28                0.00                20,329.72
POSSLEY               GARY W POSSLEY TR                                  CLASS 5          100,000.00        13,022.06                 0.00                86,977.94
POST                  GARY O & PATRICIA M POST                           CLASS 3           500,000.00       36,222.19                 0.00               463,777.81
POST                  GARY POST                                          CLASS 3          200,000.00          1,594.45                0.00               198,405.55
POTTER                PROV. TR GP-FBO CHERYL POTTER IRA                  CLASS 3            86,000.00         1,060.67                0.00                84,939.33
POTTER                PROV. TR GP-FBO THE POTTER RIVT IRA                CLASS 3            50,000.00       13,903.47                 0.00                36,096.53
POTTER                PROV. TR GP-FBO THOMAS M POTTER III IRA            CLASS 3            50,000.00         1,672.22                0.00                48,327.78
POTTER                PROV. TR GP-FBO WILLIAM C POTTER IRA               CLASS 3           300,000.00       30,725.00                 0.00               269,275.00
POTTERTON             POTTERTON IRREV TR                                 CLASS 3          400,000.00          5,888.90                0.00               394,111.10
POTTS                 HARRY R POTTS                                      CLASS 3            45,000.00         7,210.00                0.00                37,790.00
POTTS                 JAMES K POTTS LT DTD 04/20/00                      CLASS 3            50,000.00         5,800.00          1,000.00                  43,200.00
POTTS                 MARY ANNE POTTS TR DTD 04/20/00                    CLASS 3            50,000.00         5,333.33                0.00                44,666.67
POULAN METHODIST      POULAN UNITED METHODIST CHURCH                     CLASS 3            50,000.00         1,076.37                0.00                48,923.63
POULIN                ROBERTA & TOM POULIN                               CLASS 3            50,000.00          902.76                 0.00                49,097.24
POULIOT               STEPHEN L POULIOT TR DTD 04/01/11                  CLASS 3            50,000.00         2,121.50                0.00                47,878.50
POULIOT               STEPHEN L POULIOT TR DTD 04/01/11                 CLASS 3*          100,000.00          1,186.10                0.00                98,813.90
POULSON               LISA POULSON                                       CLASS 5            65,000.00          848.61                 0.00                64,151.39
POULSON               MAINSTAR-FBO MARK POULSON T2178357                 CLASS 3          850,000.00          5,123.61                0.00               844,876.39

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
POULSON               MARK & LISA POULSON                                 CLASS 5          165,000.00        14,848.56                 0.00               150,151.44
POULSON               PERRY & NORMA POULSON                               CLASS 3           100,000.00         6,124.97                0.00                93,875.03
POWELL                MAINSTAR-FBO PHILLIP POWELL TW003639                CLASS 3            50,000.00         2,612.50                0.00                47,387.50
POWER                 LAURENCE POWER                                      CLASS 3            25,000.00         1,015.65                0.00                23,984.35
POWERS                CAROLYN POWERS TTEE C POWERS TR 04/01/85            CLASS 3            30,000.00               0.00              0.00                30,000.00
POWERS                DOLORES POWERS                                      CLASS 3            55,000.00         6,566.45                0.00                48,433.55
POWERS                JANIS R POWERS                                      CLASS 3            50,000.00               0.00              0.00                50,000.00
POWERS                POWERS FT DTD 10/09/12                              CLASS 3          100,000.00          2,833.33                0.00                97,166.67
PRATEKTO              IMELDA PRATEKTO                                     CLASS 3            50,000.00         1,975.00                0.00                48,025.00
PRATT                 DONALD L PRATT                                      CLASS 3            52,000.00         5,858.67                0.00                46,141.33
PRATT                 LYN PRATT                                           CLASS 3            25,000.00              93.75              0.00                24,906.25
PRATT                 PRATT FAMILY CABIN TR                               CLASS 3           200,000.00       20,755.51                 0.00               179,244.49
PRATT                 PROV. TR GP-FBO STEPHANIE PRATT INH IRA             CLASS 3            28,320.00         1,939.13                0.00                26,380.87
PREBYL                GARY PREBYL                                         CLASS 5           240,000.00       20,039.94                 0.00               219,960.06
PREGLER               BRUCE PREGLER                                       CLASS 3           125,000.00       18,649.33                 0.00               106,350.67
PRENGER               MAINSTAR-FBO RONALD F PRENGER T2178324              CLASS 3           111,500.00         1,127.39                0.00               110,372.61
PRESLEY               GOLDSTAR TR CO-FBO RICHARD W PRESLEY INH            CLASS 5            21,000.00         1,726.67                0.00                19,273.33
PRESLEY               GOLDSTAR TR CO-FBO RICHARD W PRESLEY IRA            CLASS 5            19,000.00         1,604.41                0.00                17,395.59
PRESLEY               RICHARD W PRESLEY                                   CLASS 3            30,000.00         1,989.14                0.00                28,010.86
PRESLEY               RICHARD W PRESLEY                                   CLASS 5            10,000.00          663.05                 0.00                 9,336.95
PRESSON               E WYNN & ANDREA L PRESSON                           CLASS 5           600,000.00      190,833.35                 0.00               409,166.65
PRESSON               PROV. TR GP-FBO ANDREA PRESSON ROTH IRA             CLASS 5            25,500.00         5,978.33                0.00                19,521.67
PRESSON               PROV. TR GP-FBO ELLIS W PRESSON IRA                 CLASS 5         1,040,500.00      314,858.93                 0.00               725,641.07
PREUSCHL              LEROY PREUSCHL                                      CLASS 3            25,000.00          361.12                 0.00                24,638.88
PREUSS                JERE PREUSS                                         CLASS 3            75,000.00         2,500.66                0.00                72,499.34
PRICE                 ADRIENNE M & SHELDON PRICE                          CLASS 3           115,000.00       13,323.95           2,000.00                  99,676.05
PRICE                 BARBARA PRICE                                       CLASS 3          100,000.00          5,669.48                0.00                94,330.52
PRICE                 IRA SVCS TR CO-CFBO LYNDA PRICE                     CLASS 3            41,000.00          996.79                 0.00                40,003.21
PRICE                 PROV. TR GP-FBO ADRIENNE PRICE IRA                  CLASS 5           112,573.35       10,887.65                 0.00               101,685.70

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
PRICE                 PROV. TR GP-FBO MARCELLA PRICE IRA                  CLASS 3            51,000.00          824.50               0.00                50,175.50
PRICE                 PROV. TR GP-FBO SHELDON PRICE IRA                   CLASS 5          209,515.13        20,449.31               0.00               189,065.82
PRICE                 RICHARD PRICE                                       CLASS 3            50,000.00          456.95               0.00                49,543.05
PRICE                 ROBERT D & MARGARET J PRICE                         CLASS 3          100,000.00        16,750.00               0.00                83,250.00
PRICE                 STEPHEN PRICE                                       CLASS 3          160,000.00         8,808.53               0.00               151,191.47
PRICHARD              ROY L PRICHARD JR                                   CLASS 3            50,000.00         2,700.00              0.00                47,300.00
PRIDDY                WILLIAM L & GAIL L PRIDDY                           CLASS 3          200,000.00        13,841.72               0.00               186,158.28
PRIDE                 JAMES G & YVONNE C PRIDE                            CLASS 3            50,000.00         4,290.28              0.00                45,709.72
PRIDE                 JAMES G & YVONNE C PRIDE                            CLASS 5          100,000.00          8,580.56              0.00                91,419.44
PRIM                  MAINSTAR-FBO RICK J PRIM SR #T2175253               CLASS 3            35,000.00         3,537.70              0.00                31,462.30
PRINCE                GLEN D & DIANE M PRINCE                             CLASS 3            25,000.00         1,916.67              0.00                23,083.33
PRINCE                JOHN W PRINCE                                       CLASS 3            50,000.00        2,656.25               0.00                47,343.75
PRINCE                ROBERT J PRINCE                                     CLASS 5          820,000.00       205,159.17               0.00               614,840.83
PRIOLETTI             MAINSTAR-FBO JOHN J PRIOLETTI T2176004              CLASS 3          290,301.54        12,998.26               0.00               277,303.28
PRISCO                IRA SVCS TR CO-CFBO RONALD J PRISCO IRA             CLASS 3           846,800.00      142,286.21        17,100.01                 687,413.78
PRISCO                IRA SVCS TR CO-CFBO RONALD J PRISCO IRA             CLASS 5            61,000.00       10,249.71         1,231.81                  49,518.48
PRISCO                PROV. TR GP-FBO LISA A PRISCO IRA                   CLASS 5          134,000.00        38,673.89               0.00                95,326.11
PRISCO                PROV. TR GP-FBO LISA PRISCO IRA                     CLASS 3            25,100.00         2,179.17              0.00                22,920.83
PRISCO                RONALD J PRISCO PA                                  CLASS 3            26,507.00         7,029.62              0.00                19,477.38
PRISCO                RONALD J PRISCO PA                                  CLASS 5            55,851.00       14,811.60               0.00                41,039.40
PRIYADARSINI          S PRIYADARSINI                                      CLASS 3            50,000.00         5,332.62              0.00                44,667.38
PROCHASKA             THOMAS D PROCHASKA                                  CLASS 3           100,000.00       23,783.27               0.00                76,216.73
PROCOPIO              MARK J PROCOPIO                                     CLASS 3            75,000.00       13,389.54               0.00                61,610.46
PROCOPIO              SHARI L PROCOPIO                                    CLASS 3            50,000.00          466.67               0.00                49,533.33
PROCTOR               EDGAR PROCTOR                                       CLASS 3          200,000.00        38,149.92               0.00               161,850.08
PROCTOR               LISA PROCTOR                                        CLASS 3            60,000.00         9,944.16              0.00                50,055.84
PROCTOR/BEVISS        ROBERT H PROCTOR & FAY C BEVISS                     CLASS 3            93,000.00         4,929.00              0.00                88,071.00
PROGRESS TOOL         PROGRESS TOOL & STAMPING INC                        CLASS 3           200,000.00       47,740.34               0.00               152,259.66
PROPP                 LIBERTY TR CO-FBO WILLIAM D PROPP IRA               CLASS 5           185,000.00       35,818.13               0.00               149,181.87

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type            [1]               [2]                [3]          [1] minus [2] minus [3]
PROPP                 WILLIAM D PROPP                                     CLASS 5            50,000.00        9,833.41                 0.00                40,166.59
PROUT                 BASIL J PROUT                                       CLASS 3          200,000.00          2,900.00                0.00               197,100.00
PRUDENTE              GENEROSO J PRUDENTE                                 CLASS 3            70,000.00          738.90                 0.00                69,261.10
PRUIS                 DAVID A & RUTH I PRUIS                              CLASS 3            50,000.00         3,538.93                0.00                46,461.07
PRUZANSKY             JOEL PRUZANSKY                                      CLASS 5            50,000.00         5,883.34                0.00                44,116.66
PRYMAK                PROV. TR GP-FBO JOHN PRYMAK IRA                     CLASS 5           100,000.00       26,722.23                 0.00                73,277.77
PSCHEIDT              BRADLEY A PSCHEIDT                                  CLASS 3            25,000.00          538.21                 0.00                24,461.79
PUCCI                 BARBARA E & VINCENT J PUCCI                         CLASS 3            25,000.00         1,789.20                0.00                23,210.80
PUCKETT               THURMAN & BIENVENIDA PUCKETT                        CLASS 3           100,000.00              55.56              0.00                99,944.44
PUGH                  DAVID L PUGH                                        CLASS 3          100,000.00          4,613.86                0.00                95,386.14
PUGSLEY               A L JR & CAROLE PUGSLEY RLT DTD 06/24/91            CLASS 3            25,000.00          525.02                 0.00                24,474.98
PULLMAN               MARSHA PULLMAN                                      CLASS 3            40,000.00          653.33                 0.00                39,346.67
PULSONE-SMITH         MAINSTAR-FBO D PULSONE-SMITH T2177697               CLASS 3           154,000.00         2,331.39                0.00               151,668.61
PUNCH                 NORMAN A & VERNICE F PUNCH                          CLASS 3            35,650.00          609.01                 0.00                35,040.99
PUNJABI               RAJKUMAR N PUNJABI                                  CLASS 3            50,000.00         1,726.41                0.00                48,273.59
PUNKE                 JAMES R & CAROL J PUNKE                             CLASS 3            25,000.00               0.00              0.00                25,000.00
PURINO                ALBERT T PURINO                                     CLASS 3            90,000.00         3,745.00                0.00                86,255.00
PURINO                ALBERT T PURINO RT DTD 11/03/05                     CLASS 5           200,000.00       11,561.09                 0.00               188,438.91
PURINO                MAINSTAR-FBO ALBERT T PURINO T2176645               CLASS 5            52,860.00         3,891.08                0.00                48,968.92
PURNELL               STANLEY E PURNELL                                   CLASS 3            40,000.00         1,061.13                0.00                38,938.87
PURVIS                IRA SVCS TR CO-CFBO CHARLES R PURVIS IRA            CLASS 5          300,000.00        48,216.66                 0.00               251,783.34
PUTHOFF               BETTY L & NICK A PUTHOFF                            CLASS 3           205,000.00       31,864.79                 0.00               173,135.21
PUTHOFF               PROV. TR GP-FBO BETTY L PUTHOFF IRA                 CLASS 3            40,000.00         2,527.78                0.00                37,472.22
PUTHOFF               PROV. TR GP-FBO NICHOLAS PUTHOFF IRA                CLASS 3            30,000.00         1,854.17                0.00                28,145.83
PUTMAN                KIMBERLY H PUTMAN TESTAMENTARY TR                   CLASS 3            25,000.00         5,941.62           281.69                   18,776.69
PUTNAM                MAINSTAR-FBO TRACY J PUTNAM T2177216                CLASS 3            49,650.00          937.83                 0.00                48,712.17
PYLE                  VERLE F & NORMA S PYLE TR DTD 07/11/83              CLASS 3           100,000.00         2,819.46                0.00                97,180.54
PYLES                 BRYAN & DANETTE PYLES                               CLASS 3           200,000.00       30,863.81                 0.00               169,136.19
PYLES                 DEBORAH J PYLES                                     CLASS 5           100,000.00       82,698.58                 0.00                17,301.42

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
PYNES                 THE ESTATE OF PATRICIA PYNES                       CLASS 5          100,000.00        46,527.65                 0.00                53,472.35
QUAN                  LOUIS & ROSE QUAN                                  CLASS 3            25,000.00              86.81              0.00                24,913.19
QUARVE                LIBERTY TR CO-FBO GARY LEE QUARVE IRA              CLASS 5           100,000.00       26,777.67                 0.00                73,222.33
QUE                   DANTE A QUE                                        CLASS 3            50,000.00       11,100.04                 0.00                38,899.96
QUEZADA               JOHNNY & AURORA QUEZADA                            CLASS 3            25,000.00          559.04                 0.00                24,440.96
QUICK                 PATRICIA N QUICK                                   CLASS 3          200,000.00        10,305.52                 0.00               189,694.48
QUINE                 DEANA C QUINE                                      CLASS 3          120,000.00        20,251.57                 0.00                99,748.43
QUINLAN               MICHAEL J & REBEKAH M QUINLAN                      CLASS 3            25,000.00         5,300.80                0.00                19,699.20
QUINN                 EDWARD C QUINN                                     CLASS 3            60,000.00         1,116.67                0.00                58,883.33
QUINN                 JOSEPH W & CHERYLE R QUINN                         CLASS 3           100,000.00         6,492.34                0.00                93,507.66
QUINN                 JOSEPH W & CHERYLE R QUINN                         CLASS 5           100,000.00         6,492.34                0.00                93,507.66
QUINTAS               ALICE P QUINTAS TA                                 CLASS 3            80,000.00         9,852.81                0.00                70,147.19
QUIRING               HOWARD B QUIRING EST TR                            CLASS 3            80,000.00       19,975.55                 0.00                60,024.45
RABAN                 MAINSTAR-FBO DENNIS R RABAN T2177169               CLASS 3           126,900.00         5,009.03                0.00               121,890.97
RACHMELL              ANDREW RACHMELL                                    CLASS 3            50,000.00        3,845.79                 0.00                46,154.21
RACHMELL              LEWIS & RUTH RACHMELL RLT                          CLASS 3           150,000.00         8,961.77                0.00               141,038.23
RACHMELL              PROV. TR GP-FBO ANDREW RACHMELL IRA                CLASS 3            32,056.34         2,416.04                0.00                29,640.30
RACHMELL              PROV. TR GP-FBO ANDREW RACHMELL IRA                CLASS 5           102,000.00         7,687.58                0.00                94,312.42
RACHT                 FRIEDA RACHT                                       CLASS 3           125,000.00         6,388.50                0.00               118,611.50
RACINE                LINDA K RACINE RT 10/23/14                         CLASS 3            25,000.00         1,119.44                0.00                23,880.56
RADER                 PROV. TR GP-FBO BETTE J RADER IRA                  CLASS 3            24,875.00         1,820.54                0.00                23,054.46
RADOSEVIC             GOLDSTAR TR CO-FBO RICHARD RADOSEVIC               CLASS 5          100,000.00        14,361.05                 0.00                85,638.95
RADOSEVIC             GOLDSTAR TR CO-FBO RICHARD RADOSEVIC IRA           CLASS 5            20,000.00         2,444.49                0.00                17,555.51
RADOSEVIC             THE RADOSEVIC FT                                   CLASS 5            60,000.00       11,650.70                 0.00                48,349.30
RADZINSKI             MAINSTAR-FBO DEBRA RADZINSKI T2176484              CLASS 3            28,125.00         1,406.25                0.00                26,718.75
RAGAN                 KIMBAL H & JULIE B RAGAN                           CLASS 3           100,000.00         8,616.69                0.00                91,383.31
RAGAN                 PROV. TR GP-FBO ARLENE RAGAN IRA                   CLASS 3           171,184.14         8,901.58                0.00               162,282.56
RAGAN                 PROV. TR GP-FBO KIMBAL H RAGAN IRA                 CLASS 3           200,000.00         8,555.56                0.00               191,444.44
RAHALSKI              MAINSTAR-FBO MATTHEW J RAHALSKI                    CLASS 5           100,000.00       15,527.76                 0.00                84,472.24

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                                         Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
RAHKE                 ROBERT C RAHKE                                      CLASS 3           100,000.00       13,559.15                0.00                86,440.85
RAHMAN                PROV. TR GP-FBO MUHAMMAD A RAHMAN IRA               CLASS 3          100,000.00         2,133.33                0.00                97,866.67
RAIDER                MAINSTAR-FBO SHARRON RAIDER                         CLASS 3           293,500.00       15,938.68                0.00               277,561.32
RAIDER                SHARRON RAIDER                                      CLASS 3          118,700.00          8,879.91               0.00               109,820.09
RAILSBACK             LANCE RAILSBACK                                     CLASS 3           100,000.00         9,666.71         1,000.00                  89,333.29
RAILSBACK             NADINE & LANCE E RAILSBACK                          CLASS 3           100,000.00         7,020.83               0.00                92,979.17
RAINALDI              FRANCES JOANNE RAINALDI                             CLASS 3            50,000.00          388.89                0.00                49,611.11
RAINES                PROV. TR GP-FBO DR MARCUS E RAINES IRA              CLASS 5            90,000.00       20,700.00                0.00                69,300.00
RAINES                PROV. TR GP-FBO MARCUS E RAINES IRA                 CLASS 3           102,000.00       15,468.21                0.00                86,531.79
RAINS                 STEVEN M & DIANA L RAINS                            CLASS 3            50,000.00         2,575.00               0.00                47,425.00
RAJABALI              HABIB RAJABALI                                      CLASS 3            50,000.00         2,958.33               0.00                47,041.67
RAMAH NAVAJO          RAMAH NAVAJO CHAPTER                                CLASS 5         1,000,000.00              0.00              0.00             1,000,000.00
RAMEY                 PROV. TR GP-FBO DAVID L RAMEY IRA                   CLASS 3           200,000.00       56,232.38          4,582.75                 139,184.87
RAMION                RAMION INC                                          CLASS 5          100,000.00        20,527.70                0.00                79,472.30
RAMIREZ               GUILLERMO RAMIREZ                                   CLASS 3            25,000.00          117.36                0.00                24,882.64
RAMMEL                KENNETH J & SHIRLEY M RAMMEL                        CLASS 3            25,000.00         3,428.13               0.00                21,571.87
RAMOS                 LEOPOLDO RAMOS                                      CLASS 3          100,000.00          2,411.10               0.00                97,588.90
RAMOS                 THE EDWARD & JACQUELINE RAMOS FT 03/09/95           CLASS 3            50,000.00         2,150.00               0.00                47,850.00
RANCK                 PROV. TR GP-FBO BIBBIE-ANN RANCK IRA                CLASS 3           140,000.00       18,021.11                0.00               121,978.89
RANDALL               MAINSTAR-FBO BRIAN RANDALL T2176020                 CLASS 3            40,750.00         2,875.20               0.00                37,874.80
RANDALL               MAINSTAR-FBO DARREN RANDALL T2176819                CLASS 3           299,000.00       12,767.35                0.00               286,232.65
RANDALL               MAINSTAR-FBO DARREN RANDALL T2176819                CLASS 5           400,000.00       17,080.07                0.00               382,919.93
RANDALL               PAMELA RANDALL                                      CLASS 3            25,000.00         1,250.04               0.00                23,749.96
RANDALL               PROV. TR GP-FBO DEWEY D RANDALL IRA                 CLASS 3            75,000.00       11,123.75                0.00                63,876.25
RANDASH               DEAN & ARLETTE RANDASH JTROS                        CLASS 5           400,000.00      161,087.77                0.00               238,912.23
RANDASH               PROV. TR GP-FBO ARLETTE M RANDASH IRA               CLASS 3           111,600.00       17,526.90                0.00                94,073.10
RANDASH               PROV. TR GP-FBO ARLETTE M RANDASH IRA               CLASS 5            55,800.00         8,763.45               0.00                47,036.55
RANDASH               PROV. TR GP-FBO DEAN M RANDASH IRA                  CLASS 3           175,000.00       27,967.06                0.00               147,032.94
RANDASH               PROV. TR GP-FBO DEAN M RANDASH IRA                  CLASS 5            90,000.00       14,383.06                0.00                75,616.94

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
RANDOLPH              MAINSTAR-FBO CEDRIC RANDOLPH                       CLASS 3            25,664.19         1,226.18              0.00                24,438.01
RANDOLPH              MAINSTAR-FBO ERIC RANDOLPH TW003680                CLASS 3           112,300.00         2,979.07              0.00               109,320.93
RANIERI               KEVIN WILLIAM & MARYBETH ANN RANIERI               CLASS 5           100,000.00       16,833.27               0.00                83,166.73
RANIERI               PATRICK T RANIERI                                  CLASS 3            50,000.00         4,411.10              0.00                45,588.90
RAO                   PROV. TR GP-FBO SURESH & ANITA RAO ICA             CLASS 3            50,000.00       11,725.91               0.00                38,274.09
RAO                   PROV. TR GP-FBO SURESH & ANITA RAO ICA             CLASS 5            50,000.00       11,725.91               0.00                38,274.09
RAPIEN                JAMES RAPIEN                                       CLASS 5          118,500.00        16,030.42               0.00               102,469.58
RAPP                  AMERICAN EST&TR FBO KENNETH E RAPP                 CLASS 5            50,000.00       27,742.42               0.00                22,257.58
RAPPA                 KAREN M RAPPA                                      CLASS 3            75,000.00         7,916.67              0.00                67,083.33
RAPPA                 MAINSTAR-FBO JOHN A RAPPA                          CLASS 3            50,500.00         2,996.33              0.00                47,503.67
RAPPA                 MICHAEL RAPPA                                      CLASS 3            30,000.00         5,162.08              0.00                24,837.92
RAPPA                 SAMUEL & DIANA RAPPA                               CLASS 3            50,000.00         3,250.00              0.00                46,750.00
RASBACH               CHUCK RASBACH                                      CLASS 3           100,000.00          160.42               0.00                99,839.58
RASHEED               PROV. TR GP-FBO IDRIS RASHEED IRA                  CLASS 3            40,500.00          275.63               0.00                40,224.37
RASMUSSEN             JOHN & JANET RASMUSSEN                             CLASS 3           125,000.00       29,198.71               0.00                95,801.29
RASMUSSEN             JOHN & JANET RASMUSSEN                             CLASS 5           100,000.00       23,358.97               0.00                76,641.03
RASMUSSEN             VELIA & KEVIN RASMUSSEN                            CLASS 3          124,800.00          4,665.27              0.00               120,134.73
RATGEN                PROV. TR GP-FBO CLIFFORD G RATGEN IRA              CLASS 3          315,000.00        42,742.78               0.00               272,257.22
RAUPP                 IRA SVCS TR CO-CFBO MARYPATRIECE RAUPP             CLASS 3            27,400.00          536.60               0.00                26,863.40
RAVE                  MARCELLA RAVE                                      CLASS 3            25,000.00          309.03               0.00                24,690.97
RAY                   BRENDA K RAY                                       CLASS 5          204,000.00        34,680.00               0.00               169,320.00
RAY                   MAINSTAR-FBO DIANNA L RAY                          CLASS 3            27,529.91         1,621.21              0.00                25,908.70
RAYMOND               MAINSTAR-FBO RAYMOND BORNER                        CLASS 3            50,000.00        3,104.16               0.00                46,895.84
REAL ESTATE PLUS      REAL ESTATE PLUS INC                               CLASS 3           175,000.00       13,930.49               0.00               161,069.51
REAMS                 PROV. TR GP-FBO JAMES W REAMS IRA                  CLASS 3            75,000.00       10,350.00               0.00                64,650.00
REANEY                JOSEPH J REANEY                                    CLASS 3            25,000.00          425.00               0.00                24,575.00
REBMAN                ROBERT J & SARAH L REBMAN                          CLASS 3            50,000.00         8,916.67              0.00                41,083.33
REBUCK                JOHN L & WILMA L REBUCK                            CLASS 3           388,000.00         6,837.62              0.00               381,162.38
RECINE                MARIA RECINE                                       CLASS 3          200,000.00        26,943.20               0.00               173,056.80

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
REDDICK               PROV. TR GP-FBO ALAN D REDDICK IRA                  CLASS 3            59,700.00       10,004.83                 0.00                49,695.17
REDMOND               BARBARA REDMOND                                     CLASS 3            43,160.35         1,480.67                0.00                41,679.68
REDMOND               WILLIAM T REDMOND                                   CLASS 3            80,000.00         1,822.21                0.00                78,177.79
REDSTONE              MICHAEL REDSTONE                                    CLASS 3            30,000.00         5,300.56                0.00                24,699.44
REDSTONE              MICHAEL REDSTONE                                    CLASS 5            50,000.00         8,834.27                0.00                41,165.73
REED                  CURTIS D REED                                       CLASS 3            25,000.00              29.17              0.00                24,970.83
REED                  MICHAEL R REED                                      CLASS 3          225,000.00        11,779.16                 0.00               213,220.84
REED                  PROV. TR GP-FBO DAVID W REED IRA                    CLASS 5           339,800.00       69,038.44                 0.00               270,761.56
REED                  STANLEY H REED                                      CLASS 3            50,000.00         6,316.67                0.00                43,683.33
REED                  SUNWEST TR SUSAN A REED IRA #1712901                CLASS 3          100,000.00          2,350.00                0.00                97,650.00
REED                  THE REED FTA                                        CLASS 5          100,000.00        32,441.04                 0.00                67,558.96
REED                  TMICO-FBO BONNIE S REED IRA                         CLASS 5           102,689.95       19,737.42                 0.00                82,952.53
REED                  TMICO-FBO THOMAS K REED TRAD IRA                    CLASS 5            50,000.00       17,333.49                 0.00                32,666.51
REED/FLARITY          DAVID W REED & KATHLEEN M FLARITY                   CLASS 5           100,000.00       18,599.95                 0.00                81,400.05
REEDER                ROBERT L & J AILEEN REEDER                          CLASS 3            75,000.00         2,056.25                0.00                72,943.75
REESE                 CLAUDE T REESE SR                                   CLASS 5           300,000.00       44,888.91                 0.00               255,111.09
REESE                 DOROTHY E REESE                                     CLASS 5           200,000.00       21,083.37                 0.00               178,916.63
REEVES                GERALD C REEVES                                     CLASS 3           265,000.00       12,565.30           1,000.00                 251,434.70
REEVES                MAINSTAR-FBO GERALD REEVES BT176600                 CLASS 3            89,394.00         3,873.74                0.00                85,520.26
REEVES                THE REEVES FT DTD 01/13/17                          CLASS 3            33,000.00          128.33                 0.00                32,871.67
REGNER                PROV. TR GP-FBO ROBERT P REGNER IRA                 CLASS 3            78,250.00         8,905.65                0.00                69,344.35
REGNER                PROV. TR GP-FBO ROBERT P REGNER IRA                 CLASS 5           794,862.00       90,463.44                 0.00               704,398.56
REGNER                ROBERT P REGNER                                     CLASS 3           300,000.00       26,216.64                 0.00               273,783.36
REGNER                ROBERT P REGNER                                     CLASS 5           100,000.00         8,738.88                0.00                91,261.12
REHM                  ROBERT S & DOROTHY K REHM                           CLASS 5            50,000.00       10,305.63                 0.00                39,694.37
REICH                 BEVERLY REICH                                       CLASS 3            25,000.00         2,789.65                0.00                22,210.35
REICH                 FRANCES REICH                                       CLASS 3            25,000.00          344.45                 0.00                24,655.55
REICHWALD-HIRANAN.    REICHWALD-HIRANANDANI LT                            CLASS 3            50,000.00         2,166.64                0.00                47,833.36
REID                  DR JOHN R & BARBARA REID                            CLASS 3            50,000.00       10,726.32                 0.00                39,273.68

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
REID                  DR JOHN R & BARBARA REID                            CLASS 5            50,000.00       10,726.32               0.00                39,273.68
REID                  RICHARD H REID                                      CLASS 5          100,000.00        37,798.22               0.00                62,201.78
REID                  TMICO-FBO RICHARD H REID TRAD IRA                   CLASS 5           100,000.00       29,930.03               0.00                70,069.97
REID                  TMICO-FBO SHERRY A REID IRA                         CLASS 5            88,250.00       25,862.27               0.00                62,387.73
REIDHEAD              IRA SVCS TR CO-CFBO GLEN ALLEN REIDHEAD             CLASS 3            62,500.00          631.94               0.00                61,868.06
REIFFER               PROV. TR GP-FBO MONICA T REIFFER IRA                CLASS 3            53,000.00         4,320.10              0.00                48,679.90
REILY                 JONATHAN D REILY                                    CLASS 5          150,000.00        19,166.67               0.00               130,833.33
REIMER                ERVIN C REIMER                                      CLASS 3            50,000.00         2,743.45              0.00                47,256.55
REIMER                VELMA D REIMER                                      CLASS 3          100,000.00          3,836.38              0.00                96,163.62
REINER                PROV. TR GP-FBO DOUG REINER IRA                     CLASS 3            80,000.00         9,641.96         625.50                   69,732.54
REINHARDT             IRA SVCS TR CO-CFBO MELVIN REINHARDT IRA            CLASS 3            25,000.00         3,484.95              0.00                21,515.05
REINHARDT             IRA SVCS TR CO-CFBO MELVIN REINHARDT IRA            CLASS 5            53,000.00         7,388.09              0.00                45,611.91
REIS                  MAINSTAR-FBO FRANKLIN D REIS TW004094               CLASS 3            50,000.00          808.33               0.00                49,191.67
REISIG                MONA REISIG                                         CLASS 3            65,000.00          974.99               0.00                64,025.01
REITTER               GEORGE REITTER                                      CLASS 3            60,000.00          325.00               0.00                59,675.00
REITTER               SILVIA REITTER                                      CLASS 3          100,000.00           638.89               0.00                99,361.11
REITZEL               JACK D & PATRICIA T REITZEL                         CLASS 3            25,000.00         2,743.14              0.00                22,256.86
REKART                IRA SVCS TR CO-CFBO THEODORE REKART IRA             CLASS 3           100,000.00         9,083.27              0.00                90,916.73
REMIS                 LAURENCE REMIS                                      CLASS 3            25,000.00        2,644.38               0.00                22,355.62
REMSING               THE VERA REMSING RT                                 CLASS 3          150,000.00        26,425.00        15,012.02                 108,562.98
RENO                  GEORGE & ELIZABETH P RENO                           CLASS 3          100,000.00          6,343.13              0.00                93,656.87
RENSHAW               PROV. TR GP-FBO ANTONETTE RENSHAW IRA               CLASS 3           295,000.00       59,588.44               0.00               235,411.56
RENSHAW               PROV. TR GP-FBO ANTONETTE RENSHAW IRA               CLASS 5           100,000.00       20,199.47               0.00                79,800.53
RENSHAW               PROV. TR GP-FBO JUDITH RENSHAW IRA                  CLASS 3           100,000.00       14,137.50               0.00                85,862.50
RENTERIA              ADELA RENTERIA                                     CLASS 3*            25,000.00          208.34               0.00                24,791.66
REPASKY               PROV. TR GP-FBO WILLIAM P REPASKY IRA               CLASS 3            50,000.00         3,103.68              0.00                46,896.32
REPASKY               PROV. TR GP-FBO WILLIAM REPASKY IRA                 CLASS 5          100,000.00        10,388.89               0.00                89,611.11
REPASKY               WILLIAM P REPASKY                                   CLASS 3            75,000.00        5,443.77               0.00                69,556.23
REQUEJO               ADOLFO & XIOMARA REQUEJO                            CLASS 3          400,000.00        19,800.02               0.00               380,199.98

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
REQUEJO               PROV. TR GP-FBO ADOLFO REQUEJO IRA                  CLASS 5           120,000.00         4,916.67                0.00               115,083.33
REQUEJO               PROV. TR GP-FBO XIOMARA REQUEJO IRA                 CLASS 5           120,000.00         5,916.67                0.00               114,083.33
RESNICK               SHARON G RESNICK                                    CLASS 3            50,000.00         3,847.16                0.00                46,152.84
RESSEGUIE             ROBERT RESSEGUIE                                    CLASS 5            50,000.00       10,166.75                 0.00                39,833.25
REUBER                JAMES L REUBER                                      CLASS 3            50,000.00         3,000.00                0.00                47,000.00
REUNING               DANIEL & BARBARA REUNING                            CLASS 3            58,000.00         3,496.08                0.00                54,503.92
REVILL                HARRY REVILL SURV SP TR AMND 2009                   CLASS 3           501,000.00       47,928.40                 0.00               453,071.60
REVILL                TR OF JANNEKE & HARRY REVILL RLT 11/22/97           CLASS 3           200,000.00       17,927.82                 0.00               182,072.18
REYNOLDS              CURTIS REYNOLDS                                     CLASS 3           100,000.00         7,107.68                0.00                92,892.32
REYNOLDS              DEBORAH REYNOLDS                                    CLASS 3            25,000.00         1,715.25                0.00                23,284.75
REYNOLDS              DON C REYNOLDS                                      CLASS 3            21,433.29              44.65              0.00                21,388.64
REYNOLDS              MAINSTAR-FBO BARBARA REYNOLDS                       CLASS 3            26,000.00         1,956.50                0.00                24,043.50
REYNOLDS              MAINSTAR-FBO DON REYNOLDS T2178318                  CLASS 3            21,888.00              39.52              0.00                21,848.48
REYNOLDS              PHYLLIS J REYNOLDS                                  CLASS 3           100,000.00         2,725.00                0.00                97,275.00
REYNOLDS              PROV. TR GP-FBO EVELYN REYNOLDS IRA                 CLASS 3            26,250.00         2,391.67                0.00                23,858.33
REYNOLDS              REBECCA B REYNOLDS                                  CLASS 3           400,000.00         8,288.19                0.00               391,711.81
REYNOLDS              ROBERT & JACQUELINE REYNOLDS RLT 06/05/03           CLASS 3            30,000.00         2,615.82                0.00                27,384.18
RHOADES               DANIEL & CASSANDRA RHOADES                          CLASS 3            80,000.00         8,213.39                0.00                71,786.61
RHODA                 DONALD C & MICHAEL J RHODA                          CLASS 3            75,000.00       12,558.35           1,000.00                  61,441.65
RHODEN                REBEKAH N RHODEN                                    CLASS 3            60,000.00         6,893.00                0.00                53,107.00
RHODES                DR MICHAEL RHODES                                   CLASS 3          120,000.00        30,683.25                 0.00                89,316.75
RHODES                THE NANCY A RHODES LT DTD 01/29/15                  CLASS 3           100,000.00         7,736.17                0.00                92,263.83
RIBBECK/SLUYTERS      NOLA RIBBECK & ELIZABETH A SLUYTERS                 CLASS 3            25,000.00         1,149.62                0.00                23,850.38
RICCINTO              DOREEN RICCINTO                                     CLASS 3            48,000.00        4,598.00                 0.00                43,402.00
RICCINTO              MAINSTAR-FBO DOREEN RICCINTO T2174785               CLASS 3           733,000.00       73,580.04                 0.00               659,419.96
RICCINTO              MAINSTAR-FBO DOREEN RICCINTO T2174785               CLASS 5          100,000.00        10,038.21                 0.00                89,961.79
RICE                  BONNIE & TRACY RICE                                 CLASS 3            40,000.00          600.00                 0.00                39,400.00
RICE                  JAMES R RICE                                        CLASS 3          150,000.00        12,175.00                 0.00               137,825.00
RICE                  MAINSTAR-FBO CLIFFORD A RICE                        CLASS 3            99,950.00        5,989.04                 0.00                93,960.96

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
RICE                  SALLIE R RICE                                       CLASS 3          700,000.00        53,733.34                0.00               646,266.66
RICH                  DAVID & YONG-OK RICH                                CLASS 3          177,500.00        13,070.42                0.00               164,429.58
RICH                  HORIZON TR CO-FBO DAVID RICH SEP IRA                CLASS 3            74,400.00         1,525.20               0.00                72,874.80
RICHARD               TIMOTHY LEE & DIANNE B RICHARD                      CLASS 3           100,000.00       15,616.67          1,000.00                  83,383.33
RICHARDS              THOMAS M & KATHLEEN V RICHARDS                      CLASS 3            50,000.00         2,570.84               0.00                47,429.16
RICHARDSON COMPANY THE RICHARDSON COMPANY                                 CLASS 3           300,000.00              0.00              0.00               300,000.00
RICHINS               ROGER RICHINS FT                                    CLASS 3            25,000.00          586.82                0.00                24,413.18
RICHTER               IRA SVCS TR CO-CFBO DENISE A RICHTER IRA            CLASS 3            25,000.00         1,711.14               0.00                23,288.86
RICHTER               IRA SVCS TR CO-CFBO PETER RICHTER IRA               CLASS 3            25,000.00         1,572.92               0.00                23,427.08
RICHTER               PROV. TR GP-FBO THOMAS RICHTER IRA                  CLASS 3           109,000.00         5,970.38               0.00               103,029.62
RICHTER               RON RICHTER                                         CLASS 3            80,000.00         9,169.20               0.00                70,830.80
RICHTIGER             ISAAC RICHTIGER                                     CLASS 3          100,000.00          5,327.75               0.00                94,672.25
RICHTIGER             MAINSTAR-FBO ISAAC RICHTIGER T2176237               CLASS 3           149,954.00         8,769.31               0.00               141,184.69
RIDGWAY               WALTER RIDGWAY                                      CLASS 3          100,000.00          3,733.33               0.00                96,266.67
RIEGELSBERGER         MAINSTAR-FBO KEITH A RIEGELSBERGER                  CLASS 3            25,000.00         1,145.83               0.00                23,854.17
RIETMANN              MAINSTAR-FBO THOMAS RIETMANN                        CLASS 3           150,000.00       10,062.50                0.00               139,937.50
RIFFLE                JIM & SHIRLEY RIFFLE                                CLASS 3            37,000.00          411.12                0.00                36,588.88
RIGHETTI              AUBREY RIGHETTI                                     CLASS 3            25,000.00         1,829.17               0.00                23,170.83
RIKER                 THE THOMAS G & HELEN M RIKER FT                     CLASS 3            50,000.00         2,483.33               0.00                47,516.67
RILEY                 JOHN M & JOAN ANN RILEY RT DTD 11/07/94             CLASS 3            75,000.00         1,870.28               0.00                73,129.72
RILEY                 MAINSTAR-FBO JOHN RILEY TW003976                    CLASS 3            78,000.00         1,922.38               0.00                76,077.62
RILEY                 MAINSTAR-FBO MARTIN RILEY T2177343                  CLASS 3            82,500.00         1,780.63               0.00                80,719.37
RILEY                 PROV. TR GP-FBO CATHERINE M RILEY IRA               CLASS 3           120,000.00       10,940.81                0.00               109,059.19
RIMMINGTON            IRA SVCS TR CO-CFBO PATRICIA RIMMINGTON             CLASS 3            15,000.00         1,898.25               0.00                13,101.75
RIMMINGTON            IRA SVCS TR CO-CFBO SIDNEY T RIMMINGTON             CLASS 3            60,000.00         7,593.00               0.00                52,407.00
RIMSHAW               IRA SVCS TR CO-CFBO LINDA RIMSHAW IRA               CLASS 3            50,000.00       21,334.90                0.00                28,665.10
RINCHKO               CHARLES RINCHKO                                     CLASS 3           200,000.00              0.00              0.00               200,000.00
RING                  ALVIN RING                                          CLASS 3            50,000.00         2,211.78               0.00                47,788.22
RINGSDORF             GARY G RINGSDORF                                    CLASS 3           100,000.00         5,488.92               0.00                94,511.08

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
RINKER                DAVID & JANICE RINKER                               CLASS 3            75,000.00              0.00              0.00                75,000.00
RIOUX/LAMEW           JANINE RIOUX & REX LAMEW                            CLASS 3            50,000.00         1,430.54               0.00                48,569.46
RIPP                  DEAN E & DEBRA S RIPP                               CLASS 3          150,000.00        19,255.45                0.00               130,744.55
RISPOLI               ELIZABETH & VINCENT RISPOLI                         CLASS 3            90,000.00       14,506.98                0.00                75,493.02
RISSER                MAINSTAR-FBO DAVID RISSER TW003097                  CLASS 3          180,000.00          8,576.62               0.00               171,423.38
RISSER                MAINSTAR-FBO LYNNE RISSER T2177438                  CLASS 3          228,000.00          8,056.00               0.00               219,944.00
RITA                  MICHAEL & CHERYL RITA                               CLASS 3            26,000.00         1,285.52               0.00                24,714.48
RITCHEY               SHERYL L & EDWARD D RITCHEY                         CLASS 3            50,000.00       13,508.32                0.00                36,491.68
RITCHEY               SHERYL L & EDWARD D RITCHEY                         CLASS 5            50,000.00       13,508.32                0.00                36,491.68
RITCHIE-HALLADA       CONNIE RITCHIE-HALLADA                              CLASS 3           100,000.00       12,488.95                0.00                87,511.05
RITTENHOUSE           MAINSTAR-FBO RICK A RITTENHOUSE T2176997            CLASS 3           507,889.97       23,188.58                0.00               484,701.39
RITTER                KURT W & ELFRIEDE M RITTER                          CLASS 3            55,000.00         4,017.18               0.00                50,982.82
RIVENBURG             PROV. TR GP-FBO JAMES W RIVENBURG IRA               CLASS 3            38,600.00          533.97                0.00                38,066.03
RIVERA-BAEZ           MAINSTAR-FBO W RIVERA-BAEZ T2177731                 CLASS 3            71,000.00         1,029.50               0.00                69,970.50
RIVERO                MAINSTAR-FBO GEORGE G RIVERO T2174523               CLASS 3           185,000.00       18,701.69                0.00               166,298.31
RIVES-WOLTOMATH       DONNA S RIVES-WOLTOMATH                             CLASS 5           100,000.00         9,316.62               0.00                90,683.38
RIZER                 RONALD L RIZER                                      CLASS 3            90,000.00        4,696.25                0.00                85,303.75
RIZZO                 MAINSTAR-FBO JACK S RIZZO                           CLASS 3          300,000.00        47,493.04                0.00               252,506.96
RMM INVESTMENT        RMM INVESTMENT TR SOLO 401K                         CLASS 3           200,000.00         5,033.33               0.00               194,966.67
ROACH                 MARY T ROACH SURVIVORS TR UTD 11/21/05              CLASS 3          100,000.00          6,008.30               0.00                93,991.70
ROACH                 MICHAEL S ROACH TTEE MICHAEL SHANE TR               CLASS 3            50,000.00         5,050.00               0.00                44,950.00
ROACH                 PROV. TR GP-FBO MARY T ROACH IRA                    CLASS 3           198,000.00       19,599.25                0.00               178,400.75
ROBB                  JAMES D ROBB                                        CLASS 3            50,000.00        1,380.57                0.00                48,619.43
ROBB                  KIM R ROBB                                          CLASS 3            50,000.00        6,344.44          1,000.00                  42,655.56
ROBB                  PROV. TR GP-FBO KIM R ROBB IRA                      CLASS 3            25,000.00         1,166.67               0.00                23,833.33
ROBBE                 ROBERT ROBBE                                        CLASS 3            75,000.00         6,445.06               0.00                68,554.94
ROBBINS               MAINSTAR-FBO GLADE J ROBBINS                        CLASS 3          176,600.00        21,780.65                0.00               154,819.35
ROBBINS               RICHARD S & MARIAN P ROBBINS                        CLASS 3          100,000.00         1,336.12                0.00                98,663.88
ROBERSON              PROV. TR GP-FBO JOHN L ROBERSON IRA                 CLASS 3           125,000.00       19,652.63                0.00               105,347.37

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
ROBERTS               ARTHUR W ROBERTS JR EXEMPT TR 11/05/97             CLASS 3           250,000.00       43,250.18               0.00               206,749.82
ROBERTS               ARTHUR W ROBERTS JR LT 11/14/03                    CLASS 3          125,000.00        18,958.37               0.00               106,041.63
ROBERTS               CHERYL ROBERTS                                     CLASS 3            50,000.00          381.94               0.00                49,618.06
ROBERTS               PROV. TR GP-FBO DONNA M ROBERTS IRA                CLASS 3           407,000.00       32,831.75               0.00               374,168.25
ROBERTS               THE ROBERTS RLT                                    CLASS 3            40,000.00          888.90               0.00                39,111.10
ROBERTS               TMICO-FBO JOHN V ROBERTS TR IRA                    CLASS 5           144,000.00       60,880.00               0.00                83,120.00
ROBERTS & COMPANY     ROBERTS & COMPANY INC 401K PLAN                    CLASS 5           250,000.00       35,944.43               0.00               214,055.57
ROBERTSON             HARRY N ROBERTSON JR                               CLASS 3            50,000.00         1,229.84              0.00                48,770.16
ROBERTSON             PROV. TR GP-FBO CONRAD ROBERTSON IRA               CLASS 5           421,680.00      108,934.00               0.00               312,746.00
ROBERTSON             PROV. TR GP-FBO KIMBERLY ROBERTSON IRA             CLASS 5           159,500.00       30,605.30               0.00               128,894.70
ROBERTSON             PROV. TR GP-FBO VIVIAN L ROBERTSON IRA             CLASS 3          148,950.00         9,019.75               0.00               139,930.25
ROBERTSON             ROBERTSON FT DTD 12/23/92                          CLASS 5            50,000.00       15,883.35               0.00                34,116.65
ROBEY                 HORIZON TR CO-FBO DAVID ROBEY JR TRAD IRA          CLASS 3           105,000.00         1,596.66        1,000.00                 102,403.34
ROBINSON              ADV. IRA SVC-FBO ANGELA ROBINSON IRA               CLASS 3            95,000.00         7,981.25              0.00                87,018.75
ROBINSON              DAVID S ROBINSON                                   CLASS 3            50,000.00        5,201.35               0.00                44,798.65
ROBINSON              IRA SVCS TR CO-CFBO GUILFORD A ROBINSON            CLASS 5           100,000.00         5,536.16              0.00                94,463.84
ROBINSON              JAY WILFRED & SUSAN H ROBINSON                     CLASS 3            50,000.00       11,116.67               0.00                38,883.33
ROBINSON              MAINSTAR-FBO RAMONA ROBINSON T2177643              CLASS 3            60,000.00        1,075.00               0.00                58,925.00
ROBINSON              PROV. TR GP-FBO BRUCE A ROBINSON IRA               CLASS 3            50,000.00         4,481.94              0.00                45,518.06
ROBINSON              PROV. TR GP-FBO SANDRA R ROBINSON IRA              CLASS 3            90,547.00       19,104.73               0.00                71,442.27
ROBISON               SHIRLEY L ROBISON IRREV TR                         CLASS 3            50,000.00         4,005.60              0.00                45,994.40
ROCKS                 MICHAEL ROCKS                                      CLASS 3            70,000.00        7,775.86               0.00                62,224.14
ROCKWELL              PROV. TR GP-FBO KIRBY ROCKWELL IRA                 CLASS 3            46,118.04         1,898.53              0.00                44,219.51
RODRIGUEZ             BENJAMIN JR & FRANCESCA M RODRIGUEZ                CLASS 5           100,000.00         3,763.89              0.00                96,236.11
RODRIGUEZ             DANIEL E RODRIGUEZ                                 CLASS 3            50,000.00          505.56               0.00                49,494.44
RODRIGUEZ             DIANE RODRIGUEZ                                    CLASS 3            50,000.00          340.28               0.00                49,659.72
RODRIGUEZ             JOHN RODRIGUEZ                                     CLASS 3            50,000.00          340.28               0.00                49,659.72
RODRIGUEZ             MAINSTAR-FBO GILBERT RODRIGUEZ T2175925            CLASS 3            94,600.00         7,087.12              0.00                87,512.88
RODRIGUEZ             RODRIGO S & FLORA M RODRIGUEZ                      CLASS 5           300,000.00       99,069.19               0.00               200,930.81

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]               [3]          [1] minus [2] minus [3]
ROE                   MAINSTAR-FBO TODD C ROE T2177088                   CLASS 3            35,000.00         1,256.30               0.00                33,743.70
ROEKLE                ALAN J ROEKLE                                      CLASS 3          120,000.00          1,050.00               0.00               118,950.00
ROESSNER              DEBRA R ROESSNER                                   CLASS 3           300,000.00       13,781.29                0.00               286,218.71
ROESSNER              JEFF D ROESSNER                                    CLASS 3          350,000.00        35,133.76                0.00               314,866.24
ROETHLE               GERALD J ROETHLE JR                                CLASS 3           150,000.00         8,754.19               0.00               141,245.81
ROETHLE               PROV. TR GP-FBO GERALD J ROETHLE JR IRA            CLASS 3            48,000.00        1,742.45                0.00                46,257.55
ROETHLE               PROV. TR GP-FBO GERALD J ROETHLE JR IRA            CLASS 5          200,000.00         7,260.22                0.00               192,739.78
ROETHLE               PROV. TR GP-FBO SUZANNE ROETHLE ROTH IRA           CLASS 3            23,000.00         1,159.58               0.00                21,840.42
ROETTGER/HENRY        MARJORIE L ROETTGER & CAROL L HENRY                CLASS 3            25,000.00        1,283.33                0.00                23,716.67
ROGERS                CHRISTOPHER ROGERS                                 CLASS 5            50,000.00         6,086.68               0.00                43,913.32
ROGERS                DAVID & JUDY ROGERS                                CLASS 3            25,000.00         2,261.05               0.00                22,738.95
ROGERS                GAYLE G ROGERS                                     CLASS 3          165,000.00        15,200.63                0.00               149,799.37
ROGERS                GEORGE R & LYNDA L ROGERS                          CLASS 3           100,000.00          305.56                0.00                99,694.44
ROGERS                MICAELA ROGERS                                     CLASS 3          200,000.00        31,866.71                0.00               168,133.29
ROGERS                MICAELA ROGERS                                     CLASS 5          200,000.00        31,866.71                0.00               168,133.29
ROGERS                PROV. TR GP-FBO CYNTHIA M ROGERS IRA               CLASS 3           200,000.00       30,569.44                0.00               169,430.56
ROGERS                PROV. TR GP-FBO GAYLE G ROGERS IRA                 CLASS 5            99,000.00       20,075.00                0.00                78,925.00
ROGERS                RONDA L ROGERS                                     CLASS 3            25,000.00              0.00              0.00                25,000.00
ROGERS                WILLIAM M & ROBIN P ROGERS                         CLASS 3          100,000.00          6,879.21               0.00                93,120.79
ROGGENKAMP            JOYCE ROGGENKAMP                                   CLASS 3            50,000.00         2,761.14               0.00                47,238.86
ROGOSHESKE            MAINSTAR-FBO STEVEN ROGOSHESKE                     CLASS 3            60,000.00         2,780.00               0.00                57,220.00
ROGUSKY               ALLEN L & SUSAN E ROGUSKY                          CLASS 3            80,000.00          346.67                0.00                79,653.33
ROHRER                MAINSTAR-FBO THOMAS ROHRER T2176641                CLASS 3            92,000.00         4,060.78               0.00                87,939.22
ROHRER                RON & DONNA ROHRER                                 CLASS 3           200,000.00         9,441.70               0.00               190,558.30
ROJO                  ANGELINA ROJO                                      CLASS 3            84,300.00       10,636.31                0.00                73,663.69
ROJO                  PROV. TR GP-FBO ANGELINA ROJO IRA                  CLASS 3            15,850.00         2,091.98               0.00                13,758.02
ROLLERSON             MARY D & WALTER E ROLLERSON                        CLASS 3           250,000.00         3,621.79               0.00               246,378.21
ROLLINS               PHILLIP II & SHARON ROLLINS                        CLASS 3          232,000.00        30,887.34                0.00               201,112.66
ROMAIN                GERARD ROMAIN MD IRREV TR                          CLASS 5          500,000.00        74,152.83                0.00               425,847.17

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
ROMANICK              MAINSTAR-FBO PAUL ROMANICK T2176744                CLASS 3            50,000.00         2,040.27              0.00                47,959.73
ROMANICK              MAINSTAR-FBO RITA ROMANICK T2176745                CLASS 3            25,000.00         1,020.14              0.00                23,979.86
ROMANO                GINA E ROMANO                                      CLASS 3          100,000.00          1,450.00              0.00                98,550.00
ROMERO                MAINSTAR-FBO VIRGINIA ROMERO T2175739              CLASS 3          100,000.00          3,216.67              0.00                96,783.33
ROMERO                ROBERT & HALLIE ROMERO                             CLASS 3           132,143.00         3,371.50              0.00               128,771.50
ROMINGER              KENT & MARY SUE ROMINGER                           CLASS 3           200,000.00         4,627.79              0.00               195,372.21
ROMINGER              KENT ROMINGER                                      CLASS 3          200,000.00        15,738.94               0.00               184,261.06
ROMINGER              PROV. TR GP-FBO KENT ROMINGER IRA                  CLASS 3           398,000.00       27,240.89               0.00               370,759.11
RONDEAU               J HAWKEYE RONDEAU                                  CLASS 3            25,000.00         1,306.21              0.00                23,693.79
ROOD                  ROBERT L ROOD                                      CLASS 3            47,000.00         3,869.67              0.00                43,130.33
ROON                  SUZANNE ROON                                       CLASS 3            33,000.00         4,350.00              0.00                28,650.00
ROONEY                WILLIAM ROONEY                                     CLASS 3            25,000.00         1,497.19              0.00                23,502.81
ROOSE                 PROV. TR GP-FBO SHIRLEY ROOSE IRA                  CLASS 3           103,000.00       22,351.84               0.00                80,648.16
ROSBOROUGH            LINDA S & JAMES M ROSBOROUGH                       CLASS 3            50,000.00         9,541.59              0.00                40,458.41
ROSCOE-GUSTAFSON      ELDA JUNE ROSCOE-GUSTAFSON                         CLASS 3            25,000.00          371.54               0.00                24,628.46
ROSE                  FERNANDE ROSE                                      CLASS 3            25,000.00         3,242.46              0.00                21,757.54
ROSE                  THOMAS A ROSE                                      CLASS 3          200,000.00        26,724.91               0.00               173,275.09
ROSEN                 EDITH & SAM ROSEN                                  CLASS 3            40,000.00       12,416.10               0.00                27,583.90
ROSENBERG             RICHARD & DOLORES ROSENBERG RLT 08/29/16           CLASS 3            50,000.00         7,585.37              0.00                42,414.63
ROSENBLATT            ANNA ROSENBLATT                                    CLASS 3           110,500.00         6,164.17              0.00               104,335.83
ROSENBLATT            ANNA ROSENBLATT RLT                                CLASS 3           115,000.00         9,541.00              0.00               105,459.00
ROSENBLATT            RONALD K ROSENBLATT                                CLASS 5           100,000.00       38,549.92               0.00                61,450.08
ROSENTHAL             LEWIS ROSENTHAL                                    CLASS 5           202,000.00       18,723.51               0.00               183,276.49
ROSER                 JOHN & KRISTINA ROSER                              CLASS 3           100,000.00         3,249.33              0.00                96,750.67
ROSETTA               JIM E & SUSAN L ROSETTA                            CLASS 3            25,000.00          781.27               0.00                24,218.73
ROSEWOOD CAPITAL      ROSEWOOD CAPITAL INVESTMENTS INC                   CLASS 3         2,726,777.81       49,456.31               0.00             2,677,321.50
ROSEWOOD CAPITAL      ROSEWOOD CAPITAL INVESTMENTS INC                  CLASS 3*           711,500.00       21,345.00               0.00               690,155.00
ROSIKIEWICZ           JOSEPHINE ROSIKIEWICZ                              CLASS 3           125,000.00       17,028.16               0.00               107,971.84
ROSIKIEWICZ           JOSEPHINE ROSIKIEWICZ                              CLASS 5            60,000.00         8,173.51              0.00                51,826.49

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
ROSIKIEWICZ           JOSEPHINE ROSIKIEWICZ RT DTD 09/01/16             CLASS 5            63,000.00         6,349.98              0.00                56,650.02
ROSS                  IRA SVCS TR CO-CFBO RONALD K ROSS IRA             CLASS 3            30,000.00         1,508.33              0.00                28,491.67
ROSS                  PROV. TR GP-FBO N EDWARD ROSS IRA                 CLASS 3            70,000.00         9,730.00              0.00                60,270.00
ROSS                  PROV. TR GP-FBO ROBERT S ROSS IRA                 CLASS 3            30,535.00         1,598.85              0.00                28,936.15
ROSS                  ROSS RT                                           CLASS 3          116,350.00         3,829.86               0.00               112,520.14
ROSSOW                PROV. TR GP-FBO DOYLE L ROSSOW IRA                CLASS 3            50,000.00       12,383.17               0.00                37,616.83
ROSTANT               DEREK MALCOLM ROSTANT                             CLASS 3            50,000.00          505.56               0.00                49,494.44
ROSTANT               KENNETH J ROSTANT                                 CLASS 3            50,000.00          476.39               0.00                49,523.61
ROTH                  ARNOLD ROTH                                       CLASS 3            25,000.00         1,203.09              0.00                23,796.91
ROTH                  HORIZON TR CO-FBO WILLIAM B ROTH IRA              CLASS 3            48,482.54          197.97               0.00                48,284.57
ROTH                  SUNWEST TR CHERYL D ROTH IRA                      CLASS 5            26,421.98         4,137.83              0.00                22,284.15
ROTH                  SUNWEST TR RANDAL L ROTH IRA                      CLASS 5            81,969.67       12,375.00               0.00                69,594.67
ROTH                  WILLIAM B & JOAN M ROTH                           CLASS 3            60,000.00         6,550.00              0.00                53,450.00
ROTHENGASS            PAUL J ROTHENGASS JR                              CLASS 5           130,000.00       16,827.73               0.00               113,172.27
ROTHWELL              DANNY B ROTHWELL                                  CLASS 3            50,000.00         3,593.75              0.00                46,406.25
ROTTENSTEIN           AARON ROTTENSTEIN                                 CLASS 5           100,000.00         3,627.77              0.00                96,372.23
ROULAND               THE ROULAND FLRT DTD 03/20/15                     CLASS 3           100,000.00         5,897.92              0.00                94,102.08
ROUND                 PROV. TR GP-FBO JANE C ROUND IRA                  CLASS 3           231,000.00       22,327.58               0.00               208,672.42
ROUND                 PROV. TR GP-FBO RICK J ROUND IRA                  CLASS 3           240,000.00       15,880.00               0.00               224,120.00
ROUNDS                THE GORDON E & PHYLLIS B ROUNDS RLT               CLASS 3            25,000.00          414.33               0.00                24,585.67
ROUSE                 JIM ROUSE                                         CLASS 5            50,000.00         2,600.06              0.00                47,399.94
ROUTZAHN              JUDITH A ROUTZAHN                                 CLASS 3            75,000.00         3,062.50              0.00                71,937.50
ROVARINO              THE ROVARINO TR DTD 07/24/89                      CLASS 3            25,000.00          425.52               0.00                24,574.48
ROWE                  MARY K ROWE                                       CLASS 3          100,000.00          6,683.30              0.00                93,316.70
ROWE                  PROV. TR GP-FBO AUDREE ROWE IRA                   CLASS 3            49,265.00         1,116.67              0.00                48,148.33
ROWE                  ROBERT E & NORMA J ROWE                           CLASS 3         2,000,000.00      132,944.47         1,000.00               1,866,055.53
ROWE                  ROBERT M & LEANN M ROWE                           CLASS 3           500,000.00       40,750.00               0.00               459,250.00
ROY                   GERALD ROY                                        CLASS 3          420,000.00        40,266.05               0.00               379,733.95
RUBACHA               MAINSTAR-FBO NATALIE RUBACHA                      CLASS 3            25,000.00          973.96               0.00                24,026.04

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
RUBECK                HILDA RUBECK                                      CLASS 3            30,000.00          268.33               0.00                29,731.67
RUBECKS               HILDA RUBECKS SUPPLEMENTAL NEEDS TR               CLASS 3            50,000.00          291.67               0.00                49,708.33
RUBEL/VALENTINO       SOPHIA RUBEL & LINDA VALENTINO                    CLASS 3            50,000.00         3,059.38              0.00                46,940.62
RUBENSTEIN            BARBARA A & TODD RUBENSTEIN                       CLASS 3            25,000.00         1,125.04              0.00                23,874.96
RUBENSTEIN            VALERIE RUBENSTEIN                                CLASS 3            30,000.00          595.83               0.00                29,404.17
RUBIN                 FRAN & MARK RUBIN                                 CLASS 3            30,000.00       13,008.34               0.00                16,991.66
RUBIN                 HOWARD D & CINDY M RUBIN                          CLASS 3            30,000.00          365.00               0.00                29,635.00
RUBIN                 HOWARD RUBIN                                      CLASS 3          140,000.00        24,044.67               0.00               115,955.33
RUBY                  DIANE RUBY                                        CLASS 3            30,000.00          129.17               0.00                29,870.83
RUDGE                 SONIA RUDGE RT DTD 12/15/09                       CLASS 3           350,000.00       53,009.49               0.00               296,990.51
RUDOWSKI              RONALD S RUDOWSKI                                 CLASS 3            25,000.00          913.22               0.00                24,086.78
RUECKERT              HAROLD M RUECKERT                                 CLASS 3            25,000.00         1,394.83              0.00                23,605.17
RUELOS                NELLIE T RUELOS                                   CLASS 3            33,000.00         1,732.50              0.00                31,267.50
RUELOS                PROV. TR GP-FBO NELLIE T RUELOS IRA               CLASS 3            53,000.00         4,920.22              0.00                48,079.78
RUGGIERO              SYLVIA & RICHARD RUGGIERO                         CLASS 3           170,000.00       28,965.28               0.00               141,034.72
RUHLAND               HORIZON TR CO-FBO KENNETH RUHLAND                 CLASS 3            91,100.00         8,043.90              0.00                83,056.10
RUHLAND               KENNETH RUHLAND                                   CLASS 3            52,000.00         2,414.95              0.00                49,585.05
RUHLMAN               SUSAN L RUHLMAN                                   CLASS 3            50,000.00        6,725.00               0.00                43,275.00
RUIZ                  JUAN B RUIZ                                       CLASS 3            58,500.00          901.88               0.00                57,598.12
RULAND                ANGELA RULAND                                     CLASS 3          100,000.00        20,845.25               0.00                79,154.75
RUMSEY                DOYLE & MARCIA RUMSEY                             CLASS 3            50,000.00         2,590.24              0.00                47,409.76
RUND                  PROV. TR GP-FBO RHONDA RUND IRA                   CLASS 3            28,000.00         1,649.66              0.00                26,350.34
RUND                  PROV. TR GP-FBO ROGER RUND IRA                    CLASS 3            44,750.00        2,666.35               0.00                42,083.65
RUNKLE                JOHN & SUSAN RUNKLE                               CLASS 3          100,000.00        11,598.74               0.00                88,401.26
RUPPEL                PROV. TR GP-FBO WILLIAM J RUPPEL IRA              CLASS 3          100,000.00         6,916.67               0.00                93,083.33
RUPPERT               ROSLYN RUPPERT                                    CLASS 3            50,000.00        1,847.65               0.00                48,152.35
RUSCHE                MYLES DAVID RUSCHE                                CLASS 3            50,000.00        1,651.43               0.00                48,348.57
RUSH                  JARRET RUSH                                       CLASS 5          100,000.00         6,642.34               0.00                93,357.66
RUSHING               ALFRED E & GERALDINE F RUSHING TA                 CLASS 5          250,000.00        70,021.99               0.00               179,978.01

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                              Type           [1]               [2]              [3]          [1] minus [2] minus [3]
RUSHTON               DIANE E RUSHTON                                     CLASS 5          400,000.00       140,027.80               0.00               259,972.20
RUSSELL               EDWIN H & RUTHE J RUSSELL                           CLASS 3            50,000.00         4,183.33              0.00                45,816.67
RUSSELL               PROV. TR GP-FBO ERNEST R RUSSELL IRA                CLASS 3           102,850.00       15,699.68               0.00                87,150.32
RUSSELL               SUSAN RUSSELL                                       CLASS 3            70,000.00         1,728.60              0.00                68,271.40
RUSSELL               THE JEFFREY S RUSSELL TR 4TH A/R 05/03/00           CLASS 3            50,000.00         1,950.00              0.00                48,050.00
RUSSELL               YVETTE RUSSELL LT                                   CLASS 3          200,000.00           461.11               0.00               199,538.89
RUSSI                 PROV. TR GP-FBO JOHN RUSSI IRA                      CLASS 3            75,000.00         3,609.38              0.00                71,390.62
RUSTER                MAINSTAR-FBO DOUGLAS RUSTER T2175975                CLASS 3            46,000.00         2,191.39              0.00                43,808.61
RUTHERFORD            MAINSTAR-FBO MARY D RUTHERFORD T2175745             CLASS 3            42,000.00        3,038.00               0.00                38,962.00
RUTKOWSKI             IRA SVCS TR CO-CFBO THOMAS J RUTKOWSKI              CLASS 5            50,000.00          861.12               0.00                49,138.88
RUTZ                  KENNETH D & BERNICE J RUTZ                          CLASS 5           600,000.00       64,183.34               0.00               535,816.66
RYALS                 THE RYALS FT DTD 02/01/07                           CLASS 3          150,000.00          9,762.51              0.00               140,237.49
RYAN                  DENNIS J & CAROLE S RYAN                            CLASS 3           150,000.00       34,500.61               0.00               115,499.39
RYAN                  DENNIS J & CAROLE S RYAN                            CLASS 5           300,000.00       69,001.21               0.00               230,998.79
RYAN                  JOHN M RYAN JR                                      CLASS 5          200,000.00        61,927.64               0.00               138,072.36
RYAN                  KATHLEEN A RYAN                                     CLASS 3           100,000.00       11,682.08               0.00                88,317.92
RYBAK                 MAINSTAR-FBO ANNA RYBAK                             CLASS 3           113,606.30         7,400.19              0.00               106,206.11
RYE-MYERS             MAINSTAR-FBO MYRA RYE-MYERS TW003963                CLASS 3            37,000.00          911.87               0.00                36,088.13
S BAR Z FARMS         S BAR Z FARMS LLC                                   CLASS 3          100,000.00          6,233.33              0.00                93,766.67
SABAGH                ESSAM SABAGH                                        CLASS 5          250,000.00        42,459.52               0.00               207,540.48
SABINE/PFEIFFER       ROBERT M SABINE & ARNOLD D PFEIFFER                 CLASS 3           101,000.00         6,161.00              0.00                94,839.00
SABOT                 DAVID D & LANA KAY SABOT                            CLASS 3           150,000.00       11,679.18               0.00               138,320.82
SACKER                ALVIN R & DEANNA K SACKER                           CLASS 3            25,000.00         1,665.96              0.00                23,334.04
SAEID                 ALI HEIDARI SAEID                                   CLASS 3          150,000.00          1,537.50              0.00               148,462.50
SAIA                  IRA SVCS TR CO-CFBO CAROLYN J SAIA IRA              CLASS 3            25,000.00         1,151.07              0.00                23,848.93
SAIGER                RICHARD SAIGER                                      CLASS 3            50,000.00         2,534.68              0.00                47,465.32
SAILERS               HORIZON TR CO-FBO KINDRA SUE SAILERS IRA            CLASS 3            47,015.00         1,867.51              0.00                45,147.49
SAINSBURY             LYLE SAINSBURY                                      CLASS 3            75,000.00       31,215.40               0.00                43,784.60
SAINSBURY             PROV. TR GP-FBO LYLE SAINSBURY IRA                  CLASS 3            56,000.00        6,757.33               0.00                49,242.67

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SAINT VINCENT         HORIZON TR CO-FBO VERNE R SAINT VINCENT              CLASS 3            75,000.00        5,516.18                0.00                69,483.82
SAINT VINCENT         THE SAINT VINCENT FT                                 CLASS 3           150,000.00       46,892.25          2,688.38                 100,419.37
SAITO                 YOSHIYUKI SAITO                                      CLASS 3          200,000.00           719.45                0.00               199,280.55
SALADYGA              MAINSTAR-FBO MICHELE D SALADYGA T2177549             CLASS 3            60,000.00         2,106.67               0.00                57,893.33
SALADYGA              MAINSTAR-FBO THOMAS M SALADYGA R2177576              CLASS 3           291,000.00       24,056.36                0.00               266,943.64
SALANGA               IRA SVCS TR CO-CFBO JOSEFINA SALANGA IRA             CLASS 3          100,000.00         9,487.51                0.00                90,512.49
SALBER                RICHARD L & KELLEY R SALBER                          CLASS 3           110,000.00       13,420.00                0.00                96,580.00
SALCIDO               ISIDRO SALCIDO                                       CLASS 3            50,000.00        2,404.17                0.00                47,595.83
SALDONA/KINDLER       BARBARA J SALDONA & WENDY L KINDLER                  CLASS 3            25,000.00         1,119.06               0.00                23,880.94
SALINARO              ANTHONY SALINARO                                     CLASS 3            25,000.00          375.01                0.00                24,624.99
SALINAS               MAGDALENA L & DELARDO G SALINAS                      CLASS 3            65,000.00         2,315.21               0.00                62,684.79
SALSEDO               2000 SALSEDO FT                                      CLASS 3            30,000.00        1,843.75                0.00                28,156.25
SALVESTRINI           PROV. TR GP-FBO THOMAS J SALVESTRINI IRA             CLASS 3            99,510.00         7,830.20               0.00                91,679.80
SALVUCCI              GERALD & CARMELLA C SALVUCCI TR                      CLASS 3           150,000.00       16,516.15                0.00               133,483.85
SAM                   LYNN SAM                                             CLASS 3            30,000.00        2,154.17                0.00                27,845.83
SAMPLE                PROV. TR GP-FBO WILLIAM SAMPLE IRA                   CLASS 5            50,000.00       12,751.89                0.00                37,248.11
SAMUELS               EMILY & MARTIN SAMUELS                               CLASS 3          100,000.00          5,749.60               0.00                94,250.40
SAMUELS               JULIUS J SAMUELS                                     CLASS 3          140,000.00        11,660.48          2,000.00                 126,339.52
SAN DIEGO             MAINSTAR-FBO ANNA L SAN DIEGO T2178327               CLASS 3            77,000.00          419.22                0.00                76,580.78
SAN MIGUEL            OLIVIA G & LUIS G SAN MIGUEL                         CLASS 5          600,000.00        81,333.33                0.00               518,666.67
SAN MIGUEL            PROV. TR GP-FBO LUIS G SAN MIGUEL IRA                CLASS 5           427,950.00       68,466.55                0.00               359,483.45
SAN MIGUEL            PROV. TR GP-FBO SHANNON SAN MIGUEL IRA               CLASS 5           115,583.00       20,387.56                0.00                95,195.44
SANCHEZ               HAIDEE & ADRIAN JAMES M SANCHEZ                      CLASS 3           200,000.00         5,166.67               0.00               194,833.33
SANCHEZ               MARCOS G SANCHEZ                                     CLASS 3            25,000.00              0.00              0.00                25,000.00
SANCHEZ               MARGARITA SANCHEZ                                    CLASS 3            25,000.00         1,458.33               0.00                23,541.67
SANCHEZ               PROV. TR GP-FBO CORRINE SANCHEZ IRA                  CLASS 3           199,295.04         7,656.25               0.00               191,638.79
SANCTUARY HOLDINGS    SANCTUARY HOLDINGS LLC                               CLASS 3            25,000.00         1,166.64               0.00                23,833.36
SANDERS               BOBBY N SANDERS FT                                   CLASS 3           195,000.00         3,128.07               0.00               191,871.93
SANDERS               EDDIE WAYNE SANDERS                                  CLASS 3           100,000.00          333.33                0.00                99,666.67

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SANDERS               GEORGE E SANDERS                                   CLASS 3            80,000.00         2,187.79               0.00                77,812.21
SANDERS               JOHN SANDERS                                       CLASS 3            30,000.00         3,015.00               0.00                26,985.00
SANDERS               MAINSTAR-FBO JEROME SANDERS T2175689               CLASS 3           141,000.00       10,679.58                0.00               130,320.42
SANDERS               MAINSTAR-FBO JOYCE SANDERS                         CLASS 3            21,000.00         1,590.58               0.00                19,409.42
SANDERS               MAINSTAR-FBO RAYMOND SANDERS                       CLASS 3            50,000.00         2,994.45               0.00                47,005.55
SANDERS               PROV. TR GP-FBO JANE A SANDERS ICA                 CLASS 3           114,000.00         5,918.99               0.00               108,081.01
SANDERS               RAYMOND SANDERS                                    CLASS 3           100,000.00         8,336.10               0.00                91,663.90
SANDERSON             JUDITH B SANDERSON                                 CLASS 3          398,000.00               0.00              0.00               398,000.00
SANDGREN              JULIETTE SANDGREN                                  CLASS 3           100,000.00         2,490.26               0.00                97,509.74
SANDHOFF              RONALD & PATRICIA SANDHOFF                         CLASS 3           150,000.00       13,387.96                0.00               136,612.04
SANDQUIST             PROV. TR GP-FBO RUSSELL J SANDQUIST IRA            CLASS 3            67,106.12       10,468.56                0.00                56,637.56
SANDS                 JACK SANDS                                         CLASS 5            50,000.00       15,916.68                0.00                34,083.32
SANDY                 JAMES SANDY                                        CLASS 3          100,000.00          1,250.01               0.00                98,749.99
SANDY                 PROV. TR GP-FBO JAMES E SANDY IRA                  CLASS 3           157,480.28         1,968.50               0.00               155,511.78
SANNER/ROSE           BERNARD F SANNER & SHARON S ROSE                   CLASS 3           200,000.00         1,722.22               0.00               198,277.78
SANTHANAM             VATSA SANTHANAM                                    CLASS 3           500,000.00       30,833.33                0.00               469,166.67
SANTIAGO              REMIGIO & JANET SANTIAGO                           CLASS 3            25,000.00         1,180.18               0.00                23,819.82
SANTON                MAINSTAR-FBO LAUREN SANTON BT176994                CLASS 3            30,000.00         1,035.00               0.00                28,965.00
SANTOS                MAINSTAR-FBO ROBERTA B SANTOS TW003461             CLASS 3           285,000.00       22,388.33                0.00               262,611.67
SAPONE                THE SAPONE RT DTD 02/23/10                         CLASS 3          100,000.00        12,656.17                0.00                87,343.83
SARICA                PROV. TR GP-FBO EILEEN M SARICA IRA                CLASS 3            28,576.59         5,009.74               0.00                23,566.85
SARNOV                JOSEF & ALLA SARNOV                                CLASS 3            50,000.00         3,000.66               0.00                46,999.34
SARNOV                SARRA & YAKOV SARNOV                               CLASS 3            75,000.00         6,431.67         1,000.00                  67,568.33
SASSER                ABE & PAULETTE SASSER                              CLASS 5          100,000.00        18,555.48                0.00                81,444.52
SASSER                ABE SASSER                                         CLASS 5            50,000.00        8,511.80                0.00                41,488.20
SASSER                SASSER TESTAMENTARY TR FOR KENDYL CATHERS         CLASS 3*            27,000.00         1,953.00               0.00                25,047.00
SASSER                SASSER TESTAMENTARY TR FOR SABLE SASSER            CLASS 3            25,000.00        1,808.29                0.00                23,191.71
SASSER                SASSER TS TR FOR VALERIE CATHERS 11/02/15          CLASS 3           130,000.00       13,832.71                0.00               116,167.29
SATTERFIELD           JESSICA SATTERFIELD                                CLASS 5            70,000.00       13,630.48                0.00                56,369.52

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SATTERFIELD           MARCIA P SATTERFIELD                               CLASS 3          100,000.00        21,496.51                0.00                78,503.49
SATTLER               KENNETH & EMMA SATTLER                             CLASS 3          100,000.00          3,316.67               0.00                96,683.33
SAUNDERS              ROBERT T SAUNDERS                                  CLASS 3           153,000.00       19,074.37                0.00               133,925.63
SAUTBINE              PROV. TR GP-FBO GARY L SAUTBINE IRA                CLASS 3           209,250.00       19,913.63                0.00               189,336.37
SAUVE                 BRADLEY S SAUVE                                    CLASS 3            50,000.00         7,800.00               0.00                42,200.00
SAVAGE                MAINSTAR-FBO DAWN SAVAGE TW003747                  CLASS 3            81,316.68         4,899.33               0.00                76,417.35
SAVAGE                PROV. TR GP-FBO BRENT SAVAGE IRA                   CLASS 3            45,000.00         1,222.50               0.00                43,777.50
SAVIO                 MAINSTAR-FBO CAROL SAVIO                           CLASS 3            48,000.00         2,608.67               0.00                45,391.33
SAVOIE                WILLIAM T & JANET SAVOIE                           CLASS 3           150,000.00         4,400.00               0.00               145,600.00
SAVOLD                MAINSTAR-FBO SHANE SAVOLD T2178306                 CLASS 3            98,000.00          892.89                0.00                97,107.11
SAWICKI               TERRENCE L & MITCHELL D SAWICKI                    CLASS 3           175,000.00              0.00              0.00               175,000.00
SAWYER                THE SANDRA SAWYER RT UAD AMND 06/13/08             CLASS 3           343,452.50       30,423.00                0.00               313,029.50
SAYER                 DAVID & HARRIET SAYER                              CLASS 3            50,000.00         1,925.00               0.00                48,075.00
SAYNE                 AMY B SAYNE                                        CLASS 3            60,000.00          411.11                0.00                59,588.89
SCARBOROUGH           ELAINE SCARBOROUGH                                 CLASS 3            25,000.00          659.74                0.00                24,340.26
SCARBROUGH            MIDLAND-FBO STAN SCARBROUGH IRA#7446697            CLASS 5            50,000.00         9,576.47               0.00                40,423.53
SCARBROUGH            STAN & JOYCE SCARBROUGH                            CLASS 5            50,000.00         6,972.28               0.00                43,027.72
SCARBROUGH            STAN SCARBROUGH                                    CLASS 5           150,000.00       18,041.67                0.00               131,958.33
SCARDINE              DOLORES J SCARDINE                                 CLASS 3            25,000.00          621.54                0.00                24,378.46
SCARLETT              PROV. TR GP-FBO NORMA SCARLETT IRA                 CLASS 3           397,800.00       40,840.80                0.00               356,959.20
SCARNECCHIA           PROV. TR GP-FBO VITO C SCARNECCHIA IRA             CLASS 3            42,500.00         1,603.78               0.00                40,896.22
SCAROFILE             MAINSTAR-FBO RONALD SCAROFILE                      CLASS 3           155,000.00       15,037.18                0.00               139,962.82
SCARPA                JOYCE SCARPA                                       CLASS 3            25,000.00          350.70                0.00                24,649.30
SCHABO                CLARK H SCHABO                                     CLASS 3            25,000.00          381.95                0.00                24,618.05
SCHABO                MARK H SCHABO                                      CLASS 3            25,000.00          347.23                0.00                24,652.77
SCHACKOW              PROV. TR GP-FBO TERRY L SCHACKOW IRA               CLASS 3           205,500.00       30,478.48                0.00               175,021.52
SCHACKOW              PROV. TR GP-FBO TERRY L SCHACKOW IRA               CLASS 5           200,000.00       29,662.76                0.00               170,337.24
SCHACKOW              TERRY L SCHACKOW                                   CLASS 3            50,000.00         7,982.03               0.00                42,017.97
SCHADE                PROV. TR GP-FBO DAVID N SCHADE IRA                 CLASS 3            90,000.00          332.50                0.00                89,667.50

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SCHAECHTELE           DAVID SCHAECHTELE                                   CLASS 3            50,000.00         3,626.43               0.00                46,373.57
SCHAECHTELE           MAINSTAR-FBO DAVID SCHAECHTELE                      CLASS 3            22,350.95         2,371.69               0.00                19,979.26
SCHAFER               JOHN & LORRAINE SCHAFER                             CLASS 3            60,000.00         1,380.00               0.00                58,620.00
SCHAFFER              PROV. TR GP-FBO BETSY P SCHAFFER IRA                CLASS 3           244,500.00         6,118.78               0.00               238,381.22
SCHAIBLE              LES SCHAIBLE                                        CLASS 3            25,000.00         1,103.79               0.00                23,896.21
SCHAIBLE              MARY J & ROGER D SCHAIBLE                           CLASS 3            25,000.00         1,103.79               0.00                23,896.21
SCHARKLET             MAINSTAR-FBO JEWELDEAN SCHARKLET TW003645           CLASS 3          200,000.00         9,877.77                0.00               190,122.23
SCHATTNER             PROV. TR GP-FBO ROBERT L SCHATTNER IRA              CLASS 3          519,500.00        40,151.60                0.00               479,348.40
SCHATTNER             ROBERT L SCHATTNER TR                               CLASS 3           900,000.00      102,646.79                0.00               797,353.21
SCHATTNER             ROBERT L SCHATTNER TR                               CLASS 5           100,000.00       11,405.20                0.00                88,594.80
SCHEEHLE              MAINSTAR-FBO BRUCE A SCHEEHLE T2176124              CLASS 3            76,200.00         3,752.09               0.00                72,447.91
SCHEID                PROV. TR GP-FBO STEPHEN D SCHEID IRA                CLASS 3           631,000.00       83,463.70                0.00               547,536.30
SCHEID                PROV. TR GP-FBO STEPHEN D SCHEID IRA                CLASS 5           313,039.12       41,406.34                0.00               271,632.78
SCHEINER              MORRIS & SYLVIA SCHEINER                           CLASS 3*           100,000.00         6,321.88               0.00                93,678.12
SCHELINSKI            PROV. TR GP-FBO JEFFERY P SCHELINSKI IRA            CLASS 3            55,000.00         1,700.42               0.00                53,299.58
SCHEMAN               ADV. IRA SVC-FBO DONALD R SCHEMAN IRA               CLASS 3            40,000.00         8,020.01               0.00                31,979.99
SCHERER               EMANUEL SCHERER RT                                  CLASS 3            50,000.00         2,208.33               0.00                47,791.67
SCHERER               PAUL M SCHERER                                      CLASS 3            50,000.00         8,227.70               0.00                41,772.30
SCHEUERMAN            ROBERT W & JOYCE E SCHEUERMAN                       CLASS 3            25,000.00              0.00              0.00                25,000.00
SCHIEL                JOHN T SCHIEL                                       CLASS 3          125,000.00        20,027.82                0.00               104,972.18
SCHIFF                MAINSTAR-FBO SHERRIE SCHIFF                         CLASS 5           200,000.00       20,966.71                0.00               179,033.29
SCHINDLER             RICHARD E & LESLIE A SCHINDLER                      CLASS 3            50,000.00         2,100.72               0.00                47,899.28
SCHINZING             PROV. TR GP-FBO DONALD F SCHINZING IRA              CLASS 3           200,000.00       48,068.22                0.00               151,931.78
SCHIPPERS             PROV. TR GP-FBO ESTHER M SCHIPPERS IRA              CLASS 3            75,000.00          875.00                0.00                74,125.00
SCHLAGE               ROBERT & CHERYL SCHLAGE                             CLASS 3           200,000.00         2,362.50               0.00               197,637.50
SCHLAHT               PROV. TR GP-FBO JOHN H SCHLAHT IRA                  CLASS 3           153,098.55       27,938.36                0.00               125,160.19
SCHLATER              MAINSTAR-FBO STANLEY R SCHLATER T2177813            CLASS 3            42,900.35          792.47                0.00                42,107.88
SCHLATER              SCHLATER FRLT                                       CLASS 3           200,000.00         1,438.90               0.00               198,561.10
SCHLICHTING           ROBERT A SCHLICHTING                                CLASS 3           315,000.00      131,529.94                0.00               183,470.06

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                                         Disclosure Statement for the Joint Chapter 11 Plan of Liquidation of
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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SCHLICHTING           ROBERT A SCHLICHTING                                CLASS 5          100,000.00        41,755.53               0.00                58,244.47
SCHLICHTING           SCHLICHTING TR DTD 04/03/17                         CLASS 3            25,000.00          312.51               0.00                24,687.49
SCHLICKAU             DONALD & NANCY SCHLICKAU                            CLASS 5           100,000.00         5,983.31              0.00                94,016.69
SCHLIES               MICHAEL J & LYNN D SCHLIES                          CLASS 3            25,000.00          371.54               0.00                24,628.46
SCHMEHLING            KIM SCHMEHLING                                      CLASS 3          150,000.00        16,150.00               0.00               133,850.00
SCHMELZ               BERNICE A & GARY W SCHMELZ                          CLASS 5          100,000.00        11,812.38               0.00                88,187.62
SCHMICK               WALTER R & MARGARET A SCHMICK                       CLASS 3          115,000.00          2,101.67              0.00               112,898.33
SCHMIDT               DALE M SCHMIDT                                      CLASS 3          150,000.00        12,995.88               0.00               137,004.12
SCHMIDT               ELIZABETH & HOWARD SCHMIDT                          CLASS 3            25,000.00         2,602.92              0.00                22,397.08
SCHMIDT               IRENE SCHMIDT                                       CLASS 3          100,000.00         8,708.40               0.00                91,291.60
SCHMIDT               PROV. TR GP-FBO ELIZABETH SCHMIDT IRA               CLASS 3            52,613.48         5,652.67              0.00                46,960.81
SCHMIDT               PROV. TR GP-FBO HOWARD SCHMIDT IRA                  CLASS 3            93,282.10       10,505.90               0.00                82,776.20
SCHMIDT               PROV. TR GP-FBO JERRY W SCHMIDT IRA                 CLASS 3           104,500.00       24,744.29               0.00                79,755.71
SCHMIDT               SANDRA SCHMIDT                                      CLASS 3           100,000.00         1,715.29              0.00                98,284.71
SCHMIDT               SIEGFRIED SCHMIDT                                   CLASS 3          250,000.00        26,028.42               0.00               223,971.58
SCHMIDT               THE SCHMIDT FT                                      CLASS 3          250,000.00          6,840.30              0.00               243,159.70
SCHMIDT               WAYNE & TONI SCHMIDT                                CLASS 3           210,000.00         6,294.17              0.00               203,705.83
SCHMIEDICKE           MAINSTAR-FBO PAMELA SCHMIEDICKE T2175264            CLASS 3            74,500.00         7,099.22              0.00                67,400.78
SCHMITS               PROV. TR GP-FBO LARRY F SCHMITS IRA                 CLASS 3           258,500.00       28,155.33               0.00               230,344.67
SCHMITT               DOLORES S SCHMITT                                   CLASS 5            50,000.00       11,611.14               0.00                38,388.86
SCHMITT               PROV. TR GP-FBO DONNA SCHMITT IRA                   CLASS 3           103,000.00       16,903.44               0.00                86,096.56
SCHNECK               ROBERT SCHNECK                                      CLASS 3            50,000.00          715.27               0.00                49,284.73
SCHNEEKLOTH           GARY & BETH SCHNEEKLOTH                             CLASS 3            25,000.00          284.73               0.00                24,715.27
SCHNEIDER             HORIZON TR CO-FBO ERIN A SCHNEIDER IRA              CLASS 3            71,499.00         7,316.79              0.00                64,182.21
SCHNEIDER             LEON SCHNEIDER                                      CLASS 3           150,000.00         5,520.41              0.00               144,479.59
SCHNEIDER             STEVEN SCHNEIDER                                    CLASS 3            25,000.00         4,249.00              0.00                20,751.00
SCHNOTALA             IRA SVCS TR CO-CFBO DONALD SCHNOTALA IRA            CLASS 5           203,000.00       25,572.38               0.00               177,427.62
SCHNULLE              DALE B SCHNULLE                                     CLASS 3            20,000.00         1,474.94              0.00                18,525.06
SCHOCKET              LORRAINE M SCHOCKET LT DTD 01/21/16                 CLASS 3           200,000.00       11,449.99               0.00               188,550.01

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SCHOCKET              PROV. TR GP-FBO LORRAINE SCHOCKET IRA              CLASS 3           299,500.00         7,862.44               0.00               291,637.56
SCHOEN                ALAN F & ANDREA SCHOEN RT                          CLASS 3            70,000.00         3,926.91               0.00                66,073.09
SCHOEN                PROV. TR GP-FBO ALAN F SCHOEN IRA                  CLASS 3            49,500.00         3,539.25               0.00                45,960.75
SCHOENBERG            CAROLE & PAUL SCHOENBERG                           CLASS 3            90,000.00       14,261.25                0.00                75,738.75
SCHOENFELD            CAROL E & CHAZZ SCHOENFELD                         CLASS 3           100,000.00         4,757.63               0.00                95,242.37
SCHOENHERR            THOMAS L SCHOENHERR                                CLASS 3           150,000.00       15,525.00                0.00               134,475.00
SCHOENLEIN            ERNEST L & ELIZABETH A SCHOENLEIN                  CLASS 5           100,000.00       17,123.26                0.00                82,876.74
SCHOENLEIN            MARCIA E SCHOENLEIN                                CLASS 3            51,000.00         6,584.58               0.00                44,415.42
SCHOENLEIN            PROV. TR GP-FBO ELIZABETH A SCHOENLEIN IRA         CLASS 3            68,000.00         8,840.00               0.00                59,160.00
SCHOLZ                STEVEN SCHOLZ                                      CLASS 3            25,000.00          354.17                0.00                24,645.83
SCHONE                CHARLES W SCHONE                                   CLASS 3            80,000.00       16,799.91          1,000.00                  62,200.09
SCHOOF                BONNIE SCHOOF                                      CLASS 3            26,985.69         1,002.99               0.00                25,982.70
SCHOOLS               IRA SVCS TR CO-CFBO EUGENE J SCHOOLS               CLASS 3            35,000.00         1,228.48               0.00                33,771.52
SCHORTGEN             PROV. TR GP-FBO LAWRENCE A SCHORTGEN IRA           CLASS 3          122,000.00        21,594.00                0.00               100,406.00
SCHOUMACHER           ROGER A SCHOUMACHER                                CLASS 3            75,000.00       10,827.95                0.00                64,172.05
SCHOUTEN              NEAL R SCHOUTEN                                    CLASS 5           400,000.00       76,927.75                0.00               323,072.25
SCHOUTEN              SHERRILL & CAROL SCHOUTEN                          CLASS 3            50,000.00         2,520.87               0.00                47,479.13
SCHRAG                ELDON D & RUTH M SCHRAG FT                         CLASS 3            60,000.00         3,091.67               0.00                56,908.33
SCHREFFLER            RANDY & ESTER SCHREFFLER                           CLASS 3         1,000,000.00       67,188.00                0.00               932,812.00
SCHREFFLER            RANDY & ESTER SCHREFFLER                           CLASS 5           300,000.00       20,156.40                0.00               279,843.60
SCHREINER             JOHN SCHREINER                                     CLASS 3            25,000.00              0.00              0.00                25,000.00
SCHREYER              CLAYTON SCHREYER                                   CLASS 3           211,300.00       22,980.93                0.00               188,319.07
SCHREYER              MAINSTAR-FBO CLAYTON SCHREYER RW003352             CLASS 3            57,100.00         5,056.61               0.00                52,043.39
SCHREYER              MAINSTAR-FBO MICHELLE SCHREYER RW00390             CLASS 3            50,000.00         2,050.00               0.00                47,950.00
SCHREYER              PROV. TR GP-FBO SCOTT SCHREYER IRA                 CLASS 3            77,000.00        3,399.76                0.00                73,600.24
SCHRIER               JEFFREY SCHRIER                                    CLASS 5          150,000.00        20,052.20                0.00               129,947.80
SCHROEDER             RONALD G & BETTY S SCHROEDER                       CLASS 3            25,000.00          825.00                0.00                24,175.00
SCHROEDL              JAMES S & BARBARA H SCHROEDL                       CLASS 3           100,000.00       13,722.89                0.00                86,277.11
SCHROER               ROBERT E & KAREN A SCHROER                         CLASS 3           200,000.00         1,909.73               0.00               198,090.27

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
SCHROYER              DARLA SCHROYER                                      CLASS 3            26,000.00          104.72                 0.00                25,895.28
SCHULER               ROBERT & NANCY SCHULER                              CLASS 3            50,000.00         6,127.16                0.00                43,872.84
SCHULTE               PROV. TR GP-FBO RITA A SCHULTE IRA                  CLASS 3          127,250.00          9,048.90                0.00               118,201.10
SCHULTE               RITA A SCHULTE                                      CLASS 3          115,000.00          7,043.75                0.00               107,956.25
SCHULTZ               ELIZABETH SCHULTZ                                   CLASS 3          125,000.00          3,395.83                0.00               121,604.17
SCHULTZ               GERALD K & CERESE D SCHULTZ                         CLASS 3            50,000.00         6,122.16                0.00                43,877.84
SCHULTZ               GERALD K SCHULTZ                                    CLASS 3            75,000.00         6,168.83                0.00                68,831.17
SCHULTZ               HORIZON TR CO-FBO RUSSELL SCHULTZ                   CLASS 3           100,000.00         1,186.10                0.00                98,813.90
SCHULTZ               PROV. TR GP-FBO STEVEN G SCHULTZ ROTH IRA           CLASS 3          184,000.00          8,719.28                0.00               175,280.72
SCHULTZ               PROV. TR GP-FBO STEVEN G SCHULTZ ROTH IRA          CLASS 3*            42,000.00        1,288.00                 0.00                40,712.00
SCHULTZ               RICHARD R & DARLENE L SCHULTZ                       CLASS 3            50,000.00          673.60                 0.00                49,326.40
SCHULZ                PROV. TR GP-FBO ALAN SCHULZ IRA                     CLASS 3            23,382.01         2,638.27                0.00                20,743.74
SCHULZE               CHAD A & JODY L SCHULZE                             CLASS 3            30,000.00          291.67                 0.00                29,708.33
SCHULZE               JAY A SCHULZE                                       CLASS 3            25,000.00          899.33                 0.00                24,100.67
SCHULZE               MAINSTAR-FBO JERALD SCHULZE BT178358                CLASS 3            61,000.00          213.50                 0.00                60,786.50
SCHULZE               MAINSTAR-FBO JERALD SCHULZE T2178340                CLASS 3          100,000.00           350.00                 0.00                99,650.00
SCHULZE               MAINSTAR-FBO VICTORIA A SCHULZE T2178169            CLASS 3           309,800.00         3,201.27                0.00               306,598.73
SCHULZE               MICHAEL A SCHULZE RT DTD 08/15/98                   CLASS 3            75,000.00       15,944.00                 0.00                59,056.00
SCHUMACHER            LILLIAN J SCHUMACHER                                CLASS 3            20,000.00          591.64                 0.00                19,408.36
SCHUSTER              MARILYN G SCHUSTER                                  CLASS 3          120,000.00         2,800.00                 0.00               117,200.00
SCHUTZ                PIERRE SCHUTZ                                       CLASS 3            50,000.00         6,108.40                0.00                43,891.60
SCHUYLER              JIMMIE L SCHUYLER                                   CLASS 3          120,000.00          8,420.00                0.00               111,580.00
SCHVETZ               JOHN J & ELLEN M SCHVETZ                            CLASS 3          100,000.00        18,233.33                 0.00                81,766.67
SCHWABISH             MAINSTAR-FBO JUNE SCHWABISH TW003431                CLASS 3          410,000.00        32,069.74                 0.00               377,930.26
SCHWABISH             SCHWABISH LT DTD 01/14/10                           CLASS 3          150,000.00        14,615.78                 0.00               135,384.22
SCHWARTZ              BRUCE SCHWARTZ                                      CLASS 5          100,000.00        18,805.48                 0.00                81,194.52
SCHWARTZ              JOHN SCHWARTZ                                       CLASS 3            20,000.00         1,337.81                0.00                18,662.19
SCHWARTZ              LINDA SCHWARTZ                                      CLASS 3            25,000.00              27.78              0.00                24,972.22
SCHWARTZ              MAINSTAR-FBO JONATHAN SCHWARTZ T2176783             CLASS 3            46,000.00        1,225.39                 0.00                44,774.61

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                                                                                            Total
                                                                                         Outstanding       Prepetition         Other
                                                                                          Principal        "Interest"       Prepetition
                                                                                          Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SCHWARTZ              MAINSTAR-FBO WILLIAM SCHWARTZ                        CLASS 3           250,000.00       17,854.10               0.00               232,145.90
SCHWARTZ              PROV. TR GP-FBO SEYMOUR SCHWARTZ IRA                 CLASS 3           139,011.33         6,036.29              0.00               132,975.04
SCHWARZ               BERTHOLD & ANITA SCHWARZ                             CLASS 3           150,000.00       12,850.67               0.00               137,149.33
SCHWEGEL              ERNST L & BIRGIT SCHWEGEL                            CLASS 3            30,000.00         2,620.00              0.00                27,380.00
SCHWEIGER             WENDELL H SCHWEIGER                                  CLASS 3            40,000.00         7,360.04              0.00                32,639.96
SCHWICHTENBERG        GERALD SCHWICHTENBERG                                CLASS 3            25,000.00          410.59               0.00                24,589.41
SCLATER               JERRY & DARLENE SCLATER                              CLASS 3            25,000.00         1,538.24              0.00                23,461.76
SCOFIELD              RANDALL SCOFIELD                                     CLASS 3           150,000.00       24,659.74               0.00               125,340.26
SCOTT                 JOANMARIE M SCOTT                                    CLASS 3            50,000.00         4,490.29              0.00                45,509.71
SCOTT                 LAURA SCOTT                                          CLASS 3          130,000.00          6,070.00              0.00               123,930.00
SCOTT                 PHILLIP O SCOTT                                      CLASS 3            50,000.00        7,550.00               0.00                42,450.00
SCOTT                 PROV. TR GP-FBO GEORGE ALAN SCOTT IRA                CLASS 3           161,000.00       20,497.95               0.00               140,502.05
SCOTT                 PROV. TR GP-FBO STEPHEN T SCOTT IRA                  CLASS 3          240,000.00        34,607.57               0.00               205,392.43
SCOTT                 PROV. TR GP-FBO STEPHEN T SCOTT IRA                  CLASS 5          300,000.00        43,259.47               0.00               256,740.53
SCOTT                 RUTH E SCOTT                                         CLASS 3            30,000.00        4,283.33               0.00                25,716.67
SCOTT                 STEPHEN T SCOTT                                      CLASS 3         1,100,000.00      142,688.74               0.00               957,311.26
SCOTT                 SUZANNE W SCOTT                                      CLASS 3          100,000.00        17,431.04               0.00                82,568.96
SCOTT                 KARIN V SCOTT TTEE THE KARIN V SCOTT TA              CLASS 3           100,000.00         1,147.22              0.00                98,852.78
SCURTI                PROV. TR GP-FBO VINCENT SCURTI JR IRA                CLASS 3            34,000.00          606.33               0.00                33,393.67
SEALEY                MAINSTAR-FBO DENNIS G SEALEY TW003435                CLASS 3          562,945.81        39,655.34               0.00               523,290.47
SEAY                  HOWARD K & DELORES M SEAY                            CLASS 5          487,000.00       172,132.53               0.00               314,867.47
SEAY                  PROV. TR GP-FBO DELORES M SEAY IRA                   CLASS 5            54,000.00       11,460.00               0.00                42,540.00
SEAY                  PROV. TR GP-FBO HOWARD K SEAY IRA                    CLASS 3            47,143.00        8,383.61               0.00                38,759.39
SEAY                  PROV. TR GP-FBO HOWARD K SEAY IRA                    CLASS 5            50,000.00        8,891.69               0.00                41,108.31
SEDBERRY              LYLE SEDBERRY                                        CLASS 5            50,000.00       16,375.14               0.00                33,624.86
SEELIG                FLORENCE ANN SEELIG RLT                              CLASS 3            25,000.00          867.01               0.00                24,132.99
SEELY                 MAINSTAR-FBO MICHAEL J SEELY                         CLASS 3          200,000.00        36,088.87               0.00               163,911.13
SEGER                 EUGENE G SEGER IRREV TR DTD 07/18/11                 CLASS 3            50,000.00         5,608.33              0.00                44,391.67
SEGER                 JOAN E & ELIZABETH A SEGER                           CLASS 3          100,000.00        23,622.34               0.00                76,377.66

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SEGER                 JOHN R SEGER TR DTD 11/18/08                       CLASS 3          353,000.00          9,818.75              0.00               343,181.25
SEGER                 TIM S & MARY K SEGER                               CLASS 3          100,000.00        10,466.67               0.00                89,533.33
SEIBEL                ELEANOR & CLIFFORD SEIBEL TTEES 04/11/91           CLASS 3            40,000.00         2,788.94              0.00                37,211.06
SELF                  SHARON K SELF                                      CLASS 3            37,000.00        3,075.00               0.00                33,925.00
SELLERS               PROV. TR GP-FBO SUSAN I SELLERS IRA                CLASS 3            71,000.00         1,601.44              0.00                69,398.56
SELLMEYER             KURT & MICHELLE SELLMEYER                          CLASS 3            55,000.00         3,355.00              0.00                51,645.00
SEMERIA               BRUCE SEMERIA                                      CLASS 3            80,000.00        2,933.32         1,000.00                  76,066.68
SEMERIA               MAINSTAR-FBO BRUCE SEMERIA TW003685                CLASS 3         1,174,500.00       57,833.59               0.00             1,116,666.41
SEMON                 IRA SVCS TR CO-CFBO JOHN K SEMON IRA               CLASS 3            42,000.00         5,629.17              0.00                36,370.83
SERAFANO              MAINSTAR-FBO MARY BETH SERAFANO T2177816           CLASS 3         1,000,000.00       17,333.33               0.00               982,666.67
SERGI                 PAUL & ROSEMARIE SERGI                             CLASS 5            50,000.00       26,307.25               0.00                23,692.75
SERIO                 FRANCIS XAVIER SERIO TR DTD 04/25/01               CLASS 5           400,000.00       20,888.88               0.00               379,111.12
SERMAN                THE MIRIAM L SERMAN 2010 TR                        CLASS 3          300,000.00          5,916.64              0.00               294,083.36
SERMON                BRADLEY SERMON                                     CLASS 3            30,000.00          485.00               0.00                29,515.00
SERNA-ARAGOZA         MAINSTAR-FBO M T SERNA-ARAGOZA T2177190            CLASS 3           121,250.00         4,963.22              0.00               116,286.78
SERRANO               MAINSTAR-FBO DANIEL SERRANO T2177387               CLASS 3           149,924.90         2,439.93              0.00               147,484.97
SERRANO               MAINSTAR-FBO LEROY SERRANO T2177076                CLASS 5           600,000.00       26,750.00               0.00               573,250.00
SERY                  MAINSTAR-FBO STEVEN SERY T2175498                  CLASS 3          250,000.00        13,663.89               0.00               236,336.11
SERY                  STEVEN J & SUZAN C SERY                            CLASS 3           150,000.00       30,716.67               0.00               119,283.33
SESHADRI/SADAGOPAN    SADAGOPAN SESHADRI & R SADAGOPAN                   CLASS 5            50,000.00         8,236.17              0.00                41,763.83
SESSOMS               HIRAM J JR & ANNA M SESSOMS                        CLASS 3            50,000.00         1,180.54              0.00                48,819.46
SETIAN                PETER SETIAN                                       CLASS 5          150,000.00        35,825.00               0.00               114,175.00
SETO                  FOON LUN SETO                                      CLASS 3          100,000.00        12,377.84               0.00                87,622.16
SETO                  FOON LUN SETO & MEE KIU CHAN-SETO RLT              CLASS 5           450,000.00      164,652.73               0.00               285,347.27
SETO                  SUNWEST TR FOON LUN SETO IRA                       CLASS 3            35,000.00       13,153.71               0.00                21,846.29
SETO                  SUNWEST TR FOON LUN SETO IRA                       CLASS 5           181,000.00       68,023.46               0.00               112,976.54
SETTERLOF             MAINSTAR-FBO DONALD G SETTERLOF                    CLASS 3           142,000.00       10,421.07               0.00               131,578.93
SETTERLOF             MAINSTAR-FBO DONALD G SETTERLOF                    CLASS 5           118,000.00         8,659.77              0.00               109,340.23
SETTERLOF             MAINSTAR-FBO MARGARET A SETTERLOF                  CLASS 3            85,500.00         5,078.94              0.00                80,421.06

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SETTLEMIRE            SANDRA SETTLEMIRE                                   CLASS 3            95,000.00       12,246.67                0.00                82,753.33
SEURER                CAROL SEURER                                        CLASS 3            50,000.00         2,300.01               0.00                47,699.99
SEWALD                JAMES R & SUSAN L SEWALD                            CLASS 3            25,000.00          753.50                0.00                24,246.50
SEXTON                MAINSTAR-FBO JAMES SEXTON T2178254                  CLASS 3          100,000.00           531.01                0.00                99,468.99
SEXTON                SEXTON FT                                           CLASS 3            40,000.00        2,519.15                0.00                37,480.85
SEYMOUR               PROV. TR GP-FBO JAMES R SEYMOUR IRA                 CLASS 3          104,200.00        10,593.67                0.00                93,606.33
SHAFFER               TIMOTHY G SHAFFER                                   CLASS 3            38,000.00        3,295.79                0.00                34,704.21
SHAFFER               VIKI L SHAFFER                                      CLASS 3            50,000.00        8,985.95                0.00                41,014.05
SHAFTER               RICHARD SHAFTER                                     CLASS 3          175,000.00               0.00              0.00               175,000.00
SHAH                  O J SHAH                                            CLASS 3            25,000.00          357.65                0.00                24,642.35
SHAH                  SNEHAL M & NIPA S SHAH                              CLASS 3          100,000.00          2,347.23               0.00                97,652.77
SHAH                  SONAL SHAH                                          CLASS 3          100,000.00          1,430.57               0.00                98,569.43
SHAKET                ALEXANDER & JANNA SHAKET                            CLASS 3           250,000.00       12,951.43                0.00               237,048.57
SHANK                 ISAAC DAVID SHANK                                   CLASS 3            90,000.00         2,607.50               0.00                87,392.50
SHANK                 LOIS C SHANK                                        CLASS 3            53,000.00          662.77                0.00                52,337.23
SHAO                  WEIWEI SHAO                                         CLASS 3          300,000.00         9,726.67                0.00               290,273.33
SHAPIRO               CAROLE & ROBERT SHAPIRO                             CLASS 3            25,000.00         1,466.67               0.00                23,533.33
SHAPIRO               MAINSTAR-FBO CARRIE SHAPIRO RW003801                CLASS 3            19,000.00          823.33                0.00                18,176.67
SHAPIRO               NANCY & JERRY SHAPIRO                               CLASS 3           200,000.00       24,616.52                0.00               175,383.48
SHARKEY               PROV. TR GP-FBO DAWN SHARKEY IRA                    CLASS 3           163,500.00       14,213.14                0.00               149,286.86
SHARKEY               PROV. TR GP-FBO ROBERT SHARKEY IRA                  CLASS 3            99,000.00         9,702.00               0.00                89,298.00
SHARKEY               ROBERT & DAWN SHARKEY                               CLASS 3           175,000.00       16,703.84                0.00               158,296.16
SHARMA                SHREE & ANU SHARMA                                  CLASS 3           168,000.00       33,351.80                0.00               134,648.20
SHARPE                FRAN S SHARPE                                       CLASS 3            93,402.09         1,775.11               0.00                91,626.98
SHARPE                FRAN S SHARPE                                       CLASS 5          141,030.21          2,680.28               0.00               138,349.93
SHARPE                MAINSTAR-FBO PHILIP SHARPE                          CLASS 3           112,000.00         6,794.67               0.00               105,205.33
SHARPE/STEWART        HUBERT M SHARPE & JOSEPHINE M STEWART               CLASS 3            50,000.00          791.66                0.00                49,208.34
SHASHA                MAINSTAR-FBO KATHY SHASHA T2175101                  CLASS 3            58,000.00         4,333.91               0.00                53,666.09
SHAUGHNESSY           MARGARET A SHAUGHNESSY                              CLASS 3            34,654.00         1,489.17               0.00                33,164.83

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SHAVER                ANNA SHAVER                                         CLASS 3          180,000.00        21,617.50               0.00               158,382.50
SHAVER                MAINSTAR-FBO ANNA SHAVER T2174691                   CLASS 3           180,000.00       16,152.50               0.00               163,847.50
SHAW                  DENNIS D SHAW TR DTD 08/07/97                       CLASS 3          270,000.00        10,931.25               0.00               259,068.75
SHAW                  JEFFREY V SHAW                                      CLASS 3            50,000.00        3,908.33               0.00                46,091.67
SHAW                  MAINSTAR-FBO DAWN M SHAW                            CLASS 3            59,000.00         4,208.67              0.00                54,791.33
SHAW                  PHILIP H & CAROL L SHAW                             CLASS 3            25,000.00         1,153.44              0.00                23,846.56
SHAW                  PROV. TR GP-FBO SUSAN N SHAW ROTH IRA               CLASS 3            74,750.00         4,406.53              0.00                70,343.47
SHAW                  PROV. TR GP-FBO VIVIAN F SHAW IRA                   CLASS 3          224,050.00          4,070.24              0.00               219,979.76
SHAW                  THE VIVIAN F SHAW RT DTD 07/23/09                   CLASS 3          100,000.00         6,316.67               0.00                93,683.33
SHEAR                 VIVIENNE SHEAR                                      CLASS 3            90,000.00         7,036.70              0.00                82,963.30
SHEARER               VIRGINIA A SHEARER                                  CLASS 3            50,000.00         7,118.82              0.00                42,881.18
SHEDLOCK              DAVID A SHEDLOCK                                    CLASS 3           100,000.00          350.00               0.00                99,650.00
SHEEHAN               MAINSTAR-FBO JEANETTE M SHEEHAN                     CLASS 3            75,040.50         5,534.25              0.00                69,506.25
SHEETZ                ROBERT C & LINDA E SHEETZ                           CLASS 3            25,000.00         2,291.67              0.00                22,708.33
SHEFFIELD             SCOTT N & VIKI C SHEFFIELD                          CLASS 3          250,000.00        20,134.05               0.00               229,865.95
SHEIN                 ANJE SHEIN RT                                       CLASS 3          300,000.00        34,738.07               0.00               265,261.93
SHEIN                 ANJE SHEIN RT                                       CLASS 5          400,000.00        46,317.43               0.00               353,682.57
SHELLEY               LISA M SHELLEY                                      CLASS 3          900,000.00       172,339.11               0.00               727,660.89
SHELLEY               LISA M SHELLEY                                      CLASS 5          250,000.00        47,871.98               0.00               202,128.02
SHELLY                LYLE SHELLY                                         CLASS 3          330,000.00        50,679.27               0.00               279,320.73
SHELLY                LYLE SHELLY                                         CLASS 5          100,000.00        15,357.35               0.00                84,642.65
SHELTER               PETS AND PALS SHELTER                               CLASS 3           450,000.00       21,812.50               0.00               428,187.50
SHELTON               IRA SVCS TR CO-CFBO MICHAEL S SHELTON IRA           CLASS 3            27,000.00          733.75               0.00                26,266.25
SHEMTOB               DAHLIA SHEMTOB                                     CLASS 3*            85,000.00       13,231.67               0.00                71,768.33
SHEN                  DARREN SHEN-KAO & PEGGY SHEN                        CLASS 3            25,000.00          636.79               0.00                24,363.21
SHEN                  REAGAN SHEN-KAO & PEGGY SHEN                        CLASS 3           100,000.00         2,547.21              0.00                97,452.79
SHEN-KAO              TYLER SHEN-KAO & PEGGY SHEN                         CLASS 3            50,000.00         1,273.62              0.00                48,726.38
SHEPARD               DIANE SHEPARD                                       CLASS 3            50,000.00         1,475.71              0.00                48,524.29
SHEPARD               PROV. TR GP-FBO JOHN SHEPARD IRA                    CLASS 3            45,000.00         1,710.00              0.00                43,290.00

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SHEPHERD              THOMAS & LORETTA SHEPHERD                            CLASS 3          250,000.00        18,487.80                0.00               231,512.20
SHEPPARD              PROV. TR GP-FBO DALE E SHEPPARD IRA                  CLASS 3            76,170.00         5,835.47               0.00                70,334.53
SHERBY                LINDA SHERBY TR                                      CLASS 5          100,000.00        18,098.37                0.00                81,901.63
SHERIDAN              DIANA LLYN SHERIDAN LT DTD 02/10/10                  CLASS 3            50,000.00         3,130.21               0.00                46,869.79
SHERIDAN              DIANA LLYN SHERIDAN LT DTD 02/10/10                  CLASS 5            50,000.00         3,130.21               0.00                46,869.79
SHERIDAN              HUGH T SHERIDAN                                      CLASS 3          150,000.00        33,154.51                0.00               116,845.49
SHERIDAN              HUGH T SHERIDAN                                      CLASS 5          100,000.00        22,103.00                0.00                77,897.00
SHERIDAN              JOAN E SHERIDAN                                      CLASS 3          225,000.00        50,522.01                0.00               174,477.99
SHERIDAN              JOAN E SHERIDAN                                      CLASS 5          100,000.00        22,454.22                0.00                77,545.78
SHERIDAN              THE DIANA LLYN SHERIDAN CHAR REMAINDER TR            CLASS 5           150,000.00       12,541.67                0.00               137,458.33
SHERMAN               LEONARD & DONNA SHERMAN                              CLASS 3            75,000.00         4,947.10          448.06                   69,604.84
SHERMAN               MAINSTAR-FBO JUDITH SHERMAN R2176404                 CLASS 3            37,187.00          738.58                0.00                36,448.42
SHERMAN               MAINSTAR-FBO JUDITH SHERMAN T2176403                 CLASS 3            40,431.00        1,167.44                0.00                39,263.56
SHERMAN               THE STANLEY SHERMAN IRREV TR                         CLASS 3          100,000.00          5,125.04               0.00                94,874.96
SHERROW               SHERRY SHERROW                                       CLASS 3          400,000.00        30,866.67                0.00               369,133.33
SHERWOOD              JEFFREY & YVONNE SHERWOOD                            CLASS 3            50,000.00         1,779.19               0.00                48,220.81
SHI/DIWU              XIAOLIN SHI & LAN DIWU                               CLASS 3            25,000.00          687.50                0.00                24,312.50
SHIGEMATSU            GEORGE & JANICE SHIGEMATSU                           CLASS 3            30,000.00          745.83                0.00                29,254.17
SHIMANOVICH           MAINSTAR-FBO IZA SHIMANOVICH                         CLASS 3            25,000.00         2,711.82               0.00                22,288.18
SHIMANOVICH           MAINSTAR-FBO RITA SHIMANOVICH                        CLASS 3            25,000.00         1,565.98               0.00                23,434.02
SHIMKIN               PROV. TR GP-FBO ROSA SHIMKIN IRA                     CLASS 3            34,101.50         5,733.39               0.00                28,368.11
SHIMKIN               ROSA & LOUIS SHIMKIN                                 CLASS 3            60,000.00        5,805.83                0.00                54,194.17
SHIMP                 GEORGE P SHIMP                                       CLASS 3            50,000.00              0.00              0.00                50,000.00
SHINABERRY            NOLA SHINABERRY                                      CLASS 3            25,000.00         2,257.01               0.00                22,742.99
SHINABERY             LELAND K SHINABERY                                   CLASS 3            33,171.00          393.45                0.00                32,777.55
SHINDLER              JAMES W & LORRAINE M SHINDLER                        CLASS 3           100,000.00         5,912.51               0.00                94,087.49
SHIPLEY               MAINSTAR-FBO LINDA R SHIPLEY                         CLASS 5           177,500.00       16,823.14                0.00               160,676.86
SHIPLEY               MAINSTAR-FBO STEPHEN D SHIPLEY                       CLASS 5          540,500.00        51,227.45                0.00               489,272.55
SHIRLEY               LILLY A SHIRLEY                                      CLASS 3          260,000.00          3,247.93               0.00               256,752.07

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SHIRLEY               MAINSTAR-FBO LILLY A SHIRLEY TW004155             CLASS 3          269,510.00           356.35               0.00               269,153.65
SHKRABOV/KORABELN.    SEMEN SHKRABOV & ELENA KORABELNIKOVA              CLASS 3            75,000.00         5,650.69        1,000.00                  68,349.31
SHOEMAKER             ALLEN SHOEMAKER                                   CLASS 3          100,000.00          2,934.01              0.00                97,065.99
SHOEMAKER             ROGER & LAURIE SHOEMAKER                          CLASS 3            55,000.00         1,358.18              0.00                53,641.82
SHOFFNER              CLAUDIA B SHOFFNER                                CLASS 3            25,000.00         1,210.73              0.00                23,789.27
SHOTZBERGER           CATHY SHOTZBERGER                                 CLASS 3            25,000.00          322.93               0.00                24,677.07
SHOVER                JAMES & JOYCE C SHOVER                            CLASS 5           150,000.00       11,264.21               0.00               138,735.79
SHOWALTER             IRA SVCS TR CO-CFBO D JEAN SHOWALTER              CLASS 3            49,400.00         1,325.58              0.00                48,074.42
SHRECK                HORIZON TR CO-FBO REBECCA SHRECK SEP IRA          CLASS 3            92,600.00         1,602.50              0.00                90,997.50
SHRIVER               LORRAINE SHRIVER                                  CLASS 3            50,000.00         6,145.85              0.00                43,854.15
SHUBAT                THOMAS M & CAROLYN A SHUBAT                       CLASS 3            40,000.00       21,343.43               0.00                18,656.57
SHUDRA                MIKE SHUDRA                                       CLASS 3            30,000.00          402.50               0.00                29,597.50
SHULTZ                DR EDWIN B SHULTZ                                 CLASS 3           100,000.00         9,059.66              0.00                90,940.34
SHULTZ                IRA SVCS TR CO-CFBO REBECCA D SHULTZ IRA          CLASS 3           143,000.00         4,390.14              0.00               138,609.86
SHUMAN                ED SHUMAN                                         CLASS 3            25,000.00         1,483.33              0.00                23,516.67
SHUR                  MICHAEL & KIMBERLY SHUR                           CLASS 3            25,000.00         4,386.16        2,202.00                  18,411.84
SHURDEN               LOLA SHURDEN                                      CLASS 3          150,000.00           668.06               0.00               149,331.94
SHURET                PROV. TR GP-FBO EDWARD E SHURET IRA               CLASS 3           100,000.00         7,233.33              0.00                92,766.67
SHUSTER               J MORGAN & THERESA C SHUSTER                      CLASS 3           200,000.00         6,400.69        1,000.00                 192,599.31
SHUSTOWSKI            PROV. TR GP-FBO WILLIAM J SHUSTOWSKI IRA          CLASS 3           110,000.00       20,113.33               0.00                89,886.67
SICKLES               ENTRUST GRP FBO JACQUELINE T-SICKLES              CLASS 5          250,000.00        20,833.30               0.00               229,166.70
SICURELLA             SANDRA L SICURELLA                                CLASS 3          100,000.00          6,226.43              0.00                93,773.57
SIDEBOTTOM            SIDEBOTTOM FAMILY IRREV TR                        CLASS 3            90,000.00         1,100.00              0.00                88,900.00
SIDMAN                MICHAEL SIDMAN                                    CLASS 3            25,000.00          125.00               0.00                24,875.00
SIDWELL               ALAN SIDWELL                                      CLASS 3          100,000.00        15,849.81               0.00                84,150.19
SIDWELL               ALAN SIDWELL                                      CLASS 5          700,000.00       110,948.64               0.00               589,051.36
SIEBE                 MAINSTAR-FBO LINDA SIEBE TW003810                 CLASS 3            75,800.00         2,033.97              0.00                73,766.03
SIEFKEN               PROV. TR GP-FBO SUSAN SIEFKEN IRA                 CLASS 3            25,000.00         2,465.95              0.00                22,534.05
SIEFRING              CHARLES F & JEAN A SIEFRING                       CLASS 5          200,000.00        26,993.99               0.00               173,006.01

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SIEFRING              PAUL A & SONJA K SIEFRING                            CLASS 3            25,000.00          524.32                0.00                24,475.68
SIEGEL                AMANDA & LINDA SIEGEL                                CLASS 3            85,000.00         6,108.62               0.00                78,891.38
SIEGEL                MARK & LINDA SIEGEL                                  CLASS 3            75,000.00         6,272.53               0.00                68,727.47
SIEGEL                PROV. TR GP-FBO MARK SIEGEL IRA                      CLASS 3            95,000.00         1,202.48               0.00                93,797.52
SIEGEL                PROV. TR GP-FBO MARK SIEGEL IRA                      CLASS 5          150,000.00          1,898.66               0.00               148,101.34
SIEGLER               JOHN SIEGLER JR                                      CLASS 3          100,000.00          4,030.48               0.00                95,969.52
SIEGLER               PROV. TR GP-FBO JOHN SIEGLER JR IRA                  CLASS 3            65,500.00         1,887.70               0.00                63,612.30
SIEVERS               PROV. TR GP-FBO MARTA G SIEVERS IRA                  CLASS 3            25,000.00         1,232.18               0.00                23,767.82
SIFFERMANN            KAREN SIFFERMANN                                     CLASS 3            25,000.00         5,511.94               0.00                19,488.06
SIFFERMANN            PROV. TR GP-FBO KAREN SIFFERMANN IRA                 CLASS 3            76,315.15         6,461.35               0.00                69,853.80
SIGL                  JOHN SIGL                                            CLASS 3            33,000.00          550.00                0.00                32,450.00
SIGLER                HUGH & BARBARA SIGLER RT MAY 2015                    CLASS 5           100,000.00         9,891.64               0.00                90,108.36
SIGLER                MAINSTAR-FBO DEBRA L SIGLER T2176301                 CLASS 3            70,500.00         3,188.17               0.00                67,311.83
SIGNER                NEIL H & NANCY M SIGNER                              CLASS 3            25,000.00         1,364.63               0.00                23,635.37
SIGNER                THE SIGNER FT                                        CLASS 3          200,000.00          1,500.00               0.00               198,500.00
SIGSWAY               MAREL J & RONALD SIGSWAY                             CLASS 3           335,000.00       42,382.64                0.00               292,617.36
SIGSWAY               PROV. TR GP-FBO MAREL J SIGSWAY IRA                  CLASS 3           145,000.00       24,461.83                0.00               120,538.17
SIGSWAY               PROV. TR GP-FBO MAREL J SIGSWAY IRA                  CLASS 5           234,718.00       39,597.47                0.00               195,120.53
SIGSWAY               PROV. TR GP-FBO RONALD SIGSWAY IRA                   CLASS 3           140,000.00       22,357.61                0.00               117,642.39
SIGSWAY               PROV. TR GP-FBO RONALD SIGSWAY IRA                   CLASS 5           113,267.00       18,088.42                0.00                95,178.58
SILBERZAHN            PROV. TR GP-FBO S K SILBERZAHN ROTH IRA              CLASS 3            63,000.00         8,820.00               0.00                54,180.00
SILER                 SILER FAMILY IRREV TR                                CLASS 3            70,000.00              0.00              0.00                70,000.00
SILLOWAY              MAINSTAR-FBO CHRISTINE SILLOWAY RW003799             CLASS 3            80,000.00         2,816.67               0.00                77,183.33
SILVA                 JOSEPH SILVA                                         CLASS 3            50,000.00          861.10                0.00                49,138.90
SILVA                 PROV. TR GP-FBO EDMUND DE SILVA ROTH IRA             CLASS 3          204,578.00        12,965.13          1,000.00                 190,612.87
SILVA                 RICHARD & GENITA SILVA                               CLASS 3            40,000.00         1,050.02               0.00                38,949.98
SILVER                HOWARD SILVER                                        CLASS 5           100,000.00       57,206.11                0.00                42,793.89
SILVER                PROV. TR GP-FBO HOWARD SILVER IRA                    CLASS 5           186,750.00       41,544.48                0.00               145,205.52
SILVER                PROV. TR GP-FBO SHARON SILVER IRA                    CLASS 3            50,000.00         5,567.41               0.00                44,432.59

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SILVER                PROV. TR GP-FBO SHARON SILVER IRA                   CLASS 5           232,500.00       25,888.43               0.00               206,611.57
SILVER                WILLIAM & KAREN SILVER                              CLASS 5          300,000.00        63,605.52               0.00               236,394.48
SILVERBERG            AMANDA SILVERBERG                                   CLASS 3            25,000.00         1,489.62              0.00                23,510.38
SILVERBERG            STANLEY J & HAZEL SILVERBERG                        CLASS 3            25,000.00         1,153.17              0.00                23,846.83
SILVERMAN             ELLEN J SILVERMAN                                   CLASS 3            25,000.00        3,113.20               0.00                21,886.80
SIMMERMAN             JAMES KYLE & BONNIE SIMMERMAN                       CLASS 3            25,000.00          935.74               0.00                24,064.26
SIMMONS               CHARLIE & LORA KIM SIMMONS                          CLASS 5          325,000.00        66,541.52               0.00               258,458.48
SIMMONS               CHARLIE SIMMONS                                     CLASS 5            50,000.00       17,389.05               0.00                32,610.95
SIMMONS               HORIZON TR CO-FBO ROBERT A SIMMONS IRA              CLASS 5           232,000.00       30,160.04               0.00               201,839.96
SIMMONS               IRA SVCS TR CO-CFBO SANDIE I SIMMONS IRA            CLASS 3           279,000.00       41,392.75               0.00               237,607.25
SIMMONS               LIBERTY TR CO-FBO CHARLIE J SIMMONS IR              CLASS 5           150,000.00       68,291.73               0.00                81,708.27
SIMMONS               LIBERTY TR CO-FBO JAMES E SIMMONS IRA               CLASS 5          200,000.00        48,138.70               0.00               151,861.30
SIMMONS               MAINSTAR-FBO JOAN SIMMONS T2176397                  CLASS 3           178,914.00         3,669.72              0.00               175,244.28
SIMMONS               ROBERT A & FAITH L SIMMONS                          CLASS 5          141,897.00        19,756.43               0.00               122,140.57
SIMMONS/ROCHELLE      MARY SIMMONS & RACHEL ROCHELLE                      CLASS 3            40,000.00         2,172.27              0.00                37,827.73
SIMON                 THE ARLENE M SIMON RT                               CLASS 3          100,000.00         5,312.50               0.00                94,687.50
SIMON                 THE KARSE J SIMON RT                                CLASS 3          100,000.00         4,614.58               0.00                95,385.42
SIMON                 THE KARSE J SIMON RT                                CLASS 5          100,000.00         4,614.58               0.00                95,385.42
SIMONEAU              ANNE MARIE SIMONEAU                                 CLASS 3            29,000.00         1,160.83              0.00                27,839.17
SIMONS                EDWIN A SIMONS                                      CLASS 3          100,000.00        12,297.74               0.00                87,702.26
SIMONS                MYRA K & LEONARD M SIMONS                           CLASS 3            95,000.00       16,205.75               0.00                78,794.25
SIMONS                PROV. TR GP-FBO LEONARD SIMONS IRA                  CLASS 3            85,247.00       10,429.07               0.00                74,817.93
SIMONS                PROV. TR GP-FBO MYRA SIMONS IRA                     CLASS 3            48,674.00        5,954.82               0.00                42,719.18
SIMPSON               BRUCE SIMPSON                                       CLASS 3            50,000.00        5,725.00               0.00                44,275.00
SIMPSON               JULIA SIMPSON                                       CLASS 3            25,000.00          900.69               0.00                24,099.31
SIMPSON               LAURA J SIMPSON                                     CLASS 3          250,597.00        11,121.00               0.00               239,476.00
SIMPSON               MAINSTAR-FBO LAURA SIMPSON TW003755                 CLASS 3            95,900.00        4,172.99               0.00                91,727.01
SIMPSON               MAINSTAR-FBO LORNA SIMPSON                          CLASS 3            67,500.00         3,960.94              0.00                63,539.06
SIMPSON               SHERYL SIMPSON                                      CLASS 3          100,000.00         8,705.42               0.00                91,294.58

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SIMPSON               SHERYL SIMPSON                                      CLASS 5          100,000.00         8,705.42                0.00                91,294.58
SIMS                  GEORGE L JR & LINDA C SIMS                          CLASS 3          100,000.00        19,741.04                0.00                80,258.96
SIMS                  MAINSTAR-FBO VICTORIA G SIMS                        CLASS 3            34,000.00         4,237.69               0.00                29,762.31
SINGH                 KARNAIL SINGH                                       CLASS 3          150,000.00        14,409.69                0.00               135,590.31
SINGLETON             CONNIE FELDICK SINGLETON                            CLASS 3            25,000.00          724.29                0.00                24,275.71
SINGLETON             PROV. TR GP-FBO WARREN G SINGLETON IRA              CLASS 3            89,000.00       15,629.58                0.00                73,370.42
SINGLETON             THE CAROL SINGLETON ET DTD 12/22/12                 CLASS 3           225,000.00       27,450.00                0.00               197,550.00
SINGLETON             WARREN G & CAROL A SINGLETON                        CLASS 3            25,000.00         4,776.49               0.00                20,223.51
SIPES                 IRA SVCS TR CO-CFBO DUANE E SIPES                   CLASS 3            77,000.00         2,111.10               0.00                74,888.90
SIPES                 IRA SVCS TR CO-CFBO SUZANNE G SIPES                 CLASS 3            75,000.00         2,056.25               0.00                72,943.75
SIRACUSA              MARGARET SIRACUSA IT                                CLASS 3            65,000.00         5,217.99               0.00                59,782.01
SIRIANNI              JOSEPH V SIRIANNI FRLT                              CLASS 3            50,000.00          675.00                0.00                49,325.00
SIROTA/NORTON         ARLYNE SIROTA & CARRIE NORTON                       CLASS 3            70,000.00         4,993.33               0.00                65,006.67
SISEMORE              MAINSTAR-FBO RICKIE SISEMORE                        CLASS 3            51,000.00         1,947.92               0.00                49,052.08
SITES                 CARL R & ANNA L SITES                               CLASS 3            50,000.00         1,643.07               0.00                48,356.93
SJAASTAD              BARBARA L SJAASTAD                                  CLASS 3          350,000.00        10,425.00                0.00               339,575.00
SJAASTAD              DAVID C & BETH A SJAASTAD                           CLASS 3          300,000.00        10,172.23                0.00               289,827.77
SJAASTAD              EMMA L SJAASTAD                                     CLASS 3            50,000.00          573.61                0.00                49,426.39
SJAASTAD              GERALD D & ELIZABETH J SJAASTAD                     CLASS 3         2,150,000.00      179,720.09          1,000.00               1,969,279.91
SJAASTAD              GERALD D SJAASTAD TR 04/27/98                       CLASS 3          190,000.00        13,331.67                0.00               176,668.33
SJAASTAD              PROV. TR GP-FBO DAVID C SJAASTAD IRA                CLASS 3           204,367.00       13,794.78                0.00               190,572.22
SJAASTAD              PROV. TR GP-FBO ELIZABETH J SJAASTAD IRA            CLASS 3           174,238.00       21,264.53                0.00               152,973.47
SJAASTAD              PROV. TR GP-FBO GERALD D SJAASTAD IRA               CLASS 3           354,078.00       43,180.22                0.00               310,897.78
SJE FLORIDA           SJE FLORIDA ENTERPRISES LLC                         CLASS 3          100,000.00               0.00              0.00               100,000.00
SKARET                MAINSTAR-FBO LINDA SKARET RW003741                  CLASS 3            40,000.00         1,332.22               0.00                38,667.78
SKARYD                JERRY & MELANIE SKARYD                              CLASS 3          450,000.00        20,729.16                0.00               429,270.84
SKEEN                 RICH SKEEN                                         CLASS 3*            50,000.00          505.56                0.00                49,494.44
SKILLMAN              MARGARET M SKILLMAN                                 CLASS 3            50,000.00          476.39                0.00                49,523.61
SKIMINA               VIVIAN SKIMINA                                      CLASS 3            25,000.00        1,618.11                0.00                23,381.89

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SKOGSBERG             GREG SKOGSBERG                                      CLASS 3            25,000.00         2,187.50               0.00                22,812.50
SKUDERA               MICHAEL J SKUDERA                                   CLASS 3            50,000.00         2,333.31               0.00                47,666.69
SKUDERA/KINAHAN       RAYMOND R SKUDERA & PATRICIA KINAHAN                CLASS 3            30,000.00         2,830.00         1,000.00                  26,170.00
SKVARCH               THE WILFRED & BERNICE SKVARCH TR DTD 08/04/05       CLASS 3           200,000.00       26,550.16                0.00               173,449.84
SKYLIGHT RESOURCES    SKYLIGHT RESOURCES LLC                              CLASS 3           200,000.00       10,572.26                0.00               189,427.74
SLATER                DAVID J SLATER                                      CLASS 3            30,000.00        3,249.15                0.00                26,750.85
SLATER                HORIZON TR CO-FBO THELMA M SLATER IRA               CLASS 3            73,000.00         8,922.28               0.00                64,077.72
SLATER                IRENE S SLATER                                      CLASS 3            25,000.00         2,812.50               0.00                22,187.50
SLATER                JAMES T SLATER                                      CLASS 3            25,000.00        2,812.50                0.00                22,187.50
SLAVINSKI             SLAVINSKI RT                                        CLASS 3            25,000.00          375.01                0.00                24,624.99
SLIDE PLUS            SLIDE PLUS INC                                      CLASS 3          200,000.00         1,066.67                0.00               198,933.33
SLIFER                EVELYN M SLIFER                                     CLASS 3          125,000.00          2,048.60               0.00               122,951.40
SLIJK                 PROV. TR GP-FBO RICHARD P SLIJK INH IRA             CLASS 3            64,500.00         2,915.94               0.00                61,584.06
SLOTA                 RHONDA HARRIS SLOTA                                 CLASS 3            60,000.00              0.00              0.00                60,000.00
SLUSARSKI             SLUSARSKI LT DTD 04/11/17                           CLASS 3            40,000.00          940.00                0.00                39,060.00
SMALL                 JAY & ILENE SMALL                                   CLASS 3          225,000.00        28,277.11                0.00               196,722.89
SMEDLEY               SHIRLEY SMEDLEY                                     CLASS 3          100,000.00          2,583.35               0.00                97,416.65
SMELTZER              HUGH SMELTZER                                       CLASS 3            25,000.00          404.17                0.00                24,595.83
SMETANA               THE E ELAINE SMETANA TR 08/17/94 AMENDED            CLASS 3          300,000.00        24,616.67                0.00               275,383.33
SMITH                 CLARENCE P & PHYLLIS C SMITH                        CLASS 3            25,000.00          635.44                0.00                24,364.56
SMITH                 DAVID & LAUREN SMITH                                CLASS 3            35,000.00          548.33                0.00                34,451.67
SMITH                 DONLIE SMITH                                        CLASS 3          100,000.00        21,129.12                0.00                78,870.88
SMITH                 GERALD A SMITH                                      CLASS 3          182,200.00        41,165.65                0.00               141,034.35
SMITH                 HILDEGARD A & LAWRENCE H SMITH                      CLASS 3            25,000.00          913.17                0.00                24,086.83
SMITH                 JOHN G & SHIRLEY A SMITH                            CLASS 3           400,000.00       24,184.74                0.00               375,815.26
SMITH                 JOY L SMITH                                         CLASS 3            25,000.00          816.00                0.00                24,184.00
SMITH                 LARRY & BARBARA SMITH                               CLASS 3            80,000.00         1,011.10               0.00                78,988.90
SMITH                 LISA E & BRIAN S SMITH                              CLASS 5          100,000.00         9,947.26                0.00                90,052.74
SMITH                 MAINSTAR-FBO DANIEL SMITH TW003365                  CLASS 3           455,000.00       50,620.83          1,000.00                 403,379.17

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SMITH                 MAINSTAR-FBO GLORIA SMITH RW004058                  CLASS 3            60,000.00          791.67                0.00                59,208.33
SMITH                 MAINSTAR-FBO PEGGY SMITH                            CLASS 5          242,500.00        20,107.29                0.00               222,392.71
SMITH                 MARIA DE LA LUZ SMITH                               CLASS 3          150,000.00         7,687.50                0.00               142,312.50
SMITH                 MICHAEL D & ELIZABETH B SMITH                       CLASS 3            50,000.00        8,100.00                0.00                41,900.00
SMITH                 PEGGY SMITH                                         CLASS 3            35,000.00          865.26                0.00                34,134.74
SMITH                 PETER SMITH                                         CLASS 3          100,000.00        11,001.83           333.33                   88,664.84
SMITH                 PETER SMITH                                         CLASS 5          200,000.00        22,003.66           666.67                  177,329.67
SMITH                 PROV. TR GP-FBO ARLIE R SMITH ICA                   CLASS 3          265,000.00        40,449.31                0.00               224,550.69
SMITH                 PROV. TR GP-FBO GARY B SMITH IRA                    CLASS 3          240,800.00        51,816.93                0.00               188,983.07
SMITH                 PROV. TR GP-FBO JANICE S SMITH IRA                  CLASS 5          145,000.00        52,481.83                0.00                92,518.17
SMITH                 PROV. TR GP-FBO KAREN L SMITH IRA                   CLASS 3            80,000.00       11,835.55                0.00                68,164.45
SMITH                 PROV. TR GP-FBO LAWRENCE H SMITH IRA                CLASS 3            25,000.00          892.70                0.00                24,107.30
SMITH                 PROV. TR GP-FBO PATRICIA SMITH IRA                  CLASS 3            61,000.00       13,511.53                0.00                47,488.47
SMITH                 ROBERT L JR & JACQUELINE F SMITH                    CLASS 3            75,000.00       15,693.84                0.00                59,306.16
SMITH                 RUSSELL A SMITH                                     CLASS 3          250,000.00         2,916.67                0.00               247,083.33
SMITH                 RUTH A SMITH                                        CLASS 5            50,000.00       10,652.86                0.00                39,347.14
SMITH                 SANDRA SMITH                                        CLASS 3            50,000.00          576.38                0.00                49,423.62
SMITH                 SARAH Y SMITH                                       CLASS 3          100,000.00         5,224.96                0.00                94,775.04
SMITH                 SMITH FAMILY IRREV TR                               CLASS 3          300,000.00        35,038.70                0.00               264,961.30
SMITH                 VICKI L SMITH                                       CLASS 5            50,000.00       23,833.53                0.00                26,166.47
SMITH                 WILLETT R SMITH                                     CLASS 3            40,000.00        3,340.00                0.00                36,660.00
SMITH/FALCIANO        EDWARD J SMITH & DONNA P FALCIANO                   CLASS 3           100,000.00         5,561.14               0.00                94,438.86
SNIDER                BILLY & CAROLYN SNIDER                              CLASS 3            60,000.00              0.00              0.00                60,000.00
SNITZER               PROV. TR GP-FBO LAURA S SNITZER ROTH IRA            CLASS 3            82,602.14       17,305.15                0.00                65,296.99
SNITZER               PROV. TR GP-FBO RICHARD A SNITZER IRA               CLASS 3           220,297.70       13,819.16                0.00               206,478.54
SNOLAND               PROV. TR GP-FBO NANCY SNOLAND IRA                   CLASS 3            43,000.00         2,448.61               0.00                40,551.39
SNYDER                IRA SVCS TR CO-CFBO LLOYD J SNYDER                  CLASS 3           180,000.00         1,190.00               0.00               178,810.00
SNYDER                JAMES & JO ANNE SNYDER                              CLASS 3            25,000.00              0.00              0.00                25,000.00
SNYDER                JAMES L SNYDER                                      CLASS 3            50,000.00       11,391.69          3,523.20                  35,085.11

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
SNYDER                MAINSTAR-FBO WENDY A SNYDER                        CLASS 3           100,000.00         5,833.34                0.00                94,166.66
SNYDER                SANDRA S SNYDER                                    CLASS 3            40,000.00          653.33                 0.00                39,346.67
SOCIE                 CARMELA L SOCIE                                    CLASS 5            50,000.00        7,805.62                 0.00                42,194.38
SOFEN                 GARY &/OR KRISTIN SOFEN RT                         CLASS 5          100,000.00        31,194.35                 0.00                68,805.65
SOFEN                 HARVEY & BARBARA SOFEN RT DTD 03/08/06             CLASS 3            50,000.00         7,217.78                0.00                42,782.22
SOFEN                 HARVEY & BARBARA SOFEN RT DTD 03/08/06             CLASS 5           100,000.00       14,435.56                 0.00                85,564.44
SOGHOMONIAN           HAROUT & LENA SOGHOMONIAN                          CLASS 3           100,000.00               0.00              0.00               100,000.00
SOKOL                 MAINSTAR-FBO SUZANNE SOKOL T2178290                CLASS 3            90,000.00          475.00                 0.00                89,525.00
SOLANO                CHRISTINA & ROBERT SOLANO                          CLASS 3           100,000.00         6,088.92                0.00                93,911.08
SOLLENBERGER          BETTY J SOLLENBERGER                               CLASS 3            60,000.00          470.00                 0.00                59,530.00
SOLOWY                MAINSTAR-FBO DANNY E SOLOWY                        CLASS 3           198,567.12       11,649.27                 0.00               186,917.85
SOMAYAJULA            SUVARCHALA SOMAYAJULA                              CLASS 3            25,000.00          829.17                 0.00                24,170.83
SOMERS                MATTHEW J SOMERS                                   CLASS 3            25,000.00         1,579.83                0.00                23,420.17
SORG                  ROSALIE SORG                                       CLASS 3            50,000.00              90.28              0.00                49,909.72
SORIANO               ELIZABETH SORIANO                                  CLASS 3            75,000.00         3,894.37                0.00                71,105.63
SORIANO               NELIA SORIANO                                      CLASS 3          200,000.00          9,197.26                0.00               190,802.74
SORICK/WELSH          HARVEY H SORICK & EVELYN WELSH                     CLASS 3            25,000.00          520.85                 0.00                24,479.15
SORLIEN               RONALD & SUSAN J SORLIEN                           CLASS 3            45,000.00          720.00                 0.00                44,280.00
SORSHER               MAINSTAR-FBO ALLA SORSHER R2175563                 CLASS 3            96,250.36         8,341.93                0.00                87,908.43
SOTAK                 DOLORES SOTAK                                      CLASS 3            75,000.00         2,937.50                0.00                72,062.50
SOTO                  MISAEL SOTO                                        CLASS 3            50,000.00        8,791.73                 0.00                41,208.27
SOTO                  PROV. TR GP-FBO MISAEL SOTO IRA                    CLASS 3            69,617.58       12,856.05                 0.00                56,761.53
SOUDER                MERLE & NANCY SOUDER                               CLASS 5           600,000.00       80,974.94                 0.00               519,025.06
SOUTH                 LEON SOUTH                                         CLASS 3            25,000.00          208.34                 0.00                24,791.66
SOWA                  PROV. TR GP-FBO NORAH M SOWA IRA                   CLASS 3           116,500.00       13,308.34                 0.00               103,191.66
SOWELL                MAINSTAR-FBO JOANNE L SOWELL T2175623              CLASS 3           138,863.45         8,955.18                0.00               129,908.27
SOWELL                MAINSTAR-FBO JOSEPH C SOWELL T2175622              CLASS 3            36,395.72         2,243.40                0.00                34,152.32
SPACKMAN              PROV. TR GP-FBO MICHAEL SPACKMAN IRA               CLASS 3           103,800.00         9,377.73                0.00                94,422.27
SPADEA                GREGORY J & REGINA SPADEA                          CLASS 3           100,000.00       14,348.99           2,000.00                  83,651.01

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
SPADEA                PROV. TR GP-FBO GREGORY J SPADEA IRA                CLASS 3            79,500.00       11,132.92               0.00                68,367.08
SPAIN                 TIMOTHY J SPAIN                                     CLASS 3          300,000.00        16,055.46               0.00               283,944.54
SPAIN                 TIMOTHY J SPAIN                                    CLASS 3*          100,000.00           952.77               0.00                99,047.23
SPANGLER              PATRICK SPANGLER                                    CLASS 3            80,000.00         7,987.50              0.00                72,012.50
SPANGLER              THE SPANGLER FT DTD 09/16/16                        CLASS 5            90,000.00         3,750.00              0.00                86,250.00
SPANIAL               JOSEPH P & FRANCINE B SPANIAL                       CLASS 3           350,000.00       31,324.90               0.00               318,675.10
SPARKS                CHERYL A SPARKS                                     CLASS 3          250,000.00        12,189.57               0.00               237,810.43
SPARKS                ELSIE L SPARKS                                      CLASS 3            50,000.00         2,997.19              0.00                47,002.81
SPEED                 WILISA SPEED                                        CLASS 3          100,000.00         6,416.66               0.00                93,583.34
SPENCER               MAINSTAR-FBO CHARLTON W SPENCER T2177247            CLASS 3           101,464.26         2,714.40              0.00                98,749.86
SPENCER               MAINSTAR-FBO DONALD L SPENCER T2174895              CLASS 3            35,000.00         4,198.76              0.00                30,801.24
SPENCER               MAINSTAR-FBO KATHRYN L SPENCER T2174896             CLASS 3            50,000.00         5,998.25              0.00                44,001.75
SPENCER               MAURICE & BEVERLY SPENCER                           CLASS 3            25,000.00         1,256.56              0.00                23,743.44
SPENCER               THE ESTATE OF MAURICE SPENCER                       CLASS 3            40,000.00         2,155.60              0.00                37,844.40
SPESSARD              IRA SVCS TR CO-CFBO BARBARA K SPESSARD              CLASS 3            27,200.00          491.10               0.00                26,708.90
SPETKA                PROV. TR GP-FBO LAWRENCE M SPETKA IRA               CLASS 5           200,000.00       67,778.00               0.00               132,222.00
SPICER                DARREL & MARY LOU SPICER                            CLASS 3          100,000.00          9,583.41              0.00                90,416.59
SPIEGEL & DONNELL     THE SPIEGEL & DONNELL TR U/A 01/23/14               CLASS 3            50,000.00         5,794.97              0.00                44,205.03
SPIELVOGEL            MAUNG TIN-WA & ANNA SPIELVOGEL                      CLASS 3           250,000.00       25,833.20               0.00               224,166.80
SPILLMAN              MAINSTAR-FBO GAYLETTE C SPILLMAN                    CLASS 3            51,716.00         5,968.54              0.00                45,747.46
SPILLMAN              SPILLMAN FRLT                                       CLASS 3            50,000.00        6,141.67               0.00                43,858.33
SPINA                 JUSTIN FRANCESCO & APRIL JOY SPINA                  CLASS 3            60,000.00        1,147.50               0.00                58,852.50
SPINAVARIA            JOANNE & VINCENT SPINAVARIA                         CLASS 3            50,000.00         6,468.75              0.00                43,531.25
SPINOSA               LISA A SPINOSA                                      CLASS 3            40,000.00        3,445.51               0.00                36,554.49
SPINOSA               MAINSTAR-FBO LISA A SPINOSA                         CLASS 3            26,800.00        3,442.33               0.00                23,357.67
SPIRKA                MAINSTAR-FBO WILLIAM J SPIRKA T2176425              CLASS 3          400,000.00        15,888.89               0.00               384,111.11
SPIROFF               DIANNE K SPIROFF                                    CLASS 3          250,000.00        22,859.72               0.00               227,140.28
SPIVAK                THE SPIVAK FT                                       CLASS 5          250,000.00        25,885.38               0.00               224,114.62
SPOON                 MAINSTAR-FBO JONI A SPOON                           CLASS 3            30,000.00        1,567.50               0.00                28,432.50

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name    Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
SPOONER                DENNIS & JUDY SPOONER                               CLASS 3          100,000.00        19,038.99                0.00                80,961.01
SPOONER                JUDY SPOONER                                        CLASS 3            30,000.00        2,065.00                0.00                27,935.00
SPOONER                SUNWEST TR DENNIS SPOONER IRA                       CLASS 3           269,000.00       39,247.33                0.00               229,752.67
SPOONER                SUNWEST TR JUDY SPOONER IRA                         CLASS 3           139,000.00       19,566.40                0.00               119,433.60
SPOORS                 PROV. TR GP-FBO THOMAS J SPOORS IRA                 CLASS 3            22,900.00         1,571.83               0.00                21,328.17
SPRAGUE                PROV. TR GP-FBO GARY SPRAGUE IRA                    CLASS 3            50,000.00         2,600.00               0.00                47,400.00
SPRECHER               JIM & NANCY SPRECHER                                CLASS 3            50,000.00         8,450.95               0.00                41,549.05
SPRECHER               JIM & NANCY SPRECHER                                CLASS 5           100,000.00       16,901.91                0.00                83,098.09
SPRENGER               RONALD R SPRENGER                                   CLASS 3           200,000.00         1,722.22               0.00               198,277.78
SPRIGGS                IRA SVCS TR CO-CFBO JACQUELINE L SPRIGGS            CLASS 3            50,000.00          388.89                0.00                49,611.11
SPRIGGS                JACQUELINE SPRIGGS                                  CLASS 3          100,000.00          8,983.28               0.00                91,016.72
SPRING                 BRUCE N SPRING                                      CLASS 3            50,000.00         3,741.65               0.00                46,258.35
SPRINGER               MAINSTAR-FBO NEIL SPRINGER T2176073                 CLASS 3          100,000.00          3,777.08               0.00                96,222.92
SPRINGER               PROV. TR GP-FBO JOHN L SPRINGER IRA                 CLASS 3            50,000.00       11,988.83                0.00                38,011.17
SPRUCEBANK             MARGARET & JOHN N SPRUCEBANK JR                     CLASS 3            40,000.00         3,229.30               0.00                36,770.70
SPRUILL                JOHN SPRUILL                                        CLASS 3            36,000.00         1,014.00               0.00                34,986.00
SPRUILL                PROV. TR GP-FBO JOHN SPRUILL ROTH IRA               CLASS 3            34,000.00          935.00                0.00                33,065.00
SPURCHISE              JOSEPH A SPURCHISE                                  CLASS 3           195,221.88       18,627.32                0.00               176,594.56
SRAMEK/PONTREMOLI      ANN C SRAMEK & CAROL A PONTREMOLI                   CLASS 3            50,000.00         4,362.50               0.00                45,637.50
SRH INVESTMENTS        SRH INVESTMENTS LLC                                 CLASS 3            50,000.00        1,254.14                0.00                48,745.86
SRIVASTAVA             ITI SRIVASTAVA                                      CLASS 3            45,000.00         4,395.07               0.00                40,604.93
ST. PATRICK CATHOLIC   ST PATRICK CATHOLIC CHURCH                          CLASS 3            50,000.00          722.21                0.00                49,277.79
ST. PIERRE             EDWARD A & LYNNE M ST PIERRE                        CLASS 3           125,000.00         7,791.67               0.00               117,208.33
ST. PIERRE             IRA SVCS TR CO-CFBO DARYL J ST PIERRE               CLASS 3           141,000.00       15,517.04                0.00               125,482.96
STACEY                 DENA STACEY                                         CLASS 5            50,000.00          958.34                0.00                49,041.66
STACEY                 MAINSTAR-FBO DENA STACEY T2178040                   CLASS 5           100,000.00         1,666.67               0.00                98,333.33
STACKALIS              BERNADETTE C STACKALIS                              CLASS 3           125,000.00       18,531.75                0.00               106,468.25
STACY                  MAINSTAR-FBO JAMES STACY                            CLASS 3            35,000.00         1,609.52               0.00                33,390.48
STAHL                  SHIRLEY L STAHL                                     CLASS 3            65,000.00              0.00              0.00                65,000.00

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
STAHLECKER            BOB STAHLECKER                                     CLASS 3            40,000.00         6,278.90                0.00                33,721.10
STAINBROOK            RODNEY ROY STAINBROOK                              CLASS 3            25,000.00          291.66                 0.00                24,708.34
STAKE                 NEWTON S & FLORA H STAKE                           CLASS 3          103,817.00          2,240.72                0.00               101,576.28
STALEY                CAROL A STALEY RT DTD 05/05/93                     CLASS 3           100,000.00         2,789.55                0.00                97,210.45
STAMMEN               KENNETH L & PATRICIA R STAMMEN                     CLASS 5          175,000.00        43,149.58                 0.00               131,850.42
STAMMEN               PROV. TR GP-FBO KENNETH L STAMMEN IRA              CLASS 3           172,800.00       52,933.81                 0.00               119,866.19
STAMNAS               PROV. TR GP-FBO LESTER STAMNAS IRA                 CLASS 3            73,570.00         1,912.82                0.00                71,657.18
STAMOS                TED C STAMOS LT                                    CLASS 3            85,000.00        5,354.14                 0.00                79,645.86
STAMPFLI              WENDELL P STAMPFLI 3RD                             CLASS 3          100,000.00        16,376.40                 0.00                83,623.60
STANDEFER             THE WILLIAM/P STANDEFER FT 08/16/95                CLASS 3          100,000.00        15,024.21                 0.00                84,975.79
STANIEWICZ            PROV. TR GP-FBO MARY STANIEWICZ IRA                CLASS 3            45,000.00              37.50              0.00                44,962.50
STANIEWICZ            PROV. TR GP-FBO THEODORE J STANIEWICZ IRA          CLASS 3            50,000.00        3,981.87                 0.00                46,018.13
STANIEWICZ            PROV. TR GP-FBO THEODORE J STANIEWICZ IRA          CLASS 5          275,000.00        21,900.27                 0.00               253,099.73
STANLEY               HELLEN F STANLEY                                   CLASS 3          100,000.00           766.67                 0.00                99,233.33
STANLEY               WILLIAM & PAMELA STANLEY                           CLASS 3            50,000.00         5,026.45                0.00                44,973.55
STANSBURY             JAMES & BARBARA STANSBURY LT DTD 12/29/10          CLASS 3           100,000.00         6,433.33                0.00                93,566.67
STANTON               KENNETH & ALEEN STANTON                            CLASS 3           100,000.00         9,926.95                0.00                90,073.05
STANTON               PROV. TR GP-FBO KENNETH STANTON IRA                CLASS 3            72,858.00         5,075.77                0.00                67,782.23
STAPERT               RICHARD STAPERT                                    CLASS 3          300,000.00        15,279.17                 0.00               284,720.83
STARK                 CAROL F STARK                                      CLASS 3            55,000.00         9,642.79                0.00                45,357.21
STARNER               PROV. TR GP-FBO TIMOTHY STARNER IRA                CLASS 3           115,500.00         9,228.78                0.00               106,271.22
STARNER/CICERO        MARTHA STARNER & SUSAN CICERO                      CLASS 3           270,000.00       28,162.50                 0.00               241,837.50
STARY                 PROV. TR GP-FBO GERALD D STARY IRA                 CLASS 3            33,150.00         2,145.55                0.00                31,004.45
STARZYNSKI            GREGORY M STARZYNSKI TR DTD 08/28/89               CLASS 3            50,000.00               0.00              0.00                50,000.00
STASAITIS             PROV. TR GP-FBO DAVID J STASAITIS IRA              CLASS 3            30,000.00         2,707.61                0.00                27,292.39
STASAITIS             PROV. TR GP-FBO DAVID J STASAITIS IRA              CLASS 5            50,000.00         4,512.68                0.00                45,487.32
STATLER               VERONICA S STATLER                                 CLASS 3            25,000.00          680.89                 0.00                24,319.11
STAUDT                MAINSTAR-FBO BARRY L STAUDT                        CLASS 3            76,200.00         7,247.47                0.00                68,952.53
STEBNER               WAYNE & SANDRA K STEBNER                          CLASS 3*           100,000.00         1,147.22                0.00                98,852.78

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
STECK                 FRANK STECK JR                                      CLASS 5          100,000.00        33,860.98                0.00                66,139.02
STECK                 PROV. TR GP-FBO PHILLIPE J STECK IRA                CLASS 5          100,000.00        32,388.82                0.00                67,611.18
STEED                 PATRICIA STEED                                      CLASS 3            25,000.00          791.69                0.00                24,208.31
STEEL                 WILLIAM A STEEL                                     CLASS 3            25,000.00          155.56                0.00                24,844.44
STEELE                DEWEY & SHARLENE STEELE                             CLASS 3          100,000.00          5,750.00               0.00                94,250.00
STEELE                JOAN STEELE                                         CLASS 3            50,000.00        4,704.24                0.00                45,295.76
STEELE                LYNN STEELE                                         CLASS 3          100,000.00        17,660.13                0.00                82,339.87
STEELE                LYNN STEELE                                         CLASS 5          100,000.00        17,660.13                0.00                82,339.87
STEELE                RICHARD T STEELE                                    CLASS 3          400,000.00          3,033.33               0.00               396,966.67
STEEN                 ALFRED STEEN                                        CLASS 3          100,000.00           983.33                0.00                99,016.67
STEENBLIK             LOUIS REID STEENBLIK                                CLASS 3            25,000.00         2,229.17               0.00                22,770.83
STEENPORT             LISA STEENPORT                                      CLASS 3            25,000.00          593.04                0.00                24,406.96
STEFFEN               RICHARD S STEFFEN                                   CLASS 3            35,000.00          422.91                0.00                34,577.09
STEIGMAN              DORIS C STEIGMAN                                    CLASS 3          100,000.00          8,829.22               0.00                91,170.78
STEIGMAN              STEIGMAN INC                                        CLASS 3          100,000.00        10,066.67                0.00                89,933.33
STEINBERG             MITCH STEINBERG                                     CLASS 3            25,000.00         2,644.38               0.00                22,355.62
STEINBRUNNER          EDWARD L & JANET L STEINBRUNNER                     CLASS 3            50,000.00         6,597.82         1,000.00                  42,402.18
STEINBRUNNER          GARY N & LINDA M STEINBRUNNER                       CLASS 3           140,000.00         9,829.17               0.00               130,170.83
STEINBRUNNER          LAVERN & JOANN C STEINBRUNNER                       CLASS 3            30,000.00         6,312.55               0.00                23,687.45
STEINBRUNNER          MELVIN W & JANET S STEINBRUNNER                     CLASS 3            30,000.00         6,270.85               0.00                23,729.15
STEINBRUNNER          PROV. TR GP-FBO EDWARD L STEINBRUNNER IRA           CLASS 3            35,500.00         2,804.50               0.00                32,695.50
STEINBRUNNER          PROV. TR GP-FBO LINDA M STEINBRUNNER IRA            CLASS 3            75,000.00         4,875.00               0.00                70,125.00
STEINHAEUFEL          PROV. TR GP-FBO ROYLENE STEINHAEUFEL I IR           CLASS 5            50,000.00       11,508.29                0.00                38,491.71
STEINMILLER           HERMAN STEINMILLER                                  CLASS 3            30,000.00       12,497.17                0.00                17,502.83
STELLA                MICHAEL & MARY JANE STELLA                          CLASS 3            25,000.00         1,878.53               0.00                23,121.47
STELZER-GRAV          VICKIE J STELZER-GRAV                              CLASS 3*            25,000.00          347.56                0.00                24,652.44
STENDER               RANDAL & LINDA STENDER                              CLASS 3            25,000.00              0.00              0.00                25,000.00
STENSGAARD            DEAN & JOANN STENSGAARD                             CLASS 3           100,000.00         6,333.38               0.00                93,666.62
STEPANIAN             HOLLY STEPANIAN                                     CLASS 3           100,000.00          350.00                0.00                99,650.00

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type            [1]               [2]                [3]          [1] minus [2] minus [3]
STEPANOFF             MAINSTAR-FBO GEORGE STEPANOFF                      CLASS 3            75,000.00         4,031.25                0.00                70,968.75
STEPHENS              MAINSTAR-FBO JAMES L STEPHENS T2176851             CLASS 3          500,000.00        20,416.67                 0.00               479,583.33
STEPHENS              MARVIN STEVE STEPHENS                              CLASS 3            50,000.00         2,388.85                0.00                47,611.15
STEPHENS              PAMELA J STEPHENS                                  CLASS 3            25,000.00          882.27                 0.00                24,117.73
STEPHENS              RICHARD & MARY ANN STEPHENS                        CLASS 3            85,000.00         4,886.66                0.00                80,113.34
STEPHENSON            GARY STEPHENSON                                    CLASS 3          100,000.00        18,911.90                 0.00                81,088.10
STEPHENSON            SUNWEST TR GARY STEPHENSON IRA                     CLASS 3            85,000.00         5,751.67                0.00                79,248.33
STERN                 JOHN STERN                                         CLASS 3            30,000.00        2,166.67                 0.00                27,833.33
STERN                 MILTON & ROSLYN STERN RT                           CLASS 3          375,000.00        43,101.03                 0.00               331,898.97
STERN                 SANFORD & LAURA STERN RT 11/05/92                  CLASS 3           400,000.00       44,083.33                 0.00               355,916.67
STERN                 THE STERN 1994 FT DTD 08/24/94                     CLASS 3          250,000.00        48,534.67                 0.00               201,465.33
STERN/POSNER-LEMONS LAURA STERN & LARA POSNER-LEMONS                     CLASS 3            50,000.00              58.33              0.00                49,941.67
STERNAT               JANET STERNAT                                      CLASS 3          500,000.00        20,713.86                 0.00               479,286.14
STERNBERG             ARTHUR & IRMA R STERNBERG                          CLASS 3            25,000.00         3,441.03                0.00                21,558.97
STEVEN                ALAN STEVEN INC PROFIT SHARING PLAN                CLASS 3           200,000.00         2,696.07                0.00               197,303.93
STEVENS               LINDA STEVENS                                      CLASS 3            50,000.00         9,116.67                0.00                40,883.33
STEVENS               MAINSTAR-FBO LOIS STEVENS                          CLASS 3            50,000.00         2,751.39                0.00                47,248.61
STEVENS               MARK STEVENS                                       CLASS 3          750,000.00        69,166.62                 0.00               680,833.38
STEVENS               MARY STEVENS                                       CLASS 3            80,000.00        5,933.40                 0.00                74,066.60
STEVENS               PROV. TR GP-FBO PERRY L STEVENS SEP IRA            CLASS 3            50,000.00              91.67              0.00                49,908.33
STEVENSON             ANDREW STEVENSON                                   CLASS 3            25,000.00          378.48                 0.00                24,621.52
STEVENSON             MAINSTAR-FBO JEANA M STEVENSON T2177134            CLASS 3          100,000.00          1,888.89                0.00                98,111.11
STEVENSON             MAINSTAR-FBO MARY R STEVENSON T2178297             CLASS 3            35,000.00          221.67                 0.00                34,778.33
STEWART               BURLEY H & DEBRA L STEWART                         CLASS 3          150,000.00        23,487.50                 0.00               126,512.50
STEWART               IRA SVCS TR CO-CFBO CHRISTOPHER K STEWART          CLASS 3           122,000.00         1,281.00                0.00               120,719.00
STEWART               IRA SVCS TR CO-CFBO SILAS P STEWART IRA            CLASS 3          100,756.95         6,465.18                 0.00                94,291.77
STEWART               PROV. TR GP-FBO BURLEY H STEWART IRA               CLASS 3           270,000.00       39,393.47                 0.00               230,606.53
STIEFEL               DOLORES STIEFEL                                    CLASS 5            40,000.00          500.00                 0.00                39,500.00
STIEFEL               MAINSTAR-FBO DOLORES STIEFEL T2178255              CLASS 5          260,000.00         1,516.67                 0.00               258,483.33

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
STIEMKE               THEODORE HENRY STIEMKE                             CLASS 3            25,000.00         1,430.60              0.00                23,569.40
STIERS                DONALD P STIERS                                    CLASS 3          250,000.00        12,107.61               0.00               237,892.39
STIMELL               BERNARD E STIMELL RT 07/20/06                      CLASS 3            25,000.00         2,670.83              0.00                22,329.17
STIMMEL               DIANA STIMMEL                                      CLASS 3            25,000.00          966.12               0.00                24,033.88
STOCK                 IRA SVCS TR CO-CFBO JOYCE A STOCK                  CLASS 3            70,000.00         2,994.48              0.00                67,005.52
STOCKTON              PROV. TR GP-FBO ROBERT M STOCKTON JR IRA           CLASS 3            50,000.00         2,381.94              0.00                47,618.06
STODDARD              WALT STODDARD                                      CLASS 3            50,000.00         1,012.50              0.00                48,987.50
STOFFELS              JAMES A & DORENE G STOFFELS                        CLASS 3            80,000.00         3,200.00              0.00                76,800.00
STOKES                CARILYN S STOKES                                   CLASS 3          100,000.00          1,291.68              0.00                98,708.32
STOKES                MAINSTAR-FBO TERESA STOKES TW003581                CLASS 3            45,500.00         2,821.00              0.00                42,679.00
STOLBA                GOLDSTAR TR CO-FBO HEATHER L STOLBA                CLASS 5            30,400.00         8,376.86              0.00                22,023.14
STOLBA                GOLDSTAR TR CO-FBO RANDY D STOLBA                  CLASS 5           120,400.00       33,060.08               0.00                87,339.92
STOLBA                RANDY D & HEATHER L STOLBA                         CLASS 3            25,000.00         2,631.66              0.00                22,368.34
STONE                 SANDRA E STONE                                     CLASS 3            80,000.00       23,037.99               0.00                56,962.01
STONE                 THE STONE LT                                       CLASS 5         1,200,000.00      351,860.08               0.00               848,139.92
STONE BRIDGE CHURCH STONE BRIDGE CHURCH OF THE BRETHREN                  CLASS 3            50,000.00         1,027.76              0.00                48,972.24
STONEHOCKER           DARRYL K STONEHOCKER                               CLASS 3            50,000.00         3,175.00              0.00                46,825.00
STONEHOCKER           DOUGLAS K STONEHOCKER                              CLASS 3            50,000.00         3,375.00              0.00                46,625.00
STORY                 ADV. IRA TRUST-FBO RALPH STORY IRA                 CLASS 5           100,000.00       30,860.99               0.00                69,139.01
STOUP                 BETTY STOUP                                        CLASS 3            75,000.00         2,566.67              0.00                72,433.33
STOUT                 RICHARD & KIMBERLY STOUT                           CLASS 3            50,000.00         1,902.79              0.00                48,097.21
STOVER                RANDEL B STOVER                                    CLASS 3            40,000.00          754.43               0.00                39,245.57
STRAGNELL             BEN STRAGNELL                                      CLASS 3           400,000.00         7,277.79              0.00               392,722.21
STRAIT                PROV. TR GP-FBO JOELLEN STRAIT IRA                 CLASS 3           127,121.00         9,195.09              0.00               117,925.91
STRANCH               JUDITH J STRANCH                                   CLASS 3            48,000.00         3,752.00              0.00                44,248.00
STRANCH               MAINSTAR-FBO WILLIAM STRANCH                       CLASS 3           112,400.00         9,647.67              0.00               102,752.33
STRAPKO               PROV. TR GP-FBO VICTOR STRAPKO IRA                 CLASS 3            50,260.00         6,450.03              0.00                43,809.97
STRASHEIM             THE KAREN K STRASHEIM LT                           CLASS 3            50,000.00         9,897.21              0.00                40,102.79
STRATSMA              DEAN STRATSMA                                      CLASS 3            50,000.00         1,730.57              0.00                48,269.43

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
STRBIK                JUDY M STRBIK RT U/A DTD 06/08/99                   CLASS 3          150,000.00          9,418.72               0.00               140,581.28
STRECKER              PAMELA STRECKER TR DTD 09/22/14                     CLASS 3            50,000.00       12,286.09                0.00                37,713.91
STRECKERT             JERROLD STRECKERT                                   CLASS 5           100,000.00       31,125.42                0.00                68,874.58
STRECKERT             SUNWEST TR JERROLD STRECKERT IRA                    CLASS 5           119,000.00       23,370.35                0.00                95,629.65
STREET                MAINSTAR-FBO HELENA S STREET                        CLASS 3             9,900.18          847.01                0.00                 9,053.17
STREET                MAINSTAR-FBO JAMES ANDREW STREET                    CLASS 3           642,736.40       54,989.67                0.00               587,746.73
STREIER               RANDALL L & GAYLE M & WAYNE G STREIER               CLASS 3            25,000.00          139.35                0.00                24,860.65
STREIER               RANDALL LEWIS STREIER                               CLASS 3          200,000.00        47,427.86           825.00                  151,747.14
STREMICK              PAUL W & JULIE R STREMICK                           CLASS 3            50,000.00              0.00              0.00                50,000.00
STRESEMANN            ALLAN STRESEMANN                                    CLASS 3            50,000.00        3,158.33                0.00                46,841.67
STREVELER             LYLE T & JUDITH A STREVELER                         CLASS 3           150,000.00         9,335.42               0.00               140,664.58
STREVELER             MAINSTAR-FBO THOMAS D STREVELER T2177078            CLASS 3            98,549.69         2,367.93               0.00                96,181.76
STRICKLAN             LYNN & KAY STRICKLAN                                CLASS 5           100,000.00       21,135.96                0.00                78,864.04
STRICKLAN             MAINSTAR-FBO KAY HARBER STRICKLAN                   CLASS 5            71,000.00       10,807.80                0.00                60,192.20
STRICKLAN             MAINSTAR-FBO LYNN DAVID STRICKLAN                   CLASS 5            65,000.00         9,894.46               0.00                55,105.54
STRICKLAND            CAROLYN STRICKLAND                                  CLASS 3            60,000.00         1,350.00               0.00                58,650.00
STRICKLAND            IRA SVCS TR CO-CFBO AUBREY STRICKLAND IRA           CLASS 3           400,000.00       13,166.66                0.00               386,833.34
STRICKLAND/MINCEY     MARY E STRICKLAND & ARMOND S MINCEY                 CLASS 3            75,000.00         1,187.49               0.00                73,812.51
STRICKO               ROBERT JR & SANDRA STRICKO                          CLASS 3            50,000.00         1,205.57               0.00                48,794.43
STRITE                HARRY E & PEGGY J STRITE                            CLASS 3            50,000.00         1,808.35               0.00                48,191.65
STRITE                IRA SVCS TR CO-CFBO DALE E STRITE                   CLASS 3            73,000.00          695.52                0.00                72,304.48
STRITE                IRA SVCS TR CO-CFBO KIMBERLY STRITE                 CLASS 3            49,700.00          473.53                0.00                49,226.47
STROHMAN              LANNY ROY & JUDI ANN STROHMAN                       CLASS 3           100,000.00       15,102.49                0.00                84,897.51
STRONG                MAINSTAR-FBO PHILLIP STRONG                         CLASS 3           520,000.00       32,066.67                0.00               487,933.33
STROTHMAN             LOUIS & KATHRYN STROTHMAN                           CLASS 3           110,000.00         1,442.22               0.00               108,557.78
STROUTS               PROV. TR GP-FBO DANA L STROUTS IRA                  CLASS 3           203,000.00       26,637.39                0.00               176,362.61
STUDEBAKER            PROV. TR GP-FBO JEFFERY R STUDEBAKER IRA            CLASS 3            70,000.00       17,710.02                0.00                52,289.98
STUDY                 DANIEL L STUDY                                      CLASS 3           350,000.00       72,099.99         15,012.02                 262,887.99
STUKENBORG            ARTHUR & JOYCE STUKENBORG                           CLASS 3            50,000.00              0.00              0.00                50,000.00

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
STULCE                JIM T STULCE                                       CLASS 5          160,000.00        47,733.21                 0.00               112,266.79
STUMP                 DAVID LEE & NEDINE S STUMP                         CLASS 3            30,000.00         1,388.75                0.00                28,611.25
STUMPF                ERIN STUMPF                                        CLASS 3            50,000.00        1,711.11                 0.00                48,288.89
STURMS                RD & MA STURMS LT DTD 10/02/96                     CLASS 3          100,000.00          2,850.00                0.00                97,150.00
STURTEVANT            WAYNE A & BETTY J STURTEVANT                       CLASS 3           125,000.00         2,197.97                0.00               122,802.03
STUTEVILLE            NEAL & MELODY STUTEVILLE                           CLASS 3           184,000.00       13,033.33                 0.00               170,966.67
SU                    JILL H SU LT                                       CLASS 3          200,000.00        31,025.56                 0.00               168,974.44
SU                    JILL H SU LT                                       CLASS 5          200,000.00        31,025.56                 0.00               168,974.44
SU                    NAN-YAO SU                                         CLASS 3          300,000.00         9,329.16                 0.00               290,670.84
SUCHMAN               RUTH SUCHMAN RLT DTD 08/21/93                      CLASS 3           100,000.00         4,550.00                0.00                95,450.00
SULLIVAN              DAVID R SULLIVAN                                   CLASS 5            50,000.00       29,984.82                 0.00                20,015.18
SULLIVAN              PROV. TR GP-FBO MARILYN L SULLIVAN IRA             CLASS 3            46,975.00         1,025.62                0.00                45,949.38
SUMMERHAYS            MAINSTAR-FBO KENNETH SUMMERHAYS                    CLASS 3            49,880.00        5,586.55                 0.00                44,293.45
SUMMERS               MARILYN SUMMERS                                    CLASS 3            40,000.00        2,351.42                 0.00                37,648.58
SUMNER                BARBARA SUMNER DECL OF TR DTD 07/31/92             CLASS 3           150,000.00         4,400.00                0.00               145,600.00
SUN                   JEFFREY SUN                                        CLASS 3          200,000.00        59,399.75                 0.00               140,600.25
SUN                   MILLIE SUN                                         CLASS 3            25,000.00              86.81              0.00                24,913.19
SUN/YU                JEFFREY SUN & ELAINE YU                            CLASS 3          400,000.00        39,000.00                 0.00               361,000.00
SUNDBERG              JOHN R SUNDBERG                                    CLASS 3           100,000.00         3,412.52                0.00                96,587.48
SUNSHINE POCKET       SUNSHINE POCKET LLC                                CLASS 3          125,000.00        10,833.33                 0.00               114,166.67
SUPNET                MAINSTAR-FBO MARY SUPNET TW003941                  CLASS 3          350,000.00        15,206.49                 0.00               334,793.51
SURBER                THE JAMES & CARLA SURBER RT DTD 10/22/16           CLASS 3            50,000.00         2,037.51                0.00                47,962.49
SUTTER                MAINSTAR-FBO BARBARA SUTTER T2177575               CLASS 3            49,000.00          980.00                 0.00                48,020.00
SUTTER                MAINSTAR-FBO ROGER SUTTER T2177235                 CLASS 3            70,000.00         1,575.00                0.00                68,425.00
SUTTON                IRA SVCS TR CO-CFBO FRANK E SUTTON                 CLASS 3            19,500.00          295.21                 0.00                19,204.79
SUTTON                IRA SVCS TR CO-CFBO SELMA M SUTTON                 CLASS 3            12,954.00          196.12                 0.00                12,757.88
SUTTON                LINDA S & JOHN E SUTTON                            CLASS 3          110,000.00        16,371.67                 0.00                93,628.33
SVENSSON              RICHARD S & JANICE R SVENSSON                      CLASS 5           120,000.00       35,110.98                 0.00                84,889.02
SWAFFORD              STEPHEN SWAFFORD                                   CLASS 3          200,000.00        16,348.47                 0.00               183,651.53

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
SWANSON               DON SWANSON                                         CLASS 3           100,000.00         8,359.69                0.00                91,640.31
SWANSON               KRISTA K & KURT M SWANSON                           CLASS 5            50,000.00         4,805.67                0.00                45,194.33
SWANSON               MAINSTAR-FBO JAMES A SWANSON T2175062               CLASS 3            60,500.00        7,102.70                 0.00                53,397.30
SWART                 MAINSTAR-FBO DIRK C SWART R2178425                  CLASS 3            95,467.97          106.08                 0.00                95,361.89
SWART                 MAINSTAR-FBO DIRK C SWART T2178424                  CLASS 3          144,061.75           160.07                 0.00               143,901.68
SWEETEN               TONYA SWEETEN                                       CLASS 3            25,000.00         1,005.82                0.00                23,994.18
SWENSON               DENNIS D SWENSON                                    CLASS 3            25,000.00        1,309.07                 0.00                23,690.93
SWETLAND              WILLIAM B SWETLAND                                  CLASS 3            82,000.00        2,460.00                 0.00                79,540.00
SWINNEY               CARROLL SWINNEY                                     CLASS 3          100,000.00         2,133.34                 0.00                97,866.66
SWYGART               THE LAURA R SWYGART SP NDS TR DT 11/29/02           CLASS 3           212,000.00       58,661.18                 0.00               153,338.82
SWYGART               WILLIAM I & LINDA M SWYGART                         CLASS 3            60,000.00         3,862.50                0.00                56,137.50
SYKES                 CLAUDIA SYKES                                       CLASS 3            50,000.00        3,541.67                 0.00                46,458.33
SYKES                 PROV. TR GP-FBO RAYMOND M SYKES IRA                 CLASS 3            54,081.00       14,978.61                 0.00                39,102.39
SYKTICH               LUCY B & MIKE SYKTICH                               CLASS 3            25,000.00          395.84                 0.00                24,604.16
SYLVESTER             JOHN SYLVESTER FT                                   CLASS 3            70,000.00        3,048.87                 0.00                66,951.13
SYMPHONY MGT.         SYMPHONY MANAGEMENT CASH BALANCE PLAN               CLASS 3            50,000.00              87.50              0.00                49,912.50
TABIN                 JEFFREY TABIN                                       CLASS 3            50,000.00        1,608.33                 0.00                48,391.67
TABLADILLO            MARIA E P & MIGUEL D F TABLADILLO                   CLASS 3            55,000.00         2,809.38                0.00                52,190.62
TABLADILLO            ROSALINA TABLADILLO RLT                             CLASS 3            50,000.00         2,058.34                0.00                47,941.66
TACKETT               WILLIAM H & DOROTHY J TACKETT                       CLASS 3          110,000.00          4,957.67                0.00               105,042.33
TADLOCK               KENT D & MARY M TADLOCK                             CLASS 3           100,000.00       14,613.14                 0.00                85,386.86
TAGATAC               ERWIN F & MELINDA G TAGATAC                         CLASS 3           225,000.00         9,237.50                0.00               215,762.50
TAHASH                BETTY J TAHASH                                      CLASS 3            25,000.00        1,529.17                 0.00                23,470.83
TAHASH                MAINSTAR-FBO BETTY J TAHASH T2177752                CLASS 3            58,656.10         1,065.58                0.00                57,590.52
TAING                 MENG SE & MARY TAING                                CLASS 3          100,000.00         5,541.64                 0.00                94,458.36
TALBOT                BERNICE H TALBOT                                    CLASS 3           201,750.00       43,564.44                 0.00               158,185.56
TALBOT                PROV. TR GP-FBO GUY A TALBOT IRA                    CLASS 3           200,000.00       22,735.85                 0.00               177,264.15
TALBOT                RICHARD D & CARMELA M TALBOT                        CLASS 3           150,000.00       12,563.87           2,000.00                 135,436.13
TALESE                VINCENT R & PATRICIA A TALESE                       CLASS 3            50,000.00         4,343.86                0.00                45,656.14

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
TALLMAN               MAINSTAR-FBO RONALD G TALLMAN R2177619              CLASS 3           159,447.00         2,524.58               0.00               156,922.42
TALLY                 CHARLES H IV & JULIE N TALLY                        CLASS 5          500,000.00        24,016.68                0.00               475,983.32
TAN                   MAINSTAR-FBO EU NEE TAN T2177743                    CLASS 3            52,935.55          941.08                0.00                51,994.47
TAN                   MAINSTAR-FBO RAYMON TAN TW003757                    CLASS 3            50,000.00          354.18                0.00                49,645.82
TAN                   RODRIGO & ELIZABETH TAN                             CLASS 3            25,000.00          545.16                0.00                24,454.84
TANDLICH              STEVEN & MARJORIE TANDLICH                          CLASS 3           150,000.00         3,934.10               0.00               146,065.90
TANNER                MAINSTAR-FBO JILL L TANNER BT176340                 CLASS 3            58,230.00         2,148.44               0.00                56,081.56
TANTILLO              JAMES TANTILLO                                      CLASS 3            25,000.00          513.90                0.00                24,486.10
TAPLEY                JOHN J TAPLEY                                       CLASS 3          150,000.00         4,638.22                0.00               145,361.78
TAPPLY                JANET TAPPLY                                        CLASS 3            25,000.00        2,846.14                0.00                22,153.86
TARN                  CHI TARN                                            CLASS 3            25,000.00        1,187.81                0.00                23,812.19
TARPINIAN             JOHN & GERMAINE TARPINIAN FT                        CLASS 3           200,000.00       28,972.10                0.00               171,027.90
TARPINIAN             TOM & JOYCE TARPINIAN FT DTD 10/27/08               CLASS 3          200,000.00        18,894.48           422.54                  180,682.98
TARVER                SANDRA L TARVER                                     CLASS 3            50,000.00         2,597.18               0.00                47,402.82
TARVER                SARA G TARVER                                       CLASS 3            50,000.00         4,430.62               0.00                45,569.38
TAUBERT               FREDERICK & MAUREEN TAUBERT                         CLASS 3           100,000.00         5,994.48               0.00                94,005.52
TAURO                 JANE TAURO                                          CLASS 3            70,000.00         1,610.00               0.00                68,390.00
TAURO/FERNANDES       JANE TAURO & JOY S FERNANDES                        CLASS 3           381,690.00         9,383.21               0.00               372,306.79
TAYLOR                ANDREW P & ROBIN L S TAYLOR                         CLASS 3            50,000.00         4,502.83               0.00                45,497.17
TAYLOR                FRED & DOYLENE TAYLOR                               CLASS 3          100,000.00          2,934.01               0.00                97,065.99
TAYLOR                HAROLD TAYLOR                                       CLASS 3            50,000.00         5,123.50               0.00                44,876.50
TAYLOR                HARRINGTON TAYLOR                                   CLASS 3           104,397.65          736.92                0.00               103,660.73
TAYLOR                IRA SVCS TR CO-CFBO LUCY A TAYLOR IRA               CLASS 3           100,000.00         4,308.30               0.00                95,691.70
TAYLOR                JOAN TAYLOR                                         CLASS 3            36,237.42              0.00              0.00                36,237.42
TAYLOR                KAREN J TAYLOR                                      CLASS 3           150,000.00         5,125.00               0.00               144,875.00
TAYLOR                LIBERTY TR CO-FBO GARY TAYLOR IRA                   CLASS 5           200,000.00       37,777.85                0.00               162,222.15
TAYLOR                LORI A TAYLOR                                       CLASS 3            25,000.00         3,866.95               0.00                21,133.05
TAYLOR                MAINSTAR-FBO STEVEN K TAYLOR R2178471               CLASS 5           191,000.00       17,430.78                0.00               173,569.22
TAYLOR                MAINSTAR-FBO SUSAN J TAYLOR R2178472                CLASS 5            40,000.00          222.22                0.00                39,777.78

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
TAYLOR                MICHAEL K TAYLOR                                    CLASS 3            25,000.00         2,665.39               0.00                22,334.61
TAYLOR                NANCY TAYLOR                                        CLASS 3            80,000.00          388.89                0.00                79,611.11
TAYLOR                PROV. TR GP-FBO JERROD TAYLOR IRA                   CLASS 5            85,000.00       21,460.69                0.00                63,539.31
TAYLOR                PROV. TR GP-FBO KAREN J TAYLOR IRA                  CLASS 3            70,000.00         9,624.39               0.00                60,375.61
TAYLOR                PROV. TR GP-FBO KAREN J TAYLOR IRA                  CLASS 5            50,000.00         6,874.56               0.00                43,125.44
TAYLOR                PROV. TR GP-FBO RONALD E TAYLOR ROTH IRA            CLASS 3           130,000.00         5,521.39               0.00               124,478.61
TAYLOR                ROBERT & SUSAN TAYLOR                               CLASS 5           300,000.00       54,033.10                0.00               245,966.90
TAYLOR                RTA FOR EDGAR C TAYLOR                              CLASS 3           400,000.00         8,013.91               0.00               391,986.09
TAYLOR                RUSSELL C TAYLOR                                    CLASS 3            50,000.00         1,833.36               0.00                48,166.64
TAYLOR                THE STEVEN K & SUSAN J TAYLOR LT                    CLASS 5           100,000.00       16,216.62                0.00                83,783.38
TCHIDA                CLEO A & MERVIN D TCHIDA                            CLASS 3            25,000.00         1,088.51               0.00                23,911.49
TCHIDA                NORMAN S & LOIS M TCHIDA                            CLASS 3            25,000.00          631.96                0.00                24,368.04
TEAGUE                CAROLYN TEAGUE                                      CLASS 3            50,000.00         6,683.25               0.00                43,316.75
TECHAU                VICKI TECHAU                                        CLASS 3            75,000.00          685.40                0.00                74,314.60
TELLER                BARRY & KRISTINE TELLER                             CLASS 3            25,000.00         1,588.75               0.00                23,411.25
TELLER                BARRY & KRISTINE TELLER                            CLASS 3*            30,000.00          162.50                0.00                29,837.50
TEMPLE INVESTMENT     TEMPLE INVESTMENT TR                                CLASS 3          310,000.00       268,500.93          9,284.27                  32,214.80
TEMPRANO              IGNACIO TEMPRANO                                    CLASS 3            60,000.00         8,875.84               0.00                51,124.16
TENANY                NIRAJ & ARCHANA TENANY                              CLASS 3           100,000.00         2,080.55               0.00                97,919.45
TENNER                HANNAH TENNER TR                                    CLASS 3            50,000.00        6,523.47                0.00                43,476.53
TENPAS                GARY J & MARY B TENPAS                              CLASS 3            60,000.00         3,190.00               0.00                56,810.00
TERMEER               MAINSTAR-FBO SANDRA TERMEER TW003369                CLASS 3            57,400.00        4,209.09                0.00                53,190.91
TERNIER               RENE D TERNIER                                      CLASS 3          150,000.00               0.00              0.00               150,000.00
TERREAU               MARK L & JENNIFER R TERREAU                         CLASS 3            75,000.00          635.42                0.00                74,364.58
TERRY                 BRUCE A & CATHERINE R TERRY                         CLASS 3            25,000.00         1,558.33               0.00                23,441.67
TERRY                 IRA SVCS TR CO-CFBO BRUCE A TERRY IRA               CLASS 5           253,000.00       20,380.53                0.00               232,619.47
TERRY                 THADDEUS A TERRY                                    CLASS 3            25,000.00          645.47                0.00                24,354.53
TETER                 MICHAEL L TETER RT                                  CLASS 3          125,000.00         5,044.46                0.00               119,955.54
TEUSCHER              BRADY TEUSCHER                                      CLASS 3            25,000.00         1,266.69               0.00                23,733.31

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
THACKSTON             PROV. TR GP-FBO MARGARET THACKSTON IRA             CLASS 5            51,575.00       13,309.70                 0.00                38,265.30
THAMER                PROV. TR GP-FBO JEANNE L THAMER IRA                CLASS 5           100,000.00         3,222.22                0.00                96,777.78
THARP                 THARP FRT DTD 07/05/06                             CLASS 3            50,000.00         1,114.96                0.00                48,885.04
THEODOROU             THEODOSIA THEODOROU                                CLASS 3           100,000.00         2,388.91                0.00                97,611.09
THOM                  EILEEN R THOM TA DTD 02/05/98                      CLASS 3          150,000.00        34,854.38                 0.00               115,145.62
THOM                  EILEEN R THOM TA DTD 02/05/98                      CLASS 5          400,000.00        92,945.01                 0.00               307,054.99
THOMAS                DALE F THOMAS                                      CLASS 3            53,000.00         1,962.86                0.00                51,037.14
THOMAS                ELIZABETH J THOMAS                                 CLASS 3            30,000.00          281.67                 0.00                29,718.33
THOMAS                ELIZABETH J THOMAS LT                              CLASS 5          100,000.00                0.00              0.00               100,000.00
THOMAS                F WILLIAM & D DIANE THOMAS                         CLASS 3            25,000.00              52.08              0.00                24,947.92
THOMAS                FORREST & ADALINE THOMAS                           CLASS 3            34,000.00          390.21                 0.00                33,609.79
THOMAS                KARIN M THOMAS DECL OF TR 32879                    CLASS 3          100,000.00        15,586.09                 0.00                84,413.91
THOMAS                MAINSTAR-FBO WAYNE THOMAS                          CLASS 3            50,000.00         3,159.73                0.00                46,840.27
THOMAS                NANCY CAROL THOMAS                                 CLASS 3           200,000.00         4,066.67                0.00               195,933.33
THOMAS                PROV. TR GP-FBO MARSHA THOMAS IRA                  CLASS 5            50,000.00       13,486.78                 0.00                36,513.22
THOMAS                PROV. TR GP-FBO STEPHEN CRAIG THOMAS IRA           CLASS 3           100,000.00       10,238.19           1,000.00                  88,761.81
THOMAS                THE JOHN R THOMAS TR DTD 04/29/93                  CLASS 3            55,000.00         7,553.40                0.00                47,446.60
THOMAS                THE THOMAS FT                                      CLASS 3            54,000.00         6,476.84                0.00                47,523.16
THOMAS                THE THOMAS LT DTD 01/16/13                         CLASS 3            25,000.00          909.00                 0.00                24,091.00
THOMPSON              ANDREW THOMPSON                                    CLASS 3            50,000.00         2,256.96                0.00                47,743.04
THOMPSON              CORY N THOMPSON                                    CLASS 3            25,000.00        1,497.19                 0.00                23,502.81
THOMPSON              DEAN THOMPSON                                      CLASS 3            30,000.00        1,430.00                 0.00                28,570.00
THOMPSON              GREGORY N & CAROL A THOMPSON                       CLASS 3           100,000.00         7,550.00                0.00                92,450.00
THOMPSON              IRA SVCS TR CO-CFBO KENNETH THOMPSON INH           CLASS 3          105,000.00        27,586.07            880.87                   76,533.06
THOMPSON              JAMES W THOMPSON JR                                CLASS 3            50,000.00        2,099.98                 0.00                47,900.02
THOMPSON              LEE THOMPSON                                       CLASS 3            50,000.00        3,450.00                 0.00                46,550.00
THOMPSON              MAINSTAR-FBO BRAD A THOMPSON T2178155              CLASS 5          100,000.00         1,250.00                 0.00                98,750.00
THOMPSON              MAINSTAR-FBO CRAIG J THOMPSON TW003800             CLASS 3            50,000.00         1,701.39                0.00                48,298.61
THOMPSON              MARY L THOMPSON                                    CLASS 3            50,000.00        3,499.97                 0.00                46,500.03

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
THOMPSON              MICHAEL R & REBECCA J THOMPSON                     CLASS 3           315,000.00       67,527.00                0.00               247,473.00
THOMPSON              PROV. TR GP-FBO JAMES W THOMPSON JR IRA            CLASS 3            54,000.00       13,226.61                0.00                40,773.39
THOMPSON              PROV. TR GP-FBO MYRON THOMPSON IRA                 CLASS 3            60,000.00          490.00                0.00                59,510.00
THOMPSON              PROV. TR GP-FBO REBECCA J THOMPSON IRA             CLASS 3           404,334.00       73,934.12                0.00               330,399.88
THOMPSON              SHARON THOMPSON                                    CLASS 3          111,000.00        13,550.78                0.00                97,449.22
THOMPSON              STEPHEN & ZOILA THOMPSON                           CLASS 3          130,000.00          3,670.83               0.00               126,329.17
THOMPSON              WALTER THOMPSON                                    CLASS 3          100,000.00         1,833.33                0.00                98,166.67
THOMPSON              BRAD A THOMPSON                                    CLASS 3            30,000.00          504.17                0.00                29,495.83
THOMSEN               WILLIAM THOMSEN                                    CLASS 3            25,000.00        2,627.34                0.00                22,372.66
THOMSEN               WILLIAM THOMSEN                                    CLASS 5            50,000.00        5,254.67                0.00                44,745.33
THORN                 MAINSTAR-FBO GREGORY C THORN TW003881              CLASS 3            69,000.00         1,696.25               0.00                67,303.75
THORNTON              DIANA THORNTON                                     CLASS 3            36,000.00         7,240.42               0.00                28,759.58
THOROMAN              LONNIE GALE & CAROLYN ANN THOROMAN                 CLASS 3            50,000.00          618.76                0.00                49,381.24
THORSON               RANDALL L & JUDITH M THORSON                       CLASS 3            25,000.00          142.36                0.00                24,857.64
THRANE                MAINSTAR-FBO MICHAEL W THRANE T2177045             CLASS 3            31,956.87          612.50                0.00                31,344.37
THROOP                WALTER & FRANCES THROOP LT                         CLASS 5           250,000.00         1,430.56               0.00               248,569.44
THULI                 TORRENCE E THULI & ANGELA CHINN-THULI              CLASS 3            51,000.00         6,301.33               0.00                44,698.67
THURSBY               PROV. TR GP-FBO THOMAS L THURSBY IRA               CLASS 3            99,750.00         6,267.63               0.00                93,482.37
THURSTON              JOHNNIE THURSTON                                   CLASS 3            45,000.00              0.00              0.00                45,000.00
TIBERI                ALFRED M TIBERI JR                                 CLASS 3            50,000.00        6,513.96                0.00                43,486.04
TIBERI                CATHERINE L TIBERI                                 CLASS 3            50,000.00         7,847.24               0.00                42,152.76
TIDLER                ROBERT C TIDLER                                    CLASS 3          425,000.00        72,833.25                0.00               352,166.75
TIERNAN/DECEW         TIMOTHY C TIERNAN & VION DECEW                     CLASS 5           100,000.00         7,666.64               0.00                92,333.36
TIERNEY               EDWARD F TIERNEY                                   CLASS 3          160,000.00           333.33                0.00               159,666.67
TIETZ                 ADOLPH J & MARIE B TIETZ                           CLASS 3          100,000.00          3,500.00               0.00                96,500.00
TIFT                  TED N TIFT                                         CLASS 3          100,000.00         9,600.00                0.00                90,400.00
TILLMANN              DONNA J TILLMANN RLT                               CLASS 3           200,000.00       89,222.09                0.00               110,777.91
TIMM                  SHERRY M TIMM                                      CLASS 3          100,000.00        15,452.73                0.00                84,547.27
TIMMERMAN             DANIEL R & WILMA S TIMMERMAN                       CLASS 3            60,000.00       18,844.28                0.00                41,155.72

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type           [1]               [2]              [3]          [1] minus [2] minus [3]
TIMMONS               BETTY SUE TIMMONS                                  CLASS 3            50,000.00        2,255.58               0.00                47,744.42
TIMMONS               TAMARA TIMMONS                                     CLASS 3          100,000.00         3,120.86               0.00                96,879.14
TINARI                HENRY A & MARILYN J TINARI                         CLASS 3            50,000.00         3,087.46              0.00                46,912.54
TINARI                PROV. TR GP-FBO MARILYN J TINARI IRA               CLASS 3            32,422.00         1,626.50              0.00                30,795.50
TINDER                WAYNE E TINDER                                     CLASS 3            25,500.00          846.46               0.00                24,653.54
TINGEY                JILL TINGEY                                        CLASS 3            25,000.00         1,363.52              0.00                23,636.48
TIRIO                 ROSEMARY L TIRIO                                   CLASS 3            75,000.00       10,512.54               0.00                64,487.46
TITCHEN               JUDSON MARTIN TITCHEN                              CLASS 3            35,000.00         4,300.00              0.00                30,700.00
TITUS                 THE BRUCE F & VIRGINIA TITUS LT 07/18/14           CLASS 3            25,000.00         1,429.17              0.00                23,570.83
TOBIAS                EVA TOBIAS                                         CLASS 3            50,000.00         8,250.75              0.00                41,749.25
TOBIAS                EVA TOBIAS                                         CLASS 5          150,000.00        24,752.26               0.00               125,247.74
TOBIN                 BERNARD & CECILE TOBIN                             CLASS 3            65,000.00       15,800.00               0.00                49,200.00
TOBIN                 BEVERLY TOBIN IRREV TR                             CLASS 3           300,000.00       12,300.00               0.00               287,700.00
TOBIN                 MARILYN TOBIN                                      CLASS 3            74,000.00          863.33               0.00                73,136.67
TOBIN                 MIKE TOBIN                                         CLASS 3            90,000.00       11,380.95               0.00                78,619.05
TOBIN                 MIKE TOBIN                                         CLASS 5          100,000.00        12,645.49               0.00                87,354.51
TODD                  LARRY D & SANDRA L TODD                            CLASS 3           100,000.00       18,633.33               0.00                81,366.67
TODD                  PROV. TR GP-FBO YASMIN M TODD IRA                  CLASS 3            25,000.00         4,292.13              0.00                20,707.87
TODD                  PROV. TR GP-FBO YASMIN M TODD IRA                  CLASS 5            50,000.00         8,584.27              0.00                41,415.73
TODD                  TIM M & DOROTHY L TODD                             CLASS 3            25,000.00          869.45               0.00                24,130.55
TODOROV               PROV. TR GP-FBO KRASMIR T TODOROV IRA              CLASS 3            40,000.00         1,886.67              0.00                38,113.33
TOLL                  ELDON V TOLL                                       CLASS 3          100,000.00           809.72               0.00                99,190.28
TOLSON                JAMES TOLSON JR                                    CLASS 3          110,000.00          3,780.52              0.00               106,219.48
TOLSON                SUSAN R TOLSON                                     CLASS 3            70,000.00         2,620.11              0.00                67,379.89
TOMAC                 LLOYD L & LORRAINE M TOMAC JTWROS                  CLASS 5           105,800.00       27,969.05               0.00                77,830.95
TOMALIS               PATRICIA A TOMALIS RT                              CLASS 3            25,000.00         1,256.56              0.00                23,743.44
TOMASELLI             PROV. TR GP-FBO DIANE TOMASELLI IRA                CLASS 3            66,795.00         4,263.51              0.00                62,531.49
TOMLIN                THOMAS & KAREN TOMLIN                              CLASS 3            25,000.00          360.95               0.00                24,639.05
TOMLINSON             PROV. TR GP-FBO MICHAEL J TOMLINSON IRA            CLASS 3           225,000.00       18,637.50               0.00               206,362.50

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
TOMPKINS              PROV. TR GP-FBO RICHARD TOMPKINS IRA               CLASS 3           125,000.00         3,565.98              0.00               121,434.02
TONG                  PROV. TR GP-FBO JUDY TONG IRA                      CLASS 3            89,750.00         6,247.47              0.00                83,502.53
TONG                  PROV. TR GP-FBO LIVINGSTON & P TONG ICA            CLASS 5            50,000.00       11,347.22               0.00                38,652.78
TONKS                 MAINSTAR-FBO GERALD D TONKS T2177666               CLASS 3            50,000.00          808.33               0.00                49,191.67
TONNESEN              TORLEIF TONNESEN                                   CLASS 3            35,000.00         8,047.97              0.00                26,952.03
TONTRUP               SHIRLEY G TONTRUP                                  CLASS 3            30,000.00         1,833.33              0.00                28,166.67
TORINO                LISA TORINO                                        CLASS 3            25,000.00        3,700.05               0.00                21,299.95
TORINO                PROV. TR GP-FBO LISA TORINO IRA                    CLASS 3            29,750.00         1,718.06              0.00                28,031.94
TORKELSON             EVELYN TORKELSON                                   CLASS 3            60,000.00         2,100.02              0.00                57,899.98
TORRENTE              MARYLIN TORRENTE                                   CLASS 3           200,000.00       14,041.67               0.00               185,958.33
TORRES                JOSE LUCIO TORRES                                  CLASS 3            25,000.00         1,218.37              0.00                23,781.63
TORRES                MAINSTAR-FBO SYLVIA TORRES T2176753                CLASS 3           104,700.00         2,166.71              0.00               102,533.29
TORRES                PROV. TR GP-FBO JOE R TORRES IRA                   CLASS 3            72,250.00         5,069.54              0.00                67,180.46
TORSON                ROBERT D & GEORGIA A TORSON                        CLASS 3            50,000.00         3,604.12              0.00                46,395.88
TORTORICI             MAINSTAR-FBO GIANCARLO TORTORICI TW003342          CLASS 3            54,000.00         3,976.37              0.00                50,023.63
TORTORICI             MAINSTAR-FBO MARIA TORTORICI TW003737              CLASS 3           175,900.00         7,241.22              0.00               168,658.78
TOSHNER               DAVID & PATRICIA TOSHNER                           CLASS 3           510,000.00       67,913.83         1,000.00                 441,086.17
TOSHNER               MICHAEL L TOSHNER                                  CLASS 3            58,000.00         5,432.33              0.00                52,567.67
TOSI                  DONNA M TOSI                                       CLASS 3            50,000.00         1,770.81              0.00                48,229.19
TOSI                  JUSTIN TOSI                                        CLASS 3            30,000.00        1,521.67               0.00                28,478.33
TOSI                  MAINSTAR-FBO DONNA M TOSI R2177005                 CLASS 3           113,800.00         7,197.85              0.00               106,602.15
TOTH                  ETHEL, STEVEN & ROBERT TOTH                        CLASS 3            35,000.00         3,827.44              0.00                31,172.56
TOTH                  PROV. TR GP-FBO BARBARA V TOTH IRA                 CLASS 3           106,000.00       11,829.90               0.00                94,170.10
TOTH                  PROV. TR GP-FBO TERRANCE T TOTH IRA                CLASS 3           118,000.00       14,038.79               0.00               103,961.21
TOTH                  PROV. TR GP-FBO TERRANCE T TOTH IRA                CLASS 5           200,000.00       23,794.55               0.00               176,205.45
TOTH                  TERRANCE & BARBARA TOTH                            CLASS 3           250,000.00       25,187.56               0.00               224,812.44
TOTTY                 MARIE I & VERNON E TOTTY JR                        CLASS 3            25,000.00         1,225.73              0.00                23,774.27
TOUCHI                SANDRA S & NORMAN A TOUCHI                         CLASS 3            50,000.00         2,472.19              0.00                47,527.81
TOURNEY               JOHN A TOURNEY                                    CLASS 3*            35,000.00         2,216.67              0.00                32,783.33

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
TOURNEY               PROV. TR GP-FBO JOHN E TOURNEY IRA                  CLASS 3            59,000.00         9,326.68               0.00                49,673.32
TOVAR                 ANDREA TOVAR                                        CLASS 3            30,000.00         1,077.08               0.00                28,922.92
TOWER                 PROV. TR GP-FBO CAROLYN J TOWER IRA                 CLASS 3           104,000.00       13,450.67                0.00                90,549.33
TOWNLEY               DAVID TOWNLEY                                       CLASS 3           150,000.00       11,044.59                0.00               138,955.41
TOWNLEY               TOWNLEY FT DTD 11/13/00                             CLASS 3            50,000.00         2,975.00               0.00                47,025.00
TRACY                 SUSAN TRACY                                         CLASS 3            80,000.00         6,117.28               0.00                73,882.72
TRADER                KRISTI TRADER                                       CLASS 3            50,000.00              0.00              0.00                50,000.00
TRAINER               RANDY L TRAINER                                     CLASS 3            70,000.00         8,778.80               0.00                61,221.20
TRAMMELL              PROV. TR GP-FBO RUTH M TRAMMELL IRA                 CLASS 3            73,500.00         6,544.56               0.00                66,955.44
TRAMMELL              RUTH M TRAMMELL                                     CLASS 3          300,000.00        28,625.00                0.00               271,375.00
TRANCHITA             DONALD E TRANCHITA                                  CLASS 3            50,000.00         2,041.67               0.00                47,958.33
TRASCHER              SUNWEST TR GERALD TRASCHER IRA                      CLASS 3            50,000.00         2,588.88               0.00                47,411.12
TRAVIS                DORA I TRAVIS                                       CLASS 3          100,000.00          5,277.82               0.00                94,722.18
TRAVIS                MAINSTAR-FBO DORA I TRAVIS INH BT178110             CLASS 3            32,000.00          603.56                0.00                31,396.44
TRAVIS                MARCINE S TRAVIS LT DTD 07/26/03                    CLASS 3            65,835.00          967.86                0.00                64,867.14
TRAVIS                PROV. TR GP-FBO MARCINE S TRAVIS IRA                CLASS 3            69,992.00         1,446.50               0.00                68,545.50
TRAVLOS               BEVERLY J TRAVLOS                                   CLASS 3            50,000.00         1,541.67               0.00                48,458.33
TRAWINSKI             JENNIFER TRAWINSKI                                  CLASS 3            75,000.00       12,036.18                0.00                62,963.82
TRAYLOR               MAINSTAR-FBO JOYCELYN TRAYLOR                       CLASS 3            25,000.00         1,949.30               0.00                23,050.70
TRAYNOR               HAROLD TRAYNOR                                      CLASS 3            25,000.00          104.17                0.00                24,895.83
TRCKA                 PROV. TR GP-FBO THOMAS TRCKA IRA                    CLASS 3           167,000.00       25,165.98                0.00               141,834.02
TRCKA                 THE TRCKA TR                                        CLASS 3          116,000.00        14,268.00                0.00               101,732.00
TREBES                ALFRED TREBES                                       CLASS 3          205,282.21           718.49                0.00               204,563.72
TREGRE                PAUL J TREGRE ILT 08/30/04                          CLASS 3            40,000.00         7,806.69               0.00                32,193.31
TREJO                 PEDRO & DAISY TREJO                                 CLASS 3          100,000.00          1,963.88               0.00                98,036.12
TREMBLAY              MICHAEL & DEBORAH TREMBLAY                          CLASS 3           100,000.00         2,725.00               0.00                97,275.00
TRESNER               PROV. TR GP-FBO DARYL E TRESNER ROTH IRA            CLASS 3           193,000.00       14,760.63                0.00               178,239.37
TRIACA                GARY A TRIACA REV GRANTOR TR DTD 12/14/99           CLASS 3            29,800.00         1,807.87               0.00                27,992.13
TRIMBLE               MAINSTAR-FBO EDWARD TRIMBLE T2178546                CLASS 3           222,000.00          160.33                0.00               221,839.67

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
TRIMBLE               PROV. TR GP-FBO ROBERT C TRIMBLE IRA               CLASS 3            27,000.00         2,164.50               0.00                24,835.50
TRITT                 PROV. TR GP-FBO MAURICE S TRITT IRA                CLASS 3            57,950.00         2,490.23               0.00                55,459.77
TRITT                 PROV. TR GP-FBO SHERRY D TRITT ROTH IRA            CLASS 3            35,000.00         1,504.03               0.00                33,495.97
TRITTELWITZ           THE TRITTELWITZ FT DTD 05/12/99                    CLASS 3           100,000.00       15,433.33                0.00                84,566.67
TROMPETER             BARRY TROMPETER                                    CLASS 3            25,000.00         3,140.14               0.00                21,859.86
TROUSDALE             THE WILLIAM BROWN TROUSDALE TR                     CLASS 3           180,000.00         1,860.00               0.00               178,140.00
TROUTMAN              CHARLES J & CAROLYN G TROUTMAN                     CLASS 3            30,000.00          279.58                0.00                29,720.42
TROYER                DEE TROYER                                         CLASS 3          100,000.00          1,541.68               0.00                98,458.32
TRUMBLY               WARREN & LINDA TRUMBLY LT                          CLASS 5           100,000.00       18,527.70                0.00                81,472.30
TRUMP                 CYNTHIA M TRUMP                                    CLASS 3            30,000.00         2,616.67               0.00                27,383.33
TRUPPO                MAINSTAR-FBO DARCY J TRUPPO T2178381               CLASS 3            55,000.00          263.79                0.00                54,736.21
TRUSS                 GARY A TRUSS                                       CLASS 3            75,000.00         2,870.81               0.00                72,129.19
TRUST                 SAM & YOLANDA TRUST                                CLASS 5            50,000.00         8,375.07               0.00                41,624.93
TRYON                 PROV. TR GP-FBO ROBERT TRYON IRA                   CLASS 3           398,000.00       26,710.22                0.00               371,289.78
TSA FITNESS           TSA FITNESS CORP                                   CLASS 3            50,000.00          515.28                0.00                49,484.72
TSO                   THE PAUL & FOON TSO RT                             CLASS 3            50,000.00          851.01                0.00                49,148.99
TSURUDA               TOSHIAKI & MASAKO TSURUDA                          CLASS 3            25,000.00          786.79                0.00                24,213.21
TUCKER                HELEN M TUCKER                                     CLASS 3            25,000.00              0.00              0.00                25,000.00
TUCKER                IRA SVCS TR CO-CFBO BETTY LOU TUCKER IRA           CLASS 3            30,000.00         3,675.00               0.00                26,325.00
TUCKER                RONALD C & MARTHA C TUCKER RFT                     CLASS 5           100,000.00       28,222.11                0.00                71,777.89
TUCKER                SEAN TUCKER                                        CLASS 3            25,000.00         1,222.26               0.00                23,777.74
TUENTE                MARVIN C & CAROL J TUENTE                          CLASS 3            52,000.00       13,447.82           285.71                   38,266.47
TUENTE                MARVIN C & CAROL J TUENTE                          CLASS 5           130,000.00       33,619.54           714.29                   95,666.17
TUENTE-JUTTE          TUENTE-JUTTE LLC                                   CLASS 5           100,000.00       34,137.20                0.00                65,862.80
TUERKE                WILLIAM A TUERKE IV                                CLASS 3            50,000.00         2,112.48               0.00                47,887.52
TUETY                 DALE A TUETY                                       CLASS 3          200,000.00        16,283.71          1,000.00                 182,716.29
TUETY                 DAVID E TUETY                                      CLASS 3          100,000.00           750.00                0.00                99,250.00
TULK                  RONALD K TULK                                      CLASS 3          100,000.00        10,416.67                0.00                89,583.33
TUMBUSCH              RANDALL & NANCY TUMBUSCH                           CLASS 3           350,000.00       44,187.50                0.00               305,812.50

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                                                                                         Total
                                                                                      Outstanding       Prepetition           Other
                                                                                       Principal        "Interest"         Prepetition
                                                                                       Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]                [3]          [1] minus [2] minus [3]
TUNGATE               LAWRENCE L & BRENDA J TUNGATE                     CLASS 3            40,000.00          777.09                 0.00                39,222.91
TURBERVILLE           PROV. TR GP-FBO HILARIA TURBERVILLE INH IRA       CLASS 3           190,000.00       22,261.67           3,405.28                 164,333.05
TURETZKY              LOIS E TURETZKY LT                                CLASS 3          100,000.00                0.00              0.00               100,000.00
TURNER                BESSIE LOUISE TURNER                              CLASS 3            95,000.00          443.33                 0.00                94,556.67
TURNER                BEVERLY J TURNER                                  CLASS 3          150,000.00           758.33                 0.00               149,241.67
TURNER                PATRICIA J TURNER                                 CLASS 3            50,000.00         3,775.00                0.00                46,225.00
TURNER                TOM TURNER                                        CLASS 3            25,000.00         2,316.67                0.00                22,683.33
TURRIATE              MAINSTAR-FBO CLAUDIA TURRIATE BT178319            CLASS 3            25,000.00              69.44              0.00                24,930.56
TUTTLE                MAINSTAR-FBO BARBARA J TUTTLE                     CLASS 3            40,000.00         1,977.77                0.00                38,022.23
TUYET/STANDEFER       MAGGIE TUYET & SHELBY W STANDEFER                 CLASS 3           200,000.00       14,873.58                 0.00               185,126.42
TWARDOSZ              SANDRA L TWARDOSZ                                 CLASS 3            25,000.00         1,260.38                0.00                23,739.62
TYMKOWYCH             PROV. TR GP-FBO JOSEPH P TYMKOWYCH IRA            CLASS 5           374,000.00       18,284.44                 0.00               355,715.56
TYSON                 PROV. TR GP-FBO MICHAEL T TYSON IRA               CLASS 3            50,000.00         4,472.23                0.00                45,527.77
UBERUAGA              PAUNEE & PHILIP J UBERUAGA JR                     CLASS 5          100,000.00          5,313.26                0.00                94,686.74
UBERUAGA              PAUNEE UBERUAGA                                   CLASS 5          100,000.00        11,266.59                 0.00                88,733.41
UCCELLI               PROV. TR GP-FBO GEORGE UCCELLI IRA                CLASS 3            30,000.00          850.00                 0.00                29,150.00
UHLAND                PROV. TR GP JAG-FBO JEFFREY S UHLAND IRA          CLASS 3          107,000.00        39,338.92                 0.00                67,661.08
UHLAND                PROV. TR GP-FBO JEFFREY S UHLAND IRA              CLASS 3           149,000.00          934.37                 0.00               148,065.63
UHLENHAKE             ROBERT H UHLENHAKE                                CLASS 3            50,000.00         8,077.09                0.00                41,922.91
ULLMER                RANDAL J & KRISTINE L ULLMER                      CLASS 3            50,000.00          805.58                 0.00                49,194.42
UMENTUM               GREG & MARY UMENTUM                               CLASS 3            50,000.00        3,979.10                 0.00                46,020.90
UMLES                 STEPHEN D UMLES                                   CLASS 3          100,000.00         3,437.48                 0.00                96,562.52
UNDERKOFLER           DANIEL W UNDERKOFLER                              CLASS 3           100,000.00         4,459.75                0.00                95,540.25
UNDERWOOD             LOUELLA UNDERWOOD                                 CLASS 3           200,000.00         9,075.03                0.00               190,924.97
UNDERWOOD             OLLIN BRUCE & MARY JANE UNDERWOOD                 CLASS 3            60,000.00         1,258.33                0.00                58,741.67
UNGER                 DONALD J & MARTY G UNGER                          CLASS 3            50,000.00         3,425.00                0.00                46,575.00
UNGRUHN               ANTHONY F & DIANE L UNGRUHN                       CLASS 3            85,000.00         5,144.04                0.00                79,855.96
UNGRUHN               IRA SVCS TR CO-CFBO DIANE L UNGRUHN IRA           CLASS 3            63,000.00         3,024.00                0.00                59,976.00
URAY                  MARIA N URAY MD                                   CLASS 3            98,000.00       21,323.67                 0.00                76,676.33

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
URAY                  PROV. TR GP-FBO MARIA N URAY IRA                    CLASS 3            35,000.00         7,937.61              0.00                27,062.39
URBAN                 JOE L URBAN RT                                      CLASS 3            87,000.00          261.00               0.00                86,739.00
URBAN                 MAINSTAR-FBO TERESA URBAN TW003869                  CLASS 3           200,000.00         5,766.67              0.00               194,233.33
URIBE                 ALFREDO & HORTENCIA O URIBE                         CLASS 3            75,000.00         3,154.19              0.00                71,845.81
URMAN                 ALEXANDER & BELLA URMAN                             CLASS 3           200,000.00         2,666.67              0.00               197,333.33
URMAN                 MAINSTAR-FBO ALEXANDER URMAN                        CLASS 3           330,000.00       24,319.17               0.00               305,680.83
URMAN                 RITA URMAN                                          CLASS 3          260,000.00        20,843.33               0.00               239,156.67
URSO                  ANTHONY J & JOAN M URSO                             CLASS 3            50,000.00         1,316.67              0.00                48,683.33
USHER                 GEORGE USHER                                        CLASS 3          100,000.00        14,716.59               0.00                85,283.41
VAALER                RYAH VAALER                                         CLASS 3            50,000.00         4,400.06              0.00                45,599.94
VACA                  LUCERO VACA                                         CLASS 3            25,000.00          813.52               0.00                24,186.48
VACCA                 ANTOINETTE VACCA                                    CLASS 3            50,000.00         7,622.31              0.00                42,377.69
VACCA                 MAINSTAR-FBO ANTOINETTE VACCA T2174407              CLASS 3            29,400.00         4,775.87              0.00                24,624.13
VAGHELA               THAKOR & BHARTI VAGHELA                             CLASS 3            50,000.00         2,916.67              0.00                47,083.33
VALDES                THOMAS VALDES                                       CLASS 3            25,000.00         1,441.67              0.00                23,558.33
VALDEZ                MAINSTAR-FBO MARIA VALDEZ T2176889                  CLASS 3           214,500.00         5,153.96              0.00               209,346.04
VALDEZ                RICHARD LEE VALDEZ                                  CLASS 3            25,000.00          745.83               0.00                24,254.17
VALDEZ                SHERRY VALDEZ                                       CLASS 5           550,000.00      122,837.03               0.00               427,162.97
VALENTINE             HORIZON TR CO-FBO KAREN K VALENTINE IRA             CLASS 5           384,000.00       30,293.33               0.00               353,706.67
VALENTINE             MATT V & KAREN K VALENTINE                          CLASS 3           110,000.00       20,350.00               0.00                89,650.00
VALENTINI/ROSIKIEWICZ GENE VALENTINI & JOSEPHINE ROSIKIEWICZ              CLASS 3            60,000.00         7,278.22              0.00                52,721.78
VALENTINI/ROSIKIEWICZ GENE VALENTINI & JOSEPHINE ROSIKIEWICZ              CLASS 5            55,000.00         6,671.71              0.00                48,328.29
VALENTINO             DANIEL J & LINDA J VALENTINO                        CLASS 3         1,200,000.00      264,883.47               0.00               935,116.53
VALENTINO             SARA VALENTINO & E JOHNSON & D VALENTINO            CLASS 3            50,000.00         3,047.92              0.00                46,952.08
VALLEY                HORIZON TR CO-FBO CLIFTON T VALLEY TRAD             CLASS 3            50,000.00          456.95               0.00                49,543.05
VALLEY                PROV. TR GP-FBO RAYIM/HUDSON VALLEY 401K            CLASS 5            90,000.00         6,150.00              0.00                83,850.00
VALLEY ANESTHIA       PROV. TR GP-FBO VALLEY ANESTHIA/OTSU IRA            CLASS 5           565,000.00       49,751.39               0.00               515,248.61
VALLIANT              MAINSTAR-FBO JAMES VALLIANT T2177219                CLASS 3            29,000.00          763.67               0.00                28,236.33
VAN CORBACH           HARRIET VAN CORBACH                                 CLASS 3            25,000.00         1,286.49              0.00                23,713.51

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
VAN DYKE              PROV. TR GP-FBO GARY VAN DYKE IRA                   CLASS 3           125,000.00       16,535.78                0.00               108,464.22
VAN FOSSON            MAINSTAR-FBO CHARLES VAN FOSSON T2177382            CLASS 3          161,507.00         4,019.73                0.00               157,487.27
VAN GEMERT            DALE L & MICHELINA D VAN GEMERT                     CLASS 3           150,000.00       30,175.00                0.00               119,825.00
VAN GEMERT            DEBORAH & DOUGLAS VAN GEMERT                        CLASS 3           200,000.00       13,350.00                0.00               186,650.00
VAN GULICK            C SPENCER & VIRGINIA VAN GULICK                     CLASS 3            40,000.00        7,629.16                0.00                32,370.84
VAN HOLLEBEKE         JEANINE M VAN HOLLEBEKE                             CLASS 3          100,000.00        11,916.65                0.00                88,083.35
VAN HOLLEBEKE         JEANINE M VAN HOLLEBEKE                             CLASS 5            75,000.00         8,937.48               0.00                66,062.52
VAN HOLLEBEKE         PROV. TR GP-FBO JEANINE VAN HOLLEBEKE IRA           CLASS 3            88,500.00       11,623.00                0.00                76,877.00
VAN KANNEL            GREGORY & KRISTIE VAN KANNEL                        CLASS 3            50,000.00          311.11                0.00                49,688.89
VAN PELT              LINDA VAN PELT                                      CLASS 3          100,000.00           336.11                0.00                99,663.89
VAN RUITEN            KELLY VAN RUITEN                                    CLASS 3           120,000.00       15,681.39                0.00               104,318.61
VAN RUITEN            KELLY VAN RUITEN                                    CLASS 5           160,000.00       20,908.52                0.00               139,091.48
VANCE                 DOUGLAS VANCE                                       CLASS 3            71,023.00         7,815.60               0.00                63,207.40
VANCE                 PROV. TR GP-FBO DOUGLAS G VANCE IRA                 CLASS 3           149,500.00       10,942.57                0.00               138,557.43
VANCE                 PROV. TR GP-FBO EDWARD J VANCE IRA                  CLASS 3           100,000.00         2,611.11               0.00                97,388.89
VANDAVASI/KAJA        VAMSI VANDAVASI & JYOTHIRMAI KAJA                   CLASS 3           100,000.00         9,150.01               0.00                90,849.99
VANDAVASI/KAJA        VAMSI VANDAVASI & JYOTHIRMAI KAJA                   CLASS 5            75,000.00         6,862.50               0.00                68,137.50
VANDENBERG            JOHN M & PATRICIA E VANDENBERG                      CLASS 3            25,000.00          736.13                0.00                24,263.87
VANDENBERG            TERRENCE A & JILL L VANDENBERG                      CLASS 3           120,000.00       16,100.00                0.00               103,900.00
VANDENBOS             JULIE VANDENBOS RT UA 06/19/08                      CLASS 3          100,000.00          8,000.04               0.00                91,999.96
VANDENBOS             MELANIE S VANDENBOS 2004 RT                         CLASS 3           200,000.00       38,783.14                0.00               161,216.86
VANDENBOS             MELANIE S VANDENBOS 2004 RT                         CLASS 5           250,000.00       48,478.92                0.00               201,521.08
VANDENBOSCH           MAINSTAR-FBO ARLENE VANDENBOSCH T2176257            CLASS 3            58,000.00         2,346.57               0.00                55,653.43
VANDERSLICE           CAROL VANDERSLICE                                   CLASS 3           200,000.00         3,055.55               0.00               196,944.45
VANDERSTEEN           PROV. TR GP-FBO ROGER VANDERSTEEN IRA               CLASS 3            51,000.00         4,006.33               0.00                46,993.67
VANDERVEER            CHRISTOPHER W VANDERVEER                            CLASS 3           100,000.00              0.00              0.00               100,000.00
VANDERWELLE           ERIC & SHERRI LINN VANDERWELLE                      CLASS 3            50,000.00         3,366.67               0.00                46,633.33
VANDUINEN             DAVID & CAROL VANDUINEN                             CLASS 3            50,000.00       19,118.47                0.00                30,881.53
VANDUINEN             MAINSTAR-FBO DAVID VANDUINEN T2175711               CLASS 3            57,300.00         4,066.71               0.00                53,233.29

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                                          Woodbridge Group of Companies, LLC and Its Affliated Debtors
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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
VANEK                 PROV. TR GP-FBO SANDRA J VANEK IRA                  CLASS 5            50,000.00       13,708.34               0.00                36,291.66
VANFOSSON             CHARLES W VANFOSSON                                 CLASS 3            30,000.00          793.33               0.00                29,206.67
VANHOVEN              AARON VANHOVEN                                      CLASS 3            50,000.00         2,119.47              0.00                47,880.53
VANINWAGEN            PROV. TR GP-FBO SCOTT M VANINWAGEN IRA              CLASS 3            29,000.00       10,682.40               0.00                18,317.60
VANINWAGEN            SCOTT M VANINWAGEN                                  CLASS 3            55,000.00       12,700.02               0.00                42,299.98
VANPELT               MAINSTAR-FBO CLAUDETTE VANPELT                      CLASS 3           250,000.00       12,413.19               0.00               237,586.81
VANTIL                JACK R VANTIL                                       CLASS 3          110,000.00        34,355.07               0.00                75,644.93
VARGAS                CARLOS A VARGAS MD PA 401K PLAN                     CLASS 3            75,000.00         1,229.17              0.00                73,770.83
VARGAS                CARLOS A VARGAS MD PA DEFINED BENE PLAN             CLASS 3            50,000.00          819.43               0.00                49,180.57
VARGAS                MAINSTAR-FBO EDDIE VARGAS T2177999                  CLASS 3           119,683.00         1,612.40              0.00               118,070.60
VARIEN                MAINSTAR-FBO MARK D VARIEN T2178359                 CLASS 3            79,900.00          344.02               0.00                79,555.98
VARNER                IRA SVCS TR CO-CFBO DIANE M VARNER IRA              CLASS 3            86,500.00         2,640.64              0.00                83,859.36
VARNER                IRVIN V JR & DIANE M VARNER                         CLASS 3            40,000.00         1,033.35              0.00                38,966.65
VARNER                RONALD E VARNER                                     CLASS 3            50,000.00         1,526.41              0.00                48,473.59
VARNEY                JOLENE VARNEY                                       CLASS 3           500,000.00       30,111.08               0.00               469,888.92
VASIL                 PROV. TR GP-FBO THOMAS M VASIL IRA                  CLASS 3            96,905.12         3,953.59              0.00                92,951.53
VASIL/RAMIREZ         THOMAS M VASIL & FRANCIS RAMIREZ                    CLASS 3            60,000.00         4,028.48              0.00                55,971.52
VAUGHAN               IRA SVCS TR CO-CFBO ROBERT H VAUGHAN IRA            CLASS 3            30,000.00         2,900.00              0.00                27,100.00
VAUGHAN               THOMAS K VAUGHAN SR                                 CLASS 3            70,000.00         1,656.67              0.00                68,343.33
VAUGHN                DIANE QUIRING VAUGHN                                CLASS 3            70,000.00       17,406.80               0.00                52,593.20
VAUGHT                SUNWEST TR RUTH T VAUGHT IRA                        CLASS 3           200,000.00         4,266.67              0.00               195,733.33
VEALE                 WALTER K & RUTH A VEALE                             CLASS 3            40,000.00         1,050.02              0.00                38,949.98
VEATCH                BETTY JOE VEATCH                                    CLASS 3          100,000.00        19,736.67               0.00                80,263.33
VEATCH                PATRICIA ANNE VEATCH TR DTD 11/09/16                CLASS 3           100,000.00       11,716.67         1,000.00                  87,283.33
VEATCH                THE BETTY JOE VEATCH TR DTD 06/21/12                CLASS 3           175,000.00         4,232.49              0.00               170,767.51
VEERKAMP              WALTER W VEERKAMP                                   CLASS 3            50,000.00       11,666.60               0.00                38,333.40
VEGA                  MAINSTAR-FBO MARIA VEGA R2177073                    CLASS 3            68,300.00         2,536.59              0.00                65,763.41
VEGA                  MAINSTAR-FBO MARIA VEGA T2177075                    CLASS 3            80,000.00         3,453.30              0.00                76,546.70
VEGA                  MARIA VEGA                                          CLASS 3          145,000.00         7,698.11               0.00               137,301.89

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
VELA-CASTRO           MAINSTAR-FBO CECILIA VELA-CASTRO T2178127          CLASS 3          100,000.00           306.25                 0.00                99,693.75
VELIYATHIL            JUDY & PAUL VELIYATHIL                             CLASS 5          100,000.00        17,166.59                 0.00                82,833.41
VELTING               PATSY RAE VELTING                                  CLASS 3          100,000.00         4,676.38                 0.00                95,323.62
VENTRONE              KAREN VENTRONE                                     CLASS 3            50,000.00         5,341.67                0.00                44,658.33
VENTRONE              PROV. TR GP-FBO KAREN VENTRONE ICA                 CLASS 3            30,000.00         6,826.73                0.00                23,173.27
VENTRONE              PROV. TR GP-FBO KAREN VENTRONE ICA                 CLASS 5           269,000.00       61,212.99                 0.00               207,787.01
VENTURE HILL ENT.     VENTURE HILL ENTERTAINMENT LLC                     CLASS 3            25,000.00         1,047.58                0.00                23,952.42
VERGARA               MAINSTAR-FBO THERESA VERGARA T2175174              CLASS 3           333,312.00       36,826.15                 0.00               296,485.85
VERHAEREN             JUDITH M & KENNETH A VERHAEREN                     CLASS 3           100,000.00       12,183.33                 0.00                87,816.67
VERMILLION            MARLA S VERMILLION                                 CLASS 3            30,000.00        4,848.84                 0.00                25,151.16
VERNON                WILLIAM J VERNON                                   CLASS 3            25,000.00        1,298.65                 0.00                23,701.35
VERSEPUT              PROV. TR GP-FBO JERRY & K VERSEPUT ICA             CLASS 3            75,000.00         4,866.66                0.00                70,133.34
VERSEPUT              PROV. TR GP-FBO JERRY VERSEPUT IRA                 CLASS 5            50,000.00       21,837.64                 0.00                28,162.36
VERTEX PROPERTY       VERTEX PROPERTY HOLDINGS LLC                       CLASS 5           825,000.00       96,951.41                 0.00               728,048.59
VERWERS               IRA SVCS TR CO-CFBO SANDRA K VERWERS               CLASS 5            31,208.66          398.78                 0.00                30,809.88
VERWERS               IRA SVCS TR CO-CFBO WILLIAM VERWERS                CLASS 5            56,151.64          717.49                 0.00                55,434.15
VICTOR                DAWN VICTOR                                        CLASS 3            40,000.00          260.00                 0.00                39,740.00
VIDAL                 INDRA VIDAL                                        CLASS 3            50,000.00        1,525.00                 0.00                48,475.00
VIELE                 CHARLES DAVID VIELE                                CLASS 3            35,000.00        1,516.64                 0.00                33,483.36
VIGGIANI              MADELINE VIGGIANI                                  CLASS 3            25,000.00              91.67              0.00                24,908.33
VILLALVAZO            RAMIRO VILLALVAZO                                  CLASS 3            40,000.00        2,322.18                 0.00                37,677.82
VILLAROSA             MAINSTAR-FBO CHRISTA VILLAROSA 2176915             CLASS 3          150,000.00         6,375.00                 0.00               143,625.00
VILLEGAS              ANNA VILLEGAS                                      CLASS 3            25,000.00              50.00              0.00                24,950.00
VILLEGAS              HORIZON TR CO-FBO ANNA M VILLEGAS IRA              CLASS 3            50,000.00         2,988.16                0.00                47,011.84
VINES                 FLETCHER L & DEBORAH K VINES                       CLASS 3            40,000.00         2,926.67                0.00                37,073.33
VINSON                PROV. TR GP-FBO RICKY VINSON IRA                   CLASS 3           451,561.32       11,233.56                 0.00               440,327.76
VISCUSO               GREGG VISCUSO                                      CLASS 5            75,000.00        7,616.59                 0.00                67,383.41
VISCUSO               PROV. TR GP-FBO HELEN M VISCUSO ROTH IRA           CLASS 3            25,000.00       35,670.55                 0.00                     0.00 **
VISCUSO               PROV. TR GP-FBO HELGA P VISCUSO IRA                CLASS 3          217,500.00           144.67                 0.00               217,355.33

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
VISCUSO/SABINE        HELGA P VISCUSO & DRESSEL SABINE                  CLASS 3            70,000.00          361.67               0.00                69,638.33
VISNICH               MAINSTAR-FBO JAMES VISNICH T2177588               CLASS 3            68,500.00          859.17               0.00                67,640.83
VITTONE               DARRELL & SHARON VITTONE                          CLASS 3            88,000.00         7,956.74              0.00                80,043.26
VOGEL                 HOWARD & SUSAN VOGEL                              CLASS 3            85,000.00       18,346.05               0.00                66,653.95
VOLENBERG             MAINSTAR-FBO ESFIR I VOLENBERG T2177108           CLASS 3           335,500.00         5,489.15              0.00               330,010.85
VOLKMAN               JENNIFER VOLKMAN                                  CLASS 3          100,000.00          5,911.08              0.00                94,088.92
VOLL                  LARRY EDWARD & VIRGINIA VOLL                      CLASS 3            75,000.00         3,964.57              0.00                71,035.43
VOLL                  PROV. TR GP-FBO LARRY E VOLL IRA                  CLASS 3           100,000.00         7,016.67              0.00                92,983.33
VOLLBRECHT            FREDERIC T VOLLBRECHT RT DTD 11/04/10             CLASS 3           300,000.00       32,952.87               0.00               267,047.13
VOLLMER               DEAN & DIANE VOLLMER                              CLASS 3            95,000.00         4,383.13              0.00                90,616.87
VON INS-ROPERS        HELEN SUE VON INS-ROPERS                          CLASS 3           190,000.00       25,554.98               0.00               164,445.02
VON INS-ROPERS        HELEN SUE VON INS-ROPERS TR                       CLASS 3            50,000.00         6,170.88              0.00                43,829.12
VON INS-ROPERS        PROV. TR GP-FBO HELEN S VON INS-ROPERS IRA        CLASS 3            82,600.00       11,178.54               0.00                71,421.46
VON SCHOECH           MAINSTAR-FBO KONRAD VON SCHOECH III               CLASS 3            59,223.14         4,099.56              0.00                55,123.58
VONESH                PROV. TR GP-FBO NAOMI VONESH IRA                  CLASS 3            45,000.00         7,507.50              0.00                37,492.50
VONESH                PROV. TR GP-FBO RICHARD R VONESH IRA              CLASS 3           149,000.00       29,619.17               0.00               119,380.83
VONESH                RICHARD & NAOMI VONESH                            CLASS 3           125,000.00       15,572.92               0.00               109,427.08
VOROBYOV              VERONIKA VOROBYOV                                 CLASS 3            50,000.00         3,016.53              0.00                46,983.47
VOSBURG               PROV. TR GP-FBO MARY L VOSBURG IRA                CLASS 3            40,000.00         3,744.45              0.00                36,255.55
VOSS                  PROV. TR GP-FBO RICKY D VOSS SEP IRA              CLASS 3            46,340.00         4,822.25              0.00                41,517.75
VULPE                 SHIRLEY A VULPE                                   CLASS 3            38,000.00         4,971.56              0.00                33,028.44
VUPPALA               SHARATH VUPPALA                                   CLASS 3           100,000.00         4,270.83              0.00                95,729.17
VYNCKIER              VYNCKIER LT 06/08/99                              CLASS 3            25,000.00         3,778.62              0.00                21,221.38
WAASDORP              HENDRIKA E WAASDORP TR DTD 12/09/99               CLASS 3           100,000.00       22,838.93               0.00                77,161.07
WACHMAN               HARVEY S WACHMAN RT                               CLASS 3           100,000.00          138.89               0.00                99,861.11
WACHTEL               ROBERT J WACHTEL                                  CLASS 3          150,000.00          9,343.75              0.00               140,656.25
WACKERNAGEL           MATHIS WACKERNAGEL                                CLASS 3           120,000.00         6,586.67              0.00               113,413.33
WADDELL               SUE ANN WADDELL                                   CLASS 3            25,000.00         2,198.67              0.00                22,801.33
WADE                  DAVID L & CAROL S WADE                            CLASS 3            50,000.00         3,158.33              0.00                46,841.67

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
WADMAN                PROV. TR GP-FBO JEFFREY A WADMAN IRA               CLASS 3            26,000.00         1,678.44               0.00                24,321.56
WADSWORTH             PROV. TR GP-FBO KENNETH WADSWORTH IRA              CLASS 3           121,000.00       16,107.00                0.00               104,893.00
WAGGONER              GARY WAGGONER                                      CLASS 3           211,114.00       21,850.79                0.00               189,263.21
WAHL                  JAMES C & DIANE C WAHL                             CLASS 3            30,000.00              0.00              0.00                30,000.00
WAHL                  MICHAEL & KATHLEEN WAHL TR                         CLASS 3            25,000.00          973.93                0.00                24,026.07
WAIT                  THE WAIT FRLT DTD 03/09/99                         CLASS 3            50,000.00         4,489.37               0.00                45,510.63
WALGREN               MAINSTAR-FBO STEVEN WALGREN T2177556               CLASS 3           150,000.00         3,225.00               0.00               146,775.00
WALKER                ARLENE WALKER                                      CLASS 3          400,000.00        30,805.78                0.00               369,194.22
WALKER                JACK O WALKER                                      CLASS 5          300,000.00        50,402.80                0.00               249,597.20
WALKER                MAINSTAR-FBO CAROLYN F WALKER T2178263             CLASS 3            25,000.00          238.19                0.00                24,761.81
WALKER                MAINSTAR-FBO TERRI L WALKER TW004080               CLASS 3            41,570.37          505.77                0.00                41,064.60
WALKER                MICHAEL L WALKER                                   CLASS 3            50,000.00         2,624.96               0.00                47,375.04
WALKER                PROV. TR GP-FBO DAWN WALKER IRA                    CLASS 3           192,000.00         7,345.74               0.00               184,654.26
WALKER                TMICO-FBO JIMMY WAYNE WALKER TRAD IRA              CLASS 5          117,477.00        29,271.50                0.00                88,205.50
WALL                  GREGORY & NANCY WALL                               CLASS 3           100,000.00         6,233.33               0.00                93,766.67
WALL                  IRA SVCS TR CO-CFBO KEITH WALL                     CLASS 3           106,000.00              0.00              0.00               106,000.00
WALL                  PROV. TR GP-FBO BRENDA L WALL IRA                  CLASS 3           277,690.00       15,697.20                0.00               261,992.80
WALLACE               BARBARA & JAMES WALLACE                            CLASS 3           200,000.00         9,262.50               0.00               190,737.50
WALLACE               DOROTHY F WALLACE                                  CLASS 3            25,000.00          850.72                0.00                24,149.28
WALLER                THOMAS & CAROLE WALLER                             CLASS 3            80,000.00         4,420.00               0.00                75,580.00
WALLMAN               GERALD E WALLMAN                                   CLASS 5            52,000.00         9,904.10               0.00                42,095.90
WALLS                 IRA SVCS TR CO-CFBO KENNETH G WALLS IRA            CLASS 3           244,000.00       14,463.74                0.00               229,536.26
WALLS                 IRA SVCS TR CO-CFBO SANDRA S WALLS                 CLASS 3           179,000.00       10,582.33                0.00               168,417.67
WALTER                EUGENE LEE WALTER                                  CLASS 3           125,000.00       18,447.08                0.00               106,552.92
WALTERS               DONNA G WALTERS                                    CLASS 5           100,000.00       15,694.38                0.00                84,305.62
WALTERS               MAINSTAR-FBO NADINE WALTERS                        CLASS 3            26,500.00         3,785.46               0.00                22,714.54
WALTERS               PROV. TR GP-FBO DONNA G WALTERS IRA                CLASS 5           100,000.00       14,694.45                0.00                85,305.55
WALTERS               PROV. TR GP-FBO WILEY W WALTERS IRA                CLASS 3            25,000.00         2,552.09               0.00                22,447.91
WALTERS/NEWMAN        RICH. WALTERS & STEPHANIE NEWMAN JTWROS            CLASS 5            50,000.00        14,444.56               0.00                35,555.44

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                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WALTON                STEVE WALTON                                      CLASS 3            25,000.00        1,678.36               0.00                23,321.64
WAMPLER               WAMPLER LT                                        CLASS 3          100,000.00        13,499.87               0.00                86,500.13
WANG                  JOHN H & PATRICIA M WANG                          CLASS 3            50,000.00         3,041.67              0.00                46,958.33
WANG                  WEI WANG                                          CLASS 3            50,000.00        1,390.29               0.00                48,609.71
WANG                  XIAO QING WANG                                    CLASS 3          620,000.00       150,413.20         6,000.00                 463,586.80
WANG/CAIN             XIAO QING WANG & JONATHAN CAIN                    CLASS 3           100,000.00       30,102.78         1,781.25                  68,115.97
WANG/CAIN             XIAO QING WANG & JONATHAN CAIN                    CLASS 5           100,000.00       30,102.78         1,781.25                  68,115.97
WARD                  DIXIE L & THOMAS P WARD                           CLASS 3          250,000.00        57,608.37               0.00               192,391.63
WARD                  DOUGLAS M WARD                                    CLASS 3           100,000.00       16,314.58               0.00                83,685.42
WARD                  DREE WARD                                         CLASS 3            50,000.00        4,999.95               0.00                45,000.05
WARD                  GEORGE H & CAROL A WARD                           CLASS 3           300,000.00       21,720.32               0.00               278,279.68
WARD                  HORIZON TR CO-FBO DREE WARD ROTH IRA              CLASS 3            93,900.00         9,097.87              0.00                84,802.13
WARD                  PROV. TR GP-FBO DIXIE L WARD IRA                  CLASS 3           176,191.00       35,756.95               0.00               140,434.05
WARDEN                PROV. TR GP-FBO DONNA WARDEN IRA                  CLASS 5           275,000.00       90,150.32               0.00               184,849.68
WARE                  JEFF V WARE                                       CLASS 3            50,000.00       10,024.98               0.00                39,975.02
WARICH                PROV. TR GP-FBO HEINZ WARICH IRA                  CLASS 3            99,500.00         4,757.34              0.00                94,742.66
WARNER                CHARLES L & DOROTHY A WARNER RLT                  CLASS 3           400,000.00         5,640.27              0.00               394,359.73
WARNER                VALERIE O WARNER                                  CLASS 3           100,000.00       11,266.67               0.00                88,733.33
WARREN                BUFORD WARREN                                     CLASS 3            70,000.00          661.12               0.00                69,338.88
WARREN                LEON H & PATRICIA W WARREN                        CLASS 3           200,000.00       19,891.32               0.00               180,108.68
WARRENFELTZ           MARIAN WARRENFELTZ                                CLASS 3            50,000.00         1,312.51              0.00                48,687.49
WARRINER              PURITA S WARRINER                                 CLASS 3            25,000.00          815.96               0.00                24,184.04
WARRINER              SAMANTHA M WARRINER                               CLASS 3            25,000.00          815.96               0.00                24,184.04
WARRINGTON            MAINSTAR-FBO ALAN WARRINGTON T2178130             CLASS 3           212,986.76         3,928.42              0.00               209,058.34
WARRINGTON            MONTSERRAT WARRINGTON                             CLASS 3           200,000.00         3,500.01              0.00               196,499.99
WASHKO                KATHLEEN F & BRIAN A WASHKO                       CLASS 3           130,000.00       13,873.94               0.00               116,126.06
WASHKO                PROV. TR GP-FBO KATHLEEN F WASHKO IRA             CLASS 3           286,041.37       38,758.60               0.00               247,282.77
WASHKO                STEPHANIE R & KATHLEEN F WASHKO                   CLASS 3            44,000.00         4,695.72              0.00                39,304.28
WASHOR                NANCY & ANDREW WASHOR                             CLASS 3           230,000.00       31,078.57               0.00               198,921.43

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WASHOR                NANCY & ANDREW WASHOR                              CLASS 5           100,000.00       13,512.42               0.00                86,487.58
WASIL                 DAVID A & BARBARA R WASIL                          CLASS 3            25,000.00         1,451.43              0.00                23,548.57
WASNIEWSKI            TERESA M WASNIEWSKI TR UPDTD 12/03/09              CLASS 3          100,000.00          6,861.15              0.00                93,138.85
WASNIEWSKI            WITOLD S WASNIEWSKI LT UPDTD 12/03/09              CLASS 3          100,000.00          6,844.49              0.00                93,155.51
WASSEL                TRAINOS WASSEL                                     CLASS 3            25,000.00        1,747.41               0.00                23,252.59
WASSERMAN             HORIZON TR CO-FBO MARC WASSERMAN SEP IRA           CLASS 3          100,000.00          5,750.00              0.00                94,250.00
WASSERMAN             HORIZON TR CO-FBO WILLIAM L WASSERMAN SEP IRA CLASS 3                 50,000.00         6,816.71              0.00                43,183.29
WATERS                ELIZABETH WATERS                                   CLASS 5            50,000.00       21,013.98               0.00                28,986.02
WATERS                STUART A WATERS                                    CLASS 3            30,000.00          681.75               0.00                29,318.25
WATKINS               JACK W & PATRICIA A WATKINS KEYSTONE TR            CLASS 3           100,000.00         5,983.33              0.00                94,016.67
WATKINS               JULIA C WATKINS                                    CLASS 5            65,000.00       17,104.83               0.00                47,895.17
WATSON                KATHLEEN L WATSON                                  CLASS 3          150,000.00          2,850.00              0.00               147,150.00
WATSON                MAINSTAR-FBO WILLIE WATSON SR                      CLASS 3            50,000.00         2,958.33              0.00                47,041.67
WATSON                MARIANNE WATSON                                    CLASS 3            50,000.00          950.00               0.00                49,050.00
WATSON                ROBERT L WATSON SR                                 CLASS 3            25,000.00          131.95               0.00                24,868.05
WATSON                THE WATSON LT DTD 09/22/99                         CLASS 3          240,000.00        45,276.40               0.00               194,723.60
WATTERS               EDNA M WATTERS                                     CLASS 3            25,000.00         2,913.21              0.00                22,086.79
WAUGH                 ERIC S WAUGH                                       CLASS 3            25,000.00         1,931.99              0.00                23,068.01
WAYBRIGHT             JEFFREY H WAYBRIGHT                                CLASS 3            80,000.00         1,726.68              0.00                78,273.32
WAYNE                 LINDA WAYNE                                        CLASS 3            75,000.00        2,956.25               0.00                72,043.75
WAYNER                DELWYN G & BETTY J WAYNER                          CLASS 3           100,000.00       14,150.00               0.00                85,850.00
WEARLEY               THE WEARLEY FT                                     CLASS 3            78,000.00         1,434.59              0.00                76,565.41
WEATHERWAX            BELINDA S WEATHERWAX                               CLASS 3           185,000.00         5,303.33              0.00               179,696.67
WEAVER                DONALD H & KATHLEEN WEAVER                         CLASS 3           100,000.00         5,866.67              0.00                94,133.33
WEAVER                EUGENIA WEAVER RT                                  CLASS 3            50,000.00          622.91               0.00                49,377.09
WEAVER                MAINSTAR-FBO ANTHONY S WEAVER                      CLASS 3            30,000.00         1,274.17              0.00                28,725.83
WEAVER                TRACY H WEAVER                                     CLASS 3            50,000.00        3,787.50               0.00                46,212.50
WEAVER                WALDEN P WEAVER                                    CLASS 3            30,000.00        3,770.83               0.00                26,229.17
WEAVER/WADDELL        TRACY WEAVER & JAMES WADDELL                       CLASS 3            25,000.00         1,893.75              0.00                23,106.25

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                                                                                          Total
                                                                                       Outstanding       Prepetition         Other
                                                                                        Principal        "Interest"       Prepetition
                                                                                        Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WEBB                  KATHERINE M WEBB                                   CLASS 3            70,000.00         2,811.67              0.00                67,188.33
WEBB                  PROV. TR GP-FBO LINDA L WEBB IRA                   CLASS 3            26,500.00          150.91               0.00                26,349.09
WEBER                 JOHN & LUCILLE WEBER                               CLASS 3           200,000.00         3,733.34              0.00               196,266.66
WEBER                 JOHN WEBER                                         CLASS 3          130,000.00        13,750.00               0.00               116,250.00
WEBER                 SUSAN B WEBER TR                                   CLASS 3            35,000.00          704.85               0.00                34,295.15
WEBRE                 IRA SVCS TR CO-CFBO JAMES WEBRE IRA                CLASS 3          800,000.00        36,255.53               0.00               763,744.47
WEEKS                 PROV. TR GP-FBO BETTE J WEEKS IRA                  CLASS 3            26,600.00         2,808.52              0.00                23,791.48
WEEKS                 PROV. TR GP-FBO SKYLAR D WEEKS IRA                 CLASS 3           176,100.00       17,785.98               0.00               158,314.02
WEEKS                 SKYLAR & BETTE J WEEKS                             CLASS 3          140,000.00        12,562.91               0.00               127,437.09
WEER                  BART M & MARIE E WEER                              CLASS 3            25,000.00        5,652.43               0.00                19,347.57
WEIDENFELD            WEIDENFELD LT DTD 02/17/95                         CLASS 5          315,000.00        40,079.86               0.00               274,920.14
WEIDNER               MAINSTAR-FBO THOMAS WEIDNER T2178440               CLASS 3          211,995.00          1,030.53              0.00               210,964.47
WEIGHTON              E NICOLL WEIGHTON                                  CLASS 5          100,000.00        18,245.77               0.00                81,754.23
WEIHE                 DAVID WEIHE                                        CLASS 3            50,000.00          106.94               0.00                49,893.06
WEILAND               KENNETH J WEILAND                                  CLASS 3          100,000.00         6,485.25               0.00                93,514.75
WEINBERG              DARLENE R WEINBERG                                 CLASS 3            40,000.00         1,094.46              0.00                38,905.54
WEINBERG              PROV. TR GP-FBO FRANCES WEINBERG ROTH IRA          CLASS 3            29,200.00          301.13               0.00                28,898.87
WEINBERG              PROV. TR GP-FBO STEPHEN WEINBERG IRA               CLASS 3            81,200.00          393.97               0.00                80,806.03
WEINBERG              ROBERT M WEINBERG                                  CLASS 3          200,000.00        19,066.63               0.00               180,933.37
WEINER                NORMA WEINER LT DTD 11/13/13                       CLASS 3         1,050,000.00       43,512.50               0.00             1,006,487.50
WEINGARTEN            WEINGARTEN FT DTD 02/25/00                         CLASS 3            75,000.00         7,535.73              0.00                67,464.27
WEINHOLD              WEINHOLD FT                                        CLASS 3          200,000.00        15,059.66               0.00               184,940.34
WEISE                 DONALD E & DONNA M WEISE                           CLASS 3           250,000.00       37,855.40               0.00               212,144.60
WEISE                 WEISE RT DTD 11/07/14                              CLASS 3          150,000.00         8,724.99               0.00               141,275.01
WEISENBURGER          EARL & PAT WEISENBURGER                            CLASS 3            30,000.00          291.67               0.00                29,708.33
WEISGERBER            GEORGE N WEISGERBER TR DTD 01/19/00                CLASS 3           180,000.00       19,037.47               0.00               160,962.53
WEISGERBER            HORIZON TR CO-FBO GEORGE N WEISGERBER              CLASS 3           179,712.00         2,426.11              0.00               177,285.89
WEISHAAR              PROV. TR GP-FBO RICHARD M WEISHAAR IRA             CLASS 5            99,500.00       28,246.95               0.00                71,253.05
WEISHAUPT             WILLIAM F WEISHAUPT RT DTD 10/19/12                CLASS 3            50,000.00         3,350.00              0.00                46,650.00

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WEISS                 JAMES A WEISS                                       CLASS 3           25,000.00         1,486.16               0.00                23,513.84
WEISS                 LEIBY WEISS                                         CLASS 3           30,000.00           275.00               0.00                29,725.00
WEISSMAN              GERALD WEISSMAN                                     CLASS 3           25,000.00           350.00               0.00                24,650.00
WEISZ                 MAINSTAR-FBO STEVEN WEISZ T2176865                  CLASS 3           40,000.00         1,266.67               0.00                38,733.33
WEITZEL               HENRY C WEITZEL                                     CLASS 3           30,000.00         3,274.42               0.00                26,725.58
WEITZEL               WEITZEL FT FBO H THOMAS COSS                        CLASS 3          200,000.00         2,527.77               0.00               197,472.23
WEITZMAN              JENNIFER WEITZMAN                                   CLASS 3          100,000.00         2,547.21               0.00                97,452.79
WELCH                 FLORIS LAVON WELCH                                  CLASS 3           25,000.00           920.46               0.00                24,079.54
WELCH                 PROV. TR GP-FBO ROBERT W WELCH SR IRA               CLASS 3           73,000.00          1,654.67              0.00                71,345.33
WELCH                 ROBERT W WELCH SR                                   CLASS 3          100,000.00         7,067.62               0.00                92,932.38
WELDON/SMITH          JODIE WELDON & CAROL A SMITH                        CLASS 3           25,000.00           836.09               0.00                24,163.91
WELKER                THOMAS EDWARD & JULIE ANNE WELKER                   CLASS 3           25,000.00         1,078.84               0.00                23,921.16
WELLE                 GAIL WELLE                                          CLASS 3          100,000.00           347.22               0.00                99,652.78
WELLMAN               KENNETH & KAREN WELLMAN KEYSTONE TR                 CLASS 3           50,000.00        15,776.76               0.00                34,223.24
WELLS                 KELLI M & NANCY E WELLS                             CLASS 3           25,000.00           791.69               0.00                24,208.31
WELLS                 SIDNEY & LINDA WELLS                                CLASS 3          100,000.00          7,216.67              0.00                92,783.33
WELLS                 WILDA H WELLS                                       CLASS 3           70,000.00         3,787.79               0.00                66,212.21
WELSH                 SYLVESTER H WELSH                                   CLASS 3           90,000.00          8,265.00              0.00                81,735.00
WENDEL                ALVIN A & MARTHA A WENDEL                           CLASS 3           85,000.00        16,316.99               0.00                68,683.01
WENDEL                KATHLEEN A WENDEL                                   CLASS 3           50,000.00           505.56               0.00                49,494.44
WENDEL                KIMBERLY A WENDEL                                   CLASS 3          175,000.00        26,083.41               0.00               148,916.59
WENDEL                LINDA WENDEL                                        CLASS 3          100,000.00           758.33               0.00                99,241.67
WENDEL                PROV. TR GP-FBO JODI M WENDEL IRA                   CLASS 3           25,000.00          3,340.27              0.00                21,659.73
WENDEL                ROBERT L WENDEL                                     CLASS 3           50,000.00          4,075.00              0.00                45,925.00
WENDEL                SCOTT R WENDEL                                      CLASS 5          100,000.00        46,269.26               0.00                53,730.74
WENRICH               MAINSTAR-FBO CORINNE WENRICH                        CLASS 3           26,200.00          3,615.60              0.00                22,584.40
WENSKOSKI             PROV. TR GP-FBO RICHARD WENSKOSKI IRA               CLASS 3           84,500.00        15,110.09               0.00                69,389.91
WERLEY                ROBERT J & SUSAN R WERLEY                           CLASS 3           40,000.00           838.91               0.00                39,161.09
WERMUTH               ANDREW G WERMUTH                                    CLASS 3           25,000.00          5,395.95              0.00                19,604.05

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                                                                                         Total
                                                                                      Outstanding       Prepetition         Other
                                                                                       Principal        "Interest"       Prepetition
                                                                                       Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                          Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WERMUTH               MAINSTAR-FBO BRUCE M WERMUTH                      CLASS 5          100,000.00        16,408.32               0.00                83,591.68
WERMUTH               MARILYN WERMUTH                                   CLASS 3            70,000.00       13,858.28               0.00                56,141.72
WERNER                JAMES ALAN WERNER                                 CLASS 3            30,000.00         2,638.16              0.00                27,361.84
WERNER                JAMES ALAN WERNER                                 CLASS 5            70,000.00         6,155.72              0.00                63,844.28
WERNER                MAINSTAR-FBO JOHN T WERNER T2177151               CLASS 3            70,000.00         2,002.78              0.00                67,997.22
WERTER                DEBORAH WERTER                                    CLASS 3          120,000.00          3,500.00              0.00               116,500.00
WESCH                 WILLIAM G WESCH                                   CLASS 5          100,000.00        25,944.34               0.00                74,055.66
WESOLOWSKI            THE WESOLOWSKI RFT                                CLASS 3          100,000.00          5,861.16              0.00                94,138.84
WEST                  JAMES W & ROSEMARY WEST                           CLASS 3          125,000.00        12,065.34               0.00               112,934.66
WEST                  LAUREN M & NANCY J WEST                           CLASS 3           200,000.00         2,733.33              0.00               197,266.67
WEST                  LAUREN WEST TR UTD 12/11/12                       CLASS 3          300,000.00        53,585.94               0.00               246,414.06
WEST                  LAUREN WEST TR UTD 12/11/12                       CLASS 5          100,000.00        17,861.98               0.00                82,138.02
WEST                  MAINSTAR-FBO KATHY M WEST TW004048                CLASS 3          105,000.00          1,776.25              0.00               103,223.75
WEST                  PROV. TR GP-FBO ROYAL WEST IRA                    CLASS 3           159,000.00         7,905.83              0.00               151,094.17
WEST                  TIM & LAUREN WEST                                 CLASS 3          150,000.00        33,661.22         2,721.09                 113,617.69
WEST                  TIM & LAUREN WEST                                CLASS 3*          105,000.00        12,512.50               0.00                92,487.50
WEST                  TIM & LAUREN WEST                                 CLASS 5          100,000.00        22,440.81         1,814.06                  75,745.13
WEST COAST PHARM.     THE WEST COAST PHARMACEUTICAL INC DEF TR          CLASS 3            50,000.00         3,533.30              0.00                46,466.70
WESTERHEIDE           JOANN WESTERHEIDE RFTA                            CLASS 3           405,000.00       57,817.58               0.00               347,182.42
WESTERHEIDE           JOANN WESTERHEIDE RFTA                            CLASS 5           300,000.00       42,827.84               0.00               257,172.16
WESTERHEIDE           LEE H WESTERHEIDE                                 CLASS 3          400,000.00        79,661.02               0.00               320,338.98
WESTGERDES            MARY H WESTGERDES                                 CLASS 3            75,000.00         9,151.35              0.00                65,848.65
WESTSHORE             CHRIST CHURCH WESTSHORE                           CLASS 3            30,000.00          420.83               0.00                29,579.17
WETZEL                BARBARA WETZEL                                    CLASS 3            50,000.00          505.56               0.00                49,494.44
WETZEL                CO NATL BNK-FBO GARY WETZEL IRA CNB1008           CLASS 5           150,000.00       26,447.70               0.00               123,552.30
WHALEN                MIKE & NANCY WHALEN                               CLASS 3           200,000.00       10,183.29               0.00               189,816.71
WHARTON-BURNS         IRA SVCS TR CO-CFBO CONNIE WHARTON-BURNS          CLASS 3           100,000.00         6,450.00              0.00                93,550.00
WHEATLAKE             DONALD B WHEATLAKE                                CLASS 3            40,000.00         5,338.33              0.00                34,661.67
WHEELER               ANN HOLLINGSWORTH WHEELER                         CLASS 5           150,000.00       18,916.67               0.00               131,083.33

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
WHEELER               IRA SVCS TR CO-CFBO MELINDA K WHEELER IRA           CLASS 3            52,000.00         3,430.61                0.00                48,569.39
WHEELER               JOAN WHEELER                                        CLASS 3            50,000.00         3,266.67                0.00                46,733.33
WHEELER               PROV. TR GP-FBO JAMES WHEELER IRA                   CLASS 3          693,000.00        75,575.50                 0.00               617,424.50
WHEELER               PROV. TR GP-FBO LINDA WHEELER IRA                   CLASS 3            42,000.00         6,804.70           176.47                   35,018.83
WHEELER               RICHARD WHEELER                                     CLASS 3            50,000.00        1,387.50                 0.00                48,612.50
WHEELER               VIRGINIA & ALLAN WHEELER                            CLASS 3            50,000.00          861.10                 0.00                49,138.90
WHISENANT             EDWARD & JOHNNIE WHISENANT FT 05/20/11              CLASS 3            40,000.00         2,188.93                0.00                37,811.07
WHITE                 CRAIG WHITE                                         CLASS 3          200,000.00        13,166.67                 0.00               186,833.33
WHITE                 GINA D WHITE                                        CLASS 3            40,000.00        1,022.24                 0.00                38,977.76
WHITE                 JEAN WHITE FT UTA DTD 04/16/09                      CLASS 3            25,000.00        2,474.93                 0.00                22,525.07
WHITE                 KEVIN D WHITE                                       CLASS 3            30,000.00        1,690.00                 0.00                28,310.00
WHITE                 MARK C & MELANIE R WHITE                            CLASS 5            50,000.00        9,500.07                 0.00                40,499.93
WHITE                 PATRICIA T WHITE                                    CLASS 5          100,000.00        37,722.09                 0.00                62,277.91
WHITE                 PROV. TR GP-FBO CYNTHIA A WHITE IRA                 CLASS 3            28,000.00          979.98                 0.00                27,020.02
WHITE                 PROV. TR GP-FBO JAMES WHITE IRA                     CLASS 3            49,465.00        2,877.73                 0.00                46,587.27
WHITE                 PROV. TR GP-FBO JEAN WHITE IRA                      CLASS 3            35,000.00         6,507.17                0.00                28,492.83
WHITE                 PROV. TR GP-FBO JEAN WHITE IRA                      CLASS 5          135,000.00        25,099.08                 0.00               109,900.92
WHITE                 THE WHITE FT                                        CLASS 3            25,000.00              49.65              0.00                24,950.35
WHITE                 THE WHITE RT                                        CLASS 3            90,000.00        3,600.00                 0.00                86,400.00
WHITE/FOWLER          JEFFREY WHITE & DEBORAH LEE FOWLER                  CLASS 3            50,000.00         2,130.31                0.00                47,869.69
WHITEHEAD             GLENVIL R WHITEHEAD                                 CLASS 3            30,000.00         1,384.17                0.00                28,615.83
WHITEHEAD             JOAN G WHITEHEAD IT                                 CLASS 3            40,000.00         2,533.38                0.00                37,466.62
WHITEHEAD             WILLIAM F SR & CAROL L WHITEHEAD                    CLASS 3           125,000.00         3,666.67                0.00               121,333.33
WHITESIDE             C H WHITESIDE                                       CLASS 5          150,000.00        20,125.00                 0.00               129,875.00
WHITESIDE             MAINSTAR-FBO LEILA WHITESIDE T2177554               CLASS 3            29,500.00          442.50                 0.00                29,057.50
WHITING               VON WHITING                                         CLASS 5          122,000.00          3,592.22                0.00               118,407.78
WHITLEDGE             MAINSTAR-FBO CHARLES D WHITLEDGE RW003740           CLASS 3           160,800.00         6,997.03                0.00               153,802.97
WHITLING              JEFFREY LYNN & MINA Y WHITLING                      CLASS 3           150,000.00       19,673.16                 0.00               130,326.84
WHITLING              JEFFREY WHITLING                                    CLASS 3          100,000.00           291.67                 0.00                99,708.33

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                                       Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
WHITLOCK              PROV. TR GP-FBO STEPHEN E WHITLOCK IRA              CLASS 3            25,000.00       13,265.67                0.00                11,734.33
WHITLOCK              STEPHEN WHITLOCK                                    CLASS 3            25,000.00         1,309.06               0.00                23,690.94
WHITMAN               PROV. TR GP-FBO NICOLETTE L WHITMAN IRA             CLASS 3            26,755.00         3,744.44               0.00                23,010.56
WHITMAN               THOMAS R & NICOLETTE L WHITMAN                      CLASS 3          251,500.00        29,791.88                0.00               221,708.12
WHITMER               ILLUMINADA WHITMER                                  CLASS 3            30,000.00         3,235.48               0.00                26,764.52
WHITTINGHAM           PROV. TR GP-FBO KATHRYN WHITTINGHAM IRA             CLASS 3            60,500.00         5,707.17               0.00                54,792.83
WHITTINGHAM           PROV. TR GP-FBO MICHAEL WHITTINGHAM                 CLASS 3           102,000.00       18,105.01                0.00                83,894.99
WHYBREW               LARRY A WHYBREW                                     CLASS 3           100,000.00         5,940.31               0.00                94,059.69
WIDEMAN               DALE R & KATHRYN V WIDEMAN                          CLASS 3            50,000.00          902.76                0.00                49,097.24
WIDEMAN               JEFFERY & DELORES WIDEMAN RT                        CLASS 3           500,000.00       54,794.10          1,000.00                 444,205.90
WIDMAIER              WILLIAM K & MARYLOUISE WIDMAIER                     CLASS 3           200,000.00       18,848.53                0.00               181,151.47
WIDMANN               RICHARD & SUZANNE WIDMANN                           CLASS 3            25,000.00              0.00              0.00                25,000.00
WIEGER                CLIFFORD & DIANA WIEGER                             CLASS 3           125,000.00       11,000.00          2,000.00                 112,000.00
WIEGER                JAMES C WIEGER                                      CLASS 3          125,000.00          7,131.91         1,000.00                 116,868.09
WIEGMAN               PROV. TR GP-FBO GARY M WIEGMAN IRA                  CLASS 5           120,000.00       20,566.67                0.00                99,433.33
WIEJACZKA             HORIZON TR CO-FBO JOHN F WIEJACZKA IRA              CLASS 3            61,368.00         6,481.86               0.00                54,886.14
WIELAND               DONALD A & DIANE J WIELAND                          CLASS 3            40,000.00         6,300.00               0.00                33,700.00
WIENER                BARRY A WIENER                                      CLASS 3         1,000,000.00       10,791.68                0.00               989,208.32
WIENER                WIENER FT                                           CLASS 3          900,000.00          5,600.00               0.00               894,400.00
WIERZBICKI            PROV. TR GP-FBO DIANA WIERZBICKI IRA                CLASS 3            57,700.00         3,312.95               0.00                54,387.05
WIESE                 MAINSTAR-FBO MARIA WIESE TW003393                   CLASS 3          180,000.00        19,300.00                0.00               160,700.00
WIESEHAN              PROV. TR GP-FBO GENE L WIESEHAN IRA                 CLASS 3           113,000.00       29,728.36                0.00                83,271.64
WIESNER               JOHN WIESNER LT DTD 06/29/12                        CLASS 3           200,000.00       23,022.17                0.00               176,977.83
WIGGS                 PROV. TR GP-FBO TIFFANY WIGGS TRAD IRA              CLASS 3            40,000.00         8,767.31               0.00                31,232.69
WILABY                JON & KAY WILABY                                    CLASS 3           100,000.00         9,198.57               0.00                90,801.43
WILBURN               WILBURN FT DTD 04/14/16                             CLASS 3           300,000.00       14,437.50                0.00               285,562.50
WILCOX                WILCOX LT                                           CLASS 3          100,000.00           465.27                0.00                99,534.73
WILDER                THOMAS & WENDY WILDER                               CLASS 5           100,000.00       35,771.35                0.00                64,228.65
WILDS                 LOUISE WILDS                                        CLASS 3            83,000.00       11,971.75                0.00                71,028.25

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                                        Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                            Total
                                                                                         Outstanding       Prepetition          Other
                                                                                          Principal        "Interest"        Prepetition
                                                                                          Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                             Type             [1]               [2]               [3]          [1] minus [2] minus [3]
WILES                 IRA SVCS TR CO-CFBO BART WILES IRA540833             CLASS 5            96,000.00       13,706.67                0.00                82,293.33
WILHELM               BARBARA A WILHELM                                    CLASS 5          123,500.00        17,415.62                0.00               106,084.38
WILHELM               IRA SVCS TR CO-CFBO BARBARA WILHELM IRA              CLASS 5          145,000.00        21,863.93                0.00               123,136.07
WILHELM               IRA SVCS TR CO-CFBO BARBARA WILHELM ROTH             CLASS 5            34,527.74        4,612.74                0.00                29,915.00
WILHELM               RONALD G & APRIL M WILHELM                           CLASS 3            35,000.00              0.00              0.00                35,000.00
WILKEN                MAINSTAR-FBO RICHARD WILKEN                          CLASS 3            89,500.00         6,294.83               0.00                83,205.17
WILKEN                PAUL W & SHERRY D WILKEN                             CLASS 3           100,000.00       10,355.61                0.00                89,644.39
WILKINS               MAINSTAR-FBO ALBERT T WILKINS T2178527               CLASS 3          100,000.00           229.17                0.00                99,770.83
WILKINSON             JEFFREY A & JOSEPH D WILKINSON                       CLASS 3            61,000.00         5,254.02               0.00                55,745.98
WILKINSON             JEFFREY A & THERESA G WILKINSON                      CLASS 3            30,000.00          688.33                0.00                29,311.67
WILKINSON             JEFFREY A, GARY A & JOSEPH D WILKINSON               CLASS 3            60,000.00         8,664.92               0.00                51,335.08
WILKINSON             PROV. TR GP-FBO JEFFREY A WILKINSON IRA              CLASS 3          148,000.00        21,786.90                0.00               126,213.10
WILKINSON             PROV. TR GP-FBO PATRICIA WILKINSON IRA               CLASS 3           116,800.00       13,692.26          1,890.83                 101,216.91
WILLCOX               EDWIN G WILLCOX                                      CLASS 3          125,000.00        13,420.06                0.00               111,579.94
WILLCOX               EDWIN G WILLCOX                                      CLASS 5            50,000.00        5,368.02                0.00                44,631.98
WILLETT               MARILYN L & MICHAEL J WILLETT                        CLASS 3           150,000.00       17,730.59                0.00               132,269.41
WILLETT               TOBY M & JESSICA J WILLETT                           CLASS 3          250,000.00        38,994.23                0.00               211,005.77
WILLETT DAIRY         WILLETT DAIRY FARM & CATTLE CO                       CLASS 3           200,000.00       38,311.04                0.00               161,688.96
WILLETT DAIRY         WILLETT DAIRY FARM & CATTLE CO                       CLASS 5           100,000.00       19,155.52                0.00                80,844.48
WILLIAMS              ADELHEID WILLIAMS                                    CLASS 5          200,000.00         2,111.11                0.00               197,888.89
WILLIAMS              CHARLES WILLIAMS                                     CLASS 3          133,352.13         1,648.37                0.00               131,703.76
WILLIAMS              CLARENCE WILLIAMS                                    CLASS 3            25,000.00          684.05                0.00                24,315.95
WILLIAMS              EDWIN & SANDY WILLIAMS                               CLASS 3            25,000.00          820.83                0.00                24,179.17
WILLIAMS              EVA C WILLIAMS                                       CLASS 3            25,000.00          142.36                0.00                24,857.64
WILLIAMS              IRA SVCS TR CO-CFBO CHRISTINA I WILLIAMS             CLASS 3            22,800.00         1,596.00         4,000.00                  17,204.00
WILLIAMS              IRA SVCS TR CO-CFBO MARTIN T WILLIAMS IRA            CLASS 5          250,000.00        22,152.74                0.00               227,847.26
WILLIAMS              JONI C WILLIAMS                                      CLASS 3            25,000.00        2,316.05                0.00                22,683.95
WILLIAMS              MAINSTAR-FBO E ROGER WILLIAMS TW003625               CLASS 3            25,000.00          870.83                0.00                24,129.17
WILLIAMS              MAINSTAR-FBO GERALD WILLIAMS T2178073                CLASS 5          300,000.00          6,166.67               0.00               293,833.33

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                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
WILLIAMS              MAINSTAR-FBO KATHLEEN WILLIAMS TW003450            CLASS 3            35,245.57         2,175.90               0.00                33,069.67
WILLIAMS              MAINSTAR-FBO LINDA F WILLIAMS T2177391             CLASS 3           155,000.00         3,151.67               0.00               151,848.33
WILLIAMS              MAINSTAR-FBO PAULA WILLIAMS RW003873               CLASS 3            31,291.97          438.96                0.00                30,853.01
WILLIAMS              MAINSTAR-FBO ROGER WILLIAMS TW003625               CLASS 3            20,000.00          232.22                0.00                19,767.78
WILLIAMS              PROV. TR GP-FBO C LEE/GLORIA WILLIAMS IRA          CLASS 3            24,000.00         1,430.58               0.00                22,569.42
WILLIAMS              PROV. TR GP-FBO DEBORAH L WILLIAMS IRA             CLASS 3           100,000.00       14,194.44                0.00                85,805.56
WILLIAMS              REBECCA WILLIAMS                                   CLASS 3            25,000.00          375.01                0.00                24,624.99
WILLIAMS              ROBERT WILLIAMS                                    CLASS 3            50,000.00              0.00              0.00                50,000.00
WILLIAMS              RUTH WILLIAMS                                      CLASS 3            75,000.00          875.00                0.00                74,125.00
WILLIAMS              STEVEN E & CAROL A WILLIAMS                        CLASS 3           140,000.00         4,775.84               0.00               135,224.16
WILLIAMS              SUNWEST TR AUDREY S WILLIAMS IRA                   CLASS 3            80,000.00          986.67                0.00                79,013.33
WILLIAMS              TERESA WILLIAMS                                    CLASS 3            40,000.00         3,200.06               0.00                36,799.94
WILLIAMS              THE WILLIAMS INTER VIVOS TR                        CLASS 3            83,050.90          456.78                0.00                82,594.12
WILLIAMS/SMITH        LINDA J WILLIAMS & ANDREA E SMITH                  CLASS 3           102,000.00         6,243.25               0.00                95,756.75
WILLIAMSON            PROV. TR GP-FBO CONSTANCE WILLIAMSON IRA           CLASS 3            62,000.00         4,103.63               0.00                57,896.37
WILLIFORD             JOHN T & GAIL B WILLIFORD                          CLASS 3           250,000.00         5,702.09               0.00               244,297.91
WILLINGHAM            ARTHUR WILLINGHAM                                  CLASS 3            30,000.00         6,258.37               0.00                23,741.63
WILLIS                FREDERICK V & DONNA H WILLIS                       CLASS 3            50,000.00          641.67                0.00                49,358.33
WILLIS                MAINSTAR-FBO NANNETTE S WILLIS T2178030            CLASS 3            98,521.00         1,203.87               0.00                97,317.13
WILLIS                WANDA & ARTHUR WILLIS                              CLASS 3            33,000.00          898.33                0.00                32,101.67
WILLOUGHBY            IRA SVCS TR CO-CFBO GRADY W WILLOUGHBY             CLASS 3           105,000.00         5,490.63               0.00                99,509.37
WILSHIRE METHODIST    WILSHIRE UNITED METHODIST CHURCH                   CLASS 3           300,000.00         5,316.67         1,000.00                 293,683.33
WILSON                ADRIENNE & ERNEST WILSON                           CLASS 3            50,000.00         2,458.35               0.00                47,541.65
WILSON                ADRIENNE & ERNEST WILSON                           CLASS 5            50,000.00         2,458.35               0.00                47,541.65
WILSON                AL H JR & DEBORA KAYE WILSON                       CLASS 5            50,000.00       11,375.09                0.00                38,624.91
WILSON                ANNA-LISA FRELIN WILSON                            CLASS 3            50,000.00        6,531.23                0.00                43,468.77
WILSON                BEVERLY WILSON                                     CLASS 3            25,000.00          336.82                0.00                24,663.18
WILSON                GARRETT WILLIAM WILSON                             CLASS 3            30,000.00        1,405.00                0.00                28,595.00
WILSON                GLENN L WILSON                                     CLASS 3          100,000.00         5,994.48                0.00                94,005.52

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WILSON                IRA SVCS TR CO-CFBO WOODROW K WILSON IRA            CLASS 3           170,000.00       18,533.13               0.00               151,466.87
WILSON                JAMES L WILSON                                      CLASS 3            25,000.00        1,329.17               0.00                23,670.83
WILSON                JAMES S WILSON JR LT 01/05/11                       CLASS 3            25,000.00        9,606.66               0.00                15,393.34
WILSON                MAINSTAR-FBO ADRIENNE WILSON T2177137               CLASS 5           100,000.00         5,305.56              0.00                94,694.44
WILSON                MAINSTAR-FBO JOAN P WILSON T2175782                 CLASS 3            57,221.00         4,081.78              0.00                53,139.22
WILSON                PAULINE WILSON                                      CLASS 3          175,000.00        18,806.25               0.00               156,193.75
WILSON                PROV. TR GP-FBO KENT WILSON IRA                     CLASS 3            20,000.00          986.67               0.00                19,013.33
WILSON                PROV. TR GP-FBO ROY A WILSON JR IRA                 CLASS 5           200,000.00       46,166.67               0.00               153,833.33
WILSON                ROY A WILSON JR                                     CLASS 3          185,000.00        53,826.05         1,200.00                 129,973.95
WILSON                THELMA E WILSON                                     CLASS 3          100,000.00          1,266.67              0.00                98,733.33
WILSON                TIMOTHY W & DANIEL M WILSON                         CLASS 3            28,000.00         1,521.33              0.00                26,478.67
WILSON                WILLIAM R & DOROTHY WILSON                          CLASS 5           150,000.00       49,631.64               0.00               100,368.36
WILSON                MAINSTAR-FBO JOHN D WILSON                          CLASS 3           100,000.00         6,020.83              0.00                93,979.17
WILTON                PROV. TR GP-FBO GORDON V WILTON IRA                 CLASS 3            36,977.00         2,901.67              0.00                34,075.33
WIN                   THE WIN FT DTD 01/28/14                             CLASS 5          100,000.00          2,569.44              0.00                97,430.56
WINCHELL              KARI L WINCHELL                                     CLASS 3           132,000.00         5,610.00              0.00               126,390.00
WINCHESTER            PROV. TR GP-FBO THOMAS A WINCHESTER IRA             CLASS 3            50,000.00         2,600.00              0.00                47,400.00
WINDEY                DEBORAH WINDEY                                      CLASS 5            80,000.00         6,237.75              0.00                73,762.25
WINDEY                IRA SVCS TR CO-CFBO DEBORAH WINDEY ROTH             CLASS 3            34,000.00          524.18               0.00                33,475.82
WING                  PROV. TR GP-FBO JOHN K WING IRA                     CLASS 3           100,000.00       29,981.55               0.00                70,018.45
WING                  PROV. TR GP-FBO JOHN K WING IRA                     CLASS 5            50,000.00       14,990.78               0.00                35,009.22
WINGATE               LARRY & PAMELA WINGATE                              CLASS 3            50,000.00         9,231.76              0.00                40,768.24
WINGATE               LAURENCE WINGATE II                                 CLASS 3            25,000.00          934.40               0.00                24,065.60
WINGER                IRA SVCS TR CO-CFBO ROBERT L WINGER IRA             CLASS 3            25,000.00         1,958.39              0.00                23,041.61
WINGFIELD             TMICO-FBO JIM L WINGFIELD III IRA                   CLASS 5            59,029.32       16,413.40               0.00                42,615.92
WINKELSPECHT          THOMAS E WINKELSPECHT                               CLASS 3            25,000.00          362.50               0.00                24,637.50
WINNETT/WIGGERS       PEGGY S WINNETT & CHRISTINE M WIGGERS               CLASS 3            50,000.00         1,956.93              0.00                48,043.07
WINNINGHAM            PROV. TR GP-FBO K K WINNINGHAM INH IRA              CLASS 3            32,666.67          762.22               0.00                31,904.45
WINSLOW               DAVID & BARBARA J WINSLOW                           CLASS 3           110,000.00       16,279.38               0.00                93,720.62

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                                                                                           Total
                                                                                        Outstanding       Prepetition           Other
                                                                                         Principal        "Interest"         Prepetition
                                                                                         Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]                [3]          [1] minus [2] minus [3]
WINSLOW RESOURCES     WINSLOW RESOURCES INC                               CLASS 3           200,000.00       32,396.22                 0.00               167,603.78
WINSTON               ROBERT J WINSTON                                    CLASS 3            25,000.00          503.49                 0.00                24,496.51
WINTER                ANTHONY K WINTER                                    CLASS 3            25,000.00          472.24                 0.00                24,527.76
WINTER                JEANNE WINTER                                       CLASS 3            25,000.00         1,395.88                0.00                23,604.12
WINTER                LARRY WINTER                                        CLASS 3            50,000.00              63.19              0.00                49,936.81
WINTERS               THE GLENN WINTERS FT DTD 03/19/92                   CLASS 3            30,000.00         1,260.00          3,000.00                  25,740.00
WINTERS               WAYNE A & NANCY J WINTERS                           CLASS 3           125,000.00         7,316.01                0.00               117,683.99
WIREMAN               GRACE H WIREMAN                                     CLASS 3          100,000.00         6,666.67                 0.00                93,333.33
WIREMAN               IRA SVCS TR CO-CFBO GRACE H WIREMAN IRA             CLASS 3            72,500.00         4,434.58                0.00                68,065.42
WIRKUS                LINDA C WIRKUS                                      CLASS 3           135,000.00       30,138.75                 0.00               104,861.25
WIRKUS                PROV. TR GP-FBO LINDA C WIRKUS ROTH IRA             CLASS 3           134,000.00       26,894.50                 0.00               107,105.50
WISE                  DOUGLAS W & MARLA K WISE                            CLASS 3           100,000.00       35,642.50                 0.00                64,357.50
WISE                  GEORGE H WISE                                       CLASS 3            50,000.00       11,731.09                 0.00                38,268.91
WISE                  PROV. TR GP-FBO RICHARD L WISE IRA                  CLASS 3           153,000.00       15,626.08                 0.00               137,373.92
WISELY                ROSALIE F WISELY                                    CLASS 3          100,000.00          5,050.05                0.00                94,949.95
WISNER                IRA SVCS TR CO-CFBO CHARLES D WISNER IRA            CLASS 3            68,000.00         4,624.00                0.00                63,376.00
WISNER                MAINSTAR-FBO ROGER D WISNER T2177542                CLASS 3            82,000.00         1,466.31                0.00                80,533.69
WISNER                ROGER & BETTY WISNER                                CLASS 3            25,000.00          625.00                 0.00                24,375.00
WISON                 IRA SVCS TR CO-CFBO ARTHUR S WISON IRA              CLASS 3            90,000.00         2,550.00                0.00                87,450.00
WISOR                 IRENE M WISOR                                       CLASS 3            30,000.00          491.67                 0.00                29,508.33
WITT                  MAINSTAR-FBO JOHN WALLACE WITT JR                   CLASS 3           550,000.00       36,300.00                 0.00               513,700.00
WITTE                 MARY ANN WITTE                                      CLASS 3            25,000.00         1,816.67                0.00                23,183.33
WITTMAN               DAVID T WITTMAN                                     CLASS 3            50,000.00       10,586.83                 0.00                39,413.17
WITTMAN               FREDERICK R & NORMA M WITTMAN TR                    CLASS 3            65,000.00         5,495.83                0.00                59,504.17
WITTMAN               HORIZON TR CO-FBO GAIL WITTMAN IRA                  CLASS 3            59,500.00         2,776.64                0.00                56,723.36
WLH                   WLH LT DTD 03/14/03                                 CLASS 3            50,000.00          281.94                 0.00                49,718.06
WOERPEL               DIANNA WOERPEL                                      CLASS 3            50,000.00          152.78                 0.00                49,847.22
WOFFINDEN             IRA SVCS TR CO-CFBO PEGGY L WOFFINDEN               CLASS 3            91,426.00         2,726.64                0.00                88,699.36
WOGOMAN               BERNARD & VIOLET WOGOMAN                            CLASS 3           100,000.00       12,697.15                 0.00                87,302.85

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                                                                                           Total
                                                                                        Outstanding       Prepetition          Other
                                                                                         Principal        "Interest"        Prepetition
                                                                                         Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]               [3]          [1] minus [2] minus [3]
WOHLWEND              BARBARA WOHLWEND LT DTD 08/15/08                    CLASS 3            85,000.00       12,062.95                0.00                72,937.05
WOHLWEND              RONALD J WOHLWEND LT                                CLASS 3           100,000.00         9,431.25               0.00                90,568.75
WOLF                  ABRAHAM & HILARY WOLF                               CLASS 3            50,000.00         1,859.70               0.00                48,140.30
WOLFE                 MICHAEL E WOLFE                                     CLASS 5          100,000.00           416.67                0.00                99,583.33
WOLFELD               MAINSTAR-FBO SHIRLEY WOLFELD TW004025               CLASS 3            60,000.00         2,480.00               0.00                57,520.00
WOLFER                JACQUELYN WOLFER                                    CLASS 3          150,000.00        15,625.00                0.00               134,375.00
WOLFERMAN             JOYCE WOLFERMAN                                     CLASS 3            50,000.00              0.00              0.00                50,000.00
WOLFF                 RONALD V WOLFF                                      CLASS 3          150,000.00        20,107.62                0.00               129,892.38
WOLFGRAM              CRAIG D & SUSAN J WOLFGRAM                          CLASS 3            50,000.00         8,250.00               0.00                41,750.00
WOLFGRAM              RONALD & SUSAN WOLFGRAM                             CLASS 3            50,000.00          555.55                0.00                49,444.45
WOLFLEY/DIRICCO       HELENE WOLFLEY & RICHARD DIRICCO                    CLASS 3            25,000.00         1,378.52               0.00                23,621.48
WOLFORD               LELAND WOLFORD                                     CLASS 3*           100,000.00         3,622.24               0.00                96,377.76
WOLFSON               MAINSTAR-FBO LYNNE K WOLFSON TW004036               CLASS 3            30,000.00          415.00                0.00                29,585.00
WOLFSON               PROV. TR GP-FBO ALAN S WOLFSON IRA                  CLASS 3            50,000.00          691.67                0.00                49,308.33
WOLK                  JEFFREY E WOLK                                      CLASS 3          400,000.00        18,291.01                0.00               381,708.99
WOLLIN                REBECCA WOLLIN                                      CLASS 3          100,000.00          6,333.33               0.00                93,666.67
WOLNER                DAN A & TERESA L WOLNER                             CLASS 3           300,000.00       47,022.06                0.00               252,977.94
WOLSTENHOLME          DENNIS J & KATHLEEN A WOLSTENHOLME                  CLASS 3            50,000.00         1,691.67               0.00                48,308.33
WOLTERS               C RON & ELIZABETH J WOLTERS                         CLASS 3            80,000.00         1,000.00               0.00                79,000.00
WONG                  HORIZON TR CO-FBO ERIC WONG IRA                     CLASS 5            50,466.39         3,981.21               0.00                46,485.18
WONG                  MAINSTAR-FBO CHEUK WONG RW003942                    CLASS 3            50,000.00        1,594.44                0.00                48,405.56
WONG                  PHEBE WONG                                          CLASS 3            25,000.00          924.28                0.00                24,075.72
WONG                  SHELLEY & ERIC WONG                                 CLASS 5          200,000.00        27,186.67                0.00               172,813.33
WONG                  SINCLAIR WONG                                       CLASS 3            40,000.00          455.56                0.00                39,544.44
WONG                  THE WILLIAM K WONG TR DTD 03/31/09                  CLASS 3           453,800.00       67,591.03                0.00               386,208.97
WONG                  THE WONG FT DTD 10/22/88                            CLASS 3            50,000.00              0.00              0.00                50,000.00
WOOD                  DAN B WOOD                                          CLASS 3          160,000.00        10,711.15                0.00               149,288.85
WOOD                  DONALD H WOOD                                       CLASS 3          100,000.00        12,443.72                0.00                87,556.28
WOOD                  JAMES D & JOYCE A WOOD                              CLASS 3          250,000.00        30,427.82                0.00               219,572.18

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
WOOD                  MARY A WOOD FAMILY IRREV TR                        CLASS 3            88,000.00          134.44                0.00                87,865.56
WOOD                  PROV. TR GP-FBO VALERIE K WOOD IRA                 CLASS 3           315,000.00       22,493.39                0.00               292,506.61
WOODBY                JAMES ALVIN & VALUAH SUE WOODBY                    CLASS 3            50,000.00         2,676.04               0.00                47,323.96
WOODS                 DAVID SCOTT WOODS RLT                              CLASS 3            51,000.00          136.12                0.00                50,863.88
WOODS                 IRA SVCS TR CO-CFBO JANET R WOODS IRA              CLASS 3            29,000.00         1,795.95               0.00                27,204.05
WOODS                 MAINSTAR-FBO GARY L WOODS T2175814                 CLASS 3            29,000.00         1,856.00               0.00                27,144.00
WOODS                 ROGER J & NANCY J WOODS                            CLASS 3            75,000.00          541.67                0.00                74,458.33
WOODY                 KIMBERLY D WOODY                                   CLASS 3            25,000.00         1,300.00               0.00                23,700.00
WOODY                 RONALD WOODY                                       CLASS 3           150,000.00       13,520.83                0.00               136,479.17
WOOLARD               IRA SVCS TR CO-CFBO CHARLOTTE WOOLARD INH          CLASS 3           550,875.00       16,441.17                0.00               534,433.83
WORDEN                PROV. TR GP-FBO JOHN T WORDEN IRA                  CLASS 3            19,000.00          564.73                0.00                18,435.27
WORKMAN               ABRAHAM WORKMAN                                    CLASS 3            50,000.00         4,766.70               0.00                45,233.30
WORLAND               IRA SVCS TR CO-CFBO WILLIAM C WORLAND IRA          CLASS 3            46,000.00         2,977.27               0.00                43,022.73
WORMINGTON            KIRK & PAMELA WORMINGTON                           CLASS 3          100,000.00          9,131.90               0.00                90,868.10
WORST                 WILLIAM C WORST JR                                 CLASS 3            60,000.00        2,973.30                0.00                57,026.70
WORWAG                RANDALL S WORWAG TR-RANDALL WORWAG TTE             CLASS 5          300,000.00        92,083.33                0.00               207,916.67
WRIGHT                BROOKE NICOLE WRIGHT                               CLASS 3            25,000.00          656.27                0.00                24,343.73
WRIGHT                DONALD N & SANDRA L WRIGHT                         CLASS 3           100,000.00       13,947.90                0.00                86,052.10
WRIGHT                DOUGLAS F & PEGGY J WRIGHT                         CLASS 3           500,000.00       76,132.22                0.00               423,867.78
WRIGHT                GARY WRIGHT                                        CLASS 3            25,000.00          631.96                0.00                24,368.04
WRIGHT                LEANNE WRIGHT                                      CLASS 3            50,000.00         1,594.46               0.00                48,405.54
WRIGHT                PROV. TR GP-FBO JONATHAN S WRIGHT IRA              CLASS 3            25,000.00              0.00              0.00                25,000.00
WRIGHT                PROV. TR GP-FBO MARSHA IRIS WRIGHT IRA             CLASS 3            75,000.00         1,927.08               0.00                73,072.92
WRIGHT                PROV. TR GP-FBO ROBERT WRIGHT IRA                  CLASS 3           137,500.00         4,380.47               0.00               133,119.53
WRIGHT                WILLIE F WRIGHT                                    CLASS 3            50,000.00        1,825.72                0.00                48,174.28
WRIGHT/RADER          NANCY J WRIGHT & MATTHEW T RADER                   CLASS 3           100,000.00       11,000.00                0.00                89,000.00
WROBLEWSKI            MICHAEL & DIANE WROBLEWSKI                         CLASS 3            25,000.00          729.19                0.00                24,270.81
WRYNN                 HARVEY P & MARY WRYNN                              CLASS 3            30,000.00          541.67                0.00                29,458.33
WU                    KUANG-LEI & DIANA C Y WU                           CLASS 3            25,000.00          889.26                0.00                24,110.74

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
WUKIE                 THERESA M WUKIE/WUKIE MARITAL DED TR                CLASS 3            40,000.00         3,943.28              0.00                36,056.72
WUNSCHEL              ANNE M WUNSCHEL                                     CLASS 3           215,000.00       29,526.67               0.00               185,473.33
WWW                   WWW TR UAD 05/01/94                                 CLASS 3            50,000.00         3,383.33              0.00                46,616.67
WYATT                 MARTHA ANN WYATT                                    CLASS 3            25,000.00          357.65               0.00                24,642.35
WYATT                 PATRICIA MARIE WYATT                                CLASS 3            25,000.00          625.00               0.00                24,375.00
WYCKOFF               MARGARET A WYCKOFF                                  CLASS 3            50,000.00         6,066.73              0.00                43,933.27
WYLIE                 DAVID WYLIE                                         CLASS 3          150,000.00        16,879.88               0.00               133,120.12
WYSOCKI               JOE WYSOCKI                                         CLASS 3          100,000.00        15,600.08               0.00                84,399.92
XIA/LIN               THE MING-YI DANIEL XIA & TING-YI LIN RT             CLASS 3           150,000.00         1,475.00              0.00               148,525.00
YAMATE                GLENN YAMATE                                        CLASS 3            30,000.00         2,080.00              0.00                27,920.00
YAMATE                MAINSTAR-FBO GLENN YAMATE                           CLASS 5           274,300.00       44,278.84               0.00               230,021.16
YAMATE-MORGAN         HANA & HEIDI YAMATE-MORGAN                          CLASS 3            25,000.00         3,333.40              0.00                21,666.60
YANEZ                 IRA SVCS TR CO-CFBO RICARDO YANEZ IRA               CLASS 3           175,000.00         6,577.06              0.00               168,422.94
YANT                  MAINSTAR-FBO KAREN YANT                             CLASS 5           107,000.00         9,481.37              0.00                97,518.63
YARBROUGH             MAINSTAR-FBO C E YARBROUGH T2177297                 CLASS 3            90,900.00         3,782.82              0.00                87,117.18
YARKE                 MALVERN C YARKE                                     CLASS 3            30,000.00         5,739.58              0.00                24,260.42
YASENSKY              THOMAS YASENSKY                                     CLASS 3          200,000.00          2,937.17              0.00               197,062.83
YATES                 CARL YATES                                          CLASS 3            60,000.00        1,627.50               0.00                58,372.50
YBORRA                LINDA S YBORRA                                      CLASS 3            70,000.00         4,830.00              0.00                65,170.00
YEE                   JAMES YEE                                           CLASS 3            25,000.00        1,406.29               0.00                23,593.71
YEE                   PAUL YEE                                            CLASS 3            25,000.00        1,084.69               0.00                23,915.31
YEH                   TANG SHIUN YEH                                      CLASS 3            50,000.00         7,349.61              0.00                42,650.39
YEH                   TANG SHIUN YEH                                      CLASS 5          100,000.00        14,699.23               0.00                85,300.77
YELENOVIC             IRA SVCS TR CO-CFBO MIRKO YELENOVIC                 CLASS 3            50,000.00         3,301.98              0.00                46,698.02
YETSKO                MAINSTAR-FBO ROGER YETSKO T2176620                  CLASS 3           100,000.00         1,650.00              0.00                98,350.00
YETTER                PROV. TR GP-FBO DAVID A YETTER IRA                  CLASS 3            33,000.00         4,323.83              0.00                28,676.17
YEUNG                 PROV. TR GP-FBO FRANCIS YEUNG IRA                   CLASS 3           210,500.00       14,627.67               0.00               195,872.33
YI                    PROV. TR GP-FBO JENIFER YI IRA                      CLASS 5            32,000.00       13,759.40               0.00                18,240.60
YI                    PROV. TR GP-FBO JENIFER YI ROTH IRA                 CLASS 5            59,500.00       11,685.14               0.00                47,814.86

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                                                                                          Total
                                                                                       Outstanding       Prepetition           Other
                                                                                        Principal        "Interest"         Prepetition
                                                                                        Amount           Payments          Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]                [3]          [1] minus [2] minus [3]
YOPPINI               JONATHON & RONNAMARI YOPPINI                       CLASS 3            60,000.00         4,380.97                0.00                55,619.03
YOUNG                 D&A YOUNG FAMILY LLC                               CLASS 5           150,000.00       44,742.97                 0.00               105,257.03
YOUNG                 DALE A & ANA T YOUNG                               CLASS 5         1,000,000.00      196,038.16                 0.00               803,961.84
YOUNG                 DENNIS A YOUNG                                     CLASS 3          110,000.00         6,737.45                 0.00               103,262.55
YOUNG                 ELAINE J YOUNG TR DTD 06/16/00                     CLASS 3            60,000.00         4,987.50                0.00                55,012.50
YOUNG                 HENRY YOUNG                                        CLASS 3            25,000.00          414.33                 0.00                24,585.67
YOUNG                 IRA SVCS TR CO-CFBO JAMES R YOUNG                  CLASS 3            27,300.00              42.47              0.00                27,257.53
YOUNG                 ISABELLA YOUNG                                     CLASS 3           250,000.00       28,319.53                 0.00               221,680.47
YOUNG                 JEFFREY R & JOY K YOUNG                            CLASS 3            35,000.00         2,906.15                0.00                32,093.85
YOUNG                 JOHN H & FAYE W YOUNG                              CLASS 3            55,000.00         3,193.10                0.00                51,806.90
YOUNG                 KIMBERLY F YOUNG                                   CLASS 3           150,000.00       25,208.25                 0.00               124,791.75
YOUNG                 PROV. TR GP-FBO DALE A YOUNG IRA                   CLASS 5           231,700.00       52,723.39                 0.00               178,976.61
YOUNG                 PROV. TR GP-FBO EDWIN YOUNG IRA                    CLASS 3            60,000.00         9,933.33                0.00                50,066.67
YOUNG                 PROV. TR GP-FBO HENRY YOUNG IRA                    CLASS 3            49,750.00              76.01              0.00                49,673.99
YOUNG                 PROV. TR GP-FBO PAMELA YOUNG IRA                   CLASS 3           228,336.63       23,130.18                 0.00               205,206.45
YOUNG                 ROSE ANNE YOUNG                                    CLASS 3            30,000.00          466.67                 0.00                29,533.33
YOUNG                 STEPHEN S YOUNG TR DTD 06/16/00                    CLASS 3            30,000.00         4,129.17                0.00                25,870.83
YOUNG                 YOUNG LT DTD 04/07/08                              CLASS 3            45,000.00         1,271.86                0.00                43,728.14
YOUNGBLOOD            WILLIAM A III & BARBARA J YOUNGBLOOD               CLASS 3           150,000.00         3,583.33                0.00               146,416.67
YU                    JUDY JAW CHING YU                                  CLASS 3            25,000.00          986.79                 0.00                24,013.21
YUGOVICH              HORIZON TR CO-FBO MICHAEL A YUGOVICH IRA           CLASS 3           420,000.00       41,840.00           1,000.00                 377,160.00
YUGOVICH              HORIZON TR CO-FBO MICHAEL A YUGOVICH ROTH IRA CLASS 3                 47,300.00         4,992.73                0.00                42,307.27
YUGOVICH              HORIZON TR CO-FBO STEVEN M YUGOVICH IRA            CLASS 3            35,000.00         1,674.19                0.00                33,325.81
YUGOVICH              STEVEN M YUGOVICH                                  CLASS 3            50,000.00         2,401.42                0.00                47,598.58
YUGOVICH              YUGOVICH FLT DTD 07/22/09                          CLASS 3            50,000.00         5,866.61                0.00                44,133.39
YUHAS                 MAINSTAR-FBO JOHN YUHAS T2178460                   CLASS 3           265,000.00          220.83                 0.00               264,779.17
ZABEL                 CHARLES SR & RUTH ANN ZABEL                        CLASS 3           100,000.00         7,533.33                0.00                92,466.67
ZABLOTNY              PAUL ZABLOTNY                                      CLASS 3            25,000.00       38,963.57                 0.00                      0.00 **
ZABORAC               DAVID & KIM ZABORAC                                CLASS 3            75,000.00         2,722.20                0.00                72,277.80

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                                                                                           Total
                                                                                        Outstanding       Prepetition         Other
                                                                                         Principal        "Interest"       Prepetition
                                                                                         Amount           Payments        Distributions          Net Claims
Surname/Entity Name   Full Name                                            Type             [1]               [2]              [3]          [1] minus [2] minus [3]
ZACCONE               ELIZABETH ZACCONE                                   CLASS 3            50,000.00         2,520.87              0.00                47,479.13
ZACK                  IRA SVCS TR CO-CFBO KATHLEEN P ZACK IRA             CLASS 3            25,000.00         2,236.08              0.00                22,763.92
ZADAREKY              CHERYL ANN ZADAREKY                                 CLASS 3            41,000.00          472.63               0.00                40,527.37
ZAHLMANN              GLENN C ZAHLMANN                                    CLASS 3            50,000.00         8,850.00        1,000.00                  40,150.00
ZAHLMANN              REGINA M ZAHLMANN                                   CLASS 3            50,000.00         5,197.13              0.00                44,802.87
ZAHM                  PROV. TR GP-FBO MURIEL G ZAHM IRA                   CLASS 5          120,000.00        26,455.69               0.00                93,544.31
ZAHM                  ROY W & MURIEL G ZAHM                               CLASS 5          100,000.00        41,583.23               0.00                58,416.77
ZAIATS                IVAN & TETYANA ZAIATS                               CLASS 3          100,000.00           183.33               0.00                99,816.67
ZAKS ASSET MGT.       ZAKS ASSET MANAGEMENT TR                            CLASS 3           147,000.00       14,721.74               0.00               132,278.26
ZAMARRA               PROV. TR GP-FBO MADELINE ZAMARRA IRA                CLASS 3            74,715.00         2,164.66              0.00                72,550.34
ZAMPETTI              DEBRA M ZAMPETTI                                    CLASS 3          100,000.00          4,297.25              0.00                95,702.75
ZANTO                 RAYMOND L & CHARLEEN L ZANTO                        CLASS 3            40,000.00          416.67               0.00                39,583.33
ZAPACH                PROV. TR GP-FBO MARK ZAPACH IRA                     CLASS 3            65,000.00         3,863.89              0.00                61,136.11
ZAVERI                AMEET & JASMINE ZAVERI                              CLASS 5            50,000.00         4,783.37              0.00                45,216.63
ZAVERI                JAY & BHAVNA ZAVERI                                 CLASS 3            25,000.00         5,140.88              0.00                19,859.12
ZAZUETA               LINNAY EVELYN ZAZUETA                               CLASS 3            50,000.00         3,680.50              0.00                46,319.50
ZEEK                  BRIAN ZEEK                                          CLASS 3            50,000.00        3,541.69               0.00                46,458.31
ZEEK                  MAINSTAR-FBO BRIAN ZEEK TW003772                    CLASS 3          120,700.00          7,936.03              0.00               112,763.97
ZEIER                 PAM ZEIER                                           CLASS 3            50,000.00        3,168.71               0.00                46,831.29
ZEIER                 PROV. TR GP-FBO PAM B ZEIER IRA                     CLASS 5          186,500.00        13,451.31               0.00               173,048.69
ZEIER                 STERLING ZEIER                                      CLASS 3          100,000.00         2,166.68               0.00                97,833.32
ZEIF                  JONATHAN ZEIF                                       CLASS 3          100,000.00           157.78               0.00                99,842.22
ZEIS                  IRA SVCS TR CO-CFBO ROY E ZEIS SR IRA               CLASS 3           105,000.00         3,368.75              0.00               101,631.25
ZELIK                 ABRAHAM ZELIK                                       CLASS 3            30,000.00         1,220.00              0.00                28,780.00
ZELIK                 JUDAH ZELIK                                         CLASS 3            13,000.00          355.35               0.00                12,644.65
ZELLA                 DAVID P & FRANCES E ZELLA                           CLASS 3           115,000.00       10,249.31               0.00               104,750.69
ZELLA                 PROV. TR GP-FBO PAUL R ZELLA IRA                    CLASS 3            61,476.79       28,927.27               0.00                32,549.52
ZELLER                ZELLER TR DTD 01/27/00                              CLASS 3            95,000.00         2,941.92              0.00                92,058.08
ZEMAN                 BELINDA S ZEMAN                                     CLASS 3            50,000.00         3,899.96              0.00                46,100.04

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                                      Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                          Total
                                                                                       Outstanding       Prepetition          Other
                                                                                        Principal        "Interest"        Prepetition
                                                                                        Amount           Payments         Distributions          Net Claims
Surname/Entity Name   Full Name                                           Type             [1]               [2]               [3]          [1] minus [2] minus [3]
ZEMKE                 HERMAN B & JOYCE ZEMKE                             CLASS 3          100,000.00         9,583.41                0.00                90,416.59
ZEMKE                 KWIN D ZEMKE                                       CLASS 3            25,000.00              0.00              0.00                25,000.00
ZENK                  DALE R ZENK                                        CLASS 3          401,000.00        23,406.14                0.00               377,593.86
ZEZECK                CRAIG & JANE ZEZECK                                CLASS 3          150,000.00        27,925.00                0.00               122,075.00
ZHANG                 JIAYAN ZHANG                                       CLASS 3          150,000.00          5,466.67               0.00               144,533.33
ZHANG                 LIJIAN ZHANG                                       CLASS 3            50,000.00        3,715.22                0.00                46,284.78
ZHANG/PENG            LIJIAN ZHANG & XINGRUI PENG                        CLASS 5           100,000.00       10,944.40                0.00                89,055.60
ZIEG                  FRANK B ZIEG                                       CLASS 3            90,000.00       12,015.00                0.00                77,985.00
ZIEGENFUSS            PROV. TR GP-FBO ROBERT P ZIEGENFUSS IRA            CLASS 3            99,000.00       12,391.50                0.00                86,608.50
ZIEMANN               OLIVER L JR & SHARON K ZIEMANN                     CLASS 3            75,000.00         1,250.00               0.00                73,750.00
ZIEV                  JOSHUA ZIEV                                        CLASS 3            30,000.00              5.00              0.00                29,995.00
ZIGERELLI/VILLARREAL MARK ZIGERELLI & SYLVIA VILLARREAL                  CLASS 3           185,000.00       10,994.69                0.00               174,005.31
ZIKES                 CHARLES H & DOLORES B ZIKES                        CLASS 3            50,000.00       10,141.61                0.00                39,858.39
ZIMMER                MAINSTAR-FBO JANICE ZIMMER T2174612                CLASS 3            68,000.00        7,242.00                0.00                60,758.00
ZIMMERER              ALAN ZIMMERER                                      CLASS 5          125,000.00        16,555.64                0.00               108,444.36
ZINNE                 PROV. TR GP-FBO CHARLES ZINNE IRA                  CLASS 3            25,800.00         6,544.09               0.00                19,255.91
ZINNE                 PROV. TR GP-FBO CHARLES ZINNE IRA                  CLASS 5          151,000.00        38,300.68                0.00               112,699.32
ZINNE                 REBECCA K ZINNE                                    CLASS 5            50,000.00       17,139.03                0.00                32,860.97
ZINSMASTER            RAYMOND & LINDA ZINSMASTER                         CLASS 3           150,000.00       23,973.53                0.00               126,026.47
ZIRPOLO               NICHOLAS J ZIRPOLO                                 CLASS 3          300,000.00        49,650.00                0.00               250,350.00
ZMACHINSKY            CHARLOTTE ZMACHINSKY                               CLASS 3            67,000.00       11,568.57                0.00                55,431.43
ZMINKOWSKI            PAUL & MAUREEN ZMINKOWSKI                          CLASS 3            50,000.00         4,807.65               0.00                45,192.35
ZOFREA                VINCENT J & HILDA L ZOFREA                         CLASS 3            50,000.00        1,406.27                0.00                48,593.73
ZOLLINGER             CLAUDIA ZOLLINGER                                  CLASS 3            35,000.00          933.31                0.00                34,066.69
ZOLMAN                PROV. TR GP-FBO NICKEY L ZOLMAN IRA                CLASS 3          163,000.00        21,231.37                0.00               141,768.63
ZUBERBIER             THOMAS & BONNIE ZUBERBIER                          CLASS 3           200,000.00         3,611.14               0.00               196,388.86
ZUCKERMAN             MICHAEL & RONNIE ZUCKERMAN                         CLASS 3           288,000.00       30,273.64                0.00               257,726.36
ZUIDERSMA             MAINSTAR-FBO RICHARD L ZUIDERSMA                   CLASS 3          117,600.00        15,971.94                0.00               101,628.06
ZUKERMAN              ELAINE S & EDWARD ZUKERMAN                         CLASS 3            25,000.00         1,485.10               0.00                23,514.90

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                                                     Schedule 3 - Schedule of Principal Amounts and Prepetition Distributions

                                                                                                                       Total
                                                                                                                    Outstanding              Prepetition             Other
                                                                                                                     Principal               "Interest"           Prepetition
                                                                                                                     Amount                  Payments            Distributions            Net Claims
Surname/Entity Name            Full Name                                                               Type                [1]                    [2]                  [3]           [1] minus [2] minus [3]
ZUNIGA                         ALVIDA ZUNIGA LT 2012 DTD 09/06/12                                    CLASS 3               25,000.00                 371.86                  0.00                  24,628.14
ZWASCHKA                       STEVEN P ZWASCHKA                                                     CLASS 3               50,000.00               5,659.74                  0.00                  44,340.26
ZWEBEN                         DONNA SHARYN ZWEBEN                                                   CLASS 3               30,000.00               1,524.38                  0.00                  28,475.62
ZWEIG                          ROBERT & JEANNE ZWEIG                                                 CLASS 3               25,000.00               1,524.35                  0.00                  23,475.65
ZWOYER                         PROV. TR GP-FBO JEFFREY ZWOYER PSP IRA                                CLASS 3              400,000.00              18,750.00                  0.00                 381,250.00
ZYLMAN                         GARY W & JANE E ZYLMAN                                                CLASS 3              220,000.00               3,513.90                  0.00                 216,486.10




                               TOTALS FOR CLASS 3                                                                   $752,984,680.55         $62,315,610.98         $332,477.33              $690,457,653.00
                               TOTALS FOR CLASS 3*                                                                     $4,315,255.19           $202,468.43            $1,000.00                $4,111,786.76
                               TOTALS FOR CLASS 5                                                                   $212,142,892.10         $40,181,988.19          $81,794.72              $171,887,068.31



   *   This claim is initially classified in Class 6; the analysis assumes that it will be reclassified into Class 3, either consensually or after litigation. See also the Schedule of Non-Debtor Loan Note
       Claims.
  **   "Interest" paid to this Noteholder or Unitholder exceeds the total outstanding principal amount held. The net claim amount is listed at $0.00.


Notes: This Schedule does not include Claims of Excluded Parties because the Debtors are not prepared to allow their Claims at this time.
       This Schedule is a working draft and subject to change by the Debtors prior to the Disclosure Statement Hearing based on the Debtors’ ongoing review of their books and records and the
       relevant facts. Without limitation, the Debtors reserve the right to revise the amounts scheduled for any individual Noteholder or Unitholder, to remove certain parties on the basis that they are
       in fact Excluded Parties, and to add certain parties that are presently identified as potential Excluded Parties on Schedule 1 to the Disclosure Statement.




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